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                     EXHIBIT A
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                                                                Exhibit A
                                                                 Service List


                              Name                                              Address                          Method of Service
00007f7d‐6d14‐4a4c‐8ba8‐d38cd1b90f7d                   Address Redacted                       First Class Mail
00009c55‐1188‐49e9‐9acb‐43f74cd73fe5                   Address Redacted                       First Class Mail
0000e193‐bde7‐439a‐bf66‐bf604d7ca143                   Address Redacted                       First Class Mail
00014b9d‐ada4‐4228‐b66e‐dc3408abcdd5                   Address Redacted                       First Class Mail
00026598‐6541‐4c4a‐a900‐bb5bf83d6f6e                   Address Redacted                       First Class Mail
0002a00c‐953b‐47af‐bf2e‐4afe85c95835                   Address Redacted                       First Class Mail
0002cc50‐aa73‐43de‐9da6‐100ad11d4182                   Address Redacted                       First Class Mail
0008781d‐81e9‐4b73‐b165‐a675506db645                   Address Redacted                       First Class Mail
000a36ee‐8e15‐4f79‐9b9d‐5b4f27d7725a                   Address Redacted                       First Class Mail
000dc5c7‐94c7‐4ea7‐a1cc‐a54723700f24                   Address Redacted                       First Class Mail
000ed4aa‐f949‐476d‐84bc‐95c033e32350                   Address Redacted                       First Class Mail
001fd4cb‐39f7‐4305‐8ee8‐2762f09337ca                   Address Redacted                       First Class Mail
00240f8a‐fb57‐439a‐bc81‐168913a08759                   Address Redacted                       First Class Mail
00268425‐ab4c‐4f20‐88ac‐4c496a9fa738                   Address Redacted                       First Class Mail
00294b83‐8b60‐43e2‐b4df‐4b79f1a76201                   Address Redacted                       First Class Mail
002d521a‐ad3b‐49df‐ad5d‐020c6c1dc24e                   Address Redacted                       First Class Mail
003307ea‐fc39‐4dab‐8457‐dd52e6cd0163                   Address Redacted                       First Class Mail
0033becb‐bef6‐457e‐91a3‐b49812eb471a                   Address Redacted                       First Class Mail
00354193‐60a0‐44f8‐a6e7‐bc7ccb5eafd5                   Address Redacted                       First Class Mail
0035e286‐7ca6‐4c7f‐951b‐d9637a57aede                   Address Redacted                       First Class Mail
00366260‐b345‐4e98‐8b3c‐0b67116eee28                   Address Redacted                       First Class Mail
0038f10f‐4c95‐47a9‐978b‐889ef0c30a77                   Address Redacted                       First Class Mail
003a0db2‐81ef‐455e‐bcb7‐9b9d1f0ec844                   Address Redacted                       First Class Mail
003c0f5b‐59e8‐4693‐9b10‐d0ae81831c38                   Address Redacted                       First Class Mail
003ebf7b‐7191‐42d9‐85f8‐d9a49b5b9402                   Address Redacted                       First Class Mail
0040cc01‐d8fc‐4c11‐b0b5‐4a53efd5c0c8                   Address Redacted                       First Class Mail
004713dd‐6a79‐4a99‐9834‐99538d2248c6                   Address Redacted                       First Class Mail
004a3a59‐a24d‐489f‐bcbe‐086dd3d118aa                   Address Redacted                       First Class Mail
004bcd07‐7324‐4dfe‐ba72‐d009d3f568b7                   Address Redacted                       First Class Mail
004d23d9‐e62b‐4828‐8cc2‐37725f56b60c                   Address Redacted                       First Class Mail
004f4c46‐087a‐45b2‐a08d‐2c53a9647fe9                   Address Redacted                       First Class Mail
004f5903‐d056‐4d1a‐8168‐d1237e44942b                   Address Redacted                       First Class Mail
004fce3d‐4d63‐469f‐ad7b‐4134fb3608d1                   Address Redacted                       First Class Mail
005356f9‐8e3c‐4b13‐a16e‐1aedce396115                   Address Redacted                       First Class Mail
00542d8c‐7086‐4bb3‐80d4‐a4fc73d908b3                   Address Redacted                       First Class Mail
005d4e5f‐7d0e‐4ed4‐8af2‐a487f730e9f1                   Address Redacted                       First Class Mail
0064be77‐b1b6‐4b76‐88a6‐cf26279c9530                   Address Redacted                       First Class Mail
0067055e‐e64d‐4948‐ace3‐8ea8785a70db                   Address Redacted                       First Class Mail
00686d22‐beb0‐4d6f‐8fc4‐84256dc36863                   Address Redacted                       First Class Mail
0069923e‐cd8e‐47be‐97ad‐01b4a7d24a6a                   Address Redacted                       First Class Mail
006cd97e‐9416‐457f‐a7b4‐143b3126f026                   Address Redacted                       First Class Mail
006d4252‐45c1‐4d06‐af7a‐d967b09971e9                   Address Redacted                       First Class Mail
006e7cbf‐f7a6‐4822‐b724‐2d4eab7e6a49                   Address Redacted                       First Class Mail
006ff352‐98f8‐40fe‐be9a‐a498b2f4c1e1                   Address Redacted                       First Class Mail
007aa04e‐dd10‐4967‐8194‐3fd35e530d55                   Address Redacted                       First Class Mail
007aac91‐8ece‐4ee4‐a3ad‐444c9316da30                   Address Redacted                       First Class Mail
007b2c25‐2c96‐449e‐96aa‐9f83b665102e                   Address Redacted                       First Class Mail
007e1e6f‐87de‐4cde‐980f‐d1b877c8ef89                   Address Redacted                       First Class Mail
007fe244‐6365‐44a3‐b272‐1c7fb19e9bc1                   Address Redacted                       First Class Mail
00825c65‐df29‐413f‐aabe‐668ac54159f4                   Address Redacted                       First Class Mail
00826a1b‐35de‐4eb3‐8150‐4889787a0772                   Address Redacted                       First Class Mail
0085cb1d‐05db‐4c02‐96f5‐d170f273f72c                   Address Redacted                       First Class Mail
0086c008‐f27a‐423f‐a396‐e48eb017b0b5                   Address Redacted                       First Class Mail
0087bdef‐368d‐41bd‐a745‐ca7baafa8f12                   Address Redacted                       First Class Mail
00898928‐4194‐4ccb‐9043‐3cd5ac101d43                   Address Redacted                       First Class Mail
0089a81b‐18b5‐429d‐9d5e‐29762db70705                   Address Redacted                       First Class Mail
0090dbce‐86f9‐4f41‐b208‐daf75a2f900b                   Address Redacted                       First Class Mail
0094335a‐0978‐42c5‐bbd2‐285b014dd07c                   Address Redacted                       First Class Mail
00973e86‐02a3‐41e1‐9ed8‐6cda7c09bb3e                   Address Redacted                       First Class Mail
0097a4ef‐5223‐49b4‐8b62‐5c4b973c264f                   Address Redacted                       First Class Mail
009c362f‐38cb‐4134‐9024‐6a28c96e9311                   Address Redacted                       First Class Mail
009e74e2‐fabe‐4f39‐b95a‐0c55fa239119                   Address Redacted                       First Class Mail
00a4284b‐dd30‐4e8c‐a67c‐00e0a441014b                   Address Redacted                       First Class Mail
00a44184‐c713‐4b01‐9273‐1514a89b6d05                   Address Redacted                       First Class Mail
00a53bcf‐311a‐4ead‐b660‐165560ae4bb7                   Address Redacted                       First Class Mail
00a5f84b‐c6c7‐4a72‐a159‐542ea2fe42cc                   Address Redacted                       First Class Mail
00a6994e‐58ab‐4353‐9f57‐79ba74e9e1f0                   Address Redacted                       First Class Mail
00a6cd29‐641b‐4d6a‐81d7‐5c4c90d0319e                   Address Redacted                       First Class Mail
00b18b3a‐909c‐4921‐a155‐2c24f4643a17                   Address Redacted                       First Class Mail
00b264b8‐feb6‐4f34‐b1ed‐cb9551533d91                   Address Redacted                       First Class Mail
00b5fc03‐f96f‐416b‐b84a‐98315ef2e8c6                   Address Redacted                       First Class Mail
00b937e1‐ef2a‐4c8f‐a195‐f85c47d0d354                   Address Redacted                       First Class Mail




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                                                                Exhibit A
                                                                 Service List


                              Name                                              Address                          Method of Service
00bbf349‐4a81‐4e38‐9bad‐05da18a4cc68                   Address Redacted                       First Class Mail
00c32e77‐8a04‐46db‐9535‐59f971a92117                   Address Redacted                       First Class Mail
00c43969‐279e‐4068‐b63f‐f590add10d29                   Address Redacted                       First Class Mail
00c4e27a‐a4fe‐4f90‐988a‐4c73c85d9b6a                   Address Redacted                       First Class Mail
00c5ec25‐e601‐4310‐9e6e‐07b36b92807a                   Address Redacted                       First Class Mail
00c6185a‐f820‐484b‐9c10‐149bce209ef9                   Address Redacted                       First Class Mail
00c85c69‐710d‐400e‐9ee4‐b6a3a00717fd                   Address Redacted                       First Class Mail
00c954b0‐8162‐45aa‐a9a1‐6f1d73cd0a2b                   Address Redacted                       First Class Mail
00cee8cc‐fb55‐416f‐b977‐31c4fd4473bc                   Address Redacted                       First Class Mail
00cf35c1‐3e01‐4015‐8607‐810cce4d3e0c                   Address Redacted                       First Class Mail
00d5b0af‐4219‐4eb7‐834b‐0c5a2d215bc1                   Address Redacted                       First Class Mail
00d69b48‐167c‐449a‐a3dd‐3c76325c2e18                   Address Redacted                       First Class Mail
00d7e3e0‐2e00‐4275‐872f‐27e2684b747a                   Address Redacted                       First Class Mail
00d7e49d‐ffe3‐4dbd‐95e8‐283c66c04790                   Address Redacted                       First Class Mail
00d811aa‐e42b‐46c7‐b57e‐c8f52afd6c50                   Address Redacted                       First Class Mail
00dd03e2‐e1a4‐43f1‐9ff5‐9eadd439392a                   Address Redacted                       First Class Mail
00dec009‐815a‐4e69‐8469‐8e16cd9d0b99                   Address Redacted                       First Class Mail
00e23f7a‐ba5b‐437f‐a5a2‐02dd45030059                   Address Redacted                       First Class Mail
00e29a5d‐d38d‐4de7‐a359‐bb23dd5c01bd                   Address Redacted                       First Class Mail
00e6cb26‐7991‐4c2d‐bcdb‐326d80de3dcf                   Address Redacted                       First Class Mail
00e8714c‐ae6d‐44aa‐8b69‐183fce6ec871                   Address Redacted                       First Class Mail
00e8f0db‐3b4f‐4c05‐8840‐8c0f37298eaa                   Address Redacted                       First Class Mail
00ea23aa‐aa72‐4814‐b05d‐103c20cc9b66                   Address Redacted                       First Class Mail
00eb8baf‐40b1‐45a8‐ac54‐2821765d799d                   Address Redacted                       First Class Mail
00ee1690‐50c6‐4132‐afe9‐67886d5645a9                   Address Redacted                       First Class Mail
00ee4139‐00d9‐43d7‐87f8‐1a1105cdf712                   Address Redacted                       First Class Mail
00ee84d0‐b013‐44a1‐9a57‐f6196b829bea                   Address Redacted                       First Class Mail
00f0638f‐f741‐4571‐b860‐1adb1b53bcf5                   Address Redacted                       First Class Mail
00f1b477‐224d‐4544‐a004‐50cbd73d586f                   Address Redacted                       First Class Mail
00f6b607‐6540‐4f17‐952a‐8a390bb8ee99                   Address Redacted                       First Class Mail
00fb5917‐6ac6‐44da‐867b‐3f35f068f79a                   Address Redacted                       First Class Mail
00ff672a‐dd8c‐433d‐b888‐e1d72c212d9b                   Address Redacted                       First Class Mail
010433e0‐af82‐4bfe‐aafa‐abab90d686cf                   Address Redacted                       First Class Mail
01073777‐bf3f‐4696‐8e76‐80d528b0d9cc                   Address Redacted                       First Class Mail
01099181‐b90c‐4598‐9cf1‐b21f7be81d45                   Address Redacted                       First Class Mail
0109f3b6‐52a4‐4561‐9ad3‐765c0c1a3bef                   Address Redacted                       First Class Mail
010ab6c4‐f922‐4941‐aae1‐cee5f5bf3267                   Address Redacted                       First Class Mail
010bfedc‐3c41‐4dc7‐87c5‐fddd5d1974a7                   Address Redacted                       First Class Mail
010d9ad8‐82a3‐40a6‐a7b6‐94910503a9ef                   Address Redacted                       First Class Mail
0111076c‐0d8f‐4c22‐8c09‐08e7e01a5c6f                   Address Redacted                       First Class Mail
01140e79‐cdd2‐4422‐ae3b‐7ed53fc65922                   Address Redacted                       First Class Mail
0115cf05‐c99f‐48f0‐b639‐4ddaac0332a2                   Address Redacted                       First Class Mail
01181927‐d251‐473c‐910f‐687e62535164                   Address Redacted                       First Class Mail
01186c0d‐1454‐440f‐8182‐bcc8be3e1bcc                   Address Redacted                       First Class Mail
011cc772‐8d6e‐4354‐811f‐cb88b022458d                   Address Redacted                       First Class Mail
012b97fa‐cd04‐4c56‐992a‐76740a4f726a                   Address Redacted                       First Class Mail
012fbaa1‐7d95‐4884‐b1b8‐99d49b467605                   Address Redacted                       First Class Mail
01318e1d‐c897‐4048‐ba47‐e83bbd4b50eb                   Address Redacted                       First Class Mail
013453f5‐15f2‐4ed4‐94a2‐0fad963b4138                   Address Redacted                       First Class Mail
0134c60d‐aa0f‐44e1‐ba84‐85d62bab542c                   Address Redacted                       First Class Mail
0134c878‐3acb‐4dc4‐9334‐1599b1cca0df                   Address Redacted                       First Class Mail
0137ded3‐79b2‐46e9‐b5e5‐8e680bf6b1a9                   Address Redacted                       First Class Mail
0138119d‐6302‐465b‐b06c‐73c03bde0e73                   Address Redacted                       First Class Mail
013b0684‐9040‐4e42‐86cf‐30eccafc54d1                   Address Redacted                       First Class Mail
013d17dc‐dd2d‐45ec‐a9bd‐185ad0816072                   Address Redacted                       First Class Mail
013fb5fa‐0fab‐4349‐9824‐de4331e07e49                   Address Redacted                       First Class Mail
0140f3d1‐82a0‐40a8‐9839‐f383de2ac45f                   Address Redacted                       First Class Mail
0144cfc0‐cd18‐4c17‐90bb‐607f9d031a2a                   Address Redacted                       First Class Mail
01466c42‐5afe‐4329‐9b49‐53274af5119b                   Address Redacted                       First Class Mail
01473fda‐10e6‐4930‐94c5‐e155091d3dce                   Address Redacted                       First Class Mail
014e3aed‐6f2a‐489c‐8b1b‐6e41a919b356                   Address Redacted                       First Class Mail
0155cf01‐5b5f‐4f9e‐9444‐431d37eb9a40                   Address Redacted                       First Class Mail
0157d108‐92a2‐4410‐be3f‐46dde41d3894                   Address Redacted                       First Class Mail
015a29cf‐08e9‐4c28‐a940‐eef17fae7d23                   Address Redacted                       First Class Mail
015c3a8d‐83f1‐4535‐b10f‐94e5f49dadef                   Address Redacted                       First Class Mail
01637070‐24e5‐4f9a‐ad0b‐4ecc8540e464                   Address Redacted                       First Class Mail
0164f5eb‐b93e‐4f30‐84cc‐14e82802864b                   Address Redacted                       First Class Mail
01660ce8‐2764‐46eb‐a7dd‐8dba55c3d084                   Address Redacted                       First Class Mail
016868b6‐d1e3‐4008‐adde‐74b69d2b91b5                   Address Redacted                       First Class Mail
016cbfe0‐2bcf‐4af1‐bd62‐a842f4cfabbd                   Address Redacted                       First Class Mail
017620d9‐dc7d‐456b‐88e1‐ddaa1f74924d                   Address Redacted                       First Class Mail
01782f0e‐5fd3‐463d‐bbd4‐72e10f6366fb                   Address Redacted                       First Class Mail




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                                                                Exhibit A
                                                                 Service List


                              Name                                              Address                          Method of Service
017e1154‐1a1e‐4497‐a53f‐eba15a1b39e0                   Address Redacted                       First Class Mail
01801201‐fa58‐4084‐96d6‐fd24333767c0                   Address Redacted                       First Class Mail
0180908c‐71c7‐4aba‐bbe7‐cdf247b3b71a                   Address Redacted                       First Class Mail
01820334‐8cd8‐4e60‐a8e4‐0198bade4ee3                   Address Redacted                       First Class Mail
01825535‐06ef‐4779‐a642‐1ce63b376d39                   Address Redacted                       First Class Mail
018297c6‐e871‐4a70‐a6f9‐895ebfedf518                   Address Redacted                       First Class Mail
01876b8f‐be0d‐48f7‐ada0‐2aea98103c03                   Address Redacted                       First Class Mail
01894173‐05ef‐4945‐8f72‐21b8dad9b29c                   Address Redacted                       First Class Mail
018b73d4‐0a4f‐4496‐987e‐8712e5532cd1                   Address Redacted                       First Class Mail
018cc5cb‐d41a‐4c2a‐83d8‐2a751a488ad7                   Address Redacted                       First Class Mail
0193e346‐96ae‐47c3‐a1e2‐b2cfb126202f                   Address Redacted                       First Class Mail
019a53cb‐faa7‐4ec6‐b004‐9b1a540925e3                   Address Redacted                       First Class Mail
019bc286‐5329‐4a06‐b3a1‐25a364d1cbd3                   Address Redacted                       First Class Mail
019ce8c2‐ccac‐4d3b‐a6b2‐c85e6aa245ca                   Address Redacted                       First Class Mail
019f6e5d‐aa85‐4e67‐9c9c‐4bd6ba621e9a                   Address Redacted                       First Class Mail
01a26d02‐1808‐40f3‐89e3‐71ab4662e926                   Address Redacted                       First Class Mail
01a50b3a‐68ed‐4d1a‐9a87‐9f5d30412acd                   Address Redacted                       First Class Mail
01a5f1fd‐96ab‐45a7‐9309‐a866f875fbd5                   Address Redacted                       First Class Mail
01a97b4d‐8954‐41b3‐9285‐f3374aff9f4f                   Address Redacted                       First Class Mail
01a99d58‐03d5‐4a1d‐8ce8‐59bf5499557e                   Address Redacted                       First Class Mail
01aa437c‐442a‐481d‐aadf‐846f87486afb                   Address Redacted                       First Class Mail
01aa8059‐05e7‐4b78‐a1f7‐25f4cc7ab402                   Address Redacted                       First Class Mail
01aaff2c‐3d6b‐4215‐aa23‐049f3e256052                   Address Redacted                       First Class Mail
01ab2318‐f598‐4fb7‐ba5d‐7d617f29fc1a                   Address Redacted                       First Class Mail
01ac2419‐4929‐48b9‐bbdf‐34f4831c38db                   Address Redacted                       First Class Mail
01aea61a‐4ca3‐4ed6‐a199‐072d657fe364                   Address Redacted                       First Class Mail
01b04ec6‐42f2‐4e5f‐b215‐96b074ffebfe                   Address Redacted                       First Class Mail
01b1137d‐327f‐400c‐8606‐af379c4e8a10                   Address Redacted                       First Class Mail
01b8251d‐f3b7‐40e0‐b118‐803dcc6000fd                   Address Redacted                       First Class Mail
01bef7ed‐424c‐42f8‐919a‐16aa348a03c1                   Address Redacted                       First Class Mail
01c1924f‐4e3c‐4ef1‐bd40‐f36a0b4c628a                   Address Redacted                       First Class Mail
01c2b624‐5308‐4df7‐b3d1‐2ca67bb16415                   Address Redacted                       First Class Mail
01cd0111‐0ffa‐4d78‐b7b9‐aae12d72f014                   Address Redacted                       First Class Mail
01cd5ce0‐e610‐49b8‐9d38‐3ea80ad44f93                   Address Redacted                       First Class Mail
01ce1ddc‐8bba‐46f6‐a9ce‐48f0b1ebdbae                   Address Redacted                       First Class Mail
01cf6b94‐cf04‐457a‐8aff‐a192d2122602                   Address Redacted                       First Class Mail
01d07ae5‐90e6‐45d7‐a38a‐2696b76aac34                   Address Redacted                       First Class Mail
01d182fa‐27b5‐41f4‐bd25‐db3b3eb04fa7                   Address Redacted                       First Class Mail
01d45a70‐2779‐42a6‐bc64‐2069e21b7b48                   Address Redacted                       First Class Mail
01d4c719‐1bf4‐4f50‐9032‐98e1e881d822                   Address Redacted                       First Class Mail
01da7631‐b630‐418e‐978c‐e38233006d19                   Address Redacted                       First Class Mail
01dda8d8‐aad1‐4d31‐8f39‐fdbc45305630                   Address Redacted                       First Class Mail
01df4716‐ce62‐4669‐892b‐a2055844edc5                   Address Redacted                       First Class Mail
01dfff41‐2cb6‐4851‐9910‐256e6aafff12                   Address Redacted                       First Class Mail
01e0f6cf‐c170‐4450‐aa2e‐54c90d0193ad                   Address Redacted                       First Class Mail
01e32978‐17ec‐46e2‐aede‐830f18c844c4                   Address Redacted                       First Class Mail
01e32f3b‐6231‐4a0c‐9a2e‐d975d6d9f241                   Address Redacted                       First Class Mail
01e6eba6‐1ed8‐4e81‐8a51‐cae63c2e5bbf                   Address Redacted                       First Class Mail
01e715e4‐64d9‐4eaa‐8c9d‐4b31b8c3212d                   Address Redacted                       First Class Mail
01e7d3f9‐2168‐440a‐be28‐d437adfa6fc6                   Address Redacted                       First Class Mail
01ec053d‐0c53‐4784‐9173‐3d7855d352ea                   Address Redacted                       First Class Mail
01ede647‐795b‐4f3c‐ad33‐170034229eb1                   Address Redacted                       First Class Mail
01ee51b1‐f455‐44b5‐b8e5‐4e46a64b6353                   Address Redacted                       First Class Mail
01ef3af5‐65b0‐4a79‐9c5c‐f8a782c7b070                   Address Redacted                       First Class Mail
01f1e726‐24ec‐4242‐93cb‐4f687f93ba67                   Address Redacted                       First Class Mail
01f96005‐8279‐468d‐911f‐64a1d8cd60b8                   Address Redacted                       First Class Mail
01fc1251‐38c9‐450d‐b15f‐f0437775daff                   Address Redacted                       First Class Mail
02091da4‐6895‐4358‐b410‐3120cae0560e                   Address Redacted                       First Class Mail
020c396b‐47f0‐4e2c‐b4de‐fab09d680e8d                   Address Redacted                       First Class Mail
020c9b24‐9125‐4265‐9db6‐6db76a8f79be                   Address Redacted                       First Class Mail
020fd20a‐dc06‐4c81‐ae17‐b5738611ea9c                   Address Redacted                       First Class Mail
02114e15‐d25e‐4367‐838a‐3819be730f1e                   Address Redacted                       First Class Mail
02115266‐2c51‐461b‐b4c7‐fa827b3caf73                   Address Redacted                       First Class Mail
0212e0c8‐b2a5‐49bb‐825a‐0c3148da3b9d                   Address Redacted                       First Class Mail
02131ff6‐2da2‐4912‐a6ca‐63ecc7a61fef                   Address Redacted                       First Class Mail
021390a9‐fec1‐4041‐935c‐1f3df10c15f2                   Address Redacted                       First Class Mail
0216afa8‐3985‐4b73‐8f4a‐3b9f2aaaba18                   Address Redacted                       First Class Mail
021864c2‐6a68‐43be‐8264‐8dc4e13e26b7                   Address Redacted                       First Class Mail
021cd2dd‐7f00‐4691‐aa90‐54e4af98242b                   Address Redacted                       First Class Mail
021e7422‐dce3‐4ecc‐b349‐59e1e08be8cf                   Address Redacted                       First Class Mail
021ea5ef‐9ca3‐4e98‐9c87‐41ac8b667c04                   Address Redacted                       First Class Mail
021fd806‐a912‐43fe‐9406‐da3f1e76a44e                   Address Redacted                       First Class Mail




Desolation Holdings LLC, et al., (Case No. 23‐10597)
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                                                                Exhibit A
                                                                 Service List


                              Name                                              Address                          Method of Service
0224fedc‐bfee‐4bdc‐b1c9‐5a6fa94a1223                   Address Redacted                       First Class Mail
022795cf‐cecd‐4890‐b521‐cb60bbec413d                   Address Redacted                       First Class Mail
023391e4‐6230‐4ecf‐8377‐3a30e6acadf4                   Address Redacted                       First Class Mail
02349847‐48a7‐46da‐b7c4‐532a8ce220ad                   Address Redacted                       First Class Mail
0235e65f‐6a29‐4915‐a002‐5a641dd34902                   Address Redacted                       First Class Mail
0236add2‐6c48‐47b3‐9e8f‐bc566881f22d                   Address Redacted                       First Class Mail
023769a7‐ad20‐4e66‐b227‐a7a0a5eb04d9                   Address Redacted                       First Class Mail
023bd4f2‐cb1f‐4cf6‐b76c‐4e824a9fbdac                   Address Redacted                       First Class Mail
02409dc3‐72d5‐47ba‐9b2d‐954aacd5155e                   Address Redacted                       First Class Mail
02418f00‐b812‐42bd‐a3c8‐653ca55481f9                   Address Redacted                       First Class Mail
0242e904‐8401‐4cf6‐bd4e‐bc2088112d6d                   Address Redacted                       First Class Mail
02473a19‐6082‐4b7a‐bef2‐80fa001648eb                   Address Redacted                       First Class Mail
02498ddb‐03b7‐41a1‐aca0‐28eca0a81173                   Address Redacted                       First Class Mail
02499af8‐dd15‐4962‐aeff‐38a5f4eee6ce                   Address Redacted                       First Class Mail
0249f5a6‐a8af‐414a‐aa85‐526c0b3cd074                   Address Redacted                       First Class Mail
024a7391‐daa2‐4e55‐b8ce‐6a56df5154c5                   Address Redacted                       First Class Mail
024a7d2b‐b04a‐4b0e‐a1ca‐4c08ad4bf0da                   Address Redacted                       First Class Mail
024a9eed‐7935‐49ae‐9b97‐7a6961ba2d16                   Address Redacted                       First Class Mail
024b1103‐1911‐40c2‐be90‐34ab8ca8170c                   Address Redacted                       First Class Mail
024e7c83‐bf19‐4e94‐8481‐028beb74f711                   Address Redacted                       First Class Mail
0250f313‐4c3e‐4531‐bed7‐2a9cb0737608                   Address Redacted                       First Class Mail
02523138‐ccc6‐485d‐88f6‐c87e2d1a4fd5                   Address Redacted                       First Class Mail
0257363a‐379f‐463a‐a01e‐2ffcc8831b7c                   Address Redacted                       First Class Mail
0257b6b8‐04d6‐44a0‐a97f‐eb240dd02f10                   Address Redacted                       First Class Mail
025c91fc‐6db7‐49ea‐b96e‐27e8f859a672                   Address Redacted                       First Class Mail
025cdf90‐aa3c‐4e40‐9ba4‐886d3da6290c                   Address Redacted                       First Class Mail
025d98ae‐0800‐4da3‐8412‐241ce88af570                   Address Redacted                       First Class Mail
025dc657‐537c‐4a16‐9b3f‐0f98b3acf79b                   Address Redacted                       First Class Mail
025e995e‐508f‐4937‐acfc‐32b88a1f6dba                   Address Redacted                       First Class Mail
025f9bef‐bda1‐4906‐8289‐feeaa25ab8e7                   Address Redacted                       First Class Mail
026538e9‐845b‐4a2a‐b237‐07093ba75e2b                   Address Redacted                       First Class Mail
0265e58e‐cc72‐4ad9‐a865‐9a57984be2a4                   Address Redacted                       First Class Mail
026880e4‐cfdb‐436b‐964f‐28b74487cb2f                   Address Redacted                       First Class Mail
026979f4‐f8b9‐4d5c‐a1f5‐d88ea1b81b93                   Address Redacted                       First Class Mail
026d58f0‐862c‐4653‐990f‐6ebc965d025b                   Address Redacted                       First Class Mail
02708114‐5f76‐4a7b‐9002‐fd1c564856af                   Address Redacted                       First Class Mail
02735183‐ba73‐4bdd‐b81e‐8b6fb570d9e4                   Address Redacted                       First Class Mail
0276f22a‐e1b0‐4a27‐9a9b‐de0db4a80f2b                   Address Redacted                       First Class Mail
027740c1‐ecaa‐46c2‐8395‐985d0490d503                   Address Redacted                       First Class Mail
02794489‐712a‐48bc‐87b4‐360142b3c313                   Address Redacted                       First Class Mail
0279d8a4‐85c2‐413d‐be92‐d341e13317a3                   Address Redacted                       First Class Mail
027b1fb3‐7adb‐4015‐8e38‐d0cf59d9e624                   Address Redacted                       First Class Mail
027fa807‐9335‐4c27‐a727‐9b61eff3d1f4                   Address Redacted                       First Class Mail
027fd4ea‐97f2‐4cc4‐8778‐1a37f8f98824                   Address Redacted                       First Class Mail
0282b0bc‐eacf‐4513‐b577‐e5ca3f87d5ae                   Address Redacted                       First Class Mail
028707b2‐0bb8‐45c5‐8c80‐d798f6711125                   Address Redacted                       First Class Mail
02871f16‐4d8b‐44d7‐99d9‐2f188c7232a5                   Address Redacted                       First Class Mail
028cebdf‐f424‐4b0f‐86ec‐c0b64a34dcf3                   Address Redacted                       First Class Mail
028d2792‐2998‐4016‐9c48‐7672e2422e1e                   Address Redacted                       First Class Mail
0290017b‐18a3‐4560‐be72‐d8d9e4fa9d61                   Address Redacted                       First Class Mail
0292cafc‐4967‐4894‐b84a‐eb82b7309be9                   Address Redacted                       First Class Mail
029354b3‐d6bf‐46b4‐9cae‐baa4cffba647                   Address Redacted                       First Class Mail
0296290f‐3886‐45b7‐b1ea‐93aa0bc986f9                   Address Redacted                       First Class Mail
02998fdc‐d3b2‐4423‐878a‐3376809276bf                   Address Redacted                       First Class Mail
029addda‐8968‐4129‐b5b2‐87a7d1e29b85                   Address Redacted                       First Class Mail
029b9157‐1a90‐43b7‐901c‐a7f14a496a7c                   Address Redacted                       First Class Mail
029c662a‐7adb‐4a16‐b4cf‐965f33e129cf                   Address Redacted                       First Class Mail
02a2e05b‐3280‐4573‐a94e‐ec6b78e04dac                   Address Redacted                       First Class Mail
02a64432‐f7a0‐4c27‐aa5e‐6a6cb8f3c5ea                   Address Redacted                       First Class Mail
02a6d807‐33ec‐412c‐832f‐d3c467bab3c0                   Address Redacted                       First Class Mail
02a83606‐4522‐4a57‐bc11‐311d1298b4de                   Address Redacted                       First Class Mail
02a923e0‐6717‐4939‐bdd3‐374d66fb3ea6                   Address Redacted                       First Class Mail
02aae634‐2bfa‐47f9‐b4ea‐bec242c2ed68                   Address Redacted                       First Class Mail
02ac5036‐2232‐44b4‐a02b‐3b4f16d33d71                   Address Redacted                       First Class Mail
02ac7d17‐6164‐4077‐80d9‐c2fda5960a2e                   Address Redacted                       First Class Mail
02ae61c0‐57bd‐407c‐b3e4‐a14c7a0c59f2                   Address Redacted                       First Class Mail
02b196d7‐7b48‐48d5‐b6a2‐998b7fa0e4f5                   Address Redacted                       First Class Mail
02b1cfa9‐a78b‐4b4c‐a3d2‐ab1163518ef3                   Address Redacted                       First Class Mail
02b673da‐4124‐460a‐ad46‐fd1e8013379a                   Address Redacted                       First Class Mail
02b79d47‐efef‐4211‐a03d‐53f4838476ea                   Address Redacted                       First Class Mail
02b8a054‐e0d2‐4c8f‐b1ab‐985fa683a803                   Address Redacted                       First Class Mail
02bad5a0‐aa69‐4ab7‐ac4b‐e52ee76d6f9d                   Address Redacted                       First Class Mail




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                              Name                                              Address                          Method of Service
02be3bc1‐39f7‐4d88‐aad7‐6d3b9d83112b                   Address Redacted                       First Class Mail
02c5bbf2‐681f‐4818‐9614‐5b0088665c47                   Address Redacted                       First Class Mail
02c947b6‐07a1‐44a3‐b200‐e24a10f6db76                   Address Redacted                       First Class Mail
02cb8846‐c699‐40e3‐bf7e‐0d504bff7cf8                   Address Redacted                       First Class Mail
02ccf21a‐4d8a‐4b01‐a633‐24bb064c8dd9                   Address Redacted                       First Class Mail
02cdee90‐c5c5‐40a6‐8129‐bed56a716d6c                   Address Redacted                       First Class Mail
02cfd65c‐3f46‐421b‐9f65‐34103391481c                   Address Redacted                       First Class Mail
02d2a277‐c1ac‐4294‐b722‐62327703e46b                   Address Redacted                       First Class Mail
02d489cd‐9b44‐4bcd‐99cc‐ebd66bc89388                   Address Redacted                       First Class Mail
02d523e4‐abb2‐43aa‐b79a‐6f70a6ab86da                   Address Redacted                       First Class Mail
02d6f594‐6eb9‐4dc2‐8732‐98a418895957                   Address Redacted                       First Class Mail
02d9928f‐edc3‐4ef0‐a17a‐3142ba905a1d                   Address Redacted                       First Class Mail
02da576b‐71d5‐4b02‐bc61‐6c946d3bec2d                   Address Redacted                       First Class Mail
02db5297‐f9e3‐4327‐9cd1‐65f85073abbf                   Address Redacted                       First Class Mail
02ddc444‐bda3‐45be‐bf90‐cebf49495b1b                   Address Redacted                       First Class Mail
02dfd7d8‐955b‐441f‐bc29‐b7eb9a3c10a1                   Address Redacted                       First Class Mail
02e1e52e‐4de3‐490d‐8ada‐3bf0514afaa7                   Address Redacted                       First Class Mail
02e1fbe2‐ee95‐4e40‐9177‐8ae76254ffb9                   Address Redacted                       First Class Mail
02e3cd9b‐1c1f‐464e‐b8f1‐00a614aed687                   Address Redacted                       First Class Mail
02e77a8f‐d8ec‐41e9‐8200‐7d6aca970606                   Address Redacted                       First Class Mail
02e960d9‐559c‐417e‐b51b‐3bcc0648826b                   Address Redacted                       First Class Mail
02ea2341‐f35d‐472c‐90e1‐aa9e7642b190                   Address Redacted                       First Class Mail
02ec925d‐d692‐40f4‐b896‐b7c4a7a2c99a                   Address Redacted                       First Class Mail
02f10c4f‐51fd‐4d1d‐8b9d‐e3df072e516a                   Address Redacted                       First Class Mail
02f1542e‐8791‐45d1‐9717‐fce009832d87                   Address Redacted                       First Class Mail
02f5368d‐94e0‐46aa‐8b95‐25725a4ad399                   Address Redacted                       First Class Mail
02f664e6‐5063‐4f14‐9d6c‐200ee1d8609d                   Address Redacted                       First Class Mail
02f7c5df‐5532‐4afd‐ad55‐d7d2ba6cf892                   Address Redacted                       First Class Mail
02fa94e1‐0c78‐4521‐8d68‐9b9889850354                   Address Redacted                       First Class Mail
03018ac6‐ba1b‐4d43‐a5da‐18c3925bfc0a                   Address Redacted                       First Class Mail
0303b057‐1c06‐41c7‐a717‐f3b88c349a02                   Address Redacted                       First Class Mail
030523dc‐1fd4‐4a94‐895d‐a1fbd440e9f1                   Address Redacted                       First Class Mail
03072157‐667b‐4ad5‐adf3‐1378d343eee7                   Address Redacted                       First Class Mail
030fbb9c‐c51e‐47c6‐b5ff‐b202d19180f5                   Address Redacted                       First Class Mail
0313dbb0‐a884‐4369‐9acb‐5d1564eaa77c                   Address Redacted                       First Class Mail
0313ec18‐e376‐4f38‐9157‐82a49acea769                   Address Redacted                       First Class Mail
031b2999‐b8c6‐47a5‐bc85‐2a14f52ccc98                   Address Redacted                       First Class Mail
032019b5‐32d0‐49fd‐8ff7‐cffd0eb5b9a1                   Address Redacted                       First Class Mail
0323a866‐c1c0‐467a‐9653‐c1f7a4a367b9                   Address Redacted                       First Class Mail
03270cb7‐2f5a‐4dad‐a4c5‐61cb7213846e                   Address Redacted                       First Class Mail
0330a0fc‐ee1a‐46c9‐818f‐8187943d3152                   Address Redacted                       First Class Mail
03333db9‐9b8a‐47e9‐8d09‐0b1eae6bb336                   Address Redacted                       First Class Mail
03336eef‐0ea8‐4b95‐b686‐19a817448d3b                   Address Redacted                       First Class Mail
03341a97‐a411‐4adc‐9c5b‐8789601f0265                   Address Redacted                       First Class Mail
033572a9‐a182‐4c6b‐aaa5‐a747120b4a80                   Address Redacted                       First Class Mail
03380d36‐4845‐4181‐8af9‐433b1fdfb851                   Address Redacted                       First Class Mail
033841be‐f1c5‐474c‐b1a0‐3b2247d499b0                   Address Redacted                       First Class Mail
033cc6c5‐fb68‐46e1‐950d‐7ee2a3ac2be9                   Address Redacted                       First Class Mail
033d59ab‐9a6e‐41f9‐bf70‐6c847a7539da                   Address Redacted                       First Class Mail
033de2ca‐77d2‐43da‐a109‐1240fffa3abc                   Address Redacted                       First Class Mail
0340a1b5‐a509‐48a7‐b536‐4216d8de915b                   Address Redacted                       First Class Mail
03468dcb‐673f‐4a67‐87dc‐7b996167cafe                   Address Redacted                       First Class Mail
0347a16d‐6cd0‐48c6‐881f‐2b57ff7ecae2                   Address Redacted                       First Class Mail
0349fffc‐5ead‐49cb‐8850‐956abb16b1e5                   Address Redacted                       First Class Mail
034d8b7b‐8997‐4d38‐ae27‐22c5a0437e77                   Address Redacted                       First Class Mail
034da6b9‐ea1a‐4113‐824e‐5d06b70bc9cb                   Address Redacted                       First Class Mail
034f718b‐134d‐48c7‐adad‐56ca28adaedd                   Address Redacted                       First Class Mail
0354aa90‐e5dc‐4483‐a818‐2a32e4f04a74                   Address Redacted                       First Class Mail
0354d946‐f1d2‐45ef‐8f07‐9173b9d27483                   Address Redacted                       First Class Mail
0357ee55‐d1c2‐4075‐ad2a‐5754fdf54fe6                   Address Redacted                       First Class Mail
03595e6b‐0347‐4e71‐955e‐4a1701c53058                   Address Redacted                       First Class Mail
035d0a1b‐bcd8‐4ef6‐b9c4‐ddd2214845ba                   Address Redacted                       First Class Mail
035dcd1d‐7363‐49b9‐9f7a‐5d551d8b2c43                   Address Redacted                       First Class Mail
035edaa5‐adf2‐4d5d‐98f7‐b9f8f4921c07                   Address Redacted                       First Class Mail
0362e1ea‐baca‐4ce6‐a21e‐ba26d6590fbe                   Address Redacted                       First Class Mail
0363867e‐ac65‐479c‐b489‐8b05dfa307e6                   Address Redacted                       First Class Mail
0366ed2e‐28b4‐4894‐896e‐a3b08066c01f                   Address Redacted                       First Class Mail
036b289a‐2aa2‐4eea‐99ee‐0a5c6c433b5b                   Address Redacted                       First Class Mail
0371edcd‐ce65‐4aa8‐8dbc‐1bbcc1a5f118                   Address Redacted                       First Class Mail
03752e3e‐4415‐49cd‐b626‐01286234c4f7                   Address Redacted                       First Class Mail
03767aef‐53c7‐4ca3‐b1df‐ce076a1e15bb                   Address Redacted                       First Class Mail
03784aeb‐65c5‐4bce‐99bf‐d7bc03943a6e                   Address Redacted                       First Class Mail




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                                                                 Service List


                              Name                                              Address                          Method of Service
03788c3a‐5afd‐4f2d‐98bd‐d6c5a1ea2733                   Address Redacted                       First Class Mail
0379b29c‐9e71‐4ac4‐a83b‐3f068def00cc                   Address Redacted                       First Class Mail
037a2172‐0b7c‐4ced‐ba74‐097b40be335b                   Address Redacted                       First Class Mail
037a72f0‐32f4‐44b1‐bba9‐c195242bdf84                   Address Redacted                       First Class Mail
037b6c6a‐efa6‐4b7b‐b310‐5cad5a4e386b                   Address Redacted                       First Class Mail
037d9ac7‐7363‐4738‐bb79‐a93c01eca1b9                   Address Redacted                       First Class Mail
037f22ae‐28b3‐4500‐b589‐03a241235301                   Address Redacted                       First Class Mail
03825577‐4d47‐4e01‐ae0d‐1d56402db4b3                   Address Redacted                       First Class Mail
0382b646‐c029‐4d50‐a570‐cd81c3742258                   Address Redacted                       First Class Mail
0382f688‐f5ac‐4a5c‐a557‐6cfee01f1b11                   Address Redacted                       First Class Mail
03854352‐b757‐437d‐a148‐3b2a587c1a54                   Address Redacted                       First Class Mail
0387b9b1‐d787‐4037‐a02b‐9afd662b84b1                   Address Redacted                       First Class Mail
038a1746‐4ada‐4d68‐93e6‐f7125ed0b0dd                   Address Redacted                       First Class Mail
038caed5‐c00b‐4426‐97d4‐5b2e54e76b0f                   Address Redacted                       First Class Mail
03937ffe‐387f‐4fe4‐b772‐61e144a91d99                   Address Redacted                       First Class Mail
03952ede‐f380‐4bce‐8248‐a5d2343c6a2d                   Address Redacted                       First Class Mail
039641f5‐c538‐4f60‐9a39‐14beee53079d                   Address Redacted                       First Class Mail
039b6355‐9683‐47fd‐b8c7‐bef776659c9b                   Address Redacted                       First Class Mail
039de603‐5a07‐493f‐bd94‐9270bc5fdbf5                   Address Redacted                       First Class Mail
039e4dfe‐6392‐4fb1‐82a4‐2529c6e265fb                   Address Redacted                       First Class Mail
03a137fb‐4b44‐4d0c‐bba5‐3cc88d122766                   Address Redacted                       First Class Mail
03a326c1‐b054‐4dac‐9b71‐0722286ad509                   Address Redacted                       First Class Mail
03a580db‐f051‐4ff8‐9b61‐04c2c36b406b                   Address Redacted                       First Class Mail
03a76a15‐395b‐4386‐8613‐fb398ef81e30                   Address Redacted                       First Class Mail
03aa67d8‐5ccc‐44bf‐8901‐18900a47fb2b                   Address Redacted                       First Class Mail
03aaa5c2‐f442‐4147‐9907‐b6cea412ef50                   Address Redacted                       First Class Mail
03ad8718‐3deb‐44da‐83a4‐ab91d3637567                   Address Redacted                       First Class Mail
03b01952‐1087‐4217‐ae12‐1bab0b356365                   Address Redacted                       First Class Mail
03b02112‐b1a0‐491f‐9a80‐84f577964285                   Address Redacted                       First Class Mail
03b02e77‐c6dc‐4d2a‐afaf‐058fc738ed56                   Address Redacted                       First Class Mail
03b1aadf‐b8cb‐4e4f‐8986‐7d6ff269e09a                   Address Redacted                       First Class Mail
03bf83dd‐0b24‐4aea‐aa8e‐c6cebd9593d6                   Address Redacted                       First Class Mail
03c10124‐0ab2‐4db7‐bc85‐4cf64f215267                   Address Redacted                       First Class Mail
03c48b9a‐1599‐4c85‐aa75‐df00b581cf4d                   Address Redacted                       First Class Mail
03c9a8d8‐9f7b‐4f4f‐8e91‐f579e0e558e4                   Address Redacted                       First Class Mail
03cb2e36‐1442‐4628‐9699‐47c6ff68aa5f                   Address Redacted                       First Class Mail
03ccdc27‐17bb‐42fd‐b299‐5395475fe273                   Address Redacted                       First Class Mail
03d1d144‐3f0a‐4d95‐8aa2‐ba366d4f087b                   Address Redacted                       First Class Mail
03d2d783‐9ebb‐401e‐9264‐78c9964aa1f5                   Address Redacted                       First Class Mail
03d465f2‐9ae2‐43ee‐9ccf‐77dbf46dbdcd                   Address Redacted                       First Class Mail
03e01691‐5de2‐496f‐a725‐7eb4d153ea20                   Address Redacted                       First Class Mail
03e13b05‐edee‐4db2‐a33c‐49491a455318                   Address Redacted                       First Class Mail
03e1b11f‐48a3‐4a69‐aea5‐bb081637959e                   Address Redacted                       First Class Mail
03e450f4‐70ad‐4ea6‐8667‐2bb3768ee59c                   Address Redacted                       First Class Mail
03e50238‐b40f‐42ec‐bc98‐7164ef3798b6                   Address Redacted                       First Class Mail
03e73b6f‐f4bc‐4c13‐9aad‐f9eeac4bca1e                   Address Redacted                       First Class Mail
03ea237b‐3f32‐405f‐b64c‐8c8555a04fec                   Address Redacted                       First Class Mail
03ececd1‐73e6‐41c0‐8c59‐94f097f827bc                   Address Redacted                       First Class Mail
03edb618‐9514‐431a‐8b6f‐d17517970de5                   Address Redacted                       First Class Mail
03f34b81‐8489‐4a3a‐b032‐4911d955ce5a                   Address Redacted                       First Class Mail
03fb1f3f‐51b2‐4cf4‐851b‐975624b4569c                   Address Redacted                       First Class Mail
03fd23e8‐ef5f‐4299‐9530‐bee6c08749fd                   Address Redacted                       First Class Mail
0408718b‐734e‐4e16‐92cd‐496f1ca36a51                   Address Redacted                       First Class Mail
0408e814‐22c9‐456e‐980d‐55d391ed8bc5                   Address Redacted                       First Class Mail
04106e9d‐70fd‐4c32‐a183‐4419a9c053d8                   Address Redacted                       First Class Mail
04108e1e‐1e30‐479f‐8376‐54a9085ff83c                   Address Redacted                       First Class Mail
041883b9‐e77d‐4f72‐9325‐034c734c0029                   Address Redacted                       First Class Mail
04194599‐be54‐4854‐943b‐d370af322784                   Address Redacted                       First Class Mail
041a5ef3‐9528‐4e4a‐a9a4‐43afa0e15e96                   Address Redacted                       First Class Mail
041b9ab9‐f854‐4726‐a8d4‐e6200387ed3d                   Address Redacted                       First Class Mail
0422b07c‐bf0c‐4344‐a9a0‐cd22fa00d927                   Address Redacted                       First Class Mail
0426ee6d‐7fb7‐4380‐8aa8‐4301130f5069                   Address Redacted                       First Class Mail
04297e4d‐fe90‐4646‐8460‐1257e9390053                   Address Redacted                       First Class Mail
042b9e71‐314f‐4c58‐84a3‐3d689ee33d4e                   Address Redacted                       First Class Mail
043133ea‐a252‐4d03‐8cf3‐266c52b61db8                   Address Redacted                       First Class Mail
04323113‐d91f‐49d7‐8250‐ef90bde46fa0                   Address Redacted                       First Class Mail
04342669‐a46d‐4a42‐9907‐d43fe8b378af                   Address Redacted                       First Class Mail
04342fb9‐3142‐439e‐8d67‐8979c65786a4                   Address Redacted                       First Class Mail
0436319c‐1fdd‐4c72‐bf13‐bb482d0554f2                   Address Redacted                       First Class Mail
043817b6‐67ef‐4ae1‐9535‐0d379cf0e376                   Address Redacted                       First Class Mail
04387a50‐21d4‐4d26‐8f15‐b88ee0808d3a                   Address Redacted                       First Class Mail
043881b5‐1f61‐46e7‐91f9‐cb891a05036f                   Address Redacted                       First Class Mail




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                                                                 Service List


                              Name                                              Address                          Method of Service
043afc63‐1eaa‐4424‐85c0‐32ed06f62fb3                   Address Redacted                       First Class Mail
043be504‐9b80‐4303‐bbae‐9447ecad58ff                   Address Redacted                       First Class Mail
043ccfda‐4a7d‐49b6‐aed3‐995cbe0786ef                   Address Redacted                       First Class Mail
043d1ab0‐e8bb‐4b7d‐8e8f‐56155623a3e5                   Address Redacted                       First Class Mail
043f6185‐389e‐49e1‐b196‐eb15a04ce535                   Address Redacted                       First Class Mail
0446ed3d‐ddbd‐44e1‐ade0‐7088386e2f8e                   Address Redacted                       First Class Mail
0450b3bb‐12cc‐4be9‐bd0a‐ffe35ca196b4                   Address Redacted                       First Class Mail
04568491‐6d63‐4610‐92fa‐5a1bf92f8547                   Address Redacted                       First Class Mail
045f7d65‐5d65‐4120‐a3b6‐088e970c10c1                   Address Redacted                       First Class Mail
0461eed7‐db0a‐4f16‐aba1‐fa64ca4002a2                   Address Redacted                       First Class Mail
046231b9‐70e2‐4c21‐8424‐2c8267a5a4d0                   Address Redacted                       First Class Mail
04635e14‐d9d1‐4ce5‐b321‐ee6ae62a6fd4                   Address Redacted                       First Class Mail
04637a0c‐7ed0‐47c3‐8715‐8f6c4c4e39cb                   Address Redacted                       First Class Mail
046740a0‐ac88‐4d82‐a43d‐272f50d0a212                   Address Redacted                       First Class Mail
04678237‐a6ac‐466e‐9df1‐70d8516f41a2                   Address Redacted                       First Class Mail
04695a1a‐16a6‐4ce0‐94b4‐11f4becbb25b                   Address Redacted                       First Class Mail
046ca7f7‐1989‐4c92‐a81a‐94cb76b4db7f                   Address Redacted                       First Class Mail
046cee87‐632d‐42b0‐b880‐2d8f9eaece12                   Address Redacted                       First Class Mail
046fc6cb‐c052‐4368‐ab8c‐a7c1f8310fa2                   Address Redacted                       First Class Mail
04703bc5‐01f1‐4965‐a066‐ddf2e2acac05                   Address Redacted                       First Class Mail
047756e1‐7351‐4b15‐9521‐ed137c1e7436                   Address Redacted                       First Class Mail
047e9e8f‐0510‐4dcf‐9954‐aaabb1290229                   Address Redacted                       First Class Mail
04815851‐d2e8‐4d69‐a089‐5182f088dfac                   Address Redacted                       First Class Mail
04896d72‐93de‐4e41‐8adc‐896efaba43f3                   Address Redacted                       First Class Mail
048ac37b‐b9ba‐4d0d‐85e1‐e74542feba44                   Address Redacted                       First Class Mail
048b786a‐7220‐484f‐ae3b‐cffbbc97c7a5                   Address Redacted                       First Class Mail
048c8f8d‐b111‐4f14‐a8fc‐195d9516448c                   Address Redacted                       First Class Mail
048cb07c‐7a29‐438b‐85c6‐f36e22c788db                   Address Redacted                       First Class Mail
048d8e40‐a831‐4d05‐b768‐21ccf612c5d4                   Address Redacted                       First Class Mail
048f0d5a‐a146‐4308‐adc1‐d7c997a14186                   Address Redacted                       First Class Mail
048fd5fd‐5afc‐499e‐85df‐b9f4bca23312                   Address Redacted                       First Class Mail
048fd835‐1910‐42c2‐983e‐8b7e3b4ff51f                   Address Redacted                       First Class Mail
04918a1d‐84fd‐41bd‐857d‐d2f8c9e594bc                   Address Redacted                       First Class Mail
0492d1b8‐c8bb‐46b4‐8c68‐93fdc41459c3                   Address Redacted                       First Class Mail
0498b56b‐ad9c‐41dc‐8c43‐2a608e59ff58                   Address Redacted                       First Class Mail
0499123b‐9642‐41f5‐898c‐85c3e5c6b4bf                   Address Redacted                       First Class Mail
049ac90c‐b1d8‐4de5‐ab6a‐a5468badaf9f                   Address Redacted                       First Class Mail
049ad325‐ae34‐4fd6‐979e‐79837d60afeb                   Address Redacted                       First Class Mail
049dd529‐9c84‐4784‐b9bc‐4c5fb4eab6cd                   Address Redacted                       First Class Mail
049ebe12‐21d4‐4040‐acdd‐023d727b2d3d                   Address Redacted                       First Class Mail
04a3c48f‐e271‐476e‐bcde‐2d3f120fdab8                   Address Redacted                       First Class Mail
04ab61a8‐e5fa‐450c‐9625‐5daf604b3b9f                   Address Redacted                       First Class Mail
04b045fd‐9c0c‐4799‐b3ea‐d7ee2e2471df                   Address Redacted                       First Class Mail
04b27588‐fabe‐43cf‐9cd5‐02d1638e4152                   Address Redacted                       First Class Mail
04b585bb‐ba91‐40c0‐8b75‐d16f36e85ff5                   Address Redacted                       First Class Mail
04b6f1ea‐22e3‐40ab‐b45e‐59d0c8d84736                   Address Redacted                       First Class Mail
04b86f0c‐1fa1‐46fa‐b8d6‐7923e4c671a9                   Address Redacted                       First Class Mail
04ba063b‐dca1‐4f71‐93fd‐995abb1bc52a                   Address Redacted                       First Class Mail
04bab955‐0676‐4589‐b399‐d03fb6317b70                   Address Redacted                       First Class Mail
04be22e0‐17ef‐4b0c‐8cf4‐71e6b359406e                   Address Redacted                       First Class Mail
04bf88d0‐9c6a‐404b‐add3‐22577060a81b                   Address Redacted                       First Class Mail
04c3074c‐b501‐44f8‐9bf7‐f76a28bb76b3                   Address Redacted                       First Class Mail
04c54f9d‐6f18‐4b3a‐904b‐991f18f838c3                   Address Redacted                       First Class Mail
04cb08b7‐6874‐41e1‐af2c‐1d53363d452f                   Address Redacted                       First Class Mail
04cc1260‐c940‐4e07‐b45c‐bbce7d61f874                   Address Redacted                       First Class Mail
04ce4703‐342d‐4546‐979e‐cbf4f771477b                   Address Redacted                       First Class Mail
04ce5e46‐b586‐48b7‐990b‐67978c5836ad                   Address Redacted                       First Class Mail
04ce74cf‐abdf‐4a2a‐b4a2‐f4084fcc14d2                   Address Redacted                       First Class Mail
04d203d0‐20f8‐49a4‐b4f7‐8dfa3f3cda96                   Address Redacted                       First Class Mail
04d3f406‐1cad‐4033‐ad1f‐70c209b0bce6                   Address Redacted                       First Class Mail
04d95f83‐414b‐4840‐9b38‐905ca67a0f0b                   Address Redacted                       First Class Mail
04d9d1d3‐963e‐4b47‐bb6d‐5a2c0f92fe81                   Address Redacted                       First Class Mail
04dd01f0‐7152‐4af1‐bb18‐e810e7e73b66                   Address Redacted                       First Class Mail
04df6540‐18b9‐4786‐97fd‐67338c9cca30                   Address Redacted                       First Class Mail
04e2f027‐b9a5‐4b6f‐aa3b‐80e701a9719c                   Address Redacted                       First Class Mail
04f2c76d‐bf2d‐487c‐a7c4‐70f80af30357                   Address Redacted                       First Class Mail
04fd50ba‐e889‐457d‐95c2‐aaa0b0f71577                   Address Redacted                       First Class Mail
04fd8cac‐eab2‐422b‐be86‐c3e6b96f0013                   Address Redacted                       First Class Mail
04fe0a6c‐d552‐4d17‐a2ab‐9b1e49b94aed                   Address Redacted                       First Class Mail
04fe1b4d‐34c4‐4a00‐adba‐5a54e0de536c                   Address Redacted                       First Class Mail
05058e0d‐01ce‐4561‐8b53‐7e029470fda5                   Address Redacted                       First Class Mail
05086be1‐501c‐402d‐a5fb‐3c9382e6df90                   Address Redacted                       First Class Mail




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                              Name                                              Address                        Method of Service
0509d3c2‐52cd‐4e14‐bd01‐46dfde72e196                   Address Redacted                     First Class Mail
050c17ee‐80d3‐4754‐80be‐3ab7cca90b20                   Address Redacted                     First Class Mail
050d1215‐f543‐4895‐820a‐e7cb4dac4a52                   Address Redacted                     First Class Mail
050dd2fb‐a4cd‐4e3b‐81f5‐3514f06101f8                   Address Redacted                     First Class Mail
050ec317‐214a‐4c5e‐9374‐25800b2005ee                   Address Redacted                     First Class Mail
0510eecd‐239e‐4615‐9f50‐ff69b326cd44                   Address Redacted                     First Class Mail
05146e39‐0a8a‐4966‐b763‐50390dbf8c6d                   Address Redacted                     First Class Mail
05181548‐1f3b‐4a1c‐b80e‐382ef9645b2f                   Address Redacted                     First Class Mail
051a8b40‐dd50‐4434‐9f10‐159429a9dfe2                   Address Redacted                     First Class Mail
051f3958‐ac23‐413a‐b950‐aeffc231f88a                   Address Redacted                     First Class Mail
051fb398‐f192‐4393‐a161‐803f39853a2a                   Address Redacted                     First Class Mail
05261390‐09cf‐4fb5‐8be9‐279426ed896d                   Address Redacted                     First Class Mail
0529effc‐4647‐4c88‐bf98‐819d73b2f00f                   Address Redacted                     First Class Mail
052a603e‐7a81‐4402‐92ac‐19c092137453                   Address Redacted                     First Class Mail
052db8d6‐387c‐4a04‐afe4‐9a3618b4c1be                   Address Redacted                     First Class Mail
052e1ed7‐1abe‐4ab7‐a76b‐2b37754d2f32                   Address Redacted                     First Class Mail
05317c4c‐f676‐4257‐8ebb‐07e32eae1816                   Address Redacted                     First Class Mail
053d091a‐cbc9‐4482‐b15e‐ee869e60eee9                   Address Redacted                     First Class Mail
05402689‐1bf5‐4b7b‐bc27‐e1d2a99090bf                   Address Redacted                     First Class Mail
05427060‐0add‐4156‐92a5‐0786cd044aa7                   Address Redacted                     First Class Mail
0544d726‐bc09‐4f53‐87fa‐8cc5e39be3d5                   Address Redacted                     First Class Mail
05484935‐706b‐40aa‐bcb0‐daae4cadb102                   Address Redacted                     First Class Mail
0548dbc4‐27b7‐4a4f‐8c57‐b7a930c0a5c0                   Address Redacted                     First Class Mail
054bfab1‐e63e‐4fd0‐a079‐5d5ac0be7baa                   Address Redacted                     First Class Mail
0551e2a9‐b921‐46da‐ad44‐a561d22c487c                   Address Redacted                     First Class Mail
0553608d‐b576‐4a9b‐9c41‐4ddbc47a5a11                   Address Redacted                     First Class Mail
055632ae‐ca8b‐4bfd‐bde6‐6a5c1501e9ec                   Address Redacted                     First Class Mail
055666a2‐d121‐4118‐a433‐b04a477dfb86                   Address Redacted                     First Class Mail
055d6812‐ad0a‐4603‐95b4‐a8585eed7e00                   Address Redacted                     First Class Mail
05606a1e‐419f‐4b17‐8ce6‐9c025b15b501                   Address Redacted                     First Class Mail
056390fc‐e58f‐41a5‐ad0b‐c3a51942a159                   Address Redacted                     First Class Mail
05642de2‐acd9‐4d31‐bbe9‐19014c6c438a                   Address Redacted                     First Class Mail
0564d8bc‐335c‐4787‐a49b‐3c2f98617741                   Address Redacted                     First Class Mail
0566ab25‐c1cc‐4568‐af9c‐bfd157a767bd                   Address Redacted                     First Class Mail
056e0d0e‐9700‐4c3b‐a7fd‐d9a736d8b35a                   Address Redacted                     First Class Mail
056f68d7‐885c‐4b80‐8baf‐c092a0274c9a                   Address Redacted                     First Class Mail
056faf3b‐a3d6‐4ba3‐aa52‐efb5d285037f                   Address Redacted                     First Class Mail
0571f3a2‐0e0d‐4014‐91bf‐a3dedbcf0b5b                   Address Redacted                     First Class Mail
05726f45‐10b5‐4f4a‐b73e‐25c9b67204b9                   Address Redacted                     First Class Mail
05731863‐9007‐475d‐b280‐8cc221fd5c08                   Address Redacted                     First Class Mail
05740dbb‐3435‐4512‐8332‐bdec4c5974c6                   Address Redacted                     First Class Mail
05773ad6‐8451‐4206‐9369‐f15b594b2278                   Address Redacted                     First Class Mail
0578dcf8‐159d‐4151‐a8ee‐c7be1a844b31                   Address Redacted                     First Class Mail
0579c2ef‐c78d‐4fcb‐aa56‐d1149af89668                   Address Redacted                     First Class Mail
057c17e9‐903f‐495c‐99e0‐6c466891e4e5                   Address Redacted                     First Class Mail
057d8086‐f508‐47bf‐b0f7‐477542479063                   Address Redacted                     First Class Mail
057e29f3‐fd7f‐4bfc‐ada1‐459c63390650                   Address Redacted                     First Class Mail
0583d666‐704f‐418f‐95d0‐854ba9021955                   Address Redacted                     First Class Mail
058650a2‐6954‐4e7f‐a23b‐6edff83c7f05                   Address Redacted                     First Class Mail
05874558‐7d69‐417f‐909f‐4d13afaa924d                   Address Redacted                     First Class Mail
058a4fa7‐8799‐4c4d‐a75d‐06f247f76b9f                   Address Redacted                     First Class Mail
058b9402‐30b1‐4930‐96d2‐9077f9ab55b0                   Address Redacted                     First Class Mail
058e0638‐c952‐475a‐87c5‐44ed48273847                   Address Redacted                     First Class Mail
058e559d‐7b4e‐40f2‐9e37‐ed34678c2f6f                   Address Redacted                     First Class Mail
058fc7b8‐bee3‐424a‐b1f5‐c4ccdbbdf7c5                   Address Redacted                     First Class Mail
0591dec6‐c653‐4285‐9b6c‐68f186af69d6                   Address Redacted                     First Class Mail
059283d1‐c366‐4fe0‐8332‐6e3c6e3ac563                   Address Redacted                     First Class Mail
0593a709‐b6cb‐4c4f‐9e12‐6aa78ec9d9c9                   Address Redacted                     First Class Mail
0597ea49‐0832‐4f44‐8d1f‐fb51401ee57b                   Address Redacted                     First Class Mail
0598a534‐6bd7‐4b33‐b04b‐65ea0a87ce24                   Address Redacted                     First Class Mail
059d0b3c‐8ddc‐4fe1‐8c2f‐44359704f9dc                   Address Redacted                     First Class Mail
059d11fc‐94c0‐4459‐a851‐290b01b8adce                   Address Redacted                     First Class Mail
05a593e9‐843d‐4729‐a3cf‐d373d5331744                   Address Redacted                     First Class Mail
05a5dfc3‐9530‐4934‐875d‐1397a83f3c8e                   Address Redacted                     First Class Mail
05a74018‐c4ab‐4add‐abf6‐0cb09ddda44a                   Address Redacted                     First Class Mail
05a8e9cc‐1f9f‐445f‐9fc7‐09d89ea21098                   Address Redacted                     First Class Mail
05b1a6fc‐978d‐4773‐9e4f‐8e2105565865                   Address Redacted                     First Class Mail
05b50860‐0b5e‐4fa5‐8395‐1936d614d4e3                   Address Redacted                     First Class Mail
05b5d69e‐4079‐40dc‐8cf6‐8a3b2efa73a3                   Address Redacted                     First Class Mail
05b6d5e0‐46a7‐43b3‐b662‐9c5cd6287c16                   Address Redacted                     First Class Mail
05b7240c‐d429‐437f‐bddd‐e605b332e136                   Address Redacted                     First Class Mail
05b96265‐9b2a‐4f35‐a06f‐e0c6554d35a5                   Address Redacted                     First Class Mail




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                              Name                                              Address                        Method of Service
05b9a021‐fcb2‐4be5‐bfaf‐f838e8034461                   Address Redacted                     First Class Mail
05beaad9‐084d‐4f8b‐8c5a‐d1885a3951fb                   Address Redacted                     First Class Mail
05c2f574‐f757‐4aad‐b79d‐4e020fbcf78a                   Address Redacted                     First Class Mail
05c2fd62‐045b‐421f‐a5ba‐aa903afd4912                   Address Redacted                     First Class Mail
05c691e9‐753c‐47ab‐8009‐d33022d00144                   Address Redacted                     First Class Mail
05c889fa‐6655‐4291‐8496‐0741dc887f61                   Address Redacted                     First Class Mail
05c90ac2‐fc53‐4375‐b891‐1be300ade40e                   Address Redacted                     First Class Mail
05c9831a‐df1d‐4cdf‐8217‐0b31b25158f6                   Address Redacted                     First Class Mail
05cd853c‐4f7a‐40c3‐9c9f‐0b8ef5067155                   Address Redacted                     First Class Mail
05d274ab‐4409‐4aed‐bb7f‐f2726ae9ba5a                   Address Redacted                     First Class Mail
05d473da‐ff40‐40cd‐9b78‐3a1a8751237d                   Address Redacted                     First Class Mail
05d80481‐6957‐4a16‐ba62‐a3d920c8fc00                   Address Redacted                     First Class Mail
05d87fe9‐b855‐4919‐9929‐098559e31f27                   Address Redacted                     First Class Mail
05d9844a‐6e60‐4dc7‐95ef‐85aa63d3ef4b                   Address Redacted                     First Class Mail
05dd0c2f‐2b92‐4abe‐be18‐d4c9d0702fd3                   Address Redacted                     First Class Mail
05dda56e‐86fa‐4474‐be1a‐0f0fb3f20a67                   Address Redacted                     First Class Mail
05e6abdd‐228a‐4b50‐8c18‐f1a9af7c5348                   Address Redacted                     First Class Mail
05ee14c7‐4538‐434c‐9a0a‐67b88b1678a2                   Address Redacted                     First Class Mail
05f093f3‐409a‐4a2e‐b9de‐327b579fea2f                   Address Redacted                     First Class Mail
05f404b2‐3abc‐4219‐96df‐37542eeb54a9                   Address Redacted                     First Class Mail
05f46710‐fd31‐4dae‐a8f9‐f2feb1d9ea6f                   Address Redacted                     First Class Mail
05f5a086‐1ea0‐4f4b‐b02b‐d16bdf70050d                   Address Redacted                     First Class Mail
05fd1c0d‐c17e‐4342‐98b8‐ce8a58bac876                   Address Redacted                     First Class Mail
06012b77‐8cc4‐4da4‐8d97‐96fbb4f6b64d                   Address Redacted                     First Class Mail
06017c03‐ae23‐4d23‐834c‐e14eb09fdf91                   Address Redacted                     First Class Mail
06019377‐80d0‐4449‐b610‐c851fb88b08f                   Address Redacted                     First Class Mail
06030676‐d50f‐48fa‐90bd‐a7eb08c5a3d4                   Address Redacted                     First Class Mail
06042cd1‐3f3a‐4f71‐9960‐e00fd8b6109d                   Address Redacted                     First Class Mail
0608f2fe‐2f4e‐483d‐9324‐8f00993cf5f5                   Address Redacted                     First Class Mail
06090f7f‐4cc5‐4fff‐b37d‐2e120b3a0288                   Address Redacted                     First Class Mail
060bd31e‐a93b‐47d9‐a517‐20cd7cae29ca                   Address Redacted                     First Class Mail
060bded1‐fe5f‐45f0‐a03a‐22b8a276b7c3                   Address Redacted                     First Class Mail
060d9d6e‐1abe‐4713‐8b98‐ece0a93d97b6                   Address Redacted                     First Class Mail
0619cf36‐42d5‐499b‐b4ef‐e48edae8aab8                   Address Redacted                     First Class Mail
061a9e47‐b6af‐4628‐808c‐6ce443fbf116                   Address Redacted                     First Class Mail
061adb8a‐e369‐4bd4‐87ac‐a7512155b57d                   Address Redacted                     First Class Mail
062585b4‐fc37‐4326‐8627‐532872d4ac0d                   Address Redacted                     First Class Mail
06265f88‐d2d0‐4719‐97b7‐7a44fbdb1173                   Address Redacted                     First Class Mail
062749b3‐9151‐4e73‐a4f4‐1fc602a95b5a                   Address Redacted                     First Class Mail
0628542a‐ca0e‐40b9‐b292‐1cbd48d6a73a                   Address Redacted                     First Class Mail
0628892e‐61c8‐4b9d‐9fe4‐d4e83da35dc2                   Address Redacted                     First Class Mail
06299c2e‐6f87‐4d5a‐8bcd‐cc89f43174ee                   Address Redacted                     First Class Mail
062e2620‐c649‐466e‐8125‐ca18f4e257e4                   Address Redacted                     First Class Mail
062e3b81‐0ebd‐43b6‐ac24‐4a82b2e34886                   Address Redacted                     First Class Mail
062f4f28‐d2b9‐46f0‐99a2‐615830205382                   Address Redacted                     First Class Mail
0630c339‐b730‐434b‐8370‐e5aa05f2e688                   Address Redacted                     First Class Mail
0631e982‐0f4c‐4199‐be79‐c9632bfc4661                   Address Redacted                     First Class Mail
06322d68‐ee79‐475e‐805a‐48e6ab5651e4                   Address Redacted                     First Class Mail
0637482f‐5273‐40c1‐978b‐726ae57e0dbb                   Address Redacted                     First Class Mail
0637bcd0‐4bdf‐4cd6‐8625‐dd33f9887017                   Address Redacted                     First Class Mail
063819d9‐585d‐4bde‐b03b‐6226cbc14075                   Address Redacted                     First Class Mail
06388da2‐1f2d‐4536‐b1fc‐e5ffb6beb1d7                   Address Redacted                     First Class Mail
0638b53c‐6a2f‐49ab‐a7a8‐88fa94f6914c                   Address Redacted                     First Class Mail
063ce45e‐c0a1‐4f25‐b9b4‐93d57413f14f                   Address Redacted                     First Class Mail
063d041f‐0887‐4c2f‐880a‐17cf943582b2                   Address Redacted                     First Class Mail
0641f633‐00a0‐4037‐8978‐fdd9d1540595                   Address Redacted                     First Class Mail
0647ccb4‐2c30‐48d4‐86a1‐028f2bb3f251                   Address Redacted                     First Class Mail
064805a4‐8326‐434f‐aeea‐b452879a016f                   Address Redacted                     First Class Mail
064cc9b5‐719a‐4859‐be59‐e089a8da889c                   Address Redacted                     First Class Mail
064d3ea8‐c7e2‐48a6‐9995‐95c394fccfa3                   Address Redacted                     First Class Mail
065530ad‐7ad7‐4bf1‐9ad2‐6317cd49c92d                   Address Redacted                     First Class Mail
0655378a‐988b‐490d‐90c6‐81728099aa85                   Address Redacted                     First Class Mail
0655af9d‐2825‐4bd0‐ba06‐3f5d2e2f12ed                   Address Redacted                     First Class Mail
0655b597‐67ba‐40e0‐967e‐b4bd58e10650                   Address Redacted                     First Class Mail
0656d506‐c6e7‐4588‐82f6‐abcc84824fbb                   Address Redacted                     First Class Mail
065b2e8b‐cc56‐4ea7‐b544‐4a9330bd1dec                   Address Redacted                     First Class Mail
065de843‐eec4‐466a‐ac29‐737ed19e2181                   Address Redacted                     First Class Mail
0660a0ee‐fea8‐401b‐8521‐f87de1bac402                   Address Redacted                     First Class Mail
066290a8‐6f1c‐4990‐b5cb‐5dac48a897de                   Address Redacted                     First Class Mail
066613e1‐8075‐4ab9‐bee5‐3adf3346d501                   Address Redacted                     First Class Mail
066d4745‐a3aa‐43a4‐9e55‐ed71bdd84389                   Address Redacted                     First Class Mail
066f016a‐af7e‐432a‐813b‐38a9923213bc                   Address Redacted                     First Class Mail




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                                                                 Service List


                              Name                                              Address                        Method of Service
066f5917‐4d9a‐4f09‐86af‐e3ab6092e5db                   Address Redacted                     First Class Mail
0673de49‐a82c‐4c5d‐81e3‐7ab2f2555141                   Address Redacted                     First Class Mail
067b7336‐feb9‐4921‐b4ea‐9eacbc89463f                   Address Redacted                     First Class Mail
067c6f23‐0f83‐4152‐a39c‐c896d6e0eba4                   Address Redacted                     First Class Mail
067d15d2‐939a‐4f7d‐bbd1‐03a10f3793f9                   Address Redacted                     First Class Mail
067f17a5‐f360‐486a‐bedd‐519383357590                   Address Redacted                     First Class Mail
0682f1dd‐8d8d‐4097‐9fd7‐b95803a40663                   Address Redacted                     First Class Mail
068340a3‐12e2‐40c9‐b8c1‐2d4ba127b77d                   Address Redacted                     First Class Mail
068b340c‐47b7‐462b‐be75‐12c6b9f89e03                   Address Redacted                     First Class Mail
068da44d‐2a92‐43c3‐9cf1‐a7c30e1dd033                   Address Redacted                     First Class Mail
0693a80a‐959c‐47c5‐aff1‐0c266e9c4d86                   Address Redacted                     First Class Mail
0696fa4c‐2432‐4341‐82a9‐c9530a149b43                   Address Redacted                     First Class Mail
069b5f81‐78a6‐4f86‐a382‐ad33fb7e5531                   Address Redacted                     First Class Mail
069d5f65‐4877‐4ed4‐9b50‐8aec4fe3a5cc                   Address Redacted                     First Class Mail
069d8998‐f266‐4e2b‐af3c‐c7c1121d6290                   Address Redacted                     First Class Mail
069ef526‐a3e7‐4285‐969c‐7b9f20693a4d                   Address Redacted                     First Class Mail
069f9586‐39c6‐4517‐b555‐a5fcc7a06fc7                   Address Redacted                     First Class Mail
06a16b05‐9873‐4595‐8bb5‐77f3330d5d8e                   Address Redacted                     First Class Mail
06a1bba7‐3f3a‐4606‐89ea‐6287c2a7b435                   Address Redacted                     First Class Mail
06a440c0‐e93f‐46b0‐82db‐e571ecd0ddca                   Address Redacted                     First Class Mail
06a51ac7‐0ed9‐4742‐b7db‐e1a0e1bb247d                   Address Redacted                     First Class Mail
06a579a4‐cd47‐4a9c‐8123‐8047f9e85078                   Address Redacted                     First Class Mail
06a7976f‐0322‐42fb‐aa81‐57e171440d03                   Address Redacted                     First Class Mail
06a80ee7‐d82a‐492e‐a0b4‐0bde66859a29                   Address Redacted                     First Class Mail
06a85c84‐29c8‐4bde‐9b87‐eaf2796c10f2                   Address Redacted                     First Class Mail
06a866bf‐1a92‐4aa8‐a206‐74cb3bb40239                   Address Redacted                     First Class Mail
06aa7b98‐7a6e‐4f6c‐b3ec‐6d2fb8ab7e06                   Address Redacted                     First Class Mail
06ab3720‐35cc‐4b2f‐bcf4‐51a2d62e1b9b                   Address Redacted                     First Class Mail
06ad5a9e‐e867‐46b5‐9681‐d6679afa908a                   Address Redacted                     First Class Mail
06adc75f‐c11b‐4e8a‐98b4‐0c1a96f09073                   Address Redacted                     First Class Mail
06afeda8‐e426‐43b1‐b8c6‐2d2f437a63dc                   Address Redacted                     First Class Mail
06ba6048‐3eb9‐433d‐b0f1‐1e71bc3bc9e1                   Address Redacted                     First Class Mail
06c26312‐9927‐45a9‐99a3‐93d693451388                   Address Redacted                     First Class Mail
06c34a85‐8e48‐426b‐89ca‐4f4704368386                   Address Redacted                     First Class Mail
06c37933‐0a40‐4294‐9cbc‐9123e6c1e4ea                   Address Redacted                     First Class Mail
06c3c8dd‐92f4‐4396‐973b‐2c82c9f1bbdd                   Address Redacted                     First Class Mail
06c4c9b3‐e404‐423b‐a343‐edd2a5d75352                   Address Redacted                     First Class Mail
06c81510‐d794‐4540‐89a3‐7a028fa7ec9a                   Address Redacted                     First Class Mail
06c9ff52‐8905‐409c‐82f9‐d29bacf61d6c                   Address Redacted                     First Class Mail
06d03cf9‐7720‐4f3d‐871a‐74767ac45cb4                   Address Redacted                     First Class Mail
06d3bdd7‐9a34‐4d14‐92ab‐1135b09f0fe3                   Address Redacted                     First Class Mail
06d641d1‐7226‐42ed‐9842‐0d6a4716c997                   Address Redacted                     First Class Mail
06d6b7cb‐1ba2‐441a‐8128‐e10a449a429f                   Address Redacted                     First Class Mail
06d89750‐a000‐49ce‐a099‐2331ff248f8c                   Address Redacted                     First Class Mail
06e4ba87‐e787‐4bb1‐ac64‐c3071901ebdb                   Address Redacted                     First Class Mail
06e718a8‐90af‐47de‐84b3‐12dc082fa090                   Address Redacted                     First Class Mail
06e7e41d‐422e‐4e79‐87dd‐96feae2650bd                   Address Redacted                     First Class Mail
06e85d65‐e1f0‐44e7‐9c44‐3e4cf264fbc2                   Address Redacted                     First Class Mail
06eaec97‐f15d‐4f5d‐b0d6‐3c21070d3198                   Address Redacted                     First Class Mail
06ed8de9‐ecd8‐471d‐a8de‐3fa5c1ffe59c                   Address Redacted                     First Class Mail
06edf0d6‐3382‐456f‐97f8‐b3cf2418e2ed                   Address Redacted                     First Class Mail
06f27191‐5b16‐4d37‐aac2‐806f516437a5                   Address Redacted                     First Class Mail
06f8a71e‐2517‐46a6‐a2e0‐35fb797dc5bf                   Address Redacted                     First Class Mail
06f8f3fd‐fa89‐429c‐b66f‐09713a730550                   Address Redacted                     First Class Mail
06fbe747‐5f61‐4b1a‐8b5b‐f36826ceb1dd                   Address Redacted                     First Class Mail
06ffcc23‐1933‐43f3‐9b4e‐e21527a8e9b7                   Address Redacted                     First Class Mail
0701d8e4‐69c9‐4bde‐9afd‐e4998e45b08d                   Address Redacted                     First Class Mail
0702faa6‐6901‐41e9‐b700‐fd7c0fef39ec                   Address Redacted                     First Class Mail
07066fc1‐6d0d‐4a1d‐bbc8‐4243eae75478                   Address Redacted                     First Class Mail
0708c6a5‐c415‐4a7d‐8440‐20c2b0f6ba83                   Address Redacted                     First Class Mail
07095717‐a0a5‐414b‐8327‐93dbd7e923ac                   Address Redacted                     First Class Mail
070d480c‐e4a5‐43c7‐90c7‐44520e9010c1                   Address Redacted                     First Class Mail
070d5913‐e764‐43e9‐9e93‐b76d131abdce                   Address Redacted                     First Class Mail
070f05e2‐b755‐44bb‐ad68‐035be3f703ca                   Address Redacted                     First Class Mail
070f10ad‐7542‐4998‐8a74‐0aaa8284157c                   Address Redacted                     First Class Mail
0710355d‐749e‐4162‐868d‐b9e77b9f196b                   Address Redacted                     First Class Mail
07108a03‐208a‐4783‐98d8‐076daafb0cca                   Address Redacted                     First Class Mail
0714061e‐eda0‐41c2‐bb81‐95d78d4e36ab                   Address Redacted                     First Class Mail
071481dc‐0e04‐46e5‐ab99‐5a54d850f03c                   Address Redacted                     First Class Mail
0717d4e5‐717d‐4355‐82f4‐a588b2603790                   Address Redacted                     First Class Mail
0718f798‐8996‐43df‐b795‐0899ed8d4cc9                   Address Redacted                     First Class Mail
0719b0d7‐cef2‐4d45‐a2e6‐bcf877439fdf                   Address Redacted                     First Class Mail




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                              Name                                              Address                        Method of Service
0720f7a1‐b94f‐4cff‐87b3‐cae3936bab5c                   Address Redacted                     First Class Mail
072202a9‐1426‐4712‐b227‐7fdfbbc3bb53                   Address Redacted                     First Class Mail
07282136‐009b‐4f14‐8fb6‐93c3b1af0a2d                   Address Redacted                     First Class Mail
072c7545‐d28f‐4be9‐84d9‐357874db758c                   Address Redacted                     First Class Mail
072d4888‐e49d‐4e98‐a201‐6374cd0ef84e                   Address Redacted                     First Class Mail
07313f68‐ac19‐4136‐987d‐8add7ad8993a                   Address Redacted                     First Class Mail
073152f2‐4e83‐4540‐9274‐356f6ee0a721                   Address Redacted                     First Class Mail
07385614‐165d‐4618‐8aaa‐b5471675017f                   Address Redacted                     First Class Mail
073af477‐890c‐403f‐b169‐26bff69a97a2                   Address Redacted                     First Class Mail
073cabda‐d160‐44b2‐9aea‐2c32cf5c330b                   Address Redacted                     First Class Mail
07403d41‐9efc‐4068‐ac67‐a7d7241ffd78                   Address Redacted                     First Class Mail
074253f5‐688e‐4afa‐b090‐2d6fc10ac387                   Address Redacted                     First Class Mail
0749bd68‐6d2a‐4c75‐9ba5‐98a12553ceee                   Address Redacted                     First Class Mail
074eb3b3‐99c0‐401b‐85ae‐1ec294d3d7ef                   Address Redacted                     First Class Mail
07502b50‐d9c1‐44e4‐bfcc‐b4813c7375ed                   Address Redacted                     First Class Mail
07546d0d‐6f2a‐4f5e‐a9fc‐7e5d87841d9d                   Address Redacted                     First Class Mail
07555427‐f65a‐4d55‐9438‐1b60239ab461                   Address Redacted                     First Class Mail
0759ceb0‐647f‐4cb2‐82bb‐41ce601f7755                   Address Redacted                     First Class Mail
075abc92‐e3fa‐40b4‐8947‐8c2b6395bd16                   Address Redacted                     First Class Mail
075bde50‐177d‐413e‐b653‐d1f1e092c3e5                   Address Redacted                     First Class Mail
075eb395‐eec0‐4ed2‐856b‐5205d3ded301                   Address Redacted                     First Class Mail
075eb3f7‐43a6‐43f4‐a2e5‐fffe0cd15e86                   Address Redacted                     First Class Mail
07615427‐2eb5‐48ba‐9562‐8cbf855b699f                   Address Redacted                     First Class Mail
07665c3c‐8fee‐42b3‐8291‐302f0e617797                   Address Redacted                     First Class Mail
076d3ace‐2eec‐4307‐b4ba‐aae2fbf1c142                   Address Redacted                     First Class Mail
076e9993‐22e0‐471f‐b410‐28796773b346                   Address Redacted                     First Class Mail
0771dfbb‐eab7‐44d0‐8b9d‐88944b2d8d4d                   Address Redacted                     First Class Mail
07744c30‐39ba‐470c‐bff5‐286612729203                   Address Redacted                     First Class Mail
0777d999‐feb1‐4395‐b285‐ab36a0248691                   Address Redacted                     First Class Mail
0779e56a‐74db‐4b98‐af4f‐6ed71a0ba6bb                   Address Redacted                     First Class Mail
077ecc02‐d872‐4d16‐af6c‐facb73a47323                   Address Redacted                     First Class Mail
07804ea8‐9774‐424e‐91ce‐da25daa1f748                   Address Redacted                     First Class Mail
07841f46‐b4a5‐4ff4‐9043‐7f23ae82cec5                   Address Redacted                     First Class Mail
07876c36‐47d2‐430b‐afe3‐bff2a68f1212                   Address Redacted                     First Class Mail
078e2eff‐87af‐4e41‐92a1‐c7dcdb3a1786                   Address Redacted                     First Class Mail
079076db‐0b44‐4877‐9fd8‐77f00d5d3a29                   Address Redacted                     First Class Mail
07991c09‐bbc9‐4769‐a551‐e243903f3d35                   Address Redacted                     First Class Mail
07999b79‐8aa8‐406c‐9f7d‐8c0b34081243                   Address Redacted                     First Class Mail
079d9890‐853f‐4b36‐bf53‐008adcc9f8db                   Address Redacted                     First Class Mail
07a15024‐cee2‐49fa‐9e8d‐f3e7c8ccaa20                   Address Redacted                     First Class Mail
07a389be‐5e6d‐422c‐bb9e‐f6404574ee99                   Address Redacted                     First Class Mail
07ab4ded‐c723‐4849‐ab3f‐38402c247d2e                   Address Redacted                     First Class Mail
07ac13bc‐592c‐4aa7‐840e‐f05a165c43ff                   Address Redacted                     First Class Mail
07adb6fb‐331e‐42b5‐a92d‐d2671ebf78dd                   Address Redacted                     First Class Mail
07aedd81‐b144‐4a85‐8c80‐cf8d3eb14bc7                   Address Redacted                     First Class Mail
07b01d7d‐ae4a‐4481‐8784‐6e63b24d504d                   Address Redacted                     First Class Mail
07b1da54‐98da‐445f‐bc16‐3452c7d51e66                   Address Redacted                     First Class Mail
07b73c13‐4d7f‐4b03‐ad97‐0c1363b09116                   Address Redacted                     First Class Mail
07c98544‐892c‐4a53‐9a1b‐4762988e0c1b                   Address Redacted                     First Class Mail
07c9c636‐0c9a‐40e4‐8240‐454313ce0ed7                   Address Redacted                     First Class Mail
07ccb1c2‐e5db‐4ac9‐9b47‐4f55c329266e                   Address Redacted                     First Class Mail
07d18a68‐914f‐4cd3‐9c50‐e6d672d91112                   Address Redacted                     First Class Mail
07d42349‐2afe‐4e46‐a5b2‐6f0f73e03232                   Address Redacted                     First Class Mail
07d5bab6‐be68‐4756‐b3bd‐673e8b31184a                   Address Redacted                     First Class Mail
07dbe46b‐c0b3‐4cce‐9282‐233cc48ffef2                   Address Redacted                     First Class Mail
07dc1f9f‐26f0‐4313‐8c56‐876969a27e18                   Address Redacted                     First Class Mail
07ddf289‐19e5‐42c3‐8505‐5a389ba00ea3                   Address Redacted                     First Class Mail
07e0717a‐621a‐42a4‐ad66‐c8e675477b23                   Address Redacted                     First Class Mail
07e177eb‐2680‐43ce‐a1f0‐1b912f42b9d1                   Address Redacted                     First Class Mail
07e44af8‐81e1‐477e‐8ffc‐a92876d430ec                   Address Redacted                     First Class Mail
07e6a89c‐fbda‐43ce‐b800‐097cdb62c472                   Address Redacted                     First Class Mail
07e7bc88‐1ead‐491a‐b3ab‐d8dacf46a299                   Address Redacted                     First Class Mail
07e94273‐e688‐4299‐b8b6‐5012bfe6a1eb                   Address Redacted                     First Class Mail
07eb3108‐c501‐4be1‐8806‐56595ce56b83                   Address Redacted                     First Class Mail
07eee5bb‐da46‐459e‐8783‐1d5209f5b9dd                   Address Redacted                     First Class Mail
07ef8e48‐5cb1‐475b‐82af‐c58488fdf4e8                   Address Redacted                     First Class Mail
07f16c64‐4792‐407c‐a0ca‐74191559b9b9                   Address Redacted                     First Class Mail
07f1c361‐21b0‐49b5‐8ccc‐79b851ccd4a0                   Address Redacted                     First Class Mail
07f1d93b‐5ecb‐4477‐946a‐0f0de1e6bccb                   Address Redacted                     First Class Mail
07f261a7‐fb1d‐439c‐a093‐578728007dd5                   Address Redacted                     First Class Mail
07f3fea6‐8517‐400f‐9db8‐36380ea965f9                   Address Redacted                     First Class Mail
07f47a2d‐fed1‐45c2‐95dd‐9748d1df2f80                   Address Redacted                     First Class Mail




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                               Name                                             Address                        Method of Service
07f55bc2‐00a9‐4211‐b7cc‐1b9fa9d51c67                   Address Redacted                     First Class Mail
07f6ffa6‐ff9d‐4f60‐823f‐6d72d02d5c69                   Address Redacted                     First Class Mail
07f829d4‐58b1‐44db‐b2b7‐a09e6b607456                   Address Redacted                     First Class Mail
07f87575‐821c‐42fb‐8ce5‐2e608788759a                   Address Redacted                     First Class Mail
07fef9fc‐f07a‐484e‐860e‐20e84052dc3d                   Address Redacted                     First Class Mail
07ffeb4f‐36aa‐4001‐9ee8‐0ddaab57c660                   Address Redacted                     First Class Mail
0800c051‐cc24‐478a‐a3a8‐d5ab2036d72a                   Address Redacted                     First Class Mail
080187fc‐f3bf‐4151‐b80e‐8d84284f9f06                   Address Redacted                     First Class Mail
0803166a‐b5d7‐4b56‐9e69‐bf8db1045453                   Address Redacted                     First Class Mail
080327a0‐4c3b‐4f83‐b373‐febfb633d381                   Address Redacted                     First Class Mail
0807f0a1‐5a4a‐47fd‐9b22‐7f8fc49f2906                   Address Redacted                     First Class Mail
0809408c‐6e0f‐4783‐b7e6‐48d0299a79ad                   Address Redacted                     First Class Mail
0809cfa1‐6b91‐444a‐8b19‐1ada9579851c                   Address Redacted                     First Class Mail
080aac22‐756a‐43ba‐b21f‐30da4142b211                   Address Redacted                     First Class Mail
080b8f79‐c41a‐4448‐b6c6‐e9ed33579283                   Address Redacted                     First Class Mail
080e5247‐c3df‐4c57‐a5de‐64e8f27adf09                   Address Redacted                     First Class Mail
081347ba‐2fc8‐4c6e‐b89a‐5317958fbedf                   Address Redacted                     First Class Mail
0813c202‐3e5e‐4f3a‐96b6‐ece079451614                   Address Redacted                     First Class Mail
0813f731‐94f4‐463e‐935c‐895c0f70522b                   Address Redacted                     First Class Mail
08155969‐4b58‐42a7‐b8cc‐f7fec7fac5b3                   Address Redacted                     First Class Mail
0817779b‐f22a‐4e81‐a953‐16b4b3da8145                   Address Redacted                     First Class Mail
0818b471‐ba0b‐4165‐9493‐453bbc4d81a1                   Address Redacted                     First Class Mail
0822004d‐6fd9‐45b5‐a826‐e1846b493fee                   Address Redacted                     First Class Mail
082409cc‐b265‐4c79‐aefe‐54c7b7a052fa                   Address Redacted                     First Class Mail
082724f0‐4e98‐4dc4‐9c89‐51d8bfd59b5e                   Address Redacted                     First Class Mail
082ae989‐2663‐4a69‐a4fd‐b10df57889ad                   Address Redacted                     First Class Mail
082b59c0‐ea42‐4409‐9170‐8a47bd505700                   Address Redacted                     First Class Mail
082d0120‐66bc‐41ce‐a84c‐8e459eeb6b6c                   Address Redacted                     First Class Mail
082e0138‐e5fc‐4c89‐815f‐375cd9ac728a                   Address Redacted                     First Class Mail
0830d3b0‐d236‐4785‐8840‐06d3ae39870b                   Address Redacted                     First Class Mail
083262bd‐ec95‐473a‐a962‐35798bfdb7cd                   Address Redacted                     First Class Mail
083308ef‐a352‐49c3‐a57c‐c104f2d97754                   Address Redacted                     First Class Mail
0835072a‐d8f0‐45f2‐afe0‐dda8a4eff2b3                   Address Redacted                     First Class Mail
083517eb‐b666‐40cd‐8e05‐b2cb6481e599                   Address Redacted                     First Class Mail
08385ecb‐c0f0‐4a9b‐b302‐5d87d6be6432                   Address Redacted                     First Class Mail
0838b7f9‐6fab‐4362‐8f80‐44b63e1a6ac8                   Address Redacted                     First Class Mail
083a2a99‐0dbb‐44c5‐ad24‐686da158606e                   Address Redacted                     First Class Mail
083c94a0‐9db8‐45df‐8519‐c72425b33e71                   Address Redacted                     First Class Mail
083fa77a‐a4e4‐4c1a‐8226‐4a0705c9a2fe                   Address Redacted                     First Class Mail
0840b989‐c169‐4392‐9fee‐be905e82c2c5                   Address Redacted                     First Class Mail
08422312‐ee11‐4dd3‐9e4a‐1c9c4bc17a54                   Address Redacted                     First Class Mail
08428e43‐1ea5‐4000‐8336‐03fa230c38b8                   Address Redacted                     First Class Mail
08438a70‐7788‐436e‐9e15‐b74b6f7671b0                   Address Redacted                     First Class Mail
08439338‐5770‐4592‐8737‐a74db7d24411                   Address Redacted                     First Class Mail
08441710‐e416‐4b92‐8e77‐7615bbfbadcb                   Address Redacted                     First Class Mail
0847e7f2‐a502‐47bc‐b61c‐8ce6649d6de7                   Address Redacted                     First Class Mail
084a33c9‐048d‐46c8‐90e1‐eecb99f148b1                   Address Redacted                     First Class Mail
084a9601‐6cd3‐43db‐84b9‐a4dc663d45ea                   Address Redacted                     First Class Mail
084b3c46‐15e0‐42e8‐95f8‐908619657a5a                   Address Redacted                     First Class Mail
084b7b28‐ccf0‐4539‐9c7c‐ce28ab26fc1c                   Address Redacted                     First Class Mail
084f3786‐2f3c‐48c1‐8288‐f4fc5faee5e5                   Address Redacted                     First Class Mail
085a082c‐6003‐4a3e‐add6‐9b3b6c2ef837                   Address Redacted                     First Class Mail
085a7537‐5f04‐4421‐b2cd‐38f4853c85f1                   Address Redacted                     First Class Mail
085b8d77‐dd67‐47a3‐9f51‐e5c93d25ceb0                   Address Redacted                     First Class Mail
085d1d1d‐cfe4‐43b1‐9d59‐aba2a6ab18ee                   Address Redacted                     First Class Mail
085d579e‐b091‐4c35‐801a‐c7430f268b09                   Address Redacted                     First Class Mail
085e52a4‐2a80‐42c8‐9ed8‐6ad00e29e36e                   Address Redacted                     First Class Mail
0863ac32‐c9de‐482c‐8c45‐c701de6ff87d                   Address Redacted                     First Class Mail
0869f830‐4aff‐44b8‐ac66‐e5e53aafb560                   Address Redacted                     First Class Mail
086a51c8‐f0db‐4dbd‐8451‐364b361a755d                   Address Redacted                     First Class Mail
086d17f0‐c948‐4f6d‐811b‐c4e6344881aa                   Address Redacted                     First Class Mail
08705d41‐40b4‐4e3a‐91d9‐d09627ff20e1                   Address Redacted                     First Class Mail
0870e35b‐040a‐4e28‐b8de‐02fee8a975da                   Address Redacted                     First Class Mail
0871e8f8‐7044‐4410‐96de‐14b051389792                   Address Redacted                     First Class Mail
0871ef82‐61bd‐4c91‐82fe‐bebd292f8e83                   Address Redacted                     First Class Mail
0877c7e3‐9d13‐49f8‐8ab4‐ca20b85b88c5                   Address Redacted                     First Class Mail
0879a0c6‐b3dc‐4e4a‐94bd‐33a8e7afb759                   Address Redacted                     First Class Mail
087a88c0‐fcd7‐4474‐8d1c‐ad70271ee4ad                   Address Redacted                     First Class Mail
087afa72‐51d7‐4954‐ac7a‐2f324f3741a7                   Address Redacted                     First Class Mail
0881b51e‐ec00‐4179‐a572‐f97ab220984e                   Address Redacted                     First Class Mail
0885bd91‐f077‐4b69‐8144‐32915f29015b                   Address Redacted                     First Class Mail
08865bde‐5208‐455b‐855e‐62993216b14a                   Address Redacted                     First Class Mail




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                                                                 Service List


                              Name                                              Address                        Method of Service
088972a3‐2515‐4dda‐8fec‐6002614bdcb6                   Address Redacted                     First Class Mail
088a633b‐0d05‐4c20‐b7c4‐7153eb0b1464                   Address Redacted                     First Class Mail
088cddaa‐0462‐45d2‐a278‐939fe7fabfe2                   Address Redacted                     First Class Mail
0892306b‐938a‐4c71‐a9a2‐bbb92c5e5e8d                   Address Redacted                     First Class Mail
0892fa32‐e4f2‐4d83‐a2c0‐c1ca277dadf2                   Address Redacted                     First Class Mail
08966c69‐e460‐473b‐a0a9‐a25690c7fa06                   Address Redacted                     First Class Mail
0896dc98‐70d4‐4d63‐a9d9‐5b65f72c1c0f                   Address Redacted                     First Class Mail
089bdbad‐73c8‐4755‐a43f‐4b286856ad72                   Address Redacted                     First Class Mail
089e1722‐8732‐4d66‐91eb‐daad9aee350a                   Address Redacted                     First Class Mail
089ea299‐e7c9‐4d74‐bbe8‐c09143658083                   Address Redacted                     First Class Mail
08a1e034‐25ac‐41f5‐8558‐02fedfca9ca6                   Address Redacted                     First Class Mail
08a4018b‐d525‐420b‐946b‐45afa2a08bd4                   Address Redacted                     First Class Mail
08a62542‐f5a1‐44fa‐9f61‐bca86f3a414c                   Address Redacted                     First Class Mail
08a8b143‐76d1‐40b3‐826f‐a321307b0916                   Address Redacted                     First Class Mail
08abc140‐bcfe‐4f6b‐a8a1‐cb9ca3541398                   Address Redacted                     First Class Mail
08ad7317‐d1cc‐4e44‐b131‐51938819749d                   Address Redacted                     First Class Mail
08b0d8a0‐3b07‐43c6‐9b37‐7130f696d589                   Address Redacted                     First Class Mail
08b1ee25‐d375‐4f3d‐8676‐633799e9415d                   Address Redacted                     First Class Mail
08b34483‐db6e‐47a8‐ae8d‐faade202fd15                   Address Redacted                     First Class Mail
08b7d898‐0e68‐4e8b‐be53‐1e34b915031b                   Address Redacted                     First Class Mail
08b9c981‐aceb‐4d6e‐af6b‐4703956ad559                   Address Redacted                     First Class Mail
08c138de‐a1cd‐4385‐8c8e‐03c8f744eb8c                   Address Redacted                     First Class Mail
08c7bab6‐5a0c‐45e7‐8c35‐5271d267b78c                   Address Redacted                     First Class Mail
08c80b1f‐0613‐4a75‐b4cc‐de51ddf62e26                   Address Redacted                     First Class Mail
08d1d3a9‐4b6f‐41db‐95ec‐c5c5101c5699                   Address Redacted                     First Class Mail
08d3d74b‐da6a‐44e1‐928b‐5d115f18374f                   Address Redacted                     First Class Mail
08d85c76‐7d9f‐4f99‐bea4‐2fe982b82f47                   Address Redacted                     First Class Mail
08da91d2‐d063‐4279‐bb62‐2eb824e5be0d                   Address Redacted                     First Class Mail
08db8e85‐9abc‐48ed‐8123‐2cf966fb1f42                   Address Redacted                     First Class Mail
08dd9c7e‐2d59‐4732‐a45a‐713a7111bcd9                   Address Redacted                     First Class Mail
08de5edb‐a1f5‐460e‐b500‐1ceba8f7ced2                   Address Redacted                     First Class Mail
08df2fe7‐b211‐4df5‐9eb8‐628b04e6337e                   Address Redacted                     First Class Mail
08e0a2b1‐72f7‐4aac‐926d‐b0205f788ee2                   Address Redacted                     First Class Mail
08e1fbb5‐d8e3‐4ead‐97f8‐b6b355af6fe1                   Address Redacted                     First Class Mail
08e3eb49‐3718‐4c13‐9986‐77124ccfa09f                   Address Redacted                     First Class Mail
08e97e83‐cbc1‐4541‐975b‐e8665d104b34                   Address Redacted                     First Class Mail
08ea0d70‐7813‐45ef‐bc24‐d705dfd6a812                   Address Redacted                     First Class Mail
08eaea88‐1c8e‐48be‐9d06‐fa8076ae32b1                   Address Redacted                     First Class Mail
08eb70bf‐88b0‐4820‐9c5b‐dfb30162d7a2                   Address Redacted                     First Class Mail
08ec3b86‐3ebb‐4c77‐809c‐5c7ac484fda0                   Address Redacted                     First Class Mail
08ec3bb2‐58e4‐4f61‐b4f7‐4fbdce5a0fb3                   Address Redacted                     First Class Mail
08ee2255‐70b3‐4147‐a21a‐ba4bb4c53772                   Address Redacted                     First Class Mail
08f6a2a6‐3782‐49ca‐95df‐7578356c833f                   Address Redacted                     First Class Mail
08fc49e4‐6774‐4213‐8b83‐da13e69e0bf7                   Address Redacted                     First Class Mail
090048a8‐3c3e‐4927‐85ed‐bcbf5c947753                   Address Redacted                     First Class Mail
09007750‐a86a‐4512‐b11d‐394c4b676a9b                   Address Redacted                     First Class Mail
09019c42‐0b0b‐4fa4‐8722‐5a2b028fba7a                   Address Redacted                     First Class Mail
0905ac04‐ffc9‐48f3‐a775‐421fa7909b38                   Address Redacted                     First Class Mail
090b9818‐bc9d‐48de‐a090‐22d476d4f0ba                   Address Redacted                     First Class Mail
090dba27‐f070‐4dff‐bbff‐0db33e51085c                   Address Redacted                     First Class Mail
090f9556‐970e‐404c‐a0e4‐706f3d4b479d                   Address Redacted                     First Class Mail
0913fbdf‐5edb‐4e69‐b929‐c63113c151c5                   Address Redacted                     First Class Mail
0918e176‐7e94‐47b6‐888e‐2f90d24db59b                   Address Redacted                     First Class Mail
091a22b8‐accd‐4c56‐8528‐768ade1185df                   Address Redacted                     First Class Mail
091a9253‐c46c‐4b1f‐bf04‐bcc3b87c6ddc                   Address Redacted                     First Class Mail
091b5048‐9a19‐4c4d‐a839‐b3f79749ab9d                   Address Redacted                     First Class Mail
091d03e7‐a2ed‐4b98‐ac1a‐8c176051b074                   Address Redacted                     First Class Mail
091dead2‐691f‐4502‐8e94‐da29e078e4c2                   Address Redacted                     First Class Mail
091e3542‐e117‐48d5‐8848‐c1a2a1651df8                   Address Redacted                     First Class Mail
0920054a‐0df4‐4c46‐b8fc‐ab2f88058436                   Address Redacted                     First Class Mail
0924736b‐58bd‐4ac7‐bef4‐712016edfb5a                   Address Redacted                     First Class Mail
09247d12‐8b21‐485a‐9216‐4e0b253721f9                   Address Redacted                     First Class Mail
0925cb54‐2b32‐4a29‐ae2a‐02138b00bb6e                   Address Redacted                     First Class Mail
092fddee‐4b04‐4ce3‐9db2‐8f1635c35d1b                   Address Redacted                     First Class Mail
09323035‐f5fd‐4222‐91cf‐d7ffd0730353                   Address Redacted                     First Class Mail
0932f3bc‐90cb‐43dc‐811d‐5aa9c24ba9c3                   Address Redacted                     First Class Mail
0933eb8b‐06c9‐4d87‐bd05‐d43ace8cd346                   Address Redacted                     First Class Mail
0933fc6a‐d729‐46ce‐8ca2‐86300a916fcd                   Address Redacted                     First Class Mail
09354402‐f9c1‐437b‐a195‐224391821f79                   Address Redacted                     First Class Mail
09386a63‐54bc‐42a1‐b6ed‐cd3d3d63ea56                   Address Redacted                     First Class Mail
093c04d4‐c900‐4324‐b8e6‐e24bcb8c77f7                   Address Redacted                     First Class Mail
094558f0‐a165‐44cb‐a670‐5b09e3523abb                   Address Redacted                     First Class Mail




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                                                                Exhibit A
                                                                 Service List


                              Name                                              Address                        Method of Service
09470a88‐4f21‐4084‐9585‐b4e1cd2ab69b                   Address Redacted                     First Class Mail
094d402a‐a19c‐4c6b‐af2e‐c7145ff34b90                   Address Redacted                     First Class Mail
09518d18‐45d8‐43e4‐a838‐7dc6b5af7bd4                   Address Redacted                     First Class Mail
0956f155‐cd0a‐4dde‐9c5d‐69748970173b                   Address Redacted                     First Class Mail
09583c5e‐3db1‐4743‐bdff‐32252b277d5d                   Address Redacted                     First Class Mail
095ba2a6‐0763‐4aa6‐8685‐4d41f7b8c876                   Address Redacted                     First Class Mail
095c029d‐88f9‐413b‐a5c8‐bde1106e80d8                   Address Redacted                     First Class Mail
095f85cb‐b60a‐4c55‐8715‐d5cf0ff95fbf                   Address Redacted                     First Class Mail
09602ace‐d593‐4c02‐896d‐4ff3f3019f16                   Address Redacted                     First Class Mail
09615964‐d776‐49d2‐a769‐8e1bef4e7295                   Address Redacted                     First Class Mail
0964a4d1‐10f4‐4c4f‐9dc7‐3b1386d6517f                   Address Redacted                     First Class Mail
09665ad5‐dd22‐47a2‐a781‐7878623cc5cf                   Address Redacted                     First Class Mail
096d1bac‐c992‐45ce‐a84f‐2c3bf157fdd5                   Address Redacted                     First Class Mail
0970c42b‐8785‐43a9‐a111‐21f8907ad375                   Address Redacted                     First Class Mail
0970e316‐66a2‐46e5‐bde6‐4cc1b08f57a7                   Address Redacted                     First Class Mail
0972ab36‐e699‐490b‐b8fc‐614748f9efc3                   Address Redacted                     First Class Mail
09741b82‐cdd4‐4c9f‐88a4‐2afc56b2c704                   Address Redacted                     First Class Mail
0978cae8‐5a0e‐4f0f‐9689‐777e432b5526                   Address Redacted                     First Class Mail
09797e76‐ead3‐4a9d‐aebc‐c109fd0d88ec                   Address Redacted                     First Class Mail
097ad855‐f3c4‐4928‐9246‐98fa32d6a318                   Address Redacted                     First Class Mail
097b8e3e‐10f0‐4c73‐b165‐beefbc2b4c5a                   Address Redacted                     First Class Mail
097c7e62‐7f97‐440c‐8b11‐637a044e1864                   Address Redacted                     First Class Mail
097d5817‐d240‐4cdb‐bec5‐3fdf6255a60b                   Address Redacted                     First Class Mail
09806fc5‐9114‐4c81‐8a11‐7937074027c3                   Address Redacted                     First Class Mail
0980ef8f‐0306‐4ac7‐ae77‐879398938fd4                   Address Redacted                     First Class Mail
0984b004‐2820‐4a88‐bbe4‐06f1066f726e                   Address Redacted                     First Class Mail
098660ff‐b1bc‐47e5‐85a7‐0b298e943ea7                   Address Redacted                     First Class Mail
0986b75f‐0643‐4ab2‐bec7‐b4a643e4cf26                   Address Redacted                     First Class Mail
0988a366‐c2c7‐4ac6‐873a‐ee79beaab2d2                   Address Redacted                     First Class Mail
0988e811‐e80a‐4248‐81ab‐f8271c3b182c                   Address Redacted                     First Class Mail
098a40cb‐050b‐4cdc‐b74a‐55c534ca4d61                   Address Redacted                     First Class Mail
0990eccc‐036e‐498b‐b1a6‐70d46ffc0951                   Address Redacted                     First Class Mail
099280eb‐e438‐4f2c‐8c06‐e5a6cbfa6900                   Address Redacted                     First Class Mail
09955eac‐c8d2‐4e2b‐93e0‐19af5791a6b7                   Address Redacted                     First Class Mail
099bcc05‐a76d‐4f2f‐a6e4‐8672e94621ba                   Address Redacted                     First Class Mail
099f858f‐8cb9‐4cdc‐a3f4‐3329c05e9042                   Address Redacted                     First Class Mail
09a494f1‐a606‐487b‐be89‐65e6e5f9b6f0                   Address Redacted                     First Class Mail
09a57221‐0bc6‐4503‐b680‐b2468d36bc16                   Address Redacted                     First Class Mail
09a867f8‐888b‐4fe0‐89e2‐fc77351a2d68                   Address Redacted                     First Class Mail
09aa0a1d‐1949‐422f‐b37f‐a3451ffc1f31                   Address Redacted                     First Class Mail
09aca3f2‐28c3‐4b17‐8744‐dd9b01449bba                   Address Redacted                     First Class Mail
09b1b979‐1ff3‐4764‐aa7f‐4f9a766f271b                   Address Redacted                     First Class Mail
09bedb95‐6e4b‐4d55‐acdb‐2f6ca5280d87                   Address Redacted                     First Class Mail
09bffd78‐c159‐43ce‐9535‐03447a7af34b                   Address Redacted                     First Class Mail
09c7aad8‐ca71‐4769‐9899‐7638f82e08fa                   Address Redacted                     First Class Mail
09cb95ab‐fa1a‐4637‐b0f4‐21e5a8031ff4                   Address Redacted                     First Class Mail
09cbbe9e‐6b3d‐43ea‐b608‐db8ad0a81d9c                   Address Redacted                     First Class Mail
09cc479d‐47ce‐439a‐99f8‐535a85fda8b7                   Address Redacted                     First Class Mail
09cc5d07‐5ea4‐418f‐ab7a‐1e3f08b22946                   Address Redacted                     First Class Mail
09cf64d9‐c89d‐4a86‐82cb‐f3bd7c5d2afa                   Address Redacted                     First Class Mail
09d5a36d‐ee61‐419d‐8d60‐e0d9d245359c                   Address Redacted                     First Class Mail
09d603ce‐7f57‐4867‐b47c‐85e2cbaf43b8                   Address Redacted                     First Class Mail
09d9801c‐700e‐4cca‐8728‐9efe6e25317b                   Address Redacted                     First Class Mail
09da5259‐1ec1‐4fb0‐972c‐6c0b88b5b166                   Address Redacted                     First Class Mail
09dd6e90‐c910‐49b9‐a42c‐af347e09b7b8                   Address Redacted                     First Class Mail
09df49c5‐a90a‐45fc‐802c‐eda101693d30                   Address Redacted                     First Class Mail
09e13fea‐1211‐4138‐a2b1‐2be0977feb8d                   Address Redacted                     First Class Mail
09e28d37‐57fb‐4bec‐9025‐ad4e18b3a5d7                   Address Redacted                     First Class Mail
09e701d0‐7d2f‐4757‐b1ff‐1d76f16e2d99                   Address Redacted                     First Class Mail
09e8f86b‐ce8f‐4a57‐8cf8‐b925c6922549                   Address Redacted                     First Class Mail
09edac8c‐eac0‐4676‐9ba3‐3f0c4fea5145                   Address Redacted                     First Class Mail
09ee17ee‐ef6f‐49da‐8e34‐fe028bedafaa                   Address Redacted                     First Class Mail
09ef91db‐2c09‐4186‐a8b7‐a8fc54b51612                   Address Redacted                     First Class Mail
09f0a7b6‐03e6‐4e22‐9fe4‐846827cb843d                   Address Redacted                     First Class Mail
09f19db0‐3099‐4d1c‐9ec8‐0372fab8f176                   Address Redacted                     First Class Mail
09f1ea4c‐5cd5‐4c65‐82ff‐c5727b3cab85                   Address Redacted                     First Class Mail
09f6153e‐927f‐4c4e‐bccc‐7a8d764c2998                   Address Redacted                     First Class Mail
09fe2c5e‐7098‐4bf8‐8cf8‐1e2447e17135                   Address Redacted                     First Class Mail
09ffb7f3‐6a06‐4e5a‐a49a‐ceeb3da9f149                   Address Redacted                     First Class Mail
0a01c1e5‐1b10‐452e‐96c8‐5aa4c74a9d68                   Address Redacted                     First Class Mail
0a020fd9‐beb4‐482b‐ab10‐d51840139ffc                   Address Redacted                     First Class Mail
0a0505b6‐d71a‐4b8d‐9c02‐89732e97cfbc                   Address Redacted                     First Class Mail




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                                                                Exhibit A
                                                                 Service List


                              Name                                              Address                        Method of Service
0a054202‐395b‐48a2‐89de‐ea96b50a745c                   Address Redacted                     First Class Mail
0a0b31f9‐3a6d‐4aa5‐aee5‐204a232341a8                   Address Redacted                     First Class Mail
0a142286‐8d8a‐4310‐ab95‐09f877c28d09                   Address Redacted                     First Class Mail
0a146b07‐6d68‐43f1‐a610‐9ce462deb36c                   Address Redacted                     First Class Mail
0a170aa0‐f691‐48a0‐9b0d‐52fe3bc8c50b                   Address Redacted                     First Class Mail
0a18f1a3‐0eb8‐43b3‐9a3c‐b9ed1b812e8c                   Address Redacted                     First Class Mail
0a1e9509‐42df‐4175‐9770‐f8abc1cdf758                   Address Redacted                     First Class Mail
0a1fb8ea‐e10a‐4d28‐8551‐373fdab698f2                   Address Redacted                     First Class Mail
0a2066f4‐49ae‐42c0‐abc9‐bb1de5a4c319                   Address Redacted                     First Class Mail
0a219569‐e2d7‐4426‐9648‐445060440001                   Address Redacted                     First Class Mail
0a24ea44‐dfdf‐458c‐8dd2‐e99120e2f333                   Address Redacted                     First Class Mail
0a2b4807‐1efc‐4cdc‐84fa‐82d1b6a93ac1                   Address Redacted                     First Class Mail
0a2da3e9‐6545‐483d‐abb3‐3bd7cd43c469                   Address Redacted                     First Class Mail
0a3184d5‐75d3‐4c1c‐bdab‐d352c82aae9f                   Address Redacted                     First Class Mail
0a31c291‐032f‐40eb‐9946‐b332d556bff9                   Address Redacted                     First Class Mail
0a345dc0‐002d‐442b‐9c7a‐f8823db7be31                   Address Redacted                     First Class Mail
0a355ff9‐15e6‐4332‐b2ed‐61227a56fbe3                   Address Redacted                     First Class Mail
0a37b06a‐f2c6‐4c04‐9397‐9c8b887a3a01                   Address Redacted                     First Class Mail
0a394355‐157b‐4ef0‐89b5‐103b5f7cf4ba                   Address Redacted                     First Class Mail
0a3c453e‐0bce‐4c72‐b894‐086d2397a85f                   Address Redacted                     First Class Mail
0a3c9e1a‐221e‐4d1a‐b5f2‐1c77f758c843                   Address Redacted                     First Class Mail
0a3ca130‐bde3‐40fa‐afb1‐a415f3d2fe85                   Address Redacted                     First Class Mail
0a3e737d‐501e‐43d9‐9917‐cf19269621c2                   Address Redacted                     First Class Mail
0a404b1e‐b1ff‐4503‐991b‐7c9ce602de90                   Address Redacted                     First Class Mail
0a429b3b‐1448‐4666‐bf01‐f725e22d19e9                   Address Redacted                     First Class Mail
0a45e7a2‐e2c1‐44f5‐86d2‐31fd9d3a6ec5                   Address Redacted                     First Class Mail
0a46f04e‐fca7‐411f‐99e4‐9abdbf8ec599                   Address Redacted                     First Class Mail
0a46f7d0‐0402‐4591‐ac6a‐65640cdd3d9a                   Address Redacted                     First Class Mail
0a471d4e‐51c8‐47f1‐9a24‐96ec3e5a1139                   Address Redacted                     First Class Mail
0a4b870e‐69b1‐4d76‐bc7c‐b84d9deab268                   Address Redacted                     First Class Mail
0a4c08f9‐e5c7‐45dc‐bfd2‐9f4a55ddff8c                   Address Redacted                     First Class Mail
0a514754‐5a01‐42e1‐bc2d‐248d7625bba4                   Address Redacted                     First Class Mail
0a518fbe‐1508‐441e‐8e29‐49e826182b09                   Address Redacted                     First Class Mail
0a51cee5‐4bd2‐4798‐9c47‐669844baa8fd                   Address Redacted                     First Class Mail
0a53116b‐36b7‐48fc‐9583‐48311fc4c0ef                   Address Redacted                     First Class Mail
0a59d44d‐468e‐46cf‐8556‐511ba82a2065                   Address Redacted                     First Class Mail
0a5ca00f‐432a‐4976‐9577‐65c4d1d4f515                   Address Redacted                     First Class Mail
0a69f8f4‐3a4f‐4919‐b678‐80ed27fbda08                   Address Redacted                     First Class Mail
0a70baae‐0cbc‐427a‐bc23‐a622ff1c596a                   Address Redacted                     First Class Mail
0a72b784‐1e2e‐42c1‐bee2‐cc40641e9ae2                   Address Redacted                     First Class Mail
0a7485ec‐3703‐457d‐b8b6‐b853b65221b0                   Address Redacted                     First Class Mail
0a75b411‐c6d0‐41d6‐b6c6‐f489928e7829                   Address Redacted                     First Class Mail
0a760385‐9fc9‐427f‐8a66‐402fd495a7b7                   Address Redacted                     First Class Mail
0a7c9975‐8767‐4097‐afb0‐f2106d25e920                   Address Redacted                     First Class Mail
0a820e55‐8b39‐4391‐8e3d‐5b3b829d3d94                   Address Redacted                     First Class Mail
0a8297d8‐ddf9‐42d8‐9f11‐1d8ad15459d2                   Address Redacted                     First Class Mail
0a840d14‐402c‐4284‐afb9‐6f64d6939e2a                   Address Redacted                     First Class Mail
0a845cc3‐daa0‐41ab‐be61‐bef3b8d6a4e9                   Address Redacted                     First Class Mail
0a86cfd5‐4fa8‐42af‐bdc5‐ce96766d2e73                   Address Redacted                     First Class Mail
0a8c4c6b‐4af1‐4d13‐a531‐4e86282b76cd                   Address Redacted                     First Class Mail
0a8d38ed‐915f‐4179‐af90‐063062891b16                   Address Redacted                     First Class Mail
0a92ef8f‐29a2‐4d6f‐8083‐f4658db8682d                   Address Redacted                     First Class Mail
0a934ba6‐f2ca‐49ce‐9f54‐025535be0b35                   Address Redacted                     First Class Mail
0a95c08c‐cf10‐4cd8‐afc1‐82f9aed10ca2                   Address Redacted                     First Class Mail
0a96ac63‐0681‐466d‐866f‐c69c722b5f67                   Address Redacted                     First Class Mail
0a9ab0f7‐4732‐412d‐89b7‐5fd48bb8260b                   Address Redacted                     First Class Mail
0a9bbb46‐d3d3‐40b2‐a7cd‐33b9aaa2b2d9                   Address Redacted                     First Class Mail
0a9fe3e7‐1dda‐401e‐b5ec‐9db7f28a9260                   Address Redacted                     First Class Mail
0a9fff76‐b18d‐4484‐b46e‐71943a1ad6d6                   Address Redacted                     First Class Mail
0aa278d9‐d99c‐4468‐ad3e‐268b8f497e49                   Address Redacted                     First Class Mail
0aa4df7c‐f59e‐4aeb‐bfcd‐0111d5f3bd9b                   Address Redacted                     First Class Mail
0aa4e013‐93ab‐4233‐bff5‐abb8e60b09a9                   Address Redacted                     First Class Mail
0aa85eeb‐8e7c‐4ab6‐97c6‐de6949226c86                   Address Redacted                     First Class Mail
0aa92b23‐0cbc‐4a29‐b7a3‐dd73a1ebeffe                   Address Redacted                     First Class Mail
0aab9fe9‐5021‐45e3‐920c‐8fd8e6fa67d1                   Address Redacted                     First Class Mail
0aadcb75‐1cc2‐431c‐8944‐e883eec360fd                   Address Redacted                     First Class Mail
0aae1850‐ab3a‐4d50‐8e56‐e7493d231c18                   Address Redacted                     First Class Mail
0ab073a5‐c41c‐48cc‐9cba‐b1bca9e8eb6e                   Address Redacted                     First Class Mail
0ab4e187‐c172‐4368‐900b‐b29a9b0640c1                   Address Redacted                     First Class Mail
0ab87511‐5ec2‐40c6‐bc88‐eb4b961388f4                   Address Redacted                     First Class Mail
0abe789f‐bcfa‐4047‐b15b‐cef4d48a45fa                   Address Redacted                     First Class Mail
0abf3883‐c43f‐4ea8‐9982‐3603e25ba4b3                   Address Redacted                     First Class Mail




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                                                                Exhibit A
                                                                 Service List


                              Name                                              Address                        Method of Service
0abfb1f4‐d502‐4335‐85e0‐26e9eb15acc3                   Address Redacted                     First Class Mail
0ac0c4a2‐2b97‐42ad‐81fb‐765f10b49a4c                   Address Redacted                     First Class Mail
0ac1b1d0‐de0d‐44dd‐bc44‐dd07445b3716                   Address Redacted                     First Class Mail
0ac3ada0‐7873‐44a0‐90e1‐549ca868ff6a                   Address Redacted                     First Class Mail
0ac634c1‐01b6‐4e47‐9129‐89707988bb54                   Address Redacted                     First Class Mail
0acb4e1d‐1b22‐4312‐a2dd‐a196af149b6b                   Address Redacted                     First Class Mail
0acb5d63‐67eb‐4bb1‐8ce0‐d9465fefa166                   Address Redacted                     First Class Mail
0ad63517‐b945‐4888‐b6d8‐f461c30a492f                   Address Redacted                     First Class Mail
0ad6b83e‐feef‐4fba‐865d‐272e80ea14d6                   Address Redacted                     First Class Mail
0adc399d‐a397‐457d‐a55c‐6ca167392a0b                   Address Redacted                     First Class Mail
0ae1491f‐e5c5‐4b61‐9a2f‐c04ff41f242d                   Address Redacted                     First Class Mail
0ae18bef‐a59f‐4929‐ae99‐82534a3cf1de                   Address Redacted                     First Class Mail
0ae4d5c4‐ef74‐485c‐8113‐913b15026307                   Address Redacted                     First Class Mail
0ae5999f‐40eb‐4abf‐a1ef‐634a742e40de                   Address Redacted                     First Class Mail
0ae9450a‐d883‐4fe2‐9341‐c54c0a2f428d                   Address Redacted                     First Class Mail
0aea7e69‐1eab‐4ae3‐9e4b‐a95a1fa082c6                   Address Redacted                     First Class Mail
0aeadf46‐a755‐42f9‐8fd9‐4f88ea931108                   Address Redacted                     First Class Mail
0af0641f‐8331‐4a0c‐b457‐3a5f8ea97164                   Address Redacted                     First Class Mail
0af07a64‐7f2e‐419b‐b799‐4657c7fdb9f4                   Address Redacted                     First Class Mail
0af2548c‐3b67‐48e7‐a3d4‐e2977a17a5ed                   Address Redacted                     First Class Mail
0af65ccb‐6a5a‐4566‐8255‐5eac70a8eee1                   Address Redacted                     First Class Mail
0af71345‐d5e5‐42c2‐8d34‐6c46fed90b43                   Address Redacted                     First Class Mail
0afd6149‐27b2‐4e24‐91a1‐485f48995d0e                   Address Redacted                     First Class Mail
0b022be6‐e6c8‐4ad6‐b986‐4712c10fc6af                   Address Redacted                     First Class Mail
0b02d5a3‐61a4‐4ee8‐b90e‐dc88c85b182e                   Address Redacted                     First Class Mail
0b0800fb‐23e4‐4986‐9e7f‐48bf49b7a13e                   Address Redacted                     First Class Mail
0b0dd896‐69cb‐489a‐b0f1‐7c134ffc53e8                   Address Redacted                     First Class Mail
0b0e9b95‐7624‐42ea‐8b00‐cc515385fd92                   Address Redacted                     First Class Mail
0b11af82‐fa0d‐4b6f‐b7f6‐66dd5f907508                   Address Redacted                     First Class Mail
0b1a954e‐12ec‐4474‐a732‐9bc305c8e981                   Address Redacted                     First Class Mail
0b1b1d1e‐076d‐4b33‐88a1‐1cc6fdc73053                   Address Redacted                     First Class Mail
0b1ba42f‐2075‐442c‐b046‐5eb20d7751d2                   Address Redacted                     First Class Mail
0b1e4480‐8e28‐45b2‐b7dc‐b1d42d8d81c7                   Address Redacted                     First Class Mail
0b21d225‐af89‐4ef6‐9d3d‐84640228ebc8                   Address Redacted                     First Class Mail
0b224d0f‐ccfd‐4036‐a931‐f615935807fc                   Address Redacted                     First Class Mail
0b22fd54‐84e5‐4e0a‐af88‐438569b332b4                   Address Redacted                     First Class Mail
0b252d1f‐ac39‐4539‐ad2f‐1a3bcfd82558                   Address Redacted                     First Class Mail
0b25f0a9‐305c‐4c2d‐af5c‐784639f18604                   Address Redacted                     First Class Mail
0b26261f‐30c9‐4abd‐9e86‐8ecaf13b7be5                   Address Redacted                     First Class Mail
0b27cd71‐cdee‐4706‐9c10‐54c34a274366                   Address Redacted                     First Class Mail
0b291d2c‐9702‐4283‐8694‐466f8e69fc19                   Address Redacted                     First Class Mail
0b2aa708‐a18a‐4555‐8122‐189280786319                   Address Redacted                     First Class Mail
0b2b7e7b‐122c‐4e57‐9ee0‐f5999977e2d7                   Address Redacted                     First Class Mail
0b333ff9‐4724‐40e3‐92d8‐1f97b5f16158                   Address Redacted                     First Class Mail
0b33bc19‐d2a0‐4c00‐86fc‐53c35538afc8                   Address Redacted                     First Class Mail
0b37c886‐d358‐4d6a‐b052‐296d9dc2476d                   Address Redacted                     First Class Mail
0b38f1a1‐4c95‐4c44‐8b3c‐ccf06ea31a52                   Address Redacted                     First Class Mail
0b38fa25‐c175‐484c‐b350‐9728c4e29cac                   Address Redacted                     First Class Mail
0b3a57f3‐fd96‐44e8‐b27d‐d4afcd6410e4                   Address Redacted                     First Class Mail
0b3e2559‐f479‐414b‐b7ec‐30555efe61a6                   Address Redacted                     First Class Mail
0b3fc4d5‐484c‐4b93‐bcd9‐f604016b9f4f                   Address Redacted                     First Class Mail
0b417dab‐ffd3‐4b4e‐a85a‐2acc0b6fedc7                   Address Redacted                     First Class Mail
0b4604bd‐ed96‐42f8‐9d4a‐8128b96f9249                   Address Redacted                     First Class Mail
0b48a4d8‐7dae‐4d20‐a8a8‐8182e42a7503                   Address Redacted                     First Class Mail
0b48bdfd‐7410‐4fc4‐a0a3‐f505629ebdf3                   Address Redacted                     First Class Mail
0b4b452c‐7383‐4759‐a4de‐fc5088154705                   Address Redacted                     First Class Mail
0b4ba3dc‐c393‐40ad‐9c8c‐735bd78765c2                   Address Redacted                     First Class Mail
0b536220‐f51d‐422a‐afd4‐368ad94eccf2                   Address Redacted                     First Class Mail
0b540570‐7712‐4aa7‐9ac5‐384c66fc9ec1                   Address Redacted                     First Class Mail
0b54462d‐2d30‐426a‐89ba‐edd50da873bb                   Address Redacted                     First Class Mail
0b54a882‐4f60‐46df‐aabe‐3d7cf9b8ef10                   Address Redacted                     First Class Mail
0b569145‐050b‐464a‐9eff‐161dd9cc7845                   Address Redacted                     First Class Mail
0b56bf5d‐ebe9‐442b‐af06‐bc764bc3495f                   Address Redacted                     First Class Mail
0b589988‐9755‐4580‐ae69‐3786fa8ae7b8                   Address Redacted                     First Class Mail
0b5905db‐80a8‐4a6d‐a6ce‐7d26c7ffe6e5                   Address Redacted                     First Class Mail
0b599039‐7eb9‐4553‐bcd8‐1361dd7c40d4                   Address Redacted                     First Class Mail
0b5eb9d8‐36f5‐49b8‐a129‐d8c8c2d9ee21                   Address Redacted                     First Class Mail
0b5fc3a8‐38a0‐4413‐ba96‐55d6b0b1b0af                   Address Redacted                     First Class Mail
0b635f16‐026b‐4051‐902e‐f447caed06ff                   Address Redacted                     First Class Mail
0b68da8d‐8a0e‐44a4‐a3d8‐636a9afdf079                   Address Redacted                     First Class Mail
0b6f472a‐732d‐434b‐a6c8‐f25c6c753ef8                   Address Redacted                     First Class Mail
0b6f53ec‐810a‐461d‐9ef3‐769bae3231a0                   Address Redacted                     First Class Mail




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                                                                Exhibit A
                                                                 Service List


                              Name                                              Address                        Method of Service
0b6fae71‐714c‐4558‐8bf2‐d56718d14f5a                   Address Redacted                     First Class Mail
0b73bea3‐f60d‐45dc‐b5d9‐f3b9f5dbb21a                   Address Redacted                     First Class Mail
0b754048‐1bb9‐4c3c‐8cdf‐cc4740b1df9c                   Address Redacted                     First Class Mail
0b794914‐0bd4‐4c96‐bcfa‐20db09b1a6cc                   Address Redacted                     First Class Mail
0b7c68dc‐2092‐45ed‐8788‐6818f2efdcbf                   Address Redacted                     First Class Mail
0b7f392d‐9df3‐481d‐ba04‐c789006b120a                   Address Redacted                     First Class Mail
0b8094a2‐3ca9‐4a4d‐bbec‐8c4bb8760018                   Address Redacted                     First Class Mail
0b819561‐981f‐44f4‐8b7f‐d04870ff2dab                   Address Redacted                     First Class Mail
0b8558f6‐33fb‐43e8‐844d‐8e457bbbd079                   Address Redacted                     First Class Mail
0b898a9d‐4efa‐46f0‐8722‐e9c9734599af                   Address Redacted                     First Class Mail
0b8ee2e5‐6e25‐44bb‐a62f‐d57e7a769e71                   Address Redacted                     First Class Mail
0b914ae2‐5ddc‐4894‐9741‐b10ae5bdca0c                   Address Redacted                     First Class Mail
0b921816‐952a‐440a‐b6af‐c2310c260d5f                   Address Redacted                     First Class Mail
0b9556bb‐d354‐4da3‐aa65‐498cc26b5281                   Address Redacted                     First Class Mail
0b955a66‐9397‐4841‐9aba‐e21ed49ff593                   Address Redacted                     First Class Mail
0b96a63a‐236d‐40a9‐927c‐782ccf60d68b                   Address Redacted                     First Class Mail
0b9e4831‐a519‐4706‐90fe‐341dd5ad97df                   Address Redacted                     First Class Mail
0ba01631‐7897‐4a35‐932a‐5fab1509d116                   Address Redacted                     First Class Mail
0ba2c3d4‐1789‐4811‐aa3d‐5224c072efae                   Address Redacted                     First Class Mail
0babe6df‐9d48‐4f0b‐825c‐46ef6fc0c2c6                   Address Redacted                     First Class Mail
0babe8d7‐e8c7‐4545‐aa15‐9411ac5a0a02                   Address Redacted                     First Class Mail
0bacce25‐5738‐4067‐b9d2‐eb293a36660c                   Address Redacted                     First Class Mail
0baf3bd2‐d577‐45ba‐a6ef‐8c7bf11c9a00                   Address Redacted                     First Class Mail
0baf656f‐5bfb‐4a9a‐9799‐64ddc763c26d                   Address Redacted                     First Class Mail
0bb415a6‐2e0b‐4df7‐850b‐3ae4077715b8                   Address Redacted                     First Class Mail
0bb45974‐7a86‐48bf‐a82c‐68c7e252750d                   Address Redacted                     First Class Mail
0bb51040‐ea85‐4dd9‐9d5e‐7e113bc40139                   Address Redacted                     First Class Mail
0bb5e22e‐cab5‐4203‐a8f0‐6c3b452df797                   Address Redacted                     First Class Mail
0bb90921‐d154‐4597‐95c8‐2ad1ed4f214e                   Address Redacted                     First Class Mail
0bbd8e3e‐8f79‐4327‐866c‐666b64b66d71                   Address Redacted                     First Class Mail
0bbfd865‐208e‐4040‐bf9e‐9f93c03723ad                   Address Redacted                     First Class Mail
0bc1302c‐bf73‐4afc‐8bec‐d578abc102bd                   Address Redacted                     First Class Mail
0bc239ec‐d777‐42c7‐a423‐e70597bb99be                   Address Redacted                     First Class Mail
0bc24e33‐3ef1‐412d‐ad13‐5a4af531e380                   Address Redacted                     First Class Mail
0bc435c5‐1d61‐4eaa‐a95a‐1bc3d9361cfa                   Address Redacted                     First Class Mail
0bc474e2‐cdb9‐4c3b‐9973‐b7b132c86335                   Address Redacted                     First Class Mail
0bc52511‐e66a‐43af‐be61‐5381779323e6                   Address Redacted                     First Class Mail
0bc94615‐1115‐461d‐8ea2‐b7139d0a1ae9                   Address Redacted                     First Class Mail
0bcbb4d4‐45c6‐4bdc‐a275‐8fe191bab984                   Address Redacted                     First Class Mail
0bcbb91a‐aede‐4702‐878a‐ec2e26ce2ab8                   Address Redacted                     First Class Mail
0bd068fb‐55da‐48bd‐a36b‐eb571427e85a                   Address Redacted                     First Class Mail
0bd2d61f‐b6e7‐4fd3‐9421‐86fcfec5c3b2                   Address Redacted                     First Class Mail
0bd3140b‐b407‐4e2a‐9837‐e24a67c8cb9b                   Address Redacted                     First Class Mail
0bd3cc25‐310c‐4a52‐8bc0‐2fc9db20a065                   Address Redacted                     First Class Mail
0bd6eb22‐f3fa‐4314‐b11a‐f8c53684877d                   Address Redacted                     First Class Mail
0bddba75‐1122‐409e‐b859‐d7b84532a911                   Address Redacted                     First Class Mail
0bde6daa‐278a‐4169‐b76b‐18d1adf76ea7                   Address Redacted                     First Class Mail
0be20081‐3ecd‐4637‐b678‐1decd1daf1f4                   Address Redacted                     First Class Mail
0be21169‐4d66‐437d‐8c81‐0a4f185191d3                   Address Redacted                     First Class Mail
0be7b1ca‐3d33‐4c22‐b8fd‐7e9cf5871b71                   Address Redacted                     First Class Mail
0beaa695‐eddd‐4ff4‐9b95‐c1935c857971                   Address Redacted                     First Class Mail
0bfbe504‐346c‐4c93‐907c‐70a2318b2a94                   Address Redacted                     First Class Mail
0bfecf00‐3a16‐4fa3‐8ea7‐26b88107a336                   Address Redacted                     First Class Mail
0c025058‐a7b1‐4bd4‐a804‐bcc2c2696764                   Address Redacted                     First Class Mail
0c04bec1‐f1c5‐47b5‐a715‐0db510e7758b                   Address Redacted                     First Class Mail
0c04cc6c‐5d2b‐4067‐9d6f‐30deb9127e19                   Address Redacted                     First Class Mail
0c06a72e‐44b7‐45b8‐bc2d‐b53c6243d431                   Address Redacted                     First Class Mail
0c0d17f8‐8a8d‐43b5‐b031‐01cdd9c1df60                   Address Redacted                     First Class Mail
0c0d608f‐3ad3‐4cf8‐bbe4‐dcce0cc12cbe                   Address Redacted                     First Class Mail
0c0d70ef‐8bc2‐4976‐80ef‐0dd50fecbf8c                   Address Redacted                     First Class Mail
0c118ee0‐b7ac‐4e32‐ba85‐4e239d7ca180                   Address Redacted                     First Class Mail
0c123b98‐4f5c‐4626‐abc8‐a41b41a801e6                   Address Redacted                     First Class Mail
0c127dfb‐a4fe‐44ee‐910f‐c2871d33bed0                   Address Redacted                     First Class Mail
0c14d00e‐9b45‐433f‐bceb‐527842415a89                   Address Redacted                     First Class Mail
0c17ffb1‐4737‐4aa6‐8f9e‐08d190e07edb                   Address Redacted                     First Class Mail
0c1d1b20‐a1b1‐4a08‐a8b7‐f0fa0b9cbd75                   Address Redacted                     First Class Mail
0c1d6a4c‐204f‐4da0‐b1d9‐7be5cffaac4f                   Address Redacted                     First Class Mail
0c200a16‐1dd9‐40d3‐9a66‐c376a1939230                   Address Redacted                     First Class Mail
0c245c79‐ca27‐474b‐b55f‐74edeaabfca1                   Address Redacted                     First Class Mail
0c24f42b‐f414‐4bf0‐8f23‐71a36dc67f65                   Address Redacted                     First Class Mail
0c27135a‐312d‐465f‐9275‐eb4ca1a8ed1a                   Address Redacted                     First Class Mail
0c293e46‐5007‐485e‐9892‐e9f1597cff13                   Address Redacted                     First Class Mail




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                              Name                                              Address                        Method of Service
0c2c7b49‐04f3‐4631‐96bd‐a77d78c3aa69                   Address Redacted                     First Class Mail
0c2db704‐2108‐44f5‐9d37‐36890a9d0b07                   Address Redacted                     First Class Mail
0c2e968d‐b5d8‐4500‐a86f‐10141957f423                   Address Redacted                     First Class Mail
0c2f2877‐bfee‐4977‐8720‐3bb0f8a80cee                   Address Redacted                     First Class Mail
0c3061ba‐b897‐491b‐81d7‐5122891aaeb8                   Address Redacted                     First Class Mail
0c31c4ef‐4a88‐4cad‐93a1‐a6e6d4e1321d                   Address Redacted                     First Class Mail
0c36ef3a‐13a5‐4555‐9ecc‐e94a4692f560                   Address Redacted                     First Class Mail
0c44367b‐ff29‐42db‐ba9a‐0ee24cce4f99                   Address Redacted                     First Class Mail
0c44be36‐baa2‐4b7f‐89c9‐82d6060ef6c1                   Address Redacted                     First Class Mail
0c47f901‐f9ad‐4765‐86f2‐e9125debc3ea                   Address Redacted                     First Class Mail
0c4d39f4‐1cc5‐4c14‐b9f7‐e0137d490324                   Address Redacted                     First Class Mail
0c4f8987‐f644‐44a9‐9b67‐d0d2166b623b                   Address Redacted                     First Class Mail
0c50c208‐0215‐4ba6‐a961‐865829ff15fc                   Address Redacted                     First Class Mail
0c523384‐5e7d‐4392‐b981‐0ebac6065843                   Address Redacted                     First Class Mail
0c5b385c‐bd59‐4f5a‐9fbc‐485d82776a59                   Address Redacted                     First Class Mail
0c5e0c74‐3374‐4409‐ae79‐3081143deaf3                   Address Redacted                     First Class Mail
0c5e64e6‐649c‐4ac9‐aafb‐7b3d3558dcb1                   Address Redacted                     First Class Mail
0c5eb9d6‐4b63‐4c07‐a5b6‐3f51d22c52d4                   Address Redacted                     First Class Mail
0c5fc82a‐3c59‐4deb‐b198‐19f4d60ffc7b                   Address Redacted                     First Class Mail
0c60107f‐03b2‐431f‐81df‐5bf3b2cc4523                   Address Redacted                     First Class Mail
0c61b8ea‐a5f7‐4886‐a1c7‐15ecb8808a6a                   Address Redacted                     First Class Mail
0c633835‐eeda‐4229‐aae1‐4abd7fdfb017                   Address Redacted                     First Class Mail
0c64acd0‐5d46‐42ee‐9ca4‐0c543fad40ec                   Address Redacted                     First Class Mail
0c6600fc‐d99c‐4b60‐ac81‐b4cd96523303                   Address Redacted                     First Class Mail
0c66d637‐a173‐4065‐8ee0‐7d2cc203d197                   Address Redacted                     First Class Mail
0c68603f‐451a‐4802‐a060‐747a594dd4ff                   Address Redacted                     First Class Mail
0c698287‐4988‐4cfa‐8ab9‐b2054a3f13f0                   Address Redacted                     First Class Mail
0c69fcb6‐36dd‐4dd1‐a5ad‐18e7be01b7a1                   Address Redacted                     First Class Mail
0c6dc571‐10e1‐4305‐a55f‐4be10e220178                   Address Redacted                     First Class Mail
0c6ea52c‐b3dc‐41bc‐8c94‐5b5ca9817862                   Address Redacted                     First Class Mail
0c6efff2‐4aac‐47fd‐a643‐6a9c88e6e0fa                   Address Redacted                     First Class Mail
0c6f3b3e‐b495‐4570‐8997‐322d22e5f9ab                   Address Redacted                     First Class Mail
0c707179‐55a7‐4909‐a1c2‐646b4418267c                   Address Redacted                     First Class Mail
0c734afd‐8993‐46b8‐9367‐97fb904a26e2                   Address Redacted                     First Class Mail
0c750bcc‐3071‐4d74‐8467‐ac3b2fcb13db                   Address Redacted                     First Class Mail
0c77ce06‐e527‐4bdf‐a0e5‐37a73dabc449                   Address Redacted                     First Class Mail
0c78e78a‐33a4‐4e85‐8f67‐ecef9129550b                   Address Redacted                     First Class Mail
0c7964a2‐0664‐4922‐b6b5‐066cf8583760                   Address Redacted                     First Class Mail
0c7a1fdd‐03a3‐4cf9‐bece‐aad7ccbbeabb                   Address Redacted                     First Class Mail
0c7dc401‐3c70‐4585‐87d1‐bd108ea04dd0                   Address Redacted                     First Class Mail
0c8738af‐8cdc‐408f‐8f43‐602288328392                   Address Redacted                     First Class Mail
0c8d4f3c‐4aaf‐483f‐8417‐4bd8cdd53712                   Address Redacted                     First Class Mail
0c90c26e‐8aae‐4907‐8499‐530d6ef476df                   Address Redacted                     First Class Mail
0c9393a1‐1315‐4dc6‐9232‐8a38735d62b1                   Address Redacted                     First Class Mail
0c9623c8‐96fd‐4a15‐a48d‐65a7db702ac2                   Address Redacted                     First Class Mail
0c96c5bd‐5daf‐4047‐bdbe‐ba3b7a592b35                   Address Redacted                     First Class Mail
0c98ec53‐6b07‐4105‐9bb6‐27dbe8140a16                   Address Redacted                     First Class Mail
0c9a5782‐f158‐48cf‐aa81‐5f9fb81d3dcb                   Address Redacted                     First Class Mail
0c9dbda4‐d6d7‐442d‐bcd9‐b882fe4608f4                   Address Redacted                     First Class Mail
0c9f694e‐8f9f‐4ce7‐8878‐0c872ad6c5d1                   Address Redacted                     First Class Mail
0c9f8039‐e860‐4bb3‐8a59‐52a4f56a7438                   Address Redacted                     First Class Mail
0ca12985‐fcb1‐4a67‐8155‐db75c8062efe                   Address Redacted                     First Class Mail
0ca5820c‐cfed‐4612‐9842‐12780dec5177                   Address Redacted                     First Class Mail
0cb017d8‐040d‐449e‐ae2b‐a67ce56d496b                   Address Redacted                     First Class Mail
0cb71e0b‐3832‐4f09‐a8a9‐8e0cb5ad2311                   Address Redacted                     First Class Mail
0cb8cc39‐3f9b‐4d17‐a0e0‐36d451f4270b                   Address Redacted                     First Class Mail
0cb9947e‐6969‐4b14‐b9aa‐8f57370dcfa6                   Address Redacted                     First Class Mail
0cc0f42b‐27e7‐4b7e‐861f‐7bf58b0718f3                   Address Redacted                     First Class Mail
0cc2f47a‐f8de‐45cb‐95f5‐989d6b1e041c                   Address Redacted                     First Class Mail
0cc4ce0e‐ee74‐4940‐917d‐226ce9d919ab                   Address Redacted                     First Class Mail
0cc78b03‐9092‐48e4‐8367‐c594eba95bf3                   Address Redacted                     First Class Mail
0cc8c5a6‐029c‐401a‐a146‐f247cabea7f0                   Address Redacted                     First Class Mail
0cca9364‐81e3‐400b‐8fd5‐9021711f1d0f                   Address Redacted                     First Class Mail
0cd08391‐6da2‐497b‐ae68‐0c1e7b05d25c                   Address Redacted                     First Class Mail
0cd67c63‐9786‐423f‐b81a‐450461c122ac                   Address Redacted                     First Class Mail
0cd67ca5‐c308‐4f26‐82a9‐78ffa0a5d9b7                   Address Redacted                     First Class Mail
0cd870f2‐c4c6‐4e9f‐b79d‐98fc6be61512                   Address Redacted                     First Class Mail
0cdc3429‐b78c‐4436‐9155‐6d4970d65454                   Address Redacted                     First Class Mail
0cdec5ab‐a48a‐4e71‐8005‐38e31dbddfaa                   Address Redacted                     First Class Mail
0cdf12c8‐58de‐4013‐b32e‐e6c5c321c538                   Address Redacted                     First Class Mail
0ce1398c‐ccbe‐48ea‐8411‐ef2774214bf1                   Address Redacted                     First Class Mail
0ce15650‐dc05‐4118‐9b2d‐eeddc679ff28                   Address Redacted                     First Class Mail




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                                                                Exhibit A
                                                                 Service List


                              Name                                              Address                        Method of Service
0ce23343‐cf63‐4417‐b7dd‐6ef08874e17b                   Address Redacted                     First Class Mail
0ce2665b‐533c‐4532‐9ea4‐217bd0d0bdb2                   Address Redacted                     First Class Mail
0ce29ffa‐e5a8‐4aa7‐bc11‐05fbafc01881                   Address Redacted                     First Class Mail
0ce5d9fb‐452c‐4687‐8d1d‐c9a1228bb72e                   Address Redacted                     First Class Mail
0ce66ded‐04cc‐4e89‐a821‐fa77b757c7c9                   Address Redacted                     First Class Mail
0cec0df6‐db1c‐4ed9‐aa56‐fbba07073abe                   Address Redacted                     First Class Mail
0cee6cc6‐5318‐4731‐8e3d‐6f776fedee11                   Address Redacted                     First Class Mail
0cf1c012‐7580‐4e4f‐84ef‐e648ffb92aaf                   Address Redacted                     First Class Mail
0cf3a8a9‐10f9‐455d‐ac85‐4116a3b3a03e                   Address Redacted                     First Class Mail
0cf4ebf9‐c50d‐4685‐b862‐94b981ef4eff                   Address Redacted                     First Class Mail
0cf54bfc‐5f5b‐441c‐bcaf‐e4d8960fea34                   Address Redacted                     First Class Mail
0cf5fbd0‐d5ef‐42ea‐be23‐d0fb685335fb                   Address Redacted                     First Class Mail
0cf7f410‐2f9d‐47ed‐91d5‐3036171f17cc                   Address Redacted                     First Class Mail
0cfc3c66‐4d27‐4b7e‐a70e‐92460e0dad68                   Address Redacted                     First Class Mail
0d059429‐cf97‐4471‐8d5b‐9919b2a85f74                   Address Redacted                     First Class Mail
0d071fb1‐7a82‐4dfb‐b4f5‐524a52e1e075                   Address Redacted                     First Class Mail
0d0ef7e6‐4c14‐4af4‐99e8‐db1f15709be5                   Address Redacted                     First Class Mail
0d1054e1‐2446‐4b7f‐b7e3‐3be70533b40f                   Address Redacted                     First Class Mail
0d12b772‐0e34‐43b7‐bca8‐8a251df729e6                   Address Redacted                     First Class Mail
0d148093‐78cc‐4c99‐8c41‐e215dc08f3ab                   Address Redacted                     First Class Mail
0d17b37f‐03b6‐44d3‐8e59‐3df53f40165a                   Address Redacted                     First Class Mail
0d19f651‐3cb4‐463d‐8843‐a43ec5a510ad                   Address Redacted                     First Class Mail
0d220a8d‐ddeb‐4f13‐b4fe‐db105abd568a                   Address Redacted                     First Class Mail
0d27916b‐fe18‐41a5‐a7ac‐eda101d867e2                   Address Redacted                     First Class Mail
0d2b2512‐4d53‐4e42‐b3a8‐d27cc966828b                   Address Redacted                     First Class Mail
0d2d1ea1‐3842‐438a‐963c‐bd30a854bd1e                   Address Redacted                     First Class Mail
0d30a39c‐4271‐4c6e‐a46f‐93e5b12c7463                   Address Redacted                     First Class Mail
0d30bcd2‐26c3‐42a9‐a2be‐a86be518549a                   Address Redacted                     First Class Mail
0d32210c‐016c‐42bc‐97d2‐d6fd1ab424db                   Address Redacted                     First Class Mail
0d354203‐eed5‐4d71‐a9d5‐d66e75fd1a13                   Address Redacted                     First Class Mail
0d36ced3‐e6d7‐410f‐8337‐e2ea3a702df2                   Address Redacted                     First Class Mail
0d396f64‐3b38‐4a82‐85f0‐e0c0a95775ff                   Address Redacted                     First Class Mail
0d3b4b0b‐801e‐44f7‐be3c‐749052e4cd0c                   Address Redacted                     First Class Mail
0d3caaf1‐6a1f‐46f9‐b725‐dff365626e30                   Address Redacted                     First Class Mail
0d3e163d‐a487‐435f‐8261‐29818643907f                   Address Redacted                     First Class Mail
0d3fe0e2‐0d64‐4658‐aed3‐ca7a11700c88                   Address Redacted                     First Class Mail
0d400f1a‐28c4‐41ed‐9265‐d2acff16d1fe                   Address Redacted                     First Class Mail
0d41c164‐f389‐4e97‐b667‐c3ae3161dc90                   Address Redacted                     First Class Mail
0d43f2ca‐e9d8‐421b‐bafb‐ef8d3829e399                   Address Redacted                     First Class Mail
0d44468c‐100b‐4aa7‐9d3d‐053523e47d5d                   Address Redacted                     First Class Mail
0d482126‐30ba‐47bf‐8b81‐88e863312a32                   Address Redacted                     First Class Mail
0d485e57‐73db‐4de1‐b089‐74805228360e                   Address Redacted                     First Class Mail
0d4b02d9‐4551‐4752‐912f‐e847877fdfc8                   Address Redacted                     First Class Mail
0d524637‐105e‐46a5‐8e9f‐0370bb8ed371                   Address Redacted                     First Class Mail
0d582485‐2bcb‐4908‐8135‐6c211f7c3bd9                   Address Redacted                     First Class Mail
0d59e3b4‐82fc‐4915‐bd73‐eff49ad3357b                   Address Redacted                     First Class Mail
0d5a5ac6‐7f92‐4228‐a0c5‐a16e6bcd409e                   Address Redacted                     First Class Mail
0d5ac8a2‐c6a5‐47d8‐a372‐d12d4e2aafe7                   Address Redacted                     First Class Mail
0d5cf699‐d91d‐45bc‐94b5‐680dfc69e716                   Address Redacted                     First Class Mail
0d5e0b7f‐bc8f‐4f27‐8369‐6418ff76ac4b                   Address Redacted                     First Class Mail
0d5ebdb3‐7f0e‐4aed‐ab31‐6efb49777cfe                   Address Redacted                     First Class Mail
0d5f13c9‐56ef‐40b6‐9a9d‐91f7bf5f4d47                   Address Redacted                     First Class Mail
0d66c24b‐2172‐4c77‐aa48‐851824063252                   Address Redacted                     First Class Mail
0d688947‐7522‐4c74‐8ba0‐a8afec705334                   Address Redacted                     First Class Mail
0d68a9ba‐51da‐4704‐9cae‐d4a71e92155a                   Address Redacted                     First Class Mail
0d6d7194‐117f‐4371‐ae6c‐fb0c3644af95                   Address Redacted                     First Class Mail
0d703034‐017e‐4593‐bf7f‐f08967935f1c                   Address Redacted                     First Class Mail
0d712ed0‐c227‐4f35‐a0f6‐a136b9aaa3ed                   Address Redacted                     First Class Mail
0d72657b‐f2d1‐45d2‐a7ab‐c26e850a7617                   Address Redacted                     First Class Mail
0d72969f‐b520‐40bb‐80ba‐7e8091576873                   Address Redacted                     First Class Mail
0d78109a‐2308‐42c2‐91d6‐0bb5cdfb84e6                   Address Redacted                     First Class Mail
0d7bf24d‐7f64‐421a‐b7f5‐9e0bdf7ed2b0                   Address Redacted                     First Class Mail
0d7d812f‐0e21‐4492‐b59c‐4cbcac016391                   Address Redacted                     First Class Mail
0d7f40ef‐2547‐45ee‐9e54‐627b22df6e8a                   Address Redacted                     First Class Mail
0d820b98‐c8cf‐4beb‐87a9‐5aaf18e5d6b6                   Address Redacted                     First Class Mail
0d845f34‐23c2‐44c4‐a2ec‐0f5c1ec9c2c7                   Address Redacted                     First Class Mail
0d8581d0‐8cde‐4eb3‐9bbb‐05735454566c                   Address Redacted                     First Class Mail
0d8a3b56‐6ef4‐4e04‐a7a6‐63507e84edcc                   Address Redacted                     First Class Mail
0d92ad9d‐a531‐4ac7‐b74d‐d796f850ce94                   Address Redacted                     First Class Mail
0d97b095‐99de‐4046‐8612‐03912c69c03e                   Address Redacted                     First Class Mail
0d992bc0‐5b6b‐430d‐97ba‐1b8d995017e4                   Address Redacted                     First Class Mail
0d9a4b1a‐4932‐4cdd‐b6b8‐095a99ae2d52                   Address Redacted                     First Class Mail




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                                                                Exhibit A
                                                                 Service List


                               Name                                             Address                        Method of Service
0d9ac061‐a114‐4880‐a347‐1cd99810a1ba                   Address Redacted                     First Class Mail
0d9ad194‐3814‐4b6b‐b2c6‐f31683da310b                   Address Redacted                     First Class Mail
0d9b1799‐f9d0‐4ce0‐9757‐956b1b7e60fc                   Address Redacted                     First Class Mail
0d9c51a2‐952c‐4f06‐8c9e‐582309fd6919                   Address Redacted                     First Class Mail
0d9d6a1e‐83bb‐4e1c‐b122‐dcd45776ae39                   Address Redacted                     First Class Mail
0da34cbe‐009c‐420b‐a378‐6978b4e5aefe                   Address Redacted                     First Class Mail
0da74efa‐6ead‐4fb5‐95b6‐3bd502f56053                   Address Redacted                     First Class Mail
0da793ee‐da2c‐46b4‐a8ab‐cda1edcf3568                   Address Redacted                     First Class Mail
0da7b234‐78de‐4d55‐bf14‐418da2e69678                   Address Redacted                     First Class Mail
0db0cfb0‐ceaf‐45d7‐9b73‐11d133bd8bff                   Address Redacted                     First Class Mail
0db13350‐0b29‐484f‐972f‐3ccc47a83940                   Address Redacted                     First Class Mail
0db24db0‐75c9‐4e4e‐8675‐f81ba7103f24                   Address Redacted                     First Class Mail
0db3d75c‐cea8‐4ba4‐b77d‐ab75a789cf89                   Address Redacted                     First Class Mail
0db6c9fa‐f9b5‐4765‐be73‐c8b1fffef5b8                   Address Redacted                     First Class Mail
0db7d7ed‐872a‐418d‐9850‐f4abacc01466                   Address Redacted                     First Class Mail
0dbdabd9‐7977‐4ae0‐a35d‐493b45631e4b                   Address Redacted                     First Class Mail
0dbe0c68‐f9c3‐4c7b‐9aa6‐1e6af5b388ab                   Address Redacted                     First Class Mail
0dbefef7‐f1aa‐401a‐a9b9‐b66dff286e48                   Address Redacted                     First Class Mail
0dbf513e‐13ba‐483e‐a30d‐e0bf01a80a62                   Address Redacted                     First Class Mail
0dc1ae46‐60c2‐497a‐a44c‐47f4019e0dc2                   Address Redacted                     First Class Mail
0dc3b545‐1c01‐43af‐a47e‐def40336a9b3                   Address Redacted                     First Class Mail
0dc3dca9‐85f6‐4266‐8934‐de2cebae5d19                   Address Redacted                     First Class Mail
0dc454ae‐2e63‐4462‐ac75‐216dfce5ff3d                   Address Redacted                     First Class Mail
0dc79cd6‐32d5‐4483‐9fd2‐7cb98c68068a                   Address Redacted                     First Class Mail
0dcbbdd8‐994b‐49bb‐9a5b‐857ede687c0e                   Address Redacted                     First Class Mail
0dd4afdc‐8800‐4853‐a8d1‐d37e8e54a3ac                   Address Redacted                     First Class Mail
0dd78099‐08fc‐4b12‐8ca8‐e869ead1024f                   Address Redacted                     First Class Mail
0dd7ddc1‐b5d0‐4e2a‐85ed‐6474d7dbef0d                   Address Redacted                     First Class Mail
0dde55c9‐ede4‐4847‐88cd‐3292d857b250                   Address Redacted                     First Class Mail
0dde99b5‐57db‐4563‐a8fa‐6ecec17a8fe6                   Address Redacted                     First Class Mail
0de07534‐b721‐4bbf‐868e‐04b1615757ac                   Address Redacted                     First Class Mail
0de52d7e‐116e‐485f‐8f16‐95eaf56c900c                   Address Redacted                     First Class Mail
0de56047‐a785‐4d41‐8c8a‐e7f269357a63                   Address Redacted                     First Class Mail
0de6b1ee‐517a‐4488‐bbd7‐64ca0167d656                   Address Redacted                     First Class Mail
0de757d1‐e005‐4420‐bb73‐ea5809d32361                   Address Redacted                     First Class Mail
0deab9b2‐30f3‐42a9‐b51b‐96d255731a00                   Address Redacted                     First Class Mail
0debb901‐707f‐43b7‐9c91‐8811b4b5ff25                   Address Redacted                     First Class Mail
0dec0dd6‐c9b4‐4fce‐9a6f‐de3abc5b78b4                   Address Redacted                     First Class Mail
0df3cd0f‐bac6‐4d69‐950f‐37e756a9f69e                   Address Redacted                     First Class Mail
0df441f5‐79b0‐489b‐b0cf‐9270566789bf                   Address Redacted                     First Class Mail
0df4983b‐4cc1‐4dbd‐9fa2‐b8ff8d948da1                   Address Redacted                     First Class Mail
0df83811‐a242‐4b1e‐a307‐184cf03d0733                   Address Redacted                     First Class Mail
0dfb1608‐bbe2‐4264‐a900‐d2fa147ddfb8                   Address Redacted                     First Class Mail
0dfcd4bd‐b52c‐444e‐bd49‐d99e925d7ac9                   Address Redacted                     First Class Mail
0e057be8‐9bd5‐4a14‐846a‐f9796c184fcb                   Address Redacted                     First Class Mail
0e084125‐01da‐4c6d‐9812‐f87d1c8c7d95                   Address Redacted                     First Class Mail
0e08e6b1‐537b‐49b6‐8671‐89cebed53df5                   Address Redacted                     First Class Mail
0e09f3bf‐4a1c‐4e7c‐b35b‐fbd85adb7f46                   Address Redacted                     First Class Mail
0e0beb63‐3fd2‐4cde‐9526‐6475d2d9d7b9                   Address Redacted                     First Class Mail
0e120ca0‐20e7‐406b‐a289‐5715cb24996a                   Address Redacted                     First Class Mail
0e134dd3‐f362‐4789‐b834‐21329a3b9818                   Address Redacted                     First Class Mail
0e183e5a‐8cd9‐4bf6‐a014‐42d75d4cea8f                   Address Redacted                     First Class Mail
0e1aa20a‐e8e5‐4793‐99c9‐8bfb4ce242d4                   Address Redacted                     First Class Mail
0e1c426a‐e4bd‐489a‐8315‐d295fe7e17eb                   Address Redacted                     First Class Mail
0e1fd0fa‐89e9‐4f98‐9f0f‐a65ccb04ab16                   Address Redacted                     First Class Mail
0e21c351‐bc4c‐4149‐adba‐dcd8c1428461                   Address Redacted                     First Class Mail
0e232b83‐2c9c‐4c79‐97e4‐c0c3097068e0                   Address Redacted                     First Class Mail
0e264f71‐8216‐4f76‐87e5‐b32ce67e74c7                   Address Redacted                     First Class Mail
0e270ce0‐46e5‐4571‐ae8f‐51443431ddd4                   Address Redacted                     First Class Mail
0e2a2d45‐0d0a‐4168‐a9a0‐e1f6c04e21e4                   Address Redacted                     First Class Mail
0e2adb30‐c086‐46c0‐929b‐cb2c32a88cf9                   Address Redacted                     First Class Mail
0e2e7762‐434d‐4609‐a279‐ce7fbe3ed60e                   Address Redacted                     First Class Mail
0e2ef036‐40d8‐42d9‐9c83‐7df5b1b54e91                   Address Redacted                     First Class Mail
0e3311b5‐448e‐4a9b‐8d4b‐c870be805955                   Address Redacted                     First Class Mail
0e346265‐3f86‐45e3‐91d4‐0ca39c6a1596                   Address Redacted                     First Class Mail
0e354cf3‐b65f‐48bc‐be9f‐3bac44e25252                   Address Redacted                     First Class Mail
0e367dcf‐e579‐4f54‐930f‐d470540ca622                   Address Redacted                     First Class Mail
0e3acbfd‐7e6e‐41a7‐b365‐625030f99cdf                   Address Redacted                     First Class Mail
0e3b7bbe‐3a51‐4d6f‐8a35‐4122e4da393d                   Address Redacted                     First Class Mail
0e40eb34‐70a4‐4890‐8f36‐c6a658a11560                   Address Redacted                     First Class Mail
0e41ce34‐1ef5‐425a‐97ef‐4424968fefbf                   Address Redacted                     First Class Mail
0e423ea6‐e5ba‐4771‐80d3‐2aade894f8d0                   Address Redacted                     First Class Mail




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                              Name                                              Address                        Method of Service
0e4724a2‐aec2‐49dd‐bdd5‐5e106dd92b90                   Address Redacted                     First Class Mail
0e47693c‐ee21‐455e‐9be7‐3bf5c1d626bd                   Address Redacted                     First Class Mail
0e4b4239‐47fb‐4a85‐be0f‐3edcb1c8e3ab                   Address Redacted                     First Class Mail
0e4d4b94‐3da3‐4c74‐8a6e‐fe9471ac866d                   Address Redacted                     First Class Mail
0e520159‐b3d7‐4ed4‐995f‐b055de7e6c43                   Address Redacted                     First Class Mail
0e549c24‐fccb‐455b‐bbae‐1cacd1f36e9a                   Address Redacted                     First Class Mail
0e55cedd‐ae48‐4392‐bbbf‐3e64a30fe39b                   Address Redacted                     First Class Mail
0e593dc7‐a562‐46e7‐9f53‐d203286ef697                   Address Redacted                     First Class Mail
0e59cdf2‐9633‐4257‐aa72‐8d29c3f6e45b                   Address Redacted                     First Class Mail
0e6077c8‐c10f‐4acf‐ab36‐ed592491c030                   Address Redacted                     First Class Mail
0e61596f‐5239‐493a‐ab0c‐19885cf5857c                   Address Redacted                     First Class Mail
0e643b14‐01ad‐4255‐85fb‐3758b30dfebd                   Address Redacted                     First Class Mail
0e6931dc‐197d‐4ead‐979f‐241cdfffdaca                   Address Redacted                     First Class Mail
0e6a19ac‐0a4e‐4663‐ae23‐4b0a71f30cdb                   Address Redacted                     First Class Mail
0e6bc370‐d234‐464d‐8f07‐43c29f9121bb                   Address Redacted                     First Class Mail
0e6db327‐7c93‐4bdd‐a00b‐ce7ae8cef452                   Address Redacted                     First Class Mail
0e6f6b8d‐4f46‐4967‐ab83‐0b388671a63c                   Address Redacted                     First Class Mail
0e71e1a0‐2128‐4ee5‐af9d‐598d51584333                   Address Redacted                     First Class Mail
0e74cb0e‐ac29‐4c4f‐9434‐a66fa27503ad                   Address Redacted                     First Class Mail
0e76760b‐76f1‐46e5‐b0e2‐b2fd35d3c878                   Address Redacted                     First Class Mail
0e79a34e‐664d‐46ba‐baec‐18523788096c                   Address Redacted                     First Class Mail
0e79aaf5‐d9c4‐4a93‐86f9‐0bdbf1105821                   Address Redacted                     First Class Mail
0e83df7d‐bbf8‐449c‐ba64‐ef8cfe77fea2                   Address Redacted                     First Class Mail
0e85a8a1‐0067‐4da6‐9fdd‐f17291b82793                   Address Redacted                     First Class Mail
0e881a86‐7c0d‐4410‐9c13‐9aa0e0e7a2e0                   Address Redacted                     First Class Mail
0e89c31e‐4dda‐45a3‐b118‐826600790dd1                   Address Redacted                     First Class Mail
0e8cda05‐4fc5‐4a61‐bace‐e5f62f6c25f6                   Address Redacted                     First Class Mail
0e8d5282‐3e67‐4df5‐b892‐d7a2adcc8e1c                   Address Redacted                     First Class Mail
0e8efd7b‐7bcb‐4fac‐a34f‐0fa852a228d5                   Address Redacted                     First Class Mail
0e903128‐80e9‐4982‐bcb3‐5d43cf47eb46                   Address Redacted                     First Class Mail
0e9695fc‐ac9e‐4a8f‐b47e‐102b55d8b912                   Address Redacted                     First Class Mail
0e9940d8‐6aa8‐4440‐bf57‐276ddf62db97                   Address Redacted                     First Class Mail
0e9bae75‐a016‐455e‐a5a3‐4bf96a98d4d9                   Address Redacted                     First Class Mail
0e9bd257‐894a‐4008‐93b9‐51f9e71ef172                   Address Redacted                     First Class Mail
0eab0a37‐0dc7‐4bc3‐8cf0‐ef6db9db35c1                   Address Redacted                     First Class Mail
0ead9cb4‐5758‐46d7‐ace9‐ad7c2fc27c13                   Address Redacted                     First Class Mail
0eadf1fe‐ded8‐47c0‐a5c6‐e36100180761                   Address Redacted                     First Class Mail
0eafa4c8‐2842‐4a4a‐9957‐a3cd0c73677c                   Address Redacted                     First Class Mail
0eb2832a‐0b63‐47bf‐811a‐a10c113cc648                   Address Redacted                     First Class Mail
0eb2c043‐afc6‐4925‐84ef‐c9e5f50a4f89                   Address Redacted                     First Class Mail
0eb34ece‐8705‐404a‐8893‐e386f9465fc1                   Address Redacted                     First Class Mail
0eb3cb8a‐640a‐4c93‐a68c‐7e0f26a2048e                   Address Redacted                     First Class Mail
0eb8d0a0‐d81a‐404b‐ad24‐2d30ac8fa18f                   Address Redacted                     First Class Mail
0ebb6c13‐2d7a‐4340‐879c‐17ce8b076db6                   Address Redacted                     First Class Mail
0ebb7ffa‐1596‐4ce5‐b5b1‐54f49828606d                   Address Redacted                     First Class Mail
0ebcaab2‐864d‐44c6‐8e1c‐c46a9be62986                   Address Redacted                     First Class Mail
0ebcdb8e‐16ee‐4953‐849e‐0c0f8d9c821d                   Address Redacted                     First Class Mail
0ec51075‐95cd‐49b7‐88d1‐e9d4c668b5cb                   Address Redacted                     First Class Mail
0ecbeef2‐1b1f‐4e47‐95c1‐bfc4f7280a83                   Address Redacted                     First Class Mail
0ed15201‐8013‐4057‐b2d2‐b48c8fe33be9                   Address Redacted                     First Class Mail
0ed3931b‐264e‐4146‐9ecd‐de60786d9954                   Address Redacted                     First Class Mail
0ed6b72e‐48bc‐41ae‐b159‐1ac18c7a88f6                   Address Redacted                     First Class Mail
0ed95dab‐bcac‐4cb0‐a20d‐22107920f377                   Address Redacted                     First Class Mail
0eda20d5‐070c‐4b03‐81e7‐844c908e8869                   Address Redacted                     First Class Mail
0edd5973‐fd92‐44ad‐9b05‐92adea945951                   Address Redacted                     First Class Mail
0edd7833‐054a‐44e6‐a288‐bab02924ab0e                   Address Redacted                     First Class Mail
0edebb0d‐608d‐427d‐afce‐6bc8fe6889c8                   Address Redacted                     First Class Mail
0edfd26a‐b955‐47f7‐a2d8‐670973a7702e                   Address Redacted                     First Class Mail
0ee2aeb0‐536f‐4318‐922f‐1fd9484e6dcd                   Address Redacted                     First Class Mail
0ee43fd6‐6ac2‐4bae‐aa90‐00cce8c905dc                   Address Redacted                     First Class Mail
0ee674a7‐e338‐4303‐8483‐9d7a15fbaee9                   Address Redacted                     First Class Mail
0ee68294‐31e9‐43c6‐a604‐15b7fe0d4c5b                   Address Redacted                     First Class Mail
0eecde05‐43c4‐44ce‐abb6‐0ccbd7f253d6                   Address Redacted                     First Class Mail
0eeda993‐255e‐4b12‐8df5‐bbee9401fd43                   Address Redacted                     First Class Mail
0ef49f35‐e6ad‐4237‐8078‐4879b9fc4f86                   Address Redacted                     First Class Mail
0ef80f73‐66ab‐4331‐bf19‐ee64ab1c8f5d                   Address Redacted                     First Class Mail
0f02b20f‐bed5‐4a46‐8805‐6d812b7bc359                   Address Redacted                     First Class Mail
0f03b740‐af55‐413d‐8475‐28bed4d81723                   Address Redacted                     First Class Mail
0f0cceff‐ac53‐473a‐a963‐79d806b240bc                   Address Redacted                     First Class Mail
0f13cae7‐c60e‐470f‐a600‐116800ae2120                   Address Redacted                     First Class Mail
0f141a65‐d63e‐4f66‐85a5‐67312591dade                   Address Redacted                     First Class Mail
0f156f2e‐7978‐4948‐b680‐50697b457459                   Address Redacted                     First Class Mail




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                                                                Exhibit A
                                                                 Service List


                              Name                                              Address                        Method of Service
0f1721df‐df6b‐454f‐9c16‐7cbcae74e18a                   Address Redacted                     First Class Mail
0f18f717‐0869‐4db3‐9ac4‐a6ec36d3cdea                   Address Redacted                     First Class Mail
0f1dbcca‐a459‐47ad‐9436‐57977549abd0                   Address Redacted                     First Class Mail
0f1f51af‐7988‐40a7‐af77‐5004acbe574c                   Address Redacted                     First Class Mail
0f207b43‐36c7‐4d3e‐9938‐6e924a301161                   Address Redacted                     First Class Mail
0f2476b3‐5005‐4075‐ac14‐b5da039d8f24                   Address Redacted                     First Class Mail
0f266726‐0ac4‐472d‐8375‐13de7b729cf4                   Address Redacted                     First Class Mail
0f26b3a1‐28ef‐409e‐8c28‐b76adf21e1cf                   Address Redacted                     First Class Mail
0f2aa71f‐efd2‐4606‐bd4c‐ed9f882a38d5                   Address Redacted                     First Class Mail
0f2c9fea‐1533‐41ec‐b18a‐83b4abceb5fc                   Address Redacted                     First Class Mail
0f2fbc12‐3f08‐4610‐9a39‐126c61dd40b3                   Address Redacted                     First Class Mail
0f30bae3‐8573‐4e9c‐879c‐22f14ef5f2cc                   Address Redacted                     First Class Mail
0f31bc86‐c8b1‐4263‐80b3‐b05b2caaa448                   Address Redacted                     First Class Mail
0f321bb0‐b1ee‐4a0d‐9260‐3a2ddec50012                   Address Redacted                     First Class Mail
0f32799c‐7473‐474e‐b023‐02f33a4a0850                   Address Redacted                     First Class Mail
0f33e0b3‐95fa‐4c1a‐9abe‐70111d7b9b38                   Address Redacted                     First Class Mail
0f3a6158‐6663‐4ed2‐8952‐5acd296e73fc                   Address Redacted                     First Class Mail
0f49a037‐2c76‐4780‐9dc0‐cac277f67455                   Address Redacted                     First Class Mail
0f570e04‐1e27‐4fb9‐be5a‐6bd7b10c7a98                   Address Redacted                     First Class Mail
0f590cd7‐dfa9‐4250‐95ee‐4d90b0c4d132                   Address Redacted                     First Class Mail
0f593688‐a0d4‐4733‐a044‐6744d9af1d62                   Address Redacted                     First Class Mail
0f59372a‐6238‐4971‐9bc6‐c7bdf66e30d3                   Address Redacted                     First Class Mail
0f5b63c8‐c852‐4798‐a890‐2324249818f8                   Address Redacted                     First Class Mail
0f5ddf31‐6351‐4b6f‐8c5d‐25d46698ecaa                   Address Redacted                     First Class Mail
0f5fbc5c‐bfaf‐49fc‐b4db‐99a85bd3d357                   Address Redacted                     First Class Mail
0f619233‐dfdb‐48f3‐8561‐d58e95fa922e                   Address Redacted                     First Class Mail
0f61a5e1‐ecba‐4315‐a5d1‐593397eb8674                   Address Redacted                     First Class Mail
0f63cecc‐f1e3‐43ac‐a928‐1fa9b996a10f                   Address Redacted                     First Class Mail
0f660cf2‐be8a‐4647‐8824‐c1aeecf91807                   Address Redacted                     First Class Mail
0f693ca3‐22be‐400d‐b825‐640467e41ea3                   Address Redacted                     First Class Mail
0f69f804‐b021‐48a2‐94de‐2fe2c2e1a5f6                   Address Redacted                     First Class Mail
0f6a1645‐d062‐42ea‐8c3c‐259c1326b359                   Address Redacted                     First Class Mail
0f6b0460‐1772‐424a‐9ad9‐7d0ab5d7d109                   Address Redacted                     First Class Mail
0f6e9982‐8cbd‐438a‐9360‐1a91fa82c893                   Address Redacted                     First Class Mail
0f6f037b‐8e88‐4eac‐91cd‐3d3b1a511521                   Address Redacted                     First Class Mail
0f71780e‐00b3‐45de‐94ec‐b77475ae9565                   Address Redacted                     First Class Mail
0f74238c‐40b0‐4643‐bd7a‐bb180fb2016f                   Address Redacted                     First Class Mail
0f76dbab‐d8a2‐44fa‐b2b1‐dee284d2d56e                   Address Redacted                     First Class Mail
0f775c89‐97c0‐4b50‐ae05‐01c5745b969a                   Address Redacted                     First Class Mail
0f775e26‐b950‐491d‐accd‐ec264b9604dd                   Address Redacted                     First Class Mail
0f7bd412‐7bf8‐4c49‐96ca‐1a50f8b5ccc3                   Address Redacted                     First Class Mail
0f7bf55c‐b124‐4642‐ab69‐9a27644d8950                   Address Redacted                     First Class Mail
0f7df2ce‐3b75‐4bbd‐9d7c‐506d304c140a                   Address Redacted                     First Class Mail
0f7e1722‐fb6f‐42e7‐9596‐d481bbe272b4                   Address Redacted                     First Class Mail
0f7f0bc1‐85ca‐4aa6‐8efe‐3739a5735762                   Address Redacted                     First Class Mail
0f7f8fad‐497c‐4d4c‐8898‐1005200d7cb4                   Address Redacted                     First Class Mail
0f80d0c1‐5bc5‐401d‐9560‐d2ce1afc6111                   Address Redacted                     First Class Mail
0f8526b7‐e2bf‐44dd‐9685‐5b464fb60d42                   Address Redacted                     First Class Mail
0f89d674‐c277‐40a0‐8219‐d239cd9d85e0                   Address Redacted                     First Class Mail
0f8acc5d‐43fe‐489d‐a850‐8757d1243f31                   Address Redacted                     First Class Mail
0f8ddcd0‐0d21‐4083‐8e59‐a5ad0ada0160                   Address Redacted                     First Class Mail
0f933fd1‐4338‐45b7‐af81‐71ce8cb7ef47                   Address Redacted                     First Class Mail
0f948840‐eb21‐4727‐a332‐19c16fe1c8b4                   Address Redacted                     First Class Mail
0f99fa37‐c2d5‐43d2‐9288‐da98f62b9506                   Address Redacted                     First Class Mail
0f9bca4d‐4270‐4943‐ad76‐844b2ef5fd3d                   Address Redacted                     First Class Mail
0f9df5bf‐8458‐44df‐bd67‐1650d460aa1e                   Address Redacted                     First Class Mail
0f9e4599‐ef6d‐4718‐bfe5‐8d6fca7e2d23                   Address Redacted                     First Class Mail
0fa653a5‐cb39‐42c6‐8cc6‐920e88a65e3d                   Address Redacted                     First Class Mail
0fa8d3de‐9a6e‐4095‐82b3‐f9329c1530f3                   Address Redacted                     First Class Mail
0fac919c‐13eb‐4c27‐b2eb‐e5fd3f5092f5                   Address Redacted                     First Class Mail
0fad40d6‐a7d2‐4f1b‐a023‐2ebd3e469b4d                   Address Redacted                     First Class Mail
0fad4970‐a85c‐4438‐bc09‐eec716653954                   Address Redacted                     First Class Mail
0fb04fe4‐dd1e‐452b‐a7fe‐52ad6f3a6725                   Address Redacted                     First Class Mail
0fb2812a‐9dd5‐4898‐818a‐ad792cb1963c                   Address Redacted                     First Class Mail
0fb4fcaa‐19ee‐43b0‐bb00‐f30cb4222d85                   Address Redacted                     First Class Mail
0fbb76eb‐0764‐4961‐948f‐fbc5b38eba73                   Address Redacted                     First Class Mail
0fbc19aa‐b523‐4b75‐a8e7‐dfbcf4b8f912                   Address Redacted                     First Class Mail
0fbc8bd3‐d334‐4231‐9d2e‐9e4f189fc11a                   Address Redacted                     First Class Mail
0fbe3ec2‐4951‐4686‐af7b‐c81a06644d6d                   Address Redacted                     First Class Mail
0fc44603‐5b7a‐4517‐bb43‐b97cd2f6e5eb                   Address Redacted                     First Class Mail
0fc80c2f‐f5d8‐4ab3‐8473‐09e94ceceda4                   Address Redacted                     First Class Mail
0fcc088b‐32b0‐4945‐bfba‐9d6b14e13cd9                   Address Redacted                     First Class Mail




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                                                                Exhibit A
                                                                 Service List


                              Name                                              Address                        Method of Service
0fcc48fd‐aa46‐4745‐8839‐7300c6eee5cb                   Address Redacted                     First Class Mail
0fcc82cc‐d919‐4c03‐bfae‐c4a663cf83f9                   Address Redacted                     First Class Mail
0fcf6369‐e625‐4286‐83cd‐52417135ee0a                   Address Redacted                     First Class Mail
0fcff2c2‐edc0‐4133‐884f‐a32864cd7ced                   Address Redacted                     First Class Mail
0fd07abe‐a4e5‐4759‐a169‐3715413bbe86                   Address Redacted                     First Class Mail
0fd37bd0‐c731‐41b8‐acf4‐7fda633d1fb0                   Address Redacted                     First Class Mail
0fd5544c‐be33‐4b89‐b0d3‐a1febb00701d                   Address Redacted                     First Class Mail
0fd8fa79‐c5fc‐4255‐8fe2‐f222532622b8                   Address Redacted                     First Class Mail
0fddf644‐8a51‐4c16‐8f49‐3362ae1059c7                   Address Redacted                     First Class Mail
0fe1d89c‐3773‐4203‐8227‐14e85172def1                   Address Redacted                     First Class Mail
0fed3f33‐dd26‐459c‐89ff‐7ea65a0c84b2                   Address Redacted                     First Class Mail
0ff3874a‐120c‐4015‐999f‐efcbdb1d7843                   Address Redacted                     First Class Mail
0ff46b56‐ae92‐41e5‐b231‐852457e424e9                   Address Redacted                     First Class Mail
1000af8a‐7f5a‐481f‐941a‐dee21a7a9a42                   Address Redacted                     First Class Mail
1000fc21‐e837‐4c55‐b52e‐b096188fee74                   Address Redacted                     First Class Mail
1003f75e‐1c45‐4d0c‐9a90‐363a4a14fbf3                   Address Redacted                     First Class Mail
1007224a‐921b‐4270‐8a36‐0ec311b8ecb3                   Address Redacted                     First Class Mail
10089f76‐37ad‐4376‐b0af‐2ec5bd523e15                   Address Redacted                     First Class Mail
10097667‐caea‐4a98‐971f‐aab54e13b6e3                   Address Redacted                     First Class Mail
100ad226‐6ceb‐40d0‐b5d3‐4f7d62b1d245                   Address Redacted                     First Class Mail
100c56ea‐34d9‐496d‐9317‐d5816de26db1                   Address Redacted                     First Class Mail
100e80f6‐81d5‐455b‐9f8f‐53db510ccc88                   Address Redacted                     First Class Mail
100ec494‐c70e‐4423‐a9d6‐035c314ff1d1                   Address Redacted                     First Class Mail
100f9802‐78e0‐49db‐9584‐974c3751363e                   Address Redacted                     First Class Mail
101901c4‐0507‐4d86‐bdea‐8cdf77d07348                   Address Redacted                     First Class Mail
101c6caa‐3ade‐4ad8‐8387‐7ec94cf445df                   Address Redacted                     First Class Mail
101cd5f9‐c2ab‐4ca4‐a336‐58bd15eaba5b                   Address Redacted                     First Class Mail
101e231e‐91cf‐45be‐9bd5‐97c1ee26ae93                   Address Redacted                     First Class Mail
10246dce‐f32d‐4901‐95d1‐114d6538b06b                   Address Redacted                     First Class Mail
1026edc4‐ad27‐4b76‐994c‐cf79107e1bd3                   Address Redacted                     First Class Mail
1027745d‐5b85‐4bb3‐bd86‐07e625b60062                   Address Redacted                     First Class Mail
102830be‐325b‐48d8‐b3d4‐54961182c4a5                   Address Redacted                     First Class Mail
102e1a57‐6ffc‐404a‐a14c‐a5e98b97779b                   Address Redacted                     First Class Mail
1034a709‐274f‐4337‐909a‐4dea81ce7006                   Address Redacted                     First Class Mail
103577af‐a4a6‐4078‐a841‐22726e3f94b1                   Address Redacted                     First Class Mail
1039484f‐bc2e‐4923‐8c99‐62835daaf2e7                   Address Redacted                     First Class Mail
1043b6da‐0b82‐477e‐a6da‐038d0b150280                   Address Redacted                     First Class Mail
10470a3c‐2d2c‐4721‐a809‐94cc003952ac                   Address Redacted                     First Class Mail
104caca8‐a981‐498c‐95e8‐8be95910a719                   Address Redacted                     First Class Mail
10578463‐b81c‐4d4c‐835a‐644a8302f3d6                   Address Redacted                     First Class Mail
105d4809‐5349‐4c02‐bb8d‐e3b3efd8e92d                   Address Redacted                     First Class Mail
105e73cc‐7c30‐45f7‐8b4d‐76b3325e84ba                   Address Redacted                     First Class Mail
105fb0c2‐0849‐4092‐b2d5‐e53fbce37267                   Address Redacted                     First Class Mail
10603504‐c523‐459e‐8695‐8d7ab338b76b                   Address Redacted                     First Class Mail
106152cc‐d3c6‐4cf8‐a771‐09edc08eab0a                   Address Redacted                     First Class Mail
10615342‐89dc‐4de9‐b1f6‐1ca47a161352                   Address Redacted                     First Class Mail
106164d6‐24d1‐4309‐b7ee‐f693f55df456                   Address Redacted                     First Class Mail
1061ad87‐5430‐42c9‐bcf1‐1e60baba2eeb                   Address Redacted                     First Class Mail
10645942‐1337‐4623‐9405‐926a4ad5c8b8                   Address Redacted                     First Class Mail
10646e7a‐7eef‐4eb7‐9f1d‐035959105bed                   Address Redacted                     First Class Mail
1064f9ed‐bee5‐48e2‐a811‐52c0ea42ec92                   Address Redacted                     First Class Mail
106fa2ff‐a661‐4cae‐8ee7‐9a8fc710a36e                   Address Redacted                     First Class Mail
10714074‐6d21‐4d34‐82dc‐bffe62c3d7a6                   Address Redacted                     First Class Mail
1071e2e7‐e5b7‐4468‐b181‐901f54e4f560                   Address Redacted                     First Class Mail
10728760‐02e3‐44b3‐b5f5‐b53625110edc                   Address Redacted                     First Class Mail
107751a2‐80d8‐4ff3‐8501‐6b6b3fde21a4                   Address Redacted                     First Class Mail
10786c06‐8556‐4037‐bf5d‐c4c22cc4caa6                   Address Redacted                     First Class Mail
10817356‐8b01‐44fb‐b6d3‐1b7ef83f562b                   Address Redacted                     First Class Mail
1082de67‐eb50‐4e63‐b4dd‐16bbdef91cba                   Address Redacted                     First Class Mail
10831074‐b1a5‐40be‐834f‐b12d0a94c560                   Address Redacted                     First Class Mail
10841e84‐ee24‐495f‐9842‐7e7f0fcc74c5                   Address Redacted                     First Class Mail
108af6e7‐ee34‐4788‐a0cd‐e46061b635ad                   Address Redacted                     First Class Mail
1090178b‐fc35‐402d‐a018‐b51b8a5f4461                   Address Redacted                     First Class Mail
109202b3‐9d98‐460e‐83f0‐ab408d908dd2                   Address Redacted                     First Class Mail
10941176‐6146‐4362‐b138‐67fe995e7883                   Address Redacted                     First Class Mail
10951eca‐f8ae‐4123‐ab7b‐8b163701da21                   Address Redacted                     First Class Mail
1097009c‐a196‐4d0f‐9bcf‐bff557bd69f2                   Address Redacted                     First Class Mail
109a0364‐e59f‐48d9‐a759‐77583ec0bbcd                   Address Redacted                     First Class Mail
109d25fd‐aeb8‐410e‐8855‐8187c40bad90                   Address Redacted                     First Class Mail
10a0243b‐bbd6‐4fac‐bff9‐7b17d56bd8fe                   Address Redacted                     First Class Mail
10adf2e0‐ced2‐4072‐9bcc‐bcd1c210c84a                   Address Redacted                     First Class Mail
10b07c6b‐5705‐4409‐bedc‐b8a8109c4d3b                   Address Redacted                     First Class Mail




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                               Name                                             Address                        Method of Service
10b2cb9f‐fcfe‐451e‐a927‐eb93c9e6dd9f                   Address Redacted                     First Class Mail
10b53cc4‐a81c‐4cf9‐abc9‐46382de0ab8d                   Address Redacted                     First Class Mail
10b68d5f‐e246‐42d3‐85e5‐fbb69269f4e5                   Address Redacted                     First Class Mail
10b8c1c5‐35b2‐4d93‐aadf‐ecf2ecd24730                   Address Redacted                     First Class Mail
10b9b082‐6d1c‐488d‐a047‐90f39bafaeb9                   Address Redacted                     First Class Mail
10bb34f0‐4acb‐4e7e‐b796‐f13016a1845d                   Address Redacted                     First Class Mail
10c19cae‐95c7‐4553‐8425‐5d8f65f8de04                   Address Redacted                     First Class Mail
10c42edf‐51f7‐489b‐8b1d‐4fae2565312a                   Address Redacted                     First Class Mail
10c5b6cc‐01b6‐429c‐9190‐10d5e62a1ac2                   Address Redacted                     First Class Mail
10c5bc75‐1f21‐4176‐ae36‐fae43c7c017e                   Address Redacted                     First Class Mail
10c7203f‐5fdd‐4ee9‐8df9‐ef2f629fecda                   Address Redacted                     First Class Mail
10c7286d‐2618‐420b‐907e‐c914e56f1460                   Address Redacted                     First Class Mail
10c97965‐1ebc‐442a‐98fa‐fc57189a3972                   Address Redacted                     First Class Mail
10cbfef5‐cebc‐40ba‐b0c8‐ebce68bbb6cd                   Address Redacted                     First Class Mail
10d2fa98‐0a56‐4465‐9e6e‐cc8f04159263                   Address Redacted                     First Class Mail
10d5ec3e‐b001‐49c5‐817f‐eb1c499c8c46                   Address Redacted                     First Class Mail
10d9b006‐45d7‐4e51‐aefd‐0330dbb7656f                   Address Redacted                     First Class Mail
10db0c64‐2a85‐417e‐b705‐7c6864a4eafe                   Address Redacted                     First Class Mail
10dc7842‐ebfe‐40c2‐9ce3‐fbbd33bad3f6                   Address Redacted                     First Class Mail
10dcb589‐73a8‐4a06‐bd70‐ad526367097a                   Address Redacted                     First Class Mail
10e38fdd‐e90a‐4941‐a561‐8cfec2de2069                   Address Redacted                     First Class Mail
10e59ecc‐77ba‐415f‐83a9‐77066e069cfc                   Address Redacted                     First Class Mail
10e5aecc‐a4a3‐4ee7‐91ea‐367c92ce1c21                   Address Redacted                     First Class Mail
10ed1e2f‐086b‐4605‐b3bc‐ec4a784b4979                   Address Redacted                     First Class Mail
10ed2594‐5b0c‐4466‐a3fd‐30d23b20457f                   Address Redacted                     First Class Mail
10ef9858‐0bb9‐467f‐8d75‐80ba7b8d6edc                   Address Redacted                     First Class Mail
10f3e04f‐58bf‐4994‐8fcb‐8dee9b20b425                   Address Redacted                     First Class Mail
10f493da‐851c‐4810‐b933‐7fc4d55054d9                   Address Redacted                     First Class Mail
10f58c6e‐6167‐4c4d‐83e9‐54a95877fdd1                   Address Redacted                     First Class Mail
10f93f94‐7f54‐4481‐a904‐448bd17737d0                   Address Redacted                     First Class Mail
10fa7845‐583a‐4141‐9447‐1921201e87c4                   Address Redacted                     First Class Mail
10fff89f‐c574‐4129‐a70f‐6e3fda365f2e                   Address Redacted                     First Class Mail
11098a3e‐a31d‐4de3‐b5ef‐f110dee4033a                   Address Redacted                     First Class Mail
110a2957‐b4e6‐4552‐9511‐309167743d02                   Address Redacted                     First Class Mail
110c1dc1‐d25d‐4469‐adef‐99188233b484                   Address Redacted                     First Class Mail
110e7131‐7554‐4a4f‐afb8‐73eef09b15d9                   Address Redacted                     First Class Mail
110e7f7e‐d487‐4f0d‐be5d‐d3dcb91bb041                   Address Redacted                     First Class Mail
110f6f49‐5ee3‐4706‐9420‐4b99dd17e7e7                   Address Redacted                     First Class Mail
110fe15a‐85bd‐44e9‐afe1‐aacceeede9e5                   Address Redacted                     First Class Mail
11104711‐0bb0‐4460‐8101‐13e0039ca50f                   Address Redacted                     First Class Mail
1113d72e‐e6c8‐4f38‐beeb‐317969094023                   Address Redacted                     First Class Mail
1115e1df‐831f‐45d4‐a3c1‐3cb72640842e                   Address Redacted                     First Class Mail
11172913‐e889‐4c29‐9e6d‐f554dfc3ff66                   Address Redacted                     First Class Mail
111835ab‐82ad‐49da‐a4f1‐ef3ab58c3faa                   Address Redacted                     First Class Mail
1118e7f9‐46f4‐499a‐89fa‐56fd846ebb41                   Address Redacted                     First Class Mail
111aabac‐70ef‐420c‐9a6e‐1471f09597f4                   Address Redacted                     First Class Mail
111ab314‐db37‐458d‐91f4‐b28f69485f2f                   Address Redacted                     First Class Mail
111d0d53‐76e2‐40cb‐9265‐deab2f74a87d                   Address Redacted                     First Class Mail
111f501b‐94e1‐4b51‐8a34‐388636e2f57f                   Address Redacted                     First Class Mail
1120b034‐a207‐4be4‐b058‐01fb6bcfaab7                   Address Redacted                     First Class Mail
1124aebf‐8589‐4741‐85a7‐d77296d71b74                   Address Redacted                     First Class Mail
112622d0‐1dd6‐4353‐84a1‐00daf378fa2d                   Address Redacted                     First Class Mail
11268fde‐4b11‐4461‐a63c‐9c0d50b07926                   Address Redacted                     First Class Mail
11278ada‐a98b‐4ffe‐922f‐efbd8d4c08c5                   Address Redacted                     First Class Mail
1127ed66‐f6a1‐4118‐b28c‐2f69051e93cd                   Address Redacted                     First Class Mail
11293b18‐ef4b‐48ba‐8918‐56906887105e                   Address Redacted                     First Class Mail
1129b137‐f5de‐4386‐8c20‐376dec791d55                   Address Redacted                     First Class Mail
112e9e0a‐bd0b‐4e04‐ad1a‐60a8e3e65f78                   Address Redacted                     First Class Mail
112efc3b‐da3f‐40c9‐9522‐6cc75260982c                   Address Redacted                     First Class Mail
1131a9c9‐fa95‐46f1‐9b59‐0525693a409d                   Address Redacted                     First Class Mail
1131d8ca‐6d50‐4f7c‐b24b‐78dad1aa41b7                   Address Redacted                     First Class Mail
11327e11‐cad9‐4410‐8c2d‐77be11127d3b                   Address Redacted                     First Class Mail
1133086e‐0789‐4f9c‐965c‐c4b59a9baf59                   Address Redacted                     First Class Mail
113357ad‐098d‐4f86‐bd3b‐b062a67d7f9a                   Address Redacted                     First Class Mail
113651b4‐0572‐406c‐b800‐24dfd43df8d3                   Address Redacted                     First Class Mail
11366a44‐0e32‐413e‐91f8‐638aa61329ff                   Address Redacted                     First Class Mail
11385898‐33bc‐4001‐8055‐382f4ce3dd80                   Address Redacted                     First Class Mail
1138a6f3‐3dc7‐44d0‐9364‐7cc91010bdbe                   Address Redacted                     First Class Mail
1138c7a1‐7f81‐47bc‐a95b‐1b9e08298813                   Address Redacted                     First Class Mail
1139161a‐ca00‐413b‐9b84‐87eece309044                   Address Redacted                     First Class Mail
113aeb17‐0412‐4384‐bcb9‐3ee7a13bee46                   Address Redacted                     First Class Mail
113ca6aa‐fa23‐41aa‐a692‐121f9b17a7fc                   Address Redacted                     First Class Mail




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                              Name                                              Address                        Method of Service
114177c8‐8c78‐46c8‐910a‐c80b48d1b5fd                   Address Redacted                     First Class Mail
1142a709‐cc6e‐44db‐b85a‐b4aaa4371cd5                   Address Redacted                     First Class Mail
11468f95‐6bee‐4882‐a9c3‐f75136822f5e                   Address Redacted                     First Class Mail
1146c793‐1bf9‐4ce6‐9763‐b769a1a5c14c                   Address Redacted                     First Class Mail
114b79da‐b23b‐491c‐99ea‐c88e42642f52                   Address Redacted                     First Class Mail
114f97c7‐4284‐4f10‐8c10‐71cb76da0194                   Address Redacted                     First Class Mail
1153e790‐9311‐48cf‐8744‐c45b188ca4dc                   Address Redacted                     First Class Mail
115566a6‐24eb‐44db‐8485‐26361177d531                   Address Redacted                     First Class Mail
115a1c36‐be42‐406b‐8ca5‐d71cafbf2215                   Address Redacted                     First Class Mail
115c8e2d‐a47d‐416c‐bfa2‐ad137975e9fd                   Address Redacted                     First Class Mail
115c9946‐a407‐4937‐a02e‐b1147a3716fa                   Address Redacted                     First Class Mail
115da023‐e2a9‐4094‐b4ff‐3d8eb5bdcb36                   Address Redacted                     First Class Mail
115ea244‐50d0‐4e6a‐9db4‐3fb7191654da                   Address Redacted                     First Class Mail
11626eee‐9057‐4814‐854c‐a0cb5349d44d                   Address Redacted                     First Class Mail
11629284‐cf10‐4b0f‐8e07‐e388a7b4aa23                   Address Redacted                     First Class Mail
1163a977‐2330‐40b0‐8334‐da2963ec4356                   Address Redacted                     First Class Mail
1163aa82‐d54f‐4142‐b70c‐eb5ac9654851                   Address Redacted                     First Class Mail
11640b95‐4ec9‐4229‐a414‐18af15c5fa8d                   Address Redacted                     First Class Mail
116da1e7‐7247‐464c‐bad1‐a2e6593a90e4                   Address Redacted                     First Class Mail
1176f155‐b7bf‐4308‐a574‐490d1cf9dd6c                   Address Redacted                     First Class Mail
1176fc69‐7c64‐4e68‐962c‐721f49fba220                   Address Redacted                     First Class Mail
117ade6e‐d33d‐473e‐991e‐e8a7987ea987                   Address Redacted                     First Class Mail
117ec61d‐66e2‐400c‐9704‐eab2762d65c9                   Address Redacted                     First Class Mail
11805618‐71d5‐4e96‐986a‐eb43d3510688                   Address Redacted                     First Class Mail
1183b468‐53d9‐4833‐9b07‐febac998bcc2                   Address Redacted                     First Class Mail
11858356‐5d75‐408d‐a991‐1dfda71d2165                   Address Redacted                     First Class Mail
11858dc8‐bb24‐467d‐bcf8‐63fdddcc7b6a                   Address Redacted                     First Class Mail
1188ad68‐180f‐4019‐a324‐afef035881b5                   Address Redacted                     First Class Mail
118b0f3d‐0be5‐48bc‐9bb0‐06cff78544f8                   Address Redacted                     First Class Mail
118f159b‐5346‐4c5e‐9807‐360bd5235947                   Address Redacted                     First Class Mail
11901630‐a539‐4884‐8011‐8aa66c40f9b2                   Address Redacted                     First Class Mail
1198491c‐cda2‐4bb2‐960a‐671cb5c75ff9                   Address Redacted                     First Class Mail
119cdfab‐4387‐4fce‐aa86‐fa8633f09434                   Address Redacted                     First Class Mail
11a470fa‐cff0‐4e5e‐9192‐d4a4ef1d9e6a                   Address Redacted                     First Class Mail
11a90223‐2588‐46af‐97b7‐70c869dab877                   Address Redacted                     First Class Mail
11a9060d‐2096‐48b1‐8758‐b3acb20cd02d                   Address Redacted                     First Class Mail
11a9ef71‐bee2‐4ba0‐b94e‐28375bfcf0c0                   Address Redacted                     First Class Mail
11ab04e6‐e4e4‐48b1‐93eb‐74908c0243ec                   Address Redacted                     First Class Mail
11abf55e‐40e2‐438b‐8653‐77ba0046b0b4                   Address Redacted                     First Class Mail
11b1927e‐43ec‐4783‐8de3‐04054bb4a028                   Address Redacted                     First Class Mail
11b23164‐bafc‐426c‐b074‐afa17890228e                   Address Redacted                     First Class Mail
11b2d703‐ad28‐4917‐84b3‐2482a1270ffa                   Address Redacted                     First Class Mail
11b380a8‐0629‐426b‐b18b‐cd47364f9af6                   Address Redacted                     First Class Mail
11bb38cb‐7164‐4c44‐95a1‐57ca41594859                   Address Redacted                     First Class Mail
11bbd824‐befd‐4560‐9fc2‐2fa82372d318                   Address Redacted                     First Class Mail
11bd3d45‐c8d6‐424b‐8881‐cd56f26e282f                   Address Redacted                     First Class Mail
11bf25d5‐e171‐40fe‐8633‐9b755b5437f1                   Address Redacted                     First Class Mail
11c60822‐056c‐4b2e‐a391‐4477289fa75d                   Address Redacted                     First Class Mail
11cc43dc‐1036‐459d‐bb3f‐7cb928210fac                   Address Redacted                     First Class Mail
11cc6423‐08ee‐43f5‐a703‐96a172e6628a                   Address Redacted                     First Class Mail
11d06bc7‐c065‐441f‐86d5‐04f9e09db1d1                   Address Redacted                     First Class Mail
11d27368‐6d5c‐4b04‐bfb5‐5dc323f2f34a                   Address Redacted                     First Class Mail
11d27ed0‐02ed‐402d‐9b6b‐bf46e248a6d8                   Address Redacted                     First Class Mail
11d56bd4‐48fc‐4ca7‐8d02‐baec28278bbd                   Address Redacted                     First Class Mail
11dae2cf‐140d‐4409‐923e‐258cf1cffbb7                   Address Redacted                     First Class Mail
11e09c28‐b579‐4126‐b53e‐c4cef4ea5ff1                   Address Redacted                     First Class Mail
11e1a5d8‐609b‐46e6‐bf3a‐62d96dff7f72                   Address Redacted                     First Class Mail
11e5fd60‐a56f‐4317‐9536‐097ef707c12e                   Address Redacted                     First Class Mail
11e61ccb‐217b‐4384‐a713‐29b529389928                   Address Redacted                     First Class Mail
11e78928‐8864‐4c0c‐9a2a‐854816988830                   Address Redacted                     First Class Mail
11e8e1a8‐79a8‐4ac2‐a27c‐a2ac920d4005                   Address Redacted                     First Class Mail
11e93ca5‐58a5‐4566‐8879‐3776ded783a9                   Address Redacted                     First Class Mail
11f01831‐c210‐4f8f‐bcc9‐656ec40fe875                   Address Redacted                     First Class Mail
11f2f6e8‐c1ba‐4987‐a538‐bf984f642836                   Address Redacted                     First Class Mail
11f625f5‐8886‐4850‐b2af‐30a1cb9723ac                   Address Redacted                     First Class Mail
11f69fd2‐d102‐424e‐9a10‐9566879d777d                   Address Redacted                     First Class Mail
11f79942‐096f‐434c‐a809‐c85c0d3d3d77                   Address Redacted                     First Class Mail
11fa9e53‐183e‐4578‐9dd5‐6caefec1092d                   Address Redacted                     First Class Mail
11feb350‐5b41‐41bc‐99ef‐793dd03d095d                   Address Redacted                     First Class Mail
11ffd2ec‐d62d‐484d‐8033‐7a4218089ed4                   Address Redacted                     First Class Mail
12005b79‐4a17‐42f0‐b110‐6ec6d14f1317                   Address Redacted                     First Class Mail
1207f39a‐98e2‐4765‐b2f5‐baaf2cfa1e79                   Address Redacted                     First Class Mail




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                                                                Exhibit A
                                                                 Service List


                              Name                                              Address                        Method of Service
120a6013‐4c62‐4003‐ab45‐1d301984964c                   Address Redacted                     First Class Mail
120a632c‐d3a5‐4c39‐abf0‐db9ab41b534a                   Address Redacted                     First Class Mail
120cc9c0‐2e1d‐4710‐b05c‐21da571437fd                   Address Redacted                     First Class Mail
12131cac‐d866‐444e‐af0d‐fa0c8e3ca008                   Address Redacted                     First Class Mail
1215931c‐359a‐4ca1‐82b8‐d1efbbe96d8e                   Address Redacted                     First Class Mail
121b0cbe‐1e96‐47b7‐b8b2‐d8eed91bb459                   Address Redacted                     First Class Mail
121bed19‐f5e4‐427e‐a731‐67038cca9f67                   Address Redacted                     First Class Mail
1220ec64‐f685‐470f‐9f4c‐5b7ce3ccfb44                   Address Redacted                     First Class Mail
1221e797‐2744‐425b‐90ee‐950aafd0f2cb                   Address Redacted                     First Class Mail
1225d1d0‐3876‐4056‐9f56‐ce8e59b7b0fb                   Address Redacted                     First Class Mail
122710b3‐bb9f‐4b2c‐bec8‐7a97aade7026                   Address Redacted                     First Class Mail
122b0b32‐fcae‐46ea‐8854‐cf3aa56e34e9                   Address Redacted                     First Class Mail
122b79d7‐27e6‐4674‐93da‐ff80458f69fb                   Address Redacted                     First Class Mail
122c89da‐1e49‐4e52‐90da‐051c519b461b                   Address Redacted                     First Class Mail
1232d874‐0b4d‐4dcf‐a9f5‐3007f535c0af                   Address Redacted                     First Class Mail
1237f6a8‐d6bc‐4f15‐964e‐553f07c5e928                   Address Redacted                     First Class Mail
12380957‐f67e‐491a‐aa00‐fb4be8d7a02e                   Address Redacted                     First Class Mail
12394b4d‐13dd‐4e7d‐bd25‐c8a3df336d7d                   Address Redacted                     First Class Mail
123d1230‐8371‐420c‐a8e8‐2d7ed719985d                   Address Redacted                     First Class Mail
1242c031‐c8d8‐4071‐b243‐ee7c53a0bf11                   Address Redacted                     First Class Mail
124ac098‐2715‐4f65‐9472‐36cf16004ad1                   Address Redacted                     First Class Mail
124c6af3‐daa3‐44ec‐b9c8‐5e03eb88f01b                   Address Redacted                     First Class Mail
12572bb2‐080c‐498a‐984f‐6416516858d9                   Address Redacted                     First Class Mail
12598afd‐ac7a‐4224‐8d28‐7201d9d98d5a                   Address Redacted                     First Class Mail
1259cf8a‐e729‐4465‐a3d3‐e4d6fcf32d84                   Address Redacted                     First Class Mail
125b473d‐a99b‐442e‐a7de‐96e169f5f50e                   Address Redacted                     First Class Mail
125babc3‐9416‐4b4d‐b51a‐cacd2e688805                   Address Redacted                     First Class Mail
125cfced‐5da5‐4391‐92f2‐055c3ad27cfc                   Address Redacted                     First Class Mail
126336fa‐6163‐4a3e‐b6d4‐a702c465ddd9                   Address Redacted                     First Class Mail
12636e2e‐5c07‐4044‐b009‐d66355f6ca44                   Address Redacted                     First Class Mail
12664cbd‐58d1‐4424‐9bb7‐2b57be2599e3                   Address Redacted                     First Class Mail
126ad5d3‐5ded‐4e0f‐ab81‐81ff7c8917db                   Address Redacted                     First Class Mail
126bcc28‐1830‐4936‐8419‐30a27896e5c5                   Address Redacted                     First Class Mail
126c848d‐2b2c‐4543‐953b‐1a8ec2ba05b8                   Address Redacted                     First Class Mail
12736638‐97a5‐430e‐91b6‐6c31f6a71394                   Address Redacted                     First Class Mail
12760eec‐bd32‐4935‐a07f‐e0afed39edc3                   Address Redacted                     First Class Mail
12778b3c‐3e05‐479d‐90d4‐9a2d2baab708                   Address Redacted                     First Class Mail
1277d53c‐7dc2‐4e0a‐ac01‐6129305f78e5                   Address Redacted                     First Class Mail
127905a3‐6eb7‐4f4d‐bce2‐c1c162243db6                   Address Redacted                     First Class Mail
1280a153‐9588‐4c20‐b20b‐4f446c444487                   Address Redacted                     First Class Mail
1285dc80‐3493‐4ad3‐a4fd‐2ec14539a01f                   Address Redacted                     First Class Mail
1288ebe9‐7ccc‐42d9‐83cd‐c660953649fa                   Address Redacted                     First Class Mail
128b7a50‐3f53‐49f3‐8941‐6172609e9f78                   Address Redacted                     First Class Mail
128d60fd‐1dcc‐44f4‐8fe5‐0403ff114919                   Address Redacted                     First Class Mail
128dba7b‐c266‐4e01‐baee‐b11f69b57bcc                   Address Redacted                     First Class Mail
128eb07d‐c4dc‐438d‐9641‐6db349c49358                   Address Redacted                     First Class Mail
12900281‐e096‐457e‐bc9d‐325a832f3bd0                   Address Redacted                     First Class Mail
12920372‐0c8c‐4d39‐a222‐1e0992ae3744                   Address Redacted                     First Class Mail
12951f11‐1f26‐412b‐b47d‐df81c7a2f982                   Address Redacted                     First Class Mail
12953079‐96a1‐4102‐8461‐bd9758a1366e                   Address Redacted                     First Class Mail
1296039c‐6e78‐4cbd‐a719‐763a75d64f05                   Address Redacted                     First Class Mail
12995403‐78b8‐4f94‐8534‐85c76c4a42fd                   Address Redacted                     First Class Mail
129acc55‐5fb4‐449b‐b605‐f62e5d9a2e1b                   Address Redacted                     First Class Mail
129bb23f‐233a‐423b‐bd73‐f022006abe3d                   Address Redacted                     First Class Mail
129f19b2‐be98‐4b20‐ab5f‐e5921612dc86                   Address Redacted                     First Class Mail
12a1247b‐bcb5‐41ce‐9714‐2eedd7b89f8c                   Address Redacted                     First Class Mail
12a60c4b‐8cbf‐4ea2‐9f93‐d3d615685f94                   Address Redacted                     First Class Mail
12a8cf20‐3e67‐4292‐b518‐f6fec7d85377                   Address Redacted                     First Class Mail
12ab7861‐1735‐4500‐8aa6‐543af1b199e5                   Address Redacted                     First Class Mail
12acab43‐8470‐445a‐968d‐aabb0ba9a18e                   Address Redacted                     First Class Mail
12ad3830‐825d‐4236‐81e1‐afa9e6cd940d                   Address Redacted                     First Class Mail
12ae4e24‐aeb5‐4ad9‐b7d3‐152c36ccab2d                   Address Redacted                     First Class Mail
12aece78‐6528‐40ce‐8c98‐7bf6fc444bee                   Address Redacted                     First Class Mail
12b04745‐fb8c‐4868‐b07f‐578edf0fd5bf                   Address Redacted                     First Class Mail
12b1f654‐a067‐4f90‐b814‐4f493bd90665                   Address Redacted                     First Class Mail
12b3fd19‐6e78‐4d44‐ac12‐6bb878398c3e                   Address Redacted                     First Class Mail
12b4c7a3‐5be4‐473e‐a22e‐13a3ac15a124                   Address Redacted                     First Class Mail
12b51a45‐62b5‐4c68‐97a5‐32c1c4b9f359                   Address Redacted                     First Class Mail
12b964ff‐efdf‐46af‐991f‐d45d244b3d0f                   Address Redacted                     First Class Mail
12ba40ae‐0bee‐49e5‐8c77‐8acee1ec97d2                   Address Redacted                     First Class Mail
12bc74a2‐82eb‐4a6e‐8d5d‐01db8057bc3c                   Address Redacted                     First Class Mail
12bdc4c6‐443c‐41b7‐bfe9‐363721c22665                   Address Redacted                     First Class Mail




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                              Name                                              Address                        Method of Service
12bf0bad‐60bb‐4161‐92d6‐b803e8ad4818                   Address Redacted                     First Class Mail
12c23c26‐7be5‐404e‐aeda‐a362922ff61f                   Address Redacted                     First Class Mail
12c23f49‐9331‐422a‐92d4‐81714a7bc28d                   Address Redacted                     First Class Mail
12c3f7e6‐e6f4‐45b6‐b476‐06df24642c40                   Address Redacted                     First Class Mail
12c406c9‐fd5a‐4703‐9d17‐b03a9603b796                   Address Redacted                     First Class Mail
12c55625‐07f3‐4bed‐be9c‐ed81dba0bd15                   Address Redacted                     First Class Mail
12c5952a‐49b4‐4821‐9e0a‐959fe4eb3e3e                   Address Redacted                     First Class Mail
12cb52e1‐0fb5‐40db‐9dea‐86b4a038ca92                   Address Redacted                     First Class Mail
12cba983‐1347‐4ff0‐8540‐01ced1e6f4b9                   Address Redacted                     First Class Mail
12cc9f24‐c7ee‐4095‐8575‐ba80ace39a70                   Address Redacted                     First Class Mail
12cd4782‐68fe‐4d64‐8044‐eddea493e913                   Address Redacted                     First Class Mail
12d172d4‐fb4b‐43b6‐aa10‐2aebcad8cb43                   Address Redacted                     First Class Mail
12d339f5‐fb89‐4cd9‐897c‐e3d57bad3598                   Address Redacted                     First Class Mail
12d76abe‐23f7‐489f‐a804‐5414fc2c5805                   Address Redacted                     First Class Mail
12d8b189‐903b‐4212‐89c7‐8e0f0a861082                   Address Redacted                     First Class Mail
12dbc4c4‐9277‐44d1‐8307‐7d7b082d8602                   Address Redacted                     First Class Mail
12dcc8c1‐d510‐458b‐b023‐ea0e08fd3db5                   Address Redacted                     First Class Mail
12e159f2‐fbea‐4983‐a3da‐c44e88ef5ad7                   Address Redacted                     First Class Mail
12e61407‐825e‐4498‐9414‐1e78e2792cb5                   Address Redacted                     First Class Mail
12efe250‐3ef2‐4bce‐9b9a‐d920fd7e5b62                   Address Redacted                     First Class Mail
12f7cdf4‐f2c6‐4aaf‐86e7‐0838816e9131                   Address Redacted                     First Class Mail
12f8679f‐ae3b‐415c‐8e3b‐a7ee17b8a66e                   Address Redacted                     First Class Mail
12fa85f6‐f17e‐458a‐8312‐e8c0eccc7a07                   Address Redacted                     First Class Mail
12fd570a‐30b4‐4c82‐9c64‐ee49871caef0                   Address Redacted                     First Class Mail
1301f954‐6ced‐4262‐81e0‐71d5ca1f7a64                   Address Redacted                     First Class Mail
1302a9fe‐6af1‐45a4‐b9dc‐cfb26b06c854                   Address Redacted                     First Class Mail
1304a692‐09eb‐417b‐b06c‐6d71f3fd886f                   Address Redacted                     First Class Mail
13050037‐da47‐47b5‐a75a‐2d8a783eea91                   Address Redacted                     First Class Mail
13059b5f‐13e0‐4404‐ad04‐af519be1d814                   Address Redacted                     First Class Mail
1305c2ca‐d3ac‐4f27‐9be3‐35c7ee687aba                   Address Redacted                     First Class Mail
1307e11a‐3ba9‐4b3d‐b45e‐27cb65b1ec0f                   Address Redacted                     First Class Mail
1307eb5a‐2ac0‐4f7f‐8f2d‐1fe758b6c307                   Address Redacted                     First Class Mail
130a53f0‐0854‐4968‐addd‐b3cade92c841                   Address Redacted                     First Class Mail
130b139d‐c9e9‐4a13‐9f3d‐ce3a0f4b0199                   Address Redacted                     First Class Mail
130c9bea‐8972‐4e0c‐96cd‐b5c0b80ae6d0                   Address Redacted                     First Class Mail
130c9d16‐6da7‐4156‐8844‐6ccd28804b43                   Address Redacted                     First Class Mail
130ce984‐5640‐4f98‐af03‐35c380cbcb4d                   Address Redacted                     First Class Mail
130d590b‐baa3‐4544‐9db9‐d1693eb810fe                   Address Redacted                     First Class Mail
13158dd7‐00e5‐4439‐8e1c‐ec74e969a16e                   Address Redacted                     First Class Mail
1315d015‐732a‐4e5e‐a328‐667f0c2f243f                   Address Redacted                     First Class Mail
131669f8‐1ece‐4285‐87f0‐daa691eae601                   Address Redacted                     First Class Mail
13170f4d‐7ff0‐48fc‐8162‐b09b68ae3652                   Address Redacted                     First Class Mail
13199922‐6c6d‐4370‐b9f8‐1620a14915c9                   Address Redacted                     First Class Mail
131ec5f1‐2c57‐4fec‐9ba4‐ee12faf87d77                   Address Redacted                     First Class Mail
1322336e‐a538‐4eee‐8b9f‐17b1ceb510e9                   Address Redacted                     First Class Mail
1322b10f‐cd22‐4174‐a675‐e0414d12ed87                   Address Redacted                     First Class Mail
13268023‐e6fa‐40c5‐8a59‐2294e59f9c28                   Address Redacted                     First Class Mail
1328926c‐6c17‐4bda‐ad41‐31c1c321de31                   Address Redacted                     First Class Mail
132ade87‐ddcd‐4866‐9bd7‐3060578b530a                   Address Redacted                     First Class Mail
132b5c47‐1784‐49c6‐b94a‐9321185c9e2e                   Address Redacted                     First Class Mail
132bb91e‐4f55‐4b68‐ae51‐05005e656888                   Address Redacted                     First Class Mail
132c4089‐fabd‐4418‐9e78‐04655d698a24                   Address Redacted                     First Class Mail
132cfc8c‐699a‐4a7d‐a7ff‐ba5e025d547c                   Address Redacted                     First Class Mail
132ea40a‐de23‐47e9‐882d‐f273eb0e609b                   Address Redacted                     First Class Mail
132fba16‐a269‐4e7a‐9433‐b1e79ba05b6b                   Address Redacted                     First Class Mail
13319b89‐14d8‐489b‐bcf0‐c96e414fdccc                   Address Redacted                     First Class Mail
13329664‐0889‐4bf3‐96f4‐e7efa19b67f2                   Address Redacted                     First Class Mail
133319e0‐8df1‐449a‐8c5c‐c4b77ae63a7e                   Address Redacted                     First Class Mail
13337e9e‐e422‐4c16‐a051‐e0e7fb9ae575                   Address Redacted                     First Class Mail
1336104b‐783e‐4d13‐8c3a‐ada4c157c8d5                   Address Redacted                     First Class Mail
13377181‐bc1f‐4dc1‐ac7e‐836470568a1f                   Address Redacted                     First Class Mail
13393ccf‐0ad7‐4f53‐adfa‐4f5957d43528                   Address Redacted                     First Class Mail
13395474‐f973‐4103‐ae42‐2a69b94eb4fd                   Address Redacted                     First Class Mail
133acb76‐8ffe‐46eb‐bc00‐ae4dc02df8be                   Address Redacted                     First Class Mail
133ce56a‐b3f7‐4736‐a1da‐07a8117e1f78                   Address Redacted                     First Class Mail
133e769a‐18d5‐4cc1‐a7b9‐560686b666a1                   Address Redacted                     First Class Mail
133f41df‐96d1‐4031‐9614‐6b4e927eaa16                   Address Redacted                     First Class Mail
134407a1‐39cb‐4011‐a50a‐00f6952f751d                   Address Redacted                     First Class Mail
13442885‐3de8‐4d86‐8b32‐8465bc73de4b                   Address Redacted                     First Class Mail
13457983‐6b54‐4c04‐97e7‐4b5d0c9a9210                   Address Redacted                     First Class Mail
134779f4‐ca25‐47bf‐80b8‐380b4593037b                   Address Redacted                     First Class Mail
135081ed‐d577‐4288‐8f83‐71ebd3d6950a                   Address Redacted                     First Class Mail




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                              Name                                              Address                        Method of Service
13564c95‐3e37‐4cd9‐bd46‐cf8bfa099c46                   Address Redacted                     First Class Mail
13594232‐cac8‐46fa‐9764‐da2f45a3728f                   Address Redacted                     First Class Mail
135db7f6‐08f9‐4b75‐bbaf‐76bf743cc787                   Address Redacted                     First Class Mail
1362288f‐7837‐4fac‐a685‐e8a06ac8bbb9                   Address Redacted                     First Class Mail
1364a999‐0bb3‐434b‐916f‐337edf926444                   Address Redacted                     First Class Mail
13652ee4‐ab5f‐42ea‐aa55‐e18bdefaffb2                   Address Redacted                     First Class Mail
1365b1f3‐5eec‐4b62‐8a20‐67e25a9a065b                   Address Redacted                     First Class Mail
13696a10‐6b16‐4f40‐b4c1‐03cd76921c94                   Address Redacted                     First Class Mail
136c00a6‐ba7b‐4901‐af7d‐65161ad0751e                   Address Redacted                     First Class Mail
136c8735‐f823‐4ab9‐b9d3‐17b1ea2e4d4c                   Address Redacted                     First Class Mail
136f4e54‐474a‐4872‐a623‐d7d9c58bccfc                   Address Redacted                     First Class Mail
13715d43‐8287‐40d3‐baca‐7daa142712ea                   Address Redacted                     First Class Mail
1377f192‐13a8‐44ac‐8b57‐70baaf2b35d4                   Address Redacted                     First Class Mail
137ae7ac‐3ecc‐41d8‐bfa3‐fb1dc43798df                   Address Redacted                     First Class Mail
137bb6df‐cbc8‐4c77‐9958‐e2eb6e48b20b                   Address Redacted                     First Class Mail
137bb81e‐4b71‐48d4‐9861‐af29ea51ff7d                   Address Redacted                     First Class Mail
137bc6e7‐5fae‐406b‐b712‐b8774ebd6523                   Address Redacted                     First Class Mail
137c5f5b‐f4f2‐48eb‐9f6f‐cd90d13b1244                   Address Redacted                     First Class Mail
137ec28b‐9b7e‐49c8‐8a49‐85779d211e9a                   Address Redacted                     First Class Mail
13836eff‐edb1‐46c8‐8ec6‐2b82f10f6051                   Address Redacted                     First Class Mail
1385973e‐21a0‐4d02‐b8d3‐30d81449118b                   Address Redacted                     First Class Mail
1385d1b0‐5b92‐4124‐ab05‐f8ee3e9e4b50                   Address Redacted                     First Class Mail
138744d4‐a086‐47b7‐80f2‐7ba354b5a0d2                   Address Redacted                     First Class Mail
138bf757‐515b‐409a‐8ce9‐49d18883e156                   Address Redacted                     First Class Mail
13946468‐2f97‐449c‐b7b8‐9f9e321e5e6d                   Address Redacted                     First Class Mail
139769a0‐a4ac‐494b‐aae4‐6b3c92e044b8                   Address Redacted                     First Class Mail
139a14fe‐d3b7‐4c6d‐991a‐c83a12cd12c1                   Address Redacted                     First Class Mail
139cbb27‐79a8‐4fdb‐9be8‐a2ba73f261d6                   Address Redacted                     First Class Mail
139cf698‐6d35‐4b67‐9570‐af7ea96be178                   Address Redacted                     First Class Mail
139d86cf‐3d9e‐4cca‐8a7f‐5fbb9d3c3987                   Address Redacted                     First Class Mail
139eb270‐9e9d‐4d6f‐ac8c‐0bffebc906e7                   Address Redacted                     First Class Mail
13af3d45‐af4f‐470f‐bab8‐9827bcbb17cf                   Address Redacted                     First Class Mail
13b2c522‐45f3‐40ca‐ad5c‐0285139ac45a                   Address Redacted                     First Class Mail
13b97af7‐8d1d‐41b1‐8270‐88ac5425c263                   Address Redacted                     First Class Mail
13ba8d50‐3626‐4c20‐893b‐1a0786969ddb                   Address Redacted                     First Class Mail
13babe81‐6405‐4087‐9b88‐ab4f183991d4                   Address Redacted                     First Class Mail
13bb7822‐0616‐4109‐b62d‐be0ff45b02a9                   Address Redacted                     First Class Mail
13bd9d87‐fe3a‐453b‐93b9‐05252d74c552                   Address Redacted                     First Class Mail
13c301db‐8ca6‐47b5‐9c03‐e8205c45e6f6                   Address Redacted                     First Class Mail
13c334cc‐fc24‐42c5‐a0bc‐c7f9df5ebdb5                   Address Redacted                     First Class Mail
13c600eb‐fe74‐4461‐a803‐7deae736e747                   Address Redacted                     First Class Mail
13c925ac‐481b‐42b1‐98be‐60765edcbf90                   Address Redacted                     First Class Mail
13d2bf03‐86e5‐4a9a‐be62‐d26b9ee8bf21                   Address Redacted                     First Class Mail
13d377a2‐77cf‐4bf7‐aa95‐7252ded0a7c6                   Address Redacted                     First Class Mail
13d3790f‐eee3‐467f‐b79a‐a31e082a594c                   Address Redacted                     First Class Mail
13d6dd2e‐c50c‐4b4e‐bc28‐90a51558a79e                   Address Redacted                     First Class Mail
13d70b78‐bd6c‐4b04‐bc65‐fe1472cfd2a9                   Address Redacted                     First Class Mail
13d84c06‐5d57‐4198‐abea‐ea9a7726859d                   Address Redacted                     First Class Mail
13d85bb7‐e4df‐499d‐8157‐c09e644e2502                   Address Redacted                     First Class Mail
13d9db24‐6913‐41ef‐9cec‐ee58d2987273                   Address Redacted                     First Class Mail
13dd8baa‐58ca‐4d5f‐af85‐e4d7e7e72d1a                   Address Redacted                     First Class Mail
13e06f86‐dece‐495b‐8d29‐6cfd983fb531                   Address Redacted                     First Class Mail
13e1c8b5‐e76e‐4659‐9fbb‐68c9f0418c53                   Address Redacted                     First Class Mail
13e9b1e4‐107e‐4c76‐95de‐7c403a50cefc                   Address Redacted                     First Class Mail
13e9bf49‐efaf‐41bc‐b536‐67b1afa3da10                   Address Redacted                     First Class Mail
13ea6f53‐8bb6‐454d‐81e6‐96ce04666472                   Address Redacted                     First Class Mail
13eb6e08‐afef‐4d0f‐a00e‐7085e1c3b588                   Address Redacted                     First Class Mail
13f024d5‐ace1‐4cbb‐831c‐97f96d0530f2                   Address Redacted                     First Class Mail
13f09e5a‐b136‐4edd‐a381‐3d1729f16bf8                   Address Redacted                     First Class Mail
13f35800‐6d53‐4bab‐98d8‐f4ff4105fe58                   Address Redacted                     First Class Mail
13f3a6be‐5b31‐48ca‐b68d‐84e9a0c85062                   Address Redacted                     First Class Mail
13f462ef‐8008‐4d12‐a743‐3e0b454e4903                   Address Redacted                     First Class Mail
13f471a4‐7dce‐471e‐ae86‐38b8f83cda53                   Address Redacted                     First Class Mail
13f5426f‐45f0‐493c‐8b76‐7c8a5ad78c28                   Address Redacted                     First Class Mail
13f96031‐c8f1‐4da4‐806c‐a5555ea66d67                   Address Redacted                     First Class Mail
13f9d692‐57c1‐4e2f‐ae43‐a717f7362ba8                   Address Redacted                     First Class Mail
13fe1073‐cb64‐4dbb‐9c04‐a7f1d2d3a195                   Address Redacted                     First Class Mail
13fe2520‐4a9e‐43ac‐8bc5‐5c940e1aca45                   Address Redacted                     First Class Mail
13ffe2f9‐53af‐4616‐b4da‐03bce2ab3e9b                   Address Redacted                     First Class Mail
14058ab6‐79a5‐4f0c‐9e8d‐b2d4e3da9206                   Address Redacted                     First Class Mail
140a7159‐21f0‐4ad7‐8d8e‐7a0f4db4f5ab                   Address Redacted                     First Class Mail
140c6c66‐76f8‐4705‐b816‐e040a06375cf                   Address Redacted                     First Class Mail




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                                                                Exhibit A
                                                                 Service List


                              Name                                              Address                        Method of Service
140ce3ad‐4230‐4c9a‐ba2f‐fda9677fa3da                   Address Redacted                     First Class Mail
1410feeb‐62df‐4d69‐88d5‐fcfcf54515cc                   Address Redacted                     First Class Mail
14116c2d‐e74f‐4ad5‐931b‐ef1520c1c75d                   Address Redacted                     First Class Mail
1413da22‐8a03‐4787‐aa8e‐f3e66a8f9d36                   Address Redacted                     First Class Mail
14169f48‐56ad‐4315‐8afc‐a4bc9d1e3d2a                   Address Redacted                     First Class Mail
1417c08c‐4d86‐4641‐80c8‐f63bd63bf355                   Address Redacted                     First Class Mail
14189dd6‐ebc9‐45fa‐a5eb‐ca57ba9f3c52                   Address Redacted                     First Class Mail
141ba142‐a2d9‐43da‐bf19‐42c89c78d6db                   Address Redacted                     First Class Mail
141bc739‐ef44‐4bc0‐b7d6‐f5e66a6ee6f7                   Address Redacted                     First Class Mail
141be6fd‐e4f3‐4655‐a69f‐19f89dc8f1cd                   Address Redacted                     First Class Mail
141d11c1‐9194‐492f‐82ba‐510e72ea7705                   Address Redacted                     First Class Mail
142028c4‐70d4‐47a7‐a25d‐f111e1e3fb20                   Address Redacted                     First Class Mail
14212281‐61cc‐4a8f‐8c63‐e1a8dd56f195                   Address Redacted                     First Class Mail
14212cdd‐4759‐4911‐8aa1‐8537fb9585a6                   Address Redacted                     First Class Mail
14249eae‐4249‐4d2b‐93c5‐9fb0cd7ca1e1                   Address Redacted                     First Class Mail
1429e2f6‐5265‐4e45‐83c4‐a149eb8653fd                   Address Redacted                     First Class Mail
142c1544‐7330‐4069‐a4bc‐3b852155b882                   Address Redacted                     First Class Mail
14344906‐73f6‐40f8‐bacd‐740ef6653448                   Address Redacted                     First Class Mail
14348d60‐2135‐4d1e‐90c1‐62be650b9ad7                   Address Redacted                     First Class Mail
14388b1a‐3c56‐4184‐9ee1‐8c0f32c9bd2f                   Address Redacted                     First Class Mail
143c0cd5‐ffd6‐4632‐8934‐9291b15ffa75                   Address Redacted                     First Class Mail
1445be31‐2db1‐4fd9‐a762‐ded491f86dbf                   Address Redacted                     First Class Mail
1445bf0b‐ac23‐40f9‐942d‐10bcdffd429b                   Address Redacted                     First Class Mail
144aae91‐f61d‐47dd‐a346‐8fa247742c54                   Address Redacted                     First Class Mail
144c6a68‐b792‐4ac6‐ba27‐8da4fae5f155                   Address Redacted                     First Class Mail
14513896‐02a8‐4337‐b579‐1815140dcf83                   Address Redacted                     First Class Mail
145a42aa‐4dd5‐42f5‐af7a‐77e31c739316                   Address Redacted                     First Class Mail
145c9104‐e7d9‐4bcb‐898e‐d7cfdd3e92da                   Address Redacted                     First Class Mail
146a564d‐c021‐4fd8‐b74b‐0a08a11bb13f                   Address Redacted                     First Class Mail
146d6bd8‐1802‐44e9‐b094‐b6fab4ec7b0e                   Address Redacted                     First Class Mail
146e2c15‐160e‐4be2‐bba0‐007561f229a2                   Address Redacted                     First Class Mail
1476dfad‐1d3c‐4042‐863d‐c8ae3b872c9e                   Address Redacted                     First Class Mail
1478168f‐b1fe‐478e‐8766‐c17036a55c0f                   Address Redacted                     First Class Mail
1478efb3‐6aa0‐4bda‐a80e‐b0f5dbef27b1                   Address Redacted                     First Class Mail
147930ac‐b7c6‐44ff‐9d98‐5b2959085c66                   Address Redacted                     First Class Mail
14794060‐ccc1‐471c‐8f14‐07ae8ec08396                   Address Redacted                     First Class Mail
1479a773‐f860‐4e15‐83f0‐2ccdf112d0ff                   Address Redacted                     First Class Mail
1479c088‐4402‐48e2‐8539‐1590d09e2711                   Address Redacted                     First Class Mail
147c2b50‐4863‐45f9‐9736‐379d5d73d156                   Address Redacted                     First Class Mail
147c3fc8‐813d‐445b‐b447‐cd4bc65508cf                   Address Redacted                     First Class Mail
147c77b9‐94f2‐4515‐a0fe‐19a866db0492                   Address Redacted                     First Class Mail
14844cc9‐76dc‐45e4‐ba86‐04217788cf3e                   Address Redacted                     First Class Mail
148936b5‐2ae0‐4c00‐97d5‐0d7c6af10a33                   Address Redacted                     First Class Mail
148a92fd‐3bf0‐4f72‐84e0‐0034f7af67b5                   Address Redacted                     First Class Mail
148e1164‐0258‐4f9f‐9600‐66e2200497df                   Address Redacted                     First Class Mail
148fdcfc‐c045‐4758‐978d‐2128e71db3f4                   Address Redacted                     First Class Mail
14913052‐f091‐4e42‐93d0‐b71e3ebf73e9                   Address Redacted                     First Class Mail
1492088c‐29d9‐4f1e‐95fb‐58acf4299887                   Address Redacted                     First Class Mail
1494f677‐732f‐4946‐9b41‐3f30d8ca3db7                   Address Redacted                     First Class Mail
14955780‐4cf3‐43c4‐9eb3‐c6756e975536                   Address Redacted                     First Class Mail
14959c48‐d309‐4b6f‐ae39‐2a22c7d7a87f                   Address Redacted                     First Class Mail
14961abc‐a753‐4052‐a11d‐762925bdf32b                   Address Redacted                     First Class Mail
14964f79‐b3c4‐4179‐beb8‐6645e6685c20                   Address Redacted                     First Class Mail
14973e3c‐b960‐42a2‐9273‐7f87352b441c                   Address Redacted                     First Class Mail
14974151‐d310‐45e2‐8195‐608c2b3d16f4                   Address Redacted                     First Class Mail
149c39b1‐15be‐4311‐821d‐ab6d1acc37e7                   Address Redacted                     First Class Mail
149cbe74‐2275‐4a89‐a07d‐6b5cd4ecf154                   Address Redacted                     First Class Mail
14a3f31b‐ce3d‐4177‐99b2‐6338fd901827                   Address Redacted                     First Class Mail
14a408be‐6145‐4041‐862e‐0c084b49d81c                   Address Redacted                     First Class Mail
14a44528‐3a25‐4c68‐a9da‐a8b020c22a9f                   Address Redacted                     First Class Mail
14a5cae2‐7ca2‐4a56‐a72a‐7f5167752786                   Address Redacted                     First Class Mail
14aa4db2‐6135‐4901‐9c7a‐79432e3eed1d                   Address Redacted                     First Class Mail
14abbd52‐1119‐4d1a‐801e‐71009937cd1a                   Address Redacted                     First Class Mail
14acb879‐10b1‐4665‐92cf‐326ec9be9a3e                   Address Redacted                     First Class Mail
14adc41d‐4973‐4c61‐ba0a‐f528ef5b7b4c                   Address Redacted                     First Class Mail
14b06a91‐d669‐4c7b‐8069‐2ad6ae4cc6a7                   Address Redacted                     First Class Mail
14b08166‐67cd‐41a8‐a484‐4cc34bb71a29                   Address Redacted                     First Class Mail
14b096d2‐cb6e‐472b‐ad7e‐fb9780ea0c09                   Address Redacted                     First Class Mail
14b39512‐0fca‐4588‐9938‐4ad878eebeda                   Address Redacted                     First Class Mail
14b40f98‐f1d9‐40aa‐9211‐3a0b7c83b4ee                   Address Redacted                     First Class Mail
14c11800‐7b33‐4891‐86f9‐f501af8cbfca                   Address Redacted                     First Class Mail
14c28a53‐7a46‐4f62‐9db8‐fef9932dcc8d                   Address Redacted                     First Class Mail




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                                                                Exhibit A
                                                                 Service List


                               Name                                             Address                        Method of Service
14c75bb6‐b1c1‐4138‐a43e‐6b6b6ac0e070                   Address Redacted                     First Class Mail
14c90d63‐af83‐42fe‐bb2c‐ed50cb7bae71                   Address Redacted                     First Class Mail
14c9cc3a‐702e‐4325‐9a36‐062990428dc2                   Address Redacted                     First Class Mail
14c9fc57‐d0e8‐4fa5‐91cd‐9d62dba94783                   Address Redacted                     First Class Mail
14cc89ec‐7541‐4da6‐9d0c‐44ededff6e87                   Address Redacted                     First Class Mail
14d3863e‐e722‐4cac‐af3b‐60260b9dd1b9                   Address Redacted                     First Class Mail
14d3c5cb‐0411‐472c‐b008‐1e7b0cab3012                   Address Redacted                     First Class Mail
14d99eba‐32c0‐48e6‐a49d‐45c3ad1193de                   Address Redacted                     First Class Mail
14dc7bda‐9585‐4b60‐a4ef‐7b83caa7d40b                   Address Redacted                     First Class Mail
14dc9a83‐0c15‐4292‐b153‐54d9116bfe74                   Address Redacted                     First Class Mail
14de7b7c‐6ec9‐4701‐ae2b‐89fbc7e74d10                   Address Redacted                     First Class Mail
14de862e‐9229‐4aa4‐87cb‐c942c39567ce                   Address Redacted                     First Class Mail
14e166e3‐83c8‐40e2‐9897‐584bbbaea513                   Address Redacted                     First Class Mail
14e3cf89‐ded8‐47ed‐9ed9‐1e68d3e929f2                   Address Redacted                     First Class Mail
14e43dad‐f456‐4b1f‐845e‐a02bf118a0d6                   Address Redacted                     First Class Mail
14ea8f5e‐abbc‐4f5c‐8d04‐f5e7ce0a6114                   Address Redacted                     First Class Mail
14f0646a‐3590‐499c‐9c0a‐664c1c9dd445                   Address Redacted                     First Class Mail
14f0e0b3‐82d4‐43bb‐9a4f‐8d9c38a282b5                   Address Redacted                     First Class Mail
14f464dc‐3eb9‐4128‐bf69‐74f209748f81                   Address Redacted                     First Class Mail
14f7728d‐f0f5‐4f0e‐9bfa‐3ec7fbe6edcb                   Address Redacted                     First Class Mail
14f9ae4c‐fb4d‐4979‐bea6‐6548e1bf7fa0                   Address Redacted                     First Class Mail
14fcce6a‐d511‐474a‐985f‐de5c6ae341c1                   Address Redacted                     First Class Mail
14fffcac‐7d9e‐48c0‐b7ae‐eea95f0346b5                   Address Redacted                     First Class Mail
1502cedf‐eb68‐41b7‐82c0‐925c01d24e20                   Address Redacted                     First Class Mail
15073138‐064b‐47eb‐81eb‐444b39dd9f90                   Address Redacted                     First Class Mail
1507620a‐0655‐4cc7‐8ba9‐2f19bd5f6525                   Address Redacted                     First Class Mail
15098711‐ba0f‐4c12‐81ac‐a262b054f363                   Address Redacted                     First Class Mail
150c051f‐b94d‐4095‐9e03‐f03ba269e366                   Address Redacted                     First Class Mail
150ccc9e‐8802‐4d9f‐92ec‐5ef5ed081b1b                   Address Redacted                     First Class Mail
150d0044‐aab7‐4ad2‐9a17‐9f5f6a987cee                   Address Redacted                     First Class Mail
15154638‐3550‐49a3‐b93a‐f5451a16ed86                   Address Redacted                     First Class Mail
15168060‐53fb‐4307‐9ee5‐3f9e1bcbd740                   Address Redacted                     First Class Mail
151dc85d‐79d1‐4bbc‐9acf‐3a77d84ce53d                   Address Redacted                     First Class Mail
151e1548‐c42b‐4c92‐a898‐114f6ebae7cf                   Address Redacted                     First Class Mail
15276262‐68f7‐479e‐9550‐ae9447a827be                   Address Redacted                     First Class Mail
15277cba‐7791‐47fe‐b1f1‐3660c4e1638c                   Address Redacted                     First Class Mail
152943bf‐3537‐4ce9‐8470‐21765d4dbca5                   Address Redacted                     First Class Mail
152a946d‐dcbf‐444a‐82fc‐f0ad9df57490                   Address Redacted                     First Class Mail
152e2a51‐3c4d‐45d9‐a1a5‐d5f3c55e693a                   Address Redacted                     First Class Mail
1530a1e4‐83e8‐4b8f‐8aff‐06b6d67c40f1                   Address Redacted                     First Class Mail
1530fc74‐d150‐4b4d‐b228‐8d157fc573bd                   Address Redacted                     First Class Mail
15326a49‐9644‐47b9‐a40e‐fd59866c97ca                   Address Redacted                     First Class Mail
15366fbf‐46b6‐42ab‐871e‐257ce01b294b                   Address Redacted                     First Class Mail
15383e68‐7c85‐4b96‐acdc‐1aa03cc29964                   Address Redacted                     First Class Mail
1538e401‐77b9‐415b‐878d‐30d6a788bbb9                   Address Redacted                     First Class Mail
153cfc46‐01a2‐408a‐8914‐31084cea02fc                   Address Redacted                     First Class Mail
153f0557‐0d24‐40b1‐bf94‐a72532885335                   Address Redacted                     First Class Mail
153f9c2c‐4bf8‐4aa2‐9c65‐835d77936a9d                   Address Redacted                     First Class Mail
15404d70‐9ef9‐4ba5‐bd0c‐128a3c75c8bf                   Address Redacted                     First Class Mail
154110db‐cafd‐4dcb‐8c2c‐82a1cfe23150                   Address Redacted                     First Class Mail
15440195‐e816‐4b70‐8028‐3f90fdf5a73d                   Address Redacted                     First Class Mail
154534ca‐d785‐402f‐9b52‐596c624d79c0                   Address Redacted                     First Class Mail
15456fcb‐0c92‐4726‐9c2f‐24188f6f9a5b                   Address Redacted                     First Class Mail
1548042d‐b95c‐419e‐9239‐0efd40bc9c51                   Address Redacted                     First Class Mail
1549b3d2‐f774‐453c‐9f25‐4335dfa1e76a                   Address Redacted                     First Class Mail
1549fc3d‐e308‐40b5‐b4db‐822f84f4c867                   Address Redacted                     First Class Mail
1552e1bd‐a081‐40d6‐b32d‐bc3ce892038b                   Address Redacted                     First Class Mail
155786f9‐2797‐4ac1‐b2e3‐7d46943d63fc                   Address Redacted                     First Class Mail
155b76ec‐9b8f‐4a70‐86f2‐c46fd8ef0427                   Address Redacted                     First Class Mail
155bdea5‐9355‐4b58‐ba06‐a2b1e6ce327a                   Address Redacted                     First Class Mail
15601dc5‐b3c6‐481d‐afc9‐25cddc700b0c                   Address Redacted                     First Class Mail
15607125‐cede‐41ea‐9082‐34bafe14332e                   Address Redacted                     First Class Mail
15612b37‐81ef‐405a‐8a8f‐231331308bdd                   Address Redacted                     First Class Mail
1561c3f6‐5be3‐4cc9‐9158‐c67d99d74967                   Address Redacted                     First Class Mail
1562c883‐dc63‐47b7‐956e‐0689e1250cb2                   Address Redacted                     First Class Mail
15693a98‐e2e5‐4df9‐bc7d‐ca2145609514                   Address Redacted                     First Class Mail
156b64cf‐9a6d‐4e2a‐8578‐d1c4d2f4a751                   Address Redacted                     First Class Mail
156d0873‐e608‐4328‐837a‐db3cbaa857d0                   Address Redacted                     First Class Mail
156f82e8‐d3d6‐4da0‐a864‐ed1aa4233137                   Address Redacted                     First Class Mail
156fc60b‐7a60‐436f‐beb8‐24e7f4016aec                   Address Redacted                     First Class Mail
15757854‐b0c5‐4eec‐976c‐c42c62081621                   Address Redacted                     First Class Mail
15793a2b‐d90c‐4234‐8c2e‐ad35413830b2                   Address Redacted                     First Class Mail




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                               Name                                             Address                        Method of Service
157e10e8‐5077‐498d‐8365‐5b167ae8a913                   Address Redacted                     First Class Mail
1580287c‐30f8‐466e‐a432‐9d351cb2434d                   Address Redacted                     First Class Mail
15849348‐cf9b‐4428‐9da5‐f0c62387b7a4                   Address Redacted                     First Class Mail
15876e32‐c455‐4d91‐97ca‐f944f3173b78                   Address Redacted                     First Class Mail
158bfa31‐3f9d‐481e‐940b‐90c66b4d9eae                   Address Redacted                     First Class Mail
158d87d5‐81de‐49a8‐bd1f‐6418b01e827c                   Address Redacted                     First Class Mail
158dab7a‐c1cc‐4a63‐95fe‐7bf905a10e1f                   Address Redacted                     First Class Mail
15900030‐468d‐49ad‐bd44‐990f05e88029                   Address Redacted                     First Class Mail
1596a0cc‐df9d‐4f0b‐9b0b‐0e67c6bf0459                   Address Redacted                     First Class Mail
1598c2cf‐dc47‐4742‐94d9‐0d56679c5f64                   Address Redacted                     First Class Mail
159b2184‐c20b‐4f26‐b4a3‐838b9dd705f7                   Address Redacted                     First Class Mail
159cbc2c‐0511‐4fda‐9a14‐ef18a6f9aee5                   Address Redacted                     First Class Mail
159de74b‐ba61‐4828‐93f1‐7005804a769b                   Address Redacted                     First Class Mail
159ff051‐ee19‐4fbf‐87c3‐eb2900a64508                   Address Redacted                     First Class Mail
15a42e99‐53d3‐4677‐b587‐2a1165bc3ef1                   Address Redacted                     First Class Mail
15a6dfbc‐e7a8‐4ab3‐8280‐5dddd3a91677                   Address Redacted                     First Class Mail
15a8abdc‐1d14‐4ce3‐aa13‐dfd356ccc1c3                   Address Redacted                     First Class Mail
15ab8ec0‐57e2‐445d‐9277‐f3593ecc4766                   Address Redacted                     First Class Mail
15ac8af7‐4144‐46e0‐b659‐4984d98f9b92                   Address Redacted                     First Class Mail
15b38659‐60db‐4760‐bc82‐ea4942c9b502                   Address Redacted                     First Class Mail
15b93519‐38c7‐48d5‐96d4‐13fb9cda849c                   Address Redacted                     First Class Mail
15baf347‐0944‐43a2‐bb51‐b22bd8c023eb                   Address Redacted                     First Class Mail
15bc23a4‐488e‐4bfe‐aa48‐291750d14023                   Address Redacted                     First Class Mail
15bd1bb2‐acce‐4571‐900f‐176b24aa2ef8                   Address Redacted                     First Class Mail
15bf29d2‐30ce‐4ddf‐9da2‐cfd112c0a2b2                   Address Redacted                     First Class Mail
15bf5157‐8f88‐471b‐af50‐c95ea410c5ac                   Address Redacted                     First Class Mail
15c1f108‐834d‐4142‐9d5a‐c2662f1af5e3                   Address Redacted                     First Class Mail
15c408f4‐a7ef‐405a‐90b1‐d59dfb5b318a                   Address Redacted                     First Class Mail
15c68830‐6f8c‐4b4e‐ab89‐c3e36cbb5230                   Address Redacted                     First Class Mail
15c6cf1a‐3847‐4e69‐8ac6‐44ba23978de6                   Address Redacted                     First Class Mail
15c6d548‐3263‐473f‐83fc‐e063d3397c26                   Address Redacted                     First Class Mail
15cec2d7‐c051‐4a95‐9f49‐c1eccff79311                   Address Redacted                     First Class Mail
15dc263a‐f82c‐4e4c‐9d0c‐9681c42d3007                   Address Redacted                     First Class Mail
15dc3c25‐7696‐484d‐ad4e‐14b1320746f6                   Address Redacted                     First Class Mail
15e357a0‐cc0c‐4ccc‐9d84‐8635b89611dc                   Address Redacted                     First Class Mail
15e363bb‐2be1‐4a98‐ab8f‐f7b0ff853dbd                   Address Redacted                     First Class Mail
15e57436‐5c51‐494b‐b812‐a414a28adac0                   Address Redacted                     First Class Mail
15e591e7‐f741‐4a8e‐abf3‐41903d6ebcd0                   Address Redacted                     First Class Mail
15e76e5f‐9d6f‐4e25‐a805‐9e00582b8888                   Address Redacted                     First Class Mail
15e80713‐1d16‐4d7d‐9f2d‐5b34891387e8                   Address Redacted                     First Class Mail
15ebb490‐4a2f‐4fea‐8683‐a9496c602c37                   Address Redacted                     First Class Mail
15ee8891‐58e3‐4302‐9a64‐9ee4c898ef00                   Address Redacted                     First Class Mail
15efc1f2‐2a2a‐4720‐9c9f‐d05d60d3c3e7                   Address Redacted                     First Class Mail
15f0a3db‐e1b6‐4b4d‐a898‐d625490e586c                   Address Redacted                     First Class Mail
15f52d58‐9245‐4803‐b6c3‐2bc9ec0abdca                   Address Redacted                     First Class Mail
15f5e2fd‐a47d‐44cc‐bb73‐1ee274ad3daa                   Address Redacted                     First Class Mail
15f85bde‐5444‐44c6‐82f9‐329737ae6be5                   Address Redacted                     First Class Mail
15fcc0c5‐d8f9‐4860‐989f‐4c1e787ffbbe                   Address Redacted                     First Class Mail
15fd3afa‐dcfa‐46b9‐88e5‐3fac0f9a9b25                   Address Redacted                     First Class Mail
15fecf52‐291f‐4c96‐ba28‐c3f89830c11b                   Address Redacted                     First Class Mail
1600c2ea‐22ff‐41a1‐aca0‐d90a01b8293a                   Address Redacted                     First Class Mail
16015da9‐c98b‐4193‐9ebb‐90aad04971d2                   Address Redacted                     First Class Mail
16054d89‐4d0a‐4ab1‐a2a5‐ddb0b30e6c8d                   Address Redacted                     First Class Mail
16064395‐24c8‐4393‐b70f‐1542f0e05358                   Address Redacted                     First Class Mail
16088b5b‐1541‐485d‐a05f‐04787ce8a444                   Address Redacted                     First Class Mail
16098fd1‐e5e9‐4349‐a6c5‐d6769656397e                   Address Redacted                     First Class Mail
160bc773‐6009‐4d15‐943e‐ac6bdadb16ec                   Address Redacted                     First Class Mail
160dbbe7‐b500‐4a4c‐89bb‐04712e422a27                   Address Redacted                     First Class Mail
161140c2‐1115‐40ea‐873b‐73636354f5a8                   Address Redacted                     First Class Mail
16123a29‐5ea5‐4bde‐a121‐5742c276010c                   Address Redacted                     First Class Mail
1614d103‐aefd‐4c13‐b071‐6163bf3260f4                   Address Redacted                     First Class Mail
16169ef0‐52c2‐45cf‐aa68‐abbb5a8826a5                   Address Redacted                     First Class Mail
16172823‐1052‐4bf1‐9429‐16db47110ccd                   Address Redacted                     First Class Mail
1619c366‐c198‐4bb0‐bc27‐2bb46e0d55d9                   Address Redacted                     First Class Mail
161f14a9‐0176‐432d‐93a7‐93738ff44f11                   Address Redacted                     First Class Mail
16204aaf‐3fdc‐4886‐9f66‐2acfcf9a05ae                   Address Redacted                     First Class Mail
16207a70‐c10d‐47ec‐9d34‐59716be572e7                   Address Redacted                     First Class Mail
1626a3d7‐11fe‐474d‐a3d9‐b5d0d0e3660d                   Address Redacted                     First Class Mail
16286960‐4c3d‐48b4‐ac7a‐236348b19311                   Address Redacted                     First Class Mail
162bf142‐c753‐416d‐a0db‐b44557cf9ada                   Address Redacted                     First Class Mail
16300365‐cfcb‐45af‐a87f‐c44fc40a35f0                   Address Redacted                     First Class Mail
163005cb‐287c‐4472‐ab64‐fd567e7590f6                   Address Redacted                     First Class Mail




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                                                                 Service List


                              Name                                              Address                        Method of Service
16342a77‐1edd‐44e4‐a28d‐36550d772497                   Address Redacted                     First Class Mail
1634d92b‐6018‐4d66‐9c6c‐b827371a505c                   Address Redacted                     First Class Mail
1638bc05‐6700‐4870‐a577‐cf473462af47                   Address Redacted                     First Class Mail
1638efe1‐1c06‐4b78‐aea8‐589c8765f414                   Address Redacted                     First Class Mail
163c6802‐edf6‐46e3‐9206‐5774b2a9c5b6                   Address Redacted                     First Class Mail
1646b579‐363b‐486d‐8aca‐c8a844a016f6                   Address Redacted                     First Class Mail
164d84f8‐cc7a‐411a‐b85f‐1261c5642bbb                   Address Redacted                     First Class Mail
164e7955‐deed‐41fa‐aba1‐be4477647e74                   Address Redacted                     First Class Mail
1654f08d‐2834‐4bf5‐a979‐87f3a1245af1                   Address Redacted                     First Class Mail
165a1737‐4e93‐4b04‐9466‐5cd9920e8a06                   Address Redacted                     First Class Mail
165d3497‐f242‐4564‐9243‐6c9cb74e4598                   Address Redacted                     First Class Mail
165d85f1‐61ed‐4a1d‐b810‐a5fa67ce0675                   Address Redacted                     First Class Mail
165db3ff‐d9f5‐4aef‐956f‐50f927bd5d81                   Address Redacted                     First Class Mail
1664464c‐75e0‐4a7a‐ad53‐7f69953b31c2                   Address Redacted                     First Class Mail
1665dc61‐1eb3‐4f92‐84c8‐8a1056ecda1f                   Address Redacted                     First Class Mail
1667aaa4‐ea24‐4828‐9e3b‐ecb17ec1ff35                   Address Redacted                     First Class Mail
166829c8‐bc7d‐4b2e‐9eba‐e43cf5725a63                   Address Redacted                     First Class Mail
166a8fa6‐bff9‐43c1‐bbcf‐6705d6e1b4c9                   Address Redacted                     First Class Mail
1674d0e3‐3006‐40f7‐8090‐c2597d872b6f                   Address Redacted                     First Class Mail
1675be1e‐8926‐4e9b‐9cf2‐7ab644c5cebb                   Address Redacted                     First Class Mail
16761037‐7107‐4810‐b052‐8082ddb4df75                   Address Redacted                     First Class Mail
1678393f‐81e9‐421c‐af7e‐774211d5649b                   Address Redacted                     First Class Mail
167e1e89‐a2e7‐4ae4‐84a5‐42d48a602f91                   Address Redacted                     First Class Mail
167f173f‐7eec‐4936‐b748‐1ff8ae583481                   Address Redacted                     First Class Mail
167f7550‐4e43‐4da0‐bf3d‐22d9bae57cb5                   Address Redacted                     First Class Mail
16810460‐ee30‐4dc9‐b391‐546f7c8e45b5                   Address Redacted                     First Class Mail
1684bdf8‐10ae‐4c9d‐8652‐3549439119a0                   Address Redacted                     First Class Mail
1686003a‐21e3‐41ac‐b961‐a9dcfff74856                   Address Redacted                     First Class Mail
1686306b‐c2e1‐4c5b‐8d1d‐a6964416c995                   Address Redacted                     First Class Mail
168d3e0d‐16d5‐4c36‐93e9‐8a8dae819068                   Address Redacted                     First Class Mail
1691813b‐c1f6‐47b8‐a15f‐ae43885f95eb                   Address Redacted                     First Class Mail
1694ee0e‐bb28‐449a‐b9d7‐8c68caa67ed1                   Address Redacted                     First Class Mail
169cf72f‐52be‐4170‐a516‐4bd2ecc52682                   Address Redacted                     First Class Mail
16a424d7‐8f9f‐4792‐87b5‐ad7e9dce510f                   Address Redacted                     First Class Mail
16a4c027‐32e3‐4729‐8159‐cb9c0fb79032                   Address Redacted                     First Class Mail
16a55af1‐a06a‐4a34‐b678‐148018cef804                   Address Redacted                     First Class Mail
16a7fb4c‐7264‐4331‐8168‐ce3b97e4b785                   Address Redacted                     First Class Mail
16a7fee3‐159e‐4d79‐b458‐212b522bf07b                   Address Redacted                     First Class Mail
16a91dc6‐825e‐4980‐bce0‐98e8ebce1f52                   Address Redacted                     First Class Mail
16a9dbe7‐6356‐4933‐b9d9‐cc8286418089                   Address Redacted                     First Class Mail
16acc672‐0fe3‐4969‐8e27‐9e654cb2469c                   Address Redacted                     First Class Mail
16b0d2f9‐0de9‐4495‐aa61‐056e087205ee                   Address Redacted                     First Class Mail
16b0ddf4‐14b4‐47d5‐a786‐4d1dc8465e87                   Address Redacted                     First Class Mail
16b0fd62‐0509‐4217‐b643‐e7969277a022                   Address Redacted                     First Class Mail
16b212b8‐78bf‐4810‐8f7c‐d464c098f379                   Address Redacted                     First Class Mail
16b269b5‐0bd1‐4148‐9fd6‐12505cbe7791                   Address Redacted                     First Class Mail
16b46d63‐d9ef‐480e‐8d68‐23fa76cf8001                   Address Redacted                     First Class Mail
16b921ff‐5a39‐4583‐9ff2‐9bd9fa48748d                   Address Redacted                     First Class Mail
16b952d8‐f9be‐477b‐86cc‐4a2f3d5fb952                   Address Redacted                     First Class Mail
16c22d5c‐86bd‐44ec‐8924‐373c861d4e88                   Address Redacted                     First Class Mail
16c38b12‐a811‐48eb‐abbf‐ae29549bcb48                   Address Redacted                     First Class Mail
16c42821‐1c28‐4b6f‐be15‐fefcc453a2b7                   Address Redacted                     First Class Mail
16c469e9‐3bcb‐40c6‐b8de‐f6798b808852                   Address Redacted                     First Class Mail
16c55d4b‐fc3b‐4e23‐81a4‐1ea07d5064b7                   Address Redacted                     First Class Mail
16ce858b‐f68f‐4c7b‐96ec‐10d5be99fdd4                   Address Redacted                     First Class Mail
16ceef2e‐f2d3‐406c‐917d‐c29cbe3b3201                   Address Redacted                     First Class Mail
16d0a6ae‐3f7f‐42a4‐8f66‐3ecf1b2a8935                   Address Redacted                     First Class Mail
16d157a0‐d407‐4129‐bfaa‐4ad6569839d8                   Address Redacted                     First Class Mail
16d38be0‐5885‐409d‐a087‐59cdbe7bf16a                   Address Redacted                     First Class Mail
16d5b958‐2d58‐42f2‐8c88‐e5a551a9ca06                   Address Redacted                     First Class Mail
16d86079‐f23f‐4f8b‐85e2‐8370f08ab271                   Address Redacted                     First Class Mail
16d91dfe‐e891‐4e9e‐8b22‐ed508b5a5bc1                   Address Redacted                     First Class Mail
16dafece‐c891‐4ea4‐9e6e‐be72aa37f1bf                   Address Redacted                     First Class Mail
16db2f3c‐fff3‐4ca7‐bdeb‐286236a89775                   Address Redacted                     First Class Mail
16e15c5f‐4a58‐4efa‐ac42‐45c9889e827c                   Address Redacted                     First Class Mail
16e2c235‐1f48‐4f0a‐b219‐54ac3d15feeb                   Address Redacted                     First Class Mail
16e2cc78‐bcfd‐4e84‐8e0f‐5c6280884334                   Address Redacted                     First Class Mail
16e8d70e‐b0c2‐44d0‐883c‐1fdf7caf0086                   Address Redacted                     First Class Mail
16eaa885‐c879‐4320‐a016‐25f5dbfa27a6                   Address Redacted                     First Class Mail
16ed3a13‐7b90‐4b10‐b81d‐f7609a12c8c1                   Address Redacted                     First Class Mail
16ef4723‐1e8d‐4173‐a096‐51607f4a6b67                   Address Redacted                     First Class Mail
16f6b517‐46ec‐4e21‐81c3‐c311507a20f7                   Address Redacted                     First Class Mail




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                                                                Exhibit A
                                                                 Service List


                              Name                                              Address                        Method of Service
16f7e5e8‐302f‐4e2b‐9ecc‐4b59a2bcf90d                   Address Redacted                     First Class Mail
16f8b1c3‐22de‐4425‐9754‐b1692a5bf0f5                   Address Redacted                     First Class Mail
17009a57‐cafa‐4632‐9ed9‐a6c8856fd679                   Address Redacted                     First Class Mail
170324a4‐d750‐493d‐bd5a‐9645ec172da4                   Address Redacted                     First Class Mail
17092945‐bce0‐401f‐b0e4‐16d487875f9d                   Address Redacted                     First Class Mail
1712525d‐5171‐4bd0‐804c‐4124a9c28e85                   Address Redacted                     First Class Mail
1713949d‐e83b‐4aee‐99d2‐dc44f1c3279d                   Address Redacted                     First Class Mail
1714c6b6‐c8d5‐479c‐8f79‐dda49159c9c5                   Address Redacted                     First Class Mail
1716f126‐fe91‐490c‐a277‐a91b3a4ad255                   Address Redacted                     First Class Mail
17189c15‐9af2‐44cf‐8442‐25b4a7437c03                   Address Redacted                     First Class Mail
1726c3fd‐aac5‐4ad5‐a2dc‐dfff17df657c                   Address Redacted                     First Class Mail
17283a7c‐1dbb‐4ab7‐a316‐f830e031184e                   Address Redacted                     First Class Mail
1729c406‐83ce‐40ee‐9796‐bd7c7486fa6e                   Address Redacted                     First Class Mail
17303299‐5cf6‐481b‐84aa‐560eb9563b36                   Address Redacted                     First Class Mail
17343707‐387b‐4c1d‐a884‐b0315dd660f4                   Address Redacted                     First Class Mail
17345d8f‐c1e4‐4246‐90ae‐f31543a92015                   Address Redacted                     First Class Mail
17347986‐7fab‐41d3‐be01‐f61a44dd72b2                   Address Redacted                     First Class Mail
17358604‐9789‐4709‐8045‐6630d1de8319                   Address Redacted                     First Class Mail
173b85e6‐594f‐468c‐a4ab‐b551c8d78207                   Address Redacted                     First Class Mail
173c2ab2‐8ec6‐4856‐af88‐8b9da5df5b9d                   Address Redacted                     First Class Mail
173e32ff‐1948‐4870‐a75f‐e70478546c08                   Address Redacted                     First Class Mail
17436bd3‐1f30‐434e‐917c‐d2390b215d2c                   Address Redacted                     First Class Mail
1745ad3c‐a2ec‐4c76‐85ae‐15496a950c3d                   Address Redacted                     First Class Mail
1747e65d‐b971‐44df‐9e37‐fcb3d83906a4                   Address Redacted                     First Class Mail
1747f8f1‐2e30‐4648‐ac80‐30639b5d52a2                   Address Redacted                     First Class Mail
174a3c24‐95ac‐4129‐a816‐ec3cae7d35bd                   Address Redacted                     First Class Mail
174a7c69‐0436‐4abd‐aed9‐367c1d1f15da                   Address Redacted                     First Class Mail
174b2fa8‐1612‐41f7‐9c32‐ca65ef8b2100                   Address Redacted                     First Class Mail
174e861d‐674b‐476c‐9289‐373d4cb6388d                   Address Redacted                     First Class Mail
1750fd95‐00d8‐43c8‐9aea‐83edf185721a                   Address Redacted                     First Class Mail
175131b9‐8f5b‐485c‐b072‐a7525c5c353c                   Address Redacted                     First Class Mail
17534358‐e76a‐4131‐aaa3‐28f839a34e5c                   Address Redacted                     First Class Mail
175bd5d5‐4bd1‐4bd1‐a235‐1b60465d76ee                   Address Redacted                     First Class Mail
175e5ff9‐928e‐482e‐98f6‐26b1e4ba9ff3                   Address Redacted                     First Class Mail
175f9dd6‐3284‐4df2‐ba39‐8b421f131eae                   Address Redacted                     First Class Mail
17622966‐95cc‐46a9‐ae55‐d24d1a25442e                   Address Redacted                     First Class Mail
1763cddd‐7ea6‐4366‐9a78‐d9b3d2740753                   Address Redacted                     First Class Mail
17668ae8‐14ac‐40ea‐9c84‐6e40afb832e6                   Address Redacted                     First Class Mail
176ad939‐40b1‐4483‐97f7‐241387cb5696                   Address Redacted                     First Class Mail
176dda51‐b689‐4497‐93e9‐c041a79a06e4                   Address Redacted                     First Class Mail
17735ded‐e6f6‐4a95‐9d64‐1ae33cc259ba                   Address Redacted                     First Class Mail
17740fd3‐1460‐4cce‐aea1‐19a7ace22e66                   Address Redacted                     First Class Mail
1775a5ca‐74e1‐4b93‐9888‐faa93c5c87dd                   Address Redacted                     First Class Mail
177bb67b‐ac58‐4df1‐9b39‐b4e5cb23baef                   Address Redacted                     First Class Mail
177db675‐c0a4‐405a‐b24a‐403f3232e6d0                   Address Redacted                     First Class Mail
177eb5af‐e89d‐461c‐b779‐9ef5f585dba2                   Address Redacted                     First Class Mail
178396e5‐e539‐421e‐a633‐db7146621727                   Address Redacted                     First Class Mail
1787e055‐6370‐44a3‐9a91‐0e6ee3bf3f5d                   Address Redacted                     First Class Mail
1788cb7c‐048e‐4c82‐ae88‐bc40714cad1e                   Address Redacted                     First Class Mail
1790edf2‐3743‐410c‐9dcf‐ef65114fe0f0                   Address Redacted                     First Class Mail
17910d67‐06e6‐4d71‐8768‐a0a51cbb8ecd                   Address Redacted                     First Class Mail
179a000e‐aeb7‐485e‐9cda‐d9ae5aa8b77b                   Address Redacted                     First Class Mail
179e4355‐16ea‐415a‐a378‐5fe45b2b4346                   Address Redacted                     First Class Mail
17a0be1b‐2beb‐41dd‐a5f3‐783eb177beae                   Address Redacted                     First Class Mail
17a0c8ef‐8622‐463f‐a7bb‐fbb5a251de51                   Address Redacted                     First Class Mail
17a387d5‐2192‐4c1d‐92b4‐6fb57e22908d                   Address Redacted                     First Class Mail
17a4179c‐9548‐4279‐b7ba‐62e189592781                   Address Redacted                     First Class Mail
17a44068‐fdec‐434d‐baa3‐374782b2f2df                   Address Redacted                     First Class Mail
17a451f7‐37ee‐4047‐9a5b‐994d7671d448                   Address Redacted                     First Class Mail
17a4815a‐c328‐4390‐9da2‐515af7b58971                   Address Redacted                     First Class Mail
17a72ef0‐fede‐4dc4‐ad0a‐2e729bb41dfc                   Address Redacted                     First Class Mail
17a7dc2d‐0a12‐4b6a‐9223‐d1e5719eae87                   Address Redacted                     First Class Mail
17abde2b‐5ea0‐4a77‐b12b‐ae2a19c203f7                   Address Redacted                     First Class Mail
17ac5ddc‐05ef‐42b4‐9b84‐165b2f1407f0                   Address Redacted                     First Class Mail
17b01fde‐4965‐4cb4‐b5c7‐38d275edbee4                   Address Redacted                     First Class Mail
17b31577‐9c91‐4646‐9206‐e682191c46dc                   Address Redacted                     First Class Mail
17b38852‐cc70‐480c‐a9d4‐6172833b1f18                   Address Redacted                     First Class Mail
17b40e61‐a92c‐425a‐a172‐6c47c10b758c                   Address Redacted                     First Class Mail
17babd78‐ebea‐4bde‐87b8‐1760bddbbcec                   Address Redacted                     First Class Mail
17bc9252‐21b2‐4cfc‐9432‐08dd1ce4d290                   Address Redacted                     First Class Mail
17bf81a0‐eb92‐4baf‐a85f‐cca75281de05                   Address Redacted                     First Class Mail
17c0fbd7‐30fc‐4d69‐8431‐a0166d49c629                   Address Redacted                     First Class Mail




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                              Name                                              Address                        Method of Service
17c20440‐498f‐4d72‐b3e1‐5c54af9e2e00                   Address Redacted                     First Class Mail
17c271be‐33ec‐45a3‐8c1c‐9510a0028549                   Address Redacted                     First Class Mail
17c393a3‐c5d7‐4d12‐8c05‐329f505d846e                   Address Redacted                     First Class Mail
17c3cc16‐e3f6‐4005‐ae41‐5869c52eab29                   Address Redacted                     First Class Mail
17c7de3c‐4535‐452c‐b70d‐b5a62f86d32a                   Address Redacted                     First Class Mail
17cd53f4‐64ac‐41e8‐8f05‐2277b8b8b33d                   Address Redacted                     First Class Mail
17d135ca‐a550‐4c92‐af1d‐bbb773a51319                   Address Redacted                     First Class Mail
17d19b78‐e160‐4834‐8bbb‐81a6f9ade4e2                   Address Redacted                     First Class Mail
17d26357‐5770‐42c7‐a62c‐1dee6eaf1d53                   Address Redacted                     First Class Mail
17e0b63b‐d81c‐4f2a‐af8d‐0f4ecfceb5af                   Address Redacted                     First Class Mail
17e4eedb‐9143‐4d28‐8734‐1d72328d26a7                   Address Redacted                     First Class Mail
17e4fc8c‐1380‐429f‐a951‐b53c51a5f668                   Address Redacted                     First Class Mail
17e5331b‐f9f3‐4086‐93f8‐5e6e9988ab9a                   Address Redacted                     First Class Mail
17e78eb0‐979b‐4379‐a227‐1ce46f993290                   Address Redacted                     First Class Mail
17e870a8‐3d35‐4f6b‐a027‐2d3221181a8d                   Address Redacted                     First Class Mail
17eb6388‐f694‐4adc‐ab08‐b48dbe2e1941                   Address Redacted                     First Class Mail
17ec07c0‐331c‐4cbd‐b382‐83ebdbf0222e                   Address Redacted                     First Class Mail
17ec3259‐7ba0‐463a‐9402‐e23e5b143d24                   Address Redacted                     First Class Mail
17ec5d0a‐20d4‐4111‐a1f5‐ce63f4349565                   Address Redacted                     First Class Mail
17ed26b4‐e8b0‐4914‐bb49‐d0152cd80d6c                   Address Redacted                     First Class Mail
17ee0041‐3c61‐4812‐88ee‐d2ffb4a0060f                   Address Redacted                     First Class Mail
17f1eac3‐abe7‐4963‐8d3f‐266af01590a1                   Address Redacted                     First Class Mail
17f5bf76‐45f1‐4deb‐86bc‐d266b5ee30a5                   Address Redacted                     First Class Mail
17fc0174‐ae47‐41c6‐a7fd‐c7acb3f04bb4                   Address Redacted                     First Class Mail
17fd951c‐b48e‐4879‐bd74‐127ab01c9dfe                   Address Redacted                     First Class Mail
1802ff76‐5a3f‐425f‐b1b2‐6a8b99c36d64                   Address Redacted                     First Class Mail
18066771‐6d7b‐406a‐9183‐7f47c9bd5bfc                   Address Redacted                     First Class Mail
1806f4a4‐7346‐413a‐9ec2‐9f3b5b02b8e3                   Address Redacted                     First Class Mail
18070abf‐a4b0‐496a‐bda3‐ee8b272c15d4                   Address Redacted                     First Class Mail
18085c05‐b865‐4473‐b0d4‐eb6d3f2b9594                   Address Redacted                     First Class Mail
180de86f‐c8f8‐4863‐a6c1‐dc7a92653db1                   Address Redacted                     First Class Mail
180f612f‐fba4‐408e‐ac2f‐fd33939d8ff9                   Address Redacted                     First Class Mail
18110237‐ed6b‐493f‐aabf‐344687eaca40                   Address Redacted                     First Class Mail
1812d0fc‐ed50‐4b71‐adee‐96ebf6bfbf18                   Address Redacted                     First Class Mail
181337b7‐e5c1‐4d02‐8238‐5df45c079ba1                   Address Redacted                     First Class Mail
181431fe‐8494‐4d75‐a053‐319a2d2c9edb                   Address Redacted                     First Class Mail
18147024‐d2df‐4b4b‐879a‐085ee9814efc                   Address Redacted                     First Class Mail
1819dff6‐68d0‐4565‐aadf‐6589212a72e8                   Address Redacted                     First Class Mail
1819ff2b‐bacd‐45ed‐a5a7‐86eae391be37                   Address Redacted                     First Class Mail
181da0a6‐abaf‐4bb7‐bcfe‐95a4be214bb6                   Address Redacted                     First Class Mail
18201b21‐e5a3‐4e98‐8e8c‐5177e7b4c11e                   Address Redacted                     First Class Mail
182f8fa3‐6eb4‐4c42‐bf1b‐cb65a9de0591                   Address Redacted                     First Class Mail
182fcea0‐0acb‐4ffb‐8824‐caada295be00                   Address Redacted                     First Class Mail
18315da8‐2c3e‐446a‐a4d9‐33a27dc7cc10                   Address Redacted                     First Class Mail
1832a027‐788d‐4514‐bcfd‐294d365f3d72                   Address Redacted                     First Class Mail
1832c917‐dbcf‐4e2a‐8636‐a6d7eaa4e0ab                   Address Redacted                     First Class Mail
18331972‐8541‐45da‐b328‐9b41981c2bb6                   Address Redacted                     First Class Mail
183afcd6‐f0dd‐43a6‐a7fd‐8eb83a6cc5ae                   Address Redacted                     First Class Mail
183c5340‐c008‐495d‐86fb‐c924baf1c4be                   Address Redacted                     First Class Mail
183f6459‐ae5e‐4fd3‐9bea‐745841b24b5a                   Address Redacted                     First Class Mail
1840fa59‐5439‐40d3‐92d5‐1c03269a2cbb                   Address Redacted                     First Class Mail
184384ed‐5f80‐4fe9‐9f06‐fb3ee2becd6a                   Address Redacted                     First Class Mail
184a3f68‐5072‐467f‐b6ff‐4b3127baa8d1                   Address Redacted                     First Class Mail
184caf27‐a7b9‐43ec‐aba8‐12bba8241bd4                   Address Redacted                     First Class Mail
184ed9ea‐d951‐4a2d‐9a17‐67af5a9e1f0e                   Address Redacted                     First Class Mail
185074f0‐2aab‐4dce‐9c1f‐0631dfff4fa2                   Address Redacted                     First Class Mail
1852c03f‐c19b‐4fbf‐b83d‐c3b0385d0ebd                   Address Redacted                     First Class Mail
18534a47‐5c59‐4314‐9283‐9cd13c967a1d                   Address Redacted                     First Class Mail
18542cd7‐2e16‐47a7‐95db‐5f2d15891f20                   Address Redacted                     First Class Mail
18543f0f‐4b33‐4b04‐96d2‐710fc03140e4                   Address Redacted                     First Class Mail
1854ca24‐4c7b‐42de‐9a36‐5857854e4b04                   Address Redacted                     First Class Mail
185a81c3‐1bc6‐441a‐80f5‐72f20f553150                   Address Redacted                     First Class Mail
185b11d1‐8c74‐47cc‐8e41‐6485f3dfea27                   Address Redacted                     First Class Mail
185d32fd‐d1a1‐41a7‐83fb‐2ed9e40a6b7a                   Address Redacted                     First Class Mail
186128ac‐a11e‐40de‐8f4a‐a0a7ff1bce78                   Address Redacted                     First Class Mail
18628486‐16e1‐4b23‐95f9‐00369aa26cae                   Address Redacted                     First Class Mail
1865387a‐e347‐4af6‐afee‐e6926363da77                   Address Redacted                     First Class Mail
18675a6c‐791f‐4fc4‐bf47‐8aa469b5310b                   Address Redacted                     First Class Mail
18680e40‐293f‐4d12‐acb3‐f9dc39278d81                   Address Redacted                     First Class Mail
18689e2a‐b5d5‐4477‐86a1‐c8eb4639ee97                   Address Redacted                     First Class Mail
1868fb09‐f45c‐4e20‐bbe4‐d36a330e13a0                   Address Redacted                     First Class Mail
186a9beb‐0e04‐48fa‐95a2‐e86d46fb4f26                   Address Redacted                     First Class Mail




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                                                                 Service List


                              Name                                              Address                        Method of Service
186c3bdd‐f15e‐44ca‐b841‐7d90438c2c8c                   Address Redacted                     First Class Mail
18736243‐c645‐40e5‐9a55‐0b6d28707147                   Address Redacted                     First Class Mail
187da49e‐d72e‐4072‐8eec‐85ba06aa54a4                   Address Redacted                     First Class Mail
187f020e‐0ddd‐48da‐a8b3‐594bad683560                   Address Redacted                     First Class Mail
188aa66d‐35c8‐47f0‐8b2f‐d8cb2b9a2f32                   Address Redacted                     First Class Mail
188b5f31‐7922‐4806‐8578‐a66d8abc5f2d                   Address Redacted                     First Class Mail
18969442‐2f42‐4ea1‐9663‐9b7d01e22c76                   Address Redacted                     First Class Mail
1898bd6e‐dcd9‐4951‐be06‐b2f4c7520a4f                   Address Redacted                     First Class Mail
1899d363‐ca08‐4e62‐aa73‐58e18e6ce000                   Address Redacted                     First Class Mail
189cd780‐7300‐4fa4‐b638‐f6ed848e2f7e                   Address Redacted                     First Class Mail
189e2a44‐eab7‐4b9a‐865b‐28558af451c7                   Address Redacted                     First Class Mail
189ebecf‐2d10‐44cc‐8c06‐8bc812fadb95                   Address Redacted                     First Class Mail
189edd43‐9920‐43bc‐a7e8‐4e1a89802e27                   Address Redacted                     First Class Mail
189f975b‐773d‐4bda‐919e‐6d9e3646f86d                   Address Redacted                     First Class Mail
18a99c21‐2025‐413f‐873a‐9a7a545763cb                   Address Redacted                     First Class Mail
18aa26dc‐9d48‐4bf3‐b072‐0deb69e7a907                   Address Redacted                     First Class Mail
18aa36ef‐1cb1‐4331‐88cb‐ef49acefd999                   Address Redacted                     First Class Mail
18acdba9‐fa78‐4621‐a5f7‐c65eecfc0079                   Address Redacted                     First Class Mail
18af512d‐324f‐42b7‐a06c‐ad248a29396d                   Address Redacted                     First Class Mail
18b38931‐2f4c‐4952‐bb4a‐37e3fc07064c                   Address Redacted                     First Class Mail
18b59ad4‐9ae9‐4662‐ae5f‐5b167dfdb399                   Address Redacted                     First Class Mail
18b6a0db‐78a4‐4254‐855d‐e0f287cdaf0e                   Address Redacted                     First Class Mail
18b712ea‐a3fe‐4f5a‐8825‐e633c039a958                   Address Redacted                     First Class Mail
18b7ca43‐d5c9‐43b4‐aa36‐678709137bad                   Address Redacted                     First Class Mail
18bb02de‐0cd3‐4a2f‐bc06‐7193c5079ff6                   Address Redacted                     First Class Mail
18bbdab7‐dbd9‐443c‐a150‐5b8a1e0d9b18                   Address Redacted                     First Class Mail
18bc3fb5‐70c3‐4103‐b61d‐fb0dca9b7241                   Address Redacted                     First Class Mail
18be81f2‐4a60‐4105‐89a1‐a1fff777a6d4                   Address Redacted                     First Class Mail
18c20c17‐bbad‐4e61‐be06‐53d41acd0af2                   Address Redacted                     First Class Mail
18c3bfed‐9f09‐4e9a‐893b‐4ea656f13195                   Address Redacted                     First Class Mail
18c3edee‐eb3f‐4086‐a2ac‐344ad62d021f                   Address Redacted                     First Class Mail
18c41fcf‐b96d‐430a‐bc58‐e3c8f27d7096                   Address Redacted                     First Class Mail
18c47b01‐fd2d‐4617‐90b0‐0996c6e62d83                   Address Redacted                     First Class Mail
18c70126‐abef‐446f‐a436‐e782fc7ff6fc                   Address Redacted                     First Class Mail
18cd9319‐36d2‐4fc0‐8fed‐f662ccf2093f                   Address Redacted                     First Class Mail
18ce64bb‐4af5‐4f77‐acf4‐de9c7e874e7e                   Address Redacted                     First Class Mail
18cfc8ad‐8a24‐40b4‐bc42‐93c708564cf3                   Address Redacted                     First Class Mail
18cfcc00‐6766‐43f7‐a9ac‐c384c7b1362c                   Address Redacted                     First Class Mail
18d209b1‐a7c6‐4573‐bb11‐d9e5beff6b57                   Address Redacted                     First Class Mail
18d388ba‐0864‐4aa9‐88b3‐78cb88c70588                   Address Redacted                     First Class Mail
18d563e4‐4e90‐42d8‐951c‐859fea5b7e33                   Address Redacted                     First Class Mail
18d5a758‐9a8f‐465e‐b3bf‐35388c500f05                   Address Redacted                     First Class Mail
18d7809c‐9fd1‐4d8a‐8e3f‐74a4c3d23797                   Address Redacted                     First Class Mail
18d79fed‐d4d4‐42fa‐8555‐e5c176df4371                   Address Redacted                     First Class Mail
18d7c98d‐3a93‐40d5‐a041‐0ef24153d263                   Address Redacted                     First Class Mail
18d82836‐39b9‐4933‐aaa0‐967387c50d18                   Address Redacted                     First Class Mail
18d96192‐7969‐473b‐8733‐2fe1c890e2e0                   Address Redacted                     First Class Mail
18df3d18‐5cbd‐4f49‐a4a5‐27aaf818e875                   Address Redacted                     First Class Mail
18dfc0a4‐1d79‐465d‐9e4d‐4d1a12a0a594                   Address Redacted                     First Class Mail
18e10daf‐e70e‐4268‐b94f‐d831f1a78e5f                   Address Redacted                     First Class Mail
18e28b39‐13a2‐4457‐86e5‐640cbbecd8e9                   Address Redacted                     First Class Mail
18e28bfa‐b4f1‐4540‐bf26‐f4882c7aee72                   Address Redacted                     First Class Mail
18e68ff0‐9f4b‐4795‐96d4‐454d0c687fed                   Address Redacted                     First Class Mail
18e7dca9‐58a1‐40a0‐a8f0‐7fe6244dde35                   Address Redacted                     First Class Mail
18e7f42a‐3e14‐4384‐8c85‐9bcf624af075                   Address Redacted                     First Class Mail
18e820ac‐e4e7‐47d6‐b716‐1fac031535b2                   Address Redacted                     First Class Mail
18e94a3b‐7af0‐43ce‐9248‐ae30cacb05df                   Address Redacted                     First Class Mail
18eb9310‐04f4‐43bc‐afea‐f5ae2ce7ecaa                   Address Redacted                     First Class Mail
18ecae9a‐eea0‐4e75‐93e5‐2f611448a172                   Address Redacted                     First Class Mail
18f2a9fb‐8cba‐4a39‐9aba‐9e76d20cd3d9                   Address Redacted                     First Class Mail
18f9365f‐8db4‐4984‐9b69‐418e3bdd424c                   Address Redacted                     First Class Mail
18f97ac4‐3aaf‐451f‐b4a0‐42c174199c87                   Address Redacted                     First Class Mail
18fcbec0‐7c7a‐443e‐b8d7‐aa6a2ade3466                   Address Redacted                     First Class Mail
19015be1‐0d99‐4a18‐ad04‐b3ab0b3c0cae                   Address Redacted                     First Class Mail
190215db‐b58e‐4d4a‐a62e‐12b5e4ecbdf9                   Address Redacted                     First Class Mail
1902dea6‐5d75‐4fc5‐9d65‐065f07a10b5a                   Address Redacted                     First Class Mail
190388f7‐14ae‐43cc‐bb84‐f9064014cbcd                   Address Redacted                     First Class Mail
19060e22‐2344‐4051‐b1e0‐029de6c74af6                   Address Redacted                     First Class Mail
1907f377‐5f24‐44a8‐9f07‐22aaa34cc35c                   Address Redacted                     First Class Mail
190aa079‐7531‐48b5‐a89b‐f4b2aab9fded                   Address Redacted                     First Class Mail
190cac26‐09cb‐4215‐abb5‐6e3d21653b57                   Address Redacted                     First Class Mail
1911227f‐23e0‐4d1a‐8910‐78d431c718eb                   Address Redacted                     First Class Mail




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                                                                 Service List


                              Name                                              Address                        Method of Service
1917440a‐be8d‐4299‐a309‐5b90ca769876                   Address Redacted                     First Class Mail
1917a82f‐405b‐4654‐bcda‐aef6f44ab1f6                   Address Redacted                     First Class Mail
191bd655‐d58c‐4860‐8b83‐fdda1e5c7cd5                   Address Redacted                     First Class Mail
191c67c3‐5bf3‐4f74‐8bc5‐1df202b1bb9c                   Address Redacted                     First Class Mail
191e51fa‐d37e‐432c‐ace4‐5a46949d2a80                   Address Redacted                     First Class Mail
191ec4d8‐bc28‐4e26‐a7f4‐eb89ecd0ac77                   Address Redacted                     First Class Mail
1923d72c‐f272‐43f9‐a5cf‐cf882c4dbffc                   Address Redacted                     First Class Mail
192412ac‐0428‐49b8‐990e‐3ea20e3666c2                   Address Redacted                     First Class Mail
1924a262‐e25d‐4e05‐8476‐e9740a5d4b24                   Address Redacted                     First Class Mail
192c6569‐f7fa‐43b5‐bb61‐9256be941344                   Address Redacted                     First Class Mail
192ee315‐3eda‐41c7‐b95d‐f65bbdeea693                   Address Redacted                     First Class Mail
192fdb4d‐9655‐4704‐b2c8‐bd3744b34fd5                   Address Redacted                     First Class Mail
1930f75e‐7109‐4466‐aa25‐d4a18a67de71                   Address Redacted                     First Class Mail
19314a07‐530d‐44d9‐814a‐c0d0befa5e07                   Address Redacted                     First Class Mail
19333a5b‐9eb1‐4407‐b977‐e6cb22323f45                   Address Redacted                     First Class Mail
193558c1‐bd34‐4cc0‐aa76‐c573a5c85e05                   Address Redacted                     First Class Mail
1935cb78‐a57c‐40ff‐95fd‐e56a35940f18                   Address Redacted                     First Class Mail
1936b1be‐6f4e‐4a2d‐ac7c‐6a0dd32fa2c3                   Address Redacted                     First Class Mail
193824ab‐a7ce‐4877‐9c99‐460dc1038278                   Address Redacted                     First Class Mail
19385e16‐df22‐47ca‐944a‐c8e7163f72ee                   Address Redacted                     First Class Mail
193c2f39‐1937‐4e94‐848d‐e6e9485a05f2                   Address Redacted                     First Class Mail
19420037‐a7e6‐42db‐99dd‐50b3bb3273dd                   Address Redacted                     First Class Mail
19420c64‐9354‐4b6c‐96f0‐9e77f136bdbc                   Address Redacted                     First Class Mail
19423086‐f935‐444e‐967f‐2882d7e9c474                   Address Redacted                     First Class Mail
1942fa4f‐233d‐4032‐bbcb‐a41c327399f2                   Address Redacted                     First Class Mail
1947e1de‐424c‐49c5‐8f20‐95fb7f87b39a                   Address Redacted                     First Class Mail
19486209‐07e4‐4cc8‐8b5d‐d37d177f44b5                   Address Redacted                     First Class Mail
194e9222‐1f2e‐4c85‐bf0d‐d61f4ea042c9                   Address Redacted                     First Class Mail
19523b9f‐049a‐4254‐8a4f‐c2df8db3edba                   Address Redacted                     First Class Mail
195ac899‐95b3‐412c‐ab11‐70b7dd8ec4b0                   Address Redacted                     First Class Mail
195be6af‐0a06‐4b9d‐b779‐037e8ced0d37                   Address Redacted                     First Class Mail
195d4b64‐e102‐417f‐93fc‐b8cb0e57b753                   Address Redacted                     First Class Mail
195d6dd9‐c257‐42e2‐b342‐dac4d2dcbf0d                   Address Redacted                     First Class Mail
1966020e‐a8c8‐4686‐a1ca‐0e360fe65ec6                   Address Redacted                     First Class Mail
1967a96d‐6e3c‐4406‐8a67‐7f51b7d085f0                   Address Redacted                     First Class Mail
1968cb9d‐6c68‐4ed1‐8143‐5c0dbb1fe6a7                   Address Redacted                     First Class Mail
196fe392‐cb7b‐4a10‐aacc‐2ba2277aa1ea                   Address Redacted                     First Class Mail
19709db1‐6991‐4e9d‐b13b‐d0fc057256ee                   Address Redacted                     First Class Mail
1975ab4f‐67cd‐4819‐a98a‐8aff7195904a                   Address Redacted                     First Class Mail
1975bd37‐f548‐4e9d‐9f46‐d0e8ad95c9b7                   Address Redacted                     First Class Mail
198459f9‐f558‐4022‐ba48‐79a7744adfb5                   Address Redacted                     First Class Mail
19866b80‐f175‐4354‐92da‐ae4aae5ceb0d                   Address Redacted                     First Class Mail
1986ca93‐8ed0‐4beb‐b04f‐2d084d0a4cf6                   Address Redacted                     First Class Mail
198d2433‐21ad‐47bb‐9698‐60382c3a3ca5                   Address Redacted                     First Class Mail
198f6086‐02ac‐446e‐9341‐5a7c7e226f96                   Address Redacted                     First Class Mail
198fa48f‐15d8‐4660‐9d66‐6270fd66afdf                   Address Redacted                     First Class Mail
1991ad9b‐6644‐4e36‐b86c‐e630787fb2f4                   Address Redacted                     First Class Mail
1996f8b4‐d9cf‐4879‐9cc4‐afb970ab525d                   Address Redacted                     First Class Mail
1997dc2e‐9068‐449b‐876f‐8f37078cd038                   Address Redacted                     First Class Mail
19992bcf‐1e16‐42ab‐a6cb‐22459d56db91                   Address Redacted                     First Class Mail
199c3b52‐1c1a‐437c‐93aa‐10b55d85c814                   Address Redacted                     First Class Mail
199e88c9‐8aca‐4e78‐8ac6‐ad2cf4b55147                   Address Redacted                     First Class Mail
19a0886d‐228d‐4b02‐a8ad‐dccf0a28998e                   Address Redacted                     First Class Mail
19a171d7‐8a39‐4cdb‐805c‐9b7b887a0597                   Address Redacted                     First Class Mail
19ae7c75‐b5f9‐4db3‐9364‐842595055246                   Address Redacted                     First Class Mail
19b12408‐23c0‐49f3‐9cc9‐cc0c5544a82d                   Address Redacted                     First Class Mail
19b16037‐b065‐4f38‐99e1‐97176cf44cdb                   Address Redacted                     First Class Mail
19b1c220‐b96e‐4998‐a254‐376c148b8c2b                   Address Redacted                     First Class Mail
19b529d9‐554e‐4b01‐b864‐a8d5e5d2fc21                   Address Redacted                     First Class Mail
19b5c8aa‐31a8‐4a79‐a119‐e5f5c7a799cb                   Address Redacted                     First Class Mail
19b6b4b5‐0f43‐4b5c‐9aab‐a67e37943dba                   Address Redacted                     First Class Mail
19b883e9‐d2bf‐4cd0‐8c9b‐f80fe2a9f65f                   Address Redacted                     First Class Mail
19bc17f9‐329c‐444c‐9f15‐0dd46b3e7628                   Address Redacted                     First Class Mail
19bc3c82‐ef07‐41e1‐a77b‐36503da93006                   Address Redacted                     First Class Mail
19c05607‐11dc‐43b1‐96d0‐dce8fc86d0fe                   Address Redacted                     First Class Mail
19c8a770‐11c6‐479e‐ac0e‐2b81e67edfd0                   Address Redacted                     First Class Mail
19c9a296‐e506‐4b10‐af3c‐b90c352477c3                   Address Redacted                     First Class Mail
19cc44fc‐244f‐40e9‐b870‐b3e7f1ceef5b                   Address Redacted                     First Class Mail
19cd26c5‐ed4a‐451b‐8bb3‐fa670c2834db                   Address Redacted                     First Class Mail
19cdece3‐0f01‐40af‐b7ab‐d05bca3a894f                   Address Redacted                     First Class Mail
19ce0e37‐d8c0‐4520‐b79d‐fb139a6a898f                   Address Redacted                     First Class Mail
19ce630e‐798d‐40d6‐9870‐36b78eef0466                   Address Redacted                     First Class Mail




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                              Name                                              Address                        Method of Service
19d17233‐55a1‐4c0b‐9978‐84c7b568d8af                   Address Redacted                     First Class Mail
19d3510f‐f886‐42ef‐a640‐b2f31ace28ac                   Address Redacted                     First Class Mail
19d57aef‐d79a‐4b0b‐aaad‐1d4327006ef4                   Address Redacted                     First Class Mail
19e47ce3‐87a5‐4f86‐8803‐74077f488988                   Address Redacted                     First Class Mail
19e50b34‐80ca‐4cb4‐a601‐d7c015f9fd06                   Address Redacted                     First Class Mail
19e5fb0e‐4cb6‐414e‐aec2‐0e5dd9d5099b                   Address Redacted                     First Class Mail
19e89c1f‐b62c‐47e4‐964f‐a34be3f34b69                   Address Redacted                     First Class Mail
19e8aafa‐6074‐4e95‐8533‐9e1d8b8beada                   Address Redacted                     First Class Mail
19eb2a84‐a9b7‐4b89‐9f35‐3a2998f221c5                   Address Redacted                     First Class Mail
19ed5111‐02d7‐4146‐b958‐b638643d58bd                   Address Redacted                     First Class Mail
19ee36ad‐edad‐4fc6‐91b9‐0a0835a37b67                   Address Redacted                     First Class Mail
19eedfe1‐ab5e‐4dff‐8e5c‐1e1ac249d0b6                   Address Redacted                     First Class Mail
19f1dda9‐4929‐4213‐b96d‐c5d70889f5df                   Address Redacted                     First Class Mail
19f48780‐dac0‐41d3‐915d‐75f7373d1b71                   Address Redacted                     First Class Mail
19f5c587‐27bf‐4d14‐a034‐0fc262baab03                   Address Redacted                     First Class Mail
19fb04df‐fbf7‐44aa‐b727‐ab44a381e81c                   Address Redacted                     First Class Mail
19fbd330‐d417‐4ed3‐ab72‐aaf5b926cc04                   Address Redacted                     First Class Mail
19fc10ca‐0bd0‐434c‐a6df‐521d9d19e547                   Address Redacted                     First Class Mail
19fca1ee‐6781‐4591‐895d‐6add2a09786d                   Address Redacted                     First Class Mail
1a02013c‐a6b0‐484a‐9259‐922b61d3567b                   Address Redacted                     First Class Mail
1a065380‐dbd7‐443e‐8fb2‐267e3039776c                   Address Redacted                     First Class Mail
1a0c05f9‐8c8e‐4155‐a70b‐9c1aa9b1fe08                   Address Redacted                     First Class Mail
1a0f8d70‐e835‐4861‐9e04‐c279b2097ba1                   Address Redacted                     First Class Mail
1a0fb27d‐3e48‐4fc4‐a325‐70ab17ce348d                   Address Redacted                     First Class Mail
1a1471a3‐56d3‐4377‐a38b‐bf81ec844eed                   Address Redacted                     First Class Mail
1a173de4‐3154‐44a9‐a808‐eaa72630e482                   Address Redacted                     First Class Mail
1a18bb77‐f28c‐4db9‐9b15‐4e439ff56c26                   Address Redacted                     First Class Mail
1a1a7e78‐cf0b‐444c‐9395‐0a7e21105610                   Address Redacted                     First Class Mail
1a1be49d‐d02c‐4538‐83f0‐05960d994664                   Address Redacted                     First Class Mail
1a1d350b‐99a9‐4196‐995a‐d506ade76b9a                   Address Redacted                     First Class Mail
1a1ddc3e‐b449‐471d‐81bb‐979cb182a64a                   Address Redacted                     First Class Mail
1a1f58cf‐cdd9‐4a21‐a1dd‐ffca536f0dec                   Address Redacted                     First Class Mail
1a1f5d61‐0866‐4a80‐93c5‐3ef2393cd653                   Address Redacted                     First Class Mail
1a2a5bb0‐a8e4‐4ffa‐8387‐b92feedf5f74                   Address Redacted                     First Class Mail
1a2dd3fd‐8ce8‐45dc‐b9ce‐ef82efe0bcf0                   Address Redacted                     First Class Mail
1a2fe9d9‐3484‐480d‐a44b‐e739d1b81930                   Address Redacted                     First Class Mail
1a30d5e9‐582e‐48f7‐8309‐796b87aa4900                   Address Redacted                     First Class Mail
1a36bce7‐470f‐451a‐a5f0‐c7e722381a76                   Address Redacted                     First Class Mail
1a3900a6‐9acd‐4b2d‐b822‐5c98cafad93f                   Address Redacted                     First Class Mail
1a3b6d0a‐c559‐4b76‐a993‐02f118d81deb                   Address Redacted                     First Class Mail
1a3d97b6‐7884‐4ef9‐96dc‐9f551c8b686d                   Address Redacted                     First Class Mail
1a47a727‐188c‐4b27‐ac59‐ea308ec35ed1                   Address Redacted                     First Class Mail
1a4f92ef‐6048‐4615‐8567‐a92a73922479                   Address Redacted                     First Class Mail
1a5167b3‐5776‐4b3b‐bb53‐2b6bf2059413                   Address Redacted                     First Class Mail
1a581d6e‐3bc4‐497d‐9500‐28d66aa53068                   Address Redacted                     First Class Mail
1a58f3fe‐76bf‐44b1‐a6e2‐cf58c1736655                   Address Redacted                     First Class Mail
1a5baa6a‐3626‐4fb7‐971c‐caeb8805c0fd                   Address Redacted                     First Class Mail
1a5e2392‐e108‐4549‐93f5‐b5e88ba1c349                   Address Redacted                     First Class Mail
1a639313‐3f43‐4876‐8510‐a4e25de569da                   Address Redacted                     First Class Mail
1a645a60‐3654‐47bf‐9d5a‐9644de74a743                   Address Redacted                     First Class Mail
1a6b4354‐9d66‐4392‐89cc‐0697a111848e                   Address Redacted                     First Class Mail
1a6df96a‐0baf‐4fcd‐9efd‐5fd363300bd4                   Address Redacted                     First Class Mail
1a6e59f6‐3992‐4caf‐9b80‐efe94625290c                   Address Redacted                     First Class Mail
1a7039f5‐4023‐4a54‐830d‐7492778469ee                   Address Redacted                     First Class Mail
1a7aed29‐5a1d‐49d4‐8a81‐d41b30b0c237                   Address Redacted                     First Class Mail
1a7b9367‐eded‐486b‐a40a‐887ae75291da                   Address Redacted                     First Class Mail
1a80c241‐8b60‐4b05‐92d0‐634a22bdba34                   Address Redacted                     First Class Mail
1a862752‐c366‐4647‐8a3d‐e4c14823ce00                   Address Redacted                     First Class Mail
1a937116‐574c‐48e2‐a615‐e2fa39b49cc7                   Address Redacted                     First Class Mail
1a95d756‐1191‐4f59‐88b3‐026c18387486                   Address Redacted                     First Class Mail
1a9ba742‐62a8‐4167‐b3b4‐d9d56fd56857                   Address Redacted                     First Class Mail
1a9d88f7‐4026‐4c18‐afdc‐99e94446e077                   Address Redacted                     First Class Mail
1aa39b08‐3d61‐4bc7‐9378‐9ae0d48daa03                   Address Redacted                     First Class Mail
1aa5fab0‐6d02‐4b47‐b4b7‐ba8c90f07919                   Address Redacted                     First Class Mail
1aa66fb9‐6dd3‐4280‐8ab6‐b1f2f68c3bc4                   Address Redacted                     First Class Mail
1aa86c29‐f4ec‐4b8b‐a509‐20c20814e31e                   Address Redacted                     First Class Mail
1aa8b7c6‐bf4b‐4cca‐b65c‐1e3d60e669ef                   Address Redacted                     First Class Mail
1ab0d1bd‐6e39‐4dfc‐93f8‐3366dc72b70a                   Address Redacted                     First Class Mail
1ab22bfa‐a472‐42e3‐956a‐49b356149c8f                   Address Redacted                     First Class Mail
1ab3e81e‐9a23‐4615‐9ff9‐edd410a25cac                   Address Redacted                     First Class Mail
1ab8cf7a‐6de1‐44ba‐a213‐7c0ac331e0bb                   Address Redacted                     First Class Mail
1abb89d1‐1e38‐4b44‐8826‐89a391cb2fa3                   Address Redacted                     First Class Mail




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                               Name                                             Address                        Method of Service
1abf2b9e‐f5b4‐4f9d‐832a‐a2e70b0d33e0                   Address Redacted                     First Class Mail
1ac43ae0‐d9b2‐4555‐ad56‐6e591262aac7                   Address Redacted                     First Class Mail
1ad1c402‐893f‐4876‐9afa‐baab48ec069d                   Address Redacted                     First Class Mail
1ad1c7fd‐188f‐4259‐a7e4‐735390eb0cbd                   Address Redacted                     First Class Mail
1ad80a9c‐6f85‐40ff‐801d‐d9c9ca393fd5                   Address Redacted                     First Class Mail
1ad90035‐feba‐4c16‐a615‐24c471762dc2                   Address Redacted                     First Class Mail
1ad99a5b‐1c0d‐450c‐b2a5‐a674df84f25f                   Address Redacted                     First Class Mail
1ad9bc4f‐859c‐4f77‐adc9‐0757f89515d2                   Address Redacted                     First Class Mail
1adafaa2‐7a2d‐42c0‐9571‐5c15adbd5676                   Address Redacted                     First Class Mail
1ade894a‐63b4‐4bbb‐a78a‐39f9586575e3                   Address Redacted                     First Class Mail
1ae21d68‐2d17‐4c93‐922f‐1d4a50d77034                   Address Redacted                     First Class Mail
1ae59171‐ecec‐464e‐bc4c‐d09ff7ca4231                   Address Redacted                     First Class Mail
1ae9f42d‐4149‐47cb‐a022‐6e8d808e4e24                   Address Redacted                     First Class Mail
1aedac3f‐b805‐4806‐bb1e‐afdf304bae4b                   Address Redacted                     First Class Mail
1aedf012‐cd65‐4334‐a61a‐8b522548edb3                   Address Redacted                     First Class Mail
1af467a2‐7d44‐4601‐a562‐232cca5a68cb                   Address Redacted                     First Class Mail
1af5ec13‐11e0‐4b00‐b249‐3eda09216851                   Address Redacted                     First Class Mail
1af7219e‐4329‐42c0‐9ef8‐575264b84d78                   Address Redacted                     First Class Mail
1af88311‐3bbe‐4060‐8a77‐32ed9d5a5f91                   Address Redacted                     First Class Mail
1af8f9e3‐af93‐42a4‐af72‐64d02ff45dcd                   Address Redacted                     First Class Mail
1afd3380‐6946‐4ad4‐bf24‐3246c94ddff9                   Address Redacted                     First Class Mail
1b008543‐2b80‐4650‐b9cb‐55ff01adc8ac                   Address Redacted                     First Class Mail
1b009d3f‐4ac3‐437e‐8b0e‐6933d1bfc3aa                   Address Redacted                     First Class Mail
1b061e2c‐6511‐4d91‐b8ee‐2ff2182fc87e                   Address Redacted                     First Class Mail
1b063053‐df31‐478c‐9eeb‐06930cc25982                   Address Redacted                     First Class Mail
1b072250‐39fb‐44a4‐89b6‐4bf28d67ae18                   Address Redacted                     First Class Mail
1b08c978‐4bc9‐4d23‐89d6‐1d1ad440141d                   Address Redacted                     First Class Mail
1b0f6bb5‐9e47‐4cdd‐b54f‐70284011557b                   Address Redacted                     First Class Mail
1b10c3c5‐84d6‐4ac7‐82b0‐785ab4472802                   Address Redacted                     First Class Mail
1b10dc0c‐6d7c‐4adc‐b712‐dd762ae841f4                   Address Redacted                     First Class Mail
1b111e52‐382c‐4442‐9818‐bed32b1a1a09                   Address Redacted                     First Class Mail
1b132a8f‐5d35‐4fab‐bc65‐08569a592a9a                   Address Redacted                     First Class Mail
1b141d68‐d173‐48af‐9a2b‐3780f5c06843                   Address Redacted                     First Class Mail
1b16e5f8‐1297‐4b0f‐b7ef‐c36bc156491a                   Address Redacted                     First Class Mail
1b21add8‐c8ac‐4339‐94f4‐aa81aa860423                   Address Redacted                     First Class Mail
1b261394‐3816‐4404‐a04d‐a45725d7dbd0                   Address Redacted                     First Class Mail
1b281ee1‐1c1b‐4fe2‐b10e‐7d3ea4027026                   Address Redacted                     First Class Mail
1b28b618‐010c‐47e2‐b1a3‐e33804bb2ba1                   Address Redacted                     First Class Mail
1b2a2f49‐172a‐454d‐a5df‐9914bd9e3a78                   Address Redacted                     First Class Mail
1b2a58af‐6f4c‐4ba8‐bfeb‐7ecb6583ea32                   Address Redacted                     First Class Mail
1b2b4c42‐666b‐41c0‐9ad5‐efee27d04a06                   Address Redacted                     First Class Mail
1b2bd472‐8e08‐4d5a‐a413‐338804c695e2                   Address Redacted                     First Class Mail
1b2d9716‐6af8‐4532‐b3da‐f811e642f7ca                   Address Redacted                     First Class Mail
1b2e9920‐b405‐4ede‐aee7‐49cff4b31c31                   Address Redacted                     First Class Mail
1b305e08‐070f‐4926‐9afc‐68290dcdbae3                   Address Redacted                     First Class Mail
1b31491c‐4a79‐47d2‐99c9‐63f6fb1f3a24                   Address Redacted                     First Class Mail
1b314b7b‐4a0a‐413b‐816b‐b6b8fb2cb2a4                   Address Redacted                     First Class Mail
1b3312e7‐486f‐477f‐ac68‐39cfc2379f9b                   Address Redacted                     First Class Mail
1b345473‐89bc‐474c‐a555‐8f760d8e3efa                   Address Redacted                     First Class Mail
1b3b1d1f‐5d0e‐4467‐ac16‐5417ba861861                   Address Redacted                     First Class Mail
1b3c7886‐4d61‐4b98‐af53‐78be80d60f3c                   Address Redacted                     First Class Mail
1b3d293c‐ae29‐420b‐8e5c‐7a95485f8e73                   Address Redacted                     First Class Mail
1b3d4175‐b4c5‐4e72‐9f98‐c923887ffd3e                   Address Redacted                     First Class Mail
1b3d4523‐1de7‐4cd6‐a86f‐defab691ebb8                   Address Redacted                     First Class Mail
1b4388d6‐e3bd‐4ca9‐91a5‐68ccbf12ee6e                   Address Redacted                     First Class Mail
1b58f2f3‐e455‐4b40‐9c7d‐946c392e620e                   Address Redacted                     First Class Mail
1b59f661‐d895‐47f2‐b317‐e4a769686b40                   Address Redacted                     First Class Mail
1b5b466c‐6e5e‐492d‐acbb‐d6b961878783                   Address Redacted                     First Class Mail
1b5f3a4c‐94bd‐47a6‐a0d9‐a3b77dff6f27                   Address Redacted                     First Class Mail
1b5fbb39‐85d2‐475f‐9f2f‐e6d71a203e54                   Address Redacted                     First Class Mail
1b609582‐518b‐4cfe‐83a2‐df751aa06e51                   Address Redacted                     First Class Mail
1b64d35a‐7ba3‐4d63‐94c0‐b67b486d3aa9                   Address Redacted                     First Class Mail
1b6a8698‐c92e‐4c60‐8dda‐e1ace7b5f489                   Address Redacted                     First Class Mail
1b6c588d‐c0af‐4ef4‐a018‐2927d1b8448e                   Address Redacted                     First Class Mail
1b6e698f‐132d‐4109‐9c8d‐5099abbaa160                   Address Redacted                     First Class Mail
1b70381d‐e46b‐4c8c‐a541‐fdfd5dce3821                   Address Redacted                     First Class Mail
1b7084cc‐2c57‐4bfc‐aaf6‐bfc37ed2184c                   Address Redacted                     First Class Mail
1b71c861‐8f85‐4708‐ab7d‐adab1ffb5bb3                   Address Redacted                     First Class Mail
1b745b9e‐4648‐4ec3‐a3a2‐0db7250230dd                   Address Redacted                     First Class Mail
1b765dc3‐6f32‐4390‐8dc6‐2d9c27edea50                   Address Redacted                     First Class Mail
1b766c0a‐1f1a‐44f2‐ac76‐35c5b912bc32                   Address Redacted                     First Class Mail
1b7c3519‐ce30‐43ed‐8939‐fa8c434bc264                   Address Redacted                     First Class Mail




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                                                                Exhibit A
                                                                 Service List


                              Name                                              Address                        Method of Service
1b808158‐f7b4‐4ef3‐b77f‐a15ee1c0f5bd                   Address Redacted                     First Class Mail
1b80ccda‐6ed0‐4f89‐b0b7‐fef8c59e0ed0                   Address Redacted                     First Class Mail
1b815b57‐efed‐4cdc‐9a94‐bef4498157a0                   Address Redacted                     First Class Mail
1b8503f3‐5917‐4066‐909f‐154c0b7efe70                   Address Redacted                     First Class Mail
1b86d938‐8d62‐4bd4‐9604‐2ce8f4680090                   Address Redacted                     First Class Mail
1b8dd065‐175c‐451f‐bfe4‐0fc2a1d222b3                   Address Redacted                     First Class Mail
1b8f749f‐fadf‐4e60‐94a6‐bc4662ee587b                   Address Redacted                     First Class Mail
1b9298d6‐d006‐46ef‐b843‐16edb71ee7bc                   Address Redacted                     First Class Mail
1b9323df‐d958‐49d7‐bfc7‐0d53bd808d46                   Address Redacted                     First Class Mail
1b9355b0‐b239‐4baf‐abac‐c7583764178c                   Address Redacted                     First Class Mail
1b986b7d‐2508‐4079‐bfff‐a57630e8532c                   Address Redacted                     First Class Mail
1b9893e8‐c0d2‐4b9b‐b263‐56c383a3707d                   Address Redacted                     First Class Mail
1b98c76b‐c818‐40ca‐a796‐758825806fbe                   Address Redacted                     First Class Mail
1b9f211b‐8bcd‐40c2‐9d1c‐fc6de40a2e85                   Address Redacted                     First Class Mail
1ba13009‐4a7c‐4d62‐a887‐4879b4f3f632                   Address Redacted                     First Class Mail
1ba23ea5‐c6bd‐4ba6‐9e2b‐69e3c2f2c9be                   Address Redacted                     First Class Mail
1bad0a03‐2655‐40f6‐941f‐eb0fae827493                   Address Redacted                     First Class Mail
1baf0bcd‐b084‐4e5d‐aa84‐ed4d04b33b4a                   Address Redacted                     First Class Mail
1bb21664‐f9ef‐4eea‐abce‐13618c449ed3                   Address Redacted                     First Class Mail
1bb382fa‐1817‐4566‐bb56‐f6cfb463ea08                   Address Redacted                     First Class Mail
1bb4681c‐f0cc‐40f5‐b495‐dcdfdcc50084                   Address Redacted                     First Class Mail
1bbab2a0‐af88‐4991‐ab07‐b40b6c7780a2                   Address Redacted                     First Class Mail
1bbe0879‐68b2‐4f69‐9a49‐99f4ef11628d                   Address Redacted                     First Class Mail
1bc28862‐a832‐492b‐b2d6‐66570719567b                   Address Redacted                     First Class Mail
1bc3525a‐0006‐4327‐905a‐42a1b7374610                   Address Redacted                     First Class Mail
1bc93da8‐d88c‐4014‐a7e8‐748e72abc6b1                   Address Redacted                     First Class Mail
1bc96a5a‐2b31‐414d‐9a9b‐fb34bed2fe5f                   Address Redacted                     First Class Mail
1bcaf302‐67ce‐411c‐b0c3‐5ffb9a4ea32c                   Address Redacted                     First Class Mail
1bcb455b‐9326‐4958‐8fdf‐219f44ebf237                   Address Redacted                     First Class Mail
1bcbf2b2‐b019‐4d9e‐81ad‐4e5143381a40                   Address Redacted                     First Class Mail
1bd0721d‐3b39‐4dd3‐8d56‐637f34312226                   Address Redacted                     First Class Mail
1bd40478‐b006‐43a6‐8704‐7d149c0b91a0                   Address Redacted                     First Class Mail
1bd424c9‐fefb‐4e12‐a7b4‐e1d114394b02                   Address Redacted                     First Class Mail
1bd49d8f‐4c25‐4a5c‐8a83‐c3f81fa1d9bc                   Address Redacted                     First Class Mail
1bdac9cc‐ca65‐48f4‐8286‐8e9ba370f926                   Address Redacted                     First Class Mail
1bdaf812‐9dc9‐4846‐86f6‐c82573049865                   Address Redacted                     First Class Mail
1be42122‐2212‐4da6‐a506‐423308c3e7be                   Address Redacted                     First Class Mail
1be5aef3‐4a69‐475b‐b923‐b472532c4796                   Address Redacted                     First Class Mail
1be624ed‐c4c2‐4e0c‐851b‐13802133ebde                   Address Redacted                     First Class Mail
1be955b7‐5246‐4764‐93e5‐16be45f76ebd                   Address Redacted                     First Class Mail
1bea6234‐4a83‐41de‐9781‐6b9ee8251194                   Address Redacted                     First Class Mail
1bebbdca‐3f93‐45ba‐91bc‐8bf059ebc2b5                   Address Redacted                     First Class Mail
1bec2466‐b32a‐4612‐aec8‐4f5b4ddbf463                   Address Redacted                     First Class Mail
1bedde97‐4127‐4db7‐9c02‐697fec5d2f27                   Address Redacted                     First Class Mail
1beee86b‐c61b‐48cb‐89f1‐6e567831d6ef                   Address Redacted                     First Class Mail
1beee9da‐e79e‐4c1e‐9048‐2f10675ae88e                   Address Redacted                     First Class Mail
1bf0ddba‐0f92‐4bc3‐a548‐5a4f7d23d20e                   Address Redacted                     First Class Mail
1bf1d038‐b93a‐4d02‐8a3c‐6e349e00a600                   Address Redacted                     First Class Mail
1bf8874a‐3d04‐4118‐8b40‐270775e9c106                   Address Redacted                     First Class Mail
1c0501a3‐0872‐48de‐96ad‐8bf9934b2c69                   Address Redacted                     First Class Mail
1c055bc9‐225f‐42aa‐b610‐517c1482cc7c                   Address Redacted                     First Class Mail
1c059190‐dc7e‐4190‐8b21‐62ecc13c3ed2                   Address Redacted                     First Class Mail
1c0690ca‐33b6‐4c7b‐8904‐f5480874adf2                   Address Redacted                     First Class Mail
1c072ee4‐f8f0‐40f8‐b68c‐362472366197                   Address Redacted                     First Class Mail
1c07d49a‐8645‐4601‐87a0‐d1110ed94e22                   Address Redacted                     First Class Mail
1c0b4648‐4aa1‐4e83‐8015‐916c1f6938aa                   Address Redacted                     First Class Mail
1c0e312b‐7c6c‐491e‐8ad5‐30374d80cd22                   Address Redacted                     First Class Mail
1c125a89‐eb61‐45de‐af15‐2271702724a0                   Address Redacted                     First Class Mail
1c1408f9‐4e83‐4d8f‐9bdc‐d3ea79ca294d                   Address Redacted                     First Class Mail
1c14c186‐9568‐41ef‐91ea‐112e61d56503                   Address Redacted                     First Class Mail
1c18ed67‐083e‐4925‐81dc‐d73cf7c66234                   Address Redacted                     First Class Mail
1c1a83f2‐c876‐40fd‐b1a8‐d9005c19c9c9                   Address Redacted                     First Class Mail
1c1f38af‐2147‐472e‐bfbd‐254c2bd06c0f                   Address Redacted                     First Class Mail
1c25877e‐8a7c‐474c‐938b‐736596121a9f                   Address Redacted                     First Class Mail
1c2aac47‐9d10‐4042‐a1ee‐7b81105dcd59                   Address Redacted                     First Class Mail
1c2d3638‐6126‐4ddc‐a889‐cb07ebcbc237                   Address Redacted                     First Class Mail
1c3725c1‐2964‐4f03‐9c45‐936be303f131                   Address Redacted                     First Class Mail
1c37de4c‐5828‐4bab‐aca9‐f5abb0326542                   Address Redacted                     First Class Mail
1c38af60‐1d25‐4f3a‐8d76‐f391d4d8ece0                   Address Redacted                     First Class Mail
1c3978ee‐d4b5‐4896‐9304‐1f2007d6bd8f                   Address Redacted                     First Class Mail
1c39df5f‐8004‐407c‐8010‐7b4687ce7150                   Address Redacted                     First Class Mail
1c3bf370‐bad1‐42dd‐a48f‐797cd3226b98                   Address Redacted                     First Class Mail




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                              Name                                              Address                        Method of Service
1c413d6f‐33bb‐4c0b‐b646‐bca45fbd0313                   Address Redacted                     First Class Mail
1c41f401‐e426‐408a‐8d24‐705512006502                   Address Redacted                     First Class Mail
1c4224c2‐4774‐4b53‐965e‐776dc81051ac                   Address Redacted                     First Class Mail
1c441b07‐2000‐4652‐9e8d‐6eca7819e1e5                   Address Redacted                     First Class Mail
1c454a10‐0cc8‐4cf6‐bcd4‐186db6ea817f                   Address Redacted                     First Class Mail
1c4654b5‐8f91‐45db‐8411‐87a0f415605b                   Address Redacted                     First Class Mail
1c46d060‐6f3d‐4730‐974f‐ff0c3bcc2447                   Address Redacted                     First Class Mail
1c48a280‐ddd5‐45f2‐a390‐c08156f2f57a                   Address Redacted                     First Class Mail
1c4a8f29‐0a3f‐4304‐90a0‐6b41f47211b5                   Address Redacted                     First Class Mail
1c4b9166‐b95c‐4904‐90a3‐69a94ab79b1e                   Address Redacted                     First Class Mail
1c4e47d9‐c8f0‐47e7‐9f4f‐e8e96d373d16                   Address Redacted                     First Class Mail
1c5335eb‐e151‐47fb‐a9dc‐765619491456                   Address Redacted                     First Class Mail
1c539242‐d38e‐495b‐a0bf‐0d1d1cccc9fc                   Address Redacted                     First Class Mail
1c5516a3‐3fd0‐4318‐8466‐1010a970d426                   Address Redacted                     First Class Mail
1c5d2c01‐f6d0‐4c13‐85b4‐a4199d52d0b1                   Address Redacted                     First Class Mail
1c5fad49‐63c2‐4750‐8a7a‐7d4c74189ef1                   Address Redacted                     First Class Mail
1c63d048‐9b8b‐4eb4‐8438‐729c8a32267c                   Address Redacted                     First Class Mail
1c652475‐27f2‐4f84‐beab‐f82540284953                   Address Redacted                     First Class Mail
1c6760d6‐9efb‐4e3c‐83ac‐6cfe34e53a54                   Address Redacted                     First Class Mail
1c6efdbc‐e9b9‐48f5‐b226‐6bb6d893df4c                   Address Redacted                     First Class Mail
1c77ebc8‐b4e3‐431c‐b771‐adb158eac039                   Address Redacted                     First Class Mail
1c781d6c‐b074‐4f1f‐aefb‐a978a44ee5c5                   Address Redacted                     First Class Mail
1c829055‐25cf‐44d7‐a4f1‐fab072c252e0                   Address Redacted                     First Class Mail
1c88c8e2‐eeaf‐4fb4‐869e‐61a6544ba48e                   Address Redacted                     First Class Mail
1c8a4aa5‐4ce7‐41aa‐815c‐d3ebee5cf492                   Address Redacted                     First Class Mail
1c8a9148‐a65a‐47fc‐b4b9‐c085fdb29d84                   Address Redacted                     First Class Mail
1c8aae45‐bfb7‐4a99‐94ee‐01b3d7d67b6e                   Address Redacted                     First Class Mail
1c8b6382‐f03e‐486e‐a92c‐4b75b3aa3518                   Address Redacted                     First Class Mail
1c8ca7ab‐512c‐4d72‐8153‐6237bac05395                   Address Redacted                     First Class Mail
1c8e912b‐8d24‐47dc‐a196‐0909c0ab5505                   Address Redacted                     First Class Mail
1c940ea3‐35be‐4515‐8709‐6d31fb9b1307                   Address Redacted                     First Class Mail
1c9ab08d‐4ad4‐4ffa‐a872‐d242b1535a3b                   Address Redacted                     First Class Mail
1c9ab17a‐777a‐40c2‐97dc‐5614baf1d73c                   Address Redacted                     First Class Mail
1c9cb148‐f9d2‐448d‐9677‐36645daa1dc5                   Address Redacted                     First Class Mail
1c9f69c1‐0b1f‐466b‐9108‐53e391caed05                   Address Redacted                     First Class Mail
1ca0b75e‐65b0‐42f9‐ad2a‐4eb43b1dab79                   Address Redacted                     First Class Mail
1ca12d81‐f0bb‐4ad9‐9993‐f3135abe10e3                   Address Redacted                     First Class Mail
1ca32b02‐7122‐4b22‐9275‐e2c9dfe61e01                   Address Redacted                     First Class Mail
1ca464d2‐aa99‐43d1‐b36d‐b8e3d236ff6d                   Address Redacted                     First Class Mail
1ca4c8dd‐386f‐44e9‐8ebe‐af44e0703052                   Address Redacted                     First Class Mail
1ca5e639‐9404‐4b3a‐816a‐7055b29ae154                   Address Redacted                     First Class Mail
1ca61153‐6e84‐4c48‐b470‐8e17d83266cf                   Address Redacted                     First Class Mail
1ca772fe‐2f6a‐40cb‐91a9‐9c47ee49633d                   Address Redacted                     First Class Mail
1ca8dd48‐2159‐4eb4‐a185‐deecb6f353e2                   Address Redacted                     First Class Mail
1cabf965‐5214‐43b5‐8ccf‐4365e8d9672c                   Address Redacted                     First Class Mail
1cad137c‐5f5e‐46aa‐a466‐0a244f743dcb                   Address Redacted                     First Class Mail
1caddd2b‐b688‐4222‐acf9‐eceb77ed634e                   Address Redacted                     First Class Mail
1cade4e6‐09fd‐4e12‐bcda‐07f2084b3c2b                   Address Redacted                     First Class Mail
1caeb911‐9fbc‐4c2c‐89bc‐afe98e9aa5f5                   Address Redacted                     First Class Mail
1cb1219b‐4511‐4e49‐8fe8‐38ee070dd0d9                   Address Redacted                     First Class Mail
1cb18525‐9921‐4334‐b132‐5ac8fd37d8d4                   Address Redacted                     First Class Mail
1cb3666d‐ee7d‐4b31‐892c‐8e5c5b29fb74                   Address Redacted                     First Class Mail
1cb60e20‐ea9e‐4872‐b1ad‐2403b2df3910                   Address Redacted                     First Class Mail
1cbaadb5‐d1d9‐4e82‐a40c‐46c3f92e7eae                   Address Redacted                     First Class Mail
1cbb4e4b‐d989‐42d8‐acf8‐c60d0f4900c3                   Address Redacted                     First Class Mail
1cbdeb52‐c5c5‐4349‐b4bf‐b7384c79f8bf                   Address Redacted                     First Class Mail
1cc051a7‐0780‐490f‐824c‐8b335ea66246                   Address Redacted                     First Class Mail
1cc1eb50‐6162‐4094‐b669‐61ddc80d885a                   Address Redacted                     First Class Mail
1cc35a08‐4226‐4435‐8804‐b3aee6bf6542                   Address Redacted                     First Class Mail
1cc3fd8b‐0fb1‐408f‐ac36‐12736c0906b9                   Address Redacted                     First Class Mail
1cc433a7‐be2a‐4bff‐baa6‐4c5d6558ce09                   Address Redacted                     First Class Mail
1ccb8f01‐cfed‐41c8‐a606‐4407846519f6                   Address Redacted                     First Class Mail
1ccbb190‐3455‐48ee‐9506‐8206d1f0eee0                   Address Redacted                     First Class Mail
1cccc3b0‐5327‐4073‐961a‐5cc580cd37cc                   Address Redacted                     First Class Mail
1ccce480‐652a‐4b9a‐9179‐ad07c54bd754                   Address Redacted                     First Class Mail
1cd0f363‐5a7d‐49f9‐a71b‐9e0e0f952fcb                   Address Redacted                     First Class Mail
1cd1d0ba‐3cf1‐494b‐8315‐1654b5bfbf3c                   Address Redacted                     First Class Mail
1cd2d5e7‐8e18‐410a‐b9ca‐2801d8598a46                   Address Redacted                     First Class Mail
1cd3287a‐708f‐42de‐b479‐e7baf7e77198                   Address Redacted                     First Class Mail
1cd7ac46‐c7af‐43ad‐8df3‐0ebbfd6515c6                   Address Redacted                     First Class Mail
1cda6f26‐698a‐4b42‐b4c5‐6470086ab55b                   Address Redacted                     First Class Mail
1cde5266‐c0d7‐42af‐baf6‐ea043c98e6ab                   Address Redacted                     First Class Mail




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                              Name                                              Address                        Method of Service
1ce19975‐8c3f‐44b7‐a046‐a626c254b0ed                   Address Redacted                     First Class Mail
1ce2658b‐ba34‐4fe4‐8135‐3a7c85544bc0                   Address Redacted                     First Class Mail
1ce4ffc3‐dc6e‐4dd8‐8933‐d8cb621460f4                   Address Redacted                     First Class Mail
1ce5b1b4‐5b34‐4745‐a29d‐c760b7f86a39                   Address Redacted                     First Class Mail
1ce63797‐589a‐4bd5‐b615‐d61c778b3267                   Address Redacted                     First Class Mail
1ce8a6e6‐f1bc‐4c62‐a20d‐32977f1cead2                   Address Redacted                     First Class Mail
1ceb3f4d‐6312‐4a1f‐a328‐231d63a50a11                   Address Redacted                     First Class Mail
1cee9b80‐1330‐42ec‐bd83‐882176b25020                   Address Redacted                     First Class Mail
1cefa7dd‐a2dd‐40a5‐b477‐2e3217130dab                   Address Redacted                     First Class Mail
1cffd9ed‐72be‐4ed8‐a906‐e40960f37f04                   Address Redacted                     First Class Mail
1d00316a‐9e88‐4b92‐86bc‐ca663b544c6f                   Address Redacted                     First Class Mail
1d02521d‐f4b8‐4811‐9639‐9ae321a3c539                   Address Redacted                     First Class Mail
1d08c6b4‐4f23‐4332‐b29e‐dd7d7fd9efeb                   Address Redacted                     First Class Mail
1d0984c9‐3b5f‐405f‐9ab2‐416bc421a273                   Address Redacted                     First Class Mail
1d09d3fe‐b774‐404e‐895e‐ec56be5f6ca4                   Address Redacted                     First Class Mail
1d09eef7‐bb7a‐4653‐a753‐93d812148e4c                   Address Redacted                     First Class Mail
1d0cd5f8‐11ad‐4d97‐a301‐7b9cae63da3b                   Address Redacted                     First Class Mail
1d115298‐9fcc‐4bf7‐97f6‐958d2bf2026a                   Address Redacted                     First Class Mail
1d1b088f‐9b52‐4913‐9915‐6516299b6a37                   Address Redacted                     First Class Mail
1d2052a0‐2470‐4e6e‐b687‐dfb351b9b899                   Address Redacted                     First Class Mail
1d2062a5‐fb54‐4a49‐bd51‐01bb39d27768                   Address Redacted                     First Class Mail
1d206606‐0181‐41dd‐acb1‐750ee556a18e                   Address Redacted                     First Class Mail
1d23ba05‐6e29‐40f0‐aef9‐47f3d893f0cf                   Address Redacted                     First Class Mail
1d288d53‐a2d4‐419b‐9356‐8c478959be6f                   Address Redacted                     First Class Mail
1d2a679e‐9cc5‐4d84‐891f‐d2f7856938c3                   Address Redacted                     First Class Mail
1d2a919e‐a4fb‐4cb6‐840d‐4a126a6ae36a                   Address Redacted                     First Class Mail
1d2aabe6‐aa92‐4451‐90ed‐8bd57e2e16bd                   Address Redacted                     First Class Mail
1d2c2a2a‐b626‐4646‐957d‐3f109b9b5a40                   Address Redacted                     First Class Mail
1d2d6d8d‐514a‐4e82‐a509‐8a5e030b6980                   Address Redacted                     First Class Mail
1d2f79b7‐09d0‐4cb4‐b772‐c3dbc8a7e29e                   Address Redacted                     First Class Mail
1d3050b1‐cbad‐458b‐92e6‐b56ccc89cc1c                   Address Redacted                     First Class Mail
1d3246e7‐7b0c‐410f‐bcf3‐234bbd4ac3e3                   Address Redacted                     First Class Mail
1d3c5ebb‐36a5‐4db4‐826c‐b2c34399070f                   Address Redacted                     First Class Mail
1d4014c7‐4730‐440e‐975d‐f9195c5d21f0                   Address Redacted                     First Class Mail
1d41ddc9‐9ead‐4bb1‐96fa‐5ed8e0d3a7d9                   Address Redacted                     First Class Mail
1d4761dc‐247f‐418d‐8322‐1093ab154303                   Address Redacted                     First Class Mail
1d47664b‐9404‐4614‐abbc‐e19bf19147b0                   Address Redacted                     First Class Mail
1d50e83e‐f9d3‐45d5‐8df2‐feeeb4f5b505                   Address Redacted                     First Class Mail
1d52045f‐48fa‐4273‐9b5c‐2f726f78bd2d                   Address Redacted                     First Class Mail
1d540f74‐23c2‐451d‐b1dd‐2487ce93b54c                   Address Redacted                     First Class Mail
1d5594cd‐0ad8‐4e2a‐a36c‐45f9d64788b1                   Address Redacted                     First Class Mail
1d56f659‐8713‐4bee‐a376‐8f53c2d78eac                   Address Redacted                     First Class Mail
1d58357e‐a2b0‐422b‐a370‐a88637b8e4ca                   Address Redacted                     First Class Mail
1d5acee5‐461d‐46ae‐a8f8‐758bcadd424d                   Address Redacted                     First Class Mail
1d5b04ce‐f0fc‐4c1a‐beb9‐0437b6e54459                   Address Redacted                     First Class Mail
1d5b61a9‐e8c7‐4d7a‐a87f‐a7814c5975b4                   Address Redacted                     First Class Mail
1d5ceb40‐2197‐4ec0‐a761‐1ec45203b8e0                   Address Redacted                     First Class Mail
1d604fcf‐f7bb‐456e‐b8e1‐14e38de3bd8e                   Address Redacted                     First Class Mail
1d60afd2‐e593‐48d2‐84c9‐89d5fac86870                   Address Redacted                     First Class Mail
1d60c6a3‐9cbd‐4031‐9f92‐cda27c1db2b4                   Address Redacted                     First Class Mail
1d610bd2‐7a1f‐43a3‐953a‐e41169564053                   Address Redacted                     First Class Mail
1d6463d0‐f52f‐46a8‐a8ea‐cd34868abf4a                   Address Redacted                     First Class Mail
1d66de2e‐631a‐4563‐9cbc‐9429968bb63f                   Address Redacted                     First Class Mail
1d6a72e2‐e15c‐4300‐9822‐98ceb38de90e                   Address Redacted                     First Class Mail
1d6ad0a3‐420a‐4198‐90fd‐93f467015d50                   Address Redacted                     First Class Mail
1d6b6fc7‐a699‐4c56‐96ab‐cac47145ee98                   Address Redacted                     First Class Mail
1d6c1fd7‐add4‐404d‐8ce3‐b8009557ce2a                   Address Redacted                     First Class Mail
1d70e30f‐b8d4‐4ad4‐9992‐29e228d4a32d                   Address Redacted                     First Class Mail
1d7151bb‐a0a5‐4ada‐8d09‐615cd7ac7a64                   Address Redacted                     First Class Mail
1d7160c5‐1375‐4605‐aaa6‐02452dd1c9c8                   Address Redacted                     First Class Mail
1d727022‐59a1‐428f‐a2bc‐abbd1412a1e5                   Address Redacted                     First Class Mail
1d7602d9‐2493‐48a6‐b8ab‐3d05a8f1f9d6                   Address Redacted                     First Class Mail
1d7920b1‐8355‐4317‐bb91‐d321ec73aa66                   Address Redacted                     First Class Mail
1d7a46de‐80e4‐47be‐9b59‐64a20a415c18                   Address Redacted                     First Class Mail
1d7aa59a‐7bf9‐4f45‐838d‐e6fad36b4803                   Address Redacted                     First Class Mail
1d7b8d9c‐42a1‐4fd7‐8094‐ddbdc3eadee9                   Address Redacted                     First Class Mail
1d7c7eb3‐3cb4‐478a‐b531‐f6c2a845aac7                   Address Redacted                     First Class Mail
1d7d69fc‐8575‐4771‐bf77‐3a61d1458965                   Address Redacted                     First Class Mail
1d7fa444‐b4e3‐4b38‐80e5‐d8d148f2880b                   Address Redacted                     First Class Mail
1d8515b7‐bb10‐4438‐8a78‐dac33e75ad0a                   Address Redacted                     First Class Mail
1d854341‐b63c‐43e9‐b7db‐7598865ef7e7                   Address Redacted                     First Class Mail
1d8ac42b‐6559‐4839‐b2ad‐be190d3316e6                   Address Redacted                     First Class Mail




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                                                                Exhibit A
                                                                 Service List


                               Name                                             Address                        Method of Service
1d8d6fd7‐81e2‐4bc4‐ae4a‐82105a350995                   Address Redacted                     First Class Mail
1d8db64e‐c965‐4973‐bf62‐c6a2dbc5acc5                   Address Redacted                     First Class Mail
1d8ecc0a‐965d‐43d4‐9a63‐5148a8eed5fe                   Address Redacted                     First Class Mail
1d8f3e6f‐650f‐4968‐846d‐75f79a5cb697                   Address Redacted                     First Class Mail
1d98cf17‐88f0‐4fb5‐836c‐7aa5edc206a0                   Address Redacted                     First Class Mail
1d98d091‐37e8‐469a‐9f8c‐203119f788a9                   Address Redacted                     First Class Mail
1d9a21c1‐2e27‐4b44‐ba60‐9abb9659fb94                   Address Redacted                     First Class Mail
1da3a742‐d590‐4cce‐bb68‐907d4b08a79a                   Address Redacted                     First Class Mail
1da5b3ed‐2034‐4237‐8c43‐ab1b3a517ecb                   Address Redacted                     First Class Mail
1da8a13d‐a2f4‐4021‐94fc‐01e3b47d6754                   Address Redacted                     First Class Mail
1da98c8c‐8d27‐4d63‐96b7‐b4687c36137b                   Address Redacted                     First Class Mail
1da9d193‐277f‐4901‐82a4‐bb76fa08945d                   Address Redacted                     First Class Mail
1dab513d‐14fb‐471d‐b9f1‐f4c6d149e58e                   Address Redacted                     First Class Mail
1dab8e01‐7c34‐4972‐a8c2‐b8f75aee4683                   Address Redacted                     First Class Mail
1dabcb33‐e2fc‐4562‐b14a‐94c747cbb21d                   Address Redacted                     First Class Mail
1dabfcd4‐225a‐4dbe‐8ff5‐2bec5fd78227                   Address Redacted                     First Class Mail
1daea97c‐a57b‐4cef‐a8f6‐f582c9400f98                   Address Redacted                     First Class Mail
1daf37a2‐3561‐45c2‐bd76‐812e8fb45c52                   Address Redacted                     First Class Mail
1db0a489‐c6b9‐45ec‐8d28‐2358440bdeb8                   Address Redacted                     First Class Mail
1db1082b‐d59f‐483f‐868d‐c6dca6c9f101                   Address Redacted                     First Class Mail
1db3bd95‐6381‐4fe3‐835a‐8fc9e2193dc4                   Address Redacted                     First Class Mail
1db9e423‐9097‐41c9‐9b46‐4146efe850a6                   Address Redacted                     First Class Mail
1dbbe864‐cdda‐4bca‐9531‐e5d3440489e4                   Address Redacted                     First Class Mail
1dbd7785‐c4b6‐46ed‐934c‐a08f60c23ed6                   Address Redacted                     First Class Mail
1dc12b6f‐e686‐4f5a‐b140‐0a6cd09db4bf                   Address Redacted                     First Class Mail
1dc2acdf‐edef‐45fa‐ba8d‐f6357852dac5                   Address Redacted                     First Class Mail
1dc7191e‐2eee‐4b34‐99c9‐f63a51935b0a                   Address Redacted                     First Class Mail
1dcc7e53‐2160‐47e0‐9f6b‐2c604024d0fb                   Address Redacted                     First Class Mail
1dccec11‐1b00‐46e4‐93e5‐1608794635c5                   Address Redacted                     First Class Mail
1dce2798‐628d‐405c‐be88‐cd059c94ba5d                   Address Redacted                     First Class Mail
1dce8a03‐2d06‐4352‐a772‐5fb04070468e                   Address Redacted                     First Class Mail
1dd59abd‐ca89‐4cea‐889b‐3a71aeba7fa2                   Address Redacted                     First Class Mail
1dd8a374‐0b99‐4ed1‐8a26‐ccf2013ba612                   Address Redacted                     First Class Mail
1ddd370a‐00da‐4c2b‐a939‐6f8cfb0e4718                   Address Redacted                     First Class Mail
1de28701‐4d25‐41d7‐b0ce‐7d30f840838b                   Address Redacted                     First Class Mail
1de53d1e‐84e5‐4734‐9bea‐64a1e5cdc039                   Address Redacted                     First Class Mail
1de5bebe‐2cbb‐4835‐b88b‐cea99e069f0d                   Address Redacted                     First Class Mail
1de67b35‐5643‐4ab3‐a599‐7cd490845e49                   Address Redacted                     First Class Mail
1de740b8‐cff9‐4833‐8fc7‐c06c64c93cc2                   Address Redacted                     First Class Mail
1de98396‐2880‐4099‐b4ab‐80c8903b683f                   Address Redacted                     First Class Mail
1de98739‐42f0‐4ef9‐a477‐3a82e8bb7a7f                   Address Redacted                     First Class Mail
1ded2fee‐9e37‐4d51‐9a00‐61f22089fbb9                   Address Redacted                     First Class Mail
1def6f77‐dd11‐4773‐88e2‐276d6051d299                   Address Redacted                     First Class Mail
1df3f1c3‐9634‐4239‐a479‐1e04d28d3b71                   Address Redacted                     First Class Mail
1df78868‐96dd‐45aa‐baf0‐f820d285fd5f                   Address Redacted                     First Class Mail
1dfad7e2‐829b‐4fdf‐9101‐cfd8291330f1                   Address Redacted                     First Class Mail
1dfcbf83‐6f9c‐408a‐ba88‐68ffefb7341e                   Address Redacted                     First Class Mail
1e00122d‐958a‐447c‐af83‐1c2bbc9efb3f                   Address Redacted                     First Class Mail
1e03442d‐718d‐4411‐83aa‐5c460b52e592                   Address Redacted                     First Class Mail
1e05746d‐64b8‐41c4‐ad3f‐62ebfe0e8225                   Address Redacted                     First Class Mail
1e062e8d‐26e0‐4e9a‐85d3‐242e3f6ae657                   Address Redacted                     First Class Mail
1e0c9c11‐bf50‐49db‐9e75‐6d1be275b415                   Address Redacted                     First Class Mail
1e0e648d‐adc3‐455c‐aed9‐7b8621bdad08                   Address Redacted                     First Class Mail
1e0f6ddc‐7a94‐4aaa‐a4d0‐000035a89bb7                   Address Redacted                     First Class Mail
1e11130e‐594c‐41ca‐87a3‐aa63b6158b02                   Address Redacted                     First Class Mail
1e1363c4‐0e17‐4632‐a3bf‐d895d65e6334                   Address Redacted                     First Class Mail
1e13db2b‐ba7f‐41cb‐b0f7‐f3002814cde1                   Address Redacted                     First Class Mail
1e15c653‐0b8f‐4746‐88b5‐cabd75eea1e5                   Address Redacted                     First Class Mail
1e15fe08‐522c‐4907‐8d9e‐5329d779e9d6                   Address Redacted                     First Class Mail
1e1734e0‐45d0‐4f44‐b5ae‐be76f41d5ddc                   Address Redacted                     First Class Mail
1e17cae0‐e08a‐46b9‐b39e‐e9a919795427                   Address Redacted                     First Class Mail
1e18b7f0‐f602‐40a1‐b044‐19eec97e5d33                   Address Redacted                     First Class Mail
1e19553f‐2a51‐434f‐8642‐153d7f5d6711                   Address Redacted                     First Class Mail
1e2b62fc‐c06b‐4597‐87b9‐78daa598d4ae                   Address Redacted                     First Class Mail
1e36b56b‐948e‐4986‐b175‐22aea51f26b8                   Address Redacted                     First Class Mail
1e3af596‐0294‐4de1‐b8fa‐63767e1ddbf2                   Address Redacted                     First Class Mail
1e3bb617‐2cd5‐41d1‐951e‐066c6344e82a                   Address Redacted                     First Class Mail
1e3d71d4‐06b0‐42cb‐a1dd‐0317ce046955                   Address Redacted                     First Class Mail
1e3f9075‐5bf1‐4dca‐bc8e‐82799f67a3e9                   Address Redacted                     First Class Mail
1e3fb987‐8587‐4d43‐aa1f‐33be5b8da318                   Address Redacted                     First Class Mail
1e422d57‐c8ab‐4cb1‐915e‐7d64408b127b                   Address Redacted                     First Class Mail
1e426afd‐50b5‐42f1‐a200‐ca13391c8691                   Address Redacted                     First Class Mail




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                              Name                                              Address                        Method of Service
1e42873d‐c4ad‐4ef4‐b166‐23c919126a09                   Address Redacted                     First Class Mail
1e441f0f‐4c78‐4b4e‐a183‐63a700d5fb1a                   Address Redacted                     First Class Mail
1e44f812‐f5d1‐43ed‐af05‐f63d54552b3f                   Address Redacted                     First Class Mail
1e458992‐3fb6‐480f‐bd49‐c0b2db15e353                   Address Redacted                     First Class Mail
1e482811‐ba7b‐432b‐864c‐02f61d9388e6                   Address Redacted                     First Class Mail
1e48cea0‐d8a9‐4d6a‐82b5‐7e9b0adc3f21                   Address Redacted                     First Class Mail
1e48d466‐200c‐42d1‐91da‐a62cbb30ec13                   Address Redacted                     First Class Mail
1e4a743d‐2a69‐41b6‐959a‐f1837e07c521                   Address Redacted                     First Class Mail
1e4deb59‐e223‐4247‐8970‐8a9cc014fe56                   Address Redacted                     First Class Mail
1e505603‐68b7‐4e86‐8f80‐a9304b5439a1                   Address Redacted                     First Class Mail
1e524c02‐9d90‐4250‐8cfb‐d5162539c353                   Address Redacted                     First Class Mail
1e53d01e‐5ccb‐4dfa‐bd95‐ae9822f38c63                   Address Redacted                     First Class Mail
1e54eee6‐e44b‐4c31‐b496‐93b830a7f8d2                   Address Redacted                     First Class Mail
1e58a80e‐823a‐4eb9‐a27c‐fba098efce21                   Address Redacted                     First Class Mail
1e5fe0c6‐2adb‐49d0‐98e3‐331f652c8c50                   Address Redacted                     First Class Mail
1e608a67‐013e‐4949‐8c4e‐01fa2210f3c9                   Address Redacted                     First Class Mail
1e61ad5a‐25a0‐4b85‐9e18‐55b9550119d9                   Address Redacted                     First Class Mail
1e65b962‐e37a‐4e39‐953e‐431853b26e1d                   Address Redacted                     First Class Mail
1e670c84‐d3f9‐43bd‐b9c7‐4faa8863f6de                   Address Redacted                     First Class Mail
1e68550d‐aa51‐4c0a‐abc4‐fa8875027e85                   Address Redacted                     First Class Mail
1e6a64ea‐e427‐458e‐8b21‐80c0ac0a8cc0                   Address Redacted                     First Class Mail
1e6cd94e‐7e74‐4838‐bbdc‐75691e9a9428                   Address Redacted                     First Class Mail
1e6f77ac‐39e9‐4053‐8213‐50387b11d9ee                   Address Redacted                     First Class Mail
1e71e8c5‐5113‐4b04‐9a5f‐864e6a4361cf                   Address Redacted                     First Class Mail
1e75a093‐61ce‐4c64‐93e9‐d8b999bd37ca                   Address Redacted                     First Class Mail
1e7655b2‐6262‐4892‐9a9c‐bd2af14fe046                   Address Redacted                     First Class Mail
1e7669d3‐cfeb‐469c‐9afa‐15adcfec258c                   Address Redacted                     First Class Mail
1e7b5fad‐4097‐43d9‐95f4‐1abbb004009e                   Address Redacted                     First Class Mail
1e7ce556‐bbf8‐45a5‐b4a8‐ff4c0b76688b                   Address Redacted                     First Class Mail
1e7d40f9‐5192‐432f‐b1c3‐e41eee6f45f3                   Address Redacted                     First Class Mail
1e7e6a44‐2832‐4a2c‐a6c0‐1ec755160c99                   Address Redacted                     First Class Mail
1e81a769‐2d01‐4b79‐ae15‐99135c284b6b                   Address Redacted                     First Class Mail
1e81b47a‐c0da‐4808‐8ce8‐d537e6ec85b9                   Address Redacted                     First Class Mail
1e8b7020‐f070‐485c‐9421‐e7d1177f5fa4                   Address Redacted                     First Class Mail
1e8e430a‐b25a‐4f7d‐87d1‐5a260fe601c3                   Address Redacted                     First Class Mail
1e932a88‐5311‐46a7‐a31d‐5c03862879c2                   Address Redacted                     First Class Mail
1e95a5f1‐91b0‐46c5‐a2b3‐4803df43416a                   Address Redacted                     First Class Mail
1e9e0caa‐503a‐4ca7‐b1a0‐6bb2787f8eb1                   Address Redacted                     First Class Mail
1e9f3270‐5dd2‐4e13‐aaaf‐2bc5057c0fa4                   Address Redacted                     First Class Mail
1ea302f7‐1235‐43cd‐8162‐f9b1ca24e8ec                   Address Redacted                     First Class Mail
1ea4a448‐380f‐460f‐b3be‐080cb711f45d                   Address Redacted                     First Class Mail
1ea4e994‐d6b5‐4f3f‐8aa8‐38973c416ec6                   Address Redacted                     First Class Mail
1ea50a47‐1960‐4aff‐850e‐bc97b31e9217                   Address Redacted                     First Class Mail
1ea614a5‐48e2‐4900‐9cad‐8cf710aebfbd                   Address Redacted                     First Class Mail
1ea6e335‐7737‐4784‐8cb4‐8c6ad102eaac                   Address Redacted                     First Class Mail
1ea85784‐d08c‐42e4‐a810‐582c166d9b18                   Address Redacted                     First Class Mail
1eb259bc‐54bb‐471e‐adf7‐ef14a33d80fa                   Address Redacted                     First Class Mail
1eb44d4a‐7cd5‐447f‐9859‐401d4f95fd1b                   Address Redacted                     First Class Mail
1eb575d0‐9ab8‐48e0‐8db6‐339e7de566d6                   Address Redacted                     First Class Mail
1eb69c6b‐09bd‐4f1c‐be32‐23786471f798                   Address Redacted                     First Class Mail
1eb6d3b1‐e084‐463d‐9bc8‐7d51901faa6c                   Address Redacted                     First Class Mail
1eb7cf81‐f2ec‐42e5‐8239‐952322a118d7                   Address Redacted                     First Class Mail
1eb8230f‐0920‐45de‐960c‐90ea51463c38                   Address Redacted                     First Class Mail
1ebac74d‐eeba‐4d46‐9822‐45ec2f98eff4                   Address Redacted                     First Class Mail
1ebbaeda‐fd4a‐4159‐9817‐e9484a1719db                   Address Redacted                     First Class Mail
1ebde6c1‐3a44‐45b2‐b271‐7c27269cdeef                   Address Redacted                     First Class Mail
1ebf5a7c‐7042‐444c‐ae7f‐8a600fe06ee5                   Address Redacted                     First Class Mail
1ec11890‐2fd2‐4cd4‐a3ef‐3baac46ed27a                   Address Redacted                     First Class Mail
1ec2855a‐b6a4‐4928‐a9f6‐6dd18ca84984                   Address Redacted                     First Class Mail
1ec2f5b9‐31d0‐4b70‐9e8a‐82312f224f57                   Address Redacted                     First Class Mail
1ec46540‐11f9‐4c46‐bb58‐de2907f74301                   Address Redacted                     First Class Mail
1ec5a00f‐1cc3‐46cf‐8dae‐ed77e09cefc7                   Address Redacted                     First Class Mail
1ececdd7‐67ff‐488e‐8372‐aca33a95e51e                   Address Redacted                     First Class Mail
1ed0d53a‐6b92‐421c‐83a1‐28dac9375b72                   Address Redacted                     First Class Mail
1ed4b244‐1011‐4421‐bf08‐04775ee91439                   Address Redacted                     First Class Mail
1ed61998‐5077‐4f48‐bfb6‐e9b5386a766e                   Address Redacted                     First Class Mail
1eda9c33‐9d51‐4402‐bd36‐29d4a4546c43                   Address Redacted                     First Class Mail
1edbff12‐87c8‐4903‐a7e1‐ff9ac90e0811                   Address Redacted                     First Class Mail
1edd6fa1‐3d14‐4c19‐9b6f‐bc271b4c6f48                   Address Redacted                     First Class Mail
1ede86cd‐449d‐43ae‐b932‐ca7a31e17dd2                   Address Redacted                     First Class Mail
1edf39eb‐df59‐4de1‐92b9‐6c5906d9071f                   Address Redacted                     First Class Mail
1edf9790‐7866‐4523‐b72b‐a48a45a385d4                   Address Redacted                     First Class Mail




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                               Name                                             Address                        Method of Service
1ee5d9cc‐6095‐4203‐a607‐4765538096e6                   Address Redacted                     First Class Mail
1ee7ba3b‐a5f7‐471c‐ae96‐1017a59f1fa1                   Address Redacted                     First Class Mail
1eec7cb6‐067d‐4d98‐a007‐5b132059ea41                   Address Redacted                     First Class Mail
1eed85a2‐66ce‐4165‐94a4‐a8d36f8b3b68                   Address Redacted                     First Class Mail
1ef0283d‐fee6‐4e22‐b17f‐cf62b4f2d3ee                   Address Redacted                     First Class Mail
1ef4bccf‐fd1e‐4800‐8509‐99bc49289123                   Address Redacted                     First Class Mail
1ef50a1f‐5fac‐47b4‐9a3f‐2196e6998e2c                   Address Redacted                     First Class Mail
1ef79a5c‐9d0c‐40d2‐9236‐a7d1111dbc99                   Address Redacted                     First Class Mail
1ef7d6d9‐5ea8‐42fa‐b035‐4b0397258a02                   Address Redacted                     First Class Mail
1ef7f441‐0a54‐4376‐9ffb‐86d523e61d7f                   Address Redacted                     First Class Mail
1ef8bb6c‐306d‐44ae‐a465‐acadf5948020                   Address Redacted                     First Class Mail
1efba67f‐a2bc‐4e72‐b123‐66cab32ce52a                   Address Redacted                     First Class Mail
1efc09a4‐a561‐4266‐9b3d‐9b6c3e372dcc                   Address Redacted                     First Class Mail
1efc66f0‐9dfa‐467a‐8b14‐69fe61c2cf73                   Address Redacted                     First Class Mail
1efce76c‐a34a‐4584‐87d9‐d5c33b6e17c0                   Address Redacted                     First Class Mail
1efd6cbe‐d9e4‐4bf7‐8966‐b1b4cfffb652                   Address Redacted                     First Class Mail
1eff2d7f‐821a‐4641‐96ba‐7bd10429a267                   Address Redacted                     First Class Mail
1f014cc8‐806a‐4d4f‐b900‐86232e2af249                   Address Redacted                     First Class Mail
1f0360e0‐2150‐4523‐b264‐7741f4b786a7                   Address Redacted                     First Class Mail
1f039c8d‐fcbf‐4fb9‐b3fb‐65064cb763eb                   Address Redacted                     First Class Mail
1f08a871‐3536‐4af7‐ae17‐aba7569e4fb0                   Address Redacted                     First Class Mail
1f0a8dd7‐8308‐4ccf‐9f68‐afa1e7d42d1e                   Address Redacted                     First Class Mail
1f0d6932‐77fe‐48dc‐9117‐5d8fdb1b8705                   Address Redacted                     First Class Mail
1f1289f5‐9ecc‐4878‐bb58‐2c88b2919314                   Address Redacted                     First Class Mail
1f12d123‐2ad8‐46de‐bc8c‐81ba0e93f35f                   Address Redacted                     First Class Mail
1f1d027e‐bd5e‐4135‐95aa‐b5f51ae763a7                   Address Redacted                     First Class Mail
1f1f1c40‐e414‐4a5c‐ad94‐4fc3cc666887                   Address Redacted                     First Class Mail
1f1f39c6‐058a‐4370‐a751‐c1665d764f1d                   Address Redacted                     First Class Mail
1f22e954‐cead‐4cc7‐97c5‐db55faf8ce16                   Address Redacted                     First Class Mail
1f230e88‐b618‐4229‐ba2d‐a25bffc30b17                   Address Redacted                     First Class Mail
1f232a2b‐141c‐4bea‐84fa‐11370539a3ce                   Address Redacted                     First Class Mail
1f257f5c‐7d87‐4e00‐a6ad‐0fe186aff2cc                   Address Redacted                     First Class Mail
1f287916‐be7e‐4991‐880e‐4b79f255e77c                   Address Redacted                     First Class Mail
1f2d10a7‐b277‐4e4b‐b54a‐7e238d2b8ac2                   Address Redacted                     First Class Mail
1f2d4fc6‐0087‐4656‐9e2b‐69581f23edcf                   Address Redacted                     First Class Mail
1f31ff11‐4a87‐437b‐a023‐cea4ba3d68ef                   Address Redacted                     First Class Mail
1f34768c‐c9d6‐4d1b‐848f‐97303e4f84d4                   Address Redacted                     First Class Mail
1f35048f‐fc3e‐45f2‐b53e‐7339740412a4                   Address Redacted                     First Class Mail
1f36faef‐385f‐45a3‐b9a6‐ac0d3cb293d0                   Address Redacted                     First Class Mail
1f39d3e3‐e7c4‐4e68‐863d‐8cb9a4046940                   Address Redacted                     First Class Mail
1f3ad501‐0e99‐4e94‐90c7‐93506392f7db                   Address Redacted                     First Class Mail
1f3e216e‐8b5a‐44cd‐9b97‐ecacd8e25312                   Address Redacted                     First Class Mail
1f3ea0fd‐8c31‐44b4‐a3de‐074c7afce530                   Address Redacted                     First Class Mail
1f417370‐d69c‐41d6‐b727‐c5bc08776b02                   Address Redacted                     First Class Mail
1f46baa4‐1c7a‐4138‐b5d1‐97154d305e10                   Address Redacted                     First Class Mail
1f4b0d75‐0f08‐45fc‐9dd3‐1ca30c5bf62c                   Address Redacted                     First Class Mail
1f4e8bc8‐f66b‐4151‐b90c‐9f29c39ada2d                   Address Redacted                     First Class Mail
1f4f72f0‐ff33‐4e58‐b073‐86a43cf79ddc                   Address Redacted                     First Class Mail
1f50b70c‐5404‐4af3‐9b4a‐c4dad67bfe3d                   Address Redacted                     First Class Mail
1f52204b‐697a‐467a‐96a2‐9484da0d1931                   Address Redacted                     First Class Mail
1f523c6d‐285b‐4077‐a37f‐73e72b1dd619                   Address Redacted                     First Class Mail
1f552c1c‐99cc‐4dc7‐b3fe‐d63fefb52b15                   Address Redacted                     First Class Mail
1f55a526‐c9b9‐4eba‐a96c‐65ea28c6370e                   Address Redacted                     First Class Mail
1f56ee71‐c03a‐49a2‐b1ae‐c805d20a459c                   Address Redacted                     First Class Mail
1f5bfa50‐5487‐41e4‐87f0‐d93764ec1b43                   Address Redacted                     First Class Mail
1f659186‐618d‐4dde‐8a34‐82425d53be96                   Address Redacted                     First Class Mail
1f67e15f‐e56b‐40d1‐b435‐f5a44d32b958                   Address Redacted                     First Class Mail
1f6e924c‐c104‐4b3f‐b969‐66306d33d25d                   Address Redacted                     First Class Mail
1f70ff61‐d6c9‐443e‐a99c‐a67d810fcaa6                   Address Redacted                     First Class Mail
1f7f249c‐5cff‐4b0f‐ba2c‐de9c6bb8ce42                   Address Redacted                     First Class Mail
1f801478‐af40‐4618‐b160‐62a5b9d4daa1                   Address Redacted                     First Class Mail
1f805708‐614a‐485e‐a09e‐154bb90cb9c1                   Address Redacted                     First Class Mail
1f82f8d2‐7b6e‐4e5c‐b952‐644f7a4143ff                   Address Redacted                     First Class Mail
1f858a11‐6a1d‐4786‐9bf8‐f765a284c745                   Address Redacted                     First Class Mail
1f8877f2‐1f09‐4dcc‐8291‐56d2125b139b                   Address Redacted                     First Class Mail
1f88ca1f‐91f7‐44bc‐bc60‐0906fc0ae69b                   Address Redacted                     First Class Mail
1f8d8e43‐b6ca‐450b‐a114‐4e7fc6711553                   Address Redacted                     First Class Mail
1f8d9256‐46e3‐43ca‐9af0‐70414930c71e                   Address Redacted                     First Class Mail
1f8ec99e‐48e2‐444e‐9c95‐279eda4039d0                   Address Redacted                     First Class Mail
1f90ceed‐203f‐4108‐a8fa‐cf1d99c8ae9e                   Address Redacted                     First Class Mail
1f91371d‐e2fd‐48a7‐86e6‐4a7ee6cda3ee                   Address Redacted                     First Class Mail
1f9212f0‐ee7a‐428a‐ad06‐48e633dcb0ee                   Address Redacted                     First Class Mail




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                                                                Exhibit A
                                                                 Service List


                              Name                                              Address                        Method of Service
1f92b857‐52a1‐4a3b‐a260‐20dbd8874abb                   Address Redacted                     First Class Mail
1f94142e‐7ed0‐4efe‐86e1‐36fe83178020                   Address Redacted                     First Class Mail
1f98c880‐cdc1‐4f28‐89eb‐eec80e8c1a23                   Address Redacted                     First Class Mail
1f99bf04‐4b44‐4410‐a006‐51e19743a6f1                   Address Redacted                     First Class Mail
1f9b6026‐6c1a‐4059‐b99e‐4aa1af59ec94                   Address Redacted                     First Class Mail
1f9d3534‐16d9‐434a‐a4f3‐02a1d233758b                   Address Redacted                     First Class Mail
1f9e0eb5‐c8d7‐45e8‐9fc9‐012510f82dc2                   Address Redacted                     First Class Mail
1fa0d06c‐93ae‐496d‐956a‐6fe7d52fe515                   Address Redacted                     First Class Mail
1fa1e0b3‐cce8‐49ac‐84e7‐fae0f6cc1c8a                   Address Redacted                     First Class Mail
1fa2cc1a‐db14‐428e‐9de2‐52d610d25c02                   Address Redacted                     First Class Mail
1fa3efb3‐dea7‐449c‐9ae8‐3ad5ef5dcbee                   Address Redacted                     First Class Mail
1fa79223‐6dc5‐4bbc‐9c43‐75930bafab48                   Address Redacted                     First Class Mail
1fabd34f‐7e1f‐4d71‐b34c‐3265eaae09f1                   Address Redacted                     First Class Mail
1faf2c72‐3a92‐4b99‐b494‐5fb49e76148e                   Address Redacted                     First Class Mail
1fb0a55c‐bcf6‐4df6‐af03‐f75491a9f1af                   Address Redacted                     First Class Mail
1fb143eb‐acdf‐414e‐aceb‐e464a0999cb0                   Address Redacted                     First Class Mail
1fb45e84‐b65e‐4401‐912f‐12b88bb4b08b                   Address Redacted                     First Class Mail
1fb68cf2‐fc82‐48ea‐9e62‐0d3c09f70c32                   Address Redacted                     First Class Mail
1fb69c8d‐67ee‐4460‐b08b‐9adaac6f982c                   Address Redacted                     First Class Mail
1fb80baf‐7711‐4b3f‐992f‐db4955d29fda                   Address Redacted                     First Class Mail
1fb994bd‐23fc‐4b30‐a9f1‐524991cc6889                   Address Redacted                     First Class Mail
1fbd295e‐46d5‐4297‐a2c1‐bff1d6e4ee74                   Address Redacted                     First Class Mail
1fc734df‐4cb3‐46c6‐98bd‐8e545f8253b4                   Address Redacted                     First Class Mail
1fcfd380‐9976‐4834‐afc6‐83e88be500c1                   Address Redacted                     First Class Mail
1fd2569f‐cbd7‐470d‐8807‐5d823793ec00                   Address Redacted                     First Class Mail
1fd43ddc‐378f‐4908‐8999‐e1a71b78fb0b                   Address Redacted                     First Class Mail
1fd5b91e‐f003‐4af6‐b6ac‐ff5404981376                   Address Redacted                     First Class Mail
1fd67523‐f020‐4cb5‐916a‐59bc7d20ed64                   Address Redacted                     First Class Mail
1fdac024‐765b‐4a62‐8ef7‐7d72a8fb3da2                   Address Redacted                     First Class Mail
1fdbf6aa‐8b25‐4f1c‐81f0‐01e652b22e2f                   Address Redacted                     First Class Mail
1fdcf5da‐1a16‐47df‐a7b5‐54662bfb7c06                   Address Redacted                     First Class Mail
1fdf4315‐f02c‐4fee‐85df‐c01ba1d3fa60                   Address Redacted                     First Class Mail
1fe49b81‐4ee2‐45b7‐8495‐d632110f8cf7                   Address Redacted                     First Class Mail
1fe5d8cd‐6f6f‐4bcf‐9d23‐3512da3a1a39                   Address Redacted                     First Class Mail
1fe8870c‐dd04‐4846‐94e5‐c3de04f90554                   Address Redacted                     First Class Mail
1fea56b8‐cf48‐436c‐9c8b‐2e55a54394fd                   Address Redacted                     First Class Mail
1feac635‐fdf1‐4ec5‐babb‐c170697d7504                   Address Redacted                     First Class Mail
1feaea10‐65b4‐4b7e‐a2f6‐330aab1082d1                   Address Redacted                     First Class Mail
1feb8f88‐4c2a‐4e88‐90f0‐8248c4f6c4df                   Address Redacted                     First Class Mail
1febb28f‐81ce‐4883‐8aa1‐9dad66cff672                   Address Redacted                     First Class Mail
1fec9618‐172a‐44ce‐9a3e‐9674863c4203                   Address Redacted                     First Class Mail
1ff2c7d5‐a800‐4ce0‐abba‐986e25067d29                   Address Redacted                     First Class Mail
1ff36647‐6708‐40ef‐8e06‐bc6d7aa809b6                   Address Redacted                     First Class Mail
1ff3d12c‐ef39‐49b7‐b83c‐34982db83c98                   Address Redacted                     First Class Mail
1ff5fbf9‐2934‐42da‐bdf3‐446559f8c9a7                   Address Redacted                     First Class Mail
1ff6b330‐0235‐4655‐bcad‐9fe642fac7e8                   Address Redacted                     First Class Mail
1ff982c3‐89bb‐4f3e‐9e96‐97617adbd689                   Address Redacted                     First Class Mail
1ffa4725‐5d65‐4241‐b21a‐411369bcbc8a                   Address Redacted                     First Class Mail
1ffb9009‐cc9c‐4a1c‐afc9‐9ed6d7862c5a                   Address Redacted                     First Class Mail
1ffd736c‐6f81‐4a94‐8cc8‐ac723161a429                   Address Redacted                     First Class Mail
1fff3199‐c559‐4a2a‐9415‐cc0d38e2d845                   Address Redacted                     First Class Mail
20002189‐d76f‐4cf0‐bafb‐4b3ffe12c77b                   Address Redacted                     First Class Mail
2002b4b4‐ac32‐40b1‐b318‐c979411dc181                   Address Redacted                     First Class Mail
20047b95‐abb4‐4a84‐994f‐855e6d8172b7                   Address Redacted                     First Class Mail
20076b4c‐61e5‐4989‐9f09‐5507155f70f9                   Address Redacted                     First Class Mail
200aed5a‐9b2f‐448b‐8d56‐127847c5a9cb                   Address Redacted                     First Class Mail
200d5212‐163d‐4b3b‐97ba‐fd394d93784b                   Address Redacted                     First Class Mail
200ec0ab‐d004‐462c‐a1ba‐921a38707f5c                   Address Redacted                     First Class Mail
20138ac6‐e6f4‐4f50‐a584‐2384df106e15                   Address Redacted                     First Class Mail
2016428b‐5259‐420b‐be22‐7216233d146f                   Address Redacted                     First Class Mail
201c8a18‐db7a‐43f0‐8d8c‐7d032fea2469                   Address Redacted                     First Class Mail
201cb92c‐d505‐42ce‐8dc6‐ced34a49223e                   Address Redacted                     First Class Mail
201f5d3c‐66c0‐4ac3‐9234‐209fe6d5ef50                   Address Redacted                     First Class Mail
2023323a‐9f16‐40a7‐a4ee‐11b622012e53                   Address Redacted                     First Class Mail
2023825c‐a14c‐471b‐8a65‐323373e61ca0                   Address Redacted                     First Class Mail
2029652e‐a2e0‐4920‐968e‐359ad4185f30                   Address Redacted                     First Class Mail
2029abd4‐6f11‐401d‐b0bb‐d2c3d4eec295                   Address Redacted                     First Class Mail
202ba46c‐0f94‐4ecb‐8f14‐6f9b47e18702                   Address Redacted                     First Class Mail
202c5d80‐edb5‐4183‐8168‐074a62df2d0d                   Address Redacted                     First Class Mail
202c62b4‐270f‐4796‐861d‐4212f815a81e                   Address Redacted                     First Class Mail
202f772e‐f0ec‐4b56‐ab7a‐5905196a9371                   Address Redacted                     First Class Mail
203016ae‐cb67‐40bc‐b1df‐3c8bf7f0506e                   Address Redacted                     First Class Mail




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                               Name                                             Address                        Method of Service
2035b42e‐5ac4‐4be7‐a7ad‐9e0f16cdbfd4                   Address Redacted                     First Class Mail
2036cfd1‐4974‐49d7‐8707‐f374758a4911                   Address Redacted                     First Class Mail
2039f1c0‐a1c8‐4f20‐b17f‐7aa802e60aff                   Address Redacted                     First Class Mail
203a5f0b‐9c77‐4426‐b9bf‐0c9c2c4b9908                   Address Redacted                     First Class Mail
203e00e9‐83a2‐4556‐9b76‐b7a9b954b43f                   Address Redacted                     First Class Mail
2041b4c4‐a499‐4063‐8ddd‐2ea4b88cb6de                   Address Redacted                     First Class Mail
2041fb45‐8885‐4b5c‐8a68‐0a5720812edf                   Address Redacted                     First Class Mail
2043b5b5‐bcb1‐4656‐b382‐0465f56f0a6c                   Address Redacted                     First Class Mail
2043f785‐bb21‐4a58‐937f‐7bcb41d0b6c0                   Address Redacted                     First Class Mail
20459bb8‐dc6e‐49f6‐9798‐2812d8605ab2                   Address Redacted                     First Class Mail
204aa516‐a421‐4035‐b484‐4893dbfacdae                   Address Redacted                     First Class Mail
204f2dca‐1ffd‐4ab9‐81a7‐5edd29f8b85b                   Address Redacted                     First Class Mail
2051f50e‐5381‐4388‐b959‐b817e9c43495                   Address Redacted                     First Class Mail
20539872‐acde‐42dc‐b3bf‐e169d522c0e7                   Address Redacted                     First Class Mail
205bba74‐f33c‐4569‐9c0f‐2eaceec22e50                   Address Redacted                     First Class Mail
2067a65b‐a61b‐4284‐85af‐8714fb1fbe7b                   Address Redacted                     First Class Mail
2067aa6f‐ff2f‐4c8d‐9cd2‐6f7a78ccf3af                   Address Redacted                     First Class Mail
206adaa7‐2730‐4be9‐93f4‐3c46ca008203                   Address Redacted                     First Class Mail
206c467c‐4fd2‐4ef3‐b340‐6c8f6986ba6b                   Address Redacted                     First Class Mail
206f8a14‐3960‐495c‐a731‐99479f5a82a7                   Address Redacted                     First Class Mail
2070ac62‐dc39‐4112‐9c96‐e521378b4863                   Address Redacted                     First Class Mail
2075e6ce‐ffdb‐42b2‐be22‐525eaba74a58                   Address Redacted                     First Class Mail
207871e1‐3637‐4825‐832a‐71bbde64c013                   Address Redacted                     First Class Mail
207cc148‐f433‐4617‐8b39‐f9717055c70c                   Address Redacted                     First Class Mail
207d70d6‐e8bf‐4f79‐9cbc‐f01c3f89a477                   Address Redacted                     First Class Mail
207d79b6‐3c2c‐46d1‐b3e1‐f69e888e84d2                   Address Redacted                     First Class Mail
207de16c‐b968‐46bf‐b790‐c239fc28115d                   Address Redacted                     First Class Mail
207e75fe‐43c1‐4082‐84a2‐801db47522b0                   Address Redacted                     First Class Mail
2080d6ad‐87f0‐456b‐a71c‐d696054eab75                   Address Redacted                     First Class Mail
2089e7fb‐b910‐4e90‐aa1d‐1dcd4662adb9                   Address Redacted                     First Class Mail
208b6c84‐022b‐4ae4‐ad49‐b2e620361f35                   Address Redacted                     First Class Mail
209106b3‐57fa‐48d3‐b968‐b731c8c6fd49                   Address Redacted                     First Class Mail
2095ca8e‐740d‐42b7‐adb4‐d503b1284d67                   Address Redacted                     First Class Mail
2095ea70‐d7ad‐4965‐ac00‐c820f59f46ec                   Address Redacted                     First Class Mail
209af5a9‐0175‐427c‐8a70‐69092726fef2                   Address Redacted                     First Class Mail
209cd57a‐a02d‐45a1‐97b8‐f1fcf2d789eb                   Address Redacted                     First Class Mail
209d5765‐124e‐4e3c‐a674‐0e472fd1ab48                   Address Redacted                     First Class Mail
20a12e80‐a9d6‐4f07‐a705‐9a771e81887e                   Address Redacted                     First Class Mail
20a37b7e‐ebaf‐493c‐95fc‐f3e54bfb052f                   Address Redacted                     First Class Mail
20a3f6b1‐bb44‐4dbe‐9b4b‐223c6cb209ff                   Address Redacted                     First Class Mail
20a51e6b‐4086‐4ad7‐9ce6‐05690188ac83                   Address Redacted                     First Class Mail
20a54637‐ecbc‐46dc‐acc9‐020eac96b5f8                   Address Redacted                     First Class Mail
20a65d69‐61ca‐4931‐a499‐1fc597a933e0                   Address Redacted                     First Class Mail
20a94187‐6e81‐4aef‐b84e‐860a6743be1e                   Address Redacted                     First Class Mail
20ac3569‐0373‐453f‐ac55‐f23fd650ba1d                   Address Redacted                     First Class Mail
20aeed3a‐d4e6‐4c1e‐b0aa‐b8c2d29996f1                   Address Redacted                     First Class Mail
20b54d74‐b023‐439d‐ab02‐0a1978213af2                   Address Redacted                     First Class Mail
20b9fe27‐8590‐443d‐90a0‐3b0ae6779ccd                   Address Redacted                     First Class Mail
20bd09fa‐68bb‐46cc‐8758‐de16b42f6a22                   Address Redacted                     First Class Mail
20bd177f‐141a‐4845‐8129‐225404cff8fd                   Address Redacted                     First Class Mail
20c00d06‐420b‐4d36‐9cbd‐8b88a526fd65                   Address Redacted                     First Class Mail
20c151b6‐ffa1‐45c9‐aa33‐3de40f067c5c                   Address Redacted                     First Class Mail
20c74d13‐5d66‐47c4‐ab81‐f6105701af0a                   Address Redacted                     First Class Mail
20cc3317‐b875‐49e1‐9f49‐af817cbc83e8                   Address Redacted                     First Class Mail
20cd908e‐5bd5‐4cbd‐9691‐53fa64d81f3b                   Address Redacted                     First Class Mail
20d12ddc‐cd05‐44e0‐a1b4‐cb858abe23cd                   Address Redacted                     First Class Mail
20d1cb1e‐8125‐4458‐8036‐e9858c071c66                   Address Redacted                     First Class Mail
20d250b8‐a6e4‐472b‐b8a5‐7c178555668a                   Address Redacted                     First Class Mail
20d61f2c‐a565‐47a2‐98bf‐cd6b891d9029                   Address Redacted                     First Class Mail
20daf3ca‐654d‐463f‐bc81‐9735d189866c                   Address Redacted                     First Class Mail
20dc050f‐25d1‐4509‐b3ae‐90e61fe0c603                   Address Redacted                     First Class Mail
20e328bc‐6b43‐480d‐9f13‐0f17f43f1bc5                   Address Redacted                     First Class Mail
20e505ff‐d4eb‐49c0‐8c7d‐65ab5c471811                   Address Redacted                     First Class Mail
20e6d46d‐8105‐4c85‐aeb4‐2372b1b3c176                   Address Redacted                     First Class Mail
20e8eab5‐ee7a‐45ec‐945c‐b5fe18b2bf03                   Address Redacted                     First Class Mail
20eb084f‐9f46‐4d7f‐a9e4‐004430301d89                   Address Redacted                     First Class Mail
20ed3a12‐7ec1‐425e‐8f60‐0f46feb76baa                   Address Redacted                     First Class Mail
20f8119e‐ae04‐4a31‐82ae‐efd9b41de3ad                   Address Redacted                     First Class Mail
20fa9248‐4964‐4cb5‐91fa‐fd79103090dc                   Address Redacted                     First Class Mail
20fadb31‐81ca‐490a‐8a5c‐0d8bd8ed7ded                   Address Redacted                     First Class Mail
20fe567b‐a965‐4323‐81bd‐abb05a0325cd                   Address Redacted                     First Class Mail
20feccd4‐97eb‐4c72‐8d17‐2e870f6e9ef6                   Address Redacted                     First Class Mail




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                              Name                                              Address                        Method of Service
21009a07‐93b0‐40eb‐905e‐9288273d1a44                   Address Redacted                     First Class Mail
2101f8f4‐75a6‐4a5d‐a4f3‐b39d79923a54                   Address Redacted                     First Class Mail
21021fbb‐f26d‐4af4‐be7b‐242e8b0120bd                   Address Redacted                     First Class Mail
2104a3ec‐b5be‐4d1f‐ac82‐568950b0e491                   Address Redacted                     First Class Mail
21053345‐cc5d‐421f‐a1b7‐aae3b36bb7c5                   Address Redacted                     First Class Mail
210710c5‐e31e‐443a‐9eec‐856b620e4a45                   Address Redacted                     First Class Mail
21089bdb‐2672‐4a44‐9d7b‐0eb4fb87258f                   Address Redacted                     First Class Mail
210d79ed‐1034‐4f44‐9c9f‐26b391f2641d                   Address Redacted                     First Class Mail
211000a1‐d56a‐426b‐8a29‐4d6a2a8c332f                   Address Redacted                     First Class Mail
21107879‐80c7‐4ec0‐9839‐3902f170c34d                   Address Redacted                     First Class Mail
2117b11c‐b89f‐4e60‐bf68‐3a12f8fd2e2c                   Address Redacted                     First Class Mail
21191be3‐35c1‐4062‐be57‐c0af8945e427                   Address Redacted                     First Class Mail
211d1c21‐a655‐4511‐b10b‐36d589972699                   Address Redacted                     First Class Mail
211fe7c7‐329f‐4ae3‐ae10‐27fab21294a8                   Address Redacted                     First Class Mail
2121c383‐eeea‐4928‐8d33‐dd37c5645197                   Address Redacted                     First Class Mail
2127b01a‐3067‐405d‐8649‐08cc85ad7292                   Address Redacted                     First Class Mail
212a2a75‐ed80‐4678‐8439‐0d6cc7a04786                   Address Redacted                     First Class Mail
212cc841‐e847‐4ac8‐8071‐859315611912                   Address Redacted                     First Class Mail
21363054‐acde‐4949‐94f5‐1f84ea4f5d3a                   Address Redacted                     First Class Mail
21381217‐6853‐4416‐97a6‐1c6894eaec31                   Address Redacted                     First Class Mail
213a6b3c‐4531‐41c0‐b80d‐09db189ee251                   Address Redacted                     First Class Mail
213aea04‐879e‐4b7a‐be7a‐ab5dd3d0c82f                   Address Redacted                     First Class Mail
213c198d‐5d50‐4c39‐9102‐7ef2e2e1c55d                   Address Redacted                     First Class Mail
213d7b18‐a250‐4e70‐a9d2‐6108d7957c31                   Address Redacted                     First Class Mail
214027fb‐1958‐4b96‐868e‐b0b62a63992c                   Address Redacted                     First Class Mail
21427fb9‐6edb‐4107‐b85d‐dfe9666a55da                   Address Redacted                     First Class Mail
2143ef79‐ac39‐4f35‐a9d0‐486d21ea2f9b                   Address Redacted                     First Class Mail
214538ee‐62c6‐4ac6‐942e‐267808c884bb                   Address Redacted                     First Class Mail
2156c4f3‐4932‐4f93‐bf1d‐ff20e39763b1                   Address Redacted                     First Class Mail
21575d50‐c0e7‐4e39‐88db‐a9a128d1f823                   Address Redacted                     First Class Mail
2158b902‐563e‐4c7c‐bc56‐d43275c5c3a1                   Address Redacted                     First Class Mail
21593e03‐88b9‐49bf‐a08e‐760e28d22e50                   Address Redacted                     First Class Mail
215afd09‐9fc0‐494e‐9a1f‐9a59b18c315d                   Address Redacted                     First Class Mail
215b9b1a‐8f22‐4b3d‐a2e9‐ca05294320e3                   Address Redacted                     First Class Mail
215e235d‐8f63‐4bb0‐957d‐b51957869eb6                   Address Redacted                     First Class Mail
21614a7b‐c2c9‐4d3e‐91b6‐7defd72c94d6                   Address Redacted                     First Class Mail
21668554‐a3b3‐4f34‐a7ca‐b07ef2ddc7f7                   Address Redacted                     First Class Mail
216a9d5a‐3a13‐4e15‐a228‐525a3814b488                   Address Redacted                     First Class Mail
216d649b‐fbd7‐4438‐8fb7‐918a82b03b98                   Address Redacted                     First Class Mail
216d70e6‐ce84‐4724‐8271‐72df9fc3e931                   Address Redacted                     First Class Mail
217212e2‐d6a8‐4a27‐8a39‐1fa8e796b789                   Address Redacted                     First Class Mail
21729f78‐39e0‐475a‐96ed‐88e7724d76bf                   Address Redacted                     First Class Mail
2172d083‐363f‐4428‐8925‐a0b9829a087e                   Address Redacted                     First Class Mail
2173f658‐42e9‐4bf1‐a77d‐46b485e9a639                   Address Redacted                     First Class Mail
2177c8b8‐9aa8‐4bf3‐ab91‐24c8457a5819                   Address Redacted                     First Class Mail
217a3400‐cfb8‐49bf‐931d‐72fba08d283d                   Address Redacted                     First Class Mail
217e62fe‐bf27‐4ef4‐87f6‐831fcc50f5dc                   Address Redacted                     First Class Mail
2184469d‐0e04‐45b3‐b7a9‐d35cb8d2bf55                   Address Redacted                     First Class Mail
218576d1‐9ed4‐4307‐a714‐b229a34a4f74                   Address Redacted                     First Class Mail
2188d186‐90e9‐4d30‐991b‐b80e4b852130                   Address Redacted                     First Class Mail
218a402a‐3280‐45c4‐a040‐4306a13c330a                   Address Redacted                     First Class Mail
218a56ea‐6a01‐40cd‐b3d3‐0b390ff0a530                   Address Redacted                     First Class Mail
218f04e2‐a43f‐450b‐9483‐cc7092a90001                   Address Redacted                     First Class Mail
218f2157‐67d4‐4840‐9e62‐5768808c4697                   Address Redacted                     First Class Mail
21918123‐bbc0‐4c18‐a805‐381563df785b                   Address Redacted                     First Class Mail
2191d9d8‐9dd4‐4d24‐ab10‐b74da7689746                   Address Redacted                     First Class Mail
21958dcf‐4e67‐43c1‐8533‐d8b4d3453601                   Address Redacted                     First Class Mail
2195f34a‐217b‐49a2‐83d7‐b96089045dfb                   Address Redacted                     First Class Mail
2197dd9e‐2684‐4413‐adc9‐f29b1cdcade0                   Address Redacted                     First Class Mail
21998a28‐a93b‐4e66‐ad2d‐93a6d38f7f8a                   Address Redacted                     First Class Mail
219ca99a‐38c9‐41c3‐80d1‐91f51ca3533a                   Address Redacted                     First Class Mail
21a2b217‐d6a4‐4290‐b95c‐5b0eedd1a3e3                   Address Redacted                     First Class Mail
21a62989‐1bb1‐495a‐a7d0‐3b757812ffe2                   Address Redacted                     First Class Mail
21aad7fd‐3cbb‐4cb2‐9d2d‐96bb3df09742                   Address Redacted                     First Class Mail
21ae2701‐1630‐4742‐b7d9‐1ad1e4c2c77e                   Address Redacted                     First Class Mail
21aebf34‐f43a‐4c66‐ae04‐c94285746f05                   Address Redacted                     First Class Mail
21af7000‐8828‐4e44‐9efc‐f61d15a5f49b                   Address Redacted                     First Class Mail
21b3ce0f‐87cd‐4c4d‐b480‐94f274038a70                   Address Redacted                     First Class Mail
21b7e948‐d1e8‐48bf‐8d60‐3aad6fa57162                   Address Redacted                     First Class Mail
21ba5fb8‐1dee‐41b8‐a6d4‐7fd0657627c2                   Address Redacted                     First Class Mail
21baec8c‐8022‐4d0a‐b273‐f061b2861d96                   Address Redacted                     First Class Mail
21bcbe9d‐711d‐4e34‐8254‐1a150f9abf23                   Address Redacted                     First Class Mail




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                                                                Exhibit A
                                                                 Service List


                              Name                                              Address                        Method of Service
21bcdada‐86ae‐4bc5‐833d‐b9c733e092e1                   Address Redacted                     First Class Mail
21bdd194‐ed12‐4aba‐bbb9‐e6af3efdc764                   Address Redacted                     First Class Mail
21beddb1‐151a‐4c38‐9b6b‐978af5f83a87                   Address Redacted                     First Class Mail
21bedf17‐a91a‐47a5‐a9e6‐99c68dace124                   Address Redacted                     First Class Mail
21c9205f‐4c20‐4b4a‐9831‐9023604438c9                   Address Redacted                     First Class Mail
21cb0370‐5e51‐4929‐9a69‐d399653a942d                   Address Redacted                     First Class Mail
21cc4542‐d219‐4213‐940c‐600295abf1f7                   Address Redacted                     First Class Mail
21d156c9‐5510‐4863‐8615‐ec8334d8ef1c                   Address Redacted                     First Class Mail
21d1e011‐9c44‐4be6‐80ac‐8aeb6a5ce488                   Address Redacted                     First Class Mail
21d22fcd‐6bf5‐4748‐8ba1‐8e1f85b9ae56                   Address Redacted                     First Class Mail
21d2bbc7‐250e‐4079‐80c0‐1dffe1532a96                   Address Redacted                     First Class Mail
21d3a6a2‐2d1d‐4e12‐814b‐f2ddfaacca0f                   Address Redacted                     First Class Mail
21d4e16b‐0351‐447a‐ab61‐c282bce40742                   Address Redacted                     First Class Mail
21d87d1e‐ddfb‐4cb2‐9ca1‐db908353fcc0                   Address Redacted                     First Class Mail
21d92895‐4ec3‐47f8‐8da7‐56abdd4ad4d4                   Address Redacted                     First Class Mail
21db821f‐19cf‐4066‐8624‐4f857df9d1ef                   Address Redacted                     First Class Mail
21ddf6ba‐0115‐4b74‐989c‐5b854385f378                   Address Redacted                     First Class Mail
21dfb6ca‐0e0f‐4361‐9db3‐af7f5f732147                   Address Redacted                     First Class Mail
21e21ac5‐c2ad‐4a5b‐9583‐d9134ba23fb7                   Address Redacted                     First Class Mail
21e38a8e‐5695‐4df3‐96c3‐f76ea972be85                   Address Redacted                     First Class Mail
21e402fa‐af50‐4064‐b646‐432e060e569c                   Address Redacted                     First Class Mail
21ea612f‐7d78‐46a9‐8716‐2473cc070fca                   Address Redacted                     First Class Mail
21ece3e8‐ac34‐4512‐be23‐2acc622e361b                   Address Redacted                     First Class Mail
21efecdc‐2ac8‐425b‐a54c‐8c53cab8403d                   Address Redacted                     First Class Mail
21f16b42‐309c‐413f‐b322‐2235aaa905b0                   Address Redacted                     First Class Mail
21f33aa6‐dc26‐412b‐91ab‐3b820cf949b8                   Address Redacted                     First Class Mail
21f86eb2‐3c53‐4058‐99b9‐35e7fe6266a1                   Address Redacted                     First Class Mail
21f893ca‐b104‐4f52‐818c‐8adeecd6f76d                   Address Redacted                     First Class Mail
21fa0c31‐5001‐42cd‐92f9‐517b38e17c98                   Address Redacted                     First Class Mail
21fd4e54‐83b0‐4b69‐a0da‐44213c3a9075                   Address Redacted                     First Class Mail
21fe32d7‐7a92‐4098‐b37f‐b72c0fe229d4                   Address Redacted                     First Class Mail
21ff6481‐9b05‐45e6‐a39b‐34efe3b4a6ce                   Address Redacted                     First Class Mail
22020190‐37c9‐42d9‐9ac7‐3a577600532f                   Address Redacted                     First Class Mail
220352bd‐4862‐4b08‐843e‐d1792dd4f516                   Address Redacted                     First Class Mail
22048011‐38f6‐41e1‐946f‐b9508cb78bfa                   Address Redacted                     First Class Mail
22053c61‐4ff5‐406d‐9ef0‐8deea35dcf9d                   Address Redacted                     First Class Mail
22059c9f‐0d06‐43a3‐b0f2‐856ebbdc44a3                   Address Redacted                     First Class Mail
2207c671‐81c9‐4ebb‐9d9c‐d2e89303e28f                   Address Redacted                     First Class Mail
220a864e‐9d7e‐49d3‐9ef2‐4f2d938dc900                   Address Redacted                     First Class Mail
220fb867‐8e67‐4f30‐be98‐337651e20877                   Address Redacted                     First Class Mail
220fd20a‐2d2e‐42e5‐b841‐4014a3d8b746                   Address Redacted                     First Class Mail
22102d37‐5cbe‐4b78‐91f9‐0dc93652907e                   Address Redacted                     First Class Mail
22105bb4‐66f2‐4d37‐80be‐5d41dfec04d7                   Address Redacted                     First Class Mail
2214b9c5‐3f10‐4b42‐ac1d‐975905458d4b                   Address Redacted                     First Class Mail
2217c62f‐c2f1‐485c‐9973‐ed4fc33c6c04                   Address Redacted                     First Class Mail
221d4727‐a7a2‐413d‐903e‐58e0a227b4d2                   Address Redacted                     First Class Mail
22217007‐85e9‐4304‐998d‐62cb462df765                   Address Redacted                     First Class Mail
22255634‐183d‐465b‐9237‐d9f2b522a702                   Address Redacted                     First Class Mail
222755ed‐4d3e‐49a3‐938c‐0c817d0b6cb4                   Address Redacted                     First Class Mail
222b2bc6‐d565‐445e‐834a‐be58ebdcafe3                   Address Redacted                     First Class Mail
222d0e47‐fdf6‐4b49‐a2e1‐9ea4be8a06c5                   Address Redacted                     First Class Mail
2231ae5d‐9061‐4150‐bd94‐d363e9030763                   Address Redacted                     First Class Mail
22327067‐59f3‐4db6‐894f‐f69c96c8ff1f                   Address Redacted                     First Class Mail
223633fd‐cd55‐4470‐a150‐387060a4becf                   Address Redacted                     First Class Mail
22369c26‐015c‐4243‐b95b‐78c5a90c3232                   Address Redacted                     First Class Mail
223b6e67‐cba9‐4977‐982a‐cacf75b1bdd3                   Address Redacted                     First Class Mail
223ddd06‐dccd‐417c‐8b80‐0cc4cda3e49d                   Address Redacted                     First Class Mail
22437755‐c937‐4ee3‐ad70‐2a2961dfca8e                   Address Redacted                     First Class Mail
22469822‐439f‐457a‐9ba9‐8eb13bb78de0                   Address Redacted                     First Class Mail
2249c0fd‐3c5b‐4401‐a0f8‐faff4dea847e                   Address Redacted                     First Class Mail
224bfabf‐514c‐4eea‐ac29‐f02f848895e0                   Address Redacted                     First Class Mail
224c2dab‐9977‐47f6‐a8b2‐22b14124e77a                   Address Redacted                     First Class Mail
224e355c‐67ee‐4ad0‐a07b‐2d216a6e6828                   Address Redacted                     First Class Mail
224e5fbd‐9a66‐44d3‐a489‐b5086adf329a                   Address Redacted                     First Class Mail
225238d0‐3066‐496a‐943d‐e5f2026380d7                   Address Redacted                     First Class Mail
22527256‐b72c‐4279‐92c9‐4e28757d1be9                   Address Redacted                     First Class Mail
22544645‐ed31‐4001‐8d0f‐64368300405a                   Address Redacted                     First Class Mail
2255db39‐c4fe‐48cd‐b623‐730031266f5d                   Address Redacted                     First Class Mail
22574d50‐1958‐4d70‐af44‐6295faefb999                   Address Redacted                     First Class Mail
2257feab‐42dc‐4722‐aaa8‐17cc0578f0d7                   Address Redacted                     First Class Mail
225c42a2‐1906‐40ed‐9df7‐f12b03baaadd                   Address Redacted                     First Class Mail
2263273e‐2999‐4b43‐81dd‐acf2f341b9da                   Address Redacted                     First Class Mail




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                              Name                                              Address                        Method of Service
22699906‐168d‐4412‐94c7‐78eb91828fd6                   Address Redacted                     First Class Mail
226f229a‐dfab‐4c95‐81b1‐74c09e002639                   Address Redacted                     First Class Mail
22768dae‐87cd‐4f93‐bd20‐d5a68d528fc5                   Address Redacted                     First Class Mail
227c40ec‐d0eb‐4f3f‐b2a2‐72418c1db454                   Address Redacted                     First Class Mail
22801d79‐2166‐485d‐ac2b‐0ce69c83117d                   Address Redacted                     First Class Mail
22828068‐d86f‐4942‐934a‐9a663d866405                   Address Redacted                     First Class Mail
2282b420‐c184‐418f‐8f54‐e1b027514dea                   Address Redacted                     First Class Mail
2289d9fe‐69e9‐4465‐98d9‐c67bfde1d34f                   Address Redacted                     First Class Mail
228a8a35‐1d45‐4155‐87e8‐27e33379902f                   Address Redacted                     First Class Mail
228b0d6e‐f539‐450c‐a131‐f41145710049                   Address Redacted                     First Class Mail
228dca78‐6b38‐4cd6‐a237‐5748517662b0                   Address Redacted                     First Class Mail
2291b46f‐ba81‐4bd3‐8c32‐159ea6c88033                   Address Redacted                     First Class Mail
229445e8‐6e57‐4288‐becc‐16b65ee4e467                   Address Redacted                     First Class Mail
22984f7b‐a66b‐4103‐8f02‐8e36f14f3c35                   Address Redacted                     First Class Mail
22989c9a‐ead8‐4513‐bded‐e7e92b52caad                   Address Redacted                     First Class Mail
229a2fbf‐4df8‐496a‐8dfc‐4400475fc079                   Address Redacted                     First Class Mail
229ab266‐f700‐4a87‐b67d‐9709c8604700                   Address Redacted                     First Class Mail
229db224‐cb84‐485d‐9d31‐6c38ffb97f89                   Address Redacted                     First Class Mail
229e5b14‐436b‐4b51‐8b6e‐aa75da633cf8                   Address Redacted                     First Class Mail
229ecb75‐27f6‐404a‐818a‐0604ebcdf487                   Address Redacted                     First Class Mail
229f48b5‐2d91‐4a00‐baa3‐61046209e571                   Address Redacted                     First Class Mail
22a526ba‐5620‐40e3‐8879‐41ae0dfbe54f                   Address Redacted                     First Class Mail
22a7e1d9‐113b‐4c53‐9e62‐fdee15d35daf                   Address Redacted                     First Class Mail
22aa0155‐d407‐45fc‐a98d‐1c6dfce43f3c                   Address Redacted                     First Class Mail
22aad156‐4cd3‐4809‐aeaa‐d3a634f8cfec                   Address Redacted                     First Class Mail
22b543c0‐bf8b‐4adb‐bdfc‐7b12fb81192d                   Address Redacted                     First Class Mail
22b5efbd‐d679‐40c4‐ada0‐8015de90aa9c                   Address Redacted                     First Class Mail
22b97b6a‐9ab4‐4973‐8cca‐32b7562756a3                   Address Redacted                     First Class Mail
22c02dda‐271c‐444e‐bf7d‐fca89bb1f5b3                   Address Redacted                     First Class Mail
22c0d5f0‐d40c‐46dc‐9dbc‐690fd27c77ca                   Address Redacted                     First Class Mail
22c23d63‐0ed3‐48c5‐b1cf‐959e6b89a279                   Address Redacted                     First Class Mail
22c8a5fe‐4a44‐4d60‐9a87‐7f903e07afec                   Address Redacted                     First Class Mail
22cddf77‐9dc0‐4101‐aa0e‐fabd5b548a77                   Address Redacted                     First Class Mail
22d22318‐bc53‐4d6c‐95b2‐8dabf6fc739d                   Address Redacted                     First Class Mail
22d2c80c‐bdbd‐4388‐b47a‐ae946dbb4a8d                   Address Redacted                     First Class Mail
22d9db7f‐74c8‐4c33‐9d06‐11c5fd57b54c                   Address Redacted                     First Class Mail
22da087e‐7d9e‐4aa0‐841e‐45af5502c5b8                   Address Redacted                     First Class Mail
22daa40a‐34fa‐42d4‐aaac‐88001218a34d                   Address Redacted                     First Class Mail
22dd65db‐7b78‐465f‐99c8‐b55181daa4ff                   Address Redacted                     First Class Mail
22e19517‐e45f‐4d9b‐8be2‐df07381dc856                   Address Redacted                     First Class Mail
22e1bc7e‐f450‐49f0‐9640‐d93463e0f4be                   Address Redacted                     First Class Mail
22e5d4e4‐7bfb‐438e‐96b5‐04b9c7ab8657                   Address Redacted                     First Class Mail
22e816f8‐cccb‐413b‐8a15‐b6a946412f70                   Address Redacted                     First Class Mail
22e825a7‐5580‐4654‐b517‐bab288d89e8d                   Address Redacted                     First Class Mail
22e90b5c‐da3a‐4d7d‐ac70‐51433343f586                   Address Redacted                     First Class Mail
22e92d89‐1810‐4b6f‐991e‐2ce2d308606b                   Address Redacted                     First Class Mail
22efb378‐792c‐43dc‐a00b‐33ede209317b                   Address Redacted                     First Class Mail
22f101a4‐9ef8‐4c0a‐ad4e‐b203f6648cb7                   Address Redacted                     First Class Mail
22f1e52d‐fb10‐4854‐987a‐ac7fc782121f                   Address Redacted                     First Class Mail
22f6e6d4‐96c5‐4dbc‐9138‐1df5fea1a5db                   Address Redacted                     First Class Mail
22ff3dce‐87d8‐4eb8‐bd49‐2b6fd5fb40df                   Address Redacted                     First Class Mail
230101d1‐8d05‐46fd‐b0aa‐506a91a494ee                   Address Redacted                     First Class Mail
23017b8a‐ab13‐4a02‐9e64‐f1a6584efd14                   Address Redacted                     First Class Mail
23031353‐64f5‐4fe6‐b8d7‐3ed56a35d162                   Address Redacted                     First Class Mail
2305acaa‐a795‐47d7‐a965‐6c0647516310                   Address Redacted                     First Class Mail
2308e63a‐8922‐4eac‐8154‐854e1e8848fd                   Address Redacted                     First Class Mail
23098d13‐2475‐4fa0‐a6ec‐3f5ca18db342                   Address Redacted                     First Class Mail
230bc64e‐4ab9‐40fd‐a40d‐5fc3bce74f88                   Address Redacted                     First Class Mail
230ff9d2‐b2ff‐481b‐96c6‐05f9b78de0c2                   Address Redacted                     First Class Mail
23116279‐3b39‐48ec‐b904‐a4c67bd7dab9                   Address Redacted                     First Class Mail
2312c45d‐64fd‐4e1b‐9de0‐80fdbf333ef7                   Address Redacted                     First Class Mail
2312d15d‐8a70‐43d2‐9ff7‐720a32facaa7                   Address Redacted                     First Class Mail
23137e8d‐e019‐448e‐890f‐7773d1f075e9                   Address Redacted                     First Class Mail
23160f3e‐4003‐4d4a‐8a7e‐97fb1dd1f7ef                   Address Redacted                     First Class Mail
23166a72‐5907‐45be‐b241‐f0d5b0875ef5                   Address Redacted                     First Class Mail
2316c6aa‐74a4‐41b6‐b7bd‐d029db5bfc78                   Address Redacted                     First Class Mail
2317785e‐02f1‐4946‐b86a‐6a1be64e169a                   Address Redacted                     First Class Mail
2318903f‐74a2‐428d‐bf7c‐93376c92f0b6                   Address Redacted                     First Class Mail
231c105b‐de08‐43f1‐b0f4‐9037e08eec65                   Address Redacted                     First Class Mail
231df9e5‐a64e‐4e9d‐b056‐baa44ec8ea11                   Address Redacted                     First Class Mail
231e3b3b‐e2a3‐478f‐8bac‐35feb6eedc5a                   Address Redacted                     First Class Mail
231f6e76‐6f3d‐4b50‐94a6‐7a18ddae8975                   Address Redacted                     First Class Mail




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                              Name                                              Address                        Method of Service
2324618f‐d7a0‐444e‐a8fe‐1777617753f7                   Address Redacted                     First Class Mail
2324e2eb‐efdb‐495d‐9d07‐0eeab7fccd35                   Address Redacted                     First Class Mail
2329775b‐6947‐43a3‐b1fb‐897206e29159                   Address Redacted                     First Class Mail
2329a0f5‐0952‐4175‐ad9e‐9acbb43c75d3                   Address Redacted                     First Class Mail
232acab4‐7c6d‐4cf6‐b90e‐a9ba081ad104                   Address Redacted                     First Class Mail
232db081‐fe33‐407b‐a406‐5ac2fdac9c87                   Address Redacted                     First Class Mail
233623c5‐c269‐4ff3‐883f‐25659f825afb                   Address Redacted                     First Class Mail
23367046‐40c3‐41d5‐878f‐674f1ba9f049                   Address Redacted                     First Class Mail
2336db1a‐0ea4‐4237‐a73a‐49def243e22e                   Address Redacted                     First Class Mail
23379235‐c23a‐4611‐9396‐12e96784124c                   Address Redacted                     First Class Mail
23385fc1‐f051‐4c9e‐a432‐7022ef626227                   Address Redacted                     First Class Mail
233925fa‐6b0c‐4105‐9e88‐40e0ef7146ad                   Address Redacted                     First Class Mail
233960a4‐254b‐4b85‐9ee1‐0fd6503ebc17                   Address Redacted                     First Class Mail
2339cae6‐b0f4‐4d44‐9b1c‐21f65de1ff4c                   Address Redacted                     First Class Mail
233cea1c‐1334‐4bf5‐9e80‐418f9c381c8a                   Address Redacted                     First Class Mail
23412be1‐07bb‐469c‐811b‐505de384bf57                   Address Redacted                     First Class Mail
23416717‐9c47‐49db‐8ee3‐44e968ae8b42                   Address Redacted                     First Class Mail
2341ba1b‐783d‐4e95‐8df0‐429a1a4ea988                   Address Redacted                     First Class Mail
2343a5be‐0942‐4446‐a4eb‐584e4bc97daa                   Address Redacted                     First Class Mail
2345b2c4‐62d8‐4a60‐9feb‐cc08dd765e01                   Address Redacted                     First Class Mail
2349fd12‐81a2‐4281‐bf89‐8eb39ec1313c                   Address Redacted                     First Class Mail
234e02be‐ddfd‐443f‐89b5‐5037d053b2a4                   Address Redacted                     First Class Mail
234ed051‐0a24‐42b0‐8d2e‐c48516a289c7                   Address Redacted                     First Class Mail
234f4e37‐f334‐4df2‐b1a4‐d757effd6421                   Address Redacted                     First Class Mail
2350562b‐607f‐44b9‐b1d0‐8be621b8af55                   Address Redacted                     First Class Mail
2350f59b‐a705‐42f2‐a554‐ef2d3e5cf634                   Address Redacted                     First Class Mail
2352c177‐0716‐40f5‐b9ff‐ec002a7ec25e                   Address Redacted                     First Class Mail
2353a792‐689a‐4b52‐ac8a‐e1244ae5d431                   Address Redacted                     First Class Mail
2354a1b8‐e09b‐4aa8‐bbf8‐3a3f664b3675                   Address Redacted                     First Class Mail
2354f231‐1e83‐481b‐9db8‐5d8ab054374e                   Address Redacted                     First Class Mail
235885df‐08f9‐4e62‐956d‐e5e7cf8601b0                   Address Redacted                     First Class Mail
2358e7b4‐e699‐4d8b‐8900‐ec645385499d                   Address Redacted                     First Class Mail
2358f8df‐78b6‐4035‐836c‐f201fb6e35e3                   Address Redacted                     First Class Mail
235909f6‐6a30‐4615‐a4ce‐0bde6ef8d385                   Address Redacted                     First Class Mail
2363d870‐218d‐4e2c‐bd03‐d22f794a0f04                   Address Redacted                     First Class Mail
236546c3‐10cb‐4986‐b622‐22bb5535b528                   Address Redacted                     First Class Mail
236dea49‐7ad0‐4c2e‐a974‐5bb8db557c5b                   Address Redacted                     First Class Mail
237253bf‐2304‐4089‐a18f‐a2444aa4163a                   Address Redacted                     First Class Mail
237a1456‐7f0a‐449b‐9fd7‐b7e404726f7f                   Address Redacted                     First Class Mail
237a6722‐9e88‐4a61‐93fe‐6ffe5f3a7a9e                   Address Redacted                     First Class Mail
237aa64d‐f40d‐442d‐85f3‐9977bd975e39                   Address Redacted                     First Class Mail
237d2161‐f0c1‐4900‐8652‐e4cd2eafc45c                   Address Redacted                     First Class Mail
237f0bb9‐8923‐4483‐805b‐881d01eee73e                   Address Redacted                     First Class Mail
237fa314‐f614‐4539‐8e4d‐4fbfaf5b85da                   Address Redacted                     First Class Mail
237fca3e‐d5ac‐40ef‐809a‐2173eea295ca                   Address Redacted                     First Class Mail
237fe142‐5096‐4525‐b2bc‐acc34604cd4c                   Address Redacted                     First Class Mail
2381e562‐8244‐4c5d‐9b43‐85b384c997b1                   Address Redacted                     First Class Mail
23820821‐f65e‐4ff8‐bd9e‐c9c9a9dfadb6                   Address Redacted                     First Class Mail
2385dfbe‐311c‐4a7f‐aa3b‐fef16fb247f2                   Address Redacted                     First Class Mail
23861b06‐489c‐42d6‐8c48‐9d2ed71b2ca9                   Address Redacted                     First Class Mail
23889c08‐7b6c‐4da4‐babd‐5c7e29685050                   Address Redacted                     First Class Mail
238abcec‐60f7‐441d‐9b88‐6e117abbc409                   Address Redacted                     First Class Mail
238bbf91‐420e‐4b82‐b455‐e0e2c3df0afc                   Address Redacted                     First Class Mail
238e825d‐6d81‐4238‐9b90‐fa23a02a7fbc                   Address Redacted                     First Class Mail
23907ac5‐20f3‐459d‐b380‐28cff8937a4e                   Address Redacted                     First Class Mail
2391db1b‐7fb2‐4c41‐b51e‐ec857d29c4b9                   Address Redacted                     First Class Mail
239426b0‐b8f0‐4d50‐8ff6‐35dfe779bc6d                   Address Redacted                     First Class Mail
2394548e‐f962‐4d5c‐a9a4‐ba9e2879e9aa                   Address Redacted                     First Class Mail
23956d5a‐3f15‐499f‐b178‐15698b2adf41                   Address Redacted                     First Class Mail
239eea63‐a884‐4f22‐9710‐ab18f03e53c8                   Address Redacted                     First Class Mail
23a1d83e‐f9da‐492c‐b25d‐773f18feabef                   Address Redacted                     First Class Mail
23a27420‐2005‐4333‐8944‐73207d13cc9d                   Address Redacted                     First Class Mail
23a29d9e‐d031‐40e6‐918b‐0198e3e7bd6d                   Address Redacted                     First Class Mail
23a6f68c‐ce8d‐4042‐b689‐b69ec41974c8                   Address Redacted                     First Class Mail
23a7c9f8‐8eef‐4210‐9c7d‐2f8bdd684727                   Address Redacted                     First Class Mail
23a8cb86‐8e3f‐4419‐bb5f‐a55dcfdb81d1                   Address Redacted                     First Class Mail
23ac5f84‐2d00‐45e9‐bcd8‐5206149092be                   Address Redacted                     First Class Mail
23ad4767‐bd33‐4ffc‐9352‐e9d4e678bf5a                   Address Redacted                     First Class Mail
23ad9464‐61f9‐4f53‐a336‐4f4b4b8f0e80                   Address Redacted                     First Class Mail
23aec44a‐36e3‐4837‐b8d2‐810df7a497b6                   Address Redacted                     First Class Mail
23b36362‐89d3‐4658‐887f‐910205b0e2b0                   Address Redacted                     First Class Mail
23be89f1‐0a92‐4ef9‐bb76‐e62aae218e00                   Address Redacted                     First Class Mail




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                                                                 Service List


                              Name                                              Address                        Method of Service
23c45108‐e6e4‐48dd‐bea0‐9dfcb28a37cc                   Address Redacted                     First Class Mail
23c79cb4‐8597‐4aca‐87ed‐816dee529475                   Address Redacted                     First Class Mail
23c84b74‐4010‐4d18‐9fa2‐1775b69c4811                   Address Redacted                     First Class Mail
23c950c6‐cd2f‐4512‐b23e‐a91b673d928c                   Address Redacted                     First Class Mail
23ce1ffc‐e148‐43f4‐8baa‐c80a23efa9ce                   Address Redacted                     First Class Mail
23d2ba48‐304e‐47e3‐b21e‐22bc8bd5cdbf                   Address Redacted                     First Class Mail
23d7f543‐ba7e‐4a4a‐8816‐d1bda7284f3e                   Address Redacted                     First Class Mail
23da9c8a‐20b0‐41cb‐bbb6‐e1d1bc2c688f                   Address Redacted                     First Class Mail
23db457d‐a63c‐4e69‐8875‐e44e033eeac5                   Address Redacted                     First Class Mail
23dc6055‐3e70‐4046‐ad27‐c911cfffdbb1                   Address Redacted                     First Class Mail
23debabe‐f6b4‐4178‐a548‐80f4ae0665cd                   Address Redacted                     First Class Mail
23e2ff95‐ff48‐4030‐9883‐152ec307222c                   Address Redacted                     First Class Mail
23e3de32‐2e2f‐4a6b‐9a57‐f4b97916c692                   Address Redacted                     First Class Mail
23e7bddb‐c2fb‐427c‐8cfc‐42b5a0bfc5b0                   Address Redacted                     First Class Mail
23e9904a‐1dee‐455c‐b334‐a938ddeea588                   Address Redacted                     First Class Mail
23ea10b9‐9a1e‐4b4e‐af85‐300bc9701389                   Address Redacted                     First Class Mail
23ea4566‐576e‐4384‐8a97‐4d6bf94d01b8                   Address Redacted                     First Class Mail
23eb46dc‐8860‐4725‐9618‐0a3f30970757                   Address Redacted                     First Class Mail
23ed5460‐f5bf‐4aa1‐9e98‐1eba854083bd                   Address Redacted                     First Class Mail
23edfc73‐52fa‐4eea‐a451‐e79c4293b543                   Address Redacted                     First Class Mail
23ee65f6‐07ba‐4341‐a2bc‐ac71069a81f5                   Address Redacted                     First Class Mail
23eefbe4‐230d‐43df‐8c2c‐22ad83311733                   Address Redacted                     First Class Mail
23efc162‐f1e3‐4708‐8246‐2a667b71ab93                   Address Redacted                     First Class Mail
23f48517‐2fa7‐4465‐8f67‐636918ae7148                   Address Redacted                     First Class Mail
23f6173f‐8147‐4bae‐8d94‐405f5bff0b18                   Address Redacted                     First Class Mail
23f98170‐f054‐4a6c‐a11f‐10c792b9f463                   Address Redacted                     First Class Mail
23fe6d17‐2667‐47e5‐b31d‐21857aff4fd2                   Address Redacted                     First Class Mail
24001693‐cc06‐4ae0‐bf29‐0aec3bee5921                   Address Redacted                     First Class Mail
2401842e‐ff5a‐40f8‐8944‐f681165a2a04                   Address Redacted                     First Class Mail
2406ff71‐04b6‐470d‐b4d7‐3b4f859df5a9                   Address Redacted                     First Class Mail
240aef4d‐1ad1‐4050‐a516‐9c4a9d662e70                   Address Redacted                     First Class Mail
240b9328‐478a‐4a7f‐82e4‐4201ca83bd7c                   Address Redacted                     First Class Mail
240bd82b‐7712‐4fad‐a380‐ec0b09b45d35                   Address Redacted                     First Class Mail
240beb63‐e9df‐46b0‐a10c‐7947ae1af4d0                   Address Redacted                     First Class Mail
240d2039‐7173‐4f1d‐bca0‐1d3a79c30b47                   Address Redacted                     First Class Mail
241090dc‐6789‐4384‐8d77‐2d4cdf03c70b                   Address Redacted                     First Class Mail
24110aed‐ee51‐41cb‐b8a3‐459b1b250535                   Address Redacted                     First Class Mail
241177f5‐eb73‐4e72‐90da‐038675974727                   Address Redacted                     First Class Mail
24121487‐95f1‐46c0‐bd97‐cd73247d6448                   Address Redacted                     First Class Mail
241457ef‐bb28‐4cc1‐9a9f‐17ceac1f3d84                   Address Redacted                     First Class Mail
2414b678‐1397‐481c‐b96f‐4903dee509c6                   Address Redacted                     First Class Mail
24166f87‐06ee‐4271‐859d‐d446fc84708d                   Address Redacted                     First Class Mail
2417f2d6‐47a1‐4057‐8201‐d2972906da66                   Address Redacted                     First Class Mail
2418b259‐745c‐436e‐96d8‐4ce1250f335d                   Address Redacted                     First Class Mail
241a9ed7‐5dba‐4ca3‐9c99‐ee2e05402ab9                   Address Redacted                     First Class Mail
241c6254‐eac5‐4596‐83d3‐9522dc3dd590                   Address Redacted                     First Class Mail
241d282e‐7dc8‐498e‐b392‐911066e001c6                   Address Redacted                     First Class Mail
241d5979‐030e‐4948‐a69f‐50525ade4cee                   Address Redacted                     First Class Mail
241e0e3c‐a484‐40e9‐bf3a‐fd03ab7be819                   Address Redacted                     First Class Mail
2423dd0f‐4b16‐40c1‐9b59‐148b4418c124                   Address Redacted                     First Class Mail
24277479‐ffd2‐4615‐be85‐ac39ebce6089                   Address Redacted                     First Class Mail
24328453‐1ae8‐42ab‐8f07‐c448ec1534ba                   Address Redacted                     First Class Mail
2436a1f8‐9ca0‐4957‐8616‐4c8395e4e552                   Address Redacted                     First Class Mail
243784d2‐cbc6‐4548‐a075‐7c7dda07b9df                   Address Redacted                     First Class Mail
243e6e81‐b577‐4ab0‐a846‐a4f2acbd2b1f                   Address Redacted                     First Class Mail
243f7684‐869e‐47f3‐90fa‐a5b7c469cb15                   Address Redacted                     First Class Mail
2441527b‐dd54‐41f7‐9c5b‐d81dd496f601                   Address Redacted                     First Class Mail
24415970‐b3f5‐46e7‐893b‐8dbe00663188                   Address Redacted                     First Class Mail
24438546‐1d0e‐4ccf‐bf6b‐906dce8dd5f9                   Address Redacted                     First Class Mail
24444a5a‐3170‐4e19‐a0ba‐90c818c2d891                   Address Redacted                     First Class Mail
2445f9ae‐1e3a‐4445‐867d‐8f0a869d434d                   Address Redacted                     First Class Mail
24466c1c‐c287‐43d0‐a0af‐3c7a7535b937                   Address Redacted                     First Class Mail
2448954c‐bb44‐45c2‐a718‐62d9742283ac                   Address Redacted                     First Class Mail
244b73b4‐685a‐4b5c‐b4bf‐4f188571c4f5                   Address Redacted                     First Class Mail
244c6dcc‐b9d3‐4a7e‐ad42‐f0f80843601a                   Address Redacted                     First Class Mail
244dba8e‐58e2‐43e9‐9852‐67edbadc2d05                   Address Redacted                     First Class Mail
24536f13‐7472‐4d4e‐a8d6‐c31f3e3484f2                   Address Redacted                     First Class Mail
24576969‐06cc‐466b‐b3de‐db9dfdcd2557                   Address Redacted                     First Class Mail
24596668‐08f2‐4863‐859d‐c8977f9914ed                   Address Redacted                     First Class Mail
245ea334‐b2b1‐4e51‐85a4‐a5b2b87b08db                   Address Redacted                     First Class Mail
24601bf9‐a4b2‐4876‐bdaa‐3747d3374b11                   Address Redacted                     First Class Mail
2463d353‐9a34‐4222‐adce‐17efea317491                   Address Redacted                     First Class Mail




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                                                                 Service List


                              Name                                              Address                        Method of Service
24662332‐2b52‐4ef8‐897f‐4f5213f6fef9                   Address Redacted                     First Class Mail
24669fb7‐e65c‐4ac4‐8bfa‐baec0d42dd96                   Address Redacted                     First Class Mail
2468900e‐a844‐42ac‐bd0d‐8372169810a1                   Address Redacted                     First Class Mail
246af301‐e85c‐4ecc‐b17d‐96c0a5a7dae0                   Address Redacted                     First Class Mail
246dfa58‐67bb‐46d1‐b86a‐c4b07fffeedd                   Address Redacted                     First Class Mail
246fb7b7‐6837‐45c1‐b7b6‐bf013480a196                   Address Redacted                     First Class Mail
247296e4‐cc0e‐4c28‐8b8a‐c869accd7ceb                   Address Redacted                     First Class Mail
247371f0‐0e37‐46ac‐9959‐830674e4143f                   Address Redacted                     First Class Mail
2473e583‐b88c‐4af2‐845a‐1d0be054867f                   Address Redacted                     First Class Mail
24758e65‐b08c‐4bb8‐9da3‐02e3df38febd                   Address Redacted                     First Class Mail
247a2ce9‐2759‐49c1‐8d57‐0867cdc210a7                   Address Redacted                     First Class Mail
247cd6ea‐be4d‐46e8‐aa3f‐01b92a867164                   Address Redacted                     First Class Mail
247d2fc8‐d03c‐4d9a‐a0d9‐f6670005d6f5                   Address Redacted                     First Class Mail
2484057b‐0f11‐454f‐938a‐15bcd512ecea                   Address Redacted                     First Class Mail
2484cd24‐c80d‐4b4e‐8ca6‐4b2e98a4f574                   Address Redacted                     First Class Mail
2484f13d‐4a80‐4bd8‐92b8‐7883afcd718a                   Address Redacted                     First Class Mail
24872564‐8639‐4ee6‐be48‐ebdb72c7f093                   Address Redacted                     First Class Mail
24877167‐df4a‐4c5d‐895c‐fc0b8c85f9a3                   Address Redacted                     First Class Mail
248827a0‐ca2a‐404b‐8ccc‐b2021a9f3b30                   Address Redacted                     First Class Mail
248a7f1c‐5a21‐4680‐97bd‐11f723a207a8                   Address Redacted                     First Class Mail
248c9acc‐e593‐4f0c‐8ce8‐9df4b977d260                   Address Redacted                     First Class Mail
248cd1b1‐770e‐4955‐b82e‐548b568c6cd8                   Address Redacted                     First Class Mail
248e1438‐78cf‐45d5‐aad0‐271166403a6b                   Address Redacted                     First Class Mail
248f8dbd‐b637‐4ec9‐96af‐863196b9423c                   Address Redacted                     First Class Mail
249048dd‐cedb‐45b8‐80c4‐413d3a5cf834                   Address Redacted                     First Class Mail
249126cc‐77fe‐4a4c‐a668‐8eadaa15d4aa                   Address Redacted                     First Class Mail
2491bcae‐1ab4‐47bf‐ac7c‐461108f64363                   Address Redacted                     First Class Mail
2497d58c‐0b25‐41bc‐be02‐670aa364f32b                   Address Redacted                     First Class Mail
2497f410‐37a6‐450f‐b7db‐221522c8f719                   Address Redacted                     First Class Mail
24986cf6‐fc68‐4bfd‐b679‐5d2215dbae40                   Address Redacted                     First Class Mail
249b1489‐eeb6‐4dda‐a47d‐69aeb6fdfa2e                   Address Redacted                     First Class Mail
24a07d46‐e1c7‐4535‐84e7‐d688bc353186                   Address Redacted                     First Class Mail
24a11c95‐7115‐47c8‐9b8a‐62c95274feb6                   Address Redacted                     First Class Mail
24a3ebee‐802b‐4101‐ace0‐ab9f41d6c5e5                   Address Redacted                     First Class Mail
24a40b8c‐b516‐48c7‐9f41‐fdeefeba0b70                   Address Redacted                     First Class Mail
24a5a518‐512f‐4c35‐93c5‐4c6e64f8591d                   Address Redacted                     First Class Mail
24aca61c‐d541‐4218‐8f82‐7e2724132563                   Address Redacted                     First Class Mail
24ae49da‐7baa‐471f‐82ad‐cc2893dfe791                   Address Redacted                     First Class Mail
24afc935‐874d‐4923‐8955‐11ef89038716                   Address Redacted                     First Class Mail
24afdd8a‐8c4f‐4931‐81f0‐19caa1666b50                   Address Redacted                     First Class Mail
24b50d2e‐c7ab‐4831‐b3f7‐2f1bcbf4c138                   Address Redacted                     First Class Mail
24b72b32‐b08c‐4cdc‐92c2‐79edb45da1b2                   Address Redacted                     First Class Mail
24bcde62‐a1c2‐4f48‐b0af‐7fc2b3bc9f95                   Address Redacted                     First Class Mail
24bf0bde‐7bfe‐4881‐9d29‐d7280ac17e1e                   Address Redacted                     First Class Mail
24c9539f‐13d2‐4c86‐a330‐0505fe3359ae                   Address Redacted                     First Class Mail
24d124e1‐041f‐4fde‐9746‐0597c411ab1b                   Address Redacted                     First Class Mail
24d2b793‐a84f‐4000‐a865‐4e7073964bb7                   Address Redacted                     First Class Mail
24d2c9b3‐80be‐4fb2‐ad98‐8c9233593dfd                   Address Redacted                     First Class Mail
24d4b6fb‐2826‐4353‐b23f‐86221120aa44                   Address Redacted                     First Class Mail
24d8e372‐9804‐408c‐ae9d‐4600415ef495                   Address Redacted                     First Class Mail
24d9d0ca‐f84b‐48f7‐8b54‐7f29d8f0a7b9                   Address Redacted                     First Class Mail
24de0e5c‐5f8b‐4dde‐8068‐e00753c56703                   Address Redacted                     First Class Mail
24ded332‐c8e4‐402a‐841e‐3e9e89c00467                   Address Redacted                     First Class Mail
24e06609‐f6e7‐4842‐98b0‐7ea74547926a                   Address Redacted                     First Class Mail
24e572ce‐5770‐45f3‐9c04‐77b36d03b74c                   Address Redacted                     First Class Mail
24e5df1b‐da3b‐432b‐80f4‐f5f7754ed6f7                   Address Redacted                     First Class Mail
24e9c8f3‐45e5‐4dff‐bb6d‐b92fa855f2fd                   Address Redacted                     First Class Mail
24ef1138‐bc9a‐417c‐a18c‐d15b6eb5c850                   Address Redacted                     First Class Mail
24f3ae22‐7734‐4e20‐b506‐e7a0b7b85f66                   Address Redacted                     First Class Mail
24f52add‐6f33‐45fc‐9160‐1c3a1870fa20                   Address Redacted                     First Class Mail
24f56514‐2c4b‐4d15‐babe‐f11f302c9c28                   Address Redacted                     First Class Mail
24f70274‐52d7‐494f‐a753‐0c9a03134e1f                   Address Redacted                     First Class Mail
24fbbd0c‐afea‐4f77‐9518‐6aaab62e749e                   Address Redacted                     First Class Mail
24fc1dcc‐a21e‐4444‐bd08‐e49c934d72e7                   Address Redacted                     First Class Mail
24fc7046‐ceb2‐4cd3‐b175‐aafc5acdbcb6                   Address Redacted                     First Class Mail
24fece79‐c12d‐4fb8‐bd4a‐a9ee80fe75b9                   Address Redacted                     First Class Mail
24ff1c01‐9b88‐4162‐be63‐bae76c674ed2                   Address Redacted                     First Class Mail
250171e4‐9268‐40d6‐88e2‐41f1e5870ca8                   Address Redacted                     First Class Mail
2501f186‐627e‐4a6b‐9c6b‐b48b30e85da9                   Address Redacted                     First Class Mail
2504a974‐01a7‐40e8‐9ec0‐47924d13c455                   Address Redacted                     First Class Mail
250a3127‐1073‐42ff‐9653‐846a0497e515                   Address Redacted                     First Class Mail
250d786c‐a79d‐4dc0‐80f0‐ec35d9833d3b                   Address Redacted                     First Class Mail




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                              Name                                              Address                        Method of Service
250e071a‐851a‐4d1a‐9abe‐5463d65470a3                   Address Redacted                     First Class Mail
250e1435‐efae‐4e64‐8ff0‐aa24a7eaafec                   Address Redacted                     First Class Mail
25158451‐41e3‐42c5‐a28e‐1f4542955d18                   Address Redacted                     First Class Mail
251b01ad‐2697‐43b3‐b89d‐2b6e58956cdb                   Address Redacted                     First Class Mail
2520926f‐4d54‐417f‐9101‐63088c18c855                   Address Redacted                     First Class Mail
2523e35c‐58f5‐4c82‐a532‐7a279fb9f26a                   Address Redacted                     First Class Mail
252697dc‐9d73‐45a7‐a2ee‐919bd018cd5a                   Address Redacted                     First Class Mail
2527cb02‐55da‐4382‐bbe4‐1b52d3115d65                   Address Redacted                     First Class Mail
2529c141‐bfd1‐44a3‐9721‐cee0f7f24ef4                   Address Redacted                     First Class Mail
252e2761‐c9e6‐461f‐a044‐17979c01027e                   Address Redacted                     First Class Mail
252f27c6‐d8ed‐4475‐834a‐129204a186f0                   Address Redacted                     First Class Mail
252fe7f7‐5866‐4b6d‐822b‐72773d32791a                   Address Redacted                     First Class Mail
253304e2‐bfca‐4a05‐a67f‐b8706ce35f0b                   Address Redacted                     First Class Mail
253af2ea‐fd8b‐40fd‐aff0‐b8eb7839eed5                   Address Redacted                     First Class Mail
253caaa9‐793e‐40fa‐b263‐abeb5eaec7d0                   Address Redacted                     First Class Mail
253dee64‐5a1a‐445d‐adf4‐f3c53cc38b20                   Address Redacted                     First Class Mail
2545798f‐684f‐4cc8‐ac87‐25b5cd029254                   Address Redacted                     First Class Mail
254665da‐db29‐42b8‐9368‐b0db51227887                   Address Redacted                     First Class Mail
25488409‐4b4e‐4640‐81b8‐6ce42883c654                   Address Redacted                     First Class Mail
2548abfb‐272c‐4d6b‐9ad6‐e0973a422874                   Address Redacted                     First Class Mail
25490f3d‐f10e‐471b‐9d0c‐5c63c968f6cb                   Address Redacted                     First Class Mail
25519667‐d76d‐4483‐9710‐92b659682a83                   Address Redacted                     First Class Mail
2552ddb4‐4601‐4070‐a67d‐7334aed7eab8                   Address Redacted                     First Class Mail
2552f494‐898c‐447b‐9ca1‐b81c2b8dad66                   Address Redacted                     First Class Mail
2554e5b4‐0951‐4a5c‐8335‐dbdee8455a35                   Address Redacted                     First Class Mail
25578a0f‐180d‐43f5‐92b8‐a1ecf631d366                   Address Redacted                     First Class Mail
2557a0ef‐aa39‐4c94‐a97b‐a3b73491dcf3                   Address Redacted                     First Class Mail
255824d7‐4318‐43ea‐b206‐42b0f9a035a5                   Address Redacted                     First Class Mail
25589366‐6cfb‐451e‐ba85‐e4e048b7149b                   Address Redacted                     First Class Mail
255bde1c‐aeb7‐4db0‐acb1‐0f7dd8d22ed1                   Address Redacted                     First Class Mail
255d4968‐ddd2‐472f‐b2c6‐d5f2e5bae3c5                   Address Redacted                     First Class Mail
25608399‐1082‐447b‐a996‐0d42432a8c2f                   Address Redacted                     First Class Mail
2560e3b4‐5ef8‐445b‐8a73‐9d5c098f1938                   Address Redacted                     First Class Mail
2563dbd8‐06e5‐4922‐a7ef‐1d8021cd35a5                   Address Redacted                     First Class Mail
25649000‐90e4‐44ef‐99e2‐d32fe92a285e                   Address Redacted                     First Class Mail
2567086c‐dc6a‐4b8d‐9634‐98ba45a4d6d9                   Address Redacted                     First Class Mail
256a20b1‐a1f4‐48d5‐b35c‐9ec25ac40e79                   Address Redacted                     First Class Mail
256c0834‐6ee9‐4cb1‐96f7‐a731b65adf83                   Address Redacted                     First Class Mail
256e0f8d‐ce04‐4a11‐af52‐6762e92f273f                   Address Redacted                     First Class Mail
2572eab0‐0e61‐47b7‐9c12‐232610e6731c                   Address Redacted                     First Class Mail
25754a3a‐b13b‐40b3‐b591‐b224e5b8988a                   Address Redacted                     First Class Mail
25804b0b‐62ba‐4254‐90e7‐d2af4dc17335                   Address Redacted                     First Class Mail
25823f87‐9a67‐4902‐beac‐3c1c305068bf                   Address Redacted                     First Class Mail
2582c4aa‐5c80‐42d0‐b0af‐0799696b4da0                   Address Redacted                     First Class Mail
25859ebd‐9175‐49fa‐a9e2‐d7c94bad03cb                   Address Redacted                     First Class Mail
2589a61c‐e5c0‐4c17‐8320‐9aa2d9495ed8                   Address Redacted                     First Class Mail
258eeb01‐3bad‐4e31‐aca6‐d2d5ee01ee15                   Address Redacted                     First Class Mail
25918bd8‐6381‐4856‐9b74‐200b7b22fe73                   Address Redacted                     First Class Mail
25944574‐ed18‐483a‐90f2‐0ea9e14ac9e6                   Address Redacted                     First Class Mail
2594f83d‐7dd4‐4264‐b6d2‐a799366a6fe1                   Address Redacted                     First Class Mail
2598175b‐dabb‐4633‐b105‐fdc5a09daebe                   Address Redacted                     First Class Mail
259a745b‐abb5‐4870‐bdf9‐592959c4bcc5                   Address Redacted                     First Class Mail
259f9efc‐363f‐4bf8‐a897‐d1d908d13a9b                   Address Redacted                     First Class Mail
25a1028a‐580d‐4a41‐81e9‐ea3e89b70f81                   Address Redacted                     First Class Mail
25a4994c‐9825‐4eb6‐ab00‐69fab65b6fa5                   Address Redacted                     First Class Mail
25a4ad6e‐7ce3‐4bba‐8312‐a56ee453769a                   Address Redacted                     First Class Mail
25a52023‐4227‐41de‐bfd5‐1a31c446ccf5                   Address Redacted                     First Class Mail
25abf586‐b7d5‐44d1‐962f‐b187442f1b61                   Address Redacted                     First Class Mail
25af0220‐102c‐4abb‐97da‐ccfc22306f4c                   Address Redacted                     First Class Mail
25b0258a‐eac8‐4ee3‐95cd‐4f8999f2c991                   Address Redacted                     First Class Mail
25b52fd8‐a97e‐4c28‐be9a‐1e29a947876f                   Address Redacted                     First Class Mail
25b5c27c‐e49b‐49fe‐bb18‐90731c16d012                   Address Redacted                     First Class Mail
25bc2066‐bb53‐4c66‐bafa‐1eebeb671917                   Address Redacted                     First Class Mail
25be622a‐9ae7‐49ba‐b09b‐1907a6f99855                   Address Redacted                     First Class Mail
25bfce5a‐b316‐4e89‐902f‐55de842c2eb0                   Address Redacted                     First Class Mail
25c0092d‐4e75‐45cd‐bce1‐b704c3aab79f                   Address Redacted                     First Class Mail
25c3be52‐0260‐4992‐9905‐37d523c3dce3                   Address Redacted                     First Class Mail
25c554fe‐3991‐410f‐9a73‐bcdbd5db3230                   Address Redacted                     First Class Mail
25c7b2bb‐9739‐4ac1‐8776‐92eea5adb149                   Address Redacted                     First Class Mail
25ca77fe‐42a8‐47cb‐8eb1‐8e5e469e9a80                   Address Redacted                     First Class Mail
25caf6cc‐8033‐4ddc‐80b4‐4bc4e2dff106                   Address Redacted                     First Class Mail
25cfb2f2‐b4ef‐453b‐9bad‐8879d4d2a190                   Address Redacted                     First Class Mail




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                                                                 Service List


                              Name                                              Address                        Method of Service
25d75503‐1136‐42ed‐a53a‐628f89b0322c                   Address Redacted                     First Class Mail
25dd3521‐ac42‐4420‐89b4‐ebdecf02cf67                   Address Redacted                     First Class Mail
25ddefac‐3c62‐45f8‐9516‐9baff2f634dd                   Address Redacted                     First Class Mail
25e06b26‐7279‐4171‐8817‐bd383574d4e1                   Address Redacted                     First Class Mail
25e5561b‐6297‐403f‐9528‐aaa66b18910e                   Address Redacted                     First Class Mail
25e6aa1e‐51bd‐4cc0‐8d60‐c765035a3ea6                   Address Redacted                     First Class Mail
25e70902‐8057‐42af‐8d5a‐73ca39ae6b4c                   Address Redacted                     First Class Mail
25e723f6‐bf25‐4b74‐bf74‐076e4ba80606                   Address Redacted                     First Class Mail
25e74d54‐2b99‐42eb‐bce1‐b25811dd8a8f                   Address Redacted                     First Class Mail
25eb1081‐e44d‐401f‐8b27‐7eb853cd811d                   Address Redacted                     First Class Mail
25eda402‐5527‐4955‐83fc‐1eba8fdddcbd                   Address Redacted                     First Class Mail
25eea864‐d101‐42c4‐a597‐0ed772db4c12                   Address Redacted                     First Class Mail
25f217ff‐8bef‐4933‐9bb9‐e0c05e03424c                   Address Redacted                     First Class Mail
25f44698‐6abc‐4a5c‐ab59‐341c461fd359                   Address Redacted                     First Class Mail
25f5e32f‐00f3‐4273‐8d2a‐05c0b83d6031                   Address Redacted                     First Class Mail
25f893e1‐c410‐49f9‐bf1e‐221c6a60be91                   Address Redacted                     First Class Mail
25faf721‐0425‐4b50‐8423‐c4ae8bc0da05                   Address Redacted                     First Class Mail
25fd0934‐cf9f‐4a05‐a186‐fd3c9a28e53c                   Address Redacted                     First Class Mail
2600d4df‐e1d7‐413c‐a59d‐44ca9fd81a43                   Address Redacted                     First Class Mail
26030c1a‐ad83‐4467‐9304‐5826592ad618                   Address Redacted                     First Class Mail
26035c91‐2f87‐4759‐91fc‐4edbe114f95c                   Address Redacted                     First Class Mail
2605fc68‐0c3b‐4d3a‐8351‐b3ef47ae066b                   Address Redacted                     First Class Mail
2606e3a6‐bdcf‐41f0‐a88e‐ffb1a12df93f                   Address Redacted                     First Class Mail
260945c5‐2ca6‐4f8d‐837f‐ce3d9b4aa176                   Address Redacted                     First Class Mail
26094d6d‐ca61‐4b59‐bea4‐b7b69ee45818                   Address Redacted                     First Class Mail
2609e422‐3c73‐4d8c‐9ccd‐ac2486b20cd1                   Address Redacted                     First Class Mail
260d1cdd‐e351‐46c8‐a605‐400686d4dff0                   Address Redacted                     First Class Mail
261732de‐3592‐4a65‐ae2b‐995d369671f7                   Address Redacted                     First Class Mail
261b37e2‐5d4c‐4fa7‐8788‐07d4fd56ca13                   Address Redacted                     First Class Mail
261edad7‐c5bb‐43ed‐adcf‐f04b0b4940ad                   Address Redacted                     First Class Mail
26203a56‐7408‐477f‐8744‐1bec08c6c93b                   Address Redacted                     First Class Mail
26266e7e‐ae0e‐4c5b‐a8a8‐a533816a325f                   Address Redacted                     First Class Mail
262c59fc‐d4e6‐4ca1‐bfaa‐503d296f67b5                   Address Redacted                     First Class Mail
263085a3‐5534‐4d2e‐97ff‐4d53b6412635                   Address Redacted                     First Class Mail
2630c408‐5577‐41e0‐96e3‐9fc0cbda203c                   Address Redacted                     First Class Mail
263193ef‐32e4‐4de7‐b2b3‐e5947248a113                   Address Redacted                     First Class Mail
2633f627‐b0d7‐44a9‐8e7f‐f406deb8d602                   Address Redacted                     First Class Mail
2635ddf4‐d0f9‐46b1‐b605‐bb53fa171f56                   Address Redacted                     First Class Mail
263604a3‐6cc2‐43e4‐bce0‐f3c56ee39f79                   Address Redacted                     First Class Mail
26368007‐e6f5‐4954‐9008‐9be7190b835e                   Address Redacted                     First Class Mail
263696ad‐2d73‐4619‐abb9‐d5b0e52a225e                   Address Redacted                     First Class Mail
2636c458‐9c74‐4cab‐a6a2‐a146cbf85814                   Address Redacted                     First Class Mail
263bed9a‐63b2‐458a‐b9a2‐a86db03b6f7a                   Address Redacted                     First Class Mail
263d77f4‐ef21‐48c6‐93bd‐1a5b2adec8e4                   Address Redacted                     First Class Mail
263fd61a‐defc‐48af‐b8b6‐751f8c17cccb                   Address Redacted                     First Class Mail
264230e6‐7716‐4def‐b5ab‐d93bedc524ac                   Address Redacted                     First Class Mail
26448634‐9688‐42e3‐a07d‐b21d0dd3ff5d                   Address Redacted                     First Class Mail
26475ff6‐03ab‐4a3d‐8ec8‐6360ad123031                   Address Redacted                     First Class Mail
264a062b‐3ffe‐4dbb‐b31e‐13a56bae9301                   Address Redacted                     First Class Mail
26505702‐167f‐436b‐9ca3‐5cfc45e1aea3                   Address Redacted                     First Class Mail
2654a9b0‐615b‐45fb‐a4c4‐ec43330419dd                   Address Redacted                     First Class Mail
26566a63‐7d6d‐41a7‐b981‐eb152816a952                   Address Redacted                     First Class Mail
26598121‐fa22‐489b‐bb4b‐32e8d883fb26                   Address Redacted                     First Class Mail
2660e2ba‐cf73‐421a‐b13a‐b263b56c12b8                   Address Redacted                     First Class Mail
26674e7c‐321f‐446e‐8718‐c246cab86673                   Address Redacted                     First Class Mail
26684e9a‐96c3‐4568‐abb6‐f98b4e26fe93                   Address Redacted                     First Class Mail
266a9c81‐6836‐4090‐a4e0‐3fd33db86142                   Address Redacted                     First Class Mail
266aaa25‐87ef‐48a2‐b824‐37e18246dc69                   Address Redacted                     First Class Mail
266dcacb‐aeae‐4215‐be38‐62cd0f89abc0                   Address Redacted                     First Class Mail
266fd727‐67c4‐4028‐bb35‐0e1a73bb25ba                   Address Redacted                     First Class Mail
26718b76‐9710‐4402‐a871‐6f2a28e7a9ea                   Address Redacted                     First Class Mail
267229f2‐dfdf‐480b‐8358‐1e73d1ddebd5                   Address Redacted                     First Class Mail
26732f2c‐b698‐4d2f‐83e7‐1e76f89b49c5                   Address Redacted                     First Class Mail
26749f7c‐762d‐42aa‐9999‐c37d05532426                   Address Redacted                     First Class Mail
2675b52b‐5278‐44e9‐85f3‐2b6adbc7562e                   Address Redacted                     First Class Mail
26778cc1‐55c7‐4e77‐b23b‐4dd6d72195ad                   Address Redacted                     First Class Mail
2678237a‐38b3‐4a1b‐b1a6‐e16749706693                   Address Redacted                     First Class Mail
267974b0‐1251‐42d1‐a678‐9355e79bf154                   Address Redacted                     First Class Mail
267cace6‐880e‐4308‐a9e0‐5f9b0c637748                   Address Redacted                     First Class Mail
267d8180‐f766‐4073‐9e50‐0f2367f4a28f                   Address Redacted                     First Class Mail
267ff8c3‐25d0‐4bdc‐a245‐c3ec12c25bc0                   Address Redacted                     First Class Mail
2684a698‐3961‐4507‐9505‐9fa08c363861                   Address Redacted                     First Class Mail




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                                                                Exhibit A
                                                                 Service List


                              Name                                              Address                        Method of Service
2686517e‐5365‐472e‐9c7d‐8b227132cc19                   Address Redacted                     First Class Mail
2686a8c8‐d48a‐43a2‐b434‐b44c914e314b                   Address Redacted                     First Class Mail
26881468‐dd39‐4946‐ab62‐1f6d1bc8a6e2                   Address Redacted                     First Class Mail
268eedbc‐e357‐489c‐aa8d‐49e3d9ee45d9                   Address Redacted                     First Class Mail
268fa061‐9efd‐4b8d‐b372‐07719db3c6d1                   Address Redacted                     First Class Mail
26944ec4‐a2e8‐4159‐9d04‐c9efcfc2d7f4                   Address Redacted                     First Class Mail
26949466‐976e‐4644‐9781‐01e12b8874f7                   Address Redacted                     First Class Mail
26987590‐a218‐4192‐b839‐36ed1aeb487a                   Address Redacted                     First Class Mail
2699a00c‐33ec‐40fb‐b936‐392ef909af91                   Address Redacted                     First Class Mail
269eb93d‐4bee‐4ffb‐b500‐320ca59a65c4                   Address Redacted                     First Class Mail
269ebfab‐42f3‐469c‐b0f7‐270faaefaee0                   Address Redacted                     First Class Mail
26a04e35‐1e9c‐4de1‐9a28‐51ec2658d661                   Address Redacted                     First Class Mail
26a072b1‐9bba‐46b5‐801a‐25923b0b5f2a                   Address Redacted                     First Class Mail
26a2f383‐753a‐439d‐a0a8‐28cb029f6715                   Address Redacted                     First Class Mail
26a423e9‐f33b‐4171‐9a74‐a2a3a0bac560                   Address Redacted                     First Class Mail
26a51eb7‐5fc2‐4359‐af7d‐63f98fc9d65a                   Address Redacted                     First Class Mail
26a6475d‐aae5‐48b1‐8314‐7a0982205d29                   Address Redacted                     First Class Mail
26a6ef01‐2a9b‐4c5f‐ad18‐ba225b1fdb3c                   Address Redacted                     First Class Mail
26af122a‐f9d0‐4983‐a93e‐853246350077                   Address Redacted                     First Class Mail
26b1c2c8‐6e9b‐458a‐adde‐2d864621b5b8                   Address Redacted                     First Class Mail
26b36582‐2f31‐4ffc‐b20a‐2a73e56f088c                   Address Redacted                     First Class Mail
26ba155c‐4a26‐44c7‐a063‐a4878638f4f6                   Address Redacted                     First Class Mail
26ba2d22‐cc38‐4746‐805b‐76e3b35b2aba                   Address Redacted                     First Class Mail
26bc9751‐d6b3‐4f53‐bd2a‐747503c2acf3                   Address Redacted                     First Class Mail
26c0f16d‐7867‐4ae9‐947d‐ebc05ca04484                   Address Redacted                     First Class Mail
26c5a659‐2498‐412f‐a4db‐d3384534dffd                   Address Redacted                     First Class Mail
26c5d50c‐6036‐4f87‐ab04‐c630474092f2                   Address Redacted                     First Class Mail
26c86a5e‐2515‐4d61‐ad43‐d985ae49069c                   Address Redacted                     First Class Mail
26cd4c87‐d1a9‐4f87‐8f86‐a0abcb34cf87                   Address Redacted                     First Class Mail
26d024c2‐a156‐42aa‐a572‐e3bdc06fa16d                   Address Redacted                     First Class Mail
26d2b0ef‐7c7d‐46f4‐bcea‐470b87632a50                   Address Redacted                     First Class Mail
26d3162f‐7873‐49ed‐8323‐2685d0bde3b6                   Address Redacted                     First Class Mail
26d587a2‐9c63‐4d4d‐83d4‐2ebb7a9971f0                   Address Redacted                     First Class Mail
26d6889f‐77ea‐49a7‐9081‐8bdc0a5a88e8                   Address Redacted                     First Class Mail
26e0a9be‐5c77‐42ed‐b052‐c0fdabc0cc7c                   Address Redacted                     First Class Mail
26e164f1‐c467‐4e71‐b5cc‐b3ed720d35b1                   Address Redacted                     First Class Mail
26e27844‐5d82‐4213‐9a70‐0af212e78339                   Address Redacted                     First Class Mail
26e72347‐09b6‐4d86‐b8d5‐2a3cfc30c576                   Address Redacted                     First Class Mail
26e78b33‐9731‐4cf4‐a993‐ffd0ed2113af                   Address Redacted                     First Class Mail
26e89b5b‐57b5‐4e14‐a620‐ce3e25e7877f                   Address Redacted                     First Class Mail
26ec5eab‐74d8‐4afb‐9314‐451e80a926ab                   Address Redacted                     First Class Mail
26efc9a0‐8039‐46d9‐b3c2‐5151eb0defef                   Address Redacted                     First Class Mail
26f4a4d5‐9c7e‐48c1‐9365‐5eb098410dd7                   Address Redacted                     First Class Mail
26f606a1‐3d98‐42b9‐8cbf‐b403b3a22b3b                   Address Redacted                     First Class Mail
26f6f66d‐3797‐469a‐b087‐132473a1e399                   Address Redacted                     First Class Mail
26f71bb2‐404b‐466d‐b89f‐f15ad3f63729                   Address Redacted                     First Class Mail
26f9eb69‐c83f‐4b0c‐ac8c‐6c11aafaf30a                   Address Redacted                     First Class Mail
26fabbb0‐f3b2‐4556‐90e2‐7f068d599dfc                   Address Redacted                     First Class Mail
26fc5c61‐b54f‐4d2f‐8ab8‐a9b9ccdad6ad                   Address Redacted                     First Class Mail
270233d2‐f99a‐41b1‐86c6‐9cde2043b919                   Address Redacted                     First Class Mail
27024a3d‐7e99‐406f‐a4e3‐30ea56fd7550                   Address Redacted                     First Class Mail
27036e0c‐5d3c‐4372‐99d0‐dcb3f89cfe51                   Address Redacted                     First Class Mail
2703be86‐e9d7‐443b‐ba2b‐0f26c3eaf7cc                   Address Redacted                     First Class Mail
2706e47c‐e44f‐4d1e‐8a00‐2643075cbc33                   Address Redacted                     First Class Mail
270900d5‐035a‐44e7‐9db9‐54bc31ae49d2                   Address Redacted                     First Class Mail
270d0b83‐3f5c‐4461‐a737‐43ca738fdb08                   Address Redacted                     First Class Mail
271149b6‐d9c4‐4143‐8e4b‐7d18fd890d34                   Address Redacted                     First Class Mail
2711790f‐ef23‐4e0e‐9c01‐5a54b60105f6                   Address Redacted                     First Class Mail
271250b3‐b25c‐46f6‐8252‐206cec103e75                   Address Redacted                     First Class Mail
2713b492‐4da8‐455d‐a801‐99a459d0047d                   Address Redacted                     First Class Mail
2713eae0‐a643‐4b4a‐8f9f‐2eb9132b5907                   Address Redacted                     First Class Mail
2716de9d‐7a56‐45c1‐9316‐f6a65cce2d00                   Address Redacted                     First Class Mail
2718b935‐6703‐4c85‐a2cd‐5d4415625440                   Address Redacted                     First Class Mail
271c5b2f‐1c42‐4205‐9a0c‐6b3c69896d6b                   Address Redacted                     First Class Mail
271c6bd0‐a656‐48e1‐b738‐33e6297e79ed                   Address Redacted                     First Class Mail
271df1c1‐908d‐4fff‐9315‐4dd4601b62da                   Address Redacted                     First Class Mail
2721d383‐9252‐4e00‐a2c8‐9f922d5973ab                   Address Redacted                     First Class Mail
2724ee29‐b830‐46c8‐9da7‐e6c94dbfb50c                   Address Redacted                     First Class Mail
27269f0f‐33f3‐40b9‐b229‐03c0f07cb10c                   Address Redacted                     First Class Mail
27293c67‐a6db‐4716‐9cdd‐87d42f895f70                   Address Redacted                     First Class Mail
27334e2c‐bbcb‐4499‐ae10‐23f419694ab7                   Address Redacted                     First Class Mail
2735ef73‐cbae‐4ebf‐9442‐d1d1975f7094                   Address Redacted                     First Class Mail




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                              Name                                              Address                        Method of Service
273bcbd7‐edf7‐444c‐b746‐60901d82b6a7                   Address Redacted                     First Class Mail
273e069e‐4a13‐4b67‐9e6b‐90acb495471f                   Address Redacted                     First Class Mail
273e6214‐9d30‐4be0‐b836‐80254f7d81e9                   Address Redacted                     First Class Mail
273e7576‐a9a9‐4366‐a0da‐ceeb7124ad72                   Address Redacted                     First Class Mail
273f79f6‐7c1d‐4455‐8581‐c65c98cdfe31                   Address Redacted                     First Class Mail
27445071‐bed1‐4ff1‐8016‐1b82876506f9                   Address Redacted                     First Class Mail
27452ec5‐6851‐4b17‐b4f1‐cd41faeaafd0                   Address Redacted                     First Class Mail
274b0cbe‐b1b4‐414f‐93dd‐2fc829616c39                   Address Redacted                     First Class Mail
274ca7d5‐b0a5‐42c0‐a070‐b5f66e35acbc                   Address Redacted                     First Class Mail
274dc367‐d157‐4d87‐bb81‐c4e2d4b99370                   Address Redacted                     First Class Mail
27506992‐2607‐4a7b‐8a52‐ead91820736c                   Address Redacted                     First Class Mail
2752d336‐1bfb‐45f5‐bd06‐d2d0c169244a                   Address Redacted                     First Class Mail
275419df‐6871‐4f39‐9e6a‐837546c899a1                   Address Redacted                     First Class Mail
2759008a‐04d1‐4e15‐966d‐750de6c59b88                   Address Redacted                     First Class Mail
27644184‐27b8‐4509‐99c5‐f41980b0a9e0                   Address Redacted                     First Class Mail
27652db2‐9b27‐4629‐a41b‐e9db6dc4771d                   Address Redacted                     First Class Mail
27670dd5‐5fd2‐46b4‐80a8‐bc0d08fd79d0                   Address Redacted                     First Class Mail
2767c23d‐1f57‐4cc7‐adb9‐b524ab4645ec                   Address Redacted                     First Class Mail
2771c426‐e185‐4956‐9797‐9c8f3bec78f2                   Address Redacted                     First Class Mail
2775d73c‐f56e‐4d59‐84e4‐803a7c485300                   Address Redacted                     First Class Mail
2776bee4‐7630‐46e9‐8e16‐225b09b82ede                   Address Redacted                     First Class Mail
27793fce‐01d5‐4a3a‐85b6‐cbc02e618420                   Address Redacted                     First Class Mail
277a09f0‐fa19‐48cc‐9bb0‐736656b39f57                   Address Redacted                     First Class Mail
277c23a9‐3168‐4f5a‐b113‐37bfb6c89fb3                   Address Redacted                     First Class Mail
277f6495‐fa17‐4b28‐9faa‐d282835b6745                   Address Redacted                     First Class Mail
278240ed‐2325‐476e‐84ec‐9dcf4f3e4a55                   Address Redacted                     First Class Mail
27828eaa‐6c84‐4fa2‐a4f8‐471218e3e2b3                   Address Redacted                     First Class Mail
27835857‐dc76‐4516‐b790‐c2475d73dca0                   Address Redacted                     First Class Mail
278377af‐c0fd‐46ab‐b697‐a5c5adf9ddcb                   Address Redacted                     First Class Mail
278929d9‐0997‐4b79‐94dd‐b5f14bb9a465                   Address Redacted                     First Class Mail
2790f33c‐d298‐4840‐a677‐28fa9505625d                   Address Redacted                     First Class Mail
27965c91‐4106‐487e‐989e‐84cfdd1680a0                   Address Redacted                     First Class Mail
27996d89‐13e0‐4605‐b69c‐721ee1a0d9b2                   Address Redacted                     First Class Mail
279a42ba‐b3bc‐4cbb‐92f0‐738f3eaa298b                   Address Redacted                     First Class Mail
27a100c3‐ef8b‐4493‐a325‐c78be55dce0d                   Address Redacted                     First Class Mail
27a19377‐6ea8‐4584‐9c30‐4205466887b3                   Address Redacted                     First Class Mail
27a1eca7‐25e0‐4b17‐aa17‐17c98286b8d6                   Address Redacted                     First Class Mail
27a6a3b1‐4b1b‐4d06‐8445‐bf6b5321b447                   Address Redacted                     First Class Mail
27aaa588‐05dd‐40e0‐a16a‐b9bcd2d05600                   Address Redacted                     First Class Mail
27ab9fd4‐dc39‐42ca‐ab40‐8f5f4dc407b2                   Address Redacted                     First Class Mail
27b24e84‐46fc‐4a93‐b53f‐91e1ede83f4e                   Address Redacted                     First Class Mail
27b420f7‐08f1‐4dae‐a17d‐c79bf1a95aca                   Address Redacted                     First Class Mail
27b6db72‐ce26‐4d65‐a5ec‐f6bd23a811f2                   Address Redacted                     First Class Mail
27b76c2b‐6d1a‐4952‐9cfc‐3413c7ea573d                   Address Redacted                     First Class Mail
27b83260‐10c4‐4cca‐8c70‐1aa326cf487c                   Address Redacted                     First Class Mail
27bb9b11‐5a8f‐4a77‐9f29‐8b27b7d8a886                   Address Redacted                     First Class Mail
27bfa0d4‐c128‐4a0d‐bb0a‐4afb31875d95                   Address Redacted                     First Class Mail
27c34bc2‐d501‐43bb‐b3fb‐12eb4bdc564a                   Address Redacted                     First Class Mail
27c56ed9‐02a4‐4641‐8bc8‐d8787d646532                   Address Redacted                     First Class Mail
27c64af9‐fdcc‐4511‐acc9‐205b3f55d5e4                   Address Redacted                     First Class Mail
27ccb4e8‐2c68‐46de‐98ab‐255392f97095                   Address Redacted                     First Class Mail
27cd9be1‐680a‐4539‐a8aa‐f67c226216eb                   Address Redacted                     First Class Mail
27cfbbbd‐7b0d‐404e‐b9da‐0030e8d434a1                   Address Redacted                     First Class Mail
27d4265f‐231e‐4ef5‐ae34‐926bf58c229e                   Address Redacted                     First Class Mail
27d5b4e0‐1689‐4ddc‐b9b9‐679d6dcec14b                   Address Redacted                     First Class Mail
27da9972‐31c2‐41fd‐ad50‐33e0a0ec384f                   Address Redacted                     First Class Mail
27daa8c6‐c203‐4cbe‐b94f‐84484e6fa54e                   Address Redacted                     First Class Mail
27dbe93a‐9b60‐4d92‐aae7‐c43b1fc8b65b                   Address Redacted                     First Class Mail
27e0a0bd‐4917‐468b‐80bf‐fe2a9c8348d5                   Address Redacted                     First Class Mail
27e123f3‐95c6‐4782‐8e3a‐fffe65587319                   Address Redacted                     First Class Mail
27e2504f‐7c8b‐4a64‐a879‐804348c3d66a                   Address Redacted                     First Class Mail
27e59acd‐5216‐4382‐af77‐2adbcb9b5bfc                   Address Redacted                     First Class Mail
27e5fe71‐f976‐4ab6‐b0ae‐485ea600c9d4                   Address Redacted                     First Class Mail
27e61f35‐3300‐4b8b‐8bae‐bb7767316988                   Address Redacted                     First Class Mail
27ea4336‐236b‐4c80‐b9f6‐0b86be4d7762                   Address Redacted                     First Class Mail
27ee1519‐6e3d‐4316‐9002‐89e10131d335                   Address Redacted                     First Class Mail
27ee3885‐1243‐4147‐bae7‐76b50c082642                   Address Redacted                     First Class Mail
27ee7174‐ac34‐40aa‐8206‐c636ed0bd5ab                   Address Redacted                     First Class Mail
27f02a8d‐bac2‐429a‐9045‐19467c04e9ba                   Address Redacted                     First Class Mail
27f7a4e6‐fbde‐4434‐935d‐07e1927e7165                   Address Redacted                     First Class Mail
27fb4a77‐0580‐4598‐9b8b‐e3802b788c71                   Address Redacted                     First Class Mail
27fd25bc‐0f63‐4309‐9bec‐7e06242447ff                   Address Redacted                     First Class Mail




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                              Name                                              Address                        Method of Service
27ff39a3‐03ed‐4326‐9cec‐2cd48f7b51fd                   Address Redacted                     First Class Mail
280337f4‐640d‐4af2‐a958‐b2ec49f524f7                   Address Redacted                     First Class Mail
28035c4f‐3147‐4788‐93c6‐9cd96005f218                   Address Redacted                     First Class Mail
28048564‐b95d‐4898‐bd58‐7b305ad7bcea                   Address Redacted                     First Class Mail
280ce298‐fd9a‐4846‐9b2c‐ca25579f4d26                   Address Redacted                     First Class Mail
280fe5dd‐4dcf‐4d11‐9594‐f596690635dc                   Address Redacted                     First Class Mail
28121334‐2024‐4784‐9201‐b50209c8bb59                   Address Redacted                     First Class Mail
28127c46‐28ed‐4860‐a724‐3453c2dc003a                   Address Redacted                     First Class Mail
2818eaa4‐f68a‐420e‐a9eb‐fb56d0374163                   Address Redacted                     First Class Mail
281ec606‐d209‐4688‐9ae8‐1c76eee92542                   Address Redacted                     First Class Mail
282155fb‐d277‐44c6‐91da‐394927b57be3                   Address Redacted                     First Class Mail
28224889‐d7aa‐4bdd‐a7ad‐11ebdb193d9f                   Address Redacted                     First Class Mail
282375be‐8cdb‐4a5b‐9806‐27b2522247bb                   Address Redacted                     First Class Mail
28242d08‐2ddc‐4755‐bad7‐5888638bbf39                   Address Redacted                     First Class Mail
28260e55‐64af‐4746‐99ed‐78b2dc0e0e84                   Address Redacted                     First Class Mail
2826a285‐ead6‐4cb5‐aec3‐06b65f5b268e                   Address Redacted                     First Class Mail
28298f8c‐d0e0‐450f‐8b7a‐3a229593a804                   Address Redacted                     First Class Mail
2829da0f‐bdc8‐4870‐ac54‐cd2da3d25f28                   Address Redacted                     First Class Mail
282a8b5e‐fc13‐4631‐a5d5‐ebe82ce0017f                   Address Redacted                     First Class Mail
282ba673‐9d90‐4d47‐8b80‐dd2e770d9c2f                   Address Redacted                     First Class Mail
282dc0ac‐faed‐4139‐8196‐a9172c63ac77                   Address Redacted                     First Class Mail
283153c7‐10ff‐4c90‐9f2e‐327b330c16b6                   Address Redacted                     First Class Mail
283ab246‐cad2‐4a0c‐ad41‐e90bce6acc87                   Address Redacted                     First Class Mail
283de61b‐3903‐48dd‐b28e‐30e263dfaa95                   Address Redacted                     First Class Mail
283e7362‐0616‐43c5‐bc75‐0483be3ee49d                   Address Redacted                     First Class Mail
2842f639‐3d2f‐481c‐98bb‐87229b42b3eb                   Address Redacted                     First Class Mail
284400a2‐a424‐4017‐ba52‐43e43c3d297a                   Address Redacted                     First Class Mail
28441f3a‐5b9d‐4f33‐8bca‐42b3c21e06ee                   Address Redacted                     First Class Mail
28442ab9‐b30d‐4679‐9da1‐7abc67107f4f                   Address Redacted                     First Class Mail
284587eb‐a6a4‐4f7d‐81b9‐3cb5c8621b8a                   Address Redacted                     First Class Mail
284595cd‐6c2d‐4f9d‐9429‐c001369f1a1d                   Address Redacted                     First Class Mail
284712ff‐8e8f‐4063‐8278‐f33b4d664229                   Address Redacted                     First Class Mail
2847207e‐b279‐4029‐be7f‐e5b987cce527                   Address Redacted                     First Class Mail
284bde48‐4d34‐4c62‐b792‐4ccbb56f751d                   Address Redacted                     First Class Mail
284c1dea‐5d87‐4294‐8573‐8d28fbaa5f04                   Address Redacted                     First Class Mail
284fecf3‐9987‐4adc‐9abb‐289ecfda2e8a                   Address Redacted                     First Class Mail
2850668c‐c3de‐4ed5‐a270‐5ea5dd1e61da                   Address Redacted                     First Class Mail
285472d6‐3c80‐4fd2‐bef1‐b9e248b56fa8                   Address Redacted                     First Class Mail
285581dc‐4237‐4e8d‐b43f‐c38f3a09770f                   Address Redacted                     First Class Mail
285778e6‐442b‐40ae‐a173‐293e9165c1cc                   Address Redacted                     First Class Mail
2857e1f6‐25a3‐467a‐bf65‐7430d272a4d4                   Address Redacted                     First Class Mail
285fb9fa‐b61d‐4fa9‐a913‐61afc88c99a3                   Address Redacted                     First Class Mail
28645201‐a148‐49a1‐aba9‐5a2b63c616ad                   Address Redacted                     First Class Mail
28657a52‐9dbd‐4c60‐8e87‐c84bf370d2c6                   Address Redacted                     First Class Mail
28691795‐6afa‐4894‐a9d8‐e20e5cbdb79f                   Address Redacted                     First Class Mail
286aa6c2‐0422‐467a‐9c21‐bce927df5366                   Address Redacted                     First Class Mail
286be6a0‐e5f7‐44db‐bb70‐142c0ac28f49                   Address Redacted                     First Class Mail
286bf044‐273a‐4e84‐af87‐16f2da75f5df                   Address Redacted                     First Class Mail
28705579‐bf22‐4afc‐b8e0‐81c93fecad37                   Address Redacted                     First Class Mail
2873cd7a‐4458‐491d‐b86c‐1f1781725346                   Address Redacted                     First Class Mail
287b0d2c‐1d49‐4397‐9309‐28589be9dda7                   Address Redacted                     First Class Mail
287d3d8e‐71af‐454f‐a3f1‐c551412f24ef                   Address Redacted                     First Class Mail
287e1c3e‐5afd‐4c5d‐8136‐cb852e1c8018                   Address Redacted                     First Class Mail
287eff5d‐a47f‐46d1‐9880‐2cdb7c8cb650                   Address Redacted                     First Class Mail
288156af‐30be‐456f‐883c‐bc3aa0ae8332                   Address Redacted                     First Class Mail
2884b90b‐b001‐48e7‐9b37‐51b30b61c1dd                   Address Redacted                     First Class Mail
2889dc1a‐cc39‐408a‐9513‐1b183b6f3e3c                   Address Redacted                     First Class Mail
288a2b59‐9df1‐49c5‐b223‐1b0a411ec2b0                   Address Redacted                     First Class Mail
289211c8‐864f‐40a1‐b9a9‐bb20830a7a4e                   Address Redacted                     First Class Mail
2892da86‐b285‐41de‐aee4‐89978f8a2fd5                   Address Redacted                     First Class Mail
2893f6a0‐6131‐4bb5‐b2be‐36c9e1eadf6f                   Address Redacted                     First Class Mail
2894035d‐6e93‐4062‐802d‐0a11809c1d40                   Address Redacted                     First Class Mail
28945f15‐e70f‐45dd‐b214‐bf3ff7f96326                   Address Redacted                     First Class Mail
2894f049‐6ea6‐4b7a‐b044‐61733a4f9f0e                   Address Redacted                     First Class Mail
2895b01a‐2c7c‐483b‐9cb9‐2731b104f008                   Address Redacted                     First Class Mail
289726e6‐1c65‐4c3b‐a535‐3b270b41c930                   Address Redacted                     First Class Mail
28978a60‐7e87‐4a0b‐bd74‐0fd8f8714bca                   Address Redacted                     First Class Mail
2897b1fd‐3436‐4b15‐80c2‐1d3d9256e459                   Address Redacted                     First Class Mail
289dc0da‐974a‐4672‐a577‐7fe11a92c29a                   Address Redacted                     First Class Mail
289f8cca‐f63d‐482d‐8746‐2f0318ebedf6                   Address Redacted                     First Class Mail
28a4e8ba‐b8ec‐425d‐b98e‐b2846cc825f4                   Address Redacted                     First Class Mail
28a7370c‐8ca8‐4bc8‐a555‐cd2f471bdfed                   Address Redacted                     First Class Mail




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                                                                Exhibit A
                                                                 Service List


                              Name                                              Address                        Method of Service
28a8038c‐c83a‐40f7‐aa81‐832800b52a55                   Address Redacted                     First Class Mail
28a8e22d‐2f77‐4c5d‐9d77‐86d18e3c7e49                   Address Redacted                     First Class Mail
28aa580f‐18c2‐48d5‐a86f‐6c91f6165d06                   Address Redacted                     First Class Mail
28aa65e5‐c518‐492f‐a3c4‐807f90da0195                   Address Redacted                     First Class Mail
28ad6191‐002d‐48b0‐b11e‐11360954c1a9                   Address Redacted                     First Class Mail
28af7abc‐db6f‐4174‐b448‐77f3b0de793d                   Address Redacted                     First Class Mail
28b3917d‐35e8‐4a28‐b423‐71f68fa0e791                   Address Redacted                     First Class Mail
28b705c9‐a612‐476a‐8950‐d9b8ff56d003                   Address Redacted                     First Class Mail
28b84981‐96d0‐445a‐a252‐20f621cea484                   Address Redacted                     First Class Mail
28bbc9ec‐108a‐40da‐8ae9‐36e0373f8fe5                   Address Redacted                     First Class Mail
28bc83a7‐5039‐4221‐8020‐d7d3a7d5f1a2                   Address Redacted                     First Class Mail
28c195fe‐f0a8‐4b66‐9892‐fdd924be427e                   Address Redacted                     First Class Mail
28c2b1b0‐a018‐48c5‐a064‐ea1a99724678                   Address Redacted                     First Class Mail
28c39427‐5ada‐4de3‐8592‐199d671c411a                   Address Redacted                     First Class Mail
28c51e70‐f164‐49b2‐8696‐10de63c76ff9                   Address Redacted                     First Class Mail
28c55e45‐0fba‐4b3a‐b610‐4d6ff5d9d511                   Address Redacted                     First Class Mail
28cc3228‐a600‐404a‐b391‐a8eeb5747118                   Address Redacted                     First Class Mail
28d17055‐f423‐4e76‐815b‐021a697d63c5                   Address Redacted                     First Class Mail
28d26c53‐7e98‐430e‐b3a5‐32b276775e9f                   Address Redacted                     First Class Mail
28d527f1‐93d6‐4b20‐ab63‐86c85cba3114                   Address Redacted                     First Class Mail
28db81b6‐7ced‐4d2d‐99ca‐522c15b193a8                   Address Redacted                     First Class Mail
28dee793‐6d99‐43a1‐9f98‐5e6d9c352a90                   Address Redacted                     First Class Mail
28e0dd7a‐18b0‐47a3‐a266‐14d96c6f7c80                   Address Redacted                     First Class Mail
28e720a6‐133c‐4248‐b022‐177ffe59c24c                   Address Redacted                     First Class Mail
28e83137‐096e‐4d54‐93dd‐5267221e867f                   Address Redacted                     First Class Mail
28e8c91d‐a6b0‐4816‐b050‐273f66202976                   Address Redacted                     First Class Mail
28e9700a‐27ac‐45e3‐b4cf‐d565f2afcbab                   Address Redacted                     First Class Mail
28e9c015‐49fa‐459b‐9c5b‐51200a9db427                   Address Redacted                     First Class Mail
28eacaa2‐e136‐4cb4‐9d1a‐41d431c9e56b                   Address Redacted                     First Class Mail
28ec3aaa‐def5‐49f9‐af42‐a23bbd52573d                   Address Redacted                     First Class Mail
28ef963c‐0022‐4669‐b400‐c26c7b768101                   Address Redacted                     First Class Mail
28efe438‐d3fc‐41e4‐809a‐963e3c8feb2a                   Address Redacted                     First Class Mail
28f0091f‐d08a‐4057‐b8dd‐d83adf724d2f                   Address Redacted                     First Class Mail
28f26004‐da64‐4f00‐ac19‐767da0724129                   Address Redacted                     First Class Mail
28f56859‐cd47‐4f9d‐8e53‐1618010a0aa2                   Address Redacted                     First Class Mail
28f929af‐f9d6‐4795‐a985‐2a312e1dd3b9                   Address Redacted                     First Class Mail
28faa9da‐9659‐49d8‐ae4c‐fd88d1ab3f6f                   Address Redacted                     First Class Mail
28fe8781‐21b4‐48d7‐9258‐a9e27b274a41                   Address Redacted                     First Class Mail
28fefd0f‐d430‐4f09‐9b84‐e8254ea949b4                   Address Redacted                     First Class Mail
29021ce9‐7dba‐46dd‐8c31‐aeaaa18f8a56                   Address Redacted                     First Class Mail
2903071d‐6acd‐4479‐92c8‐cb5862489889                   Address Redacted                     First Class Mail
290a0993‐ebf2‐4759‐9ae7‐2b5acacca1cb                   Address Redacted                     First Class Mail
290edb3a‐9107‐4a83‐af00‐5f7e8ce6768b                   Address Redacted                     First Class Mail
290f1330‐dfd6‐402b‐9ff5‐2c6dd8319a4a                   Address Redacted                     First Class Mail
29152dca‐fdff‐4e11‐99a5‐5559af266ac0                   Address Redacted                     First Class Mail
2916be99‐9beb‐41ea‐8bab‐3fbb6625d44c                   Address Redacted                     First Class Mail
29197404‐4b85‐40ca‐8050‐7dfbff487aac                   Address Redacted                     First Class Mail
291f86ab‐eb97‐49bd‐ac86‐e85bbefaa794                   Address Redacted                     First Class Mail
292081b5‐0fa4‐434d‐bcc2‐c38ae5212ed0                   Address Redacted                     First Class Mail
29223b04‐5720‐4ab5‐ae02‐a94ce59507bb                   Address Redacted                     First Class Mail
2928c7e5‐1cea‐4ce1‐b533‐0f41b88dad65                   Address Redacted                     First Class Mail
292a6736‐5ddc‐4cad‐9c53‐bbb00a144f71                   Address Redacted                     First Class Mail
292cd0d0‐3cc3‐4c9d‐a5bd‐0c1eac43f35e                   Address Redacted                     First Class Mail
292e2da1‐4fad‐47ee‐99ad‐091ced46cc1e                   Address Redacted                     First Class Mail
293199da‐347c‐48a2‐89b6‐d9f282efda5a                   Address Redacted                     First Class Mail
29336d93‐367e‐4f71‐b6a8‐a8d4d3a4143e                   Address Redacted                     First Class Mail
293597f9‐de7e‐4e00‐927f‐52f0ce928740                   Address Redacted                     First Class Mail
29381a88‐ff66‐49c3‐9175‐9ee92ab5f33d                   Address Redacted                     First Class Mail
293d0c0b‐fba6‐4452‐b59f‐c03926bfe14f                   Address Redacted                     First Class Mail
2945d2b5‐6973‐4a9d‐9e3e‐2a0fdf883f0a                   Address Redacted                     First Class Mail
294bcb62‐c019‐40f1‐9fc0‐5cc52d478e32                   Address Redacted                     First Class Mail
294d554b‐992c‐4c51‐9517‐f4acb06a4466                   Address Redacted                     First Class Mail
294e2108‐8d31‐48e0‐9602‐b0a44fbe27c7                   Address Redacted                     First Class Mail
2951d8db‐e358‐4075‐9951‐639d77a1929c                   Address Redacted                     First Class Mail
29541b57‐4494‐4bca‐896e‐24e46bba2be4                   Address Redacted                     First Class Mail
2954ef3c‐e920‐4aa2‐b337‐c337294cabca                   Address Redacted                     First Class Mail
29551dde‐da09‐4713‐8226‐5f94c7e0426f                   Address Redacted                     First Class Mail
29577534‐2a30‐4510‐9ee8‐0f7944c9fb37                   Address Redacted                     First Class Mail
295ceb95‐cb15‐402f‐8cc5‐fc4b6affd081                   Address Redacted                     First Class Mail
295e4456‐9389‐475a‐a359‐aae8b504a29c                   Address Redacted                     First Class Mail
2964a816‐27fd‐4cb6‐a916‐4a3f9740c6ff                   Address Redacted                     First Class Mail
2969dcfd‐b989‐422e‐9d1d‐d65e610a6563                   Address Redacted                     First Class Mail




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                              Name                                              Address                        Method of Service
296a62d8‐69de‐4164‐bc5a‐fb19f95155d3                   Address Redacted                     First Class Mail
296b3156‐2a0f‐4da2‐a970‐00c640e1bb2f                   Address Redacted                     First Class Mail
296c7da0‐2531‐4a99‐a4a7‐0ee3cd0eadf7                   Address Redacted                     First Class Mail
296c81a9‐3e6d‐4a48‐924d‐f0d9b56ccbe3                   Address Redacted                     First Class Mail
29760cc2‐ed2b‐4069‐adce‐4e8038147a1c                   Address Redacted                     First Class Mail
2978e23a‐5a52‐4f95‐aa45‐6e7c6b8e6e6b                   Address Redacted                     First Class Mail
297b56e2‐a66c‐4f0c‐a461‐008aaa7a0e9e                   Address Redacted                     First Class Mail
297d62f3‐0850‐4fd9‐8093‐8f054c8dc38b                   Address Redacted                     First Class Mail
2980392f‐cfc3‐418c‐abc1‐9d3b6b79fc5d                   Address Redacted                     First Class Mail
29835d1b‐bf42‐4e11‐9bc0‐e91b274e7a26                   Address Redacted                     First Class Mail
298447ab‐992b‐4500‐bcc3‐5db5e6ea8454                   Address Redacted                     First Class Mail
29861572‐5b9a‐4fba‐bd6f‐7b9418468d16                   Address Redacted                     First Class Mail
298770ab‐4801‐4481‐aeef‐53fb6a681444                   Address Redacted                     First Class Mail
298911a1‐c7fd‐40d7‐9867‐bbba23ae64fa                   Address Redacted                     First Class Mail
298c2eca‐a17b‐44e2‐b21d‐6c4d33a33ec1                   Address Redacted                     First Class Mail
298d2896‐893d‐4d1b‐9fbf‐d9e6c3f86cdf                   Address Redacted                     First Class Mail
29914a22‐c0d4‐4132‐8b42‐fcbb173af398                   Address Redacted                     First Class Mail
2991592d‐4b2e‐4d66‐8bd4‐a735c29cd5d0                   Address Redacted                     First Class Mail
2995f7d9‐a1a3‐4410‐b502‐3af6c6300d7d                   Address Redacted                     First Class Mail
299a1c7a‐0ffc‐4540‐9110‐7ae61a53b05c                   Address Redacted                     First Class Mail
299b5445‐00ef‐40c3‐8b73‐78bb3b9e649f                   Address Redacted                     First Class Mail
299e934f‐3f8b‐4ef7‐9218‐8f6472227d67                   Address Redacted                     First Class Mail
299fce33‐4fad‐40f6‐9a4e‐6a5240d6231a                   Address Redacted                     First Class Mail
29a17ec5‐b3a6‐4644‐92c9‐c1e70df5242d                   Address Redacted                     First Class Mail
29a48230‐fd23‐49dd‐a253‐b6b26bc2aa63                   Address Redacted                     First Class Mail
29a6d1d3‐baab‐40c7‐a72b‐df9856b7257b                   Address Redacted                     First Class Mail
29ab617f‐9f98‐4889‐846c‐06ea1b6eed19                   Address Redacted                     First Class Mail
29adbaaf‐6b09‐4870‐8012‐2a54482325d9                   Address Redacted                     First Class Mail
29b18818‐1d00‐43a3‐98e5‐df7e8019e860                   Address Redacted                     First Class Mail
29b42629‐e2b9‐4be2‐9d46‐ee2760ea0583                   Address Redacted                     First Class Mail
29b63d3f‐25e8‐4d1b‐95c9‐35efa32c238d                   Address Redacted                     First Class Mail
29b7594b‐092c‐4d04‐9507‐4b0a9e9498dc                   Address Redacted                     First Class Mail
29b84147‐6c10‐455a‐b8e6‐958ba566b371                   Address Redacted                     First Class Mail
29b92f27‐ddb7‐4c27‐bd22‐a8fd2a15afae                   Address Redacted                     First Class Mail
29bae964‐434d‐4eab‐b8ac‐06126ab60941                   Address Redacted                     First Class Mail
29bdcaa3‐c881‐4b27‐aac3‐b62648ad557d                   Address Redacted                     First Class Mail
29c3c251‐45c9‐47d9‐b4b7‐ff2717b900eb                   Address Redacted                     First Class Mail
29c3d373‐0c11‐4e7c‐a527‐6ac556ca5113                   Address Redacted                     First Class Mail
29c3e1a1‐0a15‐45f9‐8ae2‐d4d3f772a21e                   Address Redacted                     First Class Mail
29c4f347‐6c5c‐485f‐a98e‐4722ebe532de                   Address Redacted                     First Class Mail
29c91027‐0963‐41ad‐aeb0‐5d119de34f95                   Address Redacted                     First Class Mail
29cb40e8‐2469‐45d1‐89ad‐a7b8a04d366b                   Address Redacted                     First Class Mail
29cefee3‐0631‐4da9‐bf3f‐ebb06213cc2c                   Address Redacted                     First Class Mail
29cf97db‐4800‐4528‐8033‐ca637e647e70                   Address Redacted                     First Class Mail
29d21291‐6915‐45fc‐ad54‐5f305c2f71e7                   Address Redacted                     First Class Mail
29d4312b‐6e00‐4f47‐9ac1‐f39b8a942c8e                   Address Redacted                     First Class Mail
29d4ed78‐f0d3‐48bd‐8b7a‐f3927434a973                   Address Redacted                     First Class Mail
29d58ccb‐3701‐4695‐b279‐aa657fd63fcb                   Address Redacted                     First Class Mail
29d60c8b‐8a6a‐4037‐b8a9‐8015d3f62a69                   Address Redacted                     First Class Mail
29d70fed‐9962‐4492‐94f1‐bdb2248c325c                   Address Redacted                     First Class Mail
29d819f7‐77b7‐4e8a‐94c6‐1efe46c4c1e9                   Address Redacted                     First Class Mail
29daec3e‐e519‐4b7f‐a4e7‐d505f8637995                   Address Redacted                     First Class Mail
29daeded‐82b6‐4dcd‐bc66‐2b82bd34e26b                   Address Redacted                     First Class Mail
29dcd402‐a1f4‐4a82‐8f83‐d87da8d797f3                   Address Redacted                     First Class Mail
29e15169‐7ad5‐4a31‐903e‐c359f00e1a48                   Address Redacted                     First Class Mail
29e7cf3d‐f282‐4776‐bb88‐9ec0e71257d5                   Address Redacted                     First Class Mail
29e9a4ad‐3901‐479e‐82df‐8e6d30dee11c                   Address Redacted                     First Class Mail
29eae9b9‐20ce‐4ab3‐8b2b‐8416aaf3dbeb                   Address Redacted                     First Class Mail
29f2bd13‐92f7‐4255‐9c61‐9e2304382770                   Address Redacted                     First Class Mail
29f65947‐09fa‐4c5d‐aa2c‐49763ecd8941                   Address Redacted                     First Class Mail
29f7696a‐5a0b‐4379‐b565‐a1a48d33d517                   Address Redacted                     First Class Mail
29f83225‐d223‐41f2‐a5cd‐0f6d8ca4f81f                   Address Redacted                     First Class Mail
2a00212c‐587f‐430d‐a96b‐64457eee592f                   Address Redacted                     First Class Mail
2a00ba89‐a895‐4989‐bb5d‐e92db62f2f62                   Address Redacted                     First Class Mail
2a00ddb9‐3a73‐497f‐8d99‐200596cd3d66                   Address Redacted                     First Class Mail
2a021f3d‐fd6a‐42ac‐9ca8‐7cd155ca4a3d                   Address Redacted                     First Class Mail
2a02b40f‐050e‐46f4‐8aeb‐3dbd96bdaf13                   Address Redacted                     First Class Mail
2a03c816‐103c‐4626‐93dd‐31852c955e7f                   Address Redacted                     First Class Mail
2a0834a3‐954c‐4ff3‐8905‐e4c93eb01192                   Address Redacted                     First Class Mail
2a08c358‐7a68‐46a9‐894e‐b2060a6204d2                   Address Redacted                     First Class Mail
2a09683a‐7404‐4b3f‐95a2‐196eba215990                   Address Redacted                     First Class Mail
2a0bc567‐dc39‐4ab9‐a0ed‐7d4c765935dc                   Address Redacted                     First Class Mail




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                                                                 Service List


                              Name                                              Address                        Method of Service
2a0f56db‐0101‐4009‐8566‐25d1a5caf642                   Address Redacted                     First Class Mail
2a0fc5ac‐2047‐4338‐9ce0‐1d82be2b8ec9                   Address Redacted                     First Class Mail
2a11104f‐767d‐4e6a‐ae1a‐82a6a48eaecf                   Address Redacted                     First Class Mail
2a13afca‐82aa‐448f‐b662‐56b19e58dd49                   Address Redacted                     First Class Mail
2a144028‐883d‐49b0‐981b‐75bc84f0b33f                   Address Redacted                     First Class Mail
2a153f50‐d0dc‐4d5e‐a160‐a6dfe72179bc                   Address Redacted                     First Class Mail
2a1714bf‐4295‐4860‐b92c‐ea8e640e8a2f                   Address Redacted                     First Class Mail
2a192570‐fbdc‐4469‐b99c‐5f05f0e0e492                   Address Redacted                     First Class Mail
2a1cac23‐ad19‐40b0‐8422‐ef6fda801054                   Address Redacted                     First Class Mail
2a209642‐313e‐4de4‐90ff‐b1c0cb35a15e                   Address Redacted                     First Class Mail
2a22ca44‐6d24‐42f2‐b6ad‐10b8f1eb2b16                   Address Redacted                     First Class Mail
2a2392e6‐8e8d‐4bcc‐891b‐a5543ba96b8d                   Address Redacted                     First Class Mail
2a266b52‐e8a0‐4e0e‐b9ea‐8e4d4eae118f                   Address Redacted                     First Class Mail
2a2bcaea‐ecce‐49d8‐8217‐9554722a7f97                   Address Redacted                     First Class Mail
2a2c9076‐264d‐4f2c‐850a‐b50e7bb489c6                   Address Redacted                     First Class Mail
2a2cd8f7‐55e6‐4769‐a1d9‐0f4734f38be6                   Address Redacted                     First Class Mail
2a2f729f‐bd5b‐4cf9‐bfa9‐30183755a848                   Address Redacted                     First Class Mail
2a2f8d50‐85a0‐4a7d‐a5a1‐693ff0a2db9b                   Address Redacted                     First Class Mail
2a30284e‐9624‐4639‐ad9f‐0a2139c6658d                   Address Redacted                     First Class Mail
2a30c428‐d4e7‐46db‐b7b2‐384cf9253295                   Address Redacted                     First Class Mail
2a327f96‐1fc8‐46d0‐a2cb‐8f8f1f831313                   Address Redacted                     First Class Mail
2a336fd8‐07e0‐47b2‐8f7c‐295b4dcd5eee                   Address Redacted                     First Class Mail
2a3418cb‐8be6‐4e9c‐954a‐17cf6b6e82c3                   Address Redacted                     First Class Mail
2a372193‐b0b2‐4f12‐b6f3‐3d678c06ef4b                   Address Redacted                     First Class Mail
2a37754a‐39b8‐4169‐95b1‐f72950543f26                   Address Redacted                     First Class Mail
2a43ad05‐8ba5‐4bac‐a70c‐7f1e57be8636                   Address Redacted                     First Class Mail
2a44d3bd‐ca43‐4bb9‐93f5‐5e69ca6d9608                   Address Redacted                     First Class Mail
2a455ec2‐cc45‐45cb‐a3b0‐f15c5a9437e2                   Address Redacted                     First Class Mail
2a4cbb5c‐48c2‐423e‐8329‐99fb6f15697f                   Address Redacted                     First Class Mail
2a50081d‐ddc6‐4a83‐8590‐de124e5cf0c3                   Address Redacted                     First Class Mail
2a5397b8‐e618‐4519‐beea‐68ce56578fb3                   Address Redacted                     First Class Mail
2a5415a6‐fafd‐4cd2‐ac69‐25ea939a7141                   Address Redacted                     First Class Mail
2a56d0cd‐8294‐478d‐98df‐4aa0b5a4a261                   Address Redacted                     First Class Mail
2a5bcd90‐cd9b‐48a7‐b38e‐418f6e33d4d8                   Address Redacted                     First Class Mail
2a5d0b14‐0eb8‐467a‐aa13‐630393cfcb92                   Address Redacted                     First Class Mail
2a61d573‐25c1‐4f8b‐8ff5‐c77d2363a74b                   Address Redacted                     First Class Mail
2a689c45‐5f61‐49da‐a407‐034445ff76a3                   Address Redacted                     First Class Mail
2a73d6dd‐f4f7‐4d34‐9373‐a900e6f067f6                   Address Redacted                     First Class Mail
2a741f8a‐9e7e‐403e‐a456‐90c9630046b2                   Address Redacted                     First Class Mail
2a79841a‐4b8b‐4cab‐8813‐3b3632ee1f93                   Address Redacted                     First Class Mail
2a80272d‐00b4‐4842‐be02‐489a8ebd5766                   Address Redacted                     First Class Mail
2a82f959‐5d9a‐4687‐b52f‐735097da3a4b                   Address Redacted                     First Class Mail
2a83663d‐0cef‐4fb1‐a11e‐b3aedf3a90ce                   Address Redacted                     First Class Mail
2a8f3d02‐0472‐40fe‐a075‐5ebc98718ffd                   Address Redacted                     First Class Mail
2a8ff8a4‐b76f‐4c57‐938b‐609a0c5e0db7                   Address Redacted                     First Class Mail
2a932343‐1d0a‐46cb‐a08c‐ef732242329f                   Address Redacted                     First Class Mail
2a9cfbb3‐3281‐4e6a‐82c9‐b62bf6a3cdcd                   Address Redacted                     First Class Mail
2aa0e92d‐2d27‐482d‐87a4‐66b1c1231432                   Address Redacted                     First Class Mail
2aa1dd96‐98e1‐4099‐b37c‐a2bd1d90126d                   Address Redacted                     First Class Mail
2aa67ccc‐174a‐4990‐a0db‐3930c2b36ff9                   Address Redacted                     First Class Mail
2aa6f9f0‐bb34‐4289‐8a8d‐a8a3f8ca1dd0                   Address Redacted                     First Class Mail
2aa7d385‐b7c1‐472e‐b665‐b438d0548984                   Address Redacted                     First Class Mail
2aa93cf0‐0b51‐41ad‐9059‐49eaa3503204                   Address Redacted                     First Class Mail
2aa98491‐846a‐4657‐8746‐79ecdffc510d                   Address Redacted                     First Class Mail
2aa9c100‐5206‐4a18‐bdef‐4422349f586f                   Address Redacted                     First Class Mail
2aaa1a24‐20e5‐4dd0‐9b4c‐106dddd8f2e7                   Address Redacted                     First Class Mail
2aaaf8dc‐40cd‐49b1‐968e‐86ae70fcd0c8                   Address Redacted                     First Class Mail
2ab2477b‐c028‐4359‐a8f8‐1f587d8b558e                   Address Redacted                     First Class Mail
2ab2e6b4‐e681‐40d2‐ae93‐bca6029154b6                   Address Redacted                     First Class Mail
2ab465d1‐46dc‐4c2b‐8fdd‐312bc50e4ffc                   Address Redacted                     First Class Mail
2ab728a0‐e734‐4e5d‐9d61‐6771c79368e0                   Address Redacted                     First Class Mail
2ab7634c‐4ad7‐46b0‐9049‐486ce7a1b7ca                   Address Redacted                     First Class Mail
2ab78896‐c7da‐4530‐a242‐a5e95b93f71b                   Address Redacted                     First Class Mail
2ab7c5bf‐f4ac‐4e57‐999d‐3d28630a1d6f                   Address Redacted                     First Class Mail
2aba230b‐036e‐4fc5‐b2f4‐d2c96060b1dd                   Address Redacted                     First Class Mail
2abc64b5‐b5d4‐4846‐a2df‐46fbb3e001eb                   Address Redacted                     First Class Mail
2abc88e9‐9907‐4ada‐ad8f‐fd3f263d0e7f                   Address Redacted                     First Class Mail
2abe2052‐f0a8‐4a5e‐8667‐b325983be539                   Address Redacted                     First Class Mail
2ac1629f‐dac4‐4e5e‐a804‐a9c76456e57f                   Address Redacted                     First Class Mail
2ac4e995‐efc4‐476e‐b026‐5980e3fd473f                   Address Redacted                     First Class Mail
2ac54737‐b6f0‐4800‐9173‐12ce6d1a7da1                   Address Redacted                     First Class Mail
2ac57baa‐da80‐4a8a‐b104‐1c15fe2c22c6                   Address Redacted                     First Class Mail




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                                                                Exhibit A
                                                                 Service List


                              Name                                              Address                        Method of Service
2ac9ba0d‐b0e0‐4208‐b9f6‐5a6406dd8ce7                   Address Redacted                     First Class Mail
2ac9f3f4‐bab4‐4525‐8ef2‐394b1cacf427                   Address Redacted                     First Class Mail
2acafafb‐561e‐4b37‐9d54‐a605a8abd452                   Address Redacted                     First Class Mail
2ad52914‐fed4‐45d9‐9384‐e2f9e9ac69fd                   Address Redacted                     First Class Mail
2ad7ea64‐a597‐419e‐9e77‐a0ef3b1c3130                   Address Redacted                     First Class Mail
2ad990b1‐c9c8‐4378‐920f‐5255b5f6c0f7                   Address Redacted                     First Class Mail
2ad9b7cd‐bd4f‐4b6f‐b355‐8874fdf7d470                   Address Redacted                     First Class Mail
2add13c7‐356f‐4b1f‐9e86‐c1fd237088f0                   Address Redacted                     First Class Mail
2ade7015‐72f1‐4dea‐84c1‐2dfacd202207                   Address Redacted                     First Class Mail
2adf2106‐d071‐48de‐877e‐e168b4b8b16d                   Address Redacted                     First Class Mail
2ae1bcc8‐8ea8‐45a6‐b85d‐29121836be16                   Address Redacted                     First Class Mail
2ae2c461‐e36f‐445c‐a35d‐ccf2189d9aac                   Address Redacted                     First Class Mail
2ae5812b‐3268‐4444‐a6f1‐0846d8975ab0                   Address Redacted                     First Class Mail
2ae703ad‐efbd‐4518‐b37f‐38f4ca6fc1e6                   Address Redacted                     First Class Mail
2ae8027a‐24af‐478c‐aeb0‐8c42e2b8d0ec                   Address Redacted                     First Class Mail
2ae9bed8‐565d‐45a9‐b509‐9bf7b4b20242                   Address Redacted                     First Class Mail
2aed0b1a‐96de‐455d‐b920‐99c9fc346db8                   Address Redacted                     First Class Mail
2b0094ff‐f212‐4d4d‐964d‐932facfd0b64                   Address Redacted                     First Class Mail
2b01911f‐05bd‐4e3e‐a868‐bcdd9656032f                   Address Redacted                     First Class Mail
2b01f023‐ffcf‐41b3‐80ed‐6bd06e9be966                   Address Redacted                     First Class Mail
2b044642‐8934‐4874‐9af4‐9b4144b6e8d0                   Address Redacted                     First Class Mail
2b04f45d‐bfa3‐43b8‐b079‐243733e1bef7                   Address Redacted                     First Class Mail
2b123b51‐973b‐475b‐89c7‐2110a4aa573c                   Address Redacted                     First Class Mail
2b12d68b‐4649‐4258‐a1f1‐ec33bc630310                   Address Redacted                     First Class Mail
2b12eb85‐f182‐4b09‐8ce7‐35578bf86471                   Address Redacted                     First Class Mail
2b14a4fe‐7ef0‐4b82‐af78‐e400cb0a1760                   Address Redacted                     First Class Mail
2b14bc4c‐f26f‐483a‐a444‐b66ea5e3cb04                   Address Redacted                     First Class Mail
2b177104‐a967‐452c‐a09f‐7235ee6e0e92                   Address Redacted                     First Class Mail
2b190e11‐fed2‐49a8‐97b8‐c5d0613ccb77                   Address Redacted                     First Class Mail
2b1b25c5‐a684‐4591‐8ef5‐f66c43d8075a                   Address Redacted                     First Class Mail
2b1ed175‐41ee‐4cfa‐8da1‐7861eb1badc1                   Address Redacted                     First Class Mail
2b1fe359‐f1c3‐4214‐b511‐3549b46e35d1                   Address Redacted                     First Class Mail
2b2168f5‐3d46‐46e5‐b6d2‐e5b2cde3a8fd                   Address Redacted                     First Class Mail
2b264cec‐c9b8‐4b8b‐bcd6‐bf7e44dd0e1d                   Address Redacted                     First Class Mail
2b26d15d‐add9‐4c27‐86fc‐d6b2d76359f8                   Address Redacted                     First Class Mail
2b26f681‐a619‐4168‐ad4e‐905ce0ebbfd4                   Address Redacted                     First Class Mail
2b2c8d05‐122e‐4f03‐af2f‐418b9e293c85                   Address Redacted                     First Class Mail
2b2ec291‐822d‐4330‐9410‐38cef66c935b                   Address Redacted                     First Class Mail
2b308879‐56cb‐4756‐968f‐b6901c1c9d94                   Address Redacted                     First Class Mail
2b30994e‐415c‐4ca0‐ba4a‐7a8c5b8e2d42                   Address Redacted                     First Class Mail
2b310365‐58c9‐4bbc‐aad8‐8266f72a2e90                   Address Redacted                     First Class Mail
2b33d204‐e971‐400c‐ac67‐4940eab98d25                   Address Redacted                     First Class Mail
2b379dd9‐788f‐4d5e‐b09d‐f2894195727e                   Address Redacted                     First Class Mail
2b3bd210‐8864‐4dfb‐b14b‐f3a99747e18b                   Address Redacted                     First Class Mail
2b3c1e6a‐4ce9‐48d1‐813e‐c1b0e48c47e9                   Address Redacted                     First Class Mail
2b430c6b‐4d0e‐4cee‐a665‐128a414596c6                   Address Redacted                     First Class Mail
2b46bfeb‐5ec6‐4372‐93e1‐ac5e0ab29980                   Address Redacted                     First Class Mail
2b4913ac‐3e59‐41b2‐8172‐1b4c90fc3684                   Address Redacted                     First Class Mail
2b4a8a5e‐f83d‐4902‐9f82‐1bbe98d834c0                   Address Redacted                     First Class Mail
2b4cd8f1‐36a6‐473c‐84e3‐041a95b8cf36                   Address Redacted                     First Class Mail
2b4e529a‐68b8‐4014‐84b4‐888cdafb0262                   Address Redacted                     First Class Mail
2b4e5655‐c7ed‐4396‐8957‐8a88f16f773a                   Address Redacted                     First Class Mail
2b50c3a9‐da99‐4aea‐9f0b‐db927875692a                   Address Redacted                     First Class Mail
2b5188dd‐bfac‐40cc‐98e4‐b09c31ea4bba                   Address Redacted                     First Class Mail
2b535475‐e2b9‐4d15‐ace7‐c5108cfe4d1d                   Address Redacted                     First Class Mail
2b5d458a‐c90b‐495a‐a2a8‐105cbb50f394                   Address Redacted                     First Class Mail
2b5d7a31‐5ea2‐4e4f‐b0a1‐0e525ff93bed                   Address Redacted                     First Class Mail
2b60a8ee‐5f0c‐4b16‐b12f‐22f9ab37e13d                   Address Redacted                     First Class Mail
2b60bf0e‐e428‐4023‐bee2‐f6f2183bd0b3                   Address Redacted                     First Class Mail
2b611e02‐73a9‐41b4‐80a2‐44649d2fed5e                   Address Redacted                     First Class Mail
2b61a7d0‐83ab‐4c7c‐90c8‐10ff8d6b5aab                   Address Redacted                     First Class Mail
2b624c5b‐a63b‐4ee0‐a735‐5ffccd8b1279                   Address Redacted                     First Class Mail
2b631894‐61ff‐4d03‐9310‐c02dcccfb299                   Address Redacted                     First Class Mail
2b65a87d‐21a3‐414f‐907f‐3feeb704188c                   Address Redacted                     First Class Mail
2b67e2fc‐0395‐468d‐8d5d‐4a7b676ce643                   Address Redacted                     First Class Mail
2b68cefe‐d523‐42d4‐becd‐810a98fe47fc                   Address Redacted                     First Class Mail
2b6ac2b3‐d58f‐4c74‐8520‐43d4f7113511                   Address Redacted                     First Class Mail
2b6c7273‐532a‐4d3c‐bb83‐da25dd507244                   Address Redacted                     First Class Mail
2b704158‐4cc4‐488f‐aca5‐98871a1f4b5b                   Address Redacted                     First Class Mail
2b73c779‐2207‐4e00‐837e‐a8ad70800eb0                   Address Redacted                     First Class Mail
2b73fd65‐ff57‐4d0d‐9248‐9fef072e7f4e                   Address Redacted                     First Class Mail
2b78146b‐3efc‐4f6b‐8868‐42d62ad4e6ef                   Address Redacted                     First Class Mail




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                              Name                                              Address                        Method of Service
2b785138‐0a7e‐46b9‐801a‐480449e06a7c                   Address Redacted                     First Class Mail
2b86dc3a‐d122‐44d3‐88fa‐34f1b8c1e4ba                   Address Redacted                     First Class Mail
2b87c058‐d0bd‐4f60‐9e6c‐69aea8581eb0                   Address Redacted                     First Class Mail
2b89800b‐d511‐4455‐8ccd‐ad61cf66beaf                   Address Redacted                     First Class Mail
2b89d077‐33a1‐48a2‐bd52‐461836415ec7                   Address Redacted                     First Class Mail
2b90245d‐1da3‐4606‐b892‐08fb94222dec                   Address Redacted                     First Class Mail
2b993fe5‐56e4‐44fe‐9088‐85cce5a21325                   Address Redacted                     First Class Mail
2b9dc513‐f51c‐497b‐9744‐93259b60ccfc                   Address Redacted                     First Class Mail
2ba08cb2‐e9e1‐40b7‐a737‐8a564cedb1f1                   Address Redacted                     First Class Mail
2ba76b5e‐3889‐49e7‐8e7a‐ac402c45ea7a                   Address Redacted                     First Class Mail
2ba7adfc‐8cd3‐4364‐9d22‐839ed590a86b                   Address Redacted                     First Class Mail
2ba809aa‐a791‐4b2a‐816c‐09e3c1c42ec0                   Address Redacted                     First Class Mail
2ba93e86‐5c14‐4fab‐bbc9‐e8b1d031969d                   Address Redacted                     First Class Mail
2bb5d7b1‐0d92‐4728‐8a90‐f684f0a01886                   Address Redacted                     First Class Mail
2bb8a3e0‐e6a8‐40b4‐836c‐91cd5b64da36                   Address Redacted                     First Class Mail
2bba435e‐26a3‐427c‐aef5‐1e3183566852                   Address Redacted                     First Class Mail
2bbaed4b‐f0ea‐4bed‐8612‐ba50792c6b7f                   Address Redacted                     First Class Mail
2bbea6b1‐a2f9‐4ae6‐bc41‐b58439bd8d55                   Address Redacted                     First Class Mail
2bc043a2‐654d‐4bdd‐bade‐0386c83ac153                   Address Redacted                     First Class Mail
2bc063d1‐8b2f‐4ca8‐866d‐57ac3193d7df                   Address Redacted                     First Class Mail
2bc4cd6f‐fe37‐4591‐8305‐80ff2bbf0858                   Address Redacted                     First Class Mail
2bc66b8d‐a548‐4198‐9d55‐dcbd264c7918                   Address Redacted                     First Class Mail
2bc841c7‐ff86‐46c9‐8e54‐3981d00e42b4                   Address Redacted                     First Class Mail
2bccd529‐fa2b‐4d08‐8ba2‐0335d994d7e1                   Address Redacted                     First Class Mail
2bcdb778‐b3e6‐479c‐a745‐3834dd6717c7                   Address Redacted                     First Class Mail
2bd14400‐2ccc‐4f82‐84f2‐8d8e18c8a358                   Address Redacted                     First Class Mail
2bd32c2e‐961d‐45f0‐bb52‐12448e916bd3                   Address Redacted                     First Class Mail
2bd361e2‐95b3‐4af0‐bda8‐4b5093aa108f                   Address Redacted                     First Class Mail
2bd62083‐3872‐411c‐a59e‐b4b9cc3e320c                   Address Redacted                     First Class Mail
2bd868c1‐dcfa‐4258‐9be9‐85995275c7c4                   Address Redacted                     First Class Mail
2bd93c31‐724d‐4c0b‐b45a‐f0b6fcd0aac5                   Address Redacted                     First Class Mail
2bdba378‐749b‐4d80‐bbca‐778057191410                   Address Redacted                     First Class Mail
2bdbe172‐f279‐4961‐9641‐2d2ca7d009e5                   Address Redacted                     First Class Mail
2bddc031‐7df4‐4dae‐ad67‐3761f8b487e0                   Address Redacted                     First Class Mail
2be46f27‐d5c1‐459d‐a2ed‐7249b4c13766                   Address Redacted                     First Class Mail
2be48129‐0dad‐46f1‐94c8‐e1dcd96243ba                   Address Redacted                     First Class Mail
2be48a8b‐d136‐450d‐8241‐e11546253535                   Address Redacted                     First Class Mail
2be788ee‐9cae‐4116‐ba2b‐2069d382d746                   Address Redacted                     First Class Mail
2be84982‐486d‐4b09‐83b0‐2352aa195664                   Address Redacted                     First Class Mail
2be8ec6d‐810d‐4ae4‐b4e9‐01da83514d7a                   Address Redacted                     First Class Mail
2beb7214‐61c7‐482d‐b7a4‐67be9d6b104e                   Address Redacted                     First Class Mail
2bf041a1‐a98d‐48b4‐b1bb‐f736cf4c084f                   Address Redacted                     First Class Mail
2bf1480f‐de8c‐43d2‐92cf‐3545ebcde184                   Address Redacted                     First Class Mail
2bf25583‐9185‐4736‐a14d‐fdd0001529d6                   Address Redacted                     First Class Mail
2bf28ed5‐e1a0‐44c6‐b4b2‐d024f6a44165                   Address Redacted                     First Class Mail
2bf2b38d‐4530‐4bbd‐a71c‐1881c2a75e2e                   Address Redacted                     First Class Mail
2bf636e2‐5ecc‐494d‐94c8‐9c86348fedb8                   Address Redacted                     First Class Mail
2bfc0362‐77c8‐479b‐84af‐9194eb3a57f8                   Address Redacted                     First Class Mail
2bfd55c8‐9c34‐4b11‐a6aa‐750e33358d28                   Address Redacted                     First Class Mail
2c04e4f6‐87d4‐4ab6‐ab06‐b94018829625                   Address Redacted                     First Class Mail
2c06374d‐d878‐4d17‐94c0‐f86f46fd1e8e                   Address Redacted                     First Class Mail
2c065bdd‐2882‐450c‐b178‐b2dc762708d0                   Address Redacted                     First Class Mail
2c066521‐4ba9‐497d‐9422‐ea7a4828d1a7                   Address Redacted                     First Class Mail
2c0bb8a9‐a0bd‐4948‐9b87‐0862a5f88ec4                   Address Redacted                     First Class Mail
2c0ccbce‐c299‐450e‐8702‐ccf41e6157d4                   Address Redacted                     First Class Mail
2c105e13‐ff41‐452d‐8b6b‐78cb0f149caf                   Address Redacted                     First Class Mail
2c10cbec‐8606‐48b8‐8556‐5e31241ead3b                   Address Redacted                     First Class Mail
2c11cbb2‐52db‐404a‐ba05‐d60808a39ff2                   Address Redacted                     First Class Mail
2c18c10f‐edb1‐4261‐aaed‐c1865a732976                   Address Redacted                     First Class Mail
2c190e1a‐96a5‐4c05‐9dd9‐51e0773a2966                   Address Redacted                     First Class Mail
2c1b5351‐4cbd‐408b‐a1e8‐e2107a65d1e2                   Address Redacted                     First Class Mail
2c20db74‐ff8d‐493a‐bef3‐b4a44a83512d                   Address Redacted                     First Class Mail
2c220a98‐4eec‐49b8‐ab17‐c4f0e3b7c0f8                   Address Redacted                     First Class Mail
2c23893f‐ea9f‐4293‐aa76‐3d685b0fab93                   Address Redacted                     First Class Mail
2c25551b‐4c32‐4aa6‐ad6a‐8427104c9cf9                   Address Redacted                     First Class Mail
2c2b8ae4‐1cff‐4b58‐a614‐0924609962be                   Address Redacted                     First Class Mail
2c2f8293‐eeaa‐4415‐98f6‐26f44637833b                   Address Redacted                     First Class Mail
2c30318e‐3401‐4a59‐b127‐6287a3fd3f25                   Address Redacted                     First Class Mail
2c30d5c4‐2365‐46eb‐a2ce‐a9e332820d2b                   Address Redacted                     First Class Mail
2c3772e7‐d7a6‐4a22‐bc3b‐7ac71056f100                   Address Redacted                     First Class Mail
2c38f7f2‐6ed8‐467b‐8012‐ba0cf7088782                   Address Redacted                     First Class Mail
2c3bee70‐2b9f‐4a27‐84d7‐913596886e0c                   Address Redacted                     First Class Mail




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                              Name                                              Address                        Method of Service
2c3de895‐c107‐4125‐9646‐7885b0a08cde                   Address Redacted                     First Class Mail
2c3f4c78‐e573‐4da9‐adc1‐09d339dc640a                   Address Redacted                     First Class Mail
2c3f8791‐5e1e‐4a4a‐b36b‐6cd268ebd0c7                   Address Redacted                     First Class Mail
2c411597‐4cf4‐4ac5‐bef5‐3665ce35d879                   Address Redacted                     First Class Mail
2c423610‐5868‐49b0‐805b‐979c29df2628                   Address Redacted                     First Class Mail
2c43de91‐8be8‐495f‐bc97‐1b21d4bcd017                   Address Redacted                     First Class Mail
2c441e39‐0e30‐43ba‐8854‐65b84832b043                   Address Redacted                     First Class Mail
2c45d2b4‐a037‐4e70‐9e83‐e7db68688ec1                   Address Redacted                     First Class Mail
2c4b7a4d‐657b‐49bd‐8dfa‐f07afe6ac64d                   Address Redacted                     First Class Mail
2c4c7b75‐efae‐45f1‐8816‐1e0fa5e5cd0c                   Address Redacted                     First Class Mail
2c527468‐b957‐42cd‐8fed‐0e8a845df8b5                   Address Redacted                     First Class Mail
2c539bc4‐5bdb‐47de‐b6e8‐e585a8ad10ca                   Address Redacted                     First Class Mail
2c54b5b6‐0d12‐4145‐b1cf‐375668fc5057                   Address Redacted                     First Class Mail
2c555ad4‐a6a0‐4fc4‐8735‐fd9de18022c3                   Address Redacted                     First Class Mail
2c572d66‐7be0‐4322‐a3a3‐7991e5aaf91b                   Address Redacted                     First Class Mail
2c57ef10‐f75d‐4950‐8e60‐6adb6f8c8f04                   Address Redacted                     First Class Mail
2c58e7e6‐9e7c‐4f98‐81fa‐6f291caf6838                   Address Redacted                     First Class Mail
2c5f6201‐10ad‐4e4a‐8eb3‐3cf315333823                   Address Redacted                     First Class Mail
2c617353‐c523‐4909‐b8a8‐8544dea1155d                   Address Redacted                     First Class Mail
2c6b0b5a‐3f6c‐4c71‐a717‐8e433481e586                   Address Redacted                     First Class Mail
2c6cb5a6‐d024‐41bb‐8fbf‐bddac61c1a54                   Address Redacted                     First Class Mail
2c75906a‐4309‐4f02‐b6da‐32856ff30057                   Address Redacted                     First Class Mail
2c77de67‐e5c2‐4a98‐a0c7‐794c68b7024d                   Address Redacted                     First Class Mail
2c77e77a‐9a02‐408d‐9fbf‐ee7c5d13b371                   Address Redacted                     First Class Mail
2c789d6c‐87d4‐481e‐9eb3‐76a4088b12fd                   Address Redacted                     First Class Mail
2c7a2fce‐7bf1‐449d‐acd8‐73c0b4f91e9a                   Address Redacted                     First Class Mail
2c7a654b‐fe61‐4a35‐a706‐075e7ef78a2e                   Address Redacted                     First Class Mail
2c851b49‐a4c0‐4279‐9074‐9b63b49f6b2a                   Address Redacted                     First Class Mail
2c876154‐68e5‐4d4e‐a9ce‐86941cbd7d9d                   Address Redacted                     First Class Mail
2c886c7f‐0794‐4d35‐b11b‐173075966326                   Address Redacted                     First Class Mail
2c8cad4c‐060a‐4e0c‐ae11‐d17f702300e3                   Address Redacted                     First Class Mail
2c8cc2a0‐75d4‐46c6‐934f‐fca54b971fc1                   Address Redacted                     First Class Mail
2c8f29c7‐c1c0‐48f2‐b4d8‐65fb87bd089d                   Address Redacted                     First Class Mail
2c921c1c‐ff69‐4ee8‐989c‐4e7dee26803f                   Address Redacted                     First Class Mail
2c93593f‐0608‐4ad2‐b4d6‐800d5fd6a553                   Address Redacted                     First Class Mail
2c93c8a9‐6c5d‐4965‐bfdc‐317debbf7057                   Address Redacted                     First Class Mail
2c94dd63‐d4b6‐4c6d‐acd8‐c1b8b5de7671                   Address Redacted                     First Class Mail
2c97bcfb‐a3a4‐4e2c‐a12f‐1775cb31f316                   Address Redacted                     First Class Mail
2c9bf799‐ded2‐4967‐a753‐487695af964a                   Address Redacted                     First Class Mail
2c9bf8b4‐9b76‐4698‐8eb9‐4a812495ce1a                   Address Redacted                     First Class Mail
2ca290cf‐c8be‐4e06‐ac38‐2c666e3fdf60                   Address Redacted                     First Class Mail
2ca2c532‐8f15‐4b7c‐b61b‐da1e99b0c0ca                   Address Redacted                     First Class Mail
2ca77419‐3165‐4555‐a44d‐60f18c94f6ab                   Address Redacted                     First Class Mail
2ca87e3b‐5433‐4710‐a267‐cb743d5fc444                   Address Redacted                     First Class Mail
2cac7850‐2f57‐40bb‐8305‐dd736ee8d0f0                   Address Redacted                     First Class Mail
2caf3658‐9cab‐4706‐8194‐aadfd333952b                   Address Redacted                     First Class Mail
2cb2d957‐e4a3‐41dd‐ad0f‐4f650e2bcba7                   Address Redacted                     First Class Mail
2cb2e581‐c491‐431f‐be98‐80c710e0d388                   Address Redacted                     First Class Mail
2cb42b35‐bf66‐448e‐bcca‐b7d385570fed                   Address Redacted                     First Class Mail
2cb5aece‐e4e9‐43c3‐933c‐62cd558e68c3                   Address Redacted                     First Class Mail
2cb6b987‐311b‐4a1f‐96f4‐a05e3f2f3668                   Address Redacted                     First Class Mail
2cbb819a‐0bde‐49c9‐9969‐092cf4b342ff                   Address Redacted                     First Class Mail
2cbc4298‐d6d6‐45c7‐b471‐050f450363b9                   Address Redacted                     First Class Mail
2cbde686‐65aa‐4673‐b686‐ee800886258a                   Address Redacted                     First Class Mail
2cc11b32‐0c50‐405b‐a3fe‐078559d0feeb                   Address Redacted                     First Class Mail
2cc361c9‐f1a4‐4729‐aa88‐c95df023e72d                   Address Redacted                     First Class Mail
2cc8d1db‐6a65‐4f93‐8233‐1781bb81a2a0                   Address Redacted                     First Class Mail
2cc92742‐c77b‐45ea‐b377‐aca91a2253dc                   Address Redacted                     First Class Mail
2cca8d48‐46f7‐4bf8‐a35a‐483e9bb3fdf3                   Address Redacted                     First Class Mail
2ccd86d7‐b048‐406b‐8096‐8b62d97fe24c                   Address Redacted                     First Class Mail
2cd5f0e2‐a910‐434f‐bf4b‐2cf9bbdbdf20                   Address Redacted                     First Class Mail
2cd8f23f‐e3d1‐4518‐850d‐2699a892cec6                   Address Redacted                     First Class Mail
2cda05fb‐4c7e‐437f‐93c6‐51fcb9cf5508                   Address Redacted                     First Class Mail
2cdadaee‐060b‐4159‐b957‐6924333b2c06                   Address Redacted                     First Class Mail
2cdd7322‐2aea‐4993‐b0c3‐d45e6f01b7c8                   Address Redacted                     First Class Mail
2cdf5a96‐a2d2‐4406‐988d‐90d47f4b726f                   Address Redacted                     First Class Mail
2cdf7077‐2017‐4ddd‐95cc‐92cfb77ba4b4                   Address Redacted                     First Class Mail
2ce15b9f‐f443‐465c‐8296‐797cb830d5d7                   Address Redacted                     First Class Mail
2ce6a8f6‐f251‐4535‐855b‐ae7e64359e96                   Address Redacted                     First Class Mail
2cee5b4e‐8d59‐4b26‐a951‐986edd308fbb                   Address Redacted                     First Class Mail
2cf35fb9‐86a9‐49f5‐9785‐a069987b7a75                   Address Redacted                     First Class Mail
2cf42b4d‐26ee‐480f‐a01f‐21cb8ab09981                   Address Redacted                     First Class Mail




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                                                                 Service List


                               Name                                             Address                        Method of Service
2cfa13da‐8ab2‐4739‐8105‐26cf2d861eeb                   Address Redacted                     First Class Mail
2cfb821b‐7206‐4c5a‐ac2e‐f5de2d78c358                   Address Redacted                     First Class Mail
2cfba5e6‐57d6‐4ac5‐b67b‐bf571b0a5a6f                   Address Redacted                     First Class Mail
2cff6b12‐677b‐409b‐a520‐c43b859fe149                   Address Redacted                     First Class Mail
2cff90ef‐2465‐4c5d‐b44a‐c509a9345802                   Address Redacted                     First Class Mail
2d006ee6‐aefb‐4b84‐aaee‐e2fbf48e7651                   Address Redacted                     First Class Mail
2d067f39‐b933‐4377‐8344‐1504161cce94                   Address Redacted                     First Class Mail
2d07054a‐d442‐4919‐8c20‐fdd4e982c615                   Address Redacted                     First Class Mail
2d0be9fc‐c3a7‐4cff‐b7c7‐fcf1ac3e5da8                   Address Redacted                     First Class Mail
2d0c2aea‐16ad‐451f‐a19d‐e2bd5ee251b0                   Address Redacted                     First Class Mail
2d1104c1‐8c36‐446c‐872a‐e15e2f544f68                   Address Redacted                     First Class Mail
2d118adc‐d196‐4b9e‐9790‐c562346b5127                   Address Redacted                     First Class Mail
2d15c6f0‐fa65‐4b51‐acf3‐7de7b6e855e6                   Address Redacted                     First Class Mail
2d193eb9‐b7a8‐4d2c‐876b‐b74c876a3eca                   Address Redacted                     First Class Mail
2d1d8182‐d814‐4bf5‐b4af‐ea83d9c69491                   Address Redacted                     First Class Mail
2d22008d‐2114‐4bb2‐9633‐5814b8d8c680                   Address Redacted                     First Class Mail
2d22f4f7‐c832‐4aaa‐a90b‐bb6c5e17c473                   Address Redacted                     First Class Mail
2d232cf2‐147e‐40cd‐893f‐57cbb358eaf3                   Address Redacted                     First Class Mail
2d24c753‐cdc2‐49c9‐a8f6‐24e95a8cd663                   Address Redacted                     First Class Mail
2d26ecf7‐8b67‐4609‐8bcf‐735207a179df                   Address Redacted                     First Class Mail
2d287a1c‐e41b‐463d‐b055‐344925ac92fb                   Address Redacted                     First Class Mail
2d290344‐b250‐4837‐ae98‐aefe58bee5e0                   Address Redacted                     First Class Mail
2d2986ef‐646d‐4f6c‐b360‐8101798ebba5                   Address Redacted                     First Class Mail
2d29ec99‐b776‐40c6‐b48b‐a5fb7bd73f27                   Address Redacted                     First Class Mail
2d2e6a28‐7f53‐4ce0‐b13c‐1d0500de33f9                   Address Redacted                     First Class Mail
2d325648‐0ff2‐44ad‐8dcc‐fb61410769f8                   Address Redacted                     First Class Mail
2d34d12d‐a299‐4c5c‐93ed‐7d9410e1747b                   Address Redacted                     First Class Mail
2d34f88f‐2d46‐4aff‐b9b5‐e5ffda467625                   Address Redacted                     First Class Mail
2d371347‐5cdd‐46be‐a705‐e87f81a441c2                   Address Redacted                     First Class Mail
2d3722db‐2d00‐42e3‐b04c‐73ec6b930bd1                   Address Redacted                     First Class Mail
2d3d4150‐3702‐4df7‐98b3‐e8e4db3b8e8a                   Address Redacted                     First Class Mail
2d44b903‐f7b8‐4776‐9a66‐fd36ce7f3d1c                   Address Redacted                     First Class Mail
2d4a4caf‐163f‐4c8f‐8dda‐e0e4df45ab02                   Address Redacted                     First Class Mail
2d4a505c‐eee1‐4fc4‐8d22‐ef68c525893a                   Address Redacted                     First Class Mail
2d4b0b0d‐5d85‐4302‐a2c0‐0525bcc84230                   Address Redacted                     First Class Mail
2d4b1bf5‐c4d0‐43cb‐97bd‐b8d3bd08a58c                   Address Redacted                     First Class Mail
2d4e3481‐f96d‐4037‐b18a‐2ef6e71e8bac                   Address Redacted                     First Class Mail
2d4eb7e9‐fe09‐4218‐bde4‐d2100007414c                   Address Redacted                     First Class Mail
2d4fd6ae‐4e92‐433e‐b5e3‐9c05f5066264                   Address Redacted                     First Class Mail
2d5096bf‐e483‐4a4e‐be36‐62ac09ce0010                   Address Redacted                     First Class Mail
2d562c37‐26c3‐41ca‐94d8‐18466399bc51                   Address Redacted                     First Class Mail
2d56e2fb‐61f1‐4e26‐92bc‐e752ac32fe9a                   Address Redacted                     First Class Mail
2d5941fa‐f0e3‐4633‐b3e6‐5bcd234ed581                   Address Redacted                     First Class Mail
2d5a4ff6‐9528‐4ec8‐883d‐3b93236018aa                   Address Redacted                     First Class Mail
2d5eb294‐cdac‐4c2c‐8cdd‐b11cffba7d0f                   Address Redacted                     First Class Mail
2d691df8‐e55f‐490f‐878e‐cc5fd47459e1                   Address Redacted                     First Class Mail
2d694cb3‐98cb‐4e7a‐9022‐5fca74dd7347                   Address Redacted                     First Class Mail
2d6d7217‐4595‐40b5‐a9c2‐ba8a9765ddce                   Address Redacted                     First Class Mail
2d6faea3‐d592‐4fc5‐ae25‐42eadf5f6a21                   Address Redacted                     First Class Mail
2d7a956e‐48b4‐4946‐a2b1‐57aa9a1f9dc9                   Address Redacted                     First Class Mail
2d7bdbc5‐9394‐46ad‐88f7‐f94f0c26e583                   Address Redacted                     First Class Mail
2d7de759‐500d‐45b1‐9a45‐c1c1a92dd464                   Address Redacted                     First Class Mail
2d843590‐8655‐439a‐9a4f‐f2638e264740                   Address Redacted                     First Class Mail
2d87c8f7‐7107‐4741‐a6d9‐3a8211064aad                   Address Redacted                     First Class Mail
2d884878‐e376‐43b5‐afa1‐def61e94cc0c                   Address Redacted                     First Class Mail
2d8dde54‐e45b‐42a4‐bdb0‐f71ea859ce0b                   Address Redacted                     First Class Mail
2d8f066d‐fe31‐402a‐bd22‐91cc2716a030                   Address Redacted                     First Class Mail
2d910f92‐2ca0‐485f‐9a77‐b05aa71f9344                   Address Redacted                     First Class Mail
2d930bde‐3b6c‐4f1b‐abe2‐a9e810eb9ea4                   Address Redacted                     First Class Mail
2d978533‐781f‐418b‐9180‐b7fbde7bea90                   Address Redacted                     First Class Mail
2d991993‐0c2e‐4ae8‐b7a9‐0be2c843f4c6                   Address Redacted                     First Class Mail
2d9b9433‐d43f‐47c8‐9cff‐a5192bcffe9a                   Address Redacted                     First Class Mail
2d9f4db4‐442b‐4be0‐a797‐7556f24b965a                   Address Redacted                     First Class Mail
2d9fcd66‐c5be‐4195‐bf3c‐6ae6abfa4c98                   Address Redacted                     First Class Mail
2da0b4af‐6a6e‐4264‐8f76‐7c90b0ea7fac                   Address Redacted                     First Class Mail
2da1091b‐4b13‐4593‐8add‐688b1e0c482c                   Address Redacted                     First Class Mail
2da43a79‐4a3d‐4449‐84f9‐19450206e10d                   Address Redacted                     First Class Mail
2da7493b‐6067‐4840‐b464‐3523c9861d56                   Address Redacted                     First Class Mail
2da8fa73‐ac44‐461a‐8b96‐532e5678be80                   Address Redacted                     First Class Mail
2daa935d‐e8ef‐437c‐9a7f‐e27569faccb0                   Address Redacted                     First Class Mail
2dadd187‐134b‐4093‐abaf‐d029b0911d71                   Address Redacted                     First Class Mail
2db2b571‐6660‐4a7b‐bed7‐1d5f070c3abf                   Address Redacted                     First Class Mail




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                              Name                                              Address                        Method of Service
2db2f621‐f33a‐421d‐94b1‐0f01a3832787                   Address Redacted                     First Class Mail
2db34368‐93b7‐4611‐93e9‐3884b714073b                   Address Redacted                     First Class Mail
2db4d224‐2fc6‐4b62‐a394‐b0e987d61bb5                   Address Redacted                     First Class Mail
2db76527‐a9a5‐4bd9‐b532‐9be8ffd4f57a                   Address Redacted                     First Class Mail
2dba8514‐195a‐46ca‐891f‐8654e3dd36a7                   Address Redacted                     First Class Mail
2dca6406‐f56a‐4e60‐aeb9‐a1161f9afd99                   Address Redacted                     First Class Mail
2dcbe35c‐b5ac‐428a‐86e0‐c669d85c1a8c                   Address Redacted                     First Class Mail
2dcc3f97‐ef3e‐4d68‐b867‐affab1ed1470                   Address Redacted                     First Class Mail
2dccb219‐6815‐4692‐9d19‐4d86f0e4bfcf                   Address Redacted                     First Class Mail
2dcdc272‐b526‐4cc3‐be30‐bc97cf6d32a7                   Address Redacted                     First Class Mail
2dcebb1f‐f2d0‐435c‐b662‐7b143f90796f                   Address Redacted                     First Class Mail
2dcf21f1‐ce4d‐4749‐b440‐962bef642d4e                   Address Redacted                     First Class Mail
2dd0920a‐15e6‐4c76‐9795‐13b3fbb6aacb                   Address Redacted                     First Class Mail
2dd1cfc3‐701d‐4658‐ac18‐d63b5de51f54                   Address Redacted                     First Class Mail
2dd3591d‐728b‐43fb‐bdc8‐ac329d8470ee                   Address Redacted                     First Class Mail
2dd723f5‐a989‐4712‐8c26‐7b7ad1b8ca2f                   Address Redacted                     First Class Mail
2dd84d86‐2883‐4066‐9def‐05736c840b2a                   Address Redacted                     First Class Mail
2ddbf1a6‐3584‐49ea‐be0e‐352c3a0edb9f                   Address Redacted                     First Class Mail
2de0b6ba‐608f‐4104‐9621‐f148ce2bbf8f                   Address Redacted                     First Class Mail
2de0e9eb‐0868‐49cf‐835a‐6e96cf165bff                   Address Redacted                     First Class Mail
2de17b27‐675d‐4324‐bc3f‐2d3cd5241cb3                   Address Redacted                     First Class Mail
2de516df‐6c03‐4e40‐8fba‐2703f1f333aa                   Address Redacted                     First Class Mail
2de6206b‐1ccf‐49cc‐aa5e‐4aec10f2c8a8                   Address Redacted                     First Class Mail
2de837ad‐c52d‐42d0‐9787‐f6702afd37e0                   Address Redacted                     First Class Mail
2df096a3‐58e2‐472e‐afb3‐2578187baed4                   Address Redacted                     First Class Mail
2df1a866‐f182‐467a‐8c4d‐0f7539410ca7                   Address Redacted                     First Class Mail
2df1f8cb‐f0ea‐44cb‐be38‐08be7173e9a4                   Address Redacted                     First Class Mail
2df46d47‐874e‐49c1‐88b0‐79360a989ce3                   Address Redacted                     First Class Mail
2df62f30‐dd04‐47f1‐bc77‐ad0a362e4cd8                   Address Redacted                     First Class Mail
2df72488‐6ecc‐411b‐b293‐4c040eac1695                   Address Redacted                     First Class Mail
2dfbc43c‐581d‐4fdd‐bf02‐24c5934bd35b                   Address Redacted                     First Class Mail
2dff27f0‐473f‐437e‐9819‐5e843ad68138                   Address Redacted                     First Class Mail
2e00e711‐c4a1‐40df‐a0b3‐fc505d1b3eeb                   Address Redacted                     First Class Mail
2e016677‐6579‐4a03‐ad46‐23f985a635a0                   Address Redacted                     First Class Mail
2e053e12‐f7cd‐4af1‐b2f5‐7d98cdab846e                   Address Redacted                     First Class Mail
2e0652fb‐5858‐4bdb‐bb61‐0f6e96420f49                   Address Redacted                     First Class Mail
2e0834b3‐4416‐40c5‐a3e6‐04721cb7785a                   Address Redacted                     First Class Mail
2e086d33‐ab5c‐4021‐8a57‐38bd23db0ee2                   Address Redacted                     First Class Mail
2e086fe0‐2bc4‐41ae‐9d5c‐e1d04e3155e2                   Address Redacted                     First Class Mail
2e11aca6‐d95c‐40af‐8f45‐f18a79a2df35                   Address Redacted                     First Class Mail
2e12de79‐9cf1‐4931‐b83c‐23ad850d74d2                   Address Redacted                     First Class Mail
2e15c427‐3fc3‐461a‐9217‐7d1922553562                   Address Redacted                     First Class Mail
2e1699d4‐b77f‐49b3‐a0d6‐5f41ae39b553                   Address Redacted                     First Class Mail
2e1a0396‐5015‐4852‐b340‐71a6ca304b7f                   Address Redacted                     First Class Mail
2e1a1780‐8c7f‐4eac‐9151‐c23db83b4bc4                   Address Redacted                     First Class Mail
2e1bf07b‐8c6e‐4bb5‐a807‐ea558e7ac3f0                   Address Redacted                     First Class Mail
2e1fa2a5‐d5c7‐46e1‐b2c4‐8c33020ffa5e                   Address Redacted                     First Class Mail
2e2032d9‐53de‐4bf9‐a19e‐3f21aad79415                   Address Redacted                     First Class Mail
2e20f3e2‐f780‐45c6‐af5d‐c0331cb62f55                   Address Redacted                     First Class Mail
2e217f96‐7442‐4282‐ab55‐1f51ec975df1                   Address Redacted                     First Class Mail
2e24eec6‐a0d0‐4467‐9f9c‐bd46e70adf9a                   Address Redacted                     First Class Mail
2e289436‐778d‐49d5‐9896‐f1c85969a61a                   Address Redacted                     First Class Mail
2e2b7349‐8796‐4ad2‐a597‐281c43d16486                   Address Redacted                     First Class Mail
2e2c2468‐fa15‐49e8‐997c‐d0b4eb49e3dc                   Address Redacted                     First Class Mail
2e2e7cb4‐9671‐459e‐9ca6‐4e911d283807                   Address Redacted                     First Class Mail
2e3253ad‐572b‐46aa‐92ed‐aca2751a45f2                   Address Redacted                     First Class Mail
2e33a023‐6d9b‐4d9f‐aa1e‐00ea3aa14151                   Address Redacted                     First Class Mail
2e340908‐4614‐4e2c‐9696‐a6a5f1acf564                   Address Redacted                     First Class Mail
2e3b8458‐62a7‐456c‐84a7‐a987c2bb1163                   Address Redacted                     First Class Mail
2e4281e7‐67b3‐4084‐b7b4‐54a5bd002aa5                   Address Redacted                     First Class Mail
2e42d193‐56f1‐4d2c‐b20d‐606518a52af2                   Address Redacted                     First Class Mail
2e43ef4d‐bcc2‐4872‐ae1e‐91d807c7d993                   Address Redacted                     First Class Mail
2e447643‐172f‐4c2d‐9d36‐ad3c49877f76                   Address Redacted                     First Class Mail
2e477b2f‐b1dc‐47f7‐8c2e‐cedf02825de0                   Address Redacted                     First Class Mail
2e4996a7‐9025‐4b49‐b358‐01c9edbe7ab9                   Address Redacted                     First Class Mail
2e4a9c1e‐81e9‐46dd‐8b4d‐336e3403793f                   Address Redacted                     First Class Mail
2e4b4e4b‐99aa‐4842‐93e6‐6a9648bbf723                   Address Redacted                     First Class Mail
2e5a899e‐3bc3‐4606‐bdf8‐9b81b67fd9aa                   Address Redacted                     First Class Mail
2e5e5fed‐5a3e‐4fb1‐9317‐0a1bf3637f37                   Address Redacted                     First Class Mail
2e5ec213‐1a3a‐4c49‐8339‐b82cdabca88c                   Address Redacted                     First Class Mail
2e618234‐f538‐40d5‐86e1‐97766621af49                   Address Redacted                     First Class Mail
2e626bc9‐b5b8‐4b59‐8765‐2ecfb3b2f39d                   Address Redacted                     First Class Mail




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                               Name                                             Address                        Method of Service
2e649800‐3ca8‐45fe‐8ee4‐6a3cb787f278                   Address Redacted                     First Class Mail
2e6b8248‐0115‐46ae‐85eb‐6cffde56663c                   Address Redacted                     First Class Mail
2e6bc3e4‐7db5‐46eb‐ac0d‐bbbffc3ea516                   Address Redacted                     First Class Mail
2e6d1362‐c4d6‐42e0‐9917‐8eb86f976fe0                   Address Redacted                     First Class Mail
2e713aa1‐3ed1‐48d2‐9402‐74bdfaf6d486                   Address Redacted                     First Class Mail
2e71fede‐d6c0‐4c6a‐8b05‐454757dc6c84                   Address Redacted                     First Class Mail
2e73f074‐ef7e‐4b01‐b84e‐1bb4b4cd4546                   Address Redacted                     First Class Mail
2e740457‐3373‐4762‐88f1‐de6e7c4027b2                   Address Redacted                     First Class Mail
2e753ed1‐58c8‐4c41‐a11e‐a45af5a85b38                   Address Redacted                     First Class Mail
2e76f1c7‐0e63‐42ee‐ab54‐d2961fa03c18                   Address Redacted                     First Class Mail
2e7a1ecf‐6aed‐4b6e‐b70b‐db46839b33f1                   Address Redacted                     First Class Mail
2e7acccd‐8aa5‐48f0‐a4fe‐0e33bf211ce9                   Address Redacted                     First Class Mail
2e82749e‐031c‐4293‐bbe1‐87b11600f0ae                   Address Redacted                     First Class Mail
2e82f548‐7b60‐4f6e‐913e‐c05882921dae                   Address Redacted                     First Class Mail
2e8a26ae‐5356‐4f5d‐aea8‐29361ed78cb6                   Address Redacted                     First Class Mail
2e8bd059‐fe37‐499b‐85a2‐6d0adacb28c6                   Address Redacted                     First Class Mail
2e8d6241‐dd7d‐4245‐a122‐99c03f237f6d                   Address Redacted                     First Class Mail
2e923427‐7225‐48df‐9e54‐a26c2cfc2698                   Address Redacted                     First Class Mail
2e9729a5‐1689‐40ad‐b314‐9f59bccdfbfa                   Address Redacted                     First Class Mail
2e9e741f‐406a‐4727‐9f3e‐b34e0524f9cc                   Address Redacted                     First Class Mail
2ea15507‐0d80‐437e‐a727‐5909bb6f85e7                   Address Redacted                     First Class Mail
2ea2f618‐231e‐4413‐8871‐575c5f90220b                   Address Redacted                     First Class Mail
2ea33b78‐aec3‐4829‐941c‐1683dfac2b21                   Address Redacted                     First Class Mail
2eaa3307‐42be‐44bd‐99ee‐3f19bc8c696f                   Address Redacted                     First Class Mail
2eaa9145‐c3e0‐4856‐924e‐1eac47e3314f                   Address Redacted                     First Class Mail
2ead31f8‐84d1‐444a‐8400‐fcaa6b9ad96e                   Address Redacted                     First Class Mail
2eb14136‐918c‐4c2c‐8160‐b7242875ca7b                   Address Redacted                     First Class Mail
2eb1cd01‐d2d6‐427f‐9140‐e24f7d66d567                   Address Redacted                     First Class Mail
2ebd2ab9‐04d4‐4005‐aa83‐2116faf30bd9                   Address Redacted                     First Class Mail
2ebf69fb‐7f26‐4d20‐9482‐ccead7bda08f                   Address Redacted                     First Class Mail
2ec04390‐5ca9‐4a3f‐9307‐0c3fdf99c757                   Address Redacted                     First Class Mail
2ec2ceb5‐9e1d‐4919‐bef2‐8b954e460de0                   Address Redacted                     First Class Mail
2ec46768‐f1bf‐4366‐aca5‐95300d6a71dc                   Address Redacted                     First Class Mail
2ec5be1e‐2e7b‐4156‐876f‐2fdb6a3abc31                   Address Redacted                     First Class Mail
2ec660eb‐a543‐45f2‐aeb7‐83791169a10f                   Address Redacted                     First Class Mail
2ec7af36‐e694‐42a3‐9f34‐407f8f97e507                   Address Redacted                     First Class Mail
2ec96b23‐f650‐4704‐8f95‐a6dd2db7f89d                   Address Redacted                     First Class Mail
2ec985f4‐0d4e‐4b69‐9734‐5cb4184bf4fa                   Address Redacted                     First Class Mail
2ecae8de‐8fe4‐4f7a‐bbf6‐dde49a424768                   Address Redacted                     First Class Mail
2ecb8d14‐6e0f‐4a98‐88f9‐c5f28f32ac6d                   Address Redacted                     First Class Mail
2ed36443‐4637‐4fbf‐8ab7‐b3ca71cc4f9d                   Address Redacted                     First Class Mail
2ed41a50‐7f48‐4d51‐b035‐831452790ec0                   Address Redacted                     First Class Mail
2ed446c8‐c697‐44bc‐9360‐4694bf3e22f9                   Address Redacted                     First Class Mail
2ed98379‐e837‐47a2‐b794‐c54cbff83f75                   Address Redacted                     First Class Mail
2edc89c7‐728c‐4c3e‐8922‐a90e6fb2a214                   Address Redacted                     First Class Mail
2ede1073‐6e1d‐4e45‐ac12‐6acaa2bbe8a1                   Address Redacted                     First Class Mail
2ee14a6b‐9257‐4351‐b97e‐e9782f914692                   Address Redacted                     First Class Mail
2ee66cb1‐bd31‐4aea‐9af0‐cc712862de63                   Address Redacted                     First Class Mail
2ee6ba39‐f412‐4ef2‐89ba‐8458c3141a4f                   Address Redacted                     First Class Mail
2ee9026f‐ccbc‐4498‐8ee6‐d28a5d3d7d6e                   Address Redacted                     First Class Mail
2ee9254a‐0312‐4410‐8850‐ba8820221baf                   Address Redacted                     First Class Mail
2ee9b6ea‐8a44‐40b0‐9843‐1d95df688570                   Address Redacted                     First Class Mail
2ee9f35a‐290a‐482d‐ba60‐ce1c31fca533                   Address Redacted                     First Class Mail
2ef3044b‐af85‐4daf‐80d0‐48a566569119                   Address Redacted                     First Class Mail
2ef3f560‐f71f‐4942‐bc14‐81991e6f8fd0                   Address Redacted                     First Class Mail
2ef46af1‐70c4‐4a52‐ab23‐3f618cdd8240                   Address Redacted                     First Class Mail
2ef4aadb‐7c5a‐4abe‐a8b0‐9806a0a7c608                   Address Redacted                     First Class Mail
2ef844b9‐0bb9‐4a08‐9b7f‐735b0905afaf                   Address Redacted                     First Class Mail
2eff7704‐ff4b‐481f‐8490‐9e29542e9602                   Address Redacted                     First Class Mail
2f001ded‐65ea‐4201‐8d39‐bdab6c0ae17c                   Address Redacted                     First Class Mail
2f05318f‐5a28‐4fc1‐b081‐7ad9815b2eb4                   Address Redacted                     First Class Mail
2f07b3f1‐409d‐49d6‐b813‐a76f263ac17e                   Address Redacted                     First Class Mail
2f07d509‐575d‐4486‐bb18‐b6b5153d187c                   Address Redacted                     First Class Mail
2f0e5c3d‐2161‐4a7a‐a7d3‐0122c2364fcb                   Address Redacted                     First Class Mail
2f12d52f‐7316‐4712‐93f8‐b1d6df591ad9                   Address Redacted                     First Class Mail
2f17f044‐93a6‐469d‐abd8‐6509d12ac024                   Address Redacted                     First Class Mail
2f1a8b74‐f591‐4fc4‐b27a‐fe327004d487                   Address Redacted                     First Class Mail
2f1c0d9d‐33a1‐4711‐80da‐c59283817497                   Address Redacted                     First Class Mail
2f1ded86‐8126‐43d0‐8054‐fa151f502236                   Address Redacted                     First Class Mail
2f2482fa‐c232‐479f‐afde‐788a6d95cb21                   Address Redacted                     First Class Mail
2f24f40e‐9fe8‐4908‐afc7‐fa61f6bd3fda                   Address Redacted                     First Class Mail
2f25b041‐751f‐44e3‐8b50‐6e200dc33406                   Address Redacted                     First Class Mail




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                                                                Exhibit A
                                                                 Service List


                              Name                                              Address                        Method of Service
2f27d476‐886a‐44fd‐afef‐ddfabe6e1ced                   Address Redacted                     First Class Mail
2f2a4af7‐912e‐4b47‐955a‐9750c1e2c27d                   Address Redacted                     First Class Mail
2f2c67d1‐493d‐488f‐bf05‐207c55f19a85                   Address Redacted                     First Class Mail
2f2d2212‐74c0‐4e1a‐a963‐37ffa32c4484                   Address Redacted                     First Class Mail
2f2d4e1a‐94dd‐4d50‐bda0‐eb8d224d06a3                   Address Redacted                     First Class Mail
2f2f7da1‐02c3‐4121‐86a5‐3a9978549bcb                   Address Redacted                     First Class Mail
2f382966‐96f8‐45cd‐b051‐22ad3d52fb05                   Address Redacted                     First Class Mail
2f39229b‐e0eb‐404e‐9c9b‐4e46236f2806                   Address Redacted                     First Class Mail
2f393409‐a5c0‐4f65‐bf7f‐83c760be31ad                   Address Redacted                     First Class Mail
2f3ba491‐349d‐4419‐a887‐76e069a6a51d                   Address Redacted                     First Class Mail
2f3f3c48‐c697‐487a‐b72a‐2e75df86c232                   Address Redacted                     First Class Mail
2f44b4bf‐c027‐4929‐b18f‐d7388e49fac6                   Address Redacted                     First Class Mail
2f458992‐6aee‐468d‐8a0e‐152bc7790ec1                   Address Redacted                     First Class Mail
2f46dd15‐6079‐45ed‐9e16‐4712adb7b5cd                   Address Redacted                     First Class Mail
2f48d53f‐eaa9‐4bf4‐a65d‐a844849c383e                   Address Redacted                     First Class Mail
2f4bdd70‐97ec‐4fc2‐a595‐3eef81b30d34                   Address Redacted                     First Class Mail
2f51a66c‐efae‐4f93‐9da9‐2cb894a773ac                   Address Redacted                     First Class Mail
2f530df6‐0374‐4d88‐8abc‐b21828003601                   Address Redacted                     First Class Mail
2f54f045‐fd32‐4ded‐80a9‐b6c4e15f6cdb                   Address Redacted                     First Class Mail
2f5749d6‐a0c0‐4ab8‐aa90‐7cbe31b64dba                   Address Redacted                     First Class Mail
2f587b84‐cd28‐40b9‐9ca6‐a15ec5cca4f3                   Address Redacted                     First Class Mail
2f598dfd‐d565‐493f‐af6a‐70e47d9d1124                   Address Redacted                     First Class Mail
2f59d48b‐e0a8‐4e66‐b667‐9e9afc5e8b8b                   Address Redacted                     First Class Mail
2f5a341c‐a1de‐4b94‐a246‐483f1eed9cdb                   Address Redacted                     First Class Mail
2f5b4b86‐4606‐4212‐9d81‐9a53e65af4c6                   Address Redacted                     First Class Mail
2f5e07b8‐11a2‐4b37‐a97f‐3bb35ad7baf6                   Address Redacted                     First Class Mail
2f617045‐1628‐4ae3‐bedb‐d9fa65725f49                   Address Redacted                     First Class Mail
2f633e1f‐298b‐4059‐86b0‐696ec4c258a4                   Address Redacted                     First Class Mail
2f63d6a6‐0ef1‐4e56‐b8e7‐ba8a1fda7ab4                   Address Redacted                     First Class Mail
2f6a23bc‐dbf0‐46f4‐a0b5‐b45eb8f9b199                   Address Redacted                     First Class Mail
2f6a9379‐a86b‐4b6e‐8cf1‐f8950e5c96cb                   Address Redacted                     First Class Mail
2f6d3eaa‐83c2‐47a8‐a203‐257d719acc0c                   Address Redacted                     First Class Mail
2f6d4720‐dec2‐4c4e‐ad36‐2f9977dfa26a                   Address Redacted                     First Class Mail
2f6d739b‐e9ee‐4355‐8e85‐fdc08854453d                   Address Redacted                     First Class Mail
2f6f9286‐0396‐45c2‐981e‐4d7ebfd5878b                   Address Redacted                     First Class Mail
2f7498b7‐96c2‐4c28‐a6d4‐53108e3454a6                   Address Redacted                     First Class Mail
2f78820b‐c3c2‐4f9f‐903a‐e105f53a0a6d                   Address Redacted                     First Class Mail
2f7af71f‐5647‐4d44‐92e8‐3f84e2e67452                   Address Redacted                     First Class Mail
2f7c1f22‐f8db‐4873‐b77a‐067757d816be                   Address Redacted                     First Class Mail
2f7db91d‐934f‐4d1e‐a4b4‐7fe785a722c9                   Address Redacted                     First Class Mail
2f80379b‐ce6a‐4097‐8d1c‐274bdd9c033b                   Address Redacted                     First Class Mail
2f81a0c4‐8cda‐4253‐b096‐d3e679941e64                   Address Redacted                     First Class Mail
2f86285f‐1bc4‐4c85‐94e9‐2b2560b45922                   Address Redacted                     First Class Mail
2f8aacb4‐8b5b‐45e1‐a935‐d9aba6beab98                   Address Redacted                     First Class Mail
2f9239e9‐82a6‐496b‐9ef9‐b85bb14af83b                   Address Redacted                     First Class Mail
2f9322ac‐1d4d‐4551‐8f3a‐4201c3efdd39                   Address Redacted                     First Class Mail
2f95ca3e‐5a96‐442b‐b9da‐6152a8fb80e5                   Address Redacted                     First Class Mail
2f97679f‐c6cc‐4e8e‐a239‐f4e81dbce3ce                   Address Redacted                     First Class Mail
2f97e135‐6c7e‐4b07‐b077‐5831d62d1401                   Address Redacted                     First Class Mail
2f984cb3‐f9d6‐4551‐8470‐791f798aed12                   Address Redacted                     First Class Mail
2f995946‐009e‐4775‐9d75‐243f41dc8bcc                   Address Redacted                     First Class Mail
2f99b402‐19d7‐483c‐b12f‐8b6e02f5065f                   Address Redacted                     First Class Mail
2f9a732f‐0cdc‐4aa3‐bc16‐be2f754d7c57                   Address Redacted                     First Class Mail
2f9a87c9‐5c22‐4a7f‐8a9d‐f64c3852a8ac                   Address Redacted                     First Class Mail
2f9d8b60‐a9cf‐495e‐8de1‐65a364d22f2c                   Address Redacted                     First Class Mail
2fa16d01‐68f4‐42e6‐9b37‐b0dba9a8280c                   Address Redacted                     First Class Mail
2fa67d41‐d242‐43ba‐9fe0‐a135b628788e                   Address Redacted                     First Class Mail
2fa897ad‐3d31‐4e3c‐8f6a‐9b51857b6c3b                   Address Redacted                     First Class Mail
2faac1c2‐54ab‐4b92‐b2c7‐c9aa76d31422                   Address Redacted                     First Class Mail
2fab920f‐993b‐418a‐8f42‐cce165350167                   Address Redacted                     First Class Mail
2faebf5c‐852a‐40e6‐9cf1‐0b9937796fef                   Address Redacted                     First Class Mail
2fb0b443‐c8d2‐426e‐9b6c‐ff36138dd541                   Address Redacted                     First Class Mail
2fb5877f‐e81e‐433d‐8fd9‐2f2a4c4f3e2c                   Address Redacted                     First Class Mail
2fba5e6a‐6428‐405a‐ab55‐b0ef5f24c008                   Address Redacted                     First Class Mail
2fc0af04‐d200‐4a24‐84dc‐83bc44c78083                   Address Redacted                     First Class Mail
2fc30647‐32d1‐425d‐8e2a‐e62035ddcfca                   Address Redacted                     First Class Mail
2fcbfe0d‐c969‐439e‐8b8d‐9589192e2319                   Address Redacted                     First Class Mail
2fd01b75‐d17d‐42d6‐abd2‐e850acb72088                   Address Redacted                     First Class Mail
2fd32892‐90ae‐44ca‐a3e7‐be9098a9679f                   Address Redacted                     First Class Mail
2fd5a141‐d5be‐46e2‐994b‐884ba6271409                   Address Redacted                     First Class Mail
2fd8cd94‐28f6‐4294‐abd4‐3f0fdd328493                   Address Redacted                     First Class Mail
2fdb1684‐31df‐45fc‐be49‐4e23f4f87c2c                   Address Redacted                     First Class Mail




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                                                                Exhibit A
                                                                 Service List


                              Name                                              Address                        Method of Service
2fdbf99b‐a446‐4c4f‐9a90‐d10655d309a6                   Address Redacted                     First Class Mail
2fdc6027‐6830‐4f7a‐b538‐14b442a6d9a1                   Address Redacted                     First Class Mail
2fdf9e6a‐dbf6‐42e7‐80bb‐1ace474a977c                   Address Redacted                     First Class Mail
2fe275da‐a251‐45e1‐997b‐f6b8ecf8d727                   Address Redacted                     First Class Mail
2fe4890c‐1568‐44cf‐a998‐4587225eff66                   Address Redacted                     First Class Mail
2fe58c82‐abda‐4c65‐8bb2‐b79a80750b2f                   Address Redacted                     First Class Mail
2fe66d2c‐6f96‐4072‐a145‐155b984c65f8                   Address Redacted                     First Class Mail
2fe76637‐ddf2‐43c6‐b4e0‐dc77c4bfb0d2                   Address Redacted                     First Class Mail
2feea7d2‐5014‐4d8c‐b2b7‐64ae5275267c                   Address Redacted                     First Class Mail
2ff063b4‐c7e6‐4bac‐baed‐7c12af1ceef6                   Address Redacted                     First Class Mail
2ff4bc01‐db85‐4628‐9b4f‐0e187c6e164f                   Address Redacted                     First Class Mail
2ff5b13b‐caa2‐47f5‐ba13‐29416f63df0e                   Address Redacted                     First Class Mail
2ff8a349‐9eb0‐4041‐abd4‐98d4a3cd2d61                   Address Redacted                     First Class Mail
2ff9a2bd‐8028‐4d50‐9e3c‐80730822f8f9                   Address Redacted                     First Class Mail
30009fa7‐cfaf‐44ad‐834f‐fab609028891                   Address Redacted                     First Class Mail
3005ef48‐6791‐4b96‐8e59‐15cf1fd961af                   Address Redacted                     First Class Mail
300729e7‐f531‐4fa8‐91e3‐81cae927e02f                   Address Redacted                     First Class Mail
3007b92f‐fc10‐4392‐88fa‐0bd42a89425a                   Address Redacted                     First Class Mail
300803f3‐bca2‐4c5c‐a74c‐ff68c26f2e00                   Address Redacted                     First Class Mail
30093c61‐889e‐4b49‐8c7e‐59bfcfd0adf8                   Address Redacted                     First Class Mail
300c124a‐d3c6‐4379‐ae42‐68ee70273163                   Address Redacted                     First Class Mail
300e1dfd‐6086‐43ea‐8305‐f1dc28fecb95                   Address Redacted                     First Class Mail
30135e03‐0608‐4247‐bbc5‐db00d4d97b36                   Address Redacted                     First Class Mail
301767dc‐8a71‐4966‐8c9f‐3de749004424                   Address Redacted                     First Class Mail
30183e78‐1a25‐4e1a‐9856‐9801d666658c                   Address Redacted                     First Class Mail
30190e23‐91e9‐4b2c‐a84c‐971d571a6265                   Address Redacted                     First Class Mail
301ab10f‐3850‐4d8d‐8bfb‐a565b239b12c                   Address Redacted                     First Class Mail
301baa88‐fb7d‐48f1‐ba8b‐013621a9bc23                   Address Redacted                     First Class Mail
301c7534‐93c8‐4499‐b847‐f466284797af                   Address Redacted                     First Class Mail
301fabd5‐82ce‐4aa6‐a3d9‐6f0348cb50bc                   Address Redacted                     First Class Mail
302147a1‐6099‐4fee‐a192‐11760dd1b21d                   Address Redacted                     First Class Mail
3021e861‐7e8a‐4f2b‐b4bd‐1d4e1ce13fd4                   Address Redacted                     First Class Mail
30228485‐c354‐4f8c‐8e72‐ab43a2330c2a                   Address Redacted                     First Class Mail
30238578‐6713‐41f3‐86a3‐3243b97ede4e                   Address Redacted                     First Class Mail
30259925‐dfe9‐4b30‐8347‐58c622d386d2                   Address Redacted                     First Class Mail
30268956‐3d07‐470d‐8a58‐f0e768956b51                   Address Redacted                     First Class Mail
302d9a3e‐d16f‐4c8c‐802f‐adb8c42f178b                   Address Redacted                     First Class Mail
30303043‐a273‐4247‐8669‐8b2723ec622e                   Address Redacted                     First Class Mail
30355c98‐1c58‐4b0c‐8093‐b071a6a6f4d0                   Address Redacted                     First Class Mail
303ade8f‐30b6‐4201‐8b49‐8d256b47921c                   Address Redacted                     First Class Mail
303b4b32‐e44b‐4edd‐bc7f‐52f6ca6104f2                   Address Redacted                     First Class Mail
303b4e7a‐2b69‐446e‐88ff‐b6b90f730f86                   Address Redacted                     First Class Mail
303d516b‐421d‐4f8c‐bc75‐5e58da7007f2                   Address Redacted                     First Class Mail
303ea2c9‐8aef‐46d1‐9bb6‐72fc11185ac8                   Address Redacted                     First Class Mail
3040fde9‐89d2‐408c‐af40‐f40881c64aac                   Address Redacted                     First Class Mail
304191c5‐9f16‐480f‐ad17‐b12f22011289                   Address Redacted                     First Class Mail
3042ff9a‐4571‐4912‐8af9‐b24c8ad7274f                   Address Redacted                     First Class Mail
304789b4‐8476‐4361‐beed‐8e931e8cbbbf                   Address Redacted                     First Class Mail
304e9cf8‐acfe‐4003‐ab94‐1bb8f1d0ffee                   Address Redacted                     First Class Mail
3050c4be‐67de‐4502‐a93f‐f07198b6f2aa                   Address Redacted                     First Class Mail
3052b058‐d6cd‐4ab3‐93f8‐a4a657fe86a1                   Address Redacted                     First Class Mail
3056ce00‐fa05‐492d‐9204‐efabee08cbad                   Address Redacted                     First Class Mail
305981ff‐93e3‐4426‐8f61‐9c4857a5e248                   Address Redacted                     First Class Mail
30605fb3‐e3e1‐41f5‐8688‐00fcaa5e34eb                   Address Redacted                     First Class Mail
30612b2c‐5369‐4258‐b6ef‐bea4573657a5                   Address Redacted                     First Class Mail
3063a619‐7d42‐49c4‐927c‐2cd31f1dfc34                   Address Redacted                     First Class Mail
30683f6c‐8250‐4c02‐8a03‐a0d7607fc030                   Address Redacted                     First Class Mail
307b768c‐085b‐403f‐b9c5‐345ebb376e71                   Address Redacted                     First Class Mail
3081d5fd‐9e6e‐4f09‐87d3‐8c23d1c13f44                   Address Redacted                     First Class Mail
30829754‐be58‐403e‐8ff8‐e8460b290be9                   Address Redacted                     First Class Mail
308337b5‐c7b1‐4c7b‐9ae6‐8dfcf79cda6e                   Address Redacted                     First Class Mail
3084ce52‐f812‐464c‐9b42‐42e288931902                   Address Redacted                     First Class Mail
3085b488‐aeb1‐4262‐a490‐d241341e6cfa                   Address Redacted                     First Class Mail
3087592e‐30b4‐43ed‐9e31‐5208390ee0a5                   Address Redacted                     First Class Mail
3087ee36‐8ae4‐47c4‐bfa2‐e4c7319070a5                   Address Redacted                     First Class Mail
3088aebe‐6431‐4943‐84e6‐cc1d67dfdf88                   Address Redacted                     First Class Mail
308a01ce‐fad4‐418e‐8b62‐26278bd0ce7d                   Address Redacted                     First Class Mail
308afeac‐aba4‐468c‐a45c‐5b8ee8f85a35                   Address Redacted                     First Class Mail
308c1256‐569d‐4d1e‐9241‐a4d549065735                   Address Redacted                     First Class Mail
308e07ab‐90ad‐4017‐8827‐26671d082121                   Address Redacted                     First Class Mail
308f9f31‐2ce4‐44da‐a207‐f2cd94f8ad41                   Address Redacted                     First Class Mail
308fd9bd‐a4c8‐4c7f‐9b9d‐129abbf95ec7                   Address Redacted                     First Class Mail




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                              Name                                              Address                        Method of Service
3092092e‐2f7c‐4ee5‐9b74‐ec4f9e819a58                   Address Redacted                     First Class Mail
309379dd‐3c83‐4a63‐8981‐ac41bdeab30d                   Address Redacted                     First Class Mail
30946744‐d87a‐4df7‐abf6‐c9d7ca806c09                   Address Redacted                     First Class Mail
309519ec‐5a82‐444d‐a933‐173eb00824d5                   Address Redacted                     First Class Mail
30995c67‐22ed‐4276‐b136‐ff95ef9b1f15                   Address Redacted                     First Class Mail
309a0833‐346f‐4567‐9896‐28d949a58d20                   Address Redacted                     First Class Mail
309d4c60‐9056‐46a5‐9d26‐f8ffdc5cbc52                   Address Redacted                     First Class Mail
30a0a147‐c777‐493f‐8134‐0822c7f845ef                   Address Redacted                     First Class Mail
30a0ae6b‐24b2‐4eeb‐b73c‐b4cdba8f48e1                   Address Redacted                     First Class Mail
30a30235‐5a07‐45da‐afa0‐a16c88defb3d                   Address Redacted                     First Class Mail
30a52f0d‐d5ff‐4829‐951c‐0fd7fb499b6f                   Address Redacted                     First Class Mail
30a5fb15‐4342‐4416‐a70f‐c92097eef591                   Address Redacted                     First Class Mail
30a60d8a‐1391‐44b6‐ae03‐f1d2cc80ad05                   Address Redacted                     First Class Mail
30a78d70‐9e1e‐414d‐9476‐3aa9a11e316e                   Address Redacted                     First Class Mail
30a8d314‐3ac8‐4d5b‐bc39‐58be6253e715                   Address Redacted                     First Class Mail
30b16e88‐dd65‐46ec‐90cd‐68cbd63a291f                   Address Redacted                     First Class Mail
30b36eee‐47b2‐47de‐bfc4‐82b84e7bd974                   Address Redacted                     First Class Mail
30b42e78‐48f0‐452f‐84ee‐916ac0d5eab9                   Address Redacted                     First Class Mail
30b57503‐2013‐4ec7‐95a2‐cf39c1b61c76                   Address Redacted                     First Class Mail
30b610a6‐acf6‐4c69‐990b‐70e2caf52eb2                   Address Redacted                     First Class Mail
30bd4454‐4147‐46bf‐9a94‐4503fa887e30                   Address Redacted                     First Class Mail
30bf3fec‐36a5‐4be0‐8d2e‐d5b41c7f913a                   Address Redacted                     First Class Mail
30bfd828‐1f10‐4e5a‐a93d‐49450eeb890b                   Address Redacted                     First Class Mail
30c0d309‐a5b7‐44bc‐ad44‐fb89bf7e7051                   Address Redacted                     First Class Mail
30c355e8‐72d7‐4fe7‐813c‐9154f843c66b                   Address Redacted                     First Class Mail
30c3b873‐a786‐48aa‐8b95‐f58c3f061b85                   Address Redacted                     First Class Mail
30c94153‐49f2‐4202‐a930‐33fe62fa8f57                   Address Redacted                     First Class Mail
30ca5bef‐2a79‐481e‐be31‐76ae9ee3df21                   Address Redacted                     First Class Mail
30cb75b6‐154d‐4723‐bff6‐960c423d9545                   Address Redacted                     First Class Mail
30cbc14d‐e84b‐4204‐b0bb‐376baca13047                   Address Redacted                     First Class Mail
30cce835‐bd24‐4dbc‐96b4‐a31f8d1780d3                   Address Redacted                     First Class Mail
30d4ea2f‐6bd0‐4372‐8e3a‐ef5314566a5b                   Address Redacted                     First Class Mail
30d4fa83‐5fe9‐4cf3‐94c2‐54ffd299a160                   Address Redacted                     First Class Mail
30d56184‐9564‐4830‐8d32‐4034e692293e                   Address Redacted                     First Class Mail
30d83ab1‐d754‐4e28‐8842‐62279b4644dc                   Address Redacted                     First Class Mail
30d98eb4‐8b1d‐41f3‐a56f‐fa777f179a1d                   Address Redacted                     First Class Mail
30e1c2d3‐3d85‐4f73‐843e‐e45134bc0f97                   Address Redacted                     First Class Mail
30e72506‐85a2‐4de2‐97fa‐0b6b8b0b6410                   Address Redacted                     First Class Mail
30ed663a‐46d8‐41cd‐993c‐ac41ff48c4ff                   Address Redacted                     First Class Mail
30ed98b8‐0ed6‐422c‐9aad‐2566d537a291                   Address Redacted                     First Class Mail
30f00399‐f9af‐401d‐8b91‐effd5b839eed                   Address Redacted                     First Class Mail
30f1a813‐a4c6‐42f3‐ab24‐ed44f47b1493                   Address Redacted                     First Class Mail
30f30fe6‐505f‐4ac2‐b606‐df5c13ee4148                   Address Redacted                     First Class Mail
30f48860‐6700‐4ef4‐908e‐c8cf16348e46                   Address Redacted                     First Class Mail
30f6dd06‐abc1‐4880‐83b4‐6d0e5dc2d389                   Address Redacted                     First Class Mail
30f823ad‐7925‐414d‐a48f‐711ea612b0a1                   Address Redacted                     First Class Mail
30faa8a5‐836d‐4911‐a343‐56083cd0f8f0                   Address Redacted                     First Class Mail
30fcd52d‐7785‐4ccb‐9a41‐0d6990116046                   Address Redacted                     First Class Mail
3102293b‐3eba‐4d2f‐a0d3‐1eed710acedd                   Address Redacted                     First Class Mail
310412c7‐1ce1‐444f‐89ee‐051d1342abcf                   Address Redacted                     First Class Mail
3105d7b3‐cd36‐44a1‐8d19‐84e37573e953                   Address Redacted                     First Class Mail
31083726‐f0b9‐4b72‐9881‐988c94ac0e3a                   Address Redacted                     First Class Mail
31095ba8‐43eb‐46a9‐a0bf‐cb6a1c285af5                   Address Redacted                     First Class Mail
310cef9b‐ac7b‐40cb‐8444‐b0eaa3b2387c                   Address Redacted                     First Class Mail
310f9b0e‐05b8‐4fc1‐97c9‐fccc4c4bd8bd                   Address Redacted                     First Class Mail
3111c515‐89d6‐483d‐900f‐1e50c7f6136b                   Address Redacted                     First Class Mail
311368f3‐226f‐455e‐98f5‐fad6959b5d62                   Address Redacted                     First Class Mail
3117d13c‐7133‐4fb4‐8e70‐a61f733bc1f7                   Address Redacted                     First Class Mail
3119d8bc‐e5d2‐4fdd‐b31d‐bce3479ef8b8                   Address Redacted                     First Class Mail
3119eb38‐9de5‐482b‐aed8‐e82926f3dec0                   Address Redacted                     First Class Mail
311a6c7b‐963a‐4a60‐bab7‐8ef941a22cbd                   Address Redacted                     First Class Mail
311c0a59‐e135‐4fe6‐8c6a‐e9492d22a5cc                   Address Redacted                     First Class Mail
311c3976‐e48f‐4ec3‐9f01‐ceadffcf4d51                   Address Redacted                     First Class Mail
311c6168‐f97d‐4a79‐a1da‐5fa4afcada2f                   Address Redacted                     First Class Mail
311eaefe‐97f4‐4c7a‐bee6‐92dc378789e8                   Address Redacted                     First Class Mail
3121817f‐1026‐4da4‐9f74‐0630ec73468e                   Address Redacted                     First Class Mail
3121bd62‐401e‐4db6‐839e‐3aaa93ee7fb4                   Address Redacted                     First Class Mail
312322c4‐6444‐49dc‐9400‐ecc7b094dcf3                   Address Redacted                     First Class Mail
3127ae31‐8a26‐41fc‐a1cd‐de99283baee0                   Address Redacted                     First Class Mail
312816cc‐53fa‐4029‐89d5‐db00c40c6b6c                   Address Redacted                     First Class Mail
312eb6d6‐d374‐4fcf‐8616‐900f8654d3f7                   Address Redacted                     First Class Mail
31323827‐b6d9‐42eb‐b0e0‐3144d95326c6                   Address Redacted                     First Class Mail




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                              Name                                              Address                        Method of Service
31351664‐edaf‐40f9‐ada1‐94ccd7b56b83                   Address Redacted                     First Class Mail
313bb86f‐7e3f‐485e‐b28f‐5ceedfdfeb8a                   Address Redacted                     First Class Mail
313c1ce0‐929c‐44fa‐82a3‐401ada7704fd                   Address Redacted                     First Class Mail
31414846‐b43b‐4c79‐b754‐21b3d68e6a00                   Address Redacted                     First Class Mail
314ba013‐32e0‐4bf6‐9442‐f5839788a632                   Address Redacted                     First Class Mail
314f5635‐53eb‐4f5f‐b370‐bae583bd63d8                   Address Redacted                     First Class Mail
314f621c‐f797‐494a‐a0dc‐ea1872c8e1df                   Address Redacted                     First Class Mail
31511512‐c039‐4980‐843f‐b481c1a14de4                   Address Redacted                     First Class Mail
31592ead‐3131‐4914‐9eaf‐63b5e25067f9                   Address Redacted                     First Class Mail
31594d69‐768a‐45b4‐955e‐2603d04e161d                   Address Redacted                     First Class Mail
315b6eee‐615d‐45da‐bc3d‐9a18969996c7                   Address Redacted                     First Class Mail
315d376d‐7a38‐44be‐9615‐02b2c773f287                   Address Redacted                     First Class Mail
315d3e93‐e693‐4825‐bfb6‐7ef8ea2ac628                   Address Redacted                     First Class Mail
3169352d‐7590‐4865‐84ec‐b53c8e0968a3                   Address Redacted                     First Class Mail
316aed60‐27df‐48a5‐9b58‐cdcea47fbdb9                   Address Redacted                     First Class Mail
316f8209‐6f49‐4dd6‐a51c‐51fb3c6c2b42                   Address Redacted                     First Class Mail
31716ea9‐f0ad‐4e79‐8e4c‐913331f62ff8                   Address Redacted                     First Class Mail
3173189a‐987a‐4684‐b17f‐c67f083bb8bd                   Address Redacted                     First Class Mail
317544ee‐f71f‐4abc‐80d3‐b7147ea02fcd                   Address Redacted                     First Class Mail
31754b08‐5712‐4e58‐afc5‐a837afb03d39                   Address Redacted                     First Class Mail
3175e8e4‐fc48‐4c56‐811d‐6883031b54ba                   Address Redacted                     First Class Mail
317a718e‐be73‐44a2‐b868‐fcc680c81a31                   Address Redacted                     First Class Mail
317e25d2‐3e77‐4340‐8877‐63d0a65418a9                   Address Redacted                     First Class Mail
31840d15‐671f‐449f‐849f‐94fa2462988d                   Address Redacted                     First Class Mail
31849e50‐13a0‐4803‐bbed‐a76b724cd140                   Address Redacted                     First Class Mail
318650dc‐2a4a‐4f5d‐a984‐aa331b71f4d2                   Address Redacted                     First Class Mail
31876a18‐94af‐40b9‐a42c‐a4d99a35020b                   Address Redacted                     First Class Mail
3189a6c6‐0c72‐4227‐aabe‐e7c4ddd52df7                   Address Redacted                     First Class Mail
319220af‐46ff‐4681‐863a‐da645f7b506f                   Address Redacted                     First Class Mail
31946f90‐e199‐47ab‐948d‐50d1b8b7ba20                   Address Redacted                     First Class Mail
31951ccb‐5bd6‐418e‐8130‐8f0fa3cc9df8                   Address Redacted                     First Class Mail
3196c278‐bbdf‐47a9‐b751‐80442164775d                   Address Redacted                     First Class Mail
3198f8b3‐04fb‐4010‐8d06‐9ece57311f19                   Address Redacted                     First Class Mail
3199189f‐9371‐4c00‐ab78‐504817e95e96                   Address Redacted                     First Class Mail
3199fac0‐571d‐48b7‐83a9‐5090c811a47d                   Address Redacted                     First Class Mail
319b4531‐b391‐4859‐b33f‐a4faa8c44ba3                   Address Redacted                     First Class Mail
319d03e0‐e133‐4166‐9ed8‐c97f5bef8c5a                   Address Redacted                     First Class Mail
31a1e28b‐9632‐482b‐99e9‐d16bdd1a86f2                   Address Redacted                     First Class Mail
31a4b3c5‐cac9‐43f3‐84d2‐a19e27638bf6                   Address Redacted                     First Class Mail
31a4bc06‐73ca‐4752‐8d22‐7c5415f42637                   Address Redacted                     First Class Mail
31abdecf‐0b4f‐4120‐bc04‐dcfc4661d303                   Address Redacted                     First Class Mail
31ac1ba1‐e5bc‐4d13‐94d9‐19bc59fdb687                   Address Redacted                     First Class Mail
31aca976‐aaab‐474c‐ab50‐2cd89d1ce80b                   Address Redacted                     First Class Mail
31b0c1eb‐c75d‐4aca‐b990‐fbde1759834b                   Address Redacted                     First Class Mail
31b82511‐3eef‐440a‐a436‐8895959513c9                   Address Redacted                     First Class Mail
31bba384‐fc81‐45c4‐a696‐6223bd3ba981                   Address Redacted                     First Class Mail
31beea2e‐6d77‐4e76‐8f0b‐c1b0d91d95cc                   Address Redacted                     First Class Mail
31c02e23‐da46‐4544‐aaf0‐420c88071462                   Address Redacted                     First Class Mail
31c42f0e‐4494‐4e61‐b580‐c9cbe06ddcbd                   Address Redacted                     First Class Mail
31c46193‐aa88‐4f7f‐ba40‐83cf7a6670da                   Address Redacted                     First Class Mail
31c4dcaf‐fa33‐4429‐a7b6‐eca5e6163a3c                   Address Redacted                     First Class Mail
31cb269f‐168a‐4eaa‐8c9b‐9e181eaf4802                   Address Redacted                     First Class Mail
31cd073e‐2012‐41ae‐bc81‐967280c7fb61                   Address Redacted                     First Class Mail
31cdd62a‐de8f‐4fb4‐8c56‐01b492afe9bf                   Address Redacted                     First Class Mail
31d09c1f‐753f‐4df8‐a8d5‐37fd6f86ccb4                   Address Redacted                     First Class Mail
31d2adde‐43bd‐41bc‐b91e‐7378c8818b6a                   Address Redacted                     First Class Mail
31d42151‐18da‐4035‐bbee‐9da06b7ebf70                   Address Redacted                     First Class Mail
31d48adc‐6467‐4d8d‐ae15‐59f6fcbdb229                   Address Redacted                     First Class Mail
31d4a26f‐68f0‐4afe‐9215‐22133fa179e4                   Address Redacted                     First Class Mail
31d51706‐9dd9‐4b7d‐978c‐8a03290951f4                   Address Redacted                     First Class Mail
31db035c‐4d0a‐4bd4‐b7fd‐770789506641                   Address Redacted                     First Class Mail
31ddb83a‐de7e‐40a8‐afb7‐8ff0b65fcb9e                   Address Redacted                     First Class Mail
31de59ee‐e1a3‐4b61‐9ecb‐dfece53656be                   Address Redacted                     First Class Mail
31e2609b‐ad04‐4afc‐831e‐73b31313c7c1                   Address Redacted                     First Class Mail
31e58c42‐4d50‐42ca‐8ae0‐cbe85ba656ff                   Address Redacted                     First Class Mail
31e9c99d‐9818‐4454‐a5a8‐7e16faca7641                   Address Redacted                     First Class Mail
31eca608‐61d0‐4d8b‐8912‐7d40fcfaed53                   Address Redacted                     First Class Mail
31eef9ae‐ae3f‐43e7‐9544‐582526087e3d                   Address Redacted                     First Class Mail
31ef34ba‐14a5‐427d‐b624‐e4b9292f0daf                   Address Redacted                     First Class Mail
31f09343‐d67d‐4330‐8924‐635a3b77ba35                   Address Redacted                     First Class Mail
31f29d3e‐9760‐492f‐8471‐f33249c92152                   Address Redacted                     First Class Mail
31f48b5b‐d311‐4a24‐b01e‐45f1b987a217                   Address Redacted                     First Class Mail




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                                                                 Service List


                               Name                                             Address                        Method of Service
31f70bc0‐fb2d‐4001‐b4a9‐a8faa122d83e                   Address Redacted                     First Class Mail
31fcb833‐228c‐4ee9‐926a‐b1b90caa5694                   Address Redacted                     First Class Mail
3200bd66‐e3b3‐44d6‐8e33‐935182733a56                   Address Redacted                     First Class Mail
3201c9e3‐2cdf‐4f7f‐b2e6‐c5bffd411452                   Address Redacted                     First Class Mail
3202d785‐0d3c‐486b‐b4e2‐a343e3c0c0bd                   Address Redacted                     First Class Mail
32046cef‐c341‐4f88‐a0cc‐4b82f4727af1                   Address Redacted                     First Class Mail
320bda74‐2f5e‐41cc‐9a6c‐780f3500158a                   Address Redacted                     First Class Mail
320dfba2‐a4d0‐42ef‐9b6c‐67c2f59d4f30                   Address Redacted                     First Class Mail
320edc33‐4784‐4199‐96ff‐89976f85b6e7                   Address Redacted                     First Class Mail
320fbf70‐d45f‐4924‐8f8d‐9f1dd57179f8                   Address Redacted                     First Class Mail
32100a0f‐4b8e‐49c4‐a45b‐2caf2f420e53                   Address Redacted                     First Class Mail
321358a1‐a4c4‐4afc‐b336‐c3f2631147db                   Address Redacted                     First Class Mail
3219a9cd‐bc3b‐42fa‐9d53‐0bb0a3e584b1                   Address Redacted                     First Class Mail
321de06d‐0af3‐4758‐bc61‐28d281549bc6                   Address Redacted                     First Class Mail
321de5b0‐3c4c‐47fb‐9b70‐0c350ec2b599                   Address Redacted                     First Class Mail
321e928d‐aef1‐4d93‐b013‐882c93065a2b                   Address Redacted                     First Class Mail
321f3431‐53bc‐42d0‐bf7e‐13b7092a7e01                   Address Redacted                     First Class Mail
32219ed8‐fd9e‐4104‐ba85‐787c26402361                   Address Redacted                     First Class Mail
32225847‐b736‐46ec‐8137‐e70a5de8a094                   Address Redacted                     First Class Mail
32248902‐24b8‐403a‐a286‐0c96f6ef2ea0                   Address Redacted                     First Class Mail
3225a6c3‐8de7‐4a93‐bf0f‐efe1650e613d                   Address Redacted                     First Class Mail
32280703‐999c‐4f93‐bb54‐6168491db7a1                   Address Redacted                     First Class Mail
322d616d‐0d96‐472a‐affa‐7164ce245192                   Address Redacted                     First Class Mail
32362842‐aaa6‐4df1‐83da‐781510ed6cfa                   Address Redacted                     First Class Mail
3236d1b6‐07c3‐4583‐8103‐a3d27fbb1ade                   Address Redacted                     First Class Mail
3238ffcc‐fdc4‐4274‐8293‐2aff0c036ad1                   Address Redacted                     First Class Mail
323c00c1‐c2b9‐449a‐bb9d‐ce6947531145                   Address Redacted                     First Class Mail
323dce27‐c26c‐46d3‐a8da‐80447d6b4f89                   Address Redacted                     First Class Mail
32403308‐d251‐4ef2‐a6dd‐e6ac904517f7                   Address Redacted                     First Class Mail
3241fd8f‐4b02‐4b32‐95f8‐418d04413032                   Address Redacted                     First Class Mail
32424629‐9f76‐4b6c‐be98‐20bc40f42266                   Address Redacted                     First Class Mail
3245da9f‐a3de‐4dfd‐a972‐cdf581941fa7                   Address Redacted                     First Class Mail
324a7da3‐4098‐4849‐bd76‐fe379535550d                   Address Redacted                     First Class Mail
324d631d‐e04c‐4f98‐8c4d‐4c985ee17ff8                   Address Redacted                     First Class Mail
324da85f‐f7df‐4bb0‐8c35‐dc1429f9aee9                   Address Redacted                     First Class Mail
324dc475‐e3d2‐48eb‐b0ed‐888cf4915d2a                   Address Redacted                     First Class Mail
3257d12e‐45f1‐458c‐98b0‐37b2554fcea9                   Address Redacted                     First Class Mail
325bc3f9‐15e6‐4a1e‐992a‐650232d13427                   Address Redacted                     First Class Mail
325d6584‐90e0‐40c5‐9412‐9f757c0ea0fc                   Address Redacted                     First Class Mail
325f103f‐11af‐4f8a‐ae36‐04129e3d04ea                   Address Redacted                     First Class Mail
3263d14b‐6188‐44ae‐96bf‐0403701c991c                   Address Redacted                     First Class Mail
3264939b‐3185‐4611‐8cb6‐5d6d6764990a                   Address Redacted                     First Class Mail
326743ce‐2d23‐4f5e‐95e4‐c3e022ff14b9                   Address Redacted                     First Class Mail
3269ece8‐82d1‐4902‐ab99‐e89e84427363                   Address Redacted                     First Class Mail
3269fb23‐c368‐42be‐9172‐92484075ddab                   Address Redacted                     First Class Mail
326dc436‐fffa‐4bca‐b1ba‐4ec2ea168f3f                   Address Redacted                     First Class Mail
3270f244‐4d56‐4da7‐9b11‐74cc1494bdbe                   Address Redacted                     First Class Mail
327394f3‐629d‐4d37‐843c‐8e2632391635                   Address Redacted                     First Class Mail
327a0fc9‐6d48‐441c‐be1b‐5c9721ad3adf                   Address Redacted                     First Class Mail
327f6bd8‐3f1c‐49b5‐a349‐eee33a8a8ce3                   Address Redacted                     First Class Mail
3284fc41‐c119‐4b70‐bb63‐938779e984ca                   Address Redacted                     First Class Mail
328512d2‐3f6b‐4905‐8f11‐d30e0ee05068                   Address Redacted                     First Class Mail
32871cfa‐f3dc‐4c50‐bb0d‐7e57b55dc47d                   Address Redacted                     First Class Mail
32899dc6‐3c32‐476f‐ae50‐29d88bb2f80a                   Address Redacted                     First Class Mail
328b7354‐beec‐4098‐ab96‐c47500be912c                   Address Redacted                     First Class Mail
328bd2cc‐997b‐4f2d‐b86a‐2a4ad276f042                   Address Redacted                     First Class Mail
328f8504‐1960‐4f5b‐adaf‐8c53002e57a6                   Address Redacted                     First Class Mail
329223a1‐394f‐4192‐961c‐38250ca0467a                   Address Redacted                     First Class Mail
3293ff7d‐d319‐4892‐9de7‐52fb8f023dc2                   Address Redacted                     First Class Mail
3294e12f‐4a9d‐43fd‐b864‐4049f122b9e6                   Address Redacted                     First Class Mail
329673fa‐9583‐4587‐bceb‐b6150776b076                   Address Redacted                     First Class Mail
32970921‐f8aa‐4709‐8e57‐e02d616734dc                   Address Redacted                     First Class Mail
3298cb53‐378e‐492d‐a058‐6165e6da2fcb                   Address Redacted                     First Class Mail
329b5ac2‐9c06‐4250‐a18f‐5ae9c5f8a72b                   Address Redacted                     First Class Mail
329e6067‐3954‐4e5f‐9eb9‐db9559f86b8f                   Address Redacted                     First Class Mail
32a41e87‐af3d‐4a07‐849d‐1a2c4109bf77                   Address Redacted                     First Class Mail
32a4c894‐b407‐417b‐9a8c‐4cb0bff50963                   Address Redacted                     First Class Mail
32a56dcb‐0db1‐4e7e‐a0b3‐ea263c6d3b9a                   Address Redacted                     First Class Mail
32ac5a47‐5459‐426a‐890e‐d9e3256e045f                   Address Redacted                     First Class Mail
32ad09e6‐8287‐4ed5‐93ca‐bb32361be83b                   Address Redacted                     First Class Mail
32ad7fc7‐4325‐49eb‐893c‐dd3f586e3a9b                   Address Redacted                     First Class Mail
32ae0a1f‐7cfe‐432e‐8a67‐40442c1cce44                   Address Redacted                     First Class Mail




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                               Name                                             Address                        Method of Service
32b2c26d‐c4b3‐49ba‐a569‐7df7ba0a0fc8                   Address Redacted                     First Class Mail
32b56b9a‐8f07‐47ba‐87db‐2304f375c75f                   Address Redacted                     First Class Mail
32b7cd0c‐c58d‐4585‐94d6‐76f7fbf1b3ec                   Address Redacted                     First Class Mail
32b8ad22‐a85a‐4a6e‐81f1‐2b0300d521a0                   Address Redacted                     First Class Mail
32bbc0f4‐f566‐4956‐9719‐5956e40dbfd3                   Address Redacted                     First Class Mail
32bd1b3a‐2777‐43af‐b8cd‐ba96c13a315a                   Address Redacted                     First Class Mail
32c38ab7‐7f52‐4fef‐b3c1‐be420361090f                   Address Redacted                     First Class Mail
32c82e08‐c610‐4585‐92f0‐6f78783f67d1                   Address Redacted                     First Class Mail
32cab07f‐a4e3‐4f1a‐ad56‐78096fdb0ff7                   Address Redacted                     First Class Mail
32cb226a‐be58‐4a10‐8bea‐293808c97615                   Address Redacted                     First Class Mail
32ced9b9‐3186‐4a0f‐80c3‐de73d48569f3                   Address Redacted                     First Class Mail
32d6a047‐4ce8‐4c2f‐a2f7‐ba9e99ca0dae                   Address Redacted                     First Class Mail
32d832b1‐7016‐49bf‐ba87‐64d0b795d398                   Address Redacted                     First Class Mail
32d9727f‐3f9d‐4859‐8f78‐c77f092307c9                   Address Redacted                     First Class Mail
32e2ca72‐5e50‐49b4‐8a77‐43f4317f778e                   Address Redacted                     First Class Mail
32e55d13‐767d‐4b90‐8631‐5ffc271fdd3d                   Address Redacted                     First Class Mail
32e87391‐e4b1‐434a‐9c3a‐7a2bd8c2d6ca                   Address Redacted                     First Class Mail
32ea97bf‐b5a6‐46e2‐b994‐919496dab345                   Address Redacted                     First Class Mail
32ebad8f‐e1c9‐4948‐814f‐91dc42340e61                   Address Redacted                     First Class Mail
32f0c298‐95ef‐4524‐a4c1‐835206e41501                   Address Redacted                     First Class Mail
32f72c06‐1d4f‐4bdd‐b0b3‐4138c6e4ebac                   Address Redacted                     First Class Mail
32fcf199‐360d‐4c66‐803f‐706428337701                   Address Redacted                     First Class Mail
32ffdc6f‐9e0d‐41b0‐84f4‐3ff85ba070c6                   Address Redacted                     First Class Mail
3300a87b‐36f2‐4c04‐a44c‐3b773af83dcb                   Address Redacted                     First Class Mail
3303cf52‐5965‐4a91‐8216‐2bb353507b0e                   Address Redacted                     First Class Mail
3313112a‐1e2e‐4ac1‐ba7e‐17df28a349af                   Address Redacted                     First Class Mail
3314002c‐bf33‐40fd‐bc3c‐f1ef600317c3                   Address Redacted                     First Class Mail
331408cb‐957f‐4bb3‐8a66‐a24f236fd165                   Address Redacted                     First Class Mail
3314581f‐7e2b‐4669‐8614‐bb4022a21384                   Address Redacted                     First Class Mail
33149a1f‐d934‐464e‐872d‐815efa94adf3                   Address Redacted                     First Class Mail
331929fe‐418d‐467c‐9f70‐a6fb21f349b9                   Address Redacted                     First Class Mail
331f6c2d‐176e‐48e4‐ba13‐f9d636ba7861                   Address Redacted                     First Class Mail
332077d5‐68ee‐48c7‐bc45‐fc3b318c5f31                   Address Redacted                     First Class Mail
33257e34‐75b2‐4dca‐aa94‐da55ec071001                   Address Redacted                     First Class Mail
3326b4ce‐6b3c‐4999‐84c0‐f74d9458e964                   Address Redacted                     First Class Mail
332b0535‐04ea‐45ec‐95ce‐e03df13dca9a                   Address Redacted                     First Class Mail
332e14fc‐5fe7‐4937‐a097‐467f2e0c825c                   Address Redacted                     First Class Mail
332f280d‐836d‐4fec‐80e9‐997ac8b9fe80                   Address Redacted                     First Class Mail
33302b82‐fe35‐4a13‐a5ee‐ed976cf29c61                   Address Redacted                     First Class Mail
33313340‐303c‐4de3‐be40‐185908e45f2b                   Address Redacted                     First Class Mail
3337b85b‐5f3e‐4f7b‐9520‐64a1a4167407                   Address Redacted                     First Class Mail
333e8ec7‐dc45‐44cd‐9c6a‐3396794e1333                   Address Redacted                     First Class Mail
33415929‐1689‐404b‐ac8e‐c5d575610117                   Address Redacted                     First Class Mail
3341863f‐0eba‐46e5‐abe3‐51e5959c66ca                   Address Redacted                     First Class Mail
3345a564‐4e33‐4989‐a641‐92bebf9430c3                   Address Redacted                     First Class Mail
334960e2‐c9ef‐4e11‐9620‐a188058bd48c                   Address Redacted                     First Class Mail
334b7638‐e565‐4f40‐8892‐5bde9ad24f58                   Address Redacted                     First Class Mail
334d6fa6‐34bb‐4f17‐9df5‐af0d3537c02c                   Address Redacted                     First Class Mail
334e20cd‐8d64‐493e‐b1e3‐2a101243cb8d                   Address Redacted                     First Class Mail
335017c4‐26e9‐44fa‐932f‐632862261ed2                   Address Redacted                     First Class Mail
335068ec‐0ec8‐4a2c‐b0ac‐40f2d1c50b9b                   Address Redacted                     First Class Mail
33550953‐c632‐4785‐888b‐630d3dc12f4d                   Address Redacted                     First Class Mail
335835e1‐4f7e‐4b57‐9288‐488b045e8e7f                   Address Redacted                     First Class Mail
3359c66a‐ea03‐449c‐81e7‐fb37d0ef0acf                   Address Redacted                     First Class Mail
335b27b8‐ee24‐491b‐b34a‐4ba2d7a5dd82                   Address Redacted                     First Class Mail
335e9f61‐1f70‐44a4‐ad3b‐5cabdec6b127                   Address Redacted                     First Class Mail
33622a81‐76fe‐40b7‐a8d6‐2480e70b79f8                   Address Redacted                     First Class Mail
33623ab5‐d083‐4f3f‐9ff1‐3c959d728192                   Address Redacted                     First Class Mail
33676478‐9354‐40e2‐be94‐d13d2ae52fb6                   Address Redacted                     First Class Mail
336b9005‐a990‐4663‐a7be‐cb772a8c9134                   Address Redacted                     First Class Mail
336c2102‐3237‐4d22‐8f0c‐fdc02e6d610c                   Address Redacted                     First Class Mail
336e4264‐e71f‐4027‐85a3‐9fd822f6609b                   Address Redacted                     First Class Mail
336ed4c9‐1d47‐4dc8‐aa9d‐5af3b0e19a7d                   Address Redacted                     First Class Mail
336f3bb2‐a3c1‐4c4e‐a636‐576a29efc91c                   Address Redacted                     First Class Mail
3372251d‐7f53‐4704‐9752‐c74e3e62aeb6                   Address Redacted                     First Class Mail
33725c41‐b7f6‐40a9‐84aa‐80696ea12b95                   Address Redacted                     First Class Mail
33746bda‐a136‐467b‐9de6‐d6aae3c2c9fc                   Address Redacted                     First Class Mail
3375abc6‐edef‐4364‐b655‐7726116e55b0                   Address Redacted                     First Class Mail
337a386b‐69f3‐4ce5‐8129‐33337065b828                   Address Redacted                     First Class Mail
338393bf‐911f‐4314‐84ca‐1a6d2c55ba15                   Address Redacted                     First Class Mail
33863f8d‐cc9d‐4ffe‐8d58‐43e56dd22d2d                   Address Redacted                     First Class Mail
33874593‐c002‐4cfb‐ae11‐7d250780121a                   Address Redacted                     First Class Mail




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                                                                 Service List


                               Name                                             Address                        Method of Service
3388e763‐290b‐4dce‐856e‐dc70bd8a0392                   Address Redacted                     First Class Mail
3389019a‐dc46‐48ba‐98fe‐48fc2d0fe04f                   Address Redacted                     First Class Mail
338ae157‐bf70‐4bcb‐93c6‐31baeba8bd69                   Address Redacted                     First Class Mail
338e6ee6‐415f‐4514‐8a1c‐a1b504d0f229                   Address Redacted                     First Class Mail
3390fa2b‐f846‐4458‐97c7‐3c98a35b4881                   Address Redacted                     First Class Mail
3393d54b‐9eb8‐464a‐8d9b‐1bc65fd0e5eb                   Address Redacted                     First Class Mail
339d199d‐3783‐4238‐85cb‐a29126f82916                   Address Redacted                     First Class Mail
339d371e‐3806‐4680‐9240‐a708de12ddc2                   Address Redacted                     First Class Mail
339e2a30‐453a‐418e‐8928‐de437064c1fd                   Address Redacted                     First Class Mail
33a1d3d7‐1628‐4a53‐a88d‐713b26a6056a                   Address Redacted                     First Class Mail
33a4dee9‐4a58‐4635‐af7c‐48b98ccf6579                   Address Redacted                     First Class Mail
33a7fde0‐747b‐4412‐b506‐308f7b6abed3                   Address Redacted                     First Class Mail
33aa255b‐e7a4‐458f‐aeb4‐ac174d65f47e                   Address Redacted                     First Class Mail
33aab8db‐2fff‐48bd‐a2d5‐c6dc216818cb                   Address Redacted                     First Class Mail
33ad2d81‐134d‐4d3c‐b2cd‐ea89c0e315a8                   Address Redacted                     First Class Mail
33ad7090‐15c2‐4e89‐aef1‐aa900e145724                   Address Redacted                     First Class Mail
33ad82f7‐f039‐4363‐9c07‐593c3446c43c                   Address Redacted                     First Class Mail
33b63840‐8546‐4158‐9d3b‐c4f63ea4f8ee                   Address Redacted                     First Class Mail
33b762a8‐d854‐43d6‐b62c‐a51813d2729c                   Address Redacted                     First Class Mail
33b7c949‐41aa‐40ce‐8b26‐b896227e62ba                   Address Redacted                     First Class Mail
33c0958e‐8c8c‐4894‐9f36‐7ed9b51338fd                   Address Redacted                     First Class Mail
33c0d6e7‐301f‐485c‐9b8b‐6cc2728f27e1                   Address Redacted                     First Class Mail
33c17136‐260f‐455c‐bd0a‐393da8c31073                   Address Redacted                     First Class Mail
33c3f4b9‐802b‐4e5a‐b7c8‐db47dd635750                   Address Redacted                     First Class Mail
33c56dba‐1efd‐4b82‐8360‐2cc0787e2a24                   Address Redacted                     First Class Mail
33cc3b0f‐eb34‐4809‐99d3‐4316ac8c0bfe                   Address Redacted                     First Class Mail
33cccfa3‐f64b‐49c0‐a902‐9f28d18d553e                   Address Redacted                     First Class Mail
33cf51de‐021f‐4991‐99d2‐a40e8e47437a                   Address Redacted                     First Class Mail
33d9d781‐5917‐45fa‐91c1‐f68c150824f2                   Address Redacted                     First Class Mail
33d9d850‐951c‐49aa‐bc21‐c7c769410508                   Address Redacted                     First Class Mail
33db708a‐24f2‐45bc‐b7a2‐27ff3781e736                   Address Redacted                     First Class Mail
33e1abdf‐d23c‐49b8‐ad40‐8e510cc732a1                   Address Redacted                     First Class Mail
33e1d3d9‐a386‐4eeb‐bdd5‐e4046073273d                   Address Redacted                     First Class Mail
33e27a16‐34a5‐4d3e‐bd4f‐70424b421305                   Address Redacted                     First Class Mail
33e49001‐5e25‐49ae‐96cf‐47243f9d7b7f                   Address Redacted                     First Class Mail
33e60777‐ce75‐4458‐9811‐e4f51ea7a14e                   Address Redacted                     First Class Mail
33e61cc2‐2a99‐4ab5‐ba2d‐b46e2e55b43d                   Address Redacted                     First Class Mail
33e71c74‐d5ae‐4de4‐93b2‐871dba3f2fd2                   Address Redacted                     First Class Mail
33e79e93‐09a3‐4365‐a226‐9b394060e6ab                   Address Redacted                     First Class Mail
33e8be0f‐8a8d‐4212‐9d7b‐68d07d37b6be                   Address Redacted                     First Class Mail
33f31b6c‐a0c5‐43c1‐8ab9‐638dafaec60e                   Address Redacted                     First Class Mail
33f9b1cd‐c8ab‐41ef‐a366‐cb4773082cb3                   Address Redacted                     First Class Mail
33fb56a4‐f5e1‐4c3c‐8f7b‐570bb1a32a00                   Address Redacted                     First Class Mail
33fb60f3‐dad0‐49e1‐b0f9‐366008b93b00                   Address Redacted                     First Class Mail
33ffc0cf‐ac7c‐42f5‐9d0f‐0462b2b46598                   Address Redacted                     First Class Mail
3401191c‐87f1‐4185‐9346‐3885a063b963                   Address Redacted                     First Class Mail
3403cf64‐2e37‐4d6f‐81b8‐3d5ab5484a14                   Address Redacted                     First Class Mail
340570b2‐d5f8‐4d05‐a1d8‐26577c6cc55e                   Address Redacted                     First Class Mail
340921cd‐9097‐4a4c‐a489‐3a34e9fec011                   Address Redacted                     First Class Mail
3409ed57‐5c8a‐4a04‐96f6‐5f0eea60f456                   Address Redacted                     First Class Mail
340db279‐ca59‐4973‐bef9‐141ec4fbd5d6                   Address Redacted                     First Class Mail
340e5691‐01e5‐4239‐9784‐a1f1ed71fb7f                   Address Redacted                     First Class Mail
340ff46f‐9a4d‐4611‐9a89‐470635a2edb9                   Address Redacted                     First Class Mail
3415fd57‐d734‐4836‐80f1‐7db066c391ed                   Address Redacted                     First Class Mail
34167c94‐a2d1‐42c5‐9132‐20a65222fe52                   Address Redacted                     First Class Mail
341780e3‐b4ab‐4dad‐8937‐cf17d18e2c2e                   Address Redacted                     First Class Mail
3417eeb7‐44a9‐4664‐9867‐d370fdf3113d                   Address Redacted                     First Class Mail
341bebda‐97d8‐443a‐9640‐c4383c4d8b02                   Address Redacted                     First Class Mail
341d0dd4‐078f‐4afa‐b875‐eda1cc9ee209                   Address Redacted                     First Class Mail
341f8af9‐9742‐43a0‐bec4‐f24020f9773c                   Address Redacted                     First Class Mail
34212584‐b391‐4326‐808b‐d4de10b9f4e5                   Address Redacted                     First Class Mail
34247dc4‐bd95‐451b‐a6f8‐3844ca778363                   Address Redacted                     First Class Mail
3424863a‐1d63‐4b01‐91dd‐1a46af790074                   Address Redacted                     First Class Mail
3426da67‐c408‐4c6b‐b51e‐b13e187fe650                   Address Redacted                     First Class Mail
3427674c‐8c43‐4d0d‐b573‐e7bbbf149362                   Address Redacted                     First Class Mail
34287a18‐9612‐45c0‐87d5‐4305ca2cd4da                   Address Redacted                     First Class Mail
342f9f7d‐13d7‐46d3‐b890‐7b01c6c68895                   Address Redacted                     First Class Mail
34301de2‐6ca5‐4b3e‐8183‐58ee877f8b53                   Address Redacted                     First Class Mail
343299ae‐75e9‐4d32‐a571‐7839d2704071                   Address Redacted                     First Class Mail
3434cfac‐dd53‐4a6a‐9a50‐f060fb447d94                   Address Redacted                     First Class Mail
3435dc85‐4642‐4ac5‐b7e6‐b5c97fbd0ac6                   Address Redacted                     First Class Mail
3438b6ab‐4aaa‐455e‐b4b8‐72a166e9bbb0                   Address Redacted                     First Class Mail




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                                                                 Service List


                              Name                                              Address                        Method of Service
3438feef‐4457‐427d‐874e‐4ecc6dcdc7fc                   Address Redacted                     First Class Mail
343ca538‐9f2d‐4f0d‐b9f6‐f410bf2abf6d                   Address Redacted                     First Class Mail
343fdb9d‐55fe‐43ed‐8e77‐871de404f3ce                   Address Redacted                     First Class Mail
34403ebd‐b303‐4577‐9f78‐b619e87a887e                   Address Redacted                     First Class Mail
34407c4b‐cd04‐489b‐8e86‐f57fddb86d94                   Address Redacted                     First Class Mail
3442d0ca‐6592‐4804‐9790‐75960c845029                   Address Redacted                     First Class Mail
3446f923‐bf07‐477b‐887d‐1a0ce183798a                   Address Redacted                     First Class Mail
344b126e‐6c95‐45b5‐b6b5‐233b3c3b81d8                   Address Redacted                     First Class Mail
344bb955‐e71b‐4438‐b628‐63a8b2963dda                   Address Redacted                     First Class Mail
344d46fc‐01c9‐4710‐988a‐f6599cb1210b                   Address Redacted                     First Class Mail
3450562b‐2e2f‐485f‐84a4‐04d68dc9f753                   Address Redacted                     First Class Mail
3453b35f‐1c45‐4160‐a012‐f6f5b6872b9a                   Address Redacted                     First Class Mail
3453dd7d‐2897‐4858‐b669‐e4ed8f78f640                   Address Redacted                     First Class Mail
3456ab08‐b6a4‐416b‐af43‐b81ae0fb3590                   Address Redacted                     First Class Mail
34584a09‐53fb‐4e14‐803a‐1a8654600c7c                   Address Redacted                     First Class Mail
345a7885‐b9ff‐4b3c‐8e7e‐8d11ad41fcca                   Address Redacted                     First Class Mail
345ad6b6‐8e78‐4c02‐afea‐db49a86979b3                   Address Redacted                     First Class Mail
345e5676‐ccb6‐4765‐aee5‐871a2c274437                   Address Redacted                     First Class Mail
34600183‐893a‐421a‐8acb‐83b44cfd96bd                   Address Redacted                     First Class Mail
34627fed‐6500‐4d14‐9e38‐ae71ab50939f                   Address Redacted                     First Class Mail
3462f719‐de08‐4111‐b96e‐a4f11fb96e9a                   Address Redacted                     First Class Mail
34645a12‐47a4‐4c4d‐9c0a‐7275779a1aca                   Address Redacted                     First Class Mail
34653f5a‐34c0‐42f3‐a6e2‐cbc411ab3617                   Address Redacted                     First Class Mail
3467c479‐f880‐41c3‐bbb4‐7fced98fc6f5                   Address Redacted                     First Class Mail
34694aa9‐3c10‐48cc‐a7a8‐c173759aeaaf                   Address Redacted                     First Class Mail
34698f17‐6dc5‐4159‐a8bd‐adafad3b5390                   Address Redacted                     First Class Mail
3469d5b4‐f871‐4a0c‐baca‐b8b6f81c990a                   Address Redacted                     First Class Mail
346aa237‐ebf2‐4b89‐a0b6‐d31d282594f7                   Address Redacted                     First Class Mail
346b6b74‐4bd5‐406a‐85de‐bb04066f9fbd                   Address Redacted                     First Class Mail
3470659b‐64dc‐4fc9‐a7aa‐56f4dce1a457                   Address Redacted                     First Class Mail
3474e236‐c8f3‐4b7f‐b942‐4089d64101f3                   Address Redacted                     First Class Mail
34777dda‐dbb3‐4f40‐934c‐03fcf8f89db6                   Address Redacted                     First Class Mail
348028fc‐2f05‐4c52‐80b2‐198d2aaece53                   Address Redacted                     First Class Mail
34818820‐7f69‐43e9‐9645‐8ff5eae08cca                   Address Redacted                     First Class Mail
3485f22c‐47ca‐424a‐8779‐1113f2cb0f89                   Address Redacted                     First Class Mail
348782be‐b0fa‐424a‐9e71‐0ad397d98f2e                   Address Redacted                     First Class Mail
34878302‐8dd6‐4707‐a618‐3330a954efd2                   Address Redacted                     First Class Mail
348784a6‐6398‐431d‐b3e6‐aada6771776f                   Address Redacted                     First Class Mail
348a3f11‐b958‐469e‐b0eb‐8a174661161c                   Address Redacted                     First Class Mail
348f8c02‐c219‐4ded‐983f‐a827428fb818                   Address Redacted                     First Class Mail
34903c81‐292b‐483d‐89c7‐960e30f356e1                   Address Redacted                     First Class Mail
349333f0‐c78c‐41b8‐9f3c‐26a3a1f0a8ed                   Address Redacted                     First Class Mail
3493bde7‐e8e6‐4b36‐88f0‐97a64253a41a                   Address Redacted                     First Class Mail
34941305‐690a‐4f82‐9d07‐d9850a2cd9a8                   Address Redacted                     First Class Mail
34948f63‐e516‐4289‐ba62‐de2484420d00                   Address Redacted                     First Class Mail
3496d2cc‐6594‐4fbf‐8a40‐d89908394e47                   Address Redacted                     First Class Mail
349700e1‐ddcd‐4141‐9290‐042baa81aa28                   Address Redacted                     First Class Mail
349a229d‐d719‐4aa1‐bc3b‐76cd943ff50b                   Address Redacted                     First Class Mail
349b359c‐a149‐496a‐85d7‐84ef3153c739                   Address Redacted                     First Class Mail
34a10718‐66c3‐4ea7‐b372‐1aa4e87813a3                   Address Redacted                     First Class Mail
34a58c17‐ec9d‐48c1‐96e1‐f0970c0f1281                   Address Redacted                     First Class Mail
34a69fd1‐c475‐4265‐bea5‐dfd8b6f8ae12                   Address Redacted                     First Class Mail
34a8c3be‐8245‐4b55‐a41b‐f3dd53be11c1                   Address Redacted                     First Class Mail
34aeb3d7‐c284‐406d‐b306‐31d4d0d6d5ad                   Address Redacted                     First Class Mail
34affdd6‐2046‐4f66‐a7fb‐8cde52c26a6a                   Address Redacted                     First Class Mail
34b0678b‐713f‐4194‐9cc2‐f39294e57858                   Address Redacted                     First Class Mail
34b310d0‐96ae‐48f5‐aa6f‐4be7c3eb7b49                   Address Redacted                     First Class Mail
34b48537‐361a‐435c‐8f05‐181b27e59227                   Address Redacted                     First Class Mail
34b58a20‐b2e5‐4379‐9065‐c61025ee2008                   Address Redacted                     First Class Mail
34b607db‐e427‐400b‐b554‐6cb5019ae646                   Address Redacted                     First Class Mail
34baf60e‐11e3‐41ba‐b0de‐4faf74acd51e                   Address Redacted                     First Class Mail
34bbbfcc‐c0fd‐4b1f‐822a‐0ebe0b777ac2                   Address Redacted                     First Class Mail
34c628d0‐8912‐4b6f‐9c26‐d1d711a63fa7                   Address Redacted                     First Class Mail
34c64aba‐ab5e‐435a‐8bd9‐20c1e30b6f29                   Address Redacted                     First Class Mail
34c8cdd1‐6130‐4f02‐9cf0‐30a6fdb7a9d6                   Address Redacted                     First Class Mail
34ca582c‐61b3‐4d73‐9dc7‐11569a2eb45d                   Address Redacted                     First Class Mail
34cc01e7‐e066‐41bd‐8a03‐5d30dd67d202                   Address Redacted                     First Class Mail
34cd1df4‐e073‐4cde‐bdf4‐b52f35afaac1                   Address Redacted                     First Class Mail
34cd2407‐ea6f‐4cf5‐8609‐815343bde8e2                   Address Redacted                     First Class Mail
34cd590a‐520e‐4f39‐9c0b‐e2be7d1adfd1                   Address Redacted                     First Class Mail
34d14f91‐ae4b‐456a‐8d10‐edf7aa41c20d                   Address Redacted                     First Class Mail
34d176df‐00da‐4dd3‐838c‐1904fe7ac7e5                   Address Redacted                     First Class Mail




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                               Name                                             Address                        Method of Service
34d3bd98‐da42‐46c5‐9e84‐80858d48daae                   Address Redacted                     First Class Mail
34d501c6‐1f7d‐4ed5‐be43‐49c9f8141bfb                   Address Redacted                     First Class Mail
34d7a340‐3924‐41d8‐ad6d‐714d72293963                   Address Redacted                     First Class Mail
34d92421‐c2df‐4ed6‐a4f9‐653d60128b0a                   Address Redacted                     First Class Mail
34da6ec9‐49ca‐441c‐96eb‐f5db78d437d0                   Address Redacted                     First Class Mail
34dc6877‐8515‐4190‐99c1‐5768eea47240                   Address Redacted                     First Class Mail
34df257b‐b96a‐4956‐b9cb‐80d2a0e7940c                   Address Redacted                     First Class Mail
34e01503‐5609‐498f‐81bb‐87f4d840f843                   Address Redacted                     First Class Mail
34e1e899‐9429‐4e29‐9c7d‐cd8ad9592bc6                   Address Redacted                     First Class Mail
34e4a3f6‐4a35‐4f6a‐8370‐5c7e2e8d132d                   Address Redacted                     First Class Mail
34e50d7a‐10c0‐42bd‐89c6‐eb80f3f535bb                   Address Redacted                     First Class Mail
34e81161‐ea92‐4364‐b8c5‐1940aa0172c4                   Address Redacted                     First Class Mail
34ecd6bd‐72f8‐4f64‐b7d2‐9fa5cbc54ce6                   Address Redacted                     First Class Mail
34ed9db8‐79ca‐4217‐a2c1‐3f1d2c8b1f16                   Address Redacted                     First Class Mail
34ee75ba‐0625‐453d‐84a6‐0dcbb0fbe905                   Address Redacted                     First Class Mail
34f03a44‐8ebe‐44a4‐91e4‐c052e311b002                   Address Redacted                     First Class Mail
34f46602‐9e1e‐4de4‐9231‐a68617ce5328                   Address Redacted                     First Class Mail
34f4eb35‐3f57‐41cc‐b29e‐c3f444a3bb18                   Address Redacted                     First Class Mail
34f5d096‐4694‐4e44‐a6cf‐4f196ffc68ce                   Address Redacted                     First Class Mail
34f6e717‐56e7‐4a6f‐a67b‐70412f9f0783                   Address Redacted                     First Class Mail
34f713a5‐c4a1‐48f9‐9513‐c15a0dfe48f9                   Address Redacted                     First Class Mail
34f8e4ac‐a9bd‐42d9‐a618‐6de584f5f42e                   Address Redacted                     First Class Mail
34f98a69‐9a08‐4c9c‐8ecc‐bfe6769a9793                   Address Redacted                     First Class Mail
35085db2‐16ec‐456f‐beca‐92d80fb4ed55                   Address Redacted                     First Class Mail
350c876e‐8ff7‐4f4b‐8803‐fbdd3f9ffb37                   Address Redacted                     First Class Mail
350cb489‐3669‐4498‐b0ee‐3e717bcbde0f                   Address Redacted                     First Class Mail
350ec695‐bb82‐423b‐b796‐a83461b130a5                   Address Redacted                     First Class Mail
35103d3a‐fba1‐4845‐8b26‐ec8292b73773                   Address Redacted                     First Class Mail
35110c79‐5e5a‐4816‐9963‐e972249cb995                   Address Redacted                     First Class Mail
3513fb75‐e71e‐436b‐a917‐e931c6f7132c                   Address Redacted                     First Class Mail
3516c3ae‐cca6‐4f61‐9818‐05ce120d85c8                   Address Redacted                     First Class Mail
351baae0‐6a6a‐42b6‐985f‐444c7a0a47ab                   Address Redacted                     First Class Mail
351c7a09‐b863‐4a2b‐a212‐8de2d0eeed47                   Address Redacted                     First Class Mail
351edc82‐8d1a‐4000‐ae4c‐355e734fa33b                   Address Redacted                     First Class Mail
35205216‐f8fd‐40dd‐9317‐f44a8c384014                   Address Redacted                     First Class Mail
35208e9d‐15bd‐4ca9‐ab36‐78286b3727b4                   Address Redacted                     First Class Mail
35223632‐ffee‐401d‐bc1d‐e69134a9964e                   Address Redacted                     First Class Mail
3523b9ef‐f70a‐4143‐863d‐4d00cbfe9def                   Address Redacted                     First Class Mail
352b7490‐0c0b‐44f8‐84bc‐882cd6fbb6a6                   Address Redacted                     First Class Mail
352b84b6‐8dab‐47b7‐acec‐0f19d4c217ea                   Address Redacted                     First Class Mail
352d641d‐4444‐40e2‐9622‐b6af45b81b0d                   Address Redacted                     First Class Mail
352f7130‐f5d3‐4c5e‐9f75‐38d7977fec99                   Address Redacted                     First Class Mail
35343db1‐aa3e‐4d3b‐9642‐c44b5b30154a                   Address Redacted                     First Class Mail
353526ad‐faf6‐4619‐895c‐61d4e4f6c242                   Address Redacted                     First Class Mail
35368b30‐ea55‐4b2e‐8851‐e026cbfb1a62                   Address Redacted                     First Class Mail
3538d133‐ce06‐4f62‐9125‐68e6adc98ca1                   Address Redacted                     First Class Mail
35398c0e‐ee8e‐43dc‐b4dc‐4182bf0b9950                   Address Redacted                     First Class Mail
3542406a‐2178‐44ea‐993b‐7aadda7f92d0                   Address Redacted                     First Class Mail
35429b59‐fe3b‐4c29‐82eb‐302c8d162d4a                   Address Redacted                     First Class Mail
35461aac‐3e14‐4a78‐bf6b‐e93f3632e5ac                   Address Redacted                     First Class Mail
3548f40b‐e6fb‐4e02‐8890‐d358bd2e59fd                   Address Redacted                     First Class Mail
354ab4af‐9778‐4026‐8842‐1dbb46ff9d03                   Address Redacted                     First Class Mail
354c5db7‐7afa‐4a25‐8a09‐f93535552b7a                   Address Redacted                     First Class Mail
35507703‐bbac‐4a75‐8c7c‐c0f103a5bddc                   Address Redacted                     First Class Mail
3553eac5‐ce00‐4afb‐ac4f‐80ce60a1eed9                   Address Redacted                     First Class Mail
3554bc41‐ce96‐44bb‐b876‐0c7e06811564                   Address Redacted                     First Class Mail
3555a385‐4b5c‐41c2‐bafa‐5bf282a84c4d                   Address Redacted                     First Class Mail
3556f703‐ef3c‐4120‐8662‐fd925f1a8f70                   Address Redacted                     First Class Mail
355786cf‐5ffc‐4d8b‐84af‐ff201d313b4c                   Address Redacted                     First Class Mail
3557a7f9‐dec5‐4b1a‐a70a‐b3e7e7c6b820                   Address Redacted                     First Class Mail
3559036d‐dc56‐4faa‐87b2‐05f532dfdcb7                   Address Redacted                     First Class Mail
355a369b‐c89c‐48f0‐9116‐f6fc95dff5b0                   Address Redacted                     First Class Mail
355aca80‐8487‐4cd8‐91b7‐0dd98b2259c4                   Address Redacted                     First Class Mail
355ef351‐5025‐4d2c‐814c‐58915d266446                   Address Redacted                     First Class Mail
355fe0e0‐8fd3‐47f4‐8c5c‐15dc77f336a6                   Address Redacted                     First Class Mail
35622dd5‐3d86‐49d5‐95b7‐340bc28b5150                   Address Redacted                     First Class Mail
3566e7c5‐96fe‐4c01‐95f5‐b2e60089d76e                   Address Redacted                     First Class Mail
356da589‐8ce2‐4c3e‐97e6‐6010141949ec                   Address Redacted                     First Class Mail
356ed420‐4b71‐4f47‐9597‐cce81c95ec63                   Address Redacted                     First Class Mail
35741e40‐3c0d‐4aa6‐8272‐c0f1f232cfb3                   Address Redacted                     First Class Mail
3574ac65‐7c4b‐4e89‐9a89‐80d89084f5cf                   Address Redacted                     First Class Mail
3577140c‐3aa0‐4bcd‐a2ca‐fda7b33d8a95                   Address Redacted                     First Class Mail




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                              Name                                              Address                        Method of Service
357bc414‐b802‐492c‐9014‐d406473595c9                   Address Redacted                     First Class Mail
357ef608‐dfcc‐44e2‐8171‐5c20a9ac952f                   Address Redacted                     First Class Mail
357f2e64‐982c‐41f2‐803c‐5b5cccb1a2d0                   Address Redacted                     First Class Mail
357f3571‐0372‐49fd‐ab9f‐9b8b5f23a42a                   Address Redacted                     First Class Mail
358a3281‐650d‐4c60‐b995‐85771b6580bc                   Address Redacted                     First Class Mail
359002b1‐8e3a‐4e91‐9d0a‐abf60f45a889                   Address Redacted                     First Class Mail
35915408‐9598‐4a79‐b4c2‐c1e1b9be409b                   Address Redacted                     First Class Mail
35935a0a‐bcb2‐4829‐8b16‐ca1544ae5fb2                   Address Redacted                     First Class Mail
35935b4b‐ec5c‐47a0‐83cd‐4f9a20d58d1a                   Address Redacted                     First Class Mail
35942b45‐c636‐49a2‐83c3‐a18a942c7379                   Address Redacted                     First Class Mail
3596376a‐4ffb‐4201‐8729‐4bb29ce31287                   Address Redacted                     First Class Mail
35977c75‐6d01‐4905‐833d‐d62b3dc64d48                   Address Redacted                     First Class Mail
35988c20‐8644‐417b‐9658‐ee7a72a2415c                   Address Redacted                     First Class Mail
35998c07‐0c53‐4aee‐870c‐87b6653d78f2                   Address Redacted                     First Class Mail
359d53a1‐ee7a‐4b49‐a4c0‐60f50ac92833                   Address Redacted                     First Class Mail
359e7d4b‐360d‐48ef‐83a2‐6b622f676d06                   Address Redacted                     First Class Mail
35a2e31a‐563c‐4214‐b9af‐921802fbfb61                   Address Redacted                     First Class Mail
35a4503a‐04a7‐489c‐9000‐98dcee666f6e                   Address Redacted                     First Class Mail
35a5eef8‐77c3‐48ed‐b9c9‐3f2e036fe322                   Address Redacted                     First Class Mail
35a64ca4‐82f9‐4d0b‐b7a8‐217138990b2c                   Address Redacted                     First Class Mail
35a7869a‐620a‐4de4‐bc18‐4a2c3e1e8263                   Address Redacted                     First Class Mail
35a83e13‐962c‐401e‐8d2c‐4b964bb748da                   Address Redacted                     First Class Mail
35a83e64‐16d4‐48a1‐af95‐b360bcd84550                   Address Redacted                     First Class Mail
35a84006‐bc54‐4f0e‐95c8‐2239400198d1                   Address Redacted                     First Class Mail
35afd62e‐79c2‐4327‐a8d6‐c3a071235f01                   Address Redacted                     First Class Mail
35b07f35‐c0e6‐4eb7‐b377‐49594a21dc25                   Address Redacted                     First Class Mail
35b47f5a‐e952‐4b03‐965b‐f49ff09a7216                   Address Redacted                     First Class Mail
35b7b576‐56b5‐4b3e‐9dfd‐e0f86bb29faf                   Address Redacted                     First Class Mail
35b8ef02‐4de3‐4736‐a966‐4dc04897de1f                   Address Redacted                     First Class Mail
35bfe47e‐b0d8‐4163‐8ac0‐241a7f1e1123                   Address Redacted                     First Class Mail
35c6c988‐4213‐4945‐9ef9‐15ef35049d2a                   Address Redacted                     First Class Mail
35c8f4dc‐6c6c‐4b4b‐b8c9‐8a98bca5b462                   Address Redacted                     First Class Mail
35caac47‐7331‐4d6f‐8864‐dc458bf78647                   Address Redacted                     First Class Mail
35cb37d4‐4ce2‐442c‐aa94‐037e6131f5ce                   Address Redacted                     First Class Mail
35cb8a22‐b7c8‐4aef‐8f3d‐19cd9a6d4c8d                   Address Redacted                     First Class Mail
35d11377‐5699‐4a42‐83a6‐de2771035b7f                   Address Redacted                     First Class Mail
35d370bb‐3f76‐4efd‐b524‐1d14e4c2dacc                   Address Redacted                     First Class Mail
35d7c7bb‐06c5‐4018‐b3fc‐9520b047035e                   Address Redacted                     First Class Mail
35d7d0d0‐ac84‐419d‐a655‐ae85c965183b                   Address Redacted                     First Class Mail
35d9669e‐f3b8‐4ea5‐95bf‐55c23ba33c02                   Address Redacted                     First Class Mail
35dd179f‐ae51‐4298‐8045‐d3e96bf1e933                   Address Redacted                     First Class Mail
35dea241‐93fa‐4e83‐9204‐ccba85ed3deb                   Address Redacted                     First Class Mail
35e0b8e9‐4f1f‐4c62‐85b2‐71e455f8b115                   Address Redacted                     First Class Mail
35e483c1‐2ce8‐473a‐996d‐8a902fc852b4                   Address Redacted                     First Class Mail
35e62988‐9494‐4f08‐a6ec‐443025e11aeb                   Address Redacted                     First Class Mail
35ee00c5‐7ac5‐4223‐b753‐318b48d26700                   Address Redacted                     First Class Mail
35ee177a‐e626‐47ff‐91d4‐5d59c6312b96                   Address Redacted                     First Class Mail
35f636a2‐8892‐46ef‐9e6c‐737bfd0b0607                   Address Redacted                     First Class Mail
35f70534‐0c70‐4cbc‐9d17‐2286a183f95f                   Address Redacted                     First Class Mail
35f76ac4‐aa4b‐4a7c‐927b‐bbd9f55065af                   Address Redacted                     First Class Mail
35f889af‐19bb‐41b9‐9824‐2879437bf823                   Address Redacted                     First Class Mail
35f9d0f6‐b845‐40a9‐a6c3‐e31af086db40                   Address Redacted                     First Class Mail
36011884‐b792‐4d47‐9ce8‐7bd3ed670b4c                   Address Redacted                     First Class Mail
360193a0‐1cb3‐4ff4‐8a43‐b3ac6d51f635                   Address Redacted                     First Class Mail
36029b18‐3011‐48f3‐9717‐190b91cd528e                   Address Redacted                     First Class Mail
360deb7c‐0572‐48c7‐9b0c‐aabce867a962                   Address Redacted                     First Class Mail
36107fc6‐ec40‐4b88‐a620‐5789500b6ca4                   Address Redacted                     First Class Mail
36128867‐2ddc‐408b‐847c‐d54d3ba69c99                   Address Redacted                     First Class Mail
36138aea‐b723‐4fe6‐ab40‐d1b0b0aae392                   Address Redacted                     First Class Mail
3615f290‐7963‐4e9f‐a4a0‐1f132620aa80                   Address Redacted                     First Class Mail
3616aef2‐49b5‐49dd‐859a‐c698d266c0e9                   Address Redacted                     First Class Mail
3617ab43‐73fe‐4a49‐9363‐95b995ea6081                   Address Redacted                     First Class Mail
361b312a‐f85a‐487e‐986a‐5da4187160e9                   Address Redacted                     First Class Mail
361c6143‐9291‐49fb‐8672‐5d66642ada64                   Address Redacted                     First Class Mail
3623e4a2‐dd0d‐4a11‐bcfe‐6913113499d1                   Address Redacted                     First Class Mail
362a59bc‐9fd6‐4c2a‐bdf1‐15b06e688bb3                   Address Redacted                     First Class Mail
362bebdf‐63ab‐4c84‐b821‐8a25b14bc5c3                   Address Redacted                     First Class Mail
362c84a5‐451b‐4d14‐a304‐0c3e120e4181                   Address Redacted                     First Class Mail
362cfbf5‐f672‐4375‐8775‐e5f40fa542fa                   Address Redacted                     First Class Mail
362fdc74‐50a4‐48ea‐8cc3‐890bc3fb457e                   Address Redacted                     First Class Mail
363051b3‐bed3‐4a0e‐a525‐9ad0ee18362d                   Address Redacted                     First Class Mail
3631f99e‐aad0‐439f‐9f56‐6f890ac563e0                   Address Redacted                     First Class Mail




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                                                                 Service List


                              Name                                              Address                        Method of Service
36339356‐94e2‐4080‐a242‐7afe8123261c                   Address Redacted                     First Class Mail
36347489‐fe30‐4a30‐ad1e‐2a1c8507a445                   Address Redacted                     First Class Mail
3635cb1b‐f3ba‐4c58‐9c18‐c2e62a4a0440                   Address Redacted                     First Class Mail
3638860c‐7ef6‐4b53‐b627‐8a54948457f0                   Address Redacted                     First Class Mail
363a3a16‐495b‐415b‐8292‐1f8b2266ec18                   Address Redacted                     First Class Mail
363b4a66‐8051‐4402‐91c1‐7c2c23c4f09b                   Address Redacted                     First Class Mail
36470b11‐ee01‐40f8‐a5eb‐9195991ae4f6                   Address Redacted                     First Class Mail
364c638b‐9656‐431e‐858d‐871bf6a6f0b9                   Address Redacted                     First Class Mail
364c6b73‐a4f7‐44c0‐bb2f‐e33751b2d98a                   Address Redacted                     First Class Mail
364cdbed‐892e‐42c7‐bbde‐1610e8ee90f9                   Address Redacted                     First Class Mail
36511144‐dc53‐4501‐a9d6‐90a03b4296c1                   Address Redacted                     First Class Mail
3654a732‐e63e‐4069‐88ec‐c95b370a2e34                   Address Redacted                     First Class Mail
3658e319‐c346‐4522‐a2e1‐e69a735f60c8                   Address Redacted                     First Class Mail
366bbb12‐9ad2‐42dc‐9d31‐956dbfb95a5a                   Address Redacted                     First Class Mail
366e8fa8‐112f‐4e02‐bd8a‐f8c2a69bb578                   Address Redacted                     First Class Mail
36709cdf‐34d5‐427a‐a241‐5fc30831b5bc                   Address Redacted                     First Class Mail
3670ca65‐c24b‐4d7d‐9741‐f13bafeb82c5                   Address Redacted                     First Class Mail
36710fba‐acf3‐437f‐a0d8‐d76716b654ee                   Address Redacted                     First Class Mail
36716e25‐1496‐40e8‐86eb‐6dba20304d50                   Address Redacted                     First Class Mail
36717cc3‐d889‐4604‐aabb‐f19feef690c8                   Address Redacted                     First Class Mail
367316c1‐d7da‐46ca‐87e1‐f3359021dfe8                   Address Redacted                     First Class Mail
3676072e‐87f4‐4871‐94b9‐4aa07ad05306                   Address Redacted                     First Class Mail
3676e5e6‐dcfe‐4a12‐b069‐af303b30e74e                   Address Redacted                     First Class Mail
3677cd56‐b130‐46d9‐8a2f‐b9180aee5875                   Address Redacted                     First Class Mail
3678ced2‐2e78‐4106‐a13a‐8ce8b2fbf89f                   Address Redacted                     First Class Mail
367db03d‐7886‐4edd‐8557‐541afe8bbf16                   Address Redacted                     First Class Mail
3683d8ee‐c869‐4424‐9a35‐1b12c9ed2577                   Address Redacted                     First Class Mail
3685ac0d‐d980‐4838‐8bce‐4701d61aba85                   Address Redacted                     First Class Mail
368711be‐4ad0‐405b‐bce9‐5a5d90744f09                   Address Redacted                     First Class Mail
368730bb‐fed3‐4d15‐961c‐42a57bab265c                   Address Redacted                     First Class Mail
3688d1cf‐e2b8‐450b‐9235‐3091e57407ea                   Address Redacted                     First Class Mail
3688ffb0‐90b7‐4285‐9c8a‐e1adcece84a9                   Address Redacted                     First Class Mail
3689d83f‐0e4f‐4c9c‐bfc8‐55ee60e7beff                   Address Redacted                     First Class Mail
368b6777‐c172‐4a32‐a4c1‐6fbb45dc349f                   Address Redacted                     First Class Mail
368d1ab9‐7d3b‐4e22‐a2f5‐a9dc72cc0b3d                   Address Redacted                     First Class Mail
368f9cfa‐4bfe‐4a25‐adac‐3f182b878025                   Address Redacted                     First Class Mail
3691cae8‐7dcd‐4271‐b967‐f741c33a2ef2                   Address Redacted                     First Class Mail
3697e127‐f616‐4328‐a632‐57ace39e310b                   Address Redacted                     First Class Mail
369b0aa1‐d773‐4b87‐a0ae‐4aba42796395                   Address Redacted                     First Class Mail
369b5031‐e919‐43d4‐aedf‐c72339defac6                   Address Redacted                     First Class Mail
36a6313c‐c5ee‐4768‐b744‐a69235cd3b0a                   Address Redacted                     First Class Mail
36a8b7f6‐2e46‐4171‐be20‐cbc83a4c05dc                   Address Redacted                     First Class Mail
36a95187‐a417‐48bd‐921f‐b2961f6c818f                   Address Redacted                     First Class Mail
36aa4277‐6f27‐421c‐82b6‐0760e78227fd                   Address Redacted                     First Class Mail
36b350ea‐464c‐484d‐b8d8‐66b45cb0d8c4                   Address Redacted                     First Class Mail
36b74e30‐7fcb‐4cb4‐add8‐a497d125680b                   Address Redacted                     First Class Mail
36b761bd‐db75‐4322‐b991‐a09fa1ab36ac                   Address Redacted                     First Class Mail
36b79c3a‐d390‐4cfc‐a60e‐dbd28a5a028d                   Address Redacted                     First Class Mail
36b8e6e1‐51ba‐4f5d‐ac86‐d1b1a38498dd                   Address Redacted                     First Class Mail
36b9efca‐50f6‐45a5‐943e‐711ad275b8b2                   Address Redacted                     First Class Mail
36c4f430‐568a‐4fdf‐8832‐3e6443e51afb                   Address Redacted                     First Class Mail
36c7551c‐3e39‐4e93‐90ff‐c9342bba6a46                   Address Redacted                     First Class Mail
36c76066‐c89b‐4c58‐8323‐b92e96ccc750                   Address Redacted                     First Class Mail
36ca81ad‐4ec0‐48c8‐a577‐c9b6e5029b1a                   Address Redacted                     First Class Mail
36cd977a‐22cf‐4375‐be86‐a57bb8c52740                   Address Redacted                     First Class Mail
36cf569b‐3bb0‐48f4‐b11f‐85c90db51bdc                   Address Redacted                     First Class Mail
36d189eb‐ea90‐4963‐8ab6‐6df54b814875                   Address Redacted                     First Class Mail
36d1c71c‐6977‐43f8‐badb‐484f57bd2969                   Address Redacted                     First Class Mail
36d32913‐a59b‐4f12‐9a68‐bf36c615f076                   Address Redacted                     First Class Mail
36d4defa‐fa23‐4c30‐9da5‐de7145cd7efc                   Address Redacted                     First Class Mail
36d6cf99‐ca1b‐454e‐b1d7‐08ef9ab3cae4                   Address Redacted                     First Class Mail
36db5b27‐51b1‐44f7‐9902‐36b4b9384d26                   Address Redacted                     First Class Mail
36db83f3‐7e6c‐4769‐aa01‐35e4ef01469b                   Address Redacted                     First Class Mail
36e17aea‐1356‐408c‐8ca4‐fa1a0e29eecb                   Address Redacted                     First Class Mail
36e1bb78‐a2df‐416d‐ba85‐5d3f30da5e92                   Address Redacted                     First Class Mail
36e405ed‐b529‐48ff‐aad6‐68cc96404d00                   Address Redacted                     First Class Mail
36e4dd06‐f661‐468a‐97fa‐2a405d779c71                   Address Redacted                     First Class Mail
36e5f095‐4a8d‐4e76‐83be‐55abfeefaa99                   Address Redacted                     First Class Mail
36e73b1c‐45d6‐405f‐bccc‐10ed4e808a8d                   Address Redacted                     First Class Mail
36e9a018‐bcd9‐4dbf‐a137‐289d6f0a3ec2                   Address Redacted                     First Class Mail
36ed74c9‐61dd‐48e9‐9906‐01521a4ec221                   Address Redacted                     First Class Mail
36ed7773‐cd0f‐470a‐a3a9‐e851e9e0d47e                   Address Redacted                     First Class Mail




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                                                                 Service List


                               Name                                             Address                        Method of Service
36ede19b‐083e‐412a‐87fe‐caa3209d9e42                   Address Redacted                     First Class Mail
36f16e50‐581c‐4dda‐8c90‐902ee22deac9                   Address Redacted                     First Class Mail
36f1fd17‐90c6‐4cb0‐b423‐cd7422be4af4                   Address Redacted                     First Class Mail
36f2c619‐acfb‐40ac‐92e6‐78d87613fb75                   Address Redacted                     First Class Mail
36f76a43‐43f4‐4cbc‐8895‐7ac9741996d1                   Address Redacted                     First Class Mail
36f7cffb‐83c3‐4fac‐ba15‐7f46194483e5                   Address Redacted                     First Class Mail
36fbbd07‐9e79‐4a7c‐b116‐2c5894d8772c                   Address Redacted                     First Class Mail
36fc8a85‐5cbb‐4118‐8f97‐d1cf812f67f1                   Address Redacted                     First Class Mail
36fca219‐4f41‐402a‐a72f‐827b4af66964                   Address Redacted                     First Class Mail
3700df74‐d011‐4304‐985a‐fa42e589d73c                   Address Redacted                     First Class Mail
370fed55‐1f73‐4da1‐9872‐5c9e97bc2743                   Address Redacted                     First Class Mail
37127a84‐b06c‐4356‐8a23‐33ff3f0f2ab6                   Address Redacted                     First Class Mail
3712bd4e‐f467‐4c4b‐87d5‐f16d0b8e4f2e                   Address Redacted                     First Class Mail
37159855‐857d‐4c54‐bbde‐e073cc73c28b                   Address Redacted                     First Class Mail
371816f1‐d39b‐4788‐9b79‐fdebdef22d83                   Address Redacted                     First Class Mail
371d8a1c‐e342‐4a95‐8245‐ee92a8f105c2                   Address Redacted                     First Class Mail
3720c601‐e9e2‐4b69‐9358‐fdc004a3d688                   Address Redacted                     First Class Mail
3721a6c1‐1386‐4620‐8d8c‐47129c90b026                   Address Redacted                     First Class Mail
37237b94‐96ff‐4a8f‐8c9b‐e9d8877ef29e                   Address Redacted                     First Class Mail
37240bbe‐4db1‐405c‐9fb6‐37e731aad0ee                   Address Redacted                     First Class Mail
37277d72‐f03e‐49e0‐b90a‐bc24ec67afba                   Address Redacted                     First Class Mail
3727c7e3‐8ff1‐405f‐a2f3‐a92736779a0b                   Address Redacted                     First Class Mail
3728625d‐e13f‐4786‐97de‐a54f4555cc39                   Address Redacted                     First Class Mail
37289de7‐8924‐4bad‐977f‐cf30ad0bb92e                   Address Redacted                     First Class Mail
3728dc54‐d8b8‐4515‐93df‐bca0ec7e09c2                   Address Redacted                     First Class Mail
372bb35d‐8eb7‐44fe‐b216‐c8beb2d10536                   Address Redacted                     First Class Mail
372cbb78‐0069‐452a‐b745‐cc47f5152b1e                   Address Redacted                     First Class Mail
372d8806‐6fba‐4c45‐98d8‐6eecdffae246                   Address Redacted                     First Class Mail
37307ce3‐af96‐45d6‐b8c5‐472c077c16c3                   Address Redacted                     First Class Mail
37370082‐1509‐4ddd‐9507‐40a4cb45ed39                   Address Redacted                     First Class Mail
37393498‐812a‐4ec0‐b466‐fe4557a65a5a                   Address Redacted                     First Class Mail
373a6136‐145b‐4f0a‐84ec‐431cb1bb5291                   Address Redacted                     First Class Mail
373ccdbe‐ff49‐4af1‐8b40‐e4ad490f8590                   Address Redacted                     First Class Mail
3742fa95‐049a‐4b04‐9e0c‐63c8c867e9b2                   Address Redacted                     First Class Mail
37436727‐8db1‐44a1‐9847‐2864ced0ea3b                   Address Redacted                     First Class Mail
37487b3d‐57e2‐43d2‐a7b5‐3fb437baf1c0                   Address Redacted                     First Class Mail
3748804c‐fd5e‐412c‐b021‐4426af985662                   Address Redacted                     First Class Mail
374ea018‐4878‐4c1f‐a3c6‐1741919e9aa9                   Address Redacted                     First Class Mail
3752a440‐702e‐4e0f‐a0f0‐d6a3fdc43cd7                   Address Redacted                     First Class Mail
375b51e2‐6874‐420b‐9595‐003c2bb19e3d                   Address Redacted                     First Class Mail
375be0f1‐c239‐4ca3‐a417‐5996136b0eae                   Address Redacted                     First Class Mail
375c5423‐1193‐47bb‐8614‐199af0e68d50                   Address Redacted                     First Class Mail
375cab5e‐c470‐4dd8‐98ff‐5cb6496b9376                   Address Redacted                     First Class Mail
3762c4b7‐f859‐4a3c‐8fa0‐a48c0e2fb7d9                   Address Redacted                     First Class Mail
37630625‐edbc‐4b19‐b6f8‐bb5a11a753c4                   Address Redacted                     First Class Mail
376376fb‐24ed‐4563‐bde2‐7f36a44e0dbb                   Address Redacted                     First Class Mail
37638e17‐0ea3‐4ee4‐8e04‐7277ea1bacc9                   Address Redacted                     First Class Mail
3764217c‐5bb1‐4944‐a66b‐7c794439bda2                   Address Redacted                     First Class Mail
3765c416‐975b‐4d99‐9d22‐c87c354fb939                   Address Redacted                     First Class Mail
37675486‐2832‐466d‐a611‐06eff0ec1ed3                   Address Redacted                     First Class Mail
376a2b5a‐c16e‐4040‐a8d7‐f1ee84d917e6                   Address Redacted                     First Class Mail
376a48de‐4730‐4430‐8263‐2834412f5e2e                   Address Redacted                     First Class Mail
376c7a23‐5359‐45bc‐b23e‐63b05eba56c2                   Address Redacted                     First Class Mail
376e630f‐6945‐4944‐96d9‐b15cdf882e53                   Address Redacted                     First Class Mail
3771db0f‐30e3‐4978‐b462‐a7900cd1ab97                   Address Redacted                     First Class Mail
37793861‐aab6‐46cf‐9dd6‐c46ada6615cc                   Address Redacted                     First Class Mail
3779b6d2‐a76f‐4778‐9e48‐c207de193f9a                   Address Redacted                     First Class Mail
377c51dd‐9bd9‐45f2‐b99f‐ea4cf22668a0                   Address Redacted                     First Class Mail
377cf8f8‐30e8‐4501‐8746‐ccc4eb0277ca                   Address Redacted                     First Class Mail
377e2cab‐3148‐4ec5‐ac85‐9ead868be7c5                   Address Redacted                     First Class Mail
377f5af8‐6f2d‐4f15‐912d‐fc415f0f7488                   Address Redacted                     First Class Mail
3780e18c‐bf26‐4b40‐8f79‐be8397077859                   Address Redacted                     First Class Mail
37834d55‐690f‐43e5‐93bb‐326b5fe8807e                   Address Redacted                     First Class Mail
37868e0d‐682a‐414c‐b4de‐0f34c34060b6                   Address Redacted                     First Class Mail
3786ed50‐f7ba‐447a‐8349‐90a7b79f71fe                   Address Redacted                     First Class Mail
37880161‐1537‐4a93‐941b‐4d5048e2ff97                   Address Redacted                     First Class Mail
3789b175‐4b6a‐431a‐b0fd‐0da7179d78a2                   Address Redacted                     First Class Mail
378cc988‐512b‐4d86‐8464‐1a1d7fc509d0                   Address Redacted                     First Class Mail
378d0d3d‐d338‐4989‐aa5a‐cda06887cefd                   Address Redacted                     First Class Mail
3791b3d1‐9c97‐44f2‐961c‐edd774b826a3                   Address Redacted                     First Class Mail
37922894‐6927‐4c32‐b85c‐ac415b90e800                   Address Redacted                     First Class Mail
37947cfd‐fdd5‐4b94‐83c1‐a939ebe0c859                   Address Redacted                     First Class Mail




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                              Name                                              Address                        Method of Service
3795a350‐6740‐4ba1‐be28‐4648decc7383                   Address Redacted                     First Class Mail
3796e726‐0268‐4f4d‐8751‐8ac4aef39a86                   Address Redacted                     First Class Mail
379f9c61‐0f28‐4440‐bf44‐9afb6ae3b682                   Address Redacted                     First Class Mail
37a5f6a1‐cc2c‐43c4‐90b6‐ef0bd3908d99                   Address Redacted                     First Class Mail
37a8e762‐a92e‐437a‐9fa4‐90ef7eb4e03c                   Address Redacted                     First Class Mail
37a96100‐2fa1‐420d‐bda5‐dd5373aac0d6                   Address Redacted                     First Class Mail
37ac22e9‐7c42‐47e7‐b9e4‐7615f2e63e49                   Address Redacted                     First Class Mail
37af8cc1‐8e08‐4302‐ab2d‐acfa6ce3467d                   Address Redacted                     First Class Mail
37b02744‐44cb‐43b0‐ae15‐599d4022a604                   Address Redacted                     First Class Mail
37b09684‐6eab‐4540‐b952‐c1488a86db50                   Address Redacted                     First Class Mail
37b17821‐b5db‐44d8‐bab7‐e15d7d30a09d                   Address Redacted                     First Class Mail
37b62c34‐d79b‐478a‐a37a‐32b000b877fe                   Address Redacted                     First Class Mail
37b63c7a‐51f3‐4ed2‐9546‐7934a4515cf6                   Address Redacted                     First Class Mail
37b96126‐dac8‐412d‐b9d7‐3b881fe04bfa                   Address Redacted                     First Class Mail
37b9a47e‐9b07‐4ec4‐84be‐95ec2ba26178                   Address Redacted                     First Class Mail
37bbe07d‐b6eb‐4820‐931f‐0258f93d9522                   Address Redacted                     First Class Mail
37bc5033‐5ed5‐4600‐9b79‐322a6cb9088b                   Address Redacted                     First Class Mail
37c35cee‐1b56‐4b43‐8773‐a8717e37f904                   Address Redacted                     First Class Mail
37cb613b‐8e1f‐4807‐a465‐08f934aa9ad6                   Address Redacted                     First Class Mail
37cb897e‐89de‐4730‐b250‐f5a9d7112481                   Address Redacted                     First Class Mail
37ce2f8a‐0072‐4624‐bc6a‐33943d21e12e                   Address Redacted                     First Class Mail
37d162f7‐a28e‐4941‐b1db‐3e83a4a55241                   Address Redacted                     First Class Mail
37d244dc‐eafb‐44a5‐9b99‐b0d99f00267e                   Address Redacted                     First Class Mail
37d3f335‐67f6‐43d8‐9249‐8d7fe05529aa                   Address Redacted                     First Class Mail
37d5261f‐82a6‐4874‐b4a2‐d425a32c3fc8                   Address Redacted                     First Class Mail
37d5dbde‐f076‐443d‐8f94‐fd32b6c76e10                   Address Redacted                     First Class Mail
37dc0cb0‐eec6‐4baa‐a3fe‐afc64be1d51f                   Address Redacted                     First Class Mail
37e1893a‐decd‐4a39‐8b35‐2aed63eaff7e                   Address Redacted                     First Class Mail
37e23feb‐ddee‐43b8‐b635‐2080a6fd0dc4                   Address Redacted                     First Class Mail
37e24cfa‐2010‐4128‐93c4‐3dbb5dfed9b4                   Address Redacted                     First Class Mail
37e927db‐4d4c‐4d6f‐afcf‐c800a16b17a4                   Address Redacted                     First Class Mail
37ec559e‐1603‐47a8‐885a‐21212d02637c                   Address Redacted                     First Class Mail
37ef83a8‐6a08‐445d‐9982‐bf22b4d220f0                   Address Redacted                     First Class Mail
37fb279b‐9ce3‐46f9‐ac91‐09b4d45d31e8                   Address Redacted                     First Class Mail
37fb4800‐4818‐45be‐a2a2‐53796318c458                   Address Redacted                     First Class Mail
37fea11e‐acae‐4e99‐9a7d‐5f1caa39b703                   Address Redacted                     First Class Mail
37ff70b3‐b461‐4ed5‐9893‐07e398925aaa                   Address Redacted                     First Class Mail
38085199‐74a3‐4b00‐81bf‐df257b37aecc                   Address Redacted                     First Class Mail
380a3f71‐9bd7‐417e‐82cb‐0a423db0aca3                   Address Redacted                     First Class Mail
380c2c09‐3c65‐46f2‐8d5c‐3ae7d0af6e5f                   Address Redacted                     First Class Mail
38120863‐08bd‐47e2‐9198‐0a84200a526d                   Address Redacted                     First Class Mail
3819635a‐c54f‐4408‐9088‐8a7a88a70e65                   Address Redacted                     First Class Mail
3819bf01‐edf2‐440e‐b6b5‐acec9990be98                   Address Redacted                     First Class Mail
381d6be6‐b80e‐4802‐b477‐bbeb6bc8f0e9                   Address Redacted                     First Class Mail
3820eff3‐80e4‐4d09‐b59d‐073fc2976933                   Address Redacted                     First Class Mail
3824b9ef‐18a7‐4958‐ba57‐f94065e3f97e                   Address Redacted                     First Class Mail
382590ef‐16bb‐41df‐87f0‐ed5d862f5e5d                   Address Redacted                     First Class Mail
3826c986‐0019‐449f‐bbd7‐751af5e52b64                   Address Redacted                     First Class Mail
38272635‐3b52‐4d8c‐ae87‐8a34bca81a84                   Address Redacted                     First Class Mail
382c546e‐bba4‐49b0‐8e16‐f37f9f97c12f                   Address Redacted                     First Class Mail
382da3d3‐e0e9‐45fb‐adfb‐8e88c9154669                   Address Redacted                     First Class Mail
382e76b4‐f08f‐4959‐8364‐3ae192f3e171                   Address Redacted                     First Class Mail
3831a355‐ef1a‐46f6‐a754‐8f6a95fbe5b1                   Address Redacted                     First Class Mail
3831df10‐2a4a‐4cc6‐ba3e‐6469f2fbd06e                   Address Redacted                     First Class Mail
3833e25d‐2d16‐4e36‐a7a0‐240727b7fac0                   Address Redacted                     First Class Mail
38386b18‐8979‐4ed1‐8d00‐628f20868725                   Address Redacted                     First Class Mail
383a6285‐a2de‐42cb‐889d‐41a54578b0ea                   Address Redacted                     First Class Mail
383cddf8‐c905‐4c9f‐b271‐4c1ef00bdcb3                   Address Redacted                     First Class Mail
383d08d5‐dfb4‐49f1‐96d4‐baaebb028859                   Address Redacted                     First Class Mail
383e421d‐defa‐43cb‐b26d‐4d9cdd2144ac                   Address Redacted                     First Class Mail
383f5057‐79ea‐4607‐8c53‐e9b38c91573f                   Address Redacted                     First Class Mail
38416635‐66b8‐400b‐b059‐fc18d7672ae9                   Address Redacted                     First Class Mail
38455baf‐b132‐43f8‐9927‐453584fb8e47                   Address Redacted                     First Class Mail
3845a619‐b9bc‐4a5e‐9af8‐2568e164e38f                   Address Redacted                     First Class Mail
38497460‐42d0‐48b0‐8d1b‐55cd8c82e87a                   Address Redacted                     First Class Mail
38498bde‐9145‐4247‐8b25‐5fd93f40f833                   Address Redacted                     First Class Mail
384ee675‐8256‐41e5‐8074‐86331025adf7                   Address Redacted                     First Class Mail
38513c2e‐7260‐4013‐a1a9‐9f3413bcb9e0                   Address Redacted                     First Class Mail
38520643‐fe12‐4ae6‐a0b9‐e16292b651c9                   Address Redacted                     First Class Mail
38528a8e‐4baf‐448b‐b043‐c41accf8b2df                   Address Redacted                     First Class Mail
38541424‐eacb‐46e5‐8ae8‐a142db22c5af                   Address Redacted                     First Class Mail
38544158‐73c6‐4ac8‐826f‐4c03a16a2b86                   Address Redacted                     First Class Mail




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                                                                 Service List


                              Name                                              Address                        Method of Service
38566d12‐dd89‐4e7b‐a8b7‐dacf5d1c47d6                   Address Redacted                     First Class Mail
3857e1dc‐a5d5‐4c5e‐bf05‐d283477a192b                   Address Redacted                     First Class Mail
3857f8c5‐b476‐40bd‐a739‐ce5b2dbebdce                   Address Redacted                     First Class Mail
385b08fa‐9a6e‐4bdf‐949b‐8f199df30c4b                   Address Redacted                     First Class Mail
385cbdbb‐c992‐4ec0‐869f‐fbdcd50c0a63                   Address Redacted                     First Class Mail
385ddc36‐aa56‐4152‐ae86‐a76a37b71aa0                   Address Redacted                     First Class Mail
385efaf5‐554a‐4019‐a877‐5a2c8bfe5b47                   Address Redacted                     First Class Mail
386006f4‐b66f‐43a7‐a4c9‐b9cc2c8c8996                   Address Redacted                     First Class Mail
38600cd6‐75e2‐4dc2‐a2ee‐7f89182a32b6                   Address Redacted                     First Class Mail
3862df8c‐fdcf‐44c5‐b0af‐101e7c0a67d6                   Address Redacted                     First Class Mail
3862e02d‐1a9a‐4f02‐9d8c‐711ed949b346                   Address Redacted                     First Class Mail
3865b4f0‐a04a‐431f‐88e9‐94f6e448d7dc                   Address Redacted                     First Class Mail
3868dcde‐43eb‐4646‐8762‐8932feba252f                   Address Redacted                     First Class Mail
38691b8c‐e8e7‐4775‐be8c‐fee7345898ad                   Address Redacted                     First Class Mail
386e9729‐51ba‐4793‐ad70‐5b7777ddb4b2                   Address Redacted                     First Class Mail
38727b98‐fc0a‐4c58‐89ac‐783d4114012a                   Address Redacted                     First Class Mail
3872ac72‐e3d0‐4066‐9cc2‐ec1d057d8c46                   Address Redacted                     First Class Mail
387495ee‐8f14‐458f‐b9dd‐22e1ae471619                   Address Redacted                     First Class Mail
3874c1a3‐a16e‐41d3‐8052‐dc8133df6d86                   Address Redacted                     First Class Mail
3875c565‐3c34‐46c8‐8af9‐9a49e0744f1e                   Address Redacted                     First Class Mail
387635f0‐6589‐48fb‐9f15‐03b79663d445                   Address Redacted                     First Class Mail
387662aa‐cbcb‐4ac0‐9afe‐d3ff76b3eb04                   Address Redacted                     First Class Mail
3878c529‐d628‐4e73‐ba09‐fca824631748                   Address Redacted                     First Class Mail
3879341c‐7282‐47b0‐82b5‐2fcc78f6bac4                   Address Redacted                     First Class Mail
387d1f1d‐fb26‐46ac‐8379‐35519aec36b5                   Address Redacted                     First Class Mail
387df4d6‐46a6‐46f8‐af79‐43b3277055d2                   Address Redacted                     First Class Mail
3884307b‐8ba4‐4e3c‐9907‐237aaa9e9c95                   Address Redacted                     First Class Mail
388462bf‐8a71‐4c9c‐80ab‐93957de37fe8                   Address Redacted                     First Class Mail
3885e145‐4a04‐4816‐8782‐b895acb61b76                   Address Redacted                     First Class Mail
388aaaff‐b357‐4312‐8e53‐117cd80f50d9                   Address Redacted                     First Class Mail
388de0dd‐1b84‐413c‐bf3e‐bf5b48fa12a6                   Address Redacted                     First Class Mail
388e25a5‐3a5e‐4e04‐bd1a‐c08046842a65                   Address Redacted                     First Class Mail
38913f84‐ba1a‐4e02‐9001‐a40d0398605d                   Address Redacted                     First Class Mail
3892f926‐3c34‐4f7b‐9ade‐bacda57e6a74                   Address Redacted                     First Class Mail
3899cfaa‐f16c‐4ca5‐a948‐94e8e827ad81                   Address Redacted                     First Class Mail
389a802c‐8b91‐46b1‐af0a‐68c271f2250c                   Address Redacted                     First Class Mail
389cdb31‐4f50‐40f8‐bd69‐08582bf8edc5                   Address Redacted                     First Class Mail
389cf9bf‐064e‐4d26‐9459‐14cad41e0c97                   Address Redacted                     First Class Mail
389f8a1d‐3e5c‐4614‐a3b5‐d4c1a9de1db0                   Address Redacted                     First Class Mail
38a109bf‐aeb5‐425e‐b104‐c5ec3fd46c52                   Address Redacted                     First Class Mail
38a2cc97‐ab52‐4144‐8dc1‐425bcb5bb150                   Address Redacted                     First Class Mail
38a38f54‐7c2a‐4b8d‐9c79‐469d23947142                   Address Redacted                     First Class Mail
38a486cd‐91fd‐4927‐936e‐42bb7977516e                   Address Redacted                     First Class Mail
38a99ab9‐777d‐431f‐be2d‐8c982329b087                   Address Redacted                     First Class Mail
38af2e8e‐c263‐429c‐900e‐68cb180452d6                   Address Redacted                     First Class Mail
38b0d6ec‐a14d‐4786‐9012‐c485a830b2d6                   Address Redacted                     First Class Mail
38b1afab‐0406‐4177‐bb2d‐7a191584bd28                   Address Redacted                     First Class Mail
38b64aec‐b453‐404a‐82d1‐aa8e610349dc                   Address Redacted                     First Class Mail
38b6a9d2‐e7d0‐4ab1‐a02a‐e5dd544b4f3f                   Address Redacted                     First Class Mail
38b9815a‐caa4‐46c5‐aabb‐3023d1841b66                   Address Redacted                     First Class Mail
38b9c14e‐5577‐4d98‐96aa‐dd461512fc28                   Address Redacted                     First Class Mail
38b9df7c‐0209‐463b‐ada7‐8909b34410c6                   Address Redacted                     First Class Mail
38ba031d‐cd9b‐4c60‐b21a‐6b94623b3170                   Address Redacted                     First Class Mail
38bb1126‐ad4f‐4411‐a0ee‐5556f6ddf623                   Address Redacted                     First Class Mail
38c4c2fa‐cb28‐459c‐ab81‐b26c0ca1f70e                   Address Redacted                     First Class Mail
38c538b3‐9a23‐4db5‐98f6‐cfedd9c72ad6                   Address Redacted                     First Class Mail
38c68164‐a6ba‐4009‐bb70‐3da1f59666f1                   Address Redacted                     First Class Mail
38c83004‐c6fd‐4fcb‐8376‐bd4d00e70510                   Address Redacted                     First Class Mail
38c8d0fb‐b6c9‐4afb‐89df‐486828ba48ec                   Address Redacted                     First Class Mail
38c9979b‐82ba‐4486‐bb6c‐cc58936dac70                   Address Redacted                     First Class Mail
38ce1049‐953c‐4930‐bc87‐3a798f9acaf5                   Address Redacted                     First Class Mail
38d4374c‐041c‐4905‐9625‐b962f522e638                   Address Redacted                     First Class Mail
38d7b778‐93a3‐4672‐ac54‐df4204218de2                   Address Redacted                     First Class Mail
38dbd609‐c90d‐43fc‐957d‐50f7f8d446ea                   Address Redacted                     First Class Mail
38ddd99b‐ef4f‐4fe1‐9c9c‐b408d991c0a6                   Address Redacted                     First Class Mail
38e16c08‐2a68‐4054‐b53e‐c523f21efd78                   Address Redacted                     First Class Mail
38e1d0ad‐b1f4‐463b‐b1d5‐fd75830ebd98                   Address Redacted                     First Class Mail
38e2fd44‐f5c6‐4e27‐aa72‐d4c812069754                   Address Redacted                     First Class Mail
38e3c350‐d51e‐43be‐8f59‐0743d92b04c8                   Address Redacted                     First Class Mail
38e58015‐a912‐468f‐82f9‐a4a1d29d4851                   Address Redacted                     First Class Mail
38edf0a3‐f300‐4e73‐88e4‐7e50385a53ee                   Address Redacted                     First Class Mail
38eee6c5‐f61e‐4baa‐abfe‐26abb28cd4a6                   Address Redacted                     First Class Mail




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                                                                Exhibit A
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                              Name                                              Address                        Method of Service
38ef69dc‐4358‐4874‐81a8‐b1a41eb796ef                   Address Redacted                     First Class Mail
38f092ff‐5404‐4fec‐97f7‐1211a7af835e                   Address Redacted                     First Class Mail
38f40c13‐0902‐4eeb‐8a80‐51c684f66ff5                   Address Redacted                     First Class Mail
38f46139‐897f‐4cf8‐8c33‐cb593457db49                   Address Redacted                     First Class Mail
38f4ce33‐a750‐477e‐895e‐4bd3f1286640                   Address Redacted                     First Class Mail
38f70d60‐d332‐4d95‐bc4e‐f655e43c4763                   Address Redacted                     First Class Mail
39014bcc‐523c‐4006‐bb85‐37270d1f3561                   Address Redacted                     First Class Mail
39073636‐de9d‐4d39‐8572‐599112a4fc21                   Address Redacted                     First Class Mail
39084045‐b101‐4142‐bba8‐50de61718272                   Address Redacted                     First Class Mail
390932e8‐9242‐401b‐9fdb‐40663048fbca                   Address Redacted                     First Class Mail
39094e56‐22bd‐4a79‐bfae‐2584510134b5                   Address Redacted                     First Class Mail
390a849b‐743d‐4f22‐93ac‐5fcc243f2550                   Address Redacted                     First Class Mail
390e7277‐bd13‐4d6c‐a77c‐60c579357393                   Address Redacted                     First Class Mail
3911d4ec‐7e2d‐4522‐a248‐b3d1a34b7ef9                   Address Redacted                     First Class Mail
39127541‐ae7d‐4994‐a001‐eb1d40424639                   Address Redacted                     First Class Mail
3919a4a3‐e628‐4141‐b667‐02c6fa664128                   Address Redacted                     First Class Mail
391ad695‐e7d9‐4413‐a9f0‐82476d91f34a                   Address Redacted                     First Class Mail
391b99e4‐12cd‐41f5‐80ff‐5566a315c106                   Address Redacted                     First Class Mail
391d977b‐5f01‐478a‐b468‐1b00cb0761b8                   Address Redacted                     First Class Mail
39225116‐b306‐4c87‐9726‐866210897b98                   Address Redacted                     First Class Mail
39229f00‐9a79‐41ff‐a73c‐5e9a97622f74                   Address Redacted                     First Class Mail
392335be‐7592‐4adf‐9294‐5ef23bab7a19                   Address Redacted                     First Class Mail
392379a2‐7766‐493f‐bde1‐f3dec8ef87d6                   Address Redacted                     First Class Mail
3926eca4‐cf97‐4319‐baf4‐e14ba75bffe8                   Address Redacted                     First Class Mail
392781a6‐99f9‐447a‐a564‐de8a6cd76ff8                   Address Redacted                     First Class Mail
392ab2b0‐b26e‐4690‐a7e4‐073e9c8172a0                   Address Redacted                     First Class Mail
392af86b‐8feb‐48de‐bb7e‐7b9fcaee31dc                   Address Redacted                     First Class Mail
392c81ec‐2ecf‐459c‐b50a‐249d5b45638a                   Address Redacted                     First Class Mail
392fdc9c‐7b01‐4415‐88aa‐366355c2a835                   Address Redacted                     First Class Mail
393389a8‐ef73‐4bc0‐982e‐314df06010ce                   Address Redacted                     First Class Mail
393594f3‐b40f‐4e13‐bf7d‐2d0059bbdf59                   Address Redacted                     First Class Mail
3936c0f0‐e31d‐4b12‐9855‐5e24b1493de6                   Address Redacted                     First Class Mail
3939bf98‐867b‐4c93‐b1ab‐a6faba976822                   Address Redacted                     First Class Mail
393a21b2‐8fdf‐4aad‐9e6e‐db425fd96065                   Address Redacted                     First Class Mail
393c3e8c‐4058‐44e3‐9e44‐9592bda7fe19                   Address Redacted                     First Class Mail
394293d5‐cb76‐4658‐8790‐f9e0851eaa22                   Address Redacted                     First Class Mail
394470e1‐9609‐4335‐a8b8‐6ad7e2e0f572                   Address Redacted                     First Class Mail
3946e488‐8733‐4e2b‐9f5e‐157e22fb3f67                   Address Redacted                     First Class Mail
3949dcd8‐7028‐4a1e‐8307‐41d151e54f2e                   Address Redacted                     First Class Mail
394e34fe‐d3cf‐4eab‐badf‐1295893da043                   Address Redacted                     First Class Mail
39579b1b‐0925‐4332‐be84‐6ed76d6dbcda                   Address Redacted                     First Class Mail
3958692c‐0960‐4c04‐81d0‐121dc1bd41c0                   Address Redacted                     First Class Mail
3958fc0d‐2b06‐4e31‐ab25‐b51854072f26                   Address Redacted                     First Class Mail
395a222b‐2b9b‐4ba7‐9337‐ef1cd5081c11                   Address Redacted                     First Class Mail
395c9e21‐59e2‐4ac6‐8769‐4f1075bb89f1                   Address Redacted                     First Class Mail
396be036‐f260‐40b6‐a4a9‐574d480b5474                   Address Redacted                     First Class Mail
396c58ca‐821e‐46b5‐9399‐c3bc33e8f97a                   Address Redacted                     First Class Mail
396d8bf8‐164b‐44f3‐8b4f‐0ab860bce49f                   Address Redacted                     First Class Mail
397223cb‐1cc6‐4047‐bd84‐2bc71a7bbfc6                   Address Redacted                     First Class Mail
39761f85‐f21f‐4f63‐aa17‐eba10a22652b                   Address Redacted                     First Class Mail
3976898a‐efad‐4505‐a91f‐beda77d5d963                   Address Redacted                     First Class Mail
3977dc86‐b338‐45f1‐acc3‐33f9cc485dc7                   Address Redacted                     First Class Mail
397a8fda‐1bd5‐484a‐964d‐22b4611e0580                   Address Redacted                     First Class Mail
397ba2ea‐4f76‐49b6‐94e7‐151554f5703c                   Address Redacted                     First Class Mail
3981e0d0‐ace0‐43f7‐b2fe‐409e85973399                   Address Redacted                     First Class Mail
39834eb3‐9188‐4b12‐979d‐0b422b6ca1bf                   Address Redacted                     First Class Mail
3986303c‐966b‐47f1‐bb78‐c1ff44ceebf5                   Address Redacted                     First Class Mail
3986a87a‐d189‐431b‐9ce0‐0c01f60aacd4                   Address Redacted                     First Class Mail
39871347‐fb3a‐4d3b‐acca‐6e9eff6536dd                   Address Redacted                     First Class Mail
39906de9‐ef6e‐4a7c‐8914‐dcc9651ca001                   Address Redacted                     First Class Mail
3992c758‐573f‐4eb5‐b4ba‐edfd80fa3dd5                   Address Redacted                     First Class Mail
3996db1e‐de8d‐4d17‐85e2‐ea91e430305a                   Address Redacted                     First Class Mail
3996e1b0‐c30b‐4151‐bb72‐81d20d1d10d3                   Address Redacted                     First Class Mail
39983015‐8347‐4fc8‐b700‐07377b46e940                   Address Redacted                     First Class Mail
3999d497‐8256‐496e‐9022‐cf8c30e300c6                   Address Redacted                     First Class Mail
399e0478‐dd86‐47b9‐8a6b‐173ea18c3d80                   Address Redacted                     First Class Mail
399e8d18‐a79a‐4ceb‐90e6‐63cf36df9bd3                   Address Redacted                     First Class Mail
399ef64e‐f042‐42e2‐ac9b‐2903c72284da                   Address Redacted                     First Class Mail
39a058e5‐3e70‐41cc‐949e‐47b8da137c7c                   Address Redacted                     First Class Mail
39a226c7‐26af‐4cab‐a9a1‐b5db97dae2bb                   Address Redacted                     First Class Mail
39a31578‐23e4‐4a4a‐8618‐344976aac11f                   Address Redacted                     First Class Mail
39a3f86c‐07e3‐4109‐bcff‐482ca9de14c5                   Address Redacted                     First Class Mail




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                              Name                                              Address                        Method of Service
39ad588b‐411e‐4709‐8452‐af7ea5dc8947                   Address Redacted                     First Class Mail
39b434cf‐693d‐474a‐8c69‐62e77c1d2b47                   Address Redacted                     First Class Mail
39b57a34‐46a2‐4454‐8598‐3933972ab1be                   Address Redacted                     First Class Mail
39b64a6d‐7355‐4e70‐8e01‐4df90c04d1a7                   Address Redacted                     First Class Mail
39bb1c68‐ffa4‐4eeb‐b118‐bf3d8ab9af47                   Address Redacted                     First Class Mail
39bc17eb‐5a57‐4aff‐a789‐127a51abc9c7                   Address Redacted                     First Class Mail
39bca0d9‐070e‐488c‐a724‐efc80dd13e95                   Address Redacted                     First Class Mail
39bcbd4d‐3427‐4ae2‐8054‐1939e14dee18                   Address Redacted                     First Class Mail
39bf37d6‐0710‐4035‐b658‐e52d89556c36                   Address Redacted                     First Class Mail
39c1565a‐8b9a‐45db‐a454‐754cecfc3312                   Address Redacted                     First Class Mail
39c36e12‐0214‐4427‐a0dc‐59f255508644                   Address Redacted                     First Class Mail
39c78b06‐1056‐4b85‐b23d‐e04cf3c517e9                   Address Redacted                     First Class Mail
39c965de‐6df6‐4364‐b65b‐c14d5cf3a53c                   Address Redacted                     First Class Mail
39cc27d1‐c669‐4171‐af86‐155fd53beabf                   Address Redacted                     First Class Mail
39cd30e3‐275a‐4a4e‐a552‐eede3692e517                   Address Redacted                     First Class Mail
39d4998d‐9e92‐4ba2‐89d2‐4307491c791f                   Address Redacted                     First Class Mail
39de9121‐7096‐47c5‐aa8f‐514ef31d7fbd                   Address Redacted                     First Class Mail
39e35b5b‐992e‐4595‐877b‐f8718d770319                   Address Redacted                     First Class Mail
39e36147‐d61b‐4089‐8e2b‐a6ebd055226b                   Address Redacted                     First Class Mail
39e4795c‐6366‐4bcd‐a0c7‐0f3eba45e4b8                   Address Redacted                     First Class Mail
39fc0b0b‐0b73‐43d0‐a96d‐07a170441d82                   Address Redacted                     First Class Mail
39fe24f4‐632b‐4794‐842e‐7360b82cc34c                   Address Redacted                     First Class Mail
3a00b91e‐0b5f‐411a‐a575‐4f5b5c83ceeb                   Address Redacted                     First Class Mail
3a03943d‐2179‐44b8‐b3bd‐b0142f6540d8                   Address Redacted                     First Class Mail
3a0466d7‐3eb0‐4efe‐b820‐807e2202473b                   Address Redacted                     First Class Mail
3a05b1c5‐5a3d‐424e‐a321‐6643d6cad2f6                   Address Redacted                     First Class Mail
3a071a97‐87f8‐4fbb‐9d45‐368b29c6eca6                   Address Redacted                     First Class Mail
3a071e99‐b67f‐4ebc‐b826‐571858f798db                   Address Redacted                     First Class Mail
3a089e9c‐c1be‐43ca‐b149‐8c5596d58eb7                   Address Redacted                     First Class Mail
3a0b97b8‐d5ef‐48f8‐8266‐989469fd6071                   Address Redacted                     First Class Mail
3a10dd5d‐a46c‐41cc‐83e5‐c87c631bded5                   Address Redacted                     First Class Mail
3a17bbca‐7c89‐47b1‐b22d‐8a028fafe1e6                   Address Redacted                     First Class Mail
3a17f6fc‐d242‐4516‐83b6‐c207acb2ae62                   Address Redacted                     First Class Mail
3a18144e‐6455‐4027‐80ac‐ac2be367e65c                   Address Redacted                     First Class Mail
3a188b6d‐4d34‐49f3‐968c‐567a08411ad6                   Address Redacted                     First Class Mail
3a1b48fb‐0c86‐47ca‐9694‐8def890240e8                   Address Redacted                     First Class Mail
3a1c740d‐7d45‐49be‐8dc8‐008d5a6e8cb9                   Address Redacted                     First Class Mail
3a1fee1d‐77bb‐4a39‐824c‐d17b05e81ae6                   Address Redacted                     First Class Mail
3a220c58‐a7e9‐4714‐b952‐dba76feefda2                   Address Redacted                     First Class Mail
3a23d46e‐6843‐4764‐b904‐e311b1dcca47                   Address Redacted                     First Class Mail
3a23f74f‐3c08‐43df‐823d‐ab24901b9020                   Address Redacted                     First Class Mail
3a24cc91‐540b‐4582‐9c17‐227b4983f4a0                   Address Redacted                     First Class Mail
3a25c768‐856f‐4cbc‐96ec‐d5ec89c0463e                   Address Redacted                     First Class Mail
3a2a4514‐e2e3‐4288‐b42d‐e1084037de7b                   Address Redacted                     First Class Mail
3a2a6f69‐36ef‐4614‐941f‐3baea53d47d1                   Address Redacted                     First Class Mail
3a2e2223‐5ccb‐4a69‐96de‐e382239fe80a                   Address Redacted                     First Class Mail
3a2fbfc0‐0383‐4aba‐a54b‐c929d2cfe140                   Address Redacted                     First Class Mail
3a325d90‐d785‐4b54‐9fc0‐032264b6f8a0                   Address Redacted                     First Class Mail
3a3936bd‐1b41‐441e‐a3c0‐c1d50f9e4ebd                   Address Redacted                     First Class Mail
3a3b4800‐71e4‐466c‐8952‐774db6f6ce21                   Address Redacted                     First Class Mail
3a3c2032‐464e‐4071‐8fbb‐935d9ab27037                   Address Redacted                     First Class Mail
3a3c2382‐b768‐42ce‐8dc6‐34f83b60cac3                   Address Redacted                     First Class Mail
3a415ceb‐2e63‐4de7‐99f0‐9f12052456cb                   Address Redacted                     First Class Mail
3a429b50‐a6d9‐4920‐ba1a‐caade1e2f8ad                   Address Redacted                     First Class Mail
3a458f8b‐8d15‐4270‐aba7‐ef930bf64ffc                   Address Redacted                     First Class Mail
3a468cc1‐6789‐4683‐8916‐bc0d92392090                   Address Redacted                     First Class Mail
3a4c31c5‐8c72‐49a0‐acfa‐6484c6a6937e                   Address Redacted                     First Class Mail
3a4fcd6a‐32a1‐4af9‐94ba‐b4ac4771d0e2                   Address Redacted                     First Class Mail
3a5219dd‐ef04‐4fd9‐b113‐ebb76399b9f1                   Address Redacted                     First Class Mail
3a5ca90a‐1a4c‐49e5‐8cc7‐076b2a3cbc9b                   Address Redacted                     First Class Mail
3a5d59c5‐0763‐46cd‐9659‐7c6303462818                   Address Redacted                     First Class Mail
3a5de34f‐7584‐4f5c‐baea‐aa00bdb06886                   Address Redacted                     First Class Mail
3a5e378f‐a235‐4491‐a655‐0b90e933d075                   Address Redacted                     First Class Mail
3a5e5d8c‐6691‐4abc‐ad8f‐9d2f36177ada                   Address Redacted                     First Class Mail
3a602022‐a558‐40bb‐be1e‐d031d151a58b                   Address Redacted                     First Class Mail
3a61f693‐7e05‐4fad‐ab9b‐74f33a2f4657                   Address Redacted                     First Class Mail
3a633497‐4870‐426d‐9dda‐5b6ef6b10910                   Address Redacted                     First Class Mail
3a664082‐af2e‐49bc‐ba6c‐2a20e8655d08                   Address Redacted                     First Class Mail
3a673e5f‐fac5‐4b61‐bd1d‐0040af27b687                   Address Redacted                     First Class Mail
3a6780bd‐49ba‐4576‐a144‐45bd26fe466d                   Address Redacted                     First Class Mail
3a699bfc‐89dd‐4e1b‐be70‐3eeb82cf2981                   Address Redacted                     First Class Mail
3a7105d3‐11c2‐4d2d‐9ba1‐f43645930d81                   Address Redacted                     First Class Mail




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                                                                Exhibit A
                                                                 Service List


                              Name                                              Address                        Method of Service
3a7930a3‐0f3c‐40e6‐b38e‐77e2dad1f3e8                   Address Redacted                     First Class Mail
3a7b89df‐e27c‐414e‐95d4‐602574398c85                   Address Redacted                     First Class Mail
3a80e9e2‐57d2‐4670‐9139‐c58f8fe42911                   Address Redacted                     First Class Mail
3a8151d2‐348d‐40f7‐a0e4‐f011608910ed                   Address Redacted                     First Class Mail
3a81a303‐8f7e‐4f89‐af9c‐d04e5de7dca4                   Address Redacted                     First Class Mail
3a85959b‐8148‐4ba0‐87b1‐b61a87591d50                   Address Redacted                     First Class Mail
3a879da3‐3af4‐4539‐8b77‐9fc1bc297745                   Address Redacted                     First Class Mail
3a88926b‐d8f8‐40bf‐a613‐3324cc364eb5                   Address Redacted                     First Class Mail
3a8d22fc‐1734‐424f‐88a9‐0aa8bfe91803                   Address Redacted                     First Class Mail
3a8eb404‐3e9a‐4495‐a527‐f89051b0503f                   Address Redacted                     First Class Mail
3a90d9a6‐6eee‐441d‐9418‐3c7821532e43                   Address Redacted                     First Class Mail
3a920549‐991b‐4c53‐a46c‐b2d1f645df8c                   Address Redacted                     First Class Mail
3a93c6b3‐b892‐4925‐99ec‐edfaf0df8bb3                   Address Redacted                     First Class Mail
3a97bbd6‐90fb‐43c7‐bd1e‐b75dcb0d868d                   Address Redacted                     First Class Mail
3a992733‐c55d‐4115‐a4d9‐770c54744c18                   Address Redacted                     First Class Mail
3a9a7932‐04e7‐429e‐93da‐40719de8f55f                   Address Redacted                     First Class Mail
3a9e6975‐7f50‐419f‐93cd‐b149edded7b3                   Address Redacted                     First Class Mail
3aa00c89‐fa15‐44a7‐9b7d‐9e2bffcd8bc8                   Address Redacted                     First Class Mail
3aa0db2d‐40a6‐4839‐bb7e‐30ea76730f59                   Address Redacted                     First Class Mail
3aa0ef6f‐a2de‐44fc‐9a6d‐e6902567720a                   Address Redacted                     First Class Mail
3aa13024‐7ef8‐4f51‐afe2‐2b65b5192f7f                   Address Redacted                     First Class Mail
3aa1e396‐d85a‐4eda‐bc87‐88c608420e98                   Address Redacted                     First Class Mail
3aa60f8c‐a70f‐44fd‐b7d0‐d777717b24b3                   Address Redacted                     First Class Mail
3aa6e83b‐7628‐4d74‐81eb‐1e064f491b84                   Address Redacted                     First Class Mail
3aa85173‐34e3‐4ac9‐ab6d‐9206adc0dd4a                   Address Redacted                     First Class Mail
3aa87ebf‐b003‐4394‐9e3f‐1a0cb5d90cd5                   Address Redacted                     First Class Mail
3aa894dc‐f4f3‐4ef8‐b49d‐5b00b681af1d                   Address Redacted                     First Class Mail
3aaf97c5‐ff75‐49f3‐8b30‐0540e1f5b241                   Address Redacted                     First Class Mail
3ab2c414‐4214‐4775‐be77‐b152306ecd7e                   Address Redacted                     First Class Mail
3ab2f18d‐3d71‐4fb1‐a6a5‐a1b674c96fe1                   Address Redacted                     First Class Mail
3ab558a0‐0a1f‐4f02‐b6ff‐929a38f2af45                   Address Redacted                     First Class Mail
3ab7ef89‐d6f7‐478d‐9aac‐371f626ef31f                   Address Redacted                     First Class Mail
3abbadc8‐60f3‐4092‐bf13‐de7512dd1728                   Address Redacted                     First Class Mail
3abd7c4d‐1608‐48a0‐bece‐6e949eea48ae                   Address Redacted                     First Class Mail
3ac73e05‐e4ca‐4771‐9156‐7d5968f4a6f0                   Address Redacted                     First Class Mail
3ac8c642‐2a7f‐4f58‐9806‐775f2740100c                   Address Redacted                     First Class Mail
3ac9e47d‐8535‐42e7‐b81b‐d43dfbfd4334                   Address Redacted                     First Class Mail
3acef910‐040b‐42f3‐b116‐ea580b842e74                   Address Redacted                     First Class Mail
3ad24bf0‐ccee‐46c6‐a9bc‐ce01cddf624f                   Address Redacted                     First Class Mail
3ad69ff8‐c7e3‐43dc‐806f‐8f8e02855cb4                   Address Redacted                     First Class Mail
3ad75f53‐c15c‐437d‐93c4‐1e4b91f6f582                   Address Redacted                     First Class Mail
3ad868c0‐cc28‐487e‐acfe‐f1d2be942cc6                   Address Redacted                     First Class Mail
3adc7c08‐5791‐4bae‐8afb‐6db5b6bb2cd8                   Address Redacted                     First Class Mail
3addbbc8‐e198‐40c1‐8dbe‐a6c6e8501a14                   Address Redacted                     First Class Mail
3ade4351‐2f01‐49fa‐861a‐27139516cc5b                   Address Redacted                     First Class Mail
3ae0a6a4‐1bcb‐43bc‐9927‐01f6688b9a1f                   Address Redacted                     First Class Mail
3ae62ad5‐426a‐4c02‐9565‐c684ff4a01d4                   Address Redacted                     First Class Mail
3ae9b279‐6b05‐4713‐bf28‐96199d61b82f                   Address Redacted                     First Class Mail
3aea3977‐7350‐4b63‐9942‐0b521a53ed8d                   Address Redacted                     First Class Mail
3aea3d42‐868e‐4355‐bb74‐baaa56f8ce05                   Address Redacted                     First Class Mail
3aebafe1‐0ea9‐4033‐bc7b‐8cd90ae27387                   Address Redacted                     First Class Mail
3aed15f7‐ee12‐4b2b‐ab7c‐53e8e42dc11d                   Address Redacted                     First Class Mail
3aeecba6‐e63d‐42ad‐8a99‐302485bdb74c                   Address Redacted                     First Class Mail
3aeed892‐1f55‐4cc0‐91f8‐4042c912be96                   Address Redacted                     First Class Mail
3aef30bf‐fd01‐48ac‐aac6‐2a8d024ca246                   Address Redacted                     First Class Mail
3af252b7‐ff5e‐40a6‐8521‐74990b1b6964                   Address Redacted                     First Class Mail
3af2e533‐4f08‐4822‐8134‐46969dd703b2                   Address Redacted                     First Class Mail
3af327c9‐3d99‐4056‐a4c4‐5b74d4d4fa88                   Address Redacted                     First Class Mail
3afa091d‐8edc‐486f‐90b4‐b4144d52512c                   Address Redacted                     First Class Mail
3afa30d1‐b015‐4b4f‐806b‐e830a9ea2923                   Address Redacted                     First Class Mail
3afd6c19‐acf7‐4dc4‐9b2e‐f70c34f140f7                   Address Redacted                     First Class Mail
3b015fb8‐7d40‐42f4‐ac3e‐d84b0f704f3f                   Address Redacted                     First Class Mail
3b0426bf‐6f24‐4b61‐9dc7‐d50a34a29cb4                   Address Redacted                     First Class Mail
3b06cd28‐c3d2‐435e‐a74d‐9caaeec6ad62                   Address Redacted                     First Class Mail
3b094b9f‐ddf6‐42b4‐89ef‐f359f0a98e10                   Address Redacted                     First Class Mail
3b0a768b‐8576‐4d5b‐aac8‐2eb2101a4174                   Address Redacted                     First Class Mail
3b0ad7d7‐a323‐4eed‐a5e1‐600687a68a12                   Address Redacted                     First Class Mail
3b0c6a17‐6aa0‐4ae7‐aa83‐0d2ee742278a                   Address Redacted                     First Class Mail
3b0da713‐a505‐47c9‐948e‐bba057430cca                   Address Redacted                     First Class Mail
3b0dae48‐2023‐43c5‐977d‐7624494f87ff                   Address Redacted                     First Class Mail
3b1242ed‐e5a2‐4f1c‐9789‐22a7135a826f                   Address Redacted                     First Class Mail
3b154960‐9f77‐463a‐84e3‐236b8d076d14                   Address Redacted                     First Class Mail




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                                                                Exhibit A
                                                                 Service List


                              Name                                              Address                        Method of Service
3b1827c1‐d8d7‐4242‐8e64‐228203a4e620                   Address Redacted                     First Class Mail
3b193bd1‐293d‐4556‐95c7‐76e6a7a4f26d                   Address Redacted                     First Class Mail
3b1dbb88‐55c0‐41ff‐a84f‐ad088b35f049                   Address Redacted                     First Class Mail
3b1e4ac9‐ee95‐4185‐8146‐5b875d88872e                   Address Redacted                     First Class Mail
3b28ac52‐0c00‐4895‐bd3b‐92baa95410df                   Address Redacted                     First Class Mail
3b290e53‐489a‐4e7a‐8a0d‐0b8274cc07c0                   Address Redacted                     First Class Mail
3b295118‐185f‐43e7‐8cbe‐13ba5c6bd20f                   Address Redacted                     First Class Mail
3b296150‐4eef‐4c6e‐932a‐a6ed43320a08                   Address Redacted                     First Class Mail
3b2d982f‐b663‐48d5‐a800‐c94246502d6c                   Address Redacted                     First Class Mail
3b312474‐4fe9‐4eeb‐8fb1‐dc27641762e4                   Address Redacted                     First Class Mail
3b31c145‐9a78‐440f‐a90a‐5b7e8251504a                   Address Redacted                     First Class Mail
3b378242‐3c91‐4b78‐aaf1‐bc982b12c410                   Address Redacted                     First Class Mail
3b389f1e‐aa34‐4830‐82b1‐640f92fef814                   Address Redacted                     First Class Mail
3b397390‐fb08‐4b06‐9d7e‐8b948f76a664                   Address Redacted                     First Class Mail
3b39ce81‐3de1‐473c‐84e7‐2ebe4bf0e914                   Address Redacted                     First Class Mail
3b3c8df9‐f184‐4659‐a18f‐b9fae786b1be                   Address Redacted                     First Class Mail
3b4072e8‐9455‐4913‐be59‐ae2faeb37f89                   Address Redacted                     First Class Mail
3b4585f2‐5886‐40f4‐bd3d‐7c3ecdc5be2f                   Address Redacted                     First Class Mail
3b478a85‐d5ff‐48dc‐a82f‐69491d8f86b5                   Address Redacted                     First Class Mail
3b4931a5‐c3cc‐4f79‐b6d4‐8df23c2ed435                   Address Redacted                     First Class Mail
3b4a5819‐b9a4‐4cf6‐b4da‐372f2000bd1f                   Address Redacted                     First Class Mail
3b4a797a‐43b5‐46f2‐9312‐f9003b16ff2b                   Address Redacted                     First Class Mail
3b4e57e8‐5f4e‐4f1b‐b07c‐271f3643d2d3                   Address Redacted                     First Class Mail
3b506819‐5708‐499a‐b93d‐3b17fb7d01d8                   Address Redacted                     First Class Mail
3b50ccf9‐6fbf‐4626‐b55e‐1777ff85fb2a                   Address Redacted                     First Class Mail
3b551165‐4f38‐49d0‐85d2‐20363112bf64                   Address Redacted                     First Class Mail
3b57dc5e‐a1fa‐438f‐be7d‐046fdaa4a2e7                   Address Redacted                     First Class Mail
3b5892cf‐c5db‐4cbd‐89da‐937644bbfeee                   Address Redacted                     First Class Mail
3b5aed0f‐becf‐4432‐9d26‐ef85e7eba986                   Address Redacted                     First Class Mail
3b68832a‐21e7‐4cc2‐a1ac‐74ab45ce4c08                   Address Redacted                     First Class Mail
3b6c4f03‐3aa5‐4c0c‐a852‐692cec05d9d0                   Address Redacted                     First Class Mail
3b723b9a‐85f5‐40f2‐9928‐8e7bcbeed87a                   Address Redacted                     First Class Mail
3b763781‐815a‐462c‐9f94‐d897ed2f056d                   Address Redacted                     First Class Mail
3b76b263‐5281‐4dca‐b8b1‐b1cfeb196686                   Address Redacted                     First Class Mail
3b774cfe‐f717‐4abc‐a583‐24ffd4777514                   Address Redacted                     First Class Mail
3b77fb10‐2423‐441b‐b418‐3fd5e5e5ddde                   Address Redacted                     First Class Mail
3b798fad‐b19d‐4f72‐81ec‐9a349b83d7af                   Address Redacted                     First Class Mail
3b7c7308‐d1d1‐410b‐8267‐4fd87f6849e2                   Address Redacted                     First Class Mail
3b7d6fb3‐62ca‐4795‐8d91‐3864bfdd2556                   Address Redacted                     First Class Mail
3b7d6ff2‐82cf‐4fbb‐8eee‐263df6193d68                   Address Redacted                     First Class Mail
3b802873‐8eb3‐4768‐bf7a‐66f6e35bdb79                   Address Redacted                     First Class Mail
3b81ea9b‐1e2f‐4fcd‐bbf2‐83a9813fd12e                   Address Redacted                     First Class Mail
3b847623‐483e‐4fd6‐9716‐08b516e77702                   Address Redacted                     First Class Mail
3b86a1fd‐3fa6‐453f‐bc99‐e29a29aa8f66                   Address Redacted                     First Class Mail
3b86cab2‐aed1‐4df1‐90ee‐7e77aad0a1a6                   Address Redacted                     First Class Mail
3b879e90‐7ccf‐4418‐92d9‐a329775ac5e0                   Address Redacted                     First Class Mail
3b8d5fe4‐792b‐46e1‐99d1‐7c33a27eca27                   Address Redacted                     First Class Mail
3b8d7d13‐1ca0‐41ea‐a230‐3090cc183c5a                   Address Redacted                     First Class Mail
3b8e6c65‐4766‐4d66‐a2c8‐13baf0f9c2f2                   Address Redacted                     First Class Mail
3b91dc3f‐efb2‐491e‐a7cb‐1cee7942e25c                   Address Redacted                     First Class Mail
3b93ffc4‐e033‐4395‐8065‐4031d2c01384                   Address Redacted                     First Class Mail
3b97a7b0‐fd0c‐4565‐b7ff‐e5322f152df0                   Address Redacted                     First Class Mail
3b99533a‐2f66‐4174‐9814‐6040217d3c06                   Address Redacted                     First Class Mail
3b99dfc1‐4699‐463e‐aec5‐65c1e4bdf685                   Address Redacted                     First Class Mail
3b9cdd5b‐ba6f‐4c42‐8f16‐5be731f64ee7                   Address Redacted                     First Class Mail
3b9d24da‐8821‐4733‐b2ef‐b7ae6a519b59                   Address Redacted                     First Class Mail
3b9eccb6‐44d2‐4102‐a817‐1647f3f55ebd                   Address Redacted                     First Class Mail
3b9f8b51‐7894‐4f40‐a7f4‐f1fcabda3663                   Address Redacted                     First Class Mail
3ba25fe9‐1b12‐442e‐bd1f‐aaad2dac4330                   Address Redacted                     First Class Mail
3ba273b7‐5f79‐478c‐bbff‐9155e3062fb9                   Address Redacted                     First Class Mail
3bac9517‐7d89‐4625‐a4ae‐789afc5f0bde                   Address Redacted                     First Class Mail
3bace548‐0823‐41d8‐bc2d‐1e91359c58ab                   Address Redacted                     First Class Mail
3bb02fb8‐d405‐4865‐9431‐26183e5a42d6                   Address Redacted                     First Class Mail
3bb25e54‐9eb9‐4963‐841b‐ce63ac0f2dec                   Address Redacted                     First Class Mail
3bb44657‐486d‐4000‐91ff‐34de46867e40                   Address Redacted                     First Class Mail
3bb686d0‐5eee‐4ce4‐b085‐6b0f1a73c9cb                   Address Redacted                     First Class Mail
3bb7e3df‐0cd8‐49e6‐a36a‐1edc6b9dea2d                   Address Redacted                     First Class Mail
3bb82ddb‐fea6‐487d‐9804‐5ba37187d36d                   Address Redacted                     First Class Mail
3bb96093‐9f18‐460f‐b3e7‐2c42b3f7bcc4                   Address Redacted                     First Class Mail
3bba645d‐7c07‐46a7‐ac31‐866e4d88e026                   Address Redacted                     First Class Mail
3bbe01f8‐436f‐45e2‐93cb‐cda6965906bb                   Address Redacted                     First Class Mail
3bbe0787‐4a10‐41c5‐ae40‐e6ba44da7299                   Address Redacted                     First Class Mail




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                                Name                                            Address                        Method of Service
3bc1cd3a‐c4bf‐4d1f‐bae1‐3bfec46f5983                   Address Redacted                     First Class Mail
3bc3a216‐a887‐48fa‐9f70‐00258aba652c                   Address Redacted                     First Class Mail
3bc5fc32‐b799‐4184‐bfdc‐b4f1a2616d0a                   Address Redacted                     First Class Mail
3bc8cd31‐37d4‐479b‐8667‐8ece01e2c7d2                   Address Redacted                     First Class Mail
3bcc0aed‐c5d5‐41ef‐be17‐451af85fa116                   Address Redacted                     First Class Mail
3bcc3c69‐75dd‐4376‐a32d‐034e71bc2798                   Address Redacted                     First Class Mail
3bccf997‐1685‐4941‐ba8a‐5351d4f04956                   Address Redacted                     First Class Mail
3bd42f16‐1c3c‐4177‐a8f7‐bcdd6808ef4b                   Address Redacted                     First Class Mail
3bd5e206‐685c‐432b‐b175‐6de278027c45                   Address Redacted                     First Class Mail
3bd5e84d‐bb1a‐48cb‐8a6c‐d0053ab95361                   Address Redacted                     First Class Mail
3be0d815‐bfce‐4ba5‐b292‐4d3d6bef5f63                   Address Redacted                     First Class Mail
3be3d779‐1972‐4c01‐845b‐ead327aec915                   Address Redacted                     First Class Mail
3be63714‐f649‐45f7‐bcc8‐b7e3757b8231                   Address Redacted                     First Class Mail
3bebbff3‐b25f‐43e5‐ac99‐98c12ceffcf9                   Address Redacted                     First Class Mail
3becd7c4‐402c‐4739‐a44a‐614dea165e7c                   Address Redacted                     First Class Mail
3bf0a735‐cf25‐4fe4‐adf3‐cce0fd754ff0                   Address Redacted                     First Class Mail
3bf19fec‐7674‐4735‐8df5‐5c654769b702                   Address Redacted                     First Class Mail
3bf2aea7‐8ed9‐42fa‐9294‐35649f54ab31                   Address Redacted                     First Class Mail
3bfb2226‐aac4‐41d9‐b701‐0d6dcbe86dce                   Address Redacted                     First Class Mail
3bfb80b1‐7b20‐4853‐a1d1‐5c96971db720                   Address Redacted                     First Class Mail
3bfd414d‐04a5‐4607‐a8cc‐d42da07c018c                   Address Redacted                     First Class Mail
3bff5746‐7dd3‐4d08‐acef‐2c8d75598e23                   Address Redacted                     First Class Mail
3bff6549‐0058‐436e‐ba70‐f6c7faedea6f                   Address Redacted                     First Class Mail
3c01b4be‐ce7b‐4131‐a462‐9a9dd5396286                   Address Redacted                     First Class Mail
3c04122d‐a120‐4b21‐b7e9‐85132c02ae04                   Address Redacted                     First Class Mail
3c047e46‐8501‐4d07‐a2f2‐7531a61f6579                   Address Redacted                     First Class Mail
3c08b27a‐c857‐46a3‐90d4‐50dcfe785491                   Address Redacted                     First Class Mail
3c0adc8f‐e69a‐4024‐8ce6‐e370614e9ba5                   Address Redacted                     First Class Mail
3c0d2baf‐547f‐4c5c‐8ba1‐49d0f983d1a8                   Address Redacted                     First Class Mail
3c11868f‐c95c‐49da‐9fb5‐7f5acd5ff115                   Address Redacted                     First Class Mail
3c1907f6‐97cb‐4364‐af4e‐0d5c9e24b394                   Address Redacted                     First Class Mail
3c1ace63‐464f‐42a2‐8b0f‐ee13cfe45149                   Address Redacted                     First Class Mail
3c1ca28e‐cdce‐4cba‐8920‐b9df568d8cfb                   Address Redacted                     First Class Mail
3c1d4046‐f2be‐4956‐9cac‐7714a73cf47b                   Address Redacted                     First Class Mail
3c231e07‐1b87‐4531‐b2a6‐36eec6b0f4ff                   Address Redacted                     First Class Mail
3c261d6b‐db80‐4272‐aa0d‐b9f2b93dfeb4                   Address Redacted                     First Class Mail
3c2ac767‐7af4‐4ce3‐880f‐275694062a9a                   Address Redacted                     First Class Mail
3c2c5adf‐34c2‐4fbc‐9d2e‐20101bba55f2                   Address Redacted                     First Class Mail
3c31b371‐e6cd‐491d‐ae49‐01c124975290                   Address Redacted                     First Class Mail
3c31f0db‐9ec7‐4bc5‐89a3‐5c4cfdc11b41                   Address Redacted                     First Class Mail
3c35ff00‐8025‐4b46‐bcb9‐145f62436528                   Address Redacted                     First Class Mail
3c365c20‐ccda‐48ec‐8b69‐c3f2eb5ef50d                   Address Redacted                     First Class Mail
3c366de5‐1cc0‐4a19‐ba8b‐610dd2a9b94d                   Address Redacted                     First Class Mail
3c3879e9‐b676‐4dd6‐a3f4‐4d9d155efaf9                   Address Redacted                     First Class Mail
3c38b0da‐fd9c‐46f7‐8a82‐d067b634eb58                   Address Redacted                     First Class Mail
3c3b3b07‐8b36‐42ba‐bf4f‐e0c1161776cd                   Address Redacted                     First Class Mail
3c43a8b8‐a84e‐4c58‐b789‐b0ddf2f12c1d                   Address Redacted                     First Class Mail
3c448329‐6a61‐484b‐a887‐d244f67a12d3                   Address Redacted                     First Class Mail
3c4821cb‐1b85‐463c‐ae66‐fe66d61178ca                   Address Redacted                     First Class Mail
3c4b4de2‐09dc‐464c‐b130‐c9ab37aba5bd                   Address Redacted                     First Class Mail
3c4bfabd‐89b9‐4da8‐8c88‐aea638cc4528                   Address Redacted                     First Class Mail
3c52b1cc‐4bba‐4d46‐8a63‐5730ac5c379f                   Address Redacted                     First Class Mail
3c5b7395‐bda7‐49ca‐a6b3‐d25d06884e44                   Address Redacted                     First Class Mail
3c5bec9c‐ff71‐43f7‐acf0‐f4e9ffb555d2                   Address Redacted                     First Class Mail
3c669976‐e0ce‐4de6‐a92b‐3031ce72d378                   Address Redacted                     First Class Mail
3c67198c‐f19c‐485e‐bfd0‐58501c1676e5                   Address Redacted                     First Class Mail
3c6f27cb‐87dc‐40c1‐8e7e‐326273143eca                   Address Redacted                     First Class Mail
3c6f5275‐fae1‐45c0‐af33‐372a48094814                   Address Redacted                     First Class Mail
3c719c00‐a000‐4d36‐827f‐e0c360726e0d                   Address Redacted                     First Class Mail
3c7886fb‐fc83‐4963‐ac3e‐c93d8d14e3ae                   Address Redacted                     First Class Mail
3c79d9e9‐1155‐44d1‐9e8f‐a22933ec3f7c                   Address Redacted                     First Class Mail
3c7ae160‐8ce2‐4403‐9458‐e1413e437f2a                   Address Redacted                     First Class Mail
3c7bc748‐ec1a‐411f‐9c30‐234068c9ed5d                   Address Redacted                     First Class Mail
3c7f995f‐bf5c‐4f24‐8861‐5c66c60bed40                   Address Redacted                     First Class Mail
3c81c4a5‐aadf‐4709‐b8bd‐dda9cfe11206                   Address Redacted                     First Class Mail
3c839dac‐29e2‐460e‐873a‐1648f7599e8f                   Address Redacted                     First Class Mail
3c8487f8‐2292‐4946‐887b‐e680f664dded                   Address Redacted                     First Class Mail
3c86235e‐36d5‐44f1‐ae0b‐ea1d308460a3                   Address Redacted                     First Class Mail
3c8dbfdf‐19f8‐4249‐a529‐a44bbe50365e                   Address Redacted                     First Class Mail
3c8ff42e‐0252‐4290‐808c‐92e858279850                   Address Redacted                     First Class Mail
3c90e618‐0cf5‐4762‐ae6f‐4b51c7445f55                   Address Redacted                     First Class Mail
3c95215e‐2906‐40d5‐b3c0‐5bab98b13b30                   Address Redacted                     First Class Mail




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                                                                 Service List


                               Name                                             Address                        Method of Service
3c967117‐9081‐4f7f‐ab47‐c342871dc8c3                   Address Redacted                     First Class Mail
3c9797f8‐e587‐44db‐a216‐0d2e295a93d6                   Address Redacted                     First Class Mail
3c9a4842‐77d7‐480e‐b3e2‐a65d5fc1e43d                   Address Redacted                     First Class Mail
3ca0fef1‐be82‐4ddc‐89b6‐3006ca40a544                   Address Redacted                     First Class Mail
3ca46f00‐4af2‐47d0‐9fc1‐72fe221e560b                   Address Redacted                     First Class Mail
3ca77b68‐8490‐4797‐b341‐3fd54b57b158                   Address Redacted                     First Class Mail
3ca95efc‐ca69‐44ac‐a504‐1328d93d4002                   Address Redacted                     First Class Mail
3cad6af2‐fa04‐427e‐91aa‐323fb951efd8                   Address Redacted                     First Class Mail
3cb00816‐4981‐48d1‐9a4d‐c04ab3e7f691                   Address Redacted                     First Class Mail
3cb4a2af‐97a9‐4299‐a7b1‐58ecd22e7c74                   Address Redacted                     First Class Mail
3cb6a1c1‐b5a8‐49f6‐968f‐e54ec020f85f                   Address Redacted                     First Class Mail
3cbe6ce6‐c436‐459e‐85c4‐174192feb8a1                   Address Redacted                     First Class Mail
3cc04bb2‐068e‐4111‐80ae‐b441bd0faf65                   Address Redacted                     First Class Mail
3cc68408‐d34e‐405e‐ac82‐49ccb2318117                   Address Redacted                     First Class Mail
3cc6fcdf‐a35f‐4ebd‐8faa‐4e6376771a3d                   Address Redacted                     First Class Mail
3cc94345‐6163‐4373‐9cae‐a5a2fd26f052                   Address Redacted                     First Class Mail
3cca6b2d‐9965‐455b‐b1c1‐78ca9cd302b3                   Address Redacted                     First Class Mail
3ccb9266‐7843‐408d‐9e5e‐65309b7e98c0                   Address Redacted                     First Class Mail
3ccff171‐1a84‐45d7‐8aad‐50ec4570401e                   Address Redacted                     First Class Mail
3cd01c6e‐b813‐4432‐b546‐dcb4a4a1c27c                   Address Redacted                     First Class Mail
3cd2ff15‐2927‐4321‐aea6‐ce57f5bbf9f2                   Address Redacted                     First Class Mail
3cd94b25‐770a‐4327‐9058‐e74ba642ec8e                   Address Redacted                     First Class Mail
3cdcdcf2‐56f6‐4eeb‐a4fc‐0ff58d2bd432                   Address Redacted                     First Class Mail
3cdd1feb‐63bd‐4f78‐bf30‐cb38bcd1cfbf                   Address Redacted                     First Class Mail
3cdefbad‐de82‐4564‐98be‐76602db4c0f4                   Address Redacted                     First Class Mail
3ce0ba91‐5909‐4a08‐aefb‐163b0a0c49fa                   Address Redacted                     First Class Mail
3ce4abc8‐1d5c‐4b92‐a7cd‐baa321e59a96                   Address Redacted                     First Class Mail
3ce5975c‐dd52‐4d42‐98d4‐97b4b29d25de                   Address Redacted                     First Class Mail
3ce6fb84‐4412‐4717‐8f70‐b0783fcdf4d4                   Address Redacted                     First Class Mail
3ce87e53‐ed0e‐4ad2‐99f3‐3ac427cff0ca                   Address Redacted                     First Class Mail
3ce8e1e5‐f841‐4b91‐8171‐29a6f27a2214                   Address Redacted                     First Class Mail
3cee8a51‐61d9‐4b4d‐a3eb‐fd0972541d76                   Address Redacted                     First Class Mail
3ceea52f‐80fd‐470b‐aa5b‐4cc5bf2cc9c1                   Address Redacted                     First Class Mail
3cf04055‐cfae‐4feb‐9f23‐9952e4a877ec                   Address Redacted                     First Class Mail
3cf22fda‐ef09‐4ab1‐8071‐5dbd01fbf386                   Address Redacted                     First Class Mail
3cf23dd9‐d037‐45ec‐a56d‐574ef774d8da                   Address Redacted                     First Class Mail
3cf897fb‐6d74‐484c‐a8d8‐7d086cf4937a                   Address Redacted                     First Class Mail
3cfbdfc6‐4040‐4b56‐9da3‐226fcc01f2f9                   Address Redacted                     First Class Mail
3cff6839‐9229‐462f‐b8f5‐9b2c9b300152                   Address Redacted                     First Class Mail
3d002652‐f39d‐4303‐8c7b‐c77f9e691d52                   Address Redacted                     First Class Mail
3d018340‐569f‐4a70‐8a75‐652530bd543e                   Address Redacted                     First Class Mail
3d02b8f4‐c05e‐4a45‐b045‐82838284e715                   Address Redacted                     First Class Mail
3d042659‐2008‐4960‐96f2‐085f378dca34                   Address Redacted                     First Class Mail
3d042929‐b7b7‐4ef5‐b0c7‐34beb1dd5a6d                   Address Redacted                     First Class Mail
3d0670d5‐d5f3‐427b‐9feb‐dac03a23ce3a                   Address Redacted                     First Class Mail
3d06b245‐7d16‐444c‐a00f‐c2f240c93ea8                   Address Redacted                     First Class Mail
3d0a66ec‐4f22‐4e83‐bc59‐3d050313a820                   Address Redacted                     First Class Mail
3d0e26c2‐b537‐4ac5‐b59b‐9002161d91e9                   Address Redacted                     First Class Mail
3d122a47‐d86a‐4d0a‐a3d0‐9a8d12f09455                   Address Redacted                     First Class Mail
3d1322ee‐57d5‐44ed‐9b69‐ace412a5759d                   Address Redacted                     First Class Mail
3d162130‐7a1f‐41ab‐b457‐4bcf3ea838f5                   Address Redacted                     First Class Mail
3d17bc5f‐4d8d‐40ab‐a88e‐bc15b1559d0a                   Address Redacted                     First Class Mail
3d1ab647‐f939‐4ffd‐814c‐ff6afbc2eed3                   Address Redacted                     First Class Mail
3d1e494e‐4f1c‐4a95‐af73‐1cb18e2e8381                   Address Redacted                     First Class Mail
3d1f0648‐6b06‐45e5‐8f41‐39ba1b8bf877                   Address Redacted                     First Class Mail
3d1f32db‐362b‐4277‐b775‐b7efed4477cf                   Address Redacted                     First Class Mail
3d204cec‐cf3e‐46c9‐af52‐1ec65c92d5f6                   Address Redacted                     First Class Mail
3d21e1db‐ebbd‐42bb‐8691‐7554d836d50e                   Address Redacted                     First Class Mail
3d25e71e‐ede3‐4948‐b03f‐a763e8e66133                   Address Redacted                     First Class Mail
3d277fcd‐ae8a‐4e5d‐8288‐a71c0b9183fa                   Address Redacted                     First Class Mail
3d288948‐1e23‐4aaa‐88bc‐6f327db5e196                   Address Redacted                     First Class Mail
3d2a5a85‐428a‐4b44‐83c4‐b5f80316246d                   Address Redacted                     First Class Mail
3d2aa7d4‐cb73‐4df4‐b890‐e787226984ac                   Address Redacted                     First Class Mail
3d2b7617‐2ed6‐4be4‐9858‐c33814294230                   Address Redacted                     First Class Mail
3d2d03aa‐1096‐4a55‐8103‐8c3881890b7d                   Address Redacted                     First Class Mail
3d2f76ce‐dd28‐430b‐aa8d‐5e1798944c40                   Address Redacted                     First Class Mail
3d331990‐a12c‐489a‐8087‐4001f082ac01                   Address Redacted                     First Class Mail
3d370fff‐c0a3‐4f7a‐8cc3‐b684596dd186                   Address Redacted                     First Class Mail
3d3d5d8f‐9378‐4118‐b204‐0b07e49630de                   Address Redacted                     First Class Mail
3d4283e0‐b840‐4e1d‐be90‐89fe0a67216d                   Address Redacted                     First Class Mail
3d456438‐e754‐4a9a‐8f9e‐0ea28ce6ee76                   Address Redacted                     First Class Mail
3d49a9e7‐d08f‐4018‐837c‐4848ae815b39                   Address Redacted                     First Class Mail




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                                                                 Service List


                               Name                                             Address                        Method of Service
3d4a2609‐b796‐4b25‐a106‐9b8ec07fc6ab                   Address Redacted                     First Class Mail
3d50b1ba‐8146‐4b0d‐9ac5‐555bb3aaa097                   Address Redacted                     First Class Mail
3d54b966‐6769‐4645‐bf65‐e9b582af2d97                   Address Redacted                     First Class Mail
3d54ca3b‐b4e2‐4000‐9d6d‐fad1fbe22c59                   Address Redacted                     First Class Mail
3d558fa6‐5d1b‐48b4‐8350‐7145cd18bada                   Address Redacted                     First Class Mail
3d571b22‐b06a‐4968‐95c5‐6dcfa9a1f9fc                   Address Redacted                     First Class Mail
3d58a6dc‐fd7f‐43e5‐b771‐7467ddbcb263                   Address Redacted                     First Class Mail
3d5a4712‐cf13‐46bf‐8ae2‐fc43db238403                   Address Redacted                     First Class Mail
3d62fd83‐f02a‐4b7e‐a624‐588014141099                   Address Redacted                     First Class Mail
3d6586c2‐ebb0‐4ee1‐81ba‐5551d72c03aa                   Address Redacted                     First Class Mail
3d659e5d‐3683‐4471‐ad3a‐73cac111ea1b                   Address Redacted                     First Class Mail
3d664602‐8a3a‐4ad3‐ae16‐458520b7ed66                   Address Redacted                     First Class Mail
3d680483‐f6b2‐4594‐96c7‐8191548a7577                   Address Redacted                     First Class Mail
3d6c9d6c‐0a88‐4742‐be0b‐fac1e5513bef                   Address Redacted                     First Class Mail
3d722f97‐59be‐4fe5‐9a38‐b5e14b199b4b                   Address Redacted                     First Class Mail
3d74e587‐dee6‐42dc‐80d8‐e7b907f5650e                   Address Redacted                     First Class Mail
3d756a95‐135b‐4513‐bc63‐ee7f71e70412                   Address Redacted                     First Class Mail
3d76aa79‐6c8d‐4a84‐a705‐b0ebd4cb4eec                   Address Redacted                     First Class Mail
3d7adbfa‐dce0‐47a2‐8e93‐6201f1be6daf                   Address Redacted                     First Class Mail
3d7caed9‐233d‐43d1‐8be2‐067eb3ead7df                   Address Redacted                     First Class Mail
3d801325‐41a9‐42f4‐ba8b‐b6ea49244cf8                   Address Redacted                     First Class Mail
3d80cfce‐a177‐41e3‐bcc5‐06deeb340a41                   Address Redacted                     First Class Mail
3d833192‐a4db‐4d91‐9aa7‐25b7c2e7e6b5                   Address Redacted                     First Class Mail
3d83ebf4‐cffe‐4c0a‐b734‐d3dda301354f                   Address Redacted                     First Class Mail
3d86bd9b‐5e5d‐42e1‐ae9f‐5a654277c393                   Address Redacted                     First Class Mail
3d89609c‐47ba‐4faa‐b8da‐a3300eaa8e7b                   Address Redacted                     First Class Mail
3d8ae573‐1a23‐4de5‐9c92‐6fd4ab229f57                   Address Redacted                     First Class Mail
3d902ed8‐0127‐420a‐a6da‐899430a291d6                   Address Redacted                     First Class Mail
3d90f346‐8c14‐4244‐978a‐4699ec5557d2                   Address Redacted                     First Class Mail
3d91011c‐7153‐43de‐936a‐57a24a7c3fea                   Address Redacted                     First Class Mail
3d9161da‐67de‐4558‐8b0d‐450ae4df6e9e                   Address Redacted                     First Class Mail
3d96b49a‐ff09‐4656‐a746‐19abd8204f63                   Address Redacted                     First Class Mail
3d983702‐e5b5‐4cad‐9831‐5b920eb22144                   Address Redacted                     First Class Mail
3d9b43df‐44e7‐40c2‐b9e7‐bceb2fe9eef5                   Address Redacted                     First Class Mail
3d9be5ea‐5b27‐44bf‐905f‐a4aea9c81544                   Address Redacted                     First Class Mail
3d9c95d3‐e9fe‐43ac‐9f63‐6de5e48e3438                   Address Redacted                     First Class Mail
3da72432‐4f7c‐40f9‐a143‐3daae31cc29c                   Address Redacted                     First Class Mail
3da84c98‐662a‐4257‐bc41‐9dc7742e9c84                   Address Redacted                     First Class Mail
3da88b46‐7f8c‐4c7a‐a5ef‐be0948a50b54                   Address Redacted                     First Class Mail
3dad0ea8‐8fc8‐4513‐b8cd‐2aeb12af8c76                   Address Redacted                     First Class Mail
3dad719d‐9f17‐415f‐a53e‐891bcb763e7b                   Address Redacted                     First Class Mail
3daf54d9‐7442‐4569‐8e05‐983f16fbf5b0                   Address Redacted                     First Class Mail
3db2296f‐fc48‐40c9‐a135‐e7848e8731dc                   Address Redacted                     First Class Mail
3db2bc02‐1b86‐4324‐a6e4‐5738d92eb0e4                   Address Redacted                     First Class Mail
3db41754‐fe5c‐4334‐a8af‐d189a58709a1                   Address Redacted                     First Class Mail
3db4547c‐43cf‐41bc‐82b3‐187485e204a3                   Address Redacted                     First Class Mail
3db4701e‐f6e1‐4133‐a930‐aa311ea27562                   Address Redacted                     First Class Mail
3db69a68‐739e‐4f9d‐98ac‐890731b6b8aa                   Address Redacted                     First Class Mail
3dba0087‐e3f6‐4bc0‐a5b4‐fbc7f0602cb5                   Address Redacted                     First Class Mail
3dbbd93a‐cc0b‐43c3‐bce4‐f846945d6b08                   Address Redacted                     First Class Mail
3dbc7dd8‐463d‐4a28‐a276‐180519b14ba3                   Address Redacted                     First Class Mail
3dbf1836‐74cf‐489a‐b251‐56bdd1a61d43                   Address Redacted                     First Class Mail
3dbfb8c9‐75c3‐4032‐a6e3‐191896e47b99                   Address Redacted                     First Class Mail
3dc1360e‐2169‐4c02‐bbdc‐81214a88dfc9                   Address Redacted                     First Class Mail
3dc3bcd4‐e4af‐4e1c‐acae‐c11141bfcb5f                   Address Redacted                     First Class Mail
3dc693fa‐be2f‐4ac6‐b7c6‐9a245d6d42d6                   Address Redacted                     First Class Mail
3dc6bf6d‐a597‐42e5‐b1a6‐2a1e9b9b72e1                   Address Redacted                     First Class Mail
3dcd2ad8‐a48f‐4e83‐ba3c‐03e12e248e83                   Address Redacted                     First Class Mail
3dceed6b‐236d‐40d9‐a449‐48406ec7ee9e                   Address Redacted                     First Class Mail
3dd1a197‐5145‐44bd‐93eb‐ce261ef0ee13                   Address Redacted                     First Class Mail
3dd4e7fa‐b7d6‐4176‐b8dd‐3b5614d7b1d0                   Address Redacted                     First Class Mail
3dd580ca‐4782‐4bbd‐a936‐166fd5efba36                   Address Redacted                     First Class Mail
3dda1bb4‐5f1e‐4ca1‐94c2‐514b2467409b                   Address Redacted                     First Class Mail
3dda868b‐9604‐4762‐b2b0‐5ec358cf95df                   Address Redacted                     First Class Mail
3ddf6ac8‐0f41‐4e50‐a057‐d3ea26ce46f6                   Address Redacted                     First Class Mail
3ddff5df‐12be‐4c5f‐9bcc‐8d98cf3c7753                   Address Redacted                     First Class Mail
3de0bfe9‐1e3f‐4990‐867e‐03eca8992e24                   Address Redacted                     First Class Mail
3de2c3f7‐a9fe‐47fa‐a9db‐e68565edf397                   Address Redacted                     First Class Mail
3de32901‐20c0‐4f0b‐825f‐cac07e48b8ae                   Address Redacted                     First Class Mail
3de415cc‐ba0f‐47b7‐9b8d‐dbf210023769                   Address Redacted                     First Class Mail
3de5060e‐2909‐40c5‐a6f9‐d226c61ca3d3                   Address Redacted                     First Class Mail
3de5f9be‐9943‐4c64‐9624‐454ed34d66d5                   Address Redacted                     First Class Mail




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                              Name                                              Address                        Method of Service
3debf193‐5a2e‐4bff‐a140‐dad5f17102fb                   Address Redacted                     First Class Mail
3dede6d7‐3807‐410e‐91bb‐4a8cf2fc4035                   Address Redacted                     First Class Mail
3def690d‐6476‐4823‐94b4‐5848c33281a2                   Address Redacted                     First Class Mail
3df02cde‐5217‐48e5‐9ee1‐a75862eca2a1                   Address Redacted                     First Class Mail
3df24b38‐688f‐407b‐82e3‐9e7a60c5797c                   Address Redacted                     First Class Mail
3df27bf3‐8106‐461a‐b053‐5afc30123a27                   Address Redacted                     First Class Mail
3df3ea0f‐9d6e‐426d‐9418‐8231c1357859                   Address Redacted                     First Class Mail
3df6279e‐3fc6‐4b69‐b7fb‐b76cd05b04eb                   Address Redacted                     First Class Mail
3df6e3eb‐dad8‐463b‐984c‐4ba67bfdf1c3                   Address Redacted                     First Class Mail
3df7c981‐ad2c‐4624‐a384‐a8e45c668677                   Address Redacted                     First Class Mail
3dfb0aca‐4d2a‐4a38‐ad5c‐59ce24a16a4e                   Address Redacted                     First Class Mail
3dfb4316‐0d18‐44c2‐b077‐d68fd6de5259                   Address Redacted                     First Class Mail
3dfd1a21‐285e‐4189‐8b48‐2d601e916364                   Address Redacted                     First Class Mail
3dfd71a2‐6440‐44d3‐9912‐b93426e1f521                   Address Redacted                     First Class Mail
3e06c7a1‐a3bb‐4cd1‐8aa2‐99c4a136a5d1                   Address Redacted                     First Class Mail
3e0ca79b‐d798‐4918‐b30f‐c1265a06d9a6                   Address Redacted                     First Class Mail
3e0dd5d4‐7eda‐4976‐8678‐f74f0b56c8fb                   Address Redacted                     First Class Mail
3e0e90de‐2655‐4c25‐94ea‐e9042cf25d9d                   Address Redacted                     First Class Mail
3e115c25‐e6e4‐453e‐b59d‐ac9aeaf17086                   Address Redacted                     First Class Mail
3e127a9a‐c49f‐4de7‐a2b7‐2dadb63f5fd9                   Address Redacted                     First Class Mail
3e18073f‐6c5c‐4d0a‐a2ae‐e1251bb87be4                   Address Redacted                     First Class Mail
3e189697‐1e56‐46fa‐bd99‐292cfabea016                   Address Redacted                     First Class Mail
3e1939b8‐acfd‐467d‐9bb7‐3486b8542f04                   Address Redacted                     First Class Mail
3e1bd66a‐2ef1‐49ab‐986a‐42b35ad97803                   Address Redacted                     First Class Mail
3e213e4c‐466e‐440f‐807d‐8057412591c6                   Address Redacted                     First Class Mail
3e24449e‐86de‐4a74‐b47d‐7f1d134dca3e                   Address Redacted                     First Class Mail
3e2683f2‐9eed‐491f‐a1aa‐1c303b89b042                   Address Redacted                     First Class Mail
3e26df62‐64fe‐4fd6‐a71b‐0549605433b3                   Address Redacted                     First Class Mail
3e28f91f‐58b2‐46f0‐8f78‐317f51434448                   Address Redacted                     First Class Mail
3e2cd50e‐1d48‐4b21‐9b42‐82cc720832b7                   Address Redacted                     First Class Mail
3e2ebc1a‐7227‐442b‐beed‐6ed1d24a91da                   Address Redacted                     First Class Mail
3e2fdbdb‐0986‐491a‐bcca‐e3abff3e3822                   Address Redacted                     First Class Mail
3e3011c7‐4236‐4cb5‐855f‐640f706ca32f                   Address Redacted                     First Class Mail
3e3ccf45‐7449‐449b‐9a08‐bdfd662cc53f                   Address Redacted                     First Class Mail
3e3cef37‐862b‐44d3‐8c63‐0ac82e248903                   Address Redacted                     First Class Mail
3e408474‐a775‐4f9d‐9fc6‐86c7ac6d9fb6                   Address Redacted                     First Class Mail
3e42950f‐4b31‐4044‐9757‐3cfba03e1a2e                   Address Redacted                     First Class Mail
3e43ff71‐a274‐4c90‐ad6e‐aaf6c4534072                   Address Redacted                     First Class Mail
3e444387‐3fb3‐4501‐b25f‐98deb88fb219                   Address Redacted                     First Class Mail
3e44d462‐9c9d‐4c7d‐a90b‐b49d1e5284d8                   Address Redacted                     First Class Mail
3e4507af‐284b‐40f1‐a02e‐d066e859bc5a                   Address Redacted                     First Class Mail
3e474d84‐84c1‐49be‐8cc0‐4bb81875ccdf                   Address Redacted                     First Class Mail
3e47f3b4‐85cc‐435c‐b21c‐9c8bf3f53b8f                   Address Redacted                     First Class Mail
3e4802ca‐d033‐4f34‐8606‐154ae8e34ef1                   Address Redacted                     First Class Mail
3e5392cd‐6460‐40bf‐81db‐fc6050020823                   Address Redacted                     First Class Mail
3e53f8bc‐80c8‐4ded‐9658‐a3a450c95116                   Address Redacted                     First Class Mail
3e55b696‐9762‐4126‐b160‐42bcd7710d0c                   Address Redacted                     First Class Mail
3e569168‐e153‐4860‐9f0a‐81297cf7aaaf                   Address Redacted                     First Class Mail
3e58829b‐2401‐4360‐924c‐8f2c859a08c7                   Address Redacted                     First Class Mail
3e59303e‐b12b‐4265‐a5ce‐25ed3508d387                   Address Redacted                     First Class Mail
3e5982f9‐3b7d‐4d49‐baa9‐49c610342543                   Address Redacted                     First Class Mail
3e5b4b7b‐66c5‐4e53‐ae44‐0d9023db99aa                   Address Redacted                     First Class Mail
3e5bd5ae‐547d‐49df‐805f‐dab1e52935f5                   Address Redacted                     First Class Mail
3e5c5c16‐fe65‐4b15‐88bd‐fdc505634b80                   Address Redacted                     First Class Mail
3e64e737‐1aee‐4aaf‐a147‐666357fb9bc8                   Address Redacted                     First Class Mail
3e64f35a‐a5c8‐43f9‐a66a‐2ef4f56cda8f                   Address Redacted                     First Class Mail
3e671d30‐d855‐4d6d‐98c9‐1a250ba65974                   Address Redacted                     First Class Mail
3e694c32‐4dab‐4bc4‐806d‐cf60c6ae05ba                   Address Redacted                     First Class Mail
3e6da1b3‐148b‐4263‐8379‐aaba16a77cec                   Address Redacted                     First Class Mail
3e6fae40‐61c9‐4abb‐8f25‐cf9971de8f4a                   Address Redacted                     First Class Mail
3e73c7df‐8893‐4edd‐b336‐88041da3ebdb                   Address Redacted                     First Class Mail
3e770c88‐264e‐4465‐9d0d‐b6fac04af0be                   Address Redacted                     First Class Mail
3e7e1d69‐72bd‐448f‐8db6‐7996998322c6                   Address Redacted                     First Class Mail
3e834419‐3413‐431e‐bee5‐e49c3ab51bd9                   Address Redacted                     First Class Mail
3e8352b2‐f5bd‐4c96‐b117‐50b3653b97e0                   Address Redacted                     First Class Mail
3e8632f3‐8251‐4f37‐8674‐74bdcb5c04a8                   Address Redacted                     First Class Mail
3e86b69b‐6fe8‐4fc1‐80a0‐d6e75abda411                   Address Redacted                     First Class Mail
3e86e806‐58f8‐4805‐8619‐bce21f9bb248                   Address Redacted                     First Class Mail
3e89f7db‐8e07‐42b9‐a501‐08abdc6b2aa3                   Address Redacted                     First Class Mail
3e8aafd1‐1d73‐4fb0‐9762‐2784905799ed                   Address Redacted                     First Class Mail
3e90a161‐a011‐4d4b‐9865‐d9af2d9efc3d                   Address Redacted                     First Class Mail
3e9152b2‐fed9‐4786‐b61e‐a52aeb0168bd                   Address Redacted                     First Class Mail




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                                                                 Service List


                               Name                                             Address                        Method of Service
3e93ee08‐260e‐4a5d‐b6e6‐1d9a265cd7b8                   Address Redacted                     First Class Mail
3e99a37d‐a47c‐48a9‐82e6‐0f3b31201bc9                   Address Redacted                     First Class Mail
3e99a858‐7a00‐4ff5‐8270‐96cde918864a                   Address Redacted                     First Class Mail
3e9c93bc‐c201‐4b7d‐acb6‐dfb669aa134e                   Address Redacted                     First Class Mail
3e9d9d27‐6630‐48c8‐a300‐553318b7fd2f                   Address Redacted                     First Class Mail
3e9f90b6‐997b‐48b8‐b793‐5aa3ae280aba                   Address Redacted                     First Class Mail
3ea36c4d‐bbd3‐4e06‐b797‐e6251e95404f                   Address Redacted                     First Class Mail
3ea482c7‐c96e‐4e4f‐9731‐ce9fe72cf89b                   Address Redacted                     First Class Mail
3ea55953‐9f6f‐402a‐960f‐a01d377f8c91                   Address Redacted                     First Class Mail
3eb0a98f‐e321‐4df1‐ad9f‐7e5777d8d9db                   Address Redacted                     First Class Mail
3eb126a9‐6b22‐4d0e‐a0f9‐e003db6f350c                   Address Redacted                     First Class Mail
3eb1bbd2‐af02‐413f‐87aa‐8a24d39c11d7                   Address Redacted                     First Class Mail
3eb43824‐55f3‐4bb2‐b622‐a1256ecb70ed                   Address Redacted                     First Class Mail
3eb5eb1b‐3e5e‐4bd7‐bd59‐35c0e1b5b00a                   Address Redacted                     First Class Mail
3eba49b7‐2547‐480a‐ae84‐293ab4f1bf5f                   Address Redacted                     First Class Mail
3ebac306‐f8cf‐4415‐8899‐019a53d8a6bf                   Address Redacted                     First Class Mail
3ebbe63a‐67f9‐4b16‐b9ad‐b09eb1529613                   Address Redacted                     First Class Mail
3ebf3636‐0651‐4429‐ba53‐cfeef189a988                   Address Redacted                     First Class Mail
3ebf9355‐ab0d‐4ec7‐934b‐3c5412c479b5                   Address Redacted                     First Class Mail
3ec0d9ca‐7f9a‐40d1‐9afe‐175662f1c60a                   Address Redacted                     First Class Mail
3ec1b254‐1501‐4ca3‐80c8‐87790d4541c3                   Address Redacted                     First Class Mail
3ec31e80‐1c74‐4676‐a2a1‐d2776607fadc                   Address Redacted                     First Class Mail
3ec47f03‐2fef‐4da3‐8b68‐85b16ff2e421                   Address Redacted                     First Class Mail
3ec837f2‐cff1‐4e5d‐b376‐1ff751762e90                   Address Redacted                     First Class Mail
3ec85e95‐cc19‐45d8‐938b‐b91fa888b0d9                   Address Redacted                     First Class Mail
3ec8cbc2‐2b0f‐42b8‐81e3‐b035551f4d80                   Address Redacted                     First Class Mail
3eca9699‐b3d7‐4bee‐b038‐e8d20a3f76f5                   Address Redacted                     First Class Mail
3ecaddbe‐f547‐4a8c‐8646‐62f65a3e8c7f                   Address Redacted                     First Class Mail
3ecb4352‐93a3‐4a3d‐b1ba‐c3ccdda064c7                   Address Redacted                     First Class Mail
3ed27d6a‐3a2b‐4951‐9def‐3bf7e73dd8ae                   Address Redacted                     First Class Mail
3ed3f0cb‐e6c9‐4c96‐81b6‐11c365139d9f                   Address Redacted                     First Class Mail
3ed3f177‐ddfc‐4df8‐834f‐609c4792f20f                   Address Redacted                     First Class Mail
3ed46c47‐6319‐480c‐b9ff‐527a68408811                   Address Redacted                     First Class Mail
3ed84966‐2971‐440d‐99bb‐5f006ba66acb                   Address Redacted                     First Class Mail
3ed90326‐d97a‐44fb‐acc5‐dcbed3c84074                   Address Redacted                     First Class Mail
3edcdc06‐db9a‐4821‐ab8d‐3365b3c8de87                   Address Redacted                     First Class Mail
3edcf089‐8056‐4bd3‐a1e9‐0b381c0bacd9                   Address Redacted                     First Class Mail
3ede7642‐90f1‐44b2‐81e8‐3c8226b3ecc0                   Address Redacted                     First Class Mail
3edfa916‐5a18‐4296‐8719‐78e58cd5ca33                   Address Redacted                     First Class Mail
3ee2d4aa‐36c5‐4864‐ac87‐1d9ad3467945                   Address Redacted                     First Class Mail
3ee49361‐73b5‐4474‐83f2‐4221aa6bb9cf                   Address Redacted                     First Class Mail
3ee6ec5e‐a079‐4229‐8931‐839e30651456                   Address Redacted                     First Class Mail
3ee747af‐e6aa‐4ddb‐b4dd‐02684a09e31a                   Address Redacted                     First Class Mail
3eea3750‐78a5‐49ec‐bc48‐6f8889ebc617                   Address Redacted                     First Class Mail
3ef21e97‐5d94‐47c6‐99fd‐cb467839d65d                   Address Redacted                     First Class Mail
3ef33843‐1209‐4b55‐ab19‐c180400d749d                   Address Redacted                     First Class Mail
3ef6ae88‐1966‐4ad0‐bf46‐eda2dab4885d                   Address Redacted                     First Class Mail
3ef6fd44‐792c‐4d76‐be9c‐4e2ae42c9f93                   Address Redacted                     First Class Mail
3efa40b9‐5956‐4072‐b3e9‐1cac82d23afd                   Address Redacted                     First Class Mail
3efce4e8‐ec63‐4fae‐b18e‐7acfab24682a                   Address Redacted                     First Class Mail
3efd5a8b‐f62f‐47a9‐93ad‐379564507988                   Address Redacted                     First Class Mail
3efe266e‐6e4a‐4df3‐8dae‐8ff1f0774fef                   Address Redacted                     First Class Mail
3efefef1‐fada‐4c89‐8132‐ff07a25c36c1                   Address Redacted                     First Class Mail
3effac1f‐ac63‐4ebf‐b0b3‐4346edd0db0e                   Address Redacted                     First Class Mail
3f005f68‐1e3d‐45e8‐bdd1‐c3a3533bcde6                   Address Redacted                     First Class Mail
3f0671f6‐05de‐4ff2‐a7d2‐713f6168e276                   Address Redacted                     First Class Mail
3f09d6b7‐21b3‐47e6‐8d4f‐187e84087bdf                   Address Redacted                     First Class Mail
3f10d74c‐eaaa‐4b10‐a926‐7c72d3530fab                   Address Redacted                     First Class Mail
3f149e5b‐e86f‐4741‐9721‐d8e3d9c67dad                   Address Redacted                     First Class Mail
3f176069‐163b‐4936‐95bd‐9ac991c238af                   Address Redacted                     First Class Mail
3f1d2022‐771c‐4dae‐b1e2‐0a60b836354c                   Address Redacted                     First Class Mail
3f1d5e4e‐0b6c‐4f4d‐8d67‐66e5dceeac96                   Address Redacted                     First Class Mail
3f1dbcb1‐63d8‐4dba‐a326‐36c2214ccf5a                   Address Redacted                     First Class Mail
3f1f8cb5‐272a‐40ea‐8b55‐5992b0bee980                   Address Redacted                     First Class Mail
3f20b6b6‐1914‐4a34‐9d27‐0ffe7f1c882a                   Address Redacted                     First Class Mail
3f22d724‐f481‐45d5‐8956‐18db18bac84d                   Address Redacted                     First Class Mail
3f23a10c‐c395‐49e9‐bfba‐d31bf59b187f                   Address Redacted                     First Class Mail
3f266784‐303b‐4c8f‐902e‐1b661c0b81d5                   Address Redacted                     First Class Mail
3f26df4e‐c6c8‐4447‐aa48‐75f22d77cc40                   Address Redacted                     First Class Mail
3f27150d‐b310‐4a7a‐8550‐586ada4bea0f                   Address Redacted                     First Class Mail
3f27a2de‐882f‐49dc‐88ee‐654a8eecf730                   Address Redacted                     First Class Mail
3f2bc79c‐e785‐4ac9‐a9cd‐c49c176e0400                   Address Redacted                     First Class Mail




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                                                                Exhibit A
                                                                 Service List


                              Name                                              Address                        Method of Service
3f3021e8‐69c0‐48d4‐8276‐799d72503a52                   Address Redacted                     First Class Mail
3f33ea1c‐6b9f‐4c43‐be0f‐c702999ab589                   Address Redacted                     First Class Mail
3f360f08‐1663‐47e0‐a54f‐1e65cc331c0d                   Address Redacted                     First Class Mail
3f36c9b3‐1f20‐41bf‐9a01‐013a0b1cc2b1                   Address Redacted                     First Class Mail
3f38bed0‐0e2d‐41d3‐907d‐ad67ae0df42d                   Address Redacted                     First Class Mail
3f3b6d8c‐1dc7‐4c3d‐a02b‐44ba7e71b9bd                   Address Redacted                     First Class Mail
3f3b82bb‐7066‐48b6‐837b‐3aa045023b45                   Address Redacted                     First Class Mail
3f3ca793‐74d0‐4913‐95f4‐211a49acbb27                   Address Redacted                     First Class Mail
3f3edb79‐453f‐4672‐a435‐8ce5a7d9518a                   Address Redacted                     First Class Mail
3f3effba‐fd9d‐4b94‐be32‐66bc87fa04c6                   Address Redacted                     First Class Mail
3f40f64f‐46e1‐42ec‐a02e‐8552f1943a2e                   Address Redacted                     First Class Mail
3f41ac5c‐6178‐4395‐b723‐e7aadfd1b363                   Address Redacted                     First Class Mail
3f43025a‐6d00‐4efd‐ba75‐c708a3bbefca                   Address Redacted                     First Class Mail
3f462813‐92f1‐4b5b‐aedd‐eba76bab9c88                   Address Redacted                     First Class Mail
3f480e7e‐6642‐40c9‐9299‐653e32f9d726                   Address Redacted                     First Class Mail
3f51db3d‐81ca‐4682‐a67b‐bab744e9eab2                   Address Redacted                     First Class Mail
3f5492fa‐814a‐4720‐9635‐e6d7061420e7                   Address Redacted                     First Class Mail
3f56c830‐7953‐4006‐ada6‐9c242448852f                   Address Redacted                     First Class Mail
3f591c6c‐3dee‐4e70‐b5e6‐bcd856ad5326                   Address Redacted                     First Class Mail
3f5e488f‐1adc‐445c‐8eb3‐c487775026f7                   Address Redacted                     First Class Mail
3f67ff7a‐4551‐44d3‐a3cb‐cb04b568ea14                   Address Redacted                     First Class Mail
3f693bd8‐5f7f‐4b56‐a009‐b51654c64ff5                   Address Redacted                     First Class Mail
3f69e2cd‐144c‐41d5‐909e‐a92dbbdd0ac1                   Address Redacted                     First Class Mail
3f6d2c86‐6b4e‐4289‐85c6‐5f9f26f1e666                   Address Redacted                     First Class Mail
3f6e0afd‐fa84‐4298‐86f6‐b2c6255a15e1                   Address Redacted                     First Class Mail
3f6e3f94‐42e9‐4d94‐9ac1‐25783679fecb                   Address Redacted                     First Class Mail
3f6f34a5‐cc23‐4359‐8e30‐2dea5c7bdb57                   Address Redacted                     First Class Mail
3f714782‐6493‐4826‐9b49‐b5e035f8cbeb                   Address Redacted                     First Class Mail
3f7265fa‐374b‐449d‐8586‐016149f2962c                   Address Redacted                     First Class Mail
3f77789a‐ff00‐4f0d‐82e3‐d45306cfbb5a                   Address Redacted                     First Class Mail
3f7ad9f9‐87df‐43c3‐8550‐ee9f084faa17                   Address Redacted                     First Class Mail
3f7c70a6‐bcd2‐402e‐8aee‐8705c8a8ddcf                   Address Redacted                     First Class Mail
3f7d019d‐0836‐4887‐b94d‐9d1161d8826c                   Address Redacted                     First Class Mail
3f800164‐0321‐4ab8‐abed‐35773433e998                   Address Redacted                     First Class Mail
3f84cb16‐abc9‐4fc4‐9082‐a8106377046c                   Address Redacted                     First Class Mail
3f861b85‐906d‐430c‐b408‐87ae248ca780                   Address Redacted                     First Class Mail
3f87d57a‐17fe‐4e57‐819e‐44550dde173b                   Address Redacted                     First Class Mail
3f8a96d4‐97b4‐4f7b‐98b6‐61c8b9aee409                   Address Redacted                     First Class Mail
3f93225a‐5598‐4544‐b0ec‐ca951fd2f74d                   Address Redacted                     First Class Mail
3f974226‐d805‐41a8‐b3ac‐bf00cb9506e7                   Address Redacted                     First Class Mail
3f98d301‐12ce‐4d6c‐8bc9‐023933641dd9                   Address Redacted                     First Class Mail
3f9f7824‐0bbe‐4433‐ba92‐8c214fecef0f                   Address Redacted                     First Class Mail
3fa23923‐a2a7‐4f48‐9b1e‐59e1156c41a6                   Address Redacted                     First Class Mail
3fa34f5d‐251d‐449e‐84bb‐393a7c4f15fe                   Address Redacted                     First Class Mail
3fa40d7f‐0a61‐461b‐84ac‐c0d4dfd574c2                   Address Redacted                     First Class Mail
3fa8c176‐499b‐4267‐bcb7‐f1c562fa3627                   Address Redacted                     First Class Mail
3fa98029‐45d7‐4aef‐b2be‐5b0ed4f6cb51                   Address Redacted                     First Class Mail
3fad84bc‐cf75‐486c‐8688‐c2a9ea62544a                   Address Redacted                     First Class Mail
3fb3e96f‐6ef6‐4342‐90b0‐56a4ce5bbc37                   Address Redacted                     First Class Mail
3fb4bd48‐b810‐49d6‐864e‐feedff710e24                   Address Redacted                     First Class Mail
3fb527f5‐b759‐4718‐b221‐4760ff16ef0a                   Address Redacted                     First Class Mail
3fb5cc55‐cb1c‐4249‐b07b‐888f49712618                   Address Redacted                     First Class Mail
3fb9d874‐b987‐493c‐9e0f‐30d0d064c01a                   Address Redacted                     First Class Mail
3fbca4a8‐f35a‐4c41‐982e‐d2d0ea0cbbce                   Address Redacted                     First Class Mail
3fbf07e6‐292b‐42e3‐ab36‐fda7db6c95cc                   Address Redacted                     First Class Mail
3fc0616a‐e902‐467f‐87b3‐9828d190b251                   Address Redacted                     First Class Mail
3fcb8209‐6af8‐42eb‐97f5‐fdd0ebfd17b5                   Address Redacted                     First Class Mail
3fcc908f‐2755‐4023‐ba12‐31bc26410979                   Address Redacted                     First Class Mail
3fcfd168‐d14c‐4705‐8d01‐2f89e0166e7b                   Address Redacted                     First Class Mail
3fd03765‐1c6a‐479e‐b132‐b92c056609cb                   Address Redacted                     First Class Mail
3fd45bb1‐9e9e‐475d‐9f4a‐45ed3818d119                   Address Redacted                     First Class Mail
3fd50178‐00b4‐434e‐93d2‐93fd0907ce1b                   Address Redacted                     First Class Mail
3fd7007e‐b81c‐4589‐af96‐3e9439481a50                   Address Redacted                     First Class Mail
3fd8e1ed‐6e24‐4db2‐9d1a‐e67b2603ef8e                   Address Redacted                     First Class Mail
3fd91ccf‐ca19‐4e00‐8664‐ec73f2f2f785                   Address Redacted                     First Class Mail
3fdd300e‐0e2d‐4982‐be43‐78efdd64cf9b                   Address Redacted                     First Class Mail
3fe06c13‐d2e2‐4d1d‐9df2‐14cd02c583c4                   Address Redacted                     First Class Mail
3fe15664‐f781‐40a0‐9b29‐3065b2e4cbfb                   Address Redacted                     First Class Mail
3fe24f3b‐a671‐49ae‐a200‐77cc23831f2c                   Address Redacted                     First Class Mail
3fe42e15‐186d‐4359‐9369‐379f5bac4533                   Address Redacted                     First Class Mail
3fe44f19‐febe‐4284‐ae13‐63b82e510e17                   Address Redacted                     First Class Mail
3fe5fe82‐cafb‐4725‐913c‐860dc694aec6                   Address Redacted                     First Class Mail




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                                                                 Service List


                              Name                                              Address                        Method of Service
3fe68eee‐488d‐4677‐ab7d‐3a4e0cc85a67                   Address Redacted                     First Class Mail
3fe6cbc4‐e504‐407f‐8f64‐d6273d8c1dbf                   Address Redacted                     First Class Mail
3feca88a‐76ec‐4744‐9c0b‐8067bd105fe1                   Address Redacted                     First Class Mail
3fed14e6‐67c1‐41d6‐a727‐79edaa88ce22                   Address Redacted                     First Class Mail
3fedb230‐73de‐4d4e‐a20e‐8bfe1f10cf29                   Address Redacted                     First Class Mail
3ff1c5d8‐ee71‐4b72‐9329‐825ab5f7754c                   Address Redacted                     First Class Mail
3ff1eb96‐d123‐499d‐b31d‐90384f91471c                   Address Redacted                     First Class Mail
3ff3135f‐b15e‐48af‐9372‐c2a5811a06ea                   Address Redacted                     First Class Mail
3ff872f7‐41bd‐4050‐8846‐4ac26e093a0e                   Address Redacted                     First Class Mail
3ff940cb‐1d96‐49f9‐8ac6‐f3d63ad6cade                   Address Redacted                     First Class Mail
3ffa59f0‐b713‐4cd6‐99d2‐4ea22c933633                   Address Redacted                     First Class Mail
3ffe08f9‐6276‐4033‐bdf3‐16bbc7d13aee                   Address Redacted                     First Class Mail
3ffe12c7‐71cb‐49d2‐b90c‐3415a84136ef                   Address Redacted                     First Class Mail
3fffade7‐a989‐4404‐abe6‐d71274d4c4d8                   Address Redacted                     First Class Mail
40082413‐65b9‐4895‐993a‐afa5ecbbeefe                   Address Redacted                     First Class Mail
40097cc1‐b541‐4ba4‐8bed‐21ec60d394a0                   Address Redacted                     First Class Mail
400c6a68‐ecea‐45af‐87e5‐9ed16034c99b                   Address Redacted                     First Class Mail
4012216a‐9413‐408a‐a8c7‐f8b273454186                   Address Redacted                     First Class Mail
40134bbf‐3910‐460b‐b56e‐c0e9a5e2a2db                   Address Redacted                     First Class Mail
402122c5‐b6b3‐4dcc‐847d‐761a3fb351a5                   Address Redacted                     First Class Mail
40246164‐5637‐4cd9‐bce6‐2a03ef0621e9                   Address Redacted                     First Class Mail
4029abab‐67ac‐441d‐838c‐46e9f94238c0                   Address Redacted                     First Class Mail
402bcbfc‐07ff‐4333‐a7fd‐e76728cd51d8                   Address Redacted                     First Class Mail
4030d240‐a7be‐4b71‐9e48‐47f6caf647c5                   Address Redacted                     First Class Mail
4039a606‐0ef7‐4d06‐a5ba‐67814ec9cb17                   Address Redacted                     First Class Mail
403cacd3‐8772‐4a89‐bee0‐596d592fd3d9                   Address Redacted                     First Class Mail
403cbfb2‐a958‐49d6‐a9c5‐fdda4f727008                   Address Redacted                     First Class Mail
403e7a77‐1d34‐4fe4‐974b‐94db132a52d7                   Address Redacted                     First Class Mail
403f5ce3‐59ac‐4d7b‐a835‐6e876c8ea2d5                   Address Redacted                     First Class Mail
40417a94‐9e2c‐4c14‐8313‐8e94933279d0                   Address Redacted                     First Class Mail
40465e1e‐e2b9‐49d1‐b49b‐aa7c6d80a61e                   Address Redacted                     First Class Mail
4047af4e‐79e5‐4b70‐8522‐8cdb9b0247b7                   Address Redacted                     First Class Mail
4047b644‐11d2‐47b5‐8c27‐c34d987f006d                   Address Redacted                     First Class Mail
404c790c‐aca4‐4753‐ad11‐75239e81721b                   Address Redacted                     First Class Mail
40536691‐ad8a‐4c6f‐888e‐c090e622b80d                   Address Redacted                     First Class Mail
40559d39‐037e‐49e1‐9d5e‐a94bf6002f78                   Address Redacted                     First Class Mail
40564486‐7e4d‐4df1‐8891‐627b19a72ccc                   Address Redacted                     First Class Mail
40584870‐6f0d‐4124‐87ca‐6543a44a1c12                   Address Redacted                     First Class Mail
405fb6fd‐5d0d‐4535‐ab20‐b91f91536031                   Address Redacted                     First Class Mail
406098f0‐788c‐4f9f‐a725‐6528c2047b41                   Address Redacted                     First Class Mail
4061e6a1‐d720‐424e‐bf73‐1bdf9be9d974                   Address Redacted                     First Class Mail
40631a6d‐b301‐4fbe‐8090‐41ce1fe03a1d                   Address Redacted                     First Class Mail
40639553‐e560‐40d6‐bacd‐860b003ac762                   Address Redacted                     First Class Mail
4063e358‐ced6‐44ab‐a165‐21865c2f2220                   Address Redacted                     First Class Mail
4067150d‐67ab‐4bd3‐9011‐62c8a9223d81                   Address Redacted                     First Class Mail
4068f360‐81cb‐4ea0‐ad75‐64b9d3f6ce38                   Address Redacted                     First Class Mail
406be861‐c851‐40d1‐83b3‐97de931aa0dd                   Address Redacted                     First Class Mail
406db97b‐6216‐4c6a‐8051‐e895efffc71c                   Address Redacted                     First Class Mail
406f9108‐32f1‐4616‐8742‐22a4d7d3c8ea                   Address Redacted                     First Class Mail
4072fc77‐b0dd‐4caf‐b900‐f84ee0ba1a0b                   Address Redacted                     First Class Mail
4076fcb3‐09c3‐4bfa‐86e9‐3c5cf48b349d                   Address Redacted                     First Class Mail
407745df‐6a87‐4343‐b317‐4ad991a5ffde                   Address Redacted                     First Class Mail
40782326‐01ff‐47a1‐afaa‐848b62f7a91f                   Address Redacted                     First Class Mail
407936a1‐0fbe‐43ae‐b703‐d984603e60e1                   Address Redacted                     First Class Mail
40800614‐a844‐4982‐885c‐df62a544b7a3                   Address Redacted                     First Class Mail
40812682‐f4c0‐4bd0‐bfa3‐b5c84379fc19                   Address Redacted                     First Class Mail
4084061b‐1623‐4d4e‐8cc5‐0b451d5fff5e                   Address Redacted                     First Class Mail
4084b0cf‐a928‐4579‐8a73‐afa2bc204fff                   Address Redacted                     First Class Mail
4087a69a‐2e6a‐437a‐991f‐7df289c678f9                   Address Redacted                     First Class Mail
408821a8‐1929‐4c88‐aa68‐0084350a54fa                   Address Redacted                     First Class Mail
40899d0d‐869e‐4b73‐b4f8‐21bdcfe76fe7                   Address Redacted                     First Class Mail
4089f28c‐a30a‐41a5‐bab2‐035c9fdc1af6                   Address Redacted                     First Class Mail
408ab557‐5b4c‐47c8‐928a‐59064c0facfd                   Address Redacted                     First Class Mail
408c5266‐825f‐45ff‐b3fa‐aa4a981cfdfa                   Address Redacted                     First Class Mail
40903638‐871a‐4add‐8101‐015fab29e1a7                   Address Redacted                     First Class Mail
4090638b‐03d7‐48a3‐8059‐11ea72d5b4df                   Address Redacted                     First Class Mail
409131b1‐35d5‐49ac‐8e7d‐56ebf024b3f9                   Address Redacted                     First Class Mail
4093a8ca‐8595‐41b0‐8cb9‐67f19000aa3c                   Address Redacted                     First Class Mail
409730ee‐f487‐44e6‐941e‐ae071c50aa6d                   Address Redacted                     First Class Mail
409e3c16‐8f73‐46a6‐8a91‐d92fc51667a2                   Address Redacted                     First Class Mail
409e804d‐ba73‐415f‐9d68‐58c66294485f                   Address Redacted                     First Class Mail
40a0eceb‐0058‐462f‐9a9e‐59094ddf48cc                   Address Redacted                     First Class Mail




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                              Name                                              Address                        Method of Service
40a566e3‐e309‐4ad9‐a50c‐65b6e2757be8                   Address Redacted                     First Class Mail
40a68b5f‐b065‐4c43‐8787‐fb5cb0149f03                   Address Redacted                     First Class Mail
40a747ac‐c199‐4ffa‐a4a7‐06a2be079331                   Address Redacted                     First Class Mail
40aaebcc‐c2b8‐4c2e‐8574‐ae0e02916faf                   Address Redacted                     First Class Mail
40ab2c2e‐2f2f‐4f43‐b8c4‐ec3515c7e1ed                   Address Redacted                     First Class Mail
40ad4802‐4651‐4323‐8e3f‐8e9bbc887dba                   Address Redacted                     First Class Mail
40ae08ee‐fddc‐40de‐80ed‐18ef116774a8                   Address Redacted                     First Class Mail
40afedec‐1f53‐44e7‐bd3c‐5823d19fb42c                   Address Redacted                     First Class Mail
40b3dde0‐1a17‐421f‐9aa4‐7427a92645a7                   Address Redacted                     First Class Mail
40b680cf‐c714‐46fb‐88e8‐48583e68ab44                   Address Redacted                     First Class Mail
40b7eafa‐3685‐4edc‐92c9‐6f1e8725bd09                   Address Redacted                     First Class Mail
40b8a950‐3bf9‐4226‐9b0d‐78e6affb0f03                   Address Redacted                     First Class Mail
40bc77aa‐5912‐4eca‐944d‐63ad2048a80c                   Address Redacted                     First Class Mail
40bd235e‐87bb‐419a‐8db8‐2ce676dc2bd4                   Address Redacted                     First Class Mail
40bf096f‐3c32‐4b56‐9b64‐8d5231fc9d6f                   Address Redacted                     First Class Mail
40c17d17‐bce0‐42d4‐ba08‐34afb4d2cb5c                   Address Redacted                     First Class Mail
40c1e99b‐d855‐48d1‐bd2e‐6938c9435c80                   Address Redacted                     First Class Mail
40c309d1‐7983‐4441‐aa0c‐2b99add38ca2                   Address Redacted                     First Class Mail
40c3e584‐6ee9‐48f4‐b544‐5ec91b3efdd7                   Address Redacted                     First Class Mail
40c55ae7‐6574‐46f9‐89ac‐b7ef5e51f582                   Address Redacted                     First Class Mail
40c8ad0d‐f6ba‐42e5‐a167‐a03d552adfab                   Address Redacted                     First Class Mail
40c9bbec‐432f‐407f‐a539‐9a7a6be65145                   Address Redacted                     First Class Mail
40ceabfa‐7e29‐4aa1‐a4d7‐ddd697d92bf9                   Address Redacted                     First Class Mail
40cf9ea2‐d3d0‐4e96‐ae9c‐91c703ef288b                   Address Redacted                     First Class Mail
40d0bb9d‐cacd‐4088‐8544‐c4e7401ba7ce                   Address Redacted                     First Class Mail
40d2af7a‐493e‐46b0‐8b3e‐7c71f2d5f14e                   Address Redacted                     First Class Mail
40d4f6bc‐e852‐4174‐95da‐04086255f875                   Address Redacted                     First Class Mail
40d50733‐6e47‐4e37‐9eaa‐3dbe8f369dd0                   Address Redacted                     First Class Mail
40d59d00‐53c5‐4335‐a0cc‐fc4c7bb1b3f2                   Address Redacted                     First Class Mail
40d62d09‐38e8‐4970‐b9ab‐f657681ad2c5                   Address Redacted                     First Class Mail
40da7a92‐d466‐4f4b‐a3ed‐fe11822998a8                   Address Redacted                     First Class Mail
40e1b8cb‐0135‐4273‐9c3d‐f831a0c80531                   Address Redacted                     First Class Mail
40e3e049‐a7b2‐47cc‐8463‐eb1eebd5a766                   Address Redacted                     First Class Mail
40e58cb1‐0a49‐4721‐98bb‐cde0ca9ab4e4                   Address Redacted                     First Class Mail
40e7809f‐1706‐46cd‐afff‐72b187af7779                   Address Redacted                     First Class Mail
40eb957a‐2374‐41b2‐b4ac‐0771afcc5e97                   Address Redacted                     First Class Mail
40f192b9‐d5fd‐4ae9‐be8f‐47d15d2dde3c                   Address Redacted                     First Class Mail
40f4c98b‐7cc1‐4eb9‐8f2d‐06ced158fcb0                   Address Redacted                     First Class Mail
40f8def4‐2f1e‐4948‐a1fe‐b87bb70a8c6c                   Address Redacted                     First Class Mail
40f8f01c‐f536‐4012‐b31b‐ef8321b5c65b                   Address Redacted                     First Class Mail
40feec13‐a981‐4216‐877a‐255dd090890c                   Address Redacted                     First Class Mail
4100499f‐6bad‐4d61‐baea‐d414f4c4c979                   Address Redacted                     First Class Mail
41016cd2‐8ab1‐46f9‐a19d‐2f17a04077fb                   Address Redacted                     First Class Mail
4101c10f‐d1bf‐4278‐9ca5‐9925ed94cd9f                   Address Redacted                     First Class Mail
41040fda‐898c‐4b0f‐90d2‐df54ab8a53c3                   Address Redacted                     First Class Mail
4105315d‐50d3‐4566‐9501‐0ac7c82f72ca                   Address Redacted                     First Class Mail
410666bf‐dc8f‐46c9‐bb23‐f032b05f4ca2                   Address Redacted                     First Class Mail
4106bab9‐cd03‐4fb0‐a342‐98255ae1202b                   Address Redacted                     First Class Mail
410d765f‐7d42‐41fe‐b854‐3a08907c7db9                   Address Redacted                     First Class Mail
410ea7cf‐bf6d‐4e32‐acff‐cd16d7cea816                   Address Redacted                     First Class Mail
410f5072‐40db‐449d‐89c8‐06835afee919                   Address Redacted                     First Class Mail
41135e1a‐8f7f‐4ecf‐8eab‐9c061bbe45dc                   Address Redacted                     First Class Mail
41145d09‐3e93‐47ef‐ac75‐6d9a6e80203e                   Address Redacted                     First Class Mail
411b555b‐ff4c‐472c‐afae‐b0fbbedf40c7                   Address Redacted                     First Class Mail
411bdc49‐d706‐45e8‐a42b‐5ee55f9a21df                   Address Redacted                     First Class Mail
411e8c45‐a8b3‐4d8d‐ab0b‐6daadff006c8                   Address Redacted                     First Class Mail
412198d2‐f646‐4191‐a242‐1faefe94af6e                   Address Redacted                     First Class Mail
4121fa86‐c30f‐4bdf‐a00d‐28d9236c4789                   Address Redacted                     First Class Mail
41233033‐256b‐4231‐8f38‐fd2084447242                   Address Redacted                     First Class Mail
4124a5b1‐663a‐44aa‐9a62‐9f0b91ee8529                   Address Redacted                     First Class Mail
41266f7b‐8ec6‐45ef‐9876‐df22ee6cb1a1                   Address Redacted                     First Class Mail
41271291‐5616‐4805‐80c9‐8fc648bee74c                   Address Redacted                     First Class Mail
4128cfbc‐25e4‐4aad‐8d41‐5fdf64ed80f0                   Address Redacted                     First Class Mail
412985d2‐0782‐4c39‐8e1d‐1f5d1af5fd0a                   Address Redacted                     First Class Mail
412e812c‐0113‐4f49‐9468‐e224e267e0c4                   Address Redacted                     First Class Mail
412fb8f7‐3300‐4756‐95c8‐4b0e5222a1f3                   Address Redacted                     First Class Mail
4134ad53‐c3cf‐474b‐8888‐a3170ab36927                   Address Redacted                     First Class Mail
4138fbca‐58c5‐4fe7‐a7bb‐7cbaec637e0b                   Address Redacted                     First Class Mail
413def0e‐03de‐4e99‐8ca7‐61ce462bc74c                   Address Redacted                     First Class Mail
41414a7a‐93d1‐4e2d‐9054‐c4dc2f6578a6                   Address Redacted                     First Class Mail
4141ffee‐9633‐4d11‐bf98‐d8aaf0777c23                   Address Redacted                     First Class Mail
4142979f‐2537‐4552‐8e72‐70eebf241417                   Address Redacted                     First Class Mail




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                                                                Exhibit A
                                                                 Service List


                               Name                                             Address                        Method of Service
4143a83b‐77e4‐440b‐b4b2‐7f37c0d1aa3c                   Address Redacted                     First Class Mail
4145d0ba‐29a2‐432a‐ab71‐b2df23939a73                   Address Redacted                     First Class Mail
41478962‐20f8‐4284‐8a1f‐3fb7ca4f9f54                   Address Redacted                     First Class Mail
414889bc‐a16e‐4598‐a901‐2d9b8bc672ec                   Address Redacted                     First Class Mail
41495303‐ade7‐4316‐bc99‐9f2867f641af                   Address Redacted                     First Class Mail
414a6dda‐afc6‐4acd‐b6fd‐f90c5da337f1                   Address Redacted                     First Class Mail
41503461‐8ccf‐490c‐b1a7‐c6722da17f5e                   Address Redacted                     First Class Mail
415138c3‐7633‐4b5f‐b2fb‐590e72464d9f                   Address Redacted                     First Class Mail
4153f1e2‐31c0‐4215‐a487‐cc63b44b34c0                   Address Redacted                     First Class Mail
41598952‐00b2‐480b‐a942‐a9aecb0f3b13                   Address Redacted                     First Class Mail
4159e6d7‐aee6‐475c‐a2c7‐5b1f29d47a04                   Address Redacted                     First Class Mail
415ab94e‐d4a7‐48f7‐abc4‐fb6876cf5636                   Address Redacted                     First Class Mail
415ba267‐91e9‐44cb‐a2ee‐75c41d94cb23                   Address Redacted                     First Class Mail
415e98c3‐075b‐4d75‐884a‐91a8895b6963                   Address Redacted                     First Class Mail
415eff68‐d524‐4b9d‐ba14‐23c470f96d62                   Address Redacted                     First Class Mail
4163d9f5‐647b‐474f‐85b9‐b5ed1829884d                   Address Redacted                     First Class Mail
4166c299‐72dc‐4940‐8faf‐50c7fac7d903                   Address Redacted                     First Class Mail
416cb768‐182f‐4241‐90be‐43617f513ad5                   Address Redacted                     First Class Mail
416e1140‐0c75‐4bc2‐ab1f‐2d9b73f2be39                   Address Redacted                     First Class Mail
416fbc53‐308d‐4bd2‐a780‐8a4d64ae2ddf                   Address Redacted                     First Class Mail
41726d88‐765f‐4e71‐bb15‐72f361f2dfc9                   Address Redacted                     First Class Mail
4181f557‐e467‐40c5‐b1e5‐a38e6b15128a                   Address Redacted                     First Class Mail
418b1e05‐b702‐470f‐8e63‐bb96e553da27                   Address Redacted                     First Class Mail
41903eb7‐07e4‐4f2e‐b1cf‐44544c14d371                   Address Redacted                     First Class Mail
419244ec‐1416‐46cf‐9ec8‐3c6176c8fbcf                   Address Redacted                     First Class Mail
41987963‐4e18‐410c‐a337‐dadde9ff63e5                   Address Redacted                     First Class Mail
4198e4c7‐c09f‐4bbf‐bb58‐e52fe5f6f117                   Address Redacted                     First Class Mail
41998e50‐8e39‐49ad‐ab3d‐7977506f05e7                   Address Redacted                     First Class Mail
4199d45b‐a8a9‐4ddc‐8b42‐fc803fa2299d                   Address Redacted                     First Class Mail
419b4f75‐2572‐4365‐af18‐17e5b4e0dced                   Address Redacted                     First Class Mail
419bcdc2‐9fd6‐48b4‐a56f‐3cc1307d8188                   Address Redacted                     First Class Mail
419dba86‐e5f3‐4c7d‐8635‐5bc45f0eac35                   Address Redacted                     First Class Mail
41a03fac‐ab98‐4d75‐875c‐c8f90597cce1                   Address Redacted                     First Class Mail
41a85e99‐5448‐4222‐9f4e‐90d3748150d6                   Address Redacted                     First Class Mail
41aa8f67‐a78a‐4232‐bde7‐2f964e2ed5c5                   Address Redacted                     First Class Mail
41aeb1fc‐e8e9‐4b02‐855f‐b3fb4d03b7dc                   Address Redacted                     First Class Mail
41aebc8a‐ec93‐4da1‐b40d‐92dd44a1b5f9                   Address Redacted                     First Class Mail
41aeda19‐ca0f‐4ec6‐96a9‐558638058be7                   Address Redacted                     First Class Mail
41b4b01b‐fe96‐4049‐9656‐1dbd698fda66                   Address Redacted                     First Class Mail
41b5d299‐f97a‐4c7e‐94f7‐a3f7c07fa6ae                   Address Redacted                     First Class Mail
41bc7bd6‐5ed7‐4133‐b870‐b422b8938a13                   Address Redacted                     First Class Mail
41bd440a‐8a48‐425c‐980a‐1c06909347e9                   Address Redacted                     First Class Mail
41bde577‐3d6a‐4735‐8895‐86f0f48c373f                   Address Redacted                     First Class Mail
41c40603‐70cc‐48ca‐b258‐290cb6f89d6c                   Address Redacted                     First Class Mail
41c465d2‐641f‐4001‐bc08‐71f3bed5ae60                   Address Redacted                     First Class Mail
41c4ea5b‐65ce‐4ee2‐9b0d‐91c5c0f16c47                   Address Redacted                     First Class Mail
41c5861f‐4787‐400f‐a948‐0e1868f1ee78                   Address Redacted                     First Class Mail
41c85fb9‐e65c‐4d58‐bc4b‐2f6b8b52a25d                   Address Redacted                     First Class Mail
41cb7b7d‐60a5‐4e3b‐bb7b‐747948ac519a                   Address Redacted                     First Class Mail
41cd21f0‐5260‐4a82‐8f45‐710a640caee7                   Address Redacted                     First Class Mail
41ced7dd‐9db5‐48ac‐b90b‐efb383e9c005                   Address Redacted                     First Class Mail
41d33d61‐6072‐42b8‐a974‐7b0ba6ec880c                   Address Redacted                     First Class Mail
41d4222b‐dd1f‐43df‐9bb4‐d24836c2eaa3                   Address Redacted                     First Class Mail
41d43d16‐8808‐4809‐bca5‐7ec26215abfc                   Address Redacted                     First Class Mail
41de8534‐76de‐4e05‐bb39‐90aec122edb5                   Address Redacted                     First Class Mail
41df2eac‐0cb6‐4873‐9983‐94236a1f1047                   Address Redacted                     First Class Mail
41e27487‐b703‐48ac‐8611‐97e7899d54fc                   Address Redacted                     First Class Mail
41e2bffd‐067e‐4739‐b81f‐618a269d013b                   Address Redacted                     First Class Mail
41e54452‐20d3‐43b1‐bfca‐2ef08af8b6c9                   Address Redacted                     First Class Mail
41e5cdbe‐ef0b‐4d32‐91bd‐37bbc481b763                   Address Redacted                     First Class Mail
41e92846‐49ef‐4af7‐966a‐345d5eb7caf9                   Address Redacted                     First Class Mail
41ee541a‐ba81‐445b‐90f9‐91ec2659aa4c                   Address Redacted                     First Class Mail
41f36413‐1b8c‐4aac‐aa70‐88e4ec1e49d5                   Address Redacted                     First Class Mail
41f823d8‐4d98‐4940‐a33c‐034c9b075bd7                   Address Redacted                     First Class Mail
41fa02a1‐9a2d‐4938‐af40‐48ad086df5f0                   Address Redacted                     First Class Mail
41fa0ffc‐2fb0‐4800‐aa19‐24faec55a713                   Address Redacted                     First Class Mail
41fc451e‐7466‐4539‐b531‐55d7c03639f4                   Address Redacted                     First Class Mail
41fd1672‐f701‐4947‐9b1f‐aec89171836f                   Address Redacted                     First Class Mail
41ff192d‐7dab‐43cf‐a977‐4f108914e792                   Address Redacted                     First Class Mail
41ff2f44‐376c‐46af‐a98c‐7de8c4769a61                   Address Redacted                     First Class Mail
41ffefe4‐6a79‐413c‐9251‐11bd39c75a24                   Address Redacted                     First Class Mail
420201fe‐efec‐4ca9‐929d‐dad092d6e271                   Address Redacted                     First Class Mail




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                              Name                                              Address                        Method of Service
42043f87‐bc69‐4c5a‐98be‐2aaef55a23c5                   Address Redacted                     First Class Mail
420956b2‐0101‐4ed4‐afe4‐29e4774732d7                   Address Redacted                     First Class Mail
421018fa‐c548‐42d1‐9cbc‐6797bdfe9131                   Address Redacted                     First Class Mail
4210c6c0‐de38‐44fe‐a7a8‐171b67ec7d96                   Address Redacted                     First Class Mail
42145c24‐8beb‐4650‐acc9‐55bb39745700                   Address Redacted                     First Class Mail
42148cde‐335a‐4f32‐bad7‐334059cec404                   Address Redacted                     First Class Mail
4219608d‐0db7‐4b02‐bfd4‐51cc7243d7ae                   Address Redacted                     First Class Mail
421b380e‐d10e‐40c7‐a0b2‐4b13e4adc1b5                   Address Redacted                     First Class Mail
42241b93‐5f63‐49ad‐8b20‐3bc45d08972b                   Address Redacted                     First Class Mail
422644f2‐2b43‐4d57‐8d03‐c69625c0d5b8                   Address Redacted                     First Class Mail
4226632d‐84c5‐4241‐b2db‐7e690b1af27c                   Address Redacted                     First Class Mail
422712e5‐ee02‐4417‐9568‐b8853170c7c9                   Address Redacted                     First Class Mail
42273d92‐f0f1‐4867‐9f5d‐7f1ec6ba5cc1                   Address Redacted                     First Class Mail
422dab3b‐c110‐4eac‐b51e‐69530ccf0b36                   Address Redacted                     First Class Mail
422e9a5a‐5d6f‐4b0b‐95de‐3fa729b3ec59                   Address Redacted                     First Class Mail
422ea2e2‐288d‐4410‐98f9‐03f171a73b41                   Address Redacted                     First Class Mail
422ef3bd‐04e6‐40c0‐91e9‐403cfb6df9b9                   Address Redacted                     First Class Mail
42322650‐054e‐408b‐9807‐384244721531                   Address Redacted                     First Class Mail
42353f22‐781d‐4c37‐8662‐23abfeb16c1c                   Address Redacted                     First Class Mail
423ab46e‐0516‐4985‐9edf‐b325d56302b8                   Address Redacted                     First Class Mail
423e4cb5‐0f91‐49d7‐8f1b‐c5691376be95                   Address Redacted                     First Class Mail
423f156a‐616d‐4324‐9d7b‐5478b8aec16c                   Address Redacted                     First Class Mail
423f2c08‐a945‐472b‐a29a‐6356516947a3                   Address Redacted                     First Class Mail
42418c09‐14e1‐46dc‐a602‐bb98db2272e6                   Address Redacted                     First Class Mail
424222ff‐792a‐45af‐9a46‐798320b46ad0                   Address Redacted                     First Class Mail
4243868d‐a79d‐4117‐b1fa‐f68510faca25                   Address Redacted                     First Class Mail
42488643‐8b02‐44f3‐9cf5‐a505fe263b31                   Address Redacted                     First Class Mail
424da4e5‐191a‐4a6f‐a261‐405ceb7ddff5                   Address Redacted                     First Class Mail
424ec6eb‐3c8c‐4409‐a2f5‐1d6940679cca                   Address Redacted                     First Class Mail
424ec8ca‐28c5‐4a90‐b40d‐a1cce512f0a0                   Address Redacted                     First Class Mail
4251a153‐e42c‐442c‐b196‐f30ad791663a                   Address Redacted                     First Class Mail
4254feb1‐e4e3‐4f5c‐8869‐27efe6c7f91c                   Address Redacted                     First Class Mail
42551bd2‐dcac‐4932‐92f5‐710d26b7138a                   Address Redacted                     First Class Mail
42563760‐6e3e‐49c9‐a5c0‐829e35dbfc90                   Address Redacted                     First Class Mail
4258e4eb‐6488‐4d25‐b3be‐eafe17760c54                   Address Redacted                     First Class Mail
425b68ae‐33a3‐45d4‐aab2‐1ce091976f8d                   Address Redacted                     First Class Mail
425c9652‐b1df‐418d‐983d‐7af55f54212a                   Address Redacted                     First Class Mail
4260c143‐85f7‐4ebb‐8f23‐72ff07f055e2                   Address Redacted                     First Class Mail
426a90d4‐50e2‐4de8‐ab8a‐7e1efe9466d5                   Address Redacted                     First Class Mail
426d24b4‐8aee‐47cc‐ae00‐be55299e65c9                   Address Redacted                     First Class Mail
427053b9‐6725‐440f‐9853‐c541a1de504d                   Address Redacted                     First Class Mail
427b1e89‐bca2‐4f47‐9216‐dc6a4e4e9b57                   Address Redacted                     First Class Mail
4280119a‐3204‐4859‐bcc6‐c83a4b31ecc2                   Address Redacted                     First Class Mail
4282abc1‐045f‐4eeb‐a234‐57fc4f0b502a                   Address Redacted                     First Class Mail
42860848‐ffe0‐4f85‐a2e0‐57920c9c10a7                   Address Redacted                     First Class Mail
42879eb9‐bc74‐46c6‐966c‐8f6e32a6c3b2                   Address Redacted                     First Class Mail
4288a528‐aef6‐450c‐8554‐c9e29ac465d6                   Address Redacted                     First Class Mail
4288d728‐a002‐46da‐9c61‐1d9163e4c12c                   Address Redacted                     First Class Mail
428a6b59‐a4ec‐446b‐a0dd‐3f4f4cbb5de8                   Address Redacted                     First Class Mail
428ab208‐075c‐4e33‐925e‐e0fff4970ff7                   Address Redacted                     First Class Mail
428b23dd‐03d5‐4982‐bf1d‐c5bdb16cf099                   Address Redacted                     First Class Mail
428c2bf2‐ee39‐4eb7‐8046‐aa3c755d949a                   Address Redacted                     First Class Mail
428c7cb1‐f3a0‐45e6‐9b30‐d1358042cc61                   Address Redacted                     First Class Mail
4290f5ac‐b6c4‐48f4‐acb9‐7672f2e13708                   Address Redacted                     First Class Mail
42965179‐78ac‐4ffc‐831f‐0a3ab7df9d1f                   Address Redacted                     First Class Mail
42969465‐df2a‐41c7‐9e1b‐1b050f2db78b                   Address Redacted                     First Class Mail
42976105‐31c2‐45e0‐82d3‐1c21cfc22de8                   Address Redacted                     First Class Mail
429ec911‐52a1‐44a5‐a557‐55ac62abca5f                   Address Redacted                     First Class Mail
42a17931‐885d‐411f‐8e7d‐bd8e31f966e4                   Address Redacted                     First Class Mail
42a21888‐f09c‐4db9‐bb9d‐bf7d3c2b6b5f                   Address Redacted                     First Class Mail
42a38aa7‐994d‐4e41‐949f‐70571e72dd3c                   Address Redacted                     First Class Mail
42a5d115‐62bb‐4bc9‐8853‐6ce051ede2f2                   Address Redacted                     First Class Mail
42a6a269‐30dd‐4095‐8b8e‐003e7053463d                   Address Redacted                     First Class Mail
42a76cd3‐a1e2‐46c1‐8fa7‐130511976a6c                   Address Redacted                     First Class Mail
42aa023f‐845a‐40d5‐812c‐6fcccdae752b                   Address Redacted                     First Class Mail
42ab8e51‐09fc‐4b56‐ad4a‐51c87d1d1bc1                   Address Redacted                     First Class Mail
42acc8fe‐161a‐4021‐ab6a‐64ba23b07948                   Address Redacted                     First Class Mail
42b2fb12‐81e9‐4769‐af6c‐1e1d2ee7ccd6                   Address Redacted                     First Class Mail
42b48eef‐fa63‐47df‐9578‐085d24240792                   Address Redacted                     First Class Mail
42b955c6‐c2b2‐4d16‐a45e‐959c5045e4e1                   Address Redacted                     First Class Mail
42ba77a3‐687e‐4f12‐a1fe‐afd21089af1e                   Address Redacted                     First Class Mail
42bc1309‐4a63‐46ce‐8bec‐2b5ee6f39a58                   Address Redacted                     First Class Mail




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                               Name                                             Address                        Method of Service
42bd77fe‐c659‐4e76‐8e34‐a00a3a978605                   Address Redacted                     First Class Mail
42c029a4‐5456‐4ea1‐8487‐657441da11c4                   Address Redacted                     First Class Mail
42c09069‐2a42‐4bab‐b742‐40757e517cda                   Address Redacted                     First Class Mail
42c38229‐f8d3‐4245‐ab1a‐e9f621614a64                   Address Redacted                     First Class Mail
42c49226‐1bea‐4c7e‐93b0‐243ffd2b7ad1                   Address Redacted                     First Class Mail
42c64fc8‐0daa‐4b5c‐84d5‐f25641ad7bb6                   Address Redacted                     First Class Mail
42c6fb33‐76c1‐4a19‐b245‐e9532b2a20d5                   Address Redacted                     First Class Mail
42c76fd0‐5e26‐46a8‐aeeb‐49a7017aeafa                   Address Redacted                     First Class Mail
42c77592‐5eb6‐4ef7‐ab15‐2392f6a774d9                   Address Redacted                     First Class Mail
42ca06b9‐4cc2‐4ea8‐b82e‐2f8321821154                   Address Redacted                     First Class Mail
42cbb690‐3985‐4d55‐b597‐b49dc65491f7                   Address Redacted                     First Class Mail
42cbfb01‐f72c‐45f9‐a2fe‐07a982ece633                   Address Redacted                     First Class Mail
42cc7e22‐c12a‐463f‐b3dc‐580c2a89e8d3                   Address Redacted                     First Class Mail
42ccad72‐fb6b‐48e9‐b65f‐6d9345131a76                   Address Redacted                     First Class Mail
42cf3a34‐3a5a‐4148‐bb8f‐10c20a82766b                   Address Redacted                     First Class Mail
42d345d9‐3e85‐437b‐9b6b‐2a010fbf2da0                   Address Redacted                     First Class Mail
42d4b2d9‐85b3‐4fee‐b37a‐cd0265b9d66a                   Address Redacted                     First Class Mail
42d5bf5f‐9dfe‐47e5‐8f94‐b555de3939f6                   Address Redacted                     First Class Mail
42d988eb‐0fdc‐4e82‐95f9‐40ce4f86d46a                   Address Redacted                     First Class Mail
42da92b1‐43b1‐4ff4‐a065‐77fd5ec6a068                   Address Redacted                     First Class Mail
42dc8671‐6064‐4a8c‐b95f‐73cff982601d                   Address Redacted                     First Class Mail
42e11261‐1aa9‐4513‐9fc8‐458c5e075041                   Address Redacted                     First Class Mail
42e255f6‐5855‐4813‐8f13‐3b1b157029df                   Address Redacted                     First Class Mail
42e9e2c0‐5bf9‐4a2a‐b30f‐d7fbcb87f8d5                   Address Redacted                     First Class Mail
42f66494‐a2cc‐40b0‐9ea1‐93e990c7ca10                   Address Redacted                     First Class Mail
42fa119b‐880f‐44ac‐8839‐f0e4a296a7da                   Address Redacted                     First Class Mail
42fe716e‐e3cb‐4f9c‐93de‐3d306a88dbbc                   Address Redacted                     First Class Mail
4308e9e8‐9059‐4af3‐b82f‐b0ffc83958b4                   Address Redacted                     First Class Mail
430a99e0‐5ccd‐4345‐b6b2‐8c72a9fcfa81                   Address Redacted                     First Class Mail
430bdb10‐ae96‐412b‐a9de‐de5753f6ccfc                   Address Redacted                     First Class Mail
430d400b‐a655‐45de‐aad2‐af8257107b7c                   Address Redacted                     First Class Mail
430f87f6‐3029‐49f2‐a62c‐b98a7cd0a355                   Address Redacted                     First Class Mail
43103d72‐2eeb‐468f‐a1be‐27cc777dae9c                   Address Redacted                     First Class Mail
43108a19‐84f1‐46ae‐b791‐3680a49f322a                   Address Redacted                     First Class Mail
43109170‐4029‐43ab‐8e7c‐01db52c7d26d                   Address Redacted                     First Class Mail
43129030‐5de5‐4ddd‐9a0e‐0bb8946d8519                   Address Redacted                     First Class Mail
43132fcf‐de1f‐4e3a‐a672‐d137ba69390a                   Address Redacted                     First Class Mail
43164020‐ffff‐47b7‐bccf‐c1351ffa3f3a                   Address Redacted                     First Class Mail
43170a9b‐2f8c‐4fd4‐bd61‐1d53345e6472                   Address Redacted                     First Class Mail
43170c50‐6ea0‐4c13‐8911‐db219f6bf5e6                   Address Redacted                     First Class Mail
43171b99‐97c8‐4780‐8fe7‐57a0698d929b                   Address Redacted                     First Class Mail
43183093‐f4f3‐451d‐9c71‐24634ded5f3c                   Address Redacted                     First Class Mail
43195dba‐db93‐43d4‐a568‐0c143fef8e57                   Address Redacted                     First Class Mail
431a0c7d‐dfc8‐461f‐b4da‐46e013c03921                   Address Redacted                     First Class Mail
431c6e84‐4ea4‐49ef‐8112‐ec461c10da23                   Address Redacted                     First Class Mail
431efa9e‐0bfe‐42e7‐a96c‐8955ca8ec1a8                   Address Redacted                     First Class Mail
4320e62d‐2b65‐48c6‐8660‐345c24bbc26b                   Address Redacted                     First Class Mail
4321f6a7‐696e‐46f9‐81cf‐c8448ba66d33                   Address Redacted                     First Class Mail
4322fd93‐b80c‐4d0a‐9d60‐57c5cac40037                   Address Redacted                     First Class Mail
4324bf9a‐1d42‐4f9c‐83ee‐a5d94839f4f3                   Address Redacted                     First Class Mail
43261acd‐ce13‐4ce0‐956b‐e600c31ec115                   Address Redacted                     First Class Mail
432f1c32‐a68f‐4adf‐b98c‐d92d6b56d174                   Address Redacted                     First Class Mail
433450bb‐99e1‐42ed‐9cc5‐4ec6163228dc                   Address Redacted                     First Class Mail
4334e007‐d56e‐4f34‐94e9‐c1168fbd122e                   Address Redacted                     First Class Mail
4335784b‐c426‐42d9‐87c6‐47fbdf3e7e81                   Address Redacted                     First Class Mail
4336e6fa‐e3f6‐458d‐9372‐76c2c50ae952                   Address Redacted                     First Class Mail
43380a48‐f2cb‐436c‐b29b‐aa0505323db9                   Address Redacted                     First Class Mail
4338811b‐9939‐4d96‐bcf9‐b83bfb706155                   Address Redacted                     First Class Mail
433aaf87‐a618‐47a6‐bd70‐b29d37c0f988                   Address Redacted                     First Class Mail
433adc53‐eb52‐4a7f‐b168‐172c43396074                   Address Redacted                     First Class Mail
433d0031‐d5b4‐4fca‐9113‐ed2c452cfcd1                   Address Redacted                     First Class Mail
433ecbf0‐7b69‐47d7‐a1f8‐41870aaae018                   Address Redacted                     First Class Mail
43454c67‐4a38‐46c5‐927f‐7f71d1131079                   Address Redacted                     First Class Mail
43463843‐bfba‐4d57‐90fa‐a8f6ee110cc2                   Address Redacted                     First Class Mail
434aaf7d‐e0ff‐47b2‐8f63‐a6084cfb2792                   Address Redacted                     First Class Mail
434c5316‐8439‐4750‐be48‐397b644b6bd7                   Address Redacted                     First Class Mail
434c5a78‐efdb‐4438‐8020‐4bf4b92b9262                   Address Redacted                     First Class Mail
434d71c9‐4569‐45d0‐b7f9‐efb81ed39939                   Address Redacted                     First Class Mail
434e0b85‐cbec‐47e4‐b019‐075c05e44f83                   Address Redacted                     First Class Mail
434f8853‐fe23‐4246‐ad52‐d6a1fa74c66c                   Address Redacted                     First Class Mail
43523bb3‐134e‐4ddf‐a44f‐c5e25ab51a1c                   Address Redacted                     First Class Mail
43526f68‐99f1‐4e96‐b80a‐1dc58e9bd272                   Address Redacted                     First Class Mail




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                                                                 Service List


                              Name                                              Address                        Method of Service
4353aab6‐2a6e‐4ce9‐8554‐97e8763addb3                   Address Redacted                     First Class Mail
43546c53‐8d05‐46f2‐88c2‐8f87824a6990                   Address Redacted                     First Class Mail
4356c5e5‐962f‐48a1‐ae33‐82a4568123c4                   Address Redacted                     First Class Mail
43581e2a‐fbe9‐4320‐a49f‐d7ddee14c2a9                   Address Redacted                     First Class Mail
43597852‐d2ef‐485a‐a742‐2615fb19c2e0                   Address Redacted                     First Class Mail
435c34fb‐188b‐4882‐97f3‐e90c44d1556e                   Address Redacted                     First Class Mail
435fc7d9‐2463‐48ae‐959f‐9df59e2eab9c                   Address Redacted                     First Class Mail
43664c4f‐e30a‐46fc‐b35e‐1ee848ef775a                   Address Redacted                     First Class Mail
436800b5‐80c4‐4e05‐a69c‐eb696f171d13                   Address Redacted                     First Class Mail
43689b3a‐501d‐4418‐87ce‐a7c6228c83d8                   Address Redacted                     First Class Mail
43689f66‐33b5‐4fd4‐8daa‐647ae4961514                   Address Redacted                     First Class Mail
436be120‐fc98‐4d11‐9a03‐87df16f86ae3                   Address Redacted                     First Class Mail
436d1ce3‐4170‐47eb‐bee5‐8d74bfefe360                   Address Redacted                     First Class Mail
436fb0c5‐8856‐486e‐8987‐7e8ae4ac7546                   Address Redacted                     First Class Mail
43700ace‐ee37‐4128‐9334‐ff17e2ae4577                   Address Redacted                     First Class Mail
437393a1‐84f7‐40c5‐9d6e‐4b77d0e8362e                   Address Redacted                     First Class Mail
437ce4ab‐b409‐423b‐a529‐5b7c7dcbf589                   Address Redacted                     First Class Mail
437d393e‐fc2c‐494e‐93ed‐d8f3bae8cd2b                   Address Redacted                     First Class Mail
43803dea‐79c3‐4113‐9f0b‐a5a20283dff5                   Address Redacted                     First Class Mail
4380f229‐84b8‐4386‐afb2‐ea26d903b28f                   Address Redacted                     First Class Mail
4386a45f‐dbfd‐41a7‐a94b‐8462429f725f                   Address Redacted                     First Class Mail
438b06d7‐3aaa‐41be‐8fdc‐ccaf340fae54                   Address Redacted                     First Class Mail
438d5956‐fec3‐47b5‐b0b3‐3e611da1935b                   Address Redacted                     First Class Mail
438e091f‐a0a8‐485f‐a3cc‐e116cc3cc2a7                   Address Redacted                     First Class Mail
438fddcf‐42c7‐4e1f‐975e‐2e457b7e4882                   Address Redacted                     First Class Mail
439a0392‐8485‐40ba‐aa1b‐1f5e5fbb2e90                   Address Redacted                     First Class Mail
439b250b‐69d8‐4cc2‐9dcb‐8868c488d41b                   Address Redacted                     First Class Mail
439bd70c‐0849‐488c‐ac04‐6a9175600691                   Address Redacted                     First Class Mail
439c3a4a‐5c12‐486a‐a3f4‐8211025abddb                   Address Redacted                     First Class Mail
439c8c5e‐7912‐41e8‐b15b‐e89f1299d790                   Address Redacted                     First Class Mail
439de83e‐bf06‐41b8‐a8b9‐648ca1beaa5a                   Address Redacted                     First Class Mail
439e3e6a‐2169‐4722‐9c8b‐e91ad7f4f60c                   Address Redacted                     First Class Mail
439f23c9‐986b‐4cf3‐b114‐0dc40c61e25e                   Address Redacted                     First Class Mail
43a564a4‐7411‐4f3e‐bd30‐25eadd6b71ad                   Address Redacted                     First Class Mail
43a59717‐ff40‐46fa‐aecf‐dfad05dba6a8                   Address Redacted                     First Class Mail
43a633a3‐f635‐456f‐832d‐1559bdaf5fbd                   Address Redacted                     First Class Mail
43a92484‐75ed‐46bd‐9f48‐2e53f9326a57                   Address Redacted                     First Class Mail
43a9facd‐244e‐4a4a‐b794‐2b2322101c19                   Address Redacted                     First Class Mail
43aa0e61‐f828‐43c8‐b87a‐d5e0a0def65c                   Address Redacted                     First Class Mail
43ac780c‐a5ab‐40a8‐85cb‐3afd917e75a4                   Address Redacted                     First Class Mail
43acadf2‐4c10‐42ed‐8808‐24b13544ed1f                   Address Redacted                     First Class Mail
43adab07‐da76‐4a22‐93a1‐99ded8a867f4                   Address Redacted                     First Class Mail
43b02f4e‐55e7‐4909‐9129‐b9f794d50369                   Address Redacted                     First Class Mail
43b385cf‐1266‐455a‐96a7‐e64d4621cc35                   Address Redacted                     First Class Mail
43b3a1c6‐14b6‐4cd6‐aea0‐ced756067a3d                   Address Redacted                     First Class Mail
43b55e05‐2f59‐4fff‐935d‐a0fb3ba7662b                   Address Redacted                     First Class Mail
43b562f7‐ee71‐4285‐9fba‐d0523d27787c                   Address Redacted                     First Class Mail
43b9b2cc‐6617‐4a62‐806d‐04f8721d4209                   Address Redacted                     First Class Mail
43bac0af‐e2f8‐4128‐a954‐eb593bb1f94b                   Address Redacted                     First Class Mail
43c18494‐55e3‐4599‐869c‐54a9929a2f1a                   Address Redacted                     First Class Mail
43c722f3‐8926‐4ab8‐bcec‐c28eaf1835ea                   Address Redacted                     First Class Mail
43c7cb1f‐db40‐4d74‐b793‐f9a70367da66                   Address Redacted                     First Class Mail
43cb0ca5‐00ec‐4a54‐bb8f‐8e1d3f35f852                   Address Redacted                     First Class Mail
43cb3cef‐66fd‐4d1e‐a78e‐0d7daf39cd92                   Address Redacted                     First Class Mail
43cbc559‐9f6c‐40e0‐9d12‐e6228bdbf16a                   Address Redacted                     First Class Mail
43ce38f5‐aada‐4c8f‐ae6d‐28db37454693                   Address Redacted                     First Class Mail
43d87d18‐fdf0‐428e‐aad8‐ba7ba6ed60a0                   Address Redacted                     First Class Mail
43d95ee9‐feb7‐46bc‐83cb‐61cd9462edf1                   Address Redacted                     First Class Mail
43db7067‐a9fd‐4a8a‐a83f‐79cc63dafa01                   Address Redacted                     First Class Mail
43dc474a‐5c16‐4478‐9bd9‐97ca78d0fd3b                   Address Redacted                     First Class Mail
43e1ea65‐0e46‐4c4e‐90ef‐385d81684685                   Address Redacted                     First Class Mail
43ebedc8‐ad78‐4c4c‐a212‐534218896ba8                   Address Redacted                     First Class Mail
43ece8f0‐0269‐4ebc‐93a1‐f6f27441bfcc                   Address Redacted                     First Class Mail
43f181a6‐6dc8‐4c42‐8b5c‐fb3dfdb3fbcf                   Address Redacted                     First Class Mail
43f3d9e0‐9d9e‐4692‐97d9‐49558836ad0c                   Address Redacted                     First Class Mail
43f48cef‐d049‐4ed3‐8f30‐b3c09c7559f6                   Address Redacted                     First Class Mail
43fcda19‐5a99‐4823‐885b‐f9824b82d97a                   Address Redacted                     First Class Mail
43fd7bc9‐5c95‐49df‐a772‐06cda33938f1                   Address Redacted                     First Class Mail
43fe5141‐9f21‐4e2e‐831a‐687001379c44                   Address Redacted                     First Class Mail
43ff4465‐40b4‐41a3‐8a0a‐fcb99aecb0e4                   Address Redacted                     First Class Mail
43fface1‐a473‐4f76‐8559‐8754575d0a25                   Address Redacted                     First Class Mail
4401021c‐a40c‐4812‐ac33‐9a942d6e9295                   Address Redacted                     First Class Mail




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                                                                 Service List


                              Name                                              Address                        Method of Service
4408bf18‐35d7‐49af‐99ee‐25cf87513118                   Address Redacted                     First Class Mail
440ce094‐ee52‐4963‐9dae‐34751eb91831                   Address Redacted                     First Class Mail
440daf9a‐e822‐475a‐953b‐f0f136f6e15b                   Address Redacted                     First Class Mail
4412b2ee‐b6e6‐4275‐a5f5‐ad6e3910cffa                   Address Redacted                     First Class Mail
441496d3‐2e22‐419f‐aeb8‐101c58eb69e9                   Address Redacted                     First Class Mail
44178195‐8468‐4a1a‐bba1‐5e2cc19cb73e                   Address Redacted                     First Class Mail
4417be34‐430c‐4f37‐af38‐5773712aafe9                   Address Redacted                     First Class Mail
4417eccc‐37bf‐4bcd‐8c99‐bc11a8659442                   Address Redacted                     First Class Mail
441914c1‐ca13‐4f8f‐be56‐c8709ee459a9                   Address Redacted                     First Class Mail
441bb092‐4652‐415a‐ba0f‐1b570a4ca313                   Address Redacted                     First Class Mail
441ce5e3‐4608‐4021‐aed9‐22b010688eb9                   Address Redacted                     First Class Mail
44248af5‐6cfd‐4a7a‐99db‐e121d8924aa9                   Address Redacted                     First Class Mail
4426afc6‐292a‐4db2‐a699‐f29320e7b891                   Address Redacted                     First Class Mail
442954ca‐cadc‐4d1d‐9293‐394e11c89f85                   Address Redacted                     First Class Mail
442aa009‐e6c6‐44a3‐b586‐9176e2e6cc85                   Address Redacted                     First Class Mail
442bd6a2‐32c2‐4ef1‐9f87‐bf7fd8e0cd7b                   Address Redacted                     First Class Mail
442c2947‐75c1‐4aeb‐9398‐d2c4520bbb3e                   Address Redacted                     First Class Mail
442c4708‐de45‐48d9‐9acf‐015ceb7d4c19                   Address Redacted                     First Class Mail
44303ce2‐2ed6‐4f55‐a6d3‐d337b6f0d703                   Address Redacted                     First Class Mail
44304c31‐b141‐4b59‐bba9‐c0cb4ddf286f                   Address Redacted                     First Class Mail
44355f7b‐7544‐4ebb‐a1e9‐e09e69fa86a4                   Address Redacted                     First Class Mail
443668fb‐54c4‐46ea‐afc1‐0813a71af4d8                   Address Redacted                     First Class Mail
4437f64c‐a843‐44fc‐bec1‐b01843d68178                   Address Redacted                     First Class Mail
44386a37‐4998‐4532‐b3c6‐3f154b95d883                   Address Redacted                     First Class Mail
443e8d43‐f145‐4363‐88c6‐aaf083c107d6                   Address Redacted                     First Class Mail
44414152‐2039‐4f8f‐8a36‐d91673f0ea07                   Address Redacted                     First Class Mail
4443b5eb‐d80e‐41c7‐a8c7‐a59f9a4d96d8                   Address Redacted                     First Class Mail
44445d9e‐32d4‐4bba‐a951‐cbabae272d5c                   Address Redacted                     First Class Mail
4445c1cb‐f9ac‐4e10‐a6cd‐aa458d724fb0                   Address Redacted                     First Class Mail
44498320‐7efd‐4d30‐8525‐3463adc9eff6                   Address Redacted                     First Class Mail
4449ad6e‐6f3f‐44cf‐9580‐431a39c3776b                   Address Redacted                     First Class Mail
444ab392‐992e‐466d‐9516‐fa9404b8e1f2                   Address Redacted                     First Class Mail
444c3667‐9105‐437f‐8100‐36c6b0e88f44                   Address Redacted                     First Class Mail
444ca9eb‐726f‐48aa‐91c6‐727a1626f2ad                   Address Redacted                     First Class Mail
444de826‐3dc6‐4536‐ba67‐8d01fed5c343                   Address Redacted                     First Class Mail
444edede‐e32d‐4bca‐8bfa‐3aa9de8de4a4                   Address Redacted                     First Class Mail
444ffa4d‐f84a‐462f‐9252‐15f1e00137a6                   Address Redacted                     First Class Mail
44528016‐e68c‐4f98‐94c8‐efb9348e6790                   Address Redacted                     First Class Mail
4453bc49‐c2ee‐491a‐b427‐08042cb4568a                   Address Redacted                     First Class Mail
4456ac64‐c978‐4927‐a8dd‐392389834c27                   Address Redacted                     First Class Mail
4458fd0e‐773a‐4a7b‐9e49‐fd568003a998                   Address Redacted                     First Class Mail
4459670d‐17df‐4ec8‐ad45‐16811273106f                   Address Redacted                     First Class Mail
445e49a7‐4e62‐4739‐83ce‐6a2b84e6b44e                   Address Redacted                     First Class Mail
4462b0ab‐b9dc‐41bb‐a4bb‐b4a14d5d30b2                   Address Redacted                     First Class Mail
4462fe07‐50c6‐4787‐a327‐f7957bd23bfe                   Address Redacted                     First Class Mail
4463ece7‐2d64‐4846‐b8ff‐7ddddd60566c                   Address Redacted                     First Class Mail
446465e2‐4f8f‐44be‐b0fc‐58d60263c270                   Address Redacted                     First Class Mail
44660537‐6b82‐44bc‐9b4e‐73b3d97a98f1                   Address Redacted                     First Class Mail
446670e2‐2f1b‐4d2c‐a321‐abdfe2886f28                   Address Redacted                     First Class Mail
446a2f76‐3669‐4023‐b636‐0ad94abbeae1                   Address Redacted                     First Class Mail
446aa6c7‐1aa2‐47bd‐8b46‐6ab4cb2ad0f6                   Address Redacted                     First Class Mail
446aa87d‐3288‐4649‐98ba‐eb532b2c99bd                   Address Redacted                     First Class Mail
4470b220‐14b0‐46e9‐b5a4‐ef7c65ebcadd                   Address Redacted                     First Class Mail
44776ba9‐3117‐477c‐a281‐397c476469dc                   Address Redacted                     First Class Mail
4479345a‐db1a‐41dc‐8ede‐9c931a5237f4                   Address Redacted                     First Class Mail
447db713‐a372‐4b2b‐a445‐6cdc00fb397f                   Address Redacted                     First Class Mail
4480a366‐c539‐496f‐8439‐b3916ae4a323                   Address Redacted                     First Class Mail
44875f7a‐6db6‐420d‐b10a‐c7779df6d2c7                   Address Redacted                     First Class Mail
4487819e‐285f‐4b40‐b357‐d7e6214f4449                   Address Redacted                     First Class Mail
44882610‐8cab‐451e‐9045‐253ecabe902d                   Address Redacted                     First Class Mail
44896367‐3f71‐4aa7‐ab29‐39ce7541e825                   Address Redacted                     First Class Mail
448e11b0‐dbf3‐4d7b‐a115‐15fd47668b33                   Address Redacted                     First Class Mail
448f023c‐85a6‐4828‐9325‐2eb05eec3add                   Address Redacted                     First Class Mail
448f5c7f‐5a57‐4978‐b00d‐e62eeb6e4e4d                   Address Redacted                     First Class Mail
4490d995‐3b80‐458f‐9dbc‐3b038a18df0a                   Address Redacted                     First Class Mail
44932607‐32cf‐4628‐b3df‐caa1daf91cab                   Address Redacted                     First Class Mail
4494914b‐97d3‐48c0‐aa22‐bd999ea7cb7a                   Address Redacted                     First Class Mail
4496a13a‐9e8c‐42c3‐9cd8‐1d16b1fd67a1                   Address Redacted                     First Class Mail
449b002d‐352e‐4642‐ae9a‐5068d6d7590c                   Address Redacted                     First Class Mail
449c5c69‐39af‐4f5c‐8c4e‐ddd403de7e6d                   Address Redacted                     First Class Mail
449ce564‐8eda‐430e‐a269‐22c7ef40f437                   Address Redacted                     First Class Mail
449fdf04‐cdf8‐40b1‐9c2f‐bd4669fb0d1d                   Address Redacted                     First Class Mail




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                              Name                                              Address                         Method of Service
44a3a16b‐1df0‐48ca‐9f96‐da9469592aa5                   Address Redacted                      First Class Mail
44a3c03e‐78c0‐44d4‐b107‐2eb9837d73be                   Address Redacted                      First Class Mail
44a52a33‐ff69‐429b‐b582‐05d9a54afd71                   Address Redacted                      First Class Mail
44ab311c‐2648‐4057‐986d‐d7e66268d550                   Address Redacted                      First Class Mail
44acc24c‐40f5‐4274‐b505‐88e5c528d1a2                   Address Redacted                      First Class Mail
44aefa6e‐bcf6‐4f1e‐9db8‐ab175705cfd1                   Address Redacted                      First Class Mail
44b13ce2‐5e57‐4954‐9749‐cd1b8d7c3011                   Address Redacted                      First Class Mail
44b5414e‐23ca‐46cf‐bb5c‐e054ebec61d4                   Address Redacted                      First Class Mail
44b77d24‐50e9‐48df‐9e92‐dd885d985476                   Address Redacted                      First Class Mail
44b7d4ce‐ea48‐4c35‐b232‐7df6a77b7f9f                   Address Redacted                      First Class Mail
44bb828f‐29b9‐4477‐b2ab‐c23be44dd0fb                   Address Redacted                      First Class Mail
44bbd013‐b187‐49a7‐afde‐5f0304020f34                   Address Redacted                      First Class Mail
44bd44ff‐b19c‐40b7‐9d6e‐79b07bd55293                   Address Redacted                      First Class Mail
44be16d8‐4d80‐4527‐a0d4‐c7d5a1833ac5                   Address Redacted                      First Class Mail
44c096ea‐be72‐467c‐8f63‐5e11cf945780                   Address Redacted                      First Class Mail
44c20664‐0b04‐4365‐857e‐3400bf3f30c7                   Address Redacted                      First Class Mail
44c5d519‐902a‐4a71‐8c97‐c00fc5f6b078                   Address Redacted                      First Class Mail
44ccafe1‐ad12‐4a4a‐9d0f‐e41299166e65                   Address Redacted                      First Class Mail
44cdcab3‐b3f1‐410c‐a113‐607c5aa7cc85                   Address Redacted                      First Class Mail
44cfb450‐d37e‐45db‐a03d‐c67381d96a40                   Address Redacted                      First Class Mail
44d0404c‐5d0a‐420d‐9173‐95ba711b9198                   Address Redacted                      First Class Mail
44db7e22‐529b‐4353‐bd2e‐f22106b36a64                   Address Redacted                      First Class Mail
44df050e‐c696‐413a‐b1de‐267ae20d756a                   Address Redacted                      First Class Mail
44e73517‐33f1‐4f3a‐ad20‐28a9f53c6eba                   Address Redacted                      First Class Mail
44e999e6‐85a0‐44ea‐a799‐f9646b6feacc                   Address Redacted                      First Class Mail
44ebee1d‐353a‐440a‐8b33‐107dcbf114cf                   Address Redacted                      First Class Mail
44ed3aa8‐988a‐438c‐9a9a‐50b33e822aef                   Address Redacted                      First Class Mail
44ef3c51‐3805‐4d6c‐a907‐cd8cfb797d13                   Address Redacted                      First Class Mail
44efd442‐7104‐45dd‐a3e8‐c602b2427fec                   Address Redacted                      First Class Mail
44f20ef3‐57cb‐45d2‐bed7‐4c4ce37670f9                   Address Redacted                      First Class Mail
44f3436f‐b924‐42cf‐9bca‐a125d9f40aae                   Address Redacted                      First Class Mail
44f4a182‐a230‐4c66‐a70f‐84e46ef1b24a                   Address Redacted                      First Class Mail
44f5dd57‐baae‐4799‐8b4a‐b88ebafa3ed7                   Address Redacted                      First Class Mail
44f69b4d‐4f0b‐4222‐a05a‐6f1ba42fcd12                   Address Redacted                      First Class Mail
44f85dfa‐7923‐485e‐a34a‐2dcbad04ca33                   Address Redacted                      First Class Mail
44f8b44e‐3d0c‐419d‐b9f3‐ebbaaa0c3fd3                   Address Redacted                      First Class Mail
44fa2f9d‐b2db‐426d‐9a10‐a6997f7882c3                   Address Redacted                      First Class Mail
44fecff1‐c0ce‐468d‐983c‐0930330f9a3d                   Address Redacted                      First Class Mail
44ffba6f‐91a9‐459f‐b6af‐013eb5ddfa44                   Address Redacted                      First Class Mail
45049e14‐8d70‐4e45‐8bdc‐6a772ae40191                   Address Redacted                      First Class Mail
4507b67a‐3ed5‐4f70‐bf68‐486c47646a90                   Address Redacted                      First Class Mail
4509df7d‐16a0‐496f‐8e3f‐86199584dc1b                   Address Redacted                      First Class Mail
450e0e8a‐559b‐4298‐ac74‐0255645239ee                   Address Redacted                      First Class Mail
4511b210‐33ee‐4f9e‐ac84‐2aae5781781f                   Address Redacted                      First Class Mail
4518e70e‐b3ae‐45ce‐810c‐2510895e806c                   Address Redacted                      First Class Mail
4519c33c‐2c8c‐4841‐be57‐447657c224b9                   Address Redacted                      First Class Mail
451b35e0‐fe05‐4097‐900e‐ae830505ef3a                   Address Redacted                      First Class Mail
451e36cb‐f8f2‐40de‐981f‐5a6af836e234                   Address Redacted                      First Class Mail
4525252a‐1cd1‐4c84‐869e‐40a2c062877d                   Address Redacted                      First Class Mail
45272469‐f894‐4f5c‐994f‐bddce1628ac4                   Address Redacted                      First Class Mail
452851c9‐5573‐4721‐8596‐be189b10b00e                   Address Redacted                      First Class Mail
452c8a56‐827e‐4151‐96cf‐0898027c271d                   Address Redacted                      First Class Mail
452cb1f6‐db46‐431b‐bba8‐f3f3c276330c                   Address Redacted                      First Class Mail
45305f60‐73be‐4882‐beb0‐11fe03626486                   Address Redacted                      First Class Mail
4534724a‐b822‐4ac9‐93c9‐12dc05b2abcb                   Address Redacted                      First Class Mail
453d33a7‐f8bc‐4a01‐b702‐4b183acba9cb                   Address Redacted                      First Class Mail
453e649e‐1f99‐41c0‐b8b2‐dcf12e6658bc                   Address Redacted                      First Class Mail
453f0b26‐402e‐4b5e‐b214‐d0cd2fdacc2c                   Address Redacted                      First Class Mail
453f2d38‐db51‐4268‐85e4‐946236e6433b                   Address Redacted                      First Class Mail
454036e8‐79ac‐4e5e‐9836‐bcb244da6c3d                   Address Redacted                      First Class Mail
45420c6c‐b95e‐491a‐b6be‐e39468b5ae2c                   Address Redacted                      First Class Mail
45429940‐aabf‐44b0‐ac58‐37a03cb9e87b                   Address Redacted                      First Class Mail
45444055‐778b‐4cf2‐a28c‐e2959e3d8c66                   Address Redacted                      First Class Mail
4549f4be‐c2aa‐4603‐9190‐c454cc487fe3                   Address Redacted                      First Class Mail
454a4989‐1bef‐42e7‐b2cf‐03767e3fb169                   Address Redacted                      First Class Mail
455301fb‐805d‐47da‐8642‐748e290c6050                   Address Redacted                      First Class Mail
4555155f‐25b6‐47a6‐a221‐c977c0555768                   Address Redacted                      First Class Mail
455abda1‐f913‐46e9‐985c‐460160674fee                   Address Redacted                      First Class Mail
455ebbb1‐8355‐4723‐84d4‐de2229347a45                   Address Redacted                      First Class Mail
455f82a7‐8ae1‐4275‐96c2‐71b756ffd02a                   Address Redacted                      First Class Mail
4563a355‐d767‐480f‐b4a3‐8b85a7483142                   Address Redacted                      First Class Mail
45650dab‐32de‐4929‐893d‐e373ad53b2f7                   Address Redacted                      First Class Mail




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                                                                Exhibit A
                                                                 Service List


                              Name                                              Address                         Method of Service
45674e43‐485a‐4b8b‐9829‐455a5177dbcb                   Address Redacted                      First Class Mail
45690f3c‐070a‐4bca‐ac07‐a7ce17c7a4d8                   Address Redacted                      First Class Mail
456a1b79‐f133‐479e‐ab33‐c668e5655f65                   Address Redacted                      First Class Mail
4576c663‐7f9a‐4e85‐9f7b‐463125330ba8                   Address Redacted                      First Class Mail
45771817‐9f3c‐4af4‐b25a‐a8732e6dba96                   Address Redacted                      First Class Mail
4579d487‐4fba‐43ea‐bd4b‐e18b1f5ee504                   Address Redacted                      First Class Mail
457de6fa‐d9c0‐4ff1‐ba22‐5198bceb5b4b                   Address Redacted                      First Class Mail
457e879a‐42a1‐49fc‐a52f‐17a07ce1dc1e                   Address Redacted                      First Class Mail
457fb73a‐a9c8‐49f2‐8ca5‐82416c27b98b                   Address Redacted                      First Class Mail
458618c4‐1935‐47e6‐af3b‐0abeeff6acb5                   Address Redacted                      First Class Mail
4588807f‐22ac‐4cca‐b25f‐e6f5583f4b4c                   Address Redacted                      First Class Mail
4588d0dd‐3bc1‐40d2‐a7ea‐4405440f426e                   Address Redacted                      First Class Mail
458b0015‐9131‐40f1‐9ac8‐ad3aac55abe4                   Address Redacted                      First Class Mail
458d3cb6‐caa7‐41fc‐bee2‐7f3bdc417c00                   Address Redacted                      First Class Mail
458eb2c3‐e8a2‐4b0c‐ad4e‐e577993364b6                   Address Redacted                      First Class Mail
458f0cbc‐467a‐4339‐af68‐ab72d1b21510                   Address Redacted                      First Class Mail
4590470e‐029e‐400e‐976f‐e1f94015e6b5                   Address Redacted                      First Class Mail
45909f92‐bdde‐4c45‐9d86‐867ff3b64e30                   Address Redacted                      First Class Mail
4590e60c‐e12d‐431a‐9a64‐1b2d104c6495                   Address Redacted                      First Class Mail
4591d4e7‐c098‐46ea‐94ab‐40eefb3c7c40                   Address Redacted                      First Class Mail
45950ead‐d2df‐40e7‐9758‐38739867b0e1                   Address Redacted                      First Class Mail
4595af17‐9cd3‐4ed0‐a7d3‐8721f18c0c86                   Address Redacted                      First Class Mail
4597c378‐28fc‐4ebf‐9140‐112b0e2bbdd1                   Address Redacted                      First Class Mail
459a4dc4‐4eff‐4a02‐946a‐6e4d32054a20                   Address Redacted                      First Class Mail
459b992c‐2d2a‐4cd3‐81b3‐440e94e129ed                   Address Redacted                      First Class Mail
45a38478‐9a4d‐4e70‐a611‐a1ae3558758c                   Address Redacted                      First Class Mail
45a6169e‐488f‐4131‐976b‐ac590bb09116                   Address Redacted                      First Class Mail
45a8680e‐7459‐4acb‐a385‐ca11f166c421                   Address Redacted                      First Class Mail
45a9595e‐e3cf‐422a‐8d79‐eac4f5bc4ea3                   Address Redacted                      First Class Mail
45ab061d‐d00a‐4e7b‐a974‐d27297306e7e                   Address Redacted                      First Class Mail
45ae6df4‐dfaa‐4004‐a274‐13c854ab77d4                   Address Redacted                      First Class Mail
45b05083‐2118‐4ec6‐a12d‐f672f7bfc060                   Address Redacted                      First Class Mail
45b147ef‐2b29‐4c55‐bfb7‐434e4977fee6                   Address Redacted                      First Class Mail
45b26365‐ad0f‐4c27‐b2af‐80443361ca30                   Address Redacted                      First Class Mail
45ba8ae2‐6a43‐4460‐a216‐a07d0d15de82                   Address Redacted                      First Class Mail
45bab22d‐7bb7‐43bd‐ab16‐fb9e09bb0dd8                   Address Redacted                      First Class Mail
45bb6d00‐2f91‐4916‐89b6‐bb1e481d2b76                   Address Redacted                      First Class Mail
45bbb6bc‐d4b7‐4ac5‐bc75‐e2190a9a4fe9                   Address Redacted                      First Class Mail
45bf4ea8‐65c2‐48a6‐bb7d‐80d1f04327bc                   Address Redacted                      First Class Mail
45c44bd7‐6aa8‐4780‐8095‐5aa9aa7492cf                   Address Redacted                      First Class Mail
45cb6f26‐618e‐482a‐b66f‐06921c1b53d1                   Address Redacted                      First Class Mail
45ce0186‐ef62‐4ec1‐8f19‐7b79b246f7e1                   Address Redacted                      First Class Mail
45cfbc26‐e203‐40c1‐a9bf‐9ac064f969c5                   Address Redacted                      First Class Mail
45d48271‐8496‐4557‐a465‐82d0f92dd60c                   Address Redacted                      First Class Mail
45d5cd46‐965e‐4303‐9254‐a724628641ab                   Address Redacted                      First Class Mail
45d64b49‐c9e6‐4ea4‐8e19‐cb6183978f72                   Address Redacted                      First Class Mail
45d7951e‐eb21‐4e47‐bf86‐df8b7a343447                   Address Redacted                      First Class Mail
45dae678‐09dc‐485f‐a07e‐6c02eb62cdba                   Address Redacted                      First Class Mail
45e1472b‐8e39‐417c‐a5c1‐cb6430d2ba51                   Address Redacted                      First Class Mail
45e18d95‐209b‐4ba5‐9086‐41de89ab18c2                   Address Redacted                      First Class Mail
45e2462c‐de15‐4ca2‐8641‐88ee99fce377                   Address Redacted                      First Class Mail
45e25609‐83e1‐4f50‐bc70‐8c4a8eaaf979                   Address Redacted                      First Class Mail
45e39ec2‐e4b5‐4e1f‐967a‐65a07fa1c996                   Address Redacted                      First Class Mail
45ea4a50‐8e05‐4ddf‐93ad‐d2d3f9a0905b                   Address Redacted                      First Class Mail
45eae167‐8685‐4fa5‐811a‐97e35214a208                   Address Redacted                      First Class Mail
45ebd1e0‐55b7‐4924‐a180‐4818519f3714                   Address Redacted                      First Class Mail
45eee514‐9ffe‐4539‐95ae‐1cef73e9b53d                   Address Redacted                      First Class Mail
45f0a952‐628a‐4867‐91c0‐fe8fa2a94043                   Address Redacted                      First Class Mail
45f343c7‐b909‐48c1‐9112‐99b15cd95429                   Address Redacted                      First Class Mail
45f4c7db‐81cf‐4108‐9d0b‐baacf99b10b2                   Address Redacted                      First Class Mail
45f6d53e‐43a4‐476e‐b348‐ed9c31129a47                   Address Redacted                      First Class Mail
45f935f1‐0f0f‐4bb0‐9d61‐50d0d6e73894                   Address Redacted                      First Class Mail
45fb479a‐f833‐4015‐a698‐cee119b006b8                   Address Redacted                      First Class Mail
45fbb916‐26d1‐4003‐9b9d‐8910a06b61e4                   Address Redacted                      First Class Mail
45fcba4a‐6cd3‐4797‐b361‐2a7b7c7171f1                   Address Redacted                      First Class Mail
4601d842‐5d0b‐4e57‐9bd4‐9e4e8b30f57f                   Address Redacted                      First Class Mail
4602ad34‐57c1‐4a34‐9075‐6799b89c0524                   Address Redacted                      First Class Mail
460ba346‐1447‐49c2‐9ad4‐417b8a9ad733                   Address Redacted                      First Class Mail
46101228‐557b‐4199‐8c73‐6bf783573f0d                   Address Redacted                      First Class Mail
4612a5ad‐b31d‐406b‐8ce7‐49c265526c4c                   Address Redacted                      First Class Mail
46191464‐a754‐414c‐aa18‐23de740a047f                   Address Redacted                      First Class Mail
461a3ec5‐abfe‐4e2b‐8273‐9c896abb9da7                   Address Redacted                      First Class Mail




Desolation Holdings LLC, et al., (Case No. 23‐10597)
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                                                                Exhibit A
                                                                 Service List


                              Name                                              Address                         Method of Service
461b8379‐f8a7‐4342‐a6cd‐b705e0dcfc97                   Address Redacted                      First Class Mail
4621edd6‐25fd‐4d7c‐8f84‐065542add9c8                   Address Redacted                      First Class Mail
46235217‐5a43‐4d95‐a58d‐bee51df1807e                   Address Redacted                      First Class Mail
4625be22‐e9c3‐4250‐be88‐62596c0e6d34                   Address Redacted                      First Class Mail
462774bd‐71b2‐4344‐9820‐1f772ab65c15                   Address Redacted                      First Class Mail
4627dfd1‐3949‐43c7‐822e‐9dcea051269f                   Address Redacted                      First Class Mail
462c09e8‐d7d3‐4feb‐a9b0‐c54c5c3a90fc                   Address Redacted                      First Class Mail
462d0479‐1b18‐4028‐838b‐fca98e5a2af8                   Address Redacted                      First Class Mail
4631b28f‐622a‐4093‐aa6a‐db0542987223                   Address Redacted                      First Class Mail
463365c9‐2631‐423c‐907e‐4b0e4c37ca3f                   Address Redacted                      First Class Mail
4633d0d0‐c877‐4292‐a073‐126d3e5321a9                   Address Redacted                      First Class Mail
463a8da5‐1247‐466c‐bcc8‐3202892ba7c7                   Address Redacted                      First Class Mail
463b81c3‐7ae9‐455a‐bec4‐d817aa525fc6                   Address Redacted                      First Class Mail
463e0221‐e329‐4fd0‐95b4‐e76e51f97db2                   Address Redacted                      First Class Mail
4640b888‐7128‐458a‐956f‐dc8a9309eb1c                   Address Redacted                      First Class Mail
4640be44‐b1c1‐4c64‐b3ea‐3d08212de1ed                   Address Redacted                      First Class Mail
464171a6‐d9c8‐42c5‐80f4‐c394fcfe8996                   Address Redacted                      First Class Mail
4641a171‐e0a7‐4573‐8eee‐2c699bf4aa40                   Address Redacted                      First Class Mail
46470602‐362d‐416e‐bedb‐851bc0984ced                   Address Redacted                      First Class Mail
464e23de‐57bf‐44e1‐8f1f‐298a9162773e                   Address Redacted                      First Class Mail
46506872‐54bd‐4c6c‐b4e8‐d9f4770dae47                   Address Redacted                      First Class Mail
4656109b‐939f‐4f5b‐99a9‐5e51fd8d3d14                   Address Redacted                      First Class Mail
465c870b‐f487‐454b‐8a34‐b47529e2898a                   Address Redacted                      First Class Mail
465fbbb9‐5bf0‐4380‐8b7d‐29d6658266d0                   Address Redacted                      First Class Mail
466247c8‐5794‐4b9f‐b6b2‐e8fe712101a3                   Address Redacted                      First Class Mail
4664dfc3‐18c8‐48bd‐b5e2‐d36c04151a8a                   Address Redacted                      First Class Mail
4665305f‐9eb5‐4803‐9e4f‐6af0c1157aea                   Address Redacted                      First Class Mail
46699a7b‐f97a‐40da‐b4ac‐324c142992a5                   Address Redacted                      First Class Mail
4669b089‐ad77‐40c7‐8c4d‐42a16f22d70d                   Address Redacted                      First Class Mail
466a338e‐548b‐46fd‐ba8f‐223f47b9129f                   Address Redacted                      First Class Mail
466ab473‐42e5‐4339‐8179‐1bf011d6140e                   Address Redacted                      First Class Mail
466f47aa‐85da‐4839‐8d61‐fbcec639254c                   Address Redacted                      First Class Mail
4670048b‐28df‐4f7d‐9d22‐1b07839cffab                   Address Redacted                      First Class Mail
4671a5b3‐4c7d‐424b‐b2fd‐8898c15ffea8                   Address Redacted                      First Class Mail
46723dbf‐308d‐47a5‐bd72‐d6246bdec66e                   Address Redacted                      First Class Mail
467442fa‐ac2b‐4cec‐a61c‐84cf78b29b96                   Address Redacted                      First Class Mail
4675cab5‐cb83‐4f56‐94cc‐8d5ed8893362                   Address Redacted                      First Class Mail
46771952‐da88‐4fbc‐961e‐4c0d6064aaf2                   Address Redacted                      First Class Mail
467a92ac‐6331‐45c4‐982c‐710b258fca88                   Address Redacted                      First Class Mail
467e57db‐fbca‐47a9‐ac98‐9c795f00820b                   Address Redacted                      First Class Mail
46803d90‐488e‐4698‐85e6‐c8e35f644139                   Address Redacted                      First Class Mail
46835582‐3279‐4d3e‐9ee5‐496d9b9cca0e                   Address Redacted                      First Class Mail
46847d57‐ca6b‐457f‐8c35‐7ac8e0351b46                   Address Redacted                      First Class Mail
4687db82‐08a1‐4dca‐b457‐a977858e007c                   Address Redacted                      First Class Mail
468a4cce‐3212‐496f‐93f9‐3f171d64a206                   Address Redacted                      First Class Mail
468ec816‐7575‐48b7‐bb6f‐48f6737c0d87                   Address Redacted                      First Class Mail
46905800‐bb7c‐4593‐ad93‐05d300d0d669                   Address Redacted                      First Class Mail
46916fea‐3f3b‐4bdb‐ae0b‐58ac0adfac2a                   Address Redacted                      First Class Mail
469209c5‐ec81‐46b0‐b5fa‐1833d2cee86c                   Address Redacted                      First Class Mail
4692aed4‐3a6e‐4321‐96c4‐266f6b36b08f                   Address Redacted                      First Class Mail
46970ab7‐2b31‐43e9‐9044‐276c50aafb65                   Address Redacted                      First Class Mail
469ac7b7‐1aeb‐4aba‐bbfb‐684c2cec0380                   Address Redacted                      First Class Mail
469af2d1‐5e2a‐45db‐aaa7‐98556c93742a                   Address Redacted                      First Class Mail
469e22e1‐1d57‐4b66‐9a2a‐feb1fafd0898                   Address Redacted                      First Class Mail
46a48e52‐f6f1‐4ece‐8fbe‐1bd7880f05f3                   Address Redacted                      First Class Mail
46a598e3‐fcbb‐4007‐a87e‐f06f9f10f979                   Address Redacted                      First Class Mail
46a76724‐e35e‐4ca7‐b6e8‐b05bac59a694                   Address Redacted                      First Class Mail
46a77e65‐0267‐4b1f‐91f1‐140c4299167f                   Address Redacted                      First Class Mail
46a929e4‐8b5c‐460e‐947d‐88cc88a2e7ae                   Address Redacted                      First Class Mail
46ac1d42‐74e3‐46bf‐b33f‐c33b0114e4fb                   Address Redacted                      First Class Mail
46acc4b2‐e135‐4b48‐985b‐7891fa2e8478                   Address Redacted                      First Class Mail
46ad52bb‐9fc8‐41a0‐9471‐c2d6497f01af                   Address Redacted                      First Class Mail
46b4c5fb‐212b‐46da‐b524‐5e7122d2e7b5                   Address Redacted                      First Class Mail
46b7a9f8‐7772‐4f55‐93fd‐1b4382fc7d72                   Address Redacted                      First Class Mail
46b963fa‐5b5d‐422e‐a2e5‐10371974ebf1                   Address Redacted                      First Class Mail
46c73278‐fdcf‐47e7‐9e72‐e6cea5896dd8                   Address Redacted                      First Class Mail
46cad8a4‐266d‐43d6‐9df5‐f32e1bcec8d0                   Address Redacted                      First Class Mail
46cbccee‐2597‐4bb6‐8731‐401cf243de0f                   Address Redacted                      First Class Mail
46d0afc6‐69ab‐451d‐8545‐6e82c4696224                   Address Redacted                      First Class Mail
46d44447‐1449‐4e85‐a7e6‐5553bb83c0fe                   Address Redacted                      First Class Mail
46d4cfb0‐95b9‐4d7b‐a831‐36adec1eaf70                   Address Redacted                      First Class Mail
46d55046‐cb2b‐413c‐9db6‐a79a44c37030                   Address Redacted                      First Class Mail




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                                                                Exhibit A
                                                                 Service List


                              Name                                              Address                         Method of Service
46d5d6ba‐9fcd‐44d9‐bbba‐153cc3169063                   Address Redacted                      First Class Mail
46d6e609‐08b1‐4e1e‐b560‐7fbf3a8d969c                   Address Redacted                      First Class Mail
46d7d995‐6174‐4e8e‐ad5f‐301e4db428df                   Address Redacted                      First Class Mail
46da374d‐5d5d‐406d‐b331‐25e494ba2477                   Address Redacted                      First Class Mail
46dc6f07‐417b‐4bdb‐a6eb‐ca9b9aafca77                   Address Redacted                      First Class Mail
46df6271‐28ea‐413f‐95b7‐ad039743060c                   Address Redacted                      First Class Mail
46e4ad4b‐375d‐4607‐a61d‐cbdfefe9ee6a                   Address Redacted                      First Class Mail
46e7a94c‐0939‐4ea7‐b1b7‐1fe608af0f89                   Address Redacted                      First Class Mail
46ecc7b2‐39f8‐4830‐a8f9‐6053e45cb189                   Address Redacted                      First Class Mail
46eda545‐c710‐4c62‐9b57‐6ff79873127c                   Address Redacted                      First Class Mail
46ee84f8‐4441‐445b‐8f3f‐32fabe0f8d41                   Address Redacted                      First Class Mail
46f33eb2‐7ad3‐496f‐81a8‐1a23508b84e9                   Address Redacted                      First Class Mail
46f5d625‐58c6‐4544‐b5b6‐27d1aa4fb27d                   Address Redacted                      First Class Mail
46f90d36‐caf9‐4656‐a3ef‐77bbd7743239                   Address Redacted                      First Class Mail
46fcae86‐55ae‐4363‐9001‐8b37894228c0                   Address Redacted                      First Class Mail
47010f76‐b7ea‐4dc7‐b62b‐5d7e2ebaf95e                   Address Redacted                      First Class Mail
4701fbec‐5493‐4554‐95a1‐514d75c80528                   Address Redacted                      First Class Mail
47024f75‐01c4‐49e3‐8545‐2f14276495e4                   Address Redacted                      First Class Mail
47035a89‐958c‐416c‐8c28‐606d34b5980b                   Address Redacted                      First Class Mail
47056d8d‐0544‐4bb4‐84ea‐f50d09452a10                   Address Redacted                      First Class Mail
470be5a1‐8254‐4928‐9d22‐ae75ae20c814                   Address Redacted                      First Class Mail
470f2e5d‐2c6f‐46d7‐abe9‐280cc079aa01                   Address Redacted                      First Class Mail
4710fd13‐cf4e‐4ef5‐8a13‐fc60766cd22b                   Address Redacted                      First Class Mail
4713c986‐0238‐42a3‐8f14‐7db4474594bf                   Address Redacted                      First Class Mail
47171a89‐0c5e‐4db7‐a952‐4ccce0c277a7                   Address Redacted                      First Class Mail
472486a5‐9a8e‐4b34‐a102‐eb5f4d8f3d22                   Address Redacted                      First Class Mail
4725cb2a‐6d2b‐434a‐9567‐0c517a014c25                   Address Redacted                      First Class Mail
47294f93‐1605‐40ff‐bc33‐59beb507a5c7                   Address Redacted                      First Class Mail
472b21dd‐2947‐4676‐b712‐ad5d8d616b45                   Address Redacted                      First Class Mail
4732e748‐e15b‐4d3e‐8b0e‐3586a0a7a031                   Address Redacted                      First Class Mail
4733c17b‐25d5‐43a6‐8de9‐77cbaede3d83                   Address Redacted                      First Class Mail
4734795a‐e766‐443e‐8b54‐aa0895c43d23                   Address Redacted                      First Class Mail
47388fdb‐d869‐434d‐b255‐85622cc44e71                   Address Redacted                      First Class Mail
47393db4‐cade‐44f2‐aa49‐4c3ce9dcfea9                   Address Redacted                      First Class Mail
47432cd8‐5c75‐4da9‐93e2‐72cbfcd8d117                   Address Redacted                      First Class Mail
4743e035‐66d9‐4396‐a8ab‐6a29c964be95                   Address Redacted                      First Class Mail
4746acaf‐b030‐48e1‐b532‐4ed23c330354                   Address Redacted                      First Class Mail
47492862‐24de‐43fc‐ac96‐0da5801a2cbb                   Address Redacted                      First Class Mail
474a0d3e‐9556‐4845‐b30c‐f240eafb5d63                   Address Redacted                      First Class Mail
474cd4e6‐8ba7‐4c83‐8024‐5b0238bd317a                   Address Redacted                      First Class Mail
47510981‐6954‐4192‐a155‐a02c996a5d0b                   Address Redacted                      First Class Mail
47532f7f‐e2d8‐4f1b‐8ff9‐b5022f9acb69                   Address Redacted                      First Class Mail
47542ea6‐ab03‐4746‐ab0e‐b7d8882d2104                   Address Redacted                      First Class Mail
475de04b‐9395‐46a4‐9c11‐b1e3d1d12ae1                   Address Redacted                      First Class Mail
476342fb‐0d49‐417b‐aa49‐0eeb52cb7d03                   Address Redacted                      First Class Mail
47678c48‐4def‐4d4e‐913a‐ebaac65508f8                   Address Redacted                      First Class Mail
476af6ba‐bc65‐48b0‐b17b‐235453c63925                   Address Redacted                      First Class Mail
476c3d4f‐9ff0‐42a3‐8a8d‐79d82378e8de                   Address Redacted                      First Class Mail
477030f7‐0dbd‐4f37‐bbad‐e03975b0e4e7                   Address Redacted                      First Class Mail
47711521‐3ff5‐4eb5‐b3d3‐5458a2eca2f3                   Address Redacted                      First Class Mail
47752449‐301e‐41d7‐82fa‐40c8601f2cfd                   Address Redacted                      First Class Mail
47757916‐a1c9‐4d09‐8776‐0e2870c343b8                   Address Redacted                      First Class Mail
47767cf4‐098a‐4c61‐8e82‐424c7adb9eac                   Address Redacted                      First Class Mail
4779608e‐093f‐475d‐8b4c‐5134e5837bb5                   Address Redacted                      First Class Mail
477ab25b‐4d5e‐4686‐9b69‐2bfeb70cefe7                   Address Redacted                      First Class Mail
477ab821‐198c‐4d5e‐a94d‐41e155f18a0e                   Address Redacted                      First Class Mail
477c6ca6‐4e9a‐447f‐9754‐98a072d70a52                   Address Redacted                      First Class Mail
477d42cb‐67cd‐4c46‐8e11‐ec505e2fdcd3                   Address Redacted                      First Class Mail
47825c8e‐b9fc‐4791‐af5a‐6a43da272c8c                   Address Redacted                      First Class Mail
4783205e‐0478‐463d‐b5e9‐8b9227131649                   Address Redacted                      First Class Mail
4786452c‐351a‐4a59‐bee7‐c9b5d5ba78df                   Address Redacted                      First Class Mail
4788d31a‐7af7‐4ec5‐8495‐6ebb7fefc186                   Address Redacted                      First Class Mail
478aafde‐0fd0‐48bc‐887a‐b41dc2529da2                   Address Redacted                      First Class Mail
478b10a7‐c0e3‐40f0‐b1cc‐ca6321f43537                   Address Redacted                      First Class Mail
478c1d24‐1f16‐43ad‐8d4d‐f7d32ce296f0                   Address Redacted                      First Class Mail
4791ab24‐0a15‐41fa‐a7d4‐319a573e8bc7                   Address Redacted                      First Class Mail
4792987d‐e3a6‐4055‐9fac‐0dfe5eb22d2d                   Address Redacted                      First Class Mail
4796e81a‐fc0e‐40f6‐817c‐f6f32405a582                   Address Redacted                      First Class Mail
479cc8b1‐d217‐475b‐b14e‐085965450bec                   Address Redacted                      First Class Mail
479ea4c2‐1701‐4448‐a654‐0afdd97e7dc0                   Address Redacted                      First Class Mail
47a16e8a‐7a5c‐42ff‐8eb4‐71e0c090fd76                   Address Redacted                      First Class Mail
47a1dfde‐71fb‐48cd‐a278‐f6c384109c29                   Address Redacted                      First Class Mail




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                                                                Exhibit A
                                                                 Service List


                              Name                                              Address                         Method of Service
47a40727‐7be4‐4798‐bf5f‐dc51de1816bd                   Address Redacted                      First Class Mail
47a42faf‐fa51‐4231‐8146‐aa8d0606dd99                   Address Redacted                      First Class Mail
47a52015‐e706‐4dbf‐9b9c‐3b9dd51b05fd                   Address Redacted                      First Class Mail
47a6847f‐196f‐4e89‐8c14‐4af93c158bca                   Address Redacted                      First Class Mail
47ab4b0c‐7712‐468f‐8fad‐73e24591d0d8                   Address Redacted                      First Class Mail
47ad3b60‐657a‐4b0d‐b4eb‐d92e7f0697a4                   Address Redacted                      First Class Mail
47b51a20‐1082‐434b‐b57e‐57a7dbdd2098                   Address Redacted                      First Class Mail
47b51ad9‐9dad‐4375‐a1bc‐2d0f56b2abc9                   Address Redacted                      First Class Mail
47b5228d‐7258‐4c00‐a498‐0ad8dd23f0b1                   Address Redacted                      First Class Mail
47bb4a0c‐6ca6‐418a‐960f‐924503a33d8d                   Address Redacted                      First Class Mail
47c0911c‐2616‐464f‐b7f6‐bf0c9aafa4bc                   Address Redacted                      First Class Mail
47c10911‐7ea5‐4830‐915b‐c6c052cc7f56                   Address Redacted                      First Class Mail
47c68a9a‐7f3d‐4ee5‐8ea7‐b6bf15b763fe                   Address Redacted                      First Class Mail
47d33560‐62f0‐43b5‐a045‐a3c528065762                   Address Redacted                      First Class Mail
47d72900‐1593‐4b52‐92ba‐43026c9fd9b8                   Address Redacted                      First Class Mail
47d99d0b‐26a5‐48b5‐8671‐f8c22c44301f                   Address Redacted                      First Class Mail
47df94da‐c30a‐430a‐ad9c‐43d9a3dae6f9                   Address Redacted                      First Class Mail
47e043f0‐2847‐40f7‐a539‐9b2528f9a990                   Address Redacted                      First Class Mail
47e1ccef‐f2f4‐4ac7‐91f2‐4c430da42f01                   Address Redacted                      First Class Mail
47e309a5‐1f7b‐417c‐9553‐1febe43a204c                   Address Redacted                      First Class Mail
47e3f5ee‐9bc0‐4911‐b9fb‐0df24a8c50e8                   Address Redacted                      First Class Mail
47e8fd24‐3386‐4751‐a157‐d9ba2ea48d73                   Address Redacted                      First Class Mail
47eba4b8‐0cff‐4dac‐a719‐34ccd18e8904                   Address Redacted                      First Class Mail
47f019df‐4d7e‐4327‐b9b5‐5d7fbb1a640a                   Address Redacted                      First Class Mail
47f05a97‐4f37‐4ecd‐9222‐9403ab3709e3                   Address Redacted                      First Class Mail
47f5cfeb‐450d‐4414‐ad1d‐c590ab7a060d                   Address Redacted                      First Class Mail
47f74300‐017d‐471e‐b8d2‐5c7d7f74ec90                   Address Redacted                      First Class Mail
47f85324‐ec63‐4251‐90d6‐711ea46d121d                   Address Redacted                      First Class Mail
47f9640d‐828c‐41bc‐8e94‐f178942fdfa6                   Address Redacted                      First Class Mail
47fdad02‐0e1f‐4579‐b4b0‐1dac87fcc4cf                   Address Redacted                      First Class Mail
47fe5dd0‐e97e‐4a30‐aefe‐e7bb0d727fa2                   Address Redacted                      First Class Mail
48017f3a‐c92e‐4b74‐ac14‐7def797e1372                   Address Redacted                      First Class Mail
4804e9b3‐adf1‐4afe‐8b6c‐deed7b6c9e97                   Address Redacted                      First Class Mail
4806ae8a‐440e‐4827‐adf8‐0bd2998c792c                   Address Redacted                      First Class Mail
4806df82‐9c22‐498c‐8706‐b55cb8a7708d                   Address Redacted                      First Class Mail
480b686c‐e4b8‐476b‐a4ee‐3442183b75a0                   Address Redacted                      First Class Mail
480b8167‐b08f‐4a64‐9dd7‐69a2795d18a7                   Address Redacted                      First Class Mail
480c48fa‐9479‐49cf‐af1b‐8c9d92434bf1                   Address Redacted                      First Class Mail
480d1783‐cd3d‐4328‐b0e3‐9ad9967c0008                   Address Redacted                      First Class Mail
4815e2b0‐2f89‐43d6‐8b73‐2e0f03a99144                   Address Redacted                      First Class Mail
48186e27‐29fb‐444b‐b2c2‐92ce12543acb                   Address Redacted                      First Class Mail
48193444‐92a2‐4d05‐8f7a‐9449790ffe24                   Address Redacted                      First Class Mail
4819c45d‐b41b‐4f90‐ae39‐3ee93a785975                   Address Redacted                      First Class Mail
481c60f7‐1dc6‐4abb‐803b‐500d7cc78ea6                   Address Redacted                      First Class Mail
481cb6f8‐a293‐40cc‐8dbf‐6139b6008202                   Address Redacted                      First Class Mail
481cd6ef‐b8b5‐4d56‐811e‐20b5f6815e99                   Address Redacted                      First Class Mail
481d8a6e‐4c68‐4a22‐89d6‐50682d547b0b                   Address Redacted                      First Class Mail
4821f523‐e13d‐4c4a‐9541‐7c18e91783e2                   Address Redacted                      First Class Mail
4822b187‐f729‐4e88‐aa3d‐9dc9ee28dd57                   Address Redacted                      First Class Mail
48230ea4‐275b‐42e4‐b83e‐85a0c9e9ec24                   Address Redacted                      First Class Mail
4828cc97‐385b‐4adf‐b4bb‐56c8305d707d                   Address Redacted                      First Class Mail
482ba7d4‐d163‐44df‐a146‐b05324991c4b                   Address Redacted                      First Class Mail
482caea8‐aab8‐421e‐ba5e‐3b43d7e56681                   Address Redacted                      First Class Mail
482f342c‐d8ee‐44d3‐b27c‐983fbf1adc4a                   Address Redacted                      First Class Mail
483088d9‐f328‐4aec‐ae89‐13162c23891b                   Address Redacted                      First Class Mail
4830ce30‐7eb9‐4acc‐bdd6‐c2e4fe2ed87f                   Address Redacted                      First Class Mail
48336ea5‐90fc‐4631‐8e21‐4404c2aa1ae3                   Address Redacted                      First Class Mail
4836482c‐ef93‐42b1‐a50c‐3e6d08bda8d3                   Address Redacted                      First Class Mail
48369cf0‐70e7‐4937‐9b28‐8afe70f824df                   Address Redacted                      First Class Mail
483735bf‐a751‐4918‐ac6b‐e9298b6e0a69                   Address Redacted                      First Class Mail
484211b2‐7bf3‐49b9‐a5a4‐cf6d4788fe86                   Address Redacted                      First Class Mail
4843fe4c‐5d50‐4bc9‐8421‐e56522a19488                   Address Redacted                      First Class Mail
484a851d‐1fa0‐4b46‐b3a3‐b2d7a41ecced                   Address Redacted                      First Class Mail
484e0ec3‐38c2‐43ba‐a6fe‐7571ba643a16                   Address Redacted                      First Class Mail
48512089‐8f52‐4271‐940a‐389911ff97cf                   Address Redacted                      First Class Mail
4854c64c‐5c0c‐4cf6‐a9e0‐ee2d7d41830e                   Address Redacted                      First Class Mail
48552e52‐f4bc‐4797‐bf74‐54f424315b8f                   Address Redacted                      First Class Mail
4858b428‐de90‐4dff‐9b64‐09523cf5f3e9                   Address Redacted                      First Class Mail
4859d3bf‐72d6‐47c1‐9f32‐211b4c4f053c                   Address Redacted                      First Class Mail
485f00eb‐e63d‐4ddb‐abfd‐c1caca9905ee                   Address Redacted                      First Class Mail
4860c25a‐8d57‐48d8‐ab55‐3b784ca4eccd                   Address Redacted                      First Class Mail
48625ce2‐5786‐411d‐8321‐947367cc2884                   Address Redacted                      First Class Mail




Desolation Holdings LLC, et al., (Case No. 23‐10597)
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                                                                Exhibit A
                                                                 Service List


                              Name                                              Address                         Method of Service
486459e1‐01f0‐49d6‐8415‐033326466ee2                   Address Redacted                      First Class Mail
48656f60‐21a0‐418d‐80fe‐90f50452b135                   Address Redacted                      First Class Mail
4865ebee‐5739‐49c3‐895b‐cfe429e7a92f                   Address Redacted                      First Class Mail
486b8ddc‐cc8f‐4e28‐b4b8‐ea1e5c99ad00                   Address Redacted                      First Class Mail
486da147‐c825‐4659‐891f‐c5949df9c427                   Address Redacted                      First Class Mail
486f1eea‐3294‐4b9b‐8943‐6c5f856f20f8                   Address Redacted                      First Class Mail
48713f3b‐6b70‐411b‐8f80‐bc6840b499eb                   Address Redacted                      First Class Mail
4871da9c‐9d02‐434b‐98f3‐c6ede0bca216                   Address Redacted                      First Class Mail
4871feda‐03ab‐4870‐b86f‐6c749a33ce04                   Address Redacted                      First Class Mail
48738f06‐f9c4‐4032‐96b2‐d73750380303                   Address Redacted                      First Class Mail
487929a9‐2880‐46d0‐81f7‐9064405c69bd                   Address Redacted                      First Class Mail
4879b08c‐e258‐4859‐bba3‐e1b5a8e42cca                   Address Redacted                      First Class Mail
487a0043‐ccb8‐4fbb‐b5e7‐7f96aaabcd7f                   Address Redacted                      First Class Mail
487b98d7‐bf36‐4e1b‐956d‐792c70e935a3                   Address Redacted                      First Class Mail
487dd4ab‐010f‐4ec6‐8145‐181d147fa4c4                   Address Redacted                      First Class Mail
4880427a‐132b‐4ab5‐a88f‐6c1ab7119dc8                   Address Redacted                      First Class Mail
488187f4‐1f4f‐4fcd‐ade6‐095bb81481dd                   Address Redacted                      First Class Mail
48825153‐c621‐4007‐a995‐de64be4ab3bd                   Address Redacted                      First Class Mail
488261b7‐985f‐4009‐990a‐e34a93ca5b7e                   Address Redacted                      First Class Mail
4882d4f4‐67f0‐49b2‐8115‐667e933b65ec                   Address Redacted                      First Class Mail
4883a0ce‐4485‐40af‐9256‐af4ce54c206e                   Address Redacted                      First Class Mail
48860a82‐1e91‐42e9‐9ba8‐127a110f8a30                   Address Redacted                      First Class Mail
4886cfa6‐c6f3‐475e‐b51b‐993eeb1f6d04                   Address Redacted                      First Class Mail
488a5fe6‐9ab8‐475d‐8228‐5a6ab90c79bc                   Address Redacted                      First Class Mail
488ac4ad‐9704‐40cd‐a5a2‐c743475dbf37                   Address Redacted                      First Class Mail
488e042b‐b770‐45e4‐8bff‐f27ae4693545                   Address Redacted                      First Class Mail
488e55ee‐3167‐457c‐8933‐1b91c40ede34                   Address Redacted                      First Class Mail
489147ad‐420a‐4a05‐8f29‐f538bd55f46f                   Address Redacted                      First Class Mail
48918a57‐6f5f‐4c83‐8ad3‐28ebe8e6ceb6                   Address Redacted                      First Class Mail
48920688‐3f2e‐43b4‐b0d5‐88736849151a                   Address Redacted                      First Class Mail
489a076b‐edbc‐4724‐9010‐ac947a8e4855                   Address Redacted                      First Class Mail
489a3d0b‐27ef‐45b7‐a3fa‐c386b75c91b3                   Address Redacted                      First Class Mail
489ff734‐d0e5‐4e6c‐b8f9‐a39b2f493b2a                   Address Redacted                      First Class Mail
48a6fd99‐cee6‐4a59‐8be5‐de8f2cc83ecd                   Address Redacted                      First Class Mail
48a959c6‐507a‐41e5‐864b‐04e3d768df56                   Address Redacted                      First Class Mail
48ace6ba‐5314‐4747‐a863‐63cf886c6358                   Address Redacted                      First Class Mail
48ae3842‐cb13‐4ebb‐b59e‐c11d8ac0b9cd                   Address Redacted                      First Class Mail
48af97c4‐f4c3‐46c3‐aec9‐f40b8807b5c2                   Address Redacted                      First Class Mail
48b149fe‐7f37‐40ee‐b06f‐a78e44454f4c                   Address Redacted                      First Class Mail
48b43f94‐c159‐445a‐8666‐7ed5b8bf29ee                   Address Redacted                      First Class Mail
48b4f3c3‐d22c‐4f22‐95ca‐4dc0cc9d47ad                   Address Redacted                      First Class Mail
48b55598‐5a94‐4824‐8545‐5ef34928e87c                   Address Redacted                      First Class Mail
48b670e2‐0ed7‐4790‐b9f2‐0f40ac879c4d                   Address Redacted                      First Class Mail
48b9870a‐6997‐4de9‐af9f‐514df35be5f7                   Address Redacted                      First Class Mail
48bfaf6e‐dcc0‐4544‐b593‐a749b0267052                   Address Redacted                      First Class Mail
48c15f3e‐89a6‐418f‐bb54‐fc6a82b9839e                   Address Redacted                      First Class Mail
48c1d52b‐0728‐4add‐95cb‐c7108ed619fa                   Address Redacted                      First Class Mail
48c989dc‐0c00‐4805‐98a1‐b5d060ec935b                   Address Redacted                      First Class Mail
48c9c911‐7584‐4ba4‐8d70‐66f1688c5ad6                   Address Redacted                      First Class Mail
48c9e308‐0f32‐46e9‐8da7‐9efd0da83a16                   Address Redacted                      First Class Mail
48ca2277‐0bc1‐4d77‐b575‐9eb9624e77e6                   Address Redacted                      First Class Mail
48ccab74‐0f4a‐4a1d‐a163‐37cf4bf9ad68                   Address Redacted                      First Class Mail
48cd6a1d‐304a‐48c1‐8fbc‐3b82dff5f33b                   Address Redacted                      First Class Mail
48ceea92‐d7ab‐45ba‐a221‐552cf36171e6                   Address Redacted                      First Class Mail
48d0ea2b‐09c8‐441b‐a3cb‐1cc813a04f98                   Address Redacted                      First Class Mail
48d11d19‐ba0d‐4be6‐b774‐43a6d51b2a6f                   Address Redacted                      First Class Mail
48d45f6b‐f131‐4717‐a6bc‐54068bf5d463                   Address Redacted                      First Class Mail
48d6f741‐3dea‐480c‐b2df‐6e727b965526                   Address Redacted                      First Class Mail
48d823c5‐d0df‐406f‐9dec‐0855165db8ef                   Address Redacted                      First Class Mail
48d8b094‐a6ac‐40e9‐84c7‐5023bec3a872                   Address Redacted                      First Class Mail
48dbe5bc‐4bd1‐45cc‐8110‐3c14825c059c                   Address Redacted                      First Class Mail
48dbf137‐dc17‐4b6f‐90a4‐9da129a0174a                   Address Redacted                      First Class Mail
48df0a42‐48ee‐4ac8‐94a8‐43eff40db4e4                   Address Redacted                      First Class Mail
48e14434‐0c94‐420f‐b5eb‐459a72dbb73a                   Address Redacted                      First Class Mail
48e4458e‐dea7‐4836‐8f77‐a085f0a799cb                   Address Redacted                      First Class Mail
48e531b2‐481a‐4d81‐b7e1‐fb97d1c2f5c7                   Address Redacted                      First Class Mail
48e75956‐c35b‐4ca7‐90a9‐55e781790de7                   Address Redacted                      First Class Mail
48eb5cd7‐4b42‐41f7‐b429‐e44fac623828                   Address Redacted                      First Class Mail
48f1c6b9‐de0c‐496d‐95ed‐740aa309fc57                   Address Redacted                      First Class Mail
48f8db9a‐ce9a‐40c0‐b706‐b198eecc0025                   Address Redacted                      First Class Mail
48fb2fc8‐086d‐464a‐9564‐ce579a5a1721                   Address Redacted                      First Class Mail
48fc1e95‐3751‐4bcc‐985c‐e3b071e3c874                   Address Redacted                      First Class Mail




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                               Name                                             Address                         Method of Service
48fe3a60‐d412‐44c0‐b792‐5097e6b40265                   Address Redacted                      First Class Mail
48fee426‐acb6‐400b‐92e1‐2d37d5d32ad7                   Address Redacted                      First Class Mail
49000483‐9332‐4caf‐a9af‐204f801ee463                   Address Redacted                      First Class Mail
49022e41‐6dd9‐47d6‐9e8f‐5ab7a5d78262                   Address Redacted                      First Class Mail
490d2a5d‐1acc‐4673‐8421‐e651c4172d9a                   Address Redacted                      First Class Mail
490d57ad‐9c1c‐4549‐a8c6‐687fcb8c8190                   Address Redacted                      First Class Mail
490d9f94‐1215‐40ee‐ab73‐827e1b09997b                   Address Redacted                      First Class Mail
490dd56a‐6e71‐4020‐9143‐d34212402fcb                   Address Redacted                      First Class Mail
490e7508‐6a67‐4bc3‐8940‐f068cb1c041f                   Address Redacted                      First Class Mail
491276a1‐fed8‐40df‐a18e‐f1e06b4803dc                   Address Redacted                      First Class Mail
4914224e‐075f‐4626‐b02a‐d3baa2f2130d                   Address Redacted                      First Class Mail
49162d8e‐6041‐4ae2‐9259‐6edad4229a07                   Address Redacted                      First Class Mail
4917ce20‐e5ff‐4592‐b8ec‐7d79bbba10a5                   Address Redacted                      First Class Mail
491a0d3c‐1de7‐4b8e‐bdd9‐a7936b4b0a0a                   Address Redacted                      First Class Mail
491f5a2d‐fcaa‐4915‐8ada‐251b2304df79                   Address Redacted                      First Class Mail
4927f7e9‐ef82‐46be‐8a48‐933c3b95484c                   Address Redacted                      First Class Mail
492e27fc‐4e39‐49b6‐bdce‐817ae641edf1                   Address Redacted                      First Class Mail
492e95ca‐6046‐476d‐ba18‐638d2fbc119a                   Address Redacted                      First Class Mail
492f3b9b‐d8dc‐4517‐bb52‐91ae43896033                   Address Redacted                      First Class Mail
49370857‐9fa2‐42b8‐b2b8‐c886b540fb55                   Address Redacted                      First Class Mail
4937b3fc‐4a2e‐4786‐8f88‐03e53eaca74e                   Address Redacted                      First Class Mail
493c4247‐1015‐4257‐aaea‐1327fafeaf47                   Address Redacted                      First Class Mail
493eabb7‐b59d‐40b1‐98bc‐ca0efc69bd26                   Address Redacted                      First Class Mail
493f51fc‐00b7‐48c5‐8bb6‐55955fd2b326                   Address Redacted                      First Class Mail
49402e33‐269a‐4d1e‐8699‐1cd2ed90d3b2                   Address Redacted                      First Class Mail
4941191c‐c8fa‐4d63‐aff0‐c492ab232ddd                   Address Redacted                      First Class Mail
4948f1f5‐1ac4‐47cb‐84c8‐e2b8c71b2711                   Address Redacted                      First Class Mail
4949d251‐81eb‐40f6‐b675‐11f740b3a5bc                   Address Redacted                      First Class Mail
494a1884‐a8ed‐48b6‐8b61‐2eb15efb372c                   Address Redacted                      First Class Mail
494dc830‐b892‐4558‐a8d2‐67916ac340ca                   Address Redacted                      First Class Mail
494edb21‐91bd‐4a6f‐8c17‐17be338396ea                   Address Redacted                      First Class Mail
494f1707‐c7f1‐4f41‐8202‐4790af75a8a8                   Address Redacted                      First Class Mail
4950e070‐6db0‐4181‐99f2‐0e674a633b52                   Address Redacted                      First Class Mail
495447e3‐e4de‐4cf1‐aa27‐bcc7d7b86702                   Address Redacted                      First Class Mail
4954c474‐d54f‐4642‐951c‐80b51a526aa2                   Address Redacted                      First Class Mail
4955b35f‐c1d7‐42e8‐a675‐1583b566cf72                   Address Redacted                      First Class Mail
495f5266‐642c‐4093‐b170‐03d02a7c7b6b                   Address Redacted                      First Class Mail
4965f8f9‐1c05‐4c5e‐b0cb‐1e34737cc118                   Address Redacted                      First Class Mail
4968162f‐d833‐41a0‐9321‐0e2c399d5fae                   Address Redacted                      First Class Mail
496a44b2‐e394‐45fa‐8161‐b09d14cff2c8                   Address Redacted                      First Class Mail
496bee8a‐104b‐4092‐accb‐64f74705065e                   Address Redacted                      First Class Mail
496fd0b6‐8d4a‐4a5e‐8857‐b62cae0dea4c                   Address Redacted                      First Class Mail
4978aab5‐cf6f‐48f7‐a5fc‐bf8c12b99b4f                   Address Redacted                      First Class Mail
4979b259‐cb32‐4d79‐b8bd‐c679cecbaab3                   Address Redacted                      First Class Mail
497df688‐b0a2‐41a2‐b49a‐675f7c5674a6                   Address Redacted                      First Class Mail
497f6c4f‐3ae2‐498d‐b8dd‐c17b1aa18f82                   Address Redacted                      First Class Mail
498522ed‐c221‐4f3e‐82b5‐9d4fd38859fe                   Address Redacted                      First Class Mail
49867f50‐ea3e‐4457‐b9a6‐ffe94267a491                   Address Redacted                      First Class Mail
4989f623‐1b6c‐41e9‐bd2f‐82031c8cbddf                   Address Redacted                      First Class Mail
498b46b9‐a8d9‐444c‐ac1e‐c8aa77f63487                   Address Redacted                      First Class Mail
498e63c0‐92e8‐4ba0‐8fb1‐f1316062821f                   Address Redacted                      First Class Mail
498e7a1d‐19b5‐45dd‐9ee6‐309396c7c824                   Address Redacted                      First Class Mail
4990d30c‐6713‐4e27‐9818‐ce7b1eafef8f                   Address Redacted                      First Class Mail
4994a900‐463a‐4630‐9af0‐a2f363f351e1                   Address Redacted                      First Class Mail
499ad589‐1682‐46bd‐b4af‐e1bd479fff79                   Address Redacted                      First Class Mail
499bce22‐7c3d‐4898‐bc84‐6b65ac36b016                   Address Redacted                      First Class Mail
499bd4cb‐54d9‐49f9‐80bc‐7726d1125a61                   Address Redacted                      First Class Mail
499d07fd‐426e‐4086‐a965‐076b404bea71                   Address Redacted                      First Class Mail
499dad11‐37cd‐4417‐a278‐dd009c45fad9                   Address Redacted                      First Class Mail
499ee597‐433c‐40c1‐8592‐65f1a9a30d8f                   Address Redacted                      First Class Mail
49a3f8c3‐64b6‐4cbf‐bd0e‐81701f1ada39                   Address Redacted                      First Class Mail
49a5b65c‐9c36‐4c1e‐a2c5‐936afcc81a0b                   Address Redacted                      First Class Mail
49aa7cb3‐06aa‐4eb4‐ac4e‐308a5bbe347b                   Address Redacted                      First Class Mail
49abc425‐c3a2‐4005‐a148‐4fd855099dcd                   Address Redacted                      First Class Mail
49ac2869‐c7c3‐4ec9‐8979‐65d41add6921                   Address Redacted                      First Class Mail
49b4f069‐843a‐4150‐b0e3‐188179edc535                   Address Redacted                      First Class Mail
49b510a8‐cf8f‐4c13‐b24b‐b759d81329c0                   Address Redacted                      First Class Mail
49b69178‐7a2e‐4e76‐9681‐aae9990a79b0                   Address Redacted                      First Class Mail
49ba18ab‐f607‐4c0e‐9d72‐2ebc7eccb2ba                   Address Redacted                      First Class Mail
49bbab8c‐a543‐4eab‐a16a‐94462eae455c                   Address Redacted                      First Class Mail
49bf6147‐08c2‐4bb6‐8798‐d3d014ac8b2d                   Address Redacted                      First Class Mail
49bff501‐dbe7‐47d6‐85dc‐d5feb6f83eb0                   Address Redacted                      First Class Mail




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                              Name                                              Address                         Method of Service
49c1ee6c‐e81a‐4ba4‐82ab‐b2482d9880e6                   Address Redacted                      First Class Mail
49c55790‐0430‐4902‐9013‐dbe1cac52857                   Address Redacted                      First Class Mail
49c5be85‐93f3‐442d‐96c5‐7c74328bc33c                   Address Redacted                      First Class Mail
49c6544d‐5d6b‐45a3‐81eb‐664f4f052bc6                   Address Redacted                      First Class Mail
49c691c3‐11c1‐44bb‐90bb‐d7ba4641b6ba                   Address Redacted                      First Class Mail
49c8798d‐0de2‐453e‐9278‐131576c04063                   Address Redacted                      First Class Mail
49c923d7‐1015‐4b73‐9833‐b90dd0c593e8                   Address Redacted                      First Class Mail
49cd447d‐22e2‐43d5‐bde7‐75ccc1d7998e                   Address Redacted                      First Class Mail
49ce0a71‐01b3‐4c8a‐9a2e‐3d47590d991f                   Address Redacted                      First Class Mail
49d0e3ea‐2cd1‐4cb4‐8ead‐de04b09d1cf5                   Address Redacted                      First Class Mail
49d5b216‐37f1‐4db0‐8832‐c3789e981904                   Address Redacted                      First Class Mail
49d954de‐5769‐4570‐8590‐ea8a901976b6                   Address Redacted                      First Class Mail
49dcaab9‐cc1e‐4c6d‐81b4‐d5a1ca9a4e6a                   Address Redacted                      First Class Mail
49dd3237‐1d08‐4bed‐9d3a‐0b369255b461                   Address Redacted                      First Class Mail
49e17e5c‐b610‐49c5‐926b‐39af744ca08d                   Address Redacted                      First Class Mail
49e1a70b‐1d8b‐44a6‐b2b6‐256c14374db9                   Address Redacted                      First Class Mail
49e4edf0‐8a73‐4a0a‐8c74‐1bd9f0d27e66                   Address Redacted                      First Class Mail
49edaa12‐770b‐4573‐858d‐85c1374779b1                   Address Redacted                      First Class Mail
49ee612b‐9fd6‐4fdb‐9847‐5524497f4a58                   Address Redacted                      First Class Mail
49f22300‐8b92‐45e8‐bb6e‐5cb1863e4eb2                   Address Redacted                      First Class Mail
49f29f58‐dd93‐42ac‐8de4‐02b241ede27d                   Address Redacted                      First Class Mail
49fb965c‐f149‐45cb‐94c6‐8502308e33f5                   Address Redacted                      First Class Mail
49fdeb11‐fd3a‐4d13‐881e‐fb2a2f043436                   Address Redacted                      First Class Mail
49ff0295‐63d2‐4892‐9e2a‐c475d469587e                   Address Redacted                      First Class Mail
4a010dcc‐a21d‐4fcd‐a52c‐75d3442f8a40                   Address Redacted                      First Class Mail
4a034e44‐c555‐47dd‐8fc6‐0736a1ccc8e0                   Address Redacted                      First Class Mail
4a047477‐1676‐4c5e‐9f45‐8e140cae67b8                   Address Redacted                      First Class Mail
4a0701b6‐792b‐4503‐96b7‐e3bbf9d15a22                   Address Redacted                      First Class Mail
4a09db6f‐d328‐4d44‐a3f2‐447115449a89                   Address Redacted                      First Class Mail
4a0c632a‐61ae‐4f15‐b804‐d46c51d93035                   Address Redacted                      First Class Mail
4a18bfbd‐18ad‐48f2‐8631‐0550d4e4d3a1                   Address Redacted                      First Class Mail
4a2182c2‐1b6d‐46aa‐ae4c‐40c649f41f48                   Address Redacted                      First Class Mail
4a218dc0‐aeb9‐4f02‐be04‐a1373c5ab079                   Address Redacted                      First Class Mail
4a2229f2‐7fcb‐4af4‐ba70‐e9dfcc8689a0                   Address Redacted                      First Class Mail
4a274e23‐14a6‐49e7‐8568‐6ad07d3b5eb5                   Address Redacted                      First Class Mail
4a2925c7‐f336‐4de3‐80ce‐b4489258a486                   Address Redacted                      First Class Mail
4a293c59‐355c‐4f4a‐9cb4‐4d196480790d                   Address Redacted                      First Class Mail
4a29e63d‐6431‐4da2‐b92e‐27f1b34223be                   Address Redacted                      First Class Mail
4a2a2c0b‐34b1‐441b‐a6ee‐063a9265a816                   Address Redacted                      First Class Mail
4a2a3fb6‐4637‐4d61‐8da6‐a232246b6fb5                   Address Redacted                      First Class Mail
4a2a637c‐ab2c‐4ac0‐80a8‐0c1158e855c0                   Address Redacted                      First Class Mail
4a2dca6f‐f9cc‐409e‐886a‐03d9c371730d                   Address Redacted                      First Class Mail
4a2f4d6c‐fdac‐471b‐909a‐850a89070e85                   Address Redacted                      First Class Mail
4a3035eb‐bf49‐4121‐94ef‐a2900b01c3a6                   Address Redacted                      First Class Mail
4a3045b9‐d40e‐4c1b‐b519‐7861b92d3e62                   Address Redacted                      First Class Mail
4a326a7d‐580c‐4958‐ab4a‐6d7fe259c7c4                   Address Redacted                      First Class Mail
4a35b5d5‐efd1‐48ba‐aaad‐8f466995cb0a                   Address Redacted                      First Class Mail
4a390c90‐323a‐4051‐b792‐024f89a7117d                   Address Redacted                      First Class Mail
4a3b8cb0‐c3b3‐4fa1‐b832‐36bcb719467d                   Address Redacted                      First Class Mail
4a3ba7e3‐640c‐4267‐848d‐4e990b392964                   Address Redacted                      First Class Mail
4a3beb48‐d31b‐4ac8‐bd79‐fcdbecf9f148                   Address Redacted                      First Class Mail
4a3f1026‐1def‐4326‐907c‐0fcd10de4bef                   Address Redacted                      First Class Mail
4a4004dc‐9b06‐4ebb‐8044‐83c628ba0c81                   Address Redacted                      First Class Mail
4a42c7b0‐85cb‐4cd4‐bb45‐0ed8dbacccfa                   Address Redacted                      First Class Mail
4a454eef‐1adb‐4352‐a32b‐4298d5602cc5                   Address Redacted                      First Class Mail
4a4572bd‐9251‐49d4‐8dd5‐725e590c5c57                   Address Redacted                      First Class Mail
4a464ef3‐f484‐4f50‐abf8‐8b3308009158                   Address Redacted                      First Class Mail
4a47349f‐618d‐48ba‐899a‐f8286ea1800b                   Address Redacted                      First Class Mail
4a4c4116‐a105‐4fad‐aef7‐9a696f8e75bc                   Address Redacted                      First Class Mail
4a516fc3‐f3dd‐48f1‐88df‐b5a614555563                   Address Redacted                      First Class Mail
4a537461‐7908‐4ae6‐af1e‐e790c4d604ac                   Address Redacted                      First Class Mail
4a56d197‐c44d‐4473‐b05a‐548e3c7b2448                   Address Redacted                      First Class Mail
4a573ce9‐a8d8‐41f6‐b941‐81873743f587                   Address Redacted                      First Class Mail
4a578e62‐b335‐4178‐b218‐37928ae75585                   Address Redacted                      First Class Mail
4a589b60‐4e0b‐46eb‐9f13‐a5338e0171ec                   Address Redacted                      First Class Mail
4a58ba55‐a27d‐45db‐998b‐d9eeab7c54c1                   Address Redacted                      First Class Mail
4a5acba6‐af5b‐43fa‐a1d7‐56212a25608c                   Address Redacted                      First Class Mail
4a5c3d2c‐45cf‐4d0f‐a1d7‐01274c5a84fb                   Address Redacted                      First Class Mail
4a61e588‐a721‐422a‐832d‐d2f00f76e8c6                   Address Redacted                      First Class Mail
4a6478f2‐8019‐4663‐bab9‐3e70af012310                   Address Redacted                      First Class Mail
4a667f4d‐11b5‐45e1‐adc7‐be7a152146d0                   Address Redacted                      First Class Mail
4a6a6260‐4014‐4241‐a8e3‐05ae2b144ff5                   Address Redacted                      First Class Mail




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                                                                Exhibit A
                                                                 Service List


                              Name                                              Address                         Method of Service
4a6b4c44‐023f‐465a‐8295‐6acc924f3b79                   Address Redacted                      First Class Mail
4a6b5574‐a35b‐4efe‐8855‐0e8a72fdff9d                   Address Redacted                      First Class Mail
4a6cc386‐58ca‐4d9d‐98e1‐e978d6722ddc                   Address Redacted                      First Class Mail
4a6dd6ca‐fb8a‐43a6‐b610‐8c4e3a96f7af                   Address Redacted                      First Class Mail
4a6e90af‐bf7c‐4a1e‐9bf4‐62442397bc17                   Address Redacted                      First Class Mail
4a72deb4‐7dc6‐4f72‐a186‐b60c57b4f40f                   Address Redacted                      First Class Mail
4a74874b‐31c2‐4652‐952d‐6f82380b768c                   Address Redacted                      First Class Mail
4a79e22a‐8204‐423b‐9f6e‐9ca16dc7d945                   Address Redacted                      First Class Mail
4a7bbe15‐1c60‐4f6e‐852d‐18482fad0d6e                   Address Redacted                      First Class Mail
4a7dd830‐5c58‐456b‐ad91‐2365cda6e238                   Address Redacted                      First Class Mail
4a7fb79f‐d48f‐4a82‐895e‐b71ef49b394a                   Address Redacted                      First Class Mail
4a80a346‐98f9‐4249‐902e‐023ba2107ae9                   Address Redacted                      First Class Mail
4a817f6b‐0416‐4822‐a906‐ea99472fbf1f                   Address Redacted                      First Class Mail
4a82c80f‐268b‐448a‐813c‐b7649f36eb2e                   Address Redacted                      First Class Mail
4a83e3fb‐06b8‐4849‐a900‐ebfbc9466033                   Address Redacted                      First Class Mail
4a872cc5‐9635‐4d69‐8807‐2b0893e1f68f                   Address Redacted                      First Class Mail
4a8d4206‐a4b3‐4798‐9d37‐053310f0c573                   Address Redacted                      First Class Mail
4a8db939‐7ad7‐4b94‐8f56‐7450f31505f6                   Address Redacted                      First Class Mail
4a93014a‐e325‐4954‐a377‐bd32dcc59bb1                   Address Redacted                      First Class Mail
4a96c21b‐6d78‐4309‐8d1f‐c36b69bde1d4                   Address Redacted                      First Class Mail
4a96fb82‐c007‐4f18‐b98e‐a1c41847302c                   Address Redacted                      First Class Mail
4a9a5290‐60c5‐450c‐9477‐d5f5944bcd9e                   Address Redacted                      First Class Mail
4a9c5ede‐89fb‐4066‐8c46‐3fb5855743ed                   Address Redacted                      First Class Mail
4aa3fd68‐89c2‐4e36‐96e9‐2686e6ee8e8d                   Address Redacted                      First Class Mail
4aa5df23‐185b‐4959‐add2‐e538509e0bea                   Address Redacted                      First Class Mail
4aa83110‐3d8f‐4d13‐a3f9‐2e575d7e1904                   Address Redacted                      First Class Mail
4aa91687‐3536‐4a11‐9177‐a174f29c3f85                   Address Redacted                      First Class Mail
4aa93fc0‐7fa9‐4c93‐80c6‐8d05f670165f                   Address Redacted                      First Class Mail
4aa953b0‐9769‐43d5‐969e‐5a2f20152bf1                   Address Redacted                      First Class Mail
4aaeb1a7‐689f‐4960‐859f‐6d0f03e5bd84                   Address Redacted                      First Class Mail
4ab0533d‐2a7d‐46bb‐9a43‐898ffd1aa74a                   Address Redacted                      First Class Mail
4ab075bf‐e92d‐4976‐8682‐765b5ee22382                   Address Redacted                      First Class Mail
4ab427d3‐6ee2‐4a08‐a6f0‐fe2b44d8346a                   Address Redacted                      First Class Mail
4ab4b62b‐e130‐44d9‐81bc‐aa5b5c02d4d6                   Address Redacted                      First Class Mail
4ab638d6‐e454‐4a13‐b3ce‐776c1864c410                   Address Redacted                      First Class Mail
4aba6636‐3111‐4217‐bc7f‐87a591abdc88                   Address Redacted                      First Class Mail
4ac16a4f‐8394‐444a‐8aa4‐7cb735984d98                   Address Redacted                      First Class Mail
4ac2f2b9‐b5dc‐49f9‐8301‐dd15b6f33633                   Address Redacted                      First Class Mail
4ac356b0‐fdd8‐4455‐8fe7‐ec52b727bb1b                   Address Redacted                      First Class Mail
4ac3977f‐5a00‐4320‐8217‐9455781c1f66                   Address Redacted                      First Class Mail
4ac49793‐3a1a‐4406‐811b‐f853121a6301                   Address Redacted                      First Class Mail
4ac9b3f7‐1c51‐4b08‐b511‐56ac226183e8                   Address Redacted                      First Class Mail
4acb9dc7‐c63c‐44a7‐aa9e‐1e063efa5572                   Address Redacted                      First Class Mail
4acc026a‐40f7‐4996‐a641‐df446da3a9e5                   Address Redacted                      First Class Mail
4acc7777‐d15f‐4598‐b462‐26f592ce1fa9                   Address Redacted                      First Class Mail
4accde60‐862b‐4fe6‐988f‐0e9dbdf50736                   Address Redacted                      First Class Mail
4acf7782‐a026‐4b4b‐b788‐6a498cbe4532                   Address Redacted                      First Class Mail
4ad145dc‐2b0a‐45be‐864f‐9c69eac60f08                   Address Redacted                      First Class Mail
4ad1f104‐8784‐4cfb‐9f56‐7c54ac72f2d1                   Address Redacted                      First Class Mail
4adb0857‐a982‐43ae‐b12b‐51bb287bdd3e                   Address Redacted                      First Class Mail
4adb2025‐3587‐4a85‐a9ca‐376df3eebdf2                   Address Redacted                      First Class Mail
4add270d‐a183‐484c‐984b‐52e5990dc0e0                   Address Redacted                      First Class Mail
4addfef2‐c75e‐45d7‐9d7f‐adfa3243bf28                   Address Redacted                      First Class Mail
4adf347f‐c3b0‐447e‐8f03‐0c7f27869c29                   Address Redacted                      First Class Mail
4ae09061‐2c24‐4724‐ab5c‐11110256f887                   Address Redacted                      First Class Mail
4ae19889‐a3ce‐449f‐b6de‐3dbd2ddbce71                   Address Redacted                      First Class Mail
4ae29cbd‐6684‐4b96‐9eae‐52c092b931cd                   Address Redacted                      First Class Mail
4ae41fc3‐11e6‐4f8a‐a81d‐3072883c5c49                   Address Redacted                      First Class Mail
4ae6698c‐9ffc‐455b‐85af‐b1d3a867da86                   Address Redacted                      First Class Mail
4ae6eb34‐bf2f‐43da‐b8cd‐faf25690d807                   Address Redacted                      First Class Mail
4ae8646f‐93cd‐43d0‐a2b2‐e378b5ec2e18                   Address Redacted                      First Class Mail
4ae983a8‐56b1‐45db‐8de3‐a62dec134be1                   Address Redacted                      First Class Mail
4aee4b59‐131c‐4c22‐ada3‐e297e4b69dd2                   Address Redacted                      First Class Mail
4aef6fa6‐e739‐4242‐abb9‐31acd0f5ddd1                   Address Redacted                      First Class Mail
4af0f28d‐87d9‐4dee‐a058‐97a070ab983a                   Address Redacted                      First Class Mail
4af17da0‐0322‐4945‐a4f1‐6e4c664c473b                   Address Redacted                      First Class Mail
4af30d19‐4f08‐4332‐b530‐fd1c24a132e3                   Address Redacted                      First Class Mail
4af55bf2‐3b8a‐426a‐9335‐3b73c97d4eba                   Address Redacted                      First Class Mail
4af69a61‐db15‐41e7‐bd63‐bec27fe2c82c                   Address Redacted                      First Class Mail
4af87ebf‐1a37‐4408‐9ee7‐567e426643c1                   Address Redacted                      First Class Mail
4afd8f24‐e88d‐4a7e‐8ea3‐6f916001bb45                   Address Redacted                      First Class Mail
4afe00c3‐0fa2‐48c1‐bb45‐3487f14313c5                   Address Redacted                      First Class Mail




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                                                                 Service List


                              Name                                              Address                         Method of Service
4b01d964‐e7ae‐4134‐a4fb‐300ed3e4886a                   Address Redacted                      First Class Mail
4b02a706‐495b‐4f6d‐a218‐abb03d4d0dd9                   Address Redacted                      First Class Mail
4b0304e6‐2ef7‐4c2a‐925d‐3e50f6f5b048                   Address Redacted                      First Class Mail
4b032826‐67d0‐490a‐9f03‐a4984f336d24                   Address Redacted                      First Class Mail
4b0b91d4‐fec1‐40b5‐9bf4‐c412461d2095                   Address Redacted                      First Class Mail
4b0c2e51‐6c9a‐428e‐a69d‐0ea21f5c8928                   Address Redacted                      First Class Mail
4b0ddc6e‐5c23‐4898‐8c97‐f346ff2d13c0                   Address Redacted                      First Class Mail
4b108ddd‐39ba‐4897‐891e‐f34c2147036d                   Address Redacted                      First Class Mail
4b108f26‐f676‐4374‐80dd‐8f35e71c2ea3                   Address Redacted                      First Class Mail
4b10fc91‐2010‐4fe6‐ae67‐2052a46cadee                   Address Redacted                      First Class Mail
4b124019‐3140‐4136‐9e57‐79b43e00cd9c                   Address Redacted                      First Class Mail
4b12e4cf‐5677‐42ee‐a275‐4e1c0a928a8b                   Address Redacted                      First Class Mail
4b143761‐9fba‐4e5a‐8e50‐2c54d98f92aa                   Address Redacted                      First Class Mail
4b1da42e‐cd2a‐4fb9‐8b30‐0f1b1bc59dd9                   Address Redacted                      First Class Mail
4b1ec5ae‐c731‐4393‐9d3f‐7f9fcfbc23ac                   Address Redacted                      First Class Mail
4b1f2a6a‐bb39‐4790‐9334‐5c1536ecc207                   Address Redacted                      First Class Mail
4b1f5544‐bdce‐4ef8‐a9c2‐eb60e3df00a2                   Address Redacted                      First Class Mail
4b1f8ad2‐e692‐4d60‐8b22‐7736203d7663                   Address Redacted                      First Class Mail
4b23605a‐e8ca‐4b16‐b683‐8ea4bd0e45b7                   Address Redacted                      First Class Mail
4b2a44d5‐e563‐4efe‐a207‐d4be8eefe460                   Address Redacted                      First Class Mail
4b2a4b47‐2401‐4e2f‐bd43‐98e815c5ca46                   Address Redacted                      First Class Mail
4b2a9317‐f64d‐4dbf‐8c0b‐af18468128c4                   Address Redacted                      First Class Mail
4b2fc2d7‐3fab‐4eaa‐8926‐6c98b3eff1a1                   Address Redacted                      First Class Mail
4b316551‐ad00‐424e‐9af6‐9bc20927881e                   Address Redacted                      First Class Mail
4b3183f2‐8df5‐48da‐a728‐77c60a7b1126                   Address Redacted                      First Class Mail
4b31f2da‐9ee4‐4805‐ad0d‐3864aa31224d                   Address Redacted                      First Class Mail
4b348633‐fbf9‐44f3‐9c89‐d4168b895870                   Address Redacted                      First Class Mail
4b36a923‐463b‐4304‐9ae9‐6b2d43c0062c                   Address Redacted                      First Class Mail
4b38092a‐64b2‐465a‐821b‐15f6ce6d3c30                   Address Redacted                      First Class Mail
4b38dbce‐2a30‐4d1f‐af1a‐3bb4384ded2c                   Address Redacted                      First Class Mail
4b3f273a‐2a03‐45c1‐aa88‐1330f020f403                   Address Redacted                      First Class Mail
4b3fcca3‐6342‐439f‐83f8‐3319bb13ea13                   Address Redacted                      First Class Mail
4b3fe912‐4b04‐40c3‐a82c‐073f906fb0ab                   Address Redacted                      First Class Mail
4b4382e2‐2be1‐4ef5‐8ddb‐1e382a1bafa9                   Address Redacted                      First Class Mail
4b459e14‐c28c‐4aa0‐a8cb‐4773369c7f56                   Address Redacted                      First Class Mail
4b486f8a‐a481‐4ec5‐ac3c‐b3d4fb2a562e                   Address Redacted                      First Class Mail
4b4aa074‐9e5f‐482e‐b992‐4736b944d2bd                   Address Redacted                      First Class Mail
4b4c1871‐53ed‐4f26‐bf08‐1948c1e0fcb9                   Address Redacted                      First Class Mail
4b4c829a‐66e9‐42b2‐870e‐2d0a5351cb8d                   Address Redacted                      First Class Mail
4b4ed226‐b540‐423a‐9b84‐bc8d3023c3cd                   Address Redacted                      First Class Mail
4b4fe2f7‐5171‐4449‐bd3e‐95d95fe18dea                   Address Redacted                      First Class Mail
4b4ffc7d‐1ec5‐4279‐a510‐38ec7feb37eb                   Address Redacted                      First Class Mail
4b5089a3‐40c5‐417b‐9db5‐d1ed1987e0af                   Address Redacted                      First Class Mail
4b529bd1‐817f‐433f‐ab72‐2099b55838ee                   Address Redacted                      First Class Mail
4b529c44‐24f2‐4a55‐88eb‐75da358f9a59                   Address Redacted                      First Class Mail
4b54e637‐bb3f‐4ef4‐938e‐0b2469ad46d7                   Address Redacted                      First Class Mail
4b558c87‐1932‐4c44‐b330‐f270fcbdb8db                   Address Redacted                      First Class Mail
4b55aa6f‐167e‐4b6d‐852e‐a47f33a09220                   Address Redacted                      First Class Mail
4b5e73c4‐7673‐42e1‐9fd3‐125acf0b4461                   Address Redacted                      First Class Mail
4b604e42‐c32f‐4f39‐b630‐00ee34fcc334                   Address Redacted                      First Class Mail
4b618662‐8ae0‐4ba6‐8dd4‐b373f9bc98d2                   Address Redacted                      First Class Mail
4b640323‐cd32‐4c77‐bcb1‐14e062cc38fd                   Address Redacted                      First Class Mail
4b65cacc‐7bdc‐46fd‐bd28‐c6968235ba86                   Address Redacted                      First Class Mail
4b6ab4cc‐2d07‐4b58‐9028‐adb2b4074327                   Address Redacted                      First Class Mail
4b6bc736‐d72c‐4116‐8674‐997d9507d1b8                   Address Redacted                      First Class Mail
4b6e7afa‐9ad7‐4158‐9a9b‐8c305fd1fe53                   Address Redacted                      First Class Mail
4b72cead‐b136‐450c‐9aec‐33c31e5c8b87                   Address Redacted                      First Class Mail
4b76a0a7‐2698‐4159‐9bb0‐8b32b1c6e17a                   Address Redacted                      First Class Mail
4b776d7e‐5865‐4012‐a1e8‐1551a1fd4670                   Address Redacted                      First Class Mail
4b78e2ac‐372a‐47de‐91ec‐9910a8b33cb4                   Address Redacted                      First Class Mail
4b7a9a01‐e4f8‐457c‐8e9d‐7f8f0727a9db                   Address Redacted                      First Class Mail
4b7fc3f3‐0665‐4989‐b947‐b029f38e1ece                   Address Redacted                      First Class Mail
4b8016da‐795b‐4516‐9fa1‐0038465b8102                   Address Redacted                      First Class Mail
4b8092ae‐d732‐45d0‐a732‐ff1710433cfa                   Address Redacted                      First Class Mail
4b83340e‐e274‐4be1‐ba48‐57510353e20a                   Address Redacted                      First Class Mail
4b839390‐dcdf‐44be‐8ef2‐b5cf2f2b72f6                   Address Redacted                      First Class Mail
4b83a151‐3cb1‐412c‐89c9‐31b2bb3b1e46                   Address Redacted                      First Class Mail
4b8bee75‐0dcb‐4b93‐8cac‐1547f636ce5a                   Address Redacted                      First Class Mail
4b8c523c‐ccef‐4bd7‐8ad1‐bedc97422004                   Address Redacted                      First Class Mail
4b8f95a3‐5ca7‐43d3‐93d4‐5d249370f2b5                   Address Redacted                      First Class Mail
4b90794f‐78b8‐417c‐828c‐85c935f8c499                   Address Redacted                      First Class Mail
4b91976b‐4c30‐4216‐81be‐efc7b2aa23a1                   Address Redacted                      First Class Mail




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                                                                 Service List


                              Name                                              Address                         Method of Service
4b928f5e‐be32‐455e‐95d6‐e2caa717b7ec                   Address Redacted                      First Class Mail
4b935c87‐5290‐4969‐9ea0‐db9ca47ceff1                   Address Redacted                      First Class Mail
4b944b63‐38d5‐4f83‐b853‐9de782f5f0fb                   Address Redacted                      First Class Mail
4ba0e8b3‐242b‐41f2‐b29c‐5d545a69aa32                   Address Redacted                      First Class Mail
4ba9c0ab‐b6ad‐4bd4‐b503‐47b31206c8c0                   Address Redacted                      First Class Mail
4bac4c22‐a1d2‐4947‐8915‐904838aab2dc                   Address Redacted                      First Class Mail
4bad4f78‐f974‐4010‐8bf3‐7152a6d01f9b                   Address Redacted                      First Class Mail
4bae1e3b‐43f6‐4748‐b5ca‐1cc050e2174d                   Address Redacted                      First Class Mail
4bae7f86‐c379‐4603‐a3cd‐f5069a78152b                   Address Redacted                      First Class Mail
4bb17086‐c9f4‐4f95‐8b1e‐6fbf06f4aa71                   Address Redacted                      First Class Mail
4bb395ca‐2cf0‐4890‐9f68‐70742c8f17e9                   Address Redacted                      First Class Mail
4bb5782e‐d0c7‐4b33‐85cf‐3c074c31dae4                   Address Redacted                      First Class Mail
4bb9407d‐89a3‐4d4c‐b6d7‐abf6657b4688                   Address Redacted                      First Class Mail
4bbc413a‐945e‐4d7d‐a22b‐1332b71b7950                   Address Redacted                      First Class Mail
4bbcaf69‐540b‐4234‐874c‐70ca569f4b36                   Address Redacted                      First Class Mail
4bbcdf7b‐fcf4‐4ce7‐b47c‐fbd2c983a917                   Address Redacted                      First Class Mail
4bc00692‐8569‐4e69‐9bcc‐fb4a9cac9a40                   Address Redacted                      First Class Mail
4bc29cd1‐8806‐4eab‐914c‐98939acae114                   Address Redacted                      First Class Mail
4bc3a979‐68ca‐4bfc‐a6cf‐8ac5c1218efd                   Address Redacted                      First Class Mail
4bc43942‐b809‐4f92‐9142‐4da36294050d                   Address Redacted                      First Class Mail
4bc4a305‐a807‐4e14‐8b46‐63f95cb3a0fc                   Address Redacted                      First Class Mail
4bc80b35‐a744‐4471‐9ae7‐e6669b6cc260                   Address Redacted                      First Class Mail
4bcbe5b9‐dabe‐46ae‐998a‐f85752237364                   Address Redacted                      First Class Mail
4bcd6101‐fef9‐4518‐b04e‐7ba4a83add32                   Address Redacted                      First Class Mail
4bce2142‐acb0‐4fd0‐ac31‐efa7297d36cb                   Address Redacted                      First Class Mail
4bcfaa28‐e93a‐4e12‐b90e‐10a5d67fc3d8                   Address Redacted                      First Class Mail
4bd27dc9‐27f1‐4b41‐bc4e‐6ba99c1341ad                   Address Redacted                      First Class Mail
4bd3d378‐a8d6‐451a‐9fd7‐0c6ef3f1869d                   Address Redacted                      First Class Mail
4bd84f47‐8050‐4d18‐824c‐6b8df16a2dec                   Address Redacted                      First Class Mail
4bd92016‐6dae‐4d2e‐8559‐8e835c0d441d                   Address Redacted                      First Class Mail
4bd95a25‐e7c5‐4f85‐93ab‐7bd813c9a549                   Address Redacted                      First Class Mail
4bdb2545‐1524‐4102‐b301‐b3a3f418c2b7                   Address Redacted                      First Class Mail
4bdb5da0‐da01‐4184‐9995‐048dab67eff7                   Address Redacted                      First Class Mail
4bdba869‐0d0e‐4b1e‐bbb3‐da2b3baba542                   Address Redacted                      First Class Mail
4bdc1f4d‐5390‐4bf5‐919b‐3adeaae87bb4                   Address Redacted                      First Class Mail
4bdd0625‐59a2‐4bfa‐b5fb‐dc912aacfa56                   Address Redacted                      First Class Mail
4bdf900d‐8aca‐46a8‐8693‐70f0cb56589f                   Address Redacted                      First Class Mail
4be20364‐0c3a‐4581‐9793‐94ad78cdf7a5                   Address Redacted                      First Class Mail
4be3abef‐12f6‐4e6c‐b6e8‐660e4906a12c                   Address Redacted                      First Class Mail
4be4c1a4‐d92b‐479c‐98e6‐d4fe35e0c4cb                   Address Redacted                      First Class Mail
4be74a85‐5dea‐4f94‐982e‐be6080d4da02                   Address Redacted                      First Class Mail
4bef1428‐068c‐4b1d‐90d1‐d240cb2af846                   Address Redacted                      First Class Mail
4bf101c9‐fe75‐445d‐b070‐198cdf2cc445                   Address Redacted                      First Class Mail
4bf41144‐8710‐4038‐913c‐6f679e18fc2f                   Address Redacted                      First Class Mail
4bf4f03d‐2b91‐4cf1‐860e‐d37e92cc9d9d                   Address Redacted                      First Class Mail
4bfa290d‐5ece‐4a80‐a66b‐c4e1b9ad9df4                   Address Redacted                      First Class Mail
4bfd9eed‐f5df‐4900‐b7da‐332fa1c400a9                   Address Redacted                      First Class Mail
4bff0948‐8583‐4e4e‐812c‐e21956dfd841                   Address Redacted                      First Class Mail
4bff4537‐3bf2‐468f‐bac9‐5d687de99531                   Address Redacted                      First Class Mail
4c02ad0c‐3c63‐4e15‐bc87‐d0df0fc17bb3                   Address Redacted                      First Class Mail
4c05d5c6‐9e9d‐4f2c‐b05a‐fb1424a1cf99                   Address Redacted                      First Class Mail
4c06d6ee‐486c‐44bb‐8b23‐0eeaae336286                   Address Redacted                      First Class Mail
4c0aefcf‐6eaa‐4647‐97c6‐fb258c52309b                   Address Redacted                      First Class Mail
4c0bb497‐74a0‐476c‐a650‐1f7aa3ca64fc                   Address Redacted                      First Class Mail
4c0f3011‐9c5e‐42c8‐9346‐d6d4cf41870f                   Address Redacted                      First Class Mail
4c1064d9‐c201‐4da0‐bef1‐1792fb786562                   Address Redacted                      First Class Mail
4c11d77d‐ba03‐4321‐b16c‐9d3c67befb5f                   Address Redacted                      First Class Mail
4c11e58f‐235f‐483c‐b173‐33a9f91e55d7                   Address Redacted                      First Class Mail
4c15d669‐b476‐4b66‐937b‐8c2bb8581c8a                   Address Redacted                      First Class Mail
4c19b9cb‐d4c4‐4ab0‐8242‐f0e753619b4e                   Address Redacted                      First Class Mail
4c1bf24b‐384b‐49f9‐9c94‐5a0b72c1c548                   Address Redacted                      First Class Mail
4c23571f‐0874‐4518‐ac23‐a2499fcb5c28                   Address Redacted                      First Class Mail
4c2418b9‐0404‐42c8‐a399‐86278d90bca4                   Address Redacted                      First Class Mail
4c25615b‐864d‐45a9‐a5aa‐306f67cddb4b                   Address Redacted                      First Class Mail
4c2b6c72‐db26‐4a02‐92a1‐2b407e19a70e                   Address Redacted                      First Class Mail
4c2bff2a‐e8a9‐4e2c‐aa02‐828f7d62dd35                   Address Redacted                      First Class Mail
4c2deaef‐99fb‐407a‐817c‐88a26c365867                   Address Redacted                      First Class Mail
4c3254a6‐21d5‐4ee4‐be2e‐d09a5d2d98fa                   Address Redacted                      First Class Mail
4c33d200‐4339‐4c0b‐8ed3‐62414d9ecd7c                   Address Redacted                      First Class Mail
4c360511‐560a‐4a4a‐9195‐62801a9da096                   Address Redacted                      First Class Mail
4c37c1d1‐8d8b‐4422‐b94e‐ccdd84702c3d                   Address Redacted                      First Class Mail
4c3835d8‐dfab‐4ca5‐9bb8‐df12370850cd                   Address Redacted                      First Class Mail




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                                                                 Service List


                               Name                                             Address                         Method of Service
4c39e7ec‐ad7f‐4eab‐9835‐5d65ef685a09                   Address Redacted                      First Class Mail
4c3ac460‐5122‐4bf9‐a482‐9a129d9bbb0e                   Address Redacted                      First Class Mail
4c408470‐c941‐4b9a‐90b1‐f252da6963df                   Address Redacted                      First Class Mail
4c4190d8‐25ae‐4e57‐904f‐5c73a44186d7                   Address Redacted                      First Class Mail
4c457050‐e869‐421c‐bdde‐6f479a0c86f5                   Address Redacted                      First Class Mail
4c475579‐b7d2‐407d‐8fab‐c6cb830a147e                   Address Redacted                      First Class Mail
4c47d890‐50af‐435c‐b69e‐23b143ae5022                   Address Redacted                      First Class Mail
4c4c2e91‐7c04‐434c‐be5a‐10f5c004f8bd                   Address Redacted                      First Class Mail
4c4c9716‐67ba‐44e7‐8dfa‐fa5ddcaaad39                   Address Redacted                      First Class Mail
4c519577‐6292‐4f3f‐af58‐e58507b984b3                   Address Redacted                      First Class Mail
4c51a1a4‐3897‐4ff2‐b6f5‐7a5996e36b28                   Address Redacted                      First Class Mail
4c5520f2‐e774‐4610‐a877‐eca5f9a8c50f                   Address Redacted                      First Class Mail
4c58a003‐db71‐4e58‐b6c5‐5d3a7ddf2ae6                   Address Redacted                      First Class Mail
4c59dae7‐f8d7‐4c47‐8340‐3b869a0d99af                   Address Redacted                      First Class Mail
4c5a6b63‐c960‐443a‐8fb2‐f8dd8b4fded5                   Address Redacted                      First Class Mail
4c5ab1a2‐7b06‐4fbb‐b14e‐2ba70fb02ef9                   Address Redacted                      First Class Mail
4c5ce3ec‐feb3‐4103‐b03d‐d1c6b0e2d4be                   Address Redacted                      First Class Mail
4c5e0dac‐d2a6‐4c0e‐94f2‐42b6558da65a                   Address Redacted                      First Class Mail
4c5fd46f‐1ae0‐4401‐943a‐5d54b9fa5179                   Address Redacted                      First Class Mail
4c67601d‐c3e6‐4333‐ac86‐cd4d0abd02b5                   Address Redacted                      First Class Mail
4c696fc0‐4ea5‐420a‐8d5b‐6feba5f51ba5                   Address Redacted                      First Class Mail
4c71833f‐cc04‐458c‐8902‐b5df23933f12                   Address Redacted                      First Class Mail
4c7a5531‐1df5‐41c3‐bb2b‐1cd392e29cde                   Address Redacted                      First Class Mail
4c7c0fa0‐534f‐4fa8‐b5c2‐e753d14fe537                   Address Redacted                      First Class Mail
4c803072‐8671‐4b17‐a427‐75414728b220                   Address Redacted                      First Class Mail
4c83da11‐07ad‐4148‐b8df‐fb3d4391f8b4                   Address Redacted                      First Class Mail
4c88ec8c‐d9b0‐4baf‐b326‐7ab171a0381b                   Address Redacted                      First Class Mail
4c8ab6a2‐b6f5‐4ee9‐a77a‐155fda80ca48                   Address Redacted                      First Class Mail
4c8c1284‐3cab‐449f‐8f6e‐c16db4a9f03a                   Address Redacted                      First Class Mail
4c8cbf97‐4bd2‐4024‐83b4‐329167910751                   Address Redacted                      First Class Mail
4c8d8c3c‐017d‐4b70‐adf0‐5f82404d7b5b                   Address Redacted                      First Class Mail
4c8e8bbc‐1855‐4617‐b457‐056eb1bcd9fb                   Address Redacted                      First Class Mail
4c991870‐be04‐45d6‐a51d‐870541aa77aa                   Address Redacted                      First Class Mail
4c9a1c44‐50b7‐457c‐be35‐4c02d3c0b232                   Address Redacted                      First Class Mail
4c9bcf28‐457f‐4577‐a268‐5f8abf845f1a                   Address Redacted                      First Class Mail
4c9e48b0‐47f7‐4131‐92b2‐0714441e804b                   Address Redacted                      First Class Mail
4c9f17bc‐f1c1‐4b04‐a193‐3c3833a95526                   Address Redacted                      First Class Mail
4ca16056‐0e3a‐4741‐9d95‐eccfb28f2c39                   Address Redacted                      First Class Mail
4ca29d36‐5883‐4acd‐87e8‐e9a90bd81bf6                   Address Redacted                      First Class Mail
4ca3bcc6‐62a3‐4baf‐81f5‐02cdf4867c42                   Address Redacted                      First Class Mail
4ca51281‐cba4‐4ea5‐ab59‐82acefc5509a                   Address Redacted                      First Class Mail
4ca8186d‐6e0b‐4752‐b6a7‐b4921c4f1600                   Address Redacted                      First Class Mail
4ca97690‐45f0‐4a33‐b549‐5571a92d47f0                   Address Redacted                      First Class Mail
4caab167‐3a8a‐4816‐81a9‐8e5fe06be4d9                   Address Redacted                      First Class Mail
4cac2093‐2bd7‐44fd‐85cd‐60fd5b6b78fd                   Address Redacted                      First Class Mail
4cb74c3a‐bca4‐4b0b‐9d0f‐8ae0ded8f3b8                   Address Redacted                      First Class Mail
4cb8d44e‐a2f3‐46d6‐81a1‐b7679f8946c4                   Address Redacted                      First Class Mail
4cb99255‐1227‐4323‐b837‐ef2db2a86851                   Address Redacted                      First Class Mail
4cbed456‐d6a0‐4491‐ba7b‐8e128ae37822                   Address Redacted                      First Class Mail
4cc049ca‐42a3‐456b‐ad5a‐192822687128                   Address Redacted                      First Class Mail
4cc86e22‐d576‐49f5‐a1b3‐6e2d627b3d5a                   Address Redacted                      First Class Mail
4cc91e56‐dc66‐47f8‐91f9‐a5002d769411                   Address Redacted                      First Class Mail
4cccc1d7‐d53b‐4c67‐a478‐973adc71441d                   Address Redacted                      First Class Mail
4ccd0a12‐65ef‐4652‐b4e7‐4bde57d42193                   Address Redacted                      First Class Mail
4ccfb878‐9830‐477c‐bbef‐00fbae520c83                   Address Redacted                      First Class Mail
4cd0267b‐b28d‐4e05‐8b2f‐8128cd55c10d                   Address Redacted                      First Class Mail
4cd06b92‐d233‐4ca2‐bb5e‐79c70ec2d95e                   Address Redacted                      First Class Mail
4cd345da‐c8bb‐4716‐a990‐21db5405d048                   Address Redacted                      First Class Mail
4cd365f3‐c800‐42a4‐ac2f‐1bd518050cec                   Address Redacted                      First Class Mail
4cd7ce45‐642c‐452a‐806e‐cea7accc9fa6                   Address Redacted                      First Class Mail
4cdb7adb‐e93a‐4c24‐8c54‐755e0d5f78c0                   Address Redacted                      First Class Mail
4cdc474e‐559b‐4b68‐beee‐e873521fd8db                   Address Redacted                      First Class Mail
4cdfd1e3‐85cd‐46a2‐8d90‐4cf9c33378b3                   Address Redacted                      First Class Mail
4ce3d069‐5117‐45d5‐ae9f‐dd14b26bb8fa                   Address Redacted                      First Class Mail
4ce5172e‐0ff7‐47f9‐9d6c‐1bf048b0ec70                   Address Redacted                      First Class Mail
4ce57b74‐83d9‐4c7f‐a881‐72c43a834437                   Address Redacted                      First Class Mail
4cea2317‐2a45‐459b‐8112‐f6167cf5f688                   Address Redacted                      First Class Mail
4cea4e32‐4506‐4d68‐a93e‐7daa6deafd07                   Address Redacted                      First Class Mail
4cf400b2‐9e29‐428d‐bb2d‐74183366b6bb                   Address Redacted                      First Class Mail
4cf676c4‐a51d‐4ecf‐83b9‐165c4ddb942a                   Address Redacted                      First Class Mail
4cf69429‐f4f5‐430d‐bb11‐1b5cba423fd2                   Address Redacted                      First Class Mail
4cfc7d94‐fb1d‐44f9‐adcf‐7fd2a8da4383                   Address Redacted                      First Class Mail




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                               Name                                             Address                         Method of Service
4cfe872f‐ce84‐4f34‐812a‐5830e76914d4                   Address Redacted                      First Class Mail
4cff37e5‐0a08‐4c2a‐a4c6‐0bbb49aea02e                   Address Redacted                      First Class Mail
4cffef18‐98c5‐457b‐b739‐a14d6c7c7968                   Address Redacted                      First Class Mail
4d00e471‐5e35‐41d3‐ae47‐748d40bced93                   Address Redacted                      First Class Mail
4d01c422‐eee1‐46f4‐acc5‐7c85a725ee01                   Address Redacted                      First Class Mail
4d044751‐687a‐45a0‐8cf3‐b38af8827779                   Address Redacted                      First Class Mail
4d07c6ca‐3c28‐4b52‐aadc‐2fddd8bd95da                   Address Redacted                      First Class Mail
4d0e8163‐9321‐4952‐ae77‐581358f24711                   Address Redacted                      First Class Mail
4d132e40‐743f‐4c11‐9e85‐e6f04756286e                   Address Redacted                      First Class Mail
4d1367da‐7d51‐444c‐8c44‐0567675e34ef                   Address Redacted                      First Class Mail
4d14c3a5‐7e0b‐4d65‐85b7‐e7af474f8283                   Address Redacted                      First Class Mail
4d168c46‐15cf‐4e00‐80c7‐4bf3c51380f2                   Address Redacted                      First Class Mail
4d18f5d5‐5da6‐40db‐94db‐f05cf5b4048f                   Address Redacted                      First Class Mail
4d1937b8‐840a‐416e‐b9bb‐f4e0be64f7ee                   Address Redacted                      First Class Mail
4d1a337a‐a4db‐4772‐9d7f‐48aa15285961                   Address Redacted                      First Class Mail
4d1b995b‐c991‐4022‐b67d‐e40c4d5049fe                   Address Redacted                      First Class Mail
4d1cd179‐8f02‐4158‐8272‐53f9a3ee3f4c                   Address Redacted                      First Class Mail
4d1f8b3e‐c002‐487a‐8eae‐124d4347916c                   Address Redacted                      First Class Mail
4d208c6e‐30d0‐447a‐9d40‐cdf689f2c893                   Address Redacted                      First Class Mail
4d21e13d‐9451‐48b6‐b609‐724911f284c8                   Address Redacted                      First Class Mail
4d246b4f‐0d52‐497a‐a2e3‐ad36fc4e85e1                   Address Redacted                      First Class Mail
4d26213b‐3258‐4ae3‐ba35‐a31da29da45a                   Address Redacted                      First Class Mail
4d2633c7‐6f88‐49b6‐9f4e‐04d995e8ebf8                   Address Redacted                      First Class Mail
4d2b0579‐5094‐46af‐ade6‐c48b7181d783                   Address Redacted                      First Class Mail
4d2ba8ae‐a365‐4a9e‐9b73‐dd936c9a4463                   Address Redacted                      First Class Mail
4d2c2f1a‐258c‐4e01‐83b4‐fb22a29a3ba6                   Address Redacted                      First Class Mail
4d2d99ff‐c21c‐4f1f‐8ca2‐edf8b5a5f45e                   Address Redacted                      First Class Mail
4d333af0‐1f5c‐4254‐88c8‐aa46ef74d21e                   Address Redacted                      First Class Mail
4d349d0e‐34d6‐46d9‐aeeb‐ba3fcf588a2f                   Address Redacted                      First Class Mail
4d37b5f4‐df04‐4284‐884a‐532868e61066                   Address Redacted                      First Class Mail
4d3b61b4‐6fa1‐4d4c‐a89f‐14d689ec96ea                   Address Redacted                      First Class Mail
4d3bb203‐34a8‐4d8e‐9aa6‐bceb8fb715dd                   Address Redacted                      First Class Mail
4d3e179a‐3967‐4bcd‐b5fc‐7c8d1f88c6d6                   Address Redacted                      First Class Mail
4d4080fc‐07b8‐48c8‐b3b6‐c6deb3d00e37                   Address Redacted                      First Class Mail
4d4b41fe‐d023‐4242‐8dac‐094ea3f843bc                   Address Redacted                      First Class Mail
4d4f78a9‐bb99‐4367‐84ea‐3f22d78933ec                   Address Redacted                      First Class Mail
4d520dce‐0508‐4dce‐90da‐62aa7e2a3813                   Address Redacted                      First Class Mail
4d5210db‐ce8e‐4de9‐9cfb‐1fe8058730af                   Address Redacted                      First Class Mail
4d59afdd‐a580‐4bfe‐8836‐99d99e783c59                   Address Redacted                      First Class Mail
4d5f250f‐233b‐42b9‐9958‐c2edeebe89c4                   Address Redacted                      First Class Mail
4d67dc68‐f626‐4c22‐bc9a‐bbb74866fbd1                   Address Redacted                      First Class Mail
4d6863b6‐7289‐4291‐b29a‐38c2f71f4136                   Address Redacted                      First Class Mail
4d72a518‐c42c‐4eaa‐ad45‐3e55121ac3af                   Address Redacted                      First Class Mail
4d788338‐7963‐4b53‐9392‐808fc595a9ad                   Address Redacted                      First Class Mail
4d7c4185‐c503‐481e‐9ea7‐37e867972813                   Address Redacted                      First Class Mail
4d7eed1b‐7dad‐4722‐960a‐f2814515a671                   Address Redacted                      First Class Mail
4d84b4c7‐de5a‐4657‐8286‐0ba15be84fea                   Address Redacted                      First Class Mail
4d85529f‐c4f8‐4244‐945d‐6a9db55dee76                   Address Redacted                      First Class Mail
4d8803ca‐0547‐4a68‐810f‐5fa92ffaeddf                   Address Redacted                      First Class Mail
4d88d5b0‐8249‐4509‐9d12‐7454c74eae19                   Address Redacted                      First Class Mail
4d8aa004‐2d01‐4b95‐8b94‐84fec257419b                   Address Redacted                      First Class Mail
4d8b17b1‐3ce1‐4b36‐82cf‐1aa9ba3ee7fc                   Address Redacted                      First Class Mail
4d8da72d‐0803‐4bc6‐add9‐2b1655ad208a                   Address Redacted                      First Class Mail
4d8e0cfd‐72cc‐40b1‐982a‐ca950d7211bf                   Address Redacted                      First Class Mail
4d964d26‐0800‐4a7d‐ad21‐c2f48b6f0f88                   Address Redacted                      First Class Mail
4d979c2d‐48b4‐4a7c‐b9e8‐eff3a466a687                   Address Redacted                      First Class Mail
4d9a860d‐6128‐453c‐ab1e‐144fa1ee01a2                   Address Redacted                      First Class Mail
4d9d4178‐d5c5‐4f72‐b2ab‐8d85a4834437                   Address Redacted                      First Class Mail
4da50561‐f45f‐4979‐9c6a‐238c4c3fcb8a                   Address Redacted                      First Class Mail
4da5f66f‐f730‐4d3d‐8faf‐81d8edcb04e8                   Address Redacted                      First Class Mail
4da62e13‐8a83‐4a93‐befb‐8a715cfdbd1d                   Address Redacted                      First Class Mail
4da85365‐06b5‐498b‐887a‐0c47f59d6a5f                   Address Redacted                      First Class Mail
4da8ab60‐2bde‐4acb‐99d4‐462166081632                   Address Redacted                      First Class Mail
4da8cbac‐a7af‐4d06‐814d‐f7a4fd6b5015                   Address Redacted                      First Class Mail
4dac50b2‐b787‐4704‐b88a‐8d42c8d7deec                   Address Redacted                      First Class Mail
4dacce2b‐58e8‐4ab4‐a6f3‐c7eb59893882                   Address Redacted                      First Class Mail
4dacec3b‐85dd‐43e2‐a5a8‐45069f4faed2                   Address Redacted                      First Class Mail
4dae865f‐a967‐4444‐9cee‐b6eedf6f32b8                   Address Redacted                      First Class Mail
4db23d3e‐3861‐46f5‐ac2f‐1ea1f5b2052e                   Address Redacted                      First Class Mail
4db8b35d‐c743‐41e7‐b10c‐0a500a8036d2                   Address Redacted                      First Class Mail
4dbab5cd‐abeb‐4902‐9d27‐aa8c16254c38                   Address Redacted                      First Class Mail
4dbb33b3‐67e3‐4ecd‐9f84‐7c255a3282e4                   Address Redacted                      First Class Mail




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                              Name                                              Address                         Method of Service
4dc23e28‐46bc‐4fb2‐86ce‐41914ced6df1                   Address Redacted                      First Class Mail
4dc6ba6f‐18ac‐4fb7‐8b2e‐de412bb12e89                   Address Redacted                      First Class Mail
4dc7dd31‐9668‐4bec‐bb07‐3322771cf69f                   Address Redacted                      First Class Mail
4dc83f3e‐4061‐4a2b‐96ed‐d76dd9f27ad1                   Address Redacted                      First Class Mail
4dcefa7b‐11e1‐477b‐826e‐72200d6c07cc                   Address Redacted                      First Class Mail
4dd2935c‐5efa‐4a90‐b6d0‐dcb22a108cdc                   Address Redacted                      First Class Mail
4dd3b2cb‐9535‐49cf‐b61c‐7c62384c5a32                   Address Redacted                      First Class Mail
4dd5a498‐2844‐4446‐87b7‐b608c7f802d5                   Address Redacted                      First Class Mail
4dda6e17‐1aef‐4e8d‐a9ea‐c56fd3b3a3e8                   Address Redacted                      First Class Mail
4ddd69d1‐31e4‐400c‐9332‐a6a9634a0002                   Address Redacted                      First Class Mail
4de0d371‐0bd2‐4fef‐90cb‐62cd2cfa5069                   Address Redacted                      First Class Mail
4de20228‐8709‐429f‐a0eb‐f29cd7a75e74                   Address Redacted                      First Class Mail
4dec88d0‐8b72‐440b‐be12‐69e2975393ff                   Address Redacted                      First Class Mail
4df2457a‐e283‐44a4‐9677‐00b95a6e07bd                   Address Redacted                      First Class Mail
4df53a2e‐f38a‐413b‐bf5f‐60aef5efce6d                   Address Redacted                      First Class Mail
4dfab252‐24af‐4a24‐8e6a‐70e79db65455                   Address Redacted                      First Class Mail
4dfacd74‐6a9f‐48e8‐87b5‐9cabee32c1e7                   Address Redacted                      First Class Mail
4dfc2f96‐cb6e‐426b‐bd78‐3c4b2b9370a0                   Address Redacted                      First Class Mail
4dfc6839‐0ef4‐43fd‐88d6‐7e91992d7939                   Address Redacted                      First Class Mail
4dfea0fa‐ca05‐4f2b‐8ced‐844558363edb                   Address Redacted                      First Class Mail
4dff0386‐ddcf‐4437‐8403‐82100729b79a                   Address Redacted                      First Class Mail
4dffca14‐28ba‐4c80‐a87d‐ed880b55ea86                   Address Redacted                      First Class Mail
4e0081a2‐eaab‐4fdf‐9087‐82a65052bbb1                   Address Redacted                      First Class Mail
4e0096a0‐c177‐4fdd‐a585‐b9dca5a5a98e                   Address Redacted                      First Class Mail
4e014a29‐1eb0‐4555‐a1b9‐5a8d6edef50a                   Address Redacted                      First Class Mail
4e07038a‐44c8‐4811‐9663‐a578a0d1323e                   Address Redacted                      First Class Mail
4e09c72b‐45f3‐43aa‐9b4f‐743f807077d6                   Address Redacted                      First Class Mail
4e09db09‐a6cf‐4319‐a8be‐5024a822625e                   Address Redacted                      First Class Mail
4e0bcf4b‐8e91‐4ba2‐8c47‐ef1333605171                   Address Redacted                      First Class Mail
4e0bd733‐372e‐40b8‐a676‐f4f1bc1b5e6a                   Address Redacted                      First Class Mail
4e0d96f0‐74f7‐40b9‐8dbe‐9041e4ff42a1                   Address Redacted                      First Class Mail
4e0f453c‐8238‐42f2‐bfb1‐8d88b2a7a13b                   Address Redacted                      First Class Mail
4e1617f1‐95ff‐4d27‐85d2‐4d9858ae0b16                   Address Redacted                      First Class Mail
4e184a8b‐42bc‐487c‐8d80‐2e23215a1a91                   Address Redacted                      First Class Mail
4e1a0b92‐a614‐4977‐86e8‐00cf45f636ad                   Address Redacted                      First Class Mail
4e1c75fe‐7cfa‐4adb‐b3e2‐5aef42c5f141                   Address Redacted                      First Class Mail
4e1cca51‐6acf‐4391‐ab8e‐48c0f5373c1f                   Address Redacted                      First Class Mail
4e1cf81e‐e212‐42ca‐9324‐c31c600dfb6d                   Address Redacted                      First Class Mail
4e1da2f7‐19ff‐478d‐896d‐32d5e24c61b8                   Address Redacted                      First Class Mail
4e1e1569‐ce0a‐44e7‐a9b1‐bab8a7c5208f                   Address Redacted                      First Class Mail
4e298b0d‐0aab‐4a6d‐a59b‐dfbf328dc4e2                   Address Redacted                      First Class Mail
4e2b1a4c‐b24d‐49ea‐a95c‐254878bbafb5                   Address Redacted                      First Class Mail
4e2c5327‐f7de‐40b0‐8da6‐e540c753e727                   Address Redacted                      First Class Mail
4e2cbb44‐d7bd‐4c83‐b5ea‐3d93d2271015                   Address Redacted                      First Class Mail
4e31d78d‐08fb‐4715‐ad87‐15f2bc24bb2c                   Address Redacted                      First Class Mail
4e349ea4‐c460‐48bb‐aa69‐c071ca6f28f1                   Address Redacted                      First Class Mail
4e35ed4e‐572a‐4690‐b2ef‐1d90f5a85171                   Address Redacted                      First Class Mail
4e394863‐67fe‐4030‐b62d‐2036812eb6d0                   Address Redacted                      First Class Mail
4e3b1aea‐ef44‐4519‐902f‐0ded9a3e4224                   Address Redacted                      First Class Mail
4e3f0caa‐cd1f‐4853‐b519‐649b22b83458                   Address Redacted                      First Class Mail
4e4631fd‐ca4d‐4565‐a9bd‐9bd308df6d73                   Address Redacted                      First Class Mail
4e4c30cc‐86ec‐4d8b‐895c‐cdb0465091ea                   Address Redacted                      First Class Mail
4e4d24a6‐fd53‐4833‐b54c‐b352f98f0a8c                   Address Redacted                      First Class Mail
4e51ccd6‐0803‐474a‐9dc3‐1db15435a663                   Address Redacted                      First Class Mail
4e544006‐725a‐4a79‐ad14‐f2a9773972c9                   Address Redacted                      First Class Mail
4e5b0d87‐4f42‐4d7b‐a8f9‐6afe305bbc4b                   Address Redacted                      First Class Mail
4e5b22ce‐a6e2‐45aa‐8eb5‐f9a2631f2dec                   Address Redacted                      First Class Mail
4e5e3efc‐e3d0‐4d2d‐8ead‐144be644bdc0                   Address Redacted                      First Class Mail
4e604410‐9268‐487b‐b6a1‐30801140c12a                   Address Redacted                      First Class Mail
4e620f04‐3195‐46e6‐9fc4‐9680d987947f                   Address Redacted                      First Class Mail
4e62e709‐3e09‐4ead‐aa02‐6d34ea45dbb6                   Address Redacted                      First Class Mail
4e6ca634‐08f3‐4454‐83ac‐b354f06b4d07                   Address Redacted                      First Class Mail
4e6ecd58‐f330‐420e‐86af‐c40a28e3bb9c                   Address Redacted                      First Class Mail
4e709269‐6263‐4236‐af84‐07fa5aad69c3                   Address Redacted                      First Class Mail
4e73862e‐8679‐417e‐991b‐3d5045564c5f                   Address Redacted                      First Class Mail
4e74b917‐c996‐4491‐98c2‐06610cebe9cc                   Address Redacted                      First Class Mail
4e7626bf‐b4ef‐4787‐9880‐5104a6254cff                   Address Redacted                      First Class Mail
4e76eac4‐47fb‐4ca6‐b1ec‐f21c0923acdb                   Address Redacted                      First Class Mail
4e77384f‐2c53‐4426‐95d1‐5cd9f7cf0a22                   Address Redacted                      First Class Mail
4e7d2147‐f33d‐4182‐a4ae‐54d5aa4d3f70                   Address Redacted                      First Class Mail
4e7e6b53‐c799‐4c0f‐9bf1‐a27885c5506d                   Address Redacted                      First Class Mail
4e7f5f6f‐d8b9‐4eb4‐b3fb‐2035521d5c7f                   Address Redacted                      First Class Mail




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                                                                Exhibit A
                                                                 Service List


                              Name                                              Address                         Method of Service
4e81a34a‐823e‐43b7‐93ed‐6794ed1111ef                   Address Redacted                      First Class Mail
4e89c6bd‐7d0d‐4733‐801b‐1b1a36ac8dae                   Address Redacted                      First Class Mail
4e8be7b5‐f8f9‐48be‐b234‐1f6ee5762c8a                   Address Redacted                      First Class Mail
4e8faa27‐0d60‐421c‐9260‐746e9c290aac                   Address Redacted                      First Class Mail
4e923223‐0518‐4871‐9b06‐ee9c5e4493e9                   Address Redacted                      First Class Mail
4e93805b‐ed7e‐4252‐9df4‐688f3e0f06e7                   Address Redacted                      First Class Mail
4e992e64‐1d4d‐413c‐ae73‐ceefbd536a9b                   Address Redacted                      First Class Mail
4e99b729‐639a‐4332‐b182‐c4cc89bb5e78                   Address Redacted                      First Class Mail
4e9da674‐34ca‐4a2d‐bdbd‐de2c898f1378                   Address Redacted                      First Class Mail
4e9ea276‐cd4d‐4a68‐940c‐2efe8d485410                   Address Redacted                      First Class Mail
4e9f0b5a‐34dc‐4b69‐a54b‐b8fbcd02243f                   Address Redacted                      First Class Mail
4ea3ddf3‐77ef‐4db7‐ba6f‐b056b0227d38                   Address Redacted                      First Class Mail
4ea613db‐db97‐4d7c‐a965‐2ae8e3905ebb                   Address Redacted                      First Class Mail
4eab24f1‐df37‐4b49‐a752‐1491dd03db24                   Address Redacted                      First Class Mail
4eae211a‐06ab‐4329‐95c1‐077ec2182eb4                   Address Redacted                      First Class Mail
4eaea5b0‐5fac‐42bf‐9dec‐aa985ea826d7                   Address Redacted                      First Class Mail
4eb09ab2‐e15c‐4c37‐bcfa‐1944ce0bd5a6                   Address Redacted                      First Class Mail
4eb2ab74‐35be‐4f2f‐bee3‐a6096c9524db                   Address Redacted                      First Class Mail
4eb3bbd7‐836b‐4d49‐9acb‐d3376bdeab6d                   Address Redacted                      First Class Mail
4eb5d597‐b4e1‐4b19‐a0e7‐035988fc6fe2                   Address Redacted                      First Class Mail
4eb6be2c‐6b91‐4e83‐865f‐10e10dc02b87                   Address Redacted                      First Class Mail
4eb8af61‐0ec7‐45f0‐828f‐0463cea33767                   Address Redacted                      First Class Mail
4ebae12f‐86c5‐4a57‐95fb‐a7da4fb164c3                   Address Redacted                      First Class Mail
4ebdd35d‐c8e0‐4ca2‐bfa9‐f84d08b6ab46                   Address Redacted                      First Class Mail
4ebfba79‐bd4f‐491c‐9df1‐97aa150c1fdc                   Address Redacted                      First Class Mail
4ec086bc‐9f27‐42dd‐9985‐339667b0651d                   Address Redacted                      First Class Mail
4ec0c7e2‐cdf6‐4080‐8129‐4f25f7c7afc0                   Address Redacted                      First Class Mail
4ec1312c‐96fc‐441a‐9f55‐3b6967b728e5                   Address Redacted                      First Class Mail
4ec1d1a4‐7ea7‐43e6‐97ba‐a97e35136ae0                   Address Redacted                      First Class Mail
4ec26a21‐3b6a‐4540‐a304‐ba6d53d729fa                   Address Redacted                      First Class Mail
4ec6028d‐85fa‐4a44‐94f9‐8f63d2245bd5                   Address Redacted                      First Class Mail
4ec646c8‐e43b‐43a9‐9add‐613fff72e6b9                   Address Redacted                      First Class Mail
4ec938a1‐48d6‐4797‐99b4‐dbd03ddb1107                   Address Redacted                      First Class Mail
4ed37249‐1a14‐45fc‐afdb‐97744db90ca4                   Address Redacted                      First Class Mail
4ed3e360‐a23e‐4484‐afdc‐575da73e03c3                   Address Redacted                      First Class Mail
4ed60d7a‐9395‐4f92‐8042‐7facd92ab475                   Address Redacted                      First Class Mail
4ed681b2‐e247‐48cf‐8c7f‐1901f42cc366                   Address Redacted                      First Class Mail
4ed953c5‐6144‐4f26‐b3b7‐5982f57f6596                   Address Redacted                      First Class Mail
4eda6b58‐7815‐45b2‐88bf‐c0a5cf25d1b2                   Address Redacted                      First Class Mail
4edb0010‐b82f‐4f69‐bc76‐0bbd9ee95d3a                   Address Redacted                      First Class Mail
4edd01e1‐2ce4‐4720‐bb36‐94ef53c072c0                   Address Redacted                      First Class Mail
4ee00099‐5be6‐48d3‐a747‐a3f72a8d1bf9                   Address Redacted                      First Class Mail
4ee15569‐8929‐49e6‐a586‐e618474f27d2                   Address Redacted                      First Class Mail
4ee9b2d2‐6b7d‐4ca2‐b7cb‐ab4bd93fd9e5                   Address Redacted                      First Class Mail
4ee9b2ee‐20ca‐4406‐a2ce‐455a59a53e8e                   Address Redacted                      First Class Mail
4eea57ee‐80a4‐4e61‐9533‐246ca5d2c761                   Address Redacted                      First Class Mail
4eeac587‐6d7c‐4ce1‐884c‐4622cb376644                   Address Redacted                      First Class Mail
4eec8d63‐fa04‐40d9‐8a2c‐cf2a82010299                   Address Redacted                      First Class Mail
4eedd8d8‐ff8b‐48b7‐8b8c‐359764be4891                   Address Redacted                      First Class Mail
4ef12df9‐9b20‐4c6d‐8d87‐db373fd2e9d8                   Address Redacted                      First Class Mail
4ef7f788‐0214‐4390‐95cc‐f0309d8c2c5e                   Address Redacted                      First Class Mail
4efafa73‐9ffd‐4bcb‐9d8a‐1e493997fa30                   Address Redacted                      First Class Mail
4efc920a‐3b03‐4a4a‐b86e‐a5e6200d8a01                   Address Redacted                      First Class Mail
4f00dfea‐db3e‐461c‐ac21‐3748d871ba19                   Address Redacted                      First Class Mail
4f02a33c‐8e7f‐4252‐a168‐ce35f5deb3f9                   Address Redacted                      First Class Mail
4f049f64‐c88b‐4cbb‐a562‐fd37074d1040                   Address Redacted                      First Class Mail
4f06f593‐f95f‐4c92‐bee4‐ce26c006898a                   Address Redacted                      First Class Mail
4f070a60‐3abd‐4a03‐9aa4‐febcb0e09db0                   Address Redacted                      First Class Mail
4f0cb520‐c265‐4612‐8eeb‐06ade5a70c1e                   Address Redacted                      First Class Mail
4f109ded‐9609‐4855‐9c01‐3cb0fac4c810                   Address Redacted                      First Class Mail
4f11bdb4‐709c‐45af‐bc16‐5d6ec5bf48ce                   Address Redacted                      First Class Mail
4f11eb62‐6a08‐4bdb‐b0b4‐a5f3625ad284                   Address Redacted                      First Class Mail
4f13c216‐6aa0‐4b35‐aaba‐d5f2081b1208                   Address Redacted                      First Class Mail
4f1e1f77‐8a4a‐4458‐805c‐ec1d0cacc860                   Address Redacted                      First Class Mail
4f1f7910‐b620‐4ea6‐aa75‐85e5ee7ced35                   Address Redacted                      First Class Mail
4f258398‐8dbd‐448e‐84f0‐4bab2582a638                   Address Redacted                      First Class Mail
4f2c78ef‐8bd1‐4458‐9e20‐a55ae9bccb78                   Address Redacted                      First Class Mail
4f3258a3‐c4ed‐42fb‐8af2‐c0212d58e98b                   Address Redacted                      First Class Mail
4f33cb91‐9b5f‐4cef‐8115‐34b6bd5617f2                   Address Redacted                      First Class Mail
4f33fd69‐78ea‐4649‐8cad‐a8c79407aa9a                   Address Redacted                      First Class Mail
4f35c744‐01dd‐42cc‐b988‐f20d9cbb7676                   Address Redacted                      First Class Mail
4f4036d8‐081d‐45f9‐a656‐06de3dfa3ddf                   Address Redacted                      First Class Mail




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                                                                 Service List


                              Name                                              Address                         Method of Service
4f442543‐eb9b‐4c65‐a2a7‐a36b6c76d8d9                   Address Redacted                      First Class Mail
4f46b692‐676a‐4efc‐83e3‐c1a7936ff5ba                   Address Redacted                      First Class Mail
4f4782d7‐be78‐469f‐b6b3‐2ca5d749ff28                   Address Redacted                      First Class Mail
4f4f5d73‐06b7‐4c14‐9c01‐b1aea4a83aaf                   Address Redacted                      First Class Mail
4f5171a3‐b3a7‐4dd9‐ad27‐7db16d41f74b                   Address Redacted                      First Class Mail
4f51eac6‐6210‐4184‐9281‐04a2fbabfaa4                   Address Redacted                      First Class Mail
4f572a3d‐2e5d‐4606‐bbba‐6b64e624da48                   Address Redacted                      First Class Mail
4f5876fa‐45c1‐4f51‐9a46‐00f361c5af76                   Address Redacted                      First Class Mail
4f5bf1d1‐5c2b‐4090‐bb68‐c575d6f40b40                   Address Redacted                      First Class Mail
4f5eccd4‐be83‐4d12‐8739‐bffce898ce55                   Address Redacted                      First Class Mail
4f6085fd‐858e‐45a7‐b06c‐939667a22db6                   Address Redacted                      First Class Mail
4f617f73‐0e30‐4559‐a9b7‐b8617ab0edf5                   Address Redacted                      First Class Mail
4f61e6e5‐1178‐4fb4‐8fa5‐fd6b605f0128                   Address Redacted                      First Class Mail
4f6216c7‐3e3e‐443e‐9d94‐f5b417090c04                   Address Redacted                      First Class Mail
4f644443‐1803‐4cfa‐bc52‐b725c1f8566d                   Address Redacted                      First Class Mail
4f669ff1‐4580‐4735‐b8c3‐521c77358e04                   Address Redacted                      First Class Mail
4f674032‐b0d7‐4226‐bd48‐c0e8a96f7894                   Address Redacted                      First Class Mail
4f68936b‐dda0‐496c‐8510‐d32e99f200ad                   Address Redacted                      First Class Mail
4f6b99b6‐86e8‐4c40‐8b8c‐f2a26217c819                   Address Redacted                      First Class Mail
4f70045c‐c891‐49a1‐b3ee‐bd4bb4e8335c                   Address Redacted                      First Class Mail
4f7534d5‐fc74‐4480‐af5e‐75f94f26068d                   Address Redacted                      First Class Mail
4f78b2fd‐a199‐492d‐bc5a‐e2c141d61f8e                   Address Redacted                      First Class Mail
4f7b64f9‐62d5‐4618‐814f‐bffe127e9db6                   Address Redacted                      First Class Mail
4f7bed55‐867d‐42db‐ac57‐be669c752fca                   Address Redacted                      First Class Mail
4f7c24e6‐a0c7‐432a‐8477‐4fe3e8ed7e72                   Address Redacted                      First Class Mail
4f7e4474‐fb0c‐400a‐9dc8‐e0218a91ff7a                   Address Redacted                      First Class Mail
4f7f1d7b‐b2ba‐4854‐8f6b‐33e204adde54                   Address Redacted                      First Class Mail
4f803552‐93d0‐479e‐95db‐b4ecb98e650c                   Address Redacted                      First Class Mail
4f807f42‐f390‐4572‐b4e7‐97d5e710bc7c                   Address Redacted                      First Class Mail
4f8130dd‐9c7f‐45b3‐a187‐9cad0c298270                   Address Redacted                      First Class Mail
4f82ad6a‐a579‐4f7a‐8c59‐6b743a393ca8                   Address Redacted                      First Class Mail
4f83449c‐4f49‐4bd0‐9212‐4f24b85319cb                   Address Redacted                      First Class Mail
4f854aa2‐d719‐464b‐ae1d‐4f7a77cd9e63                   Address Redacted                      First Class Mail
4f864e4d‐7eac‐4783‐8335‐a0c8172ad6b6                   Address Redacted                      First Class Mail
4f895787‐e814‐4d84‐a171‐95c5a03cc73b                   Address Redacted                      First Class Mail
4f89e0f3‐020e‐4ad3‐bd8c‐6e81ad24acac                   Address Redacted                      First Class Mail
4f990393‐261a‐41d7‐ba98‐e7e240844c3a                   Address Redacted                      First Class Mail
4f991894‐1802‐4805‐b552‐9f8e739ed751                   Address Redacted                      First Class Mail
4f9bca45‐40c9‐4b43‐847d‐b90818f04fea                   Address Redacted                      First Class Mail
4f9cd813‐3d13‐435c‐b863‐6937272c12b8                   Address Redacted                      First Class Mail
4fa119ff‐489c‐4666‐a486‐ab41ccff8627                   Address Redacted                      First Class Mail
4fa35185‐05ec‐4d1b‐b769‐ddc0eca1fe1b                   Address Redacted                      First Class Mail
4fa82c19‐92f6‐4304‐a7bb‐cb632a07bb38                   Address Redacted                      First Class Mail
4fab4c82‐5442‐459a‐aff0‐e1379fab9b44                   Address Redacted                      First Class Mail
4facd9f9‐5c93‐487e‐b5fd‐28b28bb2794d                   Address Redacted                      First Class Mail
4fb799fa‐00bb‐4529‐8e11‐44e6dd1354a8                   Address Redacted                      First Class Mail
4fbbe7d5‐3c28‐487d‐84ef‐7758b9b44afd                   Address Redacted                      First Class Mail
4fc71ffb‐1da9‐4223‐a988‐488bbcaa2513                   Address Redacted                      First Class Mail
4fcecc6e‐5f7e‐46d8‐8b11‐8f42647e1fc4                   Address Redacted                      First Class Mail
4fcfe4f8‐efb5‐483d‐b805‐845ea629a39a                   Address Redacted                      First Class Mail
4fd74834‐ed35‐4eaf‐81a9‐943dbd07e755                   Address Redacted                      First Class Mail
4fd88b55‐a724‐4f16‐bd74‐a5589f5cee0a                   Address Redacted                      First Class Mail
4fd91e5e‐b5d2‐49d3‐8575‐3cbbda604c39                   Address Redacted                      First Class Mail
4fda44ff‐e1a8‐4802‐ac08‐011b352b18fa                   Address Redacted                      First Class Mail
4fda8bf5‐a4d7‐49f3‐bad3‐23a4fbfab865                   Address Redacted                      First Class Mail
4fe423d3‐6d2e‐4a54‐8a31‐115ca3685c02                   Address Redacted                      First Class Mail
4fe67802‐2a39‐4ed8‐9e1e‐03f678dcfa68                   Address Redacted                      First Class Mail
4fe87ca2‐6740‐4b00‐8cd6‐04eaa16c385e                   Address Redacted                      First Class Mail
4fec4194‐7ea7‐4caa‐a556‐5a3c640d58e0                   Address Redacted                      First Class Mail
4ff00c4a‐698a‐4688‐9547‐6978660bc60e                   Address Redacted                      First Class Mail
4ff4ee09‐b4d6‐4085‐b04f‐1aff7c861f4d                   Address Redacted                      First Class Mail
4ff881c0‐c9b4‐484e‐be40‐ac88e06592b0                   Address Redacted                      First Class Mail
4ff9af8e‐d621‐4847‐9478‐b31fc80f3e1f                   Address Redacted                      First Class Mail
4ffccb01‐bc03‐4dd2‐8545‐d602c82726cc                   Address Redacted                      First Class Mail
4ffd208a‐69fb‐416e‐9189‐3fd5848e9b56                   Address Redacted                      First Class Mail
4fff1365‐1a5d‐43ae‐8b36‐ee8936d2083f                   Address Redacted                      First Class Mail
4fff7bfc‐4484‐436e‐8a2e‐7a9b733deca4                   Address Redacted                      First Class Mail
5001cd80‐41d3‐4bbf‐a38f‐0b727c6f4517                   Address Redacted                      First Class Mail
5003058a‐f950‐4867‐8aea‐d061dc262eed                   Address Redacted                      First Class Mail
50047ff9‐79b1‐44ff‐b2d4‐d7a1308102d7                   Address Redacted                      First Class Mail
500568b3‐a65f‐4c19‐b53d‐fa63a2fcf38b                   Address Redacted                      First Class Mail
500a9e3e‐6875‐4e03‐8781‐531f7912517f                   Address Redacted                      First Class Mail




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                              Name                                              Address                         Method of Service
500c0f4d‐330a‐4295‐8a29‐232818f4cf6c                   Address Redacted                      First Class Mail
5013f86e‐4f80‐4fdc‐be04‐b00705de7d4e                   Address Redacted                      First Class Mail
501506de‐ac93‐4296‐8b7f‐64be0a399f84                   Address Redacted                      First Class Mail
501c14ec‐a1f3‐4f53‐9362‐b0d13e32c353                   Address Redacted                      First Class Mail
501d2ce1‐28af‐4fca‐8b52‐3c0546142fc2                   Address Redacted                      First Class Mail
501e4f99‐c4ff‐4b23‐aaed‐59e45dd7f8b7                   Address Redacted                      First Class Mail
502659ce‐f858‐41d7‐94d0‐cfcc087076f3                   Address Redacted                      First Class Mail
50270338‐808a‐46e2‐aeca‐18383ffa55cb                   Address Redacted                      First Class Mail
5028cdfd‐64b3‐4d6a‐9079‐e3a5ca9205c5                   Address Redacted                      First Class Mail
50291141‐30eb‐478c‐8fb3‐2c82f8b6f36e                   Address Redacted                      First Class Mail
502a9156‐a9f7‐4d0e‐9a04‐fd10c6deb831                   Address Redacted                      First Class Mail
50328ba2‐d16a‐4433‐9e97‐19fd9bdfdd87                   Address Redacted                      First Class Mail
5037bf31‐0383‐4c83‐8995‐a8a6c649bd6a                   Address Redacted                      First Class Mail
503a6894‐5634‐485c‐943b‐04cf7f2a6cac                   Address Redacted                      First Class Mail
503aa497‐e462‐4235‐950d‐a40de21ef326                   Address Redacted                      First Class Mail
503c35a4‐70e8‐4a2d‐90d3‐de5a6ba890ce                   Address Redacted                      First Class Mail
5042fde4‐dbc9‐4a05‐9510‐4f43e8c030ab                   Address Redacted                      First Class Mail
504595e4‐f914‐4249‐a806‐024b7d4a0fd4                   Address Redacted                      First Class Mail
504804ab‐493f‐43d2‐9e42‐cdbeec28cc2b                   Address Redacted                      First Class Mail
504c178d‐f2a2‐481c‐8ea3‐a2484043d10e                   Address Redacted                      First Class Mail
50506205‐3058‐4b22‐aa51‐3a30c5fa9a18                   Address Redacted                      First Class Mail
5052e836‐812a‐4f5e‐b41b‐6b3a0144c876                   Address Redacted                      First Class Mail
5053371f‐ec64‐4aac‐908f‐382da75eb79e                   Address Redacted                      First Class Mail
50548a52‐5c5f‐443e‐9aa0‐0ddce552e368                   Address Redacted                      First Class Mail
50549900‐6cd1‐466e‐a42a‐4c388d0f96b8                   Address Redacted                      First Class Mail
505bf6f7‐ab4e‐4791‐bab2‐8523885abd15                   Address Redacted                      First Class Mail
505e6d90‐ba11‐4969‐921b‐938671432771                   Address Redacted                      First Class Mail
505fe615‐34d9‐451a‐9227‐ef694c30f54b                   Address Redacted                      First Class Mail
50601d8e‐650e‐42ac‐bab9‐b8456aad3b3e                   Address Redacted                      First Class Mail
506248ca‐d023‐4fd9‐b38c‐aa442156f3ff                   Address Redacted                      First Class Mail
5062ec25‐4458‐411b‐b0f5‐0e1245957580                   Address Redacted                      First Class Mail
5063f530‐90ff‐4dbf‐b1ab‐a5aaaaf8d21a                   Address Redacted                      First Class Mail
5065b9aa‐823b‐4f78‐8745‐0470512da0c4                   Address Redacted                      First Class Mail
5067f8ed‐7c88‐4f3b‐ac29‐3e974d930267                   Address Redacted                      First Class Mail
5068acb4‐6a5b‐4865‐b32f‐8c826419b8e1                   Address Redacted                      First Class Mail
506938df‐70b0‐4d28‐8bf9‐ba75a0f215f3                   Address Redacted                      First Class Mail
506f78e3‐5c22‐4292‐80c4‐b679a7015acb                   Address Redacted                      First Class Mail
50704979‐59ff‐41d2‐9784‐f299cce7b679                   Address Redacted                      First Class Mail
507622c9‐6211‐4e14‐9edd‐656cb7177a4b                   Address Redacted                      First Class Mail
507d2c46‐0308‐40b9‐9195‐a28469f8eed3                   Address Redacted                      First Class Mail
50804a75‐2556‐4bdc‐8e68‐f61881f3270a                   Address Redacted                      First Class Mail
5081a7cb‐ad52‐4c3a‐8745‐77032c1816d2                   Address Redacted                      First Class Mail
50829925‐d22a‐41dc‐b4c5‐38b430d1d68c                   Address Redacted                      First Class Mail
5082dd3d‐40b0‐41eb‐9d00‐2f962cc449ff                   Address Redacted                      First Class Mail
50893be1‐5141‐443f‐98db‐4a4889e3ca1c                   Address Redacted                      First Class Mail
5089ab28‐4942‐42e0‐9960‐dfd8826f281a                   Address Redacted                      First Class Mail
50908460‐6bf7‐4799‐8a70‐18ada91dbc05                   Address Redacted                      First Class Mail
5090d147‐be0c‐4221‐a92b‐082eececf984                   Address Redacted                      First Class Mail
509dfad4‐d4d9‐4715‐8ac8‐f485518ea72b                   Address Redacted                      First Class Mail
509e124d‐e4bf‐4d0c‐bb0d‐71988fdc36c3                   Address Redacted                      First Class Mail
509eb0cd‐768f‐48fe‐b9aa‐a6f7b651b771                   Address Redacted                      First Class Mail
509f213f‐f6a2‐43ee‐b3d3‐2c87c71071d3                   Address Redacted                      First Class Mail
50a1b489‐a71e‐41e2‐8bce‐6ba532f1f14f                   Address Redacted                      First Class Mail
50a86e3a‐62f2‐4e9f‐9d52‐83123facd471                   Address Redacted                      First Class Mail
50a971e4‐f3f1‐480b‐8955‐78f622dc85d9                   Address Redacted                      First Class Mail
50adb270‐92a7‐4348‐afab‐03b5cfd60dc4                   Address Redacted                      First Class Mail
50ae1759‐cab0‐4946‐86af‐d5b42f8b68c1                   Address Redacted                      First Class Mail
50af7b6e‐ffb5‐4cd1‐9507‐4eefe2a0f298                   Address Redacted                      First Class Mail
50af7ee1‐893c‐4229‐8e22‐1ba7b9f1362d                   Address Redacted                      First Class Mail
50b03dab‐0871‐4d97‐a057‐ef326c43f1a2                   Address Redacted                      First Class Mail
50b14ef1‐a6b7‐4439‐beb3‐63545ec43331                   Address Redacted                      First Class Mail
50b1673d‐381e‐4a7d‐81c2‐cacdc32bf18c                   Address Redacted                      First Class Mail
50b2970d‐1e44‐4e28‐9705‐03307a7c049c                   Address Redacted                      First Class Mail
50b6970b‐9dcb‐4e55‐b762‐bebb590d2a12                   Address Redacted                      First Class Mail
50b8b2c5‐2fe5‐40b2‐9d81‐85ee1b304319                   Address Redacted                      First Class Mail
50b91715‐3111‐4042‐bb6f‐d8f5c45287b1                   Address Redacted                      First Class Mail
50bbcd22‐553e‐41f3‐abb0‐452f6406053b                   Address Redacted                      First Class Mail
50bc5b3e‐b4fc‐49d0‐a5c0‐e9d4e1df87a7                   Address Redacted                      First Class Mail
50bf4699‐1a58‐44c4‐8688‐6816a8feb122                   Address Redacted                      First Class Mail
50c4b319‐a879‐4aa4‐a6aa‐a62a374e3e8a                   Address Redacted                      First Class Mail
50c7d2a8‐6ba2‐4ee8‐b0fe‐87182ad0f20e                   Address Redacted                      First Class Mail
50cb56b6‐c9bb‐43f4‐ade0‐d53cb6cf3133                   Address Redacted                      First Class Mail




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                                                                 Service List


                              Name                                              Address                         Method of Service
50ccfd2b‐3e5e‐44ef‐9d86‐4758d61f3248                   Address Redacted                      First Class Mail
50cd007f‐3647‐45ae‐8dcf‐ae0106c40ec2                   Address Redacted                      First Class Mail
50d11c27‐d8fc‐44f3‐aac2‐6652aa4a873e                   Address Redacted                      First Class Mail
50d5e03b‐c01c‐484c‐a45e‐80e9d56b97fa                   Address Redacted                      First Class Mail
50d7e5df‐d644‐4e4c‐abd6‐2fbb69eaf8ac                   Address Redacted                      First Class Mail
50db4ffd‐8d8f‐45ae‐880d‐ecaea1bde5fe                   Address Redacted                      First Class Mail
50e2e5e2‐af36‐4253‐9841‐aa267629a2e1                   Address Redacted                      First Class Mail
50e368d0‐5344‐47f8‐805c‐f1a889934c62                   Address Redacted                      First Class Mail
50e45ac0‐b2ef‐451f‐90c4‐4266bf07e4a9                   Address Redacted                      First Class Mail
50eaef47‐076f‐4953‐ab36‐396526d44354                   Address Redacted                      First Class Mail
50ee66e1‐00fe‐4671‐98c7‐11d8230637cb                   Address Redacted                      First Class Mail
50f5155d‐2e58‐4a68‐a628‐02391d3aba92                   Address Redacted                      First Class Mail
50fd0ee0‐1bf3‐4925‐8041‐893d01c4c365                   Address Redacted                      First Class Mail
510444da‐1eee‐45e1‐a70c‐1e8ee19c9160                   Address Redacted                      First Class Mail
5105c5df‐9a79‐4bf8‐8d24‐3c1082968f9a                   Address Redacted                      First Class Mail
51074ad8‐e7e8‐4176‐8b0d‐c491ee364b46                   Address Redacted                      First Class Mail
51075e2d‐bf40‐46e7‐b53c‐57d9eb615def                   Address Redacted                      First Class Mail
511420e8‐a7d4‐4bea‐b42c‐9955ac3bb731                   Address Redacted                      First Class Mail
511568c6‐b169‐4857‐b1b2‐d606049988be                   Address Redacted                      First Class Mail
5118fcaa‐d51b‐424c‐824f‐3fad21853463                   Address Redacted                      First Class Mail
511b3ab0‐53dd‐4912‐827e‐fa0890bcaff0                   Address Redacted                      First Class Mail
511ba39f‐ee6a‐4827‐b4ad‐b96697a27d93                   Address Redacted                      First Class Mail
511c76ab‐cc1b‐4d98‐a69d‐fe9c72afdceb                   Address Redacted                      First Class Mail
511de874‐1bec‐4533‐b96a‐aa436e348c41                   Address Redacted                      First Class Mail
511e08d6‐cf4d‐4f2d‐afd3‐83559fde387e                   Address Redacted                      First Class Mail
51220986‐8358‐4b96‐b3c6‐5a798c4ac927                   Address Redacted                      First Class Mail
512219f3‐9e74‐45d6‐aaa1‐877c68b2d3f0                   Address Redacted                      First Class Mail
5127e075‐55b7‐4334‐a7c0‐f2af6d421a69                   Address Redacted                      First Class Mail
51293cf3‐33e5‐46bc‐9a7b‐e9c90a4a302c                   Address Redacted                      First Class Mail
512b39d8‐dfb3‐48ab‐a180‐96df18e442a9                   Address Redacted                      First Class Mail
512d1c76‐534d‐4347‐8139‐c9ac8ef2aeae                   Address Redacted                      First Class Mail
513439ea‐e39c‐4c00‐af6c‐5bcfe7f67ab0                   Address Redacted                      First Class Mail
51385ed6‐494e‐421b‐8896‐cd3039a36d1c                   Address Redacted                      First Class Mail
51394b5b‐bb2f‐4e75‐9586‐581da3174486                   Address Redacted                      First Class Mail
5139b56e‐8ccd‐436b‐a9e3‐d1746e5db609                   Address Redacted                      First Class Mail
513abbb3‐d097‐4b31‐a88d‐6be8fcb8038a                   Address Redacted                      First Class Mail
513bf719‐79e2‐4d5e‐84f2‐57bfe5753dda                   Address Redacted                      First Class Mail
513d5777‐7277‐466b‐b504‐74eb84ed68ba                   Address Redacted                      First Class Mail
513fac59‐8a39‐4cc7‐8818‐ce443a2dcd35                   Address Redacted                      First Class Mail
5142952a‐b0aa‐4459‐8767‐2e027876a52d                   Address Redacted                      First Class Mail
51431cce‐3790‐4c29‐8b0a‐a8f5d07bb0d0                   Address Redacted                      First Class Mail
5143724d‐aad1‐4928‐aa04‐6dd6e56422c6                   Address Redacted                      First Class Mail
51473e33‐cbde‐429c‐86e5‐8be293d817a5                   Address Redacted                      First Class Mail
51474248‐d78c‐49f5‐8569‐1410bcd0d6cb                   Address Redacted                      First Class Mail
5147c9d6‐0403‐4bce‐8dc3‐23841403813c                   Address Redacted                      First Class Mail
514a2106‐7a37‐4227‐a546‐6374db83f6ab                   Address Redacted                      First Class Mail
514e43e0‐25fe‐481c‐afdd‐c8f7bb85f3c1                   Address Redacted                      First Class Mail
515623f4‐e677‐49d2‐9fee‐186300e04ecd                   Address Redacted                      First Class Mail
5157ab2d‐74f1‐4f27‐995d‐54e8a4af2878                   Address Redacted                      First Class Mail
515a22b5‐76c8‐4a91‐afec‐3a39f5dbab14                   Address Redacted                      First Class Mail
515b0553‐de5b‐49e6‐b77e‐485af46b4e6d                   Address Redacted                      First Class Mail
515d109b‐6408‐42a0‐8d23‐947e1f612044                   Address Redacted                      First Class Mail
515dc2b2‐e2a1‐4263‐9182‐a975d598f134                   Address Redacted                      First Class Mail
515dd65f‐86ee‐4429‐aa7b‐6c00bdfde916                   Address Redacted                      First Class Mail
51605690‐af5c‐4ee4‐9aa0‐2d746d17b1f7                   Address Redacted                      First Class Mail
516a37a5‐f964‐4078‐907d‐7d9f45a54d1d                   Address Redacted                      First Class Mail
516a41a4‐570e‐4407‐97aa‐3549c377362c                   Address Redacted                      First Class Mail
516cf416‐f670‐4268‐9abf‐49d31280c43c                   Address Redacted                      First Class Mail
517079da‐697d‐4557‐b82c‐66645a18c3b6                   Address Redacted                      First Class Mail
5173905b‐adc3‐428c‐bbdb‐0dc4b39d5853                   Address Redacted                      First Class Mail
5176329d‐0002‐420c‐92dc‐ba3ac02ae7a0                   Address Redacted                      First Class Mail
5178ba28‐7f70‐43b9‐935c‐4d294e5e3b17                   Address Redacted                      First Class Mail
517ebfe5‐bfc5‐4591‐8987‐72756a094fa4                   Address Redacted                      First Class Mail
5182efaa‐9c6b‐485b‐a2eb‐f23dbd437429                   Address Redacted                      First Class Mail
518312aa‐cc58‐4eaf‐bf9a‐d8f590770e2a                   Address Redacted                      First Class Mail
5185a553‐3a4d‐4a86‐848c‐38668e89f547                   Address Redacted                      First Class Mail
518975bb‐01f1‐4ef9‐80fd‐844abf18ee51                   Address Redacted                      First Class Mail
518a99ae‐05ce‐48da‐be7e‐b48c2ed19efe                   Address Redacted                      First Class Mail
518fe264‐7f35‐4cbd‐aac7‐1bd0f4252e29                   Address Redacted                      First Class Mail
51956fe5‐650d‐4131‐8607‐1256c7e05025                   Address Redacted                      First Class Mail
5196798f‐fbdb‐41b3‐82fa‐1c46ada793e0                   Address Redacted                      First Class Mail
51985812‐50a1‐4910‐ad8f‐7f14ef714a8d                   Address Redacted                      First Class Mail




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                                                                Exhibit A
                                                                 Service List


                              Name                                              Address                         Method of Service
51a94127‐fc33‐40b3‐8fb3‐62a11b7c25ca                   Address Redacted                      First Class Mail
51a95d03‐65bf‐4ffc‐ba10‐e434001485f2                   Address Redacted                      First Class Mail
51a9905f‐b6a1‐449a‐93bd‐b8227e4dab48                   Address Redacted                      First Class Mail
51af5a74‐3866‐4c88‐a300‐6e6c0874177e                   Address Redacted                      First Class Mail
51af69b7‐6344‐483c‐b364‐b64d5044fb69                   Address Redacted                      First Class Mail
51afe86f‐7635‐4497‐b9c0‐88a610ea70db                   Address Redacted                      First Class Mail
51b54bef‐14df‐4593‐8a1a‐709ad040ff69                   Address Redacted                      First Class Mail
51b790f3‐c5ee‐4be3‐afa8‐f44000406486                   Address Redacted                      First Class Mail
51bb956f‐9c51‐476f‐b5a6‐f34768178a15                   Address Redacted                      First Class Mail
51be532e‐3aec‐4b57‐a936‐33ddba03383c                   Address Redacted                      First Class Mail
51be8203‐e077‐4c6e‐87c4‐fa229fbfe174                   Address Redacted                      First Class Mail
51beac27‐b387‐4aac‐a00b‐61a6de2b5972                   Address Redacted                      First Class Mail
51c092de‐b5c5‐4af7‐aeb8‐87dc5c68b759                   Address Redacted                      First Class Mail
51c1386c‐2ebf‐479b‐a792‐6a110d8978b2                   Address Redacted                      First Class Mail
51c181a9‐cd8a‐4fc7‐a231‐84fa359ed0f6                   Address Redacted                      First Class Mail
51c8853b‐2254‐451e‐a08c‐315c76e4aa1a                   Address Redacted                      First Class Mail
51c8b807‐d8bb‐4e9d‐9c5c‐5532ffe1c8d4                   Address Redacted                      First Class Mail
51c9c833‐93a9‐4218‐bb26‐1f487df34ecf                   Address Redacted                      First Class Mail
51cc90bf‐492d‐4788‐9266‐a9fb1d0bb1c8                   Address Redacted                      First Class Mail
51ce077d‐c777‐4992‐b313‐fcea408234f8                   Address Redacted                      First Class Mail
51d45ca3‐f1b5‐4a20‐bfeb‐55dab5f01797                   Address Redacted                      First Class Mail
51d4a9a0‐be19‐4852‐81f6‐04faada0ce43                   Address Redacted                      First Class Mail
51d4e2fe‐3cb8‐4b48‐96f2‐5fd0944ac514                   Address Redacted                      First Class Mail
51d676c6‐4c4f‐4fff‐bd5c‐197526a5dd47                   Address Redacted                      First Class Mail
51d6d876‐7c3d‐4455‐881d‐d701cafbfa1e                   Address Redacted                      First Class Mail
51df4861‐6453‐4c54‐83e1‐3775eadbe334                   Address Redacted                      First Class Mail
51df68a1‐204d‐45f8‐afcb‐6934a2522ef9                   Address Redacted                      First Class Mail
51e0bddc‐8868‐40fd‐bae1‐7361c73b0870                   Address Redacted                      First Class Mail
51e16028‐4cb2‐494b‐8c1f‐20b13b48af54                   Address Redacted                      First Class Mail
51e736c7‐80a9‐467d‐bdd7‐fefaaeba8f25                   Address Redacted                      First Class Mail
51e8b0eb‐c64c‐49d4‐97e6‐e38097e7eddb                   Address Redacted                      First Class Mail
51e9bf90‐d6d9‐48e0‐b056‐752a83bf5373                   Address Redacted                      First Class Mail
51e9cf87‐9c78‐4a66‐9426‐8151396b608d                   Address Redacted                      First Class Mail
51ec6c65‐67e5‐4428‐a7cd‐699d1f85f63e                   Address Redacted                      First Class Mail
51ef6a06‐4499‐443a‐9ca4‐656c3a31093e                   Address Redacted                      First Class Mail
51f357c1‐9630‐4257‐ab77‐21946098675b                   Address Redacted                      First Class Mail
51f619b3‐1383‐4d4e‐a20b‐4c9214a162e7                   Address Redacted                      First Class Mail
51f9fa6a‐3686‐4599‐b6bf‐2679668fb246                   Address Redacted                      First Class Mail
51fa98cd‐75bd‐43f6‐acf5‐08f21d847ec2                   Address Redacted                      First Class Mail
5203889f‐a8be‐49b6‐8348‐292c87f493bf                   Address Redacted                      First Class Mail
520657a8‐06c0‐4583‐85cc‐321a5c0393bb                   Address Redacted                      First Class Mail
5209373e‐a531‐4abd‐a7be‐6e1c1f7c04ff                   Address Redacted                      First Class Mail
52099bc5‐204e‐47d0‐9ef4‐9a51da147479                   Address Redacted                      First Class Mail
520a7e47‐c149‐487c‐a88e‐64701d9e3835                   Address Redacted                      First Class Mail
520ab5e3‐21db‐4bdf‐b7f0‐403114de7c50                   Address Redacted                      First Class Mail
520e6847‐04ae‐4f9e‐b177‐3270ea1cfe15                   Address Redacted                      First Class Mail
52178c4b‐0d7d‐436a‐85da‐facf839bfab7                   Address Redacted                      First Class Mail
521826e6‐b2c2‐4864‐9b1c‐00b0343d1243                   Address Redacted                      First Class Mail
521843c0‐9025‐4ea4‐b76c‐0c77783d7515                   Address Redacted                      First Class Mail
5219597b‐f3e6‐43ca‐b67e‐dc6f4f15e646                   Address Redacted                      First Class Mail
52198035‐56a1‐4369‐b054‐0df984019a7f                   Address Redacted                      First Class Mail
521f150e‐c4e5‐4af2‐afa5‐c8374907c36b                   Address Redacted                      First Class Mail
5220b2e2‐e6ca‐430c‐88dc‐4a1a54756928                   Address Redacted                      First Class Mail
52219694‐c4c2‐4fa0‐a5a1‐fb5f889f126e                   Address Redacted                      First Class Mail
5221cd2c‐9022‐47a3‐83dc‐83148060e5e1                   Address Redacted                      First Class Mail
522486f5‐ed6c‐4e29‐9bcc‐698acfd470ea                   Address Redacted                      First Class Mail
52250750‐7d58‐4dac‐a0a0‐f9e4ae47bf96                   Address Redacted                      First Class Mail
52278048‐a460‐4ded‐a488‐5a577d97b20c                   Address Redacted                      First Class Mail
5229c8c1‐519a‐4854‐aad4‐522081eb7a5e                   Address Redacted                      First Class Mail
522bbe5c‐78b0‐461f‐aab5‐3a6aa7cf6f1e                   Address Redacted                      First Class Mail
522cef8d‐f35a‐4f72‐8dfd‐8520cf0ea07d                   Address Redacted                      First Class Mail
522f23cd‐f7c4‐427c‐9d15‐67746df7471e                   Address Redacted                      First Class Mail
5233ca16‐98be‐451d‐ad75‐1673a0644e7c                   Address Redacted                      First Class Mail
5235509e‐37cc‐47c0‐85e6‐499376fec786                   Address Redacted                      First Class Mail
5236bdb6‐a5d9‐465b‐9db6‐6f688f10411d                   Address Redacted                      First Class Mail
523a967f‐e07d‐454e‐b7b0‐05e254673def                   Address Redacted                      First Class Mail
523bb794‐fb05‐4678‐8ae3‐3902efd9047e                   Address Redacted                      First Class Mail
523fd79b‐7f7a‐4b64‐b04a‐e6c22754f656                   Address Redacted                      First Class Mail
52428711‐634d‐47b6‐977b‐88a5ef6d64e4                   Address Redacted                      First Class Mail
5242ac77‐80af‐4392‐b724‐9a0e0983c8df                   Address Redacted                      First Class Mail
5245f0b2‐1034‐4b1d‐9c7c‐1608be03c23c                   Address Redacted                      First Class Mail
52495e1a‐1a40‐4f2c‐a931‐592508e5e85f                   Address Redacted                      First Class Mail




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                              Name                                              Address                         Method of Service
524c38d8‐07d6‐4fa1‐b1ae‐4b374a2d43c5                   Address Redacted                      First Class Mail
52526c7a‐04df‐4de6‐820c‐0028f2f00330                   Address Redacted                      First Class Mail
5256594a‐6087‐45bc‐a784‐a00544b702dc                   Address Redacted                      First Class Mail
5258bb1d‐7eef‐4971‐b36c‐9583fbca6cf7                   Address Redacted                      First Class Mail
525978cc‐4268‐4fd1‐96d3‐21cb4d8bb8a2                   Address Redacted                      First Class Mail
5262c36e‐e751‐4f97‐8509‐606f932d4d1d                   Address Redacted                      First Class Mail
52652874‐006e‐43f1‐b3c0‐905161f2f061                   Address Redacted                      First Class Mail
5265da59‐b67a‐4b07‐8b1f‐3ec15b699412                   Address Redacted                      First Class Mail
526bf26c‐6c24‐4db3‐bfbe‐2a342709bec7                   Address Redacted                      First Class Mail
526c5066‐b86a‐4559‐a99d‐f2604330b26b                   Address Redacted                      First Class Mail
5270676c‐a9d0‐4fae‐b1b0‐2ae5e0f9d4c7                   Address Redacted                      First Class Mail
52726668‐fe87‐4cce‐8724‐b379d1c4db02                   Address Redacted                      First Class Mail
5273eb45‐e5f8‐4165‐85fb‐5ed97a0f2349                   Address Redacted                      First Class Mail
52745190‐9f58‐4cbc‐9b0e‐0f9280dd766a                   Address Redacted                      First Class Mail
5274cc28‐d7d5‐49b7‐851c‐233ee7b5aabc                   Address Redacted                      First Class Mail
52795da1‐7665‐46ef‐8422‐eccd95ebf2c9                   Address Redacted                      First Class Mail
528429cf‐6536‐46ac‐900d‐1f98027ffba9                   Address Redacted                      First Class Mail
528630f4‐6b09‐4ba8‐babc‐6a0c6d0dd204                   Address Redacted                      First Class Mail
52881278‐12b6‐4b1a‐b7c7‐31fc37983116                   Address Redacted                      First Class Mail
52887a74‐775d‐40bb‐a5c3‐ceea897b3f11                   Address Redacted                      First Class Mail
528cbf1e‐b341‐4b2f‐a599‐43d5f866f3d4                   Address Redacted                      First Class Mail
52912c67‐6b67‐4d5f‐9cd5‐79a64417d9a0                   Address Redacted                      First Class Mail
52931bf7‐800e‐4b2d‐bb68‐c5a4e0158635                   Address Redacted                      First Class Mail
52933e74‐93cb‐4659‐abf9‐d52fdc755742                   Address Redacted                      First Class Mail
5293af7b‐e2fb‐45b9‐a233‐422310344b27                   Address Redacted                      First Class Mail
5295b425‐514b‐4066‐8336‐01c370551ae9                   Address Redacted                      First Class Mail
52968727‐15b1‐42b6‐9906‐b44141358705                   Address Redacted                      First Class Mail
52971779‐0629‐4a0b‐8d0c‐eacabc3427b3                   Address Redacted                      First Class Mail
529b77c7‐863d‐49fa‐ba7e‐011522cee898                   Address Redacted                      First Class Mail
529db4e6‐8d91‐46f3‐a4d4‐a277ef0e2911                   Address Redacted                      First Class Mail
529ffcb4‐3caa‐4103‐ad81‐8b0479d21ad0                   Address Redacted                      First Class Mail
52a16a27‐359c‐4f44‐9bf3‐c7b1fc7464cd                   Address Redacted                      First Class Mail
52a203a4‐519f‐4678‐b58f‐f5da8f2d42d2                   Address Redacted                      First Class Mail
52a25658‐322d‐4cdd‐9dff‐5f3f480b9dae                   Address Redacted                      First Class Mail
52a6ca8d‐8d77‐44b8‐a8ed‐3badb6f31636                   Address Redacted                      First Class Mail
52a7c674‐3c8a‐4a63‐86c3‐7d637fa82346                   Address Redacted                      First Class Mail
52a8abf4‐1641‐45f6‐b874‐e9799ba943e1                   Address Redacted                      First Class Mail
52ad58af‐21d3‐4cd0‐b35c‐93555f5ddaae                   Address Redacted                      First Class Mail
52b1caa0‐049f‐4318‐b23c‐767eb44212b3                   Address Redacted                      First Class Mail
52b5ce22‐3e8f‐4a4b‐845d‐fca7cd59747b                   Address Redacted                      First Class Mail
52b644b9‐0090‐4cc1‐af1e‐cf4f7b19226c                   Address Redacted                      First Class Mail
52b6ef6c‐1bac‐4b21‐b441‐37d12112242a                   Address Redacted                      First Class Mail
52c24578‐dcb8‐46fc‐a994‐93aca35c2b93                   Address Redacted                      First Class Mail
52c7cda9‐ab11‐47d1‐b164‐951b17187fc2                   Address Redacted                      First Class Mail
52cbbeda‐1c6f‐4879‐be58‐c0dbc0825b35                   Address Redacted                      First Class Mail
52cebb6f‐6151‐4b2d‐9bf6‐5be468ba1540                   Address Redacted                      First Class Mail
52cefca3‐013e‐4032‐8011‐ecacb06079a3                   Address Redacted                      First Class Mail
52d16a19‐2ba3‐43da‐bc49‐f7f8c6a12c07                   Address Redacted                      First Class Mail
52d2c1f0‐4092‐49a2‐83d6‐369511616270                   Address Redacted                      First Class Mail
52d4cb44‐5ae0‐4ef0‐bca9‐220407c43935                   Address Redacted                      First Class Mail
52e04236‐b976‐4def‐b788‐3ff6c594b407                   Address Redacted                      First Class Mail
52e111c4‐39aa‐4cfa‐9c06‐2e6a6c10025a                   Address Redacted                      First Class Mail
52e15af8‐a22f‐45ef‐a808‐8a23cc059aad                   Address Redacted                      First Class Mail
52e1a32a‐978d‐4559‐a7af‐5b090db48d57                   Address Redacted                      First Class Mail
52e1fe05‐029b‐49d9‐b47a‐2c93508cab32                   Address Redacted                      First Class Mail
52e3cb5d‐778a‐45b9‐8c1b‐16edb8f00193                   Address Redacted                      First Class Mail
52e50281‐3432‐4dd5‐b753‐8568081be2e1                   Address Redacted                      First Class Mail
52e8e513‐5e73‐4188‐ad3a‐4306438ed1e3                   Address Redacted                      First Class Mail
52eae366‐d2f4‐41c5‐bb49‐0d120a3260d1                   Address Redacted                      First Class Mail
52ec0325‐3c69‐460c‐8928‐8c80b40b94fd                   Address Redacted                      First Class Mail
52f11b24‐b356‐4966‐83b5‐b92dfa66bccf                   Address Redacted                      First Class Mail
52f2dafd‐acad‐4689‐89fa‐b1edbb36112b                   Address Redacted                      First Class Mail
52f53cdd‐7fd3‐43b6‐ad21‐becf6fba29a8                   Address Redacted                      First Class Mail
52f71f42‐fc83‐476b‐8023‐361974b0354c                   Address Redacted                      First Class Mail
52fbd62e‐e3e4‐426c‐a553‐cf8b5f58e29f                   Address Redacted                      First Class Mail
52fdaa38‐4c40‐45ae‐9704‐48ab5f23d6c1                   Address Redacted                      First Class Mail
5300271a‐f7b1‐4011‐a0c8‐505b3bead985                   Address Redacted                      First Class Mail
5300e753‐5c41‐4d13‐a759‐fe0346e00003                   Address Redacted                      First Class Mail
530247f2‐16ea‐4fa3‐b8a3‐8c2bc0492b32                   Address Redacted                      First Class Mail
53070b7a‐0d4e‐45c2‐9f88‐8ea317536401                   Address Redacted                      First Class Mail
530a6866‐fc2d‐48ae‐86e4‐99ad4d2c6e34                   Address Redacted                      First Class Mail
530dac03‐7bb1‐4f59‐906f‐e7d17bd05350                   Address Redacted                      First Class Mail




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                                                                Exhibit A
                                                                 Service List


                              Name                                              Address                         Method of Service
530db440‐b1e8‐4084‐83f2‐ca042f497893                   Address Redacted                      First Class Mail
530debe9‐2dab‐4328‐889d‐755eceea3737                   Address Redacted                      First Class Mail
5313a59b‐6744‐4323‐b30e‐3af55b8104d3                   Address Redacted                      First Class Mail
53150522‐6094‐4b6e‐b660‐2b3fd381034b                   Address Redacted                      First Class Mail
531525f6‐2968‐4bcf‐ada6‐afa0006c6bfd                   Address Redacted                      First Class Mail
531551bd‐aa0d‐407c‐b445‐600d40ddca10                   Address Redacted                      First Class Mail
53168c96‐30b9‐46c6‐aeb5‐e0b74fb82f98                   Address Redacted                      First Class Mail
531bc59b‐33b5‐431d‐b382‐70bda8c451dc                   Address Redacted                      First Class Mail
531fbdad‐d66f‐4b29‐b2b9‐29bb79ac0b9e                   Address Redacted                      First Class Mail
531ffd02‐b7fc‐4744‐a734‐0107dac5f8b1                   Address Redacted                      First Class Mail
5320cde3‐e48c‐4bed‐a83c‐0921b9fb29d6                   Address Redacted                      First Class Mail
5323c359‐7234‐4b1c‐8d77‐1c537f0e11d3                   Address Redacted                      First Class Mail
5323e1a3‐f8a6‐4966‐b719‐6ad2f5f5bee7                   Address Redacted                      First Class Mail
5324b9fe‐b6d2‐47bc‐bc8b‐6cb479547a71                   Address Redacted                      First Class Mail
532adf34‐1fad‐4080‐a3e8‐daa5828779b4                   Address Redacted                      First Class Mail
532ca150‐4f5d‐49c3‐bba3‐71debcfd480b                   Address Redacted                      First Class Mail
532dbbea‐8cc0‐484e‐96b9‐2a1f7086fb1a                   Address Redacted                      First Class Mail
533d0295‐5edc‐4617‐a877‐cc644f281a60                   Address Redacted                      First Class Mail
533dc1db‐1871‐4686‐811e‐3d9b85359c48                   Address Redacted                      First Class Mail
533ea355‐cd90‐44e5‐bc4c‐fc77b563c64c                   Address Redacted                      First Class Mail
533f5941‐ce58‐45d9‐8b1f‐af657e52ddc0                   Address Redacted                      First Class Mail
53409cfe‐3e12‐42a7‐a29c‐0c2d84404843                   Address Redacted                      First Class Mail
5343f82f‐dafd‐46a2‐b392‐13ee27d72766                   Address Redacted                      First Class Mail
53483f2f‐5e52‐4ed2‐b8ac‐49aafc25c065                   Address Redacted                      First Class Mail
5348a6eb‐634f‐48bb‐af85‐049f8be7b2a1                   Address Redacted                      First Class Mail
534b23e5‐4bee‐43b8‐888e‐839e7b209028                   Address Redacted                      First Class Mail
534e13e7‐a808‐4282‐a1fb‐9307dfa7ecc1                   Address Redacted                      First Class Mail
534eb554‐916d‐44c6‐a39a‐b33bf7f6ca57                   Address Redacted                      First Class Mail
53523a0c‐dd51‐471c‐a2fa‐b6c531d70b1d                   Address Redacted                      First Class Mail
53532821‐3bc7‐4a8e‐888d‐908e7f5f5884                   Address Redacted                      First Class Mail
535606ff‐eb34‐4fae‐9138‐464e18d7c84c                   Address Redacted                      First Class Mail
535631b7‐f47b‐4b6a‐9a7e‐8b0581f701ab                   Address Redacted                      First Class Mail
53585769‐0a1f‐44a6‐894d‐8448568c4dc7                   Address Redacted                      First Class Mail
535a9bb6‐c2e0‐49b4‐9741‐1a8bc8a6b815                   Address Redacted                      First Class Mail
535c608a‐0ac1‐41e9‐bec6‐c47a3f83aec6                   Address Redacted                      First Class Mail
535c7890‐c1d9‐450a‐bc66‐c7a1c5c55adc                   Address Redacted                      First Class Mail
535f8af0‐6e42‐4697‐9369‐0e7bb669ff6d                   Address Redacted                      First Class Mail
53606730‐4f5d‐4a50‐be53‐1f5f4e8a2312                   Address Redacted                      First Class Mail
53619e5e‐85a9‐4827‐a8ef‐0b568ac19838                   Address Redacted                      First Class Mail
5361f2cd‐a966‐4504‐be6a‐2186b43f08cb                   Address Redacted                      First Class Mail
5363e7bd‐6401‐42bd‐8daa‐7136a085053a                   Address Redacted                      First Class Mail
53643538‐785c‐409b‐af9c‐9571d7aa0601                   Address Redacted                      First Class Mail
5365333f‐b9a8‐4959‐8e5a‐bca0cafb2877                   Address Redacted                      First Class Mail
53670e11‐a3d2‐4e8b‐a719‐a4369db2f414                   Address Redacted                      First Class Mail
5367d66c‐39b4‐4621‐a856‐db06c777ec8c                   Address Redacted                      First Class Mail
536a2d4a‐0081‐49d0‐a677‐cabbeb192317                   Address Redacted                      First Class Mail
536be3da‐51ac‐4586‐811d‐7c7b82620727                   Address Redacted                      First Class Mail
53763917‐0ac6‐4cc9‐a001‐d2b75fb45602                   Address Redacted                      First Class Mail
5376c942‐b142‐4a8c‐acbc‐5052349cad6c                   Address Redacted                      First Class Mail
53790e14‐8837‐46ec‐9114‐a199d64f4f4f                   Address Redacted                      First Class Mail
537a80f5‐f90d‐4705‐a79f‐97e5805ab10c                   Address Redacted                      First Class Mail
537ac97a‐1dae‐46cc‐8901‐206396adc5f5                   Address Redacted                      First Class Mail
537d2af1‐2266‐40a4‐bff2‐0d509549a6a1                   Address Redacted                      First Class Mail
537d411c‐6c53‐4785‐bc45‐877c1bf051d7                   Address Redacted                      First Class Mail
5381a51d‐6219‐42d2‐90f9‐e45e9edf5b4b                   Address Redacted                      First Class Mail
5383903c‐59c6‐4875‐b82f‐83ef55aa1a8f                   Address Redacted                      First Class Mail
53862718‐fba4‐4d13‐831b‐71d4ec54c958                   Address Redacted                      First Class Mail
5386f098‐f63d‐428b‐8729‐517c0157acad                   Address Redacted                      First Class Mail
5388ae95‐a446‐4d18‐bacb‐326bf84cc9a3                   Address Redacted                      First Class Mail
53893e73‐e608‐4ed2‐b420‐10c59d699fce                   Address Redacted                      First Class Mail
538a0abe‐f9ae‐4a24‐a5c4‐82844158769c                   Address Redacted                      First Class Mail
538c0b66‐0ac1‐4848‐aacd‐4b9354d87967                   Address Redacted                      First Class Mail
538d85ac‐5b3f‐4ec8‐a04d‐e2dc6eb1a9df                   Address Redacted                      First Class Mail
538f0d81‐19b2‐499c‐a5d1‐ca2d29029dd2                   Address Redacted                      First Class Mail
5393d439‐cb34‐4c5b‐a0cf‐c91d48d1c2cb                   Address Redacted                      First Class Mail
53978755‐4f29‐42be‐b05c‐117a0b2abf64                   Address Redacted                      First Class Mail
53980f2e‐5a72‐4034‐ba62‐2c743d3ea90c                   Address Redacted                      First Class Mail
539908c9‐cf3c‐4a4d‐bde6‐82fbbc76b974                   Address Redacted                      First Class Mail
539c5d0b‐0b2b‐46a4‐8de4‐a9075bda1e84                   Address Redacted                      First Class Mail
539cc36e‐3c54‐4689‐9735‐de988231c607                   Address Redacted                      First Class Mail
53a66d66‐5683‐4e75‐9657‐80a6b0595bba                   Address Redacted                      First Class Mail
53ad1a97‐5799‐476c‐acee‐41ebfda73591                   Address Redacted                      First Class Mail




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                                                                Exhibit A
                                                                 Service List


                               Name                                             Address                         Method of Service
53b1fb49‐2b0e‐4ecc‐bd91‐93c9d4425468                   Address Redacted                      First Class Mail
53b8cc43‐d7ee‐44d6‐bb2d‐fb02e42d1432                   Address Redacted                      First Class Mail
53bdecab‐8c0f‐4c1e‐947a‐588bb0653801                   Address Redacted                      First Class Mail
53bff8f3‐945c‐4e3c‐af0b‐08b7f7f5b579                   Address Redacted                      First Class Mail
53c156fc‐e0d7‐4193‐af44‐39dd244eb432                   Address Redacted                      First Class Mail
53c30572‐35f7‐46a8‐bc2c‐6f091ce24bac                   Address Redacted                      First Class Mail
53c5577c‐f52a‐4b70‐82c9‐463bc8a46afd                   Address Redacted                      First Class Mail
53c908f8‐e0c2‐4210‐a781‐f3061a7751f6                   Address Redacted                      First Class Mail
53c9ff4a‐d5d5‐4aaf‐95a4‐e7e2afeb81ca                   Address Redacted                      First Class Mail
53cdbc6c‐a45c‐4ad5‐ac4e‐501c698bc0dc                   Address Redacted                      First Class Mail
53d0320d‐3cec‐4291‐968f‐3dab501f400d                   Address Redacted                      First Class Mail
53d0dfe7‐a82f‐4999‐825d‐39e005b71b67                   Address Redacted                      First Class Mail
53d83a7a‐68fb‐4b62‐bf28‐6968a5382762                   Address Redacted                      First Class Mail
53dbe3b5‐cde9‐4924‐b45c‐8018ffd15cc8                   Address Redacted                      First Class Mail
53deaa08‐32e9‐4d9f‐8e3e‐a5cee61782a2                   Address Redacted                      First Class Mail
53df2c1a‐b093‐418e‐9c64‐39cc263e3ee6                   Address Redacted                      First Class Mail
53e2b01c‐64f6‐407f‐8ebc‐ec463c71a9e6                   Address Redacted                      First Class Mail
53e71493‐2dec‐4ea7‐93be‐86a4facc7fa9                   Address Redacted                      First Class Mail
53ed8e4e‐4adf‐42f5‐aa58‐2f0f7fba91c4                   Address Redacted                      First Class Mail
53ee25ae‐a3e3‐4372‐8d12‐2ca5a9262308                   Address Redacted                      First Class Mail
53efc0d1‐24bf‐4c20‐b063‐88778c76768c                   Address Redacted                      First Class Mail
53f457d6‐db31‐474e‐ab44‐53b30dbd51ae                   Address Redacted                      First Class Mail
53f63a0e‐6017‐4b07‐ac46‐8422a15737bc                   Address Redacted                      First Class Mail
53fade54‐6580‐4992‐ba3d‐e1c41878da5b                   Address Redacted                      First Class Mail
53fc9458‐948c‐4854‐9c50‐6532b875b296                   Address Redacted                      First Class Mail
5401a303‐949f‐4f61‐976a‐e15605107608                   Address Redacted                      First Class Mail
54042e60‐29cd‐4422‐a5c5‐615c51a4c4e5                   Address Redacted                      First Class Mail
540487c5‐3e6e‐4c65‐9ddf‐16771f916f60                   Address Redacted                      First Class Mail
540a86ef‐733c‐44a4‐804b‐f32d4d321574                   Address Redacted                      First Class Mail
540e8acc‐fd66‐4f19‐a2b4‐281b348ae0fb                   Address Redacted                      First Class Mail
540fb5eb‐5586‐4f22‐ae4e‐f473ede163d1                   Address Redacted                      First Class Mail
541a67a3‐d1a7‐4ea8‐bb05‐5f6690b58d15                   Address Redacted                      First Class Mail
541e7d97‐42fd‐45ac‐b100‐f9c4235d7bae                   Address Redacted                      First Class Mail
541ffbb3‐c503‐422d‐b79a‐4bbb05a0ab65                   Address Redacted                      First Class Mail
5420047e‐6077‐4c3b‐9fd6‐70c5e2aea30c                   Address Redacted                      First Class Mail
5420f663‐b8fc‐43e2‐9a0a‐97cb0df1eaba                   Address Redacted                      First Class Mail
5420fe9a‐16d0‐40f7‐81bb‐929799ae0330                   Address Redacted                      First Class Mail
542186bd‐ad86‐452b‐91d0‐bbd54c6caee7                   Address Redacted                      First Class Mail
54218ca2‐1b5f‐4fe8‐a19c‐2f161d961f28                   Address Redacted                      First Class Mail
5426190a‐a68e‐4a47‐92bb‐5633f7c075bc                   Address Redacted                      First Class Mail
54289fe8‐68c7‐4985‐9b45‐b1928ca6a5e8                   Address Redacted                      First Class Mail
542a5ff4‐9529‐478d‐ae81‐59694e0651e1                   Address Redacted                      First Class Mail
54329a1f‐8160‐4e46‐8e49‐ac4d507a7c48                   Address Redacted                      First Class Mail
5435594f‐c3ca‐47ff‐81fb‐92a6bf39af00                   Address Redacted                      First Class Mail
54371b7b‐0078‐4947‐a5c1‐34cd263d654d                   Address Redacted                      First Class Mail
54424a80‐cbc7‐4d76‐b081‐1b7390c84ded                   Address Redacted                      First Class Mail
54457279‐02bf‐4271‐aee9‐265a7b1d0716                   Address Redacted                      First Class Mail
5448b50c‐0fd9‐4335‐8d92‐5c1b908cea08                   Address Redacted                      First Class Mail
54530b35‐bf9d‐4af7‐919b‐a814b13d701b                   Address Redacted                      First Class Mail
54534527‐d32f‐492d‐adcf‐562153401610                   Address Redacted                      First Class Mail
5457c4a9‐43ac‐4de6‐b487‐c1bc19b20955                   Address Redacted                      First Class Mail
545b9275‐ba02‐4bb9‐be4a‐de0c2755290d                   Address Redacted                      First Class Mail
545c46e6‐5227‐4ae5‐bb18‐b1924334c319                   Address Redacted                      First Class Mail
545f5aa0‐7993‐432e‐84ff‐af56e574519d                   Address Redacted                      First Class Mail
5460de10‐fc34‐41ef‐9371‐d6d49bae07fe                   Address Redacted                      First Class Mail
546261e0‐fa74‐4c28‐88ae‐434a9efcba1a                   Address Redacted                      First Class Mail
5462c066‐93ad‐4342‐99bd‐2261b5b525d4                   Address Redacted                      First Class Mail
54697384‐137e‐4f80‐93d4‐c903c7d5b261                   Address Redacted                      First Class Mail
546c02fb‐2b80‐4775‐aee4‐2b4a2d6599b8                   Address Redacted                      First Class Mail
546dc9df‐ddcd‐4c47‐b1ae‐1e7995d285c0                   Address Redacted                      First Class Mail
546e6d75‐fb2c‐42dc‐9e23‐d4c2763fe329                   Address Redacted                      First Class Mail
546e9c20‐53ed‐44d8‐9231‐37be37351eff                   Address Redacted                      First Class Mail
54806b20‐0913‐4134‐8864‐1ca7fa320582                   Address Redacted                      First Class Mail
54852e2d‐67f8‐4e6b‐b9c6‐1086857218bb                   Address Redacted                      First Class Mail
54859c59‐345c‐4318‐ba0f‐9fd962548c1f                   Address Redacted                      First Class Mail
5485ef0a‐f3ca‐4852‐a4e3‐c31fe784ea4d                   Address Redacted                      First Class Mail
5487bdbd‐09a6‐41b0‐b32c‐6c8052cf9660                   Address Redacted                      First Class Mail
548a23f5‐5279‐4d4d‐b252‐ac929a7a8392                   Address Redacted                      First Class Mail
548b5036‐eb06‐4a55‐ae63‐bce15510d944                   Address Redacted                      First Class Mail
548dfd76‐c732‐4a0b‐96a3‐1f8d5bec4fe7                   Address Redacted                      First Class Mail
548e09ce‐04eb‐4a04‐b405‐4bd7feb54616                   Address Redacted                      First Class Mail
548e29eb‐c8d7‐46b3‐8e00‐d4a0626460a4                   Address Redacted                      First Class Mail




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                              Name                                              Address                         Method of Service
548f0176‐d09c‐416b‐8194‐6999178d8914                   Address Redacted                      First Class Mail
548fe1e4‐9c95‐410c‐9148‐704efd0c5a17                   Address Redacted                      First Class Mail
54905b8d‐fe94‐4cfe‐a148‐aa616394cf30                   Address Redacted                      First Class Mail
5492e38b‐c818‐475a‐a542‐0c0450b47354                   Address Redacted                      First Class Mail
54995f09‐896e‐4102‐8511‐dd5864b026bf                   Address Redacted                      First Class Mail
549a6a15‐ad1c‐4a97‐9033‐6da524f02037                   Address Redacted                      First Class Mail
549c219f‐0458‐418f‐9ce5‐8f07c44a6040                   Address Redacted                      First Class Mail
54a26651‐251f‐48fe‐9fc7‐02887af9b9cf                   Address Redacted                      First Class Mail
54a721f0‐e452‐45f2‐b28e‐d32d0da12160                   Address Redacted                      First Class Mail
54a803c9‐3788‐4128‐a1a2‐2a8dd59efbd5                   Address Redacted                      First Class Mail
54a81828‐cba1‐45b6‐b06d‐1f6150afc14a                   Address Redacted                      First Class Mail
54a8a3f9‐9fc0‐4e92‐a600‐24ea22517147                   Address Redacted                      First Class Mail
54b2cd32‐4586‐4e1a‐b539‐ec09aef6a567                   Address Redacted                      First Class Mail
54b30a84‐df7f‐4e43‐a959‐11113b8edff8                   Address Redacted                      First Class Mail
54b428d8‐9cf3‐4730‐93c4‐69caf45d32bf                   Address Redacted                      First Class Mail
54b69454‐38d7‐4447‐91ef‐328eb36c4ed6                   Address Redacted                      First Class Mail
54bfd108‐b3f4‐4047‐964a‐e5f2d71340d8                   Address Redacted                      First Class Mail
54c3ecca‐8def‐4c55‐b926‐e64f8d8f234a                   Address Redacted                      First Class Mail
54c73090‐0076‐4e0d‐a959‐3073b9de9e41                   Address Redacted                      First Class Mail
54c8a138‐9d18‐449e‐9d23‐9718380d2d53                   Address Redacted                      First Class Mail
54cb15cc‐cc27‐4313‐9a04‐227e6268e590                   Address Redacted                      First Class Mail
54cfd1ad‐8673‐42ae‐b047‐ec192a93aa70                   Address Redacted                      First Class Mail
54d20d3e‐9916‐43be‐b674‐3519f88ddc97                   Address Redacted                      First Class Mail
54d28a8a‐7941‐401f‐8935‐ff9bc5f8d6cd                   Address Redacted                      First Class Mail
54d466f3‐0e79‐4c42‐ab26‐0981b56968ed                   Address Redacted                      First Class Mail
54d48fbc‐269d‐48e7‐9c7a‐be84b57f1516                   Address Redacted                      First Class Mail
54d74f9d‐fe42‐41cd‐9115‐8c657eb8b1ed                   Address Redacted                      First Class Mail
54da706a‐7aa0‐4fce‐b34d‐fb27028a5570                   Address Redacted                      First Class Mail
54dcb625‐8297‐4ce1‐b7a9‐28b0cd63abb3                   Address Redacted                      First Class Mail
54dd0e21‐7250‐4f84‐83a2‐bc7cca989709                   Address Redacted                      First Class Mail
54ddf863‐adfa‐466d‐83cb‐f024d0b702d5                   Address Redacted                      First Class Mail
54de9609‐f2f8‐49de‐9b67‐323e78dc8330                   Address Redacted                      First Class Mail
54dec52a‐1696‐4519‐8e52‐d1580108ff4a                   Address Redacted                      First Class Mail
54e27332‐7d4b‐48c7‐a6cf‐a4c7a8bbbed1                   Address Redacted                      First Class Mail
54e29a33‐f38b‐45be‐a72f‐eaf499b1e6fa                   Address Redacted                      First Class Mail
54e9d8b0‐8e70‐4d95‐a18b‐86a049ba472a                   Address Redacted                      First Class Mail
54e9fd6e‐4a1d‐4015‐9306‐2df6a9083fdc                   Address Redacted                      First Class Mail
54eab121‐06ef‐4076‐ad37‐1d2a66654e37                   Address Redacted                      First Class Mail
54ead6a0‐541b‐4d97‐8896‐03f3aaf19821                   Address Redacted                      First Class Mail
54eb0d47‐2ded‐4543‐a5ec‐9eb22eaf9359                   Address Redacted                      First Class Mail
54ec3ef4‐4e25‐427d‐852b‐384fdc870799                   Address Redacted                      First Class Mail
54f310ea‐b7f3‐4878‐abe0‐470a085b1f00                   Address Redacted                      First Class Mail
54f3739d‐18d8‐4eef‐a319‐7e8f27396595                   Address Redacted                      First Class Mail
54f3ff47‐1e08‐4174‐aab8‐e715176f6c0c                   Address Redacted                      First Class Mail
54f46d68‐880c‐4054‐9a96‐56867525dbe5                   Address Redacted                      First Class Mail
54f4aecb‐fae4‐4bdc‐88c2‐a669467ab16a                   Address Redacted                      First Class Mail
54f74c4c‐aa25‐47b6‐b3d7‐6c72b52a3a16                   Address Redacted                      First Class Mail
54f7f94d‐eee2‐4109‐af0a‐1136b1ace690                   Address Redacted                      First Class Mail
54fe6d0a‐527b‐473f‐b3cc‐47545f3dd38c                   Address Redacted                      First Class Mail
54ff003e‐1a0c‐443e‐9b67‐7fda4fbfdb5f                   Address Redacted                      First Class Mail
55080e8e‐4b19‐4f4d‐84ea‐2f43b8722d7a                   Address Redacted                      First Class Mail
550ecc09‐6b98‐4879‐8009‐c2c885bf51be                   Address Redacted                      First Class Mail
55103e49‐6d1e‐4092‐bf61‐668dbf538db4                   Address Redacted                      First Class Mail
55120b60‐913a‐457f‐8c21‐aa1611335aae                   Address Redacted                      First Class Mail
5516c101‐6935‐4d9f‐b1f1‐cd0c5ccf2967                   Address Redacted                      First Class Mail
5516d8d9‐315a‐4628‐81f1‐19c84ba12cb6                   Address Redacted                      First Class Mail
551a44ee‐5c69‐48b7‐b203‐c3c323bf5adc                   Address Redacted                      First Class Mail
551d5ea5‐412d‐42ac‐b859‐04cde6cf8bc6                   Address Redacted                      First Class Mail
551d9751‐26d7‐45bb‐9c01‐ec93fac5bc5b                   Address Redacted                      First Class Mail
551ff807‐885a‐4f66‐89f2‐830d24e8973d                   Address Redacted                      First Class Mail
55289780‐a12e‐4d81‐a36c‐3421bacc4c06                   Address Redacted                      First Class Mail
552ab4bb‐db22‐4fea‐a741‐beb7902c942f                   Address Redacted                      First Class Mail
552c79f5‐7ba1‐4aa0‐bbb1‐35abf2718a9a                   Address Redacted                      First Class Mail
552d4311‐dcb1‐4926‐8cbb‐b781f753a1f6                   Address Redacted                      First Class Mail
552e7c6c‐930b‐4bf2‐9b73‐1734d054e1c9                   Address Redacted                      First Class Mail
5530aed8‐f5c6‐496e‐a244‐2827d7c67f31                   Address Redacted                      First Class Mail
5531afc3‐1f58‐4c6a‐99c7‐26c41fe67d8d                   Address Redacted                      First Class Mail
5531c281‐5324‐4a23‐b0a2‐228a55a6346c                   Address Redacted                      First Class Mail
553243e8‐9aa3‐45bc‐a724‐dac222cc90cf                   Address Redacted                      First Class Mail
5534cbb1‐9f71‐4867‐b3b9‐d302cff1385f                   Address Redacted                      First Class Mail
5534f6a9‐b9d4‐475d‐91f8‐f07898fb85a3                   Address Redacted                      First Class Mail
5538e5b7‐5778‐4a7f‐9e6a‐e35d399fcd6d                   Address Redacted                      First Class Mail




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                                                                 Service List


                              Name                                              Address                         Method of Service
553b1b8b‐28a7‐497a‐b69a‐ac9a19fd32ca                   Address Redacted                      First Class Mail
553e3241‐57f9‐49d8‐a927‐8ad5be4b19fc                   Address Redacted                      First Class Mail
55424d06‐f95a‐40aa‐b43c‐2cd69e1988ce                   Address Redacted                      First Class Mail
5542f06f‐c6fd‐40e6‐b5e8‐20ad0138718d                   Address Redacted                      First Class Mail
5547c392‐48f5‐40c3‐8a58‐af647195899c                   Address Redacted                      First Class Mail
554a12e2‐110d‐47a0‐b0ee‐7ae51e442e6b                   Address Redacted                      First Class Mail
554bb52d‐ee24‐4ac6‐b86d‐94832bf903c1                   Address Redacted                      First Class Mail
5551e374‐1f29‐4f3f‐8020‐4265966c8c59                   Address Redacted                      First Class Mail
5555f8b2‐6138‐480e‐a1a5‐1e93d9295a3a                   Address Redacted                      First Class Mail
555607d5‐2093‐4883‐be1d‐9dfe5151c3aa                   Address Redacted                      First Class Mail
555c889b‐aa96‐43d9‐8962‐0c635a35b3cd                   Address Redacted                      First Class Mail
555d45a5‐3a00‐44f5‐b9ca‐009725f68970                   Address Redacted                      First Class Mail
555efba6‐9c53‐4ede‐93e4‐4ccdbe35f719                   Address Redacted                      First Class Mail
55622529‐9ec8‐4435‐ac59‐cacd413b3ec2                   Address Redacted                      First Class Mail
55627ed0‐99c0‐4f74‐83f0‐bf4602287c04                   Address Redacted                      First Class Mail
5564d7f7‐fc0f‐4c1a‐bda6‐32024c1585ef                   Address Redacted                      First Class Mail
5569e6e2‐21da‐4cad‐9a52‐ff28927128d4                   Address Redacted                      First Class Mail
5570a904‐02f8‐4f9e‐b873‐4cb8d828d85d                   Address Redacted                      First Class Mail
55727282‐6217‐4f65‐9bba‐3e1899a15966                   Address Redacted                      First Class Mail
55787a84‐9985‐4e88‐8bed‐37aa193e3219                   Address Redacted                      First Class Mail
5578c1cf‐7999‐4123‐9634‐d45f748ef5b8                   Address Redacted                      First Class Mail
557959a2‐098e‐40b3‐87b4‐542c712ea4dc                   Address Redacted                      First Class Mail
5583d1b7‐8a93‐46d2‐a9ea‐07ea184c54fa                   Address Redacted                      First Class Mail
5587b8d7‐f9bc‐4bc8‐9ff0‐e6e0b83fefc0                   Address Redacted                      First Class Mail
558d89d2‐a234‐463e‐acbd‐8f7f39801a29                   Address Redacted                      First Class Mail
558fb2d6‐a065‐4812‐8200‐6a2d9992fbf7                   Address Redacted                      First Class Mail
559058a5‐fbf6‐4366‐9693‐69701f51ee8e                   Address Redacted                      First Class Mail
5591f913‐0f52‐42ee‐87ae‐05b87992761f                   Address Redacted                      First Class Mail
559721c9‐db9f‐4d3c‐8b78‐46513bea8fde                   Address Redacted                      First Class Mail
55984ec7‐79fe‐44bf‐a5b3‐58100f07c25a                   Address Redacted                      First Class Mail
559ad3d1‐6e83‐4f53‐ab26‐c73659d3d90f                   Address Redacted                      First Class Mail
559b19d7‐ce27‐4eba‐97a5‐d9db88015a68                   Address Redacted                      First Class Mail
559c68b2‐0306‐42ce‐a721‐2a68128b6642                   Address Redacted                      First Class Mail
559c861d‐aca1‐44a8‐b511‐06ac676d27de                   Address Redacted                      First Class Mail
559d8f4c‐f8fb‐4021‐bc50‐a26e6c39374a                   Address Redacted                      First Class Mail
55a3ed3d‐dece‐4072‐9145‐0dc5e074c69b                   Address Redacted                      First Class Mail
55a40493‐1a4f‐4ddf‐88e2‐461323aa4fd2                   Address Redacted                      First Class Mail
55a5a80c‐34c0‐46d0‐b805‐bd768d71d467                   Address Redacted                      First Class Mail
55a76abc‐664f‐4971‐b7ed‐38d19e871143                   Address Redacted                      First Class Mail
55a81dfe‐191e‐47ff‐86c1‐017f7822da12                   Address Redacted                      First Class Mail
55a8bc53‐c02b‐4806‐bdc9‐36e97c641a1a                   Address Redacted                      First Class Mail
55ac1ca7‐1cf1‐406e‐94fa‐142d7d00685e                   Address Redacted                      First Class Mail
55aeb7b4‐93cc‐437b‐b4e1‐fcc07190f686                   Address Redacted                      First Class Mail
55b33caa‐e337‐4202‐8748‐36070ce1ee5f                   Address Redacted                      First Class Mail
55b851c5‐4f10‐4448‐9527‐fe849343608b                   Address Redacted                      First Class Mail
55b9dd82‐2709‐4f01‐91cc‐9e2f8ca78e3b                   Address Redacted                      First Class Mail
55ba6fc8‐6236‐498b‐a3dd‐aead5df8710e                   Address Redacted                      First Class Mail
55bbf71e‐0e7f‐41fa‐9d3b‐c9a6b36c503f                   Address Redacted                      First Class Mail
55bd0dce‐16f1‐4a36‐9560‐ece30839fda4                   Address Redacted                      First Class Mail
55c29175‐e9b0‐42c2‐8830‐1482d0467fbf                   Address Redacted                      First Class Mail
55cb77c6‐db8b‐413b‐a5fe‐ec907c2978b2                   Address Redacted                      First Class Mail
55ccfda3‐5499‐4fc7‐94b3‐a5ba5d8eb5f6                   Address Redacted                      First Class Mail
55cdc12c‐49fc‐4228‐b8f2‐e67f678a9308                   Address Redacted                      First Class Mail
55cf2960‐4425‐41c9‐8f3f‐49e9c7e6d97c                   Address Redacted                      First Class Mail
55d0f941‐ec03‐4448‐9715‐66269057eebd                   Address Redacted                      First Class Mail
55d1bf99‐ba1a‐4cd9‐bae5‐668f1e92ba8c                   Address Redacted                      First Class Mail
55d2a7e3‐74e6‐4974‐ae30‐d211984027d9                   Address Redacted                      First Class Mail
55d31bbb‐90f3‐4768‐9518‐11e769fad459                   Address Redacted                      First Class Mail
55d3645d‐4d8f‐404a‐a569‐28fdd720f9fb                   Address Redacted                      First Class Mail
55d50c38‐8def‐45e5‐9dd5‐0082ea5a1242                   Address Redacted                      First Class Mail
55d7bbe7‐a017‐4472‐9286‐6aea6692d80e                   Address Redacted                      First Class Mail
55dd9e8e‐2f1a‐4741‐853d‐e1c4b8485b6e                   Address Redacted                      First Class Mail
55ddd8a7‐f38f‐4061‐ada9‐ae27706fad30                   Address Redacted                      First Class Mail
55de5d70‐8bf2‐4094‐bf8a‐514b5c2803d8                   Address Redacted                      First Class Mail
55ded601‐9a6c‐4eae‐a224‐ef009ee780ec                   Address Redacted                      First Class Mail
55df0547‐259f‐4b24‐8f98‐2fe4579f71c9                   Address Redacted                      First Class Mail
55e36cd8‐a1de‐461c‐8caa‐b11845a51680                   Address Redacted                      First Class Mail
55e5ae5b‐2b58‐47c2‐ab8d‐dcd7b9bc647c                   Address Redacted                      First Class Mail
55e6539a‐40d5‐4ac2‐8a19‐277bf3d59485                   Address Redacted                      First Class Mail
55e906fc‐7f15‐4d6d‐99a5‐0a4c8f1b4cd1                   Address Redacted                      First Class Mail
55eb8c2d‐03b2‐4f41‐afac‐c740da24bbc2                   Address Redacted                      First Class Mail
55edd71d‐579e‐4798‐93f7‐8c8e4cc228d5                   Address Redacted                      First Class Mail




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                                                                Exhibit A
                                                                 Service List


                              Name                                              Address                         Method of Service
55ee293e‐9035‐41ad‐a3a9‐ea2baa2a83b4                   Address Redacted                      First Class Mail
55f429c1‐9d4e‐4454‐98df‐721e37dfe0ee                   Address Redacted                      First Class Mail
55f4f24c‐4a07‐41ca‐922d‐79874fe5dea4                   Address Redacted                      First Class Mail
55f54c86‐7916‐44f5‐b9bb‐cd811464020b                   Address Redacted                      First Class Mail
55f80ad4‐2649‐475b‐981e‐36584a7393cd                   Address Redacted                      First Class Mail
55faf68d‐b71b‐4a44‐9c19‐8b55c478b2b9                   Address Redacted                      First Class Mail
55fbf907‐62f8‐41ca‐bad3‐14613f6749a1                   Address Redacted                      First Class Mail
56007970‐07d1‐4362‐9ea9‐8374455ca86e                   Address Redacted                      First Class Mail
560193ab‐869f‐41e5‐a9ba‐242f6a1c15da                   Address Redacted                      First Class Mail
5603bd01‐082f‐43a3‐b71e‐59ff2cae9874                   Address Redacted                      First Class Mail
5606d12e‐19a6‐4fad‐8b80‐f33aa53e25d1                   Address Redacted                      First Class Mail
560a83c9‐f4c8‐487f‐9aea‐b0b76f686cf7                   Address Redacted                      First Class Mail
560b7dfe‐cbb1‐46b7‐9311‐e196018dcd8b                   Address Redacted                      First Class Mail
560e44e7‐86d5‐4d7f‐8223‐f44122464b79                   Address Redacted                      First Class Mail
560f8fc4‐7257‐4062‐b2bc‐1e4a0f60250c                   Address Redacted                      First Class Mail
561127f7‐7cc1‐42eb‐a208‐75c1e94a77ca                   Address Redacted                      First Class Mail
5619c19c‐6ea2‐4488‐8b12‐c65829d4cf29                   Address Redacted                      First Class Mail
561dc09c‐ea05‐4b99‐87f2‐68a183081036                   Address Redacted                      First Class Mail
5621a6f2‐c9ef‐4a9c‐bb44‐498a12aeeab8                   Address Redacted                      First Class Mail
562242d8‐27e2‐4ea1‐a944‐1e130b47e68e                   Address Redacted                      First Class Mail
562630db‐1b42‐49d7‐b2f5‐09881d6f92bb                   Address Redacted                      First Class Mail
5629e3ea‐8730‐4f97‐8ad3‐0391ab1253f2                   Address Redacted                      First Class Mail
562eed50‐b92a‐428d‐8dd9‐1532148a7d37                   Address Redacted                      First Class Mail
56412872‐956b‐426d‐b29b‐f0825b654083                   Address Redacted                      First Class Mail
564517ba‐529e‐4d1d‐9376‐d62ffdb3c144                   Address Redacted                      First Class Mail
5645d066‐0813‐4439‐91aa‐b4161b732cf5                   Address Redacted                      First Class Mail
56466ef2‐a6ce‐447e‐bb9c‐e270e4e7e01d                   Address Redacted                      First Class Mail
56476dd1‐ffcc‐4b63‐be2a‐990b37a2e1d1                   Address Redacted                      First Class Mail
564a7af0‐88ad‐4602‐8d0a‐a03460697a60                   Address Redacted                      First Class Mail
564af45b‐6f65‐429e‐b481‐9eacac10d1fb                   Address Redacted                      First Class Mail
564f2660‐6504‐4a50‐8dde‐80532989ca91                   Address Redacted                      First Class Mail
564f57a1‐0756‐4ee0‐936e‐934ef440a43a                   Address Redacted                      First Class Mail
56587273‐a222‐4c5d‐b50f‐aac11548174b                   Address Redacted                      First Class Mail
565d6da3‐0ab4‐47e3‐9da7‐13fd73f81a2a                   Address Redacted                      First Class Mail
565dba55‐6776‐4b16‐a4a4‐278d873cd766                   Address Redacted                      First Class Mail
565e6664‐6c57‐477b‐beea‐959a3a38a78d                   Address Redacted                      First Class Mail
565e8d67‐20e4‐4f1b‐a176‐f5dc252454bf                   Address Redacted                      First Class Mail
5662daa9‐d4e1‐4e22‐8ec0‐0ad96ab7235c                   Address Redacted                      First Class Mail
56668425‐d8fe‐42e3‐9c56‐6664885ca352                   Address Redacted                      First Class Mail
566913bf‐13b3‐4abc‐bbce‐4c9ec66833c9                   Address Redacted                      First Class Mail
56691cc3‐ed9a‐4463‐8b12‐bad6091ad6e0                   Address Redacted                      First Class Mail
56691fa2‐ab09‐41d3‐8873‐96fb2e9eb4e4                   Address Redacted                      First Class Mail
566af894‐1adb‐4200‐ad64‐b114f4eec73e                   Address Redacted                      First Class Mail
566d2c6d‐e6a3‐49a5‐b224‐6c966c03880b                   Address Redacted                      First Class Mail
566e2283‐0633‐4f3d‐9ed8‐41b0717cb6f6                   Address Redacted                      First Class Mail
567a3d4d‐9b6f‐4fa4‐a99e‐413c97c170b9                   Address Redacted                      First Class Mail
567c4a09‐87f6‐4ba2‐9694‐4342b8cd081a                   Address Redacted                      First Class Mail
567dcf6c‐a90e‐47d6‐9588‐bc2380fd9444                   Address Redacted                      First Class Mail
567e61e8‐7569‐491c‐908e‐d5d50800fd42                   Address Redacted                      First Class Mail
5681b952‐1416‐46b1‐8c48‐b9ca3855c903                   Address Redacted                      First Class Mail
56830da4‐3a82‐4777‐8cc5‐b472473f9af1                   Address Redacted                      First Class Mail
5684fd36‐d5a5‐4f33‐b1bd‐eaf9ce355c1d                   Address Redacted                      First Class Mail
568ba89a‐e33d‐4b7e‐aa7a‐755d78eac2d3                   Address Redacted                      First Class Mail
568bb460‐4958‐44b4‐b5a9‐497147935071                   Address Redacted                      First Class Mail
56918dd9‐e16a‐4075‐9274‐30dfdc9e3f7d                   Address Redacted                      First Class Mail
5691f81a‐fcfa‐45a1‐aeaa‐970bbbd7f023                   Address Redacted                      First Class Mail
569241a4‐f488‐480a‐9411‐b61fe1530baa                   Address Redacted                      First Class Mail
5693ccaa‐80c2‐46f3‐910c‐2bc64b4fb1d4                   Address Redacted                      First Class Mail
569480e0‐03b9‐491d‐8d52‐9c0a32ed024a                   Address Redacted                      First Class Mail
56972a80‐342d‐4a6e‐86d5‐c15d8ae303c9                   Address Redacted                      First Class Mail
569739df‐4d15‐4f14‐b7d4‐28df3d18c5f0                   Address Redacted                      First Class Mail
569987ab‐196c‐445a‐a31b‐c8957f1bb931                   Address Redacted                      First Class Mail
569ef8ff‐3a8b‐4b9d‐a8eb‐e8c685a4df25                   Address Redacted                      First Class Mail
56a2df20‐f8d7‐4c4a‐a51b‐3588a439632d                   Address Redacted                      First Class Mail
56a457a0‐3a67‐4a68‐8536‐8a26a114aead                   Address Redacted                      First Class Mail
56a4f685‐64fb‐446a‐89b5‐e3275419d87f                   Address Redacted                      First Class Mail
56a778b8‐a938‐47a8‐8ff8‐d0cf9cc0e490                   Address Redacted                      First Class Mail
56ad8d21‐8f5f‐48c2‐9190‐a679e7645d77                   Address Redacted                      First Class Mail
56af6037‐5c7e‐40c3‐b8a0‐fe8c8bf1f591                   Address Redacted                      First Class Mail
56b3969f‐4eae‐411c‐9f16‐cc7e503f1d4a                   Address Redacted                      First Class Mail
56b66457‐8e38‐4f51‐95ae‐43a9a956991a                   Address Redacted                      First Class Mail
56b7ab91‐346f‐4aa9‐9a48‐8119d593c681                   Address Redacted                      First Class Mail




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                                                                 Service List


                              Name                                              Address                         Method of Service
56bb16f6‐a026‐42b5‐b168‐54336c6513ee                   Address Redacted                      First Class Mail
56bd6abc‐d7e3‐44e2‐bca8‐e4f6daf01793                   Address Redacted                      First Class Mail
56c06bde‐69c1‐4a42‐993a‐030e236181d1                   Address Redacted                      First Class Mail
56c32f46‐fa45‐44b0‐bb70‐97ba3adb1f6b                   Address Redacted                      First Class Mail
56ca859b‐ce3c‐41ca‐b049‐696cae822c48                   Address Redacted                      First Class Mail
56ccf8da‐3556‐4e61‐851e‐3794449a0e1f                   Address Redacted                      First Class Mail
56d054e4‐1524‐4ad1‐ab69‐69e18517f755                   Address Redacted                      First Class Mail
56d07c45‐fab5‐451d‐b4a9‐0914f4d0326a                   Address Redacted                      First Class Mail
56d15ed3‐d3be‐4312‐873e‐bb40d2f95ac6                   Address Redacted                      First Class Mail
56d3a9e8‐4d70‐422c‐8463‐7b6c0b5d64e5                   Address Redacted                      First Class Mail
56d711fd‐f077‐46ff‐95a3‐780a32dd7009                   Address Redacted                      First Class Mail
56d94600‐ce98‐4ec8‐bd56‐0afa8df3cedd                   Address Redacted                      First Class Mail
56df1f31‐4981‐4efd‐bb69‐634e4cbd3501                   Address Redacted                      First Class Mail
56e0da43‐c424‐445b‐8624‐e200a7bc8df8                   Address Redacted                      First Class Mail
56e2800b‐48e0‐4d6b‐b0da‐e8591797c97a                   Address Redacted                      First Class Mail
56e3b00e‐f94e‐41f9‐becf‐6a250be736ab                   Address Redacted                      First Class Mail
56e5735e‐f5ad‐4ae5‐8eea‐08e79b8a511d                   Address Redacted                      First Class Mail
56e735cd‐8a49‐4d1f‐8048‐e18ccd8fab8d                   Address Redacted                      First Class Mail
56e847b9‐d55d‐47c8‐a1c4‐a4821a9698d5                   Address Redacted                      First Class Mail
56e85811‐b6c4‐4ebc‐baa1‐ea7d271880ce                   Address Redacted                      First Class Mail
56e9545f‐ee4e‐4b5a‐a8d6‐81c086861536                   Address Redacted                      First Class Mail
56eae1e2‐086d‐4451‐9854‐f32e27453f34                   Address Redacted                      First Class Mail
56eb5947‐2db0‐4c10‐bc38‐e96c5476618c                   Address Redacted                      First Class Mail
56ecaff4‐6937‐4167‐b651‐a81c99535bc3                   Address Redacted                      First Class Mail
56efc99c‐373e‐4e86‐b958‐5e3ff1ef3afd                   Address Redacted                      First Class Mail
56f0f166‐1c31‐43e7‐abdf‐07bc921b0f04                   Address Redacted                      First Class Mail
56f2f1de‐7a19‐43ea‐b288‐7f787aaa8648                   Address Redacted                      First Class Mail
56f3d0b9‐8edc‐4b0a‐ba5f‐4d94c371f84d                   Address Redacted                      First Class Mail
56f97043‐bf4e‐4a0c‐b304‐215a2bcf6d91                   Address Redacted                      First Class Mail
56fe612d‐2ef8‐47af‐b9f0‐e274ade8dc90                   Address Redacted                      First Class Mail
56fea88f‐167c‐4407‐b796‐c1d68fbc75f6                   Address Redacted                      First Class Mail
56ff6c24‐a734‐4808‐a974‐b8f9751e745c                   Address Redacted                      First Class Mail
5701a0fd‐1bac‐4e89‐aec7‐228f17881845                   Address Redacted                      First Class Mail
5703d6f0‐1e4d‐45a5‐b651‐a5695534fafc                   Address Redacted                      First Class Mail
5708f878‐f392‐4b73‐98ad‐ba4edae918f7                   Address Redacted                      First Class Mail
570de8b4‐9598‐490d‐bf72‐1a0a2213b5ea                   Address Redacted                      First Class Mail
570ffb0d‐c601‐4aeb‐a368‐e216aa8d1af9                   Address Redacted                      First Class Mail
57117d7e‐b2b7‐458a‐a4e9‐8090bfb2022b                   Address Redacted                      First Class Mail
5711a626‐b816‐47d5‐9c3f‐abdc286e59f6                   Address Redacted                      First Class Mail
57149bb1‐0604‐4d86‐972c‐7e483be5b90a                   Address Redacted                      First Class Mail
57152458‐c461‐46db‐bd39‐6f3e072c5641                   Address Redacted                      First Class Mail
571606b0‐15a9‐4dc4‐889f‐4e581b6c18c6                   Address Redacted                      First Class Mail
57161492‐8c44‐49cc‐a59b‐88b46b645f99                   Address Redacted                      First Class Mail
5716c956‐f03d‐4ab3‐ace8‐a67b60a1515d                   Address Redacted                      First Class Mail
5717148d‐1f87‐45b9‐a2be‐4342e50abacf                   Address Redacted                      First Class Mail
5717577e‐c577‐4ef5‐b85c‐410f954c3679                   Address Redacted                      First Class Mail
57187aa6‐7ded‐4ba4‐9751‐53a243c05ca3                   Address Redacted                      First Class Mail
571cb0e6‐86a8‐4847‐9587‐5f460344c678                   Address Redacted                      First Class Mail
571f1455‐cadf‐4c98‐9105‐26fc36f96ea4                   Address Redacted                      First Class Mail
5722359a‐088f‐4286‐82fd‐d270fa6c3694                   Address Redacted                      First Class Mail
572434f3‐24df‐4272‐8b92‐d0e76adb6bc1                   Address Redacted                      First Class Mail
5724742f‐eb83‐4858‐9b0e‐5039ed9548a6                   Address Redacted                      First Class Mail
5724cd2a‐636f‐43a4‐97a9‐d245a782ac3b                   Address Redacted                      First Class Mail
5724f8b6‐0b62‐4d87‐9056‐1466495619c3                   Address Redacted                      First Class Mail
57299a3f‐96e1‐49a2‐95d9‐629f938cde8d                   Address Redacted                      First Class Mail
572ded8d‐fca2‐4d16‐9f86‐ec63049d79c3                   Address Redacted                      First Class Mail
5730d2c2‐08d9‐491f‐bfbe‐e1c358ab11b6                   Address Redacted                      First Class Mail
573102fa‐cbff‐4de6‐9855‐b5610fce313e                   Address Redacted                      First Class Mail
57362e5f‐17e4‐4cf2‐a319‐4b4c8162cf99                   Address Redacted                      First Class Mail
57370767‐f3ed‐47ea‐bc10‐af90d8cfad58                   Address Redacted                      First Class Mail
573a5d97‐6abd‐4d20‐a3a1‐49f5e08eded6                   Address Redacted                      First Class Mail
573af4f1‐c296‐4fb5‐bb54‐38b699b11571                   Address Redacted                      First Class Mail
573fdcf0‐b93a‐43ac‐b7ae‐d95a68c7582a                   Address Redacted                      First Class Mail
57432d17‐22ab‐473c‐a0f1‐dfc752d96575                   Address Redacted                      First Class Mail
57451abe‐0472‐4f14‐a9d4‐89fb3037bd71                   Address Redacted                      First Class Mail
574879bb‐5071‐44a3‐bfe6‐36a993346a45                   Address Redacted                      First Class Mail
574dd014‐028c‐4625‐b986‐05f745f9686f                   Address Redacted                      First Class Mail
574f3141‐7031‐4f21‐9b3e‐03a0b25a36c3                   Address Redacted                      First Class Mail
5756a2e4‐4c6b‐4ae4‐b480‐b49de6a8bf37                   Address Redacted                      First Class Mail
57570813‐51d3‐4943‐85d2‐9a2419a687ef                   Address Redacted                      First Class Mail
575bb26b‐330f‐4547‐a77d‐20f73594c9b5                   Address Redacted                      First Class Mail
575cadb7‐1a9e‐4fa6‐a863‐a2b70db66acd                   Address Redacted                      First Class Mail




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                                                                 Service List


                               Name                                             Address                         Method of Service
575d4f16‐f86f‐439d‐a9f3‐e71293067091                   Address Redacted                      First Class Mail
575e00cc‐9b8d‐42c3‐babb‐ebed3660bc98                   Address Redacted                      First Class Mail
5761012c‐bf06‐4c1e‐8d76‐7078d7a34345                   Address Redacted                      First Class Mail
57613de4‐7bff‐49bc‐a2ac‐4d4aae82097e                   Address Redacted                      First Class Mail
576922cc‐3326‐49ce‐9810‐773d99a3576f                   Address Redacted                      First Class Mail
576bf0a2‐43c4‐435e‐8398‐93ff38982342                   Address Redacted                      First Class Mail
5770f76d‐78a4‐4dd7‐a7ab‐3257bc5b0884                   Address Redacted                      First Class Mail
5773927d‐7075‐4cd5‐9dca‐6ab0e2ec0e5b                   Address Redacted                      First Class Mail
5774950a‐1ff3‐4190‐91e7‐a9df6a372149                   Address Redacted                      First Class Mail
57755c4d‐3e34‐4b3d‐879c‐3d484397ed75                   Address Redacted                      First Class Mail
5776ef25‐7943‐4ed1‐ab04‐95b723e9f876                   Address Redacted                      First Class Mail
5779fc7e‐8727‐4a4a‐ad9c‐440cd6361dd6                   Address Redacted                      First Class Mail
577ddf03‐2625‐4b66‐90cd‐f2b6fb341326                   Address Redacted                      First Class Mail
578a88d7‐ceb9‐4e1a‐917e‐e2409afd3abd                   Address Redacted                      First Class Mail
578abba0‐590c‐4c2d‐b6b0‐4ec66372ae7e                   Address Redacted                      First Class Mail
57975629‐66c5‐4453‐b624‐8342255ab273                   Address Redacted                      First Class Mail
57989c18‐d4dc‐41a7‐b776‐a2664a67f7f1                   Address Redacted                      First Class Mail
579a184f‐6fcf‐42a1‐9a36‐d757e8ac9d6b                   Address Redacted                      First Class Mail
57a1359f‐5506‐4a77‐ac7e‐45974e45510b                   Address Redacted                      First Class Mail
57a171d1‐e5cf‐4109‐9897‐16c8bbbf12d5                   Address Redacted                      First Class Mail
57a46674‐3792‐4a97‐a9e2‐97d7a0a736ba                   Address Redacted                      First Class Mail
57a75744‐ea7f‐4782‐b311‐8a13f619ff66                   Address Redacted                      First Class Mail
57a7e87d‐8425‐40d2‐8e31‐2ac7246bf639                   Address Redacted                      First Class Mail
57abf05b‐5169‐40f7‐86ab‐f94ba11bc1a5                   Address Redacted                      First Class Mail
57af92d6‐f62a‐4a97‐80bd‐4ca098e2fa75                   Address Redacted                      First Class Mail
57b158d2‐6d6c‐40f5‐8a07‐9a235374065b                   Address Redacted                      First Class Mail
57b371b5‐6f11‐43f1‐ace3‐53fb7d029b61                   Address Redacted                      First Class Mail
57b3967c‐18cb‐428d‐a030‐410d63a38423                   Address Redacted                      First Class Mail
57b6e128‐25e3‐4304‐b8b4‐5d77b96a995c                   Address Redacted                      First Class Mail
57ba4bd6‐03aa‐4cbf‐970d‐ccc4c2cd3d42                   Address Redacted                      First Class Mail
57ba726d‐e1dc‐4c38‐93f8‐e054679976ac                   Address Redacted                      First Class Mail
57ba74a8‐8107‐4d17‐b870‐42944b835953                   Address Redacted                      First Class Mail
57c2189f‐2aac‐4239‐ac1e‐419cd94a79ac                   Address Redacted                      First Class Mail
57c2c43d‐3b92‐4c13‐9474‐6253e227b906                   Address Redacted                      First Class Mail
57c85041‐1d93‐4061‐9804‐168df769ee5b                   Address Redacted                      First Class Mail
57ccf923‐428a‐4cff‐81cc‐f4d97664e972                   Address Redacted                      First Class Mail
57d70ebc‐11ae‐466f‐8674‐76c7b8ec18ea                   Address Redacted                      First Class Mail
57d8b843‐8ba6‐43d2‐9073‐09358910a0e2                   Address Redacted                      First Class Mail
57da4ca8‐964c‐448a‐8969‐59ed66943f83                   Address Redacted                      First Class Mail
57dad393‐0f40‐4a2b‐8739‐70d846a40b47                   Address Redacted                      First Class Mail
57dceeee‐79b8‐4d9c‐adb2‐475a4021435d                   Address Redacted                      First Class Mail
57dfacc5‐1d85‐483c‐9352‐f932cfd2c5de                   Address Redacted                      First Class Mail
57e2393b‐9391‐4a3a‐8591‐83b5bdf205f8                   Address Redacted                      First Class Mail
57e3f548‐2be5‐42b9‐b21a‐32dae745c383                   Address Redacted                      First Class Mail
57e78236‐9472‐4ecb‐8645‐b95e5a37d900                   Address Redacted                      First Class Mail
57e8a746‐4b08‐479f‐8bd0‐1b047f8bfd64                   Address Redacted                      First Class Mail
57e9f8ce‐0e14‐4c83‐a8ca‐58fae7117df0                   Address Redacted                      First Class Mail
57f329a6‐2985‐457c‐b0bb‐52c33e55c17b                   Address Redacted                      First Class Mail
57f95739‐8095‐472f‐b1e7‐13c6a62963bc                   Address Redacted                      First Class Mail
57fc8ad1‐33ee‐40f4‐b370‐9fc63580477c                   Address Redacted                      First Class Mail
57fd24d8‐6aa0‐414c‐ae28‐1f2cf53dba95                   Address Redacted                      First Class Mail
57fdf085‐c536‐487f‐a462‐0ceef47b8aaf                   Address Redacted                      First Class Mail
57feddda‐1664‐48d6‐9d32‐188020c7c8cc                   Address Redacted                      First Class Mail
58055181‐c153‐49dc‐8f08‐7e1e6865a7ef                   Address Redacted                      First Class Mail
58084ae1‐4f36‐4953‐a120‐157b72998750                   Address Redacted                      First Class Mail
580a4bc1‐8ae7‐40ba‐ac43‐de65b8dcee53                   Address Redacted                      First Class Mail
580a9392‐2dcc‐40c7‐8216‐354981090f83                   Address Redacted                      First Class Mail
580ceff2‐046d‐4e9e‐a40c‐262bdfee4a2c                   Address Redacted                      First Class Mail
580ebbae‐5ba9‐43be‐a564‐23444047ab30                   Address Redacted                      First Class Mail
581181e3‐61d9‐4f0e‐a5f0‐05bf33195671                   Address Redacted                      First Class Mail
5811a693‐e0a4‐4826‐a3d5‐ae3d8dab0f53                   Address Redacted                      First Class Mail
58147fb9‐a732‐48ab‐93b6‐3a02cb27da21                   Address Redacted                      First Class Mail
5814a528‐525d‐40e6‐9dd8‐fa6d1e156003                   Address Redacted                      First Class Mail
5815d306‐868c‐407d‐8c24‐ad1ba2a35d04                   Address Redacted                      First Class Mail
58161073‐e28e‐4b71‐a26c‐e1d298a5b68e                   Address Redacted                      First Class Mail
581668c3‐5dfc‐42d3‐bedf‐735322db4ad4                   Address Redacted                      First Class Mail
58169973‐bb4b‐4f7a‐b9ca‐53c8c2b82f52                   Address Redacted                      First Class Mail
581b82cf‐363f‐44ba‐971f‐ff0922b02046                   Address Redacted                      First Class Mail
581c9e94‐f9d6‐4348‐8e28‐d45a3a71b6bb                   Address Redacted                      First Class Mail
581d9753‐b7cd‐433e‐9f5b‐704cba3c12c6                   Address Redacted                      First Class Mail
581f2d9d‐af73‐4f37‐8eb2‐b93d9018081d                   Address Redacted                      First Class Mail
5826218f‐c929‐46bd‐bb30‐b90cb7742943                   Address Redacted                      First Class Mail




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                                                                 Service List


                              Name                                              Address                         Method of Service
5828ec91‐3e90‐41f9‐a77a‐ab909d9a7ee6                   Address Redacted                      First Class Mail
5829f8ae‐0d8b‐4c34‐9fd2‐f24d1def2bce                   Address Redacted                      First Class Mail
582b6d58‐18a1‐4dde‐a5a2‐dd95ad1cb035                   Address Redacted                      First Class Mail
582d7fbe‐afc8‐4b1e‐b33c‐50893372804a                   Address Redacted                      First Class Mail
582ea852‐a5e2‐4c8c‐801d‐61941581628a                   Address Redacted                      First Class Mail
582fe03d‐7041‐44ee‐b73b‐9844984d8f1c                   Address Redacted                      First Class Mail
5830668b‐b6b7‐459e‐863c‐15042324c803                   Address Redacted                      First Class Mail
5833a932‐6122‐45ff‐bde6‐c891e4db7fac                   Address Redacted                      First Class Mail
583587fb‐5305‐443e‐a1bf‐7edd64632589                   Address Redacted                      First Class Mail
5839198f‐3b34‐48c9‐b9ea‐596338f6d272                   Address Redacted                      First Class Mail
583a8640‐40b0‐43f1‐a1cb‐5578d1d3003b                   Address Redacted                      First Class Mail
583e37d6‐9ab7‐46d6‐bb93‐64f7f007e30a                   Address Redacted                      First Class Mail
5844787d‐ac38‐4a96‐b039‐82a395eb17ab                   Address Redacted                      First Class Mail
5845d7c8‐d953‐49cd‐90f3‐677f7df73d82                   Address Redacted                      First Class Mail
5848b177‐85d0‐4bd3‐923a‐3d23bfdc81e8                   Address Redacted                      First Class Mail
584ab9b7‐b55f‐41ed‐ab96‐dcb0b9278ec9                   Address Redacted                      First Class Mail
584c6d6d‐5f43‐46f8‐84ae‐43b08bb42b0f                   Address Redacted                      First Class Mail
584d4953‐c361‐464f‐940d‐49c0f83b53d8                   Address Redacted                      First Class Mail
584defaf‐09ef‐4c6c‐972c‐6b40ee67c48d                   Address Redacted                      First Class Mail
58550065‐1f3e‐4b8f‐9640‐52c42af596e8                   Address Redacted                      First Class Mail
58599ffc‐3e58‐4965‐90c7‐9eafded689c0                   Address Redacted                      First Class Mail
585f5cf4‐d6d3‐4ef5‐b91d‐fea255ab2d3e                   Address Redacted                      First Class Mail
58619850‐828e‐4a69‐8800‐b19bb52cec05                   Address Redacted                      First Class Mail
5861dba7‐06bd‐41e4‐aca1‐aa77929da019                   Address Redacted                      First Class Mail
5862485d‐42a6‐4bd6‐92af‐cda0914b1438                   Address Redacted                      First Class Mail
58684c34‐d300‐4f25‐ab7e‐d17aa9eb5ba4                   Address Redacted                      First Class Mail
586b377f‐ce85‐4abf‐865d‐652d7927417d                   Address Redacted                      First Class Mail
586b4fd2‐3b09‐460b‐8a51‐1899511cb394                   Address Redacted                      First Class Mail
587174d8‐4abd‐4328‐ad4e‐7cbefcbd3fcc                   Address Redacted                      First Class Mail
5871d754‐4a85‐4a33‐9a9a‐ae3bbb780122                   Address Redacted                      First Class Mail
5874117d‐a397‐4127‐9b30‐4af55762fac0                   Address Redacted                      First Class Mail
5874af45‐28ec‐40bd‐89ff‐f68537d13c70                   Address Redacted                      First Class Mail
587850a1‐1492‐46cd‐b853‐46a7d59570eb                   Address Redacted                      First Class Mail
587b1493‐484c‐416a‐91f7‐e000bbb417b5                   Address Redacted                      First Class Mail
587bf8fb‐8acc‐460c‐a8fa‐3c1e6bf3ef3d                   Address Redacted                      First Class Mail
587eb257‐e46e‐4d8d‐8d66‐c800dbd973d6                   Address Redacted                      First Class Mail
587ee802‐5a4e‐4d29‐a5d0‐cac1e1c6a4b0                   Address Redacted                      First Class Mail
5881491b‐4455‐43c2‐a8ac‐1322e7eefd3a                   Address Redacted                      First Class Mail
58816040‐312c‐43cc‐b1f3‐7363406516bb                   Address Redacted                      First Class Mail
588247de‐c08b‐4034‐8171‐df9c00bb115d                   Address Redacted                      First Class Mail
588815f5‐0475‐47e2‐9fd8‐61d6a5dd9e3b                   Address Redacted                      First Class Mail
58894cbc‐c46c‐4379‐bafa‐2f6df5b8797e                   Address Redacted                      First Class Mail
588a30b7‐97a9‐448e‐8c17‐1512f9b814d3                   Address Redacted                      First Class Mail
588c84b5‐7c76‐4eb1‐b9b7‐417179e52d2f                   Address Redacted                      First Class Mail
5890387c‐da3c‐4100‐9b1b‐16a89cd2594a                   Address Redacted                      First Class Mail
589334a1‐7bc7‐4bd8‐989d‐c5808a90ef96                   Address Redacted                      First Class Mail
589696e5‐3358‐41f8‐a7ea‐20f71c5d8ded                   Address Redacted                      First Class Mail
589a0027‐3f84‐43c5‐88f8‐1352727a815a                   Address Redacted                      First Class Mail
589ad1ab‐1841‐408f‐9b37‐eaa945ccb8ca                   Address Redacted                      First Class Mail
589cecc3‐b2e0‐4115‐85bc‐23159e20bddb                   Address Redacted                      First Class Mail
589f3388‐f3a3‐45dc‐8047‐e8ae9889aa7a                   Address Redacted                      First Class Mail
589f66ce‐0a95‐4952‐aaa9‐35120e2f8994                   Address Redacted                      First Class Mail
58a21f05‐d9ec‐4372‐b256‐1224e9d56ea3                   Address Redacted                      First Class Mail
58a3bfc8‐3d92‐446b‐a7e6‐41b351b11d0c                   Address Redacted                      First Class Mail
58a4fe58‐9485‐4a06‐bc05‐c03bd8540f6a                   Address Redacted                      First Class Mail
58a5c80a‐d3ee‐4c86‐8d18‐662683eeb46f                   Address Redacted                      First Class Mail
58a6156e‐f7ed‐44ef‐883e‐acad8e6c19e3                   Address Redacted                      First Class Mail
58a62865‐bb97‐4838‐a8e4‐b6b903e975fc                   Address Redacted                      First Class Mail
58a7f600‐dabb‐4d7b‐84b4‐7e5f9172af4f                   Address Redacted                      First Class Mail
58b1d344‐6e88‐4b3b‐89ed‐19835f406648                   Address Redacted                      First Class Mail
58b531a8‐3268‐4611‐83b5‐36d4f3a2c6a6                   Address Redacted                      First Class Mail
58b5414f‐06bc‐4bc9‐8b9c‐ceb99dc612d4                   Address Redacted                      First Class Mail
58b6db6d‐fbcc‐4361‐adcf‐7a7ac38845f6                   Address Redacted                      First Class Mail
58bd5a08‐e9b7‐4ef6‐be52‐16ee24f3d4a8                   Address Redacted                      First Class Mail
58bfa087‐f600‐43dc‐9649‐80bb30065cf1                   Address Redacted                      First Class Mail
58c1f5f9‐a600‐4683‐8bc2‐f75df1cb4a4e                   Address Redacted                      First Class Mail
58c63f28‐2f11‐42a7‐87bf‐95a51953f95b                   Address Redacted                      First Class Mail
58c6d5dd‐2a75‐42f7‐9c1c‐0d6e26cbda73                   Address Redacted                      First Class Mail
58d35ff8‐5bd7‐4e2f‐9ff3‐99b63749ca61                   Address Redacted                      First Class Mail
58d870b0‐b1f1‐4677‐85f7‐92db1de31f5f                   Address Redacted                      First Class Mail
58db3ad8‐f20a‐49d5‐ba2f‐5926e8dae4d7                   Address Redacted                      First Class Mail
58db4a51‐58b8‐4572‐8195‐728dd0b973db                   Address Redacted                      First Class Mail




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                               Name                                             Address                         Method of Service
58db957c‐9caf‐4752‐a483‐115947b25a65                   Address Redacted                      First Class Mail
58deea23‐abc4‐48d5‐a8c0‐ca9886ba83cf                   Address Redacted                      First Class Mail
58e47ed3‐89e2‐4261‐be87‐292cd597c633                   Address Redacted                      First Class Mail
58e71dac‐30e3‐4d31‐a5cc‐fa76da78d2e3                   Address Redacted                      First Class Mail
58eacad5‐4aed‐45c0‐815d‐23dae36e1879                   Address Redacted                      First Class Mail
58ec8eb6‐42b7‐4e81‐8590‐192266576ca7                   Address Redacted                      First Class Mail
58f056ab‐21d4‐4a40‐b796‐f372484d343a                   Address Redacted                      First Class Mail
58f5b36e‐e416‐48ad‐801e‐cd76213215d1                   Address Redacted                      First Class Mail
58f77db1‐da0d‐43a6‐9921‐ae9c38bceb46                   Address Redacted                      First Class Mail
58faed9d‐6dba‐46de‐9587‐9fef1df61026                   Address Redacted                      First Class Mail
58fcc8c8‐aa94‐4c23‐a741‐08b35d69835d                   Address Redacted                      First Class Mail
58fdece9‐c81f‐4902‐91d4‐ccfaeab78f15                   Address Redacted                      First Class Mail
59011596‐910e‐4a57‐8e3b‐c6b53f54ab12                   Address Redacted                      First Class Mail
590a82be‐7f25‐44c3‐9eba‐0eab0f5a5fdf                   Address Redacted                      First Class Mail
590acd1d‐9f52‐46e6‐bb2f‐e1f97c10246c                   Address Redacted                      First Class Mail
590aff7f‐fb36‐44a1‐9275‐e831de8ab343                   Address Redacted                      First Class Mail
590ee6a6‐a536‐43ed‐b4cc‐a41e61a56d32                   Address Redacted                      First Class Mail
5910122b‐6211‐454b‐9b1d‐ae2f23b02543                   Address Redacted                      First Class Mail
5911a4e6‐94af‐4bf0‐98d1‐08bcf0850fee                   Address Redacted                      First Class Mail
59133da5‐ce43‐407b‐8ae8‐e959a7563ad2                   Address Redacted                      First Class Mail
59138942‐0763‐4434‐aa1a‐5611f1339572                   Address Redacted                      First Class Mail
5914a01d‐4830‐4f77‐9cd4‐abb02d14b487                   Address Redacted                      First Class Mail
5918e2d3‐1a1c‐43b1‐804a‐44f0c36b229e                   Address Redacted                      First Class Mail
59192ba2‐dde0‐4ae6‐8b6e‐72fcec6042cb                   Address Redacted                      First Class Mail
591b6444‐9d07‐44d4‐a1af‐e568f6cbf5df                   Address Redacted                      First Class Mail
591c3438‐6429‐4af4‐88af‐ac075fcdc6bf                   Address Redacted                      First Class Mail
591eb64d‐ba93‐4cfd‐b0ac‐f1f51ac214cd                   Address Redacted                      First Class Mail
592142c3‐656a‐4e82‐99c5‐49ba71e88b69                   Address Redacted                      First Class Mail
5922c53f‐b7a4‐43f4‐b1be‐4e6a51837ec8                   Address Redacted                      First Class Mail
5925f4be‐ba92‐4149‐900f‐b5838d52dd5f                   Address Redacted                      First Class Mail
5926d3a9‐0551‐49cb‐91d0‐dd84ec48e80e                   Address Redacted                      First Class Mail
59281f21‐9e42‐486a‐ac2c‐7e6e52b9bc28                   Address Redacted                      First Class Mail
5928f450‐4b3d‐4158‐9f9d‐8c6bdf0354ed                   Address Redacted                      First Class Mail
592eaf02‐e625‐4987‐a65d‐7d5e89fb3bcc                   Address Redacted                      First Class Mail
592f18f5‐0734‐4f50‐896f‐2f5f3dcfb1a4                   Address Redacted                      First Class Mail
59314f1c‐6a73‐4e8e‐ba6f‐7b8ad59686fa                   Address Redacted                      First Class Mail
59358686‐6f7a‐42f7‐9db5‐9cb9f36dcb56                   Address Redacted                      First Class Mail
593673df‐5464‐41d9‐9716‐3c9e26f17416                   Address Redacted                      First Class Mail
5937d44b‐52a7‐4acf‐bf77‐e02ced0e5105                   Address Redacted                      First Class Mail
593c15df‐9cfa‐42e0‐bbb2‐0b1d149dda02                   Address Redacted                      First Class Mail
593da6bb‐d29d‐43ab‐ab2c‐a39f0fa326ee                   Address Redacted                      First Class Mail
5940d20c‐355c‐4366‐8b01‐27e211234fae                   Address Redacted                      First Class Mail
59447ff0‐f8b7‐4a21‐ad36‐c6ea5aca058b                   Address Redacted                      First Class Mail
59487256‐fc39‐4984‐8554‐94875da96e00                   Address Redacted                      First Class Mail
5949588c‐c782‐4956‐aebe‐7a83f0382afc                   Address Redacted                      First Class Mail
594c48e1‐9912‐497f‐91d2‐ffe70c29c947                   Address Redacted                      First Class Mail
594dbf87‐7d42‐4735‐abf5‐20c5c3bc4bbc                   Address Redacted                      First Class Mail
594edfe3‐0e89‐4803‐8321‐e40148fad85e                   Address Redacted                      First Class Mail
594f7ddf‐6f17‐4861‐881b‐13041a20517a                   Address Redacted                      First Class Mail
5951049a‐de65‐4c02‐821a‐e6333aa87967                   Address Redacted                      First Class Mail
5951efc8‐d152‐4866‐9962‐f56428e2a229                   Address Redacted                      First Class Mail
59525a21‐b35b‐460f‐8752‐9cc25b537ff6                   Address Redacted                      First Class Mail
5953e86b‐71c1‐4f8a‐844d‐7114bf4e853e                   Address Redacted                      First Class Mail
595620cf‐e269‐4976‐8964‐3c20f0dfcacb                   Address Redacted                      First Class Mail
59590a78‐5b69‐4e2b‐965d‐82db8b3f724e                   Address Redacted                      First Class Mail
595e9636‐12db‐4677‐b102‐c51f31597db8                   Address Redacted                      First Class Mail
595eff09‐1d51‐4fd4‐8773‐861db30984e1                   Address Redacted                      First Class Mail
59610085‐c405‐4b55‐bcf6‐769bb1eab024                   Address Redacted                      First Class Mail
5965822a‐aced‐4d72‐9b2c‐763712623eb3                   Address Redacted                      First Class Mail
5968a708‐3616‐457f‐86af‐c97c4e39f763                   Address Redacted                      First Class Mail
596a0de8‐32cd‐42f5‐82de‐ef7842ffa6f5                   Address Redacted                      First Class Mail
596c5609‐1047‐4a76‐8775‐86fb80ef4d39                   Address Redacted                      First Class Mail
596cae50‐765a‐446f‐91c6‐f44d3d834b61                   Address Redacted                      First Class Mail
596eab6e‐ccc3‐4d9f‐814b‐ce82e9f090e1                   Address Redacted                      First Class Mail
59718e91‐5965‐43ba‐a983‐2b538b83da19                   Address Redacted                      First Class Mail
5972fe67‐ec6a‐44a2‐a692‐2aaef1e9d6bb                   Address Redacted                      First Class Mail
5974528f‐a419‐4ce5‐97c7‐3a8d7e7ee401                   Address Redacted                      First Class Mail
5977553f‐b807‐4c28‐9c11‐23b15268b2da                   Address Redacted                      First Class Mail
597aa518‐622f‐40fe‐9002‐8b64c28e19fb                   Address Redacted                      First Class Mail
597f378a‐0906‐4a4f‐8fce‐d375ac05230a                   Address Redacted                      First Class Mail
597f8b6f‐cc67‐4a33‐9b4c‐2446c64711cd                   Address Redacted                      First Class Mail
59814689‐ec1f‐4205‐9e9a‐0552695f7728                   Address Redacted                      First Class Mail




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                               Name                                             Address                         Method of Service
5981e87d‐7355‐4eb8‐b4f2‐77db7b638977                   Address Redacted                      First Class Mail
5984477a‐2e17‐4202‐b05d‐5397e8600db7                   Address Redacted                      First Class Mail
598c46f3‐b1d8‐46db‐889f‐4b0423ab14ba                   Address Redacted                      First Class Mail
5990bf40‐1ae8‐42ae‐a472‐a39ddcabc550                   Address Redacted                      First Class Mail
5991148b‐a3e8‐49e5‐81a6‐f7cf3c417717                   Address Redacted                      First Class Mail
59946498‐1aed‐470b‐92ba‐a92fe71ae5b1                   Address Redacted                      First Class Mail
599a0318‐400d‐4571‐a52c‐1bbe39fab6ae                   Address Redacted                      First Class Mail
599bc6b3‐020a‐4d1d‐ae38‐62338df48277                   Address Redacted                      First Class Mail
599beb7d‐6895‐4abc‐b940‐a972d3cb0e72                   Address Redacted                      First Class Mail
599c4b34‐4c3d‐4b81‐9c5f‐334e4af79321                   Address Redacted                      First Class Mail
599e00a8‐065f‐4fc7‐b840‐18d63de1e4cb                   Address Redacted                      First Class Mail
59a51014‐210f‐4a2d‐b6a3‐686b938f7408                   Address Redacted                      First Class Mail
59a8067d‐4b18‐483c‐b4b6‐f15ef9e0d0aa                   Address Redacted                      First Class Mail
59acb65f‐2d58‐40a3‐89d7‐8be368633117                   Address Redacted                      First Class Mail
59afdacc‐3cfa‐4826‐9ace‐313842df5da5                   Address Redacted                      First Class Mail
59b15124‐8b69‐4056‐97d2‐b2791da7ca09                   Address Redacted                      First Class Mail
59b1f415‐57f3‐43c0‐8459‐006933c8d105                   Address Redacted                      First Class Mail
59b35085‐1421‐40e8‐a9f5‐ec51869a949a                   Address Redacted                      First Class Mail
59b3820d‐8576‐4815‐b21c‐56b2c06a3d9b                   Address Redacted                      First Class Mail
59b6b82a‐51d0‐4214‐8e67‐01125d7e1564                   Address Redacted                      First Class Mail
59b6f394‐4ae6‐4957‐9902‐48e0f85b407c                   Address Redacted                      First Class Mail
59b8ca31‐7ddc‐45e9‐990e‐cc8226c99755                   Address Redacted                      First Class Mail
59ba3e3f‐6ca6‐4915‐823e‐d492cc895ef1                   Address Redacted                      First Class Mail
59c689e0‐797c‐4e42‐8249‐2c50f85268da                   Address Redacted                      First Class Mail
59c755f4‐b790‐4e5d‐a9f8‐0544a9c90caa                   Address Redacted                      First Class Mail
59c8f3ad‐75b9‐450e‐8353‐be2d1d7238e9                   Address Redacted                      First Class Mail
59d1dd5d‐6609‐4de1‐9215‐8017cf1a1a8c                   Address Redacted                      First Class Mail
59d2deb4‐f8bf‐4008‐a71a‐80683a59e13f                   Address Redacted                      First Class Mail
59d3cdce‐5d70‐43ae‐94bd‐6e40d62c55d0                   Address Redacted                      First Class Mail
59d41e11‐378e‐4001‐88ce‐cbb1fb92bb27                   Address Redacted                      First Class Mail
59d65928‐3489‐4ec0‐8de6‐9d7392a7ac2f                   Address Redacted                      First Class Mail
59d9a9a9‐6e2e‐486d‐8d1f‐851f4e59edd0                   Address Redacted                      First Class Mail
59dbd7a0‐666f‐4b83‐b82a‐a9fe05836b6a                   Address Redacted                      First Class Mail
59dd7e87‐008d‐454d‐b5f6‐f09966c4c6c4                   Address Redacted                      First Class Mail
59de0315‐ce35‐4ebd‐a847‐bd0803c2bc90                   Address Redacted                      First Class Mail
59df295c‐7342‐42f6‐98a8‐e640aa07ccb3                   Address Redacted                      First Class Mail
59df9f44‐bf31‐4eb7‐becb‐78848269a36a                   Address Redacted                      First Class Mail
59dfef9d‐ebfa‐43af‐8815‐b103c99eced8                   Address Redacted                      First Class Mail
59e0808d‐1525‐48d4‐8441‐c4e6b0633941                   Address Redacted                      First Class Mail
59e14b01‐5205‐4e91‐a4c3‐578de002fa38                   Address Redacted                      First Class Mail
59e28b06‐2917‐4d15‐a432‐9b955dcaa959                   Address Redacted                      First Class Mail
59e47d5a‐908e‐4421‐8b04‐eb2373e7dc9b                   Address Redacted                      First Class Mail
59eab4e6‐f32c‐4077‐9939‐47bb72fbe615                   Address Redacted                      First Class Mail
59ebe45c‐1adb‐47f3‐9302‐0cf1035a1e23                   Address Redacted                      First Class Mail
59f13c02‐4acb‐452b‐94e6‐188760801552                   Address Redacted                      First Class Mail
59f8b880‐4aa7‐4baf‐9738‐d128894826c4                   Address Redacted                      First Class Mail
59fbfe40‐44b1‐44c9‐8bdd‐b5e6811a4e45                   Address Redacted                      First Class Mail
59fc7bcd‐906b‐438c‐826f‐e2e9a69cbed1                   Address Redacted                      First Class Mail
59fe4221‐3717‐41f4‐825e‐3058c28cd249                   Address Redacted                      First Class Mail
59ff005a‐9acf‐4054‐a0f8‐a47fba5449a7                   Address Redacted                      First Class Mail
5a048236‐bdf7‐4725‐83e4‐3cda1f22c749                   Address Redacted                      First Class Mail
5a06ace6‐327c‐4650‐99e6‐9bdbf2729106                   Address Redacted                      First Class Mail
5a0c31e0‐e4e1‐4906‐8aad‐5a97afbb360c                   Address Redacted                      First Class Mail
5a1039ee‐15ef‐4765‐a68b‐9312f4751af8                   Address Redacted                      First Class Mail
5a1137bc‐7dc3‐4721‐a409‐016ac209537b                   Address Redacted                      First Class Mail
5a120460‐4207‐49ca‐b8ff‐053e8bbe258b                   Address Redacted                      First Class Mail
5a14a4ea‐eb26‐4856‐b487‐978882c663c6                   Address Redacted                      First Class Mail
5a184222‐65e4‐4613‐acee‐298c4aded108                   Address Redacted                      First Class Mail
5a1b3c4e‐5eb9‐49cc‐b565‐302d1e70062b                   Address Redacted                      First Class Mail
5a1c8962‐4c19‐440f‐b7c9‐435fb6c1160d                   Address Redacted                      First Class Mail
5a2285a4‐dcbd‐4c55‐a2f8‐2fcaa2c8c811                   Address Redacted                      First Class Mail
5a246f9f‐076d‐41be‐bf27‐2fe15f6b1651                   Address Redacted                      First Class Mail
5a28bbb8‐8d25‐46cb‐bb5e‐09447badc2d3                   Address Redacted                      First Class Mail
5a3025d1‐bbfb‐49f7‐9b76‐d42f5b4e852b                   Address Redacted                      First Class Mail
5a30584f‐1e70‐4b87‐a925‐9c99c8310cb3                   Address Redacted                      First Class Mail
5a30616d‐f8a6‐4418‐8570‐4f9f4acfe1db                   Address Redacted                      First Class Mail
5a30bcef‐c7d8‐46ee‐82cf‐b6161ea72d3f                   Address Redacted                      First Class Mail
5a3a649c‐d284‐476a‐af68‐03e252f5ad76                   Address Redacted                      First Class Mail
5a3f48d3‐f5d3‐4599‐ad89‐09c848057233                   Address Redacted                      First Class Mail
5a3fcdba‐2cf2‐488c‐a74c‐a350cbd476ae                   Address Redacted                      First Class Mail
5a4295b5‐9216‐4519‐a6dd‐9c6410aaa723                   Address Redacted                      First Class Mail
5a456292‐4ffb‐424c‐986f‐af37732cbdc6                   Address Redacted                      First Class Mail




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                                                                Exhibit A
                                                                 Service List


                              Name                                              Address                         Method of Service
5a4607cd‐a91a‐42d0‐980b‐3afab789bbce                   Address Redacted                      First Class Mail
5a5135a0‐5ceb‐48dc‐b421‐8e9606eb86f3                   Address Redacted                      First Class Mail
5a5a902f‐55e6‐4a42‐897d‐f14350a2a1b0                   Address Redacted                      First Class Mail
5a5c3644‐1f61‐4eac‐af89‐ac358467f509                   Address Redacted                      First Class Mail
5a5eb9ea‐99b4‐4404‐8433‐4ba76e749505                   Address Redacted                      First Class Mail
5a5f5a2a‐2f4b‐4fc5‐aa4c‐13e06a947741                   Address Redacted                      First Class Mail
5a5fd439‐bd82‐4134‐87b0‐ff11e3007692                   Address Redacted                      First Class Mail
5a601786‐b1b1‐4b01‐ae3b‐006123cb927d                   Address Redacted                      First Class Mail
5a68ba80‐5a1e‐4161‐baca‐dd385832de3f                   Address Redacted                      First Class Mail
5a6bdfca‐828b‐4026‐89b1‐0ffe1d8b65d5                   Address Redacted                      First Class Mail
5a6e4b03‐b858‐45b6‐b2db‐03f94974047c                   Address Redacted                      First Class Mail
5a72bf5e‐ed2d‐41ab‐a6a5‐d8124249346d                   Address Redacted                      First Class Mail
5a737c34‐7b54‐468f‐9e81‐b27acf12b045                   Address Redacted                      First Class Mail
5a78e229‐db2a‐4467‐b1a8‐2a5308b49eba                   Address Redacted                      First Class Mail
5a79bd41‐6a9a‐4938‐bd8e‐8bc28912160c                   Address Redacted                      First Class Mail
5a79cca6‐e023‐4759‐8946‐54adccfcb7cc                   Address Redacted                      First Class Mail
5a7a1708‐a01b‐4806‐9ab1‐f6aecb73b3be                   Address Redacted                      First Class Mail
5a7b1b55‐9905‐40ad‐9be1‐20f772431d22                   Address Redacted                      First Class Mail
5a7d9bef‐f3aa‐4ac7‐b8c6‐ce7a91461516                   Address Redacted                      First Class Mail
5a814575‐bcaf‐4939‐9cbe‐ad9d6c769d2e                   Address Redacted                      First Class Mail
5a818cc0‐1942‐4a00‐a4a2‐6dd75aad7283                   Address Redacted                      First Class Mail
5a8223dd‐e6cc‐4cce‐9c93‐58d4a1675b56                   Address Redacted                      First Class Mail
5a87847f‐bd3a‐447b‐8abd‐6a5086cf381d                   Address Redacted                      First Class Mail
5a8b489e‐14ee‐47ef‐b5ed‐2f64d9d929eb                   Address Redacted                      First Class Mail
5a938042‐012c‐4b14‐83df‐ec59f79fcd97                   Address Redacted                      First Class Mail
5a9a05e8‐66e6‐4a25‐91d5‐dc45de91775c                   Address Redacted                      First Class Mail
5a9c2a3a‐d332‐4bfa‐ad21‐843e0a82d715                   Address Redacted                      First Class Mail
5aa265ec‐c034‐4c0c‐bf0c‐0264c9c78d36                   Address Redacted                      First Class Mail
5aa3f3fc‐6a61‐4ee4‐91d6‐f9078ec2369b                   Address Redacted                      First Class Mail
5aa41adc‐286e‐419f‐b344‐d1f767d088d1                   Address Redacted                      First Class Mail
5aa7f513‐72c6‐4130‐9cef‐01e7d1f55872                   Address Redacted                      First Class Mail
5aa9dd5d‐656b‐45b1‐b9a7‐47e32b6d6aa9                   Address Redacted                      First Class Mail
5aab4310‐f5c6‐4a1d‐bde5‐6178468dbae2                   Address Redacted                      First Class Mail
5aabe845‐fa6e‐460f‐8f5c‐62dc22e19267                   Address Redacted                      First Class Mail
5aae480b‐a487‐42b3‐bece‐25cc79290c48                   Address Redacted                      First Class Mail
5aaf584f‐0101‐4bce‐864c‐27da8805a776                   Address Redacted                      First Class Mail
5ab101c6‐5076‐47a2‐9e49‐6030ed0aff9d                   Address Redacted                      First Class Mail
5ab73369‐ed30‐4a77‐86d2‐402456ee5848                   Address Redacted                      First Class Mail
5ab82f65‐b8fb‐40ec‐a4ca‐9b083ebe1993                   Address Redacted                      First Class Mail
5abb55be‐7101‐4c13‐821a‐91c34781b9ae                   Address Redacted                      First Class Mail
5abf47f3‐dcce‐4946‐8d62‐b19aa2207dc5                   Address Redacted                      First Class Mail
5ac507cb‐6c38‐4846‐864b‐f3687f2515d1                   Address Redacted                      First Class Mail
5aca2d60‐1244‐468e‐9c0b‐7216295759d0                   Address Redacted                      First Class Mail
5acc0a20‐06a6‐4f3f‐84b7‐6ab2d4f2b064                   Address Redacted                      First Class Mail
5ad01999‐b240‐45c4‐b1ac‐e998cf69603e                   Address Redacted                      First Class Mail
5ad323da‐85c1‐4348‐bc36‐51100e903eea                   Address Redacted                      First Class Mail
5ad52121‐1cb1‐44d9‐9e44‐e1c2bb6aeb93                   Address Redacted                      First Class Mail
5ad9670c‐72e0‐4cde‐849a‐6029eb750ed4                   Address Redacted                      First Class Mail
5ae9c2a2‐9a5e‐4f74‐a2dc‐53d89795484b                   Address Redacted                      First Class Mail
5aea09ea‐dc8c‐4278‐8d97‐a5a9dcca4549                   Address Redacted                      First Class Mail
5af026c3‐70e2‐4aab‐be63‐18b8edce5e63                   Address Redacted                      First Class Mail
5af16574‐8b54‐44f6‐b02b‐b586eaaa1ecc                   Address Redacted                      First Class Mail
5af40a61‐109c‐42f6‐af7f‐2a93474d4d83                   Address Redacted                      First Class Mail
5af7bc23‐666e‐4c49‐a2a1‐cf00aca5739c                   Address Redacted                      First Class Mail
5af8c998‐223d‐414d‐82a9‐f8681fe34512                   Address Redacted                      First Class Mail
5b033e96‐596b‐48b0‐8451‐7758a97e7d07                   Address Redacted                      First Class Mail
5b0421a9‐3a2f‐4ea4‐8933‐4be3d0a6eccf                   Address Redacted                      First Class Mail
5b06c152‐29fe‐439d‐a5f8‐4a11adb41a5b                   Address Redacted                      First Class Mail
5b0a5d02‐bd18‐4f20‐8e8c‐4812fa7eba65                   Address Redacted                      First Class Mail
5b0ae649‐114d‐4072‐9a9a‐c7208d242bac                   Address Redacted                      First Class Mail
5b0aeab7‐cbfb‐4cba‐a0d5‐013dd142a9fd                   Address Redacted                      First Class Mail
5b0c857a‐49cd‐4b9c‐b109‐cf7b72f18f73                   Address Redacted                      First Class Mail
5b0caf4f‐e6f5‐47ac‐8e7d‐5d7abca7cf3f                   Address Redacted                      First Class Mail
5b11c087‐0927‐4ab5‐a563‐1602f5c26e68                   Address Redacted                      First Class Mail
5b12035e‐eb12‐4109‐84fe‐87a790182f90                   Address Redacted                      First Class Mail
5b126195‐dd58‐4f7a‐913c‐52ea5ab55fb2                   Address Redacted                      First Class Mail
5b13bc4e‐e2ca‐4b72‐83bd‐8acde4d5f930                   Address Redacted                      First Class Mail
5b142e82‐e4d8‐41bb‐8cfc‐762dd0e50d46                   Address Redacted                      First Class Mail
5b1524a5‐df49‐49b6‐b169‐d455841c3e76                   Address Redacted                      First Class Mail
5b1deaa6‐4c83‐44a6‐a910‐7b970ec01308                   Address Redacted                      First Class Mail
5b1fd79a‐7795‐4c38‐b626‐bd508e0d9711                   Address Redacted                      First Class Mail
5b203200‐8cab‐42ec‐a793‐e3b494444e28                   Address Redacted                      First Class Mail




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                              Name                                              Address                         Method of Service
5b24a092‐b35d‐412c‐a048‐c9d13139f12e                   Address Redacted                      First Class Mail
5b271d66‐6285‐4e46‐88f2‐282a2812514c                   Address Redacted                      First Class Mail
5b2a7a7b‐a2a9‐4433‐a691‐ac6e560718a5                   Address Redacted                      First Class Mail
5b30233c‐590b‐4bc9‐90e1‐edc226677a8a                   Address Redacted                      First Class Mail
5b30869f‐7ff7‐449f‐8ae6‐127bc6272e9a                   Address Redacted                      First Class Mail
5b365eb7‐de4e‐4fb3‐897b‐3cdd41668ce0                   Address Redacted                      First Class Mail
5b3695f6‐6cb1‐4973‐9c14‐b88239341ef3                   Address Redacted                      First Class Mail
5b37b944‐f1b0‐4665‐9320‐40a52bc955c0                   Address Redacted                      First Class Mail
5b3b256e‐61df‐46b3‐bcd9‐9df7b7d509e5                   Address Redacted                      First Class Mail
5b403601‐0ee7‐41ca‐97ea‐fd0d8da83e46                   Address Redacted                      First Class Mail
5b439a59‐4943‐40e0‐9ceb‐951cd843dcc7                   Address Redacted                      First Class Mail
5b46c602‐d905‐4432‐978b‐4f9a590e001d                   Address Redacted                      First Class Mail
5b476cd7‐465e‐4e95‐9490‐ebb3b278a16b                   Address Redacted                      First Class Mail
5b499f5d‐76ee‐445b‐b56f‐2a5068075742                   Address Redacted                      First Class Mail
5b4b6be0‐6ae2‐4a09‐8238‐126a685a2447                   Address Redacted                      First Class Mail
5b56bd1f‐2438‐47c3‐8893‐5227bcf8a153                   Address Redacted                      First Class Mail
5b56c88d‐fece‐43df‐8e03‐6f8e4a2e72bf                   Address Redacted                      First Class Mail
5b57d236‐6563‐4700‐880d‐3e4ff84891eb                   Address Redacted                      First Class Mail
5b5863ac‐295b‐4cff‐9b60‐729286bf6428                   Address Redacted                      First Class Mail
5b586b1f‐de80‐4308‐8f63‐41e1f28f32ec                   Address Redacted                      First Class Mail
5b58775a‐f271‐425a‐940b‐5c1ac878588a                   Address Redacted                      First Class Mail
5b593c82‐6e69‐4b2a‐b571‐3327b61eacd4                   Address Redacted                      First Class Mail
5b5b1595‐b245‐4ef4‐993c‐cc7f21f5af43                   Address Redacted                      First Class Mail
5b5c4271‐1f52‐4dd2‐81ef‐a76dcef8e54b                   Address Redacted                      First Class Mail
5b60e5bb‐5711‐46be‐be90‐31188f0ceab3                   Address Redacted                      First Class Mail
5b616e5a‐1cd7‐4d5c‐aa58‐f7d3e49b7b4b                   Address Redacted                      First Class Mail
5b63263a‐a07c‐4da7‐ae6f‐4a0d5a1727d0                   Address Redacted                      First Class Mail
5b6632a8‐92d9‐45ac‐905a‐d924afe310d6                   Address Redacted                      First Class Mail
5b689471‐ce4a‐414b‐b54a‐5baf47aa07ab                   Address Redacted                      First Class Mail
5b6aff9e‐983f‐4663‐b9fc‐28b194e50e60                   Address Redacted                      First Class Mail
5b6c7d2e‐ca95‐4da8‐b6ee‐d05ac1ff50ff                   Address Redacted                      First Class Mail
5b6f6fd1‐0bbe‐4b98‐ad68‐1c841ae274b9                   Address Redacted                      First Class Mail
5b710b65‐7298‐4c4f‐96ea‐c14d0763b4d7                   Address Redacted                      First Class Mail
5b72c4a2‐6575‐440a‐b890‐cf306d532ac2                   Address Redacted                      First Class Mail
5b754c8f‐ebcd‐4efc‐839f‐94d778b6c3a5                   Address Redacted                      First Class Mail
5b7cd9aa‐3b09‐4e58‐8b0c‐1a1dc98e2cc1                   Address Redacted                      First Class Mail
5b81e7c8‐b4b7‐4640‐a791‐ed098cdab870                   Address Redacted                      First Class Mail
5b82e652‐6c6a‐47da‐80a0‐f50072e0bcf6                   Address Redacted                      First Class Mail
5b83f80f‐117b‐4023‐8497‐3b9204919fb6                   Address Redacted                      First Class Mail
5b8f3c6e‐32b2‐472c‐bbed‐26e5d73fdacf                   Address Redacted                      First Class Mail
5b8f5599‐69ba‐40ea‐9831‐04493efa6828                   Address Redacted                      First Class Mail
5b936bd5‐d61b‐4f09‐9e8d‐2884819c48b3                   Address Redacted                      First Class Mail
5b945f1a‐ca04‐4532‐a862‐60dee8d225df                   Address Redacted                      First Class Mail
5b9ed1b0‐105f‐4546‐b03b‐ee8b9c23c79a                   Address Redacted                      First Class Mail
5b9f5c3c‐174f‐4143‐a428‐07887d9b8c0c                   Address Redacted                      First Class Mail
5b9f749e‐0682‐44fb‐8db0‐0e2632085739                   Address Redacted                      First Class Mail
5ba39f60‐84eb‐46d4‐8262‐474d1866fea9                   Address Redacted                      First Class Mail
5ba99941‐5ae3‐4a88‐aeef‐690872c39e7f                   Address Redacted                      First Class Mail
5bab36d4‐f66c‐49d3‐882a‐e02d554596c7                   Address Redacted                      First Class Mail
5baff16e‐0825‐440b‐af46‐198c9d0541fc                   Address Redacted                      First Class Mail
5bb634f5‐684f‐4c93‐803b‐343a2da481a2                   Address Redacted                      First Class Mail
5bb7b7c1‐b16c‐488d‐86ca‐71430c0c74bb                   Address Redacted                      First Class Mail
5bbbbdad‐5cce‐448c‐b422‐c4a8e6dbcede                   Address Redacted                      First Class Mail
5bbe304a‐4ed5‐4f8c‐8a14‐95f6fb1fd28a                   Address Redacted                      First Class Mail
5bbe708d‐1617‐4e6c‐9ad5‐c4edbb729198                   Address Redacted                      First Class Mail
5bbf9d5d‐75f0‐45df‐87b2‐8a169fd7e1c7                   Address Redacted                      First Class Mail
5bc4cf85‐eab7‐43bf‐82b4‐9beb86e64129                   Address Redacted                      First Class Mail
5bcae7e2‐78f0‐4ad1‐9042‐c3ff51172a55                   Address Redacted                      First Class Mail
5bcd23d5‐e883‐469d‐9eba‐de6ccd99dd44                   Address Redacted                      First Class Mail
5bd01dfe‐1792‐4ce6‐945a‐b96098c811d1                   Address Redacted                      First Class Mail
5bd28aad‐7f27‐4851‐a2bd‐5dfbbab16098                   Address Redacted                      First Class Mail
5bd3eada‐1a14‐472f‐af2c‐c168a8f92aa9                   Address Redacted                      First Class Mail
5bd73b51‐f4f6‐455b‐88a6‐ecb5ea948ed4                   Address Redacted                      First Class Mail
5bd89143‐9260‐49e6‐b594‐94910f1fe583                   Address Redacted                      First Class Mail
5bdd32c0‐b606‐437c‐893c‐8a4131244367                   Address Redacted                      First Class Mail
5bde9f85‐d89a‐403b‐8eaa‐6e7ede293a15                   Address Redacted                      First Class Mail
5be2aa76‐b652‐4e6c‐812c‐6a6a5126ec28                   Address Redacted                      First Class Mail
5be46636‐2386‐4e23‐bdec‐ed0a0d3ee49a                   Address Redacted                      First Class Mail
5be47442‐681d‐4850‐8af7‐8260b17b7b21                   Address Redacted                      First Class Mail
5be9a24b‐3b35‐4bc8‐aeda‐1a9e5a05011e                   Address Redacted                      First Class Mail
5beb661b‐a424‐4c83‐856a‐ffe23bc720bf                   Address Redacted                      First Class Mail
5bebf1ae‐9a82‐4b15‐b68d‐fbffc5d45be5                   Address Redacted                      First Class Mail




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                               Name                                             Address                         Method of Service
5bed5052‐db60‐40e2‐9e89‐b5a10bd2d305                   Address Redacted                      First Class Mail
5bee1011‐7946‐43b2‐968d‐5de0eb33743b                   Address Redacted                      First Class Mail
5bf2b486‐411d‐4d76‐b4d1‐96562ec54e50                   Address Redacted                      First Class Mail
5bf7e99c‐50ff‐41a9‐b526‐8b0fc0bffab0                   Address Redacted                      First Class Mail
5bfb8f3f‐794c‐428a‐830d‐494a4a96d2d6                   Address Redacted                      First Class Mail
5bfda5f9‐3505‐49da‐b8d0‐9b16a0a73e98                   Address Redacted                      First Class Mail
5c02bcc9‐8288‐48b5‐9899‐9ad75bdf6b98                   Address Redacted                      First Class Mail
5c045437‐2d78‐489c‐8fa2‐4b160143f852                   Address Redacted                      First Class Mail
5c05951b‐e1f0‐49ac‐8cc3‐46650eede605                   Address Redacted                      First Class Mail
5c0a98a3‐db3b‐422e‐a364‐ab4cb225a2c5                   Address Redacted                      First Class Mail
5c0d0f77‐2949‐439f‐9687‐8e1a3e517f61                   Address Redacted                      First Class Mail
5c0ed1c5‐685f‐4ae2‐9a67‐5fc23c9b4667                   Address Redacted                      First Class Mail
5c10b413‐97fc‐4ded‐8e6c‐ade1867db787                   Address Redacted                      First Class Mail
5c14a3de‐b027‐4cef‐8dd5‐a7f689ddab65                   Address Redacted                      First Class Mail
5c21aef4‐dd17‐48bd‐a033‐39ff1c542e91                   Address Redacted                      First Class Mail
5c227348‐d378‐4970‐8330‐e6b937543e15                   Address Redacted                      First Class Mail
5c257889‐8b96‐41cf‐acce‐d4e36888f8fd                   Address Redacted                      First Class Mail
5c2b4aa7‐7e15‐444d‐8b05‐5278433d563d                   Address Redacted                      First Class Mail
5c2c974b‐aa24‐4886‐8dc0‐92b7b66dee54                   Address Redacted                      First Class Mail
5c2faa41‐cd51‐4f8d‐af7d‐14073c48e2e9                   Address Redacted                      First Class Mail
5c326e2d‐8f47‐408d‐8393‐49a60c6c4970                   Address Redacted                      First Class Mail
5c3498b1‐0b3b‐4832‐bce4‐98d7f3a621c4                   Address Redacted                      First Class Mail
5c375619‐d8a7‐4642‐87c9‐46fe43545f46                   Address Redacted                      First Class Mail
5c38aa0c‐b4d7‐412b‐a48f‐3c36c8127fb9                   Address Redacted                      First Class Mail
5c3a23c0‐e976‐4f1b‐89ac‐2a9e7fed5521                   Address Redacted                      First Class Mail
5c3abf00‐663f‐4853‐a9ca‐67704f466078                   Address Redacted                      First Class Mail
5c3b2a5e‐3938‐4c81‐ae2b‐5a2b7e978034                   Address Redacted                      First Class Mail
5c3b65c4‐d4e0‐4bb1‐b355‐b62ade2f7daa                   Address Redacted                      First Class Mail
5c3f2ffa‐f4c6‐4e20‐a147‐fbe8cef1cf56                   Address Redacted                      First Class Mail
5c46c67d‐8246‐4ec2‐985a‐c6b112aa47dd                   Address Redacted                      First Class Mail
5c4cbb10‐5b8c‐48cc‐857d‐6b6af6618bf0                   Address Redacted                      First Class Mail
5c4f0450‐af43‐4c51‐abb6‐e176d1c866e3                   Address Redacted                      First Class Mail
5c4f2ad2‐bb85‐44f6‐930f‐2156a20c3edb                   Address Redacted                      First Class Mail
5c5103b6‐a540‐461b‐92c4‐01ebc6dbe037                   Address Redacted                      First Class Mail
5c51aaaf‐2edd‐4122‐af4c‐2ddbd8b2af79                   Address Redacted                      First Class Mail
5c521679‐a297‐48a3‐acea‐4e08ce9fb7e5                   Address Redacted                      First Class Mail
5c549f85‐8617‐4d7f‐9ffd‐ce5fde8a0f2b                   Address Redacted                      First Class Mail
5c566667‐03d1‐4dbd‐86f9‐1133d050e1eb                   Address Redacted                      First Class Mail
5c567396‐76db‐4a3c‐a007‐16e851aa7b2c                   Address Redacted                      First Class Mail
5c59f8a3‐3705‐42f9‐83b2‐993e29f7573b                   Address Redacted                      First Class Mail
5c5ad5ec‐4dc9‐4e95‐ae48‐b3ea5b6afe4b                   Address Redacted                      First Class Mail
5c5d9446‐321c‐4090‐a095‐0544ad6360ad                   Address Redacted                      First Class Mail
5c697fa6‐b2c7‐44c0‐ae08‐a1c0c5ca4a8e                   Address Redacted                      First Class Mail
5c6aa8d3‐c88f‐4e6c‐9e60‐fb3f06953d09                   Address Redacted                      First Class Mail
5c6b4b00‐71db‐41f6‐8385‐595e6c696ccc                   Address Redacted                      First Class Mail
5c7354cb‐7ed3‐42a4‐96e3‐30dc0bbdf87f                   Address Redacted                      First Class Mail
5c73ec5c‐0ec2‐4fdf‐bbf6‐933e820434a4                   Address Redacted                      First Class Mail
5c740b8a‐57fd‐4582‐a97d‐df36578a6854                   Address Redacted                      First Class Mail
5c74f522‐d6c5‐4542‐a8b7‐180d852791ba                   Address Redacted                      First Class Mail
5c77b69a‐d989‐44a5‐9acb‐2a0e9b1a5824                   Address Redacted                      First Class Mail
5c78547d‐7c5d‐40e6‐ae82‐32c5e89c471d                   Address Redacted                      First Class Mail
5c7aaad9‐8312‐432b‐be0b‐d10715c5b88c                   Address Redacted                      First Class Mail
5c7dc317‐1ffa‐4b3c‐9b94‐cb179ed2479d                   Address Redacted                      First Class Mail
5c7f5a62‐3b97‐4420‐a194‐988fef81adb2                   Address Redacted                      First Class Mail
5c7ffcc7‐ac5b‐47a6‐a878‐0f5ea0752a2e                   Address Redacted                      First Class Mail
5c81d29e‐fd93‐4cb8‐9782‐7cafb494413c                   Address Redacted                      First Class Mail
5c829d38‐e40d‐4ecf‐ab3f‐ee4e41afbe89                   Address Redacted                      First Class Mail
5c850ac4‐b29c‐48b9‐90b7‐ef086c5160d7                   Address Redacted                      First Class Mail
5c868925‐e797‐42cc‐843e‐01ac53454b0f                   Address Redacted                      First Class Mail
5c8822d0‐7493‐4f5a‐a4ae‐2966347a4f15                   Address Redacted                      First Class Mail
5c89b878‐1cd0‐4330‐b3c8‐87a427299715                   Address Redacted                      First Class Mail
5c8df5dc‐c71b‐4a46‐b4d2‐ef899c10eac3                   Address Redacted                      First Class Mail
5c90bf62‐7cb0‐494f‐b16a‐a41ea6d55c43                   Address Redacted                      First Class Mail
5c910676‐385f‐4624‐813e‐46cd6d871453                   Address Redacted                      First Class Mail
5c91328f‐311c‐4d75‐829d‐12a799bb8b5d                   Address Redacted                      First Class Mail
5c9396df‐5696‐4fd2‐8a9b‐e5634a6e9af7                   Address Redacted                      First Class Mail
5c964f64‐6cae‐4ae1‐a6e1‐b51f90f5a8b0                   Address Redacted                      First Class Mail
5c96c429‐91c9‐4c24‐8f92‐85c2545ebe2d                   Address Redacted                      First Class Mail
5c9a2769‐418f‐4661‐9c8f‐09961cf6302e                   Address Redacted                      First Class Mail
5c9f9536‐a58c‐4b26‐b60c‐4632ef9670a1                   Address Redacted                      First Class Mail
5ca04f11‐5fcc‐48b3‐b5c6‐c9b655289b37                   Address Redacted                      First Class Mail
5ca2205e‐6457‐4b52‐b71f‐5ab64daad31a                   Address Redacted                      First Class Mail




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                                                                Exhibit A
                                                                 Service List


                              Name                                              Address                         Method of Service
5ca2986c‐7d91‐4056‐8dd4‐d88c364c37ed                   Address Redacted                      First Class Mail
5ca3dfc7‐e9fe‐4143‐8858‐b7973e2b96c6                   Address Redacted                      First Class Mail
5ca66a13‐2cb7‐4ddd‐9c3f‐05f5a53adcaa                   Address Redacted                      First Class Mail
5cac2ab0‐34b4‐4ecd‐958a‐c862050bec7d                   Address Redacted                      First Class Mail
5cadfe86‐f552‐47f1‐8fd9‐e094dda27b09                   Address Redacted                      First Class Mail
5caf45f4‐8a48‐49ac‐9301‐a5e0d276179a                   Address Redacted                      First Class Mail
5cb141c4‐44c7‐4784‐8366‐bc081b596777                   Address Redacted                      First Class Mail
5cb18a23‐9730‐4e33‐971f‐d1f2cfc8b0c2                   Address Redacted                      First Class Mail
5cb59435‐3a3d‐4823‐a579‐54400cee4a31                   Address Redacted                      First Class Mail
5cb6c7eb‐d144‐47a4‐a7bb‐afc5e8a758b4                   Address Redacted                      First Class Mail
5cc04a7d‐b594‐4f66‐aeef‐bdad2e47c306                   Address Redacted                      First Class Mail
5cc15ace‐1d13‐4aaa‐b1cd‐b85dc4fad567                   Address Redacted                      First Class Mail
5cc2c3c4‐1f7b‐4293‐b7d5‐f2212e6a667f                   Address Redacted                      First Class Mail
5cc8e632‐185a‐46d3‐a5c1‐d51ecd43d794                   Address Redacted                      First Class Mail
5ccaf355‐5fe7‐4765‐b7c0‐df33f5bb6886                   Address Redacted                      First Class Mail
5ccb1602‐7c04‐4902‐98e5‐a75894abf0b6                   Address Redacted                      First Class Mail
5ccc31d6‐e5e6‐4946‐92d3‐3f3485caa1e5                   Address Redacted                      First Class Mail
5ccf510d‐74f2‐4f70‐a7f0‐ca4d32a7b4ea                   Address Redacted                      First Class Mail
5cd6da86‐476a‐443d‐9e02‐05d2245de4c0                   Address Redacted                      First Class Mail
5cd73622‐9e2c‐41f7‐8afc‐bbe2a4859beb                   Address Redacted                      First Class Mail
5cd8a9be‐5467‐4081‐9f60‐59738492edbb                   Address Redacted                      First Class Mail
5cda087f‐d48b‐4143‐a52b‐b804b4b3e6a1                   Address Redacted                      First Class Mail
5cda24e5‐4bd4‐46e9‐ac50‐0255a9c12157                   Address Redacted                      First Class Mail
5cdd9752‐d23c‐42b6‐a074‐993ce929a904                   Address Redacted                      First Class Mail
5ce4696e‐9f0c‐4c85‐a254‐ef577c318458                   Address Redacted                      First Class Mail
5ce4ecb7‐1028‐42ce‐823b‐0848c464a72c                   Address Redacted                      First Class Mail
5ce8363e‐6f70‐4a0b‐921f‐ab811626e5a0                   Address Redacted                      First Class Mail
5ceac074‐99fb‐488e‐85e9‐ccd5282cb726                   Address Redacted                      First Class Mail
5cee2f82‐5a3f‐41aa‐ab7f‐5e48e23cf69e                   Address Redacted                      First Class Mail
5cef4b3f‐a5dd‐4c31‐91a1‐929260a55d0f                   Address Redacted                      First Class Mail
5cf51aaa‐40bf‐4db7‐9186‐2d3520ef9507                   Address Redacted                      First Class Mail
5cf6a840‐2407‐464d‐8cf4‐f5f6aabef3a7                   Address Redacted                      First Class Mail
5cf7b90c‐5768‐424d‐9069‐fd9c4d0c76d7                   Address Redacted                      First Class Mail
5cf9353f‐792a‐4e98‐af30‐717be78cb5bd                   Address Redacted                      First Class Mail
5cfa08ba‐32dc‐40d2‐a70f‐d617307014ce                   Address Redacted                      First Class Mail
5cfb3af9‐a681‐4118‐aa4f‐85a46b729b05                   Address Redacted                      First Class Mail
5cfbd2a4‐2535‐4139‐a18c‐e3b58c65944a                   Address Redacted                      First Class Mail
5d008c8e‐b0da‐4a1d‐8503‐0c4d7f1fc8a5                   Address Redacted                      First Class Mail
5d00ed56‐0702‐40be‐b9a0‐131194ff58b9                   Address Redacted                      First Class Mail
5d0178dd‐f812‐44da‐9e63‐4966928c2dfe                   Address Redacted                      First Class Mail
5d025c23‐9061‐4ec3‐beb4‐1375555f827d                   Address Redacted                      First Class Mail
5d02eabe‐2cb9‐4fc5‐88cf‐042d02dd24cf                   Address Redacted                      First Class Mail
5d03d879‐9caf‐4fe0‐a673‐b611949549a5                   Address Redacted                      First Class Mail
5d168c42‐0a70‐441c‐9d3d‐5afa276fa01a                   Address Redacted                      First Class Mail
5d180923‐306b‐4846‐9f27‐873e1c4e022f                   Address Redacted                      First Class Mail
5d1885b0‐6be9‐4b9e‐8970‐71e723c9de05                   Address Redacted                      First Class Mail
5d1abcba‐de09‐4a49‐8d8c‐45b6767732f2                   Address Redacted                      First Class Mail
5d1ae366‐6ed4‐4bf2‐bf04‐10c44bf75086                   Address Redacted                      First Class Mail
5d23863d‐ce0f‐4d65‐b173‐3d4a4b7896d0                   Address Redacted                      First Class Mail
5d242f75‐12c9‐4587‐b097‐0b8af248f0e2                   Address Redacted                      First Class Mail
5d24bef6‐4ac2‐4194‐abc9‐573bf2f81383                   Address Redacted                      First Class Mail
5d2595fa‐8fee‐489b‐851d‐96d7ef0089a4                   Address Redacted                      First Class Mail
5d2921bf‐e605‐4ff4‐b638‐ca0c56bea5e7                   Address Redacted                      First Class Mail
5d2a28f5‐7e63‐430c‐9d12‐9e9dd8141295                   Address Redacted                      First Class Mail
5d2be4ee‐1fe6‐40d6‐a76d‐0e8c6793d2a2                   Address Redacted                      First Class Mail
5d2ef686‐a814‐4f6c‐af45‐4b3205779461                   Address Redacted                      First Class Mail
5d322d9d‐691e‐4dc2‐bc4b‐71057b9b62e2                   Address Redacted                      First Class Mail
5d338623‐c249‐4dde‐b81a‐334c6ef1f351                   Address Redacted                      First Class Mail
5d376b82‐89b4‐4dba‐9c4f‐9a04cb0e90d3                   Address Redacted                      First Class Mail
5d387bed‐4eb0‐4369‐890a‐879d9606faf1                   Address Redacted                      First Class Mail
5d393a76‐05d9‐42c0‐80de‐90bec40cd6e5                   Address Redacted                      First Class Mail
5d3c89b0‐05f9‐46a0‐9498‐516582194050                   Address Redacted                      First Class Mail
5d3cad8d‐ee1a‐4ba4‐b69c‐c71b23ec5abf                   Address Redacted                      First Class Mail
5d3f3fc7‐3186‐455e‐a287‐493a6af6c2fb                   Address Redacted                      First Class Mail
5d466d44‐b95d‐4898‐8988‐f3ea718798e1                   Address Redacted                      First Class Mail
5d4ad11d‐dc76‐4692‐8a0f‐d6a116773756                   Address Redacted                      First Class Mail
5d4d07e1‐a3a7‐47c9‐9709‐d25ae64a38d9                   Address Redacted                      First Class Mail
5d503a19‐493e‐4b13‐8d49‐7d0cdf989829                   Address Redacted                      First Class Mail
5d50daf7‐5557‐48aa‐8488‐4f322d7e98d6                   Address Redacted                      First Class Mail
5d54025d‐ef41‐4efd‐ab16‐b9c276e6a487                   Address Redacted                      First Class Mail
5d572872‐65c8‐42dc‐ab46‐723f3cd7bac5                   Address Redacted                      First Class Mail
5d57d895‐5c1b‐46f0‐b4d7‐f40f9896b0f8                   Address Redacted                      First Class Mail




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                                                                Exhibit A
                                                                 Service List


                              Name                                              Address                         Method of Service
5d585eb4‐a6e5‐4546‐a183‐755689e68d51                   Address Redacted                      First Class Mail
5d5e8007‐1632‐4795‐bdac‐6c74327d900d                   Address Redacted                      First Class Mail
5d62c8a2‐7fbc‐49f0‐a7af‐55bc2a9fd275                   Address Redacted                      First Class Mail
5d678677‐c9d0‐408c‐b1e6‐f74f8397bb03                   Address Redacted                      First Class Mail
5d6d2d6f‐b356‐4d69‐a481‐d3310c6fd8e3                   Address Redacted                      First Class Mail
5d6de081‐74f3‐4353‐811b‐3df8805ece7c                   Address Redacted                      First Class Mail
5d6e6af9‐854c‐4e62‐952a‐9e76b9a58a76                   Address Redacted                      First Class Mail
5d746b58‐5395‐4f48‐9242‐b11d1d05e87f                   Address Redacted                      First Class Mail
5d782459‐e019‐4e1a‐9b02‐c3977a441d3e                   Address Redacted                      First Class Mail
5d7a65cf‐77e9‐4b3f‐b665‐185a374642a7                   Address Redacted                      First Class Mail
5d7a9ea1‐fae7‐4361‐85e2‐c2792578a751                   Address Redacted                      First Class Mail
5d7bc9ac‐7ba9‐4862‐857f‐0bc9458cb90f                   Address Redacted                      First Class Mail
5d7c31a5‐0537‐40c1‐8e82‐37a7ac02da67                   Address Redacted                      First Class Mail
5d7ef04d‐bfc3‐45da‐b7aa‐00f13206d75e                   Address Redacted                      First Class Mail
5d84444e‐7d92‐4094‐948a‐71b39d196603                   Address Redacted                      First Class Mail
5d86354b‐3601‐4395‐bb4d‐74e973689620                   Address Redacted                      First Class Mail
5d882150‐e008‐48e1‐9557‐4774a428da7d                   Address Redacted                      First Class Mail
5d8b60ee‐9240‐43ab‐86e4‐e2c4a4a921ff                   Address Redacted                      First Class Mail
5d8dc75f‐9246‐4250‐8485‐e6a26b76fc63                   Address Redacted                      First Class Mail
5d8faf59‐d2b2‐4afb‐8f37‐4d450f6f0daa                   Address Redacted                      First Class Mail
5d921128‐c5af‐45bd‐ba7a‐99f9aeade4d1                   Address Redacted                      First Class Mail
5d95ac2f‐f10b‐48a3‐bfba‐b551ba90763e                   Address Redacted                      First Class Mail
5d961382‐efdd‐4430‐8206‐f1d2630cc9a4                   Address Redacted                      First Class Mail
5d9bf456‐275b‐461e‐a7e1‐7cfc2bdfc2a0                   Address Redacted                      First Class Mail
5da0524a‐f8bc‐417c‐a265‐27d8744c6d94                   Address Redacted                      First Class Mail
5da1b52b‐1fdb‐44b9‐b5dd‐3e240c8c4a2c                   Address Redacted                      First Class Mail
5da22721‐90ff‐4760‐b296‐89c22572e676                   Address Redacted                      First Class Mail
5da65cd8‐e710‐4cb2‐9edd‐47f80457cdfb                   Address Redacted                      First Class Mail
5da92a35‐cf60‐4b0d‐a558‐2d2b2da70cf4                   Address Redacted                      First Class Mail
5da99a90‐58c9‐4f6d‐8c14‐55225bb96786                   Address Redacted                      First Class Mail
5daab313‐8ad7‐44cb‐838c‐e3a59ccddb15                   Address Redacted                      First Class Mail
5dab7d26‐ec30‐4767‐8ce2‐4513b95c75fd                   Address Redacted                      First Class Mail
5dae7aa5‐d534‐4b14‐a3a7‐a4bfe6d943a1                   Address Redacted                      First Class Mail
5dba4419‐62ac‐48ac‐b4ee‐ab0797da6329                   Address Redacted                      First Class Mail
5dbc3a0b‐e164‐4ecb‐9340‐64566247604d                   Address Redacted                      First Class Mail
5dbdd255‐15be‐4ac9‐a8b1‐caa2a225dd84                   Address Redacted                      First Class Mail
5dc0a213‐8e85‐4b99‐be9f‐1e74e7ae18d2                   Address Redacted                      First Class Mail
5dc129fc‐958b‐4e94‐87e4‐4d4cb10bb204                   Address Redacted                      First Class Mail
5dc28a62‐c6ce‐4fa0‐8ec8‐032fc21bea77                   Address Redacted                      First Class Mail
5dc2cf38‐5022‐4d44‐ba87‐fb6f4898a59a                   Address Redacted                      First Class Mail
5dc33710‐ef4b‐4612‐809c‐0edad551a40e                   Address Redacted                      First Class Mail
5dc36bda‐3e2b‐41d8‐8eca‐ae880dc78ae0                   Address Redacted                      First Class Mail
5dc4259d‐f171‐4e30‐9b44‐80fec81dab63                   Address Redacted                      First Class Mail
5dc50281‐98a7‐4931‐be27‐ea6af866e2a2                   Address Redacted                      First Class Mail
5dc51b3f‐a1f0‐4575‐957a‐c54204e0f8a4                   Address Redacted                      First Class Mail
5dc88ce8‐e1a4‐4b95‐bc83‐429ff8b5a857                   Address Redacted                      First Class Mail
5dca8be5‐6e4c‐4a63‐84a7‐aa414e1ae63a                   Address Redacted                      First Class Mail
5dca956c‐c52c‐45d2‐a718‐c1f163157f8d                   Address Redacted                      First Class Mail
5dcbd99c‐b331‐4cfb‐a9cf‐93e8a9d3c543                   Address Redacted                      First Class Mail
5dcc720c‐f7ff‐4cc2‐849c‐461ad1cbf930                   Address Redacted                      First Class Mail
5dcec7dc‐0773‐48a5‐89ef‐de6f47cded0d                   Address Redacted                      First Class Mail
5dced1de‐77d2‐4af9‐a507‐a80145629ee2                   Address Redacted                      First Class Mail
5dcf8667‐6197‐4095‐92dc‐cb0db9be159a                   Address Redacted                      First Class Mail
5dd09731‐9fa4‐473c‐9a8f‐8c8e9a214d80                   Address Redacted                      First Class Mail
5ddc1901‐e474‐43f6‐b464‐8132818009bf                   Address Redacted                      First Class Mail
5ddd8560‐09f1‐4ce6‐a472‐5ce0311aeb1f                   Address Redacted                      First Class Mail
5de28458‐a3d2‐45dc‐aa76‐80992bded8de                   Address Redacted                      First Class Mail
5de57e29‐6079‐4f6f‐8ccb‐077bff0d3e53                   Address Redacted                      First Class Mail
5de72d9e‐cded‐4608‐93d4‐8e8d615fe2cf                   Address Redacted                      First Class Mail
5de73309‐b171‐441e‐98c9‐d871a33e41e2                   Address Redacted                      First Class Mail
5de81962‐e865‐4719‐8006‐dfe41bfa2408                   Address Redacted                      First Class Mail
5deb5ebd‐62c9‐44ad‐8502‐17cdd021c292                   Address Redacted                      First Class Mail
5decf90f‐a240‐4ec5‐a172‐cad8ebae9ea2                   Address Redacted                      First Class Mail
5dee137d‐7776‐45e9‐93ff‐8ddbe3b2ab6f                   Address Redacted                      First Class Mail
5df3089b‐b676‐4367‐bdfe‐7b1564fbb2fb                   Address Redacted                      First Class Mail
5df95a49‐2ef8‐4633‐9114‐b7adcbcbc689                   Address Redacted                      First Class Mail
5e07fdae‐01bd‐4439‐8bba‐ced4df0f079d                   Address Redacted                      First Class Mail
5e0aa3a6‐a1b2‐4cd3‐ad64‐e982a326091d                   Address Redacted                      First Class Mail
5e145dda‐1bbf‐47d5‐be45‐d29fca99ca93                   Address Redacted                      First Class Mail
5e162dfb‐510b‐43de‐a904‐641aaa9c28c2                   Address Redacted                      First Class Mail
5e16f69b‐c509‐49f4‐8412‐93bd56a34f90                   Address Redacted                      First Class Mail
5e182409‐fdf4‐4a25‐b2c3‐d858864ccc74                   Address Redacted                      First Class Mail




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                                                                 Service List


                              Name                                              Address                         Method of Service
5e1a9f61‐3693‐4ba4‐b62f‐6d437b3ed513                   Address Redacted                      First Class Mail
5e1c4287‐f1fc‐4dda‐83af‐4f61b38900bc                   Address Redacted                      First Class Mail
5e1ebd14‐ccd3‐4599‐a57b‐76a0114718f6                   Address Redacted                      First Class Mail
5e1ffee5‐553a‐43a9‐a7e4‐6c460f696942                   Address Redacted                      First Class Mail
5e23dc55‐88f3‐4d0c‐9a74‐1958cbda6858                   Address Redacted                      First Class Mail
5e292506‐2874‐4fe7‐9d9f‐79270b6edd50                   Address Redacted                      First Class Mail
5e2ce278‐e1ff‐4cea‐8f65‐039025f229a0                   Address Redacted                      First Class Mail
5e2ec88a‐20c4‐4052‐af04‐91de72d27425                   Address Redacted                      First Class Mail
5e2ed3ce‐ae03‐4260‐bf4d‐16e53d0e5d5d                   Address Redacted                      First Class Mail
5e3195a9‐6bd5‐445a‐b4a5‐541ab31359a2                   Address Redacted                      First Class Mail
5e31d56b‐b286‐4b9f‐955a‐30a8c631512d                   Address Redacted                      First Class Mail
5e329ed3‐9063‐4def‐9ae3‐2cdc7d3ff186                   Address Redacted                      First Class Mail
5e32b5a8‐50a1‐4d0d‐83f5‐e168fce69c26                   Address Redacted                      First Class Mail
5e344023‐fdf2‐4697‐b71f‐55abed126354                   Address Redacted                      First Class Mail
5e3584d3‐dc3b‐45f3‐9574‐4622d9222db7                   Address Redacted                      First Class Mail
5e35b450‐253c‐42d7‐b61e‐b669fa0febc9                   Address Redacted                      First Class Mail
5e35ef95‐6c66‐4eeb‐8f8b‐25e3c241b113                   Address Redacted                      First Class Mail
5e361dde‐8ea1‐40fd‐b56c‐780143392f17                   Address Redacted                      First Class Mail
5e380b42‐fa04‐424f‐a202‐f5c9b7355723                   Address Redacted                      First Class Mail
5e3859f6‐7d1f‐4bad‐9da2‐56936ff7b673                   Address Redacted                      First Class Mail
5e3af10a‐67b2‐4b4a‐90ea‐6efa73e78d01                   Address Redacted                      First Class Mail
5e4357c2‐a827‐444c‐bbf5‐bfd1cdda13b6                   Address Redacted                      First Class Mail
5e460f46‐bade‐4893‐a383‐750603ddd834                   Address Redacted                      First Class Mail
5e49cf5a‐4151‐4759‐b707‐9bbab4c62e92                   Address Redacted                      First Class Mail
5e4a824d‐af40‐4526‐bbbf‐1db69cabbdb4                   Address Redacted                      First Class Mail
5e4a903f‐5bc2‐41b0‐92e6‐f889e512621a                   Address Redacted                      First Class Mail
5e4dbf55‐6eba‐4229‐9bb1‐1f7fdb89f4d9                   Address Redacted                      First Class Mail
5e4e064d‐af3e‐4f0e‐9626‐4d5bfbd6511e                   Address Redacted                      First Class Mail
5e4e62d4‐9c4b‐4686‐aa7c‐76f4effa7647                   Address Redacted                      First Class Mail
5e4edca6‐9a36‐496d‐8f1c‐82598c1906bd                   Address Redacted                      First Class Mail
5e5045df‐e2e2‐4a70‐b277‐b1dd6b1ca141                   Address Redacted                      First Class Mail
5e51851f‐4135‐4e5d‐ab37‐340870ff1779                   Address Redacted                      First Class Mail
5e51a238‐dca8‐4b68‐92a9‐8c00aca243e4                   Address Redacted                      First Class Mail
5e52b862‐daf8‐406b‐aaa4‐6a53677b26b5                   Address Redacted                      First Class Mail
5e52cfc5‐13ca‐4301‐9bc4‐68b371bac088                   Address Redacted                      First Class Mail
5e52f4d4‐4cbe‐4db5‐8e77‐3e6bdaf7465e                   Address Redacted                      First Class Mail
5e57dc94‐4d30‐40cd‐a106‐d7249cbb63e0                   Address Redacted                      First Class Mail
5e58272b‐c602‐4197‐8136‐d7ba2238279e                   Address Redacted                      First Class Mail
5e58704a‐b2e4‐4f99‐99e7‐ca9224dd96eb                   Address Redacted                      First Class Mail
5e5e03a1‐c267‐4134‐801e‐5616b32a4d75                   Address Redacted                      First Class Mail
5e5f7264‐5aa4‐4895‐bffe‐e73dbef6d6b1                   Address Redacted                      First Class Mail
5e62229a‐921a‐4829‐9be4‐fdf2087f0427                   Address Redacted                      First Class Mail
5e65af5f‐883f‐4a7b‐b735‐30444425e2ae                   Address Redacted                      First Class Mail
5e6d0ff8‐0492‐4937‐9bef‐e8bec2ba5cfb                   Address Redacted                      First Class Mail
5e6d7d0f‐ca32‐45ce‐8765‐20f649524935                   Address Redacted                      First Class Mail
5e6e29f5‐0346‐4f1a‐a8a9‐1d66bae57785                   Address Redacted                      First Class Mail
5e721b7b‐4a05‐4f36‐8b22‐f149fe4c41e4                   Address Redacted                      First Class Mail
5e724caf‐62a3‐4b00‐8566‐abafb7e8eaee                   Address Redacted                      First Class Mail
5e74a4f6‐2256‐4c19‐a42e‐3764c4f804d3                   Address Redacted                      First Class Mail
5e76c3cd‐dcb3‐44d4‐aeb8‐0b73405c23eb                   Address Redacted                      First Class Mail
5e88d12f‐a0e2‐4428‐8769‐0bf7530b24ed                   Address Redacted                      First Class Mail
5e8ef33d‐3b31‐4319‐9b29‐3287c91f1b7b                   Address Redacted                      First Class Mail
5e9007d0‐908b‐474f‐a14c‐d51e6a4472ee                   Address Redacted                      First Class Mail
5e925445‐be14‐47f7‐b4a1‐e4a6054a2281                   Address Redacted                      First Class Mail
5e94cf09‐4cf5‐4c74‐b278‐1fa7732794a7                   Address Redacted                      First Class Mail
5e981207‐df01‐4f00‐91c2‐8374cdaba0bb                   Address Redacted                      First Class Mail
5e99f315‐53a0‐43a9‐a696‐a11904ba3e10                   Address Redacted                      First Class Mail
5e99f8df‐9dc4‐4701‐9703‐0f06f5cb6794                   Address Redacted                      First Class Mail
5e9a2fe2‐a2e5‐42fa‐bd48‐5c50b2707374                   Address Redacted                      First Class Mail
5e9c9ec3‐58fb‐4894‐ac81‐7ed69a153557                   Address Redacted                      First Class Mail
5ea0aeec‐08f5‐46a2‐a932‐0a47925994ef                   Address Redacted                      First Class Mail
5ea20927‐83c6‐4822‐8a63‐23951a8d7fea                   Address Redacted                      First Class Mail
5ea411c0‐f85d‐4a34‐9d98‐b9aa046f6c11                   Address Redacted                      First Class Mail
5ea436f9‐062e‐4fdb‐8c57‐c60d6ad41f69                   Address Redacted                      First Class Mail
5ea6805d‐786a‐41d6‐b367‐0e26a142424f                   Address Redacted                      First Class Mail
5ea90c02‐6728‐4f31‐ad50‐3bb43ba61ad7                   Address Redacted                      First Class Mail
5ead4767‐833d‐4e59‐9d01‐074b45a77bb2                   Address Redacted                      First Class Mail
5eadbbf4‐08a0‐41bb‐afc5‐71894a9dc5ab                   Address Redacted                      First Class Mail
5eaefb2e‐37a1‐415c‐bdb3‐0152738234e4                   Address Redacted                      First Class Mail
5eb02707‐4af8‐437b‐b32e‐5a6330a3c0d6                   Address Redacted                      First Class Mail
5eb03df7‐11a8‐405b‐8bab‐0abd789b3a28                   Address Redacted                      First Class Mail
5eb30c0a‐85dc‐46f1‐a13f‐e2e9f35e3d23                   Address Redacted                      First Class Mail




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                                                                Exhibit A
                                                                 Service List


                              Name                                              Address                         Method of Service
5eb9440c‐1577‐4ed7‐83da‐3a630cf813ae                   Address Redacted                      First Class Mail
5ebc0547‐e898‐4ea5‐bd32‐a3ce91c5463c                   Address Redacted                      First Class Mail
5ec39a47‐5384‐4f16‐8077‐0732c465d7f7                   Address Redacted                      First Class Mail
5eca49f1‐4afd‐4036‐af26‐d2245c9187fa                   Address Redacted                      First Class Mail
5eca58c8‐6794‐43df‐a804‐46ff3b25e90a                   Address Redacted                      First Class Mail
5ecad3cb‐f8d9‐4244‐8d66‐55cc809b0080                   Address Redacted                      First Class Mail
5ecde3e6‐f21e‐4af6‐ba89‐ea33a6847107                   Address Redacted                      First Class Mail
5ed048f4‐2f14‐4297‐9b12‐d82093221da9                   Address Redacted                      First Class Mail
5ed6ce28‐8ae4‐47ba‐a573‐084863bc9969                   Address Redacted                      First Class Mail
5eda7bf5‐5aac‐4e53‐8da0‐1f6acac972ac                   Address Redacted                      First Class Mail
5edf50f4‐63d3‐42b5‐b375‐f888697f8e19                   Address Redacted                      First Class Mail
5ee15e9c‐7542‐4cf5‐89d3‐403ba0d5ef8a                   Address Redacted                      First Class Mail
5ee1a216‐4219‐4404‐95bf‐653f7902957a                   Address Redacted                      First Class Mail
5ee1e8ea‐778f‐4739‐b893‐affb1adaa81f                   Address Redacted                      First Class Mail
5ee81036‐bad2‐4f5f‐a781‐eeabaec0cf44                   Address Redacted                      First Class Mail
5eee02b2‐a9e4‐4e8f‐900c‐a93d12acfddf                   Address Redacted                      First Class Mail
5eeff79e‐a692‐4e41‐bbd2‐d274f2ef9de5                   Address Redacted                      First Class Mail
5ef1b3d1‐9e0b‐4ed4‐a77f‐7cce44ef0477                   Address Redacted                      First Class Mail
5ef8381a‐8f64‐4888‐9501‐21667b05999f                   Address Redacted                      First Class Mail
5ef8a75e‐0dbb‐4628‐92f9‐f48dadbfe0e0                   Address Redacted                      First Class Mail
5f0745b8‐c9b2‐452b‐9723‐720e5622b4f2                   Address Redacted                      First Class Mail
5f09e12c‐04ce‐4379‐93bc‐df5ef8b10b28                   Address Redacted                      First Class Mail
5f0b8d54‐89b6‐4546‐819e‐0e2cddfe432e                   Address Redacted                      First Class Mail
5f1033d7‐7b79‐467b‐8ff0‐8ae0fbc7941c                   Address Redacted                      First Class Mail
5f136ce2‐47f3‐4cc8‐b695‐0efa2c19b858                   Address Redacted                      First Class Mail
5f151754‐8180‐4983‐badc‐7463e982ee40                   Address Redacted                      First Class Mail
5f16606d‐f895‐484b‐9e24‐81da744ab71d                   Address Redacted                      First Class Mail
5f1d4e48‐1ab4‐4869‐af81‐af0cb88eb332                   Address Redacted                      First Class Mail
5f1e55eb‐0832‐4ccc‐9aa7‐b68f9c2cb4aa                   Address Redacted                      First Class Mail
5f1fde0c‐d31a‐4f23‐8924‐c5e836174901                   Address Redacted                      First Class Mail
5f212872‐e207‐4fd0‐b19d‐9c1d275db926                   Address Redacted                      First Class Mail
5f21f9e6‐3abd‐47a9‐90e3‐de4b8c3ab6ad                   Address Redacted                      First Class Mail
5f2373fb‐f575‐4561‐adff‐08dab6504910                   Address Redacted                      First Class Mail
5f2556eb‐a68c‐498b‐8455‐315cb8141cf7                   Address Redacted                      First Class Mail
5f255fad‐f8c8‐4a8f‐8ae4‐2c68417f2933                   Address Redacted                      First Class Mail
5f270990‐b472‐4554‐822e‐b659092df4e7                   Address Redacted                      First Class Mail
5f281799‐1fad‐4ab5‐9290‐aa422c0e571f                   Address Redacted                      First Class Mail
5f287224‐069e‐41a3‐a50c‐5b30555cc9b9                   Address Redacted                      First Class Mail
5f2ad3ab‐c6a5‐4008‐9661‐06e81264ddc2                   Address Redacted                      First Class Mail
5f2b1bc8‐7496‐45a7‐90cd‐24a1a2d66306                   Address Redacted                      First Class Mail
5f2c1472‐8290‐4592‐946f‐d95a03ccaf3c                   Address Redacted                      First Class Mail
5f2ee8ea‐3adb‐4d96‐9bbe‐1814e8548d6c                   Address Redacted                      First Class Mail
5f32c9ef‐423b‐4057‐b26b‐581fa4626444                   Address Redacted                      First Class Mail
5f3dcbca‐0220‐4ac7‐b730‐751d4545d567                   Address Redacted                      First Class Mail
5f3e9171‐31b3‐4ba3‐a5fb‐aa73ae5bf15d                   Address Redacted                      First Class Mail
5f3f5cbd‐c044‐496f‐9dcd‐6994cc75bb3c                   Address Redacted                      First Class Mail
5f4811dd‐26f1‐4437‐817f‐32193dbca4f3                   Address Redacted                      First Class Mail
5f4db005‐d736‐44e7‐86b8‐05d069083843                   Address Redacted                      First Class Mail
5f4e3b93‐8829‐4690‐927e‐faa36f4d3c38                   Address Redacted                      First Class Mail
5f4f61e6‐bd52‐438a‐b5e1‐c3c8ad1a80ad                   Address Redacted                      First Class Mail
5f4f7c23‐fc99‐4b86‐a51b‐cdf17d8a32cc                   Address Redacted                      First Class Mail
5f501919‐3d75‐4831‐822d‐6ae0b71d24b4                   Address Redacted                      First Class Mail
5f52aa1c‐64d6‐403f‐955e‐5ec853998bdd                   Address Redacted                      First Class Mail
5f53451a‐3b48‐4f3e‐9187‐14d7e40de053                   Address Redacted                      First Class Mail
5f5506b4‐6194‐4b43‐9fcf‐1a82efcfbf19                   Address Redacted                      First Class Mail
5f55cd30‐826e‐4571‐b899‐939add7df8f1                   Address Redacted                      First Class Mail
5f56c8a8‐3bcd‐42df‐9148‐ad6784a43b7b                   Address Redacted                      First Class Mail
5f58150c‐de9a‐46fa‐8f2c‐fa74dee9622e                   Address Redacted                      First Class Mail
5f598ade‐c78c‐4d23‐a3e9‐c8ba170ddbd3                   Address Redacted                      First Class Mail
5f5b02d5‐1626‐42f6‐863c‐54cdb1d68a9c                   Address Redacted                      First Class Mail
5f5c62df‐f688‐4462‐a83c‐79436610184c                   Address Redacted                      First Class Mail
5f5f4c07‐d840‐43e8‐bb65‐3a18d2c36f13                   Address Redacted                      First Class Mail
5f61dc49‐e190‐466a‐a7b8‐5383579d12dc                   Address Redacted                      First Class Mail
5f627360‐5239‐4028‐8979‐8abe4442bf69                   Address Redacted                      First Class Mail
5f633d4f‐06f5‐4b62‐b1f1‐8aea237287f3                   Address Redacted                      First Class Mail
5f646e59‐b615‐42c7‐8ede‐d967896bfdb9                   Address Redacted                      First Class Mail
5f699177‐4798‐4929‐a6b4‐e8423c3dedcd                   Address Redacted                      First Class Mail
5f6bbb67‐c9d8‐4d99‐88cd‐652889828c26                   Address Redacted                      First Class Mail
5f6d17b0‐c416‐4f0e‐bb5f‐5aecec99ef42                   Address Redacted                      First Class Mail
5f6e6c18‐8b50‐4f3b‐b34e‐5d039e0d7cf4                   Address Redacted                      First Class Mail
5f70a864‐31d5‐4aad‐8e00‐c17b38384810                   Address Redacted                      First Class Mail
5f72ddb5‐ba76‐4b86‐91a4‐df33576f38be                   Address Redacted                      First Class Mail




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                                                                Exhibit A
                                                                 Service List


                               Name                                             Address                         Method of Service
5f741ce3‐d572‐49ed‐8040‐f1a0abfc51d4                   Address Redacted                      First Class Mail
5f778e01‐ca51‐46ab‐a1fe‐a277d5736282                   Address Redacted                      First Class Mail
5f7a90d8‐a122‐4e95‐9d24‐318cdef42f3d                   Address Redacted                      First Class Mail
5f7b973c‐37d4‐4619‐b01c‐017fda4210f8                   Address Redacted                      First Class Mail
5f80990c‐e7c6‐4ac1‐9583‐8422ccb86f98                   Address Redacted                      First Class Mail
5f81f232‐4895‐4d95‐a491‐d0aca4affe53                   Address Redacted                      First Class Mail
5f8512f7‐d7b9‐4972‐86db‐1a5e6667ec9e                   Address Redacted                      First Class Mail
5f8aa01d‐4bb9‐45b3‐8ad5‐7ea8e8257943                   Address Redacted                      First Class Mail
5f8ef135‐a3dd‐4748‐b91e‐b65f8e8112ab                   Address Redacted                      First Class Mail
5f8f9afb‐263a‐4b00‐be6a‐1178295a1499                   Address Redacted                      First Class Mail
5f95c0e8‐9ba5‐4552‐ae95‐810c4b5ae2ed                   Address Redacted                      First Class Mail
5f9d1769‐bbe3‐4dc5‐be8f‐28f6eb2db350                   Address Redacted                      First Class Mail
5f9ec6d6‐7834‐4a5a‐852b‐1e0f4b7f960c                   Address Redacted                      First Class Mail
5f9f087f‐269b‐422f‐88c3‐cf65f941a32b                   Address Redacted                      First Class Mail
5f9feab0‐011b‐4204‐b943‐1f90c971f665                   Address Redacted                      First Class Mail
5f9ff415‐09f2‐42a1‐90e4‐87b1cdfac54d                   Address Redacted                      First Class Mail
5f9ff8e3‐881e‐40ca‐99f0‐5f3a3f8f3236                   Address Redacted                      First Class Mail
5fa2a15b‐f3a0‐4b76‐a4f4‐4c31707ec55b                   Address Redacted                      First Class Mail
5fa31abf‐4569‐44e5‐a10d‐b1593aaa60ac                   Address Redacted                      First Class Mail
5fa3a739‐5e2a‐456b‐ba25‐1084ffc2dc64                   Address Redacted                      First Class Mail
5fa6a060‐9701‐43b1‐8ac8‐3c9c214b30c2                   Address Redacted                      First Class Mail
5fa7f4d8‐024d‐4843‐9bb0‐8b20731cf037                   Address Redacted                      First Class Mail
5fa9f01d‐73da‐49e6‐9d4b‐ef8a5b73710f                   Address Redacted                      First Class Mail
5faa2554‐1db2‐4bc0‐a52c‐09b3728aa11e                   Address Redacted                      First Class Mail
5faa6e14‐12cf‐4756‐9e0d‐cd0f69b1bedd                   Address Redacted                      First Class Mail
5faac571‐7254‐478e‐b935‐e9c58475aa55                   Address Redacted                      First Class Mail
5fab0c48‐d845‐4f97‐ba8f‐645421e73477                   Address Redacted                      First Class Mail
5faeda14‐0cb8‐4d91‐9b1d‐d9695e7e293f                   Address Redacted                      First Class Mail
5fb14dc1‐28a7‐45d5‐857f‐688595ac9cdb                   Address Redacted                      First Class Mail
5fbca2ba‐7f9b‐4bb2‐b21b‐205acc1b57d6                   Address Redacted                      First Class Mail
5fbd35dc‐89a4‐4923‐8072‐a3ab87f0d7fb                   Address Redacted                      First Class Mail
5fbdb19f‐754d‐4755‐b000‐427d0a2631af                   Address Redacted                      First Class Mail
5fc11881‐66c4‐4a0f‐bf13‐2831fa9da8bf                   Address Redacted                      First Class Mail
5fc2f914‐c646‐4b38‐8ad9‐21be729e39aa                   Address Redacted                      First Class Mail
5fc33b96‐8f0a‐42da‐bf73‐6c4b262a9733                   Address Redacted                      First Class Mail
5fc869ae‐4d4e‐4b6a‐9f6c‐329476cdb316                   Address Redacted                      First Class Mail
5fcab01e‐99af‐49c8‐bf6e‐63ebd2e9be8e                   Address Redacted                      First Class Mail
5fcf4d72‐2f68‐459c‐90b1‐840a3ac9b9d6                   Address Redacted                      First Class Mail
5fd02fcf‐f5fb‐4337‐9577‐f10fb53ea253                   Address Redacted                      First Class Mail
5fd1c3b8‐0e1a‐4b1f‐8b72‐8cd6aa90f894                   Address Redacted                      First Class Mail
5fd1e2c5‐ed53‐4180‐8f8d‐5d6542b4350c                   Address Redacted                      First Class Mail
5fd387b8‐1765‐461b‐a900‐01c13c224ce7                   Address Redacted                      First Class Mail
5fd543e5‐5a4b‐4e0c‐9658‐1c5839672149                   Address Redacted                      First Class Mail
5fd61e80‐119b‐4c3d‐8f77‐5b64588ee8e0                   Address Redacted                      First Class Mail
5fd951df‐3725‐4fca‐a759‐22e697d8fc65                   Address Redacted                      First Class Mail
5fda02e7‐c976‐4919‐ad8f‐9e04b54e96fb                   Address Redacted                      First Class Mail
5fda68f5‐df19‐4f67‐bf1c‐f80a6e7ae4dc                   Address Redacted                      First Class Mail
5fdb0bd0‐bfd4‐4e34‐86d3‐bf1a660056ba                   Address Redacted                      First Class Mail
5fdf4201‐eab7‐48c1‐aa78‐2df61c89ce63                   Address Redacted                      First Class Mail
5fe0a467‐728f‐4e8b‐9eb6‐c06aa0f35e91                   Address Redacted                      First Class Mail
5fe14ea4‐3e0f‐48f5‐bd64‐c8978b2c87c9                   Address Redacted                      First Class Mail
5fe1aef2‐8f74‐460b‐bcbb‐0d6608adccef                   Address Redacted                      First Class Mail
5fe1d2d8‐06ee‐4d8f‐8e18‐d63660c358b4                   Address Redacted                      First Class Mail
5fe43910‐4d81‐4502‐8486‐3efb4d7df5db                   Address Redacted                      First Class Mail
5fe817c7‐bbe7‐4ced‐ab5a‐17cbdd04bb73                   Address Redacted                      First Class Mail
5fea6b1a‐0a6d‐4e6d‐9430‐33e41a587a11                   Address Redacted                      First Class Mail
5fea83eb‐4e0c‐4557‐b0b6‐bdb85da42e4d                   Address Redacted                      First Class Mail
5feb39a6‐343b‐4d93‐abb1‐5a320b417ece                   Address Redacted                      First Class Mail
5fedf395‐2d5a‐4759‐8a97‐4f30b00aa574                   Address Redacted                      First Class Mail
5feffd88‐d3c6‐4397‐baab‐a0afd6b6023a                   Address Redacted                      First Class Mail
5ff0679f‐83fe‐4884‐986e‐0afc745e3224                   Address Redacted                      First Class Mail
5ff38ba9‐e4a0‐4ac2‐b1bc‐692f780ffb4a                   Address Redacted                      First Class Mail
5ff58947‐89ea‐4182‐a09e‐8ad2bcd7f93b                   Address Redacted                      First Class Mail
5ffedcee‐58a7‐412c‐ae56‐9420e85f9619                   Address Redacted                      First Class Mail
60002d77‐4c50‐4cf3‐aa9b‐ee5500447b52                   Address Redacted                      First Class Mail
6001aa92‐f34d‐4564‐af80‐ad54ecc17ada                   Address Redacted                      First Class Mail
60047892‐72c8‐4463‐af5f‐28d1addcfaba                   Address Redacted                      First Class Mail
60047bcb‐2dd4‐44ba‐8972‐e4ca891a4d24                   Address Redacted                      First Class Mail
6006ca2c‐68c1‐4e2e‐b2fa‐8c9b5dcd657e                   Address Redacted                      First Class Mail
60098d82‐cdac‐4167‐8edf‐619149b68fd5                   Address Redacted                      First Class Mail
600c89f0‐f867‐4bea‐8e1f‐f769c9d0aff0                   Address Redacted                      First Class Mail
600ca6fe‐7e51‐456f‐8698‐176cf54c7995                   Address Redacted                      First Class Mail




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                              Name                                              Address                         Method of Service
600da9dd‐cf40‐4ea1‐afa1‐ea71fbe84d22                   Address Redacted                      First Class Mail
600e9233‐ebfb‐4d6c‐865d‐bea10375fc46                   Address Redacted                      First Class Mail
6011eff6‐3b66‐494a‐bcd8‐f458379993b9                   Address Redacted                      First Class Mail
60141f2f‐7c6a‐4c9f‐92dd‐fd83aea1f3d0                   Address Redacted                      First Class Mail
60142f51‐10ec‐4c81‐b9e6‐b6772863a913                   Address Redacted                      First Class Mail
6014fac4‐b479‐4b91‐9061‐d7ac097f8c04                   Address Redacted                      First Class Mail
60153ee9‐2ec4‐4cfb‐af33‐3c77522cc6e9                   Address Redacted                      First Class Mail
6019e5af‐0d80‐4d1e‐b036‐e25433bc47e4                   Address Redacted                      First Class Mail
601ad10a‐5b5e‐4aac‐8553‐9fe783575f35                   Address Redacted                      First Class Mail
601ece51‐686d‐488a‐b0df‐b4c29dd2e4ff                   Address Redacted                      First Class Mail
601f3148‐a590‐48e6‐b9f2‐b5303899bfe6                   Address Redacted                      First Class Mail
60214fe0‐d65a‐4f8e‐8a61‐8a64221eb2bd                   Address Redacted                      First Class Mail
60216a88‐a014‐43e8‐b2a1‐3333bfcd214a                   Address Redacted                      First Class Mail
602262a7‐7ef4‐4b16‐957e‐1b4793b35688                   Address Redacted                      First Class Mail
602610c1‐aaf3‐47ca‐bae7‐dc7ae751ad86                   Address Redacted                      First Class Mail
60268fc1‐4e8b‐43f0‐8586‐2ec98fd00618                   Address Redacted                      First Class Mail
6029258f‐5771‐4b3b‐a953‐a91d00fb0d75                   Address Redacted                      First Class Mail
602db998‐a522‐4db5‐9a83‐88cffa71f147                   Address Redacted                      First Class Mail
602ef788‐fe7c‐4a5b‐9aff‐7761167fbf85                   Address Redacted                      First Class Mail
60306c19‐4a3d‐451f‐a750‐019b71752b03                   Address Redacted                      First Class Mail
60328dca‐62ba‐401c‐af5d‐d59feabe6c12                   Address Redacted                      First Class Mail
6034079f‐cb33‐474d‐beef‐6b84a5109d6d                   Address Redacted                      First Class Mail
60389ba6‐73d9‐4ec3‐a0b4‐4305c459e102                   Address Redacted                      First Class Mail
6038b4f3‐717c‐4a43‐957f‐bff69f6ae38d                   Address Redacted                      First Class Mail
603c2519‐d144‐4d06‐9328‐537142fc2bd2                   Address Redacted                      First Class Mail
603c40db‐fa51‐4ede‐aca7‐854077b798f9                   Address Redacted                      First Class Mail
603c736f‐686a‐4c35‐a29d‐67822cef865f                   Address Redacted                      First Class Mail
603ed2f1‐fba2‐4c9c‐8b0e‐d9b667c58652                   Address Redacted                      First Class Mail
603f6d5f‐eecb‐412f‐a61b‐8a54365e305a                   Address Redacted                      First Class Mail
6040f4b2‐fc08‐4b05‐b53d‐60652e628298                   Address Redacted                      First Class Mail
60447219‐3ff4‐41e4‐a5f8‐47cb6fcba53e                   Address Redacted                      First Class Mail
60513fe9‐c9ba‐49ff‐8d9e‐b9ddb9ec2403                   Address Redacted                      First Class Mail
60542d13‐4bce‐4efa‐ba8a‐2bd4eaa32fd3                   Address Redacted                      First Class Mail
6057124b‐23be‐4066‐b0fa‐23e346201d3a                   Address Redacted                      First Class Mail
605746dc‐4ac8‐430a‐9953‐dca671f434c4                   Address Redacted                      First Class Mail
60588383‐f0ac‐401d‐8e5f‐c6451e985f84                   Address Redacted                      First Class Mail
6059c6f5‐c5b2‐43bf‐8f47‐22dba8e959e8                   Address Redacted                      First Class Mail
605dda6e‐b4cc‐41b2‐8b64‐909aca42c053                   Address Redacted                      First Class Mail
60613490‐daf7‐4e1b‐b0be‐ee8190d6768e                   Address Redacted                      First Class Mail
606663ba‐51c3‐4bbc‐a5ab‐5255491396bd                   Address Redacted                      First Class Mail
606859f7‐dcef‐4412‐acc1‐f5a160512d91                   Address Redacted                      First Class Mail
606900d9‐30ba‐4325‐8b86‐b7d1b0464e9c                   Address Redacted                      First Class Mail
606aa99a‐b264‐4adf‐b99f‐9384cac74cc4                   Address Redacted                      First Class Mail
60740f0a‐e03c‐46eb‐986a‐ff9205a33b9c                   Address Redacted                      First Class Mail
607437d6‐4d2f‐4884‐8247‐2002751667b4                   Address Redacted                      First Class Mail
6074d53d‐1a37‐4f04‐a34f‐f08038728a8f                   Address Redacted                      First Class Mail
6076bd2c‐331e‐4b5f‐9a2c‐42ea59d8c2de                   Address Redacted                      First Class Mail
607d32b7‐f07c‐493a‐9b53‐ff8534cfed58                   Address Redacted                      First Class Mail
6082b85c‐0901‐4471‐8896‐c89817f97c02                   Address Redacted                      First Class Mail
6085b7dd‐19d8‐4cf0‐a992‐bcafd9e4163a                   Address Redacted                      First Class Mail
608655fd‐0042‐4c46‐a9dd‐889db233407c                   Address Redacted                      First Class Mail
6087dc2f‐1918‐4f6f‐aec1‐3907ff062706                   Address Redacted                      First Class Mail
608b3fe8‐9765‐4bb4‐9798‐c2be32833d6d                   Address Redacted                      First Class Mail
608f0e8e‐77d4‐4ce9‐9da0‐2071903d470e                   Address Redacted                      First Class Mail
6091f38a‐0275‐4565‐90af‐390a1b2e2bfa                   Address Redacted                      First Class Mail
6093d8eb‐46bf‐458e‐9fbf‐c2fd450fcec2                   Address Redacted                      First Class Mail
60967460‐7e28‐4599‐b7d8‐172dccff1872                   Address Redacted                      First Class Mail
6099989d‐3bc1‐48a9‐98e1‐5f4be6dee569                   Address Redacted                      First Class Mail
609cc7ba‐dbee‐432d‐85b8‐cab7f30ee3d6                   Address Redacted                      First Class Mail
609ee1fa‐35b3‐4b8a‐a163‐b3ae92441287                   Address Redacted                      First Class Mail
609fe13f‐382b‐40ac‐bbea‐a9209026333d                   Address Redacted                      First Class Mail
60a0eeda‐c118‐4b26‐9307‐eee583ec6629                   Address Redacted                      First Class Mail
60a2f444‐cd09‐43e3‐aa89‐a5916ccd2b5e                   Address Redacted                      First Class Mail
60a30646‐cedc‐44c0‐9d74‐c1b1a87209a3                   Address Redacted                      First Class Mail
60a3c1f7‐6b43‐4807‐887d‐c81d7d3b469e                   Address Redacted                      First Class Mail
60a4ac2d‐bbf5‐4b56‐a991‐91f00ad17256                   Address Redacted                      First Class Mail
60a6d55d‐1c94‐4e41‐b40f‐656baeabe8fe                   Address Redacted                      First Class Mail
60a7312c‐2a3f‐45f9‐b648‐0318a18d061d                   Address Redacted                      First Class Mail
60a7493e‐1512‐4db3‐8ab9‐c9723b117fea                   Address Redacted                      First Class Mail
60a8c1e9‐3ea5‐4bc2‐9da2‐4e805e16539b                   Address Redacted                      First Class Mail
60a972fe‐8fd1‐448f‐8fe8‐f243e157ef62                   Address Redacted                      First Class Mail
60aaa16d‐9cf6‐4c8f‐a0c6‐1c24d98a9c04                   Address Redacted                      First Class Mail




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                               Name                                             Address                         Method of Service
60ab6205‐d893‐4d40‐8c71‐97b270534af9                   Address Redacted                      First Class Mail
60ab9d3f‐5987‐4824‐b91e‐3f66f06030e5                   Address Redacted                      First Class Mail
60ac6de4‐ed94‐4b48‐a25e‐f5be1806a487                   Address Redacted                      First Class Mail
60ae474d‐50b3‐4ee6‐8456‐8c526ae4c356                   Address Redacted                      First Class Mail
60b529f1‐3a5f‐45a4‐9907‐5d83fbc79f52                   Address Redacted                      First Class Mail
60b7886f‐3200‐4294‐9fba‐3b16b119c28c                   Address Redacted                      First Class Mail
60b7e303‐d7a7‐49d1‐abf5‐e452d65837d1                   Address Redacted                      First Class Mail
60b864e5‐f98c‐4956‐abe7‐6855f025edb4                   Address Redacted                      First Class Mail
60ba77d1‐3412‐4fd1‐9a63‐f187cafc950c                   Address Redacted                      First Class Mail
60bcf515‐c25e‐4e58‐8b06‐05fd44e34cc4                   Address Redacted                      First Class Mail
60bd1d90‐41f1‐40d2‐bac4‐71b6cb8ed8b2                   Address Redacted                      First Class Mail
60bd4c2c‐c1a3‐4785‐a2e8‐65e02e9721d3                   Address Redacted                      First Class Mail
60c10021‐416e‐4dd3‐a481‐ec458de56d68                   Address Redacted                      First Class Mail
60c22cf9‐991f‐4b66‐a0e4‐68b4fa6fe6ba                   Address Redacted                      First Class Mail
60c2a142‐92c5‐4649‐bbd7‐4c64ae9461d6                   Address Redacted                      First Class Mail
60c36acc‐89be‐431a‐a045‐ada93097d15b                   Address Redacted                      First Class Mail
60c5db6d‐84de‐442a‐b180‐e0af71da6954                   Address Redacted                      First Class Mail
60c783a2‐7982‐4d26‐8046‐96bcca6e3607                   Address Redacted                      First Class Mail
60cc3bc5‐ba42‐44b7‐baa1‐a16a08b8266c                   Address Redacted                      First Class Mail
60d4e799‐e0b9‐42bc‐a8a2‐ee570bb71edf                   Address Redacted                      First Class Mail
60d8365e‐2f4c‐41e6‐9c74‐750247c737ac                   Address Redacted                      First Class Mail
60da0ead‐4cd1‐44a0‐b316‐a47c4451621a                   Address Redacted                      First Class Mail
60df1156‐1364‐4e67‐ac29‐13062f524271                   Address Redacted                      First Class Mail
60df2487‐02c7‐4b39‐ad7c‐87c64ae97da4                   Address Redacted                      First Class Mail
60e3181e‐d58a‐4f87‐bcde‐27a1fd10e52c                   Address Redacted                      First Class Mail
60e327bb‐d0ae‐4e10‐a257‐a969dc307153                   Address Redacted                      First Class Mail
60e5969c‐7df4‐4d63‐a2c6‐3d24178afef2                   Address Redacted                      First Class Mail
60eaa8b6‐c8fa‐4f6d‐aeb2‐8a9adfdba2d7                   Address Redacted                      First Class Mail
60ef057f‐3e05‐499d‐9f71‐35baf741d727                   Address Redacted                      First Class Mail
60f01b89‐8b1e‐4b7c‐999b‐a5fb51d05535                   Address Redacted                      First Class Mail
60f16cbd‐9b3e‐497b‐92f3‐8d75b1660d29                   Address Redacted                      First Class Mail
60f48297‐61d4‐4123‐9f97‐3f31c7962967                   Address Redacted                      First Class Mail
60f4ebe6‐9b6b‐49ef‐bc18‐1730061f007c                   Address Redacted                      First Class Mail
60fb0268‐bff1‐4299‐89f3‐8f56e7a81efd                   Address Redacted                      First Class Mail
60fcbf0d‐3d44‐4a92‐a8e0‐7e4d5a977abd                   Address Redacted                      First Class Mail
60fd1c6e‐de0c‐441b‐8ae7‐1936e2c788db                   Address Redacted                      First Class Mail
60fdc4ca‐2d39‐48ce‐ad82‐db7b127766ee                   Address Redacted                      First Class Mail
60ff7048‐6104‐4f15‐a070‐8e5d33fcae02                   Address Redacted                      First Class Mail
6100ff7a‐74d7‐4171‐8266‐e6b346cabc4e                   Address Redacted                      First Class Mail
610404e6‐1dfc‐4dd8‐8af5‐148f5a66fa4e                   Address Redacted                      First Class Mail
61056b4f‐0fd1‐4a0a‐a8f8‐7e8f1d5d5378                   Address Redacted                      First Class Mail
610acdcf‐947e‐4c64‐8823‐38f9c06ab7b9                   Address Redacted                      First Class Mail
610cc4ed‐c21f‐49ad‐a71d‐d03f4b19b496                   Address Redacted                      First Class Mail
610fed9f‐93bd‐43b4‐bbaa‐730dd3d9f10c                   Address Redacted                      First Class Mail
611b2237‐683c‐46a8‐abe4‐2d8b78ed9e10                   Address Redacted                      First Class Mail
611e6b93‐71d3‐4bb3‐a379‐9c746eb76dfc                   Address Redacted                      First Class Mail
61207186‐5f67‐4116‐bf9e‐71033a81a6f7                   Address Redacted                      First Class Mail
61226d82‐f335‐45f7‐bea3‐e51e5eb49ebf                   Address Redacted                      First Class Mail
612b5074‐ebdc‐44dd‐bbf7‐6a8a58b315aa                   Address Redacted                      First Class Mail
612b8f27‐79cf‐4d35‐8b3f‐89fd392b077f                   Address Redacted                      First Class Mail
612df279‐b9a1‐42a4‐b2ac‐92ad3bd18ac0                   Address Redacted                      First Class Mail
61333abd‐8578‐4d76‐ac63‐55a0c532b646                   Address Redacted                      First Class Mail
6134626a‐d0f2‐49c7‐873d‐cdaf289874ed                   Address Redacted                      First Class Mail
6135e1ef‐c21f‐4a3f‐acd4‐45decd69b29e                   Address Redacted                      First Class Mail
6136102e‐1f1b‐4275‐a6d2‐ebed40808289                   Address Redacted                      First Class Mail
613619ce‐ef64‐4f2e‐866c‐1e1c1c99b6d7                   Address Redacted                      First Class Mail
613d49e7‐c423‐4856‐81b9‐468f790b57bc                   Address Redacted                      First Class Mail
613fa9c1‐6e60‐44c7‐b5c3‐5e68514f1e96                   Address Redacted                      First Class Mail
6141e361‐7a31‐45d2‐8d5c‐70fb55f09314                   Address Redacted                      First Class Mail
6142fa0f‐1c90‐4faf‐9e8a‐f84fa2d56aa3                   Address Redacted                      First Class Mail
61477cc3‐f97f‐4e3c‐872c‐8d92bdee9df5                   Address Redacted                      First Class Mail
6149be1c‐b1b0‐46c9‐9ce9‐8075d19b9cab                   Address Redacted                      First Class Mail
614b3538‐15c9‐4a78‐b07c‐3746c2315546                   Address Redacted                      First Class Mail
6151cd6c‐882e‐4bbd‐a6b5‐48289981bc97                   Address Redacted                      First Class Mail
6151f427‐04a9‐4a0c‐9917‐d010b62f55bb                   Address Redacted                      First Class Mail
615226bb‐1302‐4f74‐ac0c‐5b5351aa22f2                   Address Redacted                      First Class Mail
61540e60‐55a6‐4092‐bcc1‐1a509078191b                   Address Redacted                      First Class Mail
6154200f‐e2ea‐4b3d‐8363‐fb53c114ae1d                   Address Redacted                      First Class Mail
615589fe‐8647‐4fe4‐a03f‐1bb36fec70f3                   Address Redacted                      First Class Mail
615b0456‐1401‐4ebe‐a62e‐a93845676501                   Address Redacted                      First Class Mail
615de70e‐3f56‐4eb7‐b0a1‐ede5ff0da975                   Address Redacted                      First Class Mail
615fcd0f‐92bc‐4003‐b858‐4c8e22500351                   Address Redacted                      First Class Mail




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                                                                 Service List


                               Name                                             Address                         Method of Service
6160ad23‐fc74‐42cb‐99db‐b8258aff8a87                   Address Redacted                      First Class Mail
6164bc65‐968f‐4d11‐a5f7‐387e6c9d5571                   Address Redacted                      First Class Mail
6165dfde‐3d5d‐4ae7‐8462‐649b40043681                   Address Redacted                      First Class Mail
616b2b2d‐c06e‐447f‐abef‐bff306307b1f                   Address Redacted                      First Class Mail
616d7304‐cd3a‐4279‐be90‐efb548bb2577                   Address Redacted                      First Class Mail
616fea11‐7f03‐4d61‐ad4c‐95c8b132fbab                   Address Redacted                      First Class Mail
61701072‐5ee8‐42d7‐b467‐73306691193a                   Address Redacted                      First Class Mail
61723238‐49c2‐4219‐9ae7‐ba8a74b487fd                   Address Redacted                      First Class Mail
61745f39‐0b6d‐4243‐9910‐aa06fd52507f                   Address Redacted                      First Class Mail
61758aee‐7856‐4ff9‐9c3e‐ea9e765fdb90                   Address Redacted                      First Class Mail
61766c74‐0e25‐4551‐8eef‐bc4ecabba89c                   Address Redacted                      First Class Mail
617954e0‐68e3‐4f5f‐816b‐fcbb0edb4627                   Address Redacted                      First Class Mail
617d2e2a‐7c0f‐4812‐91ec‐c42f41ae4078                   Address Redacted                      First Class Mail
61809b61‐e4ad‐41cf‐b963‐cd1b27b45a24                   Address Redacted                      First Class Mail
6181c519‐2522‐40b9‐83a1‐4fafbaa08e2e                   Address Redacted                      First Class Mail
61821799‐0899‐4815‐810e‐cc022547ec3f                   Address Redacted                      First Class Mail
618433df‐f4ab‐4981‐abef‐cadc1484c27a                   Address Redacted                      First Class Mail
6185f05a‐c8cf‐433e‐a5de‐c8a36b481d75                   Address Redacted                      First Class Mail
61887bcf‐06a1‐45a7‐b5a2‐e5d200c0592a                   Address Redacted                      First Class Mail
618aa713‐a6cc‐4187‐b8b7‐85b96a1296f9                   Address Redacted                      First Class Mail
618c89f8‐82b9‐4ad6‐90ca‐2c8ded95a146                   Address Redacted                      First Class Mail
618f9d2f‐a3bb‐4b77‐8620‐6cba2d03820a                   Address Redacted                      First Class Mail
6190c318‐7b10‐4c70‐88c7‐8607c1898984                   Address Redacted                      First Class Mail
6191fef7‐db73‐419a‐9f9a‐af1f7e799bbf                   Address Redacted                      First Class Mail
61927e96‐2664‐4efa‐bc31‐8ce7b39b09f0                   Address Redacted                      First Class Mail
6193d888‐f169‐4f2a‐a198‐77f633f04396                   Address Redacted                      First Class Mail
619497fe‐7994‐4e3b‐b6f6‐0e87ea1ece67                   Address Redacted                      First Class Mail
6198ad1f‐7f8f‐43fb‐acc0‐fe56a47efae1                   Address Redacted                      First Class Mail
6199414c‐8d10‐4a5a‐9864‐9ebaaa0ba8fc                   Address Redacted                      First Class Mail
619b2561‐6054‐45e5‐85c0‐7e0cc1527c02                   Address Redacted                      First Class Mail
619c9cd9‐4670‐443f‐930f‐050b9b9231de                   Address Redacted                      First Class Mail
619cdeab‐55d2‐4186‐b605‐66c8b8f37c2f                   Address Redacted                      First Class Mail
619df7d6‐4d90‐4c39‐a65c‐7f01053a2839                   Address Redacted                      First Class Mail
619e113b‐e9a8‐40a4‐a3c2‐faf20e8b6ae9                   Address Redacted                      First Class Mail
619f9f17‐18a4‐4f73‐8dcf‐fea05896fe44                   Address Redacted                      First Class Mail
61a29d15‐5e1d‐4a49‐bec9‐e8d1a5ec1b0d                   Address Redacted                      First Class Mail
61a96761‐019a‐44c8‐938b‐63ba11a4d7e1                   Address Redacted                      First Class Mail
61aabc38‐79f4‐4162‐a4de‐4098329a416a                   Address Redacted                      First Class Mail
61abdf96‐ac0b‐4c7e‐8647‐6f6ed44a6690                   Address Redacted                      First Class Mail
61b0cbb3‐8a4a‐40dd‐996c‐a060f385c9e3                   Address Redacted                      First Class Mail
61b4d328‐9f61‐4cbb‐ad96‐e18a6c24f4f7                   Address Redacted                      First Class Mail
61b50df4‐e513‐4d4e‐87d6‐e6c4b826edbf                   Address Redacted                      First Class Mail
61b5524c‐cade‐4b85‐bf16‐a2b8a63c727d                   Address Redacted                      First Class Mail
61b55576‐85d3‐4fff‐897b‐11f59475034e                   Address Redacted                      First Class Mail
61b63a4f‐882a‐4639‐aed8‐d0c99b47229a                   Address Redacted                      First Class Mail
61b86f95‐635c‐4385‐a601‐ce7dbf3091d0                   Address Redacted                      First Class Mail
61be8bb5‐c895‐4973‐a2ca‐8e3e8f119baf                   Address Redacted                      First Class Mail
61bf2e17‐4644‐4a7c‐967e‐2c79bd24a9fd                   Address Redacted                      First Class Mail
61c2aaef‐a5e4‐45fb‐a149‐bde4522f6608                   Address Redacted                      First Class Mail
61c2c906‐a6f2‐45d0‐a048‐b3b3da28a371                   Address Redacted                      First Class Mail
61d4d4f7‐7f2f‐484c‐ad01‐0a0dd42d9a4b                   Address Redacted                      First Class Mail
61d63c6e‐1f8a‐410d‐9cd1‐70101673d338                   Address Redacted                      First Class Mail
61e2f9f0‐ce37‐4c2f‐ae73‐6776dc980634                   Address Redacted                      First Class Mail
61e96d19‐b35e‐4d97‐82f1‐0d4e850edac5                   Address Redacted                      First Class Mail
61eb312a‐d443‐4794‐9270‐641125790106                   Address Redacted                      First Class Mail
61ecc5d5‐b708‐48e2‐bc97‐774ea0cbf338                   Address Redacted                      First Class Mail
61ee4437‐9f46‐4063‐bdfc‐378f04f55f51                   Address Redacted                      First Class Mail
61ef52bb‐7b38‐4d0d‐971c‐aee4a42372eb                   Address Redacted                      First Class Mail
61f07ed7‐9c17‐4648‐8ddf‐2d874da469ea                   Address Redacted                      First Class Mail
61f0ca5b‐d076‐4393‐8a9b‐34f018cb829a                   Address Redacted                      First Class Mail
61f40c80‐8d5c‐4864‐aad6‐e0f1134601e5                   Address Redacted                      First Class Mail
61f58913‐acd2‐4402‐9da5‐29c028b49489                   Address Redacted                      First Class Mail
61f7b4e1‐bf67‐40de‐b9ff‐4fcc3bcecad4                   Address Redacted                      First Class Mail
62008959‐6833‐4ace‐ad59‐26f80413aa42                   Address Redacted                      First Class Mail
620505a3‐8390‐4655‐b9dd‐8148b608056d                   Address Redacted                      First Class Mail
6205db72‐3dee‐4dfd‐ae73‐fd77fb99d65e                   Address Redacted                      First Class Mail
62098df1‐29d1‐426a‐8431‐20a821d41a39                   Address Redacted                      First Class Mail
620c14f7‐a279‐4971‐92e1‐8d53caac0e69                   Address Redacted                      First Class Mail
6213bcdd‐082a‐4acc‐a5b0‐ad76fc1c6db2                   Address Redacted                      First Class Mail
62173e69‐7668‐4ea7‐916e‐d4462c660ab3                   Address Redacted                      First Class Mail
62192cc9‐8c4e‐4a81‐a8f5‐b871f1b28cb4                   Address Redacted                      First Class Mail
621a2578‐3fd5‐4cbd‐8677‐15f54d0093a5                   Address Redacted                      First Class Mail




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                              Name                                              Address                         Method of Service
621a434a‐173a‐4baa‐b82a‐7464f57671b0                   Address Redacted                      First Class Mail
621f93a3‐0180‐4866‐b3f9‐393bf0d4a866                   Address Redacted                      First Class Mail
6220c7e9‐4dea‐4c86‐8bd8‐e86f92d92c6a                   Address Redacted                      First Class Mail
62213778‐7103‐4898‐bb27‐bf4b66245575                   Address Redacted                      First Class Mail
62219f13‐2f4b‐45e9‐b7ec‐0f8e4dee31e3                   Address Redacted                      First Class Mail
62226895‐aee1‐4b55‐99f1‐a179621806ed                   Address Redacted                      First Class Mail
622990dd‐b54d‐4d20‐951b‐3750f8cad750                   Address Redacted                      First Class Mail
622a8cbb‐5a78‐472a‐b820‐a7207aac7753                   Address Redacted                      First Class Mail
622d77b9‐1a1e‐417a‐9996‐dc8fd071577b                   Address Redacted                      First Class Mail
622ea708‐ece7‐4be8‐8902‐97bf47f0e2b9                   Address Redacted                      First Class Mail
622fd4c8‐8a9c‐484b‐ae72‐e39f5b38106a                   Address Redacted                      First Class Mail
62316e35‐7dab‐42a4‐b724‐9223f73c9088                   Address Redacted                      First Class Mail
6234554a‐dda9‐4977‐80ea‐bb0b75487cf7                   Address Redacted                      First Class Mail
62373d20‐9a12‐4b62‐b66f‐732601716d99                   Address Redacted                      First Class Mail
6237ba8c‐b175‐4b5d‐84cb‐81f983ef5f20                   Address Redacted                      First Class Mail
623a0a11‐3684‐4c18‐8c20‐007a0e99d80b                   Address Redacted                      First Class Mail
623e5063‐2660‐4a90‐a038‐e2519f2f34bd                   Address Redacted                      First Class Mail
6240a122‐bcb5‐46e2‐a340‐93c3420e1d72                   Address Redacted                      First Class Mail
624214fd‐d240‐48c4‐acbe‐0d4e3de1c15c                   Address Redacted                      First Class Mail
6245ee0f‐e7bc‐41fc‐80f8‐3b664513d8d8                   Address Redacted                      First Class Mail
624a742c‐011e‐461d‐804a‐99febf855906                   Address Redacted                      First Class Mail
624afb64‐aa58‐46a8‐9c72‐73d3276fffa4                   Address Redacted                      First Class Mail
624b5034‐9334‐45ea‐9e98‐db5298151184                   Address Redacted                      First Class Mail
624d16c3‐cd27‐4fd3‐83f8‐4447005b7327                   Address Redacted                      First Class Mail
625270ee‐5a52‐4423‐a69e‐c64ec7f3451d                   Address Redacted                      First Class Mail
6259cb94‐7ff0‐42a5‐b42a‐b4fbcada9f06                   Address Redacted                      First Class Mail
625d113f‐cf2f‐42e6‐82f8‐816b0bf28e83                   Address Redacted                      First Class Mail
625e4bb8‐73e2‐4fbe‐996e‐bc67509061ec                   Address Redacted                      First Class Mail
625e503a‐29e3‐4938‐a2fd‐78f0624ba3ab                   Address Redacted                      First Class Mail
62600c70‐a30e‐4b33‐899e‐ebef28758b6c                   Address Redacted                      First Class Mail
6261a335‐465a‐48b9‐ac75‐03a043d9a8b1                   Address Redacted                      First Class Mail
6267c7f8‐96ce‐4a18‐9958‐5de8c65b5246                   Address Redacted                      First Class Mail
626c26cf‐6dfe‐4736‐b59c‐8d22fb3bc47c                   Address Redacted                      First Class Mail
626df33a‐feda‐4a47‐9d7a‐9b1bfd955145                   Address Redacted                      First Class Mail
626fec2d‐7857‐4fb7‐918f‐c1a212f8f4f4                   Address Redacted                      First Class Mail
62752189‐9bf5‐41f1‐84f6‐e92c9f33e7de                   Address Redacted                      First Class Mail
627c06f8‐9cdd‐407a‐a45c‐19066d40daae                   Address Redacted                      First Class Mail
627c1b89‐6e1a‐4a3e‐b48f‐c1776746508a                   Address Redacted                      First Class Mail
627d4aad‐b1e2‐425d‐aab8‐f3625c0737fb                   Address Redacted                      First Class Mail
627e5872‐3643‐4f4d‐9902‐a1e743fb4574                   Address Redacted                      First Class Mail
627f20e8‐eac8‐481f‐a3f9‐2622ffe5f1cd                   Address Redacted                      First Class Mail
627f837b‐b4bc‐4f8e‐8450‐b2a23de7b78f                   Address Redacted                      First Class Mail
628c1bd3‐e314‐4557‐895c‐aedbc0b3660c                   Address Redacted                      First Class Mail
628d9152‐24fd‐44e2‐91de‐f382989d1425                   Address Redacted                      First Class Mail
6290cd96‐b73e‐4094‐9efe‐39fdc104fe1d                   Address Redacted                      First Class Mail
629b3435‐4557‐4126‐863e‐28d935fad016                   Address Redacted                      First Class Mail
629fd47f‐1e3c‐4afd‐9853‐051e0a0eaf8e                   Address Redacted                      First Class Mail
62a29dba‐a836‐4b63‐90da‐49e314a10cce                   Address Redacted                      First Class Mail
62a2d1ff‐21ee‐41cf‐8a64‐f105783a351a                   Address Redacted                      First Class Mail
62a6c08b‐ad90‐47f6‐bedd‐baff91adf61a                   Address Redacted                      First Class Mail
62a72a99‐50de‐4b7c‐8fca‐94c53ca246ad                   Address Redacted                      First Class Mail
62ae5362‐0a12‐4187‐a95a‐ed85313ffb94                   Address Redacted                      First Class Mail
62b05004‐1b39‐4572‐b5d3‐d5dbd9861d15                   Address Redacted                      First Class Mail
62b56c16‐8af0‐4a6c‐b607‐6c4371ed916c                   Address Redacted                      First Class Mail
62b72ac6‐c201‐4525‐8d26‐bd6e055c6a7f                   Address Redacted                      First Class Mail
62b75649‐dc98‐449e‐ad5f‐2a04d6d9c6d3                   Address Redacted                      First Class Mail
62b7c873‐80f4‐4019‐a34c‐3e4a90b219e7                   Address Redacted                      First Class Mail
62b7e5c9‐a2aa‐4641‐b3d6‐913ab3e2cb24                   Address Redacted                      First Class Mail
62be382f‐9695‐42f4‐a32e‐5333f214e3c2                   Address Redacted                      First Class Mail
62beb93f‐8eb2‐4316‐94a4‐224a201ff8d9                   Address Redacted                      First Class Mail
62bf6689‐9dd5‐48ef‐93af‐493df5f5a06c                   Address Redacted                      First Class Mail
62c0864a‐aff9‐4a87‐89cd‐315bd0c6dd01                   Address Redacted                      First Class Mail
62c60483‐2930‐4065‐9b31‐a87307085991                   Address Redacted                      First Class Mail
62c67b98‐ad06‐45d2‐86af‐81ff8e241da0                   Address Redacted                      First Class Mail
62c6ee5b‐c5e8‐4c7c‐b063‐2b978269089d                   Address Redacted                      First Class Mail
62c7bbb0‐279f‐4e4d‐9f4e‐4b3e3f591227                   Address Redacted                      First Class Mail
62c8f237‐b233‐4961‐a012‐045faa1d4f2b                   Address Redacted                      First Class Mail
62c9dc0a‐4028‐4216‐a431‐b62c19bb0e6e                   Address Redacted                      First Class Mail
62ca09af‐5094‐45b6‐b6e2‐650ff79486a1                   Address Redacted                      First Class Mail
62ca24ba‐046a‐4c48‐a676‐0dcee2f30cf9                   Address Redacted                      First Class Mail
62cb96cb‐858d‐43c4‐8aeb‐8c788d5263cc                   Address Redacted                      First Class Mail
62cc2fdb‐de2d‐4f11‐b7f0‐7c4c3fa320d9                   Address Redacted                      First Class Mail




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                              Name                                              Address                         Method of Service
62cfe9ee‐dc6c‐4208‐aa6d‐8bc54218cd64                   Address Redacted                      First Class Mail
62d69119‐9da8‐4cfa‐99cc‐09fc9a309789                   Address Redacted                      First Class Mail
62d805f9‐259e‐4b0b‐8d23‐dd9690568563                   Address Redacted                      First Class Mail
62d88b0d‐f4d9‐4161‐a7d4‐2ae0ed2b1eed                   Address Redacted                      First Class Mail
62db28e2‐5464‐45dd‐8e2f‐97a9cb1bf355                   Address Redacted                      First Class Mail
62deb511‐65cd‐438b‐a54e‐b88cce677bd4                   Address Redacted                      First Class Mail
62e31890‐de5d‐4e6e‐8ddb‐8d58af14cdf5                   Address Redacted                      First Class Mail
62e562bc‐0f8d‐4cb0‐bbef‐1ce124365d50                   Address Redacted                      First Class Mail
62e5966b‐39aa‐4234‐afe7‐308fc9c9ecea                   Address Redacted                      First Class Mail
62e79225‐ac58‐4cb0‐b097‐4ad4101ec257                   Address Redacted                      First Class Mail
62e8bb60‐2983‐4af1‐9a14‐2431e527488b                   Address Redacted                      First Class Mail
62e8e172‐25a4‐4316‐b74f‐cdfb492ad9df                   Address Redacted                      First Class Mail
62e9589f‐07f8‐4e56‐bc47‐274c45de78b5                   Address Redacted                      First Class Mail
62e9a241‐573f‐4049‐ae51‐b4aac36e1f11                   Address Redacted                      First Class Mail
62ea4d1b‐d795‐4069‐82c1‐2485f23b9465                   Address Redacted                      First Class Mail
62f1913c‐9036‐4f99‐9750‐e8ba3da82f91                   Address Redacted                      First Class Mail
62fa2ae4‐28e0‐4426‐bb80‐87067cf7591f                   Address Redacted                      First Class Mail
62fa6c9d‐a7cf‐438a‐9f16‐925171aad3ac                   Address Redacted                      First Class Mail
62fb4235‐ff8e‐46e1‐9233‐4d381649f0f1                   Address Redacted                      First Class Mail
62fbcf22‐8d88‐42a0‐8d79‐ec3a041cfa3a                   Address Redacted                      First Class Mail
62fda7e0‐e2b3‐4c65‐b136‐778f9c8f8bcb                   Address Redacted                      First Class Mail
62fe807c‐90fa‐4973‐9f7f‐87c09a1cd5f4                   Address Redacted                      First Class Mail
63033028‐329d‐49d7‐8520‐3bbeb00073a2                   Address Redacted                      First Class Mail
6303c690‐2eb2‐4bc7‐8dd5‐5448cfb25461                   Address Redacted                      First Class Mail
6305a532‐8df4‐4efc‐ab6d‐b6e490246c44                   Address Redacted                      First Class Mail
630666d0‐f5bf‐454a‐9dd0‐018b594ade07                   Address Redacted                      First Class Mail
6306e88e‐4af2‐4b68‐9ee8‐ebe765654187                   Address Redacted                      First Class Mail
63082146‐eb34‐4f3e‐94f0‐8e5ed1a02b8d                   Address Redacted                      First Class Mail
630a6434‐1f38‐4e0c‐a25a‐12c62efc6b1a                   Address Redacted                      First Class Mail
630dd6fa‐1faa‐4b82‐a1af‐1316ccf91f92                   Address Redacted                      First Class Mail
63103147‐8d7d‐42a5‐87c3‐8ea3f6d381d0                   Address Redacted                      First Class Mail
631213d3‐eb32‐4615‐a9fa‐5ca18ceca1cd                   Address Redacted                      First Class Mail
631adafc‐1dd2‐49a2‐a19f‐5676520c0f06                   Address Redacted                      First Class Mail
631ca0c8‐57e0‐4b1e‐8804‐c8bd4d3f31e9                   Address Redacted                      First Class Mail
631cc238‐b371‐4e79‐851a‐c945cbc06825                   Address Redacted                      First Class Mail
631cdf91‐7410‐43cf‐bcfb‐01cc3c611100                   Address Redacted                      First Class Mail
631f8f20‐d0ae‐4f8a‐b6b2‐09dcf248b97d                   Address Redacted                      First Class Mail
63208766‐54b8‐4889‐9ef1‐c2c565d0d1e6                   Address Redacted                      First Class Mail
6323052f‐c43a‐415f‐898f‐5b3684f1fa1a                   Address Redacted                      First Class Mail
6324cf5e‐6623‐45d6‐8334‐7f0711ebb620                   Address Redacted                      First Class Mail
632787a6‐5b42‐413f‐bae7‐e2ce669b3206                   Address Redacted                      First Class Mail
63294845‐d027‐4d62‐a4c9‐de877c317e67                   Address Redacted                      First Class Mail
632bb1ee‐c7c2‐4433‐8b55‐da9d55848739                   Address Redacted                      First Class Mail
632f2c54‐b992‐4267‐9c36‐80322a422059                   Address Redacted                      First Class Mail
632fc145‐8fd4‐467e‐bc5d‐b113e6a7758f                   Address Redacted                      First Class Mail
6332ed0a‐afe9‐4c7b‐9e11‐d9f61e5b3803                   Address Redacted                      First Class Mail
633692eb‐ef63‐4b8d‐89a3‐5c05950aa59a                   Address Redacted                      First Class Mail
63373ba1‐7019‐46de‐92e8‐b49dcd34733b                   Address Redacted                      First Class Mail
6337cc4c‐1c83‐4053‐8038‐643f5cc146f7                   Address Redacted                      First Class Mail
633a6135‐e1fd‐4503‐b299‐63ff665b8532                   Address Redacted                      First Class Mail
633ce8d4‐8d66‐4189‐8ba5‐ca1bc96fc3d1                   Address Redacted                      First Class Mail
633d2a05‐5e15‐44da‐9947‐99856b02b173                   Address Redacted                      First Class Mail
6343555a‐c160‐429a‐96fa‐ef4ee24e2686                   Address Redacted                      First Class Mail
63443aa3‐ed9b‐4d01‐b72f‐f1cbeaeb1007                   Address Redacted                      First Class Mail
6346d0b2‐b811‐451d‐8026‐b5da3ac5c4b9                   Address Redacted                      First Class Mail
6346fb87‐45ba‐4dcf‐8c76‐0a316608e5b5                   Address Redacted                      First Class Mail
6347cfcc‐73d6‐43cd‐9f45‐6805c029374a                   Address Redacted                      First Class Mail
634a0a3b‐a240‐4660‐ba12‐f871688706e3                   Address Redacted                      First Class Mail
634e447b‐26dc‐45a4‐bde7‐24eab6651dc5                   Address Redacted                      First Class Mail
634e8091‐96de‐4f6b‐a95b‐7242dd7d5a13                   Address Redacted                      First Class Mail
634ff527‐7838‐472e‐b09a‐881dc9cc3951                   Address Redacted                      First Class Mail
635651cc‐d3d0‐4b2d‐a3b6‐cbf2b647b3fa                   Address Redacted                      First Class Mail
6357af9b‐d643‐4f15‐be9d‐a95884833707                   Address Redacted                      First Class Mail
635a98bb‐8180‐40db‐86d9‐c332fdf0e2a4                   Address Redacted                      First Class Mail
635db981‐cbfe‐4116‐8b5d‐685c64610b43                   Address Redacted                      First Class Mail
63602074‐9aa4‐4c65‐bb6b‐b08b7cf94a85                   Address Redacted                      First Class Mail
6363c96d‐797a‐41d6‐b1f0‐1d50def5088a                   Address Redacted                      First Class Mail
63647c84‐aace‐4a70‐acf7‐a7b24505619d                   Address Redacted                      First Class Mail
63651b00‐8cba‐4836‐8b96‐14acdca50319                   Address Redacted                      First Class Mail
6365c209‐3638‐4540‐a07b‐bfedb9df351f                   Address Redacted                      First Class Mail
6365d14d‐3420‐452f‐bc1d‐00aeb938694e                   Address Redacted                      First Class Mail
6365e03c‐f695‐4dd2‐a61e‐ebd9c2b35e06                   Address Redacted                      First Class Mail




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                                                                Exhibit A
                                                                 Service List


                              Name                                              Address                         Method of Service
636731b1‐b42e‐4c53‐81c4‐d1e3aae6e111                   Address Redacted                      First Class Mail
63690baa‐7246‐464b‐ac2a‐dd099b99c507                   Address Redacted                      First Class Mail
636d71cb‐6a7c‐4c74‐8928‐2abfc3010f3a                   Address Redacted                      First Class Mail
636e85e1‐a2ed‐4503‐9065‐1bfbcb42bf33                   Address Redacted                      First Class Mail
6370eaa5‐d629‐4fca‐950f‐e80bc5bb48e2                   Address Redacted                      First Class Mail
637204d8‐9210‐4a47‐9930‐601d6a1af670                   Address Redacted                      First Class Mail
6379d895‐846e‐4264‐825d‐29bef1846a88                   Address Redacted                      First Class Mail
637cdb43‐76cb‐495c‐96fe‐513a8fb416d2                   Address Redacted                      First Class Mail
637df0cb‐97a5‐40c0‐8f2d‐7f2707ecd3de                   Address Redacted                      First Class Mail
637fa300‐eeca‐491e‐b499‐2863dd58ee97                   Address Redacted                      First Class Mail
63821d27‐8c5d‐4bba‐b897‐17b34dc56bb9                   Address Redacted                      First Class Mail
6382893a‐232a‐47d4‐b8c0‐d0da59c75878                   Address Redacted                      First Class Mail
63863c8a‐fdc7‐4fe1‐aef6‐a6b160674bf8                   Address Redacted                      First Class Mail
6386598a‐8d38‐4a02‐8e41‐20ab2153cc95                   Address Redacted                      First Class Mail
638e0691‐f3aa‐4266‐898a‐6917d935cdd0                   Address Redacted                      First Class Mail
6391ca7f‐3a33‐4186‐8a46‐173ba2ad1015                   Address Redacted                      First Class Mail
6392a26d‐2c93‐41af‐a017‐4377f95afc9b                   Address Redacted                      First Class Mail
63934df3‐804c‐49bd‐86c2‐776d7f430781                   Address Redacted                      First Class Mail
63991ddd‐622f‐47c6‐8440‐c922edb932d8                   Address Redacted                      First Class Mail
639ee9f5‐0e3e‐43d1‐8369‐6047eec5d62f                   Address Redacted                      First Class Mail
63a65493‐f983‐42ca‐9f94‐425574f7e29f                   Address Redacted                      First Class Mail
63a6be74‐f58e‐4ab0‐bd4b‐8f996819e892                   Address Redacted                      First Class Mail
63ab134e‐a2ad‐4e3b‐8064‐f1b80a0bd9b5                   Address Redacted                      First Class Mail
63ab2030‐76e4‐4128‐8693‐f1a1790a04c0                   Address Redacted                      First Class Mail
63abb9a8‐c9ac‐4726‐9489‐824e3c610562                   Address Redacted                      First Class Mail
63ac70ba‐e69b‐4ed7‐93fc‐70685db1ec5f                   Address Redacted                      First Class Mail
63ad26b1‐c68f‐438a‐8b23‐e74e45887395                   Address Redacted                      First Class Mail
63b06cb1‐247c‐47b3‐bafe‐d2e944a7136d                   Address Redacted                      First Class Mail
63b146f8‐b924‐44b7‐8cb1‐d6853a78efd1                   Address Redacted                      First Class Mail
63b59afb‐ea16‐4432‐9e7d‐6591672bb61b                   Address Redacted                      First Class Mail
63ba3ac1‐f3ae‐4637‐afc9‐a78181b873e4                   Address Redacted                      First Class Mail
63bc455f‐3026‐454d‐a2cd‐726e7d16efea                   Address Redacted                      First Class Mail
63bf3954‐a878‐4bf5‐bfb5‐4f25358e760c                   Address Redacted                      First Class Mail
63c200ab‐8144‐464f‐9e81‐3d2ed94054a5                   Address Redacted                      First Class Mail
63c79532‐8af0‐42fa‐9858‐79409891f299                   Address Redacted                      First Class Mail
63ca36fb‐23df‐4466‐b670‐c9d75fd339de                   Address Redacted                      First Class Mail
63ca8503‐9347‐46f7‐9115‐c4d2a3d3304d                   Address Redacted                      First Class Mail
63cc35c9‐9c85‐49b1‐877d‐b8dca3a9a3f0                   Address Redacted                      First Class Mail
63cca436‐55e3‐4ae6‐9c18‐236a6fa93ee4                   Address Redacted                      First Class Mail
63d23179‐614c‐494e‐9355‐83963ea40e8b                   Address Redacted                      First Class Mail
63d23634‐8043‐4630‐828c‐c644720fa11c                   Address Redacted                      First Class Mail
63d46fac‐6787‐4f05‐a0e3‐ebc5d1f7468c                   Address Redacted                      First Class Mail
63d65032‐0a2f‐4352‐a8c9‐5d9a141d5efd                   Address Redacted                      First Class Mail
63d86cb9‐6c58‐4ae8‐9fc4‐dcaf5f587a8a                   Address Redacted                      First Class Mail
63dc4c47‐f672‐4592‐b51c‐08d22630630f                   Address Redacted                      First Class Mail
63deb1b7‐bfa4‐4c72‐9c61‐859d0eef483c                   Address Redacted                      First Class Mail
63df4923‐1260‐488e‐a36f‐1a37509f54a0                   Address Redacted                      First Class Mail
63e3d464‐ec54‐4086‐ae21‐5930aaeb5aa3                   Address Redacted                      First Class Mail
63e4fa56‐8e61‐4030‐afd9‐c459c7f29917                   Address Redacted                      First Class Mail
63e72bd5‐31da‐4093‐8da7‐b0f505cc6912                   Address Redacted                      First Class Mail
63e86b59‐0d7e‐4321‐b71b‐bdf2749983e3                   Address Redacted                      First Class Mail
63ee16e9‐b4f2‐4301‐ab36‐f861bccd6751                   Address Redacted                      First Class Mail
63f0fb86‐4fc5‐4b99‐8f2e‐a1f3da6ee7f8                   Address Redacted                      First Class Mail
63f1f62c‐21aa‐4889‐b87f‐c4a4d2f31130                   Address Redacted                      First Class Mail
63f55619‐5265‐4322‐af0b‐629108918b79                   Address Redacted                      First Class Mail
63f71849‐40a1‐4f47‐9593‐a12fd78ba6cc                   Address Redacted                      First Class Mail
63f96e43‐2b22‐44d5‐9cee‐ee0a7debbd45                   Address Redacted                      First Class Mail
63fb57d7‐d40f‐43bb‐89ea‐090039d1c8df                   Address Redacted                      First Class Mail
63fd40bd‐471e‐4d43‐9ecd‐7ab2bf368cc8                   Address Redacted                      First Class Mail
64006ee1‐35fb‐44c6‐8354‐2b8b362e9bc7                   Address Redacted                      First Class Mail
640233a8‐e6f9‐4fcb‐8733‐5b0e8987c895                   Address Redacted                      First Class Mail
6403584a‐3ee4‐4f95‐96d9‐b547f00ed722                   Address Redacted                      First Class Mail
6404b5ca‐57a0‐4c85‐b6be‐b344a85fcab0                   Address Redacted                      First Class Mail
640ad8e4‐f80f‐457d‐b295‐5332fc255bf8                   Address Redacted                      First Class Mail
640ae90f‐1b35‐4c67‐b21c‐b5f3c4569a3b                   Address Redacted                      First Class Mail
640e708e‐f1fc‐42d8‐ba77‐f8910b6c7a7a                   Address Redacted                      First Class Mail
640eb94c‐92d7‐4372‐8cdb‐7dc8e3fb95de                   Address Redacted                      First Class Mail
6414d2a8‐2239‐46fc‐8cbb‐32162f08ad92                   Address Redacted                      First Class Mail
6415e46c‐f3ef‐42e9‐9065‐439b74aafec5                   Address Redacted                      First Class Mail
641aef08‐bb14‐4d69‐92ad‐415d2f0b9400                   Address Redacted                      First Class Mail
641b14f8‐c6d5‐4620‐b65b‐8ade8e19734f                   Address Redacted                      First Class Mail
641b7b88‐ee8e‐4269‐88a9‐9d2526bf1b87                   Address Redacted                      First Class Mail




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                                                                 Service List


                              Name                                              Address                         Method of Service
64219066‐d28a‐4af6‐b227‐4dbcd3521a73                   Address Redacted                      First Class Mail
64228cd9‐d044‐438b‐95c1‐76bb32a6c15e                   Address Redacted                      First Class Mail
6423a218‐6b93‐4761‐ba16‐6c5296e249eb                   Address Redacted                      First Class Mail
6423b589‐487a‐4296‐9446‐5e75b9200147                   Address Redacted                      First Class Mail
6425082d‐523a‐436c‐8421‐b1f07cad2c8a                   Address Redacted                      First Class Mail
642601b7‐2e27‐49d0‐bb55‐868ba249d6a8                   Address Redacted                      First Class Mail
6426b9d7‐836a‐47df‐bacc‐cec9a99063fe                   Address Redacted                      First Class Mail
64277fba‐55aa‐4316‐b85d‐1a2a38c76e91                   Address Redacted                      First Class Mail
642a8449‐5eea‐4440‐9b34‐763a3f58dd4d                   Address Redacted                      First Class Mail
642c14cd‐5d07‐4bce‐a2f8‐879a58cdbf6c                   Address Redacted                      First Class Mail
642ce5ac‐89f2‐4d89‐bc79‐f6c58cf97671                   Address Redacted                      First Class Mail
642daaec‐61e3‐4c24‐a310‐03506826b3b7                   Address Redacted                      First Class Mail
642e2f53‐c34a‐4ba3‐8c5b‐09a6dddb5902                   Address Redacted                      First Class Mail
6430de5b‐62a2‐42d0‐92f5‐060fbef77117                   Address Redacted                      First Class Mail
6435eeea‐dd8d‐4168‐a5bc‐4cdabeddce55                   Address Redacted                      First Class Mail
6436544d‐8034‐463c‐ae8e‐70d367dc237f                   Address Redacted                      First Class Mail
643893d1‐db56‐4a62‐a31c‐8e1be6b31cb9                   Address Redacted                      First Class Mail
643dc42c‐e104‐4a8a‐8d92‐e89ffe589206                   Address Redacted                      First Class Mail
64488b83‐984a‐469e‐a187‐79d498fd78c5                   Address Redacted                      First Class Mail
644a50a5‐0de7‐4bd2‐9d2a‐a7d617c92f78                   Address Redacted                      First Class Mail
644c29d7‐af5d‐4dc3‐8b4f‐9c4901e3a9fc                   Address Redacted                      First Class Mail
645191a2‐aa40‐4cf7‐84ed‐adfeb8ac3788                   Address Redacted                      First Class Mail
64531f3e‐6d90‐45d1‐adc1‐26acbf524646                   Address Redacted                      First Class Mail
6456a1df‐f6cc‐4c65‐8a98‐1d7d95cdc179                   Address Redacted                      First Class Mail
645afb55‐0110‐45bd‐b435‐4b3a9da66890                   Address Redacted                      First Class Mail
645bf8e8‐d52c‐476b‐a388‐8458a8a5bd44                   Address Redacted                      First Class Mail
645cfb63‐e499‐49cc‐8c51‐30b7a74bf400                   Address Redacted                      First Class Mail
645d48cb‐6e70‐4a65‐837f‐9e072b63b0ed                   Address Redacted                      First Class Mail
645f856d‐cbfc‐42fd‐a543‐10cf0a2aef70                   Address Redacted                      First Class Mail
645fa0b5‐8466‐4c07‐beab‐c1ecb48b6bf3                   Address Redacted                      First Class Mail
6460d13d‐172d‐4def‐8509‐1c2544694606                   Address Redacted                      First Class Mail
64622008‐5ada‐4e4e‐a258‐5b49bd6bfa70                   Address Redacted                      First Class Mail
646290e4‐c2a5‐4c9c‐9f23‐3bf53e65ac41                   Address Redacted                      First Class Mail
6464a53b‐d019‐48d9‐b930‐794bba33c8ed                   Address Redacted                      First Class Mail
64668351‐790f‐4462‐964b‐5537cd4f0c79                   Address Redacted                      First Class Mail
6466ce2d‐4b5d‐4529‐bc03‐1360ff1d7688                   Address Redacted                      First Class Mail
6469167f‐d6d5‐444a‐b3c5‐0096e9d73885                   Address Redacted                      First Class Mail
646d41f2‐7950‐4e51‐9830‐feec035fde8a                   Address Redacted                      First Class Mail
647aa642‐eab4‐4462‐8df4‐2ca3c09bbc66                   Address Redacted                      First Class Mail
647ab4d8‐14a7‐4d43‐84ad‐46bf3d8416d4                   Address Redacted                      First Class Mail
647b964c‐ac13‐4b1a‐a12a‐1e4ec67e40b0                   Address Redacted                      First Class Mail
647baa2a‐5c71‐438f‐b8ce‐8b2bbd9e00e8                   Address Redacted                      First Class Mail
647cbee8‐c7d7‐4cce‐98a7‐c0b50b51ed52                   Address Redacted                      First Class Mail
647e443f‐13b1‐4622‐9c47‐541ff665e707                   Address Redacted                      First Class Mail
647f0f0b‐c738‐4662‐a548‐46a6726c51c0                   Address Redacted                      First Class Mail
647fb289‐4392‐4a2f‐871e‐ad29e1c9753c                   Address Redacted                      First Class Mail
6484b429‐6d17‐430d‐9aef‐64aef1f566ca                   Address Redacted                      First Class Mail
6486c596‐f61b‐481f‐976f‐2678f5e87e31                   Address Redacted                      First Class Mail
64879861‐05d6‐40a4‐857a‐6bc9c9ab7c87                   Address Redacted                      First Class Mail
64881665‐a995‐44ba‐a75d‐ccfc1669a9d7                   Address Redacted                      First Class Mail
64892fd6‐fcae‐4705‐9cde‐b041d0727adf                   Address Redacted                      First Class Mail
648b907d‐f138‐4632‐bc63‐59245ea45244                   Address Redacted                      First Class Mail
648c0d0a‐6e65‐4016‐a015‐576df7c7aed6                   Address Redacted                      First Class Mail
648efbf4‐dac4‐4830‐b86e‐188451f1ae03                   Address Redacted                      First Class Mail
648fc802‐20b2‐497d‐878a‐f8be03141493                   Address Redacted                      First Class Mail
64915a23‐2b6c‐4b87‐8088‐95937c67e277                   Address Redacted                      First Class Mail
6494dd41‐130a‐4423‐b9a1‐1914c57fa051                   Address Redacted                      First Class Mail
6495efc7‐b4ad‐4f54‐847d‐04d53c3da1b4                   Address Redacted                      First Class Mail
6497662b‐cb6d‐4bbf‐9e9f‐1b98d28b5d93                   Address Redacted                      First Class Mail
649771f1‐69cf‐4cf0‐b887‐7b725e438e90                   Address Redacted                      First Class Mail
64986ece‐8744‐466a‐b350‐59a17b650e93                   Address Redacted                      First Class Mail
6499f438‐8f18‐4ecf‐81e7‐fdf835ce9244                   Address Redacted                      First Class Mail
649eacdf‐6abe‐4dcb‐a599‐67ced0bc9c31                   Address Redacted                      First Class Mail
64a19dcc‐d3e3‐467a‐94b7‐ff929d10189a                   Address Redacted                      First Class Mail
64a26e95‐9bb5‐400c‐ac17‐bf485f2c87fe                   Address Redacted                      First Class Mail
64aaad47‐2669‐4a6e‐92b0‐185622da8709                   Address Redacted                      First Class Mail
64af75f0‐0554‐4741‐924a‐62e260412336                   Address Redacted                      First Class Mail
64b516b1‐4dcc‐4219‐9f03‐a36b6a1db858                   Address Redacted                      First Class Mail
64b665c5‐ee5d‐4712‐aea9‐b9a21c2e5b24                   Address Redacted                      First Class Mail
64b8fd60‐502d‐4057‐a5b9‐647f3fc18ee0                   Address Redacted                      First Class Mail
64c1db6e‐1fbf‐4c30‐a8bf‐b8b5cd684dd2                   Address Redacted                      First Class Mail
64c5a9e7‐8b5a‐4576‐8fa9‐ca46e8796d5d                   Address Redacted                      First Class Mail




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                                                                 Service List


                              Name                                              Address                         Method of Service
64c6f4d1‐773e‐4eac‐879f‐ed6ef0f4dbdd                   Address Redacted                      First Class Mail
64c9a2a2‐cccd‐42f4‐ae96‐96d87d430e94                   Address Redacted                      First Class Mail
64ca60a7‐eb31‐4ade‐b02d‐615b3bd30a74                   Address Redacted                      First Class Mail
64cbb01b‐28a3‐436a‐b88d‐198c4c70603e                   Address Redacted                      First Class Mail
64d12dca‐968f‐4410‐b2e3‐2b818593f91d                   Address Redacted                      First Class Mail
64d3cd70‐f038‐44f2‐a206‐c0be5158e98a                   Address Redacted                      First Class Mail
64d40e98‐bf2c‐4793‐aab6‐58a229a14aea                   Address Redacted                      First Class Mail
64d41d0b‐5327‐40c6‐9fc0‐5dfe84f86b2a                   Address Redacted                      First Class Mail
64d81852‐ee0e‐498a‐828b‐7e5198215767                   Address Redacted                      First Class Mail
64da45e7‐82ee‐4866‐b031‐68f57ce5fd94                   Address Redacted                      First Class Mail
64e02e51‐768c‐46d1‐be67‐507ee6e6e046                   Address Redacted                      First Class Mail
64e1e15b‐9cbb‐4618‐882e‐256b7cc06b2a                   Address Redacted                      First Class Mail
64e2aa31‐682c‐41d3‐9c02‐cbf937e78348                   Address Redacted                      First Class Mail
64ebb386‐a51f‐46c4‐9b9c‐d9b120e0a5b0                   Address Redacted                      First Class Mail
64ebb573‐4ba1‐4a7d‐b26d‐4617b96ec658                   Address Redacted                      First Class Mail
64ef9ccc‐85f3‐404e‐8642‐f738e271176a                   Address Redacted                      First Class Mail
64f04664‐aae4‐440b‐b96d‐949edb96e2ee                   Address Redacted                      First Class Mail
64f142c0‐f403‐41b3‐aa9c‐dbabf5463c17                   Address Redacted                      First Class Mail
64f1ff95‐143c‐4e97‐b7e7‐0bf2411e5203                   Address Redacted                      First Class Mail
64f37e43‐c852‐44cf‐abcf‐fe4507463c3c                   Address Redacted                      First Class Mail
64f38b27‐a463‐4571‐8d63‐f50f884fab0e                   Address Redacted                      First Class Mail
64f812ac‐0064‐49ed‐a822‐845d17dacfdd                   Address Redacted                      First Class Mail
64fa3fc2‐88e0‐4bfd‐9cc7‐7c074cc326f6                   Address Redacted                      First Class Mail
64fa42af‐936a‐48b9‐9b95‐ffd3fc68f6c3                   Address Redacted                      First Class Mail
650120dd‐0a49‐47a8‐824b‐03bc1213353e                   Address Redacted                      First Class Mail
6504ed27‐594a‐4bbd‐af5d‐80e0ae0fb744                   Address Redacted                      First Class Mail
65082437‐f9e5‐4f0f‐996f‐8e91e6beeddc                   Address Redacted                      First Class Mail
650b0c58‐c7b6‐47cc‐a00b‐23784462df44                   Address Redacted                      First Class Mail
650c300f‐8cf2‐4e33‐b156‐9f55328bc513                   Address Redacted                      First Class Mail
650c4f0f‐5bfb‐43c6‐a73b‐ce1c596cf13e                   Address Redacted                      First Class Mail
6511d6b9‐5495‐4635‐a0f5‐5eacfa004dce                   Address Redacted                      First Class Mail
65136466‐faa1‐40a8‐96a4‐31665b8acbca                   Address Redacted                      First Class Mail
65147854‐ef68‐4b46‐a990‐1be16ee4a207                   Address Redacted                      First Class Mail
65155dce‐b515‐4d5b‐bcc9‐cc711aa10b02                   Address Redacted                      First Class Mail
651ba45e‐978f‐4de7‐a23d‐e97b0583a4d5                   Address Redacted                      First Class Mail
651bc1e9‐9987‐4e5a‐a5c3‐40c8de57eb1d                   Address Redacted                      First Class Mail
6522286f‐ccbe‐4595‐946a‐9621f2a3d745                   Address Redacted                      First Class Mail
6527a58a‐9bbe‐41cb‐9bb4‐56aa3c95384c                   Address Redacted                      First Class Mail
6527a61d‐5646‐477f‐9cff‐0da922d8425d                   Address Redacted                      First Class Mail
652e3990‐be36‐4948‐a4f0‐95b6d18d0f64                   Address Redacted                      First Class Mail
6530a5e7‐1306‐48fb‐a4e2‐0a515bdbea0f                   Address Redacted                      First Class Mail
6530c736‐5548‐4f59‐8388‐1441b13f08fd                   Address Redacted                      First Class Mail
653595f9‐f7b9‐42e0‐8015‐a907e03be0f1                   Address Redacted                      First Class Mail
6537a3e8‐24ca‐4b5e‐9e4e‐3d6a6dd04ffe                   Address Redacted                      First Class Mail
653e09d6‐04bf‐4bd6‐b6cd‐d5de26d73ec3                   Address Redacted                      First Class Mail
653e54dc‐9c0e‐440d‐ae61‐872b161d2f11                   Address Redacted                      First Class Mail
6543d71b‐268b‐4263‐933d‐9418ad481f2a                   Address Redacted                      First Class Mail
654703c3‐3014‐4858‐9ead‐5f02d592252a                   Address Redacted                      First Class Mail
6547b675‐9f05‐46f6‐8d79‐fc837f24b0a6                   Address Redacted                      First Class Mail
654cedc3‐8687‐4975‐b535‐597b471b98f5                   Address Redacted                      First Class Mail
6553cab7‐8f16‐4211‐be7d‐50efa336e4b6                   Address Redacted                      First Class Mail
65555914‐1674‐4cac‐bc6e‐66eaed595fe9                   Address Redacted                      First Class Mail
6555dd1e‐ae3c‐463a‐bdda‐213208c3d908                   Address Redacted                      First Class Mail
6557560a‐9577‐4275‐814a‐bf378650c346                   Address Redacted                      First Class Mail
655a0972‐e379‐4818‐906b‐b2cee40931d9                   Address Redacted                      First Class Mail
655a68ae‐4dc5‐45f5‐8f2e‐0823484f3057                   Address Redacted                      First Class Mail
655cce26‐d0f9‐481a‐885f‐2ee0a602c342                   Address Redacted                      First Class Mail
655d2785‐cc14‐42f1‐915f‐2f6ccd3135c9                   Address Redacted                      First Class Mail
655fd04b‐086e‐465e‐8c0d‐62e99f653ff6                   Address Redacted                      First Class Mail
65636af4‐3a83‐4cb1‐9dd3‐9d8ec9336080                   Address Redacted                      First Class Mail
656e02cc‐51b8‐4520‐a01b‐e09535b50fb7                   Address Redacted                      First Class Mail
6572915b‐fec1‐4cb4‐a119‐a9317f9733cc                   Address Redacted                      First Class Mail
657788a4‐903e‐465c‐990f‐c69b71f47f5a                   Address Redacted                      First Class Mail
6579afa4‐99cc‐4a04‐b3c1‐03dcdc4df409                   Address Redacted                      First Class Mail
657a012b‐930e‐40f3‐b207‐27fe1cac1c00                   Address Redacted                      First Class Mail
65800cf4‐0566‐4ac5‐b774‐77b979bfaf08                   Address Redacted                      First Class Mail
6581e51e‐2e71‐4c9c‐bcaa‐9b7f34f95a10                   Address Redacted                      First Class Mail
658203e6‐58e4‐4494‐ab78‐956c9f5f9963                   Address Redacted                      First Class Mail
65849ad8‐d1ea‐4456‐b374‐531386c2d533                   Address Redacted                      First Class Mail
65850ea2‐c896‐4c0b‐a6d3‐9ea393ec518b                   Address Redacted                      First Class Mail
65886727‐4683‐43e2‐8459‐34089c9a8a72                   Address Redacted                      First Class Mail
65896b30‐8649‐4fde‐b4c5‐b66f506c9cb7                   Address Redacted                      First Class Mail




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                                                                Exhibit A
                                                                 Service List


                               Name                                             Address                         Method of Service
658a1152‐d141‐406e‐b62d‐6439dd9077ca                   Address Redacted                      First Class Mail
6591d627‐1bf0‐45ea‐8df3‐042231af7789                   Address Redacted                      First Class Mail
659298a3‐7d8e‐424f‐b315‐37649e619813                   Address Redacted                      First Class Mail
659b5d5d‐149e‐4322‐9522‐90775b263767                   Address Redacted                      First Class Mail
659bda42‐5857‐4875‐9328‐c57399b6c62d                   Address Redacted                      First Class Mail
659dcc18‐52f1‐4508‐9437‐50cbead47b6b                   Address Redacted                      First Class Mail
65a01ad7‐0a81‐43fb‐b4a5‐32a852fc29f7                   Address Redacted                      First Class Mail
65a64443‐7339‐4d1d‐9c69‐7ff635d9cfc2                   Address Redacted                      First Class Mail
65a971c5‐62d2‐4fa0‐8cfa‐4e8dde42a458                   Address Redacted                      First Class Mail
65aea003‐46d6‐4644‐b560‐c57397a916e3                   Address Redacted                      First Class Mail
65afe475‐62a8‐43f0‐b486‐b13ffb0ef4d6                   Address Redacted                      First Class Mail
65b27f68‐6fa6‐4504‐9a35‐f8a6ffb132f0                   Address Redacted                      First Class Mail
65b3ded6‐9250‐4559‐a6d9‐9f66a82c1ff7                   Address Redacted                      First Class Mail
65b72928‐6387‐4b94‐b569‐9ed5431bfb6d                   Address Redacted                      First Class Mail
65bc2107‐d5a3‐46b9‐9ce4‐f223f4e23f07                   Address Redacted                      First Class Mail
65be1ad9‐8a7b‐49a4‐8053‐0da143be7220                   Address Redacted                      First Class Mail
65be890f‐68b5‐482b‐88d8‐07489c8a199a                   Address Redacted                      First Class Mail
65bfffc9‐f075‐461b‐99c7‐ebb955ab3064                   Address Redacted                      First Class Mail
65c4d62c‐b019‐43ef‐ae0a‐4a538546e15d                   Address Redacted                      First Class Mail
65c5535d‐315b‐4b7a‐9b65‐e99d079acff0                   Address Redacted                      First Class Mail
65c88c54‐b005‐4565‐b564‐613c23b57216                   Address Redacted                      First Class Mail
65cbbfb8‐98b2‐4980‐a3f7‐8a64bc2619e0                   Address Redacted                      First Class Mail
65cea13f‐c821‐4ef6‐abc7‐61c1ea819f92                   Address Redacted                      First Class Mail
65cee835‐174e‐4565‐8686‐541f00aa1100                   Address Redacted                      First Class Mail
65cf95fc‐0065‐40f9‐9db5‐4dc106e7293c                   Address Redacted                      First Class Mail
65d0be0a‐ac6a‐46b2‐9491‐1c2765ff4c84                   Address Redacted                      First Class Mail
65d38c76‐a2e3‐474e‐9040‐fc1beba7eefd                   Address Redacted                      First Class Mail
65d62a32‐7c52‐4b2d‐9d72‐bc88c193fb50                   Address Redacted                      First Class Mail
65d683e6‐9fd2‐47e6‐9657‐209659b5513c                   Address Redacted                      First Class Mail
65d84161‐d97f‐4fbf‐8df3‐0548c45f209b                   Address Redacted                      First Class Mail
65dcc774‐a4a8‐4be6‐80f2‐be7d89d131c9                   Address Redacted                      First Class Mail
65dd77c6‐13ce‐45c3‐aa5c‐2b4eaa2f80f5                   Address Redacted                      First Class Mail
65de33a0‐3d8b‐4174‐9f32‐06110679d8ea                   Address Redacted                      First Class Mail
65e1345e‐8bf4‐4e88‐8abc‐c3ce74cd8b78                   Address Redacted                      First Class Mail
65e1cabf‐333c‐4a60‐88be‐492fcb9cc543                   Address Redacted                      First Class Mail
65e25846‐6d1d‐4d55‐b1e5‐2d114a7e5f4a                   Address Redacted                      First Class Mail
65e2eaf3‐e680‐4043‐82b0‐5ce94c5c3f0d                   Address Redacted                      First Class Mail
65e321f8‐e432‐42e2‐bb32‐6fa488749dbe                   Address Redacted                      First Class Mail
65e38eea‐38e1‐4b1a‐9b4b‐e198b8c515a0                   Address Redacted                      First Class Mail
65e42e54‐65f5‐45e3‐95a4‐7af706d6001a                   Address Redacted                      First Class Mail
65e5361d‐bdee‐46ea‐b828‐066a9828b958                   Address Redacted                      First Class Mail
65e6b189‐559e‐48cc‐bbc5‐b50e1ab19e51                   Address Redacted                      First Class Mail
65e6c85f‐65e6‐4b2b‐88b9‐b2b8a3fc51af                   Address Redacted                      First Class Mail
65ee7c20‐327b‐45b6‐a091‐aa69595c9e74                   Address Redacted                      First Class Mail
65f6ce48‐09b1‐42bc‐abd7‐24f151d3e31e                   Address Redacted                      First Class Mail
65fa11dd‐c3be‐452f‐b858‐d687942cda6b                   Address Redacted                      First Class Mail
65faaa61‐5341‐46f1‐bcf1‐6f15fce6b52f                   Address Redacted                      First Class Mail
65fb78be‐d37d‐47fb‐836a‐413b7cc510d7                   Address Redacted                      First Class Mail
65fd7e95‐fe25‐4304‐a583‐ba99a4449385                   Address Redacted                      First Class Mail
6600dce9‐c4ac‐4011‐88f4‐2b8569aa845e                   Address Redacted                      First Class Mail
6601b8ce‐b0d7‐45ce‐86bf‐71bba12754c2                   Address Redacted                      First Class Mail
66056198‐d479‐4635‐82b4‐ed66efe153c9                   Address Redacted                      First Class Mail
66080aa9‐7d79‐4216‐af82‐91d5e89c2622                   Address Redacted                      First Class Mail
6608101e‐7290‐4055‐8ff5‐cf4e457b2b0a                   Address Redacted                      First Class Mail
6608f54a‐54d4‐40e7‐b3c1‐fcb4e1098315                   Address Redacted                      First Class Mail
660927cf‐cc08‐41fc‐9825‐a9bb7557707a                   Address Redacted                      First Class Mail
660fe53a‐5340‐4068‐983f‐9ad3020cd0ea                   Address Redacted                      First Class Mail
66112d0f‐406f‐4482‐83cd‐86c2f06d69bb                   Address Redacted                      First Class Mail
66120fb8‐604f‐4cd5‐9130‐911111955b11                   Address Redacted                      First Class Mail
6615216a‐e1eb‐45ee‐8258‐dc5127c3018c                   Address Redacted                      First Class Mail
6616486b‐40ed‐4eec‐9493‐f649a0242091                   Address Redacted                      First Class Mail
661c14af‐0d55‐4605‐bd83‐58ec95b22199                   Address Redacted                      First Class Mail
661c9392‐018d‐4b91‐b756‐9c52355c5728                   Address Redacted                      First Class Mail
661eaa1e‐952a‐4eed‐8bed‐907275a56d54                   Address Redacted                      First Class Mail
661f23ac‐8b0b‐414d‐a609‐a62e8664eb8c                   Address Redacted                      First Class Mail
6621e604‐5807‐45bd‐91c2‐47b3f4f89233                   Address Redacted                      First Class Mail
6626991d‐4057‐4902‐8208‐d52b9319102b                   Address Redacted                      First Class Mail
66273c27‐814d‐4b2d‐8813‐fb572e3ba316                   Address Redacted                      First Class Mail
662751e6‐b4d7‐4064‐a421‐7a7efc83365c                   Address Redacted                      First Class Mail
662d3a15‐d045‐4ddb‐9d2d‐d06cd9ed3fa0                   Address Redacted                      First Class Mail
662dbe90‐4535‐46f0‐b4f8‐b6a6dfe68d75                   Address Redacted                      First Class Mail
662e6a41‐7b1b‐43dd‐94b2‐23f223f53bce                   Address Redacted                      First Class Mail




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                               Name                                             Address                         Method of Service
662ed4c9‐0e7f‐492e‐99ec‐cc158a6caf66                   Address Redacted                      First Class Mail
66301218‐c214‐4654‐bd40‐bd7e9c44683f                   Address Redacted                      First Class Mail
66334bd1‐ae7f‐4822‐9d10‐16d84f1eda76                   Address Redacted                      First Class Mail
6638e3d8‐016d‐4cc7‐a222‐dda6d0d91b50                   Address Redacted                      First Class Mail
6639ef10‐068a‐43f9‐a9e1‐0b157827e2b5                   Address Redacted                      First Class Mail
66405a8a‐c2da‐4aa8‐8841‐8439e9e31607                   Address Redacted                      First Class Mail
6645ee55‐00d1‐4a88‐a589‐040da9ac8f03                   Address Redacted                      First Class Mail
664674e8‐1b56‐4b54‐bb51‐1b5d60f9b894                   Address Redacted                      First Class Mail
6646cdad‐6072‐4767‐b596‐1a84c87f5369                   Address Redacted                      First Class Mail
6648a18b‐0d18‐43f3‐8c2f‐c810577b7538                   Address Redacted                      First Class Mail
664da25e‐ed46‐4c2d‐8d10‐9031fbfb8643                   Address Redacted                      First Class Mail
665209f7‐4272‐4295‐8c40‐f188b33a2a4e                   Address Redacted                      First Class Mail
6658df7f‐0d1f‐403b‐8d08‐81bed6d52de7                   Address Redacted                      First Class Mail
665fa08b‐f7b9‐4403‐aa6f‐767a130b74a7                   Address Redacted                      First Class Mail
666197a9‐a64c‐40dd‐9081‐2552297ed8d1                   Address Redacted                      First Class Mail
6664c96f‐d900‐44e7‐af8f‐7e523f879a4a                   Address Redacted                      First Class Mail
666a91d3‐6a4b‐44ee‐ab6f‐72877e6cb45e                   Address Redacted                      First Class Mail
6670fdea‐36aa‐4009‐8ffa‐9249bb7d8cd7                   Address Redacted                      First Class Mail
667157e8‐7549‐4cc8‐bf7d‐8d38206156dd                   Address Redacted                      First Class Mail
6672395c‐72d2‐4993‐b4dd‐7d150b2277ee                   Address Redacted                      First Class Mail
6672a7b6‐5de0‐4f8b‐98a1‐39052a70ff4f                   Address Redacted                      First Class Mail
66742083‐d58b‐437e‐a8c0‐2bbf27c9ddfe                   Address Redacted                      First Class Mail
6674aef0‐ac31‐4b18‐b394‐85fa95dc96e5                   Address Redacted                      First Class Mail
66771eb4‐3a66‐4435‐920a‐aabc5a8166ce                   Address Redacted                      First Class Mail
66799091‐414d‐4de4‐8dda‐7e1d6e7a79aa                   Address Redacted                      First Class Mail
667a8a4f‐41d4‐461d‐9e22‐d37ecfb87206                   Address Redacted                      First Class Mail
667be3e3‐7a76‐4100‐9673‐caeb1fd1fa7b                   Address Redacted                      First Class Mail
667bf63c‐e19c‐40c7‐8b81‐303f4cd6725b                   Address Redacted                      First Class Mail
667db33b‐c608‐4620‐948a‐5078c6afbfcb                   Address Redacted                      First Class Mail
667f368f‐6ee5‐444d‐b815‐3fce1c8f9fd9                   Address Redacted                      First Class Mail
667fe137‐8f35‐4301‐a1ff‐c9a456cc40b1                   Address Redacted                      First Class Mail
6680b534‐4e96‐4cb9‐aaa3‐9980f2670f6b                   Address Redacted                      First Class Mail
66815806‐c70b‐4c04‐a271‐2e6164a255ff                   Address Redacted                      First Class Mail
6681995c‐747d‐4a93‐8daf‐69cdd0c515d6                   Address Redacted                      First Class Mail
66831baa‐cba4‐407d‐853d‐e27a6000dffd                   Address Redacted                      First Class Mail
6683d57d‐5b9f‐4bee‐aae3‐68db674d29d9                   Address Redacted                      First Class Mail
668b6e0f‐c73e‐492f‐b9a9‐08f29c72d591                   Address Redacted                      First Class Mail
668e6fd2‐1a99‐4682‐a7c8‐d7751e3d4ec4                   Address Redacted                      First Class Mail
669026c9‐5564‐411e‐a574‐0d58c977f307                   Address Redacted                      First Class Mail
669289f0‐5af2‐4201‐ad2a‐06d50128e6bb                   Address Redacted                      First Class Mail
6698c9de‐4940‐43cd‐9ec8‐0f82b71c1f6b                   Address Redacted                      First Class Mail
669f9bcc‐ddf2‐4dfb‐90aa‐63f3b096df84                   Address Redacted                      First Class Mail
66a1b8a4‐8b04‐4f65‐944a‐54cfdb5fc2e2                   Address Redacted                      First Class Mail
66a2a9da‐c763‐418b‐a0e1‐29166523334c                   Address Redacted                      First Class Mail
66a2dba3‐9ced‐452e‐a76f‐f61582e4815c                   Address Redacted                      First Class Mail
66a3a6b2‐4490‐48ef‐826c‐d28544215b49                   Address Redacted                      First Class Mail
66a682b4‐c196‐4baa‐a279‐a8632800347b                   Address Redacted                      First Class Mail
66a88622‐ea15‐4ef2‐90de‐333e32f4d4ed                   Address Redacted                      First Class Mail
66ada482‐d85b‐46e5‐9930‐710b615a21f7                   Address Redacted                      First Class Mail
66b12c9f‐04eb‐42b6‐8ba1‐e0e00d08f8fb                   Address Redacted                      First Class Mail
66b329f3‐3d41‐466e‐999a‐0fb4db7f2210                   Address Redacted                      First Class Mail
66b5cde9‐1d13‐452f‐90fd‐418f1dd5cd3c                   Address Redacted                      First Class Mail
66b7af9b‐efa4‐4d16‐a175‐d41a9e88e7e9                   Address Redacted                      First Class Mail
66bff2bf‐f348‐4f7e‐9621‐f93ddc54d538                   Address Redacted                      First Class Mail
66c068cd‐9413‐4bb3‐854d‐3ddfed9e4ef8                   Address Redacted                      First Class Mail
66c8848e‐e21a‐475f‐b318‐c21a49b86088                   Address Redacted                      First Class Mail
66cbd792‐545f‐477b‐87cb‐0688d18b2e22                   Address Redacted                      First Class Mail
66ce4368‐a87e‐4f54‐a33e‐2074957f5d07                   Address Redacted                      First Class Mail
66d67edf‐5f65‐4d59‐a393‐10289c503791                   Address Redacted                      First Class Mail
66d7b795‐c921‐426e‐98cf‐5e0fb896e8b4                   Address Redacted                      First Class Mail
66d99d5c‐2b0a‐4fd0‐abc7‐ed8b1b5e463b                   Address Redacted                      First Class Mail
66debab4‐c191‐4aaa‐bf41‐a48593a98887                   Address Redacted                      First Class Mail
66df9e7d‐9e27‐4586‐83f5‐dc9cf5ce8141                   Address Redacted                      First Class Mail
66e06d90‐0364‐4c3a‐b156‐cd938ed2c97b                   Address Redacted                      First Class Mail
66e15c65‐9b46‐4a3a‐8d51‐18d320ff4505                   Address Redacted                      First Class Mail
66e52461‐0433‐4a37‐94d6‐fff4d6b9b7fe                   Address Redacted                      First Class Mail
66ed7fe1‐8c71‐4e95‐a780‐f4c738874b27                   Address Redacted                      First Class Mail
66ef9a56‐7dd0‐4b39‐acfd‐7d4930c4c753                   Address Redacted                      First Class Mail
66f05a1d‐3e2d‐4562‐a49d‐5e909edefeb7                   Address Redacted                      First Class Mail
66f19235‐66a7‐40f8‐93a8‐7817f7a87e6b                   Address Redacted                      First Class Mail
66f35606‐dd37‐4b3a‐a97a‐7b88a816145f                   Address Redacted                      First Class Mail
66f42039‐765f‐4888‐a092‐7f4fc9b8789e                   Address Redacted                      First Class Mail




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                                                                 Service List


                              Name                                              Address                         Method of Service
66f56040‐bebe‐4b87‐97e7‐2e57863f08a3                   Address Redacted                      First Class Mail
66f9177e‐e249‐4771‐9385‐b89564eaebb6                   Address Redacted                      First Class Mail
66f9b1f9‐869a‐4956‐b076‐05a08ae8cfdd                   Address Redacted                      First Class Mail
66f9b635‐ed96‐4ed9‐a18d‐02346866e56e                   Address Redacted                      First Class Mail
66f9f203‐a431‐442c‐aaba‐8dd4cafe072a                   Address Redacted                      First Class Mail
66fb84ee‐bb4f‐44d7‐b271‐b8da34b25607                   Address Redacted                      First Class Mail
66fde395‐f57b‐42e1‐81ee‐940614316349                   Address Redacted                      First Class Mail
670466d1‐25b3‐4359‐b9bc‐51eded6a76ac                   Address Redacted                      First Class Mail
67061f73‐3a88‐40ce‐8bd5‐8a135a631811                   Address Redacted                      First Class Mail
67093cbc‐7ce5‐4978‐a3e0‐d11236c32f67                   Address Redacted                      First Class Mail
6709f891‐3e4e‐4612‐a781‐69d0edc01788                   Address Redacted                      First Class Mail
670b8980‐bb17‐48df‐a4ac‐ae4d92ca16dd                   Address Redacted                      First Class Mail
670ba6e5‐cbe3‐4173‐a4aa‐6eaec9989e6b                   Address Redacted                      First Class Mail
670bdd7d‐f195‐44bb‐b8fa‐f42f097c28d6                   Address Redacted                      First Class Mail
670c6f75‐ae63‐4118‐a071‐d1f6afee6165                   Address Redacted                      First Class Mail
670e9a5c‐a8a5‐436c‐8bc3‐da5d40a73901                   Address Redacted                      First Class Mail
670f4760‐2726‐4cee‐a1d8‐070ee53be3e4                   Address Redacted                      First Class Mail
67126897‐fb22‐4698‐aa54‐fe8b61489f44                   Address Redacted                      First Class Mail
6714a021‐75de‐41c1‐83c8‐87f270739a16                   Address Redacted                      First Class Mail
67168d5f‐1c29‐4e74‐8124‐76f0a584a139                   Address Redacted                      First Class Mail
671c1216‐801b‐4d44‐81ee‐61aabb69e91d                   Address Redacted                      First Class Mail
671c7e5f‐0cbc‐41d9‐9533‐d6f83067dd3b                   Address Redacted                      First Class Mail
671ce34d‐59bc‐4f90‐9ed2‐a5a795cff880                   Address Redacted                      First Class Mail
671ffd1b‐f15b‐482c‐9805‐572d15b38a08                   Address Redacted                      First Class Mail
67205eee‐c4fa‐44c4‐9028‐26233e8031a2                   Address Redacted                      First Class Mail
672163be‐2009‐4afe‐a92c‐7bd0fbbfc404                   Address Redacted                      First Class Mail
67252b6c‐77c2‐411d‐9969‐4e8031dd01d7                   Address Redacted                      First Class Mail
6725caed‐2dd7‐403a‐8926‐a3017d5be0b8                   Address Redacted                      First Class Mail
6728e4b2‐2c9f‐4c74‐96b3‐df5540af2325                   Address Redacted                      First Class Mail
672cac25‐788f‐4b46‐8899‐6ea5c3ee4dd8                   Address Redacted                      First Class Mail
672d6dcf‐60a0‐469d‐822b‐c155b506619d                   Address Redacted                      First Class Mail
6731cc48‐1d12‐48c7‐9c04‐bc8e33d44d01                   Address Redacted                      First Class Mail
67359e0b‐42c6‐4892‐a2f5‐643bbf01deca                   Address Redacted                      First Class Mail
6739441e‐b29b‐4090‐ae74‐4e8433a02a0a                   Address Redacted                      First Class Mail
673bee02‐af5c‐4c23‐a841‐17a6c2138083                   Address Redacted                      First Class Mail
6740d7e2‐a717‐46a0‐8a46‐2cec8490ed72                   Address Redacted                      First Class Mail
67430dc9‐f3bd‐49dc‐b39d‐800dfd4d7e8d                   Address Redacted                      First Class Mail
674539ca‐abc1‐43a4‐ab8d‐997b4c3b77e3                   Address Redacted                      First Class Mail
674bbbf7‐89e5‐49b0‐8b05‐055df03d1852                   Address Redacted                      First Class Mail
674d34a7‐324b‐4ee0‐ba49‐bc10b1ec3ece                   Address Redacted                      First Class Mail
6751b5ba‐8ac7‐42cd‐a003‐6a8b099e1ec3                   Address Redacted                      First Class Mail
6754a07c‐1003‐48a7‐a1bb‐92d40a93deb0                   Address Redacted                      First Class Mail
6754fb51‐a734‐410c‐90ae‐59a025269f4a                   Address Redacted                      First Class Mail
675542ee‐af28‐4f22‐8e20‐497120bf14fd                   Address Redacted                      First Class Mail
675e3be9‐d919‐481d‐a46c‐8b6a7d0e1ed3                   Address Redacted                      First Class Mail
6766dee9‐aa76‐4454‐877b‐f3cd43a312f1                   Address Redacted                      First Class Mail
6767e4e8‐9af8‐42bd‐9a8f‐7f4261fda39e                   Address Redacted                      First Class Mail
676a0851‐70b6‐42a1‐98b6‐7173aeb30676                   Address Redacted                      First Class Mail
676c6f82‐e41d‐4129‐a81a‐78a109b8c921                   Address Redacted                      First Class Mail
6775ca5d‐3758‐4dfc‐9943‐79499cc8aa6f                   Address Redacted                      First Class Mail
677d7672‐d7a9‐453d‐9484‐5313c7b62cf0                   Address Redacted                      First Class Mail
677fc369‐f4f7‐461c‐a865‐7e097a00385f                   Address Redacted                      First Class Mail
6785f229‐f0a7‐4464‐aab3‐8b168e56aabb                   Address Redacted                      First Class Mail
678722d9‐8e41‐48d1‐a509‐eae8a34abecd                   Address Redacted                      First Class Mail
6790b73d‐0029‐49f9‐93fa‐48f09d9f4db8                   Address Redacted                      First Class Mail
679115ed‐7eec‐4671‐94fe‐fb35b9a6b77c                   Address Redacted                      First Class Mail
67923e1a‐a8a2‐47e6‐a441‐c3708a92eddc                   Address Redacted                      First Class Mail
67961755‐6d44‐4ef4‐8846‐566b92d6b982                   Address Redacted                      First Class Mail
679e3a44‐dd95‐4956‐8968‐db8059e1589d                   Address Redacted                      First Class Mail
67a0cd26‐bb0a‐4111‐bd07‐e403b652d7d8                   Address Redacted                      First Class Mail
67a13569‐a06c‐4db5‐9a04‐d04501090b5b                   Address Redacted                      First Class Mail
67a17c28‐0b59‐424e‐9a33‐fb9830d09130                   Address Redacted                      First Class Mail
67a1d2ce‐183c‐4e1b‐8391‐8718dff65c62                   Address Redacted                      First Class Mail
67a3890d‐84bd‐4b82‐8a71‐b6573320384b                   Address Redacted                      First Class Mail
67a87ac6‐caab‐4ac1‐879b‐7c07a7a3b622                   Address Redacted                      First Class Mail
67abf1e3‐1d00‐453d‐8c26‐3821fa61a746                   Address Redacted                      First Class Mail
67abf20c‐a4cc‐4d99‐8dd7‐0961da9e9362                   Address Redacted                      First Class Mail
67ae99de‐be56‐4ed1‐ae69‐17476b03c421                   Address Redacted                      First Class Mail
67af1108‐c7e6‐4bee‐9ff7‐5c54cd2ce8f5                   Address Redacted                      First Class Mail
67af7436‐1755‐40ac‐bfcf‐2fc9ae2b920f                   Address Redacted                      First Class Mail
67b20c4d‐939c‐4655‐9cab‐2af639a1eea6                   Address Redacted                      First Class Mail
67b305fb‐56d4‐4493‐8312‐5d2be8402518                   Address Redacted                      First Class Mail




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                                                                Exhibit A
                                                                 Service List


                              Name                                              Address                         Method of Service
67ba78fc‐9dc5‐456e‐a491‐1232570eb1b4                   Address Redacted                      First Class Mail
67c07dee‐7fd2‐4f32‐a794‐b1d441e9a093                   Address Redacted                      First Class Mail
67c6be6f‐5596‐4f40‐b4b9‐8c66059ffe54                   Address Redacted                      First Class Mail
67cb91a2‐0e2d‐4a8f‐a1c2‐f2967c0ed1e3                   Address Redacted                      First Class Mail
67cdda41‐c64e‐4f38‐acd7‐8aa0db660bbe                   Address Redacted                      First Class Mail
67cded46‐d81c‐4d26‐af05‐2651ccaf561b                   Address Redacted                      First Class Mail
67cfd447‐5cb0‐4abe‐ba15‐1c954c0673fe                   Address Redacted                      First Class Mail
67d05d84‐1a35‐40cd‐99b6‐92f87095f045                   Address Redacted                      First Class Mail
67d29901‐a0ac‐47c0‐a76b‐c7cb4e650c43                   Address Redacted                      First Class Mail
67d49a37‐99c4‐42f3‐a5f9‐0e75c78cc529                   Address Redacted                      First Class Mail
67d910ee‐4089‐4dc2‐b12d‐93b1e9ed6d60                   Address Redacted                      First Class Mail
67d988a9‐210f‐43b1‐9874‐b44c361d490c                   Address Redacted                      First Class Mail
67d9b05c‐89c1‐4738‐bf9c‐42e2e510f0bc                   Address Redacted                      First Class Mail
67db6edd‐1cc3‐49c1‐a261‐4bebbcd349f1                   Address Redacted                      First Class Mail
67e1be51‐1443‐499c‐8703‐e43673d22324                   Address Redacted                      First Class Mail
67e50cfc‐273a‐47f9‐b2fc‐990d8aaa399d                   Address Redacted                      First Class Mail
67e53aff‐09b9‐408f‐8b19‐486cad8710b7                   Address Redacted                      First Class Mail
67e694ed‐5c3a‐4bb5‐83da‐0270902fb6c0                   Address Redacted                      First Class Mail
67e80b3f‐48e2‐4b39‐88f8‐b8b96984a9d7                   Address Redacted                      First Class Mail
67ea109f‐ec23‐4e85‐82dc‐7d2aa36b2280                   Address Redacted                      First Class Mail
67f7c4cd‐e4fe‐4aae‐9a14‐ec28d4dd6935                   Address Redacted                      First Class Mail
67f8a660‐a82c‐4be2‐a87c‐e16dbbf1bf67                   Address Redacted                      First Class Mail
67f8ca4b‐df4d‐41b9‐bd99‐310b50469077                   Address Redacted                      First Class Mail
67fa6ff9‐2ec2‐4873‐a7a8‐0c869d1ff5db                   Address Redacted                      First Class Mail
67fde62b‐7c05‐42ce‐b1eb‐ba08cb29b0da                   Address Redacted                      First Class Mail
680042f9‐0e4e‐4685‐8230‐ae10f6bc5fe6                   Address Redacted                      First Class Mail
680637a0‐2f70‐4df3‐a574‐d3a23d0e0724                   Address Redacted                      First Class Mail
680c8902‐37f7‐4964‐9894‐6ac5dd4fb2fa                   Address Redacted                      First Class Mail
68141399‐6dc7‐4ce4‐a5e7‐e5dbc11a478e                   Address Redacted                      First Class Mail
68158fa5‐8d4b‐4695‐842d‐fbf48aadbc9b                   Address Redacted                      First Class Mail
6816932d‐728f‐4379‐bee6‐620e7ba636ab                   Address Redacted                      First Class Mail
68172e03‐d2c9‐44ac‐96aa‐c317b52984c5                   Address Redacted                      First Class Mail
68177a62‐4bc6‐4dce‐bae2‐13f552f3b625                   Address Redacted                      First Class Mail
681a5836‐5b4c‐456a‐a2f1‐bf7d88fe0ab5                   Address Redacted                      First Class Mail
681aa0cd‐01cc‐491d‐b2c9‐e7748cdb8486                   Address Redacted                      First Class Mail
681e7750‐9b23‐4023‐8fbf‐c8f1048dabfa                   Address Redacted                      First Class Mail
68221730‐3b77‐4eba‐908b‐794487c6663f                   Address Redacted                      First Class Mail
68222dc9‐c1fc‐4668‐a786‐9181dadcf563                   Address Redacted                      First Class Mail
68234987‐9a95‐47a8‐832f‐50b4d95193d9                   Address Redacted                      First Class Mail
682756af‐8273‐4ab6‐9cd1‐eb813de8294c                   Address Redacted                      First Class Mail
6827c41d‐0f90‐4404‐b960‐782f49b3f038                   Address Redacted                      First Class Mail
68284f8d‐3890‐453a‐802c‐39f246a24312                   Address Redacted                      First Class Mail
682bec02‐b63e‐4584‐b9fb‐5dfa6cafc3b6                   Address Redacted                      First Class Mail
682d8943‐f5b5‐4eed‐942c‐e07c5db191e7                   Address Redacted                      First Class Mail
68316e88‐f854‐4444‐87c4‐452d6a7579cc                   Address Redacted                      First Class Mail
683432a9‐97fb‐4b34‐a2d7‐e88d81fb0dcf                   Address Redacted                      First Class Mail
683b2668‐115e‐42c5‐bba7‐26a8328d46d9                   Address Redacted                      First Class Mail
683df347‐f837‐4095‐a490‐752e72ae2423                   Address Redacted                      First Class Mail
684083d9‐2ba4‐47ea‐a878‐65ce3ff71393                   Address Redacted                      First Class Mail
68419939‐4861‐4b81‐b3b9‐21882807b5f0                   Address Redacted                      First Class Mail
68420ca7‐6cb1‐405f‐9e19‐5a412b310c14                   Address Redacted                      First Class Mail
68423c49‐1904‐471e‐8aba‐f80e2dd22916                   Address Redacted                      First Class Mail
684959f7‐d7e9‐4c2f‐9381‐c4f55f44c47b                   Address Redacted                      First Class Mail
684a3cc4‐eac8‐4883‐a870‐def86433d0aa                   Address Redacted                      First Class Mail
684b3fb0‐e4c1‐4cd8‐8378‐34d4feb9ea48                   Address Redacted                      First Class Mail
6850face‐a207‐438f‐b8e7‐4969e45021c5                   Address Redacted                      First Class Mail
6856f7de‐719e‐45f5‐b42a‐7635208a9ab3                   Address Redacted                      First Class Mail
6857114f‐e50d‐4dd0‐b1c3‐acfa55a9f048                   Address Redacted                      First Class Mail
68599a2a‐44ff‐4d80‐a914‐d3c036719332                   Address Redacted                      First Class Mail
685bed24‐a781‐4535‐93b1‐ad07cdf2ca48                   Address Redacted                      First Class Mail
685cbd3c‐5db2‐4d7a‐bbfe‐aab1c8089beb                   Address Redacted                      First Class Mail
685fd29f‐f720‐4f84‐b8b9‐a901bb22dfa8                   Address Redacted                      First Class Mail
6860bca0‐6d98‐493c‐8731‐6611db39f0b6                   Address Redacted                      First Class Mail
68642b12‐31c3‐452f‐8c29‐b3c606ec1ed2                   Address Redacted                      First Class Mail
68688041‐7d31‐444f‐9fdd‐ae59523d2f97                   Address Redacted                      First Class Mail
686910f8‐76bb‐402e‐9e39‐f58c5c2b5cdf                   Address Redacted                      First Class Mail
68695d0a‐7bd0‐4b5d‐866a‐0757ea804505                   Address Redacted                      First Class Mail
686b3b6f‐daed‐4ff6‐9e08‐0f10291f3d8f                   Address Redacted                      First Class Mail
686d1a72‐b86e‐44a0‐b126‐945907ea1e7e                   Address Redacted                      First Class Mail
686de806‐2191‐49db‐92ff‐27b306c88f75                   Address Redacted                      First Class Mail
687019b2‐4cbf‐42e4‐b010‐ad2c6ac55cd4                   Address Redacted                      First Class Mail
68732205‐d03b‐4732‐9bde‐ba4ed2242bb4                   Address Redacted                      First Class Mail




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                                                                 Service List


                              Name                                              Address                         Method of Service
6874cc35‐56e9‐4eac‐a1ef‐7c82288cb91e                   Address Redacted                      First Class Mail
6875b53e‐15d4‐486a‐b027‐1718250b2c84                   Address Redacted                      First Class Mail
6876658a‐8208‐454b‐b9b7‐1169e379cd2a                   Address Redacted                      First Class Mail
6876b07d‐045f‐4a7d‐9b18‐e323b9bf8a4b                   Address Redacted                      First Class Mail
68792265‐9dd5‐4b8a‐a5d4‐773e5edae554                   Address Redacted                      First Class Mail
687bb0b9‐fd30‐4174‐bfb1‐f378762a6abb                   Address Redacted                      First Class Mail
687cc3e9‐2188‐410d‐abc7‐187df4fb264d                   Address Redacted                      First Class Mail
6880c711‐d257‐440b‐a2bf‐c859e1c79ba5                   Address Redacted                      First Class Mail
6880ff30‐1980‐4129‐8328‐a6365bcb264b                   Address Redacted                      First Class Mail
68834176‐82b0‐46d9‐b988‐857b0d72b64f                   Address Redacted                      First Class Mail
68847296‐9dfb‐4e3d‐b472‐81aa5c83a1fc                   Address Redacted                      First Class Mail
68866b46‐525a‐4373‐8e07‐8d7d696179d5                   Address Redacted                      First Class Mail
688d6c69‐168a‐4159‐925d‐24a365b3645c                   Address Redacted                      First Class Mail
688f2979‐5ff5‐4b91‐a2c1‐555d0df5327b                   Address Redacted                      First Class Mail
689211b5‐3ca9‐4248‐8461‐7e6cd049af57                   Address Redacted                      First Class Mail
689ad21e‐3e5d‐472d‐a9e6‐450be8f35b0f                   Address Redacted                      First Class Mail
689b2f0f‐ea69‐464b‐a407‐d2ff12e09d9b                   Address Redacted                      First Class Mail
689b9bb0‐d7d1‐4d2b‐a56a‐7101065f7969                   Address Redacted                      First Class Mail
68a33c12‐4b05‐43c3‐81a8‐025db61f1cc7                   Address Redacted                      First Class Mail
68a45185‐36c1‐4855‐b0ab‐088e58e03b76                   Address Redacted                      First Class Mail
68a8a210‐ca7c‐470e‐abd3‐0dcc888ebc2b                   Address Redacted                      First Class Mail
68a8b450‐481f‐42b3‐ba3e‐40aa552eac96                   Address Redacted                      First Class Mail
68a94c0f‐363a‐4e1b‐ad16‐70c52ba3dec8                   Address Redacted                      First Class Mail
68aaec3a‐da14‐4192‐a3cd‐0b86e650a25a                   Address Redacted                      First Class Mail
68ac48b9‐bf28‐4d78‐8595‐7732750a7c1e                   Address Redacted                      First Class Mail
68ad27a2‐ab92‐4bd1‐ad40‐30fa06026b3f                   Address Redacted                      First Class Mail
68b188ed‐ef8e‐4020‐841b‐1377e864f3d5                   Address Redacted                      First Class Mail
68b4f322‐1f26‐44a4‐8bb0‐a8121aa98c88                   Address Redacted                      First Class Mail
68b52f09‐35ae‐4930‐bcda‐a14f4c59189c                   Address Redacted                      First Class Mail
68b8d1de‐f486‐43c5‐8cf1‐d76ae491870b                   Address Redacted                      First Class Mail
68b98a77‐ac00‐4a70‐beab‐5221e77c3281                   Address Redacted                      First Class Mail
68bc94ab‐9ba1‐4c73‐95bf‐4d35e04e3b1e                   Address Redacted                      First Class Mail
68c2af3b‐dbcd‐4771‐9f94‐353a3f3c34b0                   Address Redacted                      First Class Mail
68c3b506‐5e24‐4eb9‐91bb‐5addb03871ac                   Address Redacted                      First Class Mail
68cd0794‐9fb1‐47de‐b2ba‐3e4f250438e5                   Address Redacted                      First Class Mail
68ce8bae‐0015‐45ea‐b10a‐91b79c466546                   Address Redacted                      First Class Mail
68cf08c6‐df3e‐40eb‐bbba‐efc2ddd18f14                   Address Redacted                      First Class Mail
68d10d9f‐0f40‐42ff‐a8b0‐fd66a9d994da                   Address Redacted                      First Class Mail
68d16e8e‐a973‐4c41‐bfc9‐1358e34d6d3b                   Address Redacted                      First Class Mail
68d1b1fc‐d142‐47df‐8d5d‐df91a84a3d9d                   Address Redacted                      First Class Mail
68d6e567‐137a‐4cd6‐b92f‐34fd8c139805                   Address Redacted                      First Class Mail
68d884c6‐8f57‐4cea‐b255‐f6fdee06dec3                   Address Redacted                      First Class Mail
68d8d41d‐ca46‐4eb5‐b6b4‐5746c8ff8551                   Address Redacted                      First Class Mail
68d92f9a‐a160‐4a9d‐be33‐97d62e81cf8b                   Address Redacted                      First Class Mail
68dc26b5‐368c‐416a‐b501‐81760956c1bc                   Address Redacted                      First Class Mail
68dc2cd9‐becb‐47f0‐ade8‐bfb0da4860c1                   Address Redacted                      First Class Mail
68e0fb95‐e8f8‐465c‐970e‐2ad3c530f678                   Address Redacted                      First Class Mail
68e97d08‐39dc‐4c82‐b3da‐13450e49be7b                   Address Redacted                      First Class Mail
68eb2ca3‐5809‐4abb‐9186‐cd08268b4821                   Address Redacted                      First Class Mail
68eb3f8c‐af90‐4bb8‐8da1‐32bbf1d22717                   Address Redacted                      First Class Mail
68eeaaa2‐a430‐49e1‐9ccd‐f6ca5a2ec5d7                   Address Redacted                      First Class Mail
68f086f9‐4810‐4dd3‐8b9c‐2cb6f151ffd0                   Address Redacted                      First Class Mail
68f0d721‐34a9‐407c‐b0b9‐9a87dde42fa6                   Address Redacted                      First Class Mail
68f1220c‐0d6e‐4398‐aaf7‐6ff7864cc727                   Address Redacted                      First Class Mail
68f5553a‐3be5‐4663‐8c12‐09ae90961766                   Address Redacted                      First Class Mail
68f5895d‐e055‐4d3b‐922e‐aa424ad503c1                   Address Redacted                      First Class Mail
68f850f3‐d35c‐425b‐90e0‐ad406b544855                   Address Redacted                      First Class Mail
68f8e549‐7656‐4a58‐90e3‐eb308ddd3bc1                   Address Redacted                      First Class Mail
68f90c9e‐cd98‐4dac‐828c‐42bab75c794a                   Address Redacted                      First Class Mail
6903ab7a‐8699‐4e2b‐9bf7‐fad846130709                   Address Redacted                      First Class Mail
6903f96f‐c065‐44a8‐b8b4‐3380595eb58d                   Address Redacted                      First Class Mail
69057cdf‐6733‐4ec0‐b58d‐909fc868e2e0                   Address Redacted                      First Class Mail
690cf859‐2bde‐4ca0‐9d75‐044bec5d0d44                   Address Redacted                      First Class Mail
69129ae7‐bc5d‐4d82‐a4aa‐8374c4789751                   Address Redacted                      First Class Mail
691c1989‐df30‐4718‐83ed‐af2c23a8df0d                   Address Redacted                      First Class Mail
691d985f‐838f‐4f4e‐8259‐83ca8ba3b978                   Address Redacted                      First Class Mail
691e56d2‐ac00‐4bbc‐936e‐fff0d09b0f59                   Address Redacted                      First Class Mail
691fab27‐90b5‐4baf‐9783‐e7ed1ea03554                   Address Redacted                      First Class Mail
6922041f‐ad89‐46fb‐8b03‐4ee00ed3221b                   Address Redacted                      First Class Mail
69231888‐ee57‐4a7e‐b0c9‐f9bba811a4b5                   Address Redacted                      First Class Mail
69243886‐3183‐4838‐bfa6‐e10ac4cb0693                   Address Redacted                      First Class Mail
692679ab‐aeaa‐4ab1‐9cbe‐19139606839c                   Address Redacted                      First Class Mail




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                                                                 Service List


                              Name                                              Address                         Method of Service
6929895a‐ff07‐4d81‐8bf9‐720d854bdd95                   Address Redacted                      First Class Mail
692a3de4‐7f0b‐4ca2‐8ccb‐2796962898e3                   Address Redacted                      First Class Mail
692b3c71‐9e7b‐4ad0‐95ee‐57bef0efeab1                   Address Redacted                      First Class Mail
692c05bd‐56ad‐4825‐b79a‐985dec1ca37c                   Address Redacted                      First Class Mail
692c2cae‐100a‐443b‐ae9e‐037bb3431817                   Address Redacted                      First Class Mail
692cd3f3‐4e87‐4c80‐afb5‐12b0b626da49                   Address Redacted                      First Class Mail
692e2be7‐1d4b‐4b55‐84e9‐787b8b067547                   Address Redacted                      First Class Mail
692e7aab‐da8e‐4780‐aa99‐3f778dcfe23a                   Address Redacted                      First Class Mail
6934b9ed‐2e23‐4fc4‐b922‐6ceb5b7e7b8e                   Address Redacted                      First Class Mail
69380d8e‐9749‐4a20‐a73f‐06f9e7c0927f                   Address Redacted                      First Class Mail
6938d43b‐6b11‐4428‐abb9‐52a9a1cfc765                   Address Redacted                      First Class Mail
69391577‐060d‐4f89‐b857‐0cffd43b2d39                   Address Redacted                      First Class Mail
694551af‐96f6‐4442‐9a36‐844f68554190                   Address Redacted                      First Class Mail
69470ce3‐95d3‐451f‐a68d‐5711b0ffe47c                   Address Redacted                      First Class Mail
694a3207‐06c2‐4c76‐a494‐4277bb483953                   Address Redacted                      First Class Mail
694afcac‐a62a‐4b84‐a1c4‐1cf88ee20ba4                   Address Redacted                      First Class Mail
69502c05‐7bee‐4991‐b4e3‐ae962aaa605e                   Address Redacted                      First Class Mail
6950d871‐b90e‐400f‐abf4‐b39264115c05                   Address Redacted                      First Class Mail
695141af‐6726‐45fc‐8faf‐e516c75c53b3                   Address Redacted                      First Class Mail
69549104‐5f83‐4f7b‐b486‐8c92faa36440                   Address Redacted                      First Class Mail
695da00f‐16a1‐4cea‐b9a8‐d482370c1e7f                   Address Redacted                      First Class Mail
69632e94‐0e8d‐489a‐beff‐8087e0246306                   Address Redacted                      First Class Mail
696aadc9‐eb10‐45f3‐b267‐ab3fbb4173bf                   Address Redacted                      First Class Mail
696b7141‐bb7c‐4861‐bbcd‐cd2941769b46                   Address Redacted                      First Class Mail
696c7b3d‐47e5‐4fcf‐b3d4‐d90e0ff29347                   Address Redacted                      First Class Mail
696d13af‐9a57‐45d0‐907c‐70dcf31b2fd4                   Address Redacted                      First Class Mail
696f4e1b‐cc11‐4e86‐98d8‐d714275e9579                   Address Redacted                      First Class Mail
697035e8‐b813‐41fb‐b31c‐6f9504fe0578                   Address Redacted                      First Class Mail
697053f7‐e0b6‐48a5‐9e76‐322300f2f1b9                   Address Redacted                      First Class Mail
6970c22a‐c775‐4d13‐a9d8‐029e49e53ca5                   Address Redacted                      First Class Mail
69734d4f‐78aa‐4478‐9447‐7cbcd1ee7765                   Address Redacted                      First Class Mail
6974d7a3‐5864‐44a2‐9a54‐3376d7a34834                   Address Redacted                      First Class Mail
6974e5e0‐1ebc‐4950‐8236‐b78d2449560b                   Address Redacted                      First Class Mail
697762f6‐bb94‐4284‐b689‐6d1e5b972d26                   Address Redacted                      First Class Mail
697cd1dd‐785e‐44aa‐bec3‐c886d215cd43                   Address Redacted                      First Class Mail
697ffb80‐9fd4‐4687‐9741‐2420e509d5cb                   Address Redacted                      First Class Mail
6981b838‐c6c4‐4bb1‐8a02‐f61edc0c45f2                   Address Redacted                      First Class Mail
6986a2f8‐c7e5‐4422‐b4bd‐8a1bd8cb628d                   Address Redacted                      First Class Mail
6989a7e4‐aa0b‐4c4f‐a770‐b457afd45ce0                   Address Redacted                      First Class Mail
698a953a‐132f‐4f05‐9e7d‐77436e58623e                   Address Redacted                      First Class Mail
698a9bd5‐343c‐4a4b‐b76a‐79d67f456af6                   Address Redacted                      First Class Mail
698bf9c6‐f13b‐4824‐8c6b‐b596c26d3a4f                   Address Redacted                      First Class Mail
6998b9b9‐286a‐49e6‐8d8c‐c258d50c1548                   Address Redacted                      First Class Mail
6999c785‐d73c‐4aec‐864c‐d5cf87c59ef8                   Address Redacted                      First Class Mail
69a0af65‐2447‐49ae‐a305‐b3715ce34098                   Address Redacted                      First Class Mail
69a3bff2‐eabf‐486f‐be4c‐1a21d5060f78                   Address Redacted                      First Class Mail
69a4d2f2‐64c9‐49de‐a29d‐c4462c99bb0b                   Address Redacted                      First Class Mail
69aa63e1‐d7f2‐41b2‐b937‐09d0c98d8ec2                   Address Redacted                      First Class Mail
69ab8d99‐b33b‐4689‐8849‐a2fe3e0e7152                   Address Redacted                      First Class Mail
69ad6aa0‐c68e‐44ce‐a385‐cf80b4c28edd                   Address Redacted                      First Class Mail
69b153a6‐99db‐482f‐99d5‐3b1aa58a6524                   Address Redacted                      First Class Mail
69b1f9b7‐6a5d‐42b0‐9276‐d8c6d8669679                   Address Redacted                      First Class Mail
69b50b4d‐a372‐4b95‐8bd9‐6857c8d35c10                   Address Redacted                      First Class Mail
69b52c57‐8eb6‐4b2f‐adb5‐5145fa0dc7da                   Address Redacted                      First Class Mail
69b55589‐eec9‐414a‐9b6c‐70cc6ae57222                   Address Redacted                      First Class Mail
69bf4e6d‐4abd‐4411‐87da‐87c46808e7fd                   Address Redacted                      First Class Mail
69bf77ca‐b19d‐4c0c‐8403‐12733c36e195                   Address Redacted                      First Class Mail
69c131b0‐9ea7‐45b0‐a67d‐7768f9a18123                   Address Redacted                      First Class Mail
69c66aa7‐d53c‐47df‐b832‐b2b38cc29d00                   Address Redacted                      First Class Mail
69c6f194‐8199‐41a5‐b4fd‐2bfdc11579fe                   Address Redacted                      First Class Mail
69c7163e‐67cf‐4130‐b12a‐d8ccbe412833                   Address Redacted                      First Class Mail
69c9bd20‐fad8‐45af‐86e9‐4cc26b4c08ba                   Address Redacted                      First Class Mail
69ca13de‐fd32‐44db‐88d7‐fc576aac0257                   Address Redacted                      First Class Mail
69cb4186‐8af1‐4049‐90ed‐b632e3379c6e                   Address Redacted                      First Class Mail
69d05f2a‐7874‐4d99‐ac06‐00fe94f5b233                   Address Redacted                      First Class Mail
69d1d024‐e276‐490b‐91a2‐35a43a8d9c23                   Address Redacted                      First Class Mail
69d8f66b‐ff06‐41b3‐99f1‐8bf333dfadd0                   Address Redacted                      First Class Mail
69d96dc8‐fe9d‐40f7‐a9ba‐298a96b37d63                   Address Redacted                      First Class Mail
69da27e8‐2b99‐4265‐bd01‐3e54d289a8d8                   Address Redacted                      First Class Mail
69db52b0‐88c4‐4901‐a370‐102fcdc34ac1                   Address Redacted                      First Class Mail
69ddf79a‐70fe‐465d‐8bb6‐106970b5c9b6                   Address Redacted                      First Class Mail
69e1dd85‐f396‐4ee7‐b0e2‐f1ac5614536c                   Address Redacted                      First Class Mail




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                                                                Exhibit A
                                                                 Service List


                              Name                                              Address                         Method of Service
69e20fc8‐74a2‐4882‐b100‐406e65cdf380                   Address Redacted                      First Class Mail
69e43fe0‐8fd3‐4d98‐b157‐f06c05e11ccd                   Address Redacted                      First Class Mail
69e4537f‐6146‐42b7‐8b63‐62d4a9ac99d5                   Address Redacted                      First Class Mail
69e89df0‐a0b7‐41c1‐8de1‐9c5faf4cbd3e                   Address Redacted                      First Class Mail
69eb042e‐7a35‐4dc1‐937d‐134fda25afce                   Address Redacted                      First Class Mail
69ed982c‐4baf‐4b01‐bc15‐6c40662ab8ae                   Address Redacted                      First Class Mail
69f1c68e‐e6fb‐43b1‐9d31‐b2cb2cd11765                   Address Redacted                      First Class Mail
69f20edb‐76e6‐417c‐af76‐06d214e630c8                   Address Redacted                      First Class Mail
69f4a699‐5d7e‐40eb‐885c‐b996096accfd                   Address Redacted                      First Class Mail
69f6d650‐e08b‐4ee6‐99b2‐a54357866cf3                   Address Redacted                      First Class Mail
69f7144f‐a8f2‐4e36‐aad0‐d2e78918a673                   Address Redacted                      First Class Mail
69f7ee4e‐bfd9‐4b94‐80e8‐e5acc51fdfcf                   Address Redacted                      First Class Mail
69f985f0‐8adf‐408c‐b712‐c7c2d99bd239                   Address Redacted                      First Class Mail
69fb9397‐b6c7‐4dac‐944b‐6d21dfc05754                   Address Redacted                      First Class Mail
69fd5150‐b763‐46be‐adad‐6eef8e7ecfa7                   Address Redacted                      First Class Mail
69fe501e‐516a‐415a‐aa5e‐faea1d091510                   Address Redacted                      First Class Mail
6a01ef18‐09dc‐4781‐8ba4‐882522e211fd                   Address Redacted                      First Class Mail
6a01f1fd‐7a08‐4e19‐898d‐38583bf36ce3                   Address Redacted                      First Class Mail
6a0481fc‐a2d1‐42fd‐b43c‐847c24441a99                   Address Redacted                      First Class Mail
6a04dbfa‐0105‐4908‐8ab5‐775fffaf5110                   Address Redacted                      First Class Mail
6a0734ba‐efd2‐4059‐ba24‐16ff6651f2c2                   Address Redacted                      First Class Mail
6a0a9827‐f9d4‐465d‐8976‐b948feb25825                   Address Redacted                      First Class Mail
6a0ab5a1‐e4e0‐4e69‐a25a‐f008e97908ea                   Address Redacted                      First Class Mail
6a0d737f‐a8b3‐4deb‐912a‐9ba8517b5e8e                   Address Redacted                      First Class Mail
6a0de908‐6a59‐4942‐a8a4‐5eeca67a1483                   Address Redacted                      First Class Mail
6a0f06e5‐96e8‐4f4c‐9ae5‐bd2d945c3fc1                   Address Redacted                      First Class Mail
6a1214a4‐2e94‐4ed4‐be19‐bd3c5956cb8a                   Address Redacted                      First Class Mail
6a1259a0‐52be‐4390‐9c11‐d46083adb449                   Address Redacted                      First Class Mail
6a139916‐e3e9‐45d2‐a7e1‐669fce6d6eda                   Address Redacted                      First Class Mail
6a1560bc‐f513‐4945‐a99f‐cc714bc5511c                   Address Redacted                      First Class Mail
6a16c9da‐8fb4‐4b7e‐b842‐e367e05497dd                   Address Redacted                      First Class Mail
6a18696d‐c148‐4095‐933d‐a26062054b70                   Address Redacted                      First Class Mail
6a199c28‐f35b‐4b76‐9ad0‐17f52b8b5d40                   Address Redacted                      First Class Mail
6a1ae7c1‐2266‐44bc‐9b8e‐e0aac9deee9e                   Address Redacted                      First Class Mail
6a1b5159‐eb71‐4022‐a68b‐f0798585f567                   Address Redacted                      First Class Mail
6a1c7ac4‐0bb3‐4d70‐af14‐82cb258fe659                   Address Redacted                      First Class Mail
6a1df553‐5060‐4240‐86ca‐5ae72ebc7b58                   Address Redacted                      First Class Mail
6a1fea8f‐b577‐458c‐8cc7‐ee0dbbc405ee                   Address Redacted                      First Class Mail
6a219289‐eb8e‐4f1b‐acb2‐192214504e95                   Address Redacted                      First Class Mail
6a2553de‐b1d3‐45d0‐b5eb‐39de9e1f006f                   Address Redacted                      First Class Mail
6a291baf‐0b65‐481b‐8e66‐79d1d0307fde                   Address Redacted                      First Class Mail
6a29cfef‐5b41‐4fa5‐98a5‐ecccee89cdea                   Address Redacted                      First Class Mail
6a2b700a‐00bb‐4eb5‐8b90‐1e20664a88a0                   Address Redacted                      First Class Mail
6a31d617‐3c3f‐4884‐8746‐f5709916e63c                   Address Redacted                      First Class Mail
6a35e5cb‐1c84‐4c7f‐b71f‐c7960e143f81                   Address Redacted                      First Class Mail
6a388c60‐b39a‐40c3‐a3a2‐0ba13c9611b5                   Address Redacted                      First Class Mail
6a442e10‐62df‐4c6d‐ab41‐bc0fd6d560a9                   Address Redacted                      First Class Mail
6a46618b‐b298‐4660‐ac77‐b5c384eb1bac                   Address Redacted                      First Class Mail
6a4743b6‐b508‐4a82‐88df‐9e1c0da60ba1                   Address Redacted                      First Class Mail
6a49ca11‐de11‐4cfb‐805c‐a3443bc42556                   Address Redacted                      First Class Mail
6a4b6202‐f83a‐4040‐9241‐36359e50aa55                   Address Redacted                      First Class Mail
6a4c8f91‐9eae‐420a‐a6e1‐9b0e475396ef                   Address Redacted                      First Class Mail
6a59ae6e‐8beb‐437e‐86d0‐71b49e578b22                   Address Redacted                      First Class Mail
6a609120‐59ef‐4d9c‐b597‐8cd1c580ca2b                   Address Redacted                      First Class Mail
6a628c7d‐8ec5‐4ed3‐a584‐ff7c5db74fa3                   Address Redacted                      First Class Mail
6a6375d0‐d8b6‐4b74‐82f8‐8449d9883bbf                   Address Redacted                      First Class Mail
6a65a9c3‐e87b‐4050‐9e19‐ee234d5e874d                   Address Redacted                      First Class Mail
6a665bd9‐0c86‐4d7f‐8091‐a53d5b2a3cec                   Address Redacted                      First Class Mail
6a6ccb2d‐49a4‐4262‐a221‐b5d689ceeeba                   Address Redacted                      First Class Mail
6a710a26‐2101‐4817‐8267‐efe0bf83f896                   Address Redacted                      First Class Mail
6a72b475‐71ad‐4216‐92a6‐88db91438985                   Address Redacted                      First Class Mail
6a76e651‐eb25‐4569‐8a6f‐83a590b60f3f                   Address Redacted                      First Class Mail
6a785bdf‐5105‐4bde‐9cd0‐6ae4acfc9050                   Address Redacted                      First Class Mail
6a7a82b1‐05bb‐4bc8‐9a28‐12514e721b17                   Address Redacted                      First Class Mail
6a7dbd8c‐294e‐4e3f‐8a33‐4b985e8154c4                   Address Redacted                      First Class Mail
6a7e55f4‐ceac‐4124‐8d3f‐73adba0ec10b                   Address Redacted                      First Class Mail
6a80b910‐b3c4‐4512‐8203‐4efecb004f56                   Address Redacted                      First Class Mail
6a81dab1‐6ea2‐4a29‐8104‐ee05b134cdcf                   Address Redacted                      First Class Mail
6a82ef83‐7e80‐46ac‐8933‐f1f15ab24369                   Address Redacted                      First Class Mail
6a8330ff‐324e‐49d8‐8c5a‐1c52926fa645                   Address Redacted                      First Class Mail
6a856616‐9898‐41a0‐9131‐c2b777bdf91f                   Address Redacted                      First Class Mail
6a865f4c‐fd5a‐4b73‐b5c2‐b2a5e2456909                   Address Redacted                      First Class Mail




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                                                                Exhibit A
                                                                 Service List


                              Name                                              Address                         Method of Service
6a887b4f‐9798‐4cd8‐9bf2‐89b53ae40d63                   Address Redacted                      First Class Mail
6a88fb4f‐53bc‐4024‐9a4d‐f1a01ba00bcd                   Address Redacted                      First Class Mail
6a8e4c23‐3a44‐4120‐8abc‐c8ec7d136a1f                   Address Redacted                      First Class Mail
6a8f5474‐a46f‐40dd‐8364‐54183c5a3ff7                   Address Redacted                      First Class Mail
6a910875‐4928‐4abc‐8d7f‐676a4e930269                   Address Redacted                      First Class Mail
6a91d40d‐1d49‐4fbb‐976b‐6112c24bfc01                   Address Redacted                      First Class Mail
6a93be22‐5556‐4a8f‐8661‐697fd04745dc                   Address Redacted                      First Class Mail
6a93db1c‐3c57‐4fea‐b073‐cc8ce3335f0c                   Address Redacted                      First Class Mail
6a98de6d‐e917‐4b9b‐9e56‐a5b08d2c29e3                   Address Redacted                      First Class Mail
6a9adefd‐8e1a‐49ab‐9564‐6d8119ff0119                   Address Redacted                      First Class Mail
6a9afd2c‐cb9b‐46b2‐8239‐ea0a98e076cd                   Address Redacted                      First Class Mail
6a9cfb1c‐63b1‐421e‐b5b5‐cb5a7a2466cf                   Address Redacted                      First Class Mail
6aa0eea7‐2baa‐4725‐837d‐492d6a212dbb                   Address Redacted                      First Class Mail
6aa39458‐95b4‐4030‐89d8‐ee095c3c5d68                   Address Redacted                      First Class Mail
6aa477c6‐6dd3‐408b‐adb8‐430a6ce85f1e                   Address Redacted                      First Class Mail
6aa70722‐c9e1‐4bc5‐8852‐28b3205e370f                   Address Redacted                      First Class Mail
6aabd075‐3638‐4aad‐8155‐8ff6a8b649d3                   Address Redacted                      First Class Mail
6aac9846‐b447‐4840‐bc15‐edde68be79b2                   Address Redacted                      First Class Mail
6aacb267‐b464‐4a4b‐ab47‐9c0a69f4bdfe                   Address Redacted                      First Class Mail
6aae26aa‐7448‐433b‐8ad9‐a40ef761a7d3                   Address Redacted                      First Class Mail
6aafc310‐9a97‐46bd‐8cbc‐d3ae53b669d8                   Address Redacted                      First Class Mail
6ab2ad11‐30e9‐43ff‐8711‐25347e45ef82                   Address Redacted                      First Class Mail
6ab555d4‐958e‐4c53‐8596‐b8b16c38cb69                   Address Redacted                      First Class Mail
6ab6e459‐8dc0‐4d54‐98fa‐8d12e3e34616                   Address Redacted                      First Class Mail
6abbb815‐024c‐4749‐84e9‐e5a8f2ad6d5a                   Address Redacted                      First Class Mail
6abd59f3‐4397‐4caa‐80d4‐e3383916dabd                   Address Redacted                      First Class Mail
6abe44ee‐3102‐4cf3‐a9e4‐3651265b5822                   Address Redacted                      First Class Mail
6abe8dd4‐659a‐4ae8‐920f‐5249b55c8932                   Address Redacted                      First Class Mail
6ac09160‐0c52‐4839‐ba62‐a33f4a84923e                   Address Redacted                      First Class Mail
6ac1830c‐1b62‐422a‐b775‐dcf4943692c1                   Address Redacted                      First Class Mail
6ac5b6ec‐46ca‐4a5c‐abec‐58630ba177a6                   Address Redacted                      First Class Mail
6ac75b37‐6448‐48ad‐a6b1‐d35dc3d90cae                   Address Redacted                      First Class Mail
6aca52dc‐c4bc‐4ca5‐94e4‐247c53c4603b                   Address Redacted                      First Class Mail
6ace231d‐315c‐4056‐a452‐db33204520ed                   Address Redacted                      First Class Mail
6ace48a2‐5d65‐44b0‐abcd‐893b5c8df1ac                   Address Redacted                      First Class Mail
6acffae2‐c372‐4f51‐9485‐2aa63f6088e8                   Address Redacted                      First Class Mail
6ad0cd4a‐a529‐4b70‐9e6e‐6e264ef210b6                   Address Redacted                      First Class Mail
6ad450ec‐c673‐49cb‐bfca‐7fa9b3df1b5e                   Address Redacted                      First Class Mail
6ad552b6‐1bce‐4a51‐bfa5‐387770e0e6dc                   Address Redacted                      First Class Mail
6ad6d3ea‐824c‐41f3‐ac7a‐97e0252b8849                   Address Redacted                      First Class Mail
6ada7feb‐1797‐4b28‐a971‐0093d5cb04fd                   Address Redacted                      First Class Mail
6adca62e‐63e7‐40a5‐a4e1‐94cdced9844a                   Address Redacted                      First Class Mail
6adfeadc‐e4d5‐43f9‐bc62‐56ca386c1b2d                   Address Redacted                      First Class Mail
6ae2aa32‐1b95‐4a6c‐87ee‐2ec7b17e35aa                   Address Redacted                      First Class Mail
6ae3438a‐b73c‐45b3‐b1a3‐f29520df1561                   Address Redacted                      First Class Mail
6ae3637f‐dc5f‐464e‐bd6b‐fcc3d8fbf833                   Address Redacted                      First Class Mail
6ae8425e‐b331‐4d68‐863b‐18796c666cb8                   Address Redacted                      First Class Mail
6ae8a9b4‐a2a3‐47ca‐a9da‐b052ae5f8ffb                   Address Redacted                      First Class Mail
6aed84be‐36e2‐4571‐b385‐b5d45a3b7c2f                   Address Redacted                      First Class Mail
6aedbeb0‐23f6‐41e4‐ad58‐3f0213af1d17                   Address Redacted                      First Class Mail
6aee5ff9‐0d63‐4f83‐91cc‐7568c18f5260                   Address Redacted                      First Class Mail
6af02a94‐8324‐4a18‐a4f4‐68c4261f4c7d                   Address Redacted                      First Class Mail
6af21cbc‐70f8‐467b‐8ed6‐99fdb5be31a5                   Address Redacted                      First Class Mail
6af3425e‐23c1‐4147‐bbb4‐fc8074c1c2ae                   Address Redacted                      First Class Mail
6afc0254‐74f5‐41c7‐9611‐3f97ce347c81                   Address Redacted                      First Class Mail
6afd2b19‐7c15‐492c‐9145‐f9fdd911ad2b                   Address Redacted                      First Class Mail
6afeddfc‐2814‐46ad‐9606‐6e548253348f                   Address Redacted                      First Class Mail
6aff9b79‐42c0‐4b9e‐89f5‐83ab14215c1a                   Address Redacted                      First Class Mail
6b038321‐b295‐45b0‐8407‐c82404f1580b                   Address Redacted                      First Class Mail
6b03d2cd‐029e‐4943‐bba2‐27170a9d3430                   Address Redacted                      First Class Mail
6b07cc62‐3d06‐423e‐952c‐d2af257d2a39                   Address Redacted                      First Class Mail
6b0c9713‐084c‐4eb8‐bac7‐0410dbed7ca0                   Address Redacted                      First Class Mail
6b0defba‐ac2c‐4b35‐b163‐6ad091df4e11                   Address Redacted                      First Class Mail
6b10044b‐79d6‐4845‐ac3b‐9a6add8820fa                   Address Redacted                      First Class Mail
6b1139dd‐0aa8‐470d‐8aa2‐68d29b82bfb3                   Address Redacted                      First Class Mail
6b135010‐9bd8‐46f4‐9797‐cabf6b6d8431                   Address Redacted                      First Class Mail
6b14b8b3‐8e40‐4687‐a738‐655d952084a2                   Address Redacted                      First Class Mail
6b1648a8‐7050‐4219‐a7e1‐b878b538e022                   Address Redacted                      First Class Mail
6b1af535‐01d2‐4c90‐a63a‐ea5f6db953a4                   Address Redacted                      First Class Mail
6b1c6f61‐6d29‐45cd‐9e97‐a51c9632a812                   Address Redacted                      First Class Mail
6b1c898c‐0f85‐44c5‐aa10‐8d55711380e4                   Address Redacted                      First Class Mail
6b1d5e7d‐722e‐49af‐83a7‐04036d9beced                   Address Redacted                      First Class Mail




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                                                                Exhibit A
                                                                 Service List


                              Name                                              Address                         Method of Service
6b1e45eb‐2f53‐4ddc‐8275‐78c44bbd9e4c                   Address Redacted                      First Class Mail
6b209390‐381b‐45bb‐8d57‐0a38a9702528                   Address Redacted                      First Class Mail
6b22e5b6‐4a28‐4ca0‐a639‐09832345121d                   Address Redacted                      First Class Mail
6b264fbc‐31e2‐4b4f‐80a6‐19f3827b2e25                   Address Redacted                      First Class Mail
6b28b036‐9078‐42f4‐9722‐c8457acc5910                   Address Redacted                      First Class Mail
6b2adac2‐d62d‐49d7‐9400‐b4d177a92be2                   Address Redacted                      First Class Mail
6b2d6276‐90c5‐408a‐9542‐1de81af6806a                   Address Redacted                      First Class Mail
6b33d36f‐0647‐4ec2‐9a9d‐a1970a0d829f                   Address Redacted                      First Class Mail
6b343720‐0685‐4ca7‐b8f7‐b5d74631d659                   Address Redacted                      First Class Mail
6b352450‐0acd‐4a1d‐b4e3‐2516182f1d63                   Address Redacted                      First Class Mail
6b3730b1‐4ccc‐4959‐8a69‐3875d633d537                   Address Redacted                      First Class Mail
6b37fcfb‐6e08‐47a9‐9ef8‐8b8e3ea1310a                   Address Redacted                      First Class Mail
6b3921e3‐6a18‐4044‐b982‐710f04765bb3                   Address Redacted                      First Class Mail
6b3b0d40‐d231‐4e2b‐ad3c‐674ff695dd55                   Address Redacted                      First Class Mail
6b46ad53‐5fb9‐4d00‐b5b3‐22353d797839                   Address Redacted                      First Class Mail
6b491d0d‐c7ad‐4fbb‐9af4‐44eeea12a745                   Address Redacted                      First Class Mail
6b49ee6e‐612d‐4fe5‐8af6‐37829162422b                   Address Redacted                      First Class Mail
6b4a8afd‐1261‐4900‐a402‐b0f95cc50e7e                   Address Redacted                      First Class Mail
6b4ee11a‐dd22‐44e1‐b79d‐4644a02b9cf3                   Address Redacted                      First Class Mail
6b4f57d8‐bcd3‐4e3e‐98c7‐8fcdcc21f676                   Address Redacted                      First Class Mail
6b511881‐49b7‐4d1f‐ab66‐d96749b28067                   Address Redacted                      First Class Mail
6b51d840‐1542‐43da‐be38‐e2b2d7f6e20b                   Address Redacted                      First Class Mail
6b53326e‐0c42‐43bc‐b1e6‐d1c2aea0b42d                   Address Redacted                      First Class Mail
6b534008‐314b‐42d6‐8db5‐9c3926154182                   Address Redacted                      First Class Mail
6b560996‐191b‐4400‐be33‐907241d78bca                   Address Redacted                      First Class Mail
6b563e28‐e5cb‐4dda‐931a‐abc2f117795c                   Address Redacted                      First Class Mail
6b59241e‐9938‐48cb‐94c0‐ac9c80277794                   Address Redacted                      First Class Mail
6b5a6053‐6cb5‐42bb‐b648‐392ee0d429a4                   Address Redacted                      First Class Mail
6b5aee05‐1ace‐481b‐8e07‐bef43a4e9f1c                   Address Redacted                      First Class Mail
6b5cbb63‐dc29‐4b2f‐b331‐f6c519c9c8c8                   Address Redacted                      First Class Mail
6b68d79d‐46df‐4a93‐afd9‐6f3902479e38                   Address Redacted                      First Class Mail
6b6b9a5f‐431f‐4099‐89fb‐82a9360084fd                   Address Redacted                      First Class Mail
6b6c7d48‐c6c4‐47ce‐9117‐dfa7d3f0ad22                   Address Redacted                      First Class Mail
6b6c9be6‐7692‐469c‐915d‐daca05411145                   Address Redacted                      First Class Mail
6b71d2ef‐0b53‐4714‐bd68‐14af68f963bb                   Address Redacted                      First Class Mail
6b750b55‐c34d‐48e5‐a608‐f9e84fd66092                   Address Redacted                      First Class Mail
6b76abc1‐c076‐49cf‐a37b‐1865a70caec1                   Address Redacted                      First Class Mail
6b7c9949‐e2a3‐4265‐ac13‐66281b61242a                   Address Redacted                      First Class Mail
6b7e4d56‐24c5‐4d8d‐a1f4‐d6056a15d143                   Address Redacted                      First Class Mail
6b7f6a67‐fff8‐4a1b‐a84c‐cb965ece8dd6                   Address Redacted                      First Class Mail
6b85fa54‐0319‐422d‐8013‐494ceaf86ca8                   Address Redacted                      First Class Mail
6b87678e‐210e‐498f‐abf2‐1468d6fcde9c                   Address Redacted                      First Class Mail
6b89c4d1‐a531‐494a‐8260‐0e24206cc7bc                   Address Redacted                      First Class Mail
6b8b7573‐19ee‐4b78‐b8c7‐01644b14e94e                   Address Redacted                      First Class Mail
6b8bfb60‐9fb3‐43a8‐aa0b‐41b42a10c54d                   Address Redacted                      First Class Mail
6b8c401f‐f71f‐461f‐a93d‐dd0e9f0c1044                   Address Redacted                      First Class Mail
6b8df4ec‐ee55‐4f01‐a45b‐96de6a8fef2a                   Address Redacted                      First Class Mail
6b8e726b‐a564‐4a8b‐a3d3‐03105dfdd274                   Address Redacted                      First Class Mail
6b8ecbd8‐8051‐4248‐8698‐5d70b24ef3c0                   Address Redacted                      First Class Mail
6b93f5cd‐ce2c‐4375‐b833‐5a482e78ce1d                   Address Redacted                      First Class Mail
6b951232‐c7e7‐4965‐acc9‐83346f0f72b8                   Address Redacted                      First Class Mail
6b953db3‐fcc8‐4401‐a352‐a307666f6e13                   Address Redacted                      First Class Mail
6b9618f6‐5a09‐446d‐b641‐4d3b20493fb2                   Address Redacted                      First Class Mail
6b98a58d‐0f91‐455e‐89cb‐c07ae88fc439                   Address Redacted                      First Class Mail
6b9a9b9b‐d709‐494c‐8d1d‐9ae405bc9c1f                   Address Redacted                      First Class Mail
6b9c9af8‐32e2‐445a‐ba8a‐90c33b33c607                   Address Redacted                      First Class Mail
6b9cd01b‐e909‐48a3‐bc7a‐cda6c244fc7b                   Address Redacted                      First Class Mail
6ba3881f‐27b1‐4ea4‐8a85‐a258bc3a5f93                   Address Redacted                      First Class Mail
6ba6ffa7‐4a10‐412c‐9439‐f9b969d3f646                   Address Redacted                      First Class Mail
6baa32a9‐5303‐4a1e‐93bc‐fdbaf7d7db37                   Address Redacted                      First Class Mail
6bacb762‐1ba7‐4017‐a1e2‐3bc21f46ea7b                   Address Redacted                      First Class Mail
6bafc3f8‐97b5‐4792‐977f‐9f307394747a                   Address Redacted                      First Class Mail
6bb1e3bf‐fdd7‐48df‐a837‐bab5c80b9244                   Address Redacted                      First Class Mail
6bb27960‐da2c‐45af‐8089‐5d794f8008d5                   Address Redacted                      First Class Mail
6bb30c4e‐f7fd‐49c8‐bcc7‐9a142ec73ecd                   Address Redacted                      First Class Mail
6bb4025d‐bc3f‐4d42‐90f0‐8f6f3630a66c                   Address Redacted                      First Class Mail
6bb4a107‐afc3‐498e‐a61f‐bc170edc707d                   Address Redacted                      First Class Mail
6bc253ad‐43a0‐4078‐bd46‐da96098fd9b8                   Address Redacted                      First Class Mail
6bc74d31‐2fca‐4ed1‐b31a‐522c0e88451f                   Address Redacted                      First Class Mail
6bc90b43‐22f7‐486c‐b17f‐678dddfd10e3                   Address Redacted                      First Class Mail
6bca3f81‐c0ba‐4b11‐b6bb‐1465d46bde01                   Address Redacted                      First Class Mail
6bcc8677‐dacc‐4b4d‐b848‐288b06921ca5                   Address Redacted                      First Class Mail




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                                                                Exhibit A
                                                                 Service List


                              Name                                              Address                         Method of Service
6bce5dab‐4c63‐4dc3‐beb3‐dcf04c797e0f                   Address Redacted                      First Class Mail
6bcefcb9‐9ce1‐452c‐9ffb‐49bc03ee8232                   Address Redacted                      First Class Mail
6bd0df35‐bbad‐4154‐bc1c‐4944d5838f48                   Address Redacted                      First Class Mail
6bd159d9‐5975‐40e7‐a440‐7d62ec4ce770                   Address Redacted                      First Class Mail
6bd17356‐c3fc‐48d9‐afb1‐40d13ab63709                   Address Redacted                      First Class Mail
6bda790d‐e756‐4332‐9c69‐bf5a84188327                   Address Redacted                      First Class Mail
6bdb7304‐d2b6‐41e9‐a9a2‐cbdf3e49018f                   Address Redacted                      First Class Mail
6bdd0caa‐426e‐4c4e‐892c‐3e0ba06ac5d3                   Address Redacted                      First Class Mail
6bddbfcf‐c029‐4148‐ab38‐a6c15c71dea4                   Address Redacted                      First Class Mail
6bde0457‐8006‐4546‐8bff‐e6576e1103df                   Address Redacted                      First Class Mail
6be0f66c‐d226‐465a‐94cd‐1500e6da5dc9                   Address Redacted                      First Class Mail
6beb0874‐99f8‐43b7‐a93f‐320adf3aedd1                   Address Redacted                      First Class Mail
6bebcf7d‐a247‐49dc‐b74a‐a9d10d2bb562                   Address Redacted                      First Class Mail
6bee36d6‐d867‐404b‐bdd6‐ac92a9037bad                   Address Redacted                      First Class Mail
6bee55ad‐5999‐4578‐a5a8‐2043208b4b89                   Address Redacted                      First Class Mail
6bf044fb‐48ff‐4806‐a809‐80bd979b96f9                   Address Redacted                      First Class Mail
6bf2b289‐1701‐48ff‐9d22‐2fee16fdefdb                   Address Redacted                      First Class Mail
6bf4cc2b‐573c‐4dea‐a5a7‐6ca6c327dd05                   Address Redacted                      First Class Mail
6bf96ab7‐2c13‐40ed‐acd6‐9fa1ff58bb17                   Address Redacted                      First Class Mail
6bfc7bd1‐6a19‐4293‐a699‐4c77389dc4e2                   Address Redacted                      First Class Mail
6bfec9b6‐3251‐4996‐ac56‐1d0be3f05b1e                   Address Redacted                      First Class Mail
6c005a8f‐835b‐418f‐96d7‐733a0b53237d                   Address Redacted                      First Class Mail
6c034daf‐787e‐4639‐a9c1‐dbe13878a7fb                   Address Redacted                      First Class Mail
6c03b611‐cae4‐4ece‐9a57‐ae1d9dbdaa4a                   Address Redacted                      First Class Mail
6c056e83‐cded‐4b9c‐8688‐07d6480cd68b                   Address Redacted                      First Class Mail
6c0936be‐0719‐4c73‐a0fe‐651ab8150eaa                   Address Redacted                      First Class Mail
6c0cbcf5‐fc5b‐4859‐a8b1‐f1394c5cc9e9                   Address Redacted                      First Class Mail
6c10cf28‐c158‐48cd‐828f‐901208ad5f44                   Address Redacted                      First Class Mail
6c137f69‐0ae2‐466c‐a9d7‐793f27546437                   Address Redacted                      First Class Mail
6c144cdc‐1b6f‐4c19‐a6ca‐7fd2506df8b4                   Address Redacted                      First Class Mail
6c20012f‐7a03‐4a2e‐9e6e‐b4fb7fdfc865                   Address Redacted                      First Class Mail
6c21ffe2‐127c‐4d00‐93e5‐7df44dddf532                   Address Redacted                      First Class Mail
6c2406bc‐3729‐4f68‐8706‐0d4e6243d710                   Address Redacted                      First Class Mail
6c26c735‐765b‐400c‐93e0‐3af002d83796                   Address Redacted                      First Class Mail
6c270262‐acc7‐4df3‐8684‐3f7728dd8073                   Address Redacted                      First Class Mail
6c2746ca‐320d‐4c26‐b51f‐908d94d8ad43                   Address Redacted                      First Class Mail
6c28e0c6‐32c4‐4d6d‐b11f‐61890f8b32dd                   Address Redacted                      First Class Mail
6c2e39c1‐4b12‐4fc3‐b04c‐cf226e6590ab                   Address Redacted                      First Class Mail
6c3043f1‐f20b‐4804‐b9a6‐388be998269f                   Address Redacted                      First Class Mail
6c306f98‐51c4‐443a‐946f‐d6feb992ba50                   Address Redacted                      First Class Mail
6c31df2a‐587f‐41ea‐aab4‐8f37a8de80a7                   Address Redacted                      First Class Mail
6c32a7d1‐2f93‐4885‐a623‐1263482038dc                   Address Redacted                      First Class Mail
6c3374db‐7f9e‐4c60‐80c7‐f82ba8985aaf                   Address Redacted                      First Class Mail
6c34a28d‐187a‐4d5c‐96d8‐5c90b4cb39c1                   Address Redacted                      First Class Mail
6c35450b‐f635‐468a‐9fdc‐811fb26fc91f                   Address Redacted                      First Class Mail
6c3aca1d‐e824‐4832‐a8f0‐2b0893d9a1da                   Address Redacted                      First Class Mail
6c3c8f54‐c90e‐4193‐9a4a‐7cc10820b96d                   Address Redacted                      First Class Mail
6c3ea6e1‐1c44‐4b37‐b66d‐400e0ea77964                   Address Redacted                      First Class Mail
6c40a704‐91cb‐4b41‐b6cc‐442e80bd7631                   Address Redacted                      First Class Mail
6c4237ad‐8ae5‐4fb1‐ad2e‐221bb88abbd9                   Address Redacted                      First Class Mail
6c48addd‐63ce‐477a‐8871‐0204e2a23aa8                   Address Redacted                      First Class Mail
6c48f4a8‐5522‐4b3d‐a592‐de92a680e4a5                   Address Redacted                      First Class Mail
6c494ac3‐7773‐4176‐929f‐24ba788bf803                   Address Redacted                      First Class Mail
6c4ac541‐340f‐4c81‐b14e‐3db9d0db8fde                   Address Redacted                      First Class Mail
6c4c0077‐97d8‐4336‐8a63‐8cc1638b1252                   Address Redacted                      First Class Mail
6c4c9c3e‐3f44‐4046‐b80c‐c5ab09bc5da4                   Address Redacted                      First Class Mail
6c4d6ee7‐b789‐4024‐937f‐bf65a0941ea6                   Address Redacted                      First Class Mail
6c4e64ef‐b4a4‐4c4a‐aca7‐e38524a35334                   Address Redacted                      First Class Mail
6c4ee952‐f977‐4b92‐a1ae‐a8dcc094dab0                   Address Redacted                      First Class Mail
6c512458‐26c0‐40b3‐a703‐d58dc97da81e                   Address Redacted                      First Class Mail
6c5d8656‐0eba‐4e09‐982a‐1d4a732aef96                   Address Redacted                      First Class Mail
6c5e189c‐380b‐4a87‐8173‐013b22027c3e                   Address Redacted                      First Class Mail
6c5f8324‐b989‐405f‐9253‐300222d3f5e1                   Address Redacted                      First Class Mail
6c6084c1‐d168‐4262‐a1aa‐c3e3c4780c98                   Address Redacted                      First Class Mail
6c631948‐7888‐4670‐9488‐7d338912d0b5                   Address Redacted                      First Class Mail
6c640047‐5669‐4b33‐bb03‐709d2dba0476                   Address Redacted                      First Class Mail
6c67a1ef‐9c83‐4190‐910a‐255f7ab28ba1                   Address Redacted                      First Class Mail
6c67e38d‐cad8‐4317‐907f‐cbdfa0a02f24                   Address Redacted                      First Class Mail
6c6bf090‐1d09‐451b‐8154‐a5512b086329                   Address Redacted                      First Class Mail
6c6c109c‐4392‐4f04‐b7b8‐569caf4eb199                   Address Redacted                      First Class Mail
6c6cc5f2‐a9d6‐4b31‐8ed8‐649c377539e9                   Address Redacted                      First Class Mail
6c6e85f9‐51da‐40e3‐a1fc‐f8b6c48db66e                   Address Redacted                      First Class Mail




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                                                                 Service List


                               Name                                             Address                         Method of Service
6c7ecd04‐918d‐4e6e‐b559‐abb17b964be5                   Address Redacted                      First Class Mail
6c7fbfdb‐b8fe‐4010‐b9f9‐21325c34d9bd                   Address Redacted                      First Class Mail
6c813911‐2264‐4a27‐aa23‐d4b86e3eefe5                   Address Redacted                      First Class Mail
6c8212aa‐2448‐4ed1‐9d28‐2154fd25a038                   Address Redacted                      First Class Mail
6c8e950c‐e44f‐436e‐9512‐977d92cacd63                   Address Redacted                      First Class Mail
6c910344‐9b67‐41e9‐8332‐f1deee37caf0                   Address Redacted                      First Class Mail
6c933bab‐0ab9‐4229‐a413‐cf5cfa59b783                   Address Redacted                      First Class Mail
6c939e1c‐621a‐46e5‐a9f4‐87720671adf2                   Address Redacted                      First Class Mail
6c98339e‐547a‐4203‐ba5b‐4b6b4452cacb                   Address Redacted                      First Class Mail
6c99e44f‐5442‐4d87‐90fc‐cbc41ca79ae3                   Address Redacted                      First Class Mail
6c9a2506‐6527‐4a2d‐92d6‐c767c9a55f4d                   Address Redacted                      First Class Mail
6c9caf79‐6a63‐4b29‐8c5a‐74fa4058f49b                   Address Redacted                      First Class Mail
6c9e22a6‐e6ab‐48ae‐b2a9‐b4c7179f83eb                   Address Redacted                      First Class Mail
6ca3fe42‐1337‐4c3c‐b301‐6d35e7d249ea                   Address Redacted                      First Class Mail
6caddd05‐3462‐4c7a‐8f3a‐90cec643b565                   Address Redacted                      First Class Mail
6caf8926‐da30‐4dbc‐8e2e‐4ffa732814ca                   Address Redacted                      First Class Mail
6cb030c3‐089e‐4498‐bb97‐5315eae2fd07                   Address Redacted                      First Class Mail
6cb06519‐f2c5‐4b66‐8516‐5dae1600c764                   Address Redacted                      First Class Mail
6cb0c189‐4e3c‐4a3a‐b5d3‐a7c1e42f335a                   Address Redacted                      First Class Mail
6cb5f15c‐36de‐4e43‐ad84‐b0c7c5b69d1c                   Address Redacted                      First Class Mail
6cb9cd00‐d7c6‐4425‐9b0d‐10655d25d4f6                   Address Redacted                      First Class Mail
6cba6cbc‐c430‐4bc4‐abc5‐1d369402e013                   Address Redacted                      First Class Mail
6cbcdb8a‐6e56‐48b1‐8308‐fc8309b25d34                   Address Redacted                      First Class Mail
6cbe60b0‐4cbf‐4fcb‐87ae‐402726b03409                   Address Redacted                      First Class Mail
6cbf6174‐25e7‐4039‐8d2b‐c5558c813ff3                   Address Redacted                      First Class Mail
6cc2cf93‐1f71‐4a87‐b1aa‐688ebe130082                   Address Redacted                      First Class Mail
6cc2f10b‐5daf‐47b2‐add4‐1dcb8278737c                   Address Redacted                      First Class Mail
6cc92280‐5934‐40b0‐ad3a‐bd8444fdcb1c                   Address Redacted                      First Class Mail
6cccfc3a‐7566‐43ac‐be38‐8cae1cf5a11a                   Address Redacted                      First Class Mail
6cd3878e‐0d2e‐47ce‐b0b0‐3b3d753bfcff                   Address Redacted                      First Class Mail
6cd4f618‐9c15‐403f‐8ff8‐a1817e5d7402                   Address Redacted                      First Class Mail
6cdb31b9‐b426‐4378‐b32f‐9af70df3a1a2                   Address Redacted                      First Class Mail
6cdbd09a‐9f6e‐4dc3‐bdb3‐8c8aa78efbff                   Address Redacted                      First Class Mail
6ce268bb‐2de1‐40ee‐b554‐305dde68ee2d                   Address Redacted                      First Class Mail
6ce2cbf5‐827e‐486f‐9a6b‐6c5a168c91e5                   Address Redacted                      First Class Mail
6ce55ca6‐ca46‐4684‐9502‐165a3147984c                   Address Redacted                      First Class Mail
6ce7baa3‐4c05‐4404‐98bb‐4e9ecf7fc1a8                   Address Redacted                      First Class Mail
6ce7f180‐7d9a‐4195‐8cd7‐bdf9a7cbb8ff                   Address Redacted                      First Class Mail
6ceb2da1‐efeb‐4c39‐91c4‐71c75d51a18e                   Address Redacted                      First Class Mail
6cecf9e5‐38c7‐4f73‐918e‐18d82964fd34                   Address Redacted                      First Class Mail
6cf1a70f‐80e8‐45b9‐811f‐c5e8fea08aeb                   Address Redacted                      First Class Mail
6cf3cc50‐1a9c‐4dd8‐bafd‐75a92b0a5391                   Address Redacted                      First Class Mail
6cf98d3b‐2059‐44da‐b40e‐c6a2bc17e205                   Address Redacted                      First Class Mail
6cfa4486‐be5e‐44b0‐a35a‐0bacd13264e9                   Address Redacted                      First Class Mail
6cfc870d‐4255‐4836‐914f‐07047b9dc365                   Address Redacted                      First Class Mail
6cfd6645‐cb15‐4a04‐a54b‐ebb35847e347                   Address Redacted                      First Class Mail
6cfdfe20‐cf6f‐48f2‐87bf‐6cc4e5131696                   Address Redacted                      First Class Mail
6d0169c0‐26e9‐4b9a‐88dd‐19414d66d8f1                   Address Redacted                      First Class Mail
6d037e6f‐c5a8‐48b3‐b5d5‐418662d29784                   Address Redacted                      First Class Mail
6d064779‐65ab‐4cff‐b0a5‐20b54d3e0361                   Address Redacted                      First Class Mail
6d09f125‐6a2b‐4b2a‐8e3f‐7a61349461c1                   Address Redacted                      First Class Mail
6d0bc420‐74d0‐4efc‐bf48‐dcedfdc54ff3                   Address Redacted                      First Class Mail
6d0c6561‐70d0‐49f8‐b1a9‐b497ecd28438                   Address Redacted                      First Class Mail
6d0d5cfd‐0589‐4ab9‐a10c‐395f14a5813b                   Address Redacted                      First Class Mail
6d0e23bd‐4d6a‐46a1‐b051‐d6fe23f33f76                   Address Redacted                      First Class Mail
6d0e3bb6‐390a‐4310‐adf6‐1c9a861abfee                   Address Redacted                      First Class Mail
6d14fcf3‐3ce5‐4e66‐9054‐01832866e27e                   Address Redacted                      First Class Mail
6d16e63b‐cc4d‐4381‐ab35‐a48076dbd80b                   Address Redacted                      First Class Mail
6d175364‐a14d‐48e8‐88df‐bb08febebe99                   Address Redacted                      First Class Mail
6d177f7f‐56c3‐4770‐bc11‐7044476d8017                   Address Redacted                      First Class Mail
6d195132‐676d‐4992‐a544‐66d89e813d37                   Address Redacted                      First Class Mail
6d1bedb1‐ef37‐498b‐a22b‐423a0a6f6455                   Address Redacted                      First Class Mail
6d1cf44e‐4b4b‐48a0‐b63b‐e4ca4da5f763                   Address Redacted                      First Class Mail
6d22a1cf‐decf‐425e‐aa3c‐b848c4f62a2e                   Address Redacted                      First Class Mail
6d2368fe‐33ab‐45e0‐b820‐e2cee09f2db5                   Address Redacted                      First Class Mail
6d243f1d‐c08a‐4de1‐8952‐151d1934d773                   Address Redacted                      First Class Mail
6d277ed2‐9ef2‐409d‐99d7‐afc856436fc6                   Address Redacted                      First Class Mail
6d2974e7‐4890‐4a45‐b053‐28a12c5cdcc9                   Address Redacted                      First Class Mail
6d2b5d93‐d5b6‐4a3d‐8519‐25176ca0d59f                   Address Redacted                      First Class Mail
6d2ee971‐97ba‐4134‐a087‐037f63cefa2c                   Address Redacted                      First Class Mail
6d2f76dd‐d23f‐4d27‐9c31‐aa08479ccbb8                   Address Redacted                      First Class Mail
6d3152d5‐0b55‐4b53‐9288‐ea68be52bce3                   Address Redacted                      First Class Mail




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                              Name                                              Address                         Method of Service
6d34dc91‐8fdc‐42cc‐b0b2‐c374e91dce55                   Address Redacted                      First Class Mail
6d35def6‐b4a2‐4c11‐a5bb‐ed173beec3d2                   Address Redacted                      First Class Mail
6d39fd1e‐1101‐42e9‐bd76‐fcd2f1c56765                   Address Redacted                      First Class Mail
6d3baa21‐19b9‐4c69‐9cfc‐3c49e4a722b3                   Address Redacted                      First Class Mail
6d3c348e‐667c‐45d3‐8331‐1cd6a3ff81f7                   Address Redacted                      First Class Mail
6d3c906c‐222a‐47ae‐8d48‐dd9e45c6ca1b                   Address Redacted                      First Class Mail
6d46d4f8‐271f‐4357‐8f87‐46695d41fb4a                   Address Redacted                      First Class Mail
6d4a05be‐5835‐4407‐b3f4‐0f52721f8373                   Address Redacted                      First Class Mail
6d54bf0d‐43e9‐40cb‐845b‐25168e93e071                   Address Redacted                      First Class Mail
6d55334b‐a3f6‐457a‐87b8‐91737399718c                   Address Redacted                      First Class Mail
6d56fee4‐4742‐4098‐80b8‐fe0a3e3ff459                   Address Redacted                      First Class Mail
6d5a8096‐c9f5‐4264‐9ebc‐6eb297b4a473                   Address Redacted                      First Class Mail
6d5c33e5‐db85‐42d1‐927d‐7266f4d083e3                   Address Redacted                      First Class Mail
6d5db49b‐c41f‐4482‐810e‐0d7192c09174                   Address Redacted                      First Class Mail
6d5fd802‐c88e‐4bd8‐bfa7‐549d7a94495c                   Address Redacted                      First Class Mail
6d60b9e4‐a1c5‐4a06‐9ed4‐6a583d0eeac4                   Address Redacted                      First Class Mail
6d6100b5‐a321‐4464‐a82e‐94e7a90264b5                   Address Redacted                      First Class Mail
6d677c47‐76af‐4c8a‐a676‐c7ef6383cdd1                   Address Redacted                      First Class Mail
6d6b5e23‐40e5‐484c‐bd73‐4179db0ba432                   Address Redacted                      First Class Mail
6d6cf7aa‐dbeb‐4daf‐ba61‐32bf421abe5c                   Address Redacted                      First Class Mail
6d70ddf1‐390d‐4447‐a5c2‐b8e14beeaa2b                   Address Redacted                      First Class Mail
6d729038‐fcaa‐4cb9‐8b7d‐02c0a3369d57                   Address Redacted                      First Class Mail
6d7292f2‐ee4d‐4502‐94a3‐89a6dd25a3c7                   Address Redacted                      First Class Mail
6d767065‐2787‐43b2‐8140‐0e747692ee4d                   Address Redacted                      First Class Mail
6d77fde8‐90a0‐44e5‐a5d0‐5d4e8fe34cd1                   Address Redacted                      First Class Mail
6d7a6353‐cde0‐490d‐9cde‐3fb4d65a1b6f                   Address Redacted                      First Class Mail
6d7e1210‐5030‐4d2b‐8837‐62d41124ea7e                   Address Redacted                      First Class Mail
6d83e59d‐2119‐4caf‐aef4‐99f5e1d2b023                   Address Redacted                      First Class Mail
6d83ff26‐95ce‐4992‐a1dd‐1c69ccff5a28                   Address Redacted                      First Class Mail
6d854948‐a10a‐4cd7‐9a4c‐d6677ad69601                   Address Redacted                      First Class Mail
6d8614cf‐caf8‐4651‐a308‐ff98782cee60                   Address Redacted                      First Class Mail
6d866402‐9fb0‐4296‐9e9f‐582032b32720                   Address Redacted                      First Class Mail
6d874c45‐c9ad‐41e8‐97eb‐2533105bd75d                   Address Redacted                      First Class Mail
6d8cbf50‐d777‐44c1‐9970‐9e08db36ba31                   Address Redacted                      First Class Mail
6d8e8ca8‐95ce‐4547‐ae1a‐667528f41550                   Address Redacted                      First Class Mail
6d8ee043‐c995‐49a7‐b9b0‐206a4a5d18ea                   Address Redacted                      First Class Mail
6d8f2fd7‐7600‐4a7d‐9632‐033d87de8a45                   Address Redacted                      First Class Mail
6d920e34‐3181‐4bd9‐834c‐1ca3f61bb844                   Address Redacted                      First Class Mail
6d939fbb‐0bbd‐4770‐8123‐cc6c794d06ca                   Address Redacted                      First Class Mail
6d962981‐10c4‐44ec‐84b0‐9b922335e06c                   Address Redacted                      First Class Mail
6d984adf‐e679‐4724‐a078‐8f5be44814f4                   Address Redacted                      First Class Mail
6d9d30e2‐838d‐490a‐8a97‐3b07f6f03c30                   Address Redacted                      First Class Mail
6da0ac5d‐b513‐4dce‐b2d8‐b75f3182948f                   Address Redacted                      First Class Mail
6da19990‐ebc2‐4c0a‐b468‐19edd3d4f8fd                   Address Redacted                      First Class Mail
6da9c9b9‐69f9‐4e20‐ab3f‐a733705fe9e7                   Address Redacted                      First Class Mail
6daa2e4e‐169b‐4d66‐ab3b‐829f284da764                   Address Redacted                      First Class Mail
6daf626d‐230a‐4193‐9d04‐4866891252fb                   Address Redacted                      First Class Mail
6db06142‐ae6d‐4364‐a7c3‐13b3dac187f4                   Address Redacted                      First Class Mail
6db950ae‐c8f6‐4d36‐bcd6‐af0fea37d18e                   Address Redacted                      First Class Mail
6dbc9188‐5c98‐4b14‐8cf2‐3ffde58990ef                   Address Redacted                      First Class Mail
6dbcae45‐3dd9‐41da‐b704‐e2dc9df5b15e                   Address Redacted                      First Class Mail
6dbdb69b‐698d‐4ec5‐9196‐7aef7d97731d                   Address Redacted                      First Class Mail
6dc005b0‐d0a3‐423b‐943e‐7e8cf3112aef                   Address Redacted                      First Class Mail
6dc17724‐8a1e‐43f0‐905e‐44261cffd08c                   Address Redacted                      First Class Mail
6dc3a966‐c0ad‐4cfb‐a04d‐2fed38d59fc5                   Address Redacted                      First Class Mail
6dc40491‐73e1‐4964‐b96a‐0d65b4c00677                   Address Redacted                      First Class Mail
6dc7323d‐dfbe‐44f6‐9fc1‐d808e2390eae                   Address Redacted                      First Class Mail
6dcb5157‐ad07‐48d2‐ac9e‐8db46a38c37f                   Address Redacted                      First Class Mail
6dd181e7‐4d5f‐4dc5‐96a9‐a4d30f62d133                   Address Redacted                      First Class Mail
6dd397c1‐d62b‐41d6‐9a26‐bbe478ce4ee7                   Address Redacted                      First Class Mail
6dd45604‐504e‐4613‐94c8‐2fdecae70e02                   Address Redacted                      First Class Mail
6dd88e49‐c21a‐4098‐9b97‐526f2efed5d7                   Address Redacted                      First Class Mail
6ddb8d88‐c2db‐4572‐99c4‐b418235987d3                   Address Redacted                      First Class Mail
6dddbb65‐8bcb‐4d92‐be52‐d96357230ccd                   Address Redacted                      First Class Mail
6de43810‐7680‐446a‐a1cb‐c2bb06b415f4                   Address Redacted                      First Class Mail
6de7bb50‐b465‐4ccb‐822d‐64c91a704520                   Address Redacted                      First Class Mail
6de9f88d‐fbf9‐4e9e‐ae57‐79fc896a735d                   Address Redacted                      First Class Mail
6dede0af‐90c2‐48ab‐80f4‐37c390387899                   Address Redacted                      First Class Mail
6dee5605‐be52‐4448‐a906‐ee208bdf95a5                   Address Redacted                      First Class Mail
6df266ac‐4857‐4deb‐bd47‐d5f2a139480e                   Address Redacted                      First Class Mail
6df63dfb‐48fa‐4481‐9e51‐0c26351253aa                   Address Redacted                      First Class Mail
6df7f626‐bb13‐492c‐b6a7‐5a5f17024474                   Address Redacted                      First Class Mail




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                                                                 Service List


                               Name                                             Address                         Method of Service
6df82fb6‐847f‐4c9b‐8303‐a06c7d703a2f                   Address Redacted                      First Class Mail
6dfbd08b‐42ef‐46d8‐b2bd‐37ba9a58b733                   Address Redacted                      First Class Mail
6dfcbfa7‐41e3‐44d5‐afdb‐935bf6414196                   Address Redacted                      First Class Mail
6dfd3666‐c204‐496f‐829a‐d22f9915be72                   Address Redacted                      First Class Mail
6e01c970‐6b7f‐4b7a‐bafc‐ff2fa83f7e82                   Address Redacted                      First Class Mail
6e082000‐53a4‐44db‐b485‐db57a5cc1dad                   Address Redacted                      First Class Mail
6e090db8‐1c04‐406f‐99a2‐e3111031d3f3                   Address Redacted                      First Class Mail
6e0c8627‐8fe5‐4380‐b364‐5dcedfcaa77a                   Address Redacted                      First Class Mail
6e0d69e5‐e5c3‐41e8‐bdaa‐a276d0d0c6dc                   Address Redacted                      First Class Mail
6e0f7fb8‐0d8b‐44aa‐be73‐2ff2cad4753e                   Address Redacted                      First Class Mail
6e0fafd6‐dda1‐447a‐8a21‐eb9911565960                   Address Redacted                      First Class Mail
6e11d4ec‐712d‐482f‐9b91‐7bb0c2d1265b                   Address Redacted                      First Class Mail
6e1767c6‐b4b3‐4890‐bf7a‐81ff3e99245e                   Address Redacted                      First Class Mail
6e1d225f‐c860‐4604‐bfa8‐1ce75db8f368                   Address Redacted                      First Class Mail
6e1d4ab7‐7d48‐4ffc‐ba71‐a34d1bded652                   Address Redacted                      First Class Mail
6e209fc8‐2ee9‐4146‐a0ff‐d83ba0b5dc05                   Address Redacted                      First Class Mail
6e213e93‐0cc0‐4ece‐992e‐402991152976                   Address Redacted                      First Class Mail
6e235958‐af14‐4ac0‐8430‐3283909d8df7                   Address Redacted                      First Class Mail
6e235f7b‐0647‐4d27‐b34d‐3085c444fae1                   Address Redacted                      First Class Mail
6e26a8d8‐63f4‐451d‐a74b‐417e7a558bb9                   Address Redacted                      First Class Mail
6e26ccb7‐20b5‐4941‐aa1f‐4660558283a5                   Address Redacted                      First Class Mail
6e282665‐c346‐4af5‐849b‐bbf871650335                   Address Redacted                      First Class Mail
6e28a753‐2e55‐4ad7‐bce5‐b5459b04666d                   Address Redacted                      First Class Mail
6e2bd5ed‐dbb2‐414d‐a70b‐7ad9c9a46186                   Address Redacted                      First Class Mail
6e2c67cb‐8b98‐4c8d‐a13d‐afd84d7251cf                   Address Redacted                      First Class Mail
6e2d034e‐72ff‐41c7‐99c8‐bf73a1e45e83                   Address Redacted                      First Class Mail
6e306c76‐a65f‐4e6c‐a52d‐a1aa1b6b3187                   Address Redacted                      First Class Mail
6e30fa8c‐5358‐4805‐94b9‐f0ff10a9a27b                   Address Redacted                      First Class Mail
6e32b0bf‐37b0‐4312‐8af7‐14b21c89482f                   Address Redacted                      First Class Mail
6e3654bf‐caa6‐4e55‐8fb6‐9e955c7d10a2                   Address Redacted                      First Class Mail
6e37f100‐4244‐4846‐b7ff‐8ba8ed0b7387                   Address Redacted                      First Class Mail
6e38cbbb‐ed8f‐42f8‐9cee‐0dd3d5240cd8                   Address Redacted                      First Class Mail
6e39e664‐7986‐4520‐84e0‐2b9112695861                   Address Redacted                      First Class Mail
6e3a1018‐e142‐4b36‐a5ec‐509a6e06e746                   Address Redacted                      First Class Mail
6e3b9b99‐f2a8‐40bf‐9dcf‐eb84d5d97734                   Address Redacted                      First Class Mail
6e42e170‐eba0‐4057‐8ea1‐a6847e3ffa89                   Address Redacted                      First Class Mail
6e468d5b‐1921‐49ba‐b2ff‐0845d9fbd4c5                   Address Redacted                      First Class Mail
6e474563‐5d09‐4d06‐b93c‐27abb276200b                   Address Redacted                      First Class Mail
6e483038‐dbef‐4b4f‐8247‐497a8c163719                   Address Redacted                      First Class Mail
6e48b20d‐3a37‐48fb‐bf2e‐ee8c8b002e72                   Address Redacted                      First Class Mail
6e498646‐cff1‐4c7b‐8af4‐89eb09e1ec5e                   Address Redacted                      First Class Mail
6e534b67‐4f02‐44a1‐8163‐3c649597538e                   Address Redacted                      First Class Mail
6e53cc98‐7e3f‐40b8‐9086‐9a2bee6bd9a1                   Address Redacted                      First Class Mail
6e55e046‐ea93‐4d31‐abc8‐43d81d9062bf                   Address Redacted                      First Class Mail
6e5a4836‐2d69‐4552‐a741‐db11d2cdec14                   Address Redacted                      First Class Mail
6e5bac89‐3ce2‐4098‐866c‐aa869daca773                   Address Redacted                      First Class Mail
6e614da0‐2737‐4957‐bb3d‐2142b72c3948                   Address Redacted                      First Class Mail
6e66093d‐5294‐407c‐876e‐2eb1c88a6fc7                   Address Redacted                      First Class Mail
6e67899b‐b0c5‐4d71‐b7fe‐764e3f4fe263                   Address Redacted                      First Class Mail
6e68ae6a‐0731‐46a5‐954f‐483002da36c9                   Address Redacted                      First Class Mail
6e6ecb76‐fb83‐4b28‐8530‐03cda09f31ff                   Address Redacted                      First Class Mail
6e704f57‐674a‐448d‐ae07‐2185766479ae                   Address Redacted                      First Class Mail
6e705636‐73a7‐4d7a‐96f7‐21431920ddae                   Address Redacted                      First Class Mail
6e70f605‐2c7e‐40df‐b2bd‐92351e30e582                   Address Redacted                      First Class Mail
6e729b70‐96e9‐4e1b‐9508‐789850571e75                   Address Redacted                      First Class Mail
6e72b11d‐b4c1‐4b82‐87b9‐bdbad6f333ef                   Address Redacted                      First Class Mail
6e72da67‐e08f‐4a68‐a9cf‐51018976181c                   Address Redacted                      First Class Mail
6e742c1f‐1e1b‐4b54‐b506‐55af534d2179                   Address Redacted                      First Class Mail
6e748f3a‐e6fa‐4b12‐9518‐f05f9acace08                   Address Redacted                      First Class Mail
6e7a74ac‐7ead‐4960‐a484‐6837facfb159                   Address Redacted                      First Class Mail
6e7bbbaa‐6240‐4dbf‐8cce‐510803422743                   Address Redacted                      First Class Mail
6e7e1d12‐912c‐4aff‐a494‐ada021c71fb6                   Address Redacted                      First Class Mail
6e7f07cc‐5be9‐4953‐8167‐dcdfc086b1e7                   Address Redacted                      First Class Mail
6e813d25‐d6f6‐4ceb‐b8d2‐ea8653cb2498                   Address Redacted                      First Class Mail
6e815f44‐634f‐45f8‐92b8‐4b0deea5b23f                   Address Redacted                      First Class Mail
6e8885b2‐230a‐4c8f‐9f34‐dd7644d496a8                   Address Redacted                      First Class Mail
6e8d1353‐a503‐49a1‐bfbb‐28046ed0776e                   Address Redacted                      First Class Mail
6e8f515a‐6418‐4eed‐8179‐e6cdf92d0ec8                   Address Redacted                      First Class Mail
6e93d4d6‐58af‐493f‐b095‐a991468b05fa                   Address Redacted                      First Class Mail
6e95b942‐e12f‐4e9f‐9f0d‐7eaad0312cf7                   Address Redacted                      First Class Mail
6e9d12de‐7d93‐4385‐94c6‐46932332c284                   Address Redacted                      First Class Mail
6e9d3960‐e76e‐4856‐9c29‐504803bf259e                   Address Redacted                      First Class Mail




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                                                                Exhibit A
                                                                 Service List


                               Name                                             Address                         Method of Service
6e9f1b44‐914b‐4a34‐98b7‐327bea66d018                   Address Redacted                      First Class Mail
6e9fc475‐5522‐47a1‐a0c0‐c0f0e55c14c8                   Address Redacted                      First Class Mail
6ea38cbe‐ee41‐4f57‐ae70‐c7faef3281ce                   Address Redacted                      First Class Mail
6eaaff75‐8ae2‐42c1‐8904‐76ae9d17e2f2                   Address Redacted                      First Class Mail
6eac2e9f‐8461‐4e2e‐b1bd‐c7f3cebf02c4                   Address Redacted                      First Class Mail
6eb1812a‐eaf5‐42a8‐85fe‐5ce6da2e096b                   Address Redacted                      First Class Mail
6eb22be3‐73c3‐423e‐8e76‐973d42aab89a                   Address Redacted                      First Class Mail
6eb22fc2‐043e‐40d7‐9953‐13ff22ef8cae                   Address Redacted                      First Class Mail
6eb25fca‐49ef‐4d91‐94af‐5defc85b9bdb                   Address Redacted                      First Class Mail
6ebaf376‐fab8‐4f3b‐9540‐a90bb7265078                   Address Redacted                      First Class Mail
6ebbb194‐9493‐45e6‐836d‐86966730fdc4                   Address Redacted                      First Class Mail
6ebe1fad‐f0f2‐4c22‐a3cc‐55c160c744fd                   Address Redacted                      First Class Mail
6ec00b16‐6caa‐4def‐9f9f‐4a43030c5b81                   Address Redacted                      First Class Mail
6ec3dc56‐ebcb‐4aaf‐a070‐eb5447479512                   Address Redacted                      First Class Mail
6ec42e73‐a533‐4047‐b0cf‐7fa05b0c6334                   Address Redacted                      First Class Mail
6ec62921‐6dcf‐4ddb‐8f73‐fcf9662784bb                   Address Redacted                      First Class Mail
6ec8083c‐3789‐4e2e‐b824‐842495c05a0d                   Address Redacted                      First Class Mail
6ecc9978‐f8f0‐410c‐b5d2‐d4e8212e014e                   Address Redacted                      First Class Mail
6ece60da‐bfb6‐4ad0‐9a52‐bc6494d79459                   Address Redacted                      First Class Mail
6ecff781‐5a5b‐4ef3‐8720‐eeff1ac37a9a                   Address Redacted                      First Class Mail
6ed2e5a3‐4312‐4eb6‐a3b8‐5185c3ae232d                   Address Redacted                      First Class Mail
6ed42125‐6cce‐417a‐8739‐a00079a49ece                   Address Redacted                      First Class Mail
6ed5f480‐41b9‐46cd‐8db7‐0a092d0a1a9d                   Address Redacted                      First Class Mail
6ed865c7‐3941‐420e‐9e86‐82291333e9bd                   Address Redacted                      First Class Mail
6ed8a61e‐800c‐477b‐8fae‐8095f7bdcfe0                   Address Redacted                      First Class Mail
6edae310‐29f6‐4707‐aaa6‐125651339898                   Address Redacted                      First Class Mail
6ee2ec54‐07cd‐476f‐8bf1‐807031f8a64a                   Address Redacted                      First Class Mail
6ee8ea56‐0c7d‐4e88‐93ad‐2bc20b68af84                   Address Redacted                      First Class Mail
6ef10423‐c440‐42de‐8fc9‐bebb78870a30                   Address Redacted                      First Class Mail
6ef18fda‐0075‐4656‐b817‐8fa8dcac1728                   Address Redacted                      First Class Mail
6ef2f523‐5f58‐4783‐86a3‐a5a310a33102                   Address Redacted                      First Class Mail
6efa232e‐c2ec‐449d‐82a3‐f72ee562d26e                   Address Redacted                      First Class Mail
6efbd3a8‐8abb‐4379‐bf9f‐e79ec5d3a5c1                   Address Redacted                      First Class Mail
6efd5523‐a7f5‐4cd9‐bd39‐d02425c30700                   Address Redacted                      First Class Mail
6efe8428‐9735‐4285‐8d78‐f2eed9b45af7                   Address Redacted                      First Class Mail
6eff6a8b‐9f43‐4a57‐95da‐23d29cbea1cb                   Address Redacted                      First Class Mail
6f0187fb‐f633‐4ff3‐b353‐389fc7885ff9                   Address Redacted                      First Class Mail
6f023f8c‐d7af‐4d69‐9493‐39f60a04d5f1                   Address Redacted                      First Class Mail
6f0278b0‐2267‐41f9‐a59d‐f173b1f6d2d9                   Address Redacted                      First Class Mail
6f078ba0‐cb12‐4382‐a1c3‐868444688c1c                   Address Redacted                      First Class Mail
6f0db576‐6b38‐465b‐b620‐dca6bb68ab29                   Address Redacted                      First Class Mail
6f1204c3‐5d6b‐4a40‐935b‐e75dc9d11860                   Address Redacted                      First Class Mail
6f139b93‐e4cb‐4f9e‐b8b1‐1a84df9c1136                   Address Redacted                      First Class Mail
6f15848c‐98ef‐44a6‐85a7‐6c139cf08fab                   Address Redacted                      First Class Mail
6f15ef8c‐8821‐484d‐90db‐d05c39948add                   Address Redacted                      First Class Mail
6f17e0fa‐5445‐4f67‐a531‐3112d2db3d7b                   Address Redacted                      First Class Mail
6f193e4c‐ddbf‐4b4d‐bb6f‐e6e0ee7a2828                   Address Redacted                      First Class Mail
6f19649a‐6351‐4a8f‐86ab‐a0ba404f1d76                   Address Redacted                      First Class Mail
6f1c546a‐76d6‐4cfb‐9776‐783fd46db6ae                   Address Redacted                      First Class Mail
6f1e4960‐9b58‐4f59‐8c3f‐41a331aec4e7                   Address Redacted                      First Class Mail
6f201343‐65c4‐4ec2‐87a2‐107d402c5c9d                   Address Redacted                      First Class Mail
6f28afdd‐c77d‐479c‐a646‐00c684a763f3                   Address Redacted                      First Class Mail
6f2e66bd‐b4bb‐4bed‐983c‐176a65ab68fc                   Address Redacted                      First Class Mail
6f3046a6‐87c5‐4f6e‐8a89‐029251bb3799                   Address Redacted                      First Class Mail
6f30a492‐d299‐48e5‐aba6‐076159d567d5                   Address Redacted                      First Class Mail
6f356b6e‐d76d‐499c‐9fdd‐645ed4c28ca3                   Address Redacted                      First Class Mail
6f384688‐6cbf‐494c‐a159‐7344ab9e66b3                   Address Redacted                      First Class Mail
6f38bea8‐3525‐426a‐bb91‐970a7dddbcc4                   Address Redacted                      First Class Mail
6f456b7e‐ac1c‐41b4‐abcc‐e502f179970d                   Address Redacted                      First Class Mail
6f477ac6‐08a9‐43ba‐8edb‐3d0a17fb99e1                   Address Redacted                      First Class Mail
6f487346‐b710‐4158‐8f8c‐eb766048a5f9                   Address Redacted                      First Class Mail
6f48d42a‐1f25‐4bde‐ad47‐ecea84febacc                   Address Redacted                      First Class Mail
6f494b5b‐1187‐427a‐893b‐c450a5228c37                   Address Redacted                      First Class Mail
6f4b1129‐6250‐47e9‐b9b2‐a38d39e24134                   Address Redacted                      First Class Mail
6f4d8e0d‐f3da‐452f‐8369‐f18f03eeb4b4                   Address Redacted                      First Class Mail
6f4da3f8‐da72‐4401‐9dbd‐9fb68a12c74f                   Address Redacted                      First Class Mail
6f52ae9c‐f8b9‐4b72‐9cbf‐b69de95fead1                   Address Redacted                      First Class Mail
6f5393b7‐5c09‐4672‐8017‐b92a943f0f6f                   Address Redacted                      First Class Mail
6f571139‐78f7‐412d‐b2d2‐b5b6712d167e                   Address Redacted                      First Class Mail
6f57df70‐0fcd‐44db‐b640‐4b3389133e73                   Address Redacted                      First Class Mail
6f59c059‐5e80‐48ff‐b81f‐6801ba21e188                   Address Redacted                      First Class Mail
6f5f209d‐8d0b‐4835‐8001‐c4d45637ab75                   Address Redacted                      First Class Mail




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                               Name                                             Address                         Method of Service
6f5fd52f‐e5a2‐497b‐a8dd‐5851f477d2f2                   Address Redacted                      First Class Mail
6f613154‐3536‐462d‐a5c7‐441f8215fc93                   Address Redacted                      First Class Mail
6f64c777‐4e0a‐4587‐936d‐3883665868f2                   Address Redacted                      First Class Mail
6f662b90‐2810‐4ceb‐bf86‐c3ed13b76016                   Address Redacted                      First Class Mail
6f66a829‐4c83‐45c6‐a279‐8f46e8ad0d69                   Address Redacted                      First Class Mail
6f6989b9‐0585‐4aa4‐8618‐307c7bd3c9fa                   Address Redacted                      First Class Mail
6f6ae2d7‐9bda‐4b89‐ac9e‐dabb4cfc0ea9                   Address Redacted                      First Class Mail
6f708bdb‐2649‐46fe‐bbec‐d8889904e200                   Address Redacted                      First Class Mail
6f730f0a‐c096‐4af7‐8d9d‐36ca95d30fbf                   Address Redacted                      First Class Mail
6f760a7a‐283d‐4221‐82e2‐1e4de49bf951                   Address Redacted                      First Class Mail
6f7d1500‐a4c3‐48f9‐a007‐03b38e82cdf6                   Address Redacted                      First Class Mail
6f7f7fc3‐017f‐4469‐aa75‐6a22fe7fdc4b                   Address Redacted                      First Class Mail
6f7fb864‐4325‐4ed1‐8d11‐e2c876cb849f                   Address Redacted                      First Class Mail
6f8114c1‐8a09‐447b‐941b‐14f9ffdd17d0                   Address Redacted                      First Class Mail
6f86a84e‐5e20‐4374‐b122‐bb6bd4d05d0c                   Address Redacted                      First Class Mail
6f86eea5‐160a‐486b‐ac26‐4f8a824fa4db                   Address Redacted                      First Class Mail
6f891351‐f443‐4fdb‐8931‐65b1391be32e                   Address Redacted                      First Class Mail
6f8a628d‐9452‐4f99‐840f‐82ca79909362                   Address Redacted                      First Class Mail
6f8b2344‐f13b‐45b3‐a0bb‐50afe6306392                   Address Redacted                      First Class Mail
6f8ccaf4‐4126‐4bad‐8cf9‐43195ba8f6c7                   Address Redacted                      First Class Mail
6f8cf3b5‐4ac7‐489d‐bb70‐e34989bf655b                   Address Redacted                      First Class Mail
6f8d7c87‐7d88‐4293‐acec‐3311896acfb3                   Address Redacted                      First Class Mail
6f90137c‐af2a‐41f8‐af01‐3c55151074e8                   Address Redacted                      First Class Mail
6f93a053‐da3f‐4213‐9ac6‐b94739b5b3e4                   Address Redacted                      First Class Mail
6f94d1ad‐ff92‐4071‐9fe0‐4866cd7b9b4e                   Address Redacted                      First Class Mail
6f95cae7‐195d‐4d96‐ad1b‐78aa5cb6f9b9                   Address Redacted                      First Class Mail
6f977947‐9691‐4b9c‐8882‐7e1035b8ebd6                   Address Redacted                      First Class Mail
6f99f2ae‐40ab‐462b‐b1ab‐6c6dd8d9e561                   Address Redacted                      First Class Mail
6f9afff8‐1be9‐4cef‐8558‐f8505935996d                   Address Redacted                      First Class Mail
6f9f43b9‐5a07‐4f33‐8e67‐e1ea48682ea5                   Address Redacted                      First Class Mail
6f9fd417‐d5be‐4a0a‐9121‐6dedabc4bbbc                   Address Redacted                      First Class Mail
6fa5d1c1‐6a32‐4902‐83c3‐ca6e73ec420f                   Address Redacted                      First Class Mail
6fa6d6d1‐832d‐4076‐8d1d‐5d3024b864a5                   Address Redacted                      First Class Mail
6fa7dfdf‐236a‐4e24‐86b8‐aab9b48c467d                   Address Redacted                      First Class Mail
6fb98663‐8842‐46bd‐ade3‐adc0a5c7485c                   Address Redacted                      First Class Mail
6fbbae34‐ef6c‐4b6f‐af6c‐6845b1a0a0ed                   Address Redacted                      First Class Mail
6fc2b30f‐d1ca‐41f8‐9f81‐86caf54134ba                   Address Redacted                      First Class Mail
6fc341b5‐a98e‐4024‐8202‐64e7c9946d94                   Address Redacted                      First Class Mail
6fca31aa‐3124‐4db4‐8b64‐6e0169a3216a                   Address Redacted                      First Class Mail
6fcdbaa7‐1195‐488b‐9aab‐a8936b80b549                   Address Redacted                      First Class Mail
6fd14846‐8db6‐4ece‐9cf9‐9ed15548bcd8                   Address Redacted                      First Class Mail
6fd17dd4‐3db9‐494f‐8ce9‐8591bc3fee3f                   Address Redacted                      First Class Mail
6fd2f8c7‐c4e0‐41c7‐8e71‐f58e461b3acf                   Address Redacted                      First Class Mail
6fd356f2‐de02‐45c7‐bab6‐4f0796160562                   Address Redacted                      First Class Mail
6fd64aaf‐257e‐43b8‐a840‐3dcc82282916                   Address Redacted                      First Class Mail
6fd91fc2‐d8c6‐45b0‐a4af‐53a1609e0b52                   Address Redacted                      First Class Mail
6fdf94ec‐bebf‐43ec‐937c‐6a123b9ea2a6                   Address Redacted                      First Class Mail
6fdfc571‐9035‐4c09‐871b‐b8edda8eb35d                   Address Redacted                      First Class Mail
6fe1fb7b‐0448‐4da9‐98eb‐ab9dcedd38f9                   Address Redacted                      First Class Mail
6fe8d7b7‐4bb0‐49c6‐bd4f‐93342e1518b3                   Address Redacted                      First Class Mail
6feb56f0‐73ec‐48e8‐9cae‐3eccf531e5a6                   Address Redacted                      First Class Mail
6febd411‐bcd4‐4401‐b75b‐eec873f69807                   Address Redacted                      First Class Mail
6fed6879‐5339‐479c‐849b‐7f563977ed2b                   Address Redacted                      First Class Mail
6feff1de‐2399‐4eec‐bf54‐c3cb835e51be                   Address Redacted                      First Class Mail
6ff0a636‐6269‐440d‐87c9‐ccc9e856e95a                   Address Redacted                      First Class Mail
6ff3eb48‐e1dd‐4781‐adc0‐87ca84026aa7                   Address Redacted                      First Class Mail
6ff5fc6b‐1dd6‐4211‐ba4b‐416c79b34f28                   Address Redacted                      First Class Mail
6ff92c9a‐fa7f‐4c1c‐88c0‐be5ad14ffdbb                   Address Redacted                      First Class Mail
6ffa6cde‐47d2‐47c5‐80aa‐733b709a40f9                   Address Redacted                      First Class Mail
6ffbf86f‐3967‐4e9c‐afb5‐976e27571df5                   Address Redacted                      First Class Mail
6ffee1af‐384a‐4f23‐9cfe‐05f1ac9d4037                   Address Redacted                      First Class Mail
7002e053‐4097‐4d2c‐98d0‐166d8f33dd3e                   Address Redacted                      First Class Mail
70085042‐fb29‐4d06‐a07e‐06eae59bfd8f                   Address Redacted                      First Class Mail
70098a33‐a0eb‐4920‐9565‐5ee43c50a67b                   Address Redacted                      First Class Mail
700a9bfc‐97de‐45f6‐ac2d‐7677b07c4aa3                   Address Redacted                      First Class Mail
701045aa‐46f3‐42dc‐b849‐228628b95261                   Address Redacted                      First Class Mail
7010b532‐5044‐4a94‐991e‐f52e313da60c                   Address Redacted                      First Class Mail
701c4e52‐36dd‐4e52‐8c0d‐7f0f07b4163d                   Address Redacted                      First Class Mail
701da366‐d468‐472d‐854f‐9d2b81a5c44b                   Address Redacted                      First Class Mail
701e1b0f‐8e26‐43a8‐b44e‐79cb5ca2f104                   Address Redacted                      First Class Mail
70208c89‐2014‐440b‐a62b‐16243960c6a8                   Address Redacted                      First Class Mail
70223890‐c4da‐485a‐9f32‐414ee53cadc2                   Address Redacted                      First Class Mail




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                                                                 Service List


                               Name                                             Address                         Method of Service
7023b59d‐2d4f‐4227‐8b1e‐c1addadf9b0a                   Address Redacted                      First Class Mail
702a89af‐3dba‐4eeb‐bf09‐f25fffd8fa48                   Address Redacted                      First Class Mail
702af82d‐1de2‐42eb‐8cca‐597b3d641502                   Address Redacted                      First Class Mail
702b11d1‐e586‐44ca‐bd96‐dedf9f77a4bd                   Address Redacted                      First Class Mail
702e839f‐7cbe‐4611‐ba67‐115f0caac3a3                   Address Redacted                      First Class Mail
703428ba‐922a‐41c9‐ae5d‐e7ad9f09ecfe                   Address Redacted                      First Class Mail
7035a2a9‐db77‐49bd‐8448‐a360130bffb6                   Address Redacted                      First Class Mail
70365c7f‐c4a4‐4031‐a70d‐cea4d8694d2b                   Address Redacted                      First Class Mail
70377c54‐ff1b‐4335‐af4a‐85b31429d583                   Address Redacted                      First Class Mail
7039a42b‐b425‐44bb‐b6d7‐ffb245a1b783                   Address Redacted                      First Class Mail
703c1320‐192e‐4721‐b782‐5acbcc554aa3                   Address Redacted                      First Class Mail
703e9e7b‐f1d8‐481c‐abf6‐6c618536bc19                   Address Redacted                      First Class Mail
704372e1‐71b4‐434d‐94b1‐92ba2c61681b                   Address Redacted                      First Class Mail
70454ce7‐3af1‐4d1e‐a575‐c0e33e8cd33a                   Address Redacted                      First Class Mail
704758de‐7258‐4b4d‐a5a2‐ef2d8e6d89b7                   Address Redacted                      First Class Mail
704a2e82‐3ffe‐4be9‐96bc‐0877cf02df65                   Address Redacted                      First Class Mail
704abc99‐330b‐4df1‐93b8‐087710ba78d8                   Address Redacted                      First Class Mail
70530461‐7fa6‐4af6‐943b‐66c0c456f200                   Address Redacted                      First Class Mail
705a1a91‐9223‐4449‐a0a6‐7bbee9f48fa2                   Address Redacted                      First Class Mail
705a7fc2‐43e9‐4b8f‐8d11‐9e829a26df40                   Address Redacted                      First Class Mail
706d1694‐7173‐451a‐be5a‐1833ae82159f                   Address Redacted                      First Class Mail
706ec313‐df8c‐4e18‐b996‐02fce2c7b3ed                   Address Redacted                      First Class Mail
7071f3e9‐a0b0‐473d‐bf91‐3291f38b56c1                   Address Redacted                      First Class Mail
70734d34‐791b‐4fe6‐9225‐1e94fffc5723                   Address Redacted                      First Class Mail
7073e840‐a9a8‐468b‐8e62‐11886eb53fa6                   Address Redacted                      First Class Mail
707587a9‐648c‐4d40‐b28c‐d20b55e0a49e                   Address Redacted                      First Class Mail
70770380‐c581‐4526‐97dd‐e82922da24b9                   Address Redacted                      First Class Mail
7079c0bc‐215f‐47be‐a1dd‐ddb522ada771                   Address Redacted                      First Class Mail
707d6282‐c043‐48e8‐9c29‐d89e1f91b52f                   Address Redacted                      First Class Mail
707da647‐e4fe‐4b60‐91d1‐989d62d65b98                   Address Redacted                      First Class Mail
707e622f‐d607‐4bef‐b90b‐65fd55287bbf                   Address Redacted                      First Class Mail
707e8f8f‐2005‐4a86‐9403‐f83c66de6c28                   Address Redacted                      First Class Mail
707edf8b‐2312‐4d13‐9c78‐b88895f753a9                   Address Redacted                      First Class Mail
70887b07‐5d7d‐4eb6‐a56f‐b9de8e7de69b                   Address Redacted                      First Class Mail
7088c2aa‐97a8‐47cc‐bbb0‐df38da11c664                   Address Redacted                      First Class Mail
708e037e‐4eac‐4738‐862e‐e2648bc94fac                   Address Redacted                      First Class Mail
708fb007‐6d99‐4b26‐a381‐5642ead79072                   Address Redacted                      First Class Mail
70901d4e‐5c72‐47a0‐8c8f‐2b478a155c4b                   Address Redacted                      First Class Mail
70924c1d‐0759‐4d8a‐83e7‐20f57d0d364a                   Address Redacted                      First Class Mail
70933321‐92b8‐47e6‐ae3f‐a1e1c7df36ef                   Address Redacted                      First Class Mail
7094b3a2‐e200‐46c1‐bf32‐8cb80313b15e                   Address Redacted                      First Class Mail
70978282‐9838‐4ecd‐beb2‐b832f72c90c3                   Address Redacted                      First Class Mail
7098f7bf‐04dd‐4581‐9012‐dc173c383bb1                   Address Redacted                      First Class Mail
709bf822‐7da1‐47b5‐aedf‐16980f562232                   Address Redacted                      First Class Mail
709d037f‐a52e‐45a9‐ae1c‐e973c3dc7b71                   Address Redacted                      First Class Mail
709f8875‐195d‐4e37‐bf67‐2af966e3df6a                   Address Redacted                      First Class Mail
70a4c9bd‐a30b‐485d‐b1e5‐dd08c319f166                   Address Redacted                      First Class Mail
70a51ca2‐74e8‐45fe‐9169‐92d12b948a19                   Address Redacted                      First Class Mail
70a65b34‐0511‐436e‐b7c0‐aa434b2583ca                   Address Redacted                      First Class Mail
70a71a2a‐ad11‐4ae8‐90e3‐8c4f689aefca                   Address Redacted                      First Class Mail
70a72352‐7671‐4294‐971a‐6b2264830794                   Address Redacted                      First Class Mail
70a84ac3‐d483‐4371‐9825‐fbd630bd07a8                   Address Redacted                      First Class Mail
70a9a42f‐46f3‐45c2‐b0c4‐ad2a1328b998                   Address Redacted                      First Class Mail
70a9f261‐b1bf‐4a12‐b6e9‐569caeacc46f                   Address Redacted                      First Class Mail
70aa1873‐1fa6‐443c‐9186‐58c145ea13a2                   Address Redacted                      First Class Mail
70b5d4e7‐3883‐440f‐8cd0‐231dfe4966f4                   Address Redacted                      First Class Mail
70b6d11f‐aa38‐4bdc‐a85a‐36cb9136fa46                   Address Redacted                      First Class Mail
70b78b4f‐d792‐4e66‐af69‐50f7540cee00                   Address Redacted                      First Class Mail
70b9354a‐950e‐4226‐9447‐cb926e36200a                   Address Redacted                      First Class Mail
70b94852‐259a‐479d‐921a‐083b90a88115                   Address Redacted                      First Class Mail
70ba9b0b‐52cb‐4610‐a02d‐fc1811ce1f3a                   Address Redacted                      First Class Mail
70be9a80‐6d49‐4d82‐b0c8‐b00574fd2d5d                   Address Redacted                      First Class Mail
70c3df62‐4bed‐41ec‐95cd‐cecc959580ad                   Address Redacted                      First Class Mail
70c52e84‐241b‐4df0‐8ca5‐7440ba11fd3d                   Address Redacted                      First Class Mail
70c5b9ab‐fe61‐4016‐bd05‐f10b7e06d030                   Address Redacted                      First Class Mail
70c92691‐c441‐42b1‐ac1e‐40fb409d55c5                   Address Redacted                      First Class Mail
70ca8b00‐46d7‐4c2b‐99af‐356e880ea1f6                   Address Redacted                      First Class Mail
70ce2f5a‐a37b‐4251‐af69‐85981d43a7bd                   Address Redacted                      First Class Mail
70cfc4aa‐59cd‐4a88‐88e4‐dbf41bf32fb5                   Address Redacted                      First Class Mail
70d29171‐0881‐4126‐a60b‐8016d7dedcda                   Address Redacted                      First Class Mail
70d60bfd‐2337‐4331‐8efa‐f11e388c4b43                   Address Redacted                      First Class Mail
70d81674‐e228‐452b‐b8dc‐f646a7ac0789                   Address Redacted                      First Class Mail




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                                                                 Service List


                              Name                                              Address                         Method of Service
70d83895‐ea6c‐427b‐989c‐4d6a9eb1056a                   Address Redacted                      First Class Mail
70db75fb‐5823‐4ca8‐862a‐92bafcbe62ed                   Address Redacted                      First Class Mail
70db8499‐7a8c‐46e8‐82f7‐e7d093ebd2e8                   Address Redacted                      First Class Mail
70dbfd6a‐2a56‐430d‐9c9f‐3f0c1f1a2efc                   Address Redacted                      First Class Mail
70dd2a1f‐e604‐417d‐8b47‐4ed09f8d2d4a                   Address Redacted                      First Class Mail
70df8a44‐c42f‐43ce‐8844‐39bf5db12688                   Address Redacted                      First Class Mail
70e5246b‐bcd1‐4f6f‐96b4‐9d54686d0634                   Address Redacted                      First Class Mail
70ebbd32‐9824‐46fc‐a312‐6417ae281f02                   Address Redacted                      First Class Mail
70ee5e09‐cc63‐4a89‐a744‐c7255846c492                   Address Redacted                      First Class Mail
70eedf59‐b4e6‐4146‐b8e7‐c4c8b781602d                   Address Redacted                      First Class Mail
70f235c7‐ceec‐4691‐ae66‐2559e8347975                   Address Redacted                      First Class Mail
70fa89b5‐0e91‐4016‐8da8‐74a4995add4d                   Address Redacted                      First Class Mail
70fea036‐da1a‐42c4‐9692‐f2958441ad4e                   Address Redacted                      First Class Mail
710081f0‐98d6‐4cd4‐b336‐179895b7b603                   Address Redacted                      First Class Mail
71034f51‐a2a9‐43eb‐bae8‐1863e3130dcd                   Address Redacted                      First Class Mail
7107b459‐7f78‐4a5e‐9a9a‐51426ca0d27e                   Address Redacted                      First Class Mail
710b1d7c‐7816‐4853‐ac67‐a279248f4364                   Address Redacted                      First Class Mail
710b3c89‐471d‐4e4b‐b0b1‐6e1fe7e85409                   Address Redacted                      First Class Mail
7117a354‐030e‐4a8f‐b4fe‐4726bab6054d                   Address Redacted                      First Class Mail
711aaab0‐a6cd‐441b‐80ee‐7c3be37befe2                   Address Redacted                      First Class Mail
71206d51‐2bd7‐4e63‐b21b‐b7e0a446d9cb                   Address Redacted                      First Class Mail
712bd73f‐8ea0‐4f4f‐a6d8‐9152f66278c2                   Address Redacted                      First Class Mail
712c31b9‐f47c‐4055‐9f47‐728eaa64b65c                   Address Redacted                      First Class Mail
712cc417‐f580‐4eae‐80e3‐ec1fa8dc1b01                   Address Redacted                      First Class Mail
71305960‐1f9b‐4b80‐a49a‐503c13cd11c6                   Address Redacted                      First Class Mail
7131be26‐876e‐4a9d‐a6bd‐c32a44f19f15                   Address Redacted                      First Class Mail
713dc437‐c6ac‐47a6‐bd73‐2d05360a0d95                   Address Redacted                      First Class Mail
713e38a4‐11d9‐4cc1‐a97d‐4e010132720d                   Address Redacted                      First Class Mail
713ffd91‐1849‐49b0‐aa87‐822efb92c02d                   Address Redacted                      First Class Mail
71453a06‐43d4‐407a‐908d‐9ffaaefacfed                   Address Redacted                      First Class Mail
714c82c5‐b276‐41a9‐b519‐897ce598ffa5                   Address Redacted                      First Class Mail
71509490‐25aa‐4daa‐915e‐47afaf2e67fe                   Address Redacted                      First Class Mail
71581fb0‐4659‐436e‐a8b9‐48fe167b79cd                   Address Redacted                      First Class Mail
715a631b‐7177‐45ca‐b8b0‐42e10ef17e0e                   Address Redacted                      First Class Mail
715e850c‐0831‐4c04‐9f5a‐ed35b8aafa8d                   Address Redacted                      First Class Mail
715f33a3‐44b2‐494a‐877c‐58ec62abcb5a                   Address Redacted                      First Class Mail
716368bc‐5041‐4d5a‐a72e‐5d494760b7ff                   Address Redacted                      First Class Mail
7164fc97‐2426‐44df‐88be‐c1f7dadebc8a                   Address Redacted                      First Class Mail
716cb006‐d63c‐4336‐aefe‐b5ad5d69927d                   Address Redacted                      First Class Mail
716e69a3‐866e‐4db3‐9919‐4be3151e188d                   Address Redacted                      First Class Mail
71787d97‐eb7c‐4539‐88ea‐3844a9ea3c29                   Address Redacted                      First Class Mail
717a87b8‐69a3‐41f1‐ac15‐07124d9ea918                   Address Redacted                      First Class Mail
717ac6cd‐4c64‐4359‐910d‐955a3d823b65                   Address Redacted                      First Class Mail
717f3e95‐6f2c‐4625‐85c1‐438496ac7294                   Address Redacted                      First Class Mail
718714cf‐f25c‐40b9‐a742‐06ca1ca97352                   Address Redacted                      First Class Mail
71875477‐050b‐46e8‐ab5d‐9c25f8dff6c1                   Address Redacted                      First Class Mail
71887447‐cb6a‐4a46‐a75e‐2c4793b0dea9                   Address Redacted                      First Class Mail
71889765‐f98c‐4cbe‐8665‐6728480b4a2f                   Address Redacted                      First Class Mail
718bc275‐3db8‐4a2d‐a017‐85412fa67462                   Address Redacted                      First Class Mail
718bcce6‐e744‐420d‐bf74‐18dd3200fc97                   Address Redacted                      First Class Mail
718d9f2c‐586a‐43b8‐8715‐322a9e6638d2                   Address Redacted                      First Class Mail
718de080‐4903‐480a‐9a15‐8b2ab2986ac4                   Address Redacted                      First Class Mail
718e00aa‐f9e8‐4740‐bf26‐172e0fc6a5d1                   Address Redacted                      First Class Mail
71916ed6‐9f6a‐45f7‐9709‐f7adf20a8153                   Address Redacted                      First Class Mail
7191a0b5‐6de7‐4fae‐9479‐92f980062aa9                   Address Redacted                      First Class Mail
71944240‐ef11‐4d40‐8a28‐c004315f954f                   Address Redacted                      First Class Mail
719819b2‐a0ca‐4af7‐bc36‐55e2608d75b4                   Address Redacted                      First Class Mail
719ea858‐8dba‐4c1d‐bcd8‐e77bb52b284d                   Address Redacted                      First Class Mail
71a433e3‐1ca9‐483b‐9972‐19a1ec7cb64f                   Address Redacted                      First Class Mail
71a4a5ad‐05a8‐4e95‐8d51‐ebafb2d2baa6                   Address Redacted                      First Class Mail
71a75996‐c326‐4262‐b756‐fb4fbcc78ea8                   Address Redacted                      First Class Mail
71aedbe3‐d933‐4ab2‐b70d‐20f8442fcc1d                   Address Redacted                      First Class Mail
71af91ea‐0785‐4d3b‐979f‐e04a337b66c5                   Address Redacted                      First Class Mail
71b12ecc‐a435‐4814‐bcd9‐7f2b8bc65948                   Address Redacted                      First Class Mail
71b3ab7a‐9220‐4268‐8f35‐f1d86dd18c9b                   Address Redacted                      First Class Mail
71bfde44‐f610‐4199‐ae69‐d3790160c5fd                   Address Redacted                      First Class Mail
71c11414‐e7cc‐4d39‐a7c6‐81cf4f886332                   Address Redacted                      First Class Mail
71c6def9‐7892‐4b25‐91ca‐58171b2d4d94                   Address Redacted                      First Class Mail
71ccb87d‐d81a‐4665‐8757‐4436ae2415ea                   Address Redacted                      First Class Mail
71d0c145‐b4f0‐4edf‐aa0e‐54904608a983                   Address Redacted                      First Class Mail
71d558ef‐4ea4‐4eb5‐8ba3‐b1d8ed08defb                   Address Redacted                      First Class Mail
71da0ebd‐332d‐4963‐83ed‐79c2b59806c7                   Address Redacted                      First Class Mail




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                              Name                                              Address                         Method of Service
71e2aa7b‐823c‐475c‐b194‐4ed9f49a7c65                   Address Redacted                      First Class Mail
71e2c426‐34ce‐42e9‐8d9a‐9a82e310501f                   Address Redacted                      First Class Mail
71e38b5a‐75a0‐42f6‐bc06‐9bd916edb75d                   Address Redacted                      First Class Mail
71e82fe6‐8dfc‐4809‐9fc6‐de6a239af9ce                   Address Redacted                      First Class Mail
71e913fd‐b96a‐4073‐a60b‐74b6d044249d                   Address Redacted                      First Class Mail
71ee7492‐e72d‐4bc7‐bbfb‐3a3bad7489d4                   Address Redacted                      First Class Mail
71eeef03‐ed1f‐40e1‐b6c6‐77b7024c8734                   Address Redacted                      First Class Mail
71f10609‐0d62‐4395‐bbf7‐40e361538e13                   Address Redacted                      First Class Mail
71f115e7‐09d4‐475f‐a494‐13ad77bfb3d4                   Address Redacted                      First Class Mail
71f4e7c4‐3c45‐49ea‐86c7‐9a0eeded362e                   Address Redacted                      First Class Mail
71f682eb‐d2b5‐4088‐8a4d‐b16fe561ec2e                   Address Redacted                      First Class Mail
71f94b31‐e106‐4320‐b248‐ed5132773eed                   Address Redacted                      First Class Mail
71f9ab0f‐0712‐41fb‐b8ad‐05479900a0a5                   Address Redacted                      First Class Mail
71fd9eeb‐5aae‐4133‐9e8b‐eccb776d2650                   Address Redacted                      First Class Mail
71fe6390‐93bb‐4302‐8965‐15b8175387db                   Address Redacted                      First Class Mail
71ff7061‐d1ed‐42c3‐8942‐2ffead2fac67                   Address Redacted                      First Class Mail
720015c8‐dc8d‐400f‐980d‐7678fdf22732                   Address Redacted                      First Class Mail
72001621‐f58e‐414c‐b0dd‐fa21b7c983e0                   Address Redacted                      First Class Mail
7203ca3a‐55d7‐4a1d‐abb0‐b4078fab56a5                   Address Redacted                      First Class Mail
7205c61b‐d9e8‐4f0d‐9161‐5bd952aee465                   Address Redacted                      First Class Mail
7207ae68‐e87b‐40bf‐ae04‐48685d8cc7bf                   Address Redacted                      First Class Mail
720848bc‐6ba0‐451e‐88a6‐6a645baeca82                   Address Redacted                      First Class Mail
72084d4a‐4ac9‐47e3‐8b32‐d06a86ec1c4f                   Address Redacted                      First Class Mail
720eb109‐a8ef‐4d0a‐bb44‐a3c6873184e9                   Address Redacted                      First Class Mail
720eb472‐e03f‐455d‐abd7‐5b1986d5a3b4                   Address Redacted                      First Class Mail
720f4c46‐a0b3‐4ca1‐a6cc‐a355a631579f                   Address Redacted                      First Class Mail
7216642a‐96e7‐40f5‐9b23‐f72d11416ea3                   Address Redacted                      First Class Mail
7216b939‐1640‐4b73‐990f‐4acb0471d7ca                   Address Redacted                      First Class Mail
7219cadb‐1365‐421d‐a228‐db91573295a7                   Address Redacted                      First Class Mail
721a2dde‐2174‐4656‐ac83‐db5f9c8dd181                   Address Redacted                      First Class Mail
721f961c‐873b‐4af7‐a0fc‐7eb196a13dcb                   Address Redacted                      First Class Mail
722347e4‐e191‐4f0b‐aa25‐0af2d47f4f05                   Address Redacted                      First Class Mail
72245efb‐ff58‐47fe‐b727‐dee09e2218cc                   Address Redacted                      First Class Mail
722bac17‐883a‐48c3‐9185‐d4efdd9222ff                   Address Redacted                      First Class Mail
722bfdd7‐cecc‐41e6‐a794‐cef554a04933                   Address Redacted                      First Class Mail
723ebe24‐9251‐4c4e‐a548‐28eee2de72c0                   Address Redacted                      First Class Mail
7244cfa1‐4c5b‐4019‐a56f‐db890c1ad762                   Address Redacted                      First Class Mail
7245922b‐9f42‐4c9e‐bc55‐9c604627420b                   Address Redacted                      First Class Mail
72466421‐43e4‐4a1e‐a796‐a90f771e2408                   Address Redacted                      First Class Mail
724added‐4621‐4ca1‐9f29‐8c79dfb610f2                   Address Redacted                      First Class Mail
724fd9b7‐1eb5‐4ae7‐8d68‐8bb958efdb5c                   Address Redacted                      First Class Mail
72519c4e‐cd7c‐4e14‐a4b1‐36f7399b283f                   Address Redacted                      First Class Mail
7257f3ae‐f5b5‐40d5‐9038‐76ed05eb0069                   Address Redacted                      First Class Mail
7258ad37‐4ec1‐4e30‐8416‐fd627031e328                   Address Redacted                      First Class Mail
7258d8ec‐582a‐4038‐bbcc‐2f7568232fd4                   Address Redacted                      First Class Mail
725a6949‐1ebd‐45a1‐8a9d‐472d286a8499                   Address Redacted                      First Class Mail
725f5f9d‐2c8b‐4d62‐8c84‐a3e2d163583c                   Address Redacted                      First Class Mail
725fb916‐eb55‐450b‐b589‐e6c85bbac1af                   Address Redacted                      First Class Mail
7262e4d3‐e5fe‐49b3‐9c20‐006d91fc9c48                   Address Redacted                      First Class Mail
72634d32‐28bf‐445e‐b65c‐1930133e28c3                   Address Redacted                      First Class Mail
7268c3b2‐4272‐4c78‐a66b‐f4cb03cf448d                   Address Redacted                      First Class Mail
72697e26‐a48b‐43cb‐b697‐d58b63f28850                   Address Redacted                      First Class Mail
726a1587‐c1f6‐4982‐9bcc‐c0ba7b52f934                   Address Redacted                      First Class Mail
726c00d2‐d4f7‐49dd‐8a6c‐da1139e099b3                   Address Redacted                      First Class Mail
726d2bab‐d78d‐450d‐9a6a‐d6a952a782d1                   Address Redacted                      First Class Mail
726d79aa‐0373‐43f5‐957d‐9e419e65ed53                   Address Redacted                      First Class Mail
726f20a5‐5a96‐43eb‐8bd0‐16edda740c30                   Address Redacted                      First Class Mail
7270cf64‐baba‐49f0‐9d67‐77cc797fb30e                   Address Redacted                      First Class Mail
72774fb6‐a351‐4e8f‐9401‐a6fa81d00fed                   Address Redacted                      First Class Mail
7278a420‐5e24‐4173‐9c8c‐5b32576a4576                   Address Redacted                      First Class Mail
727d07c8‐1107‐47cb‐ae18‐80cb1e609140                   Address Redacted                      First Class Mail
727d23b3‐dcc8‐4cf6‐8f99‐89e58d365f16                   Address Redacted                      First Class Mail
727f277a‐fd6a‐41ee‐9759‐0a9800c27a5e                   Address Redacted                      First Class Mail
727fe7a1‐6176‐4324‐a4fd‐8eec90a9f063                   Address Redacted                      First Class Mail
72857ae8‐4a2c‐46f4‐a55d‐e7c04ac9693c                   Address Redacted                      First Class Mail
72868773‐4a45‐4e13‐8425‐e13a71f01594                   Address Redacted                      First Class Mail
728a80f9‐df3d‐45c3‐b2fb‐37ed6e8e99fc                   Address Redacted                      First Class Mail
728cd697‐2602‐4213‐9ed0‐a18eddc8ca3d                   Address Redacted                      First Class Mail
72903e38‐bfab‐4768‐a7c9‐da1bd747912c                   Address Redacted                      First Class Mail
7290c710‐f297‐4cea‐8d7e‐e67f5396dbb1                   Address Redacted                      First Class Mail
729109d7‐7a2b‐42b5‐9db4‐5ca01b2fd8a9                   Address Redacted                      First Class Mail
7294bbbd‐15b1‐44ac‐a5f7‐6d320cea67ca                   Address Redacted                      First Class Mail




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                                                                 Service List


                              Name                                              Address                         Method of Service
7297778b‐f410‐40fe‐89a9‐42f579181ac9                   Address Redacted                      First Class Mail
729839fa‐175c‐46e3‐8185‐1c44c373503d                   Address Redacted                      First Class Mail
729bae79‐7d96‐4125‐8139‐4df39cb786df                   Address Redacted                      First Class Mail
729beeea‐c9de‐45d2‐97fa‐057cb2a4028a                   Address Redacted                      First Class Mail
72a0e0f8‐4178‐49f8‐a59c‐90e7b1faef51                   Address Redacted                      First Class Mail
72a4397b‐db9f‐4562‐a5b1‐9ddc81108628                   Address Redacted                      First Class Mail
72a8c610‐9fe3‐4d34‐a7be‐38b0f8b154ab                   Address Redacted                      First Class Mail
72b057f1‐5d3e‐49d8‐ba15‐609a9abbe8e9                   Address Redacted                      First Class Mail
72b4840a‐fae2‐4ced‐bf3e‐cadb2edbf797                   Address Redacted                      First Class Mail
72bfdf35‐98c0‐4732‐889b‐8a702108ce94                   Address Redacted                      First Class Mail
72c34940‐f22b‐4213‐847f‐f1b59056a9ed                   Address Redacted                      First Class Mail
72c4daa6‐bf7c‐4aa1‐ae60‐e9caceb3bda7                   Address Redacted                      First Class Mail
72c7c81c‐6192‐429d‐b6b8‐42f564d4cd98                   Address Redacted                      First Class Mail
72c9321e‐ed23‐42ec‐8daf‐c291ba96e4a8                   Address Redacted                      First Class Mail
72cdb9c9‐20b2‐40c4‐92fc‐595e06d944ea                   Address Redacted                      First Class Mail
72d00f01‐9073‐40fa‐8703‐6d721079d122                   Address Redacted                      First Class Mail
72d6b1b8‐aaa4‐49b1‐9b4a‐20deeaae5eb3                   Address Redacted                      First Class Mail
72da2823‐f957‐479f‐92f2‐2b94e60cc936                   Address Redacted                      First Class Mail
72dc5de9‐b765‐47f3‐8ce1‐1fcef5921cbf                   Address Redacted                      First Class Mail
72e19edc‐9b51‐4f2c‐9ffc‐bed779ae1fcf                   Address Redacted                      First Class Mail
72e2275b‐f0a3‐435c‐9114‐90f1603839dc                   Address Redacted                      First Class Mail
72e5835f‐68f4‐42bb‐ab97‐ea1805e7a647                   Address Redacted                      First Class Mail
72e91d3d‐aea7‐474b‐92ad‐7a405ef9deb1                   Address Redacted                      First Class Mail
72efdb97‐5aa8‐4ae4‐9fca‐2e15f4f3b65a                   Address Redacted                      First Class Mail
72f37c59‐2cf0‐4658‐87be‐b6fbc996fadf                   Address Redacted                      First Class Mail
72f65cc3‐b54f‐4418‐97e4‐af4b154d2596                   Address Redacted                      First Class Mail
72fa1ab1‐a078‐46c2‐a8ea‐dd95941323d4                   Address Redacted                      First Class Mail
72fcbb53‐acf6‐4278‐b2ce‐965d4ef886d3                   Address Redacted                      First Class Mail
72fe12bb‐0e46‐4dc8‐bc16‐0aa5aeaec6aa                   Address Redacted                      First Class Mail
72fed4c2‐62ab‐482c‐b12a‐a1643608eb84                   Address Redacted                      First Class Mail
72ff8aa3‐19ac‐4803‐a6ad‐512009fa921a                   Address Redacted                      First Class Mail
7304ef68‐51cf‐49f2‐8818‐2f6b1d7ba202                   Address Redacted                      First Class Mail
73140223‐3ed3‐4ed3‐9b44‐42b773133eea                   Address Redacted                      First Class Mail
7314a4a2‐0c7f‐40f2‐ae86‐9d51d734e87a                   Address Redacted                      First Class Mail
731550ad‐567e‐4dc8‐a686‐2f12f181af9f                   Address Redacted                      First Class Mail
731937b7‐884b‐4f93‐9a4c‐938380523100                   Address Redacted                      First Class Mail
731a815e‐18b5‐49f5‐b9d4‐c1f651eb11bd                   Address Redacted                      First Class Mail
731aa6f1‐28d7‐41e1‐91c7‐1292a704a57c                   Address Redacted                      First Class Mail
731d47a1‐d4f1‐4df7‐bacc‐fba8224728d4                   Address Redacted                      First Class Mail
7320f8a0‐5d77‐4ab9‐abb0‐6fe58a0ec809                   Address Redacted                      First Class Mail
7322c4fa‐ca3d‐43a1‐a332‐2d5ca42a63b8                   Address Redacted                      First Class Mail
73248d3e‐3c27‐4077‐ba53‐40397996553c                   Address Redacted                      First Class Mail
73282d30‐3e6a‐4385‐97f0‐fd60052a8219                   Address Redacted                      First Class Mail
732d6d19‐cb8d‐4170‐ba11‐d30eed927162                   Address Redacted                      First Class Mail
732e0f7d‐b700‐4a7b‐bc54‐62dc5779296d                   Address Redacted                      First Class Mail
732f8693‐8590‐480b‐a381‐8714cd5a2211                   Address Redacted                      First Class Mail
733483da‐e906‐4000‐b2f0‐46cbcb6a67bc                   Address Redacted                      First Class Mail
733782b5‐60a6‐4d0e‐8df0‐e69a99a64c74                   Address Redacted                      First Class Mail
7338c8e6‐a4d7‐4569‐b4e5‐a279ca2d119f                   Address Redacted                      First Class Mail
733babac‐75ec‐46e7‐bfe2‐0b4caccd7f36                   Address Redacted                      First Class Mail
733e3a2d‐3352‐4c42‐90d2‐a31dc22de600                   Address Redacted                      First Class Mail
733ee31b‐a5f8‐4250‐9c48‐735b58389700                   Address Redacted                      First Class Mail
73439ece‐2546‐4837‐88c6‐8473797ec07f                   Address Redacted                      First Class Mail
7347cb3f‐d450‐4d9c‐a466‐7af60026b545                   Address Redacted                      First Class Mail
73490bf7‐92ec‐43dc‐aac4‐7947ad6ff586                   Address Redacted                      First Class Mail
7349485c‐fcd0‐43f6‐a48c‐dba497a198c4                   Address Redacted                      First Class Mail
734b5eb4‐4022‐4d94‐ac03‐6e017168bf63                   Address Redacted                      First Class Mail
734c0104‐c0d5‐40dc‐994a‐1deb62a7f61e                   Address Redacted                      First Class Mail
734d44e7‐4d47‐44ef‐8ad7‐6e723570ea13                   Address Redacted                      First Class Mail
734e4cf4‐1632‐466d‐ba0e‐9e38fb3c4cf5                   Address Redacted                      First Class Mail
735071cd‐35e0‐460d‐8438‐4f98525f94a4                   Address Redacted                      First Class Mail
7351396b‐92cc‐438a‐8ace‐c96b6caa8715                   Address Redacted                      First Class Mail
73544547‐2740‐4b5e‐bc85‐68068cd1a31d                   Address Redacted                      First Class Mail
73560715‐c78f‐48a2‐b0b1‐cceea1352c52                   Address Redacted                      First Class Mail
735d9061‐4642‐4710‐b0ac‐aadef2ed78fd                   Address Redacted                      First Class Mail
735e290d‐77ad‐493f‐9696‐ad8c81cb235f                   Address Redacted                      First Class Mail
7360db17‐50d4‐488e‐9297‐72ece22823a7                   Address Redacted                      First Class Mail
7361d4f9‐ac23‐4845‐b5b7‐0561445fa0db                   Address Redacted                      First Class Mail
73643548‐303c‐4eeb‐929f‐ba5b9711da75                   Address Redacted                      First Class Mail
73676f0d‐d736‐4a84‐9285‐0006aab187f5                   Address Redacted                      First Class Mail
7367a798‐71e7‐48d1‐9d37‐66a7c1841240                   Address Redacted                      First Class Mail
7367b629‐0a32‐46e1‐b617‐e477e94dae63                   Address Redacted                      First Class Mail




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                                                                Exhibit A
                                                                 Service List


                              Name                                              Address                         Method of Service
73683166‐7213‐424e‐a881‐75068bf4fb0d                   Address Redacted                      First Class Mail
736a2bb9‐2ac7‐4ccb‐892a‐7415865228f8                   Address Redacted                      First Class Mail
736c5c73‐8900‐4339‐a470‐c1fce100ede1                   Address Redacted                      First Class Mail
736ce0f8‐24a2‐4621‐b9e1‐c15e7a4aa3d4                   Address Redacted                      First Class Mail
736d0fd9‐5756‐4096‐84e4‐a2d807aa36b5                   Address Redacted                      First Class Mail
736ddc7c‐f0b3‐421c‐b831‐61991e1aba3f                   Address Redacted                      First Class Mail
736f919b‐4d2a‐4a58‐a443‐3dba6a57ed6c                   Address Redacted                      First Class Mail
7370df54‐8684‐42dc‐ab60‐7206cd8645c9                   Address Redacted                      First Class Mail
7371b51f‐3c59‐406c‐8384‐d49caaaa8e52                   Address Redacted                      First Class Mail
737229a8‐81a3‐439a‐89f4‐355cc36d6198                   Address Redacted                      First Class Mail
73734069‐3ca4‐4b84‐9a58‐826eda4d008c                   Address Redacted                      First Class Mail
73752d99‐b259‐46a3‐b78f‐2e2c4144f5f5                   Address Redacted                      First Class Mail
73775fe8‐24e3‐41f2‐b25e‐48e08435e688                   Address Redacted                      First Class Mail
737efd76‐ef3b‐405f‐9cf5‐9b69fa2ceae3                   Address Redacted                      First Class Mail
7385b82c‐f290‐487c‐b87c‐5ba18747922c                   Address Redacted                      First Class Mail
738f4d5a‐8452‐4789‐bca8‐d61ac7a0bc5d                   Address Redacted                      First Class Mail
7390c8a5‐9d22‐4359‐9838‐71d72c3437da                   Address Redacted                      First Class Mail
739163f5‐a027‐481c‐b95b‐a352ad7308e6                   Address Redacted                      First Class Mail
7391b0a2‐3141‐4197‐b57e‐e78ab7754fb6                   Address Redacted                      First Class Mail
7394d9a2‐9280‐4c5e‐83ae‐c84e1f0d2220                   Address Redacted                      First Class Mail
7395dda2‐0bec‐46b8‐911e‐ef47bb967d81                   Address Redacted                      First Class Mail
73978d66‐61c7‐44ee‐a0f7‐a29174e8d02c                   Address Redacted                      First Class Mail
7399594f‐d026‐46aa‐81b3‐70dab08d1620                   Address Redacted                      First Class Mail
739c77a4‐338c‐4121‐88e2‐9cf6d8290159                   Address Redacted                      First Class Mail
739d549d‐959b‐4e69‐9ab8‐8846ff362b73                   Address Redacted                      First Class Mail
739dce2f‐4eb7‐4b48‐a871‐b38366dd9a0b                   Address Redacted                      First Class Mail
73a09ece‐2c08‐4e4f‐aec2‐e1c2b42eb20b                   Address Redacted                      First Class Mail
73a1749d‐3932‐4ffa‐80fd‐088c3c20c8e8                   Address Redacted                      First Class Mail
73a26cb0‐51d8‐4129‐a667‐1f5be80ce901                   Address Redacted                      First Class Mail
73a2a9a5‐b762‐4570‐aa3b‐839e522f8a50                   Address Redacted                      First Class Mail
73a6530f‐3fae‐4bbd‐a4ec‐f0c7c140e930                   Address Redacted                      First Class Mail
73a70652‐e466‐4ab8‐9aa9‐96a0c99a3c46                   Address Redacted                      First Class Mail
73aad3e1‐193d‐470f‐b141‐45c01d1b69e6                   Address Redacted                      First Class Mail
73aba708‐80b6‐4503‐a794‐fe19b91baa2d                   Address Redacted                      First Class Mail
73ae8052‐8d52‐4713‐9730‐27a95feac98a                   Address Redacted                      First Class Mail
73b1cdc5‐7ecf‐4ccd‐a572‐ca7adfcf9743                   Address Redacted                      First Class Mail
73b2d7a3‐c767‐4f98‐89bf‐41a618802474                   Address Redacted                      First Class Mail
73b47937‐0a10‐4194‐8d19‐cc28e5baa605                   Address Redacted                      First Class Mail
73b9b56c‐644d‐410a‐b9cc‐05c0046a9823                   Address Redacted                      First Class Mail
73bc1505‐4744‐4e17‐9f0b‐f8ec8c3ffd6a                   Address Redacted                      First Class Mail
73beddce‐27e7‐4426‐b8db‐815aa96f3b24                   Address Redacted                      First Class Mail
73c4365e‐69bf‐47bb‐b547‐a72b6628dcc5                   Address Redacted                      First Class Mail
73c5ff69‐4257‐495c‐9a33‐610ed2f01489                   Address Redacted                      First Class Mail
73c89a77‐7d28‐465e‐a346‐c4cd88492cf9                   Address Redacted                      First Class Mail
73c95650‐42d3‐47ba‐94f4‐006b70c41f9e                   Address Redacted                      First Class Mail
73cda8de‐b394‐4e78‐91a2‐b09c7a548876                   Address Redacted                      First Class Mail
73cdb327‐ddb2‐42cf‐8e56‐7edddcccbbe3                   Address Redacted                      First Class Mail
73d25b16‐843a‐419c‐9f8b‐b5ff673f1f70                   Address Redacted                      First Class Mail
73daddf0‐a9da‐4b60‐87b8‐364874a6e2b4                   Address Redacted                      First Class Mail
73dfb6b4‐6373‐42bd‐8473‐4296c60b0e9b                   Address Redacted                      First Class Mail
73e2e1de‐d72c‐4948‐843a‐2aeb13933644                   Address Redacted                      First Class Mail
73e43aae‐1c81‐4ba7‐a7d9‐afdaa1df3dc2                   Address Redacted                      First Class Mail
73e4fcb3‐e526‐42af‐a2ed‐505aaf996501                   Address Redacted                      First Class Mail
73e86bce‐7ff9‐4ef0‐8df9‐e640a94ff558                   Address Redacted                      First Class Mail
73ea4b8a‐b01e‐491e‐9c14‐fb415776616c                   Address Redacted                      First Class Mail
73eb6fa4‐17c7‐4cf9‐98d4‐5569b62017b7                   Address Redacted                      First Class Mail
73f03f79‐3120‐47c8‐b26c‐7000ff826283                   Address Redacted                      First Class Mail
73f0c265‐1587‐4c07‐abd8‐ca2b02a566de                   Address Redacted                      First Class Mail
73f83cfb‐7409‐42ff‐8ad2‐ce2367d4aff6                   Address Redacted                      First Class Mail
73fba3be‐a601‐40ff‐a2f4‐a8f336e09ef9                   Address Redacted                      First Class Mail
73fe33c9‐1fc6‐4576‐bf1e‐58faa9c4edeb                   Address Redacted                      First Class Mail
7403f2f1‐b68b‐493f‐8d82‐c3e6a3036c09                   Address Redacted                      First Class Mail
7403fd7a‐dd95‐4c85‐bd61‐98caf8cee403                   Address Redacted                      First Class Mail
740519cd‐9015‐4443‐82b9‐a45ef4aa6e53                   Address Redacted                      First Class Mail
740c9caf‐ab4b‐4d26‐9304‐481a06d4693b                   Address Redacted                      First Class Mail
740e6d1d‐44ce‐45a1‐a216‐2b33bafc6ed7                   Address Redacted                      First Class Mail
740e8d31‐534c‐4848‐84f4‐10b5337d1d13                   Address Redacted                      First Class Mail
7412e04c‐cde4‐4acc‐8af4‐b96e647dc666                   Address Redacted                      First Class Mail
74187ce8‐0951‐4f06‐8382‐938beb1f226e                   Address Redacted                      First Class Mail
74192099‐5b4b‐4c31‐af36‐41bff3553ebc                   Address Redacted                      First Class Mail
741d17f5‐f7af‐41f3‐95b5‐bd835a8953e0                   Address Redacted                      First Class Mail
741dd445‐eb8a‐4124‐808f‐b5cf49c9d827                   Address Redacted                      First Class Mail




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                              Name                                              Address                         Method of Service
74200096‐d3f3‐4c4f‐8f24‐1ac5bd508405                   Address Redacted                      First Class Mail
74227af1‐b854‐47dd‐9255‐2459f204f44c                   Address Redacted                      First Class Mail
74260de7‐89b0‐4a2c‐a8d2‐97daf1117188                   Address Redacted                      First Class Mail
7429cd90‐125c‐4c70‐8aa3‐c4711ddd05d4                   Address Redacted                      First Class Mail
742cafdf‐ade8‐4c0a‐a3de‐04c5dc278c52                   Address Redacted                      First Class Mail
742ce430‐78e1‐4f94‐bfb5‐021f33889e7b                   Address Redacted                      First Class Mail
742d47ba‐ab12‐4f75‐bb71‐f935378c02dc                   Address Redacted                      First Class Mail
7431a056‐2362‐407b‐af03‐c96ac88520e7                   Address Redacted                      First Class Mail
74354f3f‐cf00‐4d07‐b26c‐60d1d6ec9ee8                   Address Redacted                      First Class Mail
7437812e‐940c‐4e25‐9a10‐ab8bacd6bb99                   Address Redacted                      First Class Mail
7439fd81‐113e‐45a6‐9712‐e5d3059f3452                   Address Redacted                      First Class Mail
743e287c‐28df‐40f3‐8749‐80666cc36e0f                   Address Redacted                      First Class Mail
74414fbe‐5c6d‐4344‐8d65‐c6138d97c3b9                   Address Redacted                      First Class Mail
74487e0f‐05d4‐439f‐a27f‐e2ce9b28b120                   Address Redacted                      First Class Mail
744b9b1d‐fe4b‐4571‐85e3‐2a939359b37f                   Address Redacted                      First Class Mail
744bd0cc‐3932‐49cb‐b3de‐9b7c1a159145                   Address Redacted                      First Class Mail
74529b16‐bede‐445e‐b284‐0973fd1fee1b                   Address Redacted                      First Class Mail
74569ed3‐fe5c‐4801‐be3e‐923f15e65306                   Address Redacted                      First Class Mail
745aa772‐f3ad‐4cfb‐90a6‐b75ad84ebcf7                   Address Redacted                      First Class Mail
745c1e7d‐919b‐46e2‐8a38‐d4d1b4e9db61                   Address Redacted                      First Class Mail
745fc325‐99a7‐4b5a‐9b25‐32b5cf7b2ed1                   Address Redacted                      First Class Mail
74655ae8‐1bd6‐42ee‐8afe‐4d1341d8a07c                   Address Redacted                      First Class Mail
746a59b8‐e591‐4b00‐b647‐5cf31bc68494                   Address Redacted                      First Class Mail
746c0754‐0b78‐443a‐b1a6‐5c3bd7612a28                   Address Redacted                      First Class Mail
746c38ba‐284d‐409b‐a129‐7949f090177b                   Address Redacted                      First Class Mail
746efc17‐a9c9‐4bb8‐8b48‐4c3c15d4299d                   Address Redacted                      First Class Mail
746f33cf‐6d92‐445e‐93b7‐b8a2015ecdb2                   Address Redacted                      First Class Mail
74704522‐9a12‐4905‐b469‐d36dc8612552                   Address Redacted                      First Class Mail
74717c58‐97b5‐49db‐9d15‐d01d6c158bb4                   Address Redacted                      First Class Mail
74723c6d‐4893‐4acf‐a209‐aeb24d86206c                   Address Redacted                      First Class Mail
74757f67‐c0db‐46c6‐82be‐143648aeed5d                   Address Redacted                      First Class Mail
7475ae8e‐77e8‐4f6d‐afa5‐fe722ad51b62                   Address Redacted                      First Class Mail
7477b239‐45fb‐4b2b‐a2df‐b1f16eb336db                   Address Redacted                      First Class Mail
747831f6‐f562‐42e6‐a93c‐0a581c4cfc4a                   Address Redacted                      First Class Mail
7480b4fd‐4c8a‐4b7f‐9a11‐39e9ed885655                   Address Redacted                      First Class Mail
74813521‐b007‐4031‐8b38‐0c4eff89e5b1                   Address Redacted                      First Class Mail
74816784‐0b0a‐4b6a‐bbba‐7104c3f2d21c                   Address Redacted                      First Class Mail
74818140‐35ec‐4281‐b17a‐119979233c91                   Address Redacted                      First Class Mail
7481c41e‐5543‐4b59‐bae1‐d18e0920542c                   Address Redacted                      First Class Mail
748601c8‐6b61‐4080‐a198‐c38607314f47                   Address Redacted                      First Class Mail
748c99f7‐4aef‐42f3‐9a18‐3eeb85f8857d                   Address Redacted                      First Class Mail
748cff6e‐46c3‐430c‐8ab9‐5535ab7cf91c                   Address Redacted                      First Class Mail
748e8530‐ac51‐4a6f‐a870‐359a439d76e9                   Address Redacted                      First Class Mail
74913e1b‐4d7c‐4ddc‐bda0‐74e6d283bc51                   Address Redacted                      First Class Mail
74957d2b‐d75b‐4c47‐be58‐0857364bf0d5                   Address Redacted                      First Class Mail
749addf2‐75f0‐4b99‐a6cd‐64cab6b3cf8b                   Address Redacted                      First Class Mail
749cc9a0‐f890‐46ef‐87b4‐8a9eaf04d29b                   Address Redacted                      First Class Mail
74a334e2‐b533‐4a8f‐8eae‐ee06a1fc0dc6                   Address Redacted                      First Class Mail
74aa674f‐9ce6‐4696‐97d5‐35848cc5301a                   Address Redacted                      First Class Mail
74ac84a7‐1474‐4c9d‐b713‐d2bb3ef49f34                   Address Redacted                      First Class Mail
74aec61b‐1cc5‐40a0‐92cb‐4c8dad4b5302                   Address Redacted                      First Class Mail
74b1d405‐dd04‐4802‐9b02‐51f8b9b81527                   Address Redacted                      First Class Mail
74b24dfc‐f355‐44a8‐a83c‐617c1f502f36                   Address Redacted                      First Class Mail
74b24fbc‐5482‐4ff7‐ab9c‐22b50f36a015                   Address Redacted                      First Class Mail
74b27969‐9716‐4a40‐a71c‐11fd72778d74                   Address Redacted                      First Class Mail
74b2e29d‐f9da‐4a72‐b8cc‐3ba4d7c27ad8                   Address Redacted                      First Class Mail
74b5160e‐22b0‐45d8‐a742‐2ad3371eca7e                   Address Redacted                      First Class Mail
74bcfe74‐7bc2‐4bcf‐b2cc‐ee0117312c22                   Address Redacted                      First Class Mail
74bd4f2a‐b09d‐49b0‐a2c8‐7651a4eb3d70                   Address Redacted                      First Class Mail
74be4445‐fd74‐4d18‐9d04‐4773b6f9f694                   Address Redacted                      First Class Mail
74c0ecc3‐67ae‐4bb3‐a1b6‐86d9e6ce77f9                   Address Redacted                      First Class Mail
74c158f5‐df47‐4a85‐bd7e‐256499ade7ca                   Address Redacted                      First Class Mail
74c402fc‐07b8‐49e8‐91d7‐15e25fbdf4d3                   Address Redacted                      First Class Mail
74d106ab‐b93b‐4cc8‐938f‐81e4423f2d85                   Address Redacted                      First Class Mail
74d32d69‐9201‐426c‐b0bd‐ab0a697541f1                   Address Redacted                      First Class Mail
74d486f9‐58fc‐4cbb‐80d1‐53f5eaef4da7                   Address Redacted                      First Class Mail
74d64cf4‐02b4‐4b4d‐a9d5‐290d48f1ae8a                   Address Redacted                      First Class Mail
74df24a7‐05ea‐473a‐b736‐0ecc983f28fc                   Address Redacted                      First Class Mail
74e08feb‐6138‐4f5d‐82ba‐f551a4f6baf7                   Address Redacted                      First Class Mail
74e3e794‐d95f‐42ed‐8176‐cf02fc36e78f                   Address Redacted                      First Class Mail
74e63f55‐f060‐4e34‐959e‐7e9b0637e95d                   Address Redacted                      First Class Mail
74e66fab‐d738‐4cfb‐86de‐adfb00be1ea4                   Address Redacted                      First Class Mail




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                                                                Exhibit A
                                                                 Service List


                              Name                                              Address                         Method of Service
74e72d15‐50e7‐4dd9‐b36c‐41a5609a0843                   Address Redacted                      First Class Mail
74e773bd‐43c7‐446f‐9068‐8e1d001b94f9                   Address Redacted                      First Class Mail
74e9f90b‐a20d‐4494‐9c2d‐d5dd8cdf01b9                   Address Redacted                      First Class Mail
74eec2ad‐7342‐4ee7‐b7f9‐6df24c302c61                   Address Redacted                      First Class Mail
74f7e3c2‐5bb5‐45c2‐9690‐f5f8131f2457                   Address Redacted                      First Class Mail
74fb59d2‐c458‐4dca‐a6c9‐554f46ce7cd3                   Address Redacted                      First Class Mail
74fb6c9f‐ef44‐4bee‐8d99‐35c1df85cf9c                   Address Redacted                      First Class Mail
74fc7c2e‐c1b6‐46bd‐a12c‐5d60e54e4000                   Address Redacted                      First Class Mail
74fdf420‐5e6c‐4304‐a9df‐6a2203e3d8f6                   Address Redacted                      First Class Mail
750500ee‐390d‐480f‐a417‐198be5e2399c                   Address Redacted                      First Class Mail
75054315‐304a‐4d71‐ba62‐5fe8c0cc21cc                   Address Redacted                      First Class Mail
7506f041‐04f4‐4833‐a394‐5fedb2feca4d                   Address Redacted                      First Class Mail
750afcb3‐10c5‐4e86‐a379‐5beddc55fb14                   Address Redacted                      First Class Mail
750b7a9c‐1223‐4361‐8386‐d135694e3ef1                   Address Redacted                      First Class Mail
750bf601‐7c65‐4f6a‐b138‐957ae4893015                   Address Redacted                      First Class Mail
750d6bbf‐cfae‐417f‐a336‐9eb905428662                   Address Redacted                      First Class Mail
750e3755‐407a‐48ea‐9145‐a4ad553edc34                   Address Redacted                      First Class Mail
751e8529‐135a‐40c6‐9780‐cb3cd9b2fe99                   Address Redacted                      First Class Mail
751e8d6c‐269a‐405d‐acb3‐b151d793dba0                   Address Redacted                      First Class Mail
751e98ca‐d606‐4e26‐8da6‐ea0dfb1cb504                   Address Redacted                      First Class Mail
7520089e‐badc‐46d7‐aff1‐3217753cb313                   Address Redacted                      First Class Mail
7520401e‐12f8‐4aaf‐aaa0‐098e604bbc57                   Address Redacted                      First Class Mail
752b1d64‐fd26‐4851‐86ad‐28b52f34b005                   Address Redacted                      First Class Mail
753181ed‐ec53‐40c6‐9014‐454d7c66a0ed                   Address Redacted                      First Class Mail
7533213b‐2393‐4b57‐ad55‐cfdc3c401e20                   Address Redacted                      First Class Mail
753d956e‐71db‐4bbb‐ac2d‐abefa9977b65                   Address Redacted                      First Class Mail
754223d7‐49b5‐4a30‐882b‐b949ec835f1e                   Address Redacted                      First Class Mail
75428d66‐de06‐487c‐90c0‐52187e435999                   Address Redacted                      First Class Mail
7545a4d9‐3b28‐4c20‐b391‐dfff20914fd5                   Address Redacted                      First Class Mail
7546c988‐f8b1‐4f45‐a5cd‐4e071ad61578                   Address Redacted                      First Class Mail
7546f53c‐1a7d‐4371‐93b4‐a979b3f1bfb0                   Address Redacted                      First Class Mail
755372dd‐916c‐4d3f‐8062‐b47482e2fa29                   Address Redacted                      First Class Mail
755648d9‐ec67‐49ef‐8d3b‐543e94fc33b1                   Address Redacted                      First Class Mail
7558743e‐d921‐4733‐8920‐c60532fc1557                   Address Redacted                      First Class Mail
755b483a‐b122‐4630‐ac3c‐df90424daf59                   Address Redacted                      First Class Mail
755c0f91‐63e4‐4f35‐a202‐8a7017f08c30                   Address Redacted                      First Class Mail
755c9205‐35f7‐4703‐a827‐14bf2812a894                   Address Redacted                      First Class Mail
756707a5‐19fa‐4ebb‐9ffa‐28a0bebddd7b                   Address Redacted                      First Class Mail
75702153‐0522‐435f‐b968‐15c2f14ba35b                   Address Redacted                      First Class Mail
757094ac‐1eb5‐41a7‐9307‐2098463dc6aa                   Address Redacted                      First Class Mail
7574e2f6‐a40c‐4d72‐8c3e‐079d9a7af46c                   Address Redacted                      First Class Mail
7576ff3c‐e919‐47e2‐b490‐958b306ce98c                   Address Redacted                      First Class Mail
757d5012‐9c5e‐4602‐b7d8‐cbf6254d2c46                   Address Redacted                      First Class Mail
757d67fc‐4df9‐476e‐a4a0‐a6bbd52d1ea3                   Address Redacted                      First Class Mail
758012ec‐8573‐4981‐8f4f‐63cad28fd4be                   Address Redacted                      First Class Mail
7580aac9‐9cad‐4890‐985d‐1eeb68974f14                   Address Redacted                      First Class Mail
75829bd2‐6bc1‐4c2a‐9810‐7938dff31b8b                   Address Redacted                      First Class Mail
75892857‐d22c‐4f51‐85b1‐8e68b3c7250e                   Address Redacted                      First Class Mail
758a1bd5‐ab5e‐4bbb‐b684‐36b1bd64de9d                   Address Redacted                      First Class Mail
758aa6ea‐68ac‐4afe‐8a57‐bb03fec850d4                   Address Redacted                      First Class Mail
758b9ca7‐e6ec‐4977‐ba44‐5c78027c440c                   Address Redacted                      First Class Mail
75903154‐9533‐42f7‐aee2‐fe2513281b57                   Address Redacted                      First Class Mail
75906f57‐032e‐40ab‐8829‐36a02ab2a192                   Address Redacted                      First Class Mail
7591cb88‐7784‐4f8b‐97f3‐aed504e0ea72                   Address Redacted                      First Class Mail
759556e1‐0eaf‐428d‐b0cd‐73f97305da30                   Address Redacted                      First Class Mail
7597eba5‐873e‐4f86‐8fc4‐5a5b214f7bfb                   Address Redacted                      First Class Mail
75988fc7‐79b2‐4454‐b7d2‐a05d484cbdce                   Address Redacted                      First Class Mail
759961c6‐77a8‐4403‐a36f‐8f0bfc8e5e00                   Address Redacted                      First Class Mail
759a643a‐a7d2‐4770‐8cb1‐051d84125975                   Address Redacted                      First Class Mail
759b6ed4‐1f76‐45d1‐b110‐91420b900465                   Address Redacted                      First Class Mail
759c0c45‐a213‐4c21‐8b28‐913fcfbaa4a2                   Address Redacted                      First Class Mail
759ef7e1‐45dd‐4d6e‐a0f9‐0b4b6b8a1e2f                   Address Redacted                      First Class Mail
759f7292‐787f‐4142‐ac40‐eb55fec33dc6                   Address Redacted                      First Class Mail
75a0d930‐1468‐448f‐89df‐0059b2594681                   Address Redacted                      First Class Mail
75a28a37‐5de1‐43f8‐b46b‐9c99395079bd                   Address Redacted                      First Class Mail
75a3b8f2‐d81e‐4d36‐8237‐343a42fb7557                   Address Redacted                      First Class Mail
75a59661‐5cf1‐49bc‐bd97‐fd2d4604fe88                   Address Redacted                      First Class Mail
75a5c136‐19a6‐4165‐ab11‐bca89b74ab32                   Address Redacted                      First Class Mail
75a78956‐b22f‐4c90‐a2df‐bf2d826c5cfa                   Address Redacted                      First Class Mail
75a7af74‐6d1b‐49e6‐bd9a‐c48586f157f9                   Address Redacted                      First Class Mail
75a94949‐54d1‐4dd2‐a7c8‐76a41b91542b                   Address Redacted                      First Class Mail
75ad6139‐16d1‐4c0c‐99d8‐f17cda9eba61                   Address Redacted                      First Class Mail




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                                                                 Service List


                              Name                                              Address                         Method of Service
75b02a53‐6ac8‐4a46‐9f5b‐d581c0b38e15                   Address Redacted                      First Class Mail
75b04942‐0297‐4925‐b6ec‐911091dae6ac                   Address Redacted                      First Class Mail
75b18068‐9a4a‐45a1‐9c3b‐3bbe8d42235a                   Address Redacted                      First Class Mail
75b853e7‐f404‐478a‐b40f‐991bd4a8d251                   Address Redacted                      First Class Mail
75bb4276‐2f32‐472a‐8358‐bdf6d5d3ca7e                   Address Redacted                      First Class Mail
75bf2525‐1f22‐4010‐8f6a‐b6d003663e18                   Address Redacted                      First Class Mail
75c29a75‐d8f4‐42d6‐b194‐6c034aef6faa                   Address Redacted                      First Class Mail
75c5cd40‐19ad‐4023‐824d‐823480c88372                   Address Redacted                      First Class Mail
75c867a5‐aa42‐4b20‐9eed‐1ddfacbacd4e                   Address Redacted                      First Class Mail
75cc581c‐f3d8‐476f‐9ee5‐a080a069f7dd                   Address Redacted                      First Class Mail
75cc98bb‐7098‐4e38‐a1fc‐af1a4be9075a                   Address Redacted                      First Class Mail
75d2b7ad‐4237‐4d28‐a9cd‐1dd8a4ebd607                   Address Redacted                      First Class Mail
75d4b60a‐cedc‐45cf‐979f‐bc1025c6cacb                   Address Redacted                      First Class Mail
75d6fc56‐b26c‐4c93‐9773‐d4fb094a85e2                   Address Redacted                      First Class Mail
75dbbf2a‐1221‐44a1‐8c9a‐8daa997f47ad                   Address Redacted                      First Class Mail
75dbd083‐247f‐4bbc‐9c4f‐4826e20d30ef                   Address Redacted                      First Class Mail
75dca2a2‐efcb‐4822‐ae4a‐370ccbbdb608                   Address Redacted                      First Class Mail
75e0d24f‐6199‐4c64‐9cb9‐bd231c374329                   Address Redacted                      First Class Mail
75e3d8a4‐db8c‐42d1‐8ac7‐b41cf48ad778                   Address Redacted                      First Class Mail
75e89f43‐16da‐4fb7‐9dd9‐6817c2a5f985                   Address Redacted                      First Class Mail
75ea3e53‐6f15‐4dd5‐a80a‐e55a6d70d837                   Address Redacted                      First Class Mail
75ec8167‐029a‐483a‐93c9‐75d100d2fe01                   Address Redacted                      First Class Mail
75ed8b65‐0f12‐49db‐b3ba‐9bf8a27fa5f9                   Address Redacted                      First Class Mail
75edcb51‐e62f‐408d‐a729‐8b1f70167431                   Address Redacted                      First Class Mail
75ee5c2b‐4bb7‐4017‐98b2‐46f71356c151                   Address Redacted                      First Class Mail
75ef294a‐3212‐4e16‐93ca‐4984158af3c9                   Address Redacted                      First Class Mail
75f05841‐caef‐46a6‐8202‐b91fc1518d57                   Address Redacted                      First Class Mail
75f490d7‐770f‐4b1d‐ae76‐54c90d60b224                   Address Redacted                      First Class Mail
75fb850c‐0eb4‐4a4e‐939c‐3fe085240ca5                   Address Redacted                      First Class Mail
7601b7e8‐772b‐4943‐bf71‐ab30471f6cd9                   Address Redacted                      First Class Mail
7603b10e‐c6d4‐419d‐8294‐e5645974985c                   Address Redacted                      First Class Mail
760c799b‐1f85‐4436‐9f6d‐aa490fcdde39                   Address Redacted                      First Class Mail
760c79c4‐3edc‐421f‐a4df‐8056c30e44d4                   Address Redacted                      First Class Mail
760cdfd6‐b7ff‐4039‐be82‐b47054e55e4a                   Address Redacted                      First Class Mail
7611bf9c‐b6cd‐4a47‐a120‐6d6bc1bd2c3e                   Address Redacted                      First Class Mail
76126d4f‐7d6c‐4eee‐a0eb‐87c859f8b104                   Address Redacted                      First Class Mail
761344a9‐fda1‐4fda‐8e80‐8073dbe326cf                   Address Redacted                      First Class Mail
76152dd7‐6187‐4f10‐9a99‐2b863f53784c                   Address Redacted                      First Class Mail
761bc54d‐6c28‐4695‐a1c1‐834cc8f9c361                   Address Redacted                      First Class Mail
761bde93‐4935‐49ba‐92ef‐208273c89d2a                   Address Redacted                      First Class Mail
76204144‐4c81‐44fc‐ae83‐d79f65b7170c                   Address Redacted                      First Class Mail
7621b587‐8bfd‐4b4c‐86be‐6bce8bf808a2                   Address Redacted                      First Class Mail
76221dd1‐4f58‐445e‐b62a‐8afb6007d175                   Address Redacted                      First Class Mail
76252dc6‐4e44‐4c42‐a623‐4c340008af40                   Address Redacted                      First Class Mail
7627c4f5‐cf64‐4238‐b4e8‐e27aa54e2dea                   Address Redacted                      First Class Mail
762aa916‐b512‐4a37‐93cf‐843a0dc32c5f                   Address Redacted                      First Class Mail
762f5296‐1fea‐4b7b‐b500‐0fd7dfc712af                   Address Redacted                      First Class Mail
7630562c‐cd38‐49e6‐9190‐ab72c28f8181                   Address Redacted                      First Class Mail
7630d36c‐edc1‐46f2‐82ed‐ba32f6527628                   Address Redacted                      First Class Mail
76312ea6‐b93c‐4686‐8eac‐46e4534e9d88                   Address Redacted                      First Class Mail
763132a9‐8da2‐4160‐a663‐5dd1077977cb                   Address Redacted                      First Class Mail
763656fa‐39e1‐4998‐9ad7‐07b081fbc7e0                   Address Redacted                      First Class Mail
763d104b‐b8a6‐47f4‐96d9‐6ce0da306d15                   Address Redacted                      First Class Mail
763f6135‐80bd‐46cc‐8342‐ee2c037275ab                   Address Redacted                      First Class Mail
76400ff9‐772d‐4b30‐9b2b‐3dbf35bdafb3                   Address Redacted                      First Class Mail
7641bb2e‐a7d0‐4300‐bc14‐974c39c40e0f                   Address Redacted                      First Class Mail
7643a13a‐8d09‐4a13‐a05f‐1ad872e670a4                   Address Redacted                      First Class Mail
7644eeec‐2974‐4714‐af43‐70b079b1502c                   Address Redacted                      First Class Mail
7645f261‐aba5‐4a09‐bcc4‐2b1dd0981310                   Address Redacted                      First Class Mail
764c28c6‐510a‐4cf8‐9241‐c57abe9407f4                   Address Redacted                      First Class Mail
76522db8‐5211‐471f‐bed4‐be9e01d4db01                   Address Redacted                      First Class Mail
76554c52‐c59d‐436a‐a72f‐551bde22dcde                   Address Redacted                      First Class Mail
765bcd87‐be58‐4649‐b3e5‐4de24ed0a33e                   Address Redacted                      First Class Mail
765bcfa3‐684e‐4ebb‐ba3e‐62bd50362017                   Address Redacted                      First Class Mail
765d1600‐2a45‐49da‐b4e7‐2364018031e9                   Address Redacted                      First Class Mail
7660819a‐6c17‐4ee9‐9323‐e81dd9a1096d                   Address Redacted                      First Class Mail
76612413‐9a26‐4335‐b57f‐58bf6a3d9984                   Address Redacted                      First Class Mail
7661bb4d‐b51e‐48d5‐8254‐40180aed02fd                   Address Redacted                      First Class Mail
7663ce01‐ac71‐43b8‐b176‐9627ceb790e4                   Address Redacted                      First Class Mail
76667508‐c1a1‐4339‐955c‐57a3bee3b624                   Address Redacted                      First Class Mail
766944d6‐cf66‐4b9b‐90cd‐c9223965cec4                   Address Redacted                      First Class Mail
766962fa‐25c1‐41a7‐ba7f‐0103107b44d5                   Address Redacted                      First Class Mail




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                                                                Exhibit A
                                                                 Service List


                              Name                                              Address                         Method of Service
766a4b8d‐72b6‐4b43‐966c‐b750a14d3e49                   Address Redacted                      First Class Mail
766b37c8‐c309‐437e‐bbb7‐36525eec8300                   Address Redacted                      First Class Mail
766bfbc4‐9959‐4ea3‐83c3‐59da16045e50                   Address Redacted                      First Class Mail
766ce46b‐94e1‐4201‐877e‐b60595b5f406                   Address Redacted                      First Class Mail
766e3392‐77f2‐4d1d‐b646‐51ec847debbd                   Address Redacted                      First Class Mail
7674e310‐42ef‐458d‐934c‐af18cee2b027                   Address Redacted                      First Class Mail
76772298‐56a1‐4e43‐8122‐12afc1fb33a2                   Address Redacted                      First Class Mail
767a82e8‐d02c‐4451‐89f4‐17d078a0f579                   Address Redacted                      First Class Mail
767bfaa3‐4566‐4bb3‐b2fc‐d6320a7791d6                   Address Redacted                      First Class Mail
767bfdfe‐085c‐4479‐ba11‐c93453675d3e                   Address Redacted                      First Class Mail
7681906b‐2dda‐4860‐b638‐5e1370d1a8c9                   Address Redacted                      First Class Mail
7682b301‐be16‐4186‐8245‐063bedba67f6                   Address Redacted                      First Class Mail
76850a6e‐e15e‐46ca‐95bd‐32a7314a1985                   Address Redacted                      First Class Mail
76863679‐401f‐47b8‐a7da‐2337a8e1ed95                   Address Redacted                      First Class Mail
76883932‐408a‐4085‐a833‐582f6ea3b4df                   Address Redacted                      First Class Mail
7688f802‐a5f0‐4785‐a22c‐c27ab1d1852a                   Address Redacted                      First Class Mail
768b73b0‐2c9a‐494b‐bc06‐74c29f5a409a                   Address Redacted                      First Class Mail
768d52d0‐131c‐46fc‐835d‐de5a39103a7f                   Address Redacted                      First Class Mail
7690313b‐89ab‐4afa‐9e30‐fc042b24fbc4                   Address Redacted                      First Class Mail
7694e802‐0eeb‐4b66‐955c‐923cf40dd29b                   Address Redacted                      First Class Mail
76966abd‐d99b‐4e9a‐babc‐ddd90a1b7321                   Address Redacted                      First Class Mail
7698c938‐5664‐481b‐8152‐71e656b71724                   Address Redacted                      First Class Mail
769b2360‐10ff‐4aae‐9e9f‐3c2bea11c851                   Address Redacted                      First Class Mail
769cc84f‐92f2‐41e6‐8f36‐d58189179fbd                   Address Redacted                      First Class Mail
769e9dca‐2bc0‐482f‐8976‐19215f9a942d                   Address Redacted                      First Class Mail
76a77427‐9c8c‐4ee1‐b9f8‐cba4d4a9d33e                   Address Redacted                      First Class Mail
76a87a33‐9282‐4726‐b825‐e4089dd4359c                   Address Redacted                      First Class Mail
76aba62d‐4114‐43ed‐bf69‐f37309f7df77                   Address Redacted                      First Class Mail
76ae1f18‐3a2f‐4a92‐8715‐e10f79a2d9ec                   Address Redacted                      First Class Mail
76b3876b‐e9be‐433e‐a2f5‐ef7fa9238565                   Address Redacted                      First Class Mail
76b6ac78‐8c54‐4b73‐bb68‐07877d36e41d                   Address Redacted                      First Class Mail
76b75243‐120f‐48dc‐a16f‐bf9210afd8f0                   Address Redacted                      First Class Mail
76b7d748‐0977‐41f5‐8fd9‐02af9c30518c                   Address Redacted                      First Class Mail
76b97fc0‐5727‐4e82‐9496‐b7fdd7e845ad                   Address Redacted                      First Class Mail
76bdd0fa‐a6b7‐4eeb‐a150‐eab7a5831971                   Address Redacted                      First Class Mail
76becb71‐c882‐4af3‐b004‐7c7f7fa726db                   Address Redacted                      First Class Mail
76c8c1f4‐be67‐49c3‐b1c2‐86b7a3884961                   Address Redacted                      First Class Mail
76cb57b9‐01ac‐429f‐b13a‐6791af1eada4                   Address Redacted                      First Class Mail
76cf6258‐21a3‐4e9c‐aa64‐08c18c18a606                   Address Redacted                      First Class Mail
76d18312‐63c3‐4088‐a730‐c183bc07168b                   Address Redacted                      First Class Mail
76d3989c‐b629‐476c‐9d48‐e001304e8816                   Address Redacted                      First Class Mail
76d47dad‐900f‐4a25‐96d6‐e4ddd50bc336                   Address Redacted                      First Class Mail
76d909a4‐829b‐4b9c‐bd51‐620937fa1df4                   Address Redacted                      First Class Mail
76d91898‐910e‐4347‐a5ca‐df1e922a8f1a                   Address Redacted                      First Class Mail
76de01cd‐7f31‐49a9‐ac02‐f41ed38188d7                   Address Redacted                      First Class Mail
76e401f6‐58a9‐4209‐b929‐902d53136457                   Address Redacted                      First Class Mail
76e63f64‐ac32‐4885‐bf03‐5ed306791268                   Address Redacted                      First Class Mail
76ea5c9f‐f253‐4153‐a3a5‐17cc1333a710                   Address Redacted                      First Class Mail
76eb5cc1‐f59e‐4906‐a2c4‐6606de7a62dc                   Address Redacted                      First Class Mail
76ebb263‐669d‐45ef‐851d‐edff7c971870                   Address Redacted                      First Class Mail
76ec2d3d‐6bff‐43ba‐b19f‐6e5e78d691f3                   Address Redacted                      First Class Mail
76efc8d7‐73b5‐40c7‐9015‐3f4fe0ca9a3d                   Address Redacted                      First Class Mail
76f03756‐bed8‐40d2‐bfe5‐ede60dc1cd5c                   Address Redacted                      First Class Mail
76f0d266‐7ca0‐40fc‐a90e‐8350fbeee1a4                   Address Redacted                      First Class Mail
76f19fee‐d64a‐4f98‐b42c‐b6920dd503df                   Address Redacted                      First Class Mail
76f1abd4‐2fb8‐4113‐8cc3‐ce131e8dc806                   Address Redacted                      First Class Mail
76f61eff‐d755‐467a‐9361‐aeee856f715d                   Address Redacted                      First Class Mail
76f96a54‐90a2‐4319‐be58‐86b4d3d33301                   Address Redacted                      First Class Mail
7700c86a‐b51d‐4a73‐9548‐78f6ef75e65c                   Address Redacted                      First Class Mail
7713f865‐d86d‐410b‐a8b3‐56449e4df645                   Address Redacted                      First Class Mail
771460e2‐92ab‐4966‐bb42‐fb5c744b2212                   Address Redacted                      First Class Mail
77169554‐6b8e‐4c1f‐a8a4‐6d3bf0a7573a                   Address Redacted                      First Class Mail
7716dd0e‐2d5c‐4007‐bbfe‐018b7a465a93                   Address Redacted                      First Class Mail
771769a4‐033b‐46ae‐a3c5‐3a8ba3cb3060                   Address Redacted                      First Class Mail
771810e0‐60ee‐4220‐ae73‐35f6af3d7c7c                   Address Redacted                      First Class Mail
77188060‐d56b‐4e62‐a144‐a907eff0e07c                   Address Redacted                      First Class Mail
771c0a01‐c68f‐45ab‐b8d3‐85e93278069c                   Address Redacted                      First Class Mail
771c170f‐b668‐4449‐8fff‐40e8e0e332ce                   Address Redacted                      First Class Mail
7720ce36‐2f04‐489e‐9fdc‐730263c4e6cd                   Address Redacted                      First Class Mail
7720ea51‐623b‐4b48‐a18e‐bff2d97d16b0                   Address Redacted                      First Class Mail
77230ef6‐a5f9‐4ad5‐9860‐99294b37aee7                   Address Redacted                      First Class Mail
77245d1e‐e5a5‐43b6‐b435‐f5145f454856                   Address Redacted                      First Class Mail




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                              Name                                              Address                         Method of Service
772646ba‐e7dc‐483a‐a4c9‐37dfe60a0bc2                   Address Redacted                      First Class Mail
772a4ee0‐01cb‐4e1e‐a058‐06d6bc35a048                   Address Redacted                      First Class Mail
772dd497‐e452‐4cb1‐ab31‐7753a78857ea                   Address Redacted                      First Class Mail
77346f10‐7243‐42e8‐b761‐e48f65ffb61f                   Address Redacted                      First Class Mail
773a14ce‐2d4b‐4368‐b49b‐b236dd3d1a0d                   Address Redacted                      First Class Mail
773c8f32‐621a‐419a‐bc23‐8179e9075459                   Address Redacted                      First Class Mail
7747af83‐3c36‐4fa4‐8419‐87d0ef21d6fa                   Address Redacted                      First Class Mail
774ad70f‐fb14‐48e4‐93d8‐fac82bcc90c3                   Address Redacted                      First Class Mail
774ae2a4‐ad73‐4109‐9ab1‐b6903eda1208                   Address Redacted                      First Class Mail
774c9bde‐0895‐4c8f‐894b‐bbb1972506a0                   Address Redacted                      First Class Mail
774d82d2‐c5de‐4604‐b063‐6f5e06974adb                   Address Redacted                      First Class Mail
774e487d‐da48‐46b3‐8011‐e4508188376c                   Address Redacted                      First Class Mail
77542b1a‐f354‐438a‐9adc‐39ea4d330c42                   Address Redacted                      First Class Mail
7758a71a‐8b76‐457d‐b974‐527d2fc1397c                   Address Redacted                      First Class Mail
7758b00c‐a000‐4581‐8166‐f8e6cf3bf89d                   Address Redacted                      First Class Mail
775a14eb‐5e81‐4e66‐9140‐46b3b84b2911                   Address Redacted                      First Class Mail
775c3b74‐5b6d‐4153‐af4c‐29af899d5259                   Address Redacted                      First Class Mail
775dd4ba‐6204‐47b0‐958e‐d1cf3be86d5b                   Address Redacted                      First Class Mail
77645e81‐ed9a‐4124‐b001‐95dfc708d717                   Address Redacted                      First Class Mail
77661c0b‐34d0‐47a3‐9f75‐3f74f26404d3                   Address Redacted                      First Class Mail
776aed92‐774c‐417e‐8289‐2c8b248dd290                   Address Redacted                      First Class Mail
776d2cd5‐6c3e‐4e77‐8eb7‐83968c072dc9                   Address Redacted                      First Class Mail
7771071e‐0eee‐49aa‐abbb‐89db1ac54b5d                   Address Redacted                      First Class Mail
777821c6‐15fe‐48ec‐ba5c‐bd5e86be35ad                   Address Redacted                      First Class Mail
77791029‐6141‐4228‐a6c4‐8f834dd0614d                   Address Redacted                      First Class Mail
777a7081‐56aa‐4370‐891a‐c365de875900                   Address Redacted                      First Class Mail
777a85eb‐3e9f‐463a‐958b‐c0de6f5cce4d                   Address Redacted                      First Class Mail
777c8916‐9563‐4e69‐a731‐2dc670b1a192                   Address Redacted                      First Class Mail
77800aa4‐4e43‐4958‐a676‐5b0073346c63                   Address Redacted                      First Class Mail
77815fd1‐d6ea‐4957‐b9dc‐a3ee453b8945                   Address Redacted                      First Class Mail
7781af6e‐8388‐4eba‐acf1‐734ca8fc521c                   Address Redacted                      First Class Mail
7783e0d5‐8b2d‐41ee‐b379‐7f5cd086538f                   Address Redacted                      First Class Mail
77844dc7‐a17d‐48ea‐afea‐ef0d45dd7a86                   Address Redacted                      First Class Mail
7786bbe3‐93e2‐4d06‐8a95‐c9d9071ef534                   Address Redacted                      First Class Mail
7786c231‐8328‐438a‐a50c‐844971840d77                   Address Redacted                      First Class Mail
7796473b‐7a6c‐43d2‐baa1‐9509b73b9f49                   Address Redacted                      First Class Mail
77988048‐fb41‐42ee‐b3b2‐b897390b3768                   Address Redacted                      First Class Mail
779f9715‐7828‐4f67‐86a1‐9d2f7bbc5bd0                   Address Redacted                      First Class Mail
77a06558‐449b‐4aa3‐8a62‐517b4b33c05b                   Address Redacted                      First Class Mail
77a7d595‐183c‐45ff‐932d‐6234a9fd1d44                   Address Redacted                      First Class Mail
77aabae4‐54fb‐49e2‐9731‐8ee3c1128f67                   Address Redacted                      First Class Mail
77abfaf4‐426c‐46c7‐b477‐d0e4d2a5fb05                   Address Redacted                      First Class Mail
77ac9f34‐7e99‐4589‐b8bf‐50b71e21ceee                   Address Redacted                      First Class Mail
77ade601‐9510‐486b‐b2a7‐96c14f87bcfc                   Address Redacted                      First Class Mail
77afd3f5‐3403‐41c9‐b408‐b64a33a4f58a                   Address Redacted                      First Class Mail
77b25639‐fa33‐4f82‐a1e9‐1830b5c343d9                   Address Redacted                      First Class Mail
77b28c16‐91da‐4584‐bb5c‐7bc028b3f826                   Address Redacted                      First Class Mail
77b2c98b‐f36d‐467b‐816f‐509fbf638c5d                   Address Redacted                      First Class Mail
77b3007d‐2ee7‐4ce0‐956b‐7acc8e7faadf                   Address Redacted                      First Class Mail
77b38226‐f9b4‐4c28‐abdb‐44f96faab254                   Address Redacted                      First Class Mail
77b6ca32‐9140‐42ad‐b771‐7b39a15d3361                   Address Redacted                      First Class Mail
77ba71b6‐597c‐41b4‐9a87‐2f974431f10b                   Address Redacted                      First Class Mail
77baa63b‐61dc‐4d97‐914a‐c5e8969bfcb2                   Address Redacted                      First Class Mail
77bb98ed‐ecd9‐458b‐abd1‐20bfe1759306                   Address Redacted                      First Class Mail
77bc27b8‐fde0‐4cf2‐b7e2‐5cbf4968862a                   Address Redacted                      First Class Mail
77bddf12‐5e69‐4551‐ba84‐dd6a261eabbc                   Address Redacted                      First Class Mail
77be259d‐fb25‐4303‐b27f‐fb97539dc564                   Address Redacted                      First Class Mail
77bffc9a‐41e4‐48b0‐9b8a‐b2cc839e1e7c                   Address Redacted                      First Class Mail
77c4db45‐b2c3‐405a‐a9fe‐bce3fe9b0a68                   Address Redacted                      First Class Mail
77c56975‐82db‐41e6‐9d0b‐08a4399ba7c9                   Address Redacted                      First Class Mail
77c7425d‐c11b‐495b‐a30d‐98a71ebc94c9                   Address Redacted                      First Class Mail
77c7d719‐0c4e‐480e‐9cd6‐dcced5cfa2fc                   Address Redacted                      First Class Mail
77c900a1‐3eb5‐4087‐9ffa‐b1959829929c                   Address Redacted                      First Class Mail
77ca2e4f‐e662‐4656‐bebc‐4e7f0fd95ec8                   Address Redacted                      First Class Mail
77cce275‐3b40‐419f‐9906‐3cc6b7abf177                   Address Redacted                      First Class Mail
77ce8550‐fa21‐4cf7‐ab2a‐fe8ae6894092                   Address Redacted                      First Class Mail
77ce8982‐4062‐4148‐8dbf‐70e54590a426                   Address Redacted                      First Class Mail
77cec5e3‐4d79‐4290‐9262‐7e3b4ac7c2d2                   Address Redacted                      First Class Mail
77d7294a‐0d1e‐4426‐a1fd‐8a84b5dc76d8                   Address Redacted                      First Class Mail
77daaf0f‐7b09‐4ecf‐b108‐f1eedc2d0584                   Address Redacted                      First Class Mail
77dc6b63‐b0e6‐40a4‐8ab0‐d92e2984c6f0                   Address Redacted                      First Class Mail
77dca2d0‐0827‐42bf‐866b‐f83b04fcb23a                   Address Redacted                      First Class Mail




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                                                                 Service List


                               Name                                             Address                         Method of Service
77e36902‐0a03‐4e34‐93cd‐67ec64c4de75                   Address Redacted                      First Class Mail
77e40287‐d98d‐4433‐b526‐ceed74c53eb0                   Address Redacted                      First Class Mail
77e63d60‐a774‐4368‐9957‐c0e89e2fe0fc                   Address Redacted                      First Class Mail
77e68d2f‐ed65‐48bd‐8810‐1b772b49c51d                   Address Redacted                      First Class Mail
77e84954‐0ba0‐400c‐950e‐4e2d72614d2d                   Address Redacted                      First Class Mail
77ea73fd‐21c0‐492f‐83b0‐71ddff3ea072                   Address Redacted                      First Class Mail
77ec3c4c‐b690‐40ce‐8a72‐d2e157a9cb5e                   Address Redacted                      First Class Mail
77ecc040‐097d‐49dc‐bb85‐8abe9e8e9da2                   Address Redacted                      First Class Mail
77f99266‐83d2‐4fc1‐8208‐70d03430b330                   Address Redacted                      First Class Mail
77facfbd‐c13e‐4d8f‐84bf‐90bd9dc1dd24                   Address Redacted                      First Class Mail
77ffa5a9‐e7f7‐4c15‐ba8d‐bf1f4cc81a79                   Address Redacted                      First Class Mail
78023539‐b6f0‐4a73‐ad47‐7c19dc8bea80                   Address Redacted                      First Class Mail
78081537‐382d‐488e‐bbf6‐36ab7b292424                   Address Redacted                      First Class Mail
780ca60f‐7c78‐499e‐82e7‐96a68b577574                   Address Redacted                      First Class Mail
780d66c7‐41e1‐4f66‐a1cb‐f217f217f7d8                   Address Redacted                      First Class Mail
780e3617‐b67b‐4e9d‐b300‐149c17713fae                   Address Redacted                      First Class Mail
781326bb‐2262‐47da‐b79d‐2712d64ba57d                   Address Redacted                      First Class Mail
7813a591‐a9f0‐4c2b‐beab‐ccb5f7fa737f                   Address Redacted                      First Class Mail
78144deb‐33db‐4fee‐9e42‐3853f28a6e36                   Address Redacted                      First Class Mail
7816bb4c‐edab‐46a2‐a2f2‐47bfccdec19c                   Address Redacted                      First Class Mail
781c876b‐c4d1‐4047‐a88e‐ce3649a875d6                   Address Redacted                      First Class Mail
781db7d2‐7634‐4151‐b272‐c5eb68e474a1                   Address Redacted                      First Class Mail
78201ecd‐af0f‐4506‐8a8a‐13ce8535c9a2                   Address Redacted                      First Class Mail
78216b5c‐1742‐4e2c‐9406‐0a12f4fde269                   Address Redacted                      First Class Mail
7821941c‐d027‐46e6‐a9cf‐05af41ab932b                   Address Redacted                      First Class Mail
78284ff9‐797c‐45a7‐ac9b‐68666d2c5c18                   Address Redacted                      First Class Mail
782abb71‐45b0‐4317‐a0d3‐ccf726951759                   Address Redacted                      First Class Mail
782b836f‐1c16‐45a7‐8f53‐24a2d0020c3f                   Address Redacted                      First Class Mail
782f718e‐1471‐4152‐9ca5‐4ea2cd788f9f                   Address Redacted                      First Class Mail
782fe485‐3bcf‐4ccb‐9919‐6ee41e0e3b8e                   Address Redacted                      First Class Mail
78319388‐5152‐4c66‐998f‐2bf3ee30e5b4                   Address Redacted                      First Class Mail
7833e42e‐ce17‐41ac‐9519‐070d850e926a                   Address Redacted                      First Class Mail
7836263f‐fdb1‐4ba9‐a413‐36f9034e7e4d                   Address Redacted                      First Class Mail
7836485b‐565c‐4bea‐a350‐8582608a86b2                   Address Redacted                      First Class Mail
78389a75‐6f06‐43e4‐a6b6‐2cfd964a6814                   Address Redacted                      First Class Mail
783b6163‐9597‐436f‐8682‐f3b2d3dc3774                   Address Redacted                      First Class Mail
783bf479‐14d3‐43b4‐9ec1‐096d0a144f12                   Address Redacted                      First Class Mail
783f8325‐db53‐486c‐870f‐429fce9fe72d                   Address Redacted                      First Class Mail
783ff84b‐5d48‐4745‐93fe‐bf510c529e30                   Address Redacted                      First Class Mail
78467761‐a2e5‐4a92‐92c8‐49b09db47e24                   Address Redacted                      First Class Mail
78475785‐0fe7‐42e3‐82d6‐04bb523c34df                   Address Redacted                      First Class Mail
784959f5‐f79a‐4dd9‐aa75‐6d33f9c48e62                   Address Redacted                      First Class Mail
7849f30c‐27f6‐43b3‐b143‐6ac3a9769793                   Address Redacted                      First Class Mail
784d7180‐76ef‐4f23‐9794‐28668efef01d                   Address Redacted                      First Class Mail
7851f34e‐0bfd‐4bef‐8098‐b86ef9fed2e6                   Address Redacted                      First Class Mail
7852e02b‐b527‐489f‐9dc1‐27057f6f06f9                   Address Redacted                      First Class Mail
78555f3c‐5d3b‐40bc‐9b78‐7879f6041dc8                   Address Redacted                      First Class Mail
7855eb73‐e591‐4ad0‐ad7d‐af085d566b48                   Address Redacted                      First Class Mail
78581c25‐5a00‐442f‐933d‐7915832a867a                   Address Redacted                      First Class Mail
785852f4‐d96d‐4055‐b827‐609ce02495b4                   Address Redacted                      First Class Mail
78594bd0‐1d66‐482c‐a498‐51c71eb07a10                   Address Redacted                      First Class Mail
785c2215‐9c54‐4111‐9252‐11abcc78f836                   Address Redacted                      First Class Mail
785c8c87‐0f07‐4209‐b16a‐dcdb6e19e46f                   Address Redacted                      First Class Mail
785cfa61‐f8d1‐49e7‐8dfc‐313b5f7852cb                   Address Redacted                      First Class Mail
785d6dce‐c891‐4b84‐9713‐1b8367ea85cf                   Address Redacted                      First Class Mail
7863a18a‐a34d‐428c‐9b7b‐bf4910b08e8c                   Address Redacted                      First Class Mail
78650b43‐7dbf‐4eca‐863d‐b7897266d1d0                   Address Redacted                      First Class Mail
78654ef8‐a9ca‐4fcf‐99ab‐e67dd8cd77d9                   Address Redacted                      First Class Mail
786fe949‐a656‐449c‐8bf4‐9aebb282acf5                   Address Redacted                      First Class Mail
787221cc‐57a1‐4760‐848f‐70d57c240782                   Address Redacted                      First Class Mail
78747833‐56e0‐4a3a‐8ccd‐1db2468d0066                   Address Redacted                      First Class Mail
78795861‐05af‐44fb‐a839‐ca158577064c                   Address Redacted                      First Class Mail
787cd310‐22c3‐4222‐8352‐847f9f332d7c                   Address Redacted                      First Class Mail
787d3526‐60cc‐4401‐88fd‐e4dd54d3815d                   Address Redacted                      First Class Mail
787da02c‐f4d6‐4412‐8342‐c65a0b44ce4d                   Address Redacted                      First Class Mail
787da363‐4a02‐404a‐a4b8‐6bc201fb0f01                   Address Redacted                      First Class Mail
7880008e‐9784‐467b‐adba‐f187d332d2bd                   Address Redacted                      First Class Mail
7883dc24‐9a25‐43ee‐9309‐b84cd1f30e45                   Address Redacted                      First Class Mail
78846f1d‐fa22‐45cb‐b954‐d4591c349307                   Address Redacted                      First Class Mail
7886ca9d‐4a79‐4423‐970c‐c8657a602f9e                   Address Redacted                      First Class Mail
788ff856‐286b‐4d0a‐b2c7‐406f4e187d9c                   Address Redacted                      First Class Mail
7894c151‐263a‐4347‐a828‐60d40064c77b                   Address Redacted                      First Class Mail




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                                                                 Service List


                              Name                                              Address                         Method of Service
7894df56‐4c47‐4c25‐8a68‐c11e67ff60c3                   Address Redacted                      First Class Mail
789637a5‐3b51‐416d‐9cb3‐6549ca1aa4f4                   Address Redacted                      First Class Mail
78967395‐e3eb‐4e4c‐997b‐c5446c675702                   Address Redacted                      First Class Mail
789bebf9‐6bef‐4155‐8873‐8070af55a2c0                   Address Redacted                      First Class Mail
789d3339‐aab6‐4e5a‐b7c9‐28d201fcb6bc                   Address Redacted                      First Class Mail
789ef98a‐a6a9‐4c22‐84a4‐1a219692c5c2                   Address Redacted                      First Class Mail
78a15420‐977e‐4379‐b236‐e7bcac84f754                   Address Redacted                      First Class Mail
78a5b818‐0afc‐486c‐86a8‐c8cb8d9c33d2                   Address Redacted                      First Class Mail
78a62592‐d6dc‐4bdb‐aeb4‐dd6ad1045b86                   Address Redacted                      First Class Mail
78a7c457‐d218‐4d82‐b92d‐14f339c5072d                   Address Redacted                      First Class Mail
78aa56a3‐934e‐4393‐a022‐b1d53387c658                   Address Redacted                      First Class Mail
78b1f379‐32be‐4645‐b8c6‐be99c393283b                   Address Redacted                      First Class Mail
78b46d9e‐8fd6‐48a0‐ba23‐f3e6f4ec77d1                   Address Redacted                      First Class Mail
78bc50b9‐8615‐4740‐8ae0‐acda1976a7da                   Address Redacted                      First Class Mail
78bf045a‐ab94‐491f‐9fdb‐7b339ad8a2dc                   Address Redacted                      First Class Mail
78c04173‐5fef‐44bc‐a9ba‐65755c12822d                   Address Redacted                      First Class Mail
78c5ba4b‐9606‐4f7b‐9336‐20a5f78fbff5                   Address Redacted                      First Class Mail
78c86584‐c611‐4780‐937a‐31649d65252a                   Address Redacted                      First Class Mail
78c93bae‐a7b4‐4e5c‐af93‐7a79e0aa2aa9                   Address Redacted                      First Class Mail
78ccb397‐b956‐45ec‐9754‐62fdecd03abc                   Address Redacted                      First Class Mail
78cec233‐9f19‐4a15‐98f8‐4c6f1939f1a5                   Address Redacted                      First Class Mail
78cf0784‐660b‐43de‐a8f9‐11889814f673                   Address Redacted                      First Class Mail
78d0ebcb‐3b17‐48e8‐b8c0‐133f7a01b774                   Address Redacted                      First Class Mail
78d2e2d0‐7f4b‐4139‐8a6a‐1fb20dee6476                   Address Redacted                      First Class Mail
78d359a9‐522d‐44f3‐aebd‐63b2ee37d874                   Address Redacted                      First Class Mail
78d3bbd7‐f7c8‐4484‐9542‐ed41b1ed6507                   Address Redacted                      First Class Mail
78d57be9‐aed5‐4538‐a67f‐538762cf878b                   Address Redacted                      First Class Mail
78d90a27‐15bb‐482b‐82d3‐97b23fe000ae                   Address Redacted                      First Class Mail
78de3b78‐d5c5‐488b‐8b4a‐7ae270c7b4a5                   Address Redacted                      First Class Mail
78dec6c0‐04a0‐4aa7‐b55f‐f2530a5e8e01                   Address Redacted                      First Class Mail
78e603fc‐32c5‐4c10‐9d90‐6898bb50a98a                   Address Redacted                      First Class Mail
78e78d6f‐5ab6‐44c0‐9b33‐6f41a2ede981                   Address Redacted                      First Class Mail
78e9c2a9‐51dd‐4129‐a19e‐c16a87078920                   Address Redacted                      First Class Mail
78f4bb66‐2b14‐414e‐8091‐c37debcc533d                   Address Redacted                      First Class Mail
78f890b2‐acfe‐4902‐be03‐4c41bd5bc10a                   Address Redacted                      First Class Mail
78f98163‐f405‐4a68‐9206‐475ebd69e110                   Address Redacted                      First Class Mail
78fb89d8‐2cff‐45a7‐9af4‐a97b7dd805c7                   Address Redacted                      First Class Mail
78fcbbfc‐2335‐42a3‐9079‐1efa647377f8                   Address Redacted                      First Class Mail
78fce177‐bf3b‐46c0‐af89‐9f81a7e360c2                   Address Redacted                      First Class Mail
78fec315‐8966‐4584‐957b‐b78c8d01ac90                   Address Redacted                      First Class Mail
78ffd61b‐02d2‐44ee‐ab06‐bf305ca9ef97                   Address Redacted                      First Class Mail
790048f1‐c6a0‐47ca‐bd6c‐0dda8f6b0cb4                   Address Redacted                      First Class Mail
79044b0a‐9325‐4710‐a08c‐7bf0db5361f9                   Address Redacted                      First Class Mail
7904b770‐caed‐4f6a‐a9fa‐a79ca6f43933                   Address Redacted                      First Class Mail
79094d4e‐2090‐4284‐a1ec‐d62bd53f103c                   Address Redacted                      First Class Mail
790c64d2‐09d8‐4420‐bf9a‐b17fd517e2dc                   Address Redacted                      First Class Mail
790d912a‐9c66‐4bca‐bbc1‐ad869ec0e116                   Address Redacted                      First Class Mail
7910cc56‐6c85‐4964‐9758‐f21a1478440f                   Address Redacted                      First Class Mail
79118af6‐e11a‐4a2b‐bae6‐4f34d5d9f8d3                   Address Redacted                      First Class Mail
7912f1b6‐5310‐44b8‐8915‐8f6e2ae50240                   Address Redacted                      First Class Mail
791396fd‐e645‐47b9‐b67b‐e0f9174f3d19                   Address Redacted                      First Class Mail
7914911c‐97a0‐4a82‐bb15‐481a259af3c2                   Address Redacted                      First Class Mail
7915c065‐879c‐4913‐a02a‐2b792a6240a1                   Address Redacted                      First Class Mail
79187b36‐ee1b‐4455‐bb56‐5d289c887f35                   Address Redacted                      First Class Mail
791d02a4‐0907‐4223‐a87a‐2b828d0dcb8f                   Address Redacted                      First Class Mail
791d67fa‐a8f5‐4740‐8ec6‐95772ccd77ba                   Address Redacted                      First Class Mail
791e1a32‐89f9‐4682‐a7cd‐2853f05f71ce                   Address Redacted                      First Class Mail
791e656e‐ec8a‐4de3‐8434‐505160da7eba                   Address Redacted                      First Class Mail
791f01f7‐692e‐4753‐a793‐2473bd7b6b3d                   Address Redacted                      First Class Mail
791f4867‐2ff8‐46cf‐b540‐26346bdd6306                   Address Redacted                      First Class Mail
7922e032‐443d‐40a2‐b2e1‐80c467960b9a                   Address Redacted                      First Class Mail
792887e1‐df06‐4b4b‐922d‐350f9e36fd71                   Address Redacted                      First Class Mail
7929bdaa‐9820‐48b5‐9ea2‐61d819cb01e8                   Address Redacted                      First Class Mail
792d0d93‐11f9‐450d‐bef2‐96d502fb6580                   Address Redacted                      First Class Mail
793733f3‐7bfd‐4a62‐950d‐f44c91d12636                   Address Redacted                      First Class Mail
79378817‐37ba‐47f4‐9062‐138c92625d94                   Address Redacted                      First Class Mail
79403db2‐8d97‐4cd3‐9621‐adb425ea001b                   Address Redacted                      First Class Mail
7942fbd1‐be0f‐47a8‐bc32‐10e329af6927                   Address Redacted                      First Class Mail
79430cde‐2c23‐4f96‐9d49‐bd72160e6aa2                   Address Redacted                      First Class Mail
7943b746‐6875‐48ca‐96ce‐9477c55fd6dc                   Address Redacted                      First Class Mail
79471e20‐230f‐4048‐84b5‐50b2b20dcc63                   Address Redacted                      First Class Mail
7947b6d1‐1d2f‐405f‐9290‐13a7d42a685a                   Address Redacted                      First Class Mail




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                               Name                                             Address                         Method of Service
794804dc‐0ddf‐498b‐ba15‐ca0eff35c640                   Address Redacted                      First Class Mail
795187f1‐8f0a‐416b‐9f17‐c891f538894c                   Address Redacted                      First Class Mail
795350d2‐6bd8‐430b‐8b1d‐b50ea75e57d8                   Address Redacted                      First Class Mail
79536431‐db70‐42d2‐a2b5‐29cef4588a5f                   Address Redacted                      First Class Mail
795edddc‐026b‐4353‐bdb4‐295c1e374053                   Address Redacted                      First Class Mail
79602892‐0c9f‐4ffb‐9d86‐ae15d6c476ec                   Address Redacted                      First Class Mail
79609bdc‐312e‐40f1‐8f96‐ccd0dbb20812                   Address Redacted                      First Class Mail
79610210‐dccd‐4766‐9c32‐9ade5122b7ce                   Address Redacted                      First Class Mail
79670946‐4aff‐483a‐8636‐ea2111887a7e                   Address Redacted                      First Class Mail
796ce215‐d38b‐4e26‐9544‐26c7061039e6                   Address Redacted                      First Class Mail
7973d10b‐7731‐4e01‐b2b3‐78c54522953f                   Address Redacted                      First Class Mail
7977541e‐57f5‐4161‐b32d‐b41222f54224                   Address Redacted                      First Class Mail
79781cc0‐856e‐4cf6‐a89c‐f8903b6f9499                   Address Redacted                      First Class Mail
79797c97‐e777‐4827‐a2a8‐e073d7c23d2d                   Address Redacted                      First Class Mail
797bc30f‐cc81‐4528‐87fa‐8322d705ae1e                   Address Redacted                      First Class Mail
79862bea‐559f‐4b46‐8f4e‐1e4d952ee136                   Address Redacted                      First Class Mail
798690c7‐5706‐4010‐81b0‐6c4e836cda77                   Address Redacted                      First Class Mail
7986e78e‐453d‐42cf‐a3af‐b9993aa5d6e9                   Address Redacted                      First Class Mail
7989a169‐3c29‐4abb‐bb5a‐f0aa7cf5712c                   Address Redacted                      First Class Mail
79907d71‐a5c8‐4f3e‐99f7‐a686809ad5c3                   Address Redacted                      First Class Mail
7991b993‐ad03‐4aad‐baef‐ad6a01422fd9                   Address Redacted                      First Class Mail
79941d04‐ebce‐41c0‐8a3c‐357c892c86e3                   Address Redacted                      First Class Mail
7996036e‐fa78‐42fc‐adf6‐d0db4e53474c                   Address Redacted                      First Class Mail
7998f554‐6f53‐472a‐b5c1‐d8fbe39ab15b                   Address Redacted                      First Class Mail
79a03087‐b77d‐4c15‐bada‐7334326cfc0a                   Address Redacted                      First Class Mail
79a0d192‐a0c6‐4ef9‐9cf2‐a2683d478cb4                   Address Redacted                      First Class Mail
79a463f4‐efc5‐41a9‐a256‐3ce239df1080                   Address Redacted                      First Class Mail
79a47757‐41b3‐40f5‐a516‐f26234696705                   Address Redacted                      First Class Mail
79a8fdcd‐5f1a‐4300‐b528‐eaa0610c2d02                   Address Redacted                      First Class Mail
79abd51c‐5392‐43da‐9591‐3a32426daa8f                   Address Redacted                      First Class Mail
79ad3a77‐9fb4‐49f9‐831b‐3fcb8bd24c95                   Address Redacted                      First Class Mail
79ae5648‐db76‐4888‐8c8e‐f89fdfdcf029                   Address Redacted                      First Class Mail
79b1b43b‐8e0d‐4a58‐a90e‐042b4b316324                   Address Redacted                      First Class Mail
79b32fa0‐4ed4‐4723‐ba8a‐e79ab69c3036                   Address Redacted                      First Class Mail
79b52a49‐8468‐4c8c‐bcca‐6c8110c94bf8                   Address Redacted                      First Class Mail
79b59743‐0e4f‐454c‐982c‐0518dbf0a0dc                   Address Redacted                      First Class Mail
79b6b486‐495c‐4499‐9e23‐23bfa7bfe136                   Address Redacted                      First Class Mail
79b81c1e‐d861‐4afd‐8e7c‐c9b7728c923c                   Address Redacted                      First Class Mail
79bafb2e‐e6b9‐4d47‐a685‐775a0e946378                   Address Redacted                      First Class Mail
79c1cc68‐2a94‐4f8d‐b23a‐0abb1bf39eac                   Address Redacted                      First Class Mail
79c45099‐0a51‐493b‐b40c‐3341cdfee7c8                   Address Redacted                      First Class Mail
79c51d99‐177f‐4487‐91ef‐20151c6d455f                   Address Redacted                      First Class Mail
79ca0153‐5a72‐4351‐aa18‐429afc59ff27                   Address Redacted                      First Class Mail
79cfcf92‐0234‐473b‐9fe7‐ef0db7983ff5                   Address Redacted                      First Class Mail
79d37d90‐0f53‐4906‐b360‐eed7cd09180b                   Address Redacted                      First Class Mail
79dc3b1a‐bcec‐43f6‐be81‐0d6f33a32b91                   Address Redacted                      First Class Mail
79e02c6f‐e09b‐48e7‐92fe‐6188873ae55c                   Address Redacted                      First Class Mail
79e15ff2‐fc56‐426e‐9fd2‐e72642d3546f                   Address Redacted                      First Class Mail
79ea0f4f‐57df‐492a‐a607‐ffe077a3899d                   Address Redacted                      First Class Mail
79ef9b18‐da26‐41b8‐ad08‐af9428c4f475                   Address Redacted                      First Class Mail
79f2af1e‐1795‐464c‐8388‐fdb0e50ecb18                   Address Redacted                      First Class Mail
79f93bd6‐4a0d‐421c‐aafa‐5e835b66eaaa                   Address Redacted                      First Class Mail
79f95bc1‐76ed‐45c1‐a7df‐ae0d8b92842a                   Address Redacted                      First Class Mail
79fd1a68‐4047‐47c5‐b75f‐9f23da79290d                   Address Redacted                      First Class Mail
79fecf75‐f860‐4ca1‐9e3f‐8f9eaee2e2b7                   Address Redacted                      First Class Mail
7a009ef3‐e5a6‐437f‐9c24‐46a6803f7f6e                   Address Redacted                      First Class Mail
7a011b07‐b8f6‐4dd6‐9e3b‐88320a02c71f                   Address Redacted                      First Class Mail
7a01cbb9‐3696‐48b1‐bf8f‐84e1476c4d46                   Address Redacted                      First Class Mail
7a01f74f‐a8d0‐4b4e‐8e9c‐f05817db4a80                   Address Redacted                      First Class Mail
7a065b8e‐69fb‐4def‐bd2b‐a9246c04c3d6                   Address Redacted                      First Class Mail
7a06b65e‐883d‐4af3‐a52c‐c9010f25690c                   Address Redacted                      First Class Mail
7a096663‐2f51‐4d5f‐9d55‐baa6c4930788                   Address Redacted                      First Class Mail
7a0b3899‐e8f6‐43f2‐a549‐d835b26c3d76                   Address Redacted                      First Class Mail
7a117429‐e270‐4222‐aee5‐6b15b4ddee7f                   Address Redacted                      First Class Mail
7a11fceb‐cb30‐418a‐a335‐536c63c0da8d                   Address Redacted                      First Class Mail
7a161395‐31aa‐4e8a‐9ccf‐8af0f244f1a2                   Address Redacted                      First Class Mail
7a17bf42‐e075‐4ff5‐a2d9‐64abfde76cc1                   Address Redacted                      First Class Mail
7a1d445d‐84f6‐4361‐b9db‐90369a3ca57e                   Address Redacted                      First Class Mail
7a26cf22‐dda5‐41a8‐8b41‐c4c72ce7881f                   Address Redacted                      First Class Mail
7a28f8e6‐36d0‐42e0‐8f25‐e69150f08827                   Address Redacted                      First Class Mail
7a2b4a1e‐9541‐44d0‐8a70‐925232a5a4c8                   Address Redacted                      First Class Mail
7a39f18d‐af97‐4f06‐8744‐a4472c28c788                   Address Redacted                      First Class Mail




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                                                                Exhibit A
                                                                 Service List


                              Name                                              Address                         Method of Service
7a3a2afa‐80a8‐4072‐ad30‐41fb4e3f2218                   Address Redacted                      First Class Mail
7a3b6cea‐f532‐4c6f‐996a‐ba89e86136f7                   Address Redacted                      First Class Mail
7a3e0687‐98ee‐4a29‐9657‐27492e375572                   Address Redacted                      First Class Mail
7a3ea420‐9ee4‐4032‐92a1‐555d864cf34a                   Address Redacted                      First Class Mail
7a410847‐6baa‐4fbc‐90d1‐14c45821c405                   Address Redacted                      First Class Mail
7a42291b‐fd18‐45c4‐b10d‐a2fa43e639c8                   Address Redacted                      First Class Mail
7a450d73‐55eb‐4e07‐87e9‐ac010c883fd4                   Address Redacted                      First Class Mail
7a466a04‐00af‐40ec‐b948‐f198f5f82665                   Address Redacted                      First Class Mail
7a4eb79c‐109f‐45af‐b4f7‐0ba1af6d9bf2                   Address Redacted                      First Class Mail
7a520cc0‐c051‐404e‐bd8e‐d73c4de7dc56                   Address Redacted                      First Class Mail
7a53330e‐cf9d‐41f8‐ad10‐ff29af374d0b                   Address Redacted                      First Class Mail
7a54eaa2‐8ef8‐4460‐939c‐545ea3977a66                   Address Redacted                      First Class Mail
7a5addaf‐9c9c‐46e0‐a442‐b4e740f782cf                   Address Redacted                      First Class Mail
7a5b3e7a‐e2aa‐413b‐833b‐4e5fff10c461                   Address Redacted                      First Class Mail
7a5bc650‐9bd0‐45a1‐a1ae‐cf7a61fe0b4c                   Address Redacted                      First Class Mail
7a5cebe7‐7cf7‐4e9f‐a9db‐d7c3ca36b490                   Address Redacted                      First Class Mail
7a6418be‐9214‐4d99‐b423‐30a1f88a225c                   Address Redacted                      First Class Mail
7a665bad‐c90e‐46a4‐803a‐654fe8bedb16                   Address Redacted                      First Class Mail
7a66c494‐aead‐4a00‐954e‐242e4f2a6bef                   Address Redacted                      First Class Mail
7a6a5848‐335b‐4258‐9c05‐29206b30ba5e                   Address Redacted                      First Class Mail
7a6b6d93‐cadc‐4ec6‐bc99‐d9bcfa53f928                   Address Redacted                      First Class Mail
7a6dca20‐b355‐43fc‐8e06‐8ef38a206f34                   Address Redacted                      First Class Mail
7a7070b6‐d126‐43bd‐b19e‐e7633cd7e1d6                   Address Redacted                      First Class Mail
7a71ea35‐05f1‐4f8a‐a621‐abd6580244a1                   Address Redacted                      First Class Mail
7a736847‐3c25‐40e9‐ab6a‐90c18d160f2c                   Address Redacted                      First Class Mail
7a74c7fb‐5787‐4053‐a22e‐a0a44eccaf87                   Address Redacted                      First Class Mail
7a7647b9‐3f15‐4931‐aa4b‐5d6ca06258c6                   Address Redacted                      First Class Mail
7a7ebc76‐e2ca‐46c1‐995b‐b6a2ba0c8d65                   Address Redacted                      First Class Mail
7a7f9ce9‐cbf5‐4d1d‐a69e‐4c14089d2088                   Address Redacted                      First Class Mail
7a83b4be‐2b42‐44e9‐8c35‐f5f1eb94cf3e                   Address Redacted                      First Class Mail
7a83e623‐d7b2‐440c‐9754‐16992bf48d0f                   Address Redacted                      First Class Mail
7a84c125‐cf05‐412d‐8737‐a0610c1a5ce4                   Address Redacted                      First Class Mail
7a85377d‐c71a‐49cf‐ab70‐83ce26a5cd52                   Address Redacted                      First Class Mail
7a863a7e‐4580‐4d59‐bdc0‐4b2b029a605c                   Address Redacted                      First Class Mail
7a880576‐64b8‐44e7‐a4c6‐c2be20d9ddcd                   Address Redacted                      First Class Mail
7a8822cf‐17b7‐455e‐aa52‐bfd5a532fd5c                   Address Redacted                      First Class Mail
7a8ca42e‐cdb0‐443c‐b9ea‐802a25869778                   Address Redacted                      First Class Mail
7a9490bc‐fdd2‐4a0e‐bf75‐90cebcb5e1f7                   Address Redacted                      First Class Mail
7a952454‐acb4‐4fc2‐8bbb‐85a13dd4e816                   Address Redacted                      First Class Mail
7a9cb218‐7ee8‐4ff0‐b4da‐7b4761058c0b                   Address Redacted                      First Class Mail
7a9fb345‐3ac1‐45be‐a692‐755ef9d3e920                   Address Redacted                      First Class Mail
7aa4a188‐4979‐41e5‐92e2‐cc6464c8cb4e                   Address Redacted                      First Class Mail
7aa6134f‐bfef‐438c‐87a6‐a10f7f17bc2d                   Address Redacted                      First Class Mail
7ab0797e‐7426‐4b2f‐b0eb‐f7c1dd368c7a                   Address Redacted                      First Class Mail
7ab35a0f‐de73‐4ba9‐9994‐f43dbbde4f93                   Address Redacted                      First Class Mail
7ab3fee1‐4c35‐4a68‐9034‐db6d52404493                   Address Redacted                      First Class Mail
7ab44bde‐b6d4‐4af9‐b8d5‐a90cb87b7f0b                   Address Redacted                      First Class Mail
7ab44f74‐c635‐4c30‐9611‐54536617882c                   Address Redacted                      First Class Mail
7ab593f9‐d293‐4d5d‐87d4‐c77265d99c32                   Address Redacted                      First Class Mail
7ab95d1d‐ed08‐4b78‐a028‐1026ed5d1269                   Address Redacted                      First Class Mail
7abaf47e‐9289‐4050‐9e89‐23eafeb23ebc                   Address Redacted                      First Class Mail
7abd7609‐b290‐453d‐80e1‐525d95c9a4b4                   Address Redacted                      First Class Mail
7ac07c00‐da6c‐463f‐a536‐d5752c4bd61b                   Address Redacted                      First Class Mail
7ac24dc8‐dac9‐4ae1‐9d2b‐a264ab09dcfe                   Address Redacted                      First Class Mail
7ac550c8‐2ff2‐4f89‐9740‐a834aca65d79                   Address Redacted                      First Class Mail
7ac844a3‐ed2b‐40d1‐82a7‐1147e5d54487                   Address Redacted                      First Class Mail
7acb45ab‐8348‐4cac‐86d4‐aa016d7333ea                   Address Redacted                      First Class Mail
7accb2e3‐72b7‐4971‐8de0‐a77382b22230                   Address Redacted                      First Class Mail
7ace7f63‐d358‐4b3e‐bac6‐80150ed13238                   Address Redacted                      First Class Mail
7ad1ece7‐2b6b‐4110‐aa53‐4ce30ddcd8fa                   Address Redacted                      First Class Mail
7ad5435c‐68e0‐47dd‐8229‐9e917542d222                   Address Redacted                      First Class Mail
7ad557db‐90e3‐42a2‐a84f‐f8a7d776c6b6                   Address Redacted                      First Class Mail
7ad98b04‐8258‐417b‐aa2a‐19cb4b0b651c                   Address Redacted                      First Class Mail
7adad052‐0107‐4157‐a96c‐55c0197610fa                   Address Redacted                      First Class Mail
7adc46f7‐7e50‐484c‐830d‐3b251f5168af                   Address Redacted                      First Class Mail
7adf3ade‐a2fe‐462f‐a628‐6d8cf77e81f8                   Address Redacted                      First Class Mail
7ae4c543‐6205‐4dc9‐bdc8‐4438cd59f34c                   Address Redacted                      First Class Mail
7ae5f785‐cd1d‐440d‐96e3‐f0a65a650f6a                   Address Redacted                      First Class Mail
7ae5fb12‐985f‐4988‐8f88‐24b835626e8a                   Address Redacted                      First Class Mail
7ae62398‐4e20‐43a1‐9619‐3ecf1be546e5                   Address Redacted                      First Class Mail
7aed816f‐e6df‐483f‐8a20‐98c11ff07101                   Address Redacted                      First Class Mail
7aef3ef6‐771a‐4cf3‐b61b‐d76944f86c98                   Address Redacted                      First Class Mail




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                                                                Exhibit A
                                                                 Service List


                               Name                                             Address                         Method of Service
7aef797f‐161f‐42c8‐b692‐a146b1ab4bc5                   Address Redacted                      First Class Mail
7af2cdbe‐04d2‐400c‐b6cd‐540ae7831a89                   Address Redacted                      First Class Mail
7af31934‐6020‐45bb‐97cb‐b60b1f8016e7                   Address Redacted                      First Class Mail
7af3a03f‐05b0‐4dcd‐99af‐e56b69e37dd6                   Address Redacted                      First Class Mail
7af6228f‐a221‐40bc‐90ed‐47408296fee8                   Address Redacted                      First Class Mail
7af85527‐d329‐4111‐a2a1‐e60f527edc47                   Address Redacted                      First Class Mail
7aff2441‐e907‐4db5‐8a1a‐e702c5924eb3                   Address Redacted                      First Class Mail
7b0092dd‐7cc1‐47c0‐bdd4‐6d224e93daca                   Address Redacted                      First Class Mail
7b00e450‐e9b7‐4645‐9a4f‐bcd5a489d3c2                   Address Redacted                      First Class Mail
7b030fcc‐3607‐4932‐871e‐9d5192ad789c                   Address Redacted                      First Class Mail
7b09473a‐c061‐4751‐bfca‐5ef7a87b7559                   Address Redacted                      First Class Mail
7b0b125d‐9fdd‐46f2‐bd2b‐faf4942de61f                   Address Redacted                      First Class Mail
7b0e4dbd‐b68b‐49d4‐b21f‐52a1d30b4f0b                   Address Redacted                      First Class Mail
7b13822d‐c348‐44c0‐a425‐6ad135f179f9                   Address Redacted                      First Class Mail
7b15acb5‐ea74‐4784‐90da‐fc885c359c12                   Address Redacted                      First Class Mail
7b1c150c‐1787‐40f0‐b916‐c53628876888                   Address Redacted                      First Class Mail
7b27d219‐6842‐4d57‐a266‐a26dc655626f                   Address Redacted                      First Class Mail
7b28c2ad‐0862‐4f6a‐85bf‐f9686f2b575d                   Address Redacted                      First Class Mail
7b2a31c3‐b88e‐47ed‐bd01‐0307716c3959                   Address Redacted                      First Class Mail
7b2b40dc‐9f86‐469e‐b69b‐3865d462c422                   Address Redacted                      First Class Mail
7b2df121‐fa1e‐41bc‐958e‐efff4f0bd47a                   Address Redacted                      First Class Mail
7b327031‐aac1‐47ce‐982f‐590c1e0b8888                   Address Redacted                      First Class Mail
7b3338a3‐33b3‐4b56‐b630‐dc7ee6788545                   Address Redacted                      First Class Mail
7b338eaa‐dcdf‐4a21‐a666‐ab1476ead35a                   Address Redacted                      First Class Mail
7b33ab80‐861e‐4293‐a63d‐53e95fef12dc                   Address Redacted                      First Class Mail
7b34469b‐c325‐4e45‐9c3e‐575e7ea6b213                   Address Redacted                      First Class Mail
7b36e872‐4c02‐43ab‐a0f5‐7d94c347e295                   Address Redacted                      First Class Mail
7b38e447‐f975‐41d2‐b3b3‐a37e0181383a                   Address Redacted                      First Class Mail
7b395d49‐bd95‐4cb1‐a3f4‐8f7bac7d3fbd                   Address Redacted                      First Class Mail
7b3e85c9‐1fdd‐4a1f‐a172‐b24c19a6bddd                   Address Redacted                      First Class Mail
7b3f4c3e‐f68a‐43c9‐b448‐130c63d30faf                   Address Redacted                      First Class Mail
7b3fe3dc‐11b7‐4a10‐9282‐4bc72d35f15a                   Address Redacted                      First Class Mail
7b418c4c‐df08‐4afb‐b24a‐d90fcbedb6e5                   Address Redacted                      First Class Mail
7b449903‐21e3‐42d3‐ae5f‐ebdaefda9857                   Address Redacted                      First Class Mail
7b4bc3f3‐1004‐4ce3‐b5f1‐d725e55136cc                   Address Redacted                      First Class Mail
7b4f539b‐fb5a‐48f2‐af36‐1db22486d9d7                   Address Redacted                      First Class Mail
7b56e40d‐9176‐48c6‐b57c‐14729336bf00                   Address Redacted                      First Class Mail
7b5857ad‐f1d8‐4651‐a79c‐8f1a3068ee35                   Address Redacted                      First Class Mail
7b5c4829‐59f4‐4e8b‐b1ed‐77554d352e5a                   Address Redacted                      First Class Mail
7b5f7fd2‐90d5‐47d6‐add2‐b4c96014926f                   Address Redacted                      First Class Mail
7b601de6‐794c‐429e‐8b89‐f53236a11440                   Address Redacted                      First Class Mail
7b64dc9d‐2556‐4f28‐9fd2‐331f64f20336                   Address Redacted                      First Class Mail
7b673f70‐e5df‐457a‐bdbe‐445179ec1bf4                   Address Redacted                      First Class Mail
7b67af8b‐93bc‐4f20‐9d45‐a8278ae51382                   Address Redacted                      First Class Mail
7b6a8850‐089b‐4ade‐b721‐51be035d5ef0                   Address Redacted                      First Class Mail
7b6afc18‐438a‐41e9‐aa6f‐a3fea58d8ddf                   Address Redacted                      First Class Mail
7b6df34c‐fdcc‐4146‐949e‐7447d5c52041                   Address Redacted                      First Class Mail
7b6e9e09‐4b82‐435a‐b985‐ff5e9922c1b6                   Address Redacted                      First Class Mail
7b6f6fe2‐7a93‐4d3b‐9b74‐bdca524bf76a                   Address Redacted                      First Class Mail
7b7773f1‐9c4d‐4a1a‐8ffe‐e82823bdad96                   Address Redacted                      First Class Mail
7b7d05c5‐ffb7‐4973‐a74c‐ae9761e7ead7                   Address Redacted                      First Class Mail
7b80ed61‐291b‐4d7d‐a0ea‐afced5975bcd                   Address Redacted                      First Class Mail
7b82f1d2‐a53d‐46a2‐ba49‐523c4019d6fc                   Address Redacted                      First Class Mail
7b850271‐9ce9‐4931‐8f54‐380b94dca53c                   Address Redacted                      First Class Mail
7b89463d‐ac84‐4f2f‐b52f‐ce2869d2309a                   Address Redacted                      First Class Mail
7b8ba8ed‐3e9a‐4441‐bf43‐f3bcd509ef15                   Address Redacted                      First Class Mail
7b8c7bd5‐2c2a‐4a81‐af92‐6f5f3195dfee                   Address Redacted                      First Class Mail
7b8e501a‐7dff‐4732‐9ea6‐3f25a70923f7                   Address Redacted                      First Class Mail
7b8f9a68‐7034‐4486‐b3b1‐4d0b2d48e20c                   Address Redacted                      First Class Mail
7b90036b‐33fb‐4553‐b643‐35d92d69086c                   Address Redacted                      First Class Mail
7b92d264‐b7cf‐47aa‐b204‐6a35bf173e76                   Address Redacted                      First Class Mail
7b9464d6‐6360‐459d‐9c38‐da8e9de4bf71                   Address Redacted                      First Class Mail
7b954c58‐f8c5‐459a‐a88f‐3346d7eb2383                   Address Redacted                      First Class Mail
7b954d37‐3163‐493e‐bc24‐51342a7f1135                   Address Redacted                      First Class Mail
7b9594cc‐dcd8‐4ca8‐aebb‐3f762808e3b9                   Address Redacted                      First Class Mail
7b99607d‐810f‐4638‐9936‐d6acd9f1a2f8                   Address Redacted                      First Class Mail
7b9ef4e8‐5c7d‐4b45‐be26‐3f9990bdd3ca                   Address Redacted                      First Class Mail
7b9f348b‐df27‐4384‐9caf‐b25acf0de094                   Address Redacted                      First Class Mail
7ba1aa0b‐0d82‐493d‐a058‐aefb037a9f56                   Address Redacted                      First Class Mail
7baad534‐896a‐4eb4‐baf7‐0916097aa793                   Address Redacted                      First Class Mail
7babaad7‐a230‐4228‐85f4‐634117637e5f                   Address Redacted                      First Class Mail
7bacce37‐7e05‐4610‐a54c‐a407e305da02                   Address Redacted                      First Class Mail




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                               Name                                             Address                         Method of Service
7bace9cd‐4c30‐4b3d‐957e‐1f9b98c73fb9                   Address Redacted                      First Class Mail
7baed5cf‐9178‐41e7‐ad59‐8fc153ce41f2                   Address Redacted                      First Class Mail
7bb0da46‐7d5a‐44e7‐bf9b‐22216bbea6d8                   Address Redacted                      First Class Mail
7bb4fc00‐f42c‐4da1‐a928‐ab55b9fd15e6                   Address Redacted                      First Class Mail
7bb58d88‐05b5‐43da‐9b34‐989fa1304e35                   Address Redacted                      First Class Mail
7bb63347‐a27b‐4472‐8aec‐f8a738aa0e32                   Address Redacted                      First Class Mail
7bb86b72‐a186‐4261‐aa0d‐a4ff7c483349                   Address Redacted                      First Class Mail
7bb89ff6‐96cf‐4f9a‐9bc7‐9c2b779bebe3                   Address Redacted                      First Class Mail
7bba5cd0‐1219‐4126‐94f7‐60b19c09908b                   Address Redacted                      First Class Mail
7bbabdc1‐6e5b‐47a3‐82d9‐d29369bdfacb                   Address Redacted                      First Class Mail
7bbbe9b2‐b5fa‐492b‐9d6f‐96425904df81                   Address Redacted                      First Class Mail
7bbdadcf‐5467‐4132‐b129‐e0876725c47f                   Address Redacted                      First Class Mail
7bbf1982‐d7af‐43f9‐af06‐7466132c3fdf                   Address Redacted                      First Class Mail
7bc59481‐e124‐4844‐ae16‐7036d97cc407                   Address Redacted                      First Class Mail
7bcb0333‐c260‐4021‐ab12‐a5b3e18a4a8b                   Address Redacted                      First Class Mail
7bd03989‐aae5‐47d7‐87c5‐7ccf612245c6                   Address Redacted                      First Class Mail
7bd13ae3‐fdfd‐4686‐9313‐496f7a794999                   Address Redacted                      First Class Mail
7bd5c59d‐7caf‐49e5‐82bf‐e6dbba34276f                   Address Redacted                      First Class Mail
7bd797fb‐f9d2‐4a25‐a5e4‐09a56196c345                   Address Redacted                      First Class Mail
7bda65aa‐816b‐4af7‐8060‐1bcad74dc3dc                   Address Redacted                      First Class Mail
7bdcfc59‐88f3‐4b0e‐a888‐6b2a0ac33234                   Address Redacted                      First Class Mail
7bde4ec2‐24bc‐47eb‐8886‐b548b985ae11                   Address Redacted                      First Class Mail
7bdf43ab‐b1ac‐4f7b‐9b10‐559f659615fa                   Address Redacted                      First Class Mail
7bdf5207‐ed46‐4f68‐8c74‐d65227f945e6                   Address Redacted                      First Class Mail
7be411fe‐960b‐4f9d‐8487‐5241a309c842                   Address Redacted                      First Class Mail
7be4e751‐2c01‐4436‐9d0f‐e5df58df1033                   Address Redacted                      First Class Mail
7be7e139‐e483‐4a25‐bb96‐28ce1e4d94c6                   Address Redacted                      First Class Mail
7beaa822‐0109‐432c‐8930‐708ab1f24af0                   Address Redacted                      First Class Mail
7beee628‐c139‐4269‐b4e7‐67ed049fdb22                   Address Redacted                      First Class Mail
7beff5d9‐4e9f‐45f0‐8fb6‐997f7bb91a06                   Address Redacted                      First Class Mail
7bf080aa‐d3e9‐4a13‐8a75‐d15525d3f19c                   Address Redacted                      First Class Mail
7bf09d11‐9e1c‐4372‐9bcd‐e804b42f8d6f                   Address Redacted                      First Class Mail
7bf0aee4‐ae7d‐4375‐bc38‐338d57b53a5e                   Address Redacted                      First Class Mail
7bf86a14‐c164‐4306‐b07e‐8f45cfca11e1                   Address Redacted                      First Class Mail
7bf8bd93‐9909‐42c2‐8470‐0f3c983d0cdd                   Address Redacted                      First Class Mail
7bfb3fa0‐3b68‐41fc‐82f5‐4117d83a7d1b                   Address Redacted                      First Class Mail
7bfe0e5c‐5d25‐4616‐be23‐7a91898688c6                   Address Redacted                      First Class Mail
7c0005ca‐00be‐4217‐9e53‐52ee27cdcbf5                   Address Redacted                      First Class Mail
7c05ad29‐0f17‐466e‐8c42‐6ce61a47ce7c                   Address Redacted                      First Class Mail
7c06cbda‐0f35‐4999‐b541‐110fe6104723                   Address Redacted                      First Class Mail
7c071f9e‐8830‐4055‐ad8c‐a1fe1b1d604f                   Address Redacted                      First Class Mail
7c0ed88e‐4c39‐435b‐8345‐7c7e85bb69bc                   Address Redacted                      First Class Mail
7c10364f‐3efe‐4a88‐8da8‐c8f1c5c1bda1                   Address Redacted                      First Class Mail
7c12343a‐57a0‐4ddc‐85bc‐999ea83917c4                   Address Redacted                      First Class Mail
7c13ef91‐565a‐4fa3‐8c62‐199e04c4f199                   Address Redacted                      First Class Mail
7c144f57‐c0f4‐40df‐b78f‐2caef3765e98                   Address Redacted                      First Class Mail
7c15e18e‐8a2a‐47b0‐a1f4‐20b8ac4dbee4                   Address Redacted                      First Class Mail
7c16e210‐6e72‐4777‐abf5‐d119f4d967ae                   Address Redacted                      First Class Mail
7c17b04f‐666b‐4930‐beb9‐827a00c9e960                   Address Redacted                      First Class Mail
7c1a5309‐3dbd‐4e02‐bf4a‐70ec9a24c98d                   Address Redacted                      First Class Mail
7c200838‐77c1‐4586‐8340‐1c4d80195978                   Address Redacted                      First Class Mail
7c2098a6‐6340‐494d‐822d‐7276712f6959                   Address Redacted                      First Class Mail
7c25599f‐f0e3‐4c9e‐a0de‐cb0034b4b8a2                   Address Redacted                      First Class Mail
7c292410‐a5e8‐4dfe‐b56b‐d4c08cec146b                   Address Redacted                      First Class Mail
7c292fb1‐0a78‐44e2‐a8e7‐c2e8681a2481                   Address Redacted                      First Class Mail
7c2ad572‐8d1f‐4222‐adc5‐2d9e39bded29                   Address Redacted                      First Class Mail
7c2e44c3‐abc6‐4f44‐a0eb‐51b08b1d3085                   Address Redacted                      First Class Mail
7c30b2af‐2f1b‐43fb‐b68a‐e68ed1818a9c                   Address Redacted                      First Class Mail
7c310a3e‐4559‐466d‐b62d‐2e5c0f5cfdd8                   Address Redacted                      First Class Mail
7c31b0bf‐ee78‐4096‐b4b8‐827855e36066                   Address Redacted                      First Class Mail
7c31b3c0‐b75b‐4a5e‐a433‐5dafc23228a7                   Address Redacted                      First Class Mail
7c3adbf9‐fdd8‐425a‐bb5c‐8cb2417c450b                   Address Redacted                      First Class Mail
7c3d4862‐f198‐46d8‐864a‐42120ef310d1                   Address Redacted                      First Class Mail
7c3d75b9‐d59f‐425a‐95b7‐5a6ff905a672                   Address Redacted                      First Class Mail
7c3f199b‐118c‐46af‐8b08‐8c9f39cf58ba                   Address Redacted                      First Class Mail
7c42a08e‐715b‐4d87‐bf9c‐7adc482419d5                   Address Redacted                      First Class Mail
7c42dce6‐24bd‐4845‐b3bf‐14fd063145ff                   Address Redacted                      First Class Mail
7c437176‐423c‐4b61‐847c‐b4f20fd9b6e3                   Address Redacted                      First Class Mail
7c452c4a‐a3d7‐4f9a‐b567‐efe14e257cec                   Address Redacted                      First Class Mail
7c4b7369‐829c‐4ff7‐8229‐a50cb5a521bf                   Address Redacted                      First Class Mail
7c4c46e2‐ad92‐46fe‐b1ef‐a208593f807b                   Address Redacted                      First Class Mail
7c4e9948‐ac4f‐4e19‐aedb‐62f95f2fb2d0                   Address Redacted                      First Class Mail




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                                                                Exhibit A
                                                                 Service List


                              Name                                              Address                         Method of Service
7c506bec‐26a8‐4419‐9b5a‐d8d3828376c7                   Address Redacted                      First Class Mail
7c558590‐74fa‐42d7‐bddc‐a5f5f27d1b5f                   Address Redacted                      First Class Mail
7c558d24‐c041‐4833‐89bb‐6756857a8641                   Address Redacted                      First Class Mail
7c5847e0‐984b‐4b51‐aa75‐74618334c0e2                   Address Redacted                      First Class Mail
7c5a5ba0‐a083‐4693‐adaf‐89bf284f172c                   Address Redacted                      First Class Mail
7c5c2de2‐4373‐424f‐995a‐a4855d0d1dbe                   Address Redacted                      First Class Mail
7c5d2bb3‐dbab‐4928‐9ede‐34b1cfcb848d                   Address Redacted                      First Class Mail
7c61415c‐e661‐41e3‐9e34‐965c49bdde0a                   Address Redacted                      First Class Mail
7c658329‐6342‐4cc8‐b680‐39e751f265f0                   Address Redacted                      First Class Mail
7c6864ba‐5c65‐49a7‐b232‐6fb247024df6                   Address Redacted                      First Class Mail
7c699300‐35e3‐4333‐b415‐04fdb6d9b18d                   Address Redacted                      First Class Mail
7c6a11aa‐6bf4‐4c2f‐840b‐dd8aa029180a                   Address Redacted                      First Class Mail
7c6b03c8‐8ce3‐4054‐9065‐0460fd35069b                   Address Redacted                      First Class Mail
7c6b288e‐db96‐4727‐8184‐7cb2cf329455                   Address Redacted                      First Class Mail
7c6c6860‐af87‐4f8a‐937d‐d8937933c960                   Address Redacted                      First Class Mail
7c70f0e4‐b07b‐4e98‐ae29‐4ce28a5b8641                   Address Redacted                      First Class Mail
7c726ada‐a65a‐4605‐ac62‐c356d93644bc                   Address Redacted                      First Class Mail
7c794928‐2564‐45bc‐a58b‐96a18ad06413                   Address Redacted                      First Class Mail
7c7bf32c‐f4e2‐499e‐81d8‐88c2b7b3b774                   Address Redacted                      First Class Mail
7c7cc462‐0a92‐4a0e‐be3c‐65dc0aae36bd                   Address Redacted                      First Class Mail
7c86a0c9‐b861‐4082‐ad5e‐fa4ca6a84250                   Address Redacted                      First Class Mail
7c87d183‐ad14‐4484‐aba6‐6808bbb49e5f                   Address Redacted                      First Class Mail
7c88ce40‐f2db‐4725‐ab68‐21b1fc16a841                   Address Redacted                      First Class Mail
7c8ae00e‐4d54‐4ea2‐a4b7‐75ff45264974                   Address Redacted                      First Class Mail
7c8b9bea‐6f69‐4b5f‐b051‐5495a87a0311                   Address Redacted                      First Class Mail
7c8f113a‐e628‐4784‐a9da‐595252fe5eb6                   Address Redacted                      First Class Mail
7c9075aa‐ab60‐4935‐998b‐88642883fa68                   Address Redacted                      First Class Mail
7c90ad0f‐aac0‐41f1‐850e‐c1bdeedd8868                   Address Redacted                      First Class Mail
7c91627b‐bb59‐4155‐8e63‐50a9992ce1fe                   Address Redacted                      First Class Mail
7c97748b‐5f55‐40fc‐ac58‐137c322de4ce                   Address Redacted                      First Class Mail
7c9822f3‐e40a‐48e4‐ad8f‐286dfa756730                   Address Redacted                      First Class Mail
7c989745‐c854‐4406‐94b6‐7d886c8c5d28                   Address Redacted                      First Class Mail
7c9b8a68‐a8b9‐45a9‐b2b2‐dc21d54a11d4                   Address Redacted                      First Class Mail
7ca076c1‐9d01‐439f‐9bf6‐3394606caa1a                   Address Redacted                      First Class Mail
7ca599fa‐1f86‐4a3f‐872a‐a8e55d6ec44c                   Address Redacted                      First Class Mail
7cab065a‐7911‐48f4‐ae64‐e637d9537dbf                   Address Redacted                      First Class Mail
7cac3b14‐e974‐44a8‐b19a‐ca6b7c4b2a18                   Address Redacted                      First Class Mail
7cb08db9‐caf0‐4186‐a39e‐6852ca59f50f                   Address Redacted                      First Class Mail
7cb1a6d6‐08ac‐40a1‐8d5f‐fb4168ea5d0f                   Address Redacted                      First Class Mail
7cb40c58‐ce57‐4771‐99eb‐d7208e952120                   Address Redacted                      First Class Mail
7cb61958‐ed37‐4cd2‐b418‐823ae041a280                   Address Redacted                      First Class Mail
7cb6fb3d‐030c‐4c61‐b842‐4c304140bf9f                   Address Redacted                      First Class Mail
7cb9621c‐d6b3‐4279‐af6f‐9eab3147f097                   Address Redacted                      First Class Mail
7cc03f7f‐7ad9‐4a58‐a236‐8c68ce657ca3                   Address Redacted                      First Class Mail
7cc18c71‐9396‐4fd2‐8846‐46e2d062a0bf                   Address Redacted                      First Class Mail
7cc4562d‐f060‐44aa‐b886‐4e4f6b218cdc                   Address Redacted                      First Class Mail
7cc489dc‐3908‐4ce5‐9923‐d17939d7cedd                   Address Redacted                      First Class Mail
7cc500c7‐24e6‐4ac7‐8d30‐8d3cb7349f4d                   Address Redacted                      First Class Mail
7cc9fb36‐7bed‐4256‐9d56‐b73ec3c56423                   Address Redacted                      First Class Mail
7ccad108‐431c‐4d51‐8a79‐44a38a312b05                   Address Redacted                      First Class Mail
7ccbe14d‐5254‐41dc‐aa84‐4ac86bdcd4a2                   Address Redacted                      First Class Mail
7cd2e025‐adb8‐45b5‐a022‐77103c01102d                   Address Redacted                      First Class Mail
7cd7898e‐b740‐4906‐8b85‐364b83489b5a                   Address Redacted                      First Class Mail
7cd85a65‐e856‐4984‐b5b9‐8b38428c48a2                   Address Redacted                      First Class Mail
7cda4511‐c46b‐43ac‐9e8d‐ee4d985c7774                   Address Redacted                      First Class Mail
7cdb5dbd‐81ef‐4afb‐b051‐e411e102337d                   Address Redacted                      First Class Mail
7ce4e2aa‐b379‐4833‐909f‐5e588038cd01                   Address Redacted                      First Class Mail
7ce8b176‐b690‐418a‐a61f‐70025ab06711                   Address Redacted                      First Class Mail
7cec1edf‐8205‐480a‐a44d‐f41c78d60466                   Address Redacted                      First Class Mail
7cecf4f9‐216a‐4e7e‐8baa‐16bdc5dd63b0                   Address Redacted                      First Class Mail
7cee93b1‐8e3c‐4747‐aad6‐aa9b18766ea9                   Address Redacted                      First Class Mail
7cf1e4cc‐bfd9‐40ad‐a264‐46756b5cee46                   Address Redacted                      First Class Mail
7d076cf4‐86f8‐4da9‐a1fd‐df76094dabac                   Address Redacted                      First Class Mail
7d08daa2‐d043‐4ac8‐b4bc‐a593e67f88bf                   Address Redacted                      First Class Mail
7d096306‐7f8f‐49cf‐998e‐5b6c4194a568                   Address Redacted                      First Class Mail
7d09ebe8‐b1ee‐4232‐89c8‐169ad9d539b3                   Address Redacted                      First Class Mail
7d0bef21‐8c9b‐4db6‐b877‐c32c07bc3dc6                   Address Redacted                      First Class Mail
7d0eb9ab‐0bf1‐4fb7‐a08c‐5c4a6301273c                   Address Redacted                      First Class Mail
7d0f753f‐7a60‐41ec‐8bd1‐5cadddb41bae                   Address Redacted                      First Class Mail
7d0fc028‐07a5‐4183‐912b‐232b1da8d6eb                   Address Redacted                      First Class Mail
7d1140dc‐3000‐4b5b‐aa23‐a92fe56e037c                   Address Redacted                      First Class Mail
7d145e66‐6aa6‐4b93‐bbcb‐091248f26144                   Address Redacted                      First Class Mail




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                                                                Exhibit A
                                                                 Service List


                              Name                                              Address                         Method of Service
7d16a773‐ed97‐4cba‐b2af‐d243091f71dc                   Address Redacted                      First Class Mail
7d1b2dd5‐4b12‐4dfa‐9342‐3b872e5300a8                   Address Redacted                      First Class Mail
7d1fe452‐4a75‐42f4‐bc3c‐2951452ec8d5                   Address Redacted                      First Class Mail
7d2041dd‐8cd1‐4ed1‐a993‐1e8072362a0a                   Address Redacted                      First Class Mail
7d20e942‐95f9‐49c6‐b3a1‐0769b230383f                   Address Redacted                      First Class Mail
7d23a6e8‐02a0‐49b0‐893f‐450bfaed703c                   Address Redacted                      First Class Mail
7d25f856‐0cb9‐4c8b‐aab9‐64c8b0843969                   Address Redacted                      First Class Mail
7d27387f‐b275‐4c8a‐8484‐d89606997e31                   Address Redacted                      First Class Mail
7d283c8a‐ac6d‐40df‐9429‐27836778c677                   Address Redacted                      First Class Mail
7d2a22af‐8f5c‐4a0c‐93c5‐ce4f208b64ea                   Address Redacted                      First Class Mail
7d2c7771‐4b67‐46b7‐a702‐71e122b62b61                   Address Redacted                      First Class Mail
7d2f313d‐e77e‐413e‐835b‐f89d1a79f391                   Address Redacted                      First Class Mail
7d3852c8‐8a69‐45a2‐8d70‐80269bd44674                   Address Redacted                      First Class Mail
7d392604‐e588‐44b1‐a724‐69e863fb01e7                   Address Redacted                      First Class Mail
7d3da382‐3f58‐42f2‐957b‐7bf2b7370d73                   Address Redacted                      First Class Mail
7d45eba2‐c0c2‐4bdb‐b831‐3fbc9296897f                   Address Redacted                      First Class Mail
7d461236‐8b6b‐474d‐886a‐e9362ef5ae20                   Address Redacted                      First Class Mail
7d4b234a‐b6f5‐48c4‐b912‐db9fd71cdc84                   Address Redacted                      First Class Mail
7d4c31d8‐32ab‐4b5a‐bd6d‐f2c30a8e0f51                   Address Redacted                      First Class Mail
7d4de4e1‐db5d‐4990‐a0eb‐fc77f66ec846                   Address Redacted                      First Class Mail
7d55891d‐ca66‐469e‐9980‐54de562ba20f                   Address Redacted                      First Class Mail
7d568e76‐ad2c‐41f0‐bed3‐baa8f2da93c2                   Address Redacted                      First Class Mail
7d573be3‐782c‐477b‐9d1c‐0b72b40c25cc                   Address Redacted                      First Class Mail
7d574269‐b416‐43be‐a0ef‐81a9749030e5                   Address Redacted                      First Class Mail
7d5cc8eb‐f8ac‐4b6b‐aead‐4351eb5a81ab                   Address Redacted                      First Class Mail
7d5ee610‐c93c‐42b5‐9837‐db99321b6f97                   Address Redacted                      First Class Mail
7d63c62e‐dc85‐40a0‐9848‐18df8ae39fc6                   Address Redacted                      First Class Mail
7d65fa9f‐06fa‐4589‐8dd8‐8c8c71a2a9af                   Address Redacted                      First Class Mail
7d76ff03‐9542‐4a04‐9e96‐dd152765c2b8                   Address Redacted                      First Class Mail
7d7b9694‐69cd‐44ba‐a75a‐4898c3905141                   Address Redacted                      First Class Mail
7d7fc36d‐1d5b‐4ed8‐b704‐6a11ac27750b                   Address Redacted                      First Class Mail
7d806b8d‐c9f5‐457d‐b9d7‐b64b18501f41                   Address Redacted                      First Class Mail
7d814492‐9249‐4514‐a97e‐5054b82f5914                   Address Redacted                      First Class Mail
7d839815‐8ffc‐4fe9‐9c32‐64b7c8c57637                   Address Redacted                      First Class Mail
7d8a2d6a‐3a9c‐40ed‐aaa2‐602b5e8c51dc                   Address Redacted                      First Class Mail
7d8d266c‐688f‐4f28‐843d‐e31f0ce9a486                   Address Redacted                      First Class Mail
7d9222bf‐7373‐4238‐a940‐cf7a1c7b3b37                   Address Redacted                      First Class Mail
7d997a18‐fd35‐4ed1‐95ba‐43ed30ee7d60                   Address Redacted                      First Class Mail
7d9d8857‐22ac‐4a16‐8918‐f9a1bda7cb6e                   Address Redacted                      First Class Mail
7da4b8e5‐ccf8‐4177‐af45‐66925a5407f4                   Address Redacted                      First Class Mail
7da743ae‐d070‐4158‐adad‐ced1ac3a6448                   Address Redacted                      First Class Mail
7da9ca97‐b63c‐4981‐9ae0‐1cd1c188af0b                   Address Redacted                      First Class Mail
7daa77de‐e2b2‐4e95‐9ead‐c9b5b14574ff                   Address Redacted                      First Class Mail
7daab6b9‐f01e‐43db‐9b6a‐d8570ebb1f63                   Address Redacted                      First Class Mail
7dad14b9‐54c4‐4131‐8ad2‐3fae483e2dc4                   Address Redacted                      First Class Mail
7dad22e9‐891c‐49a3‐9d1e‐f7e314cc7a1a                   Address Redacted                      First Class Mail
7dade20b‐2135‐4301‐a0c9‐a6c5017ea7a3                   Address Redacted                      First Class Mail
7dae4cfe‐24bb‐4b44‐9628‐a7b593ac6d90                   Address Redacted                      First Class Mail
7db1f4d1‐e68a‐48a7‐a0fc‐6ae189c6f563                   Address Redacted                      First Class Mail
7db2785e‐1542‐4100‐b1dc‐5b0968406584                   Address Redacted                      First Class Mail
7db4592c‐25a7‐4867‐931b‐e6b3c5f9b508                   Address Redacted                      First Class Mail
7db6d1ba‐12b4‐4d46‐aceb‐7320c87eb0fb                   Address Redacted                      First Class Mail
7dc1a474‐2488‐4409‐bf62‐c20c8df75c92                   Address Redacted                      First Class Mail
7dc95d3c‐4c80‐43db‐8fbf‐62944127edd7                   Address Redacted                      First Class Mail
7dccbe35‐8d2a‐4138‐ab68‐e09975201e59                   Address Redacted                      First Class Mail
7dd0fd25‐797a‐4e63‐b691‐6616d475e2f3                   Address Redacted                      First Class Mail
7dd5775e‐64c5‐4557‐bcd1‐4ac7f669e74c                   Address Redacted                      First Class Mail
7dd974a4‐42d1‐4c44‐b02c‐8e7fcab68dc2                   Address Redacted                      First Class Mail
7dda7c68‐c10c‐40a1‐bbf5‐92cef8909da3                   Address Redacted                      First Class Mail
7dda939f‐dc9e‐4394‐b623‐bf91014e2d0c                   Address Redacted                      First Class Mail
7ddb261a‐ba9b‐4510‐8739‐577f30434659                   Address Redacted                      First Class Mail
7de209d5‐d7fd‐4ab2‐b608‐896178ffbf86                   Address Redacted                      First Class Mail
7de2a396‐fde7‐439a‐af9a‐75fe59757803                   Address Redacted                      First Class Mail
7de53746‐a915‐466c‐a8b7‐a617c0e306a8                   Address Redacted                      First Class Mail
7de61bb7‐75dd‐4152‐9917‐29cbfd0b3078                   Address Redacted                      First Class Mail
7de678cc‐4627‐48a4‐90af‐9a81e54ca056                   Address Redacted                      First Class Mail
7de6b69f‐b81e‐447f‐8edb‐70c731808421                   Address Redacted                      First Class Mail
7de70701‐75c3‐41d1‐8de8‐d32578af0b98                   Address Redacted                      First Class Mail
7deceb32‐778d‐406f‐877e‐bd56a7b05109                   Address Redacted                      First Class Mail
7dee7fe7‐1486‐4e89‐8d47‐195597738738                   Address Redacted                      First Class Mail
7df6b4e0‐a205‐4123‐a8ee‐8ebd8898234b                   Address Redacted                      First Class Mail
7df8dbab‐a8bd‐40bc‐9592‐5138a6e812bd                   Address Redacted                      First Class Mail




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                              Name                                              Address                         Method of Service
7df91794‐8c2e‐40ee‐b53e‐8ddd023d6c15                   Address Redacted                      First Class Mail
7dfaa7f5‐7f0f‐4538‐aee3‐c854ce3a3f42                   Address Redacted                      First Class Mail
7e02b03a‐c26b‐4a8a‐aa23‐2c8ece0ddc7d                   Address Redacted                      First Class Mail
7e04a8e4‐5031‐4dec‐9248‐82b22c7a3f9b                   Address Redacted                      First Class Mail
7e0ad61a‐d643‐471f‐9872‐fe05a89a1ec2                   Address Redacted                      First Class Mail
7e0b32ee‐3c1e‐4beb‐8678‐f8e38e90a063                   Address Redacted                      First Class Mail
7e0b42df‐9ade‐4bd7‐9d1a‐78ad465293ef                   Address Redacted                      First Class Mail
7e0ba2e3‐78c2‐4a7e‐badd‐9605b0f556d3                   Address Redacted                      First Class Mail
7e12b106‐e1a9‐4e05‐97a6‐229068eb3eab                   Address Redacted                      First Class Mail
7e13a171‐6ee5‐4794‐bd96‐e09a4c01e411                   Address Redacted                      First Class Mail
7e1a0aac‐ff5e‐4c03‐93fb‐4284e9f422eb                   Address Redacted                      First Class Mail
7e1ac7d1‐3965‐4cd7‐bc40‐59a6d35c2129                   Address Redacted                      First Class Mail
7e1c43fb‐d243‐43d6‐a491‐33f0861b277e                   Address Redacted                      First Class Mail
7e1da82e‐404d‐4c1f‐8481‐4e6c2f3617bc                   Address Redacted                      First Class Mail
7e23e257‐3243‐47ac‐a0c8‐1e7057da96e2                   Address Redacted                      First Class Mail
7e2d0ec6‐8d34‐4a1b‐b414‐0bacdc714845                   Address Redacted                      First Class Mail
7e2fb587‐363b‐4556‐b80b‐2a8b484b2ad7                   Address Redacted                      First Class Mail
7e30bb6d‐cf2c‐40ed‐99de‐b54545d2ba9c                   Address Redacted                      First Class Mail
7e31422a‐ca47‐419a‐9974‐bf54b3033de8                   Address Redacted                      First Class Mail
7e3211ee‐9b80‐4659‐8a3d‐7fe75325de55                   Address Redacted                      First Class Mail
7e323c23‐85c8‐4fdc‐8aa9‐357b7997977b                   Address Redacted                      First Class Mail
7e326105‐9361‐4b6f‐9e2a‐1b4179db10a4                   Address Redacted                      First Class Mail
7e341f29‐82b9‐439f‐a6ef‐1f1d7ee5f591                   Address Redacted                      First Class Mail
7e3439cb‐2096‐4f9f‐b351‐3cb61cc9ad32                   Address Redacted                      First Class Mail
7e45fecf‐539f‐4664‐a561‐b3b97fdaa96e                   Address Redacted                      First Class Mail
7e4977e3‐757b‐4216‐925b‐5510f18fba86                   Address Redacted                      First Class Mail
7e4a8462‐37d1‐48f7‐a9bb‐2ab4d54194ec                   Address Redacted                      First Class Mail
7e4fa08f‐be5f‐4bb9‐845c‐e2659a67de39                   Address Redacted                      First Class Mail
7e52bf22‐bb44‐4a82‐a210‐e1b67f2e4a5e                   Address Redacted                      First Class Mail
7e5597bb‐d0c3‐44b6‐89b1‐54fb224f6e1e                   Address Redacted                      First Class Mail
7e56253f‐0ff2‐4c38‐9265‐5cc9eb86e1a5                   Address Redacted                      First Class Mail
7e580deb‐171f‐4a67‐b5a0‐60c91651291f                   Address Redacted                      First Class Mail
7e58c87b‐fc2c‐4771‐ae1a‐a4e15f512904                   Address Redacted                      First Class Mail
7e593258‐f44d‐4f26‐9707‐1274c97525d3                   Address Redacted                      First Class Mail
7e59c13b‐7a3a‐48e7‐8759‐2b91ee6bad9c                   Address Redacted                      First Class Mail
7e5ac7da‐7932‐49d4‐9157‐bf3f5a775ef5                   Address Redacted                      First Class Mail
7e5bcc6d‐5854‐45a5‐9aed‐89c8711e1e5a                   Address Redacted                      First Class Mail
7e5d8c39‐3aa6‐4899‐8cdc‐ff9ede405429                   Address Redacted                      First Class Mail
7e60882b‐d3a4‐4f33‐a935‐ee7d55d2cfbc                   Address Redacted                      First Class Mail
7e60dbb4‐4f06‐4609‐9fd2‐98054e61b7c4                   Address Redacted                      First Class Mail
7e62a5ca‐38e7‐4301‐8399‐a53c9a558a0e                   Address Redacted                      First Class Mail
7e699cb7‐a692‐4fed‐80be‐60d11a24f868                   Address Redacted                      First Class Mail
7e6b2fce‐08d0‐4676‐ae4c‐5a778392cf35                   Address Redacted                      First Class Mail
7e6d0be7‐57bd‐468c‐8ce5‐08f015204c9f                   Address Redacted                      First Class Mail
7e6e57ac‐d96b‐4065‐b52c‐e3533badfa57                   Address Redacted                      First Class Mail
7e6fc04a‐7a39‐486e‐abd0‐e37b5916e8b0                   Address Redacted                      First Class Mail
7e6fd08d‐6c68‐4798‐91f6‐a4dedffa6762                   Address Redacted                      First Class Mail
7e71c80e‐d02c‐49ca‐9433‐6d74fabdc0c6                   Address Redacted                      First Class Mail
7e7633bc‐d54b‐44a2‐b0c4‐3a07354947ba                   Address Redacted                      First Class Mail
7e76524d‐67ba‐467a‐a732‐d4c69badf451                   Address Redacted                      First Class Mail
7e781900‐c070‐431a‐8fed‐a093fed73551                   Address Redacted                      First Class Mail
7e7ae61c‐05ac‐43c5‐8094‐ee8a5a72eab9                   Address Redacted                      First Class Mail
7e81ffc9‐4cae‐440a‐9e0d‐90469a28fcc8                   Address Redacted                      First Class Mail
7e82c12a‐1aa8‐4301‐8610‐546667829e00                   Address Redacted                      First Class Mail
7e84228b‐fa7c‐4169‐851e‐f60f19985570                   Address Redacted                      First Class Mail
7e84d325‐5213‐46ca‐abfd‐27a78e407193                   Address Redacted                      First Class Mail
7e84f86e‐e63a‐4aab‐adae‐4cfa75332ed2                   Address Redacted                      First Class Mail
7e8502e9‐1e7d‐40df‐aab1‐e108ab7a9ac0                   Address Redacted                      First Class Mail
7e899fd8‐1fc6‐4b83‐9cf7‐fdda0326e4c9                   Address Redacted                      First Class Mail
7e8b4148‐cb64‐4587‐adee‐77b46c709dfc                   Address Redacted                      First Class Mail
7e8bb292‐d523‐4a6e‐8ded‐dbe7476ec23f                   Address Redacted                      First Class Mail
7e8ddc14‐0efe‐4306‐9e9e‐fc2bfbc466e3                   Address Redacted                      First Class Mail
7e8e4eb9‐8d4a‐4d79‐a855‐f8da9b98b0c4                   Address Redacted                      First Class Mail
7e8e7227‐27ae‐4f15‐b46c‐63b8242687a4                   Address Redacted                      First Class Mail
7e903a19‐4f88‐4650‐a899‐7d3463944e5d                   Address Redacted                      First Class Mail
7e940214‐e02f‐4a3d‐9df3‐060ecac7c999                   Address Redacted                      First Class Mail
7e969363‐89ea‐421c‐a143‐3ec16337a485                   Address Redacted                      First Class Mail
7e981511‐08d4‐4c22‐93ff‐6671f49d613e                   Address Redacted                      First Class Mail
7e99be74‐6712‐4786‐9980‐d55072715839                   Address Redacted                      First Class Mail
7e9acfa9‐2e26‐45ab‐9663‐394ba64f89f8                   Address Redacted                      First Class Mail
7e9d83c3‐5903‐4bb0‐aa60‐504e82bcbf99                   Address Redacted                      First Class Mail
7e9ef394‐33fb‐4cca‐b2df‐966fa7ba440b                   Address Redacted                      First Class Mail




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                              Name                                              Address                         Method of Service
7ea595ea‐dfba‐441c‐a6f0‐07c79a783e55                   Address Redacted                      First Class Mail
7ea5e94f‐033f‐4318‐b616‐e33c4eeef1d0                   Address Redacted                      First Class Mail
7ea6ffd8‐49bb‐44d3‐a763‐d360730dddd4                   Address Redacted                      First Class Mail
7ea71ac4‐8e2f‐4593‐af11‐59c850bbce94                   Address Redacted                      First Class Mail
7ead036b‐842d‐4330‐a10d‐021dac593a3e                   Address Redacted                      First Class Mail
7eb1c018‐2451‐456f‐85b1‐0130615dd362                   Address Redacted                      First Class Mail
7eb2d2e4‐e40b‐4198‐88f8‐16a1d499ff75                   Address Redacted                      First Class Mail
7eb7afe4‐9c8c‐4c63‐ac36‐0ace051edb9a                   Address Redacted                      First Class Mail
7eb8b119‐9ea0‐4b00‐af10‐ddfa6b63fe9b                   Address Redacted                      First Class Mail
7eb96ae1‐8b1b‐422f‐8789‐563990b96b43                   Address Redacted                      First Class Mail
7eb99039‐0810‐4273‐ac49‐017f013b1a3f                   Address Redacted                      First Class Mail
7ebc0b60‐8c9e‐4e87‐9882‐01977eb2e36f                   Address Redacted                      First Class Mail
7ebe3b8f‐7011‐4c34‐9d70‐0ad2a44344c3                   Address Redacted                      First Class Mail
7ebf1e06‐061f‐442a‐9d0e‐829054143eb2                   Address Redacted                      First Class Mail
7ebff42a‐9fe1‐49fe‐8302‐10f523c23337                   Address Redacted                      First Class Mail
7ec5f7f0‐4b02‐43b0‐8c30‐4a4561da9532                   Address Redacted                      First Class Mail
7ec88582‐f1d5‐4c63‐a491‐bcf82e94bbc2                   Address Redacted                      First Class Mail
7ec8c012‐5b77‐44f8‐9c3e‐b5063c2e582d                   Address Redacted                      First Class Mail
7ec93f8e‐3857‐43f5‐9072‐549b729b1c6a                   Address Redacted                      First Class Mail
7eca6da8‐4306‐4e37‐b696‐23d7013837e1                   Address Redacted                      First Class Mail
7ecb2f9b‐fd58‐46a1‐b6f3‐b934d62418b5                   Address Redacted                      First Class Mail
7eccbe9b‐f7a5‐47c2‐867e‐3de78609b83a                   Address Redacted                      First Class Mail
7ed14600‐9d5b‐4cc9‐b675‐587911fcd8ba                   Address Redacted                      First Class Mail
7ed15461‐4f7b‐4c2c‐8c2f‐470d16e7a97f                   Address Redacted                      First Class Mail
7ed2900d‐c28e‐49c2‐9928‐b367437318d8                   Address Redacted                      First Class Mail
7ed42441‐93f2‐49cb‐89b9‐462cb8051290                   Address Redacted                      First Class Mail
7ed4bb81‐1ac8‐4059‐98e3‐98b0618e8b81                   Address Redacted                      First Class Mail
7ed8d230‐8fcb‐412d‐9be2‐d4c822faecc9                   Address Redacted                      First Class Mail
7ed9a322‐5f39‐42d8‐9948‐4eec154b60a5                   Address Redacted                      First Class Mail
7ee77885‐d33c‐4c5b‐90ea‐1b133cca3fb5                   Address Redacted                      First Class Mail
7ee80869‐c2a8‐4731‐bf87‐d5ee99be8e79                   Address Redacted                      First Class Mail
7eebeccb‐a34a‐4b73‐867b‐760bec804968                   Address Redacted                      First Class Mail
7eee35ee‐4171‐4abd‐8824‐cd410c91fc21                   Address Redacted                      First Class Mail
7eeeb11d‐0856‐41bc‐a692‐77590eca4700                   Address Redacted                      First Class Mail
7eeef816‐256f‐4468‐b583‐ee3f0c3f582c                   Address Redacted                      First Class Mail
7eef5cbf‐4631‐4189‐96f1‐2934196b8991                   Address Redacted                      First Class Mail
7ef452d6‐979f‐4231‐ac50‐9ffe6b8f2e8f                   Address Redacted                      First Class Mail
7ef4a29c‐7e2c‐40bd‐a901‐caff2d69bbaf                   Address Redacted                      First Class Mail
7ef5297a‐c77c‐43aa‐b03c‐e42cbd227175                   Address Redacted                      First Class Mail
7ef5ba2b‐aa5e‐4e6c‐bf8c‐b20df52d2eb1                   Address Redacted                      First Class Mail
7eff971e‐59e8‐4bd6‐a00d‐02f539227097                   Address Redacted                      First Class Mail
7eff9872‐9b67‐4710‐901c‐b513fc354b1f                   Address Redacted                      First Class Mail
7f00d9a9‐f387‐49da‐8c99‐8c6308e58ab2                   Address Redacted                      First Class Mail
7f0152ca‐4722‐4657‐9ce9‐764489162385                   Address Redacted                      First Class Mail
7f080bfc‐3812‐4b87‐aa56‐669bbe4c7567                   Address Redacted                      First Class Mail
7f09c7dd‐0f16‐4ae4‐b84d‐9320c673d493                   Address Redacted                      First Class Mail
7f09e0e1‐cae3‐48bb‐9377‐616e6068bb1c                   Address Redacted                      First Class Mail
7f0c8f07‐8fc1‐4f8a‐b0d9‐ee0d1488a801                   Address Redacted                      First Class Mail
7f0cf4d9‐89b4‐4241‐bcd9‐7f9cd21fbd89                   Address Redacted                      First Class Mail
7f0d33bb‐e339‐4090‐817c‐03f08a351d76                   Address Redacted                      First Class Mail
7f1128b1‐f207‐422f‐a8be‐a52981b1dcb5                   Address Redacted                      First Class Mail
7f161bde‐0cfa‐4e4b‐8412‐7f115e741bf5                   Address Redacted                      First Class Mail
7f173a3d‐18b8‐4079‐8c8e‐c6f85bd134e6                   Address Redacted                      First Class Mail
7f18a0ad‐c2f1‐4cc4‐9dd4‐aa6acc670d14                   Address Redacted                      First Class Mail
7f19cb80‐91fb‐46ce‐a5ce‐ee1d2be4f016                   Address Redacted                      First Class Mail
7f1aed34‐1704‐42ab‐8b76‐4aa846fd7519                   Address Redacted                      First Class Mail
7f1e1059‐c4fc‐4706‐8878‐49aa2f3461fe                   Address Redacted                      First Class Mail
7f1ed4b5‐ff06‐411f‐b91c‐e01d8823804e                   Address Redacted                      First Class Mail
7f25e851‐6821‐4b0f‐b0e9‐bf79afd1937f                   Address Redacted                      First Class Mail
7f2aa862‐c255‐435f‐9bee‐a791e5e38f26                   Address Redacted                      First Class Mail
7f2e8d17‐46c4‐4254‐8b66‐5e9b9b5d211c                   Address Redacted                      First Class Mail
7f2f07bf‐48fb‐49c3‐875d‐27eb8d3ea043                   Address Redacted                      First Class Mail
7f34ce8b‐2661‐4083‐a4a7‐e1b100c39660                   Address Redacted                      First Class Mail
7f39d0b5‐701c‐4796‐a70e‐51d0e559eb3f                   Address Redacted                      First Class Mail
7f3a61db‐42ca‐47e9‐b58f‐6e6d8cb94f1f                   Address Redacted                      First Class Mail
7f3b33ef‐3a26‐459f‐870a‐fa22310411d6                   Address Redacted                      First Class Mail
7f3c041b‐aa5f‐484d‐a627‐14047d818dca                   Address Redacted                      First Class Mail
7f3d2a39‐4915‐44ac‐9a4e‐d23a2665d9f3                   Address Redacted                      First Class Mail
7f3d5240‐a3fd‐4cff‐ab7f‐b327dca1eb97                   Address Redacted                      First Class Mail
7f3e0547‐68cf‐49a3‐8c9b‐e801660d7ac3                   Address Redacted                      First Class Mail
7f3e9a49‐493a‐4755‐a9ba‐8ca464f7c819                   Address Redacted                      First Class Mail
7f3f4447‐0020‐4908‐8c61‐61a826123e4b                   Address Redacted                      First Class Mail




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                                                                Exhibit A
                                                                 Service List


                               Name                                             Address                         Method of Service
7f4124a3‐b5e7‐4556‐8d2b‐df86224e3bc0                   Address Redacted                      First Class Mail
7f41593a‐438a‐4102‐926b‐e7e08297c50b                   Address Redacted                      First Class Mail
7f42edb4‐e3f2‐4ff0‐947f‐efba57be6787                   Address Redacted                      First Class Mail
7f456a43‐15b7‐4229‐8f68‐e17b33c27b0e                   Address Redacted                      First Class Mail
7f465857‐8bd6‐43dc‐9ece‐28cef4e9583e                   Address Redacted                      First Class Mail
7f46a220‐4a9c‐42e6‐a00f‐f51016802bdd                   Address Redacted                      First Class Mail
7f49d563‐c18b‐4428‐ae8d‐7c8cb1fead81                   Address Redacted                      First Class Mail
7f4b9172‐2917‐4c2f‐9534‐09bcecd3be75                   Address Redacted                      First Class Mail
7f51a8da‐ddb5‐487d‐bb97‐a8a4b86770d0                   Address Redacted                      First Class Mail
7f5322e4‐2960‐4a7d‐8c2c‐b261f2470d4d                   Address Redacted                      First Class Mail
7f541b3e‐6e66‐4cdf‐9c50‐d0acc5970770                   Address Redacted                      First Class Mail
7f568596‐e4e6‐4747‐8e09‐dd53f911873f                   Address Redacted                      First Class Mail
7f568a2b‐4266‐4c8d‐b414‐caf5843dadad                   Address Redacted                      First Class Mail
7f57bcb5‐6a9c‐48fa‐835d‐ad1de21c167b                   Address Redacted                      First Class Mail
7f5a308c‐8dd7‐4068‐9651‐94500e1d87c3                   Address Redacted                      First Class Mail
7f5c2f8b‐1e09‐4022‐88b6‐077c1ee44266                   Address Redacted                      First Class Mail
7f5e7948‐01b6‐4038‐9154‐7db5f01253a2                   Address Redacted                      First Class Mail
7f5f36b2‐a583‐4f48‐98e8‐425b357f4bec                   Address Redacted                      First Class Mail
7f5fa3a4‐eedc‐4686‐bc2c‐23ae1dc54c02                   Address Redacted                      First Class Mail
7f652ce7‐41a8‐43a2‐9292‐4b421424903a                   Address Redacted                      First Class Mail
7f666955‐5767‐45d2‐ace7‐27f3527dd932                   Address Redacted                      First Class Mail
7f66c5c2‐8a45‐4835‐a4fe‐cfa8582af9c9                   Address Redacted                      First Class Mail
7f6896f1‐4ae0‐49ad‐b3ad‐fe703826681e                   Address Redacted                      First Class Mail
7f6a8699‐8fa2‐487f‐a35e‐9963e6e48c2a                   Address Redacted                      First Class Mail
7f7223e2‐1aae‐4718‐a245‐25c0a80efcc8                   Address Redacted                      First Class Mail
7f73c5b9‐9743‐40ea‐bffb‐1624748479f4                   Address Redacted                      First Class Mail
7f7444e8‐7300‐4900‐8a86‐fb63807f2a4a                   Address Redacted                      First Class Mail
7f75b4ed‐957b‐49d4‐a511‐e00575e61156                   Address Redacted                      First Class Mail
7f7626be‐d983‐4151‐8957‐e684504a05dd                   Address Redacted                      First Class Mail
7f779131‐0bf7‐4047‐99bf‐dddf6feced3e                   Address Redacted                      First Class Mail
7f7e089c‐6e35‐47e4‐a805‐b6d473be6159                   Address Redacted                      First Class Mail
7f80fcc7‐5af1‐4286‐89fc‐9b59f346c250                   Address Redacted                      First Class Mail
7f81621a‐d9c5‐43bd‐a026‐01c9d5d3cbb6                   Address Redacted                      First Class Mail
7f8506dd‐e755‐41c9‐920a‐e8dc7aadfd56                   Address Redacted                      First Class Mail
7f851537‐0797‐4e32‐b4b1‐fac4c7e81d6f                   Address Redacted                      First Class Mail
7f85fe15‐8b5b‐4a1c‐9a8c‐a78164608798                   Address Redacted                      First Class Mail
7f87bf35‐1778‐4c3c‐95d2‐5505f7b1f585                   Address Redacted                      First Class Mail
7f8cd98e‐babd‐4784‐8a69‐1520b6987d73                   Address Redacted                      First Class Mail
7f8fad61‐db14‐4554‐80ce‐8e13c8dd2c46                   Address Redacted                      First Class Mail
7f914072‐191e‐438d‐8689‐9a858a71ab2f                   Address Redacted                      First Class Mail
7f95b065‐59e4‐411e‐86df‐18e3df74ea43                   Address Redacted                      First Class Mail
7f968e8b‐63d4‐4158‐8ac2‐c054cc8cd590                   Address Redacted                      First Class Mail
7f9b74e9‐10bd‐4880‐b8a0‐8935552dd971                   Address Redacted                      First Class Mail
7f9d7cfd‐f68f‐4857‐a8e2‐5754a44e7f08                   Address Redacted                      First Class Mail
7f9e2da2‐b4e6‐4638‐b13f‐4774b4c355e8                   Address Redacted                      First Class Mail
7f9f02c0‐ad6b‐4138‐92a2‐64b25ca34bc8                   Address Redacted                      First Class Mail
7fa1601d‐a768‐43e6‐ad8d‐d0a6b9771767                   Address Redacted                      First Class Mail
7fa342e8‐24c4‐4c20‐822d‐65832d921e9d                   Address Redacted                      First Class Mail
7fa4ce49‐4f77‐4b40‐ba9d‐a50cc24e9638                   Address Redacted                      First Class Mail
7fa7686f‐202a‐4c4b‐a48d‐7be7e196be24                   Address Redacted                      First Class Mail
7fafc530‐4837‐4333‐a9c6‐d1f2b1ee0058                   Address Redacted                      First Class Mail
7fb4d428‐422d‐4c8f‐bb87‐16dff2ed1641                   Address Redacted                      First Class Mail
7fb805df‐748c‐4eff‐a99e‐3adf9f8ad63c                   Address Redacted                      First Class Mail
7fba5967‐5eaf‐43da‐a88e‐b6003b6a7d5b                   Address Redacted                      First Class Mail
7fbc285a‐beb4‐4d62‐b875‐e6f0f9efd9f1                   Address Redacted                      First Class Mail
7fbdc935‐4fcb‐4c87‐bb48‐5c53e86c3b57                   Address Redacted                      First Class Mail
7fc1a508‐dc73‐45f0‐a90c‐b638e48b8281                   Address Redacted                      First Class Mail
7fc38416‐bfeb‐4edf‐b38a‐b8a0199b183f                   Address Redacted                      First Class Mail
7fc765cb‐133d‐406a‐a090‐f30058c199e6                   Address Redacted                      First Class Mail
7fcc27cd‐d665‐44d6‐8858‐20dadf3959e6                   Address Redacted                      First Class Mail
7fcf0d84‐75b1‐477f‐b629‐9f7619425c03                   Address Redacted                      First Class Mail
7fd0821f‐299c‐431e‐85a4‐6a1f0a3c9e8d                   Address Redacted                      First Class Mail
7fd41241‐db0b‐410d‐8083‐bc8c7079f775                   Address Redacted                      First Class Mail
7fd505b6‐c50b‐4c69‐9916‐9343b5fa38ec                   Address Redacted                      First Class Mail
7fd526af‐e0e4‐4871‐8e2b‐9c7cd5475b25                   Address Redacted                      First Class Mail
7fd57a2e‐a368‐41dd‐aaac‐55a6bed58363                   Address Redacted                      First Class Mail
7fd97f6b‐68f8‐4b25‐8e54‐97ba51a108c4                   Address Redacted                      First Class Mail
7fdac41d‐373e‐48a9‐9f8c‐49947438564d                   Address Redacted                      First Class Mail
7fde07aa‐644f‐4aa3‐81da‐36b99701cee6                   Address Redacted                      First Class Mail
7fdf39eb‐f85d‐4562‐bb61‐134fa3ee6aee                   Address Redacted                      First Class Mail
7fe104ef‐0157‐4d93‐852e‐db7f58635a29                   Address Redacted                      First Class Mail
7fe4a107‐c8f3‐42ba‐9091‐dfcab0d684aa                   Address Redacted                      First Class Mail




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                              Name                                              Address                         Method of Service
7fee1f19‐9506‐43fd‐9c70‐acc725fc976f                   Address Redacted                      First Class Mail
7ff01a06‐b89f‐4934‐bbaa‐0619db88ae68                   Address Redacted                      First Class Mail
7ff12797‐8b15‐4276‐8ef8‐0a6b13badc23                   Address Redacted                      First Class Mail
7ff1e80c‐10b4‐41b6‐89c7‐c8940f61c4e1                   Address Redacted                      First Class Mail
7ff4ff22‐6c5e‐427e‐a8c3‐c5511357221f                   Address Redacted                      First Class Mail
7ff622ab‐010c‐45ec‐923b‐924bb9c80d9d                   Address Redacted                      First Class Mail
7ff74731‐585c‐47a7‐8abd‐b0ed3d1bde55                   Address Redacted                      First Class Mail
7ff9e71b‐275c‐4afa‐ae43‐7d7bfe239cbd                   Address Redacted                      First Class Mail
7ffa329f‐c566‐47c2‐a12a‐fe43e77cb3dd                   Address Redacted                      First Class Mail
7ffb8730‐7c13‐484d‐90fb‐e228620c7616                   Address Redacted                      First Class Mail
7ffe4083‐2bc0‐4ef2‐a30e‐fc5800c7c560                   Address Redacted                      First Class Mail
7ffea390‐7e36‐44f0‐b919‐64d448bdea1d                   Address Redacted                      First Class Mail
7fff25b7‐4dc5‐420a‐978e‐3f5b152842cd                   Address Redacted                      First Class Mail
80010762‐0458‐4dde‐950b‐df604b4ad36e                   Address Redacted                      First Class Mail
80035c01‐a371‐403f‐bd54‐12baf47e9752                   Address Redacted                      First Class Mail
80098cd6‐e687‐4aed‐a55f‐66ff6207fd09                   Address Redacted                      First Class Mail
8009e0d0‐01b7‐4d8a‐a356‐d7b1eaf530c9                   Address Redacted                      First Class Mail
800d0cc9‐aab1‐4845‐8539‐91142f6e1f38                   Address Redacted                      First Class Mail
800f0726‐3404‐42c6‐93ff‐6c75e3d46f32                   Address Redacted                      First Class Mail
80109767‐daa1‐4ec4‐81c7‐9fd0fbdf6346                   Address Redacted                      First Class Mail
8010cb68‐f8af‐4c8c‐921d‐3f99cd16f334                   Address Redacted                      First Class Mail
8013bc92‐17a0‐47c7‐bd57‐1a870429932b                   Address Redacted                      First Class Mail
80146a2c‐1a5c‐455c‐93b0‐8784fdd158b2                   Address Redacted                      First Class Mail
8014a1d7‐0c34‐4b01‐bdbb‐a0fb7284d87d                   Address Redacted                      First Class Mail
8017d0e1‐9d26‐4c7c‐bf70‐97e3f678c289                   Address Redacted                      First Class Mail
80192e42‐c33f‐48b2‐ab4b‐6c2a315029cb                   Address Redacted                      First Class Mail
801b5aa7‐f8a6‐4517‐ac3c‐c682de515702                   Address Redacted                      First Class Mail
801c8ddb‐e4a5‐461a‐bdef‐94c9010cfbbf                   Address Redacted                      First Class Mail
801f8b1b‐4b1a‐48ed‐9498‐24290943ce32                   Address Redacted                      First Class Mail
8023cd1b‐30ab‐4b18‐875e‐e0a7993c92e5                   Address Redacted                      First Class Mail
80243756‐cec9‐4a86‐8a4a‐3d4f9da64671                   Address Redacted                      First Class Mail
8029f1c2‐f3ed‐43e8‐914b‐806cd6bd52e8                   Address Redacted                      First Class Mail
802eb8ba‐c198‐4d23‐b962‐1d2695424351                   Address Redacted                      First Class Mail
8031b914‐f555‐4e50‐b1be‐2a757d2dad3b                   Address Redacted                      First Class Mail
8032152d‐ca55‐42bc‐8560‐8b20dceac72d                   Address Redacted                      First Class Mail
803429c0‐8a00‐400b‐aeca‐d19cdf7ac957                   Address Redacted                      First Class Mail
803521e0‐b002‐4ff6‐a843‐cddb49966bc6                   Address Redacted                      First Class Mail
8035f220‐8342‐403b‐9454‐a6932d3b1c9f                   Address Redacted                      First Class Mail
8037573e‐275d‐40b6‐b81c‐8ff533b60475                   Address Redacted                      First Class Mail
8037f0a2‐b32c‐452e‐8eb6‐39cd952f32ec                   Address Redacted                      First Class Mail
803b2dc8‐28e0‐4488‐990b‐aa41a6bfe339                   Address Redacted                      First Class Mail
803cbd38‐179b‐452a‐b7d1‐7f3d4aff55e5                   Address Redacted                      First Class Mail
803cea13‐a893‐4293‐8001‐be427ee474f8                   Address Redacted                      First Class Mail
803e383c‐4798‐41f2‐82d8‐79044f9363f4                   Address Redacted                      First Class Mail
8041f30f‐e163‐4e0d‐b8ee‐02e791a4fa7d                   Address Redacted                      First Class Mail
804503e3‐984f‐4ef3‐a718‐9cf9158a1434                   Address Redacted                      First Class Mail
80495b39‐3c6e‐4096‐bfdb‐123d2d5ca1ec                   Address Redacted                      First Class Mail
804a2c2a‐ab30‐4e6c‐8d2e‐61372d8ad8f2                   Address Redacted                      First Class Mail
804a53af‐10c2‐4a52‐a562‐e43d74c17a17                   Address Redacted                      First Class Mail
804aa91f‐bf78‐448b‐ad1b‐1e2e0ab0d677                   Address Redacted                      First Class Mail
804bdfd6‐8604‐4ab1‐bdd7‐d741b6981288                   Address Redacted                      First Class Mail
804d13f2‐6202‐4be6‐b9dc‐914613e4d78f                   Address Redacted                      First Class Mail
804d66c7‐c9cd‐450c‐a3cd‐78754c04f46a                   Address Redacted                      First Class Mail
804e1f10‐d76f‐45fb‐b811‐78ae8a23202c                   Address Redacted                      First Class Mail
805157e6‐3383‐411d‐92d8‐27bc82f259d7                   Address Redacted                      First Class Mail
8051c7fb‐6b08‐4320‐bbdd‐f2a2660373e1                   Address Redacted                      First Class Mail
805a1e31‐3e16‐4f75‐904c‐7cbcf69891a4                   Address Redacted                      First Class Mail
805a209e‐9255‐41f5‐a9af‐0bdcf3159ad3                   Address Redacted                      First Class Mail
805a3f74‐8fe9‐4d29‐98f4‐3f43339be2b6                   Address Redacted                      First Class Mail
805adb98‐891b‐4581‐a3f6‐021b23cf0856                   Address Redacted                      First Class Mail
805ba989‐f4f4‐4d75‐ba98‐ec27b970c022                   Address Redacted                      First Class Mail
805e6dc6‐a9ca‐4d64‐8307‐c3b3debc616a                   Address Redacted                      First Class Mail
8063d4d8‐fed2‐49bb‐a3a8‐6cacc0d1c660                   Address Redacted                      First Class Mail
8064a8b0‐f575‐4611‐9bcb‐a3cd45d90384                   Address Redacted                      First Class Mail
806511e1‐464a‐4e9d‐a375‐f89ec8b35391                   Address Redacted                      First Class Mail
80678414‐e8e0‐4bd6‐8bc0‐33b0bb4f453d                   Address Redacted                      First Class Mail
806a01e1‐f578‐4dfa‐9685‐c82213df6371                   Address Redacted                      First Class Mail
806d70d5‐e060‐4f4c‐8da0‐02b3d8948857                   Address Redacted                      First Class Mail
8070f7ad‐4fc5‐43cd‐b454‐c12782a19a84                   Address Redacted                      First Class Mail
807134fa‐ac10‐48f8‐b347‐c9625677d8bd                   Address Redacted                      First Class Mail
80736866‐ae31‐4225‐9ebf‐2ce6da9d81c4                   Address Redacted                      First Class Mail
8075d6f3‐3e14‐4f51‐bda6‐ea4d6fe7db12                   Address Redacted                      First Class Mail




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                              Name                                              Address                         Method of Service
8076ac67‐42f4‐43d0‐96f5‐c9ee9050aca3                   Address Redacted                      First Class Mail
8077c5cc‐8c22‐46fe‐b203‐64fa1a92a1a2                   Address Redacted                      First Class Mail
8079f489‐60d6‐4816‐9173‐99788beefd26                   Address Redacted                      First Class Mail
807cbd1b‐e78a‐4c8d‐80aa‐88b34b2ec881                   Address Redacted                      First Class Mail
807e50b2‐fd5b‐46c1‐a743‐a6e5a37e0804                   Address Redacted                      First Class Mail
80838fa1‐8d61‐4c7d‐aabb‐b9727e863e4b                   Address Redacted                      First Class Mail
80856075‐4b0b‐4eed‐919e‐3adc25d0a06e                   Address Redacted                      First Class Mail
8088d954‐96c3‐42e1‐93a4‐009b4952afde                   Address Redacted                      First Class Mail
80895196‐519b‐412a‐aeed‐67b310e7f834                   Address Redacted                      First Class Mail
808c71fd‐98c2‐4c0d‐b325‐1f3d1a0b0aef                   Address Redacted                      First Class Mail
808d36e2‐8818‐4884‐b526‐0068d87650f6                   Address Redacted                      First Class Mail
809046cb‐b8aa‐4cee‐96ea‐c1e5522e6e0b                   Address Redacted                      First Class Mail
80907b5b‐73c6‐4283‐b1bc‐b715609893ca                   Address Redacted                      First Class Mail
8091655a‐add5‐45c7‐825a‐c36b50c8bad0                   Address Redacted                      First Class Mail
80933899‐8aae‐48dd‐a122‐961079dad08c                   Address Redacted                      First Class Mail
8093a209‐f819‐4a66‐b678‐4fb82f79fa4f                   Address Redacted                      First Class Mail
8093ce0c‐de16‐4b68‐93a8‐65e4a397b55b                   Address Redacted                      First Class Mail
809470ce‐f6a7‐48e7‐a82b‐e724f576d3c6                   Address Redacted                      First Class Mail
8095e809‐74b0‐43ae‐839b‐76e2054a58fc                   Address Redacted                      First Class Mail
80968a89‐845a‐460e‐9933‐cdf961fc1b92                   Address Redacted                      First Class Mail
809a3796‐5785‐44dd‐ace9‐ab7639b85504                   Address Redacted                      First Class Mail
809f4d46‐8c3f‐409f‐bbce‐20576e1c2e37                   Address Redacted                      First Class Mail
80a9007b‐4a2b‐41cf‐ac95‐1f8074a3feaf                   Address Redacted                      First Class Mail
80aaf623‐2452‐412f‐9baa‐ca452995a45b                   Address Redacted                      First Class Mail
80ab6a81‐2fd2‐47b0‐8465‐a03b2d52c83a                   Address Redacted                      First Class Mail
80b0626c‐1c60‐44ba‐9c99‐0db3e1b60fc0                   Address Redacted                      First Class Mail
80b62c4a‐196d‐4451‐b269‐e8392e4d6fc0                   Address Redacted                      First Class Mail
80b69df3‐c427‐4dc5‐b967‐42905fa34cd7                   Address Redacted                      First Class Mail
80ba7efa‐695b‐4aae‐833a‐d22b660018e7                   Address Redacted                      First Class Mail
80babee7‐2af1‐4a02‐9aed‐a4fbe16b6690                   Address Redacted                      First Class Mail
80bbb73e‐c845‐4b3f‐bef5‐5915d43f62a2                   Address Redacted                      First Class Mail
80bfc158‐8d51‐4d89‐a31c‐a2efa221d136                   Address Redacted                      First Class Mail
80c1f8d8‐1c8b‐4df2‐bf36‐6a44620e40c8                   Address Redacted                      First Class Mail
80c41f7d‐8743‐4db1‐a4ff‐27b6019723d9                   Address Redacted                      First Class Mail
80c66daa‐25cf‐4925‐a2fc‐4001a98647c9                   Address Redacted                      First Class Mail
80c74a8b‐3d59‐41d9‐9f8a‐68f6590f4a0c                   Address Redacted                      First Class Mail
80c7bb4f‐3155‐42bc‐863f‐e98b6f6ec027                   Address Redacted                      First Class Mail
80c9098a‐5903‐42f0‐9bb9‐a4c8c357cabf                   Address Redacted                      First Class Mail
80c97eec‐56f2‐4c42‐af0c‐d5dd6385ae4d                   Address Redacted                      First Class Mail
80c98cfd‐f6ce‐489b‐8c0c‐82aa8575defe                   Address Redacted                      First Class Mail
80cd9834‐aef7‐4cbe‐9860‐899b257e375c                   Address Redacted                      First Class Mail
80cfd6ca‐e28e‐4f3e‐8176‐759a0ee66256                   Address Redacted                      First Class Mail
80d16f58‐586c‐4a9a‐a00e‐ab81dbbbe540                   Address Redacted                      First Class Mail
80d1ea8a‐e012‐4b0e‐9420‐c7ad4f81158b                   Address Redacted                      First Class Mail
80d2c8b6‐439a‐4536‐b618‐9e6ca0dec9e1                   Address Redacted                      First Class Mail
80d358df‐0ebd‐4506‐9c5e‐d79ab70140d8                   Address Redacted                      First Class Mail
80db37f4‐4cb7‐4d2c‐8023‐49f4207138a6                   Address Redacted                      First Class Mail
80db7380‐a323‐4b07‐9dc3‐f117e6bd9218                   Address Redacted                      First Class Mail
80ddc148‐9550‐4c1a‐817c‐92f54a496ec8                   Address Redacted                      First Class Mail
80de9a91‐70dd‐4334‐a505‐0ddc30215347                   Address Redacted                      First Class Mail
80e839c9‐0d83‐4af5‐ad28‐79cb8a5f83d9                   Address Redacted                      First Class Mail
80eac6d5‐f1f6‐44c0‐9d82‐29c7babace48                   Address Redacted                      First Class Mail
80edfe12‐cf35‐4cab‐b862‐4993fd112a75                   Address Redacted                      First Class Mail
80f09bae‐e9dd‐4a94‐a1ac‐76587d130908                   Address Redacted                      First Class Mail
80f112c9‐dfdd‐4814‐8ba3‐ffaee25db17d                   Address Redacted                      First Class Mail
80f12769‐a6bc‐48e7‐a2b2‐0b69e73e8bc8                   Address Redacted                      First Class Mail
80f4718e‐1668‐4e09‐8551‐f9def24154c3                   Address Redacted                      First Class Mail
80f669e2‐c0fd‐49e5‐9f08‐13e679c461b6                   Address Redacted                      First Class Mail
80f6c3dd‐bd74‐4778‐af8b‐7a0ba497142f                   Address Redacted                      First Class Mail
80f9e53a‐c9ca‐46a1‐b8f0‐3bb1d52459af                   Address Redacted                      First Class Mail
80fa08f5‐9b50‐4d12‐baee‐a70b34e407e7                   Address Redacted                      First Class Mail
80fb9809‐6af6‐48ae‐a6df‐dcf10ba21a0f                   Address Redacted                      First Class Mail
80fc34cf‐432b‐4eed‐8bd1‐57752cd0453d                   Address Redacted                      First Class Mail
8101510e‐58ca‐4754‐b52b‐2166488a34c0                   Address Redacted                      First Class Mail
8102810a‐1a6d‐4a06‐8351‐1f6e7c95370c                   Address Redacted                      First Class Mail
8103de27‐19ea‐4bee‐bc50‐31c57c91b500                   Address Redacted                      First Class Mail
8106e1d9‐aee3‐4504‐b508‐c826382c32f6                   Address Redacted                      First Class Mail
810827d9‐b6e3‐44d2‐b863‐43fbcb57ab5c                   Address Redacted                      First Class Mail
8108e812‐afca‐43c1‐a9da‐1cccc9e76d55                   Address Redacted                      First Class Mail
81097ac8‐439b‐4060‐9c42‐9fdc3c7d5d42                   Address Redacted                      First Class Mail
810cadcf‐8353‐4055‐bb83‐f8133b9be0e8                   Address Redacted                      First Class Mail
8114056c‐4b1a‐43b6‐a1a4‐5ec725e2ff89                   Address Redacted                      First Class Mail




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                                                                 Service List


                              Name                                              Address                         Method of Service
8115375a‐0e83‐4b04‐b93e‐ddc8c53ebebc                   Address Redacted                      First Class Mail
8118284c‐d33b‐46a2‐b98c‐e05394e065c0                   Address Redacted                      First Class Mail
81183ff4‐aad0‐40ce‐a1d9‐b89e070c3c5c                   Address Redacted                      First Class Mail
8118f248‐543e‐49b1‐ad22‐75aa2ed8ffe9                   Address Redacted                      First Class Mail
81191934‐ccee‐40f1‐8420‐6795c178d579                   Address Redacted                      First Class Mail
811a9099‐14db‐4c0e‐8154‐350136be7b27                   Address Redacted                      First Class Mail
811bbcce‐659c‐4609‐bc39‐b63cf832a6ed                   Address Redacted                      First Class Mail
811ce512‐c648‐42e3‐85ed‐2c876f546247                   Address Redacted                      First Class Mail
811e5537‐7d25‐4187‐a146‐a815b770fba8                   Address Redacted                      First Class Mail
81203c93‐c3db‐433e‐8e6c‐5a71c17a7c49                   Address Redacted                      First Class Mail
81211fcb‐ede4‐4e0e‐a984‐64eb4325b99e                   Address Redacted                      First Class Mail
8124df72‐3bad‐421c‐89c2‐d1b0e8cc9b56                   Address Redacted                      First Class Mail
812b7e75‐a43b‐4906‐b359‐78a5c56c97c9                   Address Redacted                      First Class Mail
812d55fc‐d36a‐4c14‐a58f‐a5644c741558                   Address Redacted                      First Class Mail
812f74de‐b641‐46cc‐ad29‐073eeda77132                   Address Redacted                      First Class Mail
81308a79‐ccc2‐4b91‐8969‐8e3bb249d5ad                   Address Redacted                      First Class Mail
8133ad86‐39ae‐41db‐bf44‐22e89abc2891                   Address Redacted                      First Class Mail
81372e2c‐66b7‐43b9‐976b‐b4f7c59b6b8e                   Address Redacted                      First Class Mail
8139242d‐c70a‐44cb‐9c8c‐73c6120aa9d4                   Address Redacted                      First Class Mail
813f2f92‐977d‐4349‐aaee‐4013042238c4                   Address Redacted                      First Class Mail
8140a6a0‐76f3‐4373‐acba‐2dd00bb3b348                   Address Redacted                      First Class Mail
814323d3‐ce80‐43fe‐bbf8‐33d42a196d5e                   Address Redacted                      First Class Mail
81463387‐6a07‐4d83‐abf5‐0f7d7e889db3                   Address Redacted                      First Class Mail
8146fb24‐626d‐4e1d‐b27e‐dfa99e34b6cb                   Address Redacted                      First Class Mail
8147bdfc‐9eac‐4157‐a0df‐e0a818e23e43                   Address Redacted                      First Class Mail
81497b75‐5aa4‐4c42‐9cae‐85983fafeb78                   Address Redacted                      First Class Mail
814bab3d‐7f69‐47ba‐8e7c‐d5d67bb56c94                   Address Redacted                      First Class Mail
814bcb65‐a27c‐43ea‐9d14‐5dfde1a75cf9                   Address Redacted                      First Class Mail
814e222d‐4c90‐4fee‐833f‐9f082375d79f                   Address Redacted                      First Class Mail
8151c0b3‐06fc‐4c74‐8625‐e04a66fd922c                   Address Redacted                      First Class Mail
81528d3d‐2422‐4e07‐8eaa‐e04f1a9bd5c5                   Address Redacted                      First Class Mail
8152e009‐858c‐4d4b‐a26e‐f73889db5727                   Address Redacted                      First Class Mail
8154fa89‐392b‐40b8‐8467‐17eb7d4e50f6                   Address Redacted                      First Class Mail
815b726c‐a6ec‐4a1a‐bb9d‐1c8a813b8fb1                   Address Redacted                      First Class Mail
815b98be‐36a5‐40f5‐a4d4‐ac8e314812af                   Address Redacted                      First Class Mail
815ecbfe‐4764‐448d‐b589‐3ca273a9a2a1                   Address Redacted                      First Class Mail
81608721‐1de0‐4f4a‐ba92‐d7a0003db1d1                   Address Redacted                      First Class Mail
816090db‐4225‐4518‐bfad‐3f6ab503b405                   Address Redacted                      First Class Mail
81621151‐93f8‐4c33‐a356‐36bc68b35ff9                   Address Redacted                      First Class Mail
81637b11‐8ab2‐4474‐ad19‐cb9dba670635                   Address Redacted                      First Class Mail
816960f6‐3de2‐4664‐b0c7‐15a9aa4e2f47                   Address Redacted                      First Class Mail
816ba728‐9252‐4635‐b11a‐30e97450200c                   Address Redacted                      First Class Mail
816c9cc2‐24b4‐4030‐88a8‐299c051a0cee                   Address Redacted                      First Class Mail
816ee9ed‐6be1‐4b04‐b371‐e0e0a662f8e6                   Address Redacted                      First Class Mail
81719fc5‐5e45‐4f2e‐8cf1‐01a0a602d84e                   Address Redacted                      First Class Mail
81731841‐881d‐4634‐9f7d‐7e67584b6b5d                   Address Redacted                      First Class Mail
817593ca‐6e05‐46c1‐88b5‐84df0579d6dd                   Address Redacted                      First Class Mail
817aac79‐0568‐454b‐85a8‐5b0b805bc9db                   Address Redacted                      First Class Mail
817b57e2‐747b‐4f1d‐af01‐04cdc4a9e65f                   Address Redacted                      First Class Mail
817f2e34‐0d93‐487d‐99ea‐ccec43c3d269                   Address Redacted                      First Class Mail
817fe56f‐706e‐4333‐ad19‐b8d65e854f54                   Address Redacted                      First Class Mail
81857f0b‐007f‐4df9‐85f9‐01af41d032a5                   Address Redacted                      First Class Mail
8185aedc‐4dea‐4e28‐8695‐ed89132de847                   Address Redacted                      First Class Mail
81872cc6‐588b‐47ff‐8c7e‐9174f4b9750d                   Address Redacted                      First Class Mail
818e3b1c‐3c14‐48fd‐a4b0‐23581903fe27                   Address Redacted                      First Class Mail
818f1aa2‐4a25‐4e6d‐87fa‐7937f08e4274                   Address Redacted                      First Class Mail
818f20bf‐1013‐4a45‐8b46‐12474edb1357                   Address Redacted                      First Class Mail
819192e1‐0c30‐4ec3‐8740‐cf169784cd2e                   Address Redacted                      First Class Mail
8191aea9‐f146‐42fc‐8369‐76cbd8b13d7b                   Address Redacted                      First Class Mail
81967902‐c1c4‐4db2‐9f50‐21315a575f4b                   Address Redacted                      First Class Mail
8196a9b2‐55b5‐4a6c‐bb0d‐c1155c014b31                   Address Redacted                      First Class Mail
8196dfbf‐3c06‐426e‐86ad‐1b206fccffb3                   Address Redacted                      First Class Mail
819720fc‐8b42‐466d‐84ea‐35ad52a816f6                   Address Redacted                      First Class Mail
819b71ab‐ebd6‐4900‐b695‐e0d7f78945b6                   Address Redacted                      First Class Mail
81a12b07‐4402‐42d2‐b1c3‐2514111dbab3                   Address Redacted                      First Class Mail
81a8bc1b‐071e‐40ac‐bf68‐0b14e4d21150                   Address Redacted                      First Class Mail
81aa8563‐2a10‐41d1‐a9d7‐35505c42fba9                   Address Redacted                      First Class Mail
81af0b58‐93f1‐4d36‐b356‐71cab6f10587                   Address Redacted                      First Class Mail
81afebf5‐f4e3‐445c‐a4fc‐e03e442c2ee9                   Address Redacted                      First Class Mail
81b55cd7‐8e14‐4a06‐a14b‐b1ca6dd2d5a6                   Address Redacted                      First Class Mail
81c73921‐8a41‐48da‐92ac‐9e45e4cfc986                   Address Redacted                      First Class Mail
81c7a02e‐dc61‐4e08‐adb9‐32304e52334c                   Address Redacted                      First Class Mail




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                              Name                                              Address                         Method of Service
81c7b3e4‐e284‐469b‐af4e‐0436f96e5c4a                   Address Redacted                      First Class Mail
81c90124‐1edd‐43a7‐b492‐43753ba20c72                   Address Redacted                      First Class Mail
81d35e29‐77cb‐4413‐9260‐59fa4bb49183                   Address Redacted                      First Class Mail
81d5201e‐3e80‐4eb5‐b941‐478942956073                   Address Redacted                      First Class Mail
81db1c35‐658f‐4434‐873b‐be248e333d1b                   Address Redacted                      First Class Mail
81e06cb4‐6a98‐4d6c‐8da7‐e68488d1322e                   Address Redacted                      First Class Mail
81e1627d‐e115‐4039‐92d3‐a3bc65e97fae                   Address Redacted                      First Class Mail
81e25a50‐8c4d‐4727‐8eff‐507ec473ed2f                   Address Redacted                      First Class Mail
81e39eca‐d78a‐49fc‐bf69‐eac134e15bc3                   Address Redacted                      First Class Mail
81e94fdd‐a324‐46c2‐bb95‐eadc7e08d609                   Address Redacted                      First Class Mail
81ea5e65‐6782‐490c‐bc5c‐46e681401319                   Address Redacted                      First Class Mail
81eae749‐9a37‐4265‐99f4‐34c18781a5bf                   Address Redacted                      First Class Mail
81ecc8ad‐d001‐4d68‐ba2d‐eb6365525b1b                   Address Redacted                      First Class Mail
81f224f0‐5700‐42cc‐a841‐1a8fdb2dfb09                   Address Redacted                      First Class Mail
81f24b24‐df24‐4885‐9672‐fe07d0381813                   Address Redacted                      First Class Mail
81f49e96‐b64d‐4b00‐8905‐0d7c5a30c223                   Address Redacted                      First Class Mail
81f5b3ed‐42de‐488a‐9856‐5fdfa564b65e                   Address Redacted                      First Class Mail
81f5bd05‐f273‐4520‐8e0f‐efceb52c9ff2                   Address Redacted                      First Class Mail
81f7f5a5‐99f2‐47fd‐bf27‐b7c9637291d2                   Address Redacted                      First Class Mail
81ffa670‐383d‐4dec‐adc3‐fff8865afa57                   Address Redacted                      First Class Mail
8205d54f‐73cd‐413a‐919e‐c180480e00f0                   Address Redacted                      First Class Mail
8208efdb‐180f‐492c‐87b6‐2f984a4f5315                   Address Redacted                      First Class Mail
820b689a‐8c46‐451c‐8b16‐2dc7f3ec2edf                   Address Redacted                      First Class Mail
8212000c‐bde5‐40cd‐9b75‐fb2ff433912d                   Address Redacted                      First Class Mail
82138301‐2361‐4a2e‐b3dd‐c1c0b33f5e5f                   Address Redacted                      First Class Mail
8219d5d4‐2a8f‐4efa‐92ee‐b3fe7f20eaf1                   Address Redacted                      First Class Mail
821b58e7‐3cc4‐4586‐915d‐36ca5b39411a                   Address Redacted                      First Class Mail
821c1ed6‐6a74‐4fd3‐9020‐cb0a70de4039                   Address Redacted                      First Class Mail
8221c52e‐bfe1‐4ec5‐98eb‐c02c136d4220                   Address Redacted                      First Class Mail
8221c861‐ec0a‐4a9b‐ae02‐4790735ae2d4                   Address Redacted                      First Class Mail
8221dd8e‐0e51‐44ea‐9f3c‐96314af37dbf                   Address Redacted                      First Class Mail
8223f1d4‐fc89‐4c9b‐a9a1‐dbd3c4a92743                   Address Redacted                      First Class Mail
82246f92‐36b4‐4f5d‐8a18‐4efe2d43b8d1                   Address Redacted                      First Class Mail
8225e89e‐d906‐4ca5‐a81c‐aac73ad3364d                   Address Redacted                      First Class Mail
822818f2‐322e‐49e7‐ab2a‐afad3dc53322                   Address Redacted                      First Class Mail
8228d085‐d922‐405d‐a3d5‐07652aaffb86                   Address Redacted                      First Class Mail
822cdb85‐6d43‐4f5e‐8b86‐c45014284a0f                   Address Redacted                      First Class Mail
8230a478‐7123‐452f‐bd69‐7c00ecb0c838                   Address Redacted                      First Class Mail
823f0e29‐7ce0‐46d0‐9f55‐ba4c571c0e84                   Address Redacted                      First Class Mail
8244bec5‐a5e0‐47a5‐8439‐7786d4fc4918                   Address Redacted                      First Class Mail
8249c238‐264e‐44e8‐9fb5‐e5c764e8fd78                   Address Redacted                      First Class Mail
824a48ef‐2509‐4f16‐bd54‐da6bfc4f2fb4                   Address Redacted                      First Class Mail
824a674a‐2a2f‐43a3‐a66b‐a0ddf3cdf9be                   Address Redacted                      First Class Mail
824ef5f4‐904a‐42cf‐8a92‐e6405a238d8f                   Address Redacted                      First Class Mail
82511677‐30af‐46ad‐a3ff‐0d00de8b7237                   Address Redacted                      First Class Mail
825a3209‐5b37‐49c8‐a182‐492ff2a0b16a                   Address Redacted                      First Class Mail
825cc99b‐a532‐4532‐aa77‐dc48b4be9e5c                   Address Redacted                      First Class Mail
825d56dc‐39bb‐487c‐97e0‐83cd6e835cf0                   Address Redacted                      First Class Mail
825d9293‐3aaa‐4035‐88eb‐0ac5018d4567                   Address Redacted                      First Class Mail
825dbc64‐eddd‐4e01‐bb95‐e72d11f29226                   Address Redacted                      First Class Mail
825de0c3‐4e33‐4a7b‐8c59‐23c9f217ed4c                   Address Redacted                      First Class Mail
8262fe10‐ed75‐46bb‐a967‐ac5a0f5c792f                   Address Redacted                      First Class Mail
8264accd‐9780‐456b‐8a39‐073f2c3ba458                   Address Redacted                      First Class Mail
8267d0a6‐c482‐4da6‐99aa‐39c0d49d929b                   Address Redacted                      First Class Mail
826831d8‐a7f7‐4c75‐85ae‐b628ed69f577                   Address Redacted                      First Class Mail
826ba2a6‐c11f‐4904‐8764‐3e516673f173                   Address Redacted                      First Class Mail
826be37d‐6e3a‐4db9‐a444‐54f98a13db03                   Address Redacted                      First Class Mail
826eaa22‐832b‐40d9‐8a74‐a3bf801b84f0                   Address Redacted                      First Class Mail
826f0a0f‐c21e‐461f‐935f‐198fe0331148                   Address Redacted                      First Class Mail
826f83dc‐8b75‐4b52‐b5f8‐d03c62031ccb                   Address Redacted                      First Class Mail
826ff8c7‐4f07‐430d‐bfbb‐b6b095fc8dd3                   Address Redacted                      First Class Mail
82707538‐2e4b‐428f‐89e9‐33a3db34c532                   Address Redacted                      First Class Mail
8270ae95‐deff‐49bd‐a7db‐95b335d4f93e                   Address Redacted                      First Class Mail
827313eb‐0f21‐4ba3‐8375‐7d28b8169f58                   Address Redacted                      First Class Mail
8275369c‐c12a‐40f6‐86d9‐b47cc3ead641                   Address Redacted                      First Class Mail
8275d035‐2292‐4504‐834e‐73ce85514c32                   Address Redacted                      First Class Mail
827b0435‐d2cd‐4f97‐9d07‐fc050b4ed17e                   Address Redacted                      First Class Mail
827be2ca‐a110‐45cd‐8139‐8c9cf75eb7ba                   Address Redacted                      First Class Mail
8281719d‐7f01‐49f7‐b51d‐1efdf9fc3e61                   Address Redacted                      First Class Mail
82852575‐e401‐419b‐9d92‐dcb9184944a1                   Address Redacted                      First Class Mail
828c8c4a‐5807‐4048‐9e6b‐a2b113b12ebd                   Address Redacted                      First Class Mail
828e4362‐5b98‐40c6‐b609‐9b819021a15c                   Address Redacted                      First Class Mail




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                              Name                                              Address                         Method of Service
828e8043‐a861‐4b43‐8662‐8364867f4f42                   Address Redacted                      First Class Mail
828f3b5b‐ba52‐442d‐bf3d‐e3cb583bca54                   Address Redacted                      First Class Mail
8290fe49‐3204‐43a8‐968b‐072a1b1fcfc0                   Address Redacted                      First Class Mail
82912f32‐aac1‐480a‐9354‐2aecef76da67                   Address Redacted                      First Class Mail
8291bdb0‐438a‐4dd6‐bfb2‐668620eb2ce7                   Address Redacted                      First Class Mail
82925341‐a7e0‐4964‐93d0‐28ac4dd802be                   Address Redacted                      First Class Mail
8292e6ce‐aed1‐484f‐bce7‐447131c699c7                   Address Redacted                      First Class Mail
8293d3a6‐a323‐4d1f‐9b0c‐aca882bd1e01                   Address Redacted                      First Class Mail
829c1178‐e995‐471f‐bee6‐5b177cdf9a7c                   Address Redacted                      First Class Mail
829e521d‐59b3‐4a8b‐b37d‐ad641e5cee2d                   Address Redacted                      First Class Mail
829eb6de‐69c2‐4122‐989c‐d0a8d16d8f0b                   Address Redacted                      First Class Mail
82a38e0e‐d5fc‐448e‐8b80‐992e94f3193d                   Address Redacted                      First Class Mail
82a442a8‐c0e2‐4879‐bb83‐e5a2972d2e70                   Address Redacted                      First Class Mail
82a4dd2b‐391d‐47cf‐9dc2‐905eb9fad736                   Address Redacted                      First Class Mail
82a70ba3‐92d3‐441b‐a175‐010f99999bde                   Address Redacted                      First Class Mail
82aa817f‐46eb‐4458‐8fd2‐1c40d9712ac4                   Address Redacted                      First Class Mail
82acb93a‐15e4‐4ea0‐b324‐eca960741ca6                   Address Redacted                      First Class Mail
82af0c8e‐4319‐4622‐9180‐571fe6c768f4                   Address Redacted                      First Class Mail
82b50fc9‐33a6‐405d‐b8a5‐7635001884a9                   Address Redacted                      First Class Mail
82b5f5c4‐8749‐4d23‐b9a0‐79e037775289                   Address Redacted                      First Class Mail
82b676ff‐fbbb‐4035‐b1c0‐7b9d634f5a6f                   Address Redacted                      First Class Mail
82b70647‐8ba1‐4af3‐90d4‐476a6eba65a3                   Address Redacted                      First Class Mail
82b82e4f‐a603‐4c3f‐8ba9‐27758fb9bdea                   Address Redacted                      First Class Mail
82bfae5e‐52e0‐4451‐8065‐e307920ea51b                   Address Redacted                      First Class Mail
82c1db6e‐c52d‐4e42‐a2b7‐1d66e95c4f69                   Address Redacted                      First Class Mail
82c20f71‐f320‐4139‐b594‐289facdb8ca2                   Address Redacted                      First Class Mail
82c2afa0‐a302‐4fb0‐93fc‐ed248653f61f                   Address Redacted                      First Class Mail
82c5db51‐470a‐47f7‐93a4‐6f8d07c5439d                   Address Redacted                      First Class Mail
82c961c0‐4a9c‐4ed8‐8d06‐99d071b69e42                   Address Redacted                      First Class Mail
82cd345c‐7018‐474c‐bec0‐028487b55642                   Address Redacted                      First Class Mail
82d548d8‐40f8‐41cb‐a710‐9dad0d8bd88e                   Address Redacted                      First Class Mail
82d82137‐f242‐4760‐850e‐297c26dc22af                   Address Redacted                      First Class Mail
82d98119‐e201‐4954‐8499‐24149905746d                   Address Redacted                      First Class Mail
82e6336c‐8eac‐4126‐ae81‐8c24244ecaa9                   Address Redacted                      First Class Mail
82e8ae99‐dc02‐4a8e‐a77f‐1be44c73b6a7                   Address Redacted                      First Class Mail
82ec1353‐a72e‐4494‐8d87‐d33389adc5cb                   Address Redacted                      First Class Mail
82f3bc03‐58af‐46a2‐99c6‐73387ce5937f                   Address Redacted                      First Class Mail
82f4dd6a‐c665‐4e40‐af5d‐914197dfafcc                   Address Redacted                      First Class Mail
82f87b28‐2205‐46f1‐8a01‐852a5ae97d61                   Address Redacted                      First Class Mail
82f87f82‐77e0‐46c5‐b8f0‐a9b1eb69091c                   Address Redacted                      First Class Mail
82fe0b6a‐e5a6‐4dec‐b9ab‐9175d097599b                   Address Redacted                      First Class Mail
82fe30ec‐8560‐4cc1‐8950‐d839c1c39c8b                   Address Redacted                      First Class Mail
82fee67e‐cd84‐4899‐8714‐cf007ddd88ab                   Address Redacted                      First Class Mail
83023d8e‐78c5‐4f68‐975e‐86687ebab5c9                   Address Redacted                      First Class Mail
8303970d‐4338‐4d7e‐a107‐0f2975b7cdb0                   Address Redacted                      First Class Mail
83046b57‐2f5a‐4604‐8ffa‐6a9e21666d9f                   Address Redacted                      First Class Mail
83053a5b‐02f3‐4ce3‐9b93‐1dd272d061d8                   Address Redacted                      First Class Mail
8305e6f0‐8b0a‐427c‐9659‐96aea98cc97d                   Address Redacted                      First Class Mail
830a41ff‐9354‐4609‐a3bf‐3325ce320313                   Address Redacted                      First Class Mail
830d7c0c‐4e36‐4bdc‐9caa‐ec6486337731                   Address Redacted                      First Class Mail
8315af14‐e996‐4a5a‐aaa0‐466df5367c07                   Address Redacted                      First Class Mail
831630e4‐695a‐4c0b‐aaf4‐34f976be1fb9                   Address Redacted                      First Class Mail
831a289f‐d6df‐439b‐9fcb‐9889f5b9b476                   Address Redacted                      First Class Mail
831fe31e‐8076‐425d‐9590‐ebf409abfb46                   Address Redacted                      First Class Mail
8321a2e1‐08c1‐4fe1‐a7c3‐42defb6278b5                   Address Redacted                      First Class Mail
832552fd‐6ca7‐471f‐9c15‐b581ed80b8b5                   Address Redacted                      First Class Mail
8329cdc9‐090a‐4e6b‐bf8a‐6e470646ffff                   Address Redacted                      First Class Mail
832aed3c‐59ce‐447b‐827c‐dc581c0d5e76                   Address Redacted                      First Class Mail
832c448b‐d95d‐4431‐8485‐95d147de43f9                   Address Redacted                      First Class Mail
832d55d6‐e11c‐48a0‐aff3‐6720eff3e95d                   Address Redacted                      First Class Mail
832d99ea‐c4bb‐4ea6‐b0ab‐9a0cc7dbdf3a                   Address Redacted                      First Class Mail
8331709a‐770d‐404c‐a14b‐360d63e6bc04                   Address Redacted                      First Class Mail
8331c1ab‐82ae‐4f55‐8a70‐76c2c2627d36                   Address Redacted                      First Class Mail
8331f106‐cccf‐4c7d‐9004‐d24297e73167                   Address Redacted                      First Class Mail
83385e36‐9bd3‐4b5f‐a737‐ba66a795b398                   Address Redacted                      First Class Mail
833b0733‐f0db‐4a42‐9b37‐d3322c41aeda                   Address Redacted                      First Class Mail
833d076b‐2d4f‐4f0d‐bb8e‐b8f471ea258e                   Address Redacted                      First Class Mail
833e914d‐7602‐40b3‐885f‐3b08b59e0d29                   Address Redacted                      First Class Mail
833f143a‐c90c‐427e‐bab3‐9141b4011761                   Address Redacted                      First Class Mail
833f5336‐012f‐4634‐ad62‐0c1209868f60                   Address Redacted                      First Class Mail
833f828c‐9a1c‐42d6‐93a1‐60b6107964ac                   Address Redacted                      First Class Mail
834317a2‐3df8‐40c3‐ac74‐e3063fb7c926                   Address Redacted                      First Class Mail




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                                                                Exhibit A
                                                                 Service List


                              Name                                              Address                         Method of Service
834357c1‐4ff9‐4ad1‐b358‐564eb55c9257                   Address Redacted                      First Class Mail
83445271‐74c4‐4960‐b98f‐900a08e252ef                   Address Redacted                      First Class Mail
83471317‐9851‐402e‐a8ff‐2edb1d98bc43                   Address Redacted                      First Class Mail
8349b6ae‐ec3e‐464f‐9452‐be45f0b878eb                   Address Redacted                      First Class Mail
834a33ad‐ed15‐496c‐8480‐b58fd51f9ff4                   Address Redacted                      First Class Mail
834b820a‐6302‐4159‐b41f‐6fb90d8a11ce                   Address Redacted                      First Class Mail
834efc20‐7862‐49bc‐a496‐1b8b370e1ce9                   Address Redacted                      First Class Mail
83562a95‐6460‐4f01‐9cc4‐0bb0a0b40237                   Address Redacted                      First Class Mail
835693a5‐185a‐470e‐8253‐d4627d62cc70                   Address Redacted                      First Class Mail
835938de‐3e0e‐467b‐80fc‐28cb188728d3                   Address Redacted                      First Class Mail
835ad080‐9b06‐4bc9‐a39f‐b032accc7ac2                   Address Redacted                      First Class Mail
835dfe24‐94ee‐4276‐a51c‐04ceb0bf81df                   Address Redacted                      First Class Mail
83607398‐2476‐43b7‐bc0b‐300648952ebf                   Address Redacted                      First Class Mail
836126ea‐3ade‐4f5f‐b067‐88650b0d147c                   Address Redacted                      First Class Mail
83627d82‐d5c1‐4be1‐8b14‐2e5f0e54bfba                   Address Redacted                      First Class Mail
8362b522‐9503‐4dbc‐8fbe‐fc5ac64bcd35                   Address Redacted                      First Class Mail
836699ce‐1537‐4d8d‐9e7c‐210d5336d1c0                   Address Redacted                      First Class Mail
836bff4f‐cb9a‐4f41‐b9b6‐54f7e9276167                   Address Redacted                      First Class Mail
836c56f0‐4c5d‐4738‐90ce‐9538345007e4                   Address Redacted                      First Class Mail
8371d995‐29ec‐4e77‐8041‐aaad586e8562                   Address Redacted                      First Class Mail
83725f59‐571d‐4f4c‐81c7‐71669724f9af                   Address Redacted                      First Class Mail
83739155‐44ef‐4f33‐984f‐dd91e04c1947                   Address Redacted                      First Class Mail
83740ac0‐1171‐4875‐803c‐e177bc73bf36                   Address Redacted                      First Class Mail
83761d5b‐ef64‐401d‐89d8‐26e2ca42138f                   Address Redacted                      First Class Mail
83776c19‐3ff7‐4348‐80d8‐c88e759e92b2                   Address Redacted                      First Class Mail
837ea53d‐7586‐4cce‐b4af‐1e3fbaf751f9                   Address Redacted                      First Class Mail
837ff90d‐42be‐46a0‐84fd‐e9d9d1780f1a                   Address Redacted                      First Class Mail
8381776f‐655f‐4596‐9455‐fe30dc13025e                   Address Redacted                      First Class Mail
838416d3‐9e19‐466e‐8764‐4dbdcd4b1fd3                   Address Redacted                      First Class Mail
8385f580‐fbd9‐4e78‐a2c1‐84f5401880c5                   Address Redacted                      First Class Mail
83873108‐9795‐4742‐9965‐e8e3ca83eb48                   Address Redacted                      First Class Mail
838a2170‐f624‐4657‐80c4‐bb60395c3021                   Address Redacted                      First Class Mail
838cf2d9‐d8fb‐40b3‐b754‐453a1741ad90                   Address Redacted                      First Class Mail
838f78d2‐8090‐4f70‐93a2‐87286919387e                   Address Redacted                      First Class Mail
8391e827‐24b0‐47a3‐9dd1‐aac52d00a27e                   Address Redacted                      First Class Mail
83948734‐87ce‐4488‐8e1a‐89568546f724                   Address Redacted                      First Class Mail
839d84f5‐138e‐4a00‐85a7‐6e7df244d4f6                   Address Redacted                      First Class Mail
83a4846d‐8471‐415e‐b433‐2acb36a626b2                   Address Redacted                      First Class Mail
83a4a859‐1131‐424e‐a51b‐744043d215c5                   Address Redacted                      First Class Mail
83a7fbe7‐539d‐4c21‐b5bc‐2baf0b27ab02                   Address Redacted                      First Class Mail
83b26a21‐78f3‐48c7‐aca0‐dbeacafcfce8                   Address Redacted                      First Class Mail
83b2b2d9‐86f0‐4988‐8c8a‐9db5a66746bc                   Address Redacted                      First Class Mail
83b4ced6‐d9b5‐4777‐b659‐ce4db05e87f5                   Address Redacted                      First Class Mail
83b513b9‐a810‐4102‐9bb1‐f802c2305f5c                   Address Redacted                      First Class Mail
83b6f7ed‐a754‐44e9‐9a46‐c3ae8a3eb155                   Address Redacted                      First Class Mail
83b9d65d‐b927‐415c‐af5d‐cdbaa59fc11e                   Address Redacted                      First Class Mail
83bbe6df‐6b01‐4da2‐9907‐5a838d448386                   Address Redacted                      First Class Mail
83bf461a‐83aa‐4fb4‐bb5b‐80ce31bc5428                   Address Redacted                      First Class Mail
83c0d5fb‐ce9e‐446e‐99b6‐2873cb2a889d                   Address Redacted                      First Class Mail
83c560ef‐0d48‐4552‐b072‐b876becee9bf                   Address Redacted                      First Class Mail
83c78e19‐1b21‐4997‐9aa6‐d3589195e381                   Address Redacted                      First Class Mail
83c7ffe6‐b762‐4a90‐8002‐f1e35f5c7c41                   Address Redacted                      First Class Mail
83cfe1df‐c8e4‐4305‐8939‐c7be78927605                   Address Redacted                      First Class Mail
83d1b8c0‐becc‐42f5‐96f5‐62c6c3e909c4                   Address Redacted                      First Class Mail
83d59983‐3767‐447a‐84b3‐528ee62c2762                   Address Redacted                      First Class Mail
83d67f9e‐733c‐453b‐9a42‐337c0e73160a                   Address Redacted                      First Class Mail
83d6e929‐106c‐45c8‐8242‐c960537c5f31                   Address Redacted                      First Class Mail
83d8d4c7‐edf1‐444b‐bac5‐37e32ed5b178                   Address Redacted                      First Class Mail
83da8c17‐09a3‐4c59‐a472‐b9f668456cab                   Address Redacted                      First Class Mail
83df74de‐7a77‐4cee‐ac42‐49288619684d                   Address Redacted                      First Class Mail
83e2c294‐532f‐4645‐95bd‐0d57cf5f7dbc                   Address Redacted                      First Class Mail
83e6fddc‐7526‐4075‐9ffb‐bd89ba7a0ec1                   Address Redacted                      First Class Mail
83e7d1ca‐5cec‐4d2d‐b138‐c2ad4f728db3                   Address Redacted                      First Class Mail
83f02b8d‐be85‐4a7a‐b815‐c1e92b88dad6                   Address Redacted                      First Class Mail
83f1d423‐5999‐4e69‐8013‐05ab0f611275                   Address Redacted                      First Class Mail
83f44938‐b0a6‐4c83‐bb5b‐6678c4bfac19                   Address Redacted                      First Class Mail
83f89e03‐734b‐4f26‐b960‐ca8a1230cce0                   Address Redacted                      First Class Mail
83fff121‐267c‐450c‐be96‐b849ebbea11a                   Address Redacted                      First Class Mail
8401c5f7‐17b4‐4377‐a1b0‐17ebcf9faaa3                   Address Redacted                      First Class Mail
8407362d‐4faa‐447b‐b235‐a4356f698bae                   Address Redacted                      First Class Mail
8408dce6‐d87b‐4ee1‐b66b‐245f5c03d0cc                   Address Redacted                      First Class Mail
840993af‐319f‐4c65‐b4c1‐9020f11d986b                   Address Redacted                      First Class Mail




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                                                                Exhibit A
                                                                 Service List


                              Name                                              Address                         Method of Service
840c20d2‐fe87‐4c0c‐9ca4‐386a56a9de10                   Address Redacted                      First Class Mail
840f5bbe‐3a21‐4f89‐8f0e‐630f63b6878b                   Address Redacted                      First Class Mail
84146b5b‐b099‐47c7‐9d2b‐8902f43cb092                   Address Redacted                      First Class Mail
841512b5‐26b8‐4bfd‐8f70‐2293e1b6aeb2                   Address Redacted                      First Class Mail
8417d125‐c585‐4073‐b337‐2d505fab45df                   Address Redacted                      First Class Mail
84191d1c‐8707‐4079‐ab45‐59fbda6f3980                   Address Redacted                      First Class Mail
841a4bd9‐b825‐47db‐9be2‐ca9ad09a90b6                   Address Redacted                      First Class Mail
841c8374‐d28e‐4800‐b3af‐4d9eaaf165c0                   Address Redacted                      First Class Mail
84256de8‐cdcb‐49cb‐9c32‐fae2a27f9951                   Address Redacted                      First Class Mail
842a7ea0‐f216‐432c‐98e2‐38c9c86a5f27                   Address Redacted                      First Class Mail
842b4021‐a2a6‐41d7‐89a6‐a4d39c4ffab4                   Address Redacted                      First Class Mail
842f06a8‐7ecc‐4212‐944a‐2298b9a9cdad                   Address Redacted                      First Class Mail
8435e99f‐aa95‐42fb‐973d‐2d96a5910f81                   Address Redacted                      First Class Mail
843b14ac‐8ccc‐4cc0‐8249‐c083e4083145                   Address Redacted                      First Class Mail
843df861‐3ea3‐448d‐a53a‐3cc9485581fb                   Address Redacted                      First Class Mail
8444aeb7‐5b6f‐447c‐be0a‐f4c7696e964d                   Address Redacted                      First Class Mail
8444f8ad‐beb5‐493b‐8d39‐e87248e37d92                   Address Redacted                      First Class Mail
8445721d‐34cd‐4148‐bf92‐4e72f901f1b5                   Address Redacted                      First Class Mail
844e6cf7‐af79‐44d0‐a6af‐85086b9b5e77                   Address Redacted                      First Class Mail
8453fba1‐2f7b‐4288‐8265‐c8d7587146f0                   Address Redacted                      First Class Mail
84546b40‐6368‐4877‐b4be‐448f91b3d679                   Address Redacted                      First Class Mail
8454db52‐3582‐4785‐bd3f‐433cc03fd849                   Address Redacted                      First Class Mail
84559e14‐c593‐4bc6‐abe2‐d9bdb185ea92                   Address Redacted                      First Class Mail
84574431‐a326‐43ee‐9dab‐5b3a218f2344                   Address Redacted                      First Class Mail
8458713d‐7236‐4aff‐b106‐bf6d9e5be40e                   Address Redacted                      First Class Mail
84599aa4‐b5db‐47e4‐a86d‐7ba6eb6bb14c                   Address Redacted                      First Class Mail
845e8a50‐a379‐42b6‐a470‐880456212749                   Address Redacted                      First Class Mail
845f9f3a‐fb5a‐4a02‐a8f8‐7dfc52502f17                   Address Redacted                      First Class Mail
8460f3bd‐4804‐4844‐b429‐3e8f151b1f8c                   Address Redacted                      First Class Mail
84612696‐4647‐46eb‐82a7‐9b5031a3c545                   Address Redacted                      First Class Mail
846210e3‐60f7‐47b7‐b332‐76314004ad88                   Address Redacted                      First Class Mail
8463f457‐03d3‐464d‐bc5c‐8de500ca17a1                   Address Redacted                      First Class Mail
84664bff‐691b‐471b‐a627‐a6a23ec12d0f                   Address Redacted                      First Class Mail
846a69cb‐3538‐486a‐8c0d‐d310798fbdc1                   Address Redacted                      First Class Mail
846a7ee4‐c117‐42ac‐a0fb‐054d51ebb7c9                   Address Redacted                      First Class Mail
846ba567‐0093‐4995‐a4f5‐9b44bf160ee6                   Address Redacted                      First Class Mail
846e24d3‐57d6‐4e5e‐bba0‐8aab16d9bf03                   Address Redacted                      First Class Mail
846e9931‐5823‐4404‐a701‐e4f789b6ddfd                   Address Redacted                      First Class Mail
8470254e‐df20‐4645‐ae88‐85811af04eee                   Address Redacted                      First Class Mail
8478630d‐45cd‐44d3‐ba7c‐c5fb42f34451                   Address Redacted                      First Class Mail
847a72b4‐89b0‐43e6‐99e2‐5e5c23e3a0d1                   Address Redacted                      First Class Mail
847ee201‐c29b‐45d0‐acf5‐3a6b4034ea56                   Address Redacted                      First Class Mail
847eed34‐fa8a‐454a‐9e33‐5eeea8cd0aeb                   Address Redacted                      First Class Mail
847f24dc‐3f31‐4c89‐93a4‐fd0049fb0764                   Address Redacted                      First Class Mail
8481e0fa‐7484‐47d7‐ae9f‐441c1333bdff                   Address Redacted                      First Class Mail
848709bd‐c438‐425b‐b22f‐d7343ce7851e                   Address Redacted                      First Class Mail
848a474b‐518c‐4045‐9965‐02cb056e9b67                   Address Redacted                      First Class Mail
848aa6f2‐a202‐4aa0‐9187‐0819ff83116c                   Address Redacted                      First Class Mail
848ad932‐b844‐4665‐8222‐38b8f0520d44                   Address Redacted                      First Class Mail
848ec73e‐7a1c‐48c9‐933a‐5beb50454b6c                   Address Redacted                      First Class Mail
84911874‐7e71‐475d‐ab6f‐821b29b95ad7                   Address Redacted                      First Class Mail
8494604a‐26b3‐46c4‐a7cb‐e2ef23f9136e                   Address Redacted                      First Class Mail
8495eab3‐5395‐4254‐ba81‐8c957a9729d9                   Address Redacted                      First Class Mail
84969b3c‐31b8‐4b87‐b423‐aca41e716b21                   Address Redacted                      First Class Mail
8496f8ed‐1261‐4998‐a1a5‐ed59e28deea2                   Address Redacted                      First Class Mail
8497b967‐36a4‐479f‐9139‐66ec59260a50                   Address Redacted                      First Class Mail
84986d93‐12a4‐4c51‐acd3‐5f83d2dc646a                   Address Redacted                      First Class Mail
849c41d5‐6615‐462e‐9e69‐4f5ccf1eef2e                   Address Redacted                      First Class Mail
849e2fd1‐a4c1‐492c‐9415‐4bb9fddcd122                   Address Redacted                      First Class Mail
849f3418‐0608‐41ce‐b4da‐f1c95a7a7046                   Address Redacted                      First Class Mail
849fd3e9‐66b8‐4ac7‐8444‐6e7f6162a143                   Address Redacted                      First Class Mail
84a0700f‐bc09‐4344‐9543‐98c129df1cc4                   Address Redacted                      First Class Mail
84a1c916‐6861‐41ee‐addd‐985c384fa1bd                   Address Redacted                      First Class Mail
84a5322f‐ebaf‐444e‐a5f6‐0cd176f858cb                   Address Redacted                      First Class Mail
84a5fae7‐4f36‐4f9d‐842f‐0a960595fb11                   Address Redacted                      First Class Mail
84a86955‐b00d‐4500‐a082‐99cd7f8345bb                   Address Redacted                      First Class Mail
84ab3526‐e160‐4408‐b289‐56e315f16e6c                   Address Redacted                      First Class Mail
84acc5cf‐69a0‐48d5‐a478‐60c23ea53f69                   Address Redacted                      First Class Mail
84ad45fa‐ccf4‐4d65‐bffd‐f74bb1992e30                   Address Redacted                      First Class Mail
84b15e3d‐213c‐44bb‐b02c‐f366e41915fb                   Address Redacted                      First Class Mail
84b4b732‐da5b‐4d42‐91dc‐028bd4df1284                   Address Redacted                      First Class Mail
84b912a9‐2de5‐451a‐ba30‐4706e91966bf                   Address Redacted                      First Class Mail




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                              Name                                              Address                         Method of Service
84ba4f1e‐a8b5‐4f38‐93cf‐66a7b97df98d                   Address Redacted                      First Class Mail
84bbdfee‐b5ba‐4053‐bda7‐735bb04ae585                   Address Redacted                      First Class Mail
84bd041c‐4863‐4bdc‐8224‐a496c2c026da                   Address Redacted                      First Class Mail
84c1cec4‐f00a‐4c79‐9754‐65bd20bf63d6                   Address Redacted                      First Class Mail
84c52288‐9e9e‐4612‐a902‐1a01155929f5                   Address Redacted                      First Class Mail
84c6c7a8‐b00b‐4546‐a1f1‐2c3869a9de19                   Address Redacted                      First Class Mail
84c7d3e5‐4dda‐444f‐90ff‐798142903c83                   Address Redacted                      First Class Mail
84c8ef2d‐fed0‐4967‐8752‐b41b7cd31c38                   Address Redacted                      First Class Mail
84d2261e‐87b6‐4125‐af1f‐b2d75f7bc3b5                   Address Redacted                      First Class Mail
84d30e9f‐d7bb‐4394‐b655‐591543e7adeb                   Address Redacted                      First Class Mail
84d3258b‐90bf‐4557‐9375‐f40a6daeeac3                   Address Redacted                      First Class Mail
84d5ae54‐78bb‐49ea‐8b41‐c2ce6f105fdc                   Address Redacted                      First Class Mail
84d6d859‐f244‐49ba‐a012‐8449db901aa2                   Address Redacted                      First Class Mail
84dc02ee‐6441‐4328‐a7c5‐eec022c002c3                   Address Redacted                      First Class Mail
84def89c‐6007‐4a2a‐8de5‐7090fd9583b4                   Address Redacted                      First Class Mail
84e0b3ce‐d05d‐481c‐b171‐656f5ed6ef27                   Address Redacted                      First Class Mail
84e20406‐74d9‐4169‐bbb1‐deee15ae5db5                   Address Redacted                      First Class Mail
84e4efd5‐b46d‐44ae‐bf1e‐2a5bcbdce536                   Address Redacted                      First Class Mail
84e74202‐e010‐4297‐b011‐14a16deeda73                   Address Redacted                      First Class Mail
84ea399c‐ca3e‐468a‐aff8‐289667d1be57                   Address Redacted                      First Class Mail
84ea6bc4‐e3c8‐4686‐9763‐70cb3b63813d                   Address Redacted                      First Class Mail
84eb4975‐a0f0‐4928‐8f95‐ea1ad97c699a                   Address Redacted                      First Class Mail
84ec65be‐6f60‐4e08‐8531‐f7c5f5811d1c                   Address Redacted                      First Class Mail
84ec859f‐5261‐48cd‐ba38‐226855d0713d                   Address Redacted                      First Class Mail
84ef5cd4‐d11a‐4076‐871f‐f1dbccfe3399                   Address Redacted                      First Class Mail
84ef6af6‐428f‐4d6c‐946f‐c20f56131d0f                   Address Redacted                      First Class Mail
84ef9bcc‐572b‐4c92‐a4e1‐6455f9d0fc2f                   Address Redacted                      First Class Mail
84f4b6fa‐80c5‐4428‐bea7‐3a87b7bb37dc                   Address Redacted                      First Class Mail
84f51ea3‐8cda‐47b1‐9346‐2ce79a347740                   Address Redacted                      First Class Mail
84f5c11f‐8812‐4806‐a385‐d4b372834e7c                   Address Redacted                      First Class Mail
84fc6109‐9846‐47e5‐b0d0‐472f693695f0                   Address Redacted                      First Class Mail
84fe2a55‐f353‐4fcb‐90a8‐8bc64215e8e1                   Address Redacted                      First Class Mail
84fe5c82‐21e3‐4888‐a0b4‐e9d5b4226d07                   Address Redacted                      First Class Mail
84ff4c30‐8061‐4688‐8a63‐8998dacddbe1                   Address Redacted                      First Class Mail
84ff8c72‐e9ff‐430c‐b088‐2745bde0e87c                   Address Redacted                      First Class Mail
84ff9b3f‐4aae‐41fe‐8ef8‐254a28899750                   Address Redacted                      First Class Mail
8506705d‐0254‐4e49‐b37f‐1bf3c985407b                   Address Redacted                      First Class Mail
850842a4‐7d22‐4abc‐8b0f‐cd95c624a384                   Address Redacted                      First Class Mail
850c7e31‐2fa6‐485d‐998e‐01a81e029baf                   Address Redacted                      First Class Mail
850eb024‐5c20‐49e4‐ae5f‐96869fb7b2ea                   Address Redacted                      First Class Mail
850f778e‐ed2a‐422f‐a0ad‐8db22b22e9b5                   Address Redacted                      First Class Mail
850fa42d‐ced5‐47c0‐a630‐d3338f17a9eb                   Address Redacted                      First Class Mail
85134bdb‐b3e5‐4cf8‐99de‐f681ec7d0b9b                   Address Redacted                      First Class Mail
851e65da‐a997‐4d3d‐83c2‐025dc0afab0b                   Address Redacted                      First Class Mail
85221ab6‐dd08‐4d2e‐b18e‐39713fef858f                   Address Redacted                      First Class Mail
8526096e‐e7af‐4520‐ba10‐6fd4ee0a5761                   Address Redacted                      First Class Mail
8529f7ab‐dc97‐4678‐a9b3‐c1d6500d98f2                   Address Redacted                      First Class Mail
852a2ed5‐30ec‐48d2‐aaca‐e9438c657399                   Address Redacted                      First Class Mail
852d0986‐3dc8‐4f5c‐a934‐0c1a1367ae37                   Address Redacted                      First Class Mail
852d5e09‐53d1‐4ebd‐8b41‐39d645f31f03                   Address Redacted                      First Class Mail
85319c68‐5212‐4def‐93be‐3be6cc386866                   Address Redacted                      First Class Mail
853ec9a9‐9a57‐467e‐a021‐c8711b8eea02                   Address Redacted                      First Class Mail
8542f455‐4e3a‐41d4‐bd5a‐90088e17c573                   Address Redacted                      First Class Mail
85450ba0‐35ff‐4809‐a7e9‐7dd15f16965a                   Address Redacted                      First Class Mail
85480441‐c9a6‐4bbc‐af09‐f50e4d962083                   Address Redacted                      First Class Mail
854e7608‐b203‐4684‐a74a‐9832bc570f5a                   Address Redacted                      First Class Mail
85545060‐9e8d‐4075‐a25e‐9c7eb4ba7c38                   Address Redacted                      First Class Mail
85547680‐cc63‐47f4‐8f85‐fe36ebcdb758                   Address Redacted                      First Class Mail
8554f640‐f447‐43b2‐845c‐ca768bb47d85                   Address Redacted                      First Class Mail
8555862d‐3648‐4de2‐83f1‐08bc47bd816e                   Address Redacted                      First Class Mail
8558fea5‐0cc6‐473a‐981c‐b04798da3e52                   Address Redacted                      First Class Mail
855919ca‐8e6e‐4b0b‐bd59‐c1812587d8a8                   Address Redacted                      First Class Mail
855a63e9‐4ec3‐4aed‐b947‐9da588b30834                   Address Redacted                      First Class Mail
855b9b3d‐09b0‐4acf‐a545‐0f2ab86553ee                   Address Redacted                      First Class Mail
855c9b21‐181d‐4026‐aba6‐883309c2ae08                   Address Redacted                      First Class Mail
855cb1b6‐8ea0‐4810‐acb0‐1d9e0418bb0e                   Address Redacted                      First Class Mail
855ee661‐aa4c‐45dc‐a29f‐7899837f332f                   Address Redacted                      First Class Mail
855eea8a‐2e72‐4833‐8426‐cb30748854c3                   Address Redacted                      First Class Mail
85606eaa‐138e‐4943‐b173‐1a653ecbed02                   Address Redacted                      First Class Mail
8560ef38‐fae0‐4bf5‐a6cd‐59941fbe3384                   Address Redacted                      First Class Mail
8561df12‐823f‐4cba‐8426‐a32057db49d5                   Address Redacted                      First Class Mail
85628b3f‐d571‐488c‐930c‐73eb4aa3eec2                   Address Redacted                      First Class Mail




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                                                                Exhibit A
                                                                 Service List


                              Name                                              Address                         Method of Service
8563a983‐f9d4‐45e4‐b593‐2b2499577bb1                   Address Redacted                      First Class Mail
8564a2fc‐c9b4‐4cb3‐b25b‐a3044a7344d6                   Address Redacted                      First Class Mail
85680a44‐5561‐4954‐9803‐887051829e7c                   Address Redacted                      First Class Mail
8568bca9‐0970‐45bb‐ba04‐53d77e8a16b0                   Address Redacted                      First Class Mail
85691298‐7e97‐4877‐8f54‐74c7e2961cb7                   Address Redacted                      First Class Mail
857463f3‐308e‐439e‐9961‐409b39b944ea                   Address Redacted                      First Class Mail
85765ce7‐6486‐4488‐b7ab‐b4d0237d5582                   Address Redacted                      First Class Mail
85782c09‐83af‐48a3‐9ee7‐1a6a74501625                   Address Redacted                      First Class Mail
857b6372‐a592‐4a2c‐b444‐d1143bdbb22f                   Address Redacted                      First Class Mail
857b842b‐9e65‐4f7b‐bed7‐50f53576dc6a                   Address Redacted                      First Class Mail
857cab3d‐6f7b‐46bf‐8d99‐bb8f21c5279b                   Address Redacted                      First Class Mail
857cc58a‐3f56‐4963‐b8e9‐1bccb94fd7ea                   Address Redacted                      First Class Mail
858073a2‐2bd3‐449f‐9fff‐909dcc9dc34f                   Address Redacted                      First Class Mail
85825aab‐7e36‐4670‐b9b9‐a7c090bcc0a6                   Address Redacted                      First Class Mail
858da495‐b70c‐4e44‐a722‐bfa4c28ff6ad                   Address Redacted                      First Class Mail
858f9134‐8cde‐47a1‐b607‐c192d39509b1                   Address Redacted                      First Class Mail
85975f91‐5bef‐4dbf‐a4c5‐b99cd5db847a                   Address Redacted                      First Class Mail
859a54e5‐f1d4‐42ed‐b93b‐886e21dccb93                   Address Redacted                      First Class Mail
859b92af‐beb0‐4d7f‐a503‐6a39e9e8b161                   Address Redacted                      First Class Mail
859ed8dc‐b228‐44c2‐89f7‐c419cbfeebe0                   Address Redacted                      First Class Mail
859f0b26‐848b‐4586‐8e01‐b21cd736d8d1                   Address Redacted                      First Class Mail
859f77c7‐9498‐4a3f‐8138‐42b8987c1f83                   Address Redacted                      First Class Mail
859f79c4‐d07a‐4b05‐917e‐10499917c8f9                   Address Redacted                      First Class Mail
859fc210‐d48d‐445b‐bf1c‐6f4a4d37cf1c                   Address Redacted                      First Class Mail
85a8820e‐6674‐40b2‐bdf0‐bb41ea3e96d4                   Address Redacted                      First Class Mail
85a9ea12‐ef00‐45de‐9289‐ce0a76a60bd8                   Address Redacted                      First Class Mail
85abf34a‐0a9d‐48a0‐b2f8‐7765e0143e2b                   Address Redacted                      First Class Mail
85acc32e‐362e‐4f91‐bb47‐4dc06a07db9a                   Address Redacted                      First Class Mail
85b21fa5‐df1e‐4ed5‐89df‐0e5f82c934b2                   Address Redacted                      First Class Mail
85b256ce‐466a‐436e‐8616‐42810f688740                   Address Redacted                      First Class Mail
85b2b9d3‐4225‐4e89‐963e‐83e56d3ef665                   Address Redacted                      First Class Mail
85b3ba78‐b221‐4a39‐a2aa‐3850c6a0c4cd                   Address Redacted                      First Class Mail
85b71974‐16c0‐4e8a‐91c1‐f7cb8c1c3412                   Address Redacted                      First Class Mail
85b7acb5‐ea88‐4132‐849d‐4191aed674ce                   Address Redacted                      First Class Mail
85b9e248‐27fc‐4672‐80f2‐bc471f0ed273                   Address Redacted                      First Class Mail
85bbb3c6‐b78c‐4c8f‐b9c6‐0473e86299bb                   Address Redacted                      First Class Mail
85c297c0‐8a22‐4d62‐84e4‐525bfad95d48                   Address Redacted                      First Class Mail
85c3e2c4‐9f42‐41a4‐8165‐4fbb1eb4c122                   Address Redacted                      First Class Mail
85c40c15‐8c4e‐46af‐9baf‐685cd783694a                   Address Redacted                      First Class Mail
85c4e44c‐72e8‐4eb7‐848b‐855628672701                   Address Redacted                      First Class Mail
85c7671c‐9b86‐450a‐99fb‐219c86f6a2b9                   Address Redacted                      First Class Mail
85c947f6‐e5c5‐4047‐9c00‐0aab6e549c1e                   Address Redacted                      First Class Mail
85d0c285‐c6dd‐4f7e‐bdea‐35c9f5dc2925                   Address Redacted                      First Class Mail
85d271a2‐1c00‐4a61‐a4d9‐a4fbecee3493                   Address Redacted                      First Class Mail
85d2869f‐a32a‐4adc‐a57c‐3cc819a39b10                   Address Redacted                      First Class Mail
85d51cce‐dfce‐4e74‐b042‐48b268a768f8                   Address Redacted                      First Class Mail
85dadc73‐c7ac‐4b5e‐8491‐1a709ffcbba2                   Address Redacted                      First Class Mail
85dd7103‐46d5‐4e1c‐af05‐ce3fe840086c                   Address Redacted                      First Class Mail
85deccd4‐e81e‐4a0f‐936e‐a5c86aef3701                   Address Redacted                      First Class Mail
85e24ab7‐4322‐4f0b‐9329‐fd11e0b42677                   Address Redacted                      First Class Mail
85fd099d‐3c07‐43dc‐8bae‐df64f90f6fd0                   Address Redacted                      First Class Mail
85fe38f7‐e8bc‐4f2e‐b028‐7cf2c9063c61                   Address Redacted                      First Class Mail
85ff4948‐c0af‐4078‐ac42‐a1704169f94a                   Address Redacted                      First Class Mail
8603fc58‐3cf8‐4a98‐83bb‐399c0f99389e                   Address Redacted                      First Class Mail
8604d5b0‐4932‐4f9d‐bd0d‐56412b2bf9d5                   Address Redacted                      First Class Mail
8604fb7f‐a276‐4bae‐b6a1‐798efc3f1345                   Address Redacted                      First Class Mail
8607c2e7‐37de‐4f00‐8923‐a7fbaca4227c                   Address Redacted                      First Class Mail
860a3f34‐4009‐400f‐889e‐06ed0b04e814                   Address Redacted                      First Class Mail
860de2ed‐5eb0‐4b75‐810a‐12733ae53f2a                   Address Redacted                      First Class Mail
86134958‐1740‐49fd‐a3dd‐abf32b456c1f                   Address Redacted                      First Class Mail
86168ccb‐cbe2‐4d14‐a653‐aa6c58dff51e                   Address Redacted                      First Class Mail
861ac5a5‐ab38‐4346‐9c37‐1a06379ae5a9                   Address Redacted                      First Class Mail
861c90d9‐1bf9‐46f8‐8e66‐5d970ec0619e                   Address Redacted                      First Class Mail
86216dc5‐5e95‐4520‐a4bd‐5c71eff653c0                   Address Redacted                      First Class Mail
86255f0c‐f844‐464e‐aa3d‐672ce67dd356                   Address Redacted                      First Class Mail
8625e48e‐3f3b‐4a0e‐801c‐646622256704                   Address Redacted                      First Class Mail
86276bff‐0701‐4ad3‐9306‐109101e7b6b3                   Address Redacted                      First Class Mail
86276c3f‐c304‐4663‐8433‐d4dfcdcc62cc                   Address Redacted                      First Class Mail
8628735c‐e095‐4763‐8d66‐747b973e3fc9                   Address Redacted                      First Class Mail
862a57f6‐4160‐4d35‐bffa‐f9a93903adf7                   Address Redacted                      First Class Mail
862a7473‐0f92‐4797‐9c31‐1ddcc15c71b2                   Address Redacted                      First Class Mail
862edba9‐9435‐43a7‐96f2‐a0cb2962163b                   Address Redacted                      First Class Mail




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                                                                Exhibit A
                                                                 Service List


                              Name                                              Address                         Method of Service
86315339‐1caf‐463f‐91c6‐f956092590cd                   Address Redacted                      First Class Mail
863169d1‐90ad‐4582‐9e07‐5a4ec649278d                   Address Redacted                      First Class Mail
86347195‐30e7‐4241‐a875‐6dff1ba9b8fc                   Address Redacted                      First Class Mail
86348a6a‐557d‐49af‐bdac‐2d64e0b265e2                   Address Redacted                      First Class Mail
863635fb‐a76a‐4618‐b578‐a8a9a2d051eb                   Address Redacted                      First Class Mail
86367e45‐a384‐45fa‐8050‐c0faf2e16b33                   Address Redacted                      First Class Mail
86384b9f‐54be‐4d80‐b117‐c80bc3cae282                   Address Redacted                      First Class Mail
8638ba86‐87ee‐442e‐9f80‐a90392d0a661                   Address Redacted                      First Class Mail
86424364‐5b21‐4fe0‐b005‐612cf506ee26                   Address Redacted                      First Class Mail
864435ff‐5363‐4103‐822a‐d78ed1c8b7f4                   Address Redacted                      First Class Mail
8644d5c2‐7f5d‐4c0b‐8130‐8d474020da32                   Address Redacted                      First Class Mail
86456558‐a594‐47c3‐a992‐e25c096bdbd3                   Address Redacted                      First Class Mail
86466210‐e315‐4f9e‐b606‐3c8b114e3833                   Address Redacted                      First Class Mail
8646cde5‐97e5‐4571‐a0ec‐3a0a90c72d1e                   Address Redacted                      First Class Mail
86497d0e‐ccaf‐42f7‐a4a5‐b871b5bac49a                   Address Redacted                      First Class Mail
86505a2b‐29b4‐46fe‐ae38‐ad4556330f8b                   Address Redacted                      First Class Mail
8651f918‐031a‐4ac9‐925f‐0aa91e9fa711                   Address Redacted                      First Class Mail
86532c39‐76d9‐40cf‐8194‐7c2d1832a932                   Address Redacted                      First Class Mail
865587ee‐0105‐43d4‐8d34‐2624059135fd                   Address Redacted                      First Class Mail
865d4974‐24d3‐4dfa‐abc0‐a2d16150fdc9                   Address Redacted                      First Class Mail
865d913f‐8e56‐4818‐a955‐6f1e4e6a8e01                   Address Redacted                      First Class Mail
865f9eb9‐0a1e‐4975‐aefb‐201683e2bd0d                   Address Redacted                      First Class Mail
86620fdf‐e923‐4619‐afcf‐6f5450d11ec8                   Address Redacted                      First Class Mail
86690b33‐b7a3‐4899‐8413‐67a6c6635b8c                   Address Redacted                      First Class Mail
866a853a‐0f1a‐45fe‐beff‐0d1f83a453f8                   Address Redacted                      First Class Mail
866ec413‐54d8‐43ab‐9940‐6250fc035762                   Address Redacted                      First Class Mail
866edba2‐75d4‐4b5e‐a257‐d81a3eafef5a                   Address Redacted                      First Class Mail
86701449‐c69e‐4ef5‐b1cb‐33639558cac0                   Address Redacted                      First Class Mail
86705187‐54f9‐4553‐881c‐2227f501548f                   Address Redacted                      First Class Mail
8671f6ab‐45b2‐430b‐803c‐a3ed0c422b93                   Address Redacted                      First Class Mail
8673b6c0‐c671‐45fb‐9ed8‐c2c608a79682                   Address Redacted                      First Class Mail
8674e788‐8fec‐43f1‐aedc‐1ac361e433d1                   Address Redacted                      First Class Mail
867940a7‐815d‐45cd‐ba5c‐6299018c9b77                   Address Redacted                      First Class Mail
8679b8b1‐ed65‐48ad‐9f6c‐9806321120bc                   Address Redacted                      First Class Mail
8679c90b‐4baa‐4253‐878e‐76748f39e272                   Address Redacted                      First Class Mail
868014f0‐9fa6‐468b‐9fb8‐3c9161a0dabf                   Address Redacted                      First Class Mail
86813b5d‐fbe4‐47f4‐a4ee‐3c7b6bca8dd9                   Address Redacted                      First Class Mail
8681c92b‐5aca‐4fb3‐aac5‐a81cf15815b5                   Address Redacted                      First Class Mail
86843850‐aed7‐4a82‐b88d‐9727fd0c3703                   Address Redacted                      First Class Mail
868619ec‐3ff7‐4a29‐8a2c‐a963af952825                   Address Redacted                      First Class Mail
868f2823‐6dde‐47a0‐8c8d‐88cc91d62eeb                   Address Redacted                      First Class Mail
868f56c6‐374d‐4177‐bd62‐e82cb54ae991                   Address Redacted                      First Class Mail
8695dc01‐0b43‐4eee‐8b3a‐6bb5b952dc03                   Address Redacted                      First Class Mail
8697011f‐967e‐4810‐8508‐100d5e3ca3d4                   Address Redacted                      First Class Mail
86979f52‐f731‐4c0a‐b8b3‐7598bbc34171                   Address Redacted                      First Class Mail
86980dd7‐ff03‐44b1‐835d‐d5dbe8e3d505                   Address Redacted                      First Class Mail
869bb1b1‐af90‐4f75‐86a3‐784444713eb2                   Address Redacted                      First Class Mail
869e7912‐8b7a‐4de9‐842c‐8eaed906efba                   Address Redacted                      First Class Mail
86a1a2b6‐a7f9‐4812‐bb9f‐8bc598ff5497                   Address Redacted                      First Class Mail
86a75f19‐9922‐4279‐8eee‐ca70b9a953c0                   Address Redacted                      First Class Mail
86aa111b‐6972‐423c‐9394‐2db7dd40c5bb                   Address Redacted                      First Class Mail
86aa4f57‐6d7f‐4204‐93d9‐8088ef3e7a45                   Address Redacted                      First Class Mail
86ab3a07‐6269‐412a‐a4cc‐1a1dd35e22e2                   Address Redacted                      First Class Mail
86aef103‐8f30‐4ad3‐8624‐fc400ebfcc05                   Address Redacted                      First Class Mail
86af0c77‐b805‐41c0‐a3b2‐486d580f6b77                   Address Redacted                      First Class Mail
86b154d7‐eff0‐4d2e‐be89‐c92e14a81398                   Address Redacted                      First Class Mail
86b1e095‐8f4f‐4cc3‐9ee3‐824a74ef68b6                   Address Redacted                      First Class Mail
86b2475c‐9399‐42a1‐9973‐c53817477e7b                   Address Redacted                      First Class Mail
86b65461‐713a‐4b09‐9f7b‐e80f182e3fdb                   Address Redacted                      First Class Mail
86b6cd04‐ec33‐46a0‐a782‐da54d85422ec                   Address Redacted                      First Class Mail
86b98750‐a347‐48cd‐9239‐6a3138c193aa                   Address Redacted                      First Class Mail
86c2b7c0‐584a‐494c‐ba29‐fbea0ff82f44                   Address Redacted                      First Class Mail
86c434e8‐681a‐44ec‐b5f9‐9db4cf7c6bee                   Address Redacted                      First Class Mail
86c49df9‐878d‐4767‐a4c2‐9aa63ddfa926                   Address Redacted                      First Class Mail
86c706d3‐6f53‐4db1‐b333‐407fb31b4994                   Address Redacted                      First Class Mail
86c9bb0c‐3648‐4c06‐9421‐48b2fbe60f43                   Address Redacted                      First Class Mail
86ccbc7d‐151a‐4ce1‐b017‐a9c50a205e35                   Address Redacted                      First Class Mail
86cce09b‐b244‐45ab‐9118‐9fb966f5243f                   Address Redacted                      First Class Mail
86cdd375‐d187‐4335‐b753‐306157b86d95                   Address Redacted                      First Class Mail
86d58278‐c7cc‐4809‐a347‐1941cd3af51a                   Address Redacted                      First Class Mail
86d7ef5c‐471b‐44f0‐9ac0‐762391a32b89                   Address Redacted                      First Class Mail
86d8ef46‐ad53‐46f0‐bd5c‐11c318f96d4b                   Address Redacted                      First Class Mail




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                              Name                                              Address                         Method of Service
86dc668a‐f808‐49c7‐974a‐bb87bcec1572                   Address Redacted                      First Class Mail
86de15d1‐5bce‐48f4‐9e43‐1c8846f4a1aa                   Address Redacted                      First Class Mail
86def7d6‐b1b9‐45a3‐9a71‐5c97314206f9                   Address Redacted                      First Class Mail
86e02374‐399a‐4750‐baf7‐a2acc6f06638                   Address Redacted                      First Class Mail
86e15b03‐444b‐4c32‐a069‐c0073011d115                   Address Redacted                      First Class Mail
86e19bc8‐ee0b‐4005‐8fd1‐c121e95d2039                   Address Redacted                      First Class Mail
86e450b9‐3f58‐4257‐98a8‐4bea09b82236                   Address Redacted                      First Class Mail
86e49529‐4b76‐47e5‐b07e‐007758693768                   Address Redacted                      First Class Mail
86e4f184‐e425‐4a82‐8fac‐b78c2a9a5751                   Address Redacted                      First Class Mail
86e85337‐0d07‐4db1‐9b79‐2a46a2954f2e                   Address Redacted                      First Class Mail
86eb593d‐9f87‐4959‐a8b8‐030f6f22c0e0                   Address Redacted                      First Class Mail
86ec0f0e‐bb76‐4b35‐8eba‐973df86bb3c8                   Address Redacted                      First Class Mail
86ef87dd‐f9e6‐4d34‐923d‐befa72b2f2a0                   Address Redacted                      First Class Mail
86f2c7a4‐cda1‐4f22‐883c‐6fed43f7163a                   Address Redacted                      First Class Mail
86f61720‐17aa‐43fe‐9c7c‐76d3020a937a                   Address Redacted                      First Class Mail
86ff4161‐187a‐47ca‐bfe4‐79879f8a24b6                   Address Redacted                      First Class Mail
870159a4‐435f‐4282‐be01‐b7816d3ad0ff                   Address Redacted                      First Class Mail
87039429‐c44e‐453e‐8adc‐1a5d338d7b80                   Address Redacted                      First Class Mail
87087e80‐39e1‐4d4b‐9d56‐20c7fc2ff3b1                   Address Redacted                      First Class Mail
870a1e7b‐a852‐4ad7‐954d‐01079977fee7                   Address Redacted                      First Class Mail
870d9a7f‐6c18‐4fe5‐b1c1‐4b9cd521b683                   Address Redacted                      First Class Mail
870f0a98‐383a‐4c58‐a480‐0350c8940d67                   Address Redacted                      First Class Mail
8714d872‐4a1a‐413d‐b718‐8fa9119643b0                   Address Redacted                      First Class Mail
871536cb‐bce0‐4f27‐9980‐a1eba475765e                   Address Redacted                      First Class Mail
87193661‐4d36‐40d2‐92ba‐1bedcd9e4a41                   Address Redacted                      First Class Mail
871ea68e‐ac3c‐404c‐a294‐c8fb3dd38183                   Address Redacted                      First Class Mail
87228b1c‐8a78‐4498‐ab4c‐cc5af0379d31                   Address Redacted                      First Class Mail
8723f33d‐237d‐455c‐89b5‐9775799c1cb2                   Address Redacted                      First Class Mail
8726a015‐d3c4‐415c‐a896‐286d44dbbe23                   Address Redacted                      First Class Mail
87275bf5‐e47c‐4efe‐b881‐4cb2edb9f6ec                   Address Redacted                      First Class Mail
8729e679‐42b0‐419f‐8b6b‐5df616141e98                   Address Redacted                      First Class Mail
87302ed8‐e0b7‐4d37‐a8db‐1b38c0373137                   Address Redacted                      First Class Mail
873d4392‐7bae‐4992‐8a6f‐0d595323796f                   Address Redacted                      First Class Mail
873d61c9‐baeb‐4afa‐a67b‐4b4ca7eb3ae0                   Address Redacted                      First Class Mail
874320f3‐8531‐4466‐ba12‐35daddd5ff86                   Address Redacted                      First Class Mail
874c7484‐ac37‐4074‐8221‐51128c4a3256                   Address Redacted                      First Class Mail
874d9386‐e4c3‐4e11‐ac63‐1803242ab04f                   Address Redacted                      First Class Mail
87520a1a‐de87‐4907‐b079‐57c4f68a36b5                   Address Redacted                      First Class Mail
875837cf‐b33a‐4535‐a645‐9b95e8598d1c                   Address Redacted                      First Class Mail
8758d35e‐dd4b‐438b‐af1a‐28dc2f41e57a                   Address Redacted                      First Class Mail
875ab418‐0466‐4cfb‐a258‐748995fadec4                   Address Redacted                      First Class Mail
875e74ea‐9f53‐4fc9‐a2fd‐870a144751fb                   Address Redacted                      First Class Mail
8761f7e6‐530e‐4dc2‐90e6‐b3a8398dc41c                   Address Redacted                      First Class Mail
8765765e‐c0a2‐432e‐8526‐e38d12b78d3d                   Address Redacted                      First Class Mail
876680bd‐bf87‐401c‐b9a6‐420ceed4bacb                   Address Redacted                      First Class Mail
876b93ed‐4e9d‐499b‐8cca‐c311ea4ae2bd                   Address Redacted                      First Class Mail
876d7c32‐61ac‐4103‐8b69‐a087013dd5d4                   Address Redacted                      First Class Mail
876f91b5‐1866‐4bfc‐afd2‐34c150d54c6a                   Address Redacted                      First Class Mail
8770dc85‐7525‐4251‐9fc2‐179da42e84a8                   Address Redacted                      First Class Mail
87712e00‐1c2e‐423e‐9855‐3cd21bcaeb9e                   Address Redacted                      First Class Mail
87765a6f‐4a30‐4fdb‐b2eb‐2646501904c6                   Address Redacted                      First Class Mail
877670ac‐6012‐4e40‐b73b‐b2e26556b8ca                   Address Redacted                      First Class Mail
8776762c‐2c68‐4e76‐acc0‐d5d2b6d24a1f                   Address Redacted                      First Class Mail
877882cc‐6b9d‐4211‐8833‐8e79e7d076e5                   Address Redacted                      First Class Mail
877a8854‐bf9e‐44a9‐91b1‐8b5450b2891b                   Address Redacted                      First Class Mail
877d017b‐5b47‐4e3d‐a1fe‐08cee05c85e5                   Address Redacted                      First Class Mail
877db206‐9e48‐4e91‐b015‐c41c6b9808a3                   Address Redacted                      First Class Mail
877eeca0‐f244‐4a0a‐b166‐969ce45b938d                   Address Redacted                      First Class Mail
8784ed9e‐3117‐4bf3‐9884‐5bf4bcca9688                   Address Redacted                      First Class Mail
878514e6‐fbc5‐4be0‐8d82‐16ef4ca314e6                   Address Redacted                      First Class Mail
878529b3‐3a21‐4680‐aa79‐169f784f6d3d                   Address Redacted                      First Class Mail
8789c601‐5c9d‐4388‐8654‐f38eb664fde1                   Address Redacted                      First Class Mail
878da9e5‐c79b‐40d1‐b010‐fa07ce82976a                   Address Redacted                      First Class Mail
8792a789‐9c31‐42d0‐8258‐04f8afa0e543                   Address Redacted                      First Class Mail
8795caea‐7164‐4bc9‐ab4f‐09ef838db6fc                   Address Redacted                      First Class Mail
87979913‐b59d‐426b‐ad11‐8b0e8c852f02                   Address Redacted                      First Class Mail
8799718b‐b357‐449a‐ba6f‐c8690d12bd04                   Address Redacted                      First Class Mail
879b7235‐3350‐49a2‐8fe9‐5fa05cc8772e                   Address Redacted                      First Class Mail
879dec07‐a811‐4574‐87ac‐805b2db80a19                   Address Redacted                      First Class Mail
87a16754‐1bd4‐4852‐ae2e‐ec0fb07cc374                   Address Redacted                      First Class Mail
87a300dc‐7e86‐43e0‐9375‐7e29bd1c3a9d                   Address Redacted                      First Class Mail
87a513ea‐009e‐4eac‐ae64‐62b8b7ce44e4                   Address Redacted                      First Class Mail




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                                                                 Service List


                              Name                                              Address                         Method of Service
87a6035b‐9d5c‐407a‐b679‐dea6da9297df                   Address Redacted                      First Class Mail
87a768b6‐9a6b‐4c43‐9b3a‐01f750036b22                   Address Redacted                      First Class Mail
87a9ffec‐e8ed‐4b98‐ba50‐46b70e261559                   Address Redacted                      First Class Mail
87ac11f0‐7cf1‐4ae6‐a374‐3c41130641c0                   Address Redacted                      First Class Mail
87af6ea4‐484d‐447c‐81ac‐32a284102af7                   Address Redacted                      First Class Mail
87b11e13‐eefe‐49b2‐82fe‐dc572089fae1                   Address Redacted                      First Class Mail
87b1243b‐6c70‐4a0e‐b29d‐c33dbb51750b                   Address Redacted                      First Class Mail
87b1ea8e‐a2c6‐4a1f‐9419‐0b720fa7317b                   Address Redacted                      First Class Mail
87b26899‐416c‐4627‐aac6‐6bce57e31c83                   Address Redacted                      First Class Mail
87b5f52c‐6d9b‐4a44‐a11e‐9167192d603e                   Address Redacted                      First Class Mail
87b98f56‐40b5‐4ea6‐b3d3‐19f91dfda254                   Address Redacted                      First Class Mail
87baefa2‐9c59‐4e11‐ba99‐3fc240d9b581                   Address Redacted                      First Class Mail
87bebe50‐0741‐4231‐a886‐d65941d2ed23                   Address Redacted                      First Class Mail
87c16062‐5804‐4468‐9242‐b5c931f1abac                   Address Redacted                      First Class Mail
87c16e5d‐694e‐4297‐b612‐7fa512e92605                   Address Redacted                      First Class Mail
87c1b18d‐56fe‐48a7‐a466‐b63c4d4b7508                   Address Redacted                      First Class Mail
87c1cdce‐5c8f‐4462‐8896‐8d86524d0af5                   Address Redacted                      First Class Mail
87c4c545‐0cc1‐4d7b‐8a30‐a666474ee7f2                   Address Redacted                      First Class Mail
87c4e278‐eb62‐42e7‐9c41‐292ed765f8d6                   Address Redacted                      First Class Mail
87c74187‐13af‐41a8‐ab13‐75fb468ac867                   Address Redacted                      First Class Mail
87c77cdf‐21fc‐49d1‐85ff‐977bb92efa38                   Address Redacted                      First Class Mail
87c7b8a9‐692b‐41cf‐a90c‐06d04f307dc4                   Address Redacted                      First Class Mail
87c8ee44‐5dcf‐480a‐a702‐b17fb31b90bb                   Address Redacted                      First Class Mail
87cac161‐0c28‐47fd‐96c5‐6883cc474762                   Address Redacted                      First Class Mail
87ce810c‐2b1e‐4fd1‐b157‐b296659b69e0                   Address Redacted                      First Class Mail
87cfe1d9‐0eab‐478e‐822f‐6fb0d24d8be8                   Address Redacted                      First Class Mail
87d08309‐f823‐4ec5‐b779‐aeda90c37370                   Address Redacted                      First Class Mail
87d18f80‐532d‐4874‐bb49‐2f9c37cba6ff                   Address Redacted                      First Class Mail
87d34060‐c3d6‐4bf9‐b998‐4e861a87fad3                   Address Redacted                      First Class Mail
87d79f9e‐1af2‐4572‐b89a‐daeca0d70957                   Address Redacted                      First Class Mail
87d80678‐27cd‐4d49‐a4ed‐516f94354dc2                   Address Redacted                      First Class Mail
87da0fdc‐e15d‐4d0f‐8afe‐a36cd2493cac                   Address Redacted                      First Class Mail
87db6fa0‐f38f‐4a4b‐adc7‐03bd07bbb6ee                   Address Redacted                      First Class Mail
87dfcb13‐ff9c‐4b5a‐a460‐683341c43521                   Address Redacted                      First Class Mail
87e07749‐2b1d‐4900‐ba87‐55cd3e7a6642                   Address Redacted                      First Class Mail
87e258b9‐ae1f‐484e‐ae6d‐24ca3c961d0b                   Address Redacted                      First Class Mail
87e4ce90‐dff1‐4e63‐815f‐5c8df7de979e                   Address Redacted                      First Class Mail
87e6f5a3‐4994‐45bc‐937f‐52dccfa4531d                   Address Redacted                      First Class Mail
87ebff0b‐912c‐4e82‐b984‐abc4397e03e7                   Address Redacted                      First Class Mail
87eceae1‐94ed‐477f‐bcd7‐988f35a74105                   Address Redacted                      First Class Mail
87ef1db6‐f038‐4dc9‐a052‐b4dd99cf7d9c                   Address Redacted                      First Class Mail
87f21a3c‐71c7‐4881‐b7e1‐6ac27364e9dd                   Address Redacted                      First Class Mail
87f2a4bc‐702e‐4d36‐90fd‐b9227d82c5f2                   Address Redacted                      First Class Mail
87f2c142‐288c‐4b98‐9cf6‐c5cdd7d641f7                   Address Redacted                      First Class Mail
87f32ba5‐5560‐4d1f‐8551‐d4e23ffecc2a                   Address Redacted                      First Class Mail
87f3b1a5‐01eb‐4be8‐823e‐c498cd1e5ed0                   Address Redacted                      First Class Mail
87f4993d‐7d89‐46ea‐be8a‐6b150af2815c                   Address Redacted                      First Class Mail
87f52ab5‐eba8‐4991‐8afb‐d3e0f13f7947                   Address Redacted                      First Class Mail
87f5a355‐6e12‐41ed‐b1dc‐7dc42230b812                   Address Redacted                      First Class Mail
87f85c2a‐6679‐47b2‐96c5‐a2f3bf06d4a0                   Address Redacted                      First Class Mail
87fa1395‐b4d6‐484d‐8d8a‐9078c7263559                   Address Redacted                      First Class Mail
87fa6791‐fc35‐4dd1‐93c0‐50a875dd2848                   Address Redacted                      First Class Mail
87ffb27d‐141b‐4fe6‐ad97‐47fe71befd24                   Address Redacted                      First Class Mail
88006c26‐8852‐4c9f‐9356‐8f4274cab6d0                   Address Redacted                      First Class Mail
88009de0‐d5ef‐47ab‐8b98‐b80a72bdde74                   Address Redacted                      First Class Mail
8800cd44‐ecef‐4315‐b611‐da9f9c4bf3bb                   Address Redacted                      First Class Mail
88055fdd‐4e4e‐4949‐868a‐f6bc42cfc165                   Address Redacted                      First Class Mail
8806d8c1‐5008‐4f19‐856e‐cf948c49876b                   Address Redacted                      First Class Mail
8808b800‐8ca3‐4d67‐a447‐4f8ef4f6f833                   Address Redacted                      First Class Mail
880b36e5‐1483‐4df7‐b21c‐65bd3fcb406c                   Address Redacted                      First Class Mail
880cdbc3‐8b9d‐44d6‐b03b‐98c243d4601a                   Address Redacted                      First Class Mail
880d2d3e‐fd12‐4d1e‐8b07‐1744ddb27b72                   Address Redacted                      First Class Mail
880d7651‐ffe6‐4e36‐995e‐35394df89a64                   Address Redacted                      First Class Mail
8812b443‐be77‐4dfc‐af46‐1196f798415c                   Address Redacted                      First Class Mail
8813e96f‐930b‐4a4d‐b750‐daf7e5717ec0                   Address Redacted                      First Class Mail
8815a2bc‐593b‐48ab‐b8d3‐1bbebbb78b36                   Address Redacted                      First Class Mail
8817c92d‐cd71‐4f74‐afd2‐8007900a7ef9                   Address Redacted                      First Class Mail
881d53c8‐06f8‐4b38‐aa58‐8d1e6a275c31                   Address Redacted                      First Class Mail
881e98fd‐288e‐48cb‐952a‐f2b62e1854fb                   Address Redacted                      First Class Mail
882867ee‐130f‐4ea4‐9a16‐7a6ca743e5cb                   Address Redacted                      First Class Mail
882a8967‐c18e‐481b‐8ddc‐4397add6501b                   Address Redacted                      First Class Mail
882cf9d3‐9c82‐499b‐9cdc‐12e46f3a7109                   Address Redacted                      First Class Mail




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                                                                Exhibit A
                                                                 Service List


                              Name                                              Address                         Method of Service
882d74e2‐e308‐481c‐94e7‐477f34c607ca                   Address Redacted                      First Class Mail
88346ef2‐0059‐4a6e‐8429‐ed4fd2bfa909                   Address Redacted                      First Class Mail
883683d5‐03e6‐4fb2‐b463‐a78307169dc1                   Address Redacted                      First Class Mail
8838ff66‐d4d6‐47bc‐ab53‐917fdf0093e3                   Address Redacted                      First Class Mail
883dc13f‐b350‐4ede‐89e2‐02aa2d26174f                   Address Redacted                      First Class Mail
883fca75‐054c‐4104‐9a4e‐25d15931d263                   Address Redacted                      First Class Mail
88448ccb‐cb12‐44e1‐8b9a‐3b52f01300ba                   Address Redacted                      First Class Mail
8845d84e‐e959‐4717‐913e‐bcedee41c756                   Address Redacted                      First Class Mail
884a2d97‐d0ea‐4e7a‐b7cd‐78533fa2e06c                   Address Redacted                      First Class Mail
884bece1‐98af‐42c7‐98c2‐d42c5217e77a                   Address Redacted                      First Class Mail
884e45db‐5d3a‐4620‐8eb3‐18f24db47fb1                   Address Redacted                      First Class Mail
8859aef9‐5862‐4486‐98de‐1f9557aff481                   Address Redacted                      First Class Mail
8863c732‐d0a5‐4fc0‐9130‐9663dee2f40a                   Address Redacted                      First Class Mail
886469c2‐a7d2‐4059‐ad90‐0730f9f800b2                   Address Redacted                      First Class Mail
8864aca9‐7f72‐4db5‐b3b2‐13a961b0d301                   Address Redacted                      First Class Mail
886589a1‐3222‐42bf‐9c1f‐94c59d78e829                   Address Redacted                      First Class Mail
8866ef12‐e1a5‐4a95‐97fd‐01f904b50aa1                   Address Redacted                      First Class Mail
88672b6a‐c20c‐44d6‐9588‐60996054b163                   Address Redacted                      First Class Mail
88688b5c‐48b7‐4f19‐8ea7‐165ffa487592                   Address Redacted                      First Class Mail
8869890a‐6380‐4a43‐9fb0‐9498d8cebe27                   Address Redacted                      First Class Mail
886b1a4a‐47fa‐4bfe‐9948‐a0e04974f0c7                   Address Redacted                      First Class Mail
8873590e‐9fdc‐4f27‐b603‐14a17f7cd162                   Address Redacted                      First Class Mail
8876d804‐c248‐487d‐9824‐641a3e41dc23                   Address Redacted                      First Class Mail
8878128c‐68c4‐44ba‐b13e‐6fd14bbe1f26                   Address Redacted                      First Class Mail
887a1f1b‐fff1‐4439‐b136‐343386e0206b                   Address Redacted                      First Class Mail
887c32d3‐c99a‐40e9‐9317‐2bb3169f70c1                   Address Redacted                      First Class Mail
887e4bbb‐a56a‐4b43‐bf37‐c7a2bce6f6a9                   Address Redacted                      First Class Mail
887e7b91‐c3cc‐45cc‐aada‐11aa1d3018b5                   Address Redacted                      First Class Mail
887ebf3b‐f7d8‐45bb‐9065‐489d46f14df4                   Address Redacted                      First Class Mail
8881689c‐9c24‐4a43‐9b5c‐7ab3c8e794bf                   Address Redacted                      First Class Mail
8886da75‐e435‐4d7a‐998b‐66475e08c462                   Address Redacted                      First Class Mail
888a9140‐a710‐42ba‐97fb‐7a40093fdbed                   Address Redacted                      First Class Mail
888b4f0b‐9d48‐43df‐b518‐188e58b9f2be                   Address Redacted                      First Class Mail
888bf139‐ea31‐4135‐a8d1‐40ad674f97c3                   Address Redacted                      First Class Mail
888db3c1‐60f3‐44d3‐9a46‐e0308fa4c0ae                   Address Redacted                      First Class Mail
888dd93a‐3d1a‐4baf‐a2be‐443a5a87d914                   Address Redacted                      First Class Mail
888e6ad0‐2019‐45b5‐9af9‐9100d85e7da5                   Address Redacted                      First Class Mail
888f4a80‐120d‐431a‐8ec2‐389464eb0f82                   Address Redacted                      First Class Mail
8890f667‐fa3e‐49b5‐be4b‐e715aab5a319                   Address Redacted                      First Class Mail
88923cff‐2499‐4aaf‐8cc5‐47e5b76f9eb9                   Address Redacted                      First Class Mail
88944893‐bcbf‐4af7‐970c‐1525820ec1ac                   Address Redacted                      First Class Mail
889457f3‐3354‐4bbd‐8a5d‐4845e5fbef51                   Address Redacted                      First Class Mail
88954b19‐6a40‐4fe5‐a463‐ee6e1cd5dc6b                   Address Redacted                      First Class Mail
8899b52e‐3107‐4431‐b20e‐f87499d6d3e1                   Address Redacted                      First Class Mail
889ea9cb‐90f2‐42ff‐a854‐3fdb1d9dfcea                   Address Redacted                      First Class Mail
88a3321a‐8547‐46cc‐bc69‐bfd1fb19a35c                   Address Redacted                      First Class Mail
88a50342‐7491‐4f12‐bc87‐c3252810111b                   Address Redacted                      First Class Mail
88a65c84‐29be‐41c2‐9126‐65d7119ba900                   Address Redacted                      First Class Mail
88a6ad43‐ca0d‐4f9c‐ae63‐99e32251a487                   Address Redacted                      First Class Mail
88ab0aec‐bc4f‐43af‐86ba‐abafbee5a697                   Address Redacted                      First Class Mail
88ab462c‐702a‐4f94‐b2f6‐6661140bca38                   Address Redacted                      First Class Mail
88ad9cfa‐ae08‐4712‐8c61‐18df3d90a852                   Address Redacted                      First Class Mail
88af94e1‐d336‐435a‐8372‐8a4b55a1e984                   Address Redacted                      First Class Mail
88b00fd8‐9c37‐4a02‐bb48‐a0669661bcdb                   Address Redacted                      First Class Mail
88b0894d‐4a33‐402b‐9666‐c1f0a84661ad                   Address Redacted                      First Class Mail
88b0bc2c‐d4c5‐4548‐8934‐ec055dd67b4f                   Address Redacted                      First Class Mail
88b293f0‐3b02‐40e7‐8015‐2bb3a696ccd2                   Address Redacted                      First Class Mail
88b430b9‐aace‐420b‐ad36‐c0a86735cd92                   Address Redacted                      First Class Mail
88b6d47b‐1f5b‐4336‐a628‐383d4a8ce00f                   Address Redacted                      First Class Mail
88b8319e‐ba2e‐4ec0‐b7c5‐59e90a11bc9c                   Address Redacted                      First Class Mail
88bcad9d‐197d‐49ce‐8de4‐4bd115734cfe                   Address Redacted                      First Class Mail
88bdd48e‐e37a‐45fa‐94a5‐cf741a1ea024                   Address Redacted                      First Class Mail
88be75c4‐67cc‐498c‐9d39‐b21a7d24ffb0                   Address Redacted                      First Class Mail
88c07567‐e7cc‐4f11‐9f71‐f5861a5f78a2                   Address Redacted                      First Class Mail
88c2539b‐69d6‐4f6a‐b42c‐92bc27d8e481                   Address Redacted                      First Class Mail
88c3d79b‐a396‐4fbd‐a3cb‐31ba6b02b80a                   Address Redacted                      First Class Mail
88c4cd37‐e27e‐4932‐bc1c‐bf71b5f98137                   Address Redacted                      First Class Mail
88ced9b8‐8c12‐468f‐a979‐4dca9f533752                   Address Redacted                      First Class Mail
88cfde23‐d683‐43ed‐9e5f‐95e6e49134ce                   Address Redacted                      First Class Mail
88d2d528‐451a‐4a25‐88af‐e4b75e482dde                   Address Redacted                      First Class Mail
88d56a22‐6e05‐4023‐bbd1‐b76983153592                   Address Redacted                      First Class Mail
88d9ea1a‐7a38‐4e83‐b07e‐5e75e9ed90a4                   Address Redacted                      First Class Mail




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                              Name                                              Address                         Method of Service
88dbc830‐e1ac‐4f57‐8ccc‐77fd47cc34f6                   Address Redacted                      First Class Mail
88df2ad2‐713e‐482a‐b4d4‐0ae780100b08                   Address Redacted                      First Class Mail
88df87c5‐8f9d‐4b83‐bef2‐36bed2319204                   Address Redacted                      First Class Mail
88e0d1d6‐fcc3‐49a7‐8d4d‐224ca31856e9                   Address Redacted                      First Class Mail
88e1b487‐ac16‐4c4e‐acfd‐81f6e7d2b403                   Address Redacted                      First Class Mail
88e54835‐b5b0‐40fc‐9c72‐1c2f9ca4b096                   Address Redacted                      First Class Mail
88ea4663‐e4e1‐46e6‐b049‐f0b2b128d5c8                   Address Redacted                      First Class Mail
88eb0100‐0033‐4a18‐a116‐eaa09f032ca5                   Address Redacted                      First Class Mail
88ed5e7e‐50fb‐4369‐8181‐22296e6eef09                   Address Redacted                      First Class Mail
88f02624‐4f8d‐42ca‐9cbe‐889f1bf25307                   Address Redacted                      First Class Mail
88f5317c‐53cd‐4a67‐aaac‐1619125a99db                   Address Redacted                      First Class Mail
88f7dc06‐9012‐4566‐800d‐577bf9d8c1fa                   Address Redacted                      First Class Mail
88f8b623‐333e‐4713‐9158‐9726be60f26d                   Address Redacted                      First Class Mail
88fa27a3‐56a0‐47c9‐9c40‐6b91d67424c8                   Address Redacted                      First Class Mail
88fb993c‐2c4c‐4810‐842c‐7da27345c0b6                   Address Redacted                      First Class Mail
88fd1975‐3a16‐4695‐a912‐b842bdd8874d                   Address Redacted                      First Class Mail
89007e15‐2cda‐40f8‐a47c‐fb1f5c1803e3                   Address Redacted                      First Class Mail
8900dc39‐e1b3‐46da‐871c‐9c8ca686f86d                   Address Redacted                      First Class Mail
8901ef7b‐b74e‐4e02‐941b‐3f037814c562                   Address Redacted                      First Class Mail
890404ca‐7a22‐4626‐9e70‐0227290cd520                   Address Redacted                      First Class Mail
8904ad03‐61bb‐45c2‐ace8‐a809d8cb76a1                   Address Redacted                      First Class Mail
890925e9‐f941‐412a‐8c2a‐9ff9cc92a2b9                   Address Redacted                      First Class Mail
890b05c2‐5496‐47ed‐8efa‐90ca4d2fbb03                   Address Redacted                      First Class Mail
890b805a‐2c98‐446b‐893d‐77bd4b228d08                   Address Redacted                      First Class Mail
890b9e85‐eed3‐4911‐977a‐5a7c2d011fc5                   Address Redacted                      First Class Mail
890ed043‐940d‐47d3‐8c70‐88eacbfb6337                   Address Redacted                      First Class Mail
8910e0a6‐1575‐4db3‐a046‐e10fcdafb2a8                   Address Redacted                      First Class Mail
891320bc‐28fb‐4b0b‐9314‐39525cb94c0a                   Address Redacted                      First Class Mail
8915682e‐037b‐4a8d‐98d1‐1ae9ebaacc7a                   Address Redacted                      First Class Mail
89167c0e‐545f‐4a93‐8acc‐209c535c254d                   Address Redacted                      First Class Mail
89169fbe‐5bd6‐413d‐ac3d‐52831c88936f                   Address Redacted                      First Class Mail
8917ae2d‐2083‐4cf2‐b687‐5612f0452669                   Address Redacted                      First Class Mail
891957e8‐0d9d‐4f02‐bc70‐fdfad07170bf                   Address Redacted                      First Class Mail
89199208‐e8b7‐4fda‐8eaa‐60cfddbadedd                   Address Redacted                      First Class Mail
891bc4e4‐e8e2‐4ffd‐bdcc‐47ed539d59a2                   Address Redacted                      First Class Mail
891f6c22‐a890‐4a2f‐9686‐419b7913a79b                   Address Redacted                      First Class Mail
892030d0‐0722‐433a‐a8be‐dd85ea5a588d                   Address Redacted                      First Class Mail
892415cb‐e87e‐4872‐bebd‐941fc2268c11                   Address Redacted                      First Class Mail
89262cd5‐e309‐4085‐97f3‐b403b179dc7e                   Address Redacted                      First Class Mail
892ee79a‐23a7‐4489‐9e2c‐b6e5b3bd01a3                   Address Redacted                      First Class Mail
89324b0e‐ba57‐41ee‐9d13‐721a1efc9cd5                   Address Redacted                      First Class Mail
8932aca4‐5399‐41ea‐8c9c‐dd2d647177a4                   Address Redacted                      First Class Mail
89397c6a‐bc8c‐4d19‐80a2‐8329bdf2b740                   Address Redacted                      First Class Mail
8939eeb8‐74e5‐400a‐842e‐f54ecd9f735e                   Address Redacted                      First Class Mail
893a442e‐d6e3‐4dec‐ac6b‐ad787830cac2                   Address Redacted                      First Class Mail
893c1ffd‐2684‐4290‐95c2‐24fd15d40c84                   Address Redacted                      First Class Mail
893f8ee0‐f9cf‐498c‐92ff‐8590dae006b5                   Address Redacted                      First Class Mail
8941ee3e‐a006‐4a1f‐8198‐4b8123d6d5bc                   Address Redacted                      First Class Mail
894b69a8‐73c5‐449b‐9c13‐60c838137d56                   Address Redacted                      First Class Mail
894cf51a‐78af‐405b‐8f0c‐898b8d905f36                   Address Redacted                      First Class Mail
894d45ee‐46fc‐4399‐bdd6‐401c386880a6                   Address Redacted                      First Class Mail
895163e2‐2154‐4e32‐a817‐13f4a68dd5a6                   Address Redacted                      First Class Mail
8952ca40‐2515‐4022‐a328‐5b6abb8a7d1b                   Address Redacted                      First Class Mail
895493b2‐11ec‐4f8d‐9653‐b5a884121b16                   Address Redacted                      First Class Mail
895a0b36‐dd4c‐4a1f‐88bc‐7087c5aaf5cc                   Address Redacted                      First Class Mail
895b3ea7‐f1b6‐4b6c‐bb58‐b533cd76f155                   Address Redacted                      First Class Mail
895bb4c6‐8c01‐42bc‐880d‐342ea92a6257                   Address Redacted                      First Class Mail
895e3d19‐725d‐49d6‐be32‐043f8ab3c419                   Address Redacted                      First Class Mail
895f8119‐68d7‐41f9‐b961‐fe9474fe569c                   Address Redacted                      First Class Mail
896851ad‐b6bc‐416d‐a9a7‐2e6b5c67f6da                   Address Redacted                      First Class Mail
8969351d‐62df‐4d51‐a59b‐42d487223645                   Address Redacted                      First Class Mail
896939ed‐863e‐4592‐84ac‐53f24539ed50                   Address Redacted                      First Class Mail
8972ef7a‐04f5‐4fe0‐928c‐5cfa3b3d93e1                   Address Redacted                      First Class Mail
897501c7‐4536‐4539‐8937‐c719aabef262                   Address Redacted                      First Class Mail
89794a69‐6db1‐44fc‐bb66‐48c51d1d948b                   Address Redacted                      First Class Mail
897a91dc‐4541‐42e9‐bde2‐4d2dbfe237bf                   Address Redacted                      First Class Mail
897c210b‐7010‐49de‐9cf8‐415ead8ab5d5                   Address Redacted                      First Class Mail
89807404‐bcad‐439d‐9b39‐9798857ddd2a                   Address Redacted                      First Class Mail
8982a1a3‐d1ed‐4bbf‐853e‐80c85e51329c                   Address Redacted                      First Class Mail
8986fcff‐800a‐4b5c‐a82f‐69e734eb5b53                   Address Redacted                      First Class Mail
8988e2c6‐f86b‐4447‐ac99‐ff2c1f5c8d1d                   Address Redacted                      First Class Mail
898d22f8‐fbd5‐4f84‐80dc‐c66f291bb60d                   Address Redacted                      First Class Mail




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                              Name                                              Address                         Method of Service
898eadd7‐f332‐4648‐8ec3‐6ff99eb5f2d1                   Address Redacted                      First Class Mail
898fd361‐65cf‐40db‐a3dc‐734eca03cb26                   Address Redacted                      First Class Mail
8990fe11‐afdd‐4db2‐b726‐4f0fb9f6a736                   Address Redacted                      First Class Mail
899317a7‐56f4‐4548‐a053‐5f19ad2f86be                   Address Redacted                      First Class Mail
89951429‐58d9‐4e57‐ad47‐576b17a12b3f                   Address Redacted                      First Class Mail
8996a450‐fdc3‐42fb‐9246‐ce25dd4e4ada                   Address Redacted                      First Class Mail
899bb870‐52d4‐449e‐a9b1‐2b0b1850d444                   Address Redacted                      First Class Mail
899bfedc‐5fb4‐4481‐ab16‐bac4692fc86d                   Address Redacted                      First Class Mail
899ebb68‐2081‐40c7‐a0a3‐05df7ca8dcdc                   Address Redacted                      First Class Mail
899ff244‐c1d8‐4898‐bb51‐b633d1a94c7c                   Address Redacted                      First Class Mail
89a3f2f9‐9a4d‐4834‐aa6e‐aa64d5697d36                   Address Redacted                      First Class Mail
89adac2d‐7fbc‐4389‐97ea‐8199baa8368c                   Address Redacted                      First Class Mail
89afa2d3‐9241‐4a33‐8da6‐dabea162f2e9                   Address Redacted                      First Class Mail
89b29d5e‐0aef‐4455‐8585‐968c2f9219f5                   Address Redacted                      First Class Mail
89b40775‐f5db‐48a4‐8c7b‐e48b0e9fe04f                   Address Redacted                      First Class Mail
89b813d6‐6ebc‐4414‐9e29‐ad42f594bc24                   Address Redacted                      First Class Mail
89be473a‐e757‐4f29‐85f1‐e2fd1c84590b                   Address Redacted                      First Class Mail
89c483a1‐6dfd‐4b19‐aaee‐ca63e6b530ac                   Address Redacted                      First Class Mail
89c5fecf‐8c17‐4dd3‐9360‐b594b70777d0                   Address Redacted                      First Class Mail
89c71afa‐335d‐4b65‐bae3‐1ebf68751226                   Address Redacted                      First Class Mail
89caef6d‐dfb1‐4724‐b61b‐a0ada226246f                   Address Redacted                      First Class Mail
89d00e93‐29a2‐409c‐a9b4‐48cdaaf7b51f                   Address Redacted                      First Class Mail
89d7677a‐e771‐45ba‐afb1‐fa81c4dbf7b1                   Address Redacted                      First Class Mail
89d77f7c‐8ff4‐4b68‐a50a‐97433f47771a                   Address Redacted                      First Class Mail
89dd43c1‐a90b‐49b0‐a105‐92a9740746b5                   Address Redacted                      First Class Mail
89e0c218‐9ef1‐43f7‐8848‐f97794b124ab                   Address Redacted                      First Class Mail
89e40a3e‐37e3‐44e7‐9480‐63cf82768ee1                   Address Redacted                      First Class Mail
89e4294e‐de40‐40c8‐b359‐c7d99b078df1                   Address Redacted                      First Class Mail
89e964eb‐a339‐46d7‐8bd6‐7c3166529fcf                   Address Redacted                      First Class Mail
89ed2759‐32ff‐401a‐89ee‐d0051f1354de                   Address Redacted                      First Class Mail
89f68ca7‐952b‐4259‐bd9f‐5423972602c1                   Address Redacted                      First Class Mail
89f8eb30‐07cd‐4e6d‐8826‐beb77eb566d6                   Address Redacted                      First Class Mail
89fba3db‐2ae5‐414b‐bf0c‐b5742ec06492                   Address Redacted                      First Class Mail
89fc0b19‐5320‐4a2b‐a066‐6122d1f37f13                   Address Redacted                      First Class Mail
89fccf02‐4b43‐41de‐95e7‐faeb005edb77                   Address Redacted                      First Class Mail
89fd71a1‐4c3e‐40e8‐a501‐3c141f762998                   Address Redacted                      First Class Mail
89fec376‐3e24‐4842‐8d29‐f95103cb0fdb                   Address Redacted                      First Class Mail
8a017816‐4f69‐4929‐beea‐d2f9f4f07267                   Address Redacted                      First Class Mail
8a05ef42‐83d4‐4949‐a1c8‐bb9acea8c676                   Address Redacted                      First Class Mail
8a084a76‐7962‐4f78‐8d67‐98076176b5b1                   Address Redacted                      First Class Mail
8a0894ae‐ce43‐443a‐9aee‐80e82b661dc0                   Address Redacted                      First Class Mail
8a0e98a6‐b9e1‐4ed1‐a1cf‐ce740e64eed4                   Address Redacted                      First Class Mail
8a136b57‐d349‐4dc0‐b9cb‐b402b7a70019                   Address Redacted                      First Class Mail
8a139720‐9ab3‐49e5‐a9ec‐38e27f7d5bc7                   Address Redacted                      First Class Mail
8a166fa8‐f688‐4297‐99a1‐3d78abc4c67d                   Address Redacted                      First Class Mail
8a1b3572‐a3bb‐44d0‐a0da‐29dd66f438de                   Address Redacted                      First Class Mail
8a1b8123‐c90c‐41c3‐b224‐50cbc9c7f506                   Address Redacted                      First Class Mail
8a1e25b6‐bbc1‐4323‐98c9‐97e641edc6f5                   Address Redacted                      First Class Mail
8a1efb09‐aa7a‐496a‐a625‐8937d589ee9d                   Address Redacted                      First Class Mail
8a1fa121‐fc89‐476c‐898f‐cd0104be4c1b                   Address Redacted                      First Class Mail
8a20a52c‐6473‐46e9‐8014‐905c127c9d07                   Address Redacted                      First Class Mail
8a21d7db‐3558‐408d‐8715‐8368c925f6ca                   Address Redacted                      First Class Mail
8a248ff2‐bb5d‐4bb2‐b23d‐6431288f8d6a                   Address Redacted                      First Class Mail
8a2664b1‐b1ce‐48c7‐94b8‐24bec0cbb1ce                   Address Redacted                      First Class Mail
8a2687fb‐f5f1‐4bdc‐98c1‐1b6df21c890e                   Address Redacted                      First Class Mail
8a2799ff‐61ca‐4989‐9ae9‐065a08fb91d9                   Address Redacted                      First Class Mail
8a2b46f3‐ae3d‐40dc‐ac31‐cb3737a2c9a5                   Address Redacted                      First Class Mail
8a2bf453‐0932‐4863‐ab39‐becd78462429                   Address Redacted                      First Class Mail
8a2d6300‐f86f‐4e6f‐94f6‐d8b07487439e                   Address Redacted                      First Class Mail
8a2dbe78‐117e‐45ca‐9bc7‐2e056effea07                   Address Redacted                      First Class Mail
8a318b64‐ddc9‐4763‐ad91‐500df876b38a                   Address Redacted                      First Class Mail
8a330afd‐24bf‐42d9‐a7c5‐44d5ba12e9d2                   Address Redacted                      First Class Mail
8a3eb965‐5423‐4519‐a2ce‐a6fabb4138c6                   Address Redacted                      First Class Mail
8a459f50‐dca4‐4e49‐9838‐5db93d8693b9                   Address Redacted                      First Class Mail
8a46e7ac‐1643‐4b58‐ba09‐d870a13eeb8a                   Address Redacted                      First Class Mail
8a4a3e73‐f066‐48e5‐888a‐8aabe6ac493e                   Address Redacted                      First Class Mail
8a4b1adf‐23e6‐4f8c‐8726‐a3baf72bea80                   Address Redacted                      First Class Mail
8a4b6485‐fe4e‐4769‐b208‐8a5591d7a074                   Address Redacted                      First Class Mail
8a4ed10d‐6435‐45ac‐927a‐cf0672702908                   Address Redacted                      First Class Mail
8a517f89‐323b‐43dd‐8186‐3a7e93f9c066                   Address Redacted                      First Class Mail
8a589066‐dd9c‐4a92‐bd27‐f4290888e711                   Address Redacted                      First Class Mail
8a5b81e1‐c49c‐4790‐8bc9‐364f355e1c12                   Address Redacted                      First Class Mail




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                                                                Exhibit A
                                                                 Service List


                              Name                                              Address                         Method of Service
8a5bd933‐52d9‐4267‐89a1‐d3705b876269                   Address Redacted                      First Class Mail
8a5e4358‐d1c6‐43ba‐990b‐f42266cfd502                   Address Redacted                      First Class Mail
8a5fd521‐b654‐47bd‐90d4‐448835e13088                   Address Redacted                      First Class Mail
8a639154‐f5c0‐4cd2‐8d18‐52d03b0261d3                   Address Redacted                      First Class Mail
8a6ccce4‐104a‐4525‐aa23‐3e490fc006df                   Address Redacted                      First Class Mail
8a6f1ce8‐cee6‐4b3f‐890a‐95ff7738ad4c                   Address Redacted                      First Class Mail
8a6f9341‐0a44‐422c‐8513‐581e548b13bd                   Address Redacted                      First Class Mail
8a70bf57‐f81f‐4a53‐9f99‐78cb0eb5814e                   Address Redacted                      First Class Mail
8a715ea0‐67f3‐44a2‐8f11‐bc146d939830                   Address Redacted                      First Class Mail
8a71d302‐a053‐4132‐821d‐5ccfddebdc4c                   Address Redacted                      First Class Mail
8a746309‐2fdc‐42f2‐99e1‐3f34e79f6272                   Address Redacted                      First Class Mail
8a76a5c2‐cb03‐41ff‐aaeb‐eaa13a8c8935                   Address Redacted                      First Class Mail
8a7c4fb6‐c9e1‐4906‐801c‐dbd8ef9d69a4                   Address Redacted                      First Class Mail
8a7d0154‐a518‐4be0‐9f85‐b67445095103                   Address Redacted                      First Class Mail
8a7d44b0‐3914‐4c23‐bce2‐438911e1d818                   Address Redacted                      First Class Mail
8a7d7d42‐a2c1‐4047‐a490‐cbad74428e16                   Address Redacted                      First Class Mail
8a7ee4c4‐6aee‐4c6a‐8e09‐cc988e6119fc                   Address Redacted                      First Class Mail
8a7f76a2‐0d57‐456c‐900b‐1cf17337d329                   Address Redacted                      First Class Mail
8a7f8abd‐a8b6‐480f‐99b4‐614938702160                   Address Redacted                      First Class Mail
8a7fedb7‐f6fc‐4e25‐b2fa‐17308cb60feb                   Address Redacted                      First Class Mail
8a81cf8e‐f983‐485f‐bb9e‐5544aaf0227a                   Address Redacted                      First Class Mail
8a82df14‐af51‐4560‐88b3‐9d79fa787d39                   Address Redacted                      First Class Mail
8a83d833‐4d7b‐4991‐8d10‐04b0519f5d5b                   Address Redacted                      First Class Mail
8a86cbb2‐f22e‐4656‐8486‐ef677d3c8275                   Address Redacted                      First Class Mail
8a8a61c0‐60bf‐4676‐aa58‐90cd80741d7a                   Address Redacted                      First Class Mail
8a8b1a9a‐2d10‐4ee2‐b7bb‐d91174d46c24                   Address Redacted                      First Class Mail
8a8c9649‐667c‐49e9‐a38d‐7cfe6e0b0d2e                   Address Redacted                      First Class Mail
8a8d622a‐0600‐4711‐9f04‐00970a5f2ba8                   Address Redacted                      First Class Mail
8a8ff287‐02e7‐4170‐aab4‐98e63ecbb732                   Address Redacted                      First Class Mail
8a95c625‐d861‐4c84‐8b8c‐c4704880912d                   Address Redacted                      First Class Mail
8a9949c5‐2cfb‐4798‐9a63‐36e5d335b202                   Address Redacted                      First Class Mail
8a9f5d66‐0049‐4717‐96e7‐6684e05ec0ab                   Address Redacted                      First Class Mail
8aa10021‐9fc5‐4a51‐85e0‐023c8593fec5                   Address Redacted                      First Class Mail
8aa3767e‐a70a‐4f7b‐9afa‐349245d95e33                   Address Redacted                      First Class Mail
8aa927a8‐214e‐4235‐8055‐3a33be1b9e72                   Address Redacted                      First Class Mail
8aa935e0‐7763‐4320‐aa2d‐4efa24feecb4                   Address Redacted                      First Class Mail
8aaad563‐001b‐4b63‐b4a4‐4dd4a9066433                   Address Redacted                      First Class Mail
8aac832f‐4cac‐4050‐8ebb‐64be35561b6f                   Address Redacted                      First Class Mail
8aae51a4‐bddd‐4519‐9842‐acda178abfd4                   Address Redacted                      First Class Mail
8aaf5859‐09b7‐4579‐b039‐0f761c80f97c                   Address Redacted                      First Class Mail
8ab07ba1‐1dfe‐4b22‐9257‐c239feec2d3a                   Address Redacted                      First Class Mail
8ab73b01‐ef3c‐4976‐afd1‐83974010b338                   Address Redacted                      First Class Mail
8abc9c51‐38c1‐412b‐9878‐fc084dc5ec40                   Address Redacted                      First Class Mail
8ac3544a‐d28f‐46a4‐b650‐545d9b80090a                   Address Redacted                      First Class Mail
8ac5dbb4‐3c61‐49bc‐bcad‐94011449cc78                   Address Redacted                      First Class Mail
8ac94103‐a532‐41de‐b920‐441e7a1095e7                   Address Redacted                      First Class Mail
8acb03c2‐bd06‐4a66‐a7b5‐5b6f66e93cb9                   Address Redacted                      First Class Mail
8acc476d‐a41c‐4deb‐a002‐405c80747004                   Address Redacted                      First Class Mail
8acebb25‐6223‐4c5c‐b115‐1786aefe620f                   Address Redacted                      First Class Mail
8ad16147‐596d‐4659‐8d30‐37a9208f61fa                   Address Redacted                      First Class Mail
8ad176fd‐5be8‐4fe1‐82eb‐feec68bb5bf0                   Address Redacted                      First Class Mail
8ad46042‐bae3‐4e8b‐ad7b‐e0aa690bef66                   Address Redacted                      First Class Mail
8ada2d01‐4600‐4e5e‐96a8‐e2dd3580852c                   Address Redacted                      First Class Mail
8adb8b8b‐69cd‐47b9‐a6fc‐3cd58decffea                   Address Redacted                      First Class Mail
8adc115d‐26f7‐47a0‐a7af‐b83e5f25ba2c                   Address Redacted                      First Class Mail
8ae0d110‐8338‐4fa8‐bdea‐2a4ceb236a1e                   Address Redacted                      First Class Mail
8ae8df64‐9dab‐4459‐8c3e‐455e722a8975                   Address Redacted                      First Class Mail
8aea64c4‐7bfe‐48d0‐8ea4‐82501b73bcb7                   Address Redacted                      First Class Mail
8aefb0eb‐45fb‐4db2‐8714‐bf7baabe860b                   Address Redacted                      First Class Mail
8af14024‐49e0‐47de‐9524‐6b4242abda69                   Address Redacted                      First Class Mail
8af22020‐8390‐4cc4‐abb0‐8a91fe926fa3                   Address Redacted                      First Class Mail
8af26bc1‐a01e‐4fae‐8a02‐b1ae4fb9415f                   Address Redacted                      First Class Mail
8af6f2eb‐55fa‐4ce7‐bd07‐c03b862cdb7c                   Address Redacted                      First Class Mail
8af87ad1‐1091‐447d‐a5c7‐0f9f12e52850                   Address Redacted                      First Class Mail
8af91dd7‐73ce‐406c‐8c76‐eb43f272ddb2                   Address Redacted                      First Class Mail
8af9d102‐e061‐4965‐868e‐afcdb6746c84                   Address Redacted                      First Class Mail
8aff750e‐557b‐4d6e‐b5c9‐39adc6c396e7                   Address Redacted                      First Class Mail
8b00c3d5‐55a2‐4105‐bb9b‐aa59ed07eafe                   Address Redacted                      First Class Mail
8b01da97‐8712‐4c80‐902e‐25e9a79c457d                   Address Redacted                      First Class Mail
8b02ad8c‐d1b9‐4817‐994c‐502021a9c0b0                   Address Redacted                      First Class Mail
8b062f27‐a92c‐4b81‐a83c‐6830b7e27f95                   Address Redacted                      First Class Mail
8b14a840‐d46d‐4a1a‐827d‐6636732f5d5b                   Address Redacted                      First Class Mail




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                                                                 Service List


                              Name                                              Address                         Method of Service
8b1521ca‐7fdb‐4b38‐a4b8‐f38242b7c876                   Address Redacted                      First Class Mail
8b18c2e4‐b980‐42dd‐b458‐ae869ec89509                   Address Redacted                      First Class Mail
8b1af0f9‐75cb‐4100‐a715‐74ab3c489062                   Address Redacted                      First Class Mail
8b2221c0‐ded8‐48cf‐adff‐743a103d4524                   Address Redacted                      First Class Mail
8b224931‐bc45‐4954‐9c78‐02701feb6254                   Address Redacted                      First Class Mail
8b2292a6‐9c74‐409e‐b15b‐c7db591d144c                   Address Redacted                      First Class Mail
8b27c53a‐1469‐447b‐b708‐ebf7b9ca994f                   Address Redacted                      First Class Mail
8b27fb12‐2e27‐4a5e‐93fc‐a872f172474f                   Address Redacted                      First Class Mail
8b289111‐60c1‐4614‐8b02‐9f5d9546868a                   Address Redacted                      First Class Mail
8b29922d‐6cf4‐4adc‐8132‐5ee905c73f7d                   Address Redacted                      First Class Mail
8b29cb7b‐6adb‐4121‐a813‐79f6f6e234e7                   Address Redacted                      First Class Mail
8b2a9900‐5daf‐4aff‐8ed2‐3fddc0228f9e                   Address Redacted                      First Class Mail
8b2c2a44‐9855‐4505‐acba‐ec32e0bd2885                   Address Redacted                      First Class Mail
8b2c9807‐54c0‐4efe‐8df0‐9302c678ace4                   Address Redacted                      First Class Mail
8b2d9589‐a638‐4f89‐b769‐ac72fa487ea2                   Address Redacted                      First Class Mail
8b3f61ff‐4458‐47cd‐b937‐66be1e011566                   Address Redacted                      First Class Mail
8b3f964d‐405e‐4b0f‐9952‐1331840b5f07                   Address Redacted                      First Class Mail
8b48434c‐3d9a‐4d4d‐a661‐5b776df79f40                   Address Redacted                      First Class Mail
8b4caf2a‐a4b4‐43d8‐919c‐6d3d4c553b30                   Address Redacted                      First Class Mail
8b4d3257‐9a95‐49de‐8b56‐073535fe77ab                   Address Redacted                      First Class Mail
8b52e6ce‐b364‐4baa‐a0c0‐1b660b7aff4b                   Address Redacted                      First Class Mail
8b54d2c5‐6d28‐4ed1‐9f19‐cd4bad1a74c8                   Address Redacted                      First Class Mail
8b57aa2c‐d489‐4110‐adc1‐b7b34d98f8a1                   Address Redacted                      First Class Mail
8b5fcd8b‐36cc‐4417‐8e43‐89075d078d26                   Address Redacted                      First Class Mail
8b600f56‐cfe8‐48ab‐89a7‐1e80a49aa732                   Address Redacted                      First Class Mail
8b6067eb‐90ed‐4acf‐be29‐405bafa3c468                   Address Redacted                      First Class Mail
8b6a5621‐baae‐4bc4‐9dfa‐390693031a1a                   Address Redacted                      First Class Mail
8b738194‐e8fa‐4f4d‐8cd1‐bcea4f4d4366                   Address Redacted                      First Class Mail
8b74bb2b‐0ab2‐4711‐ae9a‐de6746ac852e                   Address Redacted                      First Class Mail
8b7f43d4‐c6c2‐4d84‐b415‐b86e0b940b7f                   Address Redacted                      First Class Mail
8b81e35d‐abd3‐4523‐a0f2‐49fe1dff3541                   Address Redacted                      First Class Mail
8b825fe6‐1031‐41f2‐b9a5‐71e1d315810a                   Address Redacted                      First Class Mail
8b82ce25‐e2e1‐4ea2‐b928‐2ec8f76128db                   Address Redacted                      First Class Mail
8b8340f0‐261d‐406d‐9a34‐612474da32a6                   Address Redacted                      First Class Mail
8b869186‐ff2b‐483a‐a65f‐b11621a4c9e6                   Address Redacted                      First Class Mail
8b8a3af9‐4b4b‐4945‐911f‐388264b51216                   Address Redacted                      First Class Mail
8b8b3caf‐b933‐4568‐8bcb‐e2c4528c3c1b                   Address Redacted                      First Class Mail
8b8bb113‐8576‐4b5a‐9e0c‐2bbcf9305d4b                   Address Redacted                      First Class Mail
8b8c93b4‐0bd7‐4f00‐840c‐b32bc18a2365                   Address Redacted                      First Class Mail
8b9287fe‐ba9c‐4d5c‐8483‐f02679ab0cbf                   Address Redacted                      First Class Mail
8b9952d1‐303a‐41c2‐9ad3‐25af4e33e6e4                   Address Redacted                      First Class Mail
8b99552a‐fb37‐4eab‐9041‐473ef8f9d80f                   Address Redacted                      First Class Mail
8b9d13e3‐1462‐4509‐a1d2‐cb79f6e8c7ce                   Address Redacted                      First Class Mail
8b9e9f74‐7fc5‐4930‐9775‐712127e2b4e6                   Address Redacted                      First Class Mail
8b9f1032‐e778‐4bb1‐aa7a‐f3f87e50baa9                   Address Redacted                      First Class Mail
8ba29f0d‐9823‐479b‐bcbb‐81fd4df68b48                   Address Redacted                      First Class Mail
8ba48f19‐ecff‐4107‐8212‐d04fb90ce338                   Address Redacted                      First Class Mail
8ba688cb‐7759‐44da‐b5ad‐1f5130cf04a9                   Address Redacted                      First Class Mail
8ba81be9‐a681‐4a2d‐a13d‐005ff38a9f85                   Address Redacted                      First Class Mail
8baaa750‐c4e7‐4c4a‐b96e‐c04a3dc0a029                   Address Redacted                      First Class Mail
8babce1c‐cedc‐48da‐97dd‐e0906292fb6c                   Address Redacted                      First Class Mail
8bad79ec‐2974‐4475‐9df1‐7e679040ae62                   Address Redacted                      First Class Mail
8badb299‐e01d‐4238‐85f7‐ef8b49db275a                   Address Redacted                      First Class Mail
8baefc30‐d0f8‐440d‐82f9‐8dac2d3ec972                   Address Redacted                      First Class Mail
8bafa00e‐b7df‐43d9‐baba‐80ef06179a11                   Address Redacted                      First Class Mail
8bb02d5c‐3702‐40d5‐bbad‐ca142c16a955                   Address Redacted                      First Class Mail
8bb0de15‐f9d1‐4d6d‐aab1‐014e7439fcff                   Address Redacted                      First Class Mail
8bb295d1‐eb3e‐45ad‐837c‐98f39d2d4303                   Address Redacted                      First Class Mail
8bb2b21b‐9447‐452a‐a4cd‐f3a940911526                   Address Redacted                      First Class Mail
8bb71d69‐f81a‐48e3‐95b8‐0046e8dc08ba                   Address Redacted                      First Class Mail
8bbe1bcb‐451f‐4b91‐a02c‐42fef047c32a                   Address Redacted                      First Class Mail
8bc0c8ca‐f8d4‐4c6f‐b6a0‐de0c6ed16620                   Address Redacted                      First Class Mail
8bc3bd82‐fb73‐426e‐8e22‐37f45826e95d                   Address Redacted                      First Class Mail
8bccc5cb‐9b91‐4ad9‐9952‐2f1955e0d353                   Address Redacted                      First Class Mail
8bcdd24c‐05ef‐451e‐bc5d‐ee7dce471596                   Address Redacted                      First Class Mail
8bd07f8b‐d74c‐4a5f‐bce5‐b5706917ba2c                   Address Redacted                      First Class Mail
8bd2cc25‐9b62‐4f2a‐a539‐892ca91f09e1                   Address Redacted                      First Class Mail
8bda018f‐657b‐41ca‐83fb‐bcacb5b4f2f8                   Address Redacted                      First Class Mail
8bddc92c‐5c7e‐421c‐bf6c‐edd4580e2ec1                   Address Redacted                      First Class Mail
8be0f0ef‐9af8‐466f‐9db3‐31bf5d8a956d                   Address Redacted                      First Class Mail
8be59966‐e327‐446b‐9b69‐34d9f235e93b                   Address Redacted                      First Class Mail
8be880c3‐f3c4‐4e31‐8210‐87cdffd8de1b                   Address Redacted                      First Class Mail




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                                                                 Service List


                               Name                                             Address                         Method of Service
8be965b8‐0740‐4f88‐a8ea‐ac0c9dbbfa3e                   Address Redacted                      First Class Mail
8bebd0f9‐564f‐49f9‐bcb4‐bea64431431f                   Address Redacted                      First Class Mail
8bed8b68‐72fd‐47f5‐ba88‐38be2b8341e8                   Address Redacted                      First Class Mail
8bf4e4ef‐bc60‐4251‐8e2d‐28ca1d00291b                   Address Redacted                      First Class Mail
8bf77a0a‐6cc9‐4a0e‐917a‐9108562e3414                   Address Redacted                      First Class Mail
8bfa7bfc‐162b‐494f‐b3a8‐4d8db8b91ce2                   Address Redacted                      First Class Mail
8bfc8ba7‐0793‐45bc‐bf6c‐04292fca65b6                   Address Redacted                      First Class Mail
8c0193e0‐e047‐4dfd‐9e41‐342b8882cbcb                   Address Redacted                      First Class Mail
8c031181‐6bfe‐4f15‐a9a9‐044f0587ce69                   Address Redacted                      First Class Mail
8c0428d4‐a4e1‐4cfc‐96d6‐5403ddf68ee5                   Address Redacted                      First Class Mail
8c08f35d‐0198‐479e‐a957‐ff321bd9c1d2                   Address Redacted                      First Class Mail
8c099fe8‐8aab‐493e‐848f‐d797949969ce                   Address Redacted                      First Class Mail
8c0bca18‐d621‐46e9‐8219‐dac443ed3750                   Address Redacted                      First Class Mail
8c0d06ed‐0785‐437e‐b5a7‐159e584914d1                   Address Redacted                      First Class Mail
8c0f902d‐6a78‐40bc‐80bb‐e20d58c522c0                   Address Redacted                      First Class Mail
8c131306‐6b76‐45f1‐95a3‐ba05eb3b79d6                   Address Redacted                      First Class Mail
8c13c713‐c47d‐4a36‐8cbb‐c0704fd63602                   Address Redacted                      First Class Mail
8c17c433‐323b‐4147‐aa5d‐9a65dbc83be1                   Address Redacted                      First Class Mail
8c194c31‐9ac5‐4d5f‐a2bd‐f833f077c18f                   Address Redacted                      First Class Mail
8c196ffb‐461f‐4850‐9fa7‐5176af098c39                   Address Redacted                      First Class Mail
8c1a8dac‐9885‐4a84‐a8a0‐0f91d5ef237d                   Address Redacted                      First Class Mail
8c1b9d72‐460b‐4802‐af55‐ce526fed362e                   Address Redacted                      First Class Mail
8c1d1b9b‐9577‐4abc‐85af‐306436056a63                   Address Redacted                      First Class Mail
8c1e16f3‐750b‐4ba5‐9b68‐936625b0e877                   Address Redacted                      First Class Mail
8c1fc956‐4797‐4295‐910e‐c6c55d3df34f                   Address Redacted                      First Class Mail
8c205aef‐311a‐4112‐b1be‐9e4c684afa87                   Address Redacted                      First Class Mail
8c20c15e‐1395‐4264‐a7cf‐12ecfbfc6831                   Address Redacted                      First Class Mail
8c21ba3b‐b95d‐4e70‐a3a1‐6f2d8f434054                   Address Redacted                      First Class Mail
8c230d61‐55ce‐48ae‐bdc9‐a6c340367d28                   Address Redacted                      First Class Mail
8c23436c‐0332‐421e‐b1b1‐b341349713ce                   Address Redacted                      First Class Mail
8c2721bd‐8bdc‐4b66‐93e0‐43d608c936ca                   Address Redacted                      First Class Mail
8c2f0548‐fad4‐4325‐b34e‐dc9080ceb2a6                   Address Redacted                      First Class Mail
8c2fe072‐6f4e‐410f‐9259‐dd45205db3fa                   Address Redacted                      First Class Mail
8c34d819‐ccbc‐4302‐86f2‐621cc8bca8ee                   Address Redacted                      First Class Mail
8c36eb1f‐be60‐4827‐828f‐0117d0aac0c2                   Address Redacted                      First Class Mail
8c384de8‐8025‐4519‐8739‐4b3f3d93cab0                   Address Redacted                      First Class Mail
8c397a54‐42cb‐4581‐a5a9‐079302c96579                   Address Redacted                      First Class Mail
8c3bdd10‐bbb5‐44e3‐aa8e‐7e47c41a5cab                   Address Redacted                      First Class Mail
8c3dd4f9‐2b3c‐400a‐803e‐655a44547274                   Address Redacted                      First Class Mail
8c3e7610‐8c8a‐420b‐aaea‐4e7275f1fc74                   Address Redacted                      First Class Mail
8c3fc8ba‐35fd‐46fc‐9f88‐fabc5ae54d7e                   Address Redacted                      First Class Mail
8c486917‐67c1‐4a64‐9c03‐4f6e0b0aee5e                   Address Redacted                      First Class Mail
8c4ce1fc‐f4c5‐4e89‐b9f7‐b881a029a6f9                   Address Redacted                      First Class Mail
8c511084‐3245‐492c‐a3da‐556a2bd4180b                   Address Redacted                      First Class Mail
8c518fb6‐5da9‐4d74‐bbf2‐1093bd122aad                   Address Redacted                      First Class Mail
8c51a058‐9da0‐43e7‐909e‐6c5c1a4a5c3f                   Address Redacted                      First Class Mail
8c51ec48‐282a‐4cf4‐9af1‐8ef01b6a9054                   Address Redacted                      First Class Mail
8c55743a‐be41‐4c29‐8d7e‐b432e774bdd3                   Address Redacted                      First Class Mail
8c56effa‐40de‐4a96‐bdc9‐6e4df430e1d8                   Address Redacted                      First Class Mail
8c572d9f‐1246‐4d68‐a8ff‐4e63c6da0faf                   Address Redacted                      First Class Mail
8c57be2d‐f263‐4d05‐810e‐c2c6d784445b                   Address Redacted                      First Class Mail
8c58eddc‐744c‐4178‐85a1‐d221ad11a56f                   Address Redacted                      First Class Mail
8c5ba132‐85ad‐4ae7‐bd62‐999a7d0f7504                   Address Redacted                      First Class Mail
8c5d3531‐404b‐43a1‐999e‐e868324b6c5c                   Address Redacted                      First Class Mail
8c5f6a85‐516c‐4ced‐9f71‐7b3416448844                   Address Redacted                      First Class Mail
8c608f61‐a6dd‐4b22‐bb82‐f9bb5fa729ee                   Address Redacted                      First Class Mail
8c63a313‐d548‐4e4b‐84c5‐7121a5801232                   Address Redacted                      First Class Mail
8c642809‐cfd4‐47a6‐9d21‐a6772752dfa7                   Address Redacted                      First Class Mail
8c683442‐5730‐428e‐a8c5‐6ef7f9809cdb                   Address Redacted                      First Class Mail
8c6b3d56‐71fa‐4e4f‐967a‐c375eb98e224                   Address Redacted                      First Class Mail
8c6f066d‐1e9f‐44b3‐9688‐30f23f0cddbb                   Address Redacted                      First Class Mail
8c70f50b‐f1e6‐4c3a‐ac59‐c30a634f30ba                   Address Redacted                      First Class Mail
8c728bd8‐b09a‐4c3a‐ab2c‐14ca75bacc09                   Address Redacted                      First Class Mail
8c74dc3e‐a9e0‐4422‐b8d7‐3339c9872cb1                   Address Redacted                      First Class Mail
8c7cd244‐9c43‐4b8d‐8afa‐6a899d7370ba                   Address Redacted                      First Class Mail
8c7d2e67‐89dc‐4220‐aad4‐47813c81a681                   Address Redacted                      First Class Mail
8c7e90e7‐2665‐48d0‐bf78‐2933e83a87bb                   Address Redacted                      First Class Mail
8c805834‐18b4‐466f‐8c6c‐06e74d54bde0                   Address Redacted                      First Class Mail
8c841381‐b99d‐4c03‐96d5‐c0d19235a7ab                   Address Redacted                      First Class Mail
8c8b19cf‐e761‐428f‐89a4‐345f3b36445c                   Address Redacted                      First Class Mail
8c8c8137‐cee3‐405f‐a3bb‐66c80487aa90                   Address Redacted                      First Class Mail
8c8f6ba8‐8f70‐4805‐a3f6‐4454b046e3b5                   Address Redacted                      First Class Mail




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                                                                Exhibit A
                                                                 Service List


                              Name                                              Address                         Method of Service
8c939dd9‐cf53‐48cc‐a2a3‐ce8c5cfc8b2d                   Address Redacted                      First Class Mail
8c97a85a‐1543‐4c92‐94d6‐99a226dd688d                   Address Redacted                      First Class Mail
8ca04d66‐6575‐46db‐9b75‐1d5b71bfa237                   Address Redacted                      First Class Mail
8ca105e0‐204c‐4f85‐9bcf‐523ae39fa9f3                   Address Redacted                      First Class Mail
8ca47ebf‐01bf‐47a3‐8292‐a6e96ba3644e                   Address Redacted                      First Class Mail
8ca51124‐19c5‐4785‐ba07‐bb12678cf616                   Address Redacted                      First Class Mail
8caaea28‐07bb‐4abb‐8cc4‐00fd1f0e9a6e                   Address Redacted                      First Class Mail
8caf3616‐c493‐4911‐a16a‐5af402200970                   Address Redacted                      First Class Mail
8caf6829‐01fa‐41dc‐8972‐0ab46c264cd2                   Address Redacted                      First Class Mail
8cb3d455‐6785‐46d7‐a7e6‐abb16d848b13                   Address Redacted                      First Class Mail
8cb4b20f‐f5bd‐4bc1‐a1f2‐d1fae49bbee2                   Address Redacted                      First Class Mail
8cb5f25e‐ea5c‐432e‐8e43‐24003716c4ab                   Address Redacted                      First Class Mail
8cb619f3‐30ed‐4194‐97c3‐2934f1930941                   Address Redacted                      First Class Mail
8cbd3aef‐9de9‐4800‐a4fb‐05d974574f48                   Address Redacted                      First Class Mail
8cbd63bb‐0b26‐42b3‐bef5‐5696f4a48686                   Address Redacted                      First Class Mail
8cbe6ee3‐a288‐4f8e‐97b0‐d206ba0a5f22                   Address Redacted                      First Class Mail
8cc1eca9‐53cb‐4324‐9e06‐a8e34f9787d3                   Address Redacted                      First Class Mail
8cc25f8e‐7a10‐4130‐a76b‐4badcfa94732                   Address Redacted                      First Class Mail
8ccad6bb‐da79‐4988‐9ace‐756c8b648019                   Address Redacted                      First Class Mail
8ccaded5‐ff71‐4913‐8d68‐d42eac595e11                   Address Redacted                      First Class Mail
8cd004f5‐fcd1‐4294‐8c9c‐91eb52d1b225                   Address Redacted                      First Class Mail
8cd17724‐e277‐4137‐a460‐8fab1e398801                   Address Redacted                      First Class Mail
8cd1cdc8‐f767‐4253‐9029‐a52dca29e038                   Address Redacted                      First Class Mail
8cd2e49f‐3d42‐4c5d‐9b79‐10b8d8645aa5                   Address Redacted                      First Class Mail
8cd97d36‐5e82‐48d0‐ada0‐d6522b8e8a60                   Address Redacted                      First Class Mail
8cdd383c‐5573‐477b‐802d‐514e1de135a8                   Address Redacted                      First Class Mail
8cdfe8f0‐426a‐441e‐9b94‐331a042db6cd                   Address Redacted                      First Class Mail
8ce0a8aa‐2814‐4716‐9e6b‐ac300320f7a2                   Address Redacted                      First Class Mail
8ce320d7‐35f6‐4582‐833f‐fbf7c4b6a221                   Address Redacted                      First Class Mail
8ce792cf‐27b9‐40cf‐8dcc‐a6b1ee8f70d5                   Address Redacted                      First Class Mail
8cec3d9a‐6506‐4778‐8b17‐5f27c6577e64                   Address Redacted                      First Class Mail
8cf027d9‐6424‐486d‐a083‐a962bb77b096                   Address Redacted                      First Class Mail
8cf0d6c7‐9987‐4ced‐bb8b‐5afb6d06d61c                   Address Redacted                      First Class Mail
8cf20d18‐d012‐45ba‐8ceb‐fcc7b56def8d                   Address Redacted                      First Class Mail
8cf4e303‐301a‐43da‐b8d1‐7777b4aac047                   Address Redacted                      First Class Mail
8cf4f371‐79b9‐4ba9‐9d26‐abee8a3b296a                   Address Redacted                      First Class Mail
8cf652d7‐b627‐49f8‐b934‐77a7f65717a3                   Address Redacted                      First Class Mail
8cf679d4‐b376‐4b2b‐abf2‐2b1a6b75f91b                   Address Redacted                      First Class Mail
8cf67ec4‐b82a‐4c83‐be93‐7b769f540812                   Address Redacted                      First Class Mail
8cf93ff0‐1db1‐4c14‐abc8‐b0cdf402908d                   Address Redacted                      First Class Mail
8cfa0e50‐9ff3‐4069‐ade8‐5cf6c36f6eee                   Address Redacted                      First Class Mail
8cff15f9‐db33‐4980‐9133‐37838eeb1b69                   Address Redacted                      First Class Mail
8d012441‐4d91‐4f78‐b08e‐eb9d07838909                   Address Redacted                      First Class Mail
8d01c636‐6b15‐4375‐949c‐0f9543ac0801                   Address Redacted                      First Class Mail
8d01db89‐87ee‐49be‐bb17‐c7ac68114f50                   Address Redacted                      First Class Mail
8d034c34‐36f2‐46ce‐bfb0‐468b23ce57f9                   Address Redacted                      First Class Mail
8d042e27‐22a0‐4aac‐81cf‐5f91705ea315                   Address Redacted                      First Class Mail
8d05ba0c‐aec8‐432d‐9a18‐6356993cd85d                   Address Redacted                      First Class Mail
8d074dde‐9dee‐48f0‐8556‐77b87f31d04e                   Address Redacted                      First Class Mail
8d0b6206‐0041‐4015‐8bfc‐bc242ccfdc66                   Address Redacted                      First Class Mail
8d0e78e6‐161b‐4dcb‐9f85‐5c457f29411d                   Address Redacted                      First Class Mail
8d1252f4‐7b3e‐4e01‐a2cb‐dfa69b0c2bfc                   Address Redacted                      First Class Mail
8d125653‐2f40‐456e‐bbd3‐be57d81cc655                   Address Redacted                      First Class Mail
8d130a36‐f97d‐4016‐815a‐e4dc4ae573cc                   Address Redacted                      First Class Mail
8d15667a‐9aa8‐4bf6‐9587‐9bc9789fb73f                   Address Redacted                      First Class Mail
8d182510‐ca94‐4f30‐b4a4‐c4ba15ecabf0                   Address Redacted                      First Class Mail
8d18a533‐5432‐4584‐be3a‐98d81728326a                   Address Redacted                      First Class Mail
8d1b1aae‐b7f6‐425d‐91c1‐76a8b2491a63                   Address Redacted                      First Class Mail
8d1c80fc‐040f‐4e7d‐ac8c‐506e243b79d1                   Address Redacted                      First Class Mail
8d1da0b3‐5a0d‐498f‐8819‐7b92f1b5135e                   Address Redacted                      First Class Mail
8d202063‐4828‐432b‐b488‐1c35a25a54a7                   Address Redacted                      First Class Mail
8d23d58f‐9bab‐46ef‐8a9e‐70e09cdda434                   Address Redacted                      First Class Mail
8d28e928‐7d3f‐4018‐aa0c‐60c5b24f03e1                   Address Redacted                      First Class Mail
8d2b8a17‐f428‐42ea‐a402‐ad6098334034                   Address Redacted                      First Class Mail
8d2c38cb‐68a1‐4603‐b97e‐71b1619cb648                   Address Redacted                      First Class Mail
8d34dc37‐ec21‐454d‐8fbd‐ea815d5fae75                   Address Redacted                      First Class Mail
8d3718b4‐bd8e‐4923‐9943‐120225f7f5c1                   Address Redacted                      First Class Mail
8d413d86‐f46a‐494b‐844d‐2d2d8df95ae8                   Address Redacted                      First Class Mail
8d41d161‐e186‐4232‐bacd‐d918225ef463                   Address Redacted                      First Class Mail
8d4831b0‐e439‐4fe9‐a944‐fe8a19ae2b99                   Address Redacted                      First Class Mail
8d4870ba‐1eb5‐4c9e‐8170‐e4b1130441ae                   Address Redacted                      First Class Mail
8d48b8d7‐daaa‐4335‐91aa‐e2d25990d5e3                   Address Redacted                      First Class Mail




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                                                                 Service List


                              Name                                              Address                         Method of Service
8d4d72bd‐c23f‐4f50‐92f8‐541151c9f639                   Address Redacted                      First Class Mail
8d4f5f11‐5d2a‐493b‐8fea‐8316638c6e0f                   Address Redacted                      First Class Mail
8d4f91e3‐4a78‐4385‐89d8‐47c36364c4a5                   Address Redacted                      First Class Mail
8d4fd2ad‐a645‐4398‐a317‐ba0ff8f26911                   Address Redacted                      First Class Mail
8d53efec‐b0b1‐4c3c‐aaaf‐00eae542978f                   Address Redacted                      First Class Mail
8d59e76a‐53e2‐4157‐99e4‐285cc576d34a                   Address Redacted                      First Class Mail
8d60a8e6‐0c6d‐4217‐97de‐5eabc6f61637                   Address Redacted                      First Class Mail
8d647781‐9b2e‐45da‐9e96‐387573f35202                   Address Redacted                      First Class Mail
8d659c9e‐36a5‐4766‐94a7‐083ec61d6a2b                   Address Redacted                      First Class Mail
8d6c9ec4‐2098‐4432‐818e‐ecb915dc0ccc                   Address Redacted                      First Class Mail
8d6e53c7‐dcd9‐4a25‐9d84‐fa484d91c073                   Address Redacted                      First Class Mail
8d6eeed8‐afc5‐49c9‐8e83‐7381ffbee6b6                   Address Redacted                      First Class Mail
8d6f25c9‐0da7‐4816‐bd2c‐76f3e27466ad                   Address Redacted                      First Class Mail
8d6fc260‐879b‐4df8‐babe‐a69f9f518e01                   Address Redacted                      First Class Mail
8d6fc355‐06bd‐4d5f‐9669‐83c7fbc98532                   Address Redacted                      First Class Mail
8d74fa0b‐fb8d‐4fa2‐b1f2‐e58aa88995a5                   Address Redacted                      First Class Mail
8d768b27‐cf77‐421b‐9eb5‐27e983d28879                   Address Redacted                      First Class Mail
8d78a01f‐f4d5‐433c‐9bed‐12b9e1397352                   Address Redacted                      First Class Mail
8d78abe9‐84b7‐499e‐98cb‐58b52566b461                   Address Redacted                      First Class Mail
8d7a5da3‐cd4a‐4d6b‐b963‐e0e036f316e8                   Address Redacted                      First Class Mail
8d7b63b8‐f860‐4dd5‐bf95‐bb83c5890f88                   Address Redacted                      First Class Mail
8d87425c‐60cc‐4376‐8976‐69b7f5422e6b                   Address Redacted                      First Class Mail
8d89f950‐140f‐4504‐b709‐80d163029679                   Address Redacted                      First Class Mail
8d8dcf90‐5fb0‐4298‐821e‐944aa7ee47aa                   Address Redacted                      First Class Mail
8d91b1a7‐3d06‐4df0‐8d72‐c987977af60f                   Address Redacted                      First Class Mail
8d9567f6‐6884‐4a6d‐adda‐eb067c8ec3b8                   Address Redacted                      First Class Mail
8d95d63e‐cab6‐4426‐b578‐1d9e18641601                   Address Redacted                      First Class Mail
8d9ab582‐d303‐44c9‐8829‐d9285900cd75                   Address Redacted                      First Class Mail
8d9be21d‐2a57‐4164‐8cae‐ec485130c908                   Address Redacted                      First Class Mail
8d9d9295‐63ce‐4afd‐838d‐6fef36b0df48                   Address Redacted                      First Class Mail
8d9dadd5‐3a67‐491f‐9299‐ab66271d500d                   Address Redacted                      First Class Mail
8d9f405a‐d1c8‐46df‐813d‐7995cee3c109                   Address Redacted                      First Class Mail
8da1a5a3‐8f44‐466b‐a02f‐e6403466fcef                   Address Redacted                      First Class Mail
8da1c21e‐3d42‐45d3‐abfd‐b0111eae8a40                   Address Redacted                      First Class Mail
8da3e739‐6e78‐48e0‐a77f‐b1c508fbb295                   Address Redacted                      First Class Mail
8da42738‐06ae‐4c01‐a3de‐780ab03de88a                   Address Redacted                      First Class Mail
8da7b974‐3b85‐4994‐ab01‐d7562e287fc6                   Address Redacted                      First Class Mail
8daa7cf5‐2a23‐444a‐9daf‐0bb7bc2047e5                   Address Redacted                      First Class Mail
8dac8b46‐ecd0‐4171‐b157‐8f3d965d9dc7                   Address Redacted                      First Class Mail
8dbb2bc8‐b156‐43ee‐870b‐78d64a914c5d                   Address Redacted                      First Class Mail
8dbdcf8c‐6591‐4196‐8ff0‐fd83262a1685                   Address Redacted                      First Class Mail
8dc0efad‐206f‐4322‐b1c4‐a99f6153beac                   Address Redacted                      First Class Mail
8dc4b4d1‐a88b‐480f‐8670‐1b1df52d0f14                   Address Redacted                      First Class Mail
8dc85a37‐4118‐4544‐a33f‐6e90da3d496f                   Address Redacted                      First Class Mail
8dcb465b‐3d48‐4fa7‐8017‐814f18df94f5                   Address Redacted                      First Class Mail
8dcf1aac‐6c18‐4adb‐b2aa‐00294bceacfd                   Address Redacted                      First Class Mail
8dd0f7cb‐8a01‐4d3d‐9f83‐eaedee607b9a                   Address Redacted                      First Class Mail
8dd235df‐63e4‐4c18‐9139‐f70bb9e68164                   Address Redacted                      First Class Mail
8dd3b7cb‐d303‐4a16‐8195‐975a474453e5                   Address Redacted                      First Class Mail
8dd3c870‐74a7‐4738‐8c7f‐034ec270de47                   Address Redacted                      First Class Mail
8dd5a3d3‐33c1‐4cac‐97c8‐62aa6e2a9342                   Address Redacted                      First Class Mail
8dda5d1a‐81c2‐4a7b‐95f6‐87f6b5cc2535                   Address Redacted                      First Class Mail
8de4815e‐cbcb‐438d‐ab50‐447d106c67c0                   Address Redacted                      First Class Mail
8de53905‐aef5‐48fb‐8257‐f826b5656b71                   Address Redacted                      First Class Mail
8de5cf37‐459f‐4b37‐b37d‐4151e8637b70                   Address Redacted                      First Class Mail
8de6b8e9‐aad8‐44f6‐a6f2‐b93268799799                   Address Redacted                      First Class Mail
8de6f1ee‐d8f8‐42d8‐af9d‐99ce68065ee9                   Address Redacted                      First Class Mail
8de7222b‐ab1e‐4511‐a500‐81b31bbfa2a2                   Address Redacted                      First Class Mail
8de898a4‐8d71‐4c47‐ba57‐403daa61bbb5                   Address Redacted                      First Class Mail
8dea3b41‐25fc‐4d04‐b75b‐0b993ef65b62                   Address Redacted                      First Class Mail
8deab5e6‐5a23‐43e8‐b4c3‐0b2100f5cbdc                   Address Redacted                      First Class Mail
8dead033‐65de‐4177‐b815‐ea6fc65c4e30                   Address Redacted                      First Class Mail
8decf514‐2b30‐4d24‐9779‐53bb24893b0f                   Address Redacted                      First Class Mail
8decfe2f‐b1e8‐415d‐b63f‐b2d25c73124e                   Address Redacted                      First Class Mail
8ded0716‐1ec9‐4a4b‐954b‐cfcfd4f30814                   Address Redacted                      First Class Mail
8dee492a‐9dac‐4ba4‐9820‐b6d8da49671b                   Address Redacted                      First Class Mail
8deebc9b‐8d5c‐4239‐97f3‐d762d45f6c2a                   Address Redacted                      First Class Mail
8df20d42‐3d71‐4a7b‐8297‐eeac76e19ebc                   Address Redacted                      First Class Mail
8df40060‐5844‐4b08‐b856‐f3ac6fe0fe21                   Address Redacted                      First Class Mail
8df42297‐c0bf‐4367‐b11e‐48684d0dffe3                   Address Redacted                      First Class Mail
8df815d3‐43d3‐49af‐b041‐61470fa1ebb2                   Address Redacted                      First Class Mail
8dfa3d16‐e5f5‐404f‐898a‐fabccb3f6431                   Address Redacted                      First Class Mail




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                                                                 Service List


                              Name                                              Address                         Method of Service
8e022f27‐93bd‐4c8c‐ba49‐88964eea6608                   Address Redacted                      First Class Mail
8e06388c‐8655‐4b78‐a1da‐088fe5dd9442                   Address Redacted                      First Class Mail
8e06aef2‐aaf1‐44d3‐990d‐f7a273b7cc03                   Address Redacted                      First Class Mail
8e0b7145‐8f1c‐4948‐8067‐8b19e2c31732                   Address Redacted                      First Class Mail
8e0e530a‐a7cc‐486f‐8daa‐770b21a97f1a                   Address Redacted                      First Class Mail
8e157312‐6a0c‐4301‐8786‐b241b7ebf264                   Address Redacted                      First Class Mail
8e17abae‐42a0‐4786‐9254‐df9c53d6ba3b                   Address Redacted                      First Class Mail
8e1a50db‐be1a‐4c68‐8272‐493a37a91c8e                   Address Redacted                      First Class Mail
8e212031‐98b3‐416c‐9d24‐1232657ae87a                   Address Redacted                      First Class Mail
8e223b8c‐25a0‐408d‐bc1b‐6c11bda48de9                   Address Redacted                      First Class Mail
8e24d594‐bfae‐4686‐b02d‐5807b665ce6f                   Address Redacted                      First Class Mail
8e2757e9‐b005‐4d5f‐9503‐25777d98862d                   Address Redacted                      First Class Mail
8e29cabd‐648d‐4d54‐9448‐0b2415284e10                   Address Redacted                      First Class Mail
8e2b8b44‐dac5‐4e0c‐9f60‐73e725d7c739                   Address Redacted                      First Class Mail
8e2d9c0c‐bff3‐4b13‐a0c8‐ee52e3748073                   Address Redacted                      First Class Mail
8e2e295e‐7f2e‐4138‐8bf3‐064457cca8c0                   Address Redacted                      First Class Mail
8e2ed1ff‐482a‐4e4a‐9210‐11f45b31fe33                   Address Redacted                      First Class Mail
8e31b98d‐93b6‐4a7e‐a1e3‐7eb4f6d3c7ec                   Address Redacted                      First Class Mail
8e331540‐19e5‐445d‐9d21‐3244239b18a4                   Address Redacted                      First Class Mail
8e34a261‐8fa9‐4a85‐9287‐19519757450b                   Address Redacted                      First Class Mail
8e367f53‐06c6‐4acb‐ab03‐3e051f63dd07                   Address Redacted                      First Class Mail
8e38a622‐c357‐4292‐8f62‐3540c8b65baf                   Address Redacted                      First Class Mail
8e3c9370‐c99e‐49df‐8424‐9bc39f90eb60                   Address Redacted                      First Class Mail
8e3d4d33‐916e‐4517‐b4fa‐a8001c380fa2                   Address Redacted                      First Class Mail
8e3fc31e‐5bc9‐4978‐827c‐a6ea3c0bc8f0                   Address Redacted                      First Class Mail
8e414a3d‐6633‐4834‐875d‐5e46e9a92f94                   Address Redacted                      First Class Mail
8e41e697‐8c35‐4002‐953e‐0faaa35c2f24                   Address Redacted                      First Class Mail
8e43d42f‐f82a‐4876‐9373‐993efe096f73                   Address Redacted                      First Class Mail
8e45fcf2‐1601‐4bf2‐99da‐54c96e68b569                   Address Redacted                      First Class Mail
8e4aeba6‐790e‐4918‐b5f8‐67e2c389631e                   Address Redacted                      First Class Mail
8e51779e‐1094‐4a78‐b5a5‐0367d8e5d997                   Address Redacted                      First Class Mail
8e539676‐4eeb‐4cd3‐945f‐638d2aa8e6be                   Address Redacted                      First Class Mail
8e544c1f‐af46‐40ab‐b0b6‐9a000f633742                   Address Redacted                      First Class Mail
8e571185‐5b76‐47df‐bae3‐4cce5b48281f                   Address Redacted                      First Class Mail
8e5cd2c4‐1c37‐43c1‐baf9‐20fdd22309e8                   Address Redacted                      First Class Mail
8e6155f6‐4f54‐4077‐a458‐659f48d58e22                   Address Redacted                      First Class Mail
8e61ab00‐95f9‐4312‐ba81‐1bd6390a65cd                   Address Redacted                      First Class Mail
8e6376a6‐e8de‐4b50‐9822‐a2203047c8f6                   Address Redacted                      First Class Mail
8e64bedf‐a96f‐4c81‐8cba‐188463aeeb42                   Address Redacted                      First Class Mail
8e6625f0‐b4f4‐4304‐9740‐3b3eb16b271f                   Address Redacted                      First Class Mail
8e6669b1‐36d8‐46b4‐8311‐10465178eda8                   Address Redacted                      First Class Mail
8e69c195‐2cad‐4cb6‐b2d2‐171ae4c1d6b1                   Address Redacted                      First Class Mail
8e6a7de4‐7593‐48f6‐9a1f‐2945a466a58c                   Address Redacted                      First Class Mail
8e6cf2e4‐c80d‐45a0‐82a5‐7874ab3edcee                   Address Redacted                      First Class Mail
8e6f2f36‐3355‐425c‐9d75‐7ccb991799fc                   Address Redacted                      First Class Mail
8e6f6330‐2a2f‐4a88‐9341‐1f09386510c9                   Address Redacted                      First Class Mail
8e71f791‐4518‐4902‐a48e‐0d072e8b3e40                   Address Redacted                      First Class Mail
8e75f10c‐f4a2‐4fb2‐8862‐e5b5e371ea7a                   Address Redacted                      First Class Mail
8e77ed19‐3ea4‐43f6‐8704‐167f89f1659a                   Address Redacted                      First Class Mail
8e7c7c6e‐b044‐494c‐9d2f‐9333bad3d3f0                   Address Redacted                      First Class Mail
8e7e451e‐5210‐47cc‐891e‐e85d279ee7d5                   Address Redacted                      First Class Mail
8e7e4f9b‐0efc‐43e8‐9aa2‐3a8cdf9420d0                   Address Redacted                      First Class Mail
8e806edd‐7e76‐4165‐9f12‐dc00319d41d4                   Address Redacted                      First Class Mail
8e8157bf‐71aa‐40f5‐838e‐39cab3c40312                   Address Redacted                      First Class Mail
8e86e439‐4240‐4f23‐8ec1‐6236fe21d295                   Address Redacted                      First Class Mail
8e872ad4‐8872‐4402‐829b‐920e5e23b87d                   Address Redacted                      First Class Mail
8e8b76cd‐6b14‐4b8b‐9899‐f9442c9dde18                   Address Redacted                      First Class Mail
8e9015ee‐0321‐4f70‐85de‐b7ac9732193c                   Address Redacted                      First Class Mail
8e9431b2‐5806‐4b5f‐a2cb‐6be2ce749fa6                   Address Redacted                      First Class Mail
8e9778ef‐bbee‐43ce‐b131‐8cb1d2fca0d8                   Address Redacted                      First Class Mail
8e993059‐855f‐4cc3‐845d‐ea25072459ae                   Address Redacted                      First Class Mail
8e9bd488‐e85d‐4ba4‐8e58‐28130a3e6296                   Address Redacted                      First Class Mail
8ea2d7bf‐c3f4‐4e61‐82d8‐887c006cc3c9                   Address Redacted                      First Class Mail
8ea3de45‐fe65‐4f1d‐8698‐6b45c78bb69d                   Address Redacted                      First Class Mail
8ea7a417‐9fb7‐4b45‐ba74‐4e20d3dac573                   Address Redacted                      First Class Mail
8ea8762a‐6f8b‐45c5‐aca4‐ca1f44492a40                   Address Redacted                      First Class Mail
8eab1a99‐13b6‐4a5a‐8d7a‐bc7c68a2b25c                   Address Redacted                      First Class Mail
8eac5aba‐e25c‐4231‐9b6e‐876d915d3bb7                   Address Redacted                      First Class Mail
8ead5201‐2419‐4642‐9343‐755c741e8aeb                   Address Redacted                      First Class Mail
8eaef592‐d95e‐4780‐bbd5‐1d9d078b100d                   Address Redacted                      First Class Mail
8eb0fcc0‐f1fd‐416b‐b218‐854fb1d5cdf0                   Address Redacted                      First Class Mail
8eb2c15b‐f826‐401a‐bb08‐43c4fe4e608d                   Address Redacted                      First Class Mail




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                                                                Exhibit A
                                                                 Service List


                               Name                                             Address                         Method of Service
8eb4db20‐ff43‐4b05‐8a10‐9b31e5b06364                   Address Redacted                      First Class Mail
8eb9e406‐1b4c‐4aed‐bad7‐174aa8888899                   Address Redacted                      First Class Mail
8ebd074a‐4ba7‐4417‐b545‐a7b4754318ee                   Address Redacted                      First Class Mail
8ebd1623‐8057‐4874‐beb3‐e5a35e6dc3ea                   Address Redacted                      First Class Mail
8ebdfa5e‐8317‐43cb‐b8b9‐b17427b3d3ad                   Address Redacted                      First Class Mail
8ec18d2c‐1972‐4f82‐8659‐cad14cf0d420                   Address Redacted                      First Class Mail
8ec6263f‐8a2f‐425b‐98ee‐6e37e9ee183a                   Address Redacted                      First Class Mail
8ec63783‐9d78‐4561‐aa30‐c1037fb892fe                   Address Redacted                      First Class Mail
8ec9692a‐d449‐481a‐93b3‐231878e6a8d9                   Address Redacted                      First Class Mail
8ec98b1d‐f9cd‐4773‐afb3‐c68bd17328c6                   Address Redacted                      First Class Mail
8eccc3ee‐fc09‐4d6c‐b675‐e42d4a00d91e                   Address Redacted                      First Class Mail
8ecdb37b‐195f‐450a‐8b83‐af6a35bc85a4                   Address Redacted                      First Class Mail
8ed0777b‐9ac8‐4a41‐a385‐e4612aa622a6                   Address Redacted                      First Class Mail
8ed8cb2d‐25c8‐4ab7‐8a79‐f7f8d71e9388                   Address Redacted                      First Class Mail
8ed9a385‐e1ef‐4f95‐bf89‐d8241a6e357b                   Address Redacted                      First Class Mail
8edb611e‐e5bb‐467f‐94ef‐fe72e78aa111                   Address Redacted                      First Class Mail
8edbc522‐dc24‐442b‐8b90‐ac3cb1d8684c                   Address Redacted                      First Class Mail
8edefa58‐56e5‐467e‐80b6‐a894a3c823ee                   Address Redacted                      First Class Mail
8edefc8e‐a506‐4171‐8d01‐c0a0f27b6a08                   Address Redacted                      First Class Mail
8ee48579‐ece2‐433b‐9f11‐ff8a9e06e19b                   Address Redacted                      First Class Mail
8ee8d5c7‐03fb‐4173‐bfd7‐0e450086610c                   Address Redacted                      First Class Mail
8ee9b7c0‐1cc8‐4862‐9a2a‐bd48ecd6707f                   Address Redacted                      First Class Mail
8ee9ee20‐37d8‐41b8‐8fda‐4c44905a60a8                   Address Redacted                      First Class Mail
8eea9cc5‐6d24‐4f25‐b0b2‐7c8e6e6208e8                   Address Redacted                      First Class Mail
8ef125ac‐10bd‐4a3a‐a150‐ddd4909dc353                   Address Redacted                      First Class Mail
8ef1e04c‐cd5e‐41a6‐856a‐0d8dd2b1795f                   Address Redacted                      First Class Mail
8ef333b3‐aeba‐42d5‐b407‐891ec1fbeadc                   Address Redacted                      First Class Mail
8ef4c373‐aa4f‐489b‐84e3‐427ea612ba1e                   Address Redacted                      First Class Mail
8efdcb2c‐a7d9‐4523‐b5ef‐fc657e4bb6be                   Address Redacted                      First Class Mail
8efe22ea‐e7ad‐4e7e‐8dc0‐150bd6765469                   Address Redacted                      First Class Mail
8f05b73e‐0b0a‐4171‐aeeb‐6a647fa561e4                   Address Redacted                      First Class Mail
8f072061‐0e97‐4c2b‐944d‐c4c910dbb0fa                   Address Redacted                      First Class Mail
8f11ba1a‐17bc‐463a‐82c9‐fa11f0382ef7                   Address Redacted                      First Class Mail
8f133cf5‐1408‐4489‐99a8‐cc2ef716f1f5                   Address Redacted                      First Class Mail
8f148bae‐28e5‐40ca‐b7cc‐55e86c99ec20                   Address Redacted                      First Class Mail
8f18c0c8‐0bba‐48b3‐adee‐2034f8e4837d                   Address Redacted                      First Class Mail
8f1ed59b‐0232‐43ee‐9473‐5e71e7ec1890                   Address Redacted                      First Class Mail
8f1f4360‐df08‐4af8‐b800‐a6edefa05c5c                   Address Redacted                      First Class Mail
8f1fc73c‐c8ef‐4415‐a98f‐9b16aae6fbb6                   Address Redacted                      First Class Mail
8f232f07‐4d5f‐436d‐92bb‐ae8d72bf302f                   Address Redacted                      First Class Mail
8f235aa8‐c511‐4732‐b47e‐cb2efa61eea5                   Address Redacted                      First Class Mail
8f29fdad‐1136‐48e8‐9c93‐11872e091500                   Address Redacted                      First Class Mail
8f346196‐24fc‐4151‐a31a‐df75d0bb961b                   Address Redacted                      First Class Mail
8f34f61a‐5d1d‐4a9f‐9204‐237171cb5361                   Address Redacted                      First Class Mail
8f393a20‐4248‐428c‐8d89‐f0c4269d65a4                   Address Redacted                      First Class Mail
8f48cde8‐7091‐406e‐b64e‐05f871aa91cd                   Address Redacted                      First Class Mail
8f53264d‐c207‐4d5b‐a975‐1501319cee22                   Address Redacted                      First Class Mail
8f537d62‐a6f4‐4dd4‐9287‐cef8b6eef1b7                   Address Redacted                      First Class Mail
8f541b93‐1385‐4ab1‐bdc8‐3b082d13ac45                   Address Redacted                      First Class Mail
8f593b45‐ed34‐4ba8‐a0c3‐c16439574847                   Address Redacted                      First Class Mail
8f5b9c12‐00ff‐4f54‐8a02‐fc983a8d5e38                   Address Redacted                      First Class Mail
8f5fa5f2‐459d‐48b1‐9af8‐a07c33ed7b39                   Address Redacted                      First Class Mail
8f68414d‐6ab1‐46cd‐b37e‐3bbb08f77b9a                   Address Redacted                      First Class Mail
8f6a63a6‐d0c6‐4c1e‐9a0d‐df602441b58e                   Address Redacted                      First Class Mail
8f6c6356‐2e66‐4f77‐9771‐bdfe7204cbad                   Address Redacted                      First Class Mail
8f71c98f‐19a7‐4816‐8965‐32d25d8f07fc                   Address Redacted                      First Class Mail
8f7dfa2a‐31ec‐4289‐bd62‐855d35dba9c2                   Address Redacted                      First Class Mail
8f80f285‐4f65‐445d‐860a‐bb9a1d6b2fca                   Address Redacted                      First Class Mail
8f81c3ba‐7af6‐4092‐b082‐91efdf07f386                   Address Redacted                      First Class Mail
8f83fe60‐4ff7‐4a42‐9bfd‐862fbbfd7b88                   Address Redacted                      First Class Mail
8f84a86f‐5e11‐48c1‐aa2c‐55290a8a805d                   Address Redacted                      First Class Mail
8f85fe4c‐1208‐48ea‐bd70‐52fd9be8376f                   Address Redacted                      First Class Mail
8f898179‐4b7a‐4d3c‐a348‐8fbb58258cbf                   Address Redacted                      First Class Mail
8f8aefb9‐23cc‐4a2f‐9935‐caa0c3b1378d                   Address Redacted                      First Class Mail
8f8ca0e6‐6b99‐49fe‐ab80‐bcbd40740ad2                   Address Redacted                      First Class Mail
8f8e03af‐4246‐4839‐a27c‐d57c3346fd10                   Address Redacted                      First Class Mail
8f8e54df‐bc8b‐49f2‐8761‐ce10b3fdddcb                   Address Redacted                      First Class Mail
8f8ee3a9‐074f‐4b2b‐b741‐8d79f42238fd                   Address Redacted                      First Class Mail
8f925201‐8807‐4bac‐b730‐de3c11f72c44                   Address Redacted                      First Class Mail
8f930566‐4eac‐4ab2‐9f6f‐7fdad73c4222                   Address Redacted                      First Class Mail
8f95712a‐31e0‐4ad8‐9686‐9cc47a01d26a                   Address Redacted                      First Class Mail
8f95de11‐dcc2‐49f1‐b3e5‐8639db4f7f72                   Address Redacted                      First Class Mail




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                                                                 Service List


                               Name                                             Address                         Method of Service
8f97150d‐7bed‐4bc9‐a836‐6f7293a25a4b                   Address Redacted                      First Class Mail
8f97c7c9‐b806‐4942‐ab9a‐6f9e09e1e6e5                   Address Redacted                      First Class Mail
8f98abe5‐8e26‐4a64‐a5b6‐517eccfca8c9                   Address Redacted                      First Class Mail
8f9a2912‐4c45‐4a9a‐a632‐8159be00d5aa                   Address Redacted                      First Class Mail
8f9f1679‐3397‐4578‐bb59‐f3af670e9dd6                   Address Redacted                      First Class Mail
8fa23533‐df82‐4dce‐b2cc‐9be02ac00398                   Address Redacted                      First Class Mail
8fa983ed‐11bd‐497c‐96ab‐17a0802e5dd9                   Address Redacted                      First Class Mail
8faacbc0‐f822‐45d9‐9307‐05c9304a1561                   Address Redacted                      First Class Mail
8faae794‐f414‐4ff7‐843b‐715a152dc6db                   Address Redacted                      First Class Mail
8facce8a‐1b1f‐4a18‐9411‐f60ec66d2ea1                   Address Redacted                      First Class Mail
8fad944c‐abc1‐4db3‐a5d1‐f945afcc4ebe                   Address Redacted                      First Class Mail
8fafe7e8‐ee9e‐4067‐bb9d‐ec07387b0585                   Address Redacted                      First Class Mail
8fb0ff9e‐fb14‐4592‐930a‐f578e04bf0cc                   Address Redacted                      First Class Mail
8fb4bfaa‐f910‐4a52‐a0ce‐80469801682b                   Address Redacted                      First Class Mail
8fb542e3‐eab0‐4184‐9512‐0849f8934e80                   Address Redacted                      First Class Mail
8fb89f29‐be92‐4f94‐a946‐88c04a599104                   Address Redacted                      First Class Mail
8fba3d4d‐f0c2‐40d4‐8e59‐9d8b266683bb                   Address Redacted                      First Class Mail
8fc1a4b4‐0856‐4e41‐99e4‐c0db4a736b40                   Address Redacted                      First Class Mail
8fc1c214‐5c9c‐4073‐acd4‐997966490833                   Address Redacted                      First Class Mail
8fc63c6a‐9684‐4086‐9d0a‐118e4d65d989                   Address Redacted                      First Class Mail
8fc6451d‐4dea‐47b8‐ba1a‐c617cd62a5b9                   Address Redacted                      First Class Mail
8fc75af7‐c95f‐4613‐ac19‐59ece87795ed                   Address Redacted                      First Class Mail
8fc9091e‐44db‐41ba‐bafc‐7328a51b1f6d                   Address Redacted                      First Class Mail
8fc9e8da‐910b‐432e‐8979‐d730bf330430                   Address Redacted                      First Class Mail
8fca56d1‐9ea9‐4d2a‐9592‐05d41ba51ae8                   Address Redacted                      First Class Mail
8fcba56a‐7fd8‐475c‐8042‐80059ea5f0e7                   Address Redacted                      First Class Mail
8fcc7922‐b0b5‐40fc‐8787‐9540e7761b8a                   Address Redacted                      First Class Mail
8fd49043‐55a6‐4c21‐9a03‐01d0d0737180                   Address Redacted                      First Class Mail
8fd5a92b‐32c9‐48d4‐a5cd‐00fb54cf3d01                   Address Redacted                      First Class Mail
8fd9b4fe‐ce8b‐4c6e‐a1be‐d1b67627982c                   Address Redacted                      First Class Mail
8fdb8711‐d4ac‐41a5‐90ee‐81ecd7679e71                   Address Redacted                      First Class Mail
8fde12eb‐6071‐4e93‐86de‐744e7f2aed78                   Address Redacted                      First Class Mail
8fe3c083‐c402‐41cd‐b70e‐44ce0f273daf                   Address Redacted                      First Class Mail
8fe988c2‐1d61‐4ed0‐b70b‐d7d7287babe7                   Address Redacted                      First Class Mail
8fe9d7ec‐438e‐48a5‐9f5b‐5272f3930e9a                   Address Redacted                      First Class Mail
8fea9ba4‐1c16‐44ca‐9b11‐89cf9785ca6e                   Address Redacted                      First Class Mail
8feb6466‐33b8‐4b4f‐bc00‐1506d169ab4a                   Address Redacted                      First Class Mail
8fecd495‐e4fb‐483c‐bd97‐444d9a45e4e4                   Address Redacted                      First Class Mail
8fed6e82‐bc17‐4f0e‐899a‐cc99941499a0                   Address Redacted                      First Class Mail
8fefbc02‐e7e1‐4c51‐ba16‐54a65afb38f7                   Address Redacted                      First Class Mail
8ff06bae‐4c91‐4518‐8432‐c59a66d08a7c                   Address Redacted                      First Class Mail
8ff3a406‐cc98‐498c‐bf8a‐6d09b687fe8f                   Address Redacted                      First Class Mail
8ff3e431‐1db6‐43bc‐80f1‐aeb7ed76cf2b                   Address Redacted                      First Class Mail
8ff423f7‐a431‐4847‐a2ae‐f7a652841e8c                   Address Redacted                      First Class Mail
8ff54b66‐1b3a‐4db9‐9098‐e563a9fc44d9                   Address Redacted                      First Class Mail
8ff9436f‐cf9d‐45b4‐bf86‐ccbe71ac0bd5                   Address Redacted                      First Class Mail
8fff4f24‐c8ca‐4c6c‐b80c‐8ddcecb0fb25                   Address Redacted                      First Class Mail
8fff5de2‐c440‐4df7‐bc3f‐e9c1ceea0ff3                   Address Redacted                      First Class Mail
8fff6818‐a2fc‐4fc9‐b7ba‐83a58a211939                   Address Redacted                      First Class Mail
8fff743f‐27ba‐4a92‐b56e‐69d9447f8344                   Address Redacted                      First Class Mail
9000fcbe‐88ef‐47dc‐b512‐3c18f877b915                   Address Redacted                      First Class Mail
90021c9b‐ce16‐4d18‐a762‐d0d459e4d925                   Address Redacted                      First Class Mail
900e701f‐80c1‐4194‐9168‐0dcc0a9dc66e                   Address Redacted                      First Class Mail
9011dd25‐6191‐47a2‐b0ea‐139b61790a70                   Address Redacted                      First Class Mail
90128e35‐67b2‐4a03‐9f4c‐fdc838c4b920                   Address Redacted                      First Class Mail
90128fa2‐787d‐4c44‐ac2d‐c54a422b9459                   Address Redacted                      First Class Mail
90130439‐4331‐4202‐b030‐d107899e300c                   Address Redacted                      First Class Mail
9015c34f‐a68c‐4e42‐a51d‐9e3119f2a70f                   Address Redacted                      First Class Mail
901c7c91‐95bc‐4fa1‐b992‐d7ab82253104                   Address Redacted                      First Class Mail
901fb63b‐9d58‐42ba‐ac8f‐0fe687d7f4ab                   Address Redacted                      First Class Mail
9022b13f‐3b8a‐432f‐afb9‐c3e7d7079bc8                   Address Redacted                      First Class Mail
9026c4d3‐7a72‐4e93‐a1ed‐df658eed3f87                   Address Redacted                      First Class Mail
902c60a3‐ae41‐4561‐8c00‐41a386b6f3dd                   Address Redacted                      First Class Mail
902ee1b8‐de9d‐4fcb‐af59‐7e991d13a892                   Address Redacted                      First Class Mail
902f7ff7‐6920‐4351‐ace6‐923be7e5eeda                   Address Redacted                      First Class Mail
90344dc2‐8822‐4a22‐9740‐b9c051845c46                   Address Redacted                      First Class Mail
903472bb‐a4ba‐4de9‐9095‐e4ddac21f9a0                   Address Redacted                      First Class Mail
9036a485‐cba2‐4d1b‐a43b‐bb75cf3fe980                   Address Redacted                      First Class Mail
90390505‐b326‐4fa5‐8acd‐97e6e2053c84                   Address Redacted                      First Class Mail
903abbed‐82bd‐4959‐a9bd‐47ba5fca9529                   Address Redacted                      First Class Mail
903e3ea6‐d074‐47fe‐baca‐4d651386b696                   Address Redacted                      First Class Mail
903eceaf‐3020‐4fe7‐9b20‐fd12698a09f1                   Address Redacted                      First Class Mail




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                                                                 Service List


                               Name                                             Address                         Method of Service
90400cc1‐f2a4‐49cf‐b977‐5733addb6c61                   Address Redacted                      First Class Mail
9043e865‐35de‐4ab5‐8ab1‐e798b0eef47d                   Address Redacted                      First Class Mail
904839d8‐3fcf‐4925‐93eb‐eebae0c86486                   Address Redacted                      First Class Mail
9052abcf‐5fab‐47c6‐8912‐896f9ac14476                   Address Redacted                      First Class Mail
90531ccd‐a5ee‐4742‐beb0‐fd191bc2f9da                   Address Redacted                      First Class Mail
9053d2d6‐edc4‐4393‐be8a‐20f108ee8c43                   Address Redacted                      First Class Mail
9054e5c5‐41ea‐457a‐9983‐2419ea5b8b0e                   Address Redacted                      First Class Mail
9056325b‐c9d1‐4e7c‐8b75‐d62dcba8a488                   Address Redacted                      First Class Mail
905740bd‐c7dc‐451f‐a831‐f3220685d57b                   Address Redacted                      First Class Mail
90594f72‐2492‐464e‐a231‐691854beec79                   Address Redacted                      First Class Mail
905cd75b‐57bd‐42ce‐ab67‐f7c78fb26459                   Address Redacted                      First Class Mail
9062e338‐c9fb‐4e11‐bc84‐35c9e433e9d9                   Address Redacted                      First Class Mail
9064515b‐5ff9‐48f0‐9ae5‐9761f6de82c9                   Address Redacted                      First Class Mail
9065ac2d‐c2c4‐4096‐a242‐18beab7ba1cb                   Address Redacted                      First Class Mail
9067c281‐f6e6‐4646‐b876‐3e6de9c5bf2d                   Address Redacted                      First Class Mail
90683675‐7cd7‐4f99‐9959‐5b7b0180347a                   Address Redacted                      First Class Mail
90686803‐cdd5‐4b20‐82b8‐2849383936ac                   Address Redacted                      First Class Mail
906895fb‐ce2b‐4cc3‐b747‐8da8db52359a                   Address Redacted                      First Class Mail
906d0319‐0c9a‐4d67‐b7ed‐260121d89b2f                   Address Redacted                      First Class Mail
906ef629‐c7b0‐4e9a‐9445‐7f8f4f47ddd5                   Address Redacted                      First Class Mail
9070cd67‐1ad3‐4561‐9d60‐b83a9d977f3d                   Address Redacted                      First Class Mail
90716d24‐5d5b‐49ce‐91b5‐36980f8cfd27                   Address Redacted                      First Class Mail
907463f1‐8471‐47b9‐988c‐5a8e34d38235                   Address Redacted                      First Class Mail
9074b534‐7804‐4551‐8ab8‐5bc775168d9e                   Address Redacted                      First Class Mail
9077b6e5‐c2c2‐469c‐9acc‐277328819efd                   Address Redacted                      First Class Mail
907a38f5‐300e‐436d‐a2ef‐075a475e3f94                   Address Redacted                      First Class Mail
907b221e‐1ee5‐4137‐999d‐63cb569007e9                   Address Redacted                      First Class Mail
907bbf8c‐d005‐45ba‐ae5b‐42edf2f7e33b                   Address Redacted                      First Class Mail
908362fa‐19c8‐4add‐9f63‐467c94451d79                   Address Redacted                      First Class Mail
9087c9fa‐bef0‐44e0‐a2ba‐5441c318c444                   Address Redacted                      First Class Mail
908a7efc‐bf93‐4dde‐a2c1‐797def72fc8c                   Address Redacted                      First Class Mail
9090bb4a‐b0e6‐4c8d‐b882‐0ec9ef7c1553                   Address Redacted                      First Class Mail
9091ed21‐235a‐4c7e‐b7fb‐bbbe2b7b19b9                   Address Redacted                      First Class Mail
90938afa‐b417‐446d‐9919‐b48da5ece3a3                   Address Redacted                      First Class Mail
909533f9‐f106‐439d‐9c0a‐2f90b0579b1f                   Address Redacted                      First Class Mail
9099efd7‐b783‐40bc‐837c‐dd79759cab36                   Address Redacted                      First Class Mail
909a6e1b‐8088‐4fa3‐828c‐cbb91682bb50                   Address Redacted                      First Class Mail
909cc936‐e79c‐41aa‐8c2b‐57c8e4d9ba82                   Address Redacted                      First Class Mail
909e08d5‐6b58‐47c7‐b0c0‐e113614eb90e                   Address Redacted                      First Class Mail
90a01112‐40dd‐4c08‐8bcf‐21255a0523a0                   Address Redacted                      First Class Mail
90a027d0‐fbc5‐4cc6‐bf56‐977fef4b3ab1                   Address Redacted                      First Class Mail
90a3e557‐9c6b‐46b9‐a5aa‐bf3451456844                   Address Redacted                      First Class Mail
90a4beb2‐79e1‐4710‐ba5f‐17d45ec973dd                   Address Redacted                      First Class Mail
90a9a073‐7fbc‐495d‐9799‐679dcba8cd3a                   Address Redacted                      First Class Mail
90aa35d8‐cf01‐4080‐8251‐6b56e3f8a17f                   Address Redacted                      First Class Mail
90ade2d8‐fa3e‐4c46‐b02e‐c59b614103b5                   Address Redacted                      First Class Mail
90aecc62‐dd02‐45e7‐bc5a‐287eb1f29832                   Address Redacted                      First Class Mail
90af7cf9‐3281‐4ccc‐b8c3‐b4a48045cc5b                   Address Redacted                      First Class Mail
90b11d20‐fa1a‐4df8‐9411‐432be56dd678                   Address Redacted                      First Class Mail
90b2682b‐16be‐4d0c‐ba7f‐db0711397413                   Address Redacted                      First Class Mail
90b2d867‐0bf9‐485d‐aa7a‐136341cc0360                   Address Redacted                      First Class Mail
90b4d635‐6eaa‐451e‐a230‐1ff06e9591ad                   Address Redacted                      First Class Mail
90b8b272‐d094‐4a7f‐963f‐f234aaa84fa3                   Address Redacted                      First Class Mail
90ba2747‐10f3‐4427‐8955‐972f0634b0a5                   Address Redacted                      First Class Mail
90bdc5ea‐af8a‐4947‐8b5a‐fcb54c934688                   Address Redacted                      First Class Mail
90be2301‐2fb9‐4152‐b5f7‐245fa4b35fd2                   Address Redacted                      First Class Mail
90c472e7‐9d33‐43a3‐8c22‐4b579903b072                   Address Redacted                      First Class Mail
90c964e9‐23e3‐4d47‐bcc5‐e2e1a0469848                   Address Redacted                      First Class Mail
90ca978c‐8e05‐48f3‐ac37‐11280212d925                   Address Redacted                      First Class Mail
90cda946‐c29d‐4539‐a256‐d1ea6a6ab615                   Address Redacted                      First Class Mail
90d68147‐713b‐4802‐903c‐bfa2140e5e5f                   Address Redacted                      First Class Mail
90db9318‐5df2‐420b‐a3ff‐5db0186af516                   Address Redacted                      First Class Mail
90dc47a1‐8ea8‐41ef‐be09‐b9718280960f                   Address Redacted                      First Class Mail
90deafa4‐b9d3‐4991‐b1ac‐1a11acbcc36e                   Address Redacted                      First Class Mail
90dede87‐94cb‐417b‐9578‐c85d724a0406                   Address Redacted                      First Class Mail
90e020e2‐17a4‐4fbb‐88d7‐6f5fe43ab85d                   Address Redacted                      First Class Mail
90e649f4‐fbc3‐40c4‐b49a‐d11828aff72b                   Address Redacted                      First Class Mail
90edf8ac‐5576‐434c‐b8ec‐74846301d77f                   Address Redacted                      First Class Mail
90ee1bab‐1fd7‐4f73‐9874‐bf8334968086                   Address Redacted                      First Class Mail
90f4f1e5‐2aec‐41a5‐a4aa‐d40ab6fc3fb5                   Address Redacted                      First Class Mail
90f7f4e3‐859a‐4efa‐90fe‐ba94711efc46                   Address Redacted                      First Class Mail
90ff4a76‐5220‐4efc‐9dcf‐8af76391c24e                   Address Redacted                      First Class Mail




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                                                                Exhibit A
                                                                 Service List


                               Name                                             Address                         Method of Service
910084d8‐b695‐420e‐bf0e‐0f8a87d25aca                   Address Redacted                      First Class Mail
9106aa07‐6f5f‐4c6e‐ac80‐07080a0bd4df                   Address Redacted                      First Class Mail
910795aa‐6e7f‐4260‐be0a‐ed0059b23f53                   Address Redacted                      First Class Mail
910c4bc4‐59a2‐4df5‐8bc3‐3f8ba26c8731                   Address Redacted                      First Class Mail
910fcdac‐4da8‐4f0b‐9208‐8fd43e7896f9                   Address Redacted                      First Class Mail
91114fe2‐b05a‐40ea‐a602‐ac6354b2127f                   Address Redacted                      First Class Mail
9111a419‐117a‐4f35‐b452‐8cc29a3df7e6                   Address Redacted                      First Class Mail
9113ba81‐4619‐4049‐bbee‐c66e8d78ad5c                   Address Redacted                      First Class Mail
9115be34‐a42c‐4cb2‐accb‐6680f8391bfc                   Address Redacted                      First Class Mail
911a7818‐5909‐48e0‐a2d6‐8a9ed4b542ea                   Address Redacted                      First Class Mail
911b3ac7‐f85a‐4a9d‐8316‐5911e2903726                   Address Redacted                      First Class Mail
911b4b21‐3d28‐4e24‐ba39‐65fd9371b67b                   Address Redacted                      First Class Mail
911d7150‐bd9b‐4963‐9811‐aa9abf2b154d                   Address Redacted                      First Class Mail
911ec90e‐8bf7‐48ff‐a5f3‐697281dcef75                   Address Redacted                      First Class Mail
911f3731‐70de‐4916‐91af‐537c0b6c29d1                   Address Redacted                      First Class Mail
91229aef‐9668‐4634‐94b0‐0f4e568f28dd                   Address Redacted                      First Class Mail
9126f4da‐3f53‐41b8‐af2d‐39ca67decc3d                   Address Redacted                      First Class Mail
912a642c‐56e9‐42dd‐be9f‐c3235c721419                   Address Redacted                      First Class Mail
912ee45a‐49e0‐47f8‐8f9e‐c12be4a66ef3                   Address Redacted                      First Class Mail
91361ee8‐6642‐4220‐af49‐8c5b8572e04b                   Address Redacted                      First Class Mail
9141b96f‐13fd‐4fef‐af55‐475efa2fec64                   Address Redacted                      First Class Mail
91422e86‐1f27‐4606‐95ca‐7a77bb79b64f                   Address Redacted                      First Class Mail
9142dc88‐1d91‐438b‐9348‐73571c8d935d                   Address Redacted                      First Class Mail
9143e494‐d7de‐4a02‐9a43‐8a6b83777ff3                   Address Redacted                      First Class Mail
9144dc09‐11c4‐4c28‐81a3‐2229316f6db9                   Address Redacted                      First Class Mail
9144f822‐5571‐4122‐a9ca‐269fc058b442                   Address Redacted                      First Class Mail
914a8b0a‐2b0b‐4f89‐981c‐7fd7ad223581                   Address Redacted                      First Class Mail
914b6cd6‐0e9e‐4aeb‐92b1‐4af809869321                   Address Redacted                      First Class Mail
914b8ae5‐3b9e‐46c0‐a4aa‐221e581ae89e                   Address Redacted                      First Class Mail
915bb6df‐5a4e‐4529‐b084‐d47646c5a310                   Address Redacted                      First Class Mail
91612aef‐4066‐45f9‐8dee‐9f5dcf020f55                   Address Redacted                      First Class Mail
9165062c‐736d‐4aff‐9b8b‐8f373142dafb                   Address Redacted                      First Class Mail
9165a646‐f924‐4f27‐932b‐f84c11807362                   Address Redacted                      First Class Mail
9165b14f‐526b‐40ec‐89f4‐7fd6add56be4                   Address Redacted                      First Class Mail
916a1c20‐5bdf‐4779‐b899‐46543c1ccee9                   Address Redacted                      First Class Mail
916ccda1‐6ed4‐4929‐9ff3‐c58f4128125a                   Address Redacted                      First Class Mail
916ef000‐fc33‐47e4‐8d96‐b7fef316fc86                   Address Redacted                      First Class Mail
9170729f‐61ec‐46b6‐b2ef‐0697ddb3c814                   Address Redacted                      First Class Mail
9171ce82‐983d‐4ee3‐9532‐53efc7d6fa62                   Address Redacted                      First Class Mail
917220bd‐59ee‐4425‐8d6d‐c0aae12e06b4                   Address Redacted                      First Class Mail
9173d9dc‐69df‐4030‐90d5‐563a8326208b                   Address Redacted                      First Class Mail
91752aab‐935b‐4bfb‐a747‐2d1060b818ce                   Address Redacted                      First Class Mail
917860a1‐e100‐4730‐8330‐b0d17a002144                   Address Redacted                      First Class Mail
917bbbb0‐baf7‐4bc8‐8ba6‐1fb8783639fd                   Address Redacted                      First Class Mail
917c96d2‐5241‐4014‐9969‐14b82b237217                   Address Redacted                      First Class Mail
91809c69‐679b‐4a8d‐b26d‐c6ad96991280                   Address Redacted                      First Class Mail
9180d57a‐473c‐4722‐a79b‐adb79beeca1e                   Address Redacted                      First Class Mail
9182e696‐344e‐4a47‐b5ee‐28edf4db4f3a                   Address Redacted                      First Class Mail
9187bd15‐490d‐4a65‐8ab2‐3531a3803579                   Address Redacted                      First Class Mail
91897a96‐f6cf‐46e9‐86d9‐9bcbc6870f09                   Address Redacted                      First Class Mail
918c05a9‐1f40‐4fb6‐af0f‐4601bbf510a4                   Address Redacted                      First Class Mail
918d611d‐a9e3‐46da‐891b‐bfbb37ccd91c                   Address Redacted                      First Class Mail
9190ec1b‐745e‐4581‐9e9b‐1a9b4ba53891                   Address Redacted                      First Class Mail
9191eaf3‐e2e1‐469d‐ae67‐839ebb068391                   Address Redacted                      First Class Mail
9194c95d‐e65c‐4a16‐a848‐930377970ee5                   Address Redacted                      First Class Mail
9196ccd5‐19fc‐4f81‐9198‐709f822ac30b                   Address Redacted                      First Class Mail
91997ed4‐cd6f‐4693‐81ef‐dfdc2064aec5                   Address Redacted                      First Class Mail
91a05aa1‐b309‐4e7c‐b80d‐960216e2f3e7                   Address Redacted                      First Class Mail
91a34897‐074c‐4c9f‐872c‐c50c940109c3                   Address Redacted                      First Class Mail
91a4b727‐b985‐4303‐aed9‐f64af5821cd0                   Address Redacted                      First Class Mail
91a7a3b0‐d27d‐47de‐a565‐70ff104c465f                   Address Redacted                      First Class Mail
91a93f43‐c25b‐44bd‐8765‐d42d6848805e                   Address Redacted                      First Class Mail
91afc8b5‐f6ca‐46b0‐aad0‐94e16c7ea59f                   Address Redacted                      First Class Mail
91b0bba9‐c7be‐43b9‐8f57‐9f3172e6a89b                   Address Redacted                      First Class Mail
91b34f89‐96f7‐4864‐871c‐d9e9ebca0639                   Address Redacted                      First Class Mail
91b63b67‐ffba‐4b7a‐964f‐6c613f5651c2                   Address Redacted                      First Class Mail
91b87d99‐9f3f‐49be‐8090‐8440ebbd11be                   Address Redacted                      First Class Mail
91ba7727‐cdba‐43b5‐aa1c‐302247a02756                   Address Redacted                      First Class Mail
91ba7962‐3226‐49e3‐a40e‐1a4f48d115e4                   Address Redacted                      First Class Mail
91bacb97‐4746‐4a48‐9ec9‐f66bb4026fa4                   Address Redacted                      First Class Mail
91be2e7e‐dcaa‐49f3‐b45f‐5dedb6c1bd63                   Address Redacted                      First Class Mail
91c4bdd9‐25e3‐4b3d‐8670‐117264a8c9c5                   Address Redacted                      First Class Mail




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                                                                Exhibit A
                                                                 Service List


                              Name                                              Address                         Method of Service
91c79320‐c508‐447a‐afb2‐c3505445a252                   Address Redacted                      First Class Mail
91c8822b‐1152‐4fd2‐95f5‐c696e89f195e                   Address Redacted                      First Class Mail
91c8ff8b‐dc97‐47fa‐bc66‐e53d890c186e                   Address Redacted                      First Class Mail
91caec0b‐58f4‐4392‐9bec‐ae021ba016a4                   Address Redacted                      First Class Mail
91cb6961‐e699‐4802‐b99f‐4c6b8ccb7ae2                   Address Redacted                      First Class Mail
91cdefca‐9ef4‐48f5‐957b‐24b81e5816dc                   Address Redacted                      First Class Mail
91cf380a‐a172‐488b‐b5ee‐fa5449166dc3                   Address Redacted                      First Class Mail
91d085e4‐152c‐478b‐8bb7‐691edfddfa7c                   Address Redacted                      First Class Mail
91d22847‐451f‐415b‐9d05‐58bbc6554530                   Address Redacted                      First Class Mail
91d45dea‐4d56‐43eb‐b523‐07a397a5d096                   Address Redacted                      First Class Mail
91d714df‐b8ce‐41e1‐a3ee‐582c3d00bb19                   Address Redacted                      First Class Mail
91d99678‐4ce1‐4f57‐bdc6‐14fd9fac5fc4                   Address Redacted                      First Class Mail
91d9fdfb‐0a89‐4f50‐8b87‐9ef064755485                   Address Redacted                      First Class Mail
91da484b‐c057‐4d70‐9d11‐2e17cdedf0bc                   Address Redacted                      First Class Mail
91dc817e‐df91‐4f48‐af39‐ef39771feef3                   Address Redacted                      First Class Mail
91dd55cb‐f443‐40db‐9661‐7bbc8ce3c62f                   Address Redacted                      First Class Mail
91deb3ca‐46cb‐4c48‐82c1‐dfe492c1a675                   Address Redacted                      First Class Mail
91e0979e‐4bd6‐4b54‐8614‐6cf37cb91549                   Address Redacted                      First Class Mail
91e1c229‐7b3b‐4ece‐9a92‐732c6d3f7d56                   Address Redacted                      First Class Mail
91e30491‐a95a‐4be3‐a8ff‐a8e125d18aba                   Address Redacted                      First Class Mail
91e50a3b‐637a‐476a‐864f‐7142c2ea1905                   Address Redacted                      First Class Mail
91e65bdd‐9647‐40e9‐93ba‐12264dcbaea3                   Address Redacted                      First Class Mail
91eb1c6b‐3981‐4f20‐8e80‐a81ee3580c91                   Address Redacted                      First Class Mail
91fcbee1‐d9fb‐44ad‐a708‐4a7458e6fca8                   Address Redacted                      First Class Mail
92090c58‐06fb‐4ee4‐84f9‐e0ea256f16ef                   Address Redacted                      First Class Mail
920923ef‐1617‐490e‐8556‐10e13bd5e1f7                   Address Redacted                      First Class Mail
920b6238‐31d3‐47d3‐80b2‐29a622570651                   Address Redacted                      First Class Mail
920bfdfb‐1ca3‐4de1‐810a‐ff430b42c3bb                   Address Redacted                      First Class Mail
921033ce‐5ad7‐4216‐8835‐21f15ca56f23                   Address Redacted                      First Class Mail
9215aa3e‐c8d2‐4eb1‐88f1‐13ff35ee9898                   Address Redacted                      First Class Mail
921c59f7‐dd19‐4723‐adde‐56e6a66e9306                   Address Redacted                      First Class Mail
921e66ad‐3713‐4c10‐bc8c‐f12ba271c52e                   Address Redacted                      First Class Mail
921f3ec9‐4a02‐46bb‐baf5‐c0eea84cdb7d                   Address Redacted                      First Class Mail
92234b80‐5a29‐49ea‐965a‐8ed1512dfe14                   Address Redacted                      First Class Mail
9229128a‐cc63‐4dc3‐a754‐4800021fccda                   Address Redacted                      First Class Mail
922e5490‐0efc‐4096‐91cc‐50640c724df3                   Address Redacted                      First Class Mail
92309b48‐f1fc‐4a7a‐a7f6‐7e05b62bd50e                   Address Redacted                      First Class Mail
923105f5‐1acd‐404d‐9bfb‐c92ac257c34e                   Address Redacted                      First Class Mail
923330c7‐94fd‐40dc‐bc95‐92e8d200be86                   Address Redacted                      First Class Mail
92337a33‐07a0‐49ed‐af20‐940c3b9f0594                   Address Redacted                      First Class Mail
9235e5a5‐dd59‐4efb‐8a13‐ed5a7eb5219e                   Address Redacted                      First Class Mail
923796d3‐0fb0‐410d‐9ff9‐879dad50231c                   Address Redacted                      First Class Mail
923a4812‐3d4f‐4bb7‐b67a‐6825c07a2f0c                   Address Redacted                      First Class Mail
923b8dfc‐5eca‐4f24‐bbd1‐2b1acc15233b                   Address Redacted                      First Class Mail
923bea11‐3376‐45b9‐9688‐51d160686f4b                   Address Redacted                      First Class Mail
923e95dd‐0c18‐4bd1‐91f4‐ac3aace93691                   Address Redacted                      First Class Mail
92427323‐ed91‐435c‐b99e‐4fd6265c51b5                   Address Redacted                      First Class Mail
9244e010‐3d0f‐4029‐8da3‐35c940d5b35a                   Address Redacted                      First Class Mail
92467d42‐2367‐498a‐bed9‐711d8106a302                   Address Redacted                      First Class Mail
924a6365‐44ed‐4e14‐a1be‐7fc5522b2ba9                   Address Redacted                      First Class Mail
924acd54‐7657‐4d24‐afb1‐32edd2c7c517                   Address Redacted                      First Class Mail
92513581‐454a‐447a‐964a‐69ee460e720b                   Address Redacted                      First Class Mail
9259b1df‐1354‐433e‐b7b2‐e31d2ab36548                   Address Redacted                      First Class Mail
92601c99‐84ce‐4723‐b0d9‐185a0fa62a8c                   Address Redacted                      First Class Mail
92696b0f‐ed8b‐4efc‐b456‐01894d98c9ba                   Address Redacted                      First Class Mail
926abd62‐4234‐43fa‐b0d2‐9b24ee717368                   Address Redacted                      First Class Mail
926bba43‐9c1c‐4a9d‐9625‐c4cd8efefd5d                   Address Redacted                      First Class Mail
926cdec0‐4296‐4caf‐8eb6‐c653758d6db7                   Address Redacted                      First Class Mail
926d3599‐6c2c‐4f71‐a112‐9ae32c493840                   Address Redacted                      First Class Mail
926fe968‐467e‐45bc‐8624‐7408a7d16262                   Address Redacted                      First Class Mail
9274cf96‐1c85‐4fe7‐a9f2‐7a83705e2c5d                   Address Redacted                      First Class Mail
927616ad‐7289‐423f‐a704‐fcd005755840                   Address Redacted                      First Class Mail
9278e9c3‐2233‐4e97‐8eec‐20c8afb9175b                   Address Redacted                      First Class Mail
927975a6‐b7be‐4bca‐aec4‐2160ed5c11e6                   Address Redacted                      First Class Mail
927bd977‐f77a‐4090‐831e‐6d753786f1a7                   Address Redacted                      First Class Mail
927d8a61‐fb7d‐42c2‐8d05‐b8aa2a2e8668                   Address Redacted                      First Class Mail
927e744d‐4c7e‐4e69‐99c9‐87fcc1f5932f                   Address Redacted                      First Class Mail
927f44ab‐e456‐416c‐9a66‐709e7e661f98                   Address Redacted                      First Class Mail
92810bd7‐7e28‐4d64‐b2cc‐fcc1f2241620                   Address Redacted                      First Class Mail
9282652e‐93b5‐45eb‐9b59‐01398bb64c1a                   Address Redacted                      First Class Mail
928266d7‐098d‐4a47‐99da‐1cb8c9e2740a                   Address Redacted                      First Class Mail
928850c5‐a19f‐4ebd‐b742‐0a2f5a94abb0                   Address Redacted                      First Class Mail




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                              Name                                              Address                         Method of Service
928a54be‐ae91‐4622‐a000‐fd107397d991                   Address Redacted                      First Class Mail
928cc067‐fd2f‐4e05‐bca2‐f63fbbf23ae2                   Address Redacted                      First Class Mail
92927647‐0a67‐4248‐ad30‐ec03c017279f                   Address Redacted                      First Class Mail
9293c679‐3a8d‐47c2‐9a2e‐cb34ff453fae                   Address Redacted                      First Class Mail
9297dea3‐cf3e‐4157‐bd54‐8be7bd6061b7                   Address Redacted                      First Class Mail
929a5cdb‐0e56‐49de‐9a5b‐2fb7c16195a5                   Address Redacted                      First Class Mail
92a14f29‐d6be‐443d‐8ff4‐2391c66d89f4                   Address Redacted                      First Class Mail
92a77bbc‐e6c1‐44be‐9625‐cb99beb2f5e1                   Address Redacted                      First Class Mail
92a791cd‐184e‐4b5b‐9f07‐6eb0db67355d                   Address Redacted                      First Class Mail
92ab3e48‐e1f9‐4891‐aea9‐ed88241d8ca1                   Address Redacted                      First Class Mail
92b16093‐cb6a‐4c23‐8f73‐e8d72f1622cb                   Address Redacted                      First Class Mail
92b17257‐ab3d‐456e‐9285‐e40601076ed2                   Address Redacted                      First Class Mail
92b1e24c‐0daa‐47a7‐9eb5‐5e11dd5094bf                   Address Redacted                      First Class Mail
92b7f0aa‐0c77‐4201‐ba60‐f0a95a31ed17                   Address Redacted                      First Class Mail
92b8072e‐9c85‐43a1‐9347‐413066480553                   Address Redacted                      First Class Mail
92c004da‐73e3‐4f0f‐b6e6‐ed50f7277c0f                   Address Redacted                      First Class Mail
92c0497e‐ece5‐40eb‐9837‐c598c0c78d32                   Address Redacted                      First Class Mail
92c67837‐aa8d‐4675‐b598‐2858ce793bf1                   Address Redacted                      First Class Mail
92c70a5c‐0622‐49ef‐a42d‐498418abe583                   Address Redacted                      First Class Mail
92c929a7‐d101‐4350‐9a7d‐300c8323ab93                   Address Redacted                      First Class Mail
92cbdc74‐1b32‐4b9b‐93cb‐700b476b0dc1                   Address Redacted                      First Class Mail
92cdaea6‐a95f‐45ea‐af34‐239caa9fa550                   Address Redacted                      First Class Mail
92ce11b2‐c940‐4e2b‐a8a0‐a68bcd060926                   Address Redacted                      First Class Mail
92ceb5f3‐9bbc‐449d‐be77‐243543248a67                   Address Redacted                      First Class Mail
92cec932‐f272‐4be3‐9ebf‐c7d59f5708b1                   Address Redacted                      First Class Mail
92cf23bf‐8b21‐4b26‐8421‐11f64c99314c                   Address Redacted                      First Class Mail
92d10fa7‐d9a7‐4b75‐88fe‐f8f2182a958b                   Address Redacted                      First Class Mail
92d22cdc‐b520‐4d8f‐8302‐d927da50d233                   Address Redacted                      First Class Mail
92d2d62d‐bb6d‐4f4e‐833d‐04516e85d301                   Address Redacted                      First Class Mail
92d32acc‐5637‐4d6d‐9e79‐600679aed3be                   Address Redacted                      First Class Mail
92d3559f‐78da‐49f1‐ba93‐bd37c4566f5c                   Address Redacted                      First Class Mail
92d6353c‐311f‐484e‐95c1‐28041b8dfb3b                   Address Redacted                      First Class Mail
92d69150‐bc54‐4a7c‐996c‐2756f3d0b4a6                   Address Redacted                      First Class Mail
92d99eb1‐edad‐4f90‐a09d‐d2564a985712                   Address Redacted                      First Class Mail
92d9dbae‐b0f1‐44cf‐a343‐a38d868d5751                   Address Redacted                      First Class Mail
92da43b7‐288a‐4870‐b0c8‐a84463314b5a                   Address Redacted                      First Class Mail
92dabcbb‐3b91‐4edf‐8a5b‐fa579ba45581                   Address Redacted                      First Class Mail
92dc37d4‐046d‐4355‐a509‐b2b3171593c2                   Address Redacted                      First Class Mail
92dd2390‐4066‐4d63‐b1f4‐004b1e9941b4                   Address Redacted                      First Class Mail
92dd71ff‐6f12‐4955‐8afb‐b80d95179b4a                   Address Redacted                      First Class Mail
92de5100‐31dd‐4f68‐8a55‐a050cf3f7d69                   Address Redacted                      First Class Mail
92df5e66‐df1e‐4272‐8fc6‐2617b45c5e18                   Address Redacted                      First Class Mail
92dfb287‐c6d1‐442d‐a85c‐2ca587a3918a                   Address Redacted                      First Class Mail
92e03be3‐d9ae‐4ac0‐8f7c‐838a6508e389                   Address Redacted                      First Class Mail
92e0d3cd‐3f8a‐4863‐b479‐2c70736f3b2f                   Address Redacted                      First Class Mail
92e19f46‐1d26‐41a2‐8c26‐51178ce025d9                   Address Redacted                      First Class Mail
92e8327e‐9b87‐44ee‐951a‐11e55400d5c2                   Address Redacted                      First Class Mail
92eaf659‐63f8‐42cd‐a1dc‐f85e67cf305a                   Address Redacted                      First Class Mail
92eca46b‐6a3c‐42cc‐841f‐f8ef93651279                   Address Redacted                      First Class Mail
92ecc68b‐4152‐4963‐8962‐5a9f88500330                   Address Redacted                      First Class Mail
92ecdfd1‐d992‐49aa‐9ca3‐613c6017d702                   Address Redacted                      First Class Mail
92eed1f8‐1f69‐403c‐92ce‐6cd82433dc7a                   Address Redacted                      First Class Mail
92eee1e2‐94bd‐48c0‐b4e5‐c325d66c67bf                   Address Redacted                      First Class Mail
92f5f645‐a3ee‐41ad‐bdcc‐08465357ea61                   Address Redacted                      First Class Mail
92f77a19‐5363‐43d0‐9b8b‐38066da785bd                   Address Redacted                      First Class Mail
92f79d53‐60b0‐4a69‐93a8‐decbb52fb4af                   Address Redacted                      First Class Mail
92fd40b7‐23f5‐47b7‐9a12‐1ff7b37134f5                   Address Redacted                      First Class Mail
92fd504e‐50a6‐41c7‐b505‐4874a2c9a9f5                   Address Redacted                      First Class Mail
92fdca59‐7fbb‐4658‐9c59‐acc00adf6d85                   Address Redacted                      First Class Mail
9300fed5‐269d‐431d‐b839‐4a42234d82f8                   Address Redacted                      First Class Mail
93018fd0‐cd4b‐4b71‐a0f7‐a910246922ad                   Address Redacted                      First Class Mail
930355ee‐3c91‐4598‐a52b‐12d52f777307                   Address Redacted                      First Class Mail
93038885‐e987‐42f4‐8d2c‐d62b7e7e4418                   Address Redacted                      First Class Mail
930451ae‐3ef8‐4898‐ad96‐f71e4c71b1fc                   Address Redacted                      First Class Mail
930553de‐adb0‐4069‐a197‐c43b2123813b                   Address Redacted                      First Class Mail
9308fd29‐fd18‐4ab0‐89f0‐2361162a018e                   Address Redacted                      First Class Mail
9317657e‐798a‐4f17‐8b87‐1ed9036cb135                   Address Redacted                      First Class Mail
931792a9‐4128‐4dfd‐8df8‐c29573a8094b                   Address Redacted                      First Class Mail
9317adf9‐6646‐47f0‐b3d0‐6f667be627b1                   Address Redacted                      First Class Mail
93183f59‐b9ce‐4aa2‐ac88‐c0cc8693ab14                   Address Redacted                      First Class Mail
93186dd7‐3314‐44bd‐9e0f‐d01cddd9b0d7                   Address Redacted                      First Class Mail
931d2554‐2b5d‐4053‐a64e‐3f935d46f4d6                   Address Redacted                      First Class Mail




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                                                                 Service List


                               Name                                             Address                         Method of Service
931d3f20‐99ee‐414d‐8d64‐a7eee724d478                   Address Redacted                      First Class Mail
931dc303‐6afc‐416d‐b898‐1f2f078af75b                   Address Redacted                      First Class Mail
9323e5c6‐6ee7‐498a‐bf5c‐5fe569a9026c                   Address Redacted                      First Class Mail
93242462‐63da‐4e0f‐9769‐ca6273708d72                   Address Redacted                      First Class Mail
9329666e‐6cd1‐4e3b‐8317‐ac5af3827ad8                   Address Redacted                      First Class Mail
932c0cd4‐7f58‐4542‐9e43‐45d107259d9f                   Address Redacted                      First Class Mail
932c2d90‐9395‐4bd6‐b5a8‐0cae12795315                   Address Redacted                      First Class Mail
932d7818‐73fe‐4e8c‐8b07‐1aa453677dac                   Address Redacted                      First Class Mail
932f4b3a‐1c23‐47bb‐b965‐8152b66133e2                   Address Redacted                      First Class Mail
932faf9f‐aaad‐4ffc‐9dd3‐9cc2414ccc29                   Address Redacted                      First Class Mail
93338f11‐7f7c‐46c7‐b00a‐931bc9204114                   Address Redacted                      First Class Mail
933afa13‐4b07‐4472‐b354‐18951941eea4                   Address Redacted                      First Class Mail
933c5cde‐d6c0‐43b8‐8f50‐49531f5c890a                   Address Redacted                      First Class Mail
933d2f9b‐28f6‐4d94‐be21‐95099e01a0d6                   Address Redacted                      First Class Mail
934392f5‐9145‐4d8b‐8375‐dfb88d9200f6                   Address Redacted                      First Class Mail
934463fc‐2c1a‐4202‐93dd‐15882784725f                   Address Redacted                      First Class Mail
9345ea0d‐a2c1‐4fe1‐94e3‐7fbfc6ccbe95                   Address Redacted                      First Class Mail
934a4a09‐d4e7‐46e2‐8f1e‐a5bd612e268d                   Address Redacted                      First Class Mail
934b1048‐4658‐403c‐bc85‐ad5cbcc09e66                   Address Redacted                      First Class Mail
934bc6cd‐726b‐4493‐ac49‐e6a1ae6b3392                   Address Redacted                      First Class Mail
934c3fa7‐a389‐46ca‐ba96‐cd907cb7d4ff                   Address Redacted                      First Class Mail
934deb64‐d048‐4654‐9ccc‐0b0c9e45310a                   Address Redacted                      First Class Mail
9358f86e‐0cef‐4782‐9b49‐8da6bbe0941e                   Address Redacted                      First Class Mail
935a0a60‐15ed‐4814‐9c3c‐95de03b1df96                   Address Redacted                      First Class Mail
935af088‐8d5b‐4eba‐9a13‐207539175e87                   Address Redacted                      First Class Mail
935de77f‐20b2‐4d49‐ad18‐df5c5a2ea263                   Address Redacted                      First Class Mail
935f0b12‐80b6‐412d‐9610‐426247226540                   Address Redacted                      First Class Mail
93625a16‐a194‐4608‐a6d3‐89b36162ab4b                   Address Redacted                      First Class Mail
93643d15‐acc1‐4122‐b643‐5258da82055d                   Address Redacted                      First Class Mail
9366dab7‐e0a9‐48dc‐8044‐3e49c8884068                   Address Redacted                      First Class Mail
9368c61a‐2f7e‐47fa‐b6f5‐2835760bc8f1                   Address Redacted                      First Class Mail
93694aa5‐e1c6‐4f9e‐9040‐2fa8511f8c65                   Address Redacted                      First Class Mail
936f6f6a‐6104‐47c7‐890f‐e997e12cdbb2                   Address Redacted                      First Class Mail
93714511‐70d1‐41ed‐91eb‐8cb549f16c19                   Address Redacted                      First Class Mail
93735644‐86a8‐4449‐b174‐b0bed756a630                   Address Redacted                      First Class Mail
93738904‐477e‐4a26‐9639‐078e48aa2be2                   Address Redacted                      First Class Mail
9376ff3f‐6591‐407b‐bc79‐d2570680a747                   Address Redacted                      First Class Mail
9379c737‐43e8‐4cb5‐bafa‐a195ac36dcba                   Address Redacted                      First Class Mail
937ab952‐e28c‐4556‐b7f2‐89c6a2d00c3b                   Address Redacted                      First Class Mail
937cee6e‐bac9‐4d0a‐a3ae‐9ac35209b5af                   Address Redacted                      First Class Mail
937d3d6c‐e7d0‐4308‐bc43‐2af4d6bf4e4f                   Address Redacted                      First Class Mail
938c46ae‐e90c‐4a27‐be04‐c3f13168aa57                   Address Redacted                      First Class Mail
938dc23d‐d1db‐4448‐8a1c‐9e745040ca26                   Address Redacted                      First Class Mail
938ddf9a‐1bb9‐48ff‐930c‐758ffbaf47b0                   Address Redacted                      First Class Mail
939c99ea‐37fc‐4398‐b8b2‐3dc1ef52f4dd                   Address Redacted                      First Class Mail
939d54ca‐4832‐47f0‐99c8‐a07c2359f819                   Address Redacted                      First Class Mail
93a1b418‐de07‐4f8a‐9a00‐5873d77a6285                   Address Redacted                      First Class Mail
93a27639‐b4de‐4272‐b8f3‐e35a12fa2bb4                   Address Redacted                      First Class Mail
93a5b6ef‐dfb9‐4b9e‐9b90‐3102519f51ab                   Address Redacted                      First Class Mail
93a5ec23‐29bb‐40e2‐8af8‐99eb0b80e69b                   Address Redacted                      First Class Mail
93aba0bf‐c78c‐467a‐bc4d‐77564bcf2187                   Address Redacted                      First Class Mail
93afa529‐338c‐4ff8‐9052‐2101a491ea1d                   Address Redacted                      First Class Mail
93b2447f‐41ce‐4342‐aada‐d8620faf5974                   Address Redacted                      First Class Mail
93b4085a‐dd9a‐4bd9‐9caf‐31435fa25649                   Address Redacted                      First Class Mail
93b5acd8‐ff27‐4c57‐a899‐e982d583af6a                   Address Redacted                      First Class Mail
93be5891‐c78c‐4880‐9d7e‐7782d00ca200                   Address Redacted                      First Class Mail
93bfceeb‐b292‐4fc3‐96c5‐f2e7a8820074                   Address Redacted                      First Class Mail
93c05119‐c264‐4c23‐9f21‐c8b41657d8a5                   Address Redacted                      First Class Mail
93c2bd11‐afd3‐495a‐9eda‐6c82b9271607                   Address Redacted                      First Class Mail
93c57bae‐3555‐4438‐b098‐ffc269319eba                   Address Redacted                      First Class Mail
93c66af0‐177f‐457a‐ad41‐cbdbc6b57a86                   Address Redacted                      First Class Mail
93c75eed‐f2a2‐4c0b‐955e‐6ecdb6b28afb                   Address Redacted                      First Class Mail
93cadc0f‐7758‐4e06‐8348‐1284025c450e                   Address Redacted                      First Class Mail
93ceb701‐5c65‐4d1e‐b8dd‐2b73fe5c3a32                   Address Redacted                      First Class Mail
93cfd53e‐edf7‐46a1‐a7ea‐c5d6cac4e267                   Address Redacted                      First Class Mail
93d19c10‐c218‐4985‐a103‐7572261235f6                   Address Redacted                      First Class Mail
93d5b4a1‐3d9e‐48f6‐8e2a‐636d2d3bbb63                   Address Redacted                      First Class Mail
93d98e26‐886f‐4450‐a8de‐67bac94f7f2f                   Address Redacted                      First Class Mail
93dda7e8‐500e‐4ea2‐b8df‐535bf70d4c39                   Address Redacted                      First Class Mail
93ddf8bd‐9e5d‐4562‐bdf7‐c2b5b78a355a                   Address Redacted                      First Class Mail
93de578b‐5358‐4be1‐a487‐0f81d6eca0bc                   Address Redacted                      First Class Mail
93e0d0dd‐24f5‐400d‐a0bd‐cce0c701fe07                   Address Redacted                      First Class Mail




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                                                                Exhibit A
                                                                 Service List


                              Name                                              Address                         Method of Service
93e312b0‐bdd4‐4765‐9192‐242e942ece22                   Address Redacted                      First Class Mail
93e5345c‐263d‐4db2‐97e9‐94b9bfe13c41                   Address Redacted                      First Class Mail
93e7c17d‐3959‐4bc2‐b595‐83efc49b94c5                   Address Redacted                      First Class Mail
93eab044‐e0a1‐453b‐96bb‐bbe9955c15a2                   Address Redacted                      First Class Mail
93eb2a70‐6e99‐4344‐8c7c‐6400043924a4                   Address Redacted                      First Class Mail
93ec08be‐8b6b‐4441‐b151‐67af30e74c10                   Address Redacted                      First Class Mail
93ed9ac8‐3edf‐44d2‐954b‐62d38687f8e1                   Address Redacted                      First Class Mail
93f2e49c‐ad7f‐444c‐b329‐940880c3b1a8                   Address Redacted                      First Class Mail
93f2e70d‐ac52‐4529‐bf7a‐cbbc97dd1547                   Address Redacted                      First Class Mail
93f38d98‐9d53‐4c42‐bf7f‐c321b453b20e                   Address Redacted                      First Class Mail
93f4b3f2‐4b63‐437a‐9ce2‐c99de8e02cef                   Address Redacted                      First Class Mail
93f51da0‐b21b‐4c8a‐a610‐5faeab1e1903                   Address Redacted                      First Class Mail
93f537da‐a3d4‐40e1‐8821‐f0ca7df49d94                   Address Redacted                      First Class Mail
93f53c80‐ebf7‐495b‐bf71‐b166a6860e82                   Address Redacted                      First Class Mail
93f5e1fa‐6f9b‐4d99‐ac0b‐d8964d4fef99                   Address Redacted                      First Class Mail
93fb23af‐8df6‐4399‐a51a‐e7f966cd1e1d                   Address Redacted                      First Class Mail
93fc8145‐8dbe‐4301‐b114‐562074bef22b                   Address Redacted                      First Class Mail
93fc8fd1‐750e‐4513‐8ec9‐f547c4db049c                   Address Redacted                      First Class Mail
93fd848f‐51b1‐432f‐9a09‐ea6b58c92803                   Address Redacted                      First Class Mail
93ff0ea6‐55c8‐40e4‐ac38‐eafa122a3552                   Address Redacted                      First Class Mail
93ff3865‐0bec‐4f4c‐8f7d‐e1eafed12389                   Address Redacted                      First Class Mail
9400abce‐b032‐46ce‐997a‐89712917a6dc                   Address Redacted                      First Class Mail
94056c82‐836c‐4944‐a787‐439cfb1a0cd9                   Address Redacted                      First Class Mail
940ad685‐dda7‐49d6‐b3cd‐bb8884f37e45                   Address Redacted                      First Class Mail
940ee023‐66c6‐463d‐a42f‐ee69366265c9                   Address Redacted                      First Class Mail
9413bfc4‐b411‐4591‐8dc1‐d71a54bc797b                   Address Redacted                      First Class Mail
9419da48‐c00d‐489e‐9e97‐fcd85ae917f6                   Address Redacted                      First Class Mail
941a7888‐e5a2‐4a84‐91b9‐57ab35fdb50e                   Address Redacted                      First Class Mail
941ca133‐be56‐4cb4‐88e6‐3aa7614ebbe0                   Address Redacted                      First Class Mail
941df85e‐5995‐498c‐8ce4‐db41b2eea646                   Address Redacted                      First Class Mail
9426a749‐700b‐4740‐b087‐537510a45f5e                   Address Redacted                      First Class Mail
9427197d‐8ea4‐4f5d‐91af‐9d42b4fe4408                   Address Redacted                      First Class Mail
94276509‐dab4‐43e3‐9f49‐c8cbce08bacf                   Address Redacted                      First Class Mail
9429f480‐01ce‐4d1e‐809e‐e9c3984ee33f                   Address Redacted                      First Class Mail
942aaf68‐7cc6‐45ac‐9254‐9dfbd9d95773                   Address Redacted                      First Class Mail
942ff277‐1e2a‐4dee‐8c61‐2e9d27242b17                   Address Redacted                      First Class Mail
943361d0‐3119‐4418‐a48c‐e77b75a4ac9b                   Address Redacted                      First Class Mail
94370dfc‐ecb3‐444d‐84b1‐abb2f54f8326                   Address Redacted                      First Class Mail
9437d394‐770d‐49ca‐8db7‐c5a676828c52                   Address Redacted                      First Class Mail
94384d15‐a33e‐428b‐a8c8‐10385226ecf5                   Address Redacted                      First Class Mail
9439d332‐3bc9‐4f8e‐bc63‐75aee90dc011                   Address Redacted                      First Class Mail
943aaacb‐1fff‐408a‐b3ed‐86af38687689                   Address Redacted                      First Class Mail
943d6bea‐9115‐419a‐a49c‐a0625ceed936                   Address Redacted                      First Class Mail
943eea73‐b223‐4012‐879c‐2bb610dde4c5                   Address Redacted                      First Class Mail
943efd15‐3a1a‐41fb‐87d3‐fe26801a0b88                   Address Redacted                      First Class Mail
9440570c‐52be‐4283‐8d44‐4f9df5b5e08d                   Address Redacted                      First Class Mail
944119fb‐8546‐43cc‐a406‐1c9c32fbf89d                   Address Redacted                      First Class Mail
944191ea‐30b1‐4c72‐8649‐652e6866207d                   Address Redacted                      First Class Mail
94421aef‐78f4‐4f98‐b046‐ac04fec06bfb                   Address Redacted                      First Class Mail
94445377‐b9fa‐4db3‐b452‐79a3c5a46621                   Address Redacted                      First Class Mail
9449b681‐6687‐4334‐b0eb‐ec37d7491d05                   Address Redacted                      First Class Mail
944a0446‐c795‐4f13‐b762‐283b38ed2285                   Address Redacted                      First Class Mail
944b5930‐c3ff‐455a‐afad‐a5d48224a67c                   Address Redacted                      First Class Mail
944b690f‐b8b0‐4880‐ac72‐74b30347f8c3                   Address Redacted                      First Class Mail
944cc4f5‐918d‐401f‐86bb‐7ab1179ba0a6                   Address Redacted                      First Class Mail
944d8a29‐17ac‐4f2b‐86bc‐1227a114b088                   Address Redacted                      First Class Mail
944f81c2‐d449‐4239‐82be‐2e36aeb17da3                   Address Redacted                      First Class Mail
94504f2d‐57f6‐4887‐9221‐9b663e11c373                   Address Redacted                      First Class Mail
94511f44‐e433‐4a12‐858d‐724f8754d16b                   Address Redacted                      First Class Mail
94513473‐287b‐4053‐837e‐3587fdf7e238                   Address Redacted                      First Class Mail
9452a96d‐a133‐4c87‐bc79‐a9cc64442203                   Address Redacted                      First Class Mail
9458a5fd‐8115‐4d8e‐b16a‐0ee615d71ca2                   Address Redacted                      First Class Mail
9464d4f0‐cfd2‐4000‐90d4‐cb846aae6059                   Address Redacted                      First Class Mail
94657954‐e3fb‐4088‐83b2‐f6f870aba9c9                   Address Redacted                      First Class Mail
946add5f‐b8a6‐4ef6‐acc1‐ae0b2a9f7d75                   Address Redacted                      First Class Mail
946b46d4‐aa8d‐4778‐be2b‐0bf37b98ed48                   Address Redacted                      First Class Mail
946f08d4‐ea47‐4937‐82e3‐5116cf32d604                   Address Redacted                      First Class Mail
94722a1d‐69c3‐47b6‐8759‐f7cb35bce5ad                   Address Redacted                      First Class Mail
947296cf‐9180‐471b‐b004‐fe5165d4a35a                   Address Redacted                      First Class Mail
94740377‐3ac3‐4456‐9cf9‐579329748e65                   Address Redacted                      First Class Mail
94742ed0‐83c5‐465d‐b8a0‐b1bd6cb74574                   Address Redacted                      First Class Mail
94752fde‐6e3b‐4179‐94c6‐b71f8dcb6820                   Address Redacted                      First Class Mail




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                              Name                                              Address                         Method of Service
94778067‐26df‐4076‐a91e‐7d65adfd79d2                   Address Redacted                      First Class Mail
9479daa7‐1d66‐4f17‐8486‐66c2ec1376b3                   Address Redacted                      First Class Mail
947cb52f‐1c3b‐496c‐9190‐abb17ea4aa61                   Address Redacted                      First Class Mail
947d9faa‐1fc6‐49a2‐9f3b‐777ff370943f                   Address Redacted                      First Class Mail
9481faff‐8642‐4ba7‐9030‐bbbee4620d4c                   Address Redacted                      First Class Mail
94834b31‐631f‐498b‐a2e1‐9cb5fd19cb9a                   Address Redacted                      First Class Mail
9483bd3d‐9946‐4cc2‐8167‐28d2ce1b8f9f                   Address Redacted                      First Class Mail
948ced44‐7402‐4ad8‐8041‐ba97bbbffcab                   Address Redacted                      First Class Mail
948d7605‐b429‐453d‐8791‐c1747d3889c2                   Address Redacted                      First Class Mail
949136bf‐b520‐43b7‐9c52‐eb1874a7dd31                   Address Redacted                      First Class Mail
9493ba4f‐f27c‐4ea0‐936b‐33499105333f                   Address Redacted                      First Class Mail
9494c325‐4dae‐49e8‐87f2‐ff1cf249195f                   Address Redacted                      First Class Mail
94988e9f‐4d89‐4956‐ad74‐168c909e70b1                   Address Redacted                      First Class Mail
94a6458b‐54c3‐4906‐bd4f‐63c67460feee                   Address Redacted                      First Class Mail
94a6db63‐59f3‐4990‐813f‐a5c3c67d01ec                   Address Redacted                      First Class Mail
94a95264‐36ea‐4587‐8cb1‐dee413889ca5                   Address Redacted                      First Class Mail
94b04f08‐c23d‐4a64‐a37b‐8fedb8bbde7c                   Address Redacted                      First Class Mail
94b0502f‐3487‐4cd0‐860b‐645f899aaee0                   Address Redacted                      First Class Mail
94b0bae0‐4d7c‐4e6c‐b556‐1bbbe91236f8                   Address Redacted                      First Class Mail
94b6145d‐35c7‐4ab7‐b270‐ec54de5cdcf6                   Address Redacted                      First Class Mail
94b6f314‐cb9d‐463b‐ba16‐a6e374fe1340                   Address Redacted                      First Class Mail
94b8e6d1‐7624‐43ce‐98ed‐0ead178ee746                   Address Redacted                      First Class Mail
94ba7b7d‐348f‐4c8a‐8ac2‐47e229c2b32f                   Address Redacted                      First Class Mail
94c332a3‐a9aa‐43b5‐9852‐ab91a645149d                   Address Redacted                      First Class Mail
94c38636‐3992‐4e78‐9d34‐ccc8f4bfe2a3                   Address Redacted                      First Class Mail
94c6eeb2‐dd76‐429f‐b2d0‐0bc34938d3d9                   Address Redacted                      First Class Mail
94ca6c6e‐9fda‐4ef1‐b55f‐ef64528b5ac2                   Address Redacted                      First Class Mail
94cdd98e‐5537‐403d‐8a04‐f60dced3218e                   Address Redacted                      First Class Mail
94d3b745‐23a4‐42c1‐99e7‐9f83afbd995a                   Address Redacted                      First Class Mail
94d6eb74‐9ebe‐4459‐9244‐49d015d7793a                   Address Redacted                      First Class Mail
94d7dd7f‐f433‐4885‐9c4e‐efa6c3244081                   Address Redacted                      First Class Mail
94d9410a‐20c7‐4171‐aa52‐3d6c36b9f53a                   Address Redacted                      First Class Mail
94dbc312‐14f0‐48f5‐970d‐3d52adb23720                   Address Redacted                      First Class Mail
94dc30a9‐7828‐4b66‐9cd5‐733800cec4fe                   Address Redacted                      First Class Mail
94dc69f0‐4c41‐46f6‐8044‐b5ec88219e65                   Address Redacted                      First Class Mail
94df0337‐a31f‐4eff‐913c‐b3536e3256d0                   Address Redacted                      First Class Mail
94e01404‐e5a9‐467b‐9827‐0a66959dd753                   Address Redacted                      First Class Mail
94e11bba‐b919‐4cb5‐a4d3‐0a627e3ed534                   Address Redacted                      First Class Mail
94e361f6‐2239‐4385‐a8ea‐94b634561761                   Address Redacted                      First Class Mail
94ea6c38‐3107‐48cb‐8a26‐cbed96ce410c                   Address Redacted                      First Class Mail
94ea96c2‐d53a‐4e83‐b3b3‐4f9a9a843951                   Address Redacted                      First Class Mail
94ed01db‐13d2‐4279‐a26a‐83abfd37f64b                   Address Redacted                      First Class Mail
94f329e6‐bf08‐4235‐8bfc‐31e25bcaf407                   Address Redacted                      First Class Mail
94f8f5dc‐0a9b‐40dd‐9844‐9032d1f1a9cc                   Address Redacted                      First Class Mail
94fc566f‐0e20‐4efd‐be19‐d1e457d5fb2d                   Address Redacted                      First Class Mail
94fc82cb‐1cd1‐493c‐a516‐b44356c15ee1                   Address Redacted                      First Class Mail
9502c222‐2fbe‐4aaa‐9790‐6b95b647b890                   Address Redacted                      First Class Mail
95088f57‐68fd‐460e‐97e5‐7fe6b53e4ada                   Address Redacted                      First Class Mail
9508b004‐f8d7‐463b‐a86e‐941ea939afda                   Address Redacted                      First Class Mail
9508e7f3‐32c1‐4eac‐a919‐3fe5e5e5ab21                   Address Redacted                      First Class Mail
9509e543‐2d8d‐4c47‐8482‐983a83e4e9c5                   Address Redacted                      First Class Mail
950b49c6‐7ca6‐47c1‐9ff1‐8a5c054fa1cc                   Address Redacted                      First Class Mail
950e4515‐1405‐4d5a‐bffb‐42143c936979                   Address Redacted                      First Class Mail
950fdd87‐fe3c‐4771‐be9d‐245d7374c290                   Address Redacted                      First Class Mail
9511f0dd‐2709‐4df6‐ad74‐37d44363c9fc                   Address Redacted                      First Class Mail
95133570‐5005‐4343‐a9f8‐1bf2f43c6414                   Address Redacted                      First Class Mail
9518103c‐a60f‐455d‐a3ff‐d61e38af38ed                   Address Redacted                      First Class Mail
95197418‐87df‐44d3‐b9f2‐fcd2371c3bff                   Address Redacted                      First Class Mail
951af6f3‐1b4a‐432e‐a7f7‐d7d69a79adeb                   Address Redacted                      First Class Mail
951b035d‐c05a‐48a0‐8389‐ea4a52bd7ef0                   Address Redacted                      First Class Mail
951c0ec0‐c268‐4f99‐a9c6‐aa965e1f439c                   Address Redacted                      First Class Mail
951d9e89‐8c07‐412a‐b253‐f41e92ec0fe9                   Address Redacted                      First Class Mail
951db3b0‐ba13‐41f2‐8f19‐80ec3df00a2d                   Address Redacted                      First Class Mail
951ef8c5‐80c9‐439e‐942b‐a93e68beb4c1                   Address Redacted                      First Class Mail
9525e92e‐b837‐465a‐a269‐33f7e6a194fd                   Address Redacted                      First Class Mail
95262203‐3a88‐4c16‐8793‐0f4df575965d                   Address Redacted                      First Class Mail
9526fb90‐48bb‐408f‐93f2‐17c358fce070                   Address Redacted                      First Class Mail
95282577‐4b87‐4cc1‐9d8b‐4f7c1a2b378f                   Address Redacted                      First Class Mail
952caa2b‐f448‐4a4d‐913e‐1a8366080a85                   Address Redacted                      First Class Mail
952db70f‐cc80‐48f2‐aa25‐c397c32814c3                   Address Redacted                      First Class Mail
9531942c‐9aaa‐450f‐a42e‐31a1da6faef9                   Address Redacted                      First Class Mail
95340d00‐0841‐495c‐9b18‐a90f190343d1                   Address Redacted                      First Class Mail




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                                                                 Service List


                              Name                                              Address                         Method of Service
9534c339‐7d14‐471b‐bc8a‐67fcfa6089ed                   Address Redacted                      First Class Mail
9545dd1f‐608f‐4ba5‐9971‐e5bb577305ad                   Address Redacted                      First Class Mail
9548d54f‐5b83‐41f3‐8b03‐707d4b621bb4                   Address Redacted                      First Class Mail
9552a2c0‐b43c‐47cb‐a49c‐73a1bef928a1                   Address Redacted                      First Class Mail
9554ec9d‐674f‐4ecc‐bead‐d6ba42790a80                   Address Redacted                      First Class Mail
95570f13‐d46f‐41be‐ae03‐5f7506d260be                   Address Redacted                      First Class Mail
955721c9‐2715‐4b68‐a94d‐cc36a363a98d                   Address Redacted                      First Class Mail
9559bd89‐3419‐49f0‐85b9‐c34c2eb15fd9                   Address Redacted                      First Class Mail
955a32df‐c7ca‐44ff‐8e42‐4b1e8c4af009                   Address Redacted                      First Class Mail
95638012‐e795‐468d‐bb3f‐c3e559f5ba96                   Address Redacted                      First Class Mail
9564dc9d‐4f68‐424f‐9401‐07d66a080839                   Address Redacted                      First Class Mail
9566f83f‐a184‐4870‐9aa4‐15893ce03e4a                   Address Redacted                      First Class Mail
9567ab31‐17df‐4f5c‐85d2‐5c95fc4dc80b                   Address Redacted                      First Class Mail
9569cd40‐340d‐48d6‐b753‐54aac7c00d4d                   Address Redacted                      First Class Mail
956ed7e5‐e6e6‐4927‐a707‐31766c3de5d6                   Address Redacted                      First Class Mail
95783a01‐c212‐4dec‐a45d‐2f55723783ac                   Address Redacted                      First Class Mail
95794a10‐6a88‐4453‐a1f3‐e5bbee77a582                   Address Redacted                      First Class Mail
957cab7e‐5f5b‐4a5e‐8c6a‐adb245219306                   Address Redacted                      First Class Mail
957cce17‐a242‐4ceb‐9979‐63554570c82c                   Address Redacted                      First Class Mail
957d2716‐6e58‐40f8‐846e‐1f463bf3fdf0                   Address Redacted                      First Class Mail
957e0c9c‐280c‐4948‐9743‐868f14ce6853                   Address Redacted                      First Class Mail
957f28ef‐4f4a‐48f1‐b525‐3809056355bb                   Address Redacted                      First Class Mail
9581f792‐a31d‐4e10‐aed7‐ccd121cb577c                   Address Redacted                      First Class Mail
9584ba25‐9ce4‐4629‐b258‐e125ef14dfd8                   Address Redacted                      First Class Mail
958619bf‐a7d3‐42f0‐82b3‐0b6121b3ca34                   Address Redacted                      First Class Mail
9586e10b‐77e7‐4cd7‐ad7a‐ea7659775610                   Address Redacted                      First Class Mail
958f5943‐0c87‐4c1c‐8bce‐b372f119103a                   Address Redacted                      First Class Mail
959259f1‐7558‐4c9c‐9301‐ecfb1b7ab0fb                   Address Redacted                      First Class Mail
9595220c‐5f67‐4294‐9623‐8be886700f4e                   Address Redacted                      First Class Mail
959d4e9a‐31a2‐4073‐961b‐84eb5d93814c                   Address Redacted                      First Class Mail
959e80c8‐fb66‐4591‐8dfd‐48c0694347c8                   Address Redacted                      First Class Mail
95a295e2‐9419‐40b3‐b353‐52fba82a6e2c                   Address Redacted                      First Class Mail
95a49afb‐567d‐405a‐aa15‐9fc3761cafe9                   Address Redacted                      First Class Mail
95a793eb‐3ce8‐43a3‐93e4‐5e648e30973e                   Address Redacted                      First Class Mail
95a81382‐8a3f‐4b54‐907a‐aaca11dcae97                   Address Redacted                      First Class Mail
95a87efa‐c7f4‐4092‐a585‐066fcc8c480c                   Address Redacted                      First Class Mail
95af0659‐dd2f‐48f2‐8554‐52501756e242                   Address Redacted                      First Class Mail
95b11187‐3a0d‐42f6‐881f‐bf4d13be7016                   Address Redacted                      First Class Mail
95b227d0‐14d4‐4620‐a675‐1190549bc5f9                   Address Redacted                      First Class Mail
95b7e343‐8a91‐45c7‐81d5‐5490322dd48d                   Address Redacted                      First Class Mail
95b7fbbf‐4340‐4069‐af3e‐b8fae49443a7                   Address Redacted                      First Class Mail
95b87236‐bb94‐4fa5‐a402‐af690f2aff2f                   Address Redacted                      First Class Mail
95b8cc36‐586e‐40fc‐94ac‐1edcac323654                   Address Redacted                      First Class Mail
95ba4318‐ea8f‐4989‐bc52‐bfcda16d0fcf                   Address Redacted                      First Class Mail
95be93e9‐b931‐48b2‐8b58‐992981410bf1                   Address Redacted                      First Class Mail
95c032ae‐1bde‐41e9‐be26‐6224b8a6454b                   Address Redacted                      First Class Mail
95c0725b‐1ffa‐4b87‐8652‐001b1d7ad73d                   Address Redacted                      First Class Mail
95ce725f‐c1af‐4bbb‐93c1‐c165c00977f3                   Address Redacted                      First Class Mail
95d56e3d‐1987‐4806‐8659‐4bdcebeb2eff                   Address Redacted                      First Class Mail
95d619d3‐67c8‐4166‐bd9d‐3b9c61117a8c                   Address Redacted                      First Class Mail
95d8c5c4‐1d60‐4de5‐9f8e‐fb8556ce8028                   Address Redacted                      First Class Mail
95dacf20‐ae9f‐41b5‐96bb‐84a90b7a955b                   Address Redacted                      First Class Mail
95deb516‐98b3‐4644‐ba32‐b95a04eb7f4c                   Address Redacted                      First Class Mail
95dfbfd9‐c244‐49aa‐a60d‐3ab6161b7bff                   Address Redacted                      First Class Mail
95e23fe9‐4a9c‐49c9‐b3e4‐943373672824                   Address Redacted                      First Class Mail
95e44e3b‐fe35‐4f8e‐9718‐642934d66b3f                   Address Redacted                      First Class Mail
95e5687e‐e614‐46af‐9884‐4f1d7384dc7c                   Address Redacted                      First Class Mail
95ed1f8f‐8811‐4823‐82e1‐3a47ba6f2fd1                   Address Redacted                      First Class Mail
95ee378a‐29ee‐4981‐a9f4‐56beb9104715                   Address Redacted                      First Class Mail
95f3bb3b‐2950‐46f2‐bb01‐8c0e7883408b                   Address Redacted                      First Class Mail
95f6409a‐e989‐439f‐b2db‐6319807f7d67                   Address Redacted                      First Class Mail
95f8a18e‐4e80‐4169‐873a‐09fefd00db2c                   Address Redacted                      First Class Mail
95fa1126‐1200‐41d1‐b689‐901492b3b26b                   Address Redacted                      First Class Mail
96067fb6‐3823‐4a68‐ba01‐fa4c802320d9                   Address Redacted                      First Class Mail
960893a3‐8cb1‐4669‐8666‐af3ee8afbfa5                   Address Redacted                      First Class Mail
9609ef56‐8302‐4751‐ac78‐945bebb392ce                   Address Redacted                      First Class Mail
960a4eb6‐5ec2‐4ea7‐af96‐0ab0e1f66512                   Address Redacted                      First Class Mail
960ce2a4‐1075‐4a95‐9539‐2295e85d368f                   Address Redacted                      First Class Mail
960dff5c‐4341‐4f06‐b092‐e7f76e4fbfe8                   Address Redacted                      First Class Mail
96163365‐6322‐4fd4‐8bf5‐6f8afac20a5d                   Address Redacted                      First Class Mail
96175454‐1e08‐45cb‐92ff‐4b741fd53645                   Address Redacted                      First Class Mail
961cc3d6‐f555‐4de3‐89e6‐9e444e363935                   Address Redacted                      First Class Mail




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                                                                 Service List


                               Name                                             Address                         Method of Service
961e8b41‐9b2b‐45da‐9e4d‐6fcc01f0344c                   Address Redacted                      First Class Mail
961ffe89‐3cfe‐47af‐99d1‐9d752985f6d9                   Address Redacted                      First Class Mail
9621f969‐301d‐4136‐895d‐e808f27c439a                   Address Redacted                      First Class Mail
962633b1‐4f59‐43ff‐ae7f‐c525eec737b8                   Address Redacted                      First Class Mail
9628ccb5‐ec41‐4203‐ae48‐5b1e75ed4f87                   Address Redacted                      First Class Mail
96294616‐68b3‐46c4‐8078‐015a9d6f552a                   Address Redacted                      First Class Mail
962951fb‐1b1f‐4ad6‐9406‐a9e496f38f96                   Address Redacted                      First Class Mail
962def12‐5c15‐4512‐91b6‐66eccbec9613                   Address Redacted                      First Class Mail
962fbe57‐0d5d‐4a3a‐9bde‐8261971db3f1                   Address Redacted                      First Class Mail
96300947‐b80d‐4195‐a8f7‐0a70859d1175                   Address Redacted                      First Class Mail
9632cd1c‐2d11‐49a0‐bcf8‐172f04758837                   Address Redacted                      First Class Mail
9632db7f‐0606‐4c57‐96a4‐679d2422fc12                   Address Redacted                      First Class Mail
963814d4‐b4c1‐460b‐bcc8‐aa13b14e23ed                   Address Redacted                      First Class Mail
9638d90b‐2d09‐411d‐a9c7‐ef1b32eb95f7                   Address Redacted                      First Class Mail
963a6043‐d950‐40e5‐b02f‐159399b6fc71                   Address Redacted                      First Class Mail
963ad986‐84f5‐4524‐bf76‐f3437ac157c8                   Address Redacted                      First Class Mail
963c8d07‐3b46‐497c‐a015‐e2e6293ee908                   Address Redacted                      First Class Mail
963e666d‐6a50‐4512‐b2af‐696362c9722e                   Address Redacted                      First Class Mail
963f9659‐eda6‐406a‐9415‐1fc4ed456a85                   Address Redacted                      First Class Mail
9642279d‐f3a0‐4a31‐94cb‐262361fde9cc                   Address Redacted                      First Class Mail
9645ec7e‐1680‐4407‐950f‐954d2dcbce1d                   Address Redacted                      First Class Mail
964b1d57‐918a‐4855‐898e‐e9a3a398fc2b                   Address Redacted                      First Class Mail
964d3250‐6fd4‐48dd‐bb2c‐5f6fd87a3414                   Address Redacted                      First Class Mail
964d5da9‐041f‐4885‐b0c1‐ebb79c346e74                   Address Redacted                      First Class Mail
964eaf36‐1532‐4be3‐9be9‐76e4ddc06145                   Address Redacted                      First Class Mail
96539da1‐57cc‐4981‐8f64‐3491f5c13f73                   Address Redacted                      First Class Mail
9657b995‐5e1a‐44ab‐af60‐377207ad1519                   Address Redacted                      First Class Mail
96592286‐389b‐42d0‐ae52‐82cc1e7923b7                   Address Redacted                      First Class Mail
965b11dc‐ac9a‐4c7f‐9f59‐4ba076e7a46b                   Address Redacted                      First Class Mail
965d25aa‐1a6c‐4049‐86dc‐2f0d808b5719                   Address Redacted                      First Class Mail
965d71ff‐cf9c‐4fef‐b399‐35d2bf02105d                   Address Redacted                      First Class Mail
965e75fe‐89ab‐4c63‐b6c9‐095ed07bb3af                   Address Redacted                      First Class Mail
965edb69‐ee5a‐43c7‐ac8e‐c4d1a694571e                   Address Redacted                      First Class Mail
965f556d‐a6de‐4a67‐ad39‐7f3399b31061                   Address Redacted                      First Class Mail
9661b3d2‐f462‐4620‐b9ea‐e5852a1a607e                   Address Redacted                      First Class Mail
96624475‐4d17‐40d9‐81ac‐ca3484ef0f0a                   Address Redacted                      First Class Mail
96674f48‐5406‐4214‐80cc‐5dd48ba133db                   Address Redacted                      First Class Mail
96680bb8‐dcc1‐43f2‐9bb6‐6f755a8dd5a4                   Address Redacted                      First Class Mail
966ad362‐0910‐4456‐9335‐86ccfb60eac9                   Address Redacted                      First Class Mail
966c580c‐6667‐4134‐9b33‐4c3b8ef02b88                   Address Redacted                      First Class Mail
966eb112‐e5e1‐4529‐9ee2‐c360f45abc18                   Address Redacted                      First Class Mail
9675b678‐7a65‐4984‐ab72‐abb332c5f56b                   Address Redacted                      First Class Mail
96761021‐deee‐4260‐8c0a‐d1feb6dedc5a                   Address Redacted                      First Class Mail
96780f84‐a996‐4688‐bd80‐5aa120ae9cef                   Address Redacted                      First Class Mail
9679747b‐c9e0‐46f0‐9454‐1b6c8b6df8bf                   Address Redacted                      First Class Mail
96799be8‐9841‐447e‐a909‐75dd6bce2e68                   Address Redacted                      First Class Mail
967ac4b8‐885c‐4b5a‐9ed2‐e947b4cd7e7f                   Address Redacted                      First Class Mail
967ad772‐8977‐4101‐a616‐4f3f57e3affe                   Address Redacted                      First Class Mail
967d8e41‐060f‐416b‐848b‐8b69bc407208                   Address Redacted                      First Class Mail
968254c6‐3b55‐47db‐9395‐9e6ff7abd26e                   Address Redacted                      First Class Mail
9686fa44‐d7e9‐4fca‐93d9‐58c51b5fecf2                   Address Redacted                      First Class Mail
96878cc9‐1c84‐4db4‐a53e‐102e2262144f                   Address Redacted                      First Class Mail
9688f1d8‐3624‐46ed‐9cae‐10ea858c4a90                   Address Redacted                      First Class Mail
968a1789‐e2cb‐4f92‐90a5‐5a9151383867                   Address Redacted                      First Class Mail
9690ab58‐8d1d‐4a0a‐b5d8‐d7e53ce1b0d1                   Address Redacted                      First Class Mail
9691dfb5‐e561‐4f85‐aa1a‐9df75717fefa                   Address Redacted                      First Class Mail
96958462‐9229‐4682‐a07d‐9953fdbf9914                   Address Redacted                      First Class Mail
969a1c86‐136c‐4adc‐9fd7‐9b4b3e112af2                   Address Redacted                      First Class Mail
969a3893‐d324‐4120‐a741‐74d6bf84f8be                   Address Redacted                      First Class Mail
969aafd9‐8cc6‐4ab0‐9692‐8003f43826dc                   Address Redacted                      First Class Mail
969b9cb4‐3466‐4e23‐9259‐a74385acf212                   Address Redacted                      First Class Mail
969e9f80‐d12c‐4bf2‐a370‐9f0faad719e0                   Address Redacted                      First Class Mail
96a79c32‐f851‐4183‐baad‐8b2cfa9dbf91                   Address Redacted                      First Class Mail
96a88df5‐603d‐418f‐b5c5‐f3b00288e1a6                   Address Redacted                      First Class Mail
96aa3e5b‐a28a‐4ff6‐b2bd‐aebdc45ae6a2                   Address Redacted                      First Class Mail
96abf68d‐95e2‐4508‐a343‐0e2b720fc844                   Address Redacted                      First Class Mail
96ac5e9b‐44b0‐4028‐b03a‐03f0ff2fb585                   Address Redacted                      First Class Mail
96acae7e‐459b‐4341‐aef9‐ff3f1afc2f74                   Address Redacted                      First Class Mail
96ae271f‐daa6‐4a34‐ac2e‐d56787c7ee30                   Address Redacted                      First Class Mail
96b0229c‐f1f9‐4907‐9ed7‐e61e47dd5c15                   Address Redacted                      First Class Mail
96b03353‐fb04‐4646‐ae48‐20bbae3e33bf                   Address Redacted                      First Class Mail
96b14db8‐10e5‐4c8d‐9a86‐49e1fc7d106b                   Address Redacted                      First Class Mail




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                              Name                                              Address                         Method of Service
96b4c40b‐a304‐4cd6‐9413‐057564621d7a                   Address Redacted                      First Class Mail
96bc652f‐2b07‐4eb5‐aeec‐a4bc4989863c                   Address Redacted                      First Class Mail
96bf56e8‐8623‐4ca1‐b21c‐806d1518e31a                   Address Redacted                      First Class Mail
96c0f997‐9a5b‐48f5‐8f07‐a92b9e9865d5                   Address Redacted                      First Class Mail
96c1f58b‐a417‐4d51‐8247‐d4f8e7f5dca2                   Address Redacted                      First Class Mail
96c34a13‐19ab‐4518‐bb5b‐fde4fcbac229                   Address Redacted                      First Class Mail
96c750ae‐193b‐4a82‐bf3e‐926cd6c1a4e5                   Address Redacted                      First Class Mail
96c7fe27‐e57c‐4113‐abcd‐97466e830f4e                   Address Redacted                      First Class Mail
96cbaa4f‐8ece‐438a‐bcee‐3bb0b7ff0e35                   Address Redacted                      First Class Mail
96cbe735‐cf54‐4a26‐a849‐cd66a21340a9                   Address Redacted                      First Class Mail
96cc056e‐1d62‐4745‐9a35‐5ebcef647510                   Address Redacted                      First Class Mail
96cdee3d‐bfee‐4439‐b53f‐fbb8379fd801                   Address Redacted                      First Class Mail
96cdee4f‐d07e‐4819‐9ab1‐a27c68ad4d21                   Address Redacted                      First Class Mail
96d2fbbf‐0195‐46e2‐a27c‐60b366f3a0e8                   Address Redacted                      First Class Mail
96d523aa‐f380‐4657‐8444‐061962f138ab                   Address Redacted                      First Class Mail
96d6ce31‐bea4‐4a01‐afc3‐b49bdd0facec                   Address Redacted                      First Class Mail
96d71094‐958b‐441b‐a568‐db855e3ca216                   Address Redacted                      First Class Mail
96d97a94‐c7df‐4879‐9970‐ade015a8b8f6                   Address Redacted                      First Class Mail
96dc1196‐631c‐4f7b‐9ba1‐7aa3831b0d8f                   Address Redacted                      First Class Mail
96dde496‐00b9‐40e8‐9d0d‐5eded6a024b4                   Address Redacted                      First Class Mail
96df963e‐e557‐460b‐8eef‐8f4715bafa9b                   Address Redacted                      First Class Mail
96e0fe6a‐af17‐4953‐a86e‐e6ad8c40cb2a                   Address Redacted                      First Class Mail
96e1a078‐7fcd‐4867‐bce3‐5b7575046258                   Address Redacted                      First Class Mail
96e1cbef‐ceae‐4959‐aa65‐5e1d82d55867                   Address Redacted                      First Class Mail
96e399f6‐098b‐4cf7‐a123‐0c58718d50d6                   Address Redacted                      First Class Mail
96e4737d‐f677‐4c66‐9330‐177c17003583                   Address Redacted                      First Class Mail
96e4d394‐af7b‐40cf‐8b44‐85a12a0e50a8                   Address Redacted                      First Class Mail
96ed0920‐e2fb‐43cd‐b405‐9b45950fa415                   Address Redacted                      First Class Mail
96ef6e33‐db33‐4a90‐9cdf‐c149f2d76c59                   Address Redacted                      First Class Mail
96f1c335‐aa84‐4c71‐8392‐51d3e7e2f901                   Address Redacted                      First Class Mail
96f515ed‐d5df‐4c84‐bae6‐a7baf98fd040                   Address Redacted                      First Class Mail
96f523d2‐b360‐4dae‐9645‐fc608a514bd5                   Address Redacted                      First Class Mail
96f58c75‐ccb0‐49f8‐a7d9‐9917494dea5b                   Address Redacted                      First Class Mail
96f59eb4‐b5d7‐4d15‐8ebe‐9af085efac29                   Address Redacted                      First Class Mail
96fa0760‐665e‐4c94‐bd88‐f8cb51689ea0                   Address Redacted                      First Class Mail
96fb2a87‐350d‐49ac‐9570‐77c95c3dc25f                   Address Redacted                      First Class Mail
96fd6292‐36af‐4936‐9d82‐8e4ef0a45d53                   Address Redacted                      First Class Mail
96fe849a‐244d‐4285‐941b‐ec26862352ff                   Address Redacted                      First Class Mail
970042b1‐4674‐4d80‐8f01‐3eeff7de4ba6                   Address Redacted                      First Class Mail
97037f3a‐c7a2‐4d07‐8ff4‐5044a7c4c0b8                   Address Redacted                      First Class Mail
97059e5d‐7a45‐4e8b‐bb19‐5c12af866ccb                   Address Redacted                      First Class Mail
9707f025‐748e‐4614‐ae8b‐fe09b5fa2294                   Address Redacted                      First Class Mail
970a2e08‐5c11‐4933‐9a2d‐1fefe93327af                   Address Redacted                      First Class Mail
970e836f‐92c9‐4f4e‐9237‐1aa0a1d790b2                   Address Redacted                      First Class Mail
97103084‐3481‐4df7‐8ccf‐1aa2258bed9d                   Address Redacted                      First Class Mail
9716358d‐b49b‐4aa8‐ad57‐d93139dbb780                   Address Redacted                      First Class Mail
9717d820‐218b‐4e41‐8701‐fd257b55dec5                   Address Redacted                      First Class Mail
9719bebf‐53f7‐423a‐a496‐e77ee3555055                   Address Redacted                      First Class Mail
971a6849‐d53e‐4f66‐ae9b‐09c83cd6cf08                   Address Redacted                      First Class Mail
971c2ed3‐0160‐4aab‐aa54‐7cf1c90a06a1                   Address Redacted                      First Class Mail
972047e3‐709a‐4367‐892c‐0eb15d15bfb7                   Address Redacted                      First Class Mail
972371d4‐2577‐43b0‐9fae‐3800503f6e3b                   Address Redacted                      First Class Mail
97268043‐3464‐46e0‐8127‐156770190f1c                   Address Redacted                      First Class Mail
972a882e‐723d‐4e63‐ba60‐e331e27f1033                   Address Redacted                      First Class Mail
972c7449‐0baa‐42ae‐8590‐775d0543acaa                   Address Redacted                      First Class Mail
972cb4a4‐404a‐4d20‐9ef4‐3adc99f17571                   Address Redacted                      First Class Mail
973279bf‐13fc‐4954‐9365‐db94ad9cb38f                   Address Redacted                      First Class Mail
9734901b‐24d7‐449a‐9430‐2b545fd43bb3                   Address Redacted                      First Class Mail
97379829‐a773‐4f3a‐9d5f‐6c0a8df8d1af                   Address Redacted                      First Class Mail
9739abbf‐58b2‐45ab‐8221‐5d347422923f                   Address Redacted                      First Class Mail
9739b416‐f61d‐45ef‐a9a3‐2685b5ec38b1                   Address Redacted                      First Class Mail
973a4445‐84f4‐43b4‐a565‐dcb9ff1f1fb6                   Address Redacted                      First Class Mail
973bc3c5‐2f5f‐4612‐8916‐a15d7a0bac71                   Address Redacted                      First Class Mail
973cbc1e‐fa8b‐488c‐9d2f‐1fb334471bb0                   Address Redacted                      First Class Mail
973de6b2‐d403‐4cc5‐9a90‐ebcdeb2f0fce                   Address Redacted                      First Class Mail
973eeedc‐5da4‐46f7‐8c4a‐56a583b03cca                   Address Redacted                      First Class Mail
9741eeb9‐df94‐4bbc‐93c2‐7c8bdfa85513                   Address Redacted                      First Class Mail
9742d129‐89cd‐43de‐b50d‐7ca348ac185b                   Address Redacted                      First Class Mail
97477a84‐aaa2‐4121‐ac11‐19a510e7f925                   Address Redacted                      First Class Mail
974c7497‐0efb‐45ca‐83ba‐61d246b5db3c                   Address Redacted                      First Class Mail
974f30a7‐5466‐4f5b‐bd88‐845f304472f1                   Address Redacted                      First Class Mail
975c796e‐4501‐4354‐9d95‐5c2ad13b6dbd                   Address Redacted                      First Class Mail




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                                                                 Service List


                              Name                                              Address                         Method of Service
97618ccf‐819a‐4b81‐b675‐19e3c18544cf                   Address Redacted                      First Class Mail
9762bde4‐c4d9‐44a5‐8cd8‐b896cdb940de                   Address Redacted                      First Class Mail
976443f3‐8116‐474f‐87b2‐719009f16cc6                   Address Redacted                      First Class Mail
9765fed2‐f72e‐4c69‐b6f4‐15af4ae0dce2                   Address Redacted                      First Class Mail
9766b507‐f4a6‐4e15‐bb22‐c9d762d6a654                   Address Redacted                      First Class Mail
9768c64d‐4c46‐41b2‐ac37‐ca25b93012db                   Address Redacted                      First Class Mail
976ab5b9‐1072‐4068‐b1bc‐4ebd707c7065                   Address Redacted                      First Class Mail
976c6357‐2a10‐4525‐b193‐7df8b5ebea24                   Address Redacted                      First Class Mail
976e97f4‐7a59‐4db7‐a334‐b6cbf89963a3                   Address Redacted                      First Class Mail
976efed9‐9d90‐45be‐8174‐cbb36d1d666f                   Address Redacted                      First Class Mail
9770a69c‐8642‐4d11‐8dd0‐146b16d965a0                   Address Redacted                      First Class Mail
97713eb0‐92d8‐4bef‐b17a‐b68a74eb59d5                   Address Redacted                      First Class Mail
9771bd0d‐1929‐4701‐84cb‐b37a6147f0e3                   Address Redacted                      First Class Mail
9771d620‐6b5a‐4d3b‐b305‐ba80d8646c4f                   Address Redacted                      First Class Mail
9771f5b9‐6132‐4f04‐b28a‐4fbbaf513396                   Address Redacted                      First Class Mail
97744084‐397f‐4009‐b88d‐8844ab19c102                   Address Redacted                      First Class Mail
97768dbb‐d317‐41c0‐904b‐dc482be74304                   Address Redacted                      First Class Mail
977883e9‐ede6‐4152‐b0db‐8a0048c4080b                   Address Redacted                      First Class Mail
977e2edd‐4b9a‐47ba‐8c87‐c25cf682ec8e                   Address Redacted                      First Class Mail
977f7c9a‐d2d3‐4427‐864c‐c46d9f71edc6                   Address Redacted                      First Class Mail
97817739‐54f2‐4c24‐ab76‐642f87808023                   Address Redacted                      First Class Mail
97818d03‐891a‐41a5‐9a32‐68d4107d1d6a                   Address Redacted                      First Class Mail
9782db94‐5862‐4d23‐b216‐83696acf587c                   Address Redacted                      First Class Mail
9782fceb‐e54f‐43c3‐9903‐74c24a9891b2                   Address Redacted                      First Class Mail
97867c8b‐2fec‐4a81‐83af‐32b14be68927                   Address Redacted                      First Class Mail
9787442b‐baba‐4f58‐b5ac‐2119dadb225f                   Address Redacted                      First Class Mail
978c3937‐8293‐4252‐8679‐53fa1a39b368                   Address Redacted                      First Class Mail
978d6b9c‐e8c8‐45dd‐b1fc‐8e2e66e45215                   Address Redacted                      First Class Mail
978e17a9‐6b16‐46ff‐ad73‐6e925850157c                   Address Redacted                      First Class Mail
978fee1a‐0eb9‐4300‐9e5e‐4c52afad7ca7                   Address Redacted                      First Class Mail
979155f8‐d8af‐4d36‐9c1c‐fed95a127bed                   Address Redacted                      First Class Mail
97940479‐3da3‐4335‐9d2f‐b6b09cee9f7c                   Address Redacted                      First Class Mail
97942727‐9f4a‐450b‐bb41‐9efbb88edca8                   Address Redacted                      First Class Mail
97986a55‐f4db‐4021‐994f‐82f7633c7fee                   Address Redacted                      First Class Mail
97989ede‐5c34‐4d3c‐9bab‐226089ec5098                   Address Redacted                      First Class Mail
979942d2‐f296‐468e‐934e‐3546c63e9996                   Address Redacted                      First Class Mail
97a00118‐6e3c‐4454‐9dd7‐8b9553a72f2b                   Address Redacted                      First Class Mail
97a587df‐b499‐4b27‐bc7e‐e8ebcdbad947                   Address Redacted                      First Class Mail
97a686b7‐84d1‐4423‐9c45‐8e786e1a23ac                   Address Redacted                      First Class Mail
97a74388‐80dd‐4f41‐83ad‐b8f10573b386                   Address Redacted                      First Class Mail
97a79da4‐8011‐4e1b‐a886‐781cc897c761                   Address Redacted                      First Class Mail
97a7e5f8‐bf51‐4e6d‐ac91‐27070a12b9b4                   Address Redacted                      First Class Mail
97a9f970‐9d78‐4fc8‐a700‐5446b3aea0cd                   Address Redacted                      First Class Mail
97aa7d87‐a253‐4b44‐a010‐9feec06af8e2                   Address Redacted                      First Class Mail
97aa80bf‐19c1‐4014‐ba61‐a238f1abe8eb                   Address Redacted                      First Class Mail
97acbded‐129a‐4692‐9652‐e5eee1ed5d9f                   Address Redacted                      First Class Mail
97adffe2‐9590‐4e4f‐b9e8‐f3750620182a                   Address Redacted                      First Class Mail
97aeeacc‐5b43‐4250‐9dab‐68d8b455df1d                   Address Redacted                      First Class Mail
97af2729‐1b56‐43e1‐9baf‐86c5215b4ee1                   Address Redacted                      First Class Mail
97afdd82‐74c9‐443a‐972c‐790bcee42837                   Address Redacted                      First Class Mail
97b74cad‐7067‐4596‐bad9‐c3b694169fce                   Address Redacted                      First Class Mail
97b835b4‐b57d‐42fc‐9ecd‐25106bbc3391                   Address Redacted                      First Class Mail
97b8b130‐b094‐4aad‐a680‐f6d2f2f3a588                   Address Redacted                      First Class Mail
97bb2cbe‐27e6‐4d13‐8dac‐a67a2ea816a0                   Address Redacted                      First Class Mail
97bda17c‐1bfb‐48b7‐90ac‐11cb0dfcbbc9                   Address Redacted                      First Class Mail
97c4b3cf‐87da‐48ef‐a156‐e90952ba89fb                   Address Redacted                      First Class Mail
97cadbe7‐8d9f‐4f40‐a0a9‐a58fcc12f2c2                   Address Redacted                      First Class Mail
97cc9647‐5d8d‐4a71‐8b24‐cf0cee07524e                   Address Redacted                      First Class Mail
97cf7464‐6203‐4dab‐9398‐900434a17e97                   Address Redacted                      First Class Mail
97d09c24‐e344‐4cde‐bae0‐f2d38ef24c49                   Address Redacted                      First Class Mail
97d0e1f3‐9c3f‐4edc‐b418‐54d71201eff4                   Address Redacted                      First Class Mail
97d48d1f‐69da‐49c7‐b7b4‐1efde46472cf                   Address Redacted                      First Class Mail
97db871d‐0fbf‐4f97‐ac5e‐50f74eed3138                   Address Redacted                      First Class Mail
97dd7a55‐2408‐4941‐ac53‐0a25a87c4425                   Address Redacted                      First Class Mail
97de8544‐7898‐4f05‐8f57‐b4f3201dccf3                   Address Redacted                      First Class Mail
97e68f77‐5175‐4601‐b03e‐de2434f0cb41                   Address Redacted                      First Class Mail
97e865fe‐38d3‐48bc‐aacf‐3d4f7c0088f2                   Address Redacted                      First Class Mail
97e89591‐2c3b‐4efc‐a55d‐dfc0d490b751                   Address Redacted                      First Class Mail
97f104b1‐4595‐42ce‐b7ef‐e740ea5dcb16                   Address Redacted                      First Class Mail
97f1b966‐3734‐437f‐ade2‐452d3c2eb5c3                   Address Redacted                      First Class Mail
97f7c5b3‐1d45‐4de4‐b737‐e77fbbc26865                   Address Redacted                      First Class Mail
97f826f3‐c79c‐4e60‐9bce‐93052861ef68                   Address Redacted                      First Class Mail




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                                                                Exhibit A
                                                                 Service List


                              Name                                              Address                         Method of Service
97f881b8‐b20e‐46f6‐b99b‐6d65ecb18780                   Address Redacted                      First Class Mail
97fa1e32‐a4d1‐40fd‐ad35‐88c9a6258bde                   Address Redacted                      First Class Mail
9803476a‐6f52‐4d59‐9fa6‐bc423abc9901                   Address Redacted                      First Class Mail
9805edb9‐e3bf‐4e4d‐bd78‐8d313213eafd                   Address Redacted                      First Class Mail
98076c00‐7e87‐43c6‐87c0‐2a3a1f03b93c                   Address Redacted                      First Class Mail
9807c03c‐d5d1‐4ef1‐9c2e‐38f8a2832297                   Address Redacted                      First Class Mail
980afece‐f6e4‐4f2d‐8a3b‐82b650039f60                   Address Redacted                      First Class Mail
980e23f5‐364b‐4b95‐b26c‐5fb6cb3068fc                   Address Redacted                      First Class Mail
980f5130‐c53a‐4f05‐a70c‐f3761e802b49                   Address Redacted                      First Class Mail
981587e8‐7673‐4026‐af83‐24543ad2fe13                   Address Redacted                      First Class Mail
9816101b‐785f‐45d1‐a51a‐5e1bbd6268d1                   Address Redacted                      First Class Mail
981666b1‐3ba7‐40d2‐a616‐9005a8cbab6a                   Address Redacted                      First Class Mail
9817962b‐eec2‐4b36‐88dd‐891060514795                   Address Redacted                      First Class Mail
981b8d65‐c563‐44b5‐92ce‐83bbbd031124                   Address Redacted                      First Class Mail
981f7333‐6a17‐4853‐a2d4‐9356d456b84e                   Address Redacted                      First Class Mail
9822eeb5‐eb5c‐42dd‐b884‐7e437e6cc4a3                   Address Redacted                      First Class Mail
9828126f‐6af3‐4c55‐b620‐4ea134f715b1                   Address Redacted                      First Class Mail
9828af7c‐4a93‐4caf‐b2d8‐29a5ac5bcf52                   Address Redacted                      First Class Mail
982925a8‐96e0‐4e13‐8304‐2357b29fb8ba                   Address Redacted                      First Class Mail
982a4c9d‐fc42‐4144‐86a4‐3b4bb353ad16                   Address Redacted                      First Class Mail
982ba125‐0a33‐4b4e‐96a1‐4472cf9cb13c                   Address Redacted                      First Class Mail
982ddddb‐f3af‐4ba8‐b250‐65d59d6431a2                   Address Redacted                      First Class Mail
9834e30e‐fbeb‐4383‐b07a‐b3576bc25b66                   Address Redacted                      First Class Mail
98394437‐01cf‐4784‐a94a‐642d600c2785                   Address Redacted                      First Class Mail
983b2de9‐2985‐468c‐9821‐1753b7436570                   Address Redacted                      First Class Mail
983eff2c‐2f26‐4595‐9837‐99286caed871                   Address Redacted                      First Class Mail
9848e245‐4061‐4ea9‐86b5‐80697d26f6ed                   Address Redacted                      First Class Mail
984f5d41‐4bee‐41fb‐a154‐a636fc5ebc66                   Address Redacted                      First Class Mail
9853a0be‐7cd0‐4148‐a755‐1d092f5e1f7b                   Address Redacted                      First Class Mail
985502d9‐a577‐4ff4‐a336‐5d8003e1b247                   Address Redacted                      First Class Mail
98564c0a‐1400‐4481‐a88e‐d7bda2700972                   Address Redacted                      First Class Mail
9856fa61‐402f‐46fa‐8362‐3d01c5ec7185                   Address Redacted                      First Class Mail
9857b1b5‐c4df‐4bf6‐873e‐bd2db5c6c782                   Address Redacted                      First Class Mail
9859e16f‐1c97‐4d49‐a097‐fd95aa6d393e                   Address Redacted                      First Class Mail
985a5bca‐2bcf‐4100‐a6a4‐88e774088957                   Address Redacted                      First Class Mail
985af9bf‐1c14‐42c7‐b821‐8b8d688bdee2                   Address Redacted                      First Class Mail
985f8f9b‐3c0c‐4b2f‐95e8‐b5bfe30df13f                   Address Redacted                      First Class Mail
98636e20‐20eb‐48ef‐8dc0‐a3736cf1cdfc                   Address Redacted                      First Class Mail
986ab185‐78eb‐4ed6‐b2c6‐43911295c74b                   Address Redacted                      First Class Mail
986e8a75‐8f0f‐4ad3‐96d6‐3aeaf8c47567                   Address Redacted                      First Class Mail
987068da‐471c‐4a0a‐aa90‐a57993bd9a36                   Address Redacted                      First Class Mail
9870a18c‐7bdd‐44fb‐8cc5‐c377b55cd04a                   Address Redacted                      First Class Mail
9872b802‐d85a‐402a‐a594‐7c2abc3399da                   Address Redacted                      First Class Mail
987601e9‐bd5a‐4af3‐95a9‐a60eaea1bb6d                   Address Redacted                      First Class Mail
987dcc10‐cdf0‐4f6e‐a3a7‐079bdb9503d0                   Address Redacted                      First Class Mail
987e116a‐e73a‐45dd‐b81f‐a448f37c9c39                   Address Redacted                      First Class Mail
98802ef7‐0e57‐407b‐b0dc‐3f2deda17a35                   Address Redacted                      First Class Mail
9880f2b1‐d8c7‐4957‐a964‐155e6493cfef                   Address Redacted                      First Class Mail
98853b5b‐5e01‐489a‐9fad‐a96242dcf062                   Address Redacted                      First Class Mail
98856577‐73b9‐4112‐acb7‐628b10f1a0fd                   Address Redacted                      First Class Mail
988629b8‐d3fd‐4734‐80f5‐6ec02c9edc34                   Address Redacted                      First Class Mail
988812b2‐d50e‐4ec1‐95f4‐1adc5fe3b367                   Address Redacted                      First Class Mail
9888f377‐4f66‐4c24‐8c8a‐7d1987fdc5b1                   Address Redacted                      First Class Mail
988bb1fb‐87cc‐4ea6‐8e13‐bab0ffcf3ca7                   Address Redacted                      First Class Mail
988c4c02‐bb0e‐43f4‐86f5‐424d956e06db                   Address Redacted                      First Class Mail
988e4fc5‐b812‐4743‐b708‐2740e7a5262b                   Address Redacted                      First Class Mail
98920941‐82ef‐4c97‐83ef‐3331060d48c7                   Address Redacted                      First Class Mail
9897a779‐ecf8‐4264‐b21c‐cb0bc5627ce0                   Address Redacted                      First Class Mail
98993b9c‐168f‐4d77‐ae56‐9c8542071c96                   Address Redacted                      First Class Mail
98a0cfb4‐cd17‐4aaf‐a108‐f83a541fc3a0                   Address Redacted                      First Class Mail
98a54882‐f388‐464d‐b7a7‐45ee66bd9b68                   Address Redacted                      First Class Mail
98a566a0‐3eb6‐420d‐86e0‐1894107cc962                   Address Redacted                      First Class Mail
98aa6aa7‐fbb5‐46ef‐8bdf‐1bbccd526f26                   Address Redacted                      First Class Mail
98ace7e2‐cda7‐4621‐95ac‐b21b7291c309                   Address Redacted                      First Class Mail
98aeb095‐b609‐456e‐82db‐3083b6e5b25a                   Address Redacted                      First Class Mail
98b0b07d‐776c‐46d6‐ab77‐703126ba3bbe                   Address Redacted                      First Class Mail
98b79bf6‐5f44‐42be‐8fb3‐188ef5e3aed2                   Address Redacted                      First Class Mail
98ba86fa‐9d1d‐47f5‐bb8c‐f180ef4d5d17                   Address Redacted                      First Class Mail
98bae995‐f345‐42f4‐abd0‐4700b09b9ff2                   Address Redacted                      First Class Mail
98bda753‐9c8c‐4ec5‐9fc2‐436968ef26cd                   Address Redacted                      First Class Mail
98be9a48‐c5a0‐42d3‐8105‐340c6be6924e                   Address Redacted                      First Class Mail
98bea3bb‐7c94‐426f‐a1d1‐635c2f886015                   Address Redacted                      First Class Mail




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                              Name                                              Address                         Method of Service
98bfdecf‐6147‐4ada‐9dad‐55ea106c90e4                   Address Redacted                      First Class Mail
98c1cbf6‐e393‐4233‐8700‐0af9b279c9e7                   Address Redacted                      First Class Mail
98c53064‐7bb5‐423a‐9f42‐7bbc7f94f5d8                   Address Redacted                      First Class Mail
98c630ea‐698f‐46bd‐85c8‐2361b66e0c83                   Address Redacted                      First Class Mail
98c8d0db‐0d64‐4819‐a345‐30be98c8788e                   Address Redacted                      First Class Mail
98c8fc5c‐eb21‐4e60‐855b‐58134c0f3750                   Address Redacted                      First Class Mail
98c9b953‐f911‐44ab‐9b9e‐32e6965395cf                   Address Redacted                      First Class Mail
98d17d8a‐77b3‐44a1‐832c‐8a5b8341679c                   Address Redacted                      First Class Mail
98d30ddb‐5eab‐4862‐9197‐5cf471b76754                   Address Redacted                      First Class Mail
98d902e2‐419b‐4566‐87b7‐d507260ea7bb                   Address Redacted                      First Class Mail
98da8ef0‐bbeb‐4677‐82ef‐0873a4e68416                   Address Redacted                      First Class Mail
98de40ea‐a6c6‐4b87‐b987‐fe2a1c6f5d80                   Address Redacted                      First Class Mail
98de54c6‐5982‐4ee0‐a39d‐57ac92a38385                   Address Redacted                      First Class Mail
98e01f85‐357a‐483e‐884d‐ae893c7d72aa                   Address Redacted                      First Class Mail
98e1eea1‐4332‐4027‐8bfe‐bccfa7d0fc36                   Address Redacted                      First Class Mail
98e2069c‐fc82‐42df‐9be1‐30cd80d12713                   Address Redacted                      First Class Mail
98e6e772‐d833‐4278‐9262‐9abfe1f69399                   Address Redacted                      First Class Mail
98e99c71‐21db‐47d3‐9a67‐98bf2403b30d                   Address Redacted                      First Class Mail
98eef6a1‐92a9‐47ed‐b56c‐808d819da5e7                   Address Redacted                      First Class Mail
98f26af9‐2f24‐4432‐a4ad‐49facde8843e                   Address Redacted                      First Class Mail
98f3a263‐56b6‐4d52‐90c4‐6fa4e188359a                   Address Redacted                      First Class Mail
98f8d8dd‐cd94‐4def‐bc36‐369c4c0289e2                   Address Redacted                      First Class Mail
98fbac35‐183c‐4079‐96dd‐d90bdbbb5949                   Address Redacted                      First Class Mail
98fd47b4‐22d7‐4fb9‐a3f6‐fb407ebc0570                   Address Redacted                      First Class Mail
98fe9ba7‐49ae‐467f‐9820‐8bd7c71b4b3f                   Address Redacted                      First Class Mail
9900edf6‐8690‐4455‐9fcf‐9ef52827f271                   Address Redacted                      First Class Mail
990a5d80‐d946‐4c3d‐9450‐f1fd46f40d5e                   Address Redacted                      First Class Mail
990c274f‐81d0‐4d10‐ba98‐2921293957fc                   Address Redacted                      First Class Mail
990ea2b6‐e85a‐4786‐b903‐a0c2605cb5ae                   Address Redacted                      First Class Mail
990f12a5‐b434‐4e7a‐86f9‐c268ca4b01c0                   Address Redacted                      First Class Mail
991653d3‐81b6‐4cd2‐8c3c‐14e3ebf36579                   Address Redacted                      First Class Mail
99214271‐52a5‐4409‐b739‐2b95a04a9616                   Address Redacted                      First Class Mail
992184ec‐4c23‐4e11‐a5f0‐944563d4ead8                   Address Redacted                      First Class Mail
9921b62f‐c9a9‐451a‐a90f‐80ffdc29528f                   Address Redacted                      First Class Mail
99233312‐0b10‐48ef‐92d9‐399f335ea96f                   Address Redacted                      First Class Mail
9926f045‐0eaf‐4ac2‐8f2c‐3e6b2b46b9a8                   Address Redacted                      First Class Mail
99285368‐56b9‐49eb‐95a9‐594fb846f899                   Address Redacted                      First Class Mail
9929bc30‐2846‐4e56‐9a30‐c2b11392cfc3                   Address Redacted                      First Class Mail
992b1b14‐1c26‐4caf‐8d06‐f1daf81bdf2a                   Address Redacted                      First Class Mail
992fb4ce‐e2d6‐483c‐b795‐1485b1fda407                   Address Redacted                      First Class Mail
99354343‐9310‐4dd0‐a11a‐a13d256d3e3d                   Address Redacted                      First Class Mail
99385425‐dbec‐4f49‐bdbe‐acee3847d413                   Address Redacted                      First Class Mail
993a1357‐f8b7‐4741‐b92e‐2e1e02a7d284                   Address Redacted                      First Class Mail
9940cfa8‐af62‐4805‐9ff1‐55c64034c09d                   Address Redacted                      First Class Mail
9943b2ca‐9532‐48db‐9dd3‐7ff5adaef4b2                   Address Redacted                      First Class Mail
9946ab89‐337e‐4558‐9b14‐7c2c90c9deeb                   Address Redacted                      First Class Mail
9946e949‐f8aa‐49a0‐b406‐3938f02630e3                   Address Redacted                      First Class Mail
99478acd‐7c28‐41a4‐b9a5‐b0a139995884                   Address Redacted                      First Class Mail
99485ce0‐4610‐4952‐b99c‐4cea155ea2dd                   Address Redacted                      First Class Mail
9948cb7e‐c16c‐4c8b‐b6c0‐a78bdeaa283c                   Address Redacted                      First Class Mail
9948d044‐742c‐4197‐96d1‐6eb22cb5bab0                   Address Redacted                      First Class Mail
994c1ba4‐5e88‐44cf‐a516‐eb493eacee95                   Address Redacted                      First Class Mail
994d0637‐a77b‐4928‐861e‐51ccb0fac9f0                   Address Redacted                      First Class Mail
994d8178‐36a8‐49c8‐85ea‐07d46fc9284d                   Address Redacted                      First Class Mail
9951fd8d‐45b8‐447d‐9819‐8b55992df08e                   Address Redacted                      First Class Mail
995392a2‐c245‐42c8‐949f‐d382305ff583                   Address Redacted                      First Class Mail
99541ff3‐05af‐4a23‐8082‐c1fee91f9f95                   Address Redacted                      First Class Mail
9954b00b‐08d4‐4bab‐9aa2‐98e2b17abfe8                   Address Redacted                      First Class Mail
9955bd8c‐9559‐49d1‐abc8‐4042c3b7b20e                   Address Redacted                      First Class Mail
995ab7c2‐ce46‐4fee‐b830‐8033eace74f3                   Address Redacted                      First Class Mail
99606220‐d099‐436a‐bfdd‐1520288cf0a5                   Address Redacted                      First Class Mail
9964af0c‐5be0‐4bb0‐a1c1‐446a21f6263c                   Address Redacted                      First Class Mail
9967ce68‐29d9‐4107‐bc1b‐03725e71e430                   Address Redacted                      First Class Mail
996a16c0‐2615‐4865‐9a92‐d49de43448c0                   Address Redacted                      First Class Mail
996db725‐e026‐4792‐9458‐fa54e8a24e2f                   Address Redacted                      First Class Mail
997377bc‐55d2‐4503‐a099‐d6a1d0d84351                   Address Redacted                      First Class Mail
9976ec69‐81c5‐419a‐a77f‐9d763c6f50dd                   Address Redacted                      First Class Mail
99786508‐f6b9‐4015‐8c0a‐5f84431fab9a                   Address Redacted                      First Class Mail
997db30c‐c2bf‐48a0‐8c6f‐734d89f5ceb6                   Address Redacted                      First Class Mail
99807564‐84fe‐4e79‐b8bf‐5140255efddb                   Address Redacted                      First Class Mail
9981f104‐2e6c‐431c‐9dd6‐0af52d12aac5                   Address Redacted                      First Class Mail
99824581‐4428‐4d7f‐af01‐fefcccd29ab9                   Address Redacted                      First Class Mail




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                              Name                                              Address                         Method of Service
9982ba68‐57ad‐4b25‐9597‐11109d3db065                   Address Redacted                      First Class Mail
998e89d3‐1a6e‐4b02‐bd7c‐ee64d4b88a57                   Address Redacted                      First Class Mail
998f6858‐4783‐41ea‐b612‐f6a92d9aae11                   Address Redacted                      First Class Mail
99904e80‐26cf‐4803‐9e58‐e6572331378c                   Address Redacted                      First Class Mail
9990d5d2‐31ce‐4090‐9f11‐ea756e0ae074                   Address Redacted                      First Class Mail
999114cf‐2bfd‐44b3‐b630‐a6f85c0fdf25                   Address Redacted                      First Class Mail
999204c0‐8d32‐470a‐a31c‐519ff3dec5ef                   Address Redacted                      First Class Mail
9994f880‐6881‐486e‐9c14‐806ac937109a                   Address Redacted                      First Class Mail
99951c79‐803e‐4a2c‐ba52‐efde2d3ecfb0                   Address Redacted                      First Class Mail
99971fc9‐6dad‐481f‐a85b‐38d7521537e1                   Address Redacted                      First Class Mail
9998ea0e‐bd8c‐45b0‐9e28‐490090c47086                   Address Redacted                      First Class Mail
999d11de‐8333‐4dee‐befb‐f872891cbbb4                   Address Redacted                      First Class Mail
999f611c‐52e5‐49b6‐8a34‐64fc0a0551bc                   Address Redacted                      First Class Mail
99a2db04‐f0dd‐4b1e‐8f65‐d2cb849d8399                   Address Redacted                      First Class Mail
99a838fd‐84f9‐4332‐a367‐396ef9a24aa0                   Address Redacted                      First Class Mail
99a8b683‐c7f8‐4f47‐b43e‐a5effb477121                   Address Redacted                      First Class Mail
99a9834e‐c4fb‐4898‐830d‐7d5fc0808b26                   Address Redacted                      First Class Mail
99af027b‐7661‐476c‐a6cb‐d425c578af1b                   Address Redacted                      First Class Mail
99af5fbe‐e9bb‐4947‐843b‐4dfa95f59d4a                   Address Redacted                      First Class Mail
99b014a8‐a09c‐4e12‐bf80‐1dde59b7442d                   Address Redacted                      First Class Mail
99b0f36c‐a31a‐4384‐a96e‐72c3b6ac56dd                   Address Redacted                      First Class Mail
99b2f3b4‐b1ad‐4fc6‐a860‐ae2ec5a9f6d1                   Address Redacted                      First Class Mail
99b37485‐f817‐4aac‐b63b‐32e59d055ff2                   Address Redacted                      First Class Mail
99b55547‐5ddd‐4483‐973c‐78ec241802ef                   Address Redacted                      First Class Mail
99bd4817‐05f8‐4d2c‐aa27‐e25d3438bb7f                   Address Redacted                      First Class Mail
99be4228‐ea59‐436e‐b0b9‐6a313e671ce8                   Address Redacted                      First Class Mail
99bf13df‐3d93‐4682‐bd8a‐655fac9620b9                   Address Redacted                      First Class Mail
99c2768a‐fd56‐42e5‐89ca‐1578f68aedd7                   Address Redacted                      First Class Mail
99c2c38b‐3424‐48c5‐a7d6‐0847f8f9c5a2                   Address Redacted                      First Class Mail
99c33397‐fb67‐4a84‐93b6‐2b53883da7be                   Address Redacted                      First Class Mail
99c357a5‐f3d1‐4769‐b0ca‐d7ed83d7efb0                   Address Redacted                      First Class Mail
99c38239‐7b70‐482c‐91d5‐c3db692039b1                   Address Redacted                      First Class Mail
99c645c4‐116b‐47d0‐a92e‐4bf924d43b6c                   Address Redacted                      First Class Mail
99c69f9a‐8927‐4719‐b68b‐c54ea5f9f880                   Address Redacted                      First Class Mail
99c9cb8b‐3495‐47cd‐93bd‐0087064b9ed1                   Address Redacted                      First Class Mail
99c9fc3c‐7a0e‐4904‐8d24‐c1d9b7dbb8ad                   Address Redacted                      First Class Mail
99ca9b49‐007c‐4bd7‐b70e‐5f675c01d097                   Address Redacted                      First Class Mail
99cab2e5‐9c69‐4208‐ac14‐cd04377bff2d                   Address Redacted                      First Class Mail
99cb3ee6‐f506‐43cd‐ab86‐249a31de0768                   Address Redacted                      First Class Mail
99cdcb69‐2e57‐4134‐8cec‐73aea6aa7dcd                   Address Redacted                      First Class Mail
99cdfa7b‐b190‐4482‐8a60‐ace465105cf7                   Address Redacted                      First Class Mail
99ce6e7e‐f09f‐4c04‐b59c‐eb6e2ab51d24                   Address Redacted                      First Class Mail
99d01d11‐ea7c‐48f4‐bf50‐6ba1b65077bd                   Address Redacted                      First Class Mail
99d144ef‐ccaa‐4382‐aec7‐9f4c25e00f38                   Address Redacted                      First Class Mail
99d26657‐4282‐4710‐9008‐7846c3959f3f                   Address Redacted                      First Class Mail
99d26ee2‐ec7d‐4751‐ba98‐08bac8433efa                   Address Redacted                      First Class Mail
99d47378‐184f‐411e‐bdfc‐4ddfa14ae1b8                   Address Redacted                      First Class Mail
99d880ec‐ea5c‐433c‐9134‐956898073d8d                   Address Redacted                      First Class Mail
99dc9c54‐d0e8‐435a‐b047‐391f6775dd70                   Address Redacted                      First Class Mail
99de01c9‐85e3‐4806‐b224‐ca8b4454ef9b                   Address Redacted                      First Class Mail
99dfd17a‐6ed6‐4b5b‐919f‐e7c58c4542bf                   Address Redacted                      First Class Mail
99e2592d‐5e8e‐4785‐9a0f‐3594230c5601                   Address Redacted                      First Class Mail
99e2e327‐9246‐43aa‐958c‐eaab78cde8c7                   Address Redacted                      First Class Mail
99e58621‐467e‐4332‐b0e9‐67b9c70dee4d                   Address Redacted                      First Class Mail
99efb176‐30ea‐40ba‐be4f‐1c3e9f402cd3                   Address Redacted                      First Class Mail
99f14fa1‐e027‐4cb9‐86cd‐4a6984f5dfa2                   Address Redacted                      First Class Mail
99f33cf6‐6e29‐4abc‐bc0c‐84d52cf09590                   Address Redacted                      First Class Mail
99f5cfdd‐cf43‐44aa‐9e8d‐8f4860acdbbd                   Address Redacted                      First Class Mail
99fa1b91‐454b‐44f4‐97a7‐ea9c7b10177a                   Address Redacted                      First Class Mail
99fa5561‐6b28‐47d0‐871f‐dcb159b90123                   Address Redacted                      First Class Mail
99fc10e1‐94d1‐4fed‐a0f5‐c19bcf4987e0                   Address Redacted                      First Class Mail
99fd582d‐8f43‐4c7e‐a970‐1ce53e04bf4b                   Address Redacted                      First Class Mail
99feb6a4‐1ea3‐4b5c‐83c2‐78eca330b59d                   Address Redacted                      First Class Mail
9a001fd0‐009e‐47ca‐9ee4‐1771c86e2529                   Address Redacted                      First Class Mail
9a00d0da‐eeba‐4020‐8faf‐05af38ea0d54                   Address Redacted                      First Class Mail
9a00e828‐368f‐4522‐8168‐9e39f6cf8ae1                   Address Redacted                      First Class Mail
9a0159f5‐5276‐450e‐a13a‐2bea52d65970                   Address Redacted                      First Class Mail
9a058835‐3726‐462d‐a486‐3fcd514c6ffb                   Address Redacted                      First Class Mail
9a060572‐5ba9‐4b87‐8dfd‐124e4be6b75a                   Address Redacted                      First Class Mail
9a069605‐695a‐4563‐a3b8‐c8798e99f577                   Address Redacted                      First Class Mail
9a09f03f‐2eaf‐4f23‐ace1‐9434fe768047                   Address Redacted                      First Class Mail
9a0a0ba2‐5245‐4a60‐8132‐b0485aedd43b                   Address Redacted                      First Class Mail




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                                                                Exhibit A
                                                                 Service List


                              Name                                              Address                         Method of Service
9a18b39a‐aebc‐4e59‐b9ff‐4d224ca788eb                   Address Redacted                      First Class Mail
9a18da86‐4eb1‐4723‐9acd‐23cacc1f7a01                   Address Redacted                      First Class Mail
9a1a6b23‐0186‐4528‐ab71‐6a4764d429a8                   Address Redacted                      First Class Mail
9a1a9843‐fbae‐4d9a‐b9d3‐966c4577ae27                   Address Redacted                      First Class Mail
9a1aa6da‐c7eb‐4e7b‐aea5‐99dfe1eab3b8                   Address Redacted                      First Class Mail
9a1b0d27‐eb5d‐4d19‐99cb‐3ae67bc96640                   Address Redacted                      First Class Mail
9a1b3cd9‐dfd6‐45a7‐97c9‐743339b4a2de                   Address Redacted                      First Class Mail
9a1bce5a‐b9a8‐49e2‐b42d‐d52c21a3b797                   Address Redacted                      First Class Mail
9a1bf057‐57c1‐43a8‐8435‐96f07361e330                   Address Redacted                      First Class Mail
9a1f345e‐3eda‐4caa‐86c7‐197807a47d90                   Address Redacted                      First Class Mail
9a2047c7‐ff4a‐4d3b‐9adc‐7ae81495ff9a                   Address Redacted                      First Class Mail
9a23334c‐6bf5‐4833‐bad0‐4bbc24ceb789                   Address Redacted                      First Class Mail
9a29f090‐2bf1‐4d4b‐917f‐e200b48d7500                   Address Redacted                      First Class Mail
9a2b3a65‐937b‐4f6a‐aa00‐70937cc1658a                   Address Redacted                      First Class Mail
9a30f687‐4bc1‐4289‐8a75‐335cd7ce9a99                   Address Redacted                      First Class Mail
9a32fefd‐2e18‐4014‐984b‐e6c8dd5f8dae                   Address Redacted                      First Class Mail
9a3bd3f9‐c6b6‐47b7‐a8d4‐39d46f639985                   Address Redacted                      First Class Mail
9a3ec4fb‐0832‐407c‐a6f1‐27e667d26570                   Address Redacted                      First Class Mail
9a4366d3‐afcc‐4f99‐a541‐db5bfc19a49c                   Address Redacted                      First Class Mail
9a44771e‐6b95‐4ef0‐b5fb‐4fb66b5cdc77                   Address Redacted                      First Class Mail
9a48b88a‐38af‐460e‐9dd4‐942c0c1c2d8b                   Address Redacted                      First Class Mail
9a4ab8ce‐68df‐47f7‐91ce‐eaeec15584a7                   Address Redacted                      First Class Mail
9a4ca531‐de1c‐4040‐9afa‐ac11ce7ba877                   Address Redacted                      First Class Mail
9a536e7b‐d6b3‐4c8e‐b5ad‐a93dc544292b                   Address Redacted                      First Class Mail
9a53a481‐4ae8‐452b‐97b1‐b9ddfd182d30                   Address Redacted                      First Class Mail
9a54dc3e‐4b65‐4b7b‐aaed‐15252ebfe9c3                   Address Redacted                      First Class Mail
9a55d225‐48e4‐456e‐9601‐46b95c7ab128                   Address Redacted                      First Class Mail
9a566e90‐ee5a‐4d1f‐94d7‐9b5078da84ef                   Address Redacted                      First Class Mail
9a56a448‐76fe‐47de‐a08d‐09c4a883644f                   Address Redacted                      First Class Mail
9a5c1bdc‐1bbc‐4cb3‐8863‐2d5ccebbddf2                   Address Redacted                      First Class Mail
9a5d4866‐ea56‐4f9d‐9dcb‐a4a9ca8a6d74                   Address Redacted                      First Class Mail
9a6079d2‐02ca‐4f15‐98cc‐79d1dc903d30                   Address Redacted                      First Class Mail
9a62f4a1‐b43f‐40a6‐96ba‐8c310d9017db                   Address Redacted                      First Class Mail
9a665101‐81df‐48bb‐a29a‐1bcc2f43adce                   Address Redacted                      First Class Mail
9a68b358‐5181‐4114‐8f78‐0726a8972087                   Address Redacted                      First Class Mail
9a6a47f9‐4a2f‐40ed‐a3cf‐02680ef69fb0                   Address Redacted                      First Class Mail
9a6f4273‐3f07‐4f0e‐9e32‐04cf5f3c9699                   Address Redacted                      First Class Mail
9a765ba1‐5c5b‐4a35‐82cd‐7f5ab26e26ac                   Address Redacted                      First Class Mail
9a76c864‐cf91‐44f7‐8576‐afa3277a2170                   Address Redacted                      First Class Mail
9a7a1b2e‐2b71‐415b‐9a14‐f090807d2789                   Address Redacted                      First Class Mail
9a7bc828‐5fe6‐4597‐af0a‐0cc534a9c020                   Address Redacted                      First Class Mail
9a7cd7be‐24c6‐4fc8‐bc8c‐462135a2e44b                   Address Redacted                      First Class Mail
9a7ec5ff‐70af‐4bd6‐8c01‐2a254cd325a9                   Address Redacted                      First Class Mail
9a7f549a‐fbb8‐498e‐91b3‐529ee16c2fa8                   Address Redacted                      First Class Mail
9a82b0d9‐171e‐472a‐a903‐dbca6315efcd                   Address Redacted                      First Class Mail
9a836251‐61af‐462b‐9ed9‐3448b55b87fc                   Address Redacted                      First Class Mail
9a90271e‐2f35‐4a9f‐81a8‐8be5d4a19ab8                   Address Redacted                      First Class Mail
9a966434‐545b‐464a‐b7b2‐dbd22c517928                   Address Redacted                      First Class Mail
9a9818e7‐c55b‐4278‐84ba‐3ed2f69e5f96                   Address Redacted                      First Class Mail
9a9a058d‐ee8b‐47d8‐956a‐74d1d49f66af                   Address Redacted                      First Class Mail
9a9fa649‐50be‐40e2‐91e9‐861a671efd25                   Address Redacted                      First Class Mail
9aa23df1‐7e12‐4415‐b5dd‐553ff5cca1f6                   Address Redacted                      First Class Mail
9aa2bb82‐bf3b‐4fb4‐a07d‐343ae874dcae                   Address Redacted                      First Class Mail
9aa41f2c‐40d4‐4f1d‐959d‐6d85c0ea9555                   Address Redacted                      First Class Mail
9aa44074‐72f6‐4599‐9192‐b25a77758da1                   Address Redacted                      First Class Mail
9aa83a90‐dbcd‐42c1‐b075‐617db0889f3c                   Address Redacted                      First Class Mail
9aab12f9‐7695‐40a8‐88a9‐f2b88d8b85aa                   Address Redacted                      First Class Mail
9ab00220‐b36c‐4b4c‐ad0a‐843cc906b369                   Address Redacted                      First Class Mail
9ab23d3a‐e554‐4efc‐bdd1‐42851b626f87                   Address Redacted                      First Class Mail
9ab6e490‐5073‐435b‐937d‐1f13a9fb3486                   Address Redacted                      First Class Mail
9ab81656‐1ede‐44f1‐9768‐b3e472da0ab4                   Address Redacted                      First Class Mail
9abeefcc‐e919‐49c3‐8cdd‐023d902ded54                   Address Redacted                      First Class Mail
9ac156fb‐23e0‐422a‐adda‐4ad7c4e0ebb6                   Address Redacted                      First Class Mail
9ac19612‐8eff‐4b60‐90d3‐618872fb99de                   Address Redacted                      First Class Mail
9ac1c7f6‐05f4‐4f2f‐8d4b‐d6b09331ab78                   Address Redacted                      First Class Mail
9ac7e736‐7935‐4174‐9fec‐6a92c74d7400                   Address Redacted                      First Class Mail
9ac7f40d‐1d9b‐44fc‐8c33‐105644b6f5aa                   Address Redacted                      First Class Mail
9acb32cf‐24d8‐4e9c‐b661‐60fd5c9ced1d                   Address Redacted                      First Class Mail
9ace1e8f‐9319‐4454‐b473‐8ece4223d2c2                   Address Redacted                      First Class Mail
9ad01c00‐16da‐4f51‐adec‐17666e967a84                   Address Redacted                      First Class Mail
9ad14a04‐c83e‐4492‐9cb4‐b2b444bc2284                   Address Redacted                      First Class Mail
9ad19255‐f6df‐4968‐81a4‐0f6a18a91179                   Address Redacted                      First Class Mail




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                                                                Exhibit A
                                                                 Service List


                               Name                                             Address                         Method of Service
9adaeb07‐519e‐42d3‐875a‐6766c7031a72                   Address Redacted                      First Class Mail
9adb95ad‐fda7‐4566‐93e7‐e2fc22d38266                   Address Redacted                      First Class Mail
9adc51b0‐c66a‐4242‐ac9a‐122cfe21cb8f                   Address Redacted                      First Class Mail
9add7287‐778a‐43a9‐91c9‐5f5c0cc7e8ed                   Address Redacted                      First Class Mail
9ae40c92‐5db8‐4cb0‐a54e‐8e217580f495                   Address Redacted                      First Class Mail
9ae5ca17‐b2ec‐4cfe‐a807‐a190b410c33b                   Address Redacted                      First Class Mail
9aebabf3‐144d‐48d3‐a811‐df1370535654                   Address Redacted                      First Class Mail
9aec8507‐1a14‐4dc3‐85ca‐45be5c7939b1                   Address Redacted                      First Class Mail
9aef4508‐b769‐4911‐bf8c‐65dc1e60ad3b                   Address Redacted                      First Class Mail
9af1c1fd‐ceae‐4687‐96b9‐1e4fd0867c2c                   Address Redacted                      First Class Mail
9af3cc64‐7243‐425e‐a48a‐b27b30eb9a6c                   Address Redacted                      First Class Mail
9af456c3‐1dd7‐46b6‐b645‐cfc322ed3484                   Address Redacted                      First Class Mail
9af4ac5b‐5a2c‐4275‐8386‐6fea4ee9c82d                   Address Redacted                      First Class Mail
9afc8b7f‐a273‐4ed4‐a23b‐3ec8fcfdb791                   Address Redacted                      First Class Mail
9afee4b2‐b63c‐4ebe‐a187‐0e098298dca3                   Address Redacted                      First Class Mail
9b043aa9‐2aa0‐474a‐9329‐a40eae1b5120                   Address Redacted                      First Class Mail
9b073a15‐fb59‐4985‐8509‐f315518fbf94                   Address Redacted                      First Class Mail
9b0a9cb3‐af03‐49ba‐9c58‐36e9adfe2570                   Address Redacted                      First Class Mail
9b0c27a6‐7115‐4268‐a0d0‐5a841c23a3e5                   Address Redacted                      First Class Mail
9b0d7041‐abde‐403e‐94a6‐cdbe01aaba14                   Address Redacted                      First Class Mail
9b10ad0c‐cd29‐469b‐bbac‐23a68c765ce6                   Address Redacted                      First Class Mail
9b12f33e‐e1b5‐4383‐88f7‐1c213056bfd9                   Address Redacted                      First Class Mail
9b152407‐93a0‐4c7a‐a50e‐4bf6482523d4                   Address Redacted                      First Class Mail
9b187e56‐ea42‐4029‐ad47‐2feaf51c6955                   Address Redacted                      First Class Mail
9b19ab43‐115d‐482a‐970b‐22cebea0a954                   Address Redacted                      First Class Mail
9b19e7ee‐dfb8‐410f‐b342‐f0fe57a1b202                   Address Redacted                      First Class Mail
9b1d01d2‐0ff6‐4df2‐93a0‐c9f8fcfb3f7f                   Address Redacted                      First Class Mail
9b1d5cad‐d1f1‐4af1‐9b6f‐724a3f2eed91                   Address Redacted                      First Class Mail
9b1ec14f‐1e27‐40cb‐ba2e‐d0a245c6947e                   Address Redacted                      First Class Mail
9b20909b‐a225‐4f28‐bc85‐b620e37d96cb                   Address Redacted                      First Class Mail
9b2879b0‐a390‐4833‐959f‐a8eefad4cd3f                   Address Redacted                      First Class Mail
9b2cb7e6‐1386‐4a18‐b4a3‐357be0346e34                   Address Redacted                      First Class Mail
9b322aae‐2b2a‐4981‐b302‐0709274d9a3f                   Address Redacted                      First Class Mail
9b3324ff‐9d0b‐4105‐b88d‐eb7cbaa9c170                   Address Redacted                      First Class Mail
9b348856‐46d4‐423e‐93aa‐0739dec76160                   Address Redacted                      First Class Mail
9b358410‐465d‐483d‐a4d3‐5d32c1490c0a                   Address Redacted                      First Class Mail
9b370049‐f660‐45fb‐ab65‐27da80cce6c6                   Address Redacted                      First Class Mail
9b3c7ea0‐17af‐42b2‐9940‐d2a48d26e665                   Address Redacted                      First Class Mail
9b3cf036‐e57b‐4679‐b6a4‐467770889aaf                   Address Redacted                      First Class Mail
9b3e0c88‐fba1‐44ed‐8b9b‐2d84f5346572                   Address Redacted                      First Class Mail
9b3e73ad‐7ec6‐4bab‐a4d4‐f85cd56faeb6                   Address Redacted                      First Class Mail
9b3f733b‐c0dc‐4153‐a0b6‐a588d6344f65                   Address Redacted                      First Class Mail
9b41d3ff‐9a87‐45ad‐b368‐23d71af700fd                   Address Redacted                      First Class Mail
9b41f96a‐fb17‐4240‐9a8b‐14e41cb4ea68                   Address Redacted                      First Class Mail
9b464e8f‐5a52‐421a‐acc0‐3dbdbc949ae0                   Address Redacted                      First Class Mail
9b47a74a‐e93f‐443b‐929c‐d6a60a790bde                   Address Redacted                      First Class Mail
9b4a6c8f‐f856‐4778‐bf45‐96dec1b510bf                   Address Redacted                      First Class Mail
9b4e1a69‐dd22‐450f‐828c‐3be18d55a5ef                   Address Redacted                      First Class Mail
9b4f4b8a‐38c5‐4527‐8704‐b039b476b2fd                   Address Redacted                      First Class Mail
9b4f8f55‐c31a‐4869‐aa03‐42c9e313e0c6                   Address Redacted                      First Class Mail
9b5173ba‐c987‐4be4‐a012‐241e71e904cc                   Address Redacted                      First Class Mail
9b580744‐1037‐45c1‐ae04‐427c72f308bd                   Address Redacted                      First Class Mail
9b5855ec‐3f39‐4810‐8b21‐2f8ddfca2d96                   Address Redacted                      First Class Mail
9b5996fa‐31f4‐429e‐b092‐d2a600c86260                   Address Redacted                      First Class Mail
9b5bd998‐2f34‐46d6‐a23e‐517c48c401c6                   Address Redacted                      First Class Mail
9b62841d‐39b9‐4d9f‐9cdd‐aacf96ddd9ee                   Address Redacted                      First Class Mail
9b646442‐068d‐48de‐b07a‐fd90d7eee8c6                   Address Redacted                      First Class Mail
9b64ef6c‐c296‐4abf‐a30d‐0e969202ea14                   Address Redacted                      First Class Mail
9b653d76‐099d‐4825‐a112‐a8fbd194134d                   Address Redacted                      First Class Mail
9b658ba0‐92a7‐4b41‐8d6c‐512580afe9ce                   Address Redacted                      First Class Mail
9b68384e‐effc‐42a0‐8e9a‐041392709a73                   Address Redacted                      First Class Mail
9b6b54f6‐5753‐4e99‐a885‐3c59c6e17eda                   Address Redacted                      First Class Mail
9b6bb639‐94d1‐42c1‐af9f‐9db2a1147c3a                   Address Redacted                      First Class Mail
9b6c3f8f‐b9d8‐40ff‐85b7‐15f9a9871bbe                   Address Redacted                      First Class Mail
9b6e90aa‐bc20‐44b8‐9b86‐a6a821604567                   Address Redacted                      First Class Mail
9b704419‐f79d‐4d35‐811f‐ecdf210409f3                   Address Redacted                      First Class Mail
9b70ea14‐8920‐4a35‐8621‐74a6c480d9ea                   Address Redacted                      First Class Mail
9b759a18‐6911‐4665‐8ead‐3b1e2ac980c2                   Address Redacted                      First Class Mail
9b779939‐c9e6‐4d35‐b079‐c2162ad50e7d                   Address Redacted                      First Class Mail
9b78eedc‐9092‐4188‐ab67‐671d341ac32e                   Address Redacted                      First Class Mail
9b7965bf‐b6fc‐45f3‐9971‐8806cd4aa079                   Address Redacted                      First Class Mail
9b7e1c28‐0b9b‐4f31‐af4d‐ab33fb3e9f25                   Address Redacted                      First Class Mail




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                                                                 Service List


                              Name                                              Address                         Method of Service
9b7f71f2‐f5cd‐457a‐927f‐dba06fee445b                   Address Redacted                      First Class Mail
9b81d8e0‐fc72‐4432‐84bc‐f4af1f967fa6                   Address Redacted                      First Class Mail
9b8998a5‐6b21‐455f‐8f8b‐09b04d92fb55                   Address Redacted                      First Class Mail
9b8b108c‐4767‐46e1‐824f‐b11b16e36be7                   Address Redacted                      First Class Mail
9b90b9bf‐3f6a‐4003‐80c0‐7655f0f770b4                   Address Redacted                      First Class Mail
9b95c7f5‐1160‐4b55‐937c‐f50522ee26d1                   Address Redacted                      First Class Mail
9b9ab87b‐a0eb‐4457‐a269‐2404e38aa96b                   Address Redacted                      First Class Mail
9b9eba20‐c245‐4472‐a66c‐f845ed2a04a6                   Address Redacted                      First Class Mail
9b9f3c18‐acd9‐4243‐b382‐88be37b226cd                   Address Redacted                      First Class Mail
9ba1e458‐9d42‐43f0‐b269‐26cc51d0d679                   Address Redacted                      First Class Mail
9ba208c4‐f437‐4bbb‐873a‐adef9c605adf                   Address Redacted                      First Class Mail
9ba516bf‐e661‐4617‐9cef‐615ae8a404c8                   Address Redacted                      First Class Mail
9ba51da4‐0a69‐4e31‐b9a5‐dcfe589403dc                   Address Redacted                      First Class Mail
9bb29e62‐41f7‐49d7‐a72b‐bdfecd00e89c                   Address Redacted                      First Class Mail
9bb9bb11‐4ec7‐4500‐9fdc‐441716ef44e4                   Address Redacted                      First Class Mail
9bbad218‐c098‐4022‐afb2‐4fe637e8d1a8                   Address Redacted                      First Class Mail
9bbc5acc‐b1b0‐42fb‐b4ef‐25961f820bad                   Address Redacted                      First Class Mail
9bc292d8‐91d9‐40e3‐83f9‐b55194cc42b0                   Address Redacted                      First Class Mail
9bc5daec‐fec5‐4d22‐9861‐7a1ef800cf04                   Address Redacted                      First Class Mail
9bca74f8‐e6ba‐4215‐9624‐7466562773bd                   Address Redacted                      First Class Mail
9bd1f617‐f6f2‐4d13‐b57f‐ea1c022139c4                   Address Redacted                      First Class Mail
9bd69f3e‐e02b‐4eac‐a0c7‐7b98a6432fc4                   Address Redacted                      First Class Mail
9bdeb6c6‐026f‐4c8d‐b7a6‐cc8f35525e8b                   Address Redacted                      First Class Mail
9bdfb65a‐cad6‐4766‐b183‐7d4d0955a0fd                   Address Redacted                      First Class Mail
9be01286‐9f15‐4e68‐aa50‐59222e8b0090                   Address Redacted                      First Class Mail
9be04e91‐169c‐49ab‐b1e0‐bd7983be5238                   Address Redacted                      First Class Mail
9be1567b‐f260‐4484‐92a4‐8366ffd9b515                   Address Redacted                      First Class Mail
9be2720f‐2faf‐4165‐a08a‐fe32825661d8                   Address Redacted                      First Class Mail
9be3de19‐b902‐492b‐aada‐624e5bae95c4                   Address Redacted                      First Class Mail
9be4b436‐0871‐4ea6‐85cd‐4dca3b41d7bb                   Address Redacted                      First Class Mail
9bea70f1‐e6b9‐4e82‐acc1‐afe38643caed                   Address Redacted                      First Class Mail
9beaa741‐bfc0‐46af‐a7d7‐650c935fc525                   Address Redacted                      First Class Mail
9bedaa74‐f03b‐4662‐b749‐ed97bac65308                   Address Redacted                      First Class Mail
9beeff07‐265c‐4811‐8f36‐4dede75581a7                   Address Redacted                      First Class Mail
9bf2e6e6‐7710‐439a‐9632‐1c7226beffe4                   Address Redacted                      First Class Mail
9bf2f313‐2a7b‐4543‐a385‐60764ff82eaa                   Address Redacted                      First Class Mail
9bf459ee‐d967‐4156‐93dc‐9cb4b6350509                   Address Redacted                      First Class Mail
9bf9344c‐ca50‐4b06‐8423‐1810ed703d40                   Address Redacted                      First Class Mail
9bfadab3‐d09f‐426f‐b47b‐0044694e0f40                   Address Redacted                      First Class Mail
9bff1637‐3eac‐4868‐9b38‐431aec038129                   Address Redacted                      First Class Mail
9c06c1c9‐6f73‐45b8‐ad9e‐630669260b94                   Address Redacted                      First Class Mail
9c0903c5‐e6c3‐4099‐80d8‐d4a98bc96d2e                   Address Redacted                      First Class Mail
9c09c965‐4b26‐414d‐9f29‐eda40697713a                   Address Redacted                      First Class Mail
9c0ad7b5‐0ba8‐4a35‐8a93‐5f827a95a7d0                   Address Redacted                      First Class Mail
9c0e259e‐3345‐47f1‐8039‐5cfdcf0fd292                   Address Redacted                      First Class Mail
9c163862‐28e8‐4683‐966b‐df8df9e3cc34                   Address Redacted                      First Class Mail
9c17b58d‐b5a7‐47fb‐8a06‐fb5dce551ad3                   Address Redacted                      First Class Mail
9c19ca0f‐4729‐46e0‐b23d‐101a8636d4e9                   Address Redacted                      First Class Mail
9c1d78bc‐824a‐45e3‐8faa‐c678e2d16262                   Address Redacted                      First Class Mail
9c21576b‐b139‐442e‐871d‐316e9db9c868                   Address Redacted                      First Class Mail
9c256fc6‐1172‐4479‐96bc‐e12f8ac5247d                   Address Redacted                      First Class Mail
9c28e753‐d4cc‐4962‐bb2b‐b809e6bb7773                   Address Redacted                      First Class Mail
9c28e99d‐82c4‐425c‐8b42‐45083017ddfe                   Address Redacted                      First Class Mail
9c302442‐66f1‐4346‐85ed‐42ea1a02e30d                   Address Redacted                      First Class Mail
9c33bcce‐c556‐43ca‐93c2‐80d7a0c45a3f                   Address Redacted                      First Class Mail
9c34db35‐7c40‐4de2‐9599‐fbfbc8215873                   Address Redacted                      First Class Mail
9c37d30c‐a68f‐452d‐b752‐6c5ba02d8383                   Address Redacted                      First Class Mail
9c382b73‐73ba‐4e23‐939d‐77b777e12fc5                   Address Redacted                      First Class Mail
9c3acb1d‐35d1‐477e‐893e‐f8b48317b003                   Address Redacted                      First Class Mail
9c3c57ad‐1da9‐4480‐b678‐b3d174756a82                   Address Redacted                      First Class Mail
9c3c6ed9‐9bfc‐428a‐84f2‐ccb5d890b44e                   Address Redacted                      First Class Mail
9c3df8c0‐f1d5‐484b‐8340‐55ce2a4b1816                   Address Redacted                      First Class Mail
9c412be5‐409e‐405d‐b7cb‐54d82c97312d                   Address Redacted                      First Class Mail
9c45dc36‐0f04‐4708‐aaca‐8fd4447c01a3                   Address Redacted                      First Class Mail
9c46b28a‐d52c‐4cdd‐8e91‐27fafa9d79a6                   Address Redacted                      First Class Mail
9c4a1e3c‐78ca‐442d‐a7f2‐efa79f5a7927                   Address Redacted                      First Class Mail
9c4d6e2d‐332c‐44e3‐a3c0‐ad0d025ca05b                   Address Redacted                      First Class Mail
9c4e6a17‐40e5‐40f4‐a9c3‐a0e15f140021                   Address Redacted                      First Class Mail
9c539e6a‐cc65‐41ea‐94c2‐db5ba1cbfa4b                   Address Redacted                      First Class Mail
9c56e822‐51af‐4c45‐94a4‐6999ceddd681                   Address Redacted                      First Class Mail
9c5779e9‐ca4c‐4a2d‐bb23‐32c3df1a8eef                   Address Redacted                      First Class Mail
9c5846eb‐838d‐4783‐857a‐058864acce2f                   Address Redacted                      First Class Mail




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                                                                Exhibit A
                                                                 Service List


                              Name                                              Address                         Method of Service
9c5c2d86‐8480‐49c5‐92c5‐5a000ef3b288                   Address Redacted                      First Class Mail
9c5f8f07‐ff3b‐418a‐90bc‐2163eaff2e4f                   Address Redacted                      First Class Mail
9c6005fb‐157d‐46a9‐9ce2‐90095e29b773                   Address Redacted                      First Class Mail
9c602c12‐3135‐4cca‐b39f‐8988bbee209b                   Address Redacted                      First Class Mail
9c60492f‐e95c‐49b8‐809f‐1e6f66f60446                   Address Redacted                      First Class Mail
9c617466‐0d07‐4de9‐80f1‐d480fdd9ee5c                   Address Redacted                      First Class Mail
9c61e552‐4722‐4810‐8fff‐549c7acbed4d                   Address Redacted                      First Class Mail
9c627705‐470d‐43da‐9bb2‐7e25dd6bd40c                   Address Redacted                      First Class Mail
9c627eb4‐7d84‐4c57‐9ecc‐6d864e0eea02                   Address Redacted                      First Class Mail
9c6afdad‐893e‐4bfd‐ac89‐e7cf281f9aab                   Address Redacted                      First Class Mail
9c6edd10‐51f0‐4520‐b610‐656960a8820d                   Address Redacted                      First Class Mail
9c70ba9f‐2139‐415c‐8aca‐ad86ca0a91c5                   Address Redacted                      First Class Mail
9c734348‐c41c‐4066‐9688‐5d41d9231f84                   Address Redacted                      First Class Mail
9c73f98c‐1649‐49b9‐9b1d‐f3d99c314867                   Address Redacted                      First Class Mail
9c741c53‐7d05‐4c12‐ab59‐2a6f00adc328                   Address Redacted                      First Class Mail
9c775a65‐87e5‐46e7‐8c95‐a9d676ee9543                   Address Redacted                      First Class Mail
9c77aeac‐3fac‐4531‐aa76‐3f1169ffeb8a                   Address Redacted                      First Class Mail
9c7a0498‐b1eb‐4466‐96b0‐63a62dcef59d                   Address Redacted                      First Class Mail
9c7c3789‐0228‐4a0c‐979c‐64c32274aea2                   Address Redacted                      First Class Mail
9c7cc4d8‐d2d4‐48b6‐8900‐41a9489d93b3                   Address Redacted                      First Class Mail
9c822796‐f732‐4b91‐8ed4‐cff685a90d8f                   Address Redacted                      First Class Mail
9c86f416‐4f71‐4305‐b6a0‐ac653e9466bc                   Address Redacted                      First Class Mail
9c901385‐144f‐400f‐b65a‐56cde4630347                   Address Redacted                      First Class Mail
9c902b99‐eb4e‐400f‐b61f‐61e434593e1c                   Address Redacted                      First Class Mail
9c9c6f98‐8752‐4cdd‐85fb‐ec5d25965f50                   Address Redacted                      First Class Mail
9ca10b2a‐efc7‐4fc8‐a442‐75c631d4b52c                   Address Redacted                      First Class Mail
9ca12d20‐2ee1‐4519‐9196‐5ce871f9a2db                   Address Redacted                      First Class Mail
9ca7871c‐15f1‐4df8‐90e2‐c03b23e9451f                   Address Redacted                      First Class Mail
9ca88b7e‐6a1d‐4ad3‐b65d‐1f41d03c0988                   Address Redacted                      First Class Mail
9caa6068‐fde1‐4c4c‐90c9‐57b86ac45228                   Address Redacted                      First Class Mail
9cab9615‐afc0‐4fa3‐9773‐18900dc3a464                   Address Redacted                      First Class Mail
9cabc6f1‐cde9‐43df‐b4f3‐c51b8faef9d8                   Address Redacted                      First Class Mail
9cafde48‐d951‐400b‐8aba‐e78ff6af5ac7                   Address Redacted                      First Class Mail
9cb0808d‐c838‐4502‐bba1‐c7043ae70ebf                   Address Redacted                      First Class Mail
9cb54b2a‐f13c‐4a0b‐8561‐1b22ec8e576c                   Address Redacted                      First Class Mail
9cb6f10f‐d173‐489d‐9864‐69cc78399508                   Address Redacted                      First Class Mail
9cb70338‐e9c6‐44cb‐8804‐3aab0371003f                   Address Redacted                      First Class Mail
9cb95493‐692b‐4ff6‐9c51‐6a8cc2783acc                   Address Redacted                      First Class Mail
9cbcbc07‐f6f2‐4e0d‐a3db‐227640cf6767                   Address Redacted                      First Class Mail
9cbfcb9b‐1d30‐46dd‐9629‐8cf647f7798c                   Address Redacted                      First Class Mail
9cc3a6e5‐d2cb‐4ee9‐8ac4‐bfc10f5ce5c6                   Address Redacted                      First Class Mail
9cc3f041‐33b6‐475a‐911e‐f91b72ebe799                   Address Redacted                      First Class Mail
9cc49d9e‐e4a6‐4e07‐a42f‐a6cd9539772f                   Address Redacted                      First Class Mail
9cc5bf36‐8b08‐442e‐8b80‐f29fd3818271                   Address Redacted                      First Class Mail
9cc8192e‐655e‐4f1b‐aa45‐273d8421a145                   Address Redacted                      First Class Mail
9cca2a3b‐1ba8‐44da‐9649‐71a70198ad95                   Address Redacted                      First Class Mail
9ccc51d3‐1654‐42e6‐9c3a‐07133601d0d0                   Address Redacted                      First Class Mail
9cce17b4‐ab7a‐4f32‐8e4b‐103ec0f0a2ed                   Address Redacted                      First Class Mail
9cce916d‐bc1d‐4a18‐8dc8‐a54e8869d873                   Address Redacted                      First Class Mail
9cd64173‐992b‐4edd‐aecc‐4f737de4ab21                   Address Redacted                      First Class Mail
9cd8a51a‐c112‐4825‐835e‐844d8bf9ecd4                   Address Redacted                      First Class Mail
9cdddad0‐6e37‐49e9‐8c4a‐279e8e01e4c9                   Address Redacted                      First Class Mail
9cf2231f‐3d27‐47f9‐8f35‐866b9de874b8                   Address Redacted                      First Class Mail
9cf43850‐3629‐418e‐a980‐f1c544326b90                   Address Redacted                      First Class Mail
9cf48277‐2a84‐4592‐a2ff‐c0219b0acfa5                   Address Redacted                      First Class Mail
9cf50431‐ab5f‐4f07‐abbd‐81ad8207b3c2                   Address Redacted                      First Class Mail
9cf90b82‐a5a5‐46f7‐b481‐6b762fcef8e6                   Address Redacted                      First Class Mail
9cfb03b4‐45f5‐48e5‐80ac‐14704870403c                   Address Redacted                      First Class Mail
9cfbbcee‐7bff‐4f6d‐9958‐6ad3700227d6                   Address Redacted                      First Class Mail
9cfbca4a‐da50‐488e‐bfeb‐0d2b48989963                   Address Redacted                      First Class Mail
9cfebb43‐d14f‐4d33‐bcd5‐1b4aef3ba666                   Address Redacted                      First Class Mail
9d00aef3‐d4db‐44cf‐962e‐2c51e61bdf80                   Address Redacted                      First Class Mail
9d0aa137‐4d57‐4ca1‐a53c‐b66138d50f01                   Address Redacted                      First Class Mail
9d0b75d7‐75c4‐407b‐b474‐d8029cef3777                   Address Redacted                      First Class Mail
9d0bd03f‐821d‐4df9‐b9c3‐9dcfaa2b861a                   Address Redacted                      First Class Mail
9d0eb9f8‐d4a0‐486a‐b72a‐c624b3dc1ce5                   Address Redacted                      First Class Mail
9d1007b6‐684f‐4e33‐91ac‐5e50eb2e0c58                   Address Redacted                      First Class Mail
9d128bab‐0114‐4539‐b826‐57a035bbb084                   Address Redacted                      First Class Mail
9d12ee94‐ece1‐467c‐9803‐416766ead383                   Address Redacted                      First Class Mail
9d14a8c8‐a7e3‐4224‐ae0e‐76b890694a11                   Address Redacted                      First Class Mail
9d156b5f‐ca26‐468b‐b444‐394b0d131f4a                   Address Redacted                      First Class Mail
9d19cb59‐8708‐4163‐8a20‐c1eac6f9be7e                   Address Redacted                      First Class Mail




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                                                                 Service List


                                Name                                            Address                         Method of Service
9d1dde22‐e9df‐4bb3‐8064‐8c1b70dcdf3c                   Address Redacted                      First Class Mail
9d20dbc8‐fdc1‐4c19‐94dc‐a8236d546d33                   Address Redacted                      First Class Mail
9d23072c‐31be‐42a8‐91b0‐8b5a0d3cf95d                   Address Redacted                      First Class Mail
9d24633f‐01e1‐463d‐8a9c‐a6056490d88e                   Address Redacted                      First Class Mail
9d2a8a8f‐6f04‐4f63‐b898‐6e230960e94b                   Address Redacted                      First Class Mail
9d2bfc8a‐e313‐4154‐ac70‐72bde89e92b1                   Address Redacted                      First Class Mail
9d2e8095‐175d‐4f28‐800e‐a6b1b253f88a                   Address Redacted                      First Class Mail
9d2e9280‐4ed6‐4b41‐bf9a‐44e18c7cf6b1                   Address Redacted                      First Class Mail
9d3157fd‐7c09‐431a‐b24c‐9ee180d57ba2                   Address Redacted                      First Class Mail
9d32c02b‐08ab‐4dca‐96de‐eabf98a48c3c                   Address Redacted                      First Class Mail
9d359262‐7a51‐4a2a‐bd9a‐9a78ec8ea432                   Address Redacted                      First Class Mail
9d3c5775‐2cd4‐459b‐bd96‐24120a048d33                   Address Redacted                      First Class Mail
9d3e11c1‐b504‐4d99‐95db‐f6df1fd0dc81                   Address Redacted                      First Class Mail
9d3e489e‐d070‐4e14‐a331‐c9af2688d5f0                   Address Redacted                      First Class Mail
9d3f1e56‐4151‐4c16‐91f8‐fee7a1d1f4a8                   Address Redacted                      First Class Mail
9d414cff‐a5b0‐4677‐8370‐00f230293b36                   Address Redacted                      First Class Mail
9d4233a7‐654a‐4f4b‐86bf‐28ede29a27b1                   Address Redacted                      First Class Mail
9d42704d‐c883‐41f9‐8f73‐1a4126c7282c                   Address Redacted                      First Class Mail
9d43da33‐979c‐4f06‐811c‐6d2acda75734                   Address Redacted                      First Class Mail
9d484fb2‐9ea1‐4463‐88b3‐de5ba35c1262                   Address Redacted                      First Class Mail
9d4b467a‐6cfc‐458c‐92df‐4d9d9956aa21                   Address Redacted                      First Class Mail
9d4f5604‐a362‐4c3b‐b698‐157703638c0d                   Address Redacted                      First Class Mail
9d4f71aa‐a9d9‐4ff1‐8061‐cc781e0eb81d                   Address Redacted                      First Class Mail
9d50a012‐246e‐48f9‐b63d‐190bf965ce6d                   Address Redacted                      First Class Mail
9d512833‐d7f2‐4a9a‐8801‐b4df6ac6f800                   Address Redacted                      First Class Mail
9d51fbbd‐eafe‐437d‐8423‐ab67a1aebcb5                   Address Redacted                      First Class Mail
9d5347ef‐e8e4‐474e‐a574‐b4c7c2ffd956                   Address Redacted                      First Class Mail
9d550b4f‐d543‐475a‐8bfa‐dd2a6c45902f                   Address Redacted                      First Class Mail
9d56172c‐a9bd‐4b9b‐ae04‐2c51cdae1770                   Address Redacted                      First Class Mail
9d598d2c‐e785‐4ade‐8018‐b2e993039b79                   Address Redacted                      First Class Mail
9d5e00e5‐cf09‐46b4‐8181‐e0fd3c013552                   Address Redacted                      First Class Mail
9d617cb8‐8f92‐4da6‐8d0f‐bbd0d746882b                   Address Redacted                      First Class Mail
9d61c38a‐69fd‐40cd‐a5a6‐1bca6690a402                   Address Redacted                      First Class Mail
9d64582d‐863d‐4d4a‐af9e‐e51486c002b2                   Address Redacted                      First Class Mail
9d6affb0‐352d‐4b07‐bef7‐afabe4103c6f                   Address Redacted                      First Class Mail
9d6d0992‐c350‐4c1f‐b75b‐59a321f31fa8                   Address Redacted                      First Class Mail
9d725d2d‐998f‐474e‐9600‐a0eb273f8ff1                   Address Redacted                      First Class Mail
9d765cd9‐a9cb‐4bfd‐b992‐ecb533cf1259                   Address Redacted                      First Class Mail
9d7bbc5b‐b52d‐4b58‐875e‐702eb97a195f                   Address Redacted                      First Class Mail
9d7cf901‐836e‐4e15‐a5c6‐643edec410de                   Address Redacted                      First Class Mail
9d7edc0f‐c759‐4781‐8b4e‐8b2b4976281c                   Address Redacted                      First Class Mail
9d841396‐44a0‐4180‐a4fb‐364ba6078831                   Address Redacted                      First Class Mail
9d8a36f3‐1597‐48b7‐96cf‐acfdd5af3dcb                   Address Redacted                      First Class Mail
9d8bc5a9‐b941‐41f1‐92bc‐25ed3cf7d8a1                   Address Redacted                      First Class Mail
9d8e3f17‐e8df‐4125‐8d58‐d90b8de7d283                   Address Redacted                      First Class Mail
9d8eaff8‐9c72‐41d3‐9e6f‐142d50de30a2                   Address Redacted                      First Class Mail
9d8fa837‐8ebd‐4175‐9856‐0bda0b5ab27c                   Address Redacted                      First Class Mail
9d91d5aa‐9167‐4a7d‐91a1‐85ee10e0c898                   Address Redacted                      First Class Mail
9d946739‐cc5c‐421b‐8065‐5b5b427609bd                   Address Redacted                      First Class Mail
9d9492cf‐0f79‐4e84‐a775‐140bf648d347                   Address Redacted                      First Class Mail
9d96683f‐cab4‐451f‐958f‐e81b9a0d3c83                   Address Redacted                      First Class Mail
9d96e11b‐52de‐41d6‐9754‐621e832a7d83                   Address Redacted                      First Class Mail
9d985688‐c2af‐4c08‐bccb‐e78fc68e668d                   Address Redacted                      First Class Mail
9d995ee0‐3370‐4ef4‐bb68‐5ccd887b4972                   Address Redacted                      First Class Mail
9da0c479‐e745‐4046‐82ad‐b76c6ce6dbe6                   Address Redacted                      First Class Mail
9da6b6be‐fd2f‐43f2‐8f89‐dc4183dd8f38                   Address Redacted                      First Class Mail
9dab46af‐6e96‐47c4‐ab6a‐c65dc618492e                   Address Redacted                      First Class Mail
9dabf229‐932a‐449f‐ac4a‐0780d203c980                   Address Redacted                      First Class Mail
9dac3eaa‐dd83‐41bd‐b803‐2ed666d06460                   Address Redacted                      First Class Mail
9dad0b69‐c247‐43a9‐94fb‐338c6084147f                   Address Redacted                      First Class Mail
9db27e80‐ac69‐40c9‐a2a5‐1f79c7538cb2                   Address Redacted                      First Class Mail
9db588c4‐5cb3‐4457‐8fef‐a75e42c61994                   Address Redacted                      First Class Mail
9dbc42aa‐60a1‐4412‐8932‐f828edac4307                   Address Redacted                      First Class Mail
9dc28900‐da84‐4ead‐8ba6‐e738512178d0                   Address Redacted                      First Class Mail
9dc3a6c9‐fe36‐48f0‐a518‐84737bcc2999                   Address Redacted                      First Class Mail
9dc525b0‐0ab5‐4c8a‐bc7b‐c4eb16298f04                   Address Redacted                      First Class Mail
9dc77ffc‐af5f‐46df‐9ff8‐bbf44d4e8267                   Address Redacted                      First Class Mail
9dc9b23b‐f552‐4d65‐bf4c‐2e00fef5fa25                   Address Redacted                      First Class Mail
9dcce00d‐8132‐48bc‐a93d‐6303de7c5916                   Address Redacted                      First Class Mail
9dd01a31‐592b‐4da3‐a6c1‐b3e817a65837                   Address Redacted                      First Class Mail
9dd20a88‐e5f3‐493d‐896e‐f41d1d9278bb                   Address Redacted                      First Class Mail
9dd25a6f‐be7d‐46b1‐a77b‐99a0f2bb22fd                   Address Redacted                      First Class Mail




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                              Name                                              Address                         Method of Service
9dd4509d‐23aa‐4875‐af65‐79e5b5ac58d7                   Address Redacted                      First Class Mail
9dd59531‐c5b0‐4e74‐8d38‐b5c4dc1f0f1b                   Address Redacted                      First Class Mail
9dd5c6ea‐deef‐426f‐ad90‐ad9c6767d84b                   Address Redacted                      First Class Mail
9dd62b9b‐7ace‐47b4‐91df‐06238e60ed51                   Address Redacted                      First Class Mail
9dd804e5‐1792‐4cb5‐bdbd‐cc4da10d2db6                   Address Redacted                      First Class Mail
9dd9c512‐6645‐4660‐89bb‐7587992e99e7                   Address Redacted                      First Class Mail
9ddd631c‐df75‐40a3‐8044‐7fad66e76aef                   Address Redacted                      First Class Mail
9de225bf‐c5f7‐473d‐ab22‐0c660affd053                   Address Redacted                      First Class Mail
9de92939‐88f8‐4571‐a4d3‐511c8e7345c0                   Address Redacted                      First Class Mail
9deabd4e‐4f41‐4621‐a1f1‐be1587c56c5f                   Address Redacted                      First Class Mail
9df99221‐6ddb‐44ae‐8f3c‐5b7782afe67d                   Address Redacted                      First Class Mail
9dfb8527‐247c‐4f1d‐801c‐28c4d3fa7fe8                   Address Redacted                      First Class Mail
9dfc0703‐7050‐459d‐90a5‐d2ebca75b1db                   Address Redacted                      First Class Mail
9dfdabf9‐ce2c‐4d4a‐b989‐2ed604d60952                   Address Redacted                      First Class Mail
9dfe830c‐52ee‐451d‐a132‐84cbc21624a4                   Address Redacted                      First Class Mail
9dff3c26‐d42f‐4ddf‐8299‐8efdfd274972                   Address Redacted                      First Class Mail
9e03806d‐6db6‐4671‐b676‐eb7af34111ec                   Address Redacted                      First Class Mail
9e058fc7‐8b60‐4dc9‐930b‐3f48ecf675de                   Address Redacted                      First Class Mail
9e081de7‐526f‐4515‐b3dd‐a07fba984dfd                   Address Redacted                      First Class Mail
9e0bc97e‐1deb‐4e02‐9dc1‐1c3764498060                   Address Redacted                      First Class Mail
9e153804‐55a3‐4b93‐911c‐8f07cc10a154                   Address Redacted                      First Class Mail
9e15dd4a‐95e3‐4a76‐bb61‐2e60f9b3721f                   Address Redacted                      First Class Mail
9e1ad77d‐ef4c‐4b29‐9ecf‐b7ca31cea7b3                   Address Redacted                      First Class Mail
9e1b8cbc‐5cf3‐4449‐a5d4‐ae46fd6f7103                   Address Redacted                      First Class Mail
9e1d42a7‐3a95‐4154‐a436‐60a4048fcf80                   Address Redacted                      First Class Mail
9e1e4b09‐c23e‐4d79‐afe9‐5e6409d15fa1                   Address Redacted                      First Class Mail
9e204ace‐df58‐4809‐b1e2‐9fc1483ef529                   Address Redacted                      First Class Mail
9e25d917‐d6c1‐4911‐857f‐87978f5a6b1d                   Address Redacted                      First Class Mail
9e277db4‐a4ad‐42b3‐886b‐841e04206759                   Address Redacted                      First Class Mail
9e289f15‐1448‐4600‐bc43‐fe26ac6b500d                   Address Redacted                      First Class Mail
9e2dc89a‐fa8b‐42b9‐b8cb‐5f6c6d7af512                   Address Redacted                      First Class Mail
9e2f08e7‐d431‐457a‐9f93‐da8d675e5655                   Address Redacted                      First Class Mail
9e3361e8‐5f68‐46a4‐848e‐6666076b78a7                   Address Redacted                      First Class Mail
9e33f065‐4cba‐4c41‐a6fe‐bd0cb89eebd1                   Address Redacted                      First Class Mail
9e341d58‐1e44‐4f17‐add8‐bafd36ba774b                   Address Redacted                      First Class Mail
9e37fefd‐fe66‐40c1‐9f1b‐c2d53b3a9e75                   Address Redacted                      First Class Mail
9e39b4f5‐d37e‐4e33‐9cd1‐80ddb432de78                   Address Redacted                      First Class Mail
9e3bb0a5‐e11f‐4f97‐8b27‐56f55459be7e                   Address Redacted                      First Class Mail
9e3e77d2‐bbf5‐47c8‐a833‐b263491bbe80                   Address Redacted                      First Class Mail
9e4186e2‐f443‐4299‐9c07‐69a7eefd91c4                   Address Redacted                      First Class Mail
9e41fc88‐07a6‐4982‐b9a3‐586098da2827                   Address Redacted                      First Class Mail
9e4243b5‐6737‐4b39‐ad1b‐361e475e43b1                   Address Redacted                      First Class Mail
9e42f688‐5949‐47a8‐97f3‐f3a4a2c202d2                   Address Redacted                      First Class Mail
9e4405b4‐f297‐4258‐847d‐1383c82dd1ca                   Address Redacted                      First Class Mail
9e451753‐5ea0‐4801‐ba7a‐5610ba20ca41                   Address Redacted                      First Class Mail
9e478907‐569b‐4e17‐a792‐933a825705f0                   Address Redacted                      First Class Mail
9e483db0‐b338‐4152‐b217‐9701a31be1f8                   Address Redacted                      First Class Mail
9e4d3b70‐4cbd‐48f5‐9224‐3622e9aa02f1                   Address Redacted                      First Class Mail
9e4dde26‐a739‐477c‐993b‐4011fef3fd60                   Address Redacted                      First Class Mail
9e4faf18‐d9f1‐4684‐afbd‐cd033c725ea4                   Address Redacted                      First Class Mail
9e54f620‐76aa‐43d5‐aa0a‐1e31393fa270                   Address Redacted                      First Class Mail
9e57700a‐ccc6‐4ef7‐a290‐0630d550c3ce                   Address Redacted                      First Class Mail
9e5a5942‐83b9‐4743‐a240‐35415e4a3405                   Address Redacted                      First Class Mail
9e5ad829‐92ec‐4667‐b063‐5e99e1bd836a                   Address Redacted                      First Class Mail
9e5e47d9‐64d0‐4bcc‐8952‐14f5fcf81d15                   Address Redacted                      First Class Mail
9e5f2fb2‐eb75‐4276‐926b‐fb2144189bf7                   Address Redacted                      First Class Mail
9e60d524‐9a48‐43fa‐8c21‐74aaa217bc8e                   Address Redacted                      First Class Mail
9e64bbc2‐8044‐4e18‐a9d7‐842d660052f7                   Address Redacted                      First Class Mail
9e673176‐a545‐4346‐99ec‐236fc4addd34                   Address Redacted                      First Class Mail
9e682736‐d657‐496c‐9953‐cfd54bbc4d9a                   Address Redacted                      First Class Mail
9e747c62‐288c‐4dd7‐b2af‐4916991b8a9d                   Address Redacted                      First Class Mail
9e747da2‐c8b5‐4ad2‐a763‐20fd538b4fc9                   Address Redacted                      First Class Mail
9e783242‐c52a‐4e01‐b3a7‐c9b530a68f28                   Address Redacted                      First Class Mail
9e788fd8‐846b‐457c‐8be7‐68566b168816                   Address Redacted                      First Class Mail
9e78c801‐6890‐49ef‐9232‐3c7d13cc34e3                   Address Redacted                      First Class Mail
9e79ee34‐11eb‐4a6a‐90ca‐c6b070f97316                   Address Redacted                      First Class Mail
9e7d6937‐43f3‐4b7a‐b55e‐26a066be8dba                   Address Redacted                      First Class Mail
9e80e356‐3c7a‐4574‐b4aa‐8c9dc72dfeee                   Address Redacted                      First Class Mail
9e8cfe77‐143d‐4bf8‐b05d‐7e374da7aaac                   Address Redacted                      First Class Mail
9e8fb26a‐0942‐4768‐8eea‐31829a8da7c4                   Address Redacted                      First Class Mail
9e907fab‐3355‐4a29‐841d‐3629737e486a                   Address Redacted                      First Class Mail
9e926998‐82fa‐495a‐9e60‐5ebf1d5b9442                   Address Redacted                      First Class Mail




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                                                                Exhibit A
                                                                 Service List


                              Name                                              Address                         Method of Service
9e943580‐997f‐4939‐96e2‐36d1457c4471                   Address Redacted                      First Class Mail
9e9c0e76‐f254‐4ad2‐91fd‐0879d44b3e8c                   Address Redacted                      First Class Mail
9e9dc9c7‐65d0‐4d39‐ad93‐8a3a36501ed4                   Address Redacted                      First Class Mail
9e9e7ad2‐e5fa‐47bc‐81da‐595204398661                   Address Redacted                      First Class Mail
9e9f35d7‐57f3‐4292‐be52‐fed468078796                   Address Redacted                      First Class Mail
9ea069a8‐3089‐45b0‐8e2a‐b8c318f8cfc6                   Address Redacted                      First Class Mail
9ea1448d‐1bf4‐4e79‐9b3a‐db815c2e9bb6                   Address Redacted                      First Class Mail
9ea30e49‐4d92‐4913‐b8f4‐d79b52d7b5b1                   Address Redacted                      First Class Mail
9ea407c2‐4a7b‐4e1c‐aa49‐61db7d3245a0                   Address Redacted                      First Class Mail
9ea6ba30‐07b4‐4ab5‐85bf‐43f36762e069                   Address Redacted                      First Class Mail
9ea71f62‐9d3d‐46b5‐9fd1‐5c3c7ba3f7c2                   Address Redacted                      First Class Mail
9ea7a418‐1c48‐44d3‐b245‐098e85d45c90                   Address Redacted                      First Class Mail
9eaefe22‐7657‐4c2c‐a447‐d1a5204e8dc8                   Address Redacted                      First Class Mail
9eaf1fb2‐2c8d‐40d7‐88fe‐24f91bdb172f                   Address Redacted                      First Class Mail
9eaf5163‐86e9‐4964‐b204‐5702102e1972                   Address Redacted                      First Class Mail
9eafd5b9‐67d9‐47cd‐a279‐449b12fc5095                   Address Redacted                      First Class Mail
9eb525ff‐fdb7‐440f‐af20‐46ae088dd8da                   Address Redacted                      First Class Mail
9eb5591c‐d97d‐437c‐ac09‐c0c5db1071a4                   Address Redacted                      First Class Mail
9ebb85ae‐dfa8‐4755‐adec‐29a46aeed511                   Address Redacted                      First Class Mail
9ebc1fb6‐30db‐4b08‐bd39‐8223dc2c1549                   Address Redacted                      First Class Mail
9ebd4ed2‐4920‐4e80‐9c01‐1110ab718f91                   Address Redacted                      First Class Mail
9ebd8440‐930f‐44b3‐a6e8‐48babd53314f                   Address Redacted                      First Class Mail
9ebe2d2c‐5a8c‐4a10‐855c‐ea95c6ce13f4                   Address Redacted                      First Class Mail
9ec6cf8c‐adb9‐4067‐b852‐b28a90678d20                   Address Redacted                      First Class Mail
9eca2058‐5822‐4ebf‐8a68‐4a5f4e846b0b                   Address Redacted                      First Class Mail
9ecb4cab‐bc08‐444d‐96c6‐828085792f7e                   Address Redacted                      First Class Mail
9ece19cc‐d09a‐40e7‐9e58‐7447d5563c0b                   Address Redacted                      First Class Mail
9ece4aab‐9486‐4434‐b023‐0d2dd4cb3f70                   Address Redacted                      First Class Mail
9ed1c371‐3b71‐4bd5‐8f93‐8378137e475a                   Address Redacted                      First Class Mail
9ed6c3c2‐a57e‐4962‐9c3b‐60e8f580ad59                   Address Redacted                      First Class Mail
9edb9d94‐2424‐4095‐8165‐2e9729c94306                   Address Redacted                      First Class Mail
9edbffdf‐f3bb‐4a63‐948a‐67f09edf2ddf                   Address Redacted                      First Class Mail
9ee19fbb‐19bf‐4b18‐82b9‐c5bf03a0d236                   Address Redacted                      First Class Mail
9ee38e28‐54dc‐41df‐90f3‐96d62e96a03d                   Address Redacted                      First Class Mail
9ee83d85‐318e‐42e8‐8a90‐e5c186ee1227                   Address Redacted                      First Class Mail
9ee87ea4‐fa32‐4361‐9cff‐4d9566c19efc                   Address Redacted                      First Class Mail
9eec50bf‐3858‐49c4‐9682‐e6b0b6ede380                   Address Redacted                      First Class Mail
9eefef8e‐cc86‐400f‐bd64‐7fec45403c1a                   Address Redacted                      First Class Mail
9ef07847‐a268‐4a63‐b4c0‐fb454b340ce5                   Address Redacted                      First Class Mail
9ef8c464‐c2ce‐4fed‐8565‐b23761008a23                   Address Redacted                      First Class Mail
9f01bbd2‐a86c‐41f6‐ac97‐7ef4240f2633                   Address Redacted                      First Class Mail
9f01eda8‐73dc‐4c66‐94d2‐a035fcef46ad                   Address Redacted                      First Class Mail
9f030ec6‐1058‐4ee4‐a189‐de9c5caf6c84                   Address Redacted                      First Class Mail
9f048647‐e5ad‐47a4‐94bd‐34da61e255d2                   Address Redacted                      First Class Mail
9f0d4860‐a6bf‐4034‐aba7‐877b74fe8179                   Address Redacted                      First Class Mail
9f13a7d5‐78ed‐4220‐9566‐06844b3c54e8                   Address Redacted                      First Class Mail
9f149691‐ad08‐44b0‐8e9d‐016e612fc3c9                   Address Redacted                      First Class Mail
9f16b971‐0bfc‐4668‐ac3f‐19a9c7f07aad                   Address Redacted                      First Class Mail
9f17f87e‐e638‐44a2‐814c‐b827954c76e8                   Address Redacted                      First Class Mail
9f1ae0e7‐2198‐44c9‐b52b‐221b21549778                   Address Redacted                      First Class Mail
9f1c7d62‐62bc‐4315‐9eeb‐c2b67f5ed74e                   Address Redacted                      First Class Mail
9f1f7e94‐6e58‐40a5‐aabf‐812c4993c108                   Address Redacted                      First Class Mail
9f22426e‐7653‐40dd‐aac0‐9a998a621ec0                   Address Redacted                      First Class Mail
9f22a431‐69cf‐4723‐b332‐408f2127a62c                   Address Redacted                      First Class Mail
9f2334a6‐c82a‐4d18‐908d‐f69612ef3fd4                   Address Redacted                      First Class Mail
9f26e83b‐605d‐438a‐a760‐1a266a74a074                   Address Redacted                      First Class Mail
9f280dfc‐6a85‐40cb‐bc41‐8679bc716a83                   Address Redacted                      First Class Mail
9f2a125d‐69f7‐47e7‐8c53‐4bf698f449c1                   Address Redacted                      First Class Mail
9f2bee39‐7d90‐433a‐9cbf‐f875cac7ed1f                   Address Redacted                      First Class Mail
9f2d8dd6‐e852‐4270‐bf7d‐1380dc1218c5                   Address Redacted                      First Class Mail
9f3029f9‐7b09‐4b6e‐b701‐97d54d95bbe9                   Address Redacted                      First Class Mail
9f306896‐af68‐4edc‐836f‐9f512efecb76                   Address Redacted                      First Class Mail
9f358f95‐30b8‐42b0‐a4cb‐a28a4fefe5fa                   Address Redacted                      First Class Mail
9f38ffd9‐8d58‐4ab8‐9ebf‐f1ace6ae2d75                   Address Redacted                      First Class Mail
9f3a96f9‐a8d6‐41ff‐94bd‐8993c662a5cc                   Address Redacted                      First Class Mail
9f4177bb‐6e71‐4a12‐aba8‐121fba9c153e                   Address Redacted                      First Class Mail
9f46f689‐450e‐4316‐b51a‐26d7289ee07b                   Address Redacted                      First Class Mail
9f4ad043‐eb8c‐46fc‐877b‐8744a8274c57                   Address Redacted                      First Class Mail
9f4c894f‐636c‐4862‐b255‐e5ff0cd2ab22                   Address Redacted                      First Class Mail
9f4e92c0‐0d80‐4fcf‐a40d‐979b8c631777                   Address Redacted                      First Class Mail
9f4efefa‐983a‐4753‐afea‐2f3043679e40                   Address Redacted                      First Class Mail
9f4fc6f6‐8275‐4211‐a8d9‐06b57a3bd960                   Address Redacted                      First Class Mail




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                                                                 Service List


                              Name                                              Address                         Method of Service
9f513a83‐f0d7‐4b62‐bf51‐dea936fe601d                   Address Redacted                      First Class Mail
9f54e5fa‐0cc7‐4bdc‐ad84‐030d70d54cb6                   Address Redacted                      First Class Mail
9f55b7b2‐6dd6‐4e8a‐b6d8‐8b67c35e3879                   Address Redacted                      First Class Mail
9f5931b3‐f417‐49ab‐b98a‐67e2d6fdb4eb                   Address Redacted                      First Class Mail
9f5d2fa7‐36e6‐4ec8‐8d8f‐138fe5849a1f                   Address Redacted                      First Class Mail
9f5d402a‐f70d‐498c‐a5a9‐1d7c6d39ba6d                   Address Redacted                      First Class Mail
9f605b7b‐b6a1‐405e‐96b0‐f099fa089f9b                   Address Redacted                      First Class Mail
9f625354‐1d9a‐4357‐880d‐a7d52dabe0e1                   Address Redacted                      First Class Mail
9f637b5a‐c1f5‐4c50‐8111‐fa1ece9b1883                   Address Redacted                      First Class Mail
9f6579b4‐5df9‐4fc3‐b39d‐1840bab74f7c                   Address Redacted                      First Class Mail
9f68dc46‐2113‐4ac3‐866a‐ccf605df1c04                   Address Redacted                      First Class Mail
9f6b29ae‐4f56‐45e1‐9951‐0d3db0232b3d                   Address Redacted                      First Class Mail
9f6b371d‐06c9‐4e65‐b8a2‐e85484b4f7bc                   Address Redacted                      First Class Mail
9f6b4812‐f035‐4c50‐94b7‐33497ebe6c8a                   Address Redacted                      First Class Mail
9f6de9d6‐aec7‐422c‐8ed0‐964733717b39                   Address Redacted                      First Class Mail
9f709624‐1823‐45b3‐8dd5‐d2f632958280                   Address Redacted                      First Class Mail
9f7405c8‐73d9‐4a29‐8274‐63348885c5d9                   Address Redacted                      First Class Mail
9f7d3a06‐92e7‐4520‐85be‐af9572fa7893                   Address Redacted                      First Class Mail
9f7ed1c2‐4fd3‐45d6‐900f‐f22222764309                   Address Redacted                      First Class Mail
9f80445c‐dbd8‐4004‐857b‐7615f973a04a                   Address Redacted                      First Class Mail
9f846470‐c1c5‐4edf‐843c‐532adb48b8b1                   Address Redacted                      First Class Mail
9f85eee9‐dd51‐4c0d‐baf2‐0fa517dd8ce3                   Address Redacted                      First Class Mail
9f8832e8‐c2da‐4bab‐9dc2‐c17bb76a0d2f                   Address Redacted                      First Class Mail
9f958782‐7acf‐4dc4‐b257‐62bd8787eb83                   Address Redacted                      First Class Mail
9f9620f0‐58a2‐4262‐9eb0‐9b41f5740126                   Address Redacted                      First Class Mail
9f96f90f‐ce98‐4873‐ba09‐ad7d7ddd795b                   Address Redacted                      First Class Mail
9f97e863‐729a‐404e‐9cb9‐780a0036f742                   Address Redacted                      First Class Mail
9f9e0f04‐f61f‐486d‐a7e9‐33b1113da5b9                   Address Redacted                      First Class Mail
9f9e4003‐98d5‐4f84‐a399‐02210879df52                   Address Redacted                      First Class Mail
9fa4c9e9‐4db0‐4130‐9bcc‐849bc251f518                   Address Redacted                      First Class Mail
9fa51641‐fe22‐436f‐887e‐8b2c3cce161f                   Address Redacted                      First Class Mail
9faa7879‐6674‐4ee7‐b551‐92a2c371e22f                   Address Redacted                      First Class Mail
9fabd69b‐c7ee‐4390‐a472‐99dee2702a1e                   Address Redacted                      First Class Mail
9faebe06‐1a15‐46b0‐9718‐af31eca105b8                   Address Redacted                      First Class Mail
9faefa17‐4976‐4fae‐9755‐f10d4553f5ea                   Address Redacted                      First Class Mail
9fb0e649‐c106‐4c6b‐bf6a‐621485ce3147                   Address Redacted                      First Class Mail
9fb5452b‐81ad‐43a3‐a19d‐7fa398e9b85b                   Address Redacted                      First Class Mail
9fb6b424‐d1b0‐4572‐9903‐f275c747340f                   Address Redacted                      First Class Mail
9fb705e0‐87a9‐4862‐8527‐0fd4446622ba                   Address Redacted                      First Class Mail
9fb98649‐749d‐40c7‐9f16‐91f8633530c6                   Address Redacted                      First Class Mail
9fbc807c‐7021‐4567‐bffc‐15bf7f4fd696                   Address Redacted                      First Class Mail
9fc0b334‐26bb‐406f‐bb74‐78ae3f0212b3                   Address Redacted                      First Class Mail
9fc37027‐8961‐4064‐b49f‐024842ec3172                   Address Redacted                      First Class Mail
9fc40ff8‐5bbc‐4b34‐81f9‐956d776d84b0                   Address Redacted                      First Class Mail
9fc5454f‐5b88‐448e‐8ae8‐91707b44b4a1                   Address Redacted                      First Class Mail
9fc5c13f‐5a0b‐4811‐8c21‐56cc708eecda                   Address Redacted                      First Class Mail
9fc7289c‐9867‐4ee0‐a4f6‐1a730b251d62                   Address Redacted                      First Class Mail
9fcbd51a‐e97a‐4a97‐b1a0‐dd26bad5a92f                   Address Redacted                      First Class Mail
9fcff213‐69f0‐4126‐b585‐c5e0aea444ec                   Address Redacted                      First Class Mail
9fd64237‐53c3‐4a30‐a7e8‐bbfee72bc9e6                   Address Redacted                      First Class Mail
9fd8383a‐bcd4‐49b0‐b07e‐7b654629083b                   Address Redacted                      First Class Mail
9fdc7da1‐580c‐4b65‐84d0‐621d27327948                   Address Redacted                      First Class Mail
9fdc8cbf‐128c‐40fd‐9ec2‐1268a4ffabd6                   Address Redacted                      First Class Mail
9fe04ff7‐c9d8‐49d5‐b211‐4665b4999a4f                   Address Redacted                      First Class Mail
9fe92314‐b508‐4269‐ac9d‐992ea888b902                   Address Redacted                      First Class Mail
9fe9e4af‐44d2‐4a14‐b6a0‐7b8e5f4a7b89                   Address Redacted                      First Class Mail
9feb8d1f‐a275‐485d‐ac5d‐73ee47463c1b                   Address Redacted                      First Class Mail
9fec1ddf‐6c0c‐49f7‐8a41‐db04ac7e8894                   Address Redacted                      First Class Mail
9fed42e1‐944c‐4bea‐9665‐a91887d68eb1                   Address Redacted                      First Class Mail
9fee86e8‐76f0‐43a3‐b2e4‐d6ca78007b0b                   Address Redacted                      First Class Mail
9ff1a8dd‐cc52‐492f‐8822‐0d0bdbacf94f                   Address Redacted                      First Class Mail
9ff56dd2‐8f11‐4a94‐bba0‐8dd0d49de736                   Address Redacted                      First Class Mail
a004f24d‐e131‐452c‐9d3c‐e0ec8a1a0381                   Address Redacted                      First Class Mail
a005daa1‐2c55‐41ca‐931e‐d969a8e8f328                   Address Redacted                      First Class Mail
a011bc8b‐b1d6‐43b2‐a3d7‐53024fe11ba3                   Address Redacted                      First Class Mail
a012beaa‐6b54‐4b7c‐a3e2‐f46b5d6cbb02                   Address Redacted                      First Class Mail
a0158cdf‐ec4d‐4d1b‐84e3‐a6a1da0b7ffb                   Address Redacted                      First Class Mail
a017d66c‐57ff‐44e5‐8a96‐a349c52b3072                   Address Redacted                      First Class Mail
a018be99‐88da‐40b7‐8905‐3ca743e24b78                   Address Redacted                      First Class Mail
a01bf72c‐017b‐454d‐92f9‐2393ed58f695                   Address Redacted                      First Class Mail
a01ccea7‐d912‐4c8e‐b1b2‐addb8c46ef50                   Address Redacted                      First Class Mail
a01d79a3‐04cc‐48ad‐b84b‐20b7008733c5                   Address Redacted                      First Class Mail




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                               Name                                             Address                         Method of Service
a01e2303‐98a2‐4b7d‐8462‐7bf53d3685d2                   Address Redacted                      First Class Mail
a02323a7‐5d72‐42cd‐916b‐da0d85d6e66f                   Address Redacted                      First Class Mail
a0250a90‐a621‐41e1‐b469‐7de923f072e9                   Address Redacted                      First Class Mail
a02a945c‐b911‐4615‐b99d‐e4c27960e840                   Address Redacted                      First Class Mail
a02ab212‐f066‐4e9c‐a073‐92a24801fd16                   Address Redacted                      First Class Mail
a02b2887‐e41a‐4a28‐874d‐bbff54a2f4b6                   Address Redacted                      First Class Mail
a02f65fb‐74ac‐4295‐aa9f‐75fa69b3e924                   Address Redacted                      First Class Mail
a0425eda‐65c4‐489c‐8bad‐b9fe1ba2745c                   Address Redacted                      First Class Mail
a0439e11‐686e‐4d83‐98d7‐3ca897b7b852                   Address Redacted                      First Class Mail
a043e56f‐8720‐4436‐9c9d‐afa5656355e1                   Address Redacted                      First Class Mail
a048159e‐1561‐4417‐8937‐604f22dd9b75                   Address Redacted                      First Class Mail
a04aecdc‐fb86‐49fd‐8607‐8017ead37372                   Address Redacted                      First Class Mail
a04bbaf3‐e3e9‐47a9‐a476‐8b730bd8942a                   Address Redacted                      First Class Mail
a04c22fd‐6ded‐41e9‐a852‐f62c5f6e04a6                   Address Redacted                      First Class Mail
a050e044‐a6ee‐42c9‐a83a‐dbf1aa5bc04a                   Address Redacted                      First Class Mail
a0539b2c‐bc9d‐4431‐aa50‐cfe42ef878b8                   Address Redacted                      First Class Mail
a05479b9‐474f‐4cf2‐9ead‐d5b960890d8b                   Address Redacted                      First Class Mail
a055cc4b‐a080‐489f‐9091‐f7146477eaff                   Address Redacted                      First Class Mail
a05a173d‐acdc‐4f17‐925b‐a1cb50d9aad0                   Address Redacted                      First Class Mail
a05c516b‐ce24‐41bf‐b578‐120a9fc69692                   Address Redacted                      First Class Mail
a05d960e‐6f9b‐4b1f‐8166‐6b27c70f0d70                   Address Redacted                      First Class Mail
a05ef000‐ec2f‐4a6e‐b8ef‐f0d3a90c4c71                   Address Redacted                      First Class Mail
a060d77b‐327c‐4805‐a30e‐dc9f1a80ad43                   Address Redacted                      First Class Mail
a0639687‐5c02‐4b40‐a4ae‐0eb3df7aecea                   Address Redacted                      First Class Mail
a0660890‐c2f0‐42ff‐87ca‐8564a15e928b                   Address Redacted                      First Class Mail
a066a172‐c522‐495f‐a3c7‐c91014d49001                   Address Redacted                      First Class Mail
a0686bcd‐8fc4‐4088‐afff‐4fa35fecbc74                   Address Redacted                      First Class Mail
a06c1792‐6885‐4c2d‐aaef‐691f1c001fe1                   Address Redacted                      First Class Mail
a06eda64‐f17c‐4dbd‐9aec‐811fde0605dc                   Address Redacted                      First Class Mail
a0715067‐b96f‐4ffd‐aa94‐1300fed19ca0                   Address Redacted                      First Class Mail
a0716600‐2057‐400b‐ada3‐034685bd85af                   Address Redacted                      First Class Mail
a0723a1c‐0c5c‐4c20‐85d7‐ef3a46564aa4                   Address Redacted                      First Class Mail
a074d6b9‐ef24‐4a62‐ae1b‐5a4dbebcad5e                   Address Redacted                      First Class Mail
a0760adb‐ba6c‐4653‐96d2‐e156a1576e78                   Address Redacted                      First Class Mail
a07667ae‐85b7‐477a‐ba9b‐377bf828ee90                   Address Redacted                      First Class Mail
a07a16c9‐daca‐453c‐8b1d‐23a19a14eb35                   Address Redacted                      First Class Mail
a07cff83‐5285‐4adc‐bcd8‐292d478010a1                   Address Redacted                      First Class Mail
a07dd30b‐0f76‐4892‐862a‐6f0d2b308322                   Address Redacted                      First Class Mail
a0818ef3‐09d7‐41ca‐bb20‐40ac04f53781                   Address Redacted                      First Class Mail
a083ed46‐c311‐42ca‐8dfd‐e15439b12ea9                   Address Redacted                      First Class Mail
a085e22a‐05df‐441a‐ba0f‐5dc9c6b1d510                   Address Redacted                      First Class Mail
a08649f0‐ce1a‐4a9c‐bb90‐9be717c15a82                   Address Redacted                      First Class Mail
a0889539‐996a‐4091‐9af3‐fbe4e1c6c03f                   Address Redacted                      First Class Mail
a088ebf6‐379a‐4f57‐9821‐bd5c5b8d9aa8                   Address Redacted                      First Class Mail
a08a16d7‐9acc‐41c0‐b9f2‐fb4d0593908f                   Address Redacted                      First Class Mail
a08dc17b‐126f‐4ae8‐bd5c‐cdc5d3fd43da                   Address Redacted                      First Class Mail
a09025e7‐6832‐4ba4‐8538‐86660737e462                   Address Redacted                      First Class Mail
a090fb99‐f4a8‐4666‐ac4f‐f12b77b4d3e4                   Address Redacted                      First Class Mail
a0913a7d‐2e6c‐43c4‐8f80‐82f20d619a0a                   Address Redacted                      First Class Mail
a096dae7‐6549‐426d‐bcf8‐284bbddf17e3                   Address Redacted                      First Class Mail
a097cbc6‐13c5‐4a25‐ba22‐d50e2182762a                   Address Redacted                      First Class Mail
a0a3c325‐1288‐4245‐866e‐8efb3ab43d53                   Address Redacted                      First Class Mail
a0a4fad4‐ba74‐48d0‐86f8‐b1b01a920c82                   Address Redacted                      First Class Mail
a0a54712‐9c4e‐45a8‐bc8b‐32de388891ee                   Address Redacted                      First Class Mail
a0a626b7‐0953‐4a40‐8c0b‐d8641cc22c1d                   Address Redacted                      First Class Mail
a0a9283f‐1bda‐4554‐a07d‐c53dc00bb629                   Address Redacted                      First Class Mail
a0a98183‐d154‐406e‐92d0‐b7e03dbc5ec0                   Address Redacted                      First Class Mail
a0a9f14c‐8e7e‐4e8d‐97f0‐aaee8d82808b                   Address Redacted                      First Class Mail
a0af7ea3‐f2eb‐4d91‐a170‐955d000e1378                   Address Redacted                      First Class Mail
a0afb4ef‐41dc‐441d‐8bf1‐8f77c31ccf3e                   Address Redacted                      First Class Mail
a0b31de6‐93ff‐4a5a‐969d‐a2bd52ec039e                   Address Redacted                      First Class Mail
a0b39710‐5d24‐4046‐bf4b‐a6925ddd6452                   Address Redacted                      First Class Mail
a0b4fbd2‐21f1‐45a1‐89aa‐fea3427c007e                   Address Redacted                      First Class Mail
a0b7458b‐4fb3‐4ec0‐84ac‐00ecf52db048                   Address Redacted                      First Class Mail
a0c3110d‐0545‐4dd2‐b3cc‐99916fdd401b                   Address Redacted                      First Class Mail
a0c4a3b4‐4ded‐4a41‐9043‐23c3fd4af3ee                   Address Redacted                      First Class Mail
a0c51c6f‐10b4‐42e9‐888e‐654cc67ed05a                   Address Redacted                      First Class Mail
a0cc76ca‐1abf‐47e9‐9af9‐c9ce2e30ef19                   Address Redacted                      First Class Mail
a0d0847e‐5be0‐48ec‐895a‐85012b59a726                   Address Redacted                      First Class Mail
a0d0abd2‐add3‐4068‐84a5‐875de4613537                   Address Redacted                      First Class Mail
a0da3f91‐1fc4‐47a9‐80c8‐92c767201a12                   Address Redacted                      First Class Mail
a0de0884‐cfeb‐43ec‐bd9f‐6f88ec8bd392                   Address Redacted                      First Class Mail




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                                                                 Service List


                              Name                                              Address                         Method of Service
a0de8ee1‐b510‐436e‐afc8‐b598561b22cc                   Address Redacted                      First Class Mail
a0e1e011‐d88a‐47a5‐ac58‐f43e96a94ad4                   Address Redacted                      First Class Mail
a0e47c0b‐5ed0‐4a46‐ae9e‐65bb7789e74a                   Address Redacted                      First Class Mail
a0e60c50‐0b41‐4fd0‐bb33‐668e3ba3adbe                   Address Redacted                      First Class Mail
a0e614a9‐9b45‐4d96‐81e8‐2ddfefb0f58a                   Address Redacted                      First Class Mail
a0e6463b‐a444‐45e1‐91be‐1599e4c9fbf1                   Address Redacted                      First Class Mail
a0e66a07‐18a9‐4d0d‐9505‐1c00db17be9a                   Address Redacted                      First Class Mail
a0f213c5‐0934‐4438‐9064‐b064bb40ff7b                   Address Redacted                      First Class Mail
a0f58566‐8107‐4bef‐88ee‐e2770808e995                   Address Redacted                      First Class Mail
a0f5ad94‐95cf‐47b3‐a04a‐5a372d31e009                   Address Redacted                      First Class Mail
a0f9324c‐b854‐4d03‐809a‐10096d005768                   Address Redacted                      First Class Mail
a100db14‐7487‐4c3c‐8b6c‐7c6ef58b6fb2                   Address Redacted                      First Class Mail
a10d8563‐1273‐4683‐8d17‐f8de20ff7bba                   Address Redacted                      First Class Mail
a111dd55‐81a4‐4a59‐b539‐99941d9fefe4                   Address Redacted                      First Class Mail
a112b4a3‐7dec‐412c‐8197‐83fd5d7cb94e                   Address Redacted                      First Class Mail
a112fe57‐3992‐43a7‐aa31‐b5042bd514ad                   Address Redacted                      First Class Mail
a1148592‐fa86‐475e‐94ba‐c8dfe78047de                   Address Redacted                      First Class Mail
a11e60aa‐61c2‐4f7a‐b74a‐675726dba80b                   Address Redacted                      First Class Mail
a11ffd44‐0f15‐42c1‐a59e‐058260c03d14                   Address Redacted                      First Class Mail
a121a19b‐9303‐4132‐9c1a‐8b3272aa4884                   Address Redacted                      First Class Mail
a122a021‐ce0f‐4d7b‐8df1‐fdd71e1244bb                   Address Redacted                      First Class Mail
a12355e3‐e6cc‐4ea7‐80bb‐b1a04094f38f                   Address Redacted                      First Class Mail
a128b5d7‐3d07‐4ffd‐adc3‐b3c3bfe39029                   Address Redacted                      First Class Mail
a1333992‐45e3‐4635‐aec1‐7898003fa4ac                   Address Redacted                      First Class Mail
a133a8ea‐d2f7‐4ea7‐96b9‐3da5fce05cfc                   Address Redacted                      First Class Mail
a133ef1c‐67aa‐46ff‐ba88‐96af945abec8                   Address Redacted                      First Class Mail
a133fc9e‐a711‐4e1f‐9a30‐79ec811f5f85                   Address Redacted                      First Class Mail
a134436b‐999b‐4706‐9497‐af2d10953ad5                   Address Redacted                      First Class Mail
a1358226‐8d85‐4341‐9131‐8c670b5cb6f3                   Address Redacted                      First Class Mail
a137449d‐8bbe‐4ebb‐9bf2‐b428e236c735                   Address Redacted                      First Class Mail
a13b0c51‐f0c3‐4bf9‐b6a5‐a1bd2bcd1f93                   Address Redacted                      First Class Mail
a13d3a92‐9864‐4565‐95e6‐ab227b853ca8                   Address Redacted                      First Class Mail
a13e2e57‐0e48‐4726‐b592‐9dda448cf791                   Address Redacted                      First Class Mail
a142d4ac‐fd8b‐4e57‐85d1‐af87674c617c                   Address Redacted                      First Class Mail
a148fcb8‐37fb‐43b7‐b5dd‐17306097ff46                   Address Redacted                      First Class Mail
a14bdf70‐66c4‐4fbd‐8020‐3ac0bf544f12                   Address Redacted                      First Class Mail
a14dbea4‐8ad6‐4438‐bb59‐afe5ef725196                   Address Redacted                      First Class Mail
a14e0346‐0c0b‐4047‐a6ad‐6220c746fb26                   Address Redacted                      First Class Mail
a14e4943‐410d‐4789‐bf4d‐39f3cedc2e86                   Address Redacted                      First Class Mail
a14fbe37‐4e18‐45c1‐8bfa‐0daa5c5926e9                   Address Redacted                      First Class Mail
a1512063‐5db5‐4e71‐97f3‐ec84b6d7e3c0                   Address Redacted                      First Class Mail
a15593e8‐fbd4‐4d92‐9689‐82e2dcf88fde                   Address Redacted                      First Class Mail
a155b01e‐415c‐48d5‐934e‐ff478f0a634e                   Address Redacted                      First Class Mail
a155f79e‐9c54‐4cca‐999b‐f22b5c79f2f1                   Address Redacted                      First Class Mail
a1562a48‐12ca‐4cd8‐9507‐34ad6c4cf48d                   Address Redacted                      First Class Mail
a15b8ac8‐e6e2‐42b1‐aad5‐aefe68f38408                   Address Redacted                      First Class Mail
a15dd58a‐3a51‐4973‐90c6‐0fa4b2b18f94                   Address Redacted                      First Class Mail
a15e9a6a‐9c89‐4a1f‐9d32‐82e248369778                   Address Redacted                      First Class Mail
a1602cc3‐3f9d‐44ba‐b049‐3423ed993618                   Address Redacted                      First Class Mail
a1630667‐5e9d‐4884‐9098‐ad08dfd5ab2a                   Address Redacted                      First Class Mail
a167407a‐6d55‐4517‐b2b6‐3b0e14709f27                   Address Redacted                      First Class Mail
a16c9a00‐1aa4‐4ba9‐9ec7‐a0b4ef9cbdea                   Address Redacted                      First Class Mail
a16fcf5e‐9195‐4969‐a513‐7c48066873e4                   Address Redacted                      First Class Mail
a17053a3‐3a16‐4405‐a420‐e5a387700615                   Address Redacted                      First Class Mail
a174676f‐7419‐4347‐99c9‐219b9d909303                   Address Redacted                      First Class Mail
a17a0556‐1698‐4abc‐9994‐e2e2e76bcf3e                   Address Redacted                      First Class Mail
a17e65cd‐0035‐42dd‐aa11‐0cec052885e8                   Address Redacted                      First Class Mail
a17ea3c6‐8014‐4d0c‐96dc‐05658ad4c29e                   Address Redacted                      First Class Mail
a17f318d‐7c5a‐4496‐a469‐93165e6e1710                   Address Redacted                      First Class Mail
a17f8c2a‐08ca‐43ed‐9209‐1a32239e51cd                   Address Redacted                      First Class Mail
a17f9d0e‐8896‐453f‐812d‐ec43e1d415c3                   Address Redacted                      First Class Mail
a17fe5ce‐891e‐4366‐9480‐a56108398132                   Address Redacted                      First Class Mail
a1850553‐fc30‐4d09‐9eff‐d7e418313575                   Address Redacted                      First Class Mail
a1860b04‐8b65‐4d65‐bfd7‐d358d40506dd                   Address Redacted                      First Class Mail
a18854fa‐eb78‐43ed‐ac5a‐b74c47d1b765                   Address Redacted                      First Class Mail
a188e983‐01dc‐49c2‐9cbf‐04348549fd5e                   Address Redacted                      First Class Mail
a191400c‐3b86‐4acb‐b691‐7071069e8990                   Address Redacted                      First Class Mail
a191770a‐0210‐4790‐b53a‐09192731a6e5                   Address Redacted                      First Class Mail
a1975696‐5a8c‐4dbd‐b865‐163f0707a3a5                   Address Redacted                      First Class Mail
a198e008‐aee7‐4236‐a3af‐7ee372dd0180                   Address Redacted                      First Class Mail
a1995b16‐2c04‐4a52‐bb77‐4cd866968224                   Address Redacted                      First Class Mail
a1998706‐9c5e‐45f2‐9b28‐41a62c498246                   Address Redacted                      First Class Mail




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                                                                Exhibit A
                                                                 Service List


                              Name                                              Address                         Method of Service
a19e23da‐7af1‐4619‐9677‐8378fa0f2ee9                   Address Redacted                      First Class Mail
a19e7d57‐939e‐4654‐9b6c‐504830d83222                   Address Redacted                      First Class Mail
a19ff5fa‐5809‐4191‐a947‐a2320e5aa358                   Address Redacted                      First Class Mail
a1a0ad06‐f383‐4833‐afb5‐00f3fc39a2f1                   Address Redacted                      First Class Mail
a1a691a3‐05cd‐4abc‐af44‐1748253d976a                   Address Redacted                      First Class Mail
a1a8300c‐2f11‐4453‐8a12‐88ec52ac9744                   Address Redacted                      First Class Mail
a1a9fee1‐8249‐4bd4‐a25a‐c16a4e655acb                   Address Redacted                      First Class Mail
a1ab4496‐a362‐4d9f‐a01a‐23635df52950                   Address Redacted                      First Class Mail
a1ad666f‐964f‐4f93‐a98c‐3e50bd609b4b                   Address Redacted                      First Class Mail
a1ae1946‐9ae0‐4e7a‐a739‐5771cbd28578                   Address Redacted                      First Class Mail
a1b263ed‐26c5‐473a‐83e5‐280ca2cff49f                   Address Redacted                      First Class Mail
a1b2798e‐cbce‐41ea‐8277‐e29dabf4755e                   Address Redacted                      First Class Mail
a1b51aa3‐3d99‐4338‐959b‐cf37ccd59720                   Address Redacted                      First Class Mail
a1b6e462‐6e82‐4495‐b8a0‐583a9637b7d3                   Address Redacted                      First Class Mail
a1b7ec20‐b5a4‐4349‐8c43‐2286c5329ae9                   Address Redacted                      First Class Mail
a1bf3e04‐bd2b‐4cf8‐8a07‐a18b83f34fa9                   Address Redacted                      First Class Mail
a1c3fbfc‐202e‐42ce‐9590‐c22d2f9aa42a                   Address Redacted                      First Class Mail
a1c4edc9‐8b61‐4812‐9084‐f18be5314fd4                   Address Redacted                      First Class Mail
a1c989d3‐5619‐48f8‐a57d‐d861c72ee59f                   Address Redacted                      First Class Mail
a1ca4894‐418a‐45ac‐9284‐03ad42e1e678                   Address Redacted                      First Class Mail
a1cd54ca‐8707‐4572‐b1c8‐dd7114f335d2                   Address Redacted                      First Class Mail
a1d3a225‐0ceb‐49e8‐8e52‐7cd9fd64ece0                   Address Redacted                      First Class Mail
a1d5f09b‐954b‐46a9‐b38c‐103ecc426c80                   Address Redacted                      First Class Mail
a1d6b7cf‐4de8‐4d0b‐a753‐980719513a34                   Address Redacted                      First Class Mail
a1d7113e‐f6de‐47d5‐af07‐a6b54b3eaf6f                   Address Redacted                      First Class Mail
a1da1f10‐9518‐4204‐a151‐df4db75a814b                   Address Redacted                      First Class Mail
a1db51cd‐dd98‐4d20‐b304‐ee8b14bc7c20                   Address Redacted                      First Class Mail
a1dcbab2‐cada‐446e‐b2fa‐3468081d44e0                   Address Redacted                      First Class Mail
a1dcd601‐5c3f‐4f51‐88b7‐3f471fd52bda                   Address Redacted                      First Class Mail
a1dec095‐b523‐4846‐95e1‐9966c4df7dd5                   Address Redacted                      First Class Mail
a1df7c4b‐4e40‐4399‐b05e‐a77feafe3118                   Address Redacted                      First Class Mail
a1e0d541‐3929‐48ef‐a052‐ed0fccba6141                   Address Redacted                      First Class Mail
a1e49710‐f912‐4f74‐a662‐bf6f29cc5455                   Address Redacted                      First Class Mail
a1e4e300‐6d57‐4c1d‐8ef3‐9959b11c79c6                   Address Redacted                      First Class Mail
a1e56e3d‐25cc‐424f‐9ec8‐7cbd0fa3bc1d                   Address Redacted                      First Class Mail
a1e6acc4‐4843‐4d1f‐8c26‐33384db5e57e                   Address Redacted                      First Class Mail
a1e88b97‐b387‐453a‐985c‐266738703f6b                   Address Redacted                      First Class Mail
a1e92bce‐f2d8‐4f45‐bfaa‐13a412718144                   Address Redacted                      First Class Mail
a1ecd5bc‐6c27‐41b4‐a2e5‐4a6edacc27d8                   Address Redacted                      First Class Mail
a1ecf39d‐a8e8‐41c0‐b9df‐4eaf2720afd8                   Address Redacted                      First Class Mail
a1ef5435‐3aa1‐4ccf‐a641‐6664ceb8b160                   Address Redacted                      First Class Mail
a1f02d05‐aaeb‐466a‐b5ae‐b15f86be7320                   Address Redacted                      First Class Mail
a1f1e481‐3f75‐4d39‐bcff‐f54986e543b7                   Address Redacted                      First Class Mail
a1f52d98‐7870‐42c1‐b58d‐7233f367b0c7                   Address Redacted                      First Class Mail
a1f8d48c‐ce41‐40f3‐85bb‐b78693149f59                   Address Redacted                      First Class Mail
a1fa0628‐c0b1‐4ce8‐91c8‐5b7c038b9021                   Address Redacted                      First Class Mail
a1faa1ef‐9dd8‐4c22‐9674‐d4e1ca5f6294                   Address Redacted                      First Class Mail
a1fbc1f3‐9755‐4128‐8a30‐0109069c053f                   Address Redacted                      First Class Mail
a1fe2e94‐37e3‐4a3c‐a99d‐140d09ac3caa                   Address Redacted                      First Class Mail
a1ff0801‐ec19‐4802‐b4d0‐844addaabe46                   Address Redacted                      First Class Mail
a1ff6870‐5ede‐4226‐a32a‐8a2b9fdf45b6                   Address Redacted                      First Class Mail
a1ffaed5‐e883‐4195‐b552‐30fd5b0a3219                   Address Redacted                      First Class Mail
a200177d‐7df2‐460e‐9047‐d6328994884b                   Address Redacted                      First Class Mail
a200c0fc‐e4e4‐4665‐aaba‐11db193d2b6e                   Address Redacted                      First Class Mail
a200c208‐bdb4‐46f2‐a5f5‐d6e864b648ec                   Address Redacted                      First Class Mail
a20b38b2‐dad6‐41e4‐b9a4‐1e28fa2d8a79                   Address Redacted                      First Class Mail
a21169fd‐0430‐49c3‐99f2‐bccd718bf0c9                   Address Redacted                      First Class Mail
a213bf39‐4fb5‐499b‐bf7f‐874bcc3cb617                   Address Redacted                      First Class Mail
a215bb36‐a9d3‐4a82‐9da9‐35fe60c435ec                   Address Redacted                      First Class Mail
a216d432‐99f3‐4c17‐990d‐7dcd92dbf033                   Address Redacted                      First Class Mail
a21a9855‐98f4‐4a95‐a168‐b6d27efe52c4                   Address Redacted                      First Class Mail
a21b3e62‐c457‐4fef‐882b‐63daf95e549d                   Address Redacted                      First Class Mail
a21c5141‐e5fe‐48a7‐8991‐3ce063b26531                   Address Redacted                      First Class Mail
a21e98be‐3c6e‐4f86‐ab6c‐5085c9b3fe09                   Address Redacted                      First Class Mail
a21f89c9‐4871‐4e75‐87ab‐31c317d53c30                   Address Redacted                      First Class Mail
a227bdeb‐9fa7‐4b3b‐86c5‐8d03bdd9f2ef                   Address Redacted                      First Class Mail
a22c216f‐f084‐4bc7‐b54d‐468796b8fcc3                   Address Redacted                      First Class Mail
a22e1026‐f397‐4416‐a6b6‐c4a535ce4ac8                   Address Redacted                      First Class Mail
a22fe57d‐460f‐482e‐a1cb‐3c8e46940328                   Address Redacted                      First Class Mail
a23045e2‐b8f0‐486e‐9e4b‐1ddda2994fdc                   Address Redacted                      First Class Mail
a233032c‐ae0f‐4f9b‐a0ec‐7b61e1bc862b                   Address Redacted                      First Class Mail
a2331b42‐7a5e‐4a37‐ad63‐1440bac6766b                   Address Redacted                      First Class Mail




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                              Name                                              Address                         Method of Service
a23a116f‐d2f0‐47b8‐ae51‐392bf06fe8c3                   Address Redacted                      First Class Mail
a23a7b70‐af01‐43a9‐a4ff‐cac8146c52a7                   Address Redacted                      First Class Mail
a23b39c3‐5715‐4700‐95bf‐4f803a27019b                   Address Redacted                      First Class Mail
a23df89b‐84bd‐4fa6‐bd93‐9d11276d4bca                   Address Redacted                      First Class Mail
a24350f1‐458d‐473d‐b64d‐8defc64104c0                   Address Redacted                      First Class Mail
a245c3cf‐a088‐4078‐a3d4‐dd6d59ea6735                   Address Redacted                      First Class Mail
a24acfad‐8e8a‐4662‐ad32‐953197489b57                   Address Redacted                      First Class Mail
a24b70d4‐e96a‐4ace‐b57c‐aaec17d07f2b                   Address Redacted                      First Class Mail
a24fc4b8‐aeb7‐4088‐9f10‐91239198ffc3                   Address Redacted                      First Class Mail
a25566e6‐8290‐49ce‐ae01‐d3c054df4a95                   Address Redacted                      First Class Mail
a25990f7‐8e3f‐4f7a‐9485‐d9d1e9c8d1ec                   Address Redacted                      First Class Mail
a25ab1c5‐4ca3‐447e‐a5b3‐4cc79bc97a46                   Address Redacted                      First Class Mail
a25ae7a6‐861c‐4f2a‐881f‐d796a057c3e6                   Address Redacted                      First Class Mail
a25eca76‐3fca‐4e4f‐b8c3‐f000546ee324                   Address Redacted                      First Class Mail
a25f8c13‐8053‐42c6‐abbd‐a0bc9d47366b                   Address Redacted                      First Class Mail
a260209a‐ebf8‐4c7c‐b9a8‐5500d4f6329c                   Address Redacted                      First Class Mail
a2616622‐fc88‐4e1b‐89ac‐c3fe8664b235                   Address Redacted                      First Class Mail
a26831fc‐0de6‐47bf‐a4de‐f07e1814349d                   Address Redacted                      First Class Mail
a26b893c‐945a‐456d‐a9fe‐19c41d7b19cf                   Address Redacted                      First Class Mail
a26ececa‐1989‐44cd‐b59c‐69539b06ef2c                   Address Redacted                      First Class Mail
a276c55e‐774e‐40e9‐8283‐bcec55334009                   Address Redacted                      First Class Mail
a277f980‐6a99‐4995‐9d48‐ac75ff35e28c                   Address Redacted                      First Class Mail
a279a19d‐6ff4‐45e8‐ba1b‐c511f4d70d5b                   Address Redacted                      First Class Mail
a280a23f‐cbde‐43ef‐9157‐00da816c0822                   Address Redacted                      First Class Mail
a283048e‐aff7‐4c26‐9712‐78b0aee8f048                   Address Redacted                      First Class Mail
a285db4c‐4fe7‐4085‐9dc7‐e926d7410394                   Address Redacted                      First Class Mail
a2861660‐67f9‐45a0‐9a14‐d800399b7f1f                   Address Redacted                      First Class Mail
a2862fa7‐ff7c‐4a18‐81fa‐7629f02e5b27                   Address Redacted                      First Class Mail
a28fc4c7‐f31b‐43c8‐b826‐708294ee9183                   Address Redacted                      First Class Mail
a291bbf8‐42a2‐4228‐93f3‐55b7a81f844f                   Address Redacted                      First Class Mail
a294ab0f‐5c95‐406b‐b769‐82b22e5f4085                   Address Redacted                      First Class Mail
a29b4d08‐cff1‐4442‐80b2‐7a0e2b8c2e14                   Address Redacted                      First Class Mail
a29df2b0‐9475‐48c0‐8f68‐40811bb87a70                   Address Redacted                      First Class Mail
a2a03469‐14fd‐444f‐93a0‐5feecabeef7d                   Address Redacted                      First Class Mail
a2aac566‐0fb1‐4ed5‐b970‐3e353b61cfd2                   Address Redacted                      First Class Mail
a2ad3344‐70e3‐47d3‐9b75‐8bc93d865586                   Address Redacted                      First Class Mail
a2adefe9‐00bd‐4acb‐a914‐60f792874f64                   Address Redacted                      First Class Mail
a2afa282‐bae7‐470f‐b047‐2f9fb3bfb1d5                   Address Redacted                      First Class Mail
a2b5acc5‐4760‐44af‐a970‐9ac6040b9acf                   Address Redacted                      First Class Mail
a2b8645f‐8f71‐44bc‐b037‐91dd6e8d5b46                   Address Redacted                      First Class Mail
a2bba40f‐d3a5‐4a90‐83c5‐67b425a7ecfa                   Address Redacted                      First Class Mail
a2bff32f‐21d3‐45c0‐8985‐2793a556b3b4                   Address Redacted                      First Class Mail
a2c45426‐3926‐4e38‐b70e‐ac5fac3410f3                   Address Redacted                      First Class Mail
a2cb9c18‐6101‐4365‐b1cf‐ddb560638d46                   Address Redacted                      First Class Mail
a2cc2f5e‐a61e‐402f‐963d‐80312805069e                   Address Redacted                      First Class Mail
a2cd8f50‐83a2‐42dc‐81dd‐60029babaed7                   Address Redacted                      First Class Mail
a2d1075c‐c47e‐4cf5‐8e31‐1d0e6dfb03c5                   Address Redacted                      First Class Mail
a2d141a5‐504d‐4089‐b203‐e681485d6255                   Address Redacted                      First Class Mail
a2d270cd‐8bbb‐498c‐ac3e‐a93ca6f564f6                   Address Redacted                      First Class Mail
a2d7f066‐2762‐43f3‐ab05‐9ba26262e224                   Address Redacted                      First Class Mail
a2daf035‐8d79‐4312‐897b‐122a255263b6                   Address Redacted                      First Class Mail
a2e16390‐5d80‐4484‐b2ac‐f05f787e43ec                   Address Redacted                      First Class Mail
a2e901d0‐4cf1‐4b05‐8ad6‐05415a30a199                   Address Redacted                      First Class Mail
a2e9715b‐92dd‐4c9b‐8c56‐ec962c6e9fcf                   Address Redacted                      First Class Mail
a2eb7fbf‐7aa2‐4896‐b2e1‐d4e6b9cf084b                   Address Redacted                      First Class Mail
a2f1085a‐b52d‐4b02‐a86f‐3174ce8f05f9                   Address Redacted                      First Class Mail
a2f2f052‐dda0‐44ab‐b009‐edcca8c45fa6                   Address Redacted                      First Class Mail
a2f57294‐6de9‐4855‐87a2‐19dc325e1401                   Address Redacted                      First Class Mail
a2f5eb92‐95ab‐42fb‐bae8‐031eb3253e85                   Address Redacted                      First Class Mail
a2fa359a‐c7c0‐47d2‐bf58‐b55125075be4                   Address Redacted                      First Class Mail
a2fa683f‐33b6‐4549‐9068‐3aec3600e348                   Address Redacted                      First Class Mail
a2fea2af‐d498‐43dc‐869d‐cb74173c73dd                   Address Redacted                      First Class Mail
a3007f3a‐06f5‐473a‐b950‐412fa98b40af                   Address Redacted                      First Class Mail
a300ce62‐092c‐497b‐8b41‐75732596b7e2                   Address Redacted                      First Class Mail
a300d1d2‐cb93‐4b5d‐abec‐23265283332a                   Address Redacted                      First Class Mail
a30177d1‐8149‐4d4c‐a50a‐6a3265245d50                   Address Redacted                      First Class Mail
a302a9aa‐866d‐47f4‐9c1c‐ec040be499a2                   Address Redacted                      First Class Mail
a30595d5‐f27c‐4291‐add8‐8c90c2fcadb5                   Address Redacted                      First Class Mail
a307a04b‐cea9‐47a8‐8a7b‐ada43fb9a950                   Address Redacted                      First Class Mail
a30978e2‐ca31‐4d80‐b366‐723dd18516cb                   Address Redacted                      First Class Mail
a309bc50‐0dd0‐4505‐b9f5‐e23a0ce5f280                   Address Redacted                      First Class Mail
a30e16bb‐deeb‐4bcf‐a920‐d2c42e9cd520                   Address Redacted                      First Class Mail




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                                                                Exhibit A
                                                                 Service List


                              Name                                              Address                         Method of Service
a30e8250‐8bdf‐4d34‐8f88‐34cb05476754                   Address Redacted                      First Class Mail
a30ed5da‐eea0‐4412‐8daa‐82eab317711c                   Address Redacted                      First Class Mail
a30f2a20‐2d9c‐4548‐81a9‐b5bfcc3cc710                   Address Redacted                      First Class Mail
a310c350‐f6f9‐46b1‐a81d‐f124f21de31b                   Address Redacted                      First Class Mail
a31179c4‐ee30‐4df6‐bf7c‐638604ad5400                   Address Redacted                      First Class Mail
a312e47e‐7979‐4de1‐be30‐faf6124e4f0a                   Address Redacted                      First Class Mail
a3172d17‐4fcc‐41d5‐ba3f‐391ceacaf3f4                   Address Redacted                      First Class Mail
a317af5c‐edb9‐4630‐8642‐f692343ca560                   Address Redacted                      First Class Mail
a3180f0a‐31d8‐4adc‐baff‐4d5bd751c83d                   Address Redacted                      First Class Mail
a31a1518‐77e2‐4e2f‐b193‐612fa08fa41e                   Address Redacted                      First Class Mail
a31bdb7f‐21bf‐4da1‐a750‐3cd1281c7ff5                   Address Redacted                      First Class Mail
a31dc9d3‐97bd‐4da7‐8233‐b3fe00456212                   Address Redacted                      First Class Mail
a32605ac‐9234‐4e6d‐994b‐9f9719fc922d                   Address Redacted                      First Class Mail
a328dff2‐c7d0‐40f9‐b68e‐438c264d382b                   Address Redacted                      First Class Mail
a32d4f0c‐2bda‐403d‐a014‐cf781b445d9a                   Address Redacted                      First Class Mail
a32e1b07‐cc15‐4563‐816f‐27acee94ee51                   Address Redacted                      First Class Mail
a32eba66‐a1e1‐4b49‐b5dd‐b2acc9b86852                   Address Redacted                      First Class Mail
a330523e‐9ce9‐407e‐81d0‐d2be96c2bc3d                   Address Redacted                      First Class Mail
a3325a86‐52ca‐4354‐9490‐6012b54ca7db                   Address Redacted                      First Class Mail
a3341602‐00ed‐457b‐a60b‐f9b234968d8d                   Address Redacted                      First Class Mail
a335911d‐d090‐46aa‐b406‐e19b019cbbe7                   Address Redacted                      First Class Mail
a33a9eed‐70ed‐48cd‐9e9f‐420d4a8a9f58                   Address Redacted                      First Class Mail
a33ac658‐8981‐4616‐b231‐24e2c3247afe                   Address Redacted                      First Class Mail
a33b4e00‐b7a7‐4db9‐8f4f‐1f21d4fa9793                   Address Redacted                      First Class Mail
a33b93a3‐9117‐4605‐9f38‐1ffec4c89064                   Address Redacted                      First Class Mail
a33d493a‐4bb9‐4233‐a02a‐5d85d844b79f                   Address Redacted                      First Class Mail
a341174e‐0fd2‐4890‐90db‐e8cd0f29781b                   Address Redacted                      First Class Mail
a34341be‐0753‐4c9b‐83c7‐dfdae52c64e2                   Address Redacted                      First Class Mail
a3448dcb‐dbba‐4d5b‐9d5c‐af63980f4771                   Address Redacted                      First Class Mail
a345638f‐1803‐4644‐8ca7‐e690a95e7762                   Address Redacted                      First Class Mail
a34bffc8‐406d‐4d0e‐b7b4‐2761a3ff1267                   Address Redacted                      First Class Mail
a35d9fbf‐e3a5‐4ff3‐8be6‐bad90db5d411                   Address Redacted                      First Class Mail
a35db6f9‐ba49‐4ac9‐9059‐b8d2f3fd51e0                   Address Redacted                      First Class Mail
a35ec5d8‐8410‐4360‐a7f4‐4c7b235a26b3                   Address Redacted                      First Class Mail
a35fd8a5‐73cc‐4b1d‐a882‐ce88e734f895                   Address Redacted                      First Class Mail
a367e9fc‐5cc7‐449f‐a861‐9be192cf1da4                   Address Redacted                      First Class Mail
a36a50b2‐fa8b‐4dce‐a67f‐c2579634fefb                   Address Redacted                      First Class Mail
a36db0bf‐dddb‐4222‐ae35‐022fa519dbdb                   Address Redacted                      First Class Mail
a36f94c6‐fd8a‐4b5d‐864c‐306f2a56aa98                   Address Redacted                      First Class Mail
a3733aa6‐c3bf‐40f5‐b06d‐656488c98a85                   Address Redacted                      First Class Mail
a373dcdc‐a307‐44a7‐ab4a‐7c7276c33244                   Address Redacted                      First Class Mail
a3774ad5‐8778‐4394‐aa07‐7f2f60887652                   Address Redacted                      First Class Mail
a37a24a0‐9371‐4b9e‐8f51‐ab0f8ecabee6                   Address Redacted                      First Class Mail
a37eb344‐71d8‐47ff‐b00f‐31b449f39f74                   Address Redacted                      First Class Mail
a3832292‐1d6d‐459d‐aca6‐5b23bf407e4e                   Address Redacted                      First Class Mail
a3838520‐e33e‐4124‐965d‐cb11bf27f526                   Address Redacted                      First Class Mail
a38388f8‐f07f‐41e4‐a9fa‐18e5adcd45ef                   Address Redacted                      First Class Mail
a3892820‐e89f‐427e‐903b‐5c72c95d6f46                   Address Redacted                      First Class Mail
a38a8fd6‐76e9‐4ebf‐a64f‐88b2ea362f96                   Address Redacted                      First Class Mail
a38a98c4‐388f‐4e55‐9db2‐c2c0c3ee6624                   Address Redacted                      First Class Mail
a38d3eff‐b1f9‐4f42‐b574‐eebf0baade12                   Address Redacted                      First Class Mail
a38e32ea‐1866‐4704‐a597‐9d0b268714a9                   Address Redacted                      First Class Mail
a38f69d9‐97ec‐4746‐a20b‐6272d429c470                   Address Redacted                      First Class Mail
a390091c‐4867‐411c‐a445‐e754d7f62b48                   Address Redacted                      First Class Mail
a397ba81‐a314‐4677‐a860‐ce47f55bc1bd                   Address Redacted                      First Class Mail
a3992d9d‐a0ee‐44c3‐b9a5‐7da897c10acd                   Address Redacted                      First Class Mail
a39bcc1e‐c53a‐4aba‐a0fd‐59b1376f92b9                   Address Redacted                      First Class Mail
a39d6414‐6038‐409c‐a632‐23c8c2eb6127                   Address Redacted                      First Class Mail
a39f09a2‐c1aa‐4bf4‐8dd3‐9b17dd0149d7                   Address Redacted                      First Class Mail
a39f4712‐9ae9‐41a1‐9752‐780d06c306bb                   Address Redacted                      First Class Mail
a39f62e5‐054e‐4235‐9eae‐c26000add6c4                   Address Redacted                      First Class Mail
a3a57153‐be30‐43a8‐a275‐97aadcd02502                   Address Redacted                      First Class Mail
a3a6c783‐6a0a‐466d‐8ef7‐9a84dc82593d                   Address Redacted                      First Class Mail
a3a85463‐5c18‐4a8e‐9cf7‐3e2e0aded163                   Address Redacted                      First Class Mail
a3a8af03‐bf70‐4ef8‐bd61‐18c8d579b40c                   Address Redacted                      First Class Mail
a3ad1597‐96fe‐40f6‐a350‐a680f4155dec                   Address Redacted                      First Class Mail
a3ad35a8‐3b82‐4689‐a725‐8883f9d9ec1a                   Address Redacted                      First Class Mail
a3aef019‐8dc9‐4f0b‐bd58‐ac11d9705081                   Address Redacted                      First Class Mail
a3b1851c‐0597‐4345‐b0c6‐d35c49cda728                   Address Redacted                      First Class Mail
a3b6b86a‐a323‐40a3‐ab44‐e438b9949111                   Address Redacted                      First Class Mail
a3b712bb‐1ad3‐4511‐9ec3‐26b0e76af1c5                   Address Redacted                      First Class Mail
a3b92e38‐b4ab‐4320‐97c7‐e1afe2c68ad0                   Address Redacted                      First Class Mail




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                                                                Exhibit A
                                                                 Service List


                              Name                                              Address                         Method of Service
a3bbbd32‐7e32‐4258‐b333‐fb74a03ebeb7                   Address Redacted                      First Class Mail
a3bd97b6‐2cbb‐4be1‐b597‐99aab0bec451                   Address Redacted                      First Class Mail
a3bf71d8‐7f81‐463c‐ab7b‐6381903d4a0b                   Address Redacted                      First Class Mail
a3c0b29b‐daef‐40ed‐9eaf‐72d5752792ea                   Address Redacted                      First Class Mail
a3c72a3c‐c642‐4081‐b867‐1b89122ce9fb                   Address Redacted                      First Class Mail
a3c75ca7‐c7be‐46a0‐9d2c‐e4ea2700dbb0                   Address Redacted                      First Class Mail
a3c768b1‐98cf‐426b‐accd‐88373fe2820b                   Address Redacted                      First Class Mail
a3ca7410‐1c99‐4ade‐a5e3‐b67dbc529ca8                   Address Redacted                      First Class Mail
a3cbe85d‐a33b‐487e‐a53e‐eae8cc5640d2                   Address Redacted                      First Class Mail
a3cd24c8‐35f1‐43d2‐970e‐f12c26a5b7e0                   Address Redacted                      First Class Mail
a3cd5550‐dcf2‐40c0‐9c44‐b4eccaa91db5                   Address Redacted                      First Class Mail
a3cf74da‐fc71‐4d0a‐aa16‐e9f8cb4a2012                   Address Redacted                      First Class Mail
a3d259d4‐ae37‐4669‐9700‐5d0440e57493                   Address Redacted                      First Class Mail
a3d4fba9‐2253‐4705‐8a83‐a4d67b521489                   Address Redacted                      First Class Mail
a3d56753‐7540‐4612‐b89c‐13967ccb8bfd                   Address Redacted                      First Class Mail
a3d86ce4‐9f28‐419a‐8c52‐cc47a539c5c5                   Address Redacted                      First Class Mail
a3dbf624‐09f0‐4005‐9f28‐4e70bf86f7a5                   Address Redacted                      First Class Mail
a3dd352e‐2061‐458d‐9ed2‐6e7f75a2ead3                   Address Redacted                      First Class Mail
a3e9686e‐6451‐4d9c‐adc3‐36398f1da1fd                   Address Redacted                      First Class Mail
a3ec91c3‐671e‐4887‐84f2‐7fcc4e685ac9                   Address Redacted                      First Class Mail
a3ef6758‐db95‐417e‐947f‐edb3cbc98a6a                   Address Redacted                      First Class Mail
a3f3c79c‐eb6d‐48ec‐91d6‐daeb24105b53                   Address Redacted                      First Class Mail
a3f4d03d‐2a65‐40e2‐a497‐57c8e72e01e0                   Address Redacted                      First Class Mail
a3f58842‐8319‐4418‐9dac‐013624bd62ce                   Address Redacted                      First Class Mail
a3f7fb2f‐3ca0‐4f89‐8444‐f2e931715204                   Address Redacted                      First Class Mail
a3f8ddbd‐0c17‐49e4‐a6ff‐3ff12a7d08c6                   Address Redacted                      First Class Mail
a3fc2bf8‐ab81‐442e‐bfaa‐6eb7cb59781d                   Address Redacted                      First Class Mail
a3fd27bb‐6b28‐410b‐acd4‐d0c659d6918f                   Address Redacted                      First Class Mail
a3ff8029‐5972‐41a2‐b29a‐a79f5b92589f                   Address Redacted                      First Class Mail
a401836a‐0588‐4b2c‐a0d9‐cda018b5bcb8                   Address Redacted                      First Class Mail
a402ec2f‐41ec‐4940‐884c‐aef64fb3c43e                   Address Redacted                      First Class Mail
a40745e3‐37f5‐4120‐95bc‐c010f813bdd4                   Address Redacted                      First Class Mail
a40aa2a6‐1abf‐4859‐94f3‐4c57bd89cc30                   Address Redacted                      First Class Mail
a40b2a04‐35ce‐4008‐ada8‐deece68f3eae                   Address Redacted                      First Class Mail
a41040bd‐9042‐4cca‐af03‐7c3544693408                   Address Redacted                      First Class Mail
a412cb37‐7787‐4a74‐bc40‐6d5b7b834dd2                   Address Redacted                      First Class Mail
a41c9ac6‐e287‐4ece‐b952‐d8864170242c                   Address Redacted                      First Class Mail
a41f0cf1‐f0d8‐472e‐ad98‐979891420f19                   Address Redacted                      First Class Mail
a422018b‐9b8a‐4368‐846d‐40602f4a44a4                   Address Redacted                      First Class Mail
a4252d26‐d611‐4074‐940e‐6912819a6354                   Address Redacted                      First Class Mail
a42c2beb‐0164‐4950‐81ba‐9f102794d32b                   Address Redacted                      First Class Mail
a42ebb76‐d302‐4617‐a309‐a26398df6ca8                   Address Redacted                      First Class Mail
a4310063‐2b10‐454f‐9fd2‐6ecd72453b8f                   Address Redacted                      First Class Mail
a4322600‐a251‐4ec4‐b6e0‐aeb8de53d074                   Address Redacted                      First Class Mail
a434763e‐241b‐4356‐a4cb‐b6cdba744824                   Address Redacted                      First Class Mail
a434acd5‐93c6‐4236‐b943‐2eb9aefb7990                   Address Redacted                      First Class Mail
a436b468‐a9e2‐46ab‐a292‐766b8087d7bc                   Address Redacted                      First Class Mail
a438135e‐aca9‐4b39‐ac6f‐31c730874b73                   Address Redacted                      First Class Mail
a439fac5‐48e6‐4948‐a33c‐7a88f07fb864                   Address Redacted                      First Class Mail
a43e3e9b‐5dbb‐4e3f‐94d2‐70471d2517bd                   Address Redacted                      First Class Mail
a43e7d6d‐008c‐4588‐9b35‐3323b4bd3984                   Address Redacted                      First Class Mail
a43ea94a‐3396‐4202‐925e‐07de529147a6                   Address Redacted                      First Class Mail
a440656e‐2261‐48be‐bee2‐b42fa6d7f71f                   Address Redacted                      First Class Mail
a4419e52‐855d‐4ea7‐9f64‐6d083eea23be                   Address Redacted                      First Class Mail
a4424f3e‐f9f6‐4314‐b5d0‐ed4c8e0eedb3                   Address Redacted                      First Class Mail
a4487f16‐2401‐42be‐a572‐3d91674c8255                   Address Redacted                      First Class Mail
a449006a‐c354‐4412‐9860‐c7f9aa59b23b                   Address Redacted                      First Class Mail
a44b73ad‐3b32‐42bf‐96a0‐abd2699d1af7                   Address Redacted                      First Class Mail
a459e277‐4a02‐4a5e‐ac5b‐bb9c33ec918a                   Address Redacted                      First Class Mail
a45d6d0f‐3f9d‐4454‐bfaa‐3074a16190bf                   Address Redacted                      First Class Mail
a4614db1‐1b32‐495a‐85e4‐30b54c2ae984                   Address Redacted                      First Class Mail
a461f23c‐d82e‐46d7‐b561‐c854ed8b03ac                   Address Redacted                      First Class Mail
a468ad0e‐d31d‐46ef‐b4bb‐b60e47894bd3                   Address Redacted                      First Class Mail
a468bd97‐4d15‐4902‐8645‐05b840a3c612                   Address Redacted                      First Class Mail
a46a0cdf‐0273‐4575‐8065‐06f25a4f0f17                   Address Redacted                      First Class Mail
a46e10bf‐7cad‐49a2‐9511‐5eb3a700f4ce                   Address Redacted                      First Class Mail
a470b013‐c38d‐44dd‐9101‐a6bcbfa69ec9                   Address Redacted                      First Class Mail
a474fb96‐419a‐4910‐b1cc‐920be73f23e9                   Address Redacted                      First Class Mail
a476faaf‐628a‐43d2‐9677‐021db84e831a                   Address Redacted                      First Class Mail
a47b8d2d‐cb5d‐478b‐b36e‐281840bd889e                   Address Redacted                      First Class Mail
a47bf38f‐c9cc‐4864‐b1f8‐65a4f3f2fc51                   Address Redacted                      First Class Mail
a47dae0f‐349c‐4569‐9ed3‐2e94a59ab436                   Address Redacted                      First Class Mail




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                              Name                                              Address                         Method of Service
a47e584c‐9191‐416b‐b835‐c60ee57dbd7f                   Address Redacted                      First Class Mail
a48a0dab‐9e45‐4578‐90b0‐943da4bcf8a9                   Address Redacted                      First Class Mail
a48e40c9‐e1d4‐4af1‐9137‐4af0b3750464                   Address Redacted                      First Class Mail
a48f3128‐0257‐4f87‐9c06‐6b5817d106a7                   Address Redacted                      First Class Mail
a4905ff9‐21be‐4a80‐81a2‐1dea9ce7b13f                   Address Redacted                      First Class Mail
a4925f0d‐8837‐4f9b‐b51e‐6c404cf38384                   Address Redacted                      First Class Mail
a494447d‐85e5‐453e‐92e7‐fd461080166f                   Address Redacted                      First Class Mail
a4944e57‐0a44‐4256‐b13f‐19a08562a395                   Address Redacted                      First Class Mail
a4952ee9‐2987‐4262‐93a4‐567fb86c4c60                   Address Redacted                      First Class Mail
a4983185‐b362‐4368‐90da‐e6a73da6ecb1                   Address Redacted                      First Class Mail
a49a24b6‐ea2e‐4bc7‐b4b4‐a81f75ebf1a9                   Address Redacted                      First Class Mail
a4a21c46‐d809‐43b8‐a815‐3f4b8bb6343e                   Address Redacted                      First Class Mail
a4a235b7‐fcaa‐49e5‐9d76‐ece5365c02a4                   Address Redacted                      First Class Mail
a4ab9273‐5478‐44fe‐b913‐337de2176404                   Address Redacted                      First Class Mail
a4adf688‐a118‐4e92‐b878‐63bea247226b                   Address Redacted                      First Class Mail
a4b0118a‐178f‐4629‐8550‐461e8a4559a6                   Address Redacted                      First Class Mail
a4b2e6b5‐46c0‐4799‐ab28‐7d64efbf6976                   Address Redacted                      First Class Mail
a4b53e38‐d4fe‐40b9‐9f0c‐cc64f354fbe8                   Address Redacted                      First Class Mail
a4b74a0f‐b6ca‐4a2e‐a953‐c317282fb4cf                   Address Redacted                      First Class Mail
a4b91e4c‐39ce‐49d2‐8e3e‐524c8159b59a                   Address Redacted                      First Class Mail
a4ba80ba‐24b6‐4d0b‐8631‐3d3e18f6bab2                   Address Redacted                      First Class Mail
a4bb398e‐f4a2‐4f1a‐bd43‐a1647624d94a                   Address Redacted                      First Class Mail
a4bdd137‐abfc‐45b9‐a670‐32329b54fbe3                   Address Redacted                      First Class Mail
a4bf56ff‐53d9‐4fdc‐a848‐0d971ec50b79                   Address Redacted                      First Class Mail
a4bf85d5‐598b‐467c‐983b‐075e2d0970d2                   Address Redacted                      First Class Mail
a4c0be87‐ef5e‐493b‐ab1a‐f1382378fef4                   Address Redacted                      First Class Mail
a4c94019‐8a80‐44ba‐b418‐e5b28f3e16c2                   Address Redacted                      First Class Mail
a4cbceca‐64d9‐42c4‐b832‐b921a7fbf899                   Address Redacted                      First Class Mail
a4cff147‐9693‐474f‐a5a0‐85b8c1c402f4                   Address Redacted                      First Class Mail
a4d381c7‐5c74‐4ffe‐8021‐0fad89a7a6f4                   Address Redacted                      First Class Mail
a4d494bd‐24c8‐4235‐b41d‐8a1cb4b7e668                   Address Redacted                      First Class Mail
a4d85108‐0278‐4cee‐ba61‐a5e935bc339e                   Address Redacted                      First Class Mail
a4da4c41‐3bcf‐4575‐987e‐e70d2ba0fef9                   Address Redacted                      First Class Mail
a4dc0151‐18e4‐41b2‐83a9‐acc0b4899403                   Address Redacted                      First Class Mail
a4dc7154‐e202‐44c6‐a956‐bad3ed576094                   Address Redacted                      First Class Mail
a4ddd4c9‐da5f‐4aa8‐96d4‐cafc8babffb8                   Address Redacted                      First Class Mail
a4e232c7‐3ca1‐4995‐ad0c‐a38c65da712b                   Address Redacted                      First Class Mail
a4e3db47‐8b79‐4b0f‐b4f7‐98ae3ffe4a55                   Address Redacted                      First Class Mail
a4ee60f6‐5f33‐413e‐a1ca‐fb5a65a4df8e                   Address Redacted                      First Class Mail
a4efb505‐e3f4‐48eb‐81ee‐bd8741e60a0b                   Address Redacted                      First Class Mail
a4f6278b‐1893‐4f1f‐89fe‐ea080aad2867                   Address Redacted                      First Class Mail
a4f6c93f‐8979‐42da‐9749‐5dc299bca7cd                   Address Redacted                      First Class Mail
a4fc1192‐fbda‐4cbc‐8696‐75477636e6ee                   Address Redacted                      First Class Mail
a4fd0edf‐6929‐4f62‐9a99‐68ad7fc7c3bd                   Address Redacted                      First Class Mail
a4fec96d‐0d83‐4464‐8f12‐624ea4cd3bd9                   Address Redacted                      First Class Mail
a503cbab‐b177‐4d82‐ae79‐21436681faa9                   Address Redacted                      First Class Mail
a509d117‐f62f‐43d8‐8069‐b4bc16b8390b                   Address Redacted                      First Class Mail
a50c64a9‐c440‐4b49‐af38‐1eb07775e4ce                   Address Redacted                      First Class Mail
a5101ef1‐ee12‐4aac‐a302‐d828589c9bea                   Address Redacted                      First Class Mail
a510270f‐cdf0‐4b47‐8475‐f126daeed156                   Address Redacted                      First Class Mail
a514dccf‐65bc‐4c12‐b79c‐a0f3ecff9bf2                   Address Redacted                      First Class Mail
a515c5a4‐f037‐4acd‐b849‐def50c03a8f5                   Address Redacted                      First Class Mail
a5161d93‐92b7‐4be8‐aca1‐3d2129ca3725                   Address Redacted                      First Class Mail
a51674ab‐0187‐4255‐9925‐99e4bac3398b                   Address Redacted                      First Class Mail
a51c6267‐71c5‐4989‐81d8‐5ae93d85eb35                   Address Redacted                      First Class Mail
a51d5ddf‐65b6‐48ce‐bd18‐b527b52d6f5d                   Address Redacted                      First Class Mail
a51eba47‐51b1‐427c‐96e6‐e8f32e4fb7cc                   Address Redacted                      First Class Mail
a520b601‐9358‐4edb‐9c6c‐d05b740bccb8                   Address Redacted                      First Class Mail
a5249857‐1562‐4519‐8ba6‐418cb19b2345                   Address Redacted                      First Class Mail
a5288c5e‐eac5‐4e0e‐9ccc‐1be270b2f592                   Address Redacted                      First Class Mail
a529da09‐c88f‐46f9‐b6dc‐9556ddf2185a                   Address Redacted                      First Class Mail
a52d22e8‐7c39‐4263‐ab44‐ff3ca5c2c617                   Address Redacted                      First Class Mail
a52f3293‐0c55‐4970‐a44f‐db2ab09ed7e7                   Address Redacted                      First Class Mail
a537af78‐fd07‐4395‐ad20‐20bc43ce55f6                   Address Redacted                      First Class Mail
a5387ce8‐2d8b‐404c‐8deb‐ef42c21e3fda                   Address Redacted                      First Class Mail
a5390be0‐7800‐4d58‐8816‐1a25449bb455                   Address Redacted                      First Class Mail
a53bc735‐eb8f‐453d‐a379‐f12bec4674bb                   Address Redacted                      First Class Mail
a540cd18‐ce3e‐445a‐93ed‐109a21349337                   Address Redacted                      First Class Mail
a542ef02‐c579‐4e49‐8691‐357ce4e63943                   Address Redacted                      First Class Mail
a545d087‐69cf‐4167‐bfce‐e135fb513aa8                   Address Redacted                      First Class Mail
a549f334‐09a4‐47d4‐af5c‐9735bd05f54f                   Address Redacted                      First Class Mail
a54aef1b‐b25c‐4281‐b457‐5fe81f9a4174                   Address Redacted                      First Class Mail




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                                                                 Service List


                              Name                                              Address                         Method of Service
a54b2e1d‐3b56‐4d7a‐a962‐691a418df858                   Address Redacted                      First Class Mail
a54b877a‐1363‐4383‐84c5‐49ba01ab6102                   Address Redacted                      First Class Mail
a54c73b5‐4bfd‐4f6b‐835b‐44d8efac3a73                   Address Redacted                      First Class Mail
a54c90a6‐a215‐4449‐a04d‐7e090869bc7b                   Address Redacted                      First Class Mail
a54e0cee‐c865‐448e‐8e48‐48ee57599516                   Address Redacted                      First Class Mail
a54e5f47‐bc43‐4b50‐ae7e‐29b4f51300bf                   Address Redacted                      First Class Mail
a555b104‐e0a4‐4f87‐b05a‐b1170da14f25                   Address Redacted                      First Class Mail
a558b0ef‐5ebb‐47ae‐87c7‐c6bb57117623                   Address Redacted                      First Class Mail
a55c327b‐96bf‐4368‐ab34‐f9b630f023b6                   Address Redacted                      First Class Mail
a563b52d‐cbfd‐4c69‐9cfc‐2803a3217d52                   Address Redacted                      First Class Mail
a565d4ea‐80be‐4c5b‐aef5‐a9470b965004                   Address Redacted                      First Class Mail
a5677b20‐05a5‐48a8‐a1c0‐d78902cd6686                   Address Redacted                      First Class Mail
a56aa9d0‐f910‐4038‐aef2‐1c896cd8ac93                   Address Redacted                      First Class Mail
a56d777e‐9af6‐4aea‐b045‐8c120e459985                   Address Redacted                      First Class Mail
a571af1a‐42c9‐49cb‐9a6c‐f6f60845dbb5                   Address Redacted                      First Class Mail
a575ada1‐eef0‐4625‐94d4‐7a772121502d                   Address Redacted                      First Class Mail
a576494a‐30ce‐47d9‐867e‐bf4ca721eeb3                   Address Redacted                      First Class Mail
a57833cb‐1961‐404c‐a88d‐0e03663e3f6d                   Address Redacted                      First Class Mail
a57855a8‐24eb‐44a1‐8f0b‐7157a335f91c                   Address Redacted                      First Class Mail
a582f5c5‐a063‐49bc‐862d‐ec1400d6cd03                   Address Redacted                      First Class Mail
a584365f‐e907‐463e‐9709‐e4b5cdc452a7                   Address Redacted                      First Class Mail
a586dcd3‐b300‐452f‐80a1‐0242e04ee1fa                   Address Redacted                      First Class Mail
a58795e8‐ae72‐4670‐8d27‐4a3a6468c85b                   Address Redacted                      First Class Mail
a58ec508‐1aaa‐4d6b‐a5a6‐3f2dd6b5ffd6                   Address Redacted                      First Class Mail
a58f6100‐f622‐45e3‐876b‐54c955eca698                   Address Redacted                      First Class Mail
a59607ac‐9051‐4a6c‐837c‐8514a2fad63a                   Address Redacted                      First Class Mail
a597d72e‐60b3‐456c‐9107‐a4617b5fc454                   Address Redacted                      First Class Mail
a5984fdb‐b0fa‐4c62‐884b‐fe9da1e7e737                   Address Redacted                      First Class Mail
a5990f51‐327e‐435a‐a527‐308338113345                   Address Redacted                      First Class Mail
a59988b4‐f784‐4eae‐8b60‐1dff87e5b172                   Address Redacted                      First Class Mail
a59d1fed‐183b‐4dc7‐a793‐75afa46282eb                   Address Redacted                      First Class Mail
a59d99bb‐0ed8‐4fff‐b2f7‐f0c0a2552cda                   Address Redacted                      First Class Mail
a59e5216‐c7ac‐40e7‐8ab5‐33a84aad79bc                   Address Redacted                      First Class Mail
a5a112e6‐69c9‐4bb9‐9d8c‐1e2777f591ed                   Address Redacted                      First Class Mail
a5a8be2e‐2cf2‐444b‐8839‐25b9d82df332                   Address Redacted                      First Class Mail
a5a8dcc1‐d0af‐4013‐b869‐5e897e3d7b0a                   Address Redacted                      First Class Mail
a5af6c97‐2c0e‐4dc1‐8136‐22d8f5f9284e                   Address Redacted                      First Class Mail
a5b025a7‐1047‐493c‐8eb1‐5f6f62b4aab5                   Address Redacted                      First Class Mail
a5b16f1e‐c91c‐4afa‐b8bf‐45f9260236d8                   Address Redacted                      First Class Mail
a5b438cb‐a998‐41a5‐aaf5‐ec6ec9fd668f                   Address Redacted                      First Class Mail
a5b43b13‐1118‐4a21‐989c‐b2ceabae2dbf                   Address Redacted                      First Class Mail
a5b923df‐e9a0‐4d86‐b1fb‐f82dd96e518c                   Address Redacted                      First Class Mail
a5ba1fc7‐072c‐45d8‐a5e4‐47bc0952cc9a                   Address Redacted                      First Class Mail
a5bf881f‐7dd0‐4d73‐afd8‐99dba08de860                   Address Redacted                      First Class Mail
a5bfb83a‐3ad9‐418a‐a8eb‐8d443318dac6                   Address Redacted                      First Class Mail
a5c444bf‐b3ab‐4e39‐9ab4‐01ef89d72dc2                   Address Redacted                      First Class Mail
a5c48d8c‐5e88‐42c7‐b4ae‐ff483ec7bf2d                   Address Redacted                      First Class Mail
a5c74a1f‐b318‐4456‐91a0‐85f49af0c0f8                   Address Redacted                      First Class Mail
a5c768fc‐125e‐4c3c‐910c‐69dc2ebbe415                   Address Redacted                      First Class Mail
a5c8b56c‐a9ae‐435d‐9b3d‐19037d40f33e                   Address Redacted                      First Class Mail
a5c8d01d‐fc53‐4a9b‐a194‐6f1908fc25f1                   Address Redacted                      First Class Mail
a5cdcce3‐ef9f‐4bad‐bb9b‐2dfd35346ed3                   Address Redacted                      First Class Mail
a5d0a28f‐73a7‐4606‐b515‐6e10683bf1b1                   Address Redacted                      First Class Mail
a5d3dc32‐7036‐42ab‐85d8‐c9e1d86cb36d                   Address Redacted                      First Class Mail
a5d4953c‐4c0b‐4ce3‐a9cb‐2e6de5eee6f3                   Address Redacted                      First Class Mail
a5d68aa9‐2df6‐48b0‐bf5a‐bd53b07e5599                   Address Redacted                      First Class Mail
a5d8cde6‐7f13‐4585‐9712‐8e9a40b7850c                   Address Redacted                      First Class Mail
a5ddc56b‐d559‐4a8e‐80c1‐5e78e9f9d82d                   Address Redacted                      First Class Mail
a5ddedd1‐1051‐435d‐ace8‐078d1553c981                   Address Redacted                      First Class Mail
a5dfa559‐70a6‐43c4‐9b29‐107cf73cd6ef                   Address Redacted                      First Class Mail
a5e0d607‐a14d‐4f7d‐b3bc‐3d4e689b8b32                   Address Redacted                      First Class Mail
a5e68088‐6f41‐409d‐8334‐c0510c1eab3e                   Address Redacted                      First Class Mail
a5eb93be‐b856‐4ecd‐8b16‐025f0824c13e                   Address Redacted                      First Class Mail
a5ed5497‐4c4e‐4e1e‐8341‐b26bc269638b                   Address Redacted                      First Class Mail
a5ed8ca6‐f6a1‐498c‐aa3a‐95db0e6d7379                   Address Redacted                      First Class Mail
a5ee84f3‐8628‐48e1‐8983‐89fb1352a44e                   Address Redacted                      First Class Mail
a5f29a6d‐b5cd‐4ffb‐9484‐304c28e67691                   Address Redacted                      First Class Mail
a5f7c0c5‐64e3‐44e9‐ba89‐c6bea9123d12                   Address Redacted                      First Class Mail
a5fa2ba8‐b272‐435a‐b890‐d3c29a8a75f0                   Address Redacted                      First Class Mail
a5fe49ff‐bf83‐4276‐879b‐b3d6b895c17f                   Address Redacted                      First Class Mail
a5fed709‐d965‐4a5e‐8fa8‐9f04a5c0cd49                   Address Redacted                      First Class Mail
a60024ab‐66fe‐4276‐bfd2‐b722cefd411b                   Address Redacted                      First Class Mail




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                                                                Exhibit A
                                                                 Service List


                              Name                                              Address                         Method of Service
a600a004‐c3f7‐4e55‐9045‐bc43ab21c9b3                   Address Redacted                      First Class Mail
a6037fa2‐77e0‐4b95‐9b63‐5c6a6638ce72                   Address Redacted                      First Class Mail
a60ad437‐b08a‐4f1c‐add1‐b79332e92916                   Address Redacted                      First Class Mail
a6153065‐e43f‐4ed7‐b642‐04b30fdd5b3f                   Address Redacted                      First Class Mail
a618f1d5‐ca5d‐405d‐8210‐18d04f5c9e50                   Address Redacted                      First Class Mail
a61914d3‐20a0‐4800‐9274‐9613e2eac7d5                   Address Redacted                      First Class Mail
a61b2ee1‐6800‐410e‐a40b‐0f5f2dc0fd23                   Address Redacted                      First Class Mail
a61b623e‐e1a3‐45c1‐8755‐19de2cb7f2b7                   Address Redacted                      First Class Mail
a61cf488‐5a10‐4687‐9a5f‐6e102427cb3f                   Address Redacted                      First Class Mail
a61d4f14‐ce0d‐41ed‐9f36‐5b2cb1c4eb22                   Address Redacted                      First Class Mail
a61ef409‐b3e1‐4260‐accd‐09db4f1534f5                   Address Redacted                      First Class Mail
a6203988‐7c46‐4885‐b8d6‐75a6d214766a                   Address Redacted                      First Class Mail
a6213999‐6d0f‐49b2‐a432‐a6d6e3517d8e                   Address Redacted                      First Class Mail
a6230b58‐3d63‐423d‐b836‐c9bf164b1bd7                   Address Redacted                      First Class Mail
a62385a7‐1624‐4e5b‐83d5‐33c44a579b55                   Address Redacted                      First Class Mail
a6255293‐6b57‐402e‐a4fd‐4333a00b0016                   Address Redacted                      First Class Mail
a62554b0‐84b1‐4607‐b01c‐1ee20950cc75                   Address Redacted                      First Class Mail
a6263c50‐8520‐455c‐b24e‐7891f0b919d9                   Address Redacted                      First Class Mail
a62a0ed6‐e358‐4dee‐bd1c‐4643c9cb81f4                   Address Redacted                      First Class Mail
a62a4d8d‐5ead‐4af8‐a520‐9531e779c0b0                   Address Redacted                      First Class Mail
a62bf530‐5e2a‐49fe‐92ac‐c59e9833f71e                   Address Redacted                      First Class Mail
a62d4ef9‐915e‐4e98‐95d9‐608485c67b89                   Address Redacted                      First Class Mail
a633df85‐6f8f‐4216‐bfe6‐0323273fd612                   Address Redacted                      First Class Mail
a634536c‐5db8‐4718‐a1de‐635fa41f7df9                   Address Redacted                      First Class Mail
a63ff1e0‐f571‐4ec3‐afe6‐497a7b40f1a2                   Address Redacted                      First Class Mail
a6404b59‐16db‐4b4b‐8d2d‐919bb2db23ca                   Address Redacted                      First Class Mail
a641a7be‐9fa3‐4dd0‐9cde‐e44087ed04c4                   Address Redacted                      First Class Mail
a641c17c‐eeea‐48ef‐9e27‐e6ff18df2fd8                   Address Redacted                      First Class Mail
a64479fb‐ccf2‐40cd‐9f6c‐b1adc3788943                   Address Redacted                      First Class Mail
a644993a‐6297‐4231‐b373‐52fc65a53a64                   Address Redacted                      First Class Mail
a644b7a8‐64d8‐4214‐83a5‐e6c21027c979                   Address Redacted                      First Class Mail
a644be32‐83b0‐4d6b‐807c‐8a530c4affd9                   Address Redacted                      First Class Mail
a6456e1b‐4fe0‐4f0c‐9f4a‐2ddf9e89a82c                   Address Redacted                      First Class Mail
a64897e4‐afa0‐4b9a‐a14e‐4b98765275f2                   Address Redacted                      First Class Mail
a6548994‐5340‐422b‐8a5c‐bb150f0043c1                   Address Redacted                      First Class Mail
a6554e99‐9f14‐446b‐b2fe‐0294a706ae6d                   Address Redacted                      First Class Mail
a6555e9c‐1a6b‐443b‐bd69‐54738f483d9f                   Address Redacted                      First Class Mail
a655d9c7‐c2ca‐4604‐958a‐e9f4ce7e69e6                   Address Redacted                      First Class Mail
a656e1a4‐57af‐47ef‐a624‐6f51e1b87a83                   Address Redacted                      First Class Mail
a65c2d5e‐dd54‐4ee8‐96e2‐b76b94279d42                   Address Redacted                      First Class Mail
a65f8431‐df6f‐4d28‐b0b9‐c2041d395596                   Address Redacted                      First Class Mail
a6610850‐2b4e‐4238‐ac92‐44d3df52f1b9                   Address Redacted                      First Class Mail
a6669d7e‐8e3a‐46a9‐a6c9‐28d6598c4549                   Address Redacted                      First Class Mail
a66a9d40‐1d9f‐492c‐ba0a‐d73732c3b18c                   Address Redacted                      First Class Mail
a66e96f0‐8223‐4f98‐9e89‐72accba71c88                   Address Redacted                      First Class Mail
a66eaf8f‐a781‐4ecc‐96cd‐c51d6c5e64ff                   Address Redacted                      First Class Mail
a673c794‐d1e1‐4d65‐8b0f‐a120185b4e18                   Address Redacted                      First Class Mail
a6784cb5‐518f‐4cae‐9676‐4dcfb7b385a8                   Address Redacted                      First Class Mail
a679961f‐b2ed‐4a02‐bdc4‐68aef08b2ba2                   Address Redacted                      First Class Mail
a67b3549‐b7a7‐4321‐bf14‐948f60babbfa                   Address Redacted                      First Class Mail
a67cfc06‐5b4a‐418d‐bed5‐ac0abda48040                   Address Redacted                      First Class Mail
a67f36d4‐aec8‐4d7a‐9de7‐4f3d882b73ee                   Address Redacted                      First Class Mail
a68828a7‐0a25‐477a‐8ba5‐13dd6541359a                   Address Redacted                      First Class Mail
a688dab0‐198f‐43d3‐8b2a‐248bbe2fc3bd                   Address Redacted                      First Class Mail
a68ab66d‐d333‐463a‐8ac3‐121363c0e340                   Address Redacted                      First Class Mail
a68bb53d‐0461‐48b0‐be31‐36aa94f1224f                   Address Redacted                      First Class Mail
a68bfdb3‐9801‐4d49‐9a8f‐252e099bf2ed                   Address Redacted                      First Class Mail
a68f4ef2‐c003‐441e‐802d‐f15bbc86bb5e                   Address Redacted                      First Class Mail
a691a667‐b210‐421e‐8253‐ec0408757a32                   Address Redacted                      First Class Mail
a6961917‐808c‐4168‐a39f‐20c4e967e680                   Address Redacted                      First Class Mail
a698e7b2‐67f0‐4478‐9a9f‐ef92bc5628c2                   Address Redacted                      First Class Mail
a69a171e‐8c9e‐43d6‐8a2e‐44c7f91217ff                   Address Redacted                      First Class Mail
a69e1205‐710d‐4d0d‐8fc4‐108a844f3444                   Address Redacted                      First Class Mail
a69f86c5‐7f73‐42ce‐b033‐cf2cdc60ead7                   Address Redacted                      First Class Mail
a6a20005‐7801‐41ad‐8cf7‐d93063a6d372                   Address Redacted                      First Class Mail
a6a6277a‐51ea‐416c‐8e07‐401f1e71478c                   Address Redacted                      First Class Mail
a6a687ff‐0a9a‐43ff‐a243‐2362a02bc225                   Address Redacted                      First Class Mail
a6aea8ec‐cc19‐4993‐a6ba‐6dc43237c2c0                   Address Redacted                      First Class Mail
a6af1713‐5ab5‐4be3‐b1fd‐aa05fa5597c1                   Address Redacted                      First Class Mail
a6af3167‐0d60‐4d6e‐bccd‐a56ad4caa162                   Address Redacted                      First Class Mail
a6b1121b‐c420‐4441‐9823‐f825bced4ae4                   Address Redacted                      First Class Mail
a6ba68be‐e1fd‐482f‐958d‐9091795eb1e7                   Address Redacted                      First Class Mail




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                                                                 Service List


                              Name                                              Address                         Method of Service
a6ba86ce‐0a4c‐432f‐8a1a‐ea067071a86c                   Address Redacted                      First Class Mail
a6bca370‐1a7d‐4e72‐8151‐03d0b7c6ded1                   Address Redacted                      First Class Mail
a6c329eb‐8211‐4ba8‐8641‐d774cc5f75ff                   Address Redacted                      First Class Mail
a6c480e8‐2ee8‐4ec9‐8cfa‐65d4ae855a75                   Address Redacted                      First Class Mail
a6c4b575‐1acd‐4399‐928b‐5000b9bfb5b2                   Address Redacted                      First Class Mail
a6c6a288‐1a65‐4a33‐bfd2‐645c816a009e                   Address Redacted                      First Class Mail
a6c777db‐70b1‐46eb‐9f92‐d574f25ae3b6                   Address Redacted                      First Class Mail
a6c80a5f‐5509‐4e1b‐8df9‐d865e736eca7                   Address Redacted                      First Class Mail
a6c8bfd1‐692a‐4eb7‐af76‐fe4087328275                   Address Redacted                      First Class Mail
a6cdad1b‐d16e‐4988‐9fd5‐5e702c9c65d3                   Address Redacted                      First Class Mail
a6d3a0c6‐0eee‐4eb0‐b14f‐6ed4dc4148fa                   Address Redacted                      First Class Mail
a6d4367e‐b5d1‐4452‐9481‐b711602b039b                   Address Redacted                      First Class Mail
a6d65cdc‐2c06‐467b‐b7ef‐5b8198a79e6a                   Address Redacted                      First Class Mail
a6d7f2ee‐70cc‐444c‐9b35‐4d0b72669486                   Address Redacted                      First Class Mail
a6d98b25‐d592‐4f32‐9815‐df10ed8d98d0                   Address Redacted                      First Class Mail
a6da465e‐1b1a‐4639‐9048‐20dfd32c1da0                   Address Redacted                      First Class Mail
a6dcd8d5‐adea‐486c‐87f8‐b5a0268fbe56                   Address Redacted                      First Class Mail
a6dec831‐c186‐4506‐90bc‐90b51f9c293e                   Address Redacted                      First Class Mail
a6e3b09d‐2f05‐4c03‐82e2‐998390d30849                   Address Redacted                      First Class Mail
a6e73316‐456a‐4307‐aa95‐9ad2cc1d90a9                   Address Redacted                      First Class Mail
a6eb8025‐6cbc‐4482‐a66a‐4118fc7b78aa                   Address Redacted                      First Class Mail
a6ecbbd1‐8bd3‐4700‐809d‐c1b3c71fa5ea                   Address Redacted                      First Class Mail
a6f34955‐1d82‐44f7‐bd49‐1f3c4764bf9b                   Address Redacted                      First Class Mail
a6f3a64b‐e694‐41d8‐80c4‐d73130930454                   Address Redacted                      First Class Mail
a6f82c13‐0195‐4095‐a395‐a5e033f5f2db                   Address Redacted                      First Class Mail
a6fc1988‐71a5‐4333‐b4a4‐013a0f48289b                   Address Redacted                      First Class Mail
a6fd1837‐71b7‐48df‐8617‐7bcbecb75a69                   Address Redacted                      First Class Mail
a6fd9f58‐113e‐427c‐a689‐86108f36bc45                   Address Redacted                      First Class Mail
a700c570‐7a8e‐4312‐9102‐9baeb8a5e85d                   Address Redacted                      First Class Mail
a700de8b‐df42‐4071‐ac0c‐42d02837f8a2                   Address Redacted                      First Class Mail
a7029624‐f217‐49cb‐bb95‐499da47c1d3d                   Address Redacted                      First Class Mail
a70865c5‐e1ca‐4962‐988b‐1a1bf1fbca12                   Address Redacted                      First Class Mail
a709ce0b‐08a7‐4291‐af4d‐7ef4a9c6f9ee                   Address Redacted                      First Class Mail
a709ff6d‐424d‐435d‐b127‐3ffcfed173e5                   Address Redacted                      First Class Mail
a70a7c0e‐6d7a‐4cf8‐9256‐efd9d2235a43                   Address Redacted                      First Class Mail
a70ca3ca‐a758‐4cca‐9395‐35acf43283cc                   Address Redacted                      First Class Mail
a71217fc‐6425‐4cb3‐be09‐011cf13ebd0b                   Address Redacted                      First Class Mail
a7138293‐5005‐47e7‐a293‐1c106fcb6066                   Address Redacted                      First Class Mail
a718225f‐469a‐4c38‐b650‐3bbaba2365a5                   Address Redacted                      First Class Mail
a718cab8‐2f6e‐4c8e‐aac0‐f8a68486a453                   Address Redacted                      First Class Mail
a71a5e1e‐4ebd‐43b0‐881b‐c079dab0e7c4                   Address Redacted                      First Class Mail
a7233298‐be34‐4cc1‐883a‐e7980b322e0c                   Address Redacted                      First Class Mail
a72385f3‐b367‐45ea‐84ac‐1440959873e5                   Address Redacted                      First Class Mail
a72732fc‐ad0f‐4da3‐bde6‐07ddbfac94f8                   Address Redacted                      First Class Mail
a72a8e52‐d070‐4e34‐91d6‐63f6beb2ddf8                   Address Redacted                      First Class Mail
a72bbc94‐b925‐4502‐b192‐7fedc3f93120                   Address Redacted                      First Class Mail
a72c5067‐3bc9‐4879‐8dce‐e227f6b694c0                   Address Redacted                      First Class Mail
a72feec2‐b727‐4c7c‐8f9b‐c8d8616b1c28                   Address Redacted                      First Class Mail
a73531be‐7418‐41fd‐9cca‐7dda049ce360                   Address Redacted                      First Class Mail
a737422b‐e4ae‐4bb4‐8663‐deb1e1f4b713                   Address Redacted                      First Class Mail
a73b8989‐b370‐4486‐8442‐c913f1981c54                   Address Redacted                      First Class Mail
a73e39ea‐5048‐425c‐aa31‐8378fc89d68a                   Address Redacted                      First Class Mail
a73fc3bd‐e08c‐4930‐8af1‐3311579e7e49                   Address Redacted                      First Class Mail
a7417749‐4c0f‐4cdd‐9e5d‐9136cda14b64                   Address Redacted                      First Class Mail
a742208e‐ccec‐44a3‐acf4‐b1e64f1dea5a                   Address Redacted                      First Class Mail
a745d485‐62cb‐48da‐a46b‐124b313a20af                   Address Redacted                      First Class Mail
a7464f0f‐4351‐407d‐96f9‐ef731d01e8d3                   Address Redacted                      First Class Mail
a7466e71‐ca06‐42d0‐bfe9‐1421ec574a18                   Address Redacted                      First Class Mail
a748d4d3‐df93‐422d‐9e1b‐d1cfcbcd261f                   Address Redacted                      First Class Mail
a74af599‐1f67‐4b65‐b302‐637025619246                   Address Redacted                      First Class Mail
a74c6c2c‐0176‐47d0‐9f76‐21e068e23c27                   Address Redacted                      First Class Mail
a74d0785‐ee72‐4dc3‐a9bf‐8bb7ae7ffe91                   Address Redacted                      First Class Mail
a74dc993‐7af1‐4318‐8fd0‐f7d8b4073954                   Address Redacted                      First Class Mail
a74fc9bc‐d558‐4feb‐8bc1‐fa5575f5b0d6                   Address Redacted                      First Class Mail
a7507a01‐d67d‐4790‐b052‐3626d0e3b6be                   Address Redacted                      First Class Mail
a75709a2‐856d‐4306‐bea6‐8b3fa9744740                   Address Redacted                      First Class Mail
a7599f9f‐c18d‐4639‐8fed‐6a2fe81a9450                   Address Redacted                      First Class Mail
a75b700f‐d8bc‐4702‐9e0e‐9d29adc682f9                   Address Redacted                      First Class Mail
a75fc0af‐35b9‐4617‐afd8‐dfa2e478d68d                   Address Redacted                      First Class Mail
a76cc9da‐cd6c‐441b‐bf12‐168268300b0f                   Address Redacted                      First Class Mail
a77184df‐4eaf‐46f8‐8b91‐4848a6b77199                   Address Redacted                      First Class Mail
a7734632‐4316‐4741‐bf8e‐59b4091b2614                   Address Redacted                      First Class Mail




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                                                                 Service List


                              Name                                              Address                         Method of Service
a773a97a‐a9ac‐4058‐824e‐3c9023175596                   Address Redacted                      First Class Mail
a774382b‐a6af‐4cb3‐a180‐ed0f88c9f34f                   Address Redacted                      First Class Mail
a775a851‐7fcd‐4f5a‐9925‐6ed3c1ee7b3e                   Address Redacted                      First Class Mail
a77777d9‐2f3b‐4036‐a943‐0049c062d777                   Address Redacted                      First Class Mail
a77b9c1f‐e13f‐401b‐aedd‐5f1896616c75                   Address Redacted                      First Class Mail
a77c260a‐5c1c‐4e55‐a091‐566c0b030171                   Address Redacted                      First Class Mail
a77c2b11‐9ef8‐479c‐85b4‐dcc5cbb79106                   Address Redacted                      First Class Mail
a77d36f1‐a9fa‐47a0‐b420‐fe7141c68d61                   Address Redacted                      First Class Mail
a781a7c5‐ca24‐4c8c‐9725‐c884d05f0bd9                   Address Redacted                      First Class Mail
a78366f8‐eb7b‐48d9‐967a‐ddd73d683aba                   Address Redacted                      First Class Mail
a7892b11‐5b77‐4953‐94cd‐2f2a0b41da7d                   Address Redacted                      First Class Mail
a78ae308‐5621‐4474‐baf1‐6551ccdb195a                   Address Redacted                      First Class Mail
a791ac7b‐141f‐40a2‐88be‐455bde957f30                   Address Redacted                      First Class Mail
a795b524‐4443‐45c1‐a041‐5ac31bd5b7a7                   Address Redacted                      First Class Mail
a796c3c1‐382c‐4963‐a38e‐4ad303c18c72                   Address Redacted                      First Class Mail
a797f4ea‐4218‐47d8‐9d20‐478e48287859                   Address Redacted                      First Class Mail
a798a801‐7502‐4faf‐917b‐4f01132bf653                   Address Redacted                      First Class Mail
a798c2e0‐4d8b‐46d9‐92d2‐8b14f224bdec                   Address Redacted                      First Class Mail
a799b730‐013f‐4671‐bc1d‐808efd2db01e                   Address Redacted                      First Class Mail
a79bbb2e‐a617‐480d‐802d‐899cbe973a31                   Address Redacted                      First Class Mail
a79cea05‐f033‐4993‐b4dc‐f5fdb41fa022                   Address Redacted                      First Class Mail
a79f509b‐d41d‐42b3‐a620‐1280e13fa96d                   Address Redacted                      First Class Mail
a79fb237‐370f‐440a‐8694‐a693a602a73c                   Address Redacted                      First Class Mail
a7a13515‐1f7c‐4040‐881a‐5e79e9aaa936                   Address Redacted                      First Class Mail
a7a2a818‐cb29‐48c7‐8de1‐2c74f2fb2c26                   Address Redacted                      First Class Mail
a7a4082c‐5fd9‐4bad‐b0fb‐4c53ed587abb                   Address Redacted                      First Class Mail
a7a5aed1‐6c08‐4e16‐9bb5‐b35eab17df97                   Address Redacted                      First Class Mail
a7a95358‐42a2‐4875‐89ec‐09c64ff17193                   Address Redacted                      First Class Mail
a7a95485‐a429‐4f63‐a239‐9470f7034cab                   Address Redacted                      First Class Mail
a7abc882‐af81‐46cf‐9441‐bef4d41cada9                   Address Redacted                      First Class Mail
a7af1f81‐3d95‐427c‐adb2‐36b4ab174adc                   Address Redacted                      First Class Mail
a7b03aca‐2bbb‐406b‐939f‐887a0ac6e42f                   Address Redacted                      First Class Mail
a7b2320e‐58f0‐43d3‐9e97‐2a5864506cec                   Address Redacted                      First Class Mail
a7b6b1d6‐da4d‐4a60‐a8ff‐5859ec1af749                   Address Redacted                      First Class Mail
a7ba1f64‐06e9‐442c‐825a‐6578cfde7d5f                   Address Redacted                      First Class Mail
a7bc7549‐268a‐4247‐9d8f‐d528ab5f5dc2                   Address Redacted                      First Class Mail
a7bcef25‐d0a2‐428b‐8d89‐f3e53ac37596                   Address Redacted                      First Class Mail
a7c1e7c6‐9d8c‐43a6‐a590‐60059d6b51e1                   Address Redacted                      First Class Mail
a7c48552‐e169‐4833‐b448‐d4478368a9ce                   Address Redacted                      First Class Mail
a7c7eb34‐4992‐41bb‐8936‐2d2bcf3b975c                   Address Redacted                      First Class Mail
a7cebc0d‐2595‐4dd7‐8a04‐84cddb35a287                   Address Redacted                      First Class Mail
a7d0b99e‐550f‐4182‐a428‐8f282da3b2c6                   Address Redacted                      First Class Mail
a7d16585‐617e‐4cfa‐b465‐5e81105936d8                   Address Redacted                      First Class Mail
a7d32f45‐d8f9‐459f‐9796‐6f7b844b1ca8                   Address Redacted                      First Class Mail
a7d4e258‐57cc‐45c2‐aadb‐6bbc5ecbe4ae                   Address Redacted                      First Class Mail
a7d750da‐b5f0‐4d18‐9105‐5f8311f94fe9                   Address Redacted                      First Class Mail
a7d8f257‐73c4‐4a8a‐8ed6‐d22c6126c090                   Address Redacted                      First Class Mail
a7dc5609‐00bd‐4a88‐bc6c‐e7b4b446d40f                   Address Redacted                      First Class Mail
a7e3af7c‐8f55‐4f2a‐8d61‐82b0df04a8d4                   Address Redacted                      First Class Mail
a7e605df‐7d26‐46a9‐a5f8‐59e6e87c84ee                   Address Redacted                      First Class Mail
a7e64610‐35a5‐4442‐9737‐ff098a75ccca                   Address Redacted                      First Class Mail
a7ed81b9‐1ee2‐4569‐9263‐0ff28ee3255f                   Address Redacted                      First Class Mail
a7f0a6e2‐4944‐4e6c‐9a55‐22c67b69e954                   Address Redacted                      First Class Mail
a7f10667‐2083‐4981‐b72b‐63ba7659bf2c                   Address Redacted                      First Class Mail
a7f49527‐44f5‐4404‐b7e7‐736b02298d96                   Address Redacted                      First Class Mail
a7f7968e‐84b6‐4a4f‐8ee6‐58a711bd0838                   Address Redacted                      First Class Mail
a7fc6031‐a49e‐48ff‐bc27‐52fbcadda800                   Address Redacted                      First Class Mail
a7fe08cf‐8a0e‐4f6c‐8cd9‐3e5782f179a0                   Address Redacted                      First Class Mail
a7fee363‐deee‐402b‐8087‐1979abd94e5b                   Address Redacted                      First Class Mail
a805b9cc‐1d3a‐43c6‐b8b8‐5203dad0d2c3                   Address Redacted                      First Class Mail
a80c7dbd‐cd01‐4961‐8166‐8b6f52a3c7e8                   Address Redacted                      First Class Mail
a80de7f1‐167b‐4f77‐b939‐2fcfb9b0745a                   Address Redacted                      First Class Mail
a80e70ff‐efd3‐4514‐9f56‐a8e008f10cb7                   Address Redacted                      First Class Mail
a812c987‐e7bd‐4aa5‐9538‐dede059c0528                   Address Redacted                      First Class Mail
a8139c4d‐b61a‐4f19‐bd99‐a97b4c319c57                   Address Redacted                      First Class Mail
a8162603‐7eda‐4a47‐9461‐0947747a25c5                   Address Redacted                      First Class Mail
a81d82f4‐1c42‐4194‐bb2f‐37e47c7c6383                   Address Redacted                      First Class Mail
a81f18d6‐28b8‐4796‐a425‐1736e1d08145                   Address Redacted                      First Class Mail
a8226495‐eb35‐44ba‐bc63‐f26a039056d2                   Address Redacted                      First Class Mail
a825be55‐a426‐407f‐8d79‐be800f91494a                   Address Redacted                      First Class Mail
a82669ca‐8bce‐42a0‐9277‐3bf9e9e7f632                   Address Redacted                      First Class Mail
a827cdff‐7285‐48fe‐afe5‐5db4e943815d                   Address Redacted                      First Class Mail




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                                                                Exhibit A
                                                                 Service List


                              Name                                              Address                         Method of Service
a829773d‐6c7b‐4997‐b75b‐cb4c5929ac26                   Address Redacted                      First Class Mail
a82c3a63‐8a2f‐46f1‐99ba‐aadcf735d0d1                   Address Redacted                      First Class Mail
a82f6f14‐0c48‐4211‐a313‐addffeab5d76                   Address Redacted                      First Class Mail
a830c39c‐400e‐4b08‐83e6‐479393701574                   Address Redacted                      First Class Mail
a8354814‐a7d0‐4815‐9ad9‐5ca0fb0e661d                   Address Redacted                      First Class Mail
a835b05c‐fce0‐4a90‐88ad‐67651f91cc22                   Address Redacted                      First Class Mail
a8361826‐3238‐4fe2‐915f‐71da47bc1f99                   Address Redacted                      First Class Mail
a837903e‐2f51‐43b8‐972f‐3159173870be                   Address Redacted                      First Class Mail
a83b599f‐b85e‐4196‐b5b9‐044337c1e81f                   Address Redacted                      First Class Mail
a83fa00a‐db33‐4071‐a00b‐ecc7b0a76ca4                   Address Redacted                      First Class Mail
a8429d75‐d777‐4adf‐b773‐436659ca1c4c                   Address Redacted                      First Class Mail
a84bddec‐f71a‐41d8‐b55b‐e8c2f6809fd6                   Address Redacted                      First Class Mail
a84c2466‐fc2f‐44d2‐86e7‐8044a14dec40                   Address Redacted                      First Class Mail
a85607e8‐916e‐435c‐bf85‐3fe67f4a7ef5                   Address Redacted                      First Class Mail
a857da55‐06b3‐451f‐89e5‐b4dc9b9a7576                   Address Redacted                      First Class Mail
a85b406f‐5622‐40da‐b45e‐fb15ce762b63                   Address Redacted                      First Class Mail
a86104dc‐e173‐4b29‐bb9f‐4a683872b836                   Address Redacted                      First Class Mail
a8628075‐18bf‐46d6‐b02f‐9a4bca269e4d                   Address Redacted                      First Class Mail
a863d177‐75cd‐41a9‐bcc0‐49b5a4615037                   Address Redacted                      First Class Mail
a8659573‐75a6‐4982‐bec3‐4b8ea1cb908b                   Address Redacted                      First Class Mail
a865dcf3‐7243‐46e3‐966a‐9fc66f89487e                   Address Redacted                      First Class Mail
a869e635‐5443‐4ff3‐b80a‐a4cb101e3250                   Address Redacted                      First Class Mail
a86ac5ee‐7a3d‐472c‐b214‐8a4996afa32c                   Address Redacted                      First Class Mail
a86b576b‐d151‐4fbe‐aad7‐c4350a0cadd1                   Address Redacted                      First Class Mail
a86cb59e‐0e7e‐4cf7‐9102‐13635e65a734                   Address Redacted                      First Class Mail
a86d7ce1‐bad6‐486b‐bc2e‐dc7432ece068                   Address Redacted                      First Class Mail
a86ddacc‐5940‐4df3‐be08‐1ec1dc4a4715                   Address Redacted                      First Class Mail
a871def4‐b9d5‐4f86‐830e‐fcd8e93db7ff                   Address Redacted                      First Class Mail
a871f0b6‐745b‐484d‐8d3c‐00bd736d654d                   Address Redacted                      First Class Mail
a8746c12‐fe0f‐42e0‐ba5e‐063e485d31d0                   Address Redacted                      First Class Mail
a874a133‐2729‐4a95‐b3b8‐68dc223c18d3                   Address Redacted                      First Class Mail
a8762d91‐cd42‐4338‐95ce‐f20604b497e5                   Address Redacted                      First Class Mail
a87887ed‐34a6‐41ac‐b310‐9998abf96f71                   Address Redacted                      First Class Mail
a87bb514‐290a‐4306‐af06‐80ecf5da10c1                   Address Redacted                      First Class Mail
a87c6c72‐89c9‐483e‐a505‐300bc2cf490a                   Address Redacted                      First Class Mail
a87db7f9‐d083‐459d‐9197‐9445c590acdb                   Address Redacted                      First Class Mail
a87ea331‐5ee9‐4398‐8350‐ae9a33c48374                   Address Redacted                      First Class Mail
a8807e2d‐5914‐40bc‐9fe0‐3f6e8bc49084                   Address Redacted                      First Class Mail
a881cbf7‐4e80‐4963‐a44c‐11adbc9f3ea5                   Address Redacted                      First Class Mail
a8898082‐d4a8‐4f8b‐bf84‐fa997bfce3aa                   Address Redacted                      First Class Mail
a88e4d56‐c9bc‐451f‐ab77‐4fc176b4e60c                   Address Redacted                      First Class Mail
a892b5d4‐9137‐42a6‐8c5b‐3a4d0bd863b0                   Address Redacted                      First Class Mail
a8973404‐a459‐40e7‐b146‐9256773cd56e                   Address Redacted                      First Class Mail
a89c820d‐0f48‐49c3‐b6a3‐ea117cbda6d2                   Address Redacted                      First Class Mail
a89efc3e‐890b‐4eae‐bc58‐ec7cb177f7c0                   Address Redacted                      First Class Mail
a8a11b39‐621a‐4ef6‐9c00‐ef51a4b2aa17                   Address Redacted                      First Class Mail
a8a13dfd‐4ef7‐473d‐87f5‐8cd4723ef215                   Address Redacted                      First Class Mail
a8a39411‐4345‐46f0‐b8ed‐81f0f11e2bfb                   Address Redacted                      First Class Mail
a8a3ef6e‐ddb0‐49c7‐991c‐4d2a5cf10b1f                   Address Redacted                      First Class Mail
a8a811f7‐d494‐4199‐8919‐13ba15f168d6                   Address Redacted                      First Class Mail
a8a980ea‐65c5‐4dc0‐bb24‐3a5a2d1c44ff                   Address Redacted                      First Class Mail
a8aee681‐5d55‐4d5c‐8748‐8fa8b2379c45                   Address Redacted                      First Class Mail
a8b3cd92‐fc6f‐428e‐ba8c‐b021c379e247                   Address Redacted                      First Class Mail
a8b5d1bf‐b690‐4bb2‐a522‐53e7b6f22a47                   Address Redacted                      First Class Mail
a8b65e54‐6fc4‐426d‐8d57‐922e07e17c0c                   Address Redacted                      First Class Mail
a8b96cb4‐9d96‐4f03‐844f‐5523f195d0f3                   Address Redacted                      First Class Mail
a8bcfa55‐9dd6‐47b4‐a52b‐1ef37d7153f4                   Address Redacted                      First Class Mail
a8c84769‐8b5e‐4f05‐bc18‐bf66c42057a8                   Address Redacted                      First Class Mail
a8c93cd6‐b90c‐420d‐b0da‐13437a375e0e                   Address Redacted                      First Class Mail
a8ca3703‐8dcf‐4404‐9727‐2ae3f6838756                   Address Redacted                      First Class Mail
a8cb311e‐7438‐49c8‐8796‐a3c5ce355d11                   Address Redacted                      First Class Mail
a8cc4510‐f726‐4561‐95b7‐ad14a5ef4d21                   Address Redacted                      First Class Mail
a8cd6fdf‐ca05‐490d‐8a8e‐6915280b2c3c                   Address Redacted                      First Class Mail
a8ce0126‐3632‐4f76‐8ba8‐d7dcc12011fe                   Address Redacted                      First Class Mail
a8d2019b‐4fcc‐47ba‐bf6c‐c529a2663e7a                   Address Redacted                      First Class Mail
a8de2f17‐20fe‐4766‐947b‐31f3605ca253                   Address Redacted                      First Class Mail
a8de74ec‐f1fc‐4bc7‐b683‐3d5856ce0c95                   Address Redacted                      First Class Mail
a8e0e46c‐6541‐4314‐8026‐6ed5e53a989b                   Address Redacted                      First Class Mail
a8e687d5‐76e3‐485f‐be15‐bfb1f224b65a                   Address Redacted                      First Class Mail
a8e8cbaf‐4ab4‐49f4‐b750‐bab0aeb8321c                   Address Redacted                      First Class Mail
a8eb611d‐5e68‐4eef‐9ddc‐b5fb6e06e32f                   Address Redacted                      First Class Mail
a8ec4308‐869c‐460f‐869f‐fb88a6a518ee                   Address Redacted                      First Class Mail




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                                                                 Service List


                               Name                                             Address                         Method of Service
a8ec73c8‐5f0f‐4409‐a568‐82219724a692                   Address Redacted                      First Class Mail
a8f1f5e0‐9b2a‐4361‐a8bc‐4293a0d6969d                   Address Redacted                      First Class Mail
a8f47aa7‐3ae1‐4f41‐8789‐2d5dc7b2c90e                   Address Redacted                      First Class Mail
a8f4cdec‐44a1‐4724‐8796‐aa1698a6ce6f                   Address Redacted                      First Class Mail
a8f6418d‐3084‐46f9‐9c4f‐e1de75ca0b1d                   Address Redacted                      First Class Mail
a8f72f8b‐cc57‐408c‐b971‐f34596b75f2b                   Address Redacted                      First Class Mail
a8f9160c‐db5f‐4d6d‐9197‐59dea184e2a2                   Address Redacted                      First Class Mail
a8f9daed‐8c03‐40d5‐bb6f‐6784cd7dce95                   Address Redacted                      First Class Mail
a904a9e9‐6900‐4ea2‐a184‐ba207d495ae0                   Address Redacted                      First Class Mail
a907415a‐a87f‐4abd‐b66f‐b8b43ca11ea9                   Address Redacted                      First Class Mail
a9077a5d‐8663‐486c‐8a56‐2fca13d692fb                   Address Redacted                      First Class Mail
a908a3e7‐8d74‐4ca3‐9c27‐f711f7d38fbb                   Address Redacted                      First Class Mail
a908c34d‐fc73‐4f13‐856c‐dea089ce5b9f                   Address Redacted                      First Class Mail
a9096fc9‐0f9d‐472a‐8870‐52e164128cf5                   Address Redacted                      First Class Mail
a9097008‐22a3‐4138‐9961‐1b35cab80f57                   Address Redacted                      First Class Mail
a90a3da6‐15ab‐4627‐a212‐75c97763858d                   Address Redacted                      First Class Mail
a912443a‐4d82‐4152‐bb19‐d720558cd17b                   Address Redacted                      First Class Mail
a91631fb‐f94d‐4a71‐847d‐6c9c3c732fef                   Address Redacted                      First Class Mail
a9177c7d‐4b7e‐4548‐8096‐e734ec02d0ff                   Address Redacted                      First Class Mail
a91a8210‐cb57‐4629‐b0b6‐f94c85b22a8a                   Address Redacted                      First Class Mail
a91b121b‐174d‐408e‐9fde‐1338fc7035a2                   Address Redacted                      First Class Mail
a9222adf‐05af‐45cb‐b085‐cd4eaf98c601                   Address Redacted                      First Class Mail
a92581f6‐9f33‐4a94‐b49e‐904bb559df3f                   Address Redacted                      First Class Mail
a92ad83a‐1341‐40cc‐8dfc‐608f40c25a2d                   Address Redacted                      First Class Mail
a92aecd2‐0c61‐4bbe‐8c9b‐fc0c391c9c08                   Address Redacted                      First Class Mail
a92d6865‐f7bb‐40a3‐9dbe‐db22f3ef84db                   Address Redacted                      First Class Mail
a92f7896‐d02d‐4668‐aafd‐333c43b6b648                   Address Redacted                      First Class Mail
a9315297‐6e2a‐4536‐9fb1‐9cd894da1867                   Address Redacted                      First Class Mail
a933a397‐2d8a‐45a1‐bc03‐298693a886f7                   Address Redacted                      First Class Mail
a9397785‐3d73‐4da9‐8e67‐78c4b8b2328f                   Address Redacted                      First Class Mail
a939d17c‐8f0c‐4b7e‐8f73‐7a19a723df45                   Address Redacted                      First Class Mail
a93a2da4‐426b‐4dca‐aeb3‐4fbfdc779d91                   Address Redacted                      First Class Mail
a93ba2f8‐52d7‐4236‐a05b‐94c004eb6601                   Address Redacted                      First Class Mail
a93e073e‐18da‐4df2‐8382‐62b6115fd795                   Address Redacted                      First Class Mail
a9403bcb‐35d2‐4d5f‐94ae‐ef23ce233161                   Address Redacted                      First Class Mail
a940864a‐e2b2‐4649‐8f9e‐42f7ce5d7fc1                   Address Redacted                      First Class Mail
a9426f2c‐e6d9‐4ed3‐a431‐ae3fec8c1661                   Address Redacted                      First Class Mail
a942fef6‐ef6c‐48b0‐a77a‐3a53102fe224                   Address Redacted                      First Class Mail
a9430a63‐842d‐424f‐b99c‐a1bcf62911bf                   Address Redacted                      First Class Mail
a9436e49‐0781‐4351‐af0c‐cfe4f19fd9ba                   Address Redacted                      First Class Mail
a948869f‐04be‐4e35‐bbf2‐d27834b8fc7e                   Address Redacted                      First Class Mail
a94a22ab‐8f12‐4b26‐9471‐bb7ea4638dde                   Address Redacted                      First Class Mail
a95035e2‐dcba‐4a48‐a19d‐d1311f0c4603                   Address Redacted                      First Class Mail
a95157ab‐3f92‐4918‐8517‐8bcd92457b4c                   Address Redacted                      First Class Mail
a95a0ba0‐381d‐4192‐8c24‐d3bde57a8202                   Address Redacted                      First Class Mail
a95aa852‐8269‐4cad‐890c‐52f6e1600e40                   Address Redacted                      First Class Mail
a95d0b6b‐5065‐448b‐8c1f‐173a7e02941d                   Address Redacted                      First Class Mail
a95f6a8f‐bc18‐4552‐96c4‐62b8e1d31713                   Address Redacted                      First Class Mail
a95f98b7‐ef7f‐469e‐855a‐ad43a3530657                   Address Redacted                      First Class Mail
a9602692‐c595‐4936‐bb8a‐4db296275f83                   Address Redacted                      First Class Mail
a9618ed8‐2b23‐455b‐8c9b‐26735ab6ca0b                   Address Redacted                      First Class Mail
a9623927‐c09e‐4867‐8b1e‐835c65395f9a                   Address Redacted                      First Class Mail
a962511c‐dd17‐46ab‐81d0‐f8d42ce59b51                   Address Redacted                      First Class Mail
a964b3aa‐ac18‐462d‐a7f3‐a24f1048f091                   Address Redacted                      First Class Mail
a96bfd52‐16fc‐4e83‐80c2‐57b0163f0a02                   Address Redacted                      First Class Mail
a970cde6‐e260‐4fa8‐9b5a‐16641ad04046                   Address Redacted                      First Class Mail
a977c8f7‐74eb‐44bb‐99d3‐a915167c2651                   Address Redacted                      First Class Mail
a978ed66‐b631‐405a‐8463‐b7f8c81deada                   Address Redacted                      First Class Mail
a97ca91f‐8d87‐4907‐9f31‐1e34bd952be4                   Address Redacted                      First Class Mail
a98356d0‐28d3‐4cce‐919f‐e92801fb0d11                   Address Redacted                      First Class Mail
a98397ef‐edbb‐4299‐b852‐f12275050cad                   Address Redacted                      First Class Mail
a985e424‐79cd‐4de2‐b701‐e4ded1a1ad83                   Address Redacted                      First Class Mail
a9862549‐320d‐47e3‐8d47‐00765b18ed52                   Address Redacted                      First Class Mail
a986c3e7‐7b23‐42f0‐b55f‐f4dddd61421a                   Address Redacted                      First Class Mail
a98ca5a5‐2ff1‐4bff‐9b52‐f8bf569c0a03                   Address Redacted                      First Class Mail
a98ff04d‐159d‐45e3‐9112‐fc021eef6863                   Address Redacted                      First Class Mail
a99034b6‐df52‐4cd2‐86ac‐d6b2785fec83                   Address Redacted                      First Class Mail
a9931f0d‐0392‐467c‐afa2‐5fe36198c1dd                   Address Redacted                      First Class Mail
a993b779‐72d5‐4ffb‐b93e‐2053cdcd4cae                   Address Redacted                      First Class Mail
a9952556‐4d88‐4708‐aed7‐3610959c53bb                   Address Redacted                      First Class Mail
a9981272‐9688‐49eb‐89a5‐8d75966d3def                   Address Redacted                      First Class Mail
a99ad6a4‐e172‐4f3a‐b434‐adfad97d5f35                   Address Redacted                      First Class Mail




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                                                                Exhibit A
                                                                 Service List


                              Name                                              Address                         Method of Service
a9a3876d‐ec73‐42e3‐8410‐931ac6576564                   Address Redacted                      First Class Mail
a9a56360‐2b6a‐49b5‐888d‐52c4b47f9368                   Address Redacted                      First Class Mail
a9a81a1d‐4f77‐4d53‐9d7c‐d193a4a393d4                   Address Redacted                      First Class Mail
a9a82673‐d92f‐4a5a‐814d‐aba316a87d2c                   Address Redacted                      First Class Mail
a9a8b2ae‐4086‐4cc8‐83f1‐ff8b53a16e91                   Address Redacted                      First Class Mail
a9ab41ba‐4842‐4d33‐a56e‐e5da3db255d0                   Address Redacted                      First Class Mail
a9b2237a‐1982‐4a01‐aba6‐27c0dfd3c0eb                   Address Redacted                      First Class Mail
a9b597b2‐e16d‐4a30‐9f17‐4cb3db8cef6c                   Address Redacted                      First Class Mail
a9b67aa9‐0321‐4554‐85ae‐099326d9c1d8                   Address Redacted                      First Class Mail
a9b7c50c‐8790‐41cc‐bde5‐ae00209def3d                   Address Redacted                      First Class Mail
a9bb4b83‐0fdd‐4e52‐a0cc‐43505b8ed297                   Address Redacted                      First Class Mail
a9bfe626‐7fb0‐47ea‐80c2‐1a4e24e948a5                   Address Redacted                      First Class Mail
a9c06f77‐8a8e‐45d9‐9631‐4288858ab661                   Address Redacted                      First Class Mail
a9c122ed‐c97e‐4ea1‐b24e‐a71a946eb52c                   Address Redacted                      First Class Mail
a9c57596‐3bc1‐4334‐842d‐68e953b10c94                   Address Redacted                      First Class Mail
a9c91f4f‐3517‐4d64‐8553‐f1f3bf3671c2                   Address Redacted                      First Class Mail
a9d72d7d‐96a5‐44a8‐8557‐fd656261806a                   Address Redacted                      First Class Mail
a9d7d0f4‐2d1a‐469d‐9d2f‐a632b8785441                   Address Redacted                      First Class Mail
a9d94aa3‐3e46‐4bb1‐a872‐970a2f2f4edc                   Address Redacted                      First Class Mail
a9da8b89‐8e3f‐40b1‐aaaf‐3794ee7b221b                   Address Redacted                      First Class Mail
a9dad394‐a080‐4d53‐8df3‐b0a9caa97cad                   Address Redacted                      First Class Mail
a9dbf64b‐ba18‐43c5‐bcd5‐532d0169b657                   Address Redacted                      First Class Mail
a9dc0466‐791f‐4c7a‐9c6c‐d0cc79bad76a                   Address Redacted                      First Class Mail
a9dc1042‐ccfd‐4e44‐a97e‐40e545fbe21d                   Address Redacted                      First Class Mail
a9dc8d06‐a97c‐415a‐933e‐b2455730bcee                   Address Redacted                      First Class Mail
a9e07051‐21f4‐4747‐8beb‐cc47015d7a1b                   Address Redacted                      First Class Mail
a9e5ed05‐79dc‐42eb‐a102‐dce235623af2                   Address Redacted                      First Class Mail
a9e75abc‐38b8‐4f4a‐b1c7‐a59865819ef1                   Address Redacted                      First Class Mail
a9eccf03‐9687‐405a‐85a0‐4937c24cbd93                   Address Redacted                      First Class Mail
a9ef10bf‐73f1‐40ce‐b9be‐bdcc3c09d59e                   Address Redacted                      First Class Mail
a9ef6849‐a768‐4c22‐9e5f‐076209f0fe7c                   Address Redacted                      First Class Mail
a9f034fb‐2861‐47cb‐a06f‐9558178740b0                   Address Redacted                      First Class Mail
a9f22382‐53ae‐4b05‐8e7b‐2227c0ba454c                   Address Redacted                      First Class Mail
a9f260e4‐0c1e‐4adc‐ae41‐97908636b161                   Address Redacted                      First Class Mail
a9f3e2a4‐2d39‐4023‐b39f‐527c2f5c5fcd                   Address Redacted                      First Class Mail
a9f56da4‐ec84‐472a‐97ca‐2bebe515301f                   Address Redacted                      First Class Mail
a9f6f2e7‐427f‐47dd‐b064‐43f9e8b2dde3                   Address Redacted                      First Class Mail
a9fa15a9‐06d6‐4b7e‐8497‐61f251eee22a                   Address Redacted                      First Class Mail
a9feb87d‐ec12‐4aa6‐a536‐28cb3424eddd                   Address Redacted                      First Class Mail
a9feb955‐3ccf‐4888‐898a‐94de0d768d42                   Address Redacted                      First Class Mail
a9feff72‐9d28‐469d‐adaa‐c00ec0cb6982                   Address Redacted                      First Class Mail
aa07fada‐4c74‐42e8‐a0d3‐709314caafa7                   Address Redacted                      First Class Mail
aa0be6b5‐0b5e‐4587‐82aa‐53906ad26153                   Address Redacted                      First Class Mail
aa11318b‐ab0c‐4b22‐9a12‐668bfdeb299c                   Address Redacted                      First Class Mail
aa147ec9‐2436‐435f‐83cb‐6799292a9f7b                   Address Redacted                      First Class Mail
aa17a357‐db94‐4e16‐af2c‐379984575c7a                   Address Redacted                      First Class Mail
aa182d7f‐e80d‐4d85‐92de‐3b7cb0ebe237                   Address Redacted                      First Class Mail
aa1908cf‐4ab3‐4b57‐93ed‐069d05212685                   Address Redacted                      First Class Mail
aa1a227f‐c2cc‐48b1‐bce0‐fc88334198ca                   Address Redacted                      First Class Mail
aa1b7837‐7aab‐4288‐a8c3‐0b4a3fa1464a                   Address Redacted                      First Class Mail
aa1be246‐f231‐43dd‐8c91‐8f0320e53437                   Address Redacted                      First Class Mail
aa1dbd0f‐56f7‐4098‐96db‐67eaf0e3ede7                   Address Redacted                      First Class Mail
aa224d3e‐cf99‐4ce4‐b688‐31d3275d3220                   Address Redacted                      First Class Mail
aa24d83d‐f9a2‐48a6‐820a‐2c25404622b0                   Address Redacted                      First Class Mail
aa2732be‐6a27‐46b5‐9be7‐760d5cccc57e                   Address Redacted                      First Class Mail
aa291f79‐caf8‐4691‐931b‐20ac89ac9dbc                   Address Redacted                      First Class Mail
aa2b7a85‐7ac8‐4702‐96fe‐fd51d8f3e4e2                   Address Redacted                      First Class Mail
aa2e8315‐1072‐4aed‐a534‐7ca112f882f4                   Address Redacted                      First Class Mail
aa317614‐ea7b‐4c0b‐8839‐9649f9f865ab                   Address Redacted                      First Class Mail
aa33be82‐d2e6‐4a06‐981f‐b6b900e917e6                   Address Redacted                      First Class Mail
aa341322‐1f81‐4dff‐96b2‐b0b7fb9cc033                   Address Redacted                      First Class Mail
aa3617cd‐5892‐4686‐a1d6‐51b70f4e9ba6                   Address Redacted                      First Class Mail
aa3cec6e‐6400‐4838‐8da4‐25867b5aa23f                   Address Redacted                      First Class Mail
aa3ea4e6‐1088‐4ed4‐95c1‐f899db366717                   Address Redacted                      First Class Mail
aa3f3bd0‐86c8‐425c‐8fd3‐8668ece89972                   Address Redacted                      First Class Mail
aa4126ac‐0bd4‐49df‐a028‐4f1ced5472f9                   Address Redacted                      First Class Mail
aa42bd6a‐e9d2‐44ef‐a418‐6ea341236770                   Address Redacted                      First Class Mail
aa445e34‐3e9c‐4314‐9d1f‐d06a40c200a8                   Address Redacted                      First Class Mail
aa463203‐5864‐4107‐9b2a‐a6b197593b13                   Address Redacted                      First Class Mail
aa4651f7‐ea9d‐4ff7‐8d94‐a9a78bb289c6                   Address Redacted                      First Class Mail
aa484387‐8f52‐4ecb‐938b‐8b32639e91b2                   Address Redacted                      First Class Mail
aa4b2c91‐beab‐4550‐bbe7‐2586b0573f3f                   Address Redacted                      First Class Mail




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                                                                Exhibit A
                                                                 Service List


                               Name                                             Address                         Method of Service
aa4c284e‐0902‐4217‐9efd‐e1b1c1ef17ba                   Address Redacted                      First Class Mail
aa4cba41‐dcd4‐4d75‐bf5c‐40927f69bfe5                   Address Redacted                      First Class Mail
aa4f2c90‐5546‐49e1‐8d19‐2db333c5bbb7                   Address Redacted                      First Class Mail
aa548ad2‐6887‐4be4‐b825‐f2d151ea2a04                   Address Redacted                      First Class Mail
aa575292‐f3cb‐4b0b‐af93‐4ca4f219c915                   Address Redacted                      First Class Mail
aa595ce4‐bde9‐43f4‐a5b2‐95d10b1efe0a                   Address Redacted                      First Class Mail
aa5d31dd‐dc70‐4ff0‐ad08‐067c62aa3a2f                   Address Redacted                      First Class Mail
aa5e3c64‐7986‐44aa‐b35d‐f9b64be2982f                   Address Redacted                      First Class Mail
aa5e59e3‐8950‐480e‐8039‐9637ac2ec497                   Address Redacted                      First Class Mail
aa5ff84f‐c24a‐453a‐8254‐13bbd3af9c1a                   Address Redacted                      First Class Mail
aa6a03ae‐947b‐474e‐a79f‐0b65c0423209                   Address Redacted                      First Class Mail
aa6dc8b1‐cd07‐4b23‐a0f2‐acb885879951                   Address Redacted                      First Class Mail
aa6dfa7a‐53b6‐416a‐9f3b‐f74861dae2ea                   Address Redacted                      First Class Mail
aa6f657d‐1adc‐4679‐904d‐b8654cc458cd                   Address Redacted                      First Class Mail
aa6ff737‐d79c‐4221‐92c9‐61b0bd16e2f8                   Address Redacted                      First Class Mail
aa7248a1‐c7d6‐4380‐921f‐31d1ab591a2a                   Address Redacted                      First Class Mail
aa744c85‐f461‐4605‐b56b‐02bc50ff4088                   Address Redacted                      First Class Mail
aa7585e9‐ab85‐49dd‐9ae0‐69e111f5ded6                   Address Redacted                      First Class Mail
aa75f204‐d189‐4f55‐90c4‐b72fab56180e                   Address Redacted                      First Class Mail
aa792e72‐c760‐4ad9‐95b3‐cd10e895c9ba                   Address Redacted                      First Class Mail
aa79de8d‐32d7‐4c5d‐93b2‐38995e258e16                   Address Redacted                      First Class Mail
aa7a8447‐d48f‐40d3‐b994‐b32f80339d0c                   Address Redacted                      First Class Mail
aa7d7df0‐ee0e‐4337‐980f‐a9e76bd7b79b                   Address Redacted                      First Class Mail
aa7f2f55‐6ee8‐4236‐bb0b‐1401f3676500                   Address Redacted                      First Class Mail
aa7f57ee‐d8c9‐4c23‐b151‐d58210e89003                   Address Redacted                      First Class Mail
aa82cb57‐7dea‐4c34‐84ea‐145928b67a3e                   Address Redacted                      First Class Mail
aa8b56bb‐61bb‐4ff1‐a0ce‐7a5ddff1b475                   Address Redacted                      First Class Mail
aa8e340c‐d686‐438e‐8ada‐3c6a2d9e5ff6                   Address Redacted                      First Class Mail
aa91149c‐51f9‐440a‐8b6f‐1ca8f235f2f4                   Address Redacted                      First Class Mail
aa96d8c2‐b7b2‐4611‐8cbc‐83b566456fe3                   Address Redacted                      First Class Mail
aa98d9eb‐1120‐437f‐9a0f‐79d33a9b368a                   Address Redacted                      First Class Mail
aa9d43cf‐de2f‐4808‐8a8b‐e1191a44ca3e                   Address Redacted                      First Class Mail
aa9e4c8c‐f02b‐4056‐ab21‐b629f8ee4c1b                   Address Redacted                      First Class Mail
aa9f1da5‐fbc6‐40b1‐82c2‐e88e7a74609b                   Address Redacted                      First Class Mail
aaa1678c‐7c51‐4085‐b02a‐3bc29c898e4f                   Address Redacted                      First Class Mail
aaa20e45‐df45‐44ce‐be8d‐8fd6eaa32dfd                   Address Redacted                      First Class Mail
aaa29009‐1481‐4ed4‐89bd‐d8ed52d95c88                   Address Redacted                      First Class Mail
aaa71a6a‐ce38‐4431‐9490‐5cc6764e205a                   Address Redacted                      First Class Mail
aaa96691‐1977‐49e0‐ac49‐1119050d90ff                   Address Redacted                      First Class Mail
aaaa59cc‐9f50‐40c8‐9db9‐67b20e050021                   Address Redacted                      First Class Mail
aaae9813‐2265‐4f4e‐95f4‐a6c1aafe8aa2                   Address Redacted                      First Class Mail
aab04049‐6fa9‐4944‐9b66‐c81daa64215d                   Address Redacted                      First Class Mail
aab22e4d‐fa99‐4a75‐b32c‐ca8da366d33c                   Address Redacted                      First Class Mail
aab976d0‐25cc‐4e4f‐b5c5‐14ec10b64f9c                   Address Redacted                      First Class Mail
aac3ac32‐a704‐4c97‐a9f6‐503fd41d1c53                   Address Redacted                      First Class Mail
aac7509d‐cec8‐49d7‐8937‐8b5a11442940                   Address Redacted                      First Class Mail
aacde8c9‐fb74‐49df‐a9e0‐6cc7c5d978a1                   Address Redacted                      First Class Mail
aacf3160‐e071‐427a‐bb3d‐4a58c6e8c91d                   Address Redacted                      First Class Mail
aad1e545‐aeb2‐4d0a‐b8d7‐18f5a303a6d8                   Address Redacted                      First Class Mail
aad8fcf2‐0faa‐4790‐b17c‐21726da3b270                   Address Redacted                      First Class Mail
aada37b1‐91ac‐45d4‐8a79‐2c5c4470a349                   Address Redacted                      First Class Mail
aadc5b74‐a3f5‐49fc‐9566‐3cd623292176                   Address Redacted                      First Class Mail
aadd662c‐4038‐4b81‐87f3‐37e2dd69d1e6                   Address Redacted                      First Class Mail
aae0c8f2‐cf57‐4017‐ba81‐8d554b4c9448                   Address Redacted                      First Class Mail
aae2a2a6‐12ed‐4826‐bc74‐a2c8781143f4                   Address Redacted                      First Class Mail
aae398b6‐276a‐41c5‐8cb4‐8d4f3e30669f                   Address Redacted                      First Class Mail
aae72856‐0963‐4fa7‐b13c‐accce1df283a                   Address Redacted                      First Class Mail
aae859c7‐44dc‐439c‐a051‐1812551eb573                   Address Redacted                      First Class Mail
aae9ee0b‐cd58‐42eb‐b1b8‐9e9ab6b02267                   Address Redacted                      First Class Mail
aaeb8558‐06fa‐424b‐8a69‐5f32a9497ca7                   Address Redacted                      First Class Mail
aaf10f7e‐dc61‐4b0e‐87b2‐42efd454d10c                   Address Redacted                      First Class Mail
aaf137a8‐8840‐4528‐b6af‐67ed3238c88d                   Address Redacted                      First Class Mail
aaf5f211‐a5c4‐4199‐9b78‐1132e29921ca                   Address Redacted                      First Class Mail
aaf5ffc6‐f026‐4cab‐b6c9‐0373fbb1ac56                   Address Redacted                      First Class Mail
aafc1a5e‐667c‐434c‐bc0b‐3c3f02eae850                   Address Redacted                      First Class Mail
ab00a1e5‐4b7e‐4406‐bd3d‐ae697a2e5f6f                   Address Redacted                      First Class Mail
ab033ce5‐70b5‐4e32‐ab5a‐4a1c109e3578                   Address Redacted                      First Class Mail
ab041124‐5af1‐473d‐9965‐5b40cf016f11                   Address Redacted                      First Class Mail
ab071b46‐f137‐456b‐9a75‐9ebfe7b35fcb                   Address Redacted                      First Class Mail
ab083630‐c9cb‐49a8‐9f81‐fef9ff67cf6c                   Address Redacted                      First Class Mail
ab0bcc4c‐0850‐4762‐bfa7‐ec6a7693db11                   Address Redacted                      First Class Mail
ab0e3413‐8673‐484f‐ba10‐5c4463a9cca3                   Address Redacted                      First Class Mail




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                                                                Exhibit A
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                              Name                                              Address                         Method of Service
ab1395e4‐e40d‐48ab‐8f83‐d653105e797c                   Address Redacted                      First Class Mail
ab17332c‐57e5‐4628‐b022‐f1f49a807ee0                   Address Redacted                      First Class Mail
ab187bf1‐1414‐4824‐9baa‐e32fbe5af341                   Address Redacted                      First Class Mail
ab1988de‐f209‐40af‐a0e9‐bab47744c87e                   Address Redacted                      First Class Mail
ab1acc3c‐6d81‐4208‐ad3b‐7c0ed09a34d4                   Address Redacted                      First Class Mail
ab1bb6d4‐53aa‐4f03‐8bd1‐c3b7ae1651e8                   Address Redacted                      First Class Mail
ab1bc496‐7bbd‐41f0‐b63c‐43579df7913f                   Address Redacted                      First Class Mail
ab1c40c0‐b757‐44af‐bdcb‐d31544f0c6b2                   Address Redacted                      First Class Mail
ab1c6407‐0e63‐46a5‐ac1f‐2225f169208b                   Address Redacted                      First Class Mail
ab1fe618‐2542‐4d39‐898c‐aa33a81797dc                   Address Redacted                      First Class Mail
ab21b501‐b32e‐496a‐a253‐1200d53355a3                   Address Redacted                      First Class Mail
ab235684‐6933‐442a‐8360‐ea83e05cdfb0                   Address Redacted                      First Class Mail
ab29e671‐0bc9‐421f‐aff9‐971f5957cf24                   Address Redacted                      First Class Mail
ab2d87d7‐aecd‐4ae7‐8c93‐adb2c969e57a                   Address Redacted                      First Class Mail
ab2d9c68‐df89‐4882‐940b‐f9ca5f8e503b                   Address Redacted                      First Class Mail
ab30058a‐112d‐4260‐bef6‐fb78badb85df                   Address Redacted                      First Class Mail
ab31a53b‐9e37‐4274‐aaff‐6db0bbc06556                   Address Redacted                      First Class Mail
ab33f55d‐fcc7‐4173‐b778‐461e5347377c                   Address Redacted                      First Class Mail
ab3af836‐8413‐475f‐a5b0‐ffbdba6c8020                   Address Redacted                      First Class Mail
ab3c1db2‐c9d5‐45ec‐8438‐a80189ae1a37                   Address Redacted                      First Class Mail
ab3f5ced‐4917‐4c31‐ab40‐6a9303afa0c9                   Address Redacted                      First Class Mail
ab3fab94‐08a1‐4b1f‐a8cf‐7eb04212b79e                   Address Redacted                      First Class Mail
ab41b491‐7f06‐472e‐88aa‐78f3281bb1c6                   Address Redacted                      First Class Mail
ab439b8b‐65b5‐475c‐8180‐4af961ad928c                   Address Redacted                      First Class Mail
ab45dcac‐fae7‐4afb‐8cc1‐7c4970c89b80                   Address Redacted                      First Class Mail
ab47eff5‐ce01‐44da‐b196‐6af4573da700                   Address Redacted                      First Class Mail
ab4abe06‐2cb8‐4c7f‐ac81‐0bfe7313747d                   Address Redacted                      First Class Mail
ab4b4b71‐0e8e‐49dd‐8c5e‐767c5ffa4dd8                   Address Redacted                      First Class Mail
ab4f35a3‐11f0‐4cd4‐ae7f‐d7ba487b5788                   Address Redacted                      First Class Mail
ab571ce4‐0753‐4101‐ba95‐95eea80dc884                   Address Redacted                      First Class Mail
ab576e5a‐821d‐4ac5‐aea3‐fc0c9473bfe1                   Address Redacted                      First Class Mail
ab5b74b2‐69e4‐4977‐b8ed‐302fad241276                   Address Redacted                      First Class Mail
ab5ebc48‐8b69‐4bd9‐8c82‐9d045bae010c                   Address Redacted                      First Class Mail
ab621e71‐67b4‐477d‐a09f‐09b349d7282b                   Address Redacted                      First Class Mail
ab638fdf‐0836‐4695‐a51c‐56c3a16567dc                   Address Redacted                      First Class Mail
ab6e7211‐557b‐49d9‐b363‐5f4f0e822871                   Address Redacted                      First Class Mail
ab6f4c3e‐b2d8‐4b5f‐b4c1‐c8ccf73acbbc                   Address Redacted                      First Class Mail
ab6fa355‐3ff2‐49fe‐b80f‐8dd4436cde8b                   Address Redacted                      First Class Mail
ab7147fc‐1bdb‐47a0‐8856‐dd1f34e9e9bf                   Address Redacted                      First Class Mail
ab762559‐9c3c‐4f19‐a4b3‐8d4c15073a64                   Address Redacted                      First Class Mail
ab76a1e4‐76fd‐4d82‐a0ed‐91d97b8317f2                   Address Redacted                      First Class Mail
ab780d9a‐9654‐48fe‐83ac‐26a39d3de725                   Address Redacted                      First Class Mail
ab787deb‐4fbd‐40f1‐a627‐0322e284dd59                   Address Redacted                      First Class Mail
ab79bdf1‐dc84‐4c81‐92ea‐f24518992fb9                   Address Redacted                      First Class Mail
ab7d1a60‐e362‐4424‐ba13‐7121d987955a                   Address Redacted                      First Class Mail
ab7d5b27‐1d8c‐4bf4‐ab71‐d34feb56efbc                   Address Redacted                      First Class Mail
ab857827‐873f‐4a0f‐95a8‐c282a6b12599                   Address Redacted                      First Class Mail
ab86d1f1‐1b5b‐4b74‐bee7‐f7873e066a60                   Address Redacted                      First Class Mail
ab8c8f02‐ccd4‐4795‐a7d5‐d77447598868                   Address Redacted                      First Class Mail
ab8df51b‐2b13‐4c39‐a265‐500d71b60ebf                   Address Redacted                      First Class Mail
ab91f780‐ab26‐4014‐bf10‐4df1c1fc69a5                   Address Redacted                      First Class Mail
ab928b19‐abe8‐43b8‐876f‐356e5a6f4cde                   Address Redacted                      First Class Mail
ab930e14‐e977‐4c0a‐bad8‐685149b24604                   Address Redacted                      First Class Mail
ab93adaa‐705a‐499a‐b0b1‐78345fa3c3cc                   Address Redacted                      First Class Mail
ab95da07‐71dd‐4e5a‐a7d1‐a17a55530f1d                   Address Redacted                      First Class Mail
ab982c8b‐990d‐46e7‐87f2‐3a07fb5322d9                   Address Redacted                      First Class Mail
ab9bdab6‐082d‐4e9c‐aa18‐6d84be5804da                   Address Redacted                      First Class Mail
ab9cc4ee‐9d6b‐4484‐a3f4‐4d8d1c260585                   Address Redacted                      First Class Mail
aba1c988‐31a0‐4382‐b471‐4531efb2f9dd                   Address Redacted                      First Class Mail
aba2596f‐dea2‐43f5‐a8ca‐7c2261296a60                   Address Redacted                      First Class Mail
abb04a4b‐b297‐45b6‐ac25‐8dab247463e7                   Address Redacted                      First Class Mail
abb0dbad‐9dba‐4749‐8241‐0506ddbf69b7                   Address Redacted                      First Class Mail
abb3012e‐5b2d‐4188‐a847‐f1a1252d8d49                   Address Redacted                      First Class Mail
abb5bbc1‐0d51‐4051‐9770‐a6b73c43de84                   Address Redacted                      First Class Mail
abb865d6‐deee‐4d6e‐b7f9‐dbe52a320dd3                   Address Redacted                      First Class Mail
abbd33b4‐3cbb‐4da2‐810f‐b2f9b3566743                   Address Redacted                      First Class Mail
abc08646‐54f9‐4e11‐87cc‐2d47ffee51b9                   Address Redacted                      First Class Mail
abc1ba59‐1fe8‐4577‐ae30‐537b5a8695c5                   Address Redacted                      First Class Mail
abc1f6b1‐daa0‐4bf2‐ab3a‐e4b4d24e5cd9                   Address Redacted                      First Class Mail
abc35480‐64eb‐4463‐9076‐afc2d3c54201                   Address Redacted                      First Class Mail
abc45296‐6a91‐403d‐b39a‐9a1df232b604                   Address Redacted                      First Class Mail
abc60514‐9827‐4cb4‐8cd8‐b28ecfcaf96f                   Address Redacted                      First Class Mail




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                               Name                                             Address                         Method of Service
abc683a8‐b36c‐4acf‐b11d‐f23914ea2cee                   Address Redacted                      First Class Mail
abc8f6fd‐2911‐4c8f‐8e84‐b2188755714c                   Address Redacted                      First Class Mail
abc9c7d6‐53dd‐4daf‐8a0b‐17b318aed1db                   Address Redacted                      First Class Mail
abcd25c9‐61b5‐428d‐a468‐58e6e47419da                   Address Redacted                      First Class Mail
abcf32ec‐cb1e‐4880‐a65d‐b72ff0a44268                   Address Redacted                      First Class Mail
abd15ba1‐14f8‐42d8‐9d35‐7e817385fda1                   Address Redacted                      First Class Mail
abd36a1e‐de4e‐4867‐928b‐1399a49c9d21                   Address Redacted                      First Class Mail
abe139e4‐87ce‐469d‐94a6‐7b58fbfa9b86                   Address Redacted                      First Class Mail
abe344c2‐6123‐4c96‐9a15‐d759745602d0                   Address Redacted                      First Class Mail
abe51904‐2ed7‐419a‐ae8b‐812f3d8fa4e2                   Address Redacted                      First Class Mail
abe61c57‐f9fe‐4b1e‐ad00‐8292ef7792bb                   Address Redacted                      First Class Mail
abe8f9b4‐fa22‐4b32‐b124‐53077201fc0e                   Address Redacted                      First Class Mail
abee9f01‐04b2‐40a1‐9f02‐a5a13d9c267f                   Address Redacted                      First Class Mail
abefc0ac‐c666‐420e‐88e7‐0ef6ddc236ff                   Address Redacted                      First Class Mail
abf2ac8e‐f139‐46c3‐8c5f‐dda315dfeb30                   Address Redacted                      First Class Mail
abf41f79‐d6a4‐4f98‐b2d0‐4689b5278129                   Address Redacted                      First Class Mail
abfa0d0b‐d70a‐4adb‐84f2‐ff719655a51b                   Address Redacted                      First Class Mail
abfab821‐4448‐4820‐b232‐4d012e71136b                   Address Redacted                      First Class Mail
abfc9149‐d4db‐43ed‐b63d‐11ccb83e0768                   Address Redacted                      First Class Mail
abfccd76‐26bf‐4b6c‐9495‐9b940fa13ebb                   Address Redacted                      First Class Mail
abfe9eb2‐763a‐4758‐a715‐39134099e71c                   Address Redacted                      First Class Mail
abfea9b3‐41a5‐4cc9‐8413‐e7b6f9d56abf                   Address Redacted                      First Class Mail
abffe75a‐2efc‐40f4‐ba3a‐1df0d4554b53                   Address Redacted                      First Class Mail
ac00b33e‐8bdf‐47c1‐91c7‐e4c7e63129c5                   Address Redacted                      First Class Mail
ac066c3d‐9331‐4218‐8d26‐a5d0e067cdab                   Address Redacted                      First Class Mail
ac08e4e9‐9594‐426b‐a525‐ff8321b6a5d5                   Address Redacted                      First Class Mail
ac0ab92a‐7a3f‐4324‐af3d‐bdf27b335d55                   Address Redacted                      First Class Mail
ac0bc5c5‐7ce2‐40a0‐b2b9‐15202e6010e1                   Address Redacted                      First Class Mail
ac0cf6ee‐6548‐4170‐a68b‐ffa5e61ca83f                   Address Redacted                      First Class Mail
ac0f9750‐8d1d‐42b2‐b266‐c44d67e4d305                   Address Redacted                      First Class Mail
ac1453bb‐81e8‐4343‐bad3‐2c6c9b88a62f                   Address Redacted                      First Class Mail
ac17ecf0‐e96f‐4531‐ae79‐61e011278798                   Address Redacted                      First Class Mail
ac1833ca‐6cdc‐4e7a‐9e8b‐50086c9c34ac                   Address Redacted                      First Class Mail
ac1a6a55‐34d2‐4497‐a45b‐aaf8b62fe876                   Address Redacted                      First Class Mail
ac1c1407‐eba7‐4384‐9924‐6ca3ea283746                   Address Redacted                      First Class Mail
ac20bdd9‐050f‐4ced‐a1cb‐f0f45dfce933                   Address Redacted                      First Class Mail
ac21ac9f‐7e06‐4d96‐aa60‐6d04c5f41554                   Address Redacted                      First Class Mail
ac24f9ab‐bae8‐43ea‐97f4‐2a27375657de                   Address Redacted                      First Class Mail
ac2aacc0‐e1d9‐4955‐9965‐e1517f982f99                   Address Redacted                      First Class Mail
ac2f3d31‐b278‐4f47‐8796‐9e68dbf127a5                   Address Redacted                      First Class Mail
ac37437e‐0dfe‐4efa‐9937‐97d433850630                   Address Redacted                      First Class Mail
ac379bb3‐5a90‐4662‐af18‐5b2ead297fe3                   Address Redacted                      First Class Mail
ac3a2a20‐7418‐4948‐a5cb‐81385b34a792                   Address Redacted                      First Class Mail
ac3b6eb2‐6419‐46d0‐b357‐68b8ce48adf2                   Address Redacted                      First Class Mail
ac3bd5c7‐b6d8‐4545‐bc3a‐47296836a3d4                   Address Redacted                      First Class Mail
ac3dac28‐9be0‐4423‐be4b‐37a1e0a3ebd6                   Address Redacted                      First Class Mail
ac41d259‐61b7‐47ba‐82db‐bc0f2b58f699                   Address Redacted                      First Class Mail
ac42e8f9‐f071‐451c‐a605‐0d1ec42d044a                   Address Redacted                      First Class Mail
ac45381b‐4464‐44ac‐b37c‐99868ee91a05                   Address Redacted                      First Class Mail
ac457a7b‐257d‐46e8‐816f‐57df0776de34                   Address Redacted                      First Class Mail
ac45c0ba‐c76d‐46aa‐b0c3‐0d4465a1b09d                   Address Redacted                      First Class Mail
ac45c867‐71b8‐452c‐b94e‐b2cabf5d7e48                   Address Redacted                      First Class Mail
ac465073‐d342‐4d75‐a1a1‐7031186a7b07                   Address Redacted                      First Class Mail
ac4c93bd‐37f2‐4da6‐8316‐c4c067e33a88                   Address Redacted                      First Class Mail
ac4cb530‐75e7‐4327‐8c2f‐a6e7f224f960                   Address Redacted                      First Class Mail
ac4ee2d2‐c2cb‐47d1‐a139‐0a001539fa26                   Address Redacted                      First Class Mail
ac4f1fa0‐e883‐46e7‐af2f‐548560cffe69                   Address Redacted                      First Class Mail
ac50a671‐230c‐426d‐9e44‐1f31fd867ce5                   Address Redacted                      First Class Mail
ac54ccf0‐9e31‐4944‐9c55‐2602f064f456                   Address Redacted                      First Class Mail
ac584e0d‐311f‐4da3‐a22b‐09019f6d9fea                   Address Redacted                      First Class Mail
ac5c0e08‐a553‐414e‐8df0‐f355161bf500                   Address Redacted                      First Class Mail
ac6125ae‐8373‐4a9a‐96d1‐80485fe5dcb6                   Address Redacted                      First Class Mail
ac6c0038‐93a9‐42f0‐a85a‐1c4e9799544c                   Address Redacted                      First Class Mail
ac6e7ec2‐0e9a‐4480‐9b49‐529330077d06                   Address Redacted                      First Class Mail
ac6ec922‐de24‐4e63‐a9a8‐9bb25b9ccb5a                   Address Redacted                      First Class Mail
ac721ccf‐e2b4‐4f5a‐9a4b‐6def2195d5b1                   Address Redacted                      First Class Mail
ac75bfff‐8f9a‐40b5‐aca0‐dfda250e445a                   Address Redacted                      First Class Mail
ac76058d‐6e63‐4e05‐8fe1‐3fc68283602c                   Address Redacted                      First Class Mail
ac76593c‐5d34‐45a5‐bbf6‐84cec3aeca4c                   Address Redacted                      First Class Mail
ac7801e6‐e7bd‐4cf7‐b5bd‐b2501e79d81b                   Address Redacted                      First Class Mail
ac79fab6‐0095‐4fd0‐aeba‐c6f9b27dece7                   Address Redacted                      First Class Mail
ac7c5da9‐7fb7‐4633‐8420‐41a43a19820f                   Address Redacted                      First Class Mail




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                                                                Exhibit A
                                                                 Service List


                              Name                                              Address                         Method of Service
ac7dd1dd‐cc3a‐4f9f‐ae79‐3fcd4d248619                   Address Redacted                      First Class Mail
ac7ecc1f‐df56‐4616‐ab92‐fad0c35e1568                   Address Redacted                      First Class Mail
ac806783‐a67c‐4a1d‐b64a‐32c90d99f7df                   Address Redacted                      First Class Mail
ac8120ad‐bc7b‐4e89‐aba1‐be15058d3bd0                   Address Redacted                      First Class Mail
ac84b7d8‐9c13‐4eda‐adbe‐a41a38546ba9                   Address Redacted                      First Class Mail
ac8608de‐94fd‐4ce3‐98d0‐1a03f0d5b978                   Address Redacted                      First Class Mail
ac86c220‐674e‐49ee‐935d‐18c0da9cddeb                   Address Redacted                      First Class Mail
ac877a10‐05aa‐4542‐9c4a‐fdc3dffed4e5                   Address Redacted                      First Class Mail
ac898cdf‐9a21‐49a2‐8dd2‐bec39a32e9b0                   Address Redacted                      First Class Mail
ac8bbb07‐a6d3‐4a5d‐b623‐450f1fc4f8a3                   Address Redacted                      First Class Mail
ac8e19af‐0cf2‐4454‐9068‐8bf75fe0325d                   Address Redacted                      First Class Mail
ac930cce‐dcca‐4bc5‐8c05‐44e8e4d1fa23                   Address Redacted                      First Class Mail
ac93e1fe‐eee4‐4250‐b14c‐3499b3ebaff6                   Address Redacted                      First Class Mail
ac94ead6‐4275‐4142‐9220‐c28f95e99f8a                   Address Redacted                      First Class Mail
ac96cac8‐f9e8‐40cd‐a8ea‐1b949e5124e6                   Address Redacted                      First Class Mail
ac9ce53b‐87d0‐4699‐89a8‐de8411bf1328                   Address Redacted                      First Class Mail
ac9ff518‐7381‐4b82‐a91e‐7f883a2294a4                   Address Redacted                      First Class Mail
acab3b8c‐ed9c‐4b6f‐8059‐6b6e49ee8d5e                   Address Redacted                      First Class Mail
acacffff‐1757‐4b10‐9a02‐02cb98b14a12                   Address Redacted                      First Class Mail
acadf831‐9d47‐42db‐bb2f‐2c3c3a32f421                   Address Redacted                      First Class Mail
acaf0458‐eb5b‐4594‐8e3b‐c102f82636ce                   Address Redacted                      First Class Mail
acb364ea‐c463‐4b57‐a322‐8ddf04b23df4                   Address Redacted                      First Class Mail
acb9f1ed‐1b0c‐4374‐9201‐48223d232e82                   Address Redacted                      First Class Mail
acbb29e7‐465b‐4bc7‐8a03‐6a9094c4feba                   Address Redacted                      First Class Mail
acbc31fb‐4d3d‐437d‐b9cb‐1861678131e6                   Address Redacted                      First Class Mail
acbc9eb9‐9827‐4fdb‐9c3d‐c66e2f0d71d7                   Address Redacted                      First Class Mail
acbea74a‐7f2b‐4daf‐991f‐287bbb7bc575                   Address Redacted                      First Class Mail
acbf27fb‐768a‐4d50‐b287‐928148a08ba7                   Address Redacted                      First Class Mail
acc0d688‐1d07‐49c6‐9aa5‐1d77b044469e                   Address Redacted                      First Class Mail
acc1d87a‐2502‐4ec1‐8bde‐b0ff165a674a                   Address Redacted                      First Class Mail
acc1f74c‐e7fd‐4eea‐bfa2‐399e585f9cee                   Address Redacted                      First Class Mail
acc3a587‐fa95‐4009‐b207‐564f3d157550                   Address Redacted                      First Class Mail
acc4da4c‐28a8‐4e2a‐a6f1‐e74164161692                   Address Redacted                      First Class Mail
acca2bfe‐81cc‐4630‐891b‐c6d94bd52895                   Address Redacted                      First Class Mail
accc4640‐f342‐475a‐9e84‐cdb5d27a57cd                   Address Redacted                      First Class Mail
accc4676‐0593‐414e‐8e91‐b3d98cbc8481                   Address Redacted                      First Class Mail
accd32c1‐de04‐4e2f‐ae0f‐4956590ed542                   Address Redacted                      First Class Mail
acd8c188‐e2af‐431b‐9da4‐42ed6536b087                   Address Redacted                      First Class Mail
acda3a72‐7bb6‐4cb5‐9909‐63dc0775fdcc                   Address Redacted                      First Class Mail
acde3a30‐3fb5‐477a‐824d‐2bf1964875d6                   Address Redacted                      First Class Mail
ace38905‐4418‐4f03‐8a11‐4bd89c54e507                   Address Redacted                      First Class Mail
ace405a9‐d541‐4e8e‐b72a‐40eb0d971bec                   Address Redacted                      First Class Mail
acea1352‐5c5c‐4622‐b000‐6b37e3e53c8e                   Address Redacted                      First Class Mail
acecfe45‐d1fa‐4fe1‐864e‐e115070bb460                   Address Redacted                      First Class Mail
acee083a‐4944‐4bf9‐a248‐5053e770d916                   Address Redacted                      First Class Mail
acf15bdb‐a299‐4890‐beef‐3644105155d9                   Address Redacted                      First Class Mail
acf18221‐8789‐485b‐846a‐78492ce1287d                   Address Redacted                      First Class Mail
acf4135d‐1a37‐4927‐9de6‐cdb64483f37c                   Address Redacted                      First Class Mail
acf6b1c1‐ebe3‐4d5a‐af88‐211dc6f188ce                   Address Redacted                      First Class Mail
acfa10e1‐50e6‐408d‐9460‐82dc55cec605                   Address Redacted                      First Class Mail
acfd7f3e‐4284‐4d44‐9efb‐be6f034816eb                   Address Redacted                      First Class Mail
ad018cfd‐fb99‐4d66‐911a‐41992a14dd17                   Address Redacted                      First Class Mail
ad0392db‐dcde‐4963‐bfb1‐33716f41cd3e                   Address Redacted                      First Class Mail
ad04d5a6‐31bc‐478c‐b7c7‐3a344b5cfbbe                   Address Redacted                      First Class Mail
ad05cbfb‐0c74‐4c03‐8d91‐45a5a210a778                   Address Redacted                      First Class Mail
ad066269‐319d‐4094‐aaee‐b78cbb8a5e72                   Address Redacted                      First Class Mail
ad07a6e4‐96d6‐44a5‐8590‐db1f9ee97c76                   Address Redacted                      First Class Mail
ad09e3a3‐7e9c‐4c40‐bd6e‐31737671085f                   Address Redacted                      First Class Mail
ad0cbbef‐a2ff‐4826‐8b09‐20ece0a4b146                   Address Redacted                      First Class Mail
ad13128f‐af94‐497d‐a507‐544bb2358f5f                   Address Redacted                      First Class Mail
ad16be37‐4236‐4dc0‐8768‐7bcafb949604                   Address Redacted                      First Class Mail
ad17124c‐6d68‐4532‐bc22‐441d45d29974                   Address Redacted                      First Class Mail
ad1a7281‐510d‐46d6‐810e‐86f0a042e792                   Address Redacted                      First Class Mail
ad1b8616‐d1f1‐4771‐b1ec‐61ec2528036f                   Address Redacted                      First Class Mail
ad21869e‐d981‐433b‐b3b0‐251d267fb913                   Address Redacted                      First Class Mail
ad2683a4‐24ec‐4a85‐a424‐8e19eda16c9c                   Address Redacted                      First Class Mail
ad29c84c‐4786‐4b25‐9d7c‐ba664bacef64                   Address Redacted                      First Class Mail
ad30ccb6‐2f72‐45cf‐9f71‐e21753678586                   Address Redacted                      First Class Mail
ad34144d‐da79‐46ba‐bd35‐e14d0c1ef60c                   Address Redacted                      First Class Mail
ad3588be‐9129‐46a7‐8c83‐d160706a5b70                   Address Redacted                      First Class Mail
ad3ee493‐195a‐4ef4‐aaf0‐dfadd80809f5                   Address Redacted                      First Class Mail
ad4199bf‐80e9‐4b9c‐868d‐ffd7a6217114                   Address Redacted                      First Class Mail




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                                                                 Service List


                               Name                                             Address                         Method of Service
ad436198‐0cc8‐4346‐93c4‐83563f1a45d6                   Address Redacted                      First Class Mail
ad45ac05‐803a‐4ea3‐880b‐b2f68cdf7939                   Address Redacted                      First Class Mail
ad472fd0‐a486‐4e8d‐88db‐6b629c9fab56                   Address Redacted                      First Class Mail
ad477c69‐3d2f‐4733‐b241‐e4dc5acc6eac                   Address Redacted                      First Class Mail
ad47c45e‐b55c‐4b21‐9359‐01b739bacdf1                   Address Redacted                      First Class Mail
ad485def‐0a3a‐4d52‐bee5‐5d221537d5ee                   Address Redacted                      First Class Mail
ad4ecb30‐d7fb‐413f‐a69d‐8d61d09ed928                   Address Redacted                      First Class Mail
ad503853‐2319‐45c2‐a841‐c41e73d96c06                   Address Redacted                      First Class Mail
ad50b2a2‐a04f‐4bf8‐beee‐6f65f147f214                   Address Redacted                      First Class Mail
ad50ef36‐7711‐4a2b‐9bd4‐f68bbcee5dad                   Address Redacted                      First Class Mail
ad55432a‐349f‐41ed‐973b‐8c0d7c8d8590                   Address Redacted                      First Class Mail
ad56258e‐2eef‐4aff‐91e6‐f94ba353ca28                   Address Redacted                      First Class Mail
ad578b50‐fd83‐40c3‐a1d1‐423536c448ba                   Address Redacted                      First Class Mail
ad58b445‐f886‐402f‐9111‐11039ae3a7f0                   Address Redacted                      First Class Mail
ad595539‐2fc5‐4a8f‐bb17‐6a611e50b220                   Address Redacted                      First Class Mail
ad5b13d6‐dd60‐491f‐b371‐c45bbc5a387e                   Address Redacted                      First Class Mail
ad5e463c‐e36f‐4e05‐9786‐8f8f96397ae2                   Address Redacted                      First Class Mail
ad5e81b3‐ad19‐4b68‐854c‐5be88ec44250                   Address Redacted                      First Class Mail
ad5f3925‐70f6‐4256‐a8c2‐ea391eed17b1                   Address Redacted                      First Class Mail
ad621555‐693c‐4b2b‐ba2a‐dd6d74454d11                   Address Redacted                      First Class Mail
ad62a042‐b70b‐4e65‐927d‐df6fe37a5b00                   Address Redacted                      First Class Mail
ad644f57‐b221‐46f2‐8a0c‐4fc992f1147f                   Address Redacted                      First Class Mail
ad661ddc‐8f01‐49fa‐9931‐6f847ea38a89                   Address Redacted                      First Class Mail
ad67c8d2‐5118‐4aad‐82ec‐21ba43361427                   Address Redacted                      First Class Mail
ad6c913c‐d8b6‐473a‐8e30‐e7e70ad8b67e                   Address Redacted                      First Class Mail
ad6e09d0‐e722‐43d7‐86e4‐569c002e584a                   Address Redacted                      First Class Mail
ad75d48a‐191e‐4b7e‐81da‐557b30696d9b                   Address Redacted                      First Class Mail
ad77edc0‐5e16‐4c36‐92cb‐d4ed9971988b                   Address Redacted                      First Class Mail
ad785171‐4528‐4709‐87aa‐853d2b52cad4                   Address Redacted                      First Class Mail
ad79c26c‐bfff‐4f56‐b76c‐9c1c12a2c6b2                   Address Redacted                      First Class Mail
ad7c777a‐2998‐4450‐9675‐17e466ad15c5                   Address Redacted                      First Class Mail
ad7d7419‐3270‐430b‐8cc7‐c83b073d6861                   Address Redacted                      First Class Mail
ad7e3fb3‐a904‐4ec4‐8d4d‐75c255069e80                   Address Redacted                      First Class Mail
ad81408b‐8300‐4696‐8e22‐bc79d91dc2b8                   Address Redacted                      First Class Mail
ad8e13b5‐6717‐4a97‐b9a9‐d148348ee799                   Address Redacted                      First Class Mail
ad913bb7‐5f06‐448c‐b8d8‐bfddcb249d7a                   Address Redacted                      First Class Mail
ad94daf3‐3e01‐4b50‐a2b6‐31e81ed82fbc                   Address Redacted                      First Class Mail
ad9621a5‐a003‐4daf‐8bc3‐260857242065                   Address Redacted                      First Class Mail
ada32cfe‐8681‐41b6‐b85e‐89156a25d4fb                   Address Redacted                      First Class Mail
ada3ca25‐2c6b‐4ff7‐bc78‐205b8dafbcc2                   Address Redacted                      First Class Mail
ada70640‐d3e0‐487c‐ae8a‐2ac0e7824ef3                   Address Redacted                      First Class Mail
adab3ea6‐a43d‐47f6‐86af‐807e63bb347d                   Address Redacted                      First Class Mail
adb008bb‐955c‐4906‐ad33‐879b42cc7c00                   Address Redacted                      First Class Mail
adb09b9f‐1f30‐4656‐b543‐72ac19056028                   Address Redacted                      First Class Mail
adb0b939‐c7e1‐4f24‐9d56‐b7db52de4604                   Address Redacted                      First Class Mail
adb0ecbd‐cc74‐4986‐9254‐76359d469ac1                   Address Redacted                      First Class Mail
adb4bb18‐55c1‐47ed‐9ec1‐235995bbdafa                   Address Redacted                      First Class Mail
adb50b94‐349c‐4cba‐81f1‐be49d67d9070                   Address Redacted                      First Class Mail
adb586a1‐8896‐4985‐91d1‐2196af40f370                   Address Redacted                      First Class Mail
adb92bbe‐35f1‐4d8f‐8f0d‐0ddb605d93a9                   Address Redacted                      First Class Mail
adbce9f7‐4ba7‐4c19‐913f‐b46db8ae03e3                   Address Redacted                      First Class Mail
adc72ac5‐1799‐4a9f‐9d24‐dc5dc47854cb                   Address Redacted                      First Class Mail
adcacd63‐aefb‐4c5b‐97ae‐ec6ae61c8411                   Address Redacted                      First Class Mail
adcd6101‐32cb‐4bfd‐9762‐ee2cccbdd447                   Address Redacted                      First Class Mail
adcfeb7b‐9640‐4fa7‐887b‐b7a12e1ec387                   Address Redacted                      First Class Mail
add24b21‐88c4‐4057‐bd20‐51e0cd0f7bda                   Address Redacted                      First Class Mail
add4ce47‐0670‐4e8d‐9bc3‐f47fb5734fa3                   Address Redacted                      First Class Mail
add5601a‐1e83‐4680‐9637‐74e1d5e3c277                   Address Redacted                      First Class Mail
add564b3‐53d7‐442b‐ba9d‐f307361e6789                   Address Redacted                      First Class Mail
add5e31c‐b16d‐494c‐b37e‐f27904bccef2                   Address Redacted                      First Class Mail
addc885d‐0acb‐45ae‐bfcc‐2c76102a5e31                   Address Redacted                      First Class Mail
addd6b06‐9f7a‐498d‐8f25‐20760024b801                   Address Redacted                      First Class Mail
ade0b5dd‐8bd4‐4866‐a253‐26d1238b5436                   Address Redacted                      First Class Mail
ade3fe09‐dbee‐46cc‐a32f‐c01d8fdeb21e                   Address Redacted                      First Class Mail
ade73f7b‐9dcf‐4a91‐927f‐c375c7a64a7e                   Address Redacted                      First Class Mail
ade7b148‐20f6‐4594‐89c3‐939915e7eb30                   Address Redacted                      First Class Mail
adebc791‐9b74‐4ff9‐b6e1‐daa3311d0db2                   Address Redacted                      First Class Mail
aded07b7‐c9c4‐4961‐99aa‐27f4200dbf8f                   Address Redacted                      First Class Mail
adefff59‐f431‐43f0‐9af1‐13e0d5cbe786                   Address Redacted                      First Class Mail
adf773c8‐7f7e‐4aeb‐85b9‐6b5184846f17                   Address Redacted                      First Class Mail
adfaa5ae‐3f04‐4231‐b118‐b6fe878ab04e                   Address Redacted                      First Class Mail
adfabee2‐d4c0‐4cbe‐87d1‐d28fdde59d9c                   Address Redacted                      First Class Mail




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                              Name                                              Address                         Method of Service
adfd3f85‐ebea‐4fd5‐8b7a‐c63213f92cda                   Address Redacted                      First Class Mail
ae014c4c‐5ed3‐45e6‐8447‐b0bdde17cc41                   Address Redacted                      First Class Mail
ae01a08a‐69d4‐46c1‐8484‐060ecc6d1599                   Address Redacted                      First Class Mail
ae04267e‐3db4‐4edf‐9bcb‐9b7b2cb1f7b2                   Address Redacted                      First Class Mail
ae044dc1‐7fd6‐4ae3‐b3ab‐f1633f33572a                   Address Redacted                      First Class Mail
ae050e13‐2e94‐4acf‐a4d9‐1d2edaf6ea25                   Address Redacted                      First Class Mail
ae06bae0‐b540‐4762‐9460‐c609bc947c57                   Address Redacted                      First Class Mail
ae0a8cad‐b5ad‐4103‐a65f‐8b49383e93ad                   Address Redacted                      First Class Mail
ae0b6d16‐c37a‐4d37‐a6c3‐675a1fa56685                   Address Redacted                      First Class Mail
ae0eb4f8‐a8d7‐45d1‐90e3‐92cda7ebe19d                   Address Redacted                      First Class Mail
ae10cf28‐36d1‐44b5‐95f1‐bd21953a298f                   Address Redacted                      First Class Mail
ae145bbf‐9960‐4043‐9b20‐215c34d85642                   Address Redacted                      First Class Mail
ae171594‐457f‐426e‐acbb‐783ed8865a88                   Address Redacted                      First Class Mail
ae1a3590‐1b49‐4fc1‐8d1d‐2819405ed406                   Address Redacted                      First Class Mail
ae1fed85‐61bf‐4f67‐af45‐eee53071321e                   Address Redacted                      First Class Mail
ae234c44‐37d6‐4f83‐8e90‐33cc40fede5b                   Address Redacted                      First Class Mail
ae2820ea‐461b‐42f9‐af21‐1d71629a912a                   Address Redacted                      First Class Mail
ae2953f4‐4e0e‐4089‐8f0a‐36fbecb5bfeb                   Address Redacted                      First Class Mail
ae2c4a3c‐24bb‐4810‐bd48‐eaa43a28c5e7                   Address Redacted                      First Class Mail
ae2d8ae6‐4673‐41c1‐8227‐2d2e8f6dbb6e                   Address Redacted                      First Class Mail
ae2dd202‐a75e‐45d9‐b49f‐4e33dcab97b7                   Address Redacted                      First Class Mail
ae2e173c‐b983‐48b5‐926f‐09e00be615d5                   Address Redacted                      First Class Mail
ae3565bd‐fe1a‐4a91‐8cd1‐0c2b8cea4fce                   Address Redacted                      First Class Mail
ae36c2d7‐7191‐4484‐9be9‐24fc1ffdebff                   Address Redacted                      First Class Mail
ae3d1ff2‐3cb2‐45e3‐87b2‐d85695c742fc                   Address Redacted                      First Class Mail
ae3db71a‐834e‐4e55‐9f24‐b2fc506f24f5                   Address Redacted                      First Class Mail
ae3e4c5a‐cd2c‐4256‐98e0‐cfadd6e73ca5                   Address Redacted                      First Class Mail
ae42d256‐6c53‐469d‐9e91‐7350b259783d                   Address Redacted                      First Class Mail
ae43061b‐370b‐458e‐b0e4‐1b1ccbb37046                   Address Redacted                      First Class Mail
ae45c5ee‐06f4‐490d‐a6b3‐31ba73f8e938                   Address Redacted                      First Class Mail
ae46eea3‐73f5‐447d‐a733‐67705e6a5e2f                   Address Redacted                      First Class Mail
ae4a5de5‐7b1d‐4607‐9ce8‐249c904ab1aa                   Address Redacted                      First Class Mail
ae4e46f7‐3e36‐429c‐a853‐bc8fb2c2f734                   Address Redacted                      First Class Mail
ae4f0014‐0a3f‐448a‐843c‐8d8c1838ed61                   Address Redacted                      First Class Mail
ae5c2023‐53e5‐4292‐b8e4‐467639f25eeb                   Address Redacted                      First Class Mail
ae5c96b1‐3689‐42f5‐8b12‐003990db334d                   Address Redacted                      First Class Mail
ae5f9a6f‐b245‐4932‐b3d9‐973a49af42cf                   Address Redacted                      First Class Mail
ae616e2c‐ecf0‐47e5‐9803‐186409f2df8a                   Address Redacted                      First Class Mail
ae6370da‐e4ed‐4088‐98d1‐4534cee49c81                   Address Redacted                      First Class Mail
ae6576b4‐d00e‐4c91‐854e‐d1c270d8f5fb                   Address Redacted                      First Class Mail
ae6833f0‐9c56‐48bb‐bc5d‐1926feb9bcd8                   Address Redacted                      First Class Mail
ae6a7287‐2a90‐4aea‐ad53‐6a45cb967b67                   Address Redacted                      First Class Mail
ae6ae7cf‐0eff‐4ebe‐a2b1‐87206ca4282e                   Address Redacted                      First Class Mail
ae6cf860‐58c1‐4ac5‐a9d5‐3c8ffe9feba1                   Address Redacted                      First Class Mail
ae6cfb43‐08e8‐4c5c‐af86‐7140e5642074                   Address Redacted                      First Class Mail
ae6d2a8b‐89dc‐46d2‐adf1‐c60a476d70ca                   Address Redacted                      First Class Mail
ae6d7f3e‐a579‐4878‐aba5‐30ea3ee4b87a                   Address Redacted                      First Class Mail
ae71e2c3‐a099‐49d1‐bf5a‐019dddd5e8e8                   Address Redacted                      First Class Mail
ae72a042‐8268‐4b6c‐8491‐8f60d22e9aed                   Address Redacted                      First Class Mail
ae7c30de‐53f2‐40aa‐8d09‐b3652e2317d6                   Address Redacted                      First Class Mail
ae7e6cb5‐96ce‐49cc‐885c‐816e22cc8508                   Address Redacted                      First Class Mail
ae82ae42‐2b79‐4d95‐988b‐1eea16e5b069                   Address Redacted                      First Class Mail
ae8444ed‐dc0d‐43c8‐a76a‐db9e024f2a2d                   Address Redacted                      First Class Mail
ae853362‐4a84‐4385‐a298‐91ea613db90a                   Address Redacted                      First Class Mail
ae8b213d‐ca2b‐4dd3‐ae80‐fde7e7e0c740                   Address Redacted                      First Class Mail
ae8c1897‐f462‐4095‐96c1‐be2f4be39840                   Address Redacted                      First Class Mail
ae8d2fb4‐8590‐4e10‐b5bd‐c3d4af32feac                   Address Redacted                      First Class Mail
ae8e29a7‐f416‐4368‐8ecb‐8fc885e22e43                   Address Redacted                      First Class Mail
ae95d8bb‐a2f2‐4573‐a507‐7e650b96158b                   Address Redacted                      First Class Mail
ae97b732‐9d95‐48ca‐b6ce‐23a52ad885c8                   Address Redacted                      First Class Mail
ae9c2eef‐5c9b‐485a‐a700‐35b395492e64                   Address Redacted                      First Class Mail
ae9e0856‐e913‐4181‐8e12‐41c2d7c51f77                   Address Redacted                      First Class Mail
ae9f9f5f‐3727‐49dc‐8673‐52d9cad4d325                   Address Redacted                      First Class Mail
aea36afe‐1bf4‐4066‐9f9e‐9994686a0841                   Address Redacted                      First Class Mail
aea4f810‐ae39‐41b3‐91d3‐396b8c9984ef                   Address Redacted                      First Class Mail
aea9ac5a‐9d11‐4145‐a6c3‐f2ac28ef23b4                   Address Redacted                      First Class Mail
aea9bf90‐93f3‐419e‐aea8‐5d0a09b0759c                   Address Redacted                      First Class Mail
aeab91e1‐dd7c‐4663‐90a9‐d836189352f3                   Address Redacted                      First Class Mail
aeaccd3c‐d818‐4856‐8c21‐ffe9788dae86                   Address Redacted                      First Class Mail
aeaed1a6‐c0ff‐4106‐981d‐da5fe5b1112a                   Address Redacted                      First Class Mail
aeb1e664‐41f4‐45f3‐84dd‐f312162f40cb                   Address Redacted                      First Class Mail
aeb21bca‐f9fa‐4bbc‐9c5f‐ddb25d8e3ad2                   Address Redacted                      First Class Mail




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                               Name                                             Address                         Method of Service
aeb271cb‐ff47‐4ab9‐8fd4‐d529d54c7955                   Address Redacted                      First Class Mail
aeb2bd59‐b90e‐4b8c‐88b1‐a636675216e1                   Address Redacted                      First Class Mail
aeb366ae‐d5d6‐438f‐8be6‐56f3f638b018                   Address Redacted                      First Class Mail
aeb93c7b‐81e9‐43b8‐a383‐9559cbf5f52f                   Address Redacted                      First Class Mail
aeba889a‐4ed5‐4ef8‐85d5‐372d5933345f                   Address Redacted                      First Class Mail
aebc37ef‐4c8c‐41c4‐8449‐31a51f2f5e22                   Address Redacted                      First Class Mail
aebd13d8‐c43f‐453c‐bb41‐ce33e9881e84                   Address Redacted                      First Class Mail
aec10ea7‐97dd‐4e87‐94e8‐6193b6bdc8e0                   Address Redacted                      First Class Mail
aec1fe68‐8502‐4361‐babb‐6565ec30a0b9                   Address Redacted                      First Class Mail
aec4ff02‐59e4‐4280‐b5fb‐e516c16cc92a                   Address Redacted                      First Class Mail
aec64a0a‐6b10‐40ae‐a14e‐8d2a9540f3ef                   Address Redacted                      First Class Mail
aec8090c‐46a5‐445d‐afac‐ff005aada501                   Address Redacted                      First Class Mail
aec8d0e4‐93fe‐4e67‐b7e8‐059da2f85686                   Address Redacted                      First Class Mail
aec96ff0‐348e‐46c6‐9496‐e070543ebbc7                   Address Redacted                      First Class Mail
aec9ac26‐2adb‐4fc8‐b372‐2bbe74fce34b                   Address Redacted                      First Class Mail
aecb81a2‐6608‐4eeb‐92c8‐3e2f638b1767                   Address Redacted                      First Class Mail
aeceb021‐095e‐4312‐bf44‐39f581582c1a                   Address Redacted                      First Class Mail
aecf227d‐dcbb‐4849‐86f4‐f2455a134b57                   Address Redacted                      First Class Mail
aecf77e3‐92c1‐45d6‐ba6e‐d8db26afe482                   Address Redacted                      First Class Mail
aed09bc6‐0640‐4dcb‐8562‐2f18485491d0                   Address Redacted                      First Class Mail
aed63fbb‐a5d1‐4d13‐8d81‐27941ddbe02e                   Address Redacted                      First Class Mail
aed6dc92‐0105‐4971‐b7c3‐86fe89b4b373                   Address Redacted                      First Class Mail
aed6e921‐0bcd‐41e4‐ae99‐5ad89b279b29                   Address Redacted                      First Class Mail
aed93d2b‐8fc3‐4d94‐924b‐00ec59a19bf6                   Address Redacted                      First Class Mail
aed991e5‐7bcd‐4d74‐b4e4‐8ab783f9c253                   Address Redacted                      First Class Mail
aedc1a99‐12c7‐4eb6‐8fd9‐e2b31b6da796                   Address Redacted                      First Class Mail
aee0eda7‐1529‐4eb2‐b654‐f7cf33d1577c                   Address Redacted                      First Class Mail
aee0f088‐3ece‐4422‐be68‐660c77e97793                   Address Redacted                      First Class Mail
aee196a5‐3a71‐4c67‐a178‐74ef3de97219                   Address Redacted                      First Class Mail
aee26056‐3ae8‐4caa‐be52‐1d753b95c2b7                   Address Redacted                      First Class Mail
aeed09b8‐3ae4‐4afd‐bde0‐2828adf3f891                   Address Redacted                      First Class Mail
aef1a4c5‐c7fa‐45ea‐9671‐8410eb229c57                   Address Redacted                      First Class Mail
aef1ca99‐2706‐481b‐a487‐8ab954d6d570                   Address Redacted                      First Class Mail
aef2d2fa‐eb4b‐4665‐adb0‐077b771c12cc                   Address Redacted                      First Class Mail
aef3dbfc‐3f7e‐46cd‐a2f0‐06ba984296e4                   Address Redacted                      First Class Mail
aef4ed82‐a636‐4070‐af75‐bfc43f6adf73                   Address Redacted                      First Class Mail
aefaf775‐a9c8‐447b‐b024‐6539e92151c6                   Address Redacted                      First Class Mail
aefbf9c6‐fe81‐4ff2‐a8ca‐19465a6d8239                   Address Redacted                      First Class Mail
aefc0889‐a88f‐4c60‐94e6‐2b9553bbd14b                   Address Redacted                      First Class Mail
aefdb526‐b12c‐465c‐b77c‐d1492e578fe8                   Address Redacted                      First Class Mail
aefdd540‐6d03‐4cb4‐8126‐400873f5b4f7                   Address Redacted                      First Class Mail
af003b53‐9bbf‐4ca7‐832b‐11ab7ea2aa0f                   Address Redacted                      First Class Mail
af04106f‐91e2‐40be‐a08a‐5a0eaf4bbfed                   Address Redacted                      First Class Mail
af094c96‐7517‐4193‐b4e8‐8c38ab81d046                   Address Redacted                      First Class Mail
af0b39c4‐9c64‐458e‐a906‐e1fa2e291382                   Address Redacted                      First Class Mail
af0cb58f‐0735‐4d78‐8d0a‐59b4a250baa3                   Address Redacted                      First Class Mail
af0f55a1‐9c19‐4661‐a177‐b59cda7396f6                   Address Redacted                      First Class Mail
af116aa3‐1d82‐48ea‐ad35‐a49dd0f8c19f                   Address Redacted                      First Class Mail
af12fe48‐be60‐465a‐9941‐32d76c8c631e                   Address Redacted                      First Class Mail
af14612d‐eee0‐449b‐a260‐58f19c91bdd5                   Address Redacted                      First Class Mail
af174ef4‐686a‐42bb‐bb3c‐500bfb1ecb13                   Address Redacted                      First Class Mail
af18f726‐a22e‐4d84‐a692‐b396ad8a2ed7                   Address Redacted                      First Class Mail
af1af866‐c507‐4c66‐963d‐deead1dd8a1d                   Address Redacted                      First Class Mail
af1e0b51‐56fa‐4512‐a98d‐6f5a21338097                   Address Redacted                      First Class Mail
af1e7642‐02f3‐4391‐a938‐6cc6afa5d6e5                   Address Redacted                      First Class Mail
af1fb665‐5d2f‐4941‐9963‐971553909492                   Address Redacted                      First Class Mail
af208602‐05bf‐48fd‐babe‐4b9cf91c4fa4                   Address Redacted                      First Class Mail
af246b2b‐8630‐48b8‐ad68‐020d11b791e6                   Address Redacted                      First Class Mail
af2667c8‐a6fc‐4917‐b63e‐535fff9ecf2a                   Address Redacted                      First Class Mail
af2975e0‐ea66‐4a6f‐8b5b‐779c67db8356                   Address Redacted                      First Class Mail
af29d76b‐48a1‐44fe‐a693‐97f0f2215ac5                   Address Redacted                      First Class Mail
af2d9018‐8720‐4f0a‐b5a3‐367621833c71                   Address Redacted                      First Class Mail
af31ed88‐05c5‐44f0‐be02‐45fd4e8a543c                   Address Redacted                      First Class Mail
af35b50a‐1e7d‐4820‐8f5e‐ec0df327e73c                   Address Redacted                      First Class Mail
af3cfc1f‐020c‐48f0‐86ba‐e7474c4e98e1                   Address Redacted                      First Class Mail
af3e1eeb‐05d4‐4df3‐ab03‐07566932d04d                   Address Redacted                      First Class Mail
af3ee0ae‐b6ea‐409c‐91e6‐1f1d4d0d5ddb                   Address Redacted                      First Class Mail
af412ef0‐4dc0‐4de4‐9194‐2f00eb4e9e33                   Address Redacted                      First Class Mail
af415be5‐3165‐4f66‐9b20‐3bc9cb8c0dcf                   Address Redacted                      First Class Mail
af4321e1‐12f4‐4f13‐855d‐309a5b8f6b79                   Address Redacted                      First Class Mail
af43a3aa‐26b9‐4028‐a3fa‐ce7f82a454b5                   Address Redacted                      First Class Mail
af449c43‐0755‐4274‐a63c‐3cea29de9fb9                   Address Redacted                      First Class Mail




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                                                                 Service List


                              Name                                              Address                         Method of Service
af478a15‐a6c5‐4928‐88ff‐5e08c3f1e341                   Address Redacted                      First Class Mail
af49cf6f‐30cd‐4b52‐a341‐ae8103cd7d42                   Address Redacted                      First Class Mail
af4b32f6‐1330‐44b8‐ba33‐8ece63898740                   Address Redacted                      First Class Mail
af4c69ae‐90db‐4042‐bbfb‐55f7a394cd86                   Address Redacted                      First Class Mail
af4eb065‐13f8‐4aeb‐8f58‐fb0ea6957182                   Address Redacted                      First Class Mail
af52ac0a‐7ef7‐4816‐9ce1‐d11582e8f9d2                   Address Redacted                      First Class Mail
af55e45f‐6198‐417d‐8fce‐e8f0f0cc38ca                   Address Redacted                      First Class Mail
af5efe6d‐fd33‐4848‐9ab2‐d083d96d243e                   Address Redacted                      First Class Mail
af6a2da6‐76cd‐419c‐b5dc‐7e7f803343cc                   Address Redacted                      First Class Mail
af6c8a9a‐0683‐4cb7‐ac04‐86328a9e7137                   Address Redacted                      First Class Mail
af6cb9a6‐0964‐4c0f‐a7bb‐dd64e746d3fb                   Address Redacted                      First Class Mail
af6df01b‐3841‐4db3‐b6be‐60f552f95813                   Address Redacted                      First Class Mail
af701510‐5d7f‐44ca‐ad30‐b2d66501464f                   Address Redacted                      First Class Mail
af742099‐89dd‐494e‐9ddd‐f38cc8585bc2                   Address Redacted                      First Class Mail
af7b80b1‐e091‐44d2‐9b76‐72e24bdb6701                   Address Redacted                      First Class Mail
af7c6dd0‐d047‐41ce‐a8c0‐871bef6ff990                   Address Redacted                      First Class Mail
af7d3713‐3f3a‐4645‐8014‐5e46947dffb9                   Address Redacted                      First Class Mail
af80f6e8‐b833‐4db0‐b262‐625b04c58f04                   Address Redacted                      First Class Mail
af88caf2‐c321‐449d‐aaaa‐eba3866c15e5                   Address Redacted                      First Class Mail
af8c4799‐d1eb‐42cf‐bc5e‐ab95a6d1ee1d                   Address Redacted                      First Class Mail
af8ea134‐ff87‐4a48‐a370‐ebb74e4f5cd7                   Address Redacted                      First Class Mail
af8f713a‐71dc‐4492‐b601‐cafd6318fda7                   Address Redacted                      First Class Mail
af9174ae‐0162‐4ec9‐9ba1‐ba7d2e5cba8e                   Address Redacted                      First Class Mail
af929dbb‐e82c‐449b‐b8a5‐80639c6c7d29                   Address Redacted                      First Class Mail
af976eb0‐2dc9‐4f1c‐9c33‐78fd6c7bc1f1                   Address Redacted                      First Class Mail
af981826‐ec57‐4b26‐9f1e‐54be72f87409                   Address Redacted                      First Class Mail
afa2dac9‐bf57‐4c9f‐a5dd‐c643007e6a86                   Address Redacted                      First Class Mail
afa3b6f9‐b2e3‐4ae9‐b3cc‐4672f9be389c                   Address Redacted                      First Class Mail
afa4066c‐8a16‐470e‐840c‐446cf09d2761                   Address Redacted                      First Class Mail
afab117f‐fd50‐4d9c‐ad75‐05088f7ecd26                   Address Redacted                      First Class Mail
afacefa2‐2aea‐4275‐a106‐374e466abea7                   Address Redacted                      First Class Mail
afad2e1b‐2604‐4489‐a494‐9b4f77f62ab7                   Address Redacted                      First Class Mail
afb36138‐4a9f‐4f7a‐b498‐e513b7f27036                   Address Redacted                      First Class Mail
afb48278‐267b‐4d93‐acb7‐72a82516092f                   Address Redacted                      First Class Mail
afb4a5d8‐58d4‐4192‐8abb‐bbf25cfd16e0                   Address Redacted                      First Class Mail
afb51437‐fd8a‐450b‐ba65‐1749d50c4238                   Address Redacted                      First Class Mail
afb79dea‐c9b0‐4e14‐92b1‐90abc5194848                   Address Redacted                      First Class Mail
afbdee49‐a81c‐4e37‐8f0c‐a627631c51e0                   Address Redacted                      First Class Mail
afc3221f‐5d69‐4653‐8894‐c2de55661998                   Address Redacted                      First Class Mail
afc332ac‐bdd2‐404f‐8e1c‐d5f4d1fb69ab                   Address Redacted                      First Class Mail
afca06b1‐bdaa‐4c6a‐9cf2‐1ad525e47a36                   Address Redacted                      First Class Mail
afcb55cc‐6b5c‐4226‐ba40‐7fcad3fafc09                   Address Redacted                      First Class Mail
afced799‐b19d‐4821‐9312‐3252f230234e                   Address Redacted                      First Class Mail
afd45585‐fb14‐4bac‐9d17‐b1e7081bfdb1                   Address Redacted                      First Class Mail
afd79b86‐9cf1‐44cc‐9292‐cf6d6b5b13e7                   Address Redacted                      First Class Mail
afd8bc55‐fb09‐4538‐b7b3‐4d21a850f288                   Address Redacted                      First Class Mail
afde8a3c‐d02e‐40db‐83c5‐51cef4efa862                   Address Redacted                      First Class Mail
afe045a3‐9117‐4b0b‐8a37‐117c2fedbb3f                   Address Redacted                      First Class Mail
afe0c36f‐62f2‐482a‐87ee‐c84ad08f7e27                   Address Redacted                      First Class Mail
afe30a5e‐df69‐4b6b‐9528‐67ec31bf3c4b                   Address Redacted                      First Class Mail
afe3605c‐06de‐49ea‐9f74‐d3f3ef269d10                   Address Redacted                      First Class Mail
afe3b52e‐0089‐4595‐9a54‐111057d0420c                   Address Redacted                      First Class Mail
afe78418‐c375‐480b‐8627‐58739fb23cc3                   Address Redacted                      First Class Mail
afe9fa73‐44fe‐42d8‐ad15‐65dd5f2c39f7                   Address Redacted                      First Class Mail
afef2a36‐f485‐4729‐9a06‐2bf21f9e8247                   Address Redacted                      First Class Mail
afef60bd‐2460‐41b4‐bc9d‐008fefa636e9                   Address Redacted                      First Class Mail
afef780b‐9976‐4b91‐9616‐1b73f6339efc                   Address Redacted                      First Class Mail
afef784a‐7277‐4e17‐8b01‐ca28595b8cee                   Address Redacted                      First Class Mail
aff135dc‐4a68‐41f6‐ae7f‐68e501762e6f                   Address Redacted                      First Class Mail
aff20ed1‐0aaf‐444a‐8b5f‐71e7b5110498                   Address Redacted                      First Class Mail
aff28307‐6552‐4a1a‐a7d7‐3433ab61ee99                   Address Redacted                      First Class Mail
aff56c3f‐bdcb‐4c72‐a2dd‐be8cfc4e278f                   Address Redacted                      First Class Mail
aff6993d‐b9c6‐4cab‐bad6‐19aeeaadf0a8                   Address Redacted                      First Class Mail
aff8b190‐41c7‐4952‐b2b8‐e3f1286009a6                   Address Redacted                      First Class Mail
affabb27‐86f0‐4785‐a839‐fb5ac3146a4e                   Address Redacted                      First Class Mail
affc13d9‐203c‐4e4a‐8078‐497e10cbce43                   Address Redacted                      First Class Mail
b0005bd1‐43ea‐4e54‐a948‐944905239251                   Address Redacted                      First Class Mail
b0005c45‐7c2f‐4119‐a0bd‐fd4e8abe93ab                   Address Redacted                      First Class Mail
b0011e10‐d1eb‐4d9e‐bfcb‐6169062d5b11                   Address Redacted                      First Class Mail
b006d808‐6cd7‐4410‐9ac3‐bb196a4723d6                   Address Redacted                      First Class Mail
b006eecb‐ad5a‐4382‐b29b‐329c677d1b17                   Address Redacted                      First Class Mail
b00e3e82‐301e‐4f2d‐ac05‐519da478cb3d                   Address Redacted                      First Class Mail




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                                                                Exhibit A
                                                                 Service List


                               Name                                             Address                         Method of Service
b01574ad‐e6eb‐44ee‐86ee‐ed7a0091e857                   Address Redacted                      First Class Mail
b01885a8‐e4a8‐418b‐81d3‐00d200f89d46                   Address Redacted                      First Class Mail
b0189d57‐d5ee‐4d2a‐ae52‐faca4b00e7b0                   Address Redacted                      First Class Mail
b0195a29‐5993‐4c25‐a3a3‐730e0362dbfd                   Address Redacted                      First Class Mail
b019eb13‐2150‐45bb‐8611‐a11920b275b2                   Address Redacted                      First Class Mail
b01eefa3‐5907‐43ad‐8ef7‐13e8a40b06c1                   Address Redacted                      First Class Mail
b01f08aa‐022c‐46d0‐ad3d‐7967a3bb3ec9                   Address Redacted                      First Class Mail
b0204a09‐14f0‐4406‐9331‐1455207b8611                   Address Redacted                      First Class Mail
b0250eac‐88a1‐478e‐940b‐d93707c6594c                   Address Redacted                      First Class Mail
b025c997‐3b7f‐4ef6‐b8f8‐01ecea1caeec                   Address Redacted                      First Class Mail
b0275772‐2da4‐4090‐a95c‐bf6ac78dc6a2                   Address Redacted                      First Class Mail
b0285723‐cc85‐4b90‐9bca‐94bab3aac8fa                   Address Redacted                      First Class Mail
b02bda8c‐611f‐4068‐9d19‐afe5748982c7                   Address Redacted                      First Class Mail
b02d4baa‐4197‐4a5f‐a2f7‐0d06ad77d3ff                   Address Redacted                      First Class Mail
b02fd33a‐fdb0‐41d3‐8242‐25e9b33276b8                   Address Redacted                      First Class Mail
b03114cc‐4f86‐43b1‐ac89‐244a9ff2d1e0                   Address Redacted                      First Class Mail
b031ba09‐ac51‐4fa8‐b572‐c4b2831fa1c2                   Address Redacted                      First Class Mail
b031fa96‐b09c‐43e6‐8860‐a353588857d2                   Address Redacted                      First Class Mail
b035720f‐fae4‐4a02‐b8ee‐8fb4e8f8dd3e                   Address Redacted                      First Class Mail
b0390c19‐b4e9‐46cb‐a517‐865ae2b8a2d6                   Address Redacted                      First Class Mail
b03c1673‐011c‐4b62‐a050‐5ca9b4ddc500                   Address Redacted                      First Class Mail
b03ea1b8‐ef56‐44ed‐922f‐5e7489204791                   Address Redacted                      First Class Mail
b040d23b‐34c9‐4335‐b480‐670f712d52f4                   Address Redacted                      First Class Mail
b043e9ff‐c9fa‐4516‐a788‐84851db327df                   Address Redacted                      First Class Mail
b048b72a‐f032‐48a5‐bbed‐41e79239e6be                   Address Redacted                      First Class Mail
b04af6d1‐1ba8‐4098‐89f2‐cb8eb3ac7202                   Address Redacted                      First Class Mail
b04d7cb9‐9d3e‐4a6a‐8eeb‐24e8a8972a7d                   Address Redacted                      First Class Mail
b04e1ac5‐7c63‐43fd‐9ed6‐ab615d3792a7                   Address Redacted                      First Class Mail
b04f0cef‐4822‐476c‐8f66‐88fa6bffb9fa                   Address Redacted                      First Class Mail
b0512923‐2466‐4476‐afdb‐27e631a87e3f                   Address Redacted                      First Class Mail
b0558da4‐0332‐4f66‐b87f‐6c9351592a89                   Address Redacted                      First Class Mail
b05ba416‐3022‐49b8‐a1fd‐262634377e1e                   Address Redacted                      First Class Mail
b05f72b0‐930c‐42f9‐8b0a‐30edb3457c02                   Address Redacted                      First Class Mail
b05fbc58‐b78b‐4437‐8324‐c530e4d1906b                   Address Redacted                      First Class Mail
b0607685‐2dab‐4d70‐bbe5‐c23bd6702d26                   Address Redacted                      First Class Mail
b0634966‐58d1‐437b‐9895‐3ff470007246                   Address Redacted                      First Class Mail
b06554a0‐ca3a‐4f5a‐a456‐e5cdedef3c7b                   Address Redacted                      First Class Mail
b0656947‐bc97‐4c52‐8a04‐f0702afa81a9                   Address Redacted                      First Class Mail
b066da84‐8a4e‐4278‐9db8‐045d7092a1fa                   Address Redacted                      First Class Mail
b067f5b0‐d35f‐4fbf‐8666‐f3c0dae805e6                   Address Redacted                      First Class Mail
b06b18db‐57b2‐45a2‐b017‐804ad1e89d0f                   Address Redacted                      First Class Mail
b06b5c40‐1de0‐4219‐bfb7‐160db2e7255a                   Address Redacted                      First Class Mail
b06be2cf‐749a‐4b8c‐b669‐3f995d826a3e                   Address Redacted                      First Class Mail
b0720fdc‐01f7‐4419‐89f7‐ed6dfe4738bf                   Address Redacted                      First Class Mail
b072d54e‐4551‐4d35‐99cd‐4a2691b3d18d                   Address Redacted                      First Class Mail
b073d381‐d2d1‐4ca7‐94a2‐b8c2a5c49243                   Address Redacted                      First Class Mail
b0746c31‐ac19‐44bf‐b7c4‐402d5946baae                   Address Redacted                      First Class Mail
b074733d‐59ee‐4fab‐adcb‐eb5449d12ffc                   Address Redacted                      First Class Mail
b075591c‐91b1‐4105‐a997‐80ec7ed4748e                   Address Redacted                      First Class Mail
b076323c‐c5fa‐4d7d‐9e02‐af96a70f66bc                   Address Redacted                      First Class Mail
b0781610‐9a3c‐41fd‐b6df‐7141337dfb49                   Address Redacted                      First Class Mail
b08277b4‐76f5‐4b7f‐a8fe‐cf70fb30c8b3                   Address Redacted                      First Class Mail
b0827e85‐2c70‐4e9d‐a96f‐8125d7318538                   Address Redacted                      First Class Mail
b0846136‐9bac‐464b‐9807‐a05eb0a5e0b2                   Address Redacted                      First Class Mail
b086c910‐aae6‐4058‐bf75‐c0543269be5a                   Address Redacted                      First Class Mail
b08b72ea‐364f‐4ff0‐975f‐4c7f827cf3b2                   Address Redacted                      First Class Mail
b08f1e46‐c706‐4c10‐b83e‐10cfa6c5a1a8                   Address Redacted                      First Class Mail
b08fcf2f‐f105‐441f‐ab81‐ccc88f783474                   Address Redacted                      First Class Mail
b09083ac‐1ac8‐4967‐a66e‐598e969d479e                   Address Redacted                      First Class Mail
b0925ce0‐bc17‐469b‐8728‐fd91d4262abc                   Address Redacted                      First Class Mail
b0948dce‐0578‐49b8‐936f‐07db90c859d7                   Address Redacted                      First Class Mail
b0968492‐1fd8‐426a‐ba2b‐95141791fbaf                   Address Redacted                      First Class Mail
b09c9414‐19bf‐4b2b‐9154‐261e78b0ecf9                   Address Redacted                      First Class Mail
b0a15dd5‐077c‐454f‐ada5‐32932df3f316                   Address Redacted                      First Class Mail
b0a19495‐2156‐4235‐8b54‐382d4fc11cc5                   Address Redacted                      First Class Mail
b0a23fd4‐7bf1‐4b55‐9979‐480610191810                   Address Redacted                      First Class Mail
b0a3490f‐a21f‐40ef‐aefb‐a456e67c1688                   Address Redacted                      First Class Mail
b0a3a25a‐db41‐4d48‐9c1a‐748ff4ae4d46                   Address Redacted                      First Class Mail
b0a5bca1‐3712‐4afc‐b6f4‐6fe41565f10d                   Address Redacted                      First Class Mail
b0a8732b‐e5dc‐4d1a‐9cd1‐7f47ef3249c5                   Address Redacted                      First Class Mail
b0a8ac5d‐3c5f‐412c‐a3b3‐30ac591d67bc                   Address Redacted                      First Class Mail
b0aa1660‐eadf‐4063‐aa71‐afa5decc06ff                   Address Redacted                      First Class Mail




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                                                                 Service List


                              Name                                              Address                         Method of Service
b0ae264d‐0465‐4d74‐91ff‐4397e6ae2c3f                   Address Redacted                      First Class Mail
b0ae7130‐3f7f‐4f06‐a886‐c6dc6ccac0ef                   Address Redacted                      First Class Mail
b0b15270‐6591‐4824‐aba1‐0580a5e8355f                   Address Redacted                      First Class Mail
b0b46030‐c356‐45ae‐8e11‐06341cbe901a                   Address Redacted                      First Class Mail
b0b58daa‐8a44‐4300‐bd74‐14980fffadcb                   Address Redacted                      First Class Mail
b0bac3ee‐9924‐44ef‐939a‐3df02d4e27f8                   Address Redacted                      First Class Mail
b0baec3e‐8ba9‐4d04‐bb5c‐8d782cf8792a                   Address Redacted                      First Class Mail
b0be254b‐055f‐458f‐859f‐c5de0253d27f                   Address Redacted                      First Class Mail
b0c7c7c6‐098e‐4447‐b41d‐55a0b3792843                   Address Redacted                      First Class Mail
b0ca859a‐0d80‐4f95‐ad94‐ebbc5b6712af                   Address Redacted                      First Class Mail
b0cae647‐0229‐497c‐950f‐5b58783b94d1                   Address Redacted                      First Class Mail
b0caec9b‐b7ec‐468c‐a55b‐5551c6a97d01                   Address Redacted                      First Class Mail
b0d051fc‐a405‐41e9‐9294‐653dc6e98885                   Address Redacted                      First Class Mail
b0d24657‐d290‐4e93‐8675‐716484434108                   Address Redacted                      First Class Mail
b0d8013d‐a6df‐4014‐b93b‐22ae2b4579ea                   Address Redacted                      First Class Mail
b0da38c4‐3826‐4c3f‐891a‐c99af84e88ff                   Address Redacted                      First Class Mail
b0da394d‐fe94‐4184‐b361‐960f4dbb431c                   Address Redacted                      First Class Mail
b0dbb4b4‐8305‐43ba‐bec5‐009b6fce9648                   Address Redacted                      First Class Mail
b0dd2cdf‐6734‐4903‐9981‐042f6619de6f                   Address Redacted                      First Class Mail
b0dddb82‐30f4‐4df9‐8090‐d527d4ec583c                   Address Redacted                      First Class Mail
b0de7a6f‐024b‐4c71‐8a2f‐3141ae757077                   Address Redacted                      First Class Mail
b0deed82‐9752‐4f6f‐885d‐acb82ede8aad                   Address Redacted                      First Class Mail
b0df1793‐8f9b‐469d‐8c59‐de8866217754                   Address Redacted                      First Class Mail
b0e58e01‐bab4‐44f1‐9518‐2c916df405d6                   Address Redacted                      First Class Mail
b0e69ddd‐da3b‐471f‐920e‐a015d2ecbfdd                   Address Redacted                      First Class Mail
b0e6b820‐bca6‐44a1‐95d1‐e1728ccfff6f                   Address Redacted                      First Class Mail
b0e7b694‐d23b‐4b73‐aaf7‐f3b40e580a3e                   Address Redacted                      First Class Mail
b0ec8762‐81fa‐421c‐8fa7‐de1c704a58bf                   Address Redacted                      First Class Mail
b0ed7439‐41dc‐4061‐adc3‐2f7e374a3c8d                   Address Redacted                      First Class Mail
b0efe49c‐8b6f‐492f‐b9bb‐0ecc79d39c8c                   Address Redacted                      First Class Mail
b0efee93‐0361‐4343‐99ce‐c6b315f5cde8                   Address Redacted                      First Class Mail
b0f30336‐bf07‐4a3a‐b6b1‐b412d124c8f7                   Address Redacted                      First Class Mail
b0f45822‐ed9a‐44a3‐8b7d‐f36af1fe98e6                   Address Redacted                      First Class Mail
b0f4ee5e‐3e23‐4caf‐bb32‐fbe37e3705f6                   Address Redacted                      First Class Mail
b0fa564f‐0537‐4081‐9576‐352631da73c5                   Address Redacted                      First Class Mail
b0fd401e‐011e‐492a‐9d9d‐27fff1766ade                   Address Redacted                      First Class Mail
b0fe65c2‐27f5‐4805‐a878‐5efaf8a19011                   Address Redacted                      First Class Mail
b0fef9c4‐1113‐4943‐9527‐a6e353a538cb                   Address Redacted                      First Class Mail
b101427c‐a90a‐4c4a‐b304‐9a1bbd0e1df3                   Address Redacted                      First Class Mail
b1019bca‐0878‐43d5‐ac66‐127affc14a4c                   Address Redacted                      First Class Mail
b10328a2‐0f33‐4fab‐aa46‐842fb08200fe                   Address Redacted                      First Class Mail
b1060499‐78e7‐4399‐acb9‐1f1c7c6fabdf                   Address Redacted                      First Class Mail
b1072ed8‐a33a‐4b49‐8b18‐b20172831673                   Address Redacted                      First Class Mail
b107cb2b‐dc38‐4e9d‐acf9‐735f479524fe                   Address Redacted                      First Class Mail
b109ad38‐647b‐4fbb‐b718‐cb7dee76de20                   Address Redacted                      First Class Mail
b109bbe8‐7606‐4582‐8117‐270c4f570de4                   Address Redacted                      First Class Mail
b10df697‐d124‐4ce6‐90c1‐d80a0700cb63                   Address Redacted                      First Class Mail
b10eb17b‐05ca‐4f2f‐a976‐814b74796914                   Address Redacted                      First Class Mail
b110bfac‐7821‐458b‐a168‐f5ae70f31a65                   Address Redacted                      First Class Mail
b110f74d‐9659‐4a34‐8fac‐4930fa31a07e                   Address Redacted                      First Class Mail
b113ea97‐513f‐49a3‐84ec‐5fb28a0756e2                   Address Redacted                      First Class Mail
b1142250‐4d58‐4eb5‐b65a‐97f5955777a0                   Address Redacted                      First Class Mail
b1160704‐3642‐4855‐8aa9‐2d8179e1e90b                   Address Redacted                      First Class Mail
b1185973‐e1af‐4493‐bfe5‐2164a2b86c14                   Address Redacted                      First Class Mail
b11f87d5‐49a2‐47bb‐be38‐f6aa63f162a4                   Address Redacted                      First Class Mail
b12166ed‐b029‐4bff‐a469‐0861597e4822                   Address Redacted                      First Class Mail
b123b379‐5572‐4789‐9332‐d4cd362f91f2                   Address Redacted                      First Class Mail
b1279fef‐f929‐47aa‐8907‐30e5e3b7e60b                   Address Redacted                      First Class Mail
b12a6c03‐ac11‐4ed7‐a0dc‐852ac6a9fa27                   Address Redacted                      First Class Mail
b13423ad‐1a8a‐4c81‐805a‐49c8d2f40181                   Address Redacted                      First Class Mail
b135dab3‐9b0e‐40e9‐b760‐2a6fff854674                   Address Redacted                      First Class Mail
b13625c9‐775b‐4dba‐8d72‐c96432a25a64                   Address Redacted                      First Class Mail
b1393016‐6a96‐4dcd‐b22e‐68d46126ac8a                   Address Redacted                      First Class Mail
b13a067f‐3c54‐41f3‐90e3‐91e379c7ad6a                   Address Redacted                      First Class Mail
b13a2f21‐94cb‐4df6‐a83a‐01ba831a0a29                   Address Redacted                      First Class Mail
b13a85ea‐7c4f‐4bee‐8097‐f411fa8c05ee                   Address Redacted                      First Class Mail
b13eb5d7‐cf3e‐435b‐a5a5‐eb26e0eafabb                   Address Redacted                      First Class Mail
b141e3b9‐de1d‐4a85‐922c‐9dcfc3de03ba                   Address Redacted                      First Class Mail
b1440e2c‐2099‐4e92‐b2e3‐2f2cf944b8d7                   Address Redacted                      First Class Mail
b1444cdf‐8617‐4f1a‐9931‐d7bccdffdb7e                   Address Redacted                      First Class Mail
b144e61e‐0d8c‐43a7‐abd5‐58070bf2e83a                   Address Redacted                      First Class Mail
b1460c1c‐09f3‐4b53‐9cbf‐c79d5b29c844                   Address Redacted                      First Class Mail




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                                                                Exhibit A
                                                                 Service List


                              Name                                              Address                         Method of Service
b14696ff‐9a0d‐471e‐96ae‐e98bc7deb836                   Address Redacted                      First Class Mail
b1481c6c‐7f81‐4f27‐abba‐d67f38383502                   Address Redacted                      First Class Mail
b14a185d‐ff45‐4f6d‐b8eb‐6ea2c13306ce                   Address Redacted                      First Class Mail
b14dc86f‐0c6a‐4729‐a504‐81e06ed4997d                   Address Redacted                      First Class Mail
b153f00b‐b483‐4988‐9bd9‐9c492ee38e94                   Address Redacted                      First Class Mail
b154ce86‐4a03‐49c8‐9939‐fb2267c5737c                   Address Redacted                      First Class Mail
b1555c81‐fd0a‐4b37‐a14e‐0448eb2f6ece                   Address Redacted                      First Class Mail
b155ac2b‐ca7e‐4635‐b7e5‐b821d69c796d                   Address Redacted                      First Class Mail
b1593428‐55ae‐4fd5‐a9af‐87f6b2e01ae9                   Address Redacted                      First Class Mail
b15a7b26‐928f‐4e21‐b2ba‐c2a985b816d8                   Address Redacted                      First Class Mail
b15b89aa‐e7da‐438d‐b29b‐2677378e19b2                   Address Redacted                      First Class Mail
b15d980f‐686b‐43b9‐8d57‐f38d7b0d0d86                   Address Redacted                      First Class Mail
b15ee152‐dce2‐42eb‐b874‐d69c7ab94afe                   Address Redacted                      First Class Mail
b15fb3f1‐b65c‐41bc‐8123‐aa864c7caa56                   Address Redacted                      First Class Mail
b166952b‐9eeb‐4df9‐8fff‐8171398a638a                   Address Redacted                      First Class Mail
b1675275‐8101‐4722‐aeee‐9672ab500de3                   Address Redacted                      First Class Mail
b16ad12b‐f5c7‐4615‐85ca‐30d778079e56                   Address Redacted                      First Class Mail
b16fd148‐fd32‐4f34‐a7db‐d423ae30e52c                   Address Redacted                      First Class Mail
b16fd7f7‐2114‐443d‐a3d2‐aea0bef2bac9                   Address Redacted                      First Class Mail
b170c6f8‐2543‐4b26‐bbd5‐a13011388257                   Address Redacted                      First Class Mail
b1719469‐1117‐43dd‐92ac‐ea0b616214a3                   Address Redacted                      First Class Mail
b17252ba‐bfe5‐42bc‐acb7‐929b67085fda                   Address Redacted                      First Class Mail
b1729b37‐c0e8‐4660‐8791‐e72458b6f8d4                   Address Redacted                      First Class Mail
b17307f1‐faf3‐4bd3‐a54d‐24a5087caca5                   Address Redacted                      First Class Mail
b174228f‐032f‐40cd‐a98f‐0a1b9002eeea                   Address Redacted                      First Class Mail
b1764795‐d045‐4eb6‐b54b‐c53c6e3dfb42                   Address Redacted                      First Class Mail
b1779068‐abcd‐4cb5‐a393‐1831ded86f69                   Address Redacted                      First Class Mail
b17a3c4c‐f7c3‐447a‐9dcf‐81905193ac9c                   Address Redacted                      First Class Mail
b17b36b0‐8386‐4905‐91e8‐218bf083e6cf                   Address Redacted                      First Class Mail
b17bd3af‐3f53‐4f8f‐8814‐e4dd055e7837                   Address Redacted                      First Class Mail
b17d9d2f‐c3f2‐4e97‐90f1‐87b0f9dcf24b                   Address Redacted                      First Class Mail
b17f6733‐b977‐4e6d‐934c‐3c4bfee9a729                   Address Redacted                      First Class Mail
b18229ee‐86b3‐44fc‐adb5‐25a6b494d7c4                   Address Redacted                      First Class Mail
b18322ee‐1001‐45e6‐af88‐d4b092f45134                   Address Redacted                      First Class Mail
b187d46a‐c653‐4ea1‐a245‐e174c7c24856                   Address Redacted                      First Class Mail
b18969b1‐e983‐4940‐b1cd‐c6f541c6c358                   Address Redacted                      First Class Mail
b189ea1f‐4b57‐4356‐96f8‐16de489b9f50                   Address Redacted                      First Class Mail
b18a2318‐4479‐456d‐9142‐e2a804011f78                   Address Redacted                      First Class Mail
b18a422b‐4c54‐43cc‐9590‐b8885f066f89                   Address Redacted                      First Class Mail
b18f3a9b‐45c0‐4084‐8941‐5b2a9835689d                   Address Redacted                      First Class Mail
b18f80ca‐451f‐4804‐b31d‐cabfdeda346c                   Address Redacted                      First Class Mail
b1988080‐dc92‐4ea7‐9b07‐e4d84057042d                   Address Redacted                      First Class Mail
b1994188‐8004‐4b6d‐94a7‐f5ca01700a1c                   Address Redacted                      First Class Mail
b199ee50‐26cb‐4cc9‐9c94‐6f8501adf6fa                   Address Redacted                      First Class Mail
b19bc664‐a8ae‐484a‐b94f‐fa3b21628dbe                   Address Redacted                      First Class Mail
b1a2dd8f‐a1a2‐46ce‐8ee5‐4e26319676e7                   Address Redacted                      First Class Mail
b1a38a3e‐4f1d‐4064‐a0a0‐50f142f1b419                   Address Redacted                      First Class Mail
b1ac1972‐3742‐4a2e‐b358‐625450d1efbb                   Address Redacted                      First Class Mail
b1aec01d‐b5f0‐4f04‐8744‐6b2871620e87                   Address Redacted                      First Class Mail
b1b04d4c‐a15e‐488b‐9d20‐4552aeb99b2f                   Address Redacted                      First Class Mail
b1b4bb7b‐305b‐40b5‐b943‐d513d1703d0d                   Address Redacted                      First Class Mail
b1be0e7c‐9a83‐4f7f‐b6af‐e33e3a4243e4                   Address Redacted                      First Class Mail
b1c3de42‐be93‐4bd5‐a24c‐4926f836e632                   Address Redacted                      First Class Mail
b1c66ce4‐9f17‐4ab7‐8237‐b5cee956260f                   Address Redacted                      First Class Mail
b1c7fcea‐dc52‐4b72‐9936‐8eddb42fee1a                   Address Redacted                      First Class Mail
b1c80e02‐1798‐4366‐b476‐4b3e0277fa39                   Address Redacted                      First Class Mail
b1c8c4a2‐4806‐48a2‐b126‐30ae336b9a2c                   Address Redacted                      First Class Mail
b1c9f49e‐ddb8‐4ce3‐b520‐996ae1b1cf78                   Address Redacted                      First Class Mail
b1ca23b4‐08c3‐4a4c‐89a2‐1d9a45c22ac6                   Address Redacted                      First Class Mail
b1d29ac2‐b393‐41ed‐af3e‐3bf22f35c6e4                   Address Redacted                      First Class Mail
b1d53515‐59e5‐4d60‐935f‐d67655bcc5b8                   Address Redacted                      First Class Mail
b1d6117d‐40e5‐4ab6‐a200‐07d14799cf69                   Address Redacted                      First Class Mail
b1da58ab‐4a35‐4d49‐8867‐9fe89d999c65                   Address Redacted                      First Class Mail
b1dba415‐c5ca‐4859‐aa28‐2fa9529ea422                   Address Redacted                      First Class Mail
b1df73ac‐fb64‐4366‐9ad9‐f0ff96efe77a                   Address Redacted                      First Class Mail
b1df7688‐3285‐442a‐8ffa‐37f9e4ab8f7c                   Address Redacted                      First Class Mail
b1df8fea‐31fc‐4124‐b014‐6748d73ae163                   Address Redacted                      First Class Mail
b1e1cce5‐e5a7‐4869‐841d‐98d8cf5dd68f                   Address Redacted                      First Class Mail
b1e821a3‐53dc‐4ff2‐a51b‐e4bcc121e375                   Address Redacted                      First Class Mail
b1e9b29e‐d408‐4310‐9798‐ab342ef001fe                   Address Redacted                      First Class Mail
b1ea974e‐40a1‐4621‐a59b‐d0fbe1031b6f                   Address Redacted                      First Class Mail
b1eb787d‐cee8‐4b0a‐8985‐985ffbdfb60f                   Address Redacted                      First Class Mail




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                              Name                                              Address                         Method of Service
b1f11265‐875d‐4f80‐83b4‐8f7b621fc65b                   Address Redacted                      First Class Mail
b1f8da93‐75db‐49d1‐8c32‐18dd35c1b358                   Address Redacted                      First Class Mail
b1fb4412‐568f‐49f1‐8193‐1cb44d805e39                   Address Redacted                      First Class Mail
b2032e15‐1f9b‐43eb‐9657‐97da20624364                   Address Redacted                      First Class Mail
b2038490‐24c1‐4a26‐a435‐3a7700eaee11                   Address Redacted                      First Class Mail
b20414b4‐9751‐44ef‐ab1e‐25a08aa80bd3                   Address Redacted                      First Class Mail
b205e4e5‐ed8c‐4ba6‐8e7c‐3d80347b6980                   Address Redacted                      First Class Mail
b2069572‐e274‐4171‐b806‐b469667b2692                   Address Redacted                      First Class Mail
b2084066‐9495‐4585‐adc1‐559ff3dbb1d5                   Address Redacted                      First Class Mail
b2090a78‐6b51‐44d9‐acdf‐c2fbacf5fbdc                   Address Redacted                      First Class Mail
b209db43‐4d49‐48af‐ae5d‐d243b5057fa1                   Address Redacted                      First Class Mail
b20a2afa‐615b‐4f30‐ad53‐98e2ec596a27                   Address Redacted                      First Class Mail
b20e519b‐45b2‐474f‐8e7b‐e2b389cadffe                   Address Redacted                      First Class Mail
b20ef380‐182e‐4a98‐a05c‐4eeb317b419d                   Address Redacted                      First Class Mail
b211811e‐f1f9‐40fa‐b3da‐452586b2a91c                   Address Redacted                      First Class Mail
b2153d2b‐27c0‐4b34‐aa1d‐59bfa256f6de                   Address Redacted                      First Class Mail
b2166759‐3c5e‐41aa‐ac4d‐cdfbbfec56a0                   Address Redacted                      First Class Mail
b219ef34‐d304‐4d4f‐8c61‐b80be3829e33                   Address Redacted                      First Class Mail
b21a8121‐0047‐40d2‐8acd‐4448585c6c36                   Address Redacted                      First Class Mail
b21d2b0f‐65d6‐46f8‐b956‐e4642cbda197                   Address Redacted                      First Class Mail
b21ea6ed‐8a5a‐45ce‐b9ff‐42fe99bb3230                   Address Redacted                      First Class Mail
b21ec841‐c191‐4db9‐abc4‐a6473958c70c                   Address Redacted                      First Class Mail
b221f606‐fb2c‐4bcf‐9e2a‐e4f870e49d42                   Address Redacted                      First Class Mail
b224e221‐d57c‐4aaa‐9da1‐9da717a47756                   Address Redacted                      First Class Mail
b2260c49‐9a3c‐4b1f‐9133‐d7143e066458                   Address Redacted                      First Class Mail
b2279346‐ab10‐44e2‐8bc0‐96032104f232                   Address Redacted                      First Class Mail
b22a0482‐86fc‐481e‐84ed‐6ce85f5e9ad5                   Address Redacted                      First Class Mail
b22a6cd6‐0f85‐4b83‐8cce‐7d088a6f5cb2                   Address Redacted                      First Class Mail
b22e6d1f‐bb7f‐4bce‐bc58‐695c868916ac                   Address Redacted                      First Class Mail
b22f0189‐fe8e‐4ed4‐bd63‐b8fa5f2ef778                   Address Redacted                      First Class Mail
b23084a3‐1d64‐4cda‐bd68‐057e68392096                   Address Redacted                      First Class Mail
b230f175‐4fee‐41ae‐aa2e‐3a50aa6b16ac                   Address Redacted                      First Class Mail
b2323c2d‐2dba‐4dae‐ac8a‐b493a09f5fa2                   Address Redacted                      First Class Mail
b23ea48f‐c4bb‐4b9e‐8d09‐70a50e259585                   Address Redacted                      First Class Mail
b24010cf‐4065‐4b1f‐ae3e‐76a0bf23a1cf                   Address Redacted                      First Class Mail
b2402ed2‐cd4f‐44e0‐bb5f‐644cdf1cd50e                   Address Redacted                      First Class Mail
b240f371‐a016‐4282‐8954‐ab9b7a4def2c                   Address Redacted                      First Class Mail
b2419c97‐e7a6‐4d21‐aaf6‐c25c8b8516e4                   Address Redacted                      First Class Mail
b2426029‐248e‐45a0‐8296‐9513e7ccb650                   Address Redacted                      First Class Mail
b2450c70‐8d8e‐43a0‐bfed‐842bf7f026fc                   Address Redacted                      First Class Mail
b24519c6‐b9a9‐4680‐b82a‐5c916bcc445e                   Address Redacted                      First Class Mail
b2495ee6‐71bc‐455a‐b86f‐6508e133c1ac                   Address Redacted                      First Class Mail
b249fdbc‐cf7f‐49e2‐ba72‐ece48c18ac42                   Address Redacted                      First Class Mail
b24a1586‐91dc‐47af‐9b57‐39bc6634c058                   Address Redacted                      First Class Mail
b24adfb8‐1bd0‐49e7‐ada3‐63f821b1bbb3                   Address Redacted                      First Class Mail
b24f7157‐052e‐45b8‐8b9d‐e5981e666742                   Address Redacted                      First Class Mail
b24ffd58‐636e‐4740‐bbaa‐5ee68626b430                   Address Redacted                      First Class Mail
b2507eb5‐5491‐4c53‐a400‐1bf5b352756f                   Address Redacted                      First Class Mail
b258a23c‐96e8‐4874‐a6ec‐05465d6614fe                   Address Redacted                      First Class Mail
b25d6a11‐7501‐482d‐9071‐f169bcf8debe                   Address Redacted                      First Class Mail
b25fb83f‐5a49‐4050‐a6ba‐8dcc750d145b                   Address Redacted                      First Class Mail
b2670543‐b66b‐4f91‐baba‐c56d9b25ce4f                   Address Redacted                      First Class Mail
b2673808‐6026‐4375‐8d5c‐51109bd1889e                   Address Redacted                      First Class Mail
b269b46e‐ba5e‐460d‐83cf‐65f3327c8b3a                   Address Redacted                      First Class Mail
b26b14ce‐bfd2‐4138‐9871‐ceef82e04c2f                   Address Redacted                      First Class Mail
b26ea5d5‐7bd9‐46e7‐804e‐39dc5273ec70                   Address Redacted                      First Class Mail
b26f9d66‐5777‐469b‐a783‐7fbd62168aff                   Address Redacted                      First Class Mail
b273a345‐5003‐4a5d‐b839‐5d04ba9295ea                   Address Redacted                      First Class Mail
b2746d92‐d08b‐469c‐9501‐3d8b3a54c958                   Address Redacted                      First Class Mail
b2750dd1‐5d16‐4776‐811a‐3f65b4d2bce9                   Address Redacted                      First Class Mail
b27556d5‐ab2a‐4649‐8b5c‐ac23a60b7ecc                   Address Redacted                      First Class Mail
b276d0f8‐64c8‐4430‐acc4‐80191a656bdb                   Address Redacted                      First Class Mail
b27bb29b‐09a0‐4bb2‐bece‐be743db86af2                   Address Redacted                      First Class Mail
b27c9718‐bac3‐44f0‐9747‐a4c1bda34493                   Address Redacted                      First Class Mail
b27e17f1‐4dae‐42d9‐8241‐aaf0d17cd13b                   Address Redacted                      First Class Mail
b28a5859‐d61b‐4441‐a9a5‐1f9a06752274                   Address Redacted                      First Class Mail
b28dc169‐3db1‐4311‐b300‐a6756d306a3d                   Address Redacted                      First Class Mail
b2909168‐5725‐4664‐a511‐9d04566cf054                   Address Redacted                      First Class Mail
b291fa93‐320d‐4143‐85ac‐4023d4611e7c                   Address Redacted                      First Class Mail
b29504ab‐42be‐42e8‐8554‐7748f63ff3a8                   Address Redacted                      First Class Mail
b299bae5‐01b7‐424c‐aab1‐d2c0f2254f2e                   Address Redacted                      First Class Mail
b299c68d‐b99b‐4316‐a860‐9fda0c45c8ad                   Address Redacted                      First Class Mail




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                              Name                                              Address                         Method of Service
b29c4fdf‐99e6‐43de‐9a99‐7efdfadb49b2                   Address Redacted                      First Class Mail
b2a07cc2‐d9c9‐4b58‐95c9‐17622340b912                   Address Redacted                      First Class Mail
b2a22243‐739c‐4fc5‐83c4‐ee41b932999a                   Address Redacted                      First Class Mail
b2a68735‐d32e‐42ec‐9fcf‐34c7581c27ba                   Address Redacted                      First Class Mail
b2aa4ac4‐eb01‐40b8‐8b96‐1d00325addc0                   Address Redacted                      First Class Mail
b2aa9d26‐6f3b‐4864‐b3cc‐f695794a497d                   Address Redacted                      First Class Mail
b2aab5dc‐beca‐41bc‐9fd8‐8890dabebcca                   Address Redacted                      First Class Mail
b2acecdf‐e78c‐4838‐85e3‐06687d76a126                   Address Redacted                      First Class Mail
b2b6e8f5‐3669‐4d0a‐a381‐7d26a6f31915                   Address Redacted                      First Class Mail
b2b80b9f‐9ab0‐4cce‐bc99‐342b2a6db6c7                   Address Redacted                      First Class Mail
b2b81f3f‐6d8f‐4dcc‐8a2d‐f5e75fa401ee                   Address Redacted                      First Class Mail
b2ba82db‐5949‐44b6‐8bb0‐1653fc549643                   Address Redacted                      First Class Mail
b2c10153‐a1c9‐4c65‐a706‐722e32b2fb2e                   Address Redacted                      First Class Mail
b2c29f21‐705c‐4b14‐820c‐57a01ccd4f77                   Address Redacted                      First Class Mail
b2c349f2‐a680‐4f29‐8247‐c47379f747d0                   Address Redacted                      First Class Mail
b2c36f07‐8974‐4988‐860b‐014f5635bee5                   Address Redacted                      First Class Mail
b2c5b6e0‐ff62‐4b2a‐98bb‐a1b312d74485                   Address Redacted                      First Class Mail
b2c5ef1e‐7cbe‐40a9‐b3fd‐f1749d65da9e                   Address Redacted                      First Class Mail
b2c68e08‐e738‐49c9‐b1c9‐f19f0a71660f                   Address Redacted                      First Class Mail
b2ca025e‐a9e0‐444d‐b3bb‐eea0b9a2289e                   Address Redacted                      First Class Mail
b2cab657‐28aa‐4519‐a446‐30db173a270f                   Address Redacted                      First Class Mail
b2cb40d7‐07ab‐4bb8‐9ad9‐9e4f64ff4f9c                   Address Redacted                      First Class Mail
b2cbca87‐8f84‐4483‐bf8e‐dd8bf96cd6f6                   Address Redacted                      First Class Mail
b2cc3cdf‐e75e‐4243‐aa86‐7215988b8744                   Address Redacted                      First Class Mail
b2d06462‐590b‐437c‐9747‐2b78e9902650                   Address Redacted                      First Class Mail
b2d4bece‐2a59‐43cd‐a198‐137303cc6d06                   Address Redacted                      First Class Mail
b2d73af9‐cd73‐43de‐952f‐c6f6c571d4d2                   Address Redacted                      First Class Mail
b2d99bd1‐d6a5‐4c40‐8c6d‐2e838109ac23                   Address Redacted                      First Class Mail
b2d9eff4‐d64c‐40db‐894f‐be14693a7605                   Address Redacted                      First Class Mail
b2dc5b20‐8948‐4e96‐9b59‐b0a16cb095ea                   Address Redacted                      First Class Mail
b2dd3c9e‐f0a4‐4b27‐b085‐46cd6dfbdcbe                   Address Redacted                      First Class Mail
b2ddaaac‐d349‐4143‐9f35‐020179c08aad                   Address Redacted                      First Class Mail
b2de6529‐407d‐4e1d‐a17e‐e70210e5e3c6                   Address Redacted                      First Class Mail
b2e07ab2‐926b‐4bf0‐aab9‐c2b9f4f9efa5                   Address Redacted                      First Class Mail
b2e31f9f‐0c20‐4a8a‐a21e‐d1273ec3db37                   Address Redacted                      First Class Mail
b2e3e368‐db9c‐426e‐841a‐5c754204151a                   Address Redacted                      First Class Mail
b2e4833f‐3c83‐4310‐a51e‐a0d0986fc0e5                   Address Redacted                      First Class Mail
b2e8c044‐edc2‐4e2f‐b530‐8531e72e3de9                   Address Redacted                      First Class Mail
b2eb451b‐d210‐4224‐a679‐900f0cb0fbc4                   Address Redacted                      First Class Mail
b2ed88f3‐cd0b‐4c8c‐85a6‐397dffdaa279                   Address Redacted                      First Class Mail
b2f1ec17‐86f2‐402b‐b8ef‐25e7e58956a2                   Address Redacted                      First Class Mail
b2f312da‐1723‐4ec5‐9c03‐53cdc3082a02                   Address Redacted                      First Class Mail
b2f6ce74‐ab4d‐48c2‐8d28‐41b15eef87f7                   Address Redacted                      First Class Mail
b2f8f4a4‐c057‐4a4c‐88c0‐9605674172aa                   Address Redacted                      First Class Mail
b2f9a86a‐6e57‐4c6e‐a49c‐374cab7c4dbe                   Address Redacted                      First Class Mail
b2fa80ee‐92f0‐4d2b‐808e‐1b9edced7944                   Address Redacted                      First Class Mail
b2fb074b‐e928‐4283‐95da‐7be15720d133                   Address Redacted                      First Class Mail
b2fe09e9‐3e63‐4ef4‐886f‐100a09061598                   Address Redacted                      First Class Mail
b2fefa78‐f8b7‐4e2e‐b137‐bf8a52713353                   Address Redacted                      First Class Mail
b30113f2‐e5fa‐4a49‐8b89‐9562b99f788f                   Address Redacted                      First Class Mail
b302d930‐bdb8‐4fa5‐beea‐dec374925649                   Address Redacted                      First Class Mail
b3071f1d‐a54c‐4700‐a4d5‐fd0fd8c7039e                   Address Redacted                      First Class Mail
b307771d‐04c3‐41f9‐818c‐709a08eb5ef0                   Address Redacted                      First Class Mail
b3078fa5‐d69a‐4c6e‐aa19‐9e712afbd8db                   Address Redacted                      First Class Mail
b309580d‐c096‐4b83‐9025‐66989c2a3d30                   Address Redacted                      First Class Mail
b30a3590‐5d51‐4ce2‐9c50‐03ff96e66091                   Address Redacted                      First Class Mail
b30afd37‐2af8‐48b2‐bc6e‐34bcb22283c7                   Address Redacted                      First Class Mail
b30b5940‐9fd4‐4432‐9cde‐9e9243fdfd0f                   Address Redacted                      First Class Mail
b30c20c4‐76aa‐4bc6‐bcd8‐be65dd1d95e1                   Address Redacted                      First Class Mail
b30d24df‐df42‐496b‐9b8a‐3b80f7c04c42                   Address Redacted                      First Class Mail
b30d281d‐db3b‐4a1f‐94f5‐5eae772d0563                   Address Redacted                      First Class Mail
b30e25e7‐c18c‐405d‐b7f3‐bbc1c9e621fc                   Address Redacted                      First Class Mail
b310c411‐bb56‐4cfc‐92c5‐b9c452933b20                   Address Redacted                      First Class Mail
b311bf8a‐144a‐47d2‐827d‐29d56bb91028                   Address Redacted                      First Class Mail
b31514a7‐339c‐4003‐990b‐e340a23b50f7                   Address Redacted                      First Class Mail
b31bcbf9‐24c0‐4412‐9f9c‐6e984e4cfe50                   Address Redacted                      First Class Mail
b31be5f4‐3f70‐45ab‐b242‐eb40462a635c                   Address Redacted                      First Class Mail
b324a46f‐751b‐45a9‐ac83‐d0f8ff65666b                   Address Redacted                      First Class Mail
b3270e13‐82a3‐4580‐af06‐ce0f7370561d                   Address Redacted                      First Class Mail
b3293068‐64e0‐4521‐b930‐3eb7aafbb21f                   Address Redacted                      First Class Mail
b329cb43‐9746‐418f‐9cc9‐232b20505d5d                   Address Redacted                      First Class Mail
b32bb91b‐b34c‐4a08‐a89b‐5774285b146c                   Address Redacted                      First Class Mail




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                                                                Exhibit A
                                                                 Service List


                              Name                                              Address                         Method of Service
b32c491d‐23ff‐4221‐8b8a‐3ea7ea36529d                   Address Redacted                      First Class Mail
b32c5e09‐c7ed‐481f‐8f70‐e1631ba7f26c                   Address Redacted                      First Class Mail
b32dd6b5‐bbea‐4d72‐9b2e‐3ddd5f54704d                   Address Redacted                      First Class Mail
b32e23db‐7f22‐4eb8‐bd16‐542e2f091ac2                   Address Redacted                      First Class Mail
b333cd6c‐2cc8‐45d8‐9c1c‐5c0e4a8ca0e9                   Address Redacted                      First Class Mail
b3341dae‐2b97‐4809‐be3c‐d6aadd6a741e                   Address Redacted                      First Class Mail
b3457795‐e3e7‐4e98‐b2a0‐03bd36ebee75                   Address Redacted                      First Class Mail
b3462f00‐6440‐409c‐9c05‐c4687b559d51                   Address Redacted                      First Class Mail
b349ae6a‐2581‐4720‐b81f‐0624674092f0                   Address Redacted                      First Class Mail
b34eab6c‐c3c2‐4326‐89b2‐61ecf834e79d                   Address Redacted                      First Class Mail
b3546c3f‐27e8‐4a73‐ad93‐9f0425d264b6                   Address Redacted                      First Class Mail
b35bdd6e‐e3db‐4d91‐b6ec‐66b86971d3bf                   Address Redacted                      First Class Mail
b35d6987‐f7a4‐48c7‐bc70‐09bd369b35eb                   Address Redacted                      First Class Mail
b3659674‐74ef‐4122‐b490‐6bae2b1e1a3f                   Address Redacted                      First Class Mail
b3662256‐bbf6‐4740‐9396‐216374e2c6ea                   Address Redacted                      First Class Mail
b3677c8b‐1415‐489e‐b28d‐b204ddaf5de5                   Address Redacted                      First Class Mail
b3686a02‐1d0b‐4b8d‐b335‐01f8f18b6c5f                   Address Redacted                      First Class Mail
b3827d3e‐508a‐435f‐9482‐73f6c3d5d301                   Address Redacted                      First Class Mail
b386522b‐22a1‐4f3e‐bcb9‐7c30730d3057                   Address Redacted                      First Class Mail
b38eb63d‐0ee8‐4e3a‐9338‐840cdfbfd4ea                   Address Redacted                      First Class Mail
b39024b7‐3878‐43bf‐b385‐f661213d86cc                   Address Redacted                      First Class Mail
b393b71c‐7df6‐4090‐bac8‐a75251a32e7e                   Address Redacted                      First Class Mail
b3963db0‐cfb6‐470c‐b19c‐5ae72f87fb71                   Address Redacted                      First Class Mail
b396b218‐a8fc‐4d83‐9037‐b8273fa9db79                   Address Redacted                      First Class Mail
b39bbe33‐a070‐443c‐91c3‐c40dfdb7feb7                   Address Redacted                      First Class Mail
b39f04d5‐2c3f‐4c22‐b589‐09656388dd77                   Address Redacted                      First Class Mail
b3a17ee6‐2e3a‐41ed‐a083‐e04c9905d68d                   Address Redacted                      First Class Mail
b3a48c9d‐5bdc‐4911‐aabd‐42ade583964b                   Address Redacted                      First Class Mail
b3a69993‐611d‐4069‐b295‐aa2a57844d4c                   Address Redacted                      First Class Mail
b3a75248‐6608‐4516‐b556‐0f22c99e6020                   Address Redacted                      First Class Mail
b3aa6360‐8e4b‐49f9‐975f‐9e2cce9447b5                   Address Redacted                      First Class Mail
b3aad384‐3b83‐4f11‐9048‐2b1f0379a347                   Address Redacted                      First Class Mail
b3acfdab‐5a3e‐4924‐af77‐efe27b8b29df                   Address Redacted                      First Class Mail
b3af4571‐1a9b‐4fa3‐9334‐ba58a3333ee3                   Address Redacted                      First Class Mail
b3b37887‐7324‐4ca9‐acfb‐c58e55bac6f4                   Address Redacted                      First Class Mail
b3b7796e‐6221‐4e6c‐8352‐68b403c15b97                   Address Redacted                      First Class Mail
b3c467dc‐f998‐424c‐b8a1‐8590b43ed69d                   Address Redacted                      First Class Mail
b3c51566‐2310‐4a97‐9e17‐d6d7a77b26f2                   Address Redacted                      First Class Mail
b3c61c57‐b970‐4630‐8af1‐ec3372fc350b                   Address Redacted                      First Class Mail
b3c786dd‐ce32‐478c‐b8fa‐8ac430a85f52                   Address Redacted                      First Class Mail
b3c9f676‐275f‐44af‐b089‐c0c1ecb13dab                   Address Redacted                      First Class Mail
b3ccadd4‐6c3b‐4e6d‐989f‐7b6389a8e05c                   Address Redacted                      First Class Mail
b3cda4ee‐c8c9‐450e‐b7f7‐ac9b78e685f6                   Address Redacted                      First Class Mail
b3d19a3c‐abf7‐4419‐9580‐2235a631ab53                   Address Redacted                      First Class Mail
b3d2ed9f‐16e1‐4621‐8ae4‐31d482f43270                   Address Redacted                      First Class Mail
b3d4cfc5‐d11f‐468c‐8b66‐664e66bde780                   Address Redacted                      First Class Mail
b3d58522‐61cd‐4947‐b867‐932e5f7a7358                   Address Redacted                      First Class Mail
b3d6563f‐ae31‐4622‐8628‐5e4998cc30b9                   Address Redacted                      First Class Mail
b3d7318d‐f39b‐47cd‐9458‐6b67c4f1509c                   Address Redacted                      First Class Mail
b3d79531‐d9f4‐49a0‐8442‐265b5ef75272                   Address Redacted                      First Class Mail
b3d7aea1‐4825‐4dbb‐894c‐d9584fbe28d6                   Address Redacted                      First Class Mail
b3d9cb89‐5d6f‐42c9‐80b4‐fa970ed56d33                   Address Redacted                      First Class Mail
b3db3f42‐d210‐473f‐8538‐51a13ef87f88                   Address Redacted                      First Class Mail
b3db69dd‐4c9c‐44ab‐83ca‐ecdfdb5fad48                   Address Redacted                      First Class Mail
b3dfb5b6‐a6f8‐4a1f‐938b‐d3a53463df64                   Address Redacted                      First Class Mail
b3e08eef‐952d‐4c97‐b4ae‐69adc5d51b84                   Address Redacted                      First Class Mail
b3e26a5b‐950f‐4c5d‐85ac‐3fbb4a8a84d3                   Address Redacted                      First Class Mail
b3e5e7b1‐bbd0‐4f4f‐9e24‐21e4ee2fa009                   Address Redacted                      First Class Mail
b3e6113b‐efe4‐404b‐9c24‐da991f6aee44                   Address Redacted                      First Class Mail
b3f3d769‐a988‐46c9‐a7fc‐654b8836b0ce                   Address Redacted                      First Class Mail
b3f49891‐8624‐4e9b‐8927‐fb598b944cb1                   Address Redacted                      First Class Mail
b3fc9b01‐c327‐4307‐aac5‐04c71b104e1a                   Address Redacted                      First Class Mail
b4018781‐d363‐4ee3‐b386‐337f83e73b91                   Address Redacted                      First Class Mail
b4078a8b‐0c7c‐4ff3‐b484‐77352f1e4301                   Address Redacted                      First Class Mail
b407c177‐bdcc‐461f‐8af7‐5e74913413c3                   Address Redacted                      First Class Mail
b407eb15‐026e‐46c7‐93bf‐2e66b8f955b7                   Address Redacted                      First Class Mail
b40805cb‐595b‐4169‐81da‐c1c712d862cc                   Address Redacted                      First Class Mail
b408e51c‐8487‐4a3e‐beab‐58b5cfc34896                   Address Redacted                      First Class Mail
b40bb65b‐2049‐4d12‐8802‐1eb92f90a8df                   Address Redacted                      First Class Mail
b4146496‐858c‐478c‐8d44‐fed17e520e7d                   Address Redacted                      First Class Mail
b41795d9‐7a41‐4492‐9536‐5ae688298ecf                   Address Redacted                      First Class Mail
b4187cbf‐b6cf‐401f‐b87e‐fb9e85561067                   Address Redacted                      First Class Mail




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                                                                 Service List


                              Name                                              Address                         Method of Service
b418c9ff‐9b6c‐42bd‐b627‐af3d579e080a                   Address Redacted                      First Class Mail
b4190b13‐a598‐4676‐9534‐3f0b8c4a6e84                   Address Redacted                      First Class Mail
b41dfc84‐00fb‐42b0‐900f‐74294ecbd928                   Address Redacted                      First Class Mail
b41e97c2‐1c69‐4ae8‐aa56‐9f8e9e932a68                   Address Redacted                      First Class Mail
b42619d1‐c6d2‐4b8b‐abe9‐869e71f1e58f                   Address Redacted                      First Class Mail
b42ef22b‐28da‐41e2‐a3c5‐f25d423cd8b2                   Address Redacted                      First Class Mail
b42f8b5c‐5434‐4157‐be31‐7cdb7b8e72c8                   Address Redacted                      First Class Mail
b42fe702‐4570‐4c72‐89be‐5dd776590cd0                   Address Redacted                      First Class Mail
b430a8ce‐49bb‐4b5b‐89fe‐52b9b47a4b18                   Address Redacted                      First Class Mail
b431b03e‐ef67‐4af5‐b126‐5f0a50b152d2                   Address Redacted                      First Class Mail
b43240de‐d8f6‐4a93‐b015‐bdd5ff65f433                   Address Redacted                      First Class Mail
b436186b‐e176‐4487‐909a‐aab727df3487                   Address Redacted                      First Class Mail
b43d4961‐3f9d‐48a1‐a3bf‐28d760b3bcc4                   Address Redacted                      First Class Mail
b43d58a7‐defb‐4863‐8ab0‐1a07368bcd18                   Address Redacted                      First Class Mail
b441fcbc‐07d3‐4b10‐9615‐375fc94ec27d                   Address Redacted                      First Class Mail
b4464334‐e51f‐45f2‐9cf3‐84bf56ee6218                   Address Redacted                      First Class Mail
b446fc7e‐d1ed‐4927‐a31b‐c543aa462fe8                   Address Redacted                      First Class Mail
b448a482‐0b7b‐4fd6‐bdeb‐60e34ccb51d7                   Address Redacted                      First Class Mail
b44981f7‐5280‐46ae‐9ca9‐af68b2765a96                   Address Redacted                      First Class Mail
b44b48cf‐5ef5‐4fd9‐a2b1‐696a86822143                   Address Redacted                      First Class Mail
b44b493e‐24d2‐4c61‐832f‐7614b553adb7                   Address Redacted                      First Class Mail
b452213f‐b9d9‐4af2‐b983‐bd5a34b8f0f9                   Address Redacted                      First Class Mail
b4534273‐69c0‐4857‐8992‐bb34b96e80e9                   Address Redacted                      First Class Mail
b4551dc8‐ddc7‐4e59‐85ac‐9e7930b74982                   Address Redacted                      First Class Mail
b45aacbd‐0c9a‐4006‐a616‐8fa1c1c9aaf6                   Address Redacted                      First Class Mail
b45d80db‐a793‐423b‐9414‐4f952b19c176                   Address Redacted                      First Class Mail
b45e05f0‐b83e‐4d3b‐8ed9‐3e764e4f27c2                   Address Redacted                      First Class Mail
b45e8111‐5cee‐41d3‐afa2‐a9b0701e7ff6                   Address Redacted                      First Class Mail
b45f887c‐8727‐4296‐8e72‐01e454c6d5cc                   Address Redacted                      First Class Mail
b464b83e‐076e‐4196‐a07e‐0b7f59e5ca3a                   Address Redacted                      First Class Mail
b4673086‐aaca‐45a1‐9d07‐5209bcb383f1                   Address Redacted                      First Class Mail
b46952a9‐e9c6‐4c9f‐b21e‐835f3e3f5268                   Address Redacted                      First Class Mail
b469a2b5‐6ea5‐4916‐ab7d‐5be1fd0db8a2                   Address Redacted                      First Class Mail
b46ced6b‐9c1e‐4dee‐9c39‐76eac2af6f51                   Address Redacted                      First Class Mail
b46d9184‐3055‐4082‐a3fb‐6eaf3c3570a9                   Address Redacted                      First Class Mail
b46db0a8‐b7c1‐4b1d‐8ed6‐cffcfc52109d                   Address Redacted                      First Class Mail
b46e6925‐b70c‐4cb6‐9823‐068754ba76e4                   Address Redacted                      First Class Mail
b46e714a‐cab3‐488c‐969c‐b8b6d9a1fe29                   Address Redacted                      First Class Mail
b46f7c0a‐a6f1‐42b3‐a567‐6aa46114cdb1                   Address Redacted                      First Class Mail
b46fbf2b‐c0e5‐44ef‐b5b6‐50ebc09d3ecf                   Address Redacted                      First Class Mail
b4712563‐f2eb‐4004‐8e23‐8cb7c1502286                   Address Redacted                      First Class Mail
b4717af5‐8d72‐4697‐8118‐25d64f2ac8e5                   Address Redacted                      First Class Mail
b4730f16‐3b3a‐45c3‐b86b‐936a5ae9989f                   Address Redacted                      First Class Mail
b475a399‐1979‐43ca‐8b1f‐5788f03b1815                   Address Redacted                      First Class Mail
b475d5b8‐f409‐41ed‐89d0‐8c8ba1831095                   Address Redacted                      First Class Mail
b4772e62‐d7d2‐424a‐bd9f‐e465fa6c8d53                   Address Redacted                      First Class Mail
b478d4e3‐8767‐4f16‐aa5c‐e1d92740b92d                   Address Redacted                      First Class Mail
b47ca8e9‐1859‐45d2‐9413‐22da3ccf1ce3                   Address Redacted                      First Class Mail
b47ef176‐4d3b‐42c3‐b556‐a6b12c33e751                   Address Redacted                      First Class Mail
b480d55e‐8d5f‐43df‐b13f‐ed5a30ea4e0c                   Address Redacted                      First Class Mail
b481e3b7‐5508‐4961‐94a8‐75bfc865cf8b                   Address Redacted                      First Class Mail
b482f96d‐f378‐4d2e‐a91e‐06b3b139ba27                   Address Redacted                      First Class Mail
b4843b08‐12e4‐4022‐a8d6‐aa4c9392b0aa                   Address Redacted                      First Class Mail
b485f47f‐996c‐436a‐ae3d‐f31d5b8acea4                   Address Redacted                      First Class Mail
b486af6c‐b30e‐47de‐b4a8‐0a1abb402630                   Address Redacted                      First Class Mail
b48dd2c1‐9e51‐4266‐8ba2‐444065b9ca34                   Address Redacted                      First Class Mail
b48ee4d7‐2939‐4d0c‐acfe‐f238949832e5                   Address Redacted                      First Class Mail
b49304b7‐913d‐42e9‐a0b9‐3739de1f61b4                   Address Redacted                      First Class Mail
b4936937‐4230‐4943‐9af6‐756c17d023cb                   Address Redacted                      First Class Mail
b4953197‐5060‐408a‐b3c6‐752d35c72fbd                   Address Redacted                      First Class Mail
b49740bb‐1c9f‐4b96‐b401‐932c92980b63                   Address Redacted                      First Class Mail
b497cd02‐b5e9‐4dd9‐8cba‐2c4ea2a083f8                   Address Redacted                      First Class Mail
b4986402‐c2aa‐4c29‐8f51‐f401afab42e0                   Address Redacted                      First Class Mail
b49bf489‐d9e0‐4af5‐92f6‐e0fda890d985                   Address Redacted                      First Class Mail
b4a27dd7‐ece6‐4923‐90dc‐5018d9090789                   Address Redacted                      First Class Mail
b4a37a55‐c1f8‐4d8b‐944f‐1bf95cf6b384                   Address Redacted                      First Class Mail
b4ae0de4‐999f‐48cd‐837c‐0779aa7aa7e2                   Address Redacted                      First Class Mail
b4b0a2dd‐b78e‐44f1‐befe‐d2b71d6c2af8                   Address Redacted                      First Class Mail
b4b0accc‐d4e9‐4ad9‐b1fd‐ea6fcfb064a2                   Address Redacted                      First Class Mail
b4b2c90c‐8823‐4151‐94ea‐770c13e7c0b0                   Address Redacted                      First Class Mail
b4b5bb0e‐3fcd‐493b‐86bf‐7a98b3e8a9c2                   Address Redacted                      First Class Mail
b4b6900a‐6896‐416c‐8a73‐0cbb01fbb127                   Address Redacted                      First Class Mail




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                                                                 Service List


                               Name                                             Address                         Method of Service
b4b6ceb8‐1d1f‐41be‐af77‐25408357c1a0                   Address Redacted                      First Class Mail
b4bc9333‐0b53‐4df3‐b130‐e03a5b293092                   Address Redacted                      First Class Mail
b4bff0cc‐91b8‐4bc1‐a605‐ace75becb9ed                   Address Redacted                      First Class Mail
b4c1c875‐a098‐419f‐bc30‐954d27c6353e                   Address Redacted                      First Class Mail
b4c1eb78‐26ad‐44aa‐bf7f‐a6988c11d53b                   Address Redacted                      First Class Mail
b4c38cc6‐6618‐4182‐90dd‐309e56bf3796                   Address Redacted                      First Class Mail
b4c45959‐a59b‐4262‐9e53‐5e4749e1207f                   Address Redacted                      First Class Mail
b4c81b32‐f5f2‐49b5‐83e0‐3a802ea08163                   Address Redacted                      First Class Mail
b4c9bf5c‐2b29‐49df‐93ce‐85ddd93367cf                   Address Redacted                      First Class Mail
b4ca6747‐48e8‐4e9e‐b91a‐4be01549fda9                   Address Redacted                      First Class Mail
b4cd7315‐2691‐4aad‐aaee‐21ab14f893f6                   Address Redacted                      First Class Mail
b4cf4c80‐408c‐4bb2‐87a8‐220f9eba6c8d                   Address Redacted                      First Class Mail
b4d17314‐8fb9‐44f4‐95a2‐88f568677712                   Address Redacted                      First Class Mail
b4d47a3b‐2411‐483c‐8155‐292ea48a95d7                   Address Redacted                      First Class Mail
b4d82fc8‐21ad‐495f‐ac60‐74321faf971c                   Address Redacted                      First Class Mail
b4dea218‐6685‐439a‐9a8a‐acb6eeee30b5                   Address Redacted                      First Class Mail
b4e0761a‐5482‐4a01‐932e‐3237c43f1942                   Address Redacted                      First Class Mail
b4e20c40‐72ac‐49a9‐9dd4‐5ddb6c13e4b2                   Address Redacted                      First Class Mail
b4e3e823‐c5ca‐417f‐8644‐ccb7710c9332                   Address Redacted                      First Class Mail
b4e48868‐4ad6‐4c40‐86d1‐aa2f2dc68ae1                   Address Redacted                      First Class Mail
b4e60eaa‐a74b‐4bea‐81b6‐f0d400d3254b                   Address Redacted                      First Class Mail
b4e6e337‐ffe6‐414e‐b61e‐c53770badfb6                   Address Redacted                      First Class Mail
b4e77727‐bed5‐4d98‐a36d‐5d7076d4e5aa                   Address Redacted                      First Class Mail
b4e7fcd8‐69a5‐4934‐b4ea‐97b3d802d76e                   Address Redacted                      First Class Mail
b4e89d11‐4745‐4b27‐b610‐ebe3193560ec                   Address Redacted                      First Class Mail
b4eb0034‐9160‐420c‐bff6‐c049a308c793                   Address Redacted                      First Class Mail
b4ed5c80‐3e98‐4047‐9241‐798e193fbb72                   Address Redacted                      First Class Mail
b4efdeea‐5147‐4e1d‐bf99‐0876cafd4a4c                   Address Redacted                      First Class Mail
b4f05d58‐d3dd‐4655‐a6bb‐4c8ec562c9b8                   Address Redacted                      First Class Mail
b4f0bc00‐59a2‐46a1‐833d‐676f01ef48cc                   Address Redacted                      First Class Mail
b4f32609‐b076‐480b‐a3ea‐d3bf611f88b2                   Address Redacted                      First Class Mail
b4f4efd7‐c1d6‐441e‐888a‐5625cd3a4f29                   Address Redacted                      First Class Mail
b4f7ef95‐b3ff‐403e‐94f7‐be79ed89f0cb                   Address Redacted                      First Class Mail
b4f7f4ce‐4aed‐4153‐86ec‐51660e78fd24                   Address Redacted                      First Class Mail
b4f9cbaa‐ad2a‐4fab‐bfa4‐8994f7565851                   Address Redacted                      First Class Mail
b4fa47f1‐b86f‐4078‐92a7‐562eda89357c                   Address Redacted                      First Class Mail
b4ff5bcf‐9553‐48ec‐a24c‐cfdff923b755                   Address Redacted                      First Class Mail
b501e75c‐4a66‐4e8c‐a264‐19406ba74b0f                   Address Redacted                      First Class Mail
b507a088‐60bf‐4660‐95fa‐ec4b1bde6fed                   Address Redacted                      First Class Mail
b5082639‐a5a9‐463a‐84f3‐a17acdcb41bf                   Address Redacted                      First Class Mail
b5113ed5‐7219‐4b20‐9163‐08c7eb3c4223                   Address Redacted                      First Class Mail
b511f5e8‐71a6‐46a4‐9651‐385e7175175e                   Address Redacted                      First Class Mail
b5135fa6‐8f3e‐4c03‐870e‐a7d225e106d8                   Address Redacted                      First Class Mail
b51a018c‐92b2‐4776‐9a7f‐b5013bfc236d                   Address Redacted                      First Class Mail
b51a56b1‐7015‐41b7‐8692‐15fc8c8bcc1a                   Address Redacted                      First Class Mail
b51f16c9‐ec3f‐4694‐b93f‐c645b184e8f7                   Address Redacted                      First Class Mail
b51ff250‐09a6‐45d9‐815e‐51c551045d16                   Address Redacted                      First Class Mail
b5222ebb‐4086‐4e7f‐b59a‐3ab33b118553                   Address Redacted                      First Class Mail
b523acc0‐1d4c‐4fce‐9e10‐2ad06c3df06d                   Address Redacted                      First Class Mail
b52b9841‐675d‐4c5c‐9f0b‐7a9db77ab16e                   Address Redacted                      First Class Mail
b52d9820‐a162‐41a2‐8d6d‐3ba9c7d059b7                   Address Redacted                      First Class Mail
b536f11a‐42b6‐4c64‐8821‐c50e225c3315                   Address Redacted                      First Class Mail
b539d4da‐4c9e‐42f0‐b90c‐1716dc475761                   Address Redacted                      First Class Mail
b53a202d‐2812‐408a‐9eac‐305d23400b43                   Address Redacted                      First Class Mail
b53a2c79‐5c58‐4f80‐a6c6‐263094713aba                   Address Redacted                      First Class Mail
b53a4e4e‐21a8‐437a‐a55c‐a2fa41c53b05                   Address Redacted                      First Class Mail
b53b2742‐7be4‐4aed‐9939‐64c1b70a14f7                   Address Redacted                      First Class Mail
b53c14e7‐d703‐4707‐9bbe‐74659bec73da                   Address Redacted                      First Class Mail
b53e1f56‐d7a1‐4044‐9fe0‐f21e1fe63222                   Address Redacted                      First Class Mail
b53ed08c‐4e3e‐491b‐ae9d‐f8c4cb916ddc                   Address Redacted                      First Class Mail
b53fc21f‐6619‐4a73‐9d25‐ff3cafe68735                   Address Redacted                      First Class Mail
b540f1c8‐682f‐4dbe‐a0dd‐8e2751888f6e                   Address Redacted                      First Class Mail
b542d065‐78a2‐4063‐a659‐51a3cb85cfc0                   Address Redacted                      First Class Mail
b542e8b8‐89e1‐45ef‐9299‐f36b8a616bf1                   Address Redacted                      First Class Mail
b5432406‐a592‐4013‐830a‐aa07d9f70859                   Address Redacted                      First Class Mail
b5436e7b‐a229‐4157‐87cd‐8128a08a3bb2                   Address Redacted                      First Class Mail
b544b414‐a8b5‐4e22‐bf38‐6b4f7a826b08                   Address Redacted                      First Class Mail
b544d2ea‐265c‐4bbc‐95b2‐5b90cbd83809                   Address Redacted                      First Class Mail
b5459b1a‐5bfb‐4f5c‐b789‐acebd4c3b3e3                   Address Redacted                      First Class Mail
b547228d‐a2c6‐46a3‐91b1‐adaf0a7d461c                   Address Redacted                      First Class Mail
b5485ba3‐3488‐48db‐800e‐6dbe611b3a67                   Address Redacted                      First Class Mail
b548acef‐b4e6‐4441‐b407‐fdcd3ff527aa                   Address Redacted                      First Class Mail




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                                                                Exhibit A
                                                                 Service List


                              Name                                              Address                         Method of Service
b5497071‐e35a‐4b54‐b531‐dca68453ff1c                   Address Redacted                      First Class Mail
b550036b‐134c‐4853‐a2cf‐7f646104300c                   Address Redacted                      First Class Mail
b5502969‐01be‐4a25‐bb7c‐91cfb6b7da83                   Address Redacted                      First Class Mail
b556fbb1‐83f1‐42d7‐a8b8‐3999b58a4cad                   Address Redacted                      First Class Mail
b5571b20‐a04c‐4d3a‐bfe4‐be4f5bb5d309                   Address Redacted                      First Class Mail
b557bda2‐55db‐4bbf‐a297‐fabc04e61251                   Address Redacted                      First Class Mail
b55be7a1‐c136‐4df0‐9386‐1afa372d2d0e                   Address Redacted                      First Class Mail
b55c4be7‐9b21‐4c3b‐b6a8‐9016e0a01a74                   Address Redacted                      First Class Mail
b55ec5f3‐8398‐43db‐8134‐18e628d8d2ea                   Address Redacted                      First Class Mail
b5645392‐5c8c‐4003‐bd55‐34b9b0b6134f                   Address Redacted                      First Class Mail
b564b3e6‐4e5e‐41b3‐9ec1‐a184fa977d03                   Address Redacted                      First Class Mail
b56e4a3b‐6575‐421f‐9a32‐5b61c899d80a                   Address Redacted                      First Class Mail
b56ed98a‐4e30‐4836‐992b‐4a9c4576cc71                   Address Redacted                      First Class Mail
b57293f3‐791e‐4fa5‐abd6‐dcad54ff6980                   Address Redacted                      First Class Mail
b57315df‐0c9a‐41c1‐9cdd‐4be86b1c0c62                   Address Redacted                      First Class Mail
b576ad40‐c7a0‐49e2‐9705‐be6c82db66ef                   Address Redacted                      First Class Mail
b576e9d2‐0672‐4593‐96c5‐7399b18d81f3                   Address Redacted                      First Class Mail
b578802a‐2451‐4c82‐a430‐98454a2fcc64                   Address Redacted                      First Class Mail
b579c831‐db7f‐4bbc‐8617‐3c589bbe0b3a                   Address Redacted                      First Class Mail
b5815b2c‐32a2‐4a30‐a241‐b80c27bf1540                   Address Redacted                      First Class Mail
b5828eaa‐cd57‐49d2‐90bd‐faa5697c9567                   Address Redacted                      First Class Mail
b58a40fa‐81fb‐49fb‐b8bb‐d27d81a1002c                   Address Redacted                      First Class Mail
b58a7150‐7420‐4d1a‐974c‐1a003c153d8b                   Address Redacted                      First Class Mail
b591d62d‐023a‐44e0‐b071‐7927b28d422c                   Address Redacted                      First Class Mail
b5941c66‐2b9d‐4943‐ac28‐71bee7c55357                   Address Redacted                      First Class Mail
b5996edd‐911a‐48ad‐8ad8‐6c81b270e82b                   Address Redacted                      First Class Mail
b59a26b5‐09a5‐4270‐b6e1‐80b3e693c9c1                   Address Redacted                      First Class Mail
b59a81a0‐7335‐4a79‐8aa4‐22b8b5bd2f95                   Address Redacted                      First Class Mail
b59ac277‐10e5‐43e6‐8dad‐f623158850c3                   Address Redacted                      First Class Mail
b59c97ff‐b920‐433a‐8690‐f5feeb72c060                   Address Redacted                      First Class Mail
b59cd53b‐17e9‐4bfc‐aeb7‐72573f39259c                   Address Redacted                      First Class Mail
b5a0aa6f‐2b55‐4714‐a2d1‐75ae2213be5c                   Address Redacted                      First Class Mail
b5a0fa9b‐8432‐4a98‐8e25‐6bbe9c417bda                   Address Redacted                      First Class Mail
b5a2c64b‐c14e‐4639‐8544‐3c2570e2b637                   Address Redacted                      First Class Mail
b5a355ef‐8da3‐4065‐b96f‐6d503cbfb673                   Address Redacted                      First Class Mail
b5a3a3b2‐857f‐412b‐935e‐dd1c439badc7                   Address Redacted                      First Class Mail
b5a856b9‐2edc‐4845‐9904‐ac247160610c                   Address Redacted                      First Class Mail
b5ac3119‐a484‐45d8‐9674‐dfa0e7baf5d0                   Address Redacted                      First Class Mail
b5ae3ce6‐b684‐4a23‐b1b3‐87699e19e7ab                   Address Redacted                      First Class Mail
b5ae766a‐a003‐4eae‐821d‐f032a4664e93                   Address Redacted                      First Class Mail
b5afb974‐5ed7‐4d44‐a417‐d3ccf76f0442                   Address Redacted                      First Class Mail
b5b0a99b‐37b6‐4d74‐bf9a‐3138d1ec9df0                   Address Redacted                      First Class Mail
b5b0b9e6‐e77c‐49ba‐99ae‐0c9be8acb396                   Address Redacted                      First Class Mail
b5b23cd6‐df73‐4cbe‐8f54‐cd035f1415d1                   Address Redacted                      First Class Mail
b5b8e643‐7002‐4f59‐b9d6‐f753004dc6dd                   Address Redacted                      First Class Mail
b5b9d49d‐f380‐4748‐abcf‐6cb55b004301                   Address Redacted                      First Class Mail
b5bb5a13‐e490‐4a65‐aef7‐fb0558a04043                   Address Redacted                      First Class Mail
b5bdcabb‐8de3‐40cd‐990b‐387804dc106c                   Address Redacted                      First Class Mail
b5bf899c‐a922‐4ef6‐b69d‐5576fd064a72                   Address Redacted                      First Class Mail
b5c0d38b‐b7f3‐498a‐9156‐1564348d870a                   Address Redacted                      First Class Mail
b5c15d6a‐3757‐412e‐92f3‐f16737d516e3                   Address Redacted                      First Class Mail
b5c570e6‐672e‐4210‐847f‐f4c39da975bc                   Address Redacted                      First Class Mail
b5c745d0‐f932‐4866‐b014‐2b50baff2731                   Address Redacted                      First Class Mail
b5c830a1‐e639‐4734‐b601‐27c25ca4e8e0                   Address Redacted                      First Class Mail
b5c95913‐203d‐493b‐9569‐6ce25d54af44                   Address Redacted                      First Class Mail
b5caee3d‐bd9c‐4a99‐9079‐8c10b3d73f6c                   Address Redacted                      First Class Mail
b5cbaa4b‐e54c‐4892‐b6d4‐ede45f60f8a7                   Address Redacted                      First Class Mail
b5d0b667‐46e6‐41fb‐880a‐be084b97e2bf                   Address Redacted                      First Class Mail
b5df07d2‐768d‐4538‐96cd‐a9353534de31                   Address Redacted                      First Class Mail
b5e083b6‐1ff8‐441e‐bd93‐2da26f57eb0f                   Address Redacted                      First Class Mail
b5e19ff2‐8bd7‐48d0‐87a1‐c2da058c902b                   Address Redacted                      First Class Mail
b5e69957‐3547‐4921‐a3a4‐9d9274237ce6                   Address Redacted                      First Class Mail
b5e89964‐83e4‐4ced‐ba3f‐2a7e123f25ea                   Address Redacted                      First Class Mail
b5e9c150‐a6bc‐483d‐857e‐1d46c22e7186                   Address Redacted                      First Class Mail
b5e9ffef‐e5af‐4ce8‐a352‐a2c222eff9f2                   Address Redacted                      First Class Mail
b5eb0834‐7651‐44cc‐8f22‐9d574edb3f5e                   Address Redacted                      First Class Mail
b5eff287‐5ebf‐4c03‐94cc‐a17e933a21e3                   Address Redacted                      First Class Mail
b5f0cd4d‐4a1a‐4c1b‐b577‐295bd9cd0b81                   Address Redacted                      First Class Mail
b5f1db55‐df93‐405d‐a0ed‐07bd76e11825                   Address Redacted                      First Class Mail
b5f547d8‐1de1‐4e77‐a7a1‐94493db220a0                   Address Redacted                      First Class Mail
b5f6ffae‐3975‐46a7‐a4f9‐45aa5abb3278                   Address Redacted                      First Class Mail
b5fa115a‐6619‐4fc4‐a3cd‐a1cad7cfbed5                   Address Redacted                      First Class Mail




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                                                                 Service List


                              Name                                              Address                         Method of Service
b5fa271c‐f20b‐4d35‐9724‐015fa2393c3e                   Address Redacted                      First Class Mail
b603f2d1‐d8a0‐4e14‐89b2‐11c8d640aed3                   Address Redacted                      First Class Mail
b604383f‐f282‐471f‐8a8b‐fc46586ab0b6                   Address Redacted                      First Class Mail
b606843b‐789f‐4bbd‐a544‐ebdb287459fb                   Address Redacted                      First Class Mail
b60e04f6‐aa8f‐41b7‐addf‐899932e218fd                   Address Redacted                      First Class Mail
b60f1f10‐3944‐43d7‐a79f‐b9bd768bd3b1                   Address Redacted                      First Class Mail
b60faf4c‐dc90‐41fd‐b8b9‐5ea33102cd3f                   Address Redacted                      First Class Mail
b6127837‐9dbd‐41c7‐be3a‐337c92f69e1c                   Address Redacted                      First Class Mail
b61393e4‐81ba‐47b0‐a868‐dcbed62c8e7f                   Address Redacted                      First Class Mail
b613e950‐3e09‐40ee‐9a42‐d42076084c12                   Address Redacted                      First Class Mail
b61cdb76‐14de‐4c0e‐b10b‐c7893b1c0dcf                   Address Redacted                      First Class Mail
b61d521b‐4ad0‐4965‐85bc‐adee37b979ed                   Address Redacted                      First Class Mail
b61eb4a9‐6b30‐46e1‐8b9d‐3f556512cb7f                   Address Redacted                      First Class Mail
b6234d5e‐eb88‐4b49‐8933‐2dceb0ab8b08                   Address Redacted                      First Class Mail
b62532c2‐18cb‐49d7‐a8ea‐93dc90c72922                   Address Redacted                      First Class Mail
b626ab63‐01af‐4760‐ae98‐48b04f1266e5                   Address Redacted                      First Class Mail
b628a5d5‐a25c‐4730‐998c‐d9c7be985a88                   Address Redacted                      First Class Mail
b629f332‐df12‐47bc‐a62f‐6f47e1fcea34                   Address Redacted                      First Class Mail
b62bf5fc‐ee92‐4267‐8296‐b6388468e840                   Address Redacted                      First Class Mail
b62d395e‐4bc5‐4af9‐b092‐42d1bddb37b2                   Address Redacted                      First Class Mail
b6353d17‐04a7‐466d‐8e8d‐164f9dbec51c                   Address Redacted                      First Class Mail
b6355e12‐f36f‐4f0d‐9b17‐6d086aece18f                   Address Redacted                      First Class Mail
b6399727‐001e‐4e9e‐a1ee‐333a424cc4e6                   Address Redacted                      First Class Mail
b63a96d0‐9f88‐4fb8‐a72c‐97b794c3b092                   Address Redacted                      First Class Mail
b63b101c‐bbb5‐4f48‐a9c6‐8d6c4763cb59                   Address Redacted                      First Class Mail
b63c95ec‐0e1e‐445b‐b161‐ff2b1c98f0cf                   Address Redacted                      First Class Mail
b63cd1af‐161c‐4a4b‐bc30‐4376366183ed                   Address Redacted                      First Class Mail
b6416ed5‐4ab5‐4884‐ac85‐a1dae773c000                   Address Redacted                      First Class Mail
b6433bde‐946a‐49fe‐96a7‐1a2833816cdc                   Address Redacted                      First Class Mail
b64414ab‐edf2‐4c50‐b383‐982720abd06e                   Address Redacted                      First Class Mail
b64818fc‐c400‐474c‐b311‐4a02cf4046d6                   Address Redacted                      First Class Mail
b64891ba‐646f‐4196‐a8ad‐5ba8f8ae4a64                   Address Redacted                      First Class Mail
b64c6392‐4c06‐40bb‐8693‐63df560a5892                   Address Redacted                      First Class Mail
b650689d‐f75b‐483e‐a534‐e279ded74612                   Address Redacted                      First Class Mail
b650b0d9‐31f2‐423f‐ab35‐fff153c2a620                   Address Redacted                      First Class Mail
b653a71d‐4900‐48d4‐af0f‐cfa0c4c9a37f                   Address Redacted                      First Class Mail
b65d8a09‐9eaa‐488e‐a7f7‐738880a3ce51                   Address Redacted                      First Class Mail
b65ea07d‐74eb‐4daf‐8ec5‐30ce18dd35e4                   Address Redacted                      First Class Mail
b66293de‐19e8‐4d2b‐a384‐b6e37f1af583                   Address Redacted                      First Class Mail
b6637c7f‐c9ec‐415e‐a0ea‐74f8abeecfee                   Address Redacted                      First Class Mail
b665747d‐1371‐44f5‐b8b7‐baa499a5476f                   Address Redacted                      First Class Mail
b668b614‐851e‐4bfe‐a6c6‐6382be38fa04                   Address Redacted                      First Class Mail
b6690c04‐04d8‐4c04‐bcb4‐d6807a3505d4                   Address Redacted                      First Class Mail
b6691513‐3511‐4114‐b036‐8e375ff188ef                   Address Redacted                      First Class Mail
b66ae26a‐3550‐4d0b‐8ecb‐41b6d74d2374                   Address Redacted                      First Class Mail
b66ae720‐0eaf‐4ead‐aa6f‐32e8daac262b                   Address Redacted                      First Class Mail
b66c0b4e‐0c58‐4713‐a184‐b98f10cc850d                   Address Redacted                      First Class Mail
b66f6b55‐87a4‐4931‐a8f8‐e72fe88515ef                   Address Redacted                      First Class Mail
b67092c6‐2ff6‐40f0‐a16c‐829e4648cbb1                   Address Redacted                      First Class Mail
b6727d51‐3cb0‐459d‐b7bc‐c4bc1b8a73ec                   Address Redacted                      First Class Mail
b6735a9c‐51f1‐4b6f‐8fcb‐76c91023fab2                   Address Redacted                      First Class Mail
b6744c97‐4268‐4b7c‐b1e9‐8ab0c062dfbf                   Address Redacted                      First Class Mail
b674af8a‐a2a6‐4b9b‐aca6‐c87a751ddff5                   Address Redacted                      First Class Mail
b675907a‐32e3‐4b92‐9bb6‐b4d37f5ab7df                   Address Redacted                      First Class Mail
b676c5f2‐a0ab‐4614‐9316‐720ed939bff0                   Address Redacted                      First Class Mail
b6782ca7‐b616‐41a6‐aba3‐9cf4417d7435                   Address Redacted                      First Class Mail
b678d807‐0981‐4fae‐9d01‐10489a5b23c0                   Address Redacted                      First Class Mail
b67947cc‐6ee2‐4542‐8895‐6c585b7910e0                   Address Redacted                      First Class Mail
b67b759e‐f765‐4e47‐b2bc‐7797082a14f2                   Address Redacted                      First Class Mail
b67c2123‐2253‐41ab‐a4ab‐0d3a5f88c15d                   Address Redacted                      First Class Mail
b67d8f98‐51aa‐4bfb‐a1be‐b68103d90122                   Address Redacted                      First Class Mail
b67f393f‐b3d2‐46e7‐9dce‐294f9b40f9d8                   Address Redacted                      First Class Mail
b6825fad‐d09e‐46ed‐adc6‐ec583605358a                   Address Redacted                      First Class Mail
b6857d0b‐c6bc‐4d02‐ac19‐9009dd04b26b                   Address Redacted                      First Class Mail
b68705a8‐a10f‐4a50‐91f7‐676f488b7ef1                   Address Redacted                      First Class Mail
b6885e24‐caa2‐4df1‐aca0‐9bc432634ceb                   Address Redacted                      First Class Mail
b68cb71d‐5b58‐406f‐ae1a‐407ef47c08a1                   Address Redacted                      First Class Mail
b68e983c‐808c‐404f‐9290‐3eb659be5744                   Address Redacted                      First Class Mail
b6910079‐db20‐4d63‐ba15‐9efb1b627bf0                   Address Redacted                      First Class Mail
b696569d‐a868‐4d95‐9acf‐1792112ea96c                   Address Redacted                      First Class Mail
b69e2579‐0c86‐4bb7‐94ad‐2d6375246e8f                   Address Redacted                      First Class Mail
b69f6cf7‐5470‐4413‐9ecc‐6406e65b5e42                   Address Redacted                      First Class Mail




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                                                                 Service List


                              Name                                              Address                         Method of Service
b6a2faed‐4da8‐41c4‐bdc2‐298273723710                   Address Redacted                      First Class Mail
b6a3b347‐9bab‐4aa8‐a770‐93e8001b831a                   Address Redacted                      First Class Mail
b6a52539‐325d‐4c76‐be89‐393a24f03248                   Address Redacted                      First Class Mail
b6a630a5‐c12a‐4b41‐aa97‐8ff5a6222987                   Address Redacted                      First Class Mail
b6ac8480‐b2ff‐46e7‐8e56‐0c33247646d3                   Address Redacted                      First Class Mail
b6ae848d‐a08f‐48f9‐84b0‐1698b9343685                   Address Redacted                      First Class Mail
b6b007e0‐552c‐4c88‐8ce8‐1c9c51c7dffa                   Address Redacted                      First Class Mail
b6b22094‐e857‐4efc‐97d0‐ccae54353352                   Address Redacted                      First Class Mail
b6b8c644‐eb98‐4cf8‐96f3‐fec6ea647a50                   Address Redacted                      First Class Mail
b6bac38c‐412c‐4593‐8611‐2ae32e8274f0                   Address Redacted                      First Class Mail
b6bcd858‐0dbb‐4a59‐9f37‐6639707fe296                   Address Redacted                      First Class Mail
b6c44715‐ad9a‐4132‐964a‐ecc9444ed8b9                   Address Redacted                      First Class Mail
b6c677ed‐e107‐4114‐a851‐8df5a4f30eab                   Address Redacted                      First Class Mail
b6c697e8‐406d‐4c41‐86c5‐9efe3b2f971d                   Address Redacted                      First Class Mail
b6c81995‐79d9‐4adf‐9e13‐5a0cd37824a5                   Address Redacted                      First Class Mail
b6ca7ffe‐0fb1‐4cd7‐b15e‐9393e500a67d                   Address Redacted                      First Class Mail
b6cb643a‐343c‐433b‐a537‐7a83b5115b94                   Address Redacted                      First Class Mail
b6ce1d55‐e3ef‐4c71‐8e74‐8dc335085444                   Address Redacted                      First Class Mail
b6cfdc71‐00e4‐494d‐a0d1‐f5a4242541e9                   Address Redacted                      First Class Mail
b6d3e707‐641d‐4bb9‐98fd‐ebf93473a07a                   Address Redacted                      First Class Mail
b6d3f48e‐fe32‐4bdd‐b20f‐7835a52ed5ac                   Address Redacted                      First Class Mail
b6d416d0‐f977‐4534‐81f7‐734512c95d14                   Address Redacted                      First Class Mail
b6d7d914‐4aeb‐42b3‐8238‐59b1c5269c6f                   Address Redacted                      First Class Mail
b6d8e625‐70d4‐43ba‐a38a‐72ac70fe51a5                   Address Redacted                      First Class Mail
b6d911ce‐644a‐4800‐820c‐1d5a8899340f                   Address Redacted                      First Class Mail
b6e24b3e‐d3cc‐493c‐8a53‐32366f1414e9                   Address Redacted                      First Class Mail
b6eab5dc‐0976‐4b7e‐8d29‐fa0355db4883                   Address Redacted                      First Class Mail
b6f0c5e8‐9a7c‐44f0‐a9ae‐519acbba8189                   Address Redacted                      First Class Mail
b6f0d628‐6673‐4b80‐9a94‐1070dc2496ba                   Address Redacted                      First Class Mail
b6f18ccd‐745a‐498b‐a7b5‐71817f6c0c16                   Address Redacted                      First Class Mail
b6f56ee7‐926c‐4371‐a6d4‐93f9b8530636                   Address Redacted                      First Class Mail
b6f6e996‐1fc8‐48c9‐8d5f‐b6d19ed3979e                   Address Redacted                      First Class Mail
b6f88c3c‐8c9a‐41bd‐9261‐0981f377244f                   Address Redacted                      First Class Mail
b6fcbbeb‐7171‐4488‐918f‐28ca7152dfc3                   Address Redacted                      First Class Mail
b6fd9454‐5a83‐47bf‐a7e8‐3df333aa2a8a                   Address Redacted                      First Class Mail
b6fe37f1‐09d6‐40cb‐8df3‐721bde1d3545                   Address Redacted                      First Class Mail
b6ff86be‐80c6‐445c‐a963‐633c245d38c6                   Address Redacted                      First Class Mail
b7035e7b‐9c09‐499e‐9857‐a5f4a4c5e77a                   Address Redacted                      First Class Mail
b7088d8f‐90cc‐4b06‐b236‐228060935bbe                   Address Redacted                      First Class Mail
b70a5729‐d9b4‐431a‐8a8c‐c5e6b7011cc3                   Address Redacted                      First Class Mail
b70ca9b5‐e5e3‐4f80‐80fa‐167b900ae8e7                   Address Redacted                      First Class Mail
b711d8d0‐5bba‐450b‐900d‐64d4f11fcc5e                   Address Redacted                      First Class Mail
b7139140‐2f96‐4dfd‐8b71‐3ab0f14bfd14                   Address Redacted                      First Class Mail
b71405f8‐f025‐4eb7‐9b47‐74cf4029526d                   Address Redacted                      First Class Mail
b7190771‐81ec‐4e29‐86f9‐43bc64ec2bc3                   Address Redacted                      First Class Mail
b71b023c‐2e42‐4581‐bb3d‐982976964e6f                   Address Redacted                      First Class Mail
b71b92b7‐47bb‐444f‐a504‐02e9cd90c891                   Address Redacted                      First Class Mail
b71c9c8a‐f878‐42c3‐908b‐7c61ee105fdf                   Address Redacted                      First Class Mail
b7213947‐c5cc‐428e‐9b89‐927e98fd5db2                   Address Redacted                      First Class Mail
b7225fbd‐b268‐4c39‐aff3‐4eb364041d9e                   Address Redacted                      First Class Mail
b72b5aee‐c045‐4969‐b65c‐4613f738f235                   Address Redacted                      First Class Mail
b72ce790‐e0c2‐4843‐80e3‐03a33f2cbd81                   Address Redacted                      First Class Mail
b72d2d8e‐995c‐4365‐8e0b‐2a29f0adff0a                   Address Redacted                      First Class Mail
b72dc697‐a1dd‐429a‐96ae‐57edaea49923                   Address Redacted                      First Class Mail
b7361c32‐56e9‐4ba0‐bde8‐1c8fa98edae2                   Address Redacted                      First Class Mail
b7369254‐fa24‐4f1b‐bea2‐420febd4f6d6                   Address Redacted                      First Class Mail
b73aa159‐f82b‐45a5‐9b6e‐895564678ee6                   Address Redacted                      First Class Mail
b73cf9a7‐1654‐4365‐86a8‐cad0acaec5e1                   Address Redacted                      First Class Mail
b73f1bd6‐1a52‐4777‐98a6‐9c766e21910f                   Address Redacted                      First Class Mail
b73fe362‐a43a‐4b5e‐a016‐d52a8a935ad7                   Address Redacted                      First Class Mail
b740b570‐8f15‐4af9‐bba1‐9161a2de51f0                   Address Redacted                      First Class Mail
b74260a1‐5ba3‐43ce‐a0d5‐2b5320d66b66                   Address Redacted                      First Class Mail
b742614a‐b6d7‐47a7‐b94e‐8e1927372e9a                   Address Redacted                      First Class Mail
b743b4cf‐5f62‐4533‐b16c‐5bd8fd29ec12                   Address Redacted                      First Class Mail
b744eb87‐349c‐4772‐a0cf‐850bab3c71f5                   Address Redacted                      First Class Mail
b748afcc‐8738‐41d1‐aaee‐895232de5525                   Address Redacted                      First Class Mail
b74bb78c‐088f‐452b‐a487‐e04f5dee8f74                   Address Redacted                      First Class Mail
b74ed552‐d085‐4f5c‐8991‐08072f24db1f                   Address Redacted                      First Class Mail
b750ef1c‐348d‐4922‐9bc8‐3047f1fb2c39                   Address Redacted                      First Class Mail
b75758de‐e9f6‐4a50‐acf3‐84d3bfc0acd0                   Address Redacted                      First Class Mail
b758c12f‐b5fb‐45da‐9d20‐b63e8e8f507a                   Address Redacted                      First Class Mail
b758e8b6‐8804‐46b5‐9096‐9121e9813fcd                   Address Redacted                      First Class Mail




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                                                                Exhibit A
                                                                 Service List


                              Name                                              Address                         Method of Service
b75a4a7e‐3276‐4a4f‐ac04‐18296774078a                   Address Redacted                      First Class Mail
b75c8c16‐2437‐4a58‐96a2‐b62f63ef001e                   Address Redacted                      First Class Mail
b75e0b2d‐4040‐4a71‐a3a3‐617beb320ef3                   Address Redacted                      First Class Mail
b761d7af‐762b‐46bb‐8eb8‐fb7422643c22                   Address Redacted                      First Class Mail
b7628e61‐291b‐46a9‐b26d‐d301618588fd                   Address Redacted                      First Class Mail
b76334f7‐cc3c‐4ee3‐a00e‐b1dd194c4666                   Address Redacted                      First Class Mail
b767c8f0‐c2dc‐45a7‐9638‐360c6898e87e                   Address Redacted                      First Class Mail
b7686209‐d5f2‐47cd‐908c‐f86b21255960                   Address Redacted                      First Class Mail
b7704571‐75c5‐4292‐bae3‐b0e47c201acb                   Address Redacted                      First Class Mail
b770e311‐d459‐4c01‐ace0‐a7888c76f1e6                   Address Redacted                      First Class Mail
b7737323‐8d4d‐4ef2‐a22e‐e9b900bc34ba                   Address Redacted                      First Class Mail
b774fb14‐c3db‐4285‐a76b‐80becf5b132c                   Address Redacted                      First Class Mail
b77505ba‐713b‐45f2‐9a48‐c24ad52decb2                   Address Redacted                      First Class Mail
b77b5a92‐0c54‐4878‐901d‐a60cfd1b8e2d                   Address Redacted                      First Class Mail
b77d56ad‐495f‐4330‐8d9f‐6fd2ed2466fd                   Address Redacted                      First Class Mail
b77d6edf‐ad43‐40cb‐b454‐6b3887840871                   Address Redacted                      First Class Mail
b77dc3fb‐38fb‐4e79‐a8dd‐3ff74e24e0fa                   Address Redacted                      First Class Mail
b77ec069‐2bcc‐4a0b‐b65b‐4e1bd3fb3812                   Address Redacted                      First Class Mail
b77f459c‐cd24‐4737‐a2d8‐0a501a43826d                   Address Redacted                      First Class Mail
b77f5aa4‐a1da‐45a4‐9f75‐7a6d4b24b397                   Address Redacted                      First Class Mail
b781cf8f‐41a1‐48af‐99b2‐72867562128d                   Address Redacted                      First Class Mail
b782616b‐fb7a‐4862‐b505‐503bf8d6ac46                   Address Redacted                      First Class Mail
b7830001‐76e0‐4798‐a7fb‐0c273cbb5a9b                   Address Redacted                      First Class Mail
b7936fe1‐59e8‐4f56‐aa98‐5fdca36dd8d7                   Address Redacted                      First Class Mail
b7938878‐d07c‐4a62‐a6dc‐96015226f2fd                   Address Redacted                      First Class Mail
b794f591‐5c85‐4972‐9c4c‐889e39bb197f                   Address Redacted                      First Class Mail
b795f077‐139c‐4b66‐9f5b‐be5db09a1912                   Address Redacted                      First Class Mail
b79b2935‐56ea‐4db0‐ad67‐b600dae36eed                   Address Redacted                      First Class Mail
b79bc412‐b8c3‐45c9‐981b‐bc938f8925b8                   Address Redacted                      First Class Mail
b7a2a3fa‐5b21‐490c‐9077‐a99a63678c2f                   Address Redacted                      First Class Mail
b7a58fc5‐1851‐4875‐990a‐6d61ba784b70                   Address Redacted                      First Class Mail
b7a63599‐f5f6‐4c61‐adef‐d87a2672a0b3                   Address Redacted                      First Class Mail
b7ac172e‐1fe8‐4439‐aeec‐cc1d506045ee                   Address Redacted                      First Class Mail
b7ad9922‐b6d1‐4b2f‐86b0‐d17e3a0706d4                   Address Redacted                      First Class Mail
b7ae72d2‐cb60‐4183‐9829‐3bd8a78fa056                   Address Redacted                      First Class Mail
b7b01ab7‐8ff0‐45f7‐9dae‐513719d92583                   Address Redacted                      First Class Mail
b7b1704a‐2190‐41c3‐a6da‐5f04cace2cf7                   Address Redacted                      First Class Mail
b7b4e848‐c748‐4c3a‐a85e‐af8f886def6c                   Address Redacted                      First Class Mail
b7b964dd‐fb5c‐40a5‐b00b‐c00d96761de1                   Address Redacted                      First Class Mail
b7ba4599‐5ba7‐4725‐83d5‐9426ea4b7b72                   Address Redacted                      First Class Mail
b7bf8fc9‐5867‐452f‐8ff9‐cb36255cf527                   Address Redacted                      First Class Mail
b7c4610c‐201e‐40d5‐931d‐de25b41fb52e                   Address Redacted                      First Class Mail
b7c6b26a‐b0c0‐498d‐b95e‐93c842032642                   Address Redacted                      First Class Mail
b7cc8dcb‐1e1a‐40d5‐b0b3‐138a69150e6b                   Address Redacted                      First Class Mail
b7cc93d4‐3900‐4276‐a404‐d7589b1a96e5                   Address Redacted                      First Class Mail
b7d1600a‐e2d2‐4297‐b632‐e00735b86366                   Address Redacted                      First Class Mail
b7d46a4b‐f38a‐4583‐81a8‐50d98391d8ae                   Address Redacted                      First Class Mail
b7d60d94‐04b0‐4557‐b60f‐3db0ded50274                   Address Redacted                      First Class Mail
b7d82576‐7a69‐4d91‐9dc7‐89913fcd81e0                   Address Redacted                      First Class Mail
b7da3377‐b068‐4142‐a521‐dbf9a27f76f2                   Address Redacted                      First Class Mail
b7dbf54f‐a20f‐4aac‐ba6d‐e89459c7c8cc                   Address Redacted                      First Class Mail
b7dc5197‐e6e7‐438f‐a937‐e5cd41edf499                   Address Redacted                      First Class Mail
b7e03497‐130c‐4e13‐8544‐c754e5554795                   Address Redacted                      First Class Mail
b7e2b682‐351b‐4ae3‐85b7‐c0f2c2f8c36e                   Address Redacted                      First Class Mail
b7e6caa5‐eeb8‐4058‐81a7‐186e5037dbe8                   Address Redacted                      First Class Mail
b7edd38a‐13b8‐4b21‐b93c‐9214a13dae0e                   Address Redacted                      First Class Mail
b7edd9ba‐9caf‐4896‐8232‐8246e1c1e152                   Address Redacted                      First Class Mail
b7edfd35‐aab8‐4d04‐b007‐2bbfcf480f49                   Address Redacted                      First Class Mail
b7f0b411‐24b4‐448a‐8cf6‐0a2a3abb4f8a                   Address Redacted                      First Class Mail
b7f0e246‐2b28‐4989‐be56‐bc310c6c71c2                   Address Redacted                      First Class Mail
b7f34598‐8133‐45a9‐bfbf‐62a3781e73cd                   Address Redacted                      First Class Mail
b7f38029‐e6ac‐4c24‐bbdc‐f629e339c751                   Address Redacted                      First Class Mail
b7fa2e0f‐0cac‐49f1‐b6ac‐21fd4547b65f                   Address Redacted                      First Class Mail
b7fb2f8c‐3447‐48f2‐b81e‐779de0db8595                   Address Redacted                      First Class Mail
b803c761‐c4a9‐4c32‐a060‐409209627800                   Address Redacted                      First Class Mail
b8095edd‐c903‐45c9‐849d‐e4df8996a780                   Address Redacted                      First Class Mail
b80b6d92‐b673‐4403‐a8ed‐380a67d3377c                   Address Redacted                      First Class Mail
b80cfaec‐7935‐456c‐a9d5‐f34339262fc2                   Address Redacted                      First Class Mail
b810cddc‐fd61‐46a6‐bff3‐614fbf899c05                   Address Redacted                      First Class Mail
b8115d2f‐112d‐40e9‐99bc‐60f311915464                   Address Redacted                      First Class Mail
b8175f22‐a166‐4f9a‐be76‐0047fcd02e56                   Address Redacted                      First Class Mail
b818637c‐66a6‐42ec‐bb1c‐47ba32a462c1                   Address Redacted                      First Class Mail




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                                                                 Service List


                              Name                                              Address                         Method of Service
b81ebc8c‐115b‐414f‐b207‐dc48b933ed0c                   Address Redacted                      First Class Mail
b824a01c‐3a86‐4b67‐a51f‐529c6f82caaf                   Address Redacted                      First Class Mail
b827f113‐f5ab‐412b‐b7a9‐bd6c3c56d48a                   Address Redacted                      First Class Mail
b82ced97‐77e3‐4a0b‐bdcf‐b721554c739d                   Address Redacted                      First Class Mail
b831ec38‐dab9‐4357‐9b10‐dfd816b4b39b                   Address Redacted                      First Class Mail
b832c714‐a8da‐44c9‐befe‐165557485f22                   Address Redacted                      First Class Mail
b8363ea6‐c3d7‐4e4b‐a0a1‐b965a565ab34                   Address Redacted                      First Class Mail
b83e6510‐60f6‐4498‐a41f‐3252709c422b                   Address Redacted                      First Class Mail
b842189d‐8c84‐43f0‐a39f‐9fd44090a9ae                   Address Redacted                      First Class Mail
b842d01a‐7564‐43f8‐ba54‐217a526db451                   Address Redacted                      First Class Mail
b848678d‐467b‐4008‐bfe7‐dc329f008ba6                   Address Redacted                      First Class Mail
b848da85‐bf57‐4140‐a2bf‐85d1ae61dcd1                   Address Redacted                      First Class Mail
b8493f55‐fd99‐4422‐acbf‐3f0434b6eb15                   Address Redacted                      First Class Mail
b84eae6d‐0cee‐4669‐9c16‐e7cb34d37470                   Address Redacted                      First Class Mail
b8537493‐ba92‐4ce5‐ad5d‐d80ae8778e4e                   Address Redacted                      First Class Mail
b856fc20‐3aaa‐4491‐a688‐16e74a7c303d                   Address Redacted                      First Class Mail
b858c38b‐8856‐40f3‐9e00‐b4ff516b3bcb                   Address Redacted                      First Class Mail
b85e13f7‐0982‐443b‐82f2‐4daa6c45ed65                   Address Redacted                      First Class Mail
b85e738a‐fb51‐4758‐b925‐5a61077df7ef                   Address Redacted                      First Class Mail
b85e8214‐8ae7‐4cfd‐a168‐abbb246ac091                   Address Redacted                      First Class Mail
b8619675‐41ad‐4488‐9989‐06897e03246a                   Address Redacted                      First Class Mail
b8621e07‐4735‐41e2‐9944‐461842b917ea                   Address Redacted                      First Class Mail
b862b7e6‐aa13‐4f04‐a426‐9b5d528d06a5                   Address Redacted                      First Class Mail
b862c1d7‐551a‐4010‐9c6c‐8eff211d6d9a                   Address Redacted                      First Class Mail
b8645933‐2bc2‐43e4‐92fa‐ea939220d3e3                   Address Redacted                      First Class Mail
b86ab18e‐2e55‐468f‐8e70‐4516cdd9e557                   Address Redacted                      First Class Mail
b87252f2‐fd9c‐40b8‐97b8‐3fc75c760c6e                   Address Redacted                      First Class Mail
b874c1a2‐c44b‐453d‐b7ac‐ecd3d8a35d80                   Address Redacted                      First Class Mail
b874d682‐b330‐4964‐9434‐8d6f4a687a25                   Address Redacted                      First Class Mail
b875ee2c‐077b‐401d‐9c5e‐a05d43d80eed                   Address Redacted                      First Class Mail
b8763155‐4cca‐4ae5‐9e88‐86989a6abea4                   Address Redacted                      First Class Mail
b87879a8‐22e8‐4e38‐8e10‐52194ec69a81                   Address Redacted                      First Class Mail
b87a57c4‐9390‐4777‐8423‐7742dc44b50a                   Address Redacted                      First Class Mail
b8840d8d‐d7fa‐4cbc‐a852‐2e332c669c47                   Address Redacted                      First Class Mail
b88612f1‐3138‐4ed2‐89ab‐204c72488be2                   Address Redacted                      First Class Mail
b886a916‐b40b‐4774‐967a‐42041d793a0b                   Address Redacted                      First Class Mail
b887ab24‐eab1‐4346‐9cc7‐df08e3becf48                   Address Redacted                      First Class Mail
b88db2a6‐e137‐4b8e‐9724‐ab08a3bc7ed7                   Address Redacted                      First Class Mail
b8924af7‐f77a‐45b7‐a040‐3fab67bd8b8c                   Address Redacted                      First Class Mail
b89f0184‐d458‐4f42‐9d47‐832520ea949e                   Address Redacted                      First Class Mail
b8a6734e‐cfb7‐43de‐a815‐3099cdf420f5                   Address Redacted                      First Class Mail
b8a8c652‐dfc8‐4f95‐aeec‐88c1ba6f5389                   Address Redacted                      First Class Mail
b8a95126‐ee4b‐4a6e‐a8db‐029e4c8fa3cf                   Address Redacted                      First Class Mail
b8aa2714‐b3f2‐4d23‐b5e8‐ae85fd97eadc                   Address Redacted                      First Class Mail
b8afcd1a‐6ee1‐4c08‐bf94‐5e651ceea74b                   Address Redacted                      First Class Mail
b8b0c20e‐2b9e‐4270‐919f‐7bf39ca77338                   Address Redacted                      First Class Mail
b8b0f25e‐343e‐417b‐b053‐4e28bee9c008                   Address Redacted                      First Class Mail
b8b197cb‐e71d‐460b‐b378‐540c59414ddb                   Address Redacted                      First Class Mail
b8b1ae24‐0bb2‐4ccc‐b41a‐dc7b15c0a591                   Address Redacted                      First Class Mail
b8b3490f‐4d6b‐45bf‐900b‐4398b881b04b                   Address Redacted                      First Class Mail
b8b486db‐ca3e‐45c4‐9891‐2703594303a8                   Address Redacted                      First Class Mail
b8b983c5‐1392‐4b19‐aabd‐d8155c66e857                   Address Redacted                      First Class Mail
b8bfa7ed‐a9f8‐4341‐a017‐5db266a61f29                   Address Redacted                      First Class Mail
b8c16812‐9589‐4764‐a376‐cfc6f7cef2a9                   Address Redacted                      First Class Mail
b8c1d2d5‐6d57‐4aa0‐9b33‐77ddbdef3d9c                   Address Redacted                      First Class Mail
b8c26954‐fc0e‐454e‐9aca‐d53025710d71                   Address Redacted                      First Class Mail
b8c27bc7‐b954‐4d1b‐8eb3‐126cb7a032b1                   Address Redacted                      First Class Mail
b8c54f21‐808b‐4a67‐b24c‐e907481bda0a                   Address Redacted                      First Class Mail
b8c84b3f‐7ed0‐4a2d‐823f‐8c31a679dde5                   Address Redacted                      First Class Mail
b8cb4257‐d3cb‐42f9‐9c41‐e4c36cf3f1c4                   Address Redacted                      First Class Mail
b8cee354‐cfbb‐419b‐8d71‐2d86c000ae5f                   Address Redacted                      First Class Mail
b8cf166b‐8d17‐4add‐aced‐2dd6d1c5a868                   Address Redacted                      First Class Mail
b8cf575c‐1c38‐45b0‐aa07‐ef6f781f8664                   Address Redacted                      First Class Mail
b8cfe319‐e295‐4fbe‐8912‐92180ac78d42                   Address Redacted                      First Class Mail
b8d36821‐a9c8‐46d6‐8957‐b5e8a0871d3c                   Address Redacted                      First Class Mail
b8d8a3b8‐e76f‐4b2f‐ab6b‐5f0f245f836d                   Address Redacted                      First Class Mail
b8da7470‐e84a‐45b4‐8c89‐27003d423470                   Address Redacted                      First Class Mail
b8dee633‐5fc2‐487c‐ba26‐16652e688df6                   Address Redacted                      First Class Mail
b8e04446‐9268‐4e0f‐9d81‐3aab00fd36da                   Address Redacted                      First Class Mail
b8e46ee2‐51f6‐47c4‐ad13‐36c9f726d9dc                   Address Redacted                      First Class Mail
b8e664f1‐b27a‐4088‐a41f‐37ee708a7291                   Address Redacted                      First Class Mail
b8e78976‐f200‐4ec7‐91bd‐0847de138090                   Address Redacted                      First Class Mail




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                                                                Exhibit A
                                                                 Service List


                              Name                                              Address                         Method of Service
b8e9c6e6‐e053‐48a7‐92e6‐3c539d6ee2b7                   Address Redacted                      First Class Mail
b8ebbc35‐d2c8‐4f9f‐95f3‐383a4c113b00                   Address Redacted                      First Class Mail
b8f15548‐aed4‐4655‐9257‐a2ac8c3f07be                   Address Redacted                      First Class Mail
b8f2a905‐332b‐4392‐b4b6‐4a18d37d1d90                   Address Redacted                      First Class Mail
b8f2e83a‐f52d‐48c7‐a7d8‐516e5bec48a3                   Address Redacted                      First Class Mail
b8f64b4c‐2026‐49f2‐b495‐fad1b2bef340                   Address Redacted                      First Class Mail
b8f7a4a9‐cadb‐4f2a‐ba10‐5e559ac53c2c                   Address Redacted                      First Class Mail
b8f7ce56‐3537‐49e6‐8563‐11d146cbae62                   Address Redacted                      First Class Mail
b8fde007‐e34f‐455e‐adbf‐e40d20203b5b                   Address Redacted                      First Class Mail
b900e0a7‐4756‐49f1‐b65d‐82ae845c617a                   Address Redacted                      First Class Mail
b90a78ae‐87b6‐4159‐a3e7‐927d4b75d8bc                   Address Redacted                      First Class Mail
b91898ad‐7c21‐4513‐afeb‐7ee5816398c6                   Address Redacted                      First Class Mail
b918f296‐3217‐45a0‐b592‐7aa954ae2720                   Address Redacted                      First Class Mail
b91c033f‐4dcd‐4f46‐84cb‐202e4a23fd53                   Address Redacted                      First Class Mail
b9220ad9‐1a8a‐4a9d‐a58f‐143412514be7                   Address Redacted                      First Class Mail
b92617f2‐dac9‐4ff9‐846b‐adc550e13fa9                   Address Redacted                      First Class Mail
b9272617‐6cff‐4ed0‐8c1b‐3a825ab1e3f7                   Address Redacted                      First Class Mail
b928b90e‐6b70‐4cd5‐9383‐152cddc39d57                   Address Redacted                      First Class Mail
b928cd87‐84fa‐44d7‐a216‐1311446c5fa1                   Address Redacted                      First Class Mail
b92bd5cd‐c962‐4a6b‐be31‐9df5173faadf                   Address Redacted                      First Class Mail
b92c2cd2‐d721‐447c‐b873‐03345f6b4eea                   Address Redacted                      First Class Mail
b92c3c50‐0b11‐4d19‐9a64‐7d1db5428d96                   Address Redacted                      First Class Mail
b92c478b‐bb8f‐45c3‐9518‐143e91651f1d                   Address Redacted                      First Class Mail
b92c9fef‐064a‐4c4a‐9248‐ba48cd453e54                   Address Redacted                      First Class Mail
b92e0f1e‐88b4‐42c2‐847d‐1304aeb22030                   Address Redacted                      First Class Mail
b92f60a8‐85d4‐47c6‐a7ff‐8c74b88e2394                   Address Redacted                      First Class Mail
b933aba7‐0a86‐4d69‐909e‐b4acce127ea4                   Address Redacted                      First Class Mail
b93584fd‐44ad‐4044‐86e6‐0bbb5ee946e5                   Address Redacted                      First Class Mail
b935cb6f‐a3f8‐4ffc‐bb8b‐3b1ef451d025                   Address Redacted                      First Class Mail
b93a3ad5‐16d8‐4d70‐b0d8‐4f4c115f7d07                   Address Redacted                      First Class Mail
b93ab5fa‐123f‐4bc8‐ab8b‐a82b092fcf42                   Address Redacted                      First Class Mail
b93c0f44‐36ba‐449a‐9f80‐41ca3435324c                   Address Redacted                      First Class Mail
b93fbc17‐3634‐44f8‐8213‐d1609655013d                   Address Redacted                      First Class Mail
b9431cc2‐60d7‐4069‐b1e0‐30c0ff355103                   Address Redacted                      First Class Mail
b946e537‐e3f5‐48ec‐a586‐8c13b7b52a65                   Address Redacted                      First Class Mail
b94a67e4‐1dcd‐405f‐8ee0‐4d52a2768931                   Address Redacted                      First Class Mail
b94c81f9‐73a3‐458f‐ab54‐067c6a060a33                   Address Redacted                      First Class Mail
b94ca1f5‐7822‐47fe‐91b9‐df2316bb4411                   Address Redacted                      First Class Mail
b94da5ef‐1ae9‐44a2‐a205‐536201007662                   Address Redacted                      First Class Mail
b9505ed3‐151d‐4bed‐8cba‐e6dc55b2f9e5                   Address Redacted                      First Class Mail
b95359d5‐bdd7‐4489‐8713‐a732f480866e                   Address Redacted                      First Class Mail
b95c7772‐246f‐4d45‐9810‐0326ca1a5d69                   Address Redacted                      First Class Mail
b9616494‐0fdf‐479c‐af5a‐8060e6b5e8bc                   Address Redacted                      First Class Mail
b96ce8e8‐7991‐4dad‐b2ba‐cf16541a0c75                   Address Redacted                      First Class Mail
b9763c47‐9ef6‐472e‐8fad‐867bf4663bfc                   Address Redacted                      First Class Mail
b97e925c‐6243‐4236‐9b69‐22d0f2879a72                   Address Redacted                      First Class Mail
b9804621‐ed3d‐4aab‐86da‐bcd64d26f7cc                   Address Redacted                      First Class Mail
b9848627‐7440‐4ee6‐b06a‐a590ac78fb5b                   Address Redacted                      First Class Mail
b99482b5‐708d‐4d82‐b8fe‐cf8e13606b2b                   Address Redacted                      First Class Mail
b994ba5c‐ffbe‐44ec‐abee‐5a069b89dbb0                   Address Redacted                      First Class Mail
b99591cb‐67a3‐474a‐affc‐8490fe41e808                   Address Redacted                      First Class Mail
b9975597‐7f2f‐462e‐b344‐a2f9f575e9b5                   Address Redacted                      First Class Mail
b997cfcf‐b77f‐4b40‐9d06‐dc2af3ec5d49                   Address Redacted                      First Class Mail
b9a28117‐1a2b‐440c‐977b‐2782958ecd07                   Address Redacted                      First Class Mail
b9a48ca9‐63d7‐4d55‐8373‐b655ba1b742d                   Address Redacted                      First Class Mail
b9a88005‐a3b3‐4a42‐b79a‐f913eb1f0522                   Address Redacted                      First Class Mail
b9ad722a‐d5db‐4da9‐8c04‐b05ba420dfb7                   Address Redacted                      First Class Mail
b9ae5200‐27fc‐40c7‐a380‐bd9d40c9d12c                   Address Redacted                      First Class Mail
b9aed335‐93ea‐4b72‐970d‐2a44a7aee0a0                   Address Redacted                      First Class Mail
b9b1bc79‐33d0‐4abf‐9d3b‐1b9ff553713d                   Address Redacted                      First Class Mail
b9b1c228‐884a‐43a1‐afe9‐637d488d9751                   Address Redacted                      First Class Mail
b9b1e4d1‐d4e3‐4f7d‐9e72‐83ecf03b894e                   Address Redacted                      First Class Mail
b9b30768‐1f83‐4cd8‐83bd‐16791c0e6387                   Address Redacted                      First Class Mail
b9b4cd88‐6bda‐4f03‐b5c6‐5e325bbd501b                   Address Redacted                      First Class Mail
b9b50225‐a0ca‐48c2‐bce8‐5e5a8e965770                   Address Redacted                      First Class Mail
b9b58af3‐14d9‐422a‐a0a2‐14230067c4b5                   Address Redacted                      First Class Mail
b9b883d1‐8373‐45d6‐b68b‐350a1f07365e                   Address Redacted                      First Class Mail
b9bc29c0‐c2ba‐41ed‐ae17‐449cc28de546                   Address Redacted                      First Class Mail
b9bc8552‐cc48‐429a‐9aeb‐f2c8f5b38305                   Address Redacted                      First Class Mail
b9bce0fa‐58aa‐400c‐8b1e‐f6ced08aef7f                   Address Redacted                      First Class Mail
b9bd7d81‐3b10‐42fb‐bfa5‐7cde696dbfdc                   Address Redacted                      First Class Mail
b9c08acf‐c66c‐4106‐8c1c‐fd6b469b2b3c                   Address Redacted                      First Class Mail




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                                                                Exhibit A
                                                                 Service List


                              Name                                              Address                         Method of Service
b9c1397b‐ea88‐4443‐925b‐24e7d3aeb600                   Address Redacted                      First Class Mail
b9c6ec3e‐5f0c‐49a5‐9d4d‐b6f329cbd13b                   Address Redacted                      First Class Mail
b9c72d50‐e6a3‐482b‐a6db‐d22a6de8c5e2                   Address Redacted                      First Class Mail
b9c7fa7a‐cc04‐4b5f‐af43‐1a46c787c4cd                   Address Redacted                      First Class Mail
b9c981eb‐d03d‐4ed6‐8002‐8e8f1cacac63                   Address Redacted                      First Class Mail
b9d11e6c‐419d‐4f44‐b5d5‐0174ef881621                   Address Redacted                      First Class Mail
b9d3e76e‐f9a0‐43a7‐8116‐cee324c73470                   Address Redacted                      First Class Mail
b9d65aea‐2d54‐4b6a‐9c77‐73a9e4330012                   Address Redacted                      First Class Mail
b9d78776‐8f77‐4b28‐b9c1‐482b8fd60b78                   Address Redacted                      First Class Mail
b9d7d83b‐2b4a‐4419‐ac64‐68889a93751e                   Address Redacted                      First Class Mail
b9da4e8b‐b2c3‐448f‐b293‐0d55f8491b68                   Address Redacted                      First Class Mail
b9dd9316‐cd79‐4173‐80c3‐471d39219ef7                   Address Redacted                      First Class Mail
b9e462c0‐dab1‐4913‐9930‐491cbec07685                   Address Redacted                      First Class Mail
b9e665c8‐72b5‐4873‐9ea4‐9f1a1795f035                   Address Redacted                      First Class Mail
b9e69c09‐140e‐4c8d‐ad3c‐b47c8930317c                   Address Redacted                      First Class Mail
b9ead3c5‐630e‐4a86‐8370‐a1987db96b63                   Address Redacted                      First Class Mail
b9ebfa9f‐aca1‐4dbd‐a13a‐fa888b754106                   Address Redacted                      First Class Mail
b9ed0190‐2eca‐4f55‐a27e‐a267efe1fcb8                   Address Redacted                      First Class Mail
b9ed37f4‐0e5f‐4d78‐9a26‐845cfdd3d63c                   Address Redacted                      First Class Mail
b9eeacd2‐8333‐40ae‐9c3f‐f1b9bff7896c                   Address Redacted                      First Class Mail
b9ef5fa0‐79b3‐4d58‐a7ab‐a8e9815142f3                   Address Redacted                      First Class Mail
b9f440e1‐927b‐4a54‐97b6‐42534ab4e098                   Address Redacted                      First Class Mail
b9f560d0‐6e60‐448d‐a9d9‐e627b097f6f9                   Address Redacted                      First Class Mail
b9f68e30‐0998‐4b28‐8950‐1595722721be                   Address Redacted                      First Class Mail
b9f6f8f5‐5194‐40f1‐b4c3‐14be9f62b64f                   Address Redacted                      First Class Mail
b9f788b1‐4ad1‐4821‐944c‐9c4d3df43b9c                   Address Redacted                      First Class Mail
b9fc990d‐0f11‐4820‐aa49‐c2b7e6e5afb9                   Address Redacted                      First Class Mail
b9fce22c‐eb74‐4451‐b310‐60e58f55176b                   Address Redacted                      First Class Mail
b9fdfc04‐4649‐4570‐9842‐49c0cddc37c5                   Address Redacted                      First Class Mail
b9fe9356‐6d67‐4840‐91ea‐881bac2b72d3                   Address Redacted                      First Class Mail
ba00ab17‐4d2e‐4bda‐918e‐05d94b5680d7                   Address Redacted                      First Class Mail
ba05bc67‐155b‐4873‐8299‐457ebe4b232e                   Address Redacted                      First Class Mail
ba07df7e‐18e2‐4fc7‐a2b5‐d409354f74fa                   Address Redacted                      First Class Mail
ba0df31e‐c562‐4d7c‐86db‐177b3841d57d                   Address Redacted                      First Class Mail
ba121732‐a7a9‐49e7‐8558‐9370a82fcbdb                   Address Redacted                      First Class Mail
ba1289e0‐1478‐4f72‐9dd5‐de9a93342b7d                   Address Redacted                      First Class Mail
ba1458a4‐7ec6‐4346‐b7b5‐4962b7edeac2                   Address Redacted                      First Class Mail
ba1be652‐f893‐460e‐b514‐f7bbfa042909                   Address Redacted                      First Class Mail
ba1ca44b‐7d83‐4752‐8554‐e52046a14ae9                   Address Redacted                      First Class Mail
ba1da2f5‐1c2e‐4bab‐ab58‐197647104b3d                   Address Redacted                      First Class Mail
ba1efe95‐a5e3‐4357‐a745‐80fa693061e2                   Address Redacted                      First Class Mail
ba2200a7‐780c‐4e34‐b113‐8065e5fc2a6a                   Address Redacted                      First Class Mail
ba22fb6f‐d1fa‐4ef5‐b495‐e3b93b4279de                   Address Redacted                      First Class Mail
ba2549bd‐af79‐4e96‐a1a0‐eed551e8739a                   Address Redacted                      First Class Mail
ba2db613‐03c6‐4d40‐9260‐71e72b4ae8c2                   Address Redacted                      First Class Mail
ba2e3509‐d4e1‐4aeb‐a36f‐366cf1de3029                   Address Redacted                      First Class Mail
ba2f3c11‐0895‐4371‐a209‐cf453344ed51                   Address Redacted                      First Class Mail
ba2fc0c3‐3fc6‐444f‐a762‐9406450bc4ad                   Address Redacted                      First Class Mail
ba305b44‐e1fd‐4502‐b31b‐044b5c78e7f2                   Address Redacted                      First Class Mail
ba333669‐06ca‐4c48‐b2b5‐b85236df1338                   Address Redacted                      First Class Mail
ba4415d2‐1b3e‐448a‐a379‐b3f2e9fc0dbb                   Address Redacted                      First Class Mail
ba4430d6‐3691‐4acc‐adbf‐47a920ccd6c2                   Address Redacted                      First Class Mail
ba479f2c‐4610‐45cc‐ba71‐43bc3fdcbcd0                   Address Redacted                      First Class Mail
ba47ca4c‐a199‐4032‐87b1‐148fe63a5c19                   Address Redacted                      First Class Mail
ba4a6ba8‐fb58‐4cfb‐bb35‐af21023ec847                   Address Redacted                      First Class Mail
ba4c2d37‐90b5‐4a23‐bef9‐ed82b240162e                   Address Redacted                      First Class Mail
ba4c471f‐3cab‐4d40‐801b‐27bbeee816c2                   Address Redacted                      First Class Mail
ba52cd96‐0e3a‐4dd9‐b14a‐2ddb9a56d9eb                   Address Redacted                      First Class Mail
ba54de1d‐6c7c‐4129‐8b28‐06f4bc4ac430                   Address Redacted                      First Class Mail
ba5754ce‐d2d3‐406d‐a142‐ea021d23dee2                   Address Redacted                      First Class Mail
ba585190‐0e02‐4ba5‐9520‐729c833513f8                   Address Redacted                      First Class Mail
ba59d98e‐4f5e‐40c1‐bb99‐bb99e3f7b785                   Address Redacted                      First Class Mail
ba5a04a4‐b759‐4151‐9e70‐f35a7fd5b1a7                   Address Redacted                      First Class Mail
ba5d5d18‐ea53‐491d‐9ba6‐a93975ca54e1                   Address Redacted                      First Class Mail
ba65ef83‐a58f‐49ec‐b81f‐268230bfbdf6                   Address Redacted                      First Class Mail
ba685033‐a2de‐43f3‐9f40‐c8b5f36bb5b4                   Address Redacted                      First Class Mail
ba69326f‐adbc‐4c32‐a723‐68c2e59b754d                   Address Redacted                      First Class Mail
ba6c88e7‐b9b2‐4849‐a096‐2371c6a3cf79                   Address Redacted                      First Class Mail
ba729948‐010f‐42be‐8267‐239b2c4b5411                   Address Redacted                      First Class Mail
ba77f0f2‐6a4b‐4e32‐9e93‐287465ee423c                   Address Redacted                      First Class Mail
ba783cf4‐fdaf‐4d44‐b463‐0177757bd534                   Address Redacted                      First Class Mail
ba7f6277‐8d7b‐4444‐b249‐50c7d631e286                   Address Redacted                      First Class Mail




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                                                                Exhibit A
                                                                 Service List


                              Name                                              Address                         Method of Service
ba809f0d‐4c1f‐449a‐9856‐288b169da4c6                   Address Redacted                      First Class Mail
ba81461b‐b0e3‐4d20‐be4a‐09dc4b67f3d6                   Address Redacted                      First Class Mail
ba82eda0‐3623‐4c42‐9b5c‐09eb48261809                   Address Redacted                      First Class Mail
ba866da3‐0696‐4407‐b602‐f532504d618d                   Address Redacted                      First Class Mail
ba86f263‐dbf4‐4202‐8efe‐f37bb8b9fae4                   Address Redacted                      First Class Mail
ba8a3edd‐620a‐495c‐8094‐9ae7fb0bbc00                   Address Redacted                      First Class Mail
ba8fe3b7‐69fe‐4e70‐8f1b‐9a59621d7e6c                   Address Redacted                      First Class Mail
ba900238‐066a‐49cf‐abb7‐dbd6f63278bb                   Address Redacted                      First Class Mail
ba902d3f‐5734‐4bab‐a834‐c3f3d79a40ca                   Address Redacted                      First Class Mail
ba92ae9e‐0507‐4549‐ab3b‐2ffde4170f7e                   Address Redacted                      First Class Mail
ba93f1d2‐6951‐4437‐801d‐49c60203b1cb                   Address Redacted                      First Class Mail
ba93fa3f‐484f‐442d‐9e80‐b858391a5a52                   Address Redacted                      First Class Mail
ba9942fd‐1f9e‐45fc‐a9d3‐898ccbcc2d66                   Address Redacted                      First Class Mail
ba9d8d99‐120a‐4cb1‐a91a‐f4bc7876698e                   Address Redacted                      First Class Mail
ba9e7c44‐7adc‐454d‐80c5‐017e276a9181                   Address Redacted                      First Class Mail
ba9f3d9e‐9560‐455a‐8c95‐c6afff8de357                   Address Redacted                      First Class Mail
baa00621‐f3e4‐47b3‐9d78‐2d31d4512ffd                   Address Redacted                      First Class Mail
baa0df35‐8f99‐47b5‐aa07‐90cdc405ba55                   Address Redacted                      First Class Mail
baa4e917‐b792‐4396‐8cb4‐71693e45087a                   Address Redacted                      First Class Mail
baa57f9c‐12c0‐40ad‐a5f9‐7d8ee1766bc4                   Address Redacted                      First Class Mail
baa77a08‐48e1‐4978‐bfde‐2cec264d02fb                   Address Redacted                      First Class Mail
baa945aa‐5665‐4e91‐9b15‐646402ded7cb                   Address Redacted                      First Class Mail
baa982b3‐d768‐44af‐8fa3‐321ce7bd19b5                   Address Redacted                      First Class Mail
baad781b‐a488‐45f7‐a15e‐a7ab14e2c1eb                   Address Redacted                      First Class Mail
baafa087‐35fa‐4179‐ae55‐3afff4d6cc67                   Address Redacted                      First Class Mail
bab58b64‐a596‐4db4‐80eb‐039cc644e8c9                   Address Redacted                      First Class Mail
bab6bbcf‐45eb‐43eb‐9464‐d6352cdf13de                   Address Redacted                      First Class Mail
bab71aa2‐8fab‐4e25‐96e7‐2505f837daef                   Address Redacted                      First Class Mail
babb2fbe‐2876‐43c4‐aa65‐2e9f3054ca9c                   Address Redacted                      First Class Mail
babe8e9c‐f540‐401c‐801d‐ddc0f5eabb07                   Address Redacted                      First Class Mail
babfb817‐6f2a‐41e8‐9bc9‐3c04d469a5e1                   Address Redacted                      First Class Mail
bac1726c‐1b8f‐49e8‐bc70‐d67f8ea8f996                   Address Redacted                      First Class Mail
bac66804‐6f7c‐4aaa‐bd0e‐ecb55a81fe28                   Address Redacted                      First Class Mail
bac7d797‐c40f‐4d56‐a76a‐83cc2a407011                   Address Redacted                      First Class Mail
bac7e818‐3342‐4594‐b399‐cbcfb544b4f2                   Address Redacted                      First Class Mail
bac9b010‐5603‐4c45‐a265‐135829219e58                   Address Redacted                      First Class Mail
bacb0286‐bc79‐4d94‐82ea‐1ed01402f337                   Address Redacted                      First Class Mail
bacbd274‐a0a8‐461f‐84aa‐5ed9ff67e35b                   Address Redacted                      First Class Mail
bace4d06‐cfbc‐4775‐8d48‐11dd4a4c71e9                   Address Redacted                      First Class Mail
bad395bf‐f4ed‐47ba‐93ba‐e2864e9d73be                   Address Redacted                      First Class Mail
badd21b7‐c16b‐4f7a‐9d80‐5ee321684f31                   Address Redacted                      First Class Mail
bae5fdd1‐7c72‐4f46‐b148‐b66e7add0886                   Address Redacted                      First Class Mail
bae6890d‐3e0f‐4295‐9cf8‐1a9f703a3d47                   Address Redacted                      First Class Mail
bae8ec7e‐4a33‐4168‐9171‐d4b4e407cbfd                   Address Redacted                      First Class Mail
bae92670‐c17b‐4b86‐bef3‐7a1c5ae35154                   Address Redacted                      First Class Mail
bae9530c‐fae6‐4723‐adf3‐bb4eafaa9e89                   Address Redacted                      First Class Mail
baec4d81‐eecc‐4ade‐a068‐fbe810081c2e                   Address Redacted                      First Class Mail
baedde00‐ba64‐43cb‐9709‐bfd8d5436c7e                   Address Redacted                      First Class Mail
baee4547‐e74a‐43f6‐b24c‐bb83b24350b5                   Address Redacted                      First Class Mail
baf7adac‐4fb1‐4966‐a9d0‐04bf85ee3c54                   Address Redacted                      First Class Mail
bafe1936‐5a93‐4e8b‐af29‐c7aee22c835c                   Address Redacted                      First Class Mail
bafe4164‐443e‐4ef0‐bbed‐38d4dc234f96                   Address Redacted                      First Class Mail
bafebdd5‐3fd2‐432c‐b4f0‐4f67232c3704                   Address Redacted                      First Class Mail
bb016db4‐ac9d‐4459‐9c2f‐e91179b27ef4                   Address Redacted                      First Class Mail
bb04c236‐5fda‐4875‐8153‐b0d6ba6e9997                   Address Redacted                      First Class Mail
bb054910‐c2d9‐4979‐9a36‐c8468cafd5d4                   Address Redacted                      First Class Mail
bb093882‐5a49‐4e5d‐82f3‐51c968a22e63                   Address Redacted                      First Class Mail
bb0c3196‐90f3‐45ed‐918b‐d76c5985b191                   Address Redacted                      First Class Mail
bb0c45b6‐0f78‐44de‐9eb3‐6dee9a1d4bca                   Address Redacted                      First Class Mail
bb1037c7‐ef3f‐4eed‐b010‐6c97a2787322                   Address Redacted                      First Class Mail
bb104f28‐d218‐4cb9‐b494‐29caf6b3a843                   Address Redacted                      First Class Mail
bb12fe15‐b5fb‐4ed6‐9bf7‐f5a86af2a202                   Address Redacted                      First Class Mail
bb156a27‐349e‐494b‐a78f‐484f4cedd8dd                   Address Redacted                      First Class Mail
bb1620e0‐48a6‐431c‐be0e‐b788ec6b9197                   Address Redacted                      First Class Mail
bb163095‐33bf‐4408‐9b3e‐d6127ea70df5                   Address Redacted                      First Class Mail
bb17349e‐c91f‐4874‐abb8‐c5b1b2e7abe5                   Address Redacted                      First Class Mail
bb192d9d‐45f9‐48d7‐bae4‐7b6b95a47540                   Address Redacted                      First Class Mail
bb23d787‐ff94‐494d‐a5de‐5ddd03bf9ade                   Address Redacted                      First Class Mail
bb27dff3‐8252‐4d3c‐ab06‐3648e515c8bf                   Address Redacted                      First Class Mail
bb2a2927‐634f‐4a3b‐aa11‐48b3ac843960                   Address Redacted                      First Class Mail
bb2ac262‐63e2‐43ef‐aee6‐543b779a433a                   Address Redacted                      First Class Mail
bb2d4fa4‐ec49‐40ed‐8e02‐88002bc32c1a                   Address Redacted                      First Class Mail




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                              Name                                              Address                         Method of Service
bb36cdcc‐a3b9‐4b67‐86fb‐ef9be6fc9cfe                   Address Redacted                      First Class Mail
bb3753f0‐be5d‐46f0‐9b32‐4e4a1b201a42                   Address Redacted                      First Class Mail
bb3a6677‐6ff5‐4302‐90ab‐3b7884ba59ce                   Address Redacted                      First Class Mail
bb3d7f6e‐35aa‐404c‐905f‐6dd7609997c2                   Address Redacted                      First Class Mail
bb3dfce5‐6c7e‐4636‐b8e8‐da1fea67ef58                   Address Redacted                      First Class Mail
bb3f707c‐f811‐41db‐9934‐f4f519f3d977                   Address Redacted                      First Class Mail
bb401426‐5019‐41ee‐8ef4‐05e80797d2d1                   Address Redacted                      First Class Mail
bb4184e9‐b0db‐4e58‐9e9d‐4f389eece281                   Address Redacted                      First Class Mail
bb438a1d‐e0d4‐476b‐a9e7‐98628acae122                   Address Redacted                      First Class Mail
bb43f9b6‐6e4a‐4142‐9efc‐ddfc8bb0c0dc                   Address Redacted                      First Class Mail
bb44712a‐c24e‐4f74‐8714‐872aa9e7d5ba                   Address Redacted                      First Class Mail
bb44e0ea‐c36b‐45d4‐944c‐a1d5ef8a83b7                   Address Redacted                      First Class Mail
bb49a9a5‐ccd1‐4cbb‐9d15‐76c7f0ab88a2                   Address Redacted                      First Class Mail
bb4b6fdd‐ae40‐423a‐bc3a‐eb74284e6dc9                   Address Redacted                      First Class Mail
bb508ee5‐3c7b‐45a2‐8d2d‐1ad590d983d2                   Address Redacted                      First Class Mail
bb515b0d‐3a4a‐45df‐aa7d‐05304d4ce611                   Address Redacted                      First Class Mail
bb53dc12‐34fb‐4696‐8167‐2cd92452bf9a                   Address Redacted                      First Class Mail
bb54777e‐5d21‐4b76‐8f6e‐38257b76a687                   Address Redacted                      First Class Mail
bb554933‐3124‐4125‐94b1‐9ce65f5f5657                   Address Redacted                      First Class Mail
bb564bb2‐fc21‐4675‐8bdb‐606c2118fafb                   Address Redacted                      First Class Mail
bb5c68d3‐f82a‐4a06‐9933‐06bae080e6d7                   Address Redacted                      First Class Mail
bb5c9868‐f465‐4cdc‐aaef‐6fc252552410                   Address Redacted                      First Class Mail
bb5f632b‐4ca7‐41fe‐841d‐6e87dfb29890                   Address Redacted                      First Class Mail
bb612ecf‐e0a3‐49de‐8ff7‐df9047673f87                   Address Redacted                      First Class Mail
bb62bbd3‐b43a‐4c3c‐bf21‐3220a9e5f4a4                   Address Redacted                      First Class Mail
bb631330‐2a63‐4ba6‐a5ed‐60cdef6a1a96                   Address Redacted                      First Class Mail
bb738c86‐82d2‐4de5‐9439‐bc8ce11fb53f                   Address Redacted                      First Class Mail
bb73db15‐0e27‐467b‐baa2‐a42a7bfd1fa6                   Address Redacted                      First Class Mail
bb744fd5‐fc5f‐4ea8‐b0eb‐6565b5ce0382                   Address Redacted                      First Class Mail
bb752b5c‐3ef7‐4192‐bc55‐625264b54c7c                   Address Redacted                      First Class Mail
bb7ee177‐7aa7‐4941‐b037‐06bb2c15b2af                   Address Redacted                      First Class Mail
bb82d4b4‐8d44‐4586‐b4d2‐48ce65ec153b                   Address Redacted                      First Class Mail
bb83cb73‐bc65‐436b‐b05e‐86ed778089f4                   Address Redacted                      First Class Mail
bb853965‐2679‐4815‐a317‐1bc0f0dc66c1                   Address Redacted                      First Class Mail
bb86ff5c‐7500‐4daf‐a5a1‐87f106297b09                   Address Redacted                      First Class Mail
bb8731ce‐2363‐4245‐819a‐96b74fab8bb2                   Address Redacted                      First Class Mail
bb87a453‐7413‐41ff‐b297‐098f6bd42994                   Address Redacted                      First Class Mail
bb87b5ff‐72ef‐4c89‐aa22‐d13ea094c027                   Address Redacted                      First Class Mail
bb8d216d‐5ced‐49f9‐9e3b‐67727874751c                   Address Redacted                      First Class Mail
bb9161e1‐5eef‐403c‐b568‐7e9eb1b17b09                   Address Redacted                      First Class Mail
bb928bde‐8cdb‐4053‐9a22‐a0d7df33ac60                   Address Redacted                      First Class Mail
bb996265‐f838‐4480‐9abe‐601df5f3cb04                   Address Redacted                      First Class Mail
bb9a7993‐498b‐45f2‐bc58‐acfb9d78af7a                   Address Redacted                      First Class Mail
bb9c4673‐4427‐4ee3‐8f1c‐0ecf0d4487a7                   Address Redacted                      First Class Mail
bb9def8c‐9319‐416c‐8725‐08e153cfef55                   Address Redacted                      First Class Mail
bba24575‐e9e3‐4cf9‐b213‐c756bfd43aa3                   Address Redacted                      First Class Mail
bba3ec9a‐a1ae‐44ef‐9eef‐e4b2f2521ea1                   Address Redacted                      First Class Mail
bba72607‐d48f‐4b62‐a1f5‐2719f646a970                   Address Redacted                      First Class Mail
bba7a4a2‐4116‐471f‐a074‐033be893e361                   Address Redacted                      First Class Mail
bba9176f‐2ada‐40db‐96e3‐fbf0925ca96f                   Address Redacted                      First Class Mail
bbaa118d‐8d61‐49ad‐a79d‐cdbc849a9299                   Address Redacted                      First Class Mail
bbaaafb5‐6a10‐4d10‐99c6‐94062b0a21fe                   Address Redacted                      First Class Mail
bbad665c‐11e4‐43c4‐bd82‐f082b9a82791                   Address Redacted                      First Class Mail
bbb01c17‐4544‐4675‐b87a‐55958ea312d7                   Address Redacted                      First Class Mail
bbb22b40‐02e6‐4070‐9fb0‐47a3d998bfb3                   Address Redacted                      First Class Mail
bbb31934‐0619‐43fe‐a4eb‐c1a64cd6760c                   Address Redacted                      First Class Mail
bbb528ca‐a232‐47b2‐b780‐3f205db8a690                   Address Redacted                      First Class Mail
bbb55626‐da2b‐4332‐acbc‐129ff74fee4e                   Address Redacted                      First Class Mail
bbb80ae1‐8095‐421a‐ba3c‐e250f7e81534                   Address Redacted                      First Class Mail
bbbb6a56‐d242‐4415‐b908‐bfb210269c92                   Address Redacted                      First Class Mail
bbbe0c50‐69bc‐48ef‐aebb‐bc5c504e7c60                   Address Redacted                      First Class Mail
bbc809b2‐abb2‐4c38‐beee‐ebb8357c75c4                   Address Redacted                      First Class Mail
bbc9847e‐4567‐4a5f‐84ff‐2d6fb777d87e                   Address Redacted                      First Class Mail
bbc9d416‐a884‐47a6‐8a05‐f3d0e995266b                   Address Redacted                      First Class Mail
bbca20e5‐40d5‐43a9‐b250‐c4a57885cc1a                   Address Redacted                      First Class Mail
bbca9654‐2b01‐48ab‐91a8‐931f16a11ad7                   Address Redacted                      First Class Mail
bbcaf18f‐7b1e‐4265‐81b9‐066410cc6363                   Address Redacted                      First Class Mail
bbcd723b‐f44c‐49f5‐921c‐7368e28a764f                   Address Redacted                      First Class Mail
bbd1afab‐c0a0‐4256‐a717‐ae8b49942f9c                   Address Redacted                      First Class Mail
bbd1e07c‐510d‐4675‐be87‐68d734c7abee                   Address Redacted                      First Class Mail
bbd395e2‐7553‐46db‐b05a‐6f569e660c4b                   Address Redacted                      First Class Mail
bbd59853‐67dc‐4603‐9ce1‐fc0356861fec                   Address Redacted                      First Class Mail




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                                                                Exhibit A
                                                                 Service List


                              Name                                              Address                         Method of Service
bbd59c54‐7ace‐4562‐846b‐b27676e0519c                   Address Redacted                      First Class Mail
bbd66959‐95cc‐4633‐8b7f‐669cdc5d1315                   Address Redacted                      First Class Mail
bbde2517‐4575‐48f8‐924e‐08635a935b3d                   Address Redacted                      First Class Mail
bbe06523‐970f‐45fb‐a11d‐d2f13dd1a863                   Address Redacted                      First Class Mail
bbe0cc07‐0056‐4894‐bcc2‐624c21688c34                   Address Redacted                      First Class Mail
bbe5905c‐75fc‐4cb8‐9829‐ac22ef987659                   Address Redacted                      First Class Mail
bbeb73a9‐e1a5‐414e‐8dc3‐1f541b744163                   Address Redacted                      First Class Mail
bbee8cd6‐721a‐464f‐b5c9‐452692e48506                   Address Redacted                      First Class Mail
bbefe067‐a3e2‐4f77‐9d65‐bdfbcd6fd7e4                   Address Redacted                      First Class Mail
bbf2f463‐8174‐4f81‐aa62‐bbde2371e398                   Address Redacted                      First Class Mail
bbf46809‐5db9‐4f77‐8ffa‐fe617285e8f4                   Address Redacted                      First Class Mail
bbf96293‐0bc7‐4c34‐bb06‐10cacd6e5caf                   Address Redacted                      First Class Mail
bbfaadd1‐d794‐400d‐8605‐588a62668110                   Address Redacted                      First Class Mail
bbfb3c54‐054d‐4511‐ae12‐05edc043121d                   Address Redacted                      First Class Mail
bbfda489‐ae95‐41de‐9ba9‐0204e18dfd94                   Address Redacted                      First Class Mail
bbff1b06‐77a8‐4a4d‐91f8‐4732296677dd                   Address Redacted                      First Class Mail
bc0221b2‐f2d7‐4be0‐b1f8‐0caaea7df0d9                   Address Redacted                      First Class Mail
bc05732a‐c1ab‐4751‐9e71‐313526fe8f52                   Address Redacted                      First Class Mail
bc0abbd8‐a83c‐447a‐84a9‐aed6c31f82c7                   Address Redacted                      First Class Mail
bc10772e‐3b2a‐44f6‐8648‐fdaa03a3a048                   Address Redacted                      First Class Mail
bc1480f9‐eae2‐4e43‐943c‐c4bcb68b18b4                   Address Redacted                      First Class Mail
bc14cda5‐dbfd‐4577‐8511‐68f2c87cfbf1                   Address Redacted                      First Class Mail
bc15b9d1‐717e‐491b‐8282‐833af07582f4                   Address Redacted                      First Class Mail
bc16a5db‐f2fa‐40d7‐9d92‐335b1be713f0                   Address Redacted                      First Class Mail
bc184de6‐f558‐4636‐8cd9‐c0591d02cd63                   Address Redacted                      First Class Mail
bc19658d‐468e‐4ee0‐9839‐0c54a3830f5d                   Address Redacted                      First Class Mail
bc1a5af9‐7ad9‐40d0‐bf6e‐76f0550c6175                   Address Redacted                      First Class Mail
bc1b4fbd‐f63b‐4675‐b66c‐b48632df21b0                   Address Redacted                      First Class Mail
bc228498‐b9f4‐464a‐b3a7‐917f9e6e9c83                   Address Redacted                      First Class Mail
bc267b7f‐dd56‐44f9‐9001‐3dd7e3eed826                   Address Redacted                      First Class Mail
bc28605b‐17d1‐4731‐ae61‐2384b279affe                   Address Redacted                      First Class Mail
bc2beba7‐b883‐4a40‐b76d‐8faef281af2f                   Address Redacted                      First Class Mail
bc2d19ec‐539b‐4a60‐a405‐90ecd83a6bdc                   Address Redacted                      First Class Mail
bc2d755e‐92e3‐499f‐8a7b‐7f54f441a6ce                   Address Redacted                      First Class Mail
bc2d84f9‐0d7f‐4ad8‐ab96‐b471f4f7152e                   Address Redacted                      First Class Mail
bc2ebb4f‐b4ac‐43f8‐8ba3‐d5df7a838f56                   Address Redacted                      First Class Mail
bc327392‐0d66‐4566‐abf0‐e0085fceb10b                   Address Redacted                      First Class Mail
bc36ebd9‐7628‐4a67‐90c2‐ca2544899c70                   Address Redacted                      First Class Mail
bc370cec‐fc7d‐4394‐bd99‐3e5ccf345334                   Address Redacted                      First Class Mail
bc37b029‐fe76‐4f78‐aad3‐3804fc8a35ad                   Address Redacted                      First Class Mail
bc41f152‐55ca‐4206‐b93d‐1fd558690cf2                   Address Redacted                      First Class Mail
bc472330‐cfb5‐40ec‐8be4‐b92788b8fc5a                   Address Redacted                      First Class Mail
bc47518f‐19f6‐4930‐a7e1‐9ac610a4ff8d                   Address Redacted                      First Class Mail
bc4f9a99‐a6e0‐4502‐b5c3‐03fe8b0d6e5e                   Address Redacted                      First Class Mail
bc54bcc5‐35a6‐41e7‐b586‐d39409fb98a1                   Address Redacted                      First Class Mail
bc6056aa‐fa00‐40e4‐ad98‐dd4c15984dbc                   Address Redacted                      First Class Mail
bc61aa4b‐701e‐4799‐90f2‐c693f66dc9d7                   Address Redacted                      First Class Mail
bc63a602‐5381‐4bb7‐911f‐605ec9d495f9                   Address Redacted                      First Class Mail
bc6857c2‐820a‐45ac‐892b‐6bccf3bc4961                   Address Redacted                      First Class Mail
bc698660‐8cc5‐45fa‐bb4a‐273e4ff8b2fd                   Address Redacted                      First Class Mail
bc69f532‐cd3c‐414d‐b666‐17a77be6ed5c                   Address Redacted                      First Class Mail
bc703722‐1e89‐4d19‐8f96‐20149c3f6e67                   Address Redacted                      First Class Mail
bc709a16‐fb01‐41fc‐a896‐ca6b251f9dc5                   Address Redacted                      First Class Mail
bc70fa02‐3760‐4dfd‐bf22‐97977e5d853c                   Address Redacted                      First Class Mail
bc75d3ac‐f034‐4ddc‐b4b7‐0bc5306d5766                   Address Redacted                      First Class Mail
bc799f4e‐94af‐4d76‐ae12‐20e62baa0d0e                   Address Redacted                      First Class Mail
bc7baa1c‐ff5f‐4e32‐9084‐58bf7620b209                   Address Redacted                      First Class Mail
bc7d68cd‐0755‐4eb9‐8750‐95d5e40fb01a                   Address Redacted                      First Class Mail
bc7fe944‐85be‐4cf1‐a3f1‐4dd5a3dcdadc                   Address Redacted                      First Class Mail
bc801d28‐984f‐4500‐adcc‐f66991678b88                   Address Redacted                      First Class Mail
bc81ab30‐a60a‐4941‐b025‐0fbb5cf0b6e4                   Address Redacted                      First Class Mail
bc81b7cc‐9f80‐4d5c‐85d3‐1b5966d6cdde                   Address Redacted                      First Class Mail
bc81ed73‐ca89‐4188‐841b‐55d22812d545                   Address Redacted                      First Class Mail
bc827985‐872c‐41cb‐a599‐0804a58f4fb3                   Address Redacted                      First Class Mail
bc82af0c‐a1a3‐4fc9‐b999‐b933d38ae49f                   Address Redacted                      First Class Mail
bc896f6b‐7542‐48bc‐9e4b‐f33d02f1375a                   Address Redacted                      First Class Mail
bc8a13cb‐4aec‐4aee‐89fa‐ef4286ed18e4                   Address Redacted                      First Class Mail
bc8bd2fa‐fbc4‐4620‐9643‐2cd796ab85a8                   Address Redacted                      First Class Mail
bc8c3ffd‐8837‐474e‐96fa‐56520d9b101e                   Address Redacted                      First Class Mail
bc8d2f98‐31b1‐47f7‐9bda‐716c4b441832                   Address Redacted                      First Class Mail
bc8f08c2‐b41b‐4c35‐9f5e‐8649f365647b                   Address Redacted                      First Class Mail
bc98e586‐6f5b‐48fe‐a7ad‐df963b5d4d91                   Address Redacted                      First Class Mail




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                                                                Exhibit A
                                                                 Service List


                               Name                                             Address                         Method of Service
bc9934e0‐7e4e‐470a‐822a‐4aeb2c54fa7f                   Address Redacted                      First Class Mail
bc9acdba‐9883‐49dc‐87b5‐c4e375a2b83f                   Address Redacted                      First Class Mail
bc9b194b‐e745‐4845‐a2ac‐bcffab3463d4                   Address Redacted                      First Class Mail
bc9d6544‐49b5‐4f10‐9cfb‐a849cc32b788                   Address Redacted                      First Class Mail
bc9def88‐8dfe‐4820‐9ee0‐0590a3e2cd3c                   Address Redacted                      First Class Mail
bc9f5426‐6ed0‐4faa‐afba‐44f9799c3a89                   Address Redacted                      First Class Mail
bc9fc5bd‐a4dc‐4d9f‐8400‐371a6bf4c0c8                   Address Redacted                      First Class Mail
bca1120c‐51f9‐4d9f‐a45f‐f0354be01fa5                   Address Redacted                      First Class Mail
bca146bf‐239c‐44be‐b77f‐f7f008733438                   Address Redacted                      First Class Mail
bca9ccc0‐5b4b‐41d9‐b443‐11cc84111490                   Address Redacted                      First Class Mail
bcadb7b9‐b309‐48b1‐9ab5‐aaf9e26a3f5d                   Address Redacted                      First Class Mail
bcadc12f‐199e‐4653‐bde0‐841c0de8aae7                   Address Redacted                      First Class Mail
bcaea36a‐29fd‐427a‐9784‐5359e35015b3                   Address Redacted                      First Class Mail
bcb27a8b‐7add‐44e1‐aa6c‐e9ba742622e0                   Address Redacted                      First Class Mail
bcb4974a‐3b88‐413f‐a8f4‐873efe13d199                   Address Redacted                      First Class Mail
bcb61768‐6589‐45f5‐8624‐fda21becfee3                   Address Redacted                      First Class Mail
bcb84908‐a96e‐4a53‐85d6‐342846839ff5                   Address Redacted                      First Class Mail
bcbbdbdf‐a638‐4639‐b190‐0521c62d7122                   Address Redacted                      First Class Mail
bcbc8760‐7fbc‐4e5f‐95b4‐1683413b5f1d                   Address Redacted                      First Class Mail
bcbf9478‐7b16‐4dd2‐8298‐4d5a3db9422e                   Address Redacted                      First Class Mail
bcc179df‐7f19‐4475‐b586‐28a207f3752f                   Address Redacted                      First Class Mail
bcc54757‐0a98‐43ff‐898d‐e11ccf13ee5e                   Address Redacted                      First Class Mail
bcca2d70‐982e‐490c‐83a8‐429c948ae63e                   Address Redacted                      First Class Mail
bccabfb1‐3012‐424c‐84f7‐6907c39378d5                   Address Redacted                      First Class Mail
bccc412f‐18cd‐4fbc‐ac71‐350ff023d5f6                   Address Redacted                      First Class Mail
bcce7540‐d979‐4dbf‐a7ab‐af0d1b14d193                   Address Redacted                      First Class Mail
bcce9bcd‐4a9e‐4ae3‐ae5a‐51577fa59d4b                   Address Redacted                      First Class Mail
bcd10643‐955c‐4c4c‐841d‐eedc999c12a7                   Address Redacted                      First Class Mail
bcd23936‐6905‐4231‐85a4‐c875bd8739a3                   Address Redacted                      First Class Mail
bcd2fece‐6aa0‐48ed‐a490‐867b35b22fea                   Address Redacted                      First Class Mail
bcd37ad4‐6076‐4297‐842a‐5a0fe04bad63                   Address Redacted                      First Class Mail
bcd461e0‐0ee6‐4c36‐b152‐949a219eecb6                   Address Redacted                      First Class Mail
bcd46caa‐0e7a‐4aaa‐b996‐253770a32c02                   Address Redacted                      First Class Mail
bcd77105‐68f8‐499c‐b9b2‐6c8399a53d8e                   Address Redacted                      First Class Mail
bcd9bcef‐7cbc‐4a9e‐a604‐78ce2b8ba567                   Address Redacted                      First Class Mail
bcdb91fc‐92a8‐4410‐932c‐4faedf254881                   Address Redacted                      First Class Mail
bcdce24e‐8ed3‐4eff‐b62a‐cd433cbeec05                   Address Redacted                      First Class Mail
bcde33bf‐f90a‐4560‐aefb‐6f06f2d6b4ca                   Address Redacted                      First Class Mail
bce45e61‐7010‐449d‐8bae‐83135a191129                   Address Redacted                      First Class Mail
bce57bf1‐c077‐4d33‐a70d‐03a92641a317                   Address Redacted                      First Class Mail
bce9f52a‐4b7f‐4edf‐8940‐85e4392b2037                   Address Redacted                      First Class Mail
bcea0212‐f802‐4200‐8d93‐2a454a253137                   Address Redacted                      First Class Mail
bcea1436‐222a‐4ac0‐b617‐f99d2a8be810                   Address Redacted                      First Class Mail
bcea58c5‐fd72‐4300‐8455‐cd5f7fd80fe9                   Address Redacted                      First Class Mail
bcece698‐41c8‐400b‐bf09‐2cb2c0034976                   Address Redacted                      First Class Mail
bcedb32b‐ada0‐43cb‐8ef2‐a1d7775eb49b                   Address Redacted                      First Class Mail
bcefb292‐4c2d‐4566‐984f‐b5a90bc45e14                   Address Redacted                      First Class Mail
bcf292e3‐24b9‐4347‐8d24‐0b967266267d                   Address Redacted                      First Class Mail
bcfa25b9‐e0d6‐473c‐b0ec‐5bcd7ded7d7c                   Address Redacted                      First Class Mail
bcfae9fa‐7618‐4275‐9727‐8e4d96c12edc                   Address Redacted                      First Class Mail
bcfb3c55‐3527‐414c‐801b‐a20f8150e7d7                   Address Redacted                      First Class Mail
bcfb54f3‐abcc‐4f7d‐b7b1‐e66feb358cac                   Address Redacted                      First Class Mail
bd009eae‐4601‐4c79‐8745‐bb5a203cefe5                   Address Redacted                      First Class Mail
bd020551‐9d99‐4890‐aa0b‐323d35ee2669                   Address Redacted                      First Class Mail
bd05c8f3‐0102‐4db7‐9fba‐886089958645                   Address Redacted                      First Class Mail
bd0a7cf9‐1d8d‐43dd‐b877‐5c895c1196df                   Address Redacted                      First Class Mail
bd0bd789‐fa2c‐4178‐a374‐5dfacf0220c5                   Address Redacted                      First Class Mail
bd0bdd69‐afe4‐41ed‐947f‐5cb34bb8777b                   Address Redacted                      First Class Mail
bd0e956f‐66e1‐42b8‐bbb3‐ecde272baedf                   Address Redacted                      First Class Mail
bd11ed7c‐278d‐4185‐941c‐1f62e9d2a27e                   Address Redacted                      First Class Mail
bd12cad1‐d811‐4b31‐823a‐de73aa9eddb5                   Address Redacted                      First Class Mail
bd192bd3‐d668‐47a3‐b003‐f2cc1b96e032                   Address Redacted                      First Class Mail
bd2845a6‐ad9a‐4d0c‐bc2d‐fab05ac7bcc9                   Address Redacted                      First Class Mail
bd291021‐3aad‐44ae‐ae8c‐e877050f80ee                   Address Redacted                      First Class Mail
bd2a2331‐cd82‐4f50‐92e7‐a25a160abd47                   Address Redacted                      First Class Mail
bd2b2f01‐0b82‐4229‐81e0‐03c82edb8597                   Address Redacted                      First Class Mail
bd2d4e83‐40c9‐4346‐bc83‐c2b5fad3ceb3                   Address Redacted                      First Class Mail
bd31ddef‐eb32‐4d73‐8b3f‐93d86f5137a4                   Address Redacted                      First Class Mail
bd32c371‐b794‐4213‐a98f‐3b5cd60bfab4                   Address Redacted                      First Class Mail
bd32c3e6‐662f‐41a5‐9f87‐84f91dce9805                   Address Redacted                      First Class Mail
bd341efe‐fefe‐45bc‐b15e‐2267394893c2                   Address Redacted                      First Class Mail
bd34d717‐a63c‐4b08‐9960‐9a6deb624d5f                   Address Redacted                      First Class Mail




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                                                                 Service List


                              Name                                              Address                         Method of Service
bd35b4d0‐8760‐4067‐adf7‐2b8cd707948a                   Address Redacted                      First Class Mail
bd39f56a‐1841‐43c1‐b934‐cfdf826e6369                   Address Redacted                      First Class Mail
bd3bf605‐a5c1‐49f1‐b4b8‐a5a4d84c2744                   Address Redacted                      First Class Mail
bd41bebd‐f192‐45aa‐b58c‐60b6fe0359c4                   Address Redacted                      First Class Mail
bd46693d‐1ecd‐40b2‐9152‐193ca2053bd5                   Address Redacted                      First Class Mail
bd48133a‐437a‐4178‐a519‐6f9f73b07b7d                   Address Redacted                      First Class Mail
bd487068‐19ec‐4237‐868b‐fca41c6285ea                   Address Redacted                      First Class Mail
bd49c129‐dcdf‐4fa1‐940d‐2fc84fd02922                   Address Redacted                      First Class Mail
bd4a1bc2‐09ab‐4988‐9aba‐754e76ddaf83                   Address Redacted                      First Class Mail
bd4d2f9e‐dc45‐4670‐876f‐43d32bb83f12                   Address Redacted                      First Class Mail
bd4ed801‐8c22‐417f‐a0a3‐1e4be7899876                   Address Redacted                      First Class Mail
bd50c74b‐84aa‐4bed‐bcec‐ae3800994a95                   Address Redacted                      First Class Mail
bd50c9c5‐7e9e‐4125‐924c‐37916b49d087                   Address Redacted                      First Class Mail
bd531dab‐90c3‐466b‐90f6‐e8426e475720                   Address Redacted                      First Class Mail
bd53dc36‐93f7‐4470‐b1c8‐6c670596b2b6                   Address Redacted                      First Class Mail
bd57b1a8‐e229‐4dc9‐9223‐404d23611585                   Address Redacted                      First Class Mail
bd5c4243‐15e6‐442a‐b568‐6d927b64ee74                   Address Redacted                      First Class Mail
bd5c8e5e‐55d6‐4acc‐bf58‐1bcb7e74b6a7                   Address Redacted                      First Class Mail
bd5df5ad‐d611‐4f11‐bb76‐16fd7171d222                   Address Redacted                      First Class Mail
bd5e8f55‐f4f4‐4ab4‐ae01‐53932492b41d                   Address Redacted                      First Class Mail
bd61572a‐c38d‐4f6d‐b48e‐9d2d268483ef                   Address Redacted                      First Class Mail
bd647de1‐9d3c‐4016‐ba62‐ad36c8205706                   Address Redacted                      First Class Mail
bd693534‐2456‐41d6‐bfdd‐c2001ff0bc21                   Address Redacted                      First Class Mail
bd6b94ab‐0f28‐49b2‐b664‐31a81ad43e08                   Address Redacted                      First Class Mail
bd6daab5‐61a8‐42f9‐8d21‐a34128f59882                   Address Redacted                      First Class Mail
bd753786‐b47b‐4362‐973d‐b94cdb98f808                   Address Redacted                      First Class Mail
bd75a4dd‐3536‐477a‐9578‐d9a443aa1082                   Address Redacted                      First Class Mail
bd76bbc8‐fcad‐4fdf‐a709‐96b7f2cf7946                   Address Redacted                      First Class Mail
bd79b89b‐f813‐4e9d‐bceb‐267b061283dd                   Address Redacted                      First Class Mail
bd7ae687‐c7ff‐4565‐a1db‐6e9cc5ef9842                   Address Redacted                      First Class Mail
bd7f0084‐39da‐43ba‐883d‐b6fc13615f90                   Address Redacted                      First Class Mail
bd7f036d‐6842‐4e8b‐9759‐09628508b0d5                   Address Redacted                      First Class Mail
bd85abfa‐9daa‐4877‐87dc‐fcddd8872054                   Address Redacted                      First Class Mail
bd862d32‐b328‐46e0‐a648‐987605f55ef4                   Address Redacted                      First Class Mail
bd8808f9‐d951‐4577‐b261‐b86d3d329da0                   Address Redacted                      First Class Mail
bd886313‐40de‐4885‐803b‐5c1d1ecc2938                   Address Redacted                      First Class Mail
bd89ccd0‐b48e‐48ab‐963f‐b517ae9ac9c1                   Address Redacted                      First Class Mail
bd8e498e‐06ce‐4283‐bf8f‐925380b70b7b                   Address Redacted                      First Class Mail
bd8ecd7b‐ce8c‐4bf3‐92e4‐99734d7e72b5                   Address Redacted                      First Class Mail
bd8f184a‐f15c‐4529‐8ab1‐0eb2afa13b45                   Address Redacted                      First Class Mail
bd94ddc2‐0bfe‐4ab1‐ad9d‐8b4df46f9c5e                   Address Redacted                      First Class Mail
bd96b858‐2f42‐4ce4‐88e1‐0ece4d485168                   Address Redacted                      First Class Mail
bd9723c4‐9380‐4e20‐a875‐0747adde5a84                   Address Redacted                      First Class Mail
bd98c5fa‐b85b‐4876‐8b43‐a0ac4f4ded77                   Address Redacted                      First Class Mail
bd9a3570‐384b‐495f‐8cf8‐fdf710f82c22                   Address Redacted                      First Class Mail
bda08b35‐6bce‐4da2‐ab08‐4b287629dfba                   Address Redacted                      First Class Mail
bda0d770‐df72‐478c‐8147‐3aa9e6e6d85c                   Address Redacted                      First Class Mail
bda5fe8f‐cdc5‐409c‐80ee‐f683a546ec2d                   Address Redacted                      First Class Mail
bda6795e‐23c2‐48a9‐9a83‐0ebce672fff7                   Address Redacted                      First Class Mail
bdaedccd‐39cd‐4119‐a24c‐9d42c39b13df                   Address Redacted                      First Class Mail
bdaf8e39‐3fd2‐4aa7‐adbe‐7fc021be5043                   Address Redacted                      First Class Mail
bdb272c2‐681d‐4573‐8add‐f82ed9995666                   Address Redacted                      First Class Mail
bdb3778e‐cf35‐4584‐b03d‐f14a47112781                   Address Redacted                      First Class Mail
bdb4b95f‐6948‐480d‐a66f‐989dea710d68                   Address Redacted                      First Class Mail
bdb64bd7‐e400‐49e9‐9359‐c379ca8c50c5                   Address Redacted                      First Class Mail
bdb64e39‐48fb‐4398‐97c9‐1de37505d47f                   Address Redacted                      First Class Mail
bdb95fb2‐2b6c‐4d1e‐96ab‐0fada17fbf62                   Address Redacted                      First Class Mail
bdbb63ab‐33ed‐4b22‐90fe‐f69e33b9966e                   Address Redacted                      First Class Mail
bdc241eb‐709f‐4659‐9302‐ff1994acbccc                   Address Redacted                      First Class Mail
bdc75839‐8ec2‐4d3a‐a3ea‐f9d5e1831242                   Address Redacted                      First Class Mail
bdca0eaa‐33d3‐4ff2‐b9e8‐83c51151722e                   Address Redacted                      First Class Mail
bdcae1de‐dfa3‐43ef‐b32c‐426f22edcbdf                   Address Redacted                      First Class Mail
bdce3b48‐3741‐4e61‐be03‐f6baf479dbac                   Address Redacted                      First Class Mail
bdce3f74‐3dc1‐4683‐b62d‐22bd34f8d804                   Address Redacted                      First Class Mail
bdcfd5a3‐0ca0‐470c‐bd0f‐af03d4bfa7e7                   Address Redacted                      First Class Mail
bdd3d43b‐483a‐450b‐8059‐276c54e562ac                   Address Redacted                      First Class Mail
bdd407c1‐32d5‐43a4‐8b2b‐39b48a9e46be                   Address Redacted                      First Class Mail
bdd48402‐cfa6‐4d87‐af17‐ccfc77f14c9b                   Address Redacted                      First Class Mail
bdd498c1‐4343‐4e5c‐b5a4‐4129866269ed                   Address Redacted                      First Class Mail
bdd66d97‐b750‐4409‐98ca‐fc3f2f1e6613                   Address Redacted                      First Class Mail
bdd8b587‐5345‐4658‐a261‐cf1479ab25b6                   Address Redacted                      First Class Mail
bddac9ad‐1e0e‐4aa9‐98f3‐878d554ed776                   Address Redacted                      First Class Mail




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                                                                Exhibit A
                                                                 Service List


                              Name                                              Address                         Method of Service
bde0004e‐20a7‐4411‐9c91‐62d8f2a39002                   Address Redacted                      First Class Mail
bde1d178‐84ba‐4e81‐aa45‐d56587a2dba6                   Address Redacted                      First Class Mail
bde246da‐23fe‐4c99‐8acc‐dd5a92b87ec1                   Address Redacted                      First Class Mail
bde3f9b2‐448d‐4c6a‐b19f‐b7129445a43b                   Address Redacted                      First Class Mail
bde576bd‐9636‐4550‐944c‐af65bdcc8c17                   Address Redacted                      First Class Mail
bded50f6‐7287‐4061‐a7b2‐241bbe25c939                   Address Redacted                      First Class Mail
bdee5439‐3889‐41b2‐ab3b‐a6de960d4b38                   Address Redacted                      First Class Mail
bdee6ea7‐b2a4‐4dc7‐92cb‐87738f66aa8c                   Address Redacted                      First Class Mail
bdef3c9e‐8d91‐4f59‐bd32‐dabe647e1f50                   Address Redacted                      First Class Mail
bdf0fbe7‐563b‐4841‐abcf‐807883e5e221                   Address Redacted                      First Class Mail
bdf2bf13‐8437‐4f3b‐900d‐89da4b3121f6                   Address Redacted                      First Class Mail
bdf8c8a8‐78ac‐4dba‐9c9b‐2e106f465fd1                   Address Redacted                      First Class Mail
bdfa6ae5‐62a1‐45e8‐9959‐fa0de7b5f763                   Address Redacted                      First Class Mail
bdfffe87‐ed06‐4774‐9ef6‐82623bbb0c8b                   Address Redacted                      First Class Mail
be015fb2‐b5fb‐4cd6‐97dd‐7b16eec5f380                   Address Redacted                      First Class Mail
be03df14‐da61‐4749‐903a‐8832f2435f93                   Address Redacted                      First Class Mail
be073490‐0026‐4dbc‐b94f‐f50779395e88                   Address Redacted                      First Class Mail
be0be16d‐2823‐4c84‐bce3‐47cf38baa229                   Address Redacted                      First Class Mail
be0d0bd5‐330e‐410d‐b82c‐f01de146d995                   Address Redacted                      First Class Mail
be103464‐31e1‐4749‐b2e5‐7fa418debe7b                   Address Redacted                      First Class Mail
be12a656‐2d5c‐4bd8‐9715‐87ce493bd1d7                   Address Redacted                      First Class Mail
be1539e9‐4675‐48b3‐9187‐e883d2dec43b                   Address Redacted                      First Class Mail
be1bfcec‐e212‐407a‐a53f‐0bdfa480729b                   Address Redacted                      First Class Mail
be1c305b‐6a44‐40a2‐bef9‐4eb36fe6e16a                   Address Redacted                      First Class Mail
be21608e‐2336‐482c‐a3cc‐527151d986ec                   Address Redacted                      First Class Mail
be2561d4‐4ecb‐4b83‐800f‐6df135f1b640                   Address Redacted                      First Class Mail
be26dff3‐291d‐4d09‐bdd6‐84f219bdc650                   Address Redacted                      First Class Mail
be28318a‐9cad‐4218‐83ae‐7f89c635a340                   Address Redacted                      First Class Mail
be2de26e‐0a2b‐4dfa‐811a‐3c4ed2239327                   Address Redacted                      First Class Mail
be3056f2‐b499‐4e1c‐81d7‐412108f4e01c                   Address Redacted                      First Class Mail
be31165f‐22d9‐482a‐8e2b‐5708e77d9bdd                   Address Redacted                      First Class Mail
be33d8c7‐cf93‐4cb7‐9395‐11ca490a7cec                   Address Redacted                      First Class Mail
be35290a‐662c‐4000‐b973‐82d692d7a2bf                   Address Redacted                      First Class Mail
be3d37a8‐e5b3‐4823‐af12‐08fab7c61a87                   Address Redacted                      First Class Mail
be414343‐0da6‐4d67‐b531‐61b7175f0557                   Address Redacted                      First Class Mail
be425e9e‐3722‐422a‐820f‐2e38b5539106                   Address Redacted                      First Class Mail
be42a315‐3f6d‐4c6d‐b818‐33db912b1e42                   Address Redacted                      First Class Mail
be48e596‐29dd‐4d5e‐98cb‐701101f08321                   Address Redacted                      First Class Mail
be4caa6d‐33e6‐4d89‐b67e‐d41c557bc241                   Address Redacted                      First Class Mail
be4f5b70‐5545‐4172‐8942‐024c8836aeef                   Address Redacted                      First Class Mail
be5944fa‐8952‐4978‐8154‐9707cb61770d                   Address Redacted                      First Class Mail
be5a9dac‐770e‐4386‐a06c‐76930e6cdd5e                   Address Redacted                      First Class Mail
be5bf45f‐bc6b‐42f3‐a8e9‐a36e3ff698e2                   Address Redacted                      First Class Mail
be61ba21‐0b91‐4215‐98d0‐123c0e57b00d                   Address Redacted                      First Class Mail
be64f8ca‐ad30‐4642‐9ae2‐256e1b9acebf                   Address Redacted                      First Class Mail
be660fe5‐25c8‐4ab9‐9eb3‐6fad86c76088                   Address Redacted                      First Class Mail
be67957a‐43a8‐4a81‐8fa1‐3e8f091b571b                   Address Redacted                      First Class Mail
be69a665‐632b‐427a‐b019‐ecdbdab9749f                   Address Redacted                      First Class Mail
be6b0f30‐c318‐4b50‐9f2d‐22a37ee584a1                   Address Redacted                      First Class Mail
be70b6d3‐c60a‐4fbf‐99e8‐6fb253a1a325                   Address Redacted                      First Class Mail
be715216‐edab‐4eb4‐9b40‐1246332d61f2                   Address Redacted                      First Class Mail
be71ef83‐61eb‐4397‐9e2b‐33e59115c2f1                   Address Redacted                      First Class Mail
be74ca06‐b5cc‐4e8f‐9c27‐b890956e1975                   Address Redacted                      First Class Mail
be74ca61‐4f4e‐432a‐b39d‐be796532f51d                   Address Redacted                      First Class Mail
be780ae7‐f035‐4451‐81a0‐8f28896386cd                   Address Redacted                      First Class Mail
be799254‐af04‐4afa‐915f‐5acdb8f73b3c                   Address Redacted                      First Class Mail
be7b2be0‐53a8‐4b0b‐90bb‐4f2b60e0caaa                   Address Redacted                      First Class Mail
be7c1af9‐30df‐4afb‐bf83‐f521084a8fbf                   Address Redacted                      First Class Mail
be7ce9ac‐e2cc‐49c4‐8cd0‐c90760d8a998                   Address Redacted                      First Class Mail
be7f2106‐c38d‐4da8‐8c9a‐3c42072b4037                   Address Redacted                      First Class Mail
be7f24e7‐0252‐4889‐8d60‐125de05e6d0d                   Address Redacted                      First Class Mail
be83d73e‐fed6‐4c01‐8d8a‐bccbc512dda7                   Address Redacted                      First Class Mail
be87e706‐2cd2‐45a5‐8237‐83c0ca482cc0                   Address Redacted                      First Class Mail
be8a9bb8‐b316‐417a‐9926‐570a8c54ef09                   Address Redacted                      First Class Mail
be8b123a‐4f46‐4251‐894f‐84d80b3f9f1a                   Address Redacted                      First Class Mail
be8b28ae‐595f‐4193‐8dd6‐a2ccfffda05a                   Address Redacted                      First Class Mail
be8b7ec6‐294a‐4b88‐b0db‐bcb2cbb2774d                   Address Redacted                      First Class Mail
be944596‐7d86‐4ab0‐8f9b‐69e4f76aaea1                   Address Redacted                      First Class Mail
be968c73‐3d00‐493c‐bcdb‐b8619c166b65                   Address Redacted                      First Class Mail
be984f58‐8104‐4a21‐84c6‐9ccc2e75e1ed                   Address Redacted                      First Class Mail
be9bd33d‐e169‐4a4e‐9811‐8cf21eb5c7b3                   Address Redacted                      First Class Mail
be9d62a1‐c70a‐4b69‐977b‐474344afe6f0                   Address Redacted                      First Class Mail




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                                                                Exhibit A
                                                                 Service List


                               Name                                             Address                         Method of Service
be9f3987‐9ff1‐4ea2‐84df‐7bf07652cbe4                   Address Redacted                      First Class Mail
bea60506‐1191‐4272‐b1b7‐2a4d659704aa                   Address Redacted                      First Class Mail
beac9a4c‐ff99‐4499‐be8a‐0230f0763c69                   Address Redacted                      First Class Mail
bead0e4e‐e0c0‐418f‐8c52‐e4d5b68182d9                   Address Redacted                      First Class Mail
beadd9fb‐a5aa‐418d‐b3f4‐f1fa36e18e1a                   Address Redacted                      First Class Mail
beb16bf8‐d9f6‐4829‐8d17‐d69edb4e2afb                   Address Redacted                      First Class Mail
beb4f1a2‐8b3a‐4ed7‐b731‐c48389b750da                   Address Redacted                      First Class Mail
beb9d1da‐8694‐4fea‐a992‐01a926e61898                   Address Redacted                      First Class Mail
bebae9c4‐e38e‐484a‐a620‐a4ed384441b4                   Address Redacted                      First Class Mail
bebb3835‐b634‐48e8‐8c9f‐ca4181c1460c                   Address Redacted                      First Class Mail
bebe7537‐a41b‐429f‐98bd‐29a55f459b3c                   Address Redacted                      First Class Mail
bec027f4‐a3cc‐47fc‐9bb4‐ca0530991483                   Address Redacted                      First Class Mail
bec3b218‐e29b‐477b‐8fd8‐f1b2efda064d                   Address Redacted                      First Class Mail
bec42bde‐034d‐43c9‐ac01‐0f9428d089ed                   Address Redacted                      First Class Mail
bec572f0‐8c13‐47d4‐8058‐232d56cbae6c                   Address Redacted                      First Class Mail
bec6a521‐aa6a‐494a‐b09f‐f77465629ed4                   Address Redacted                      First Class Mail
bec6c6ef‐9582‐4108‐ac29‐1b36d83ffb81                   Address Redacted                      First Class Mail
bec7ce39‐ec89‐4108‐8c11‐5a37a0332d4c                   Address Redacted                      First Class Mail
bec9469b‐9425‐4812‐8b10‐5dd2937af34d                   Address Redacted                      First Class Mail
bec947f5‐5a6a‐40bb‐845a‐6bcc5e6bea0f                   Address Redacted                      First Class Mail
bec9ab09‐a66e‐4a05‐b9cf‐117e125eff1e                   Address Redacted                      First Class Mail
becbd894‐b983‐4d20‐bbd4‐21473813fe15                   Address Redacted                      First Class Mail
becd1f70‐8fa1‐4256‐997d‐997230bbb44f                   Address Redacted                      First Class Mail
beceb711‐a2bb‐4f03‐ab71‐ec7dd1b7f143                   Address Redacted                      First Class Mail
becf0377‐e6b5‐457e‐b387‐d69b584ef128                   Address Redacted                      First Class Mail
becf5a47‐0773‐4b53‐af48‐af906f36d879                   Address Redacted                      First Class Mail
bed157c8‐fb78‐4893‐884d‐af91df4ae3ca                   Address Redacted                      First Class Mail
bed25d5c‐2b3c‐42b4‐9899‐29acbf72a5e9                   Address Redacted                      First Class Mail
bed5aaa0‐b2dd‐4206‐b484‐2bdcb78153d9                   Address Redacted                      First Class Mail
bed750a2‐a6f6‐4428‐9a65‐7534491e8f7b                   Address Redacted                      First Class Mail
beda807d‐b59a‐4dd0‐b9ed‐4b163b5fed39                   Address Redacted                      First Class Mail
bede6f3f‐a9d0‐4470‐809a‐1fd44e5d1c7e                   Address Redacted                      First Class Mail
bedf52e7‐7d55‐4c27‐80cb‐f50be3287c45                   Address Redacted                      First Class Mail
bedfd86d‐bc2f‐408e‐8135‐b058640ebb71                   Address Redacted                      First Class Mail
bee367aa‐5d48‐4410‐9399‐46cfb67e1f57                   Address Redacted                      First Class Mail
bee63d48‐5b66‐43a8‐8dda‐d093565abef3                   Address Redacted                      First Class Mail
bee730ee‐8c48‐4f00‐9d36‐e64cd7d78180                   Address Redacted                      First Class Mail
beed0f20‐abc5‐45d0‐983c‐c6c66ad80d04                   Address Redacted                      First Class Mail
beef89ca‐e407‐454b‐9f24‐5ee9da23c9a6                   Address Redacted                      First Class Mail
beeffd77‐59d4‐4d27‐9991‐09dcd7409073                   Address Redacted                      First Class Mail
bef42c87‐0915‐4297‐a6ba‐0f123b640648                   Address Redacted                      First Class Mail
bef437ee‐40df‐4449‐82c0‐2ea4859af32d                   Address Redacted                      First Class Mail
bef9ba26‐2458‐4fe3‐b7bd‐bb77e6fba0bf                   Address Redacted                      First Class Mail
befa740f‐40ab‐4c02‐afc9‐cdeffdecda9b                   Address Redacted                      First Class Mail
befebe34‐09a4‐48b5‐8ad8‐87b435c4e65b                   Address Redacted                      First Class Mail
bf01bb69‐e103‐434c‐b0cb‐67273d395f96                   Address Redacted                      First Class Mail
bf023ff1‐3fe7‐4e28‐96cc‐11f9232109d9                   Address Redacted                      First Class Mail
bf080a54‐44c5‐497d‐b787‐39e01e189872                   Address Redacted                      First Class Mail
bf090373‐cdfb‐4cf2‐a206‐5521efe1c963                   Address Redacted                      First Class Mail
bf090fbd‐9c76‐46ac‐8db0‐ac0bb3f4afd6                   Address Redacted                      First Class Mail
bf0ca903‐3c4e‐4bac‐ae48‐5993a4a9246e                   Address Redacted                      First Class Mail
bf10ea06‐cbee‐4aca‐b6a5‐4605c23ef904                   Address Redacted                      First Class Mail
bf1493f8‐1c90‐4040‐ad0b‐2c792095e0f7                   Address Redacted                      First Class Mail
bf15dcda‐821a‐4d94‐b932‐29ef191d0e2d                   Address Redacted                      First Class Mail
bf1e39b4‐a071‐4375‐a6a1‐9760775ebd2c                   Address Redacted                      First Class Mail
bf1e41c0‐7451‐43ad‐9e9c‐a4cd0b40ec32                   Address Redacted                      First Class Mail
bf24d122‐ed25‐4ffe‐a34b‐05d0be7ed9b1                   Address Redacted                      First Class Mail
bf28c939‐bde8‐49d8‐b667‐1e3968876e52                   Address Redacted                      First Class Mail
bf2b9ca2‐2ca3‐416d‐87ce‐f3a7e4b36ce6                   Address Redacted                      First Class Mail
bf35ba0b‐328d‐4144‐8357‐e65e6dd5f793                   Address Redacted                      First Class Mail
bf360bfe‐399e‐4a5e‐970f‐f10aedb43912                   Address Redacted                      First Class Mail
bf3624e0‐f7f5‐408c‐85c6‐912a8fe96ece                   Address Redacted                      First Class Mail
bf3e8dc7‐1d89‐4a87‐8d16‐c16919cbe7d6                   Address Redacted                      First Class Mail
bf400b86‐fef8‐4dca‐a41d‐a3c282f53180                   Address Redacted                      First Class Mail
bf4028c2‐fa32‐4073‐ae1f‐dfc54d063e7d                   Address Redacted                      First Class Mail
bf432eb4‐f440‐4d54‐95e9‐9572ddb4a675                   Address Redacted                      First Class Mail
bf437d1c‐b5b7‐4bbb‐839f‐450e35555a1a                   Address Redacted                      First Class Mail
bf439843‐401d‐48c9‐99b5‐7c4ebe831c3a                   Address Redacted                      First Class Mail
bf459669‐d948‐44f5‐92d0‐545ab72f510e                   Address Redacted                      First Class Mail
bf46ff8c‐e267‐48d0‐b869‐55d0d8e9cc22                   Address Redacted                      First Class Mail
bf4baae8‐ba74‐4241‐b94a‐fb8a5a23715c                   Address Redacted                      First Class Mail
bf4d2838‐aa21‐4768‐84e2‐e251e6d4946f                   Address Redacted                      First Class Mail




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                               Name                                             Address                         Method of Service
bf4e2aa5‐1e05‐4426‐a59e‐cb60595dcab5                   Address Redacted                      First Class Mail
bf4e5ab3‐f729‐4d4e‐a657‐a7276e71b113                   Address Redacted                      First Class Mail
bf508c59‐2011‐47b7‐96af‐da777672a756                   Address Redacted                      First Class Mail
bf537382‐9e8d‐4e7f‐9274‐b2f5793b0d76                   Address Redacted                      First Class Mail
bf53cfd2‐7a5d‐4739‐a165‐bed072c1cacb                   Address Redacted                      First Class Mail
bf54b380‐86fd‐4ce2‐b273‐79d3f09a32e6                   Address Redacted                      First Class Mail
bf559789‐f26b‐4928‐a95d‐be78dfa4c802                   Address Redacted                      First Class Mail
bf5e391e‐2757‐4c61‐9ccd‐a307750949fa                   Address Redacted                      First Class Mail
bf5ecfb1‐8dba‐467f‐ae55‐0ff2a6a0033b                   Address Redacted                      First Class Mail
bf61d3e4‐9ef2‐4466‐a230‐051d3b030119                   Address Redacted                      First Class Mail
bf6340fd‐e548‐41f3‐aa2d‐4664633a6458                   Address Redacted                      First Class Mail
bf635b93‐53cc‐4099‐a27a‐bfae5d3a6207                   Address Redacted                      First Class Mail
bf66c5df‐ae82‐411b‐919d‐1b3dbc23731c                   Address Redacted                      First Class Mail
bf66fa98‐7304‐459e‐9bf2‐429816fbda99                   Address Redacted                      First Class Mail
bf67f39f‐019a‐41ff‐9d1e‐ccf246b63383                   Address Redacted                      First Class Mail
bf68a5ed‐b098‐4da6‐b089‐bc0b46e85e74                   Address Redacted                      First Class Mail
bf6b3938‐1dad‐4f5e‐952b‐813f0e150287                   Address Redacted                      First Class Mail
bf6bbcc7‐ed62‐48ee‐9ad7‐eddbdc0c7dff                   Address Redacted                      First Class Mail
bf6cf7f8‐8bcf‐4426‐b4ee‐295befdc7c34                   Address Redacted                      First Class Mail
bf6f31d6‐655d‐4b30‐9c12‐ac291d2dec5a                   Address Redacted                      First Class Mail
bf71ba7f‐ff01‐4d4d‐810b‐dbc410de4d80                   Address Redacted                      First Class Mail
bf78c427‐f670‐4f54‐9dd6‐22aa6ddc79f1                   Address Redacted                      First Class Mail
bf79bada‐db5c‐4f4c‐a4bd‐2d065c627eba                   Address Redacted                      First Class Mail
bf7c14f8‐42aa‐4d5b‐a744‐2cfea5ee20d1                   Address Redacted                      First Class Mail
bf7f93cf‐03ad‐4d96‐b95d‐f070a7767dc2                   Address Redacted                      First Class Mail
bf80f2bb‐fd0a‐4b3c‐9981‐d877fb954d1f                   Address Redacted                      First Class Mail
bf81f8a5‐c649‐445e‐b846‐0e2c3c66fc26                   Address Redacted                      First Class Mail
bf826bba‐9199‐46b9‐aa87‐a5e50d659b40                   Address Redacted                      First Class Mail
bf895d20‐158c‐47ad‐a20b‐71299b33eafb                   Address Redacted                      First Class Mail
bf8a04bf‐4cf9‐45e1‐973e‐fbb80a70e2b5                   Address Redacted                      First Class Mail
bf8dcd5f‐1be9‐4ecc‐819c‐1266a1d511f0                   Address Redacted                      First Class Mail
bf8f4d49‐f53e‐4279‐bf4b‐0808d265fb6d                   Address Redacted                      First Class Mail
bf8f6366‐8b53‐46a2‐bfe4‐38d21b190030                   Address Redacted                      First Class Mail
bf92b18e‐8946‐4cbd‐b119‐1ac1d4b9d141                   Address Redacted                      First Class Mail
bf9504af‐2384‐497f‐bf1f‐d579c1472399                   Address Redacted                      First Class Mail
bf95c3c0‐5c0c‐421f‐bc47‐1c35ab6d3d75                   Address Redacted                      First Class Mail
bf98b7f4‐ed93‐44e1‐8579‐258962b6c794                   Address Redacted                      First Class Mail
bf9edb8c‐9837‐4e5f‐b290‐ae9730e5c744                   Address Redacted                      First Class Mail
bfa058e4‐f259‐4f97‐940f‐cd417d59c46c                   Address Redacted                      First Class Mail
bfa2e4b0‐63b5‐40f9‐b0a0‐c4bbad924013                   Address Redacted                      First Class Mail
bfa443f0‐4c6d‐4638‐a470‐1e57fde33318                   Address Redacted                      First Class Mail
bfa77012‐0e2b‐446b‐ba79‐c9554dd32ef5                   Address Redacted                      First Class Mail
bfa96521‐3673‐4982‐a193‐a79c09571bcf                   Address Redacted                      First Class Mail
bfa9c7f7‐6676‐4153‐b787‐a41257497ed8                   Address Redacted                      First Class Mail
bfac5a29‐f8fd‐472a‐96d2‐5f044aaa2d7d                   Address Redacted                      First Class Mail
bfb13265‐60b3‐480a‐a311‐ba4505cb54f9                   Address Redacted                      First Class Mail
bfb70ea6‐d3b6‐4ced‐b995‐d9a78ba76ef1                   Address Redacted                      First Class Mail
bfb8c63c‐f945‐40f4‐8b7c‐644447ecc19c                   Address Redacted                      First Class Mail
bfb8d80e‐62f2‐4d5f‐afc1‐637e52a7fafe                   Address Redacted                      First Class Mail
bfba7fcb‐c1fe‐467b‐bbd5‐0df91519e4b2                   Address Redacted                      First Class Mail
bfbc8751‐0787‐4e3d‐9cd2‐eba0593762fe                   Address Redacted                      First Class Mail
bfc01288‐513d‐4627‐ba60‐d4f728fe9b3a                   Address Redacted                      First Class Mail
bfc2f773‐4514‐408d‐bc36‐a9731c495781                   Address Redacted                      First Class Mail
bfc428c0‐ddd2‐4fdb‐8dbf‐a3da43e95462                   Address Redacted                      First Class Mail
bfc7f601‐bd38‐4753‐9e32‐0e4e6e0ac6e0                   Address Redacted                      First Class Mail
bfc8c383‐72fc‐49fc‐8a5e‐5a0e6491ef17                   Address Redacted                      First Class Mail
bfc9dcbb‐d9d8‐4482‐ab77‐8056969cce11                   Address Redacted                      First Class Mail
bfce6c53‐20b0‐47e8‐a043‐3ff65a995c14                   Address Redacted                      First Class Mail
bfce83d2‐849d‐471e‐9bcf‐3bb2dc6d29c7                   Address Redacted                      First Class Mail
bfd4526e‐0bf0‐4d8e‐bd61‐131c53158a56                   Address Redacted                      First Class Mail
bfd5a1e1‐6b88‐46be‐b10c‐0b2955e1ce9a                   Address Redacted                      First Class Mail
bfd8ce09‐1d17‐47f4‐ae37‐ebefc2314b83                   Address Redacted                      First Class Mail
bfdca255‐9b4b‐479d‐b41c‐bcc376d2e85e                   Address Redacted                      First Class Mail
bfdd9e38‐3a76‐495b‐975f‐4e81e473c14c                   Address Redacted                      First Class Mail
bfdefe45‐7bd9‐4a78‐8fa0‐c233b4bc2550                   Address Redacted                      First Class Mail
bfe682c7‐c5ea‐4485‐93ff‐58c56851b3e3                   Address Redacted                      First Class Mail
bfebb619‐22bb‐4537‐9d09‐e4ddf2b09356                   Address Redacted                      First Class Mail
bfebda96‐69fd‐472e‐b4d8‐b120976b4c03                   Address Redacted                      First Class Mail
bfecea7e‐c508‐4e35‐b569‐56bcb6e659c7                   Address Redacted                      First Class Mail
bfed82aa‐a2af‐487b‐a2da‐43ad65ddbc3b                   Address Redacted                      First Class Mail
bfef6a05‐2b93‐46dc‐b83f‐c6dd0cc86397                   Address Redacted                      First Class Mail
bfefff26‐38cb‐47ac‐8516‐cc1164109c6f                   Address Redacted                      First Class Mail




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                                                                 Service List


                              Name                                              Address                         Method of Service
bff006f3‐2539‐4d9d‐b701‐7b1498ee6229                   Address Redacted                      First Class Mail
bff0ee6f‐04b8‐4a4b‐8f94‐190de6e9021c                   Address Redacted                      First Class Mail
bff25daf‐a5bd‐4f99‐9719‐8e257b0e5006                   Address Redacted                      First Class Mail
bff5e3de‐803b‐471e‐af6b‐50aab24643f9                   Address Redacted                      First Class Mail
bff683b9‐7dfe‐424b‐9124‐8a3f918833f5                   Address Redacted                      First Class Mail
bffab582‐933c‐4d81‐805f‐6bba8596f13b                   Address Redacted                      First Class Mail
bffc8314‐22f0‐45e9‐abbf‐2ada602f8980                   Address Redacted                      First Class Mail
bffe0596‐7c11‐44c9‐ae9c‐74f7f6d56648                   Address Redacted                      First Class Mail
c000139f‐9076‐4a0f‐ad85‐3b26087bf303                   Address Redacted                      First Class Mail
c001d092‐cbd2‐48d9‐8083‐b9ab357fab91                   Address Redacted                      First Class Mail
c0063b96‐1061‐40d9‐9596‐a7e87af99e07                   Address Redacted                      First Class Mail
c007e978‐d62f‐4cbb‐916c‐9676c697d7c3                   Address Redacted                      First Class Mail
c0081266‐9940‐4ffe‐8c5f‐be56c801d2c1                   Address Redacted                      First Class Mail
c0095e7a‐f711‐42bc‐a0d7‐ac1e1e65537f                   Address Redacted                      First Class Mail
c009aad8‐644e‐4256‐97ae‐0f1e4dc39fbf                   Address Redacted                      First Class Mail
c009e20f‐28c4‐48af‐bc03‐abb5ea68fa0d                   Address Redacted                      First Class Mail
c010c687‐ff88‐411d‐a00b‐d6dd72fb3fc9                   Address Redacted                      First Class Mail
c01366da‐14f0‐474c‐826f‐3a8273a85937                   Address Redacted                      First Class Mail
c01458ba‐7511‐4521‐ae05‐30b940b29540                   Address Redacted                      First Class Mail
c01808bc‐7791‐4fb1‐b2d1‐f4ef9c2da109                   Address Redacted                      First Class Mail
c018c16b‐84c8‐487b‐a731‐16f170dc5616                   Address Redacted                      First Class Mail
c01a4c57‐4dad‐4a25‐bfcf‐1c6197ada276                   Address Redacted                      First Class Mail
c01c240a‐6257‐410c‐bc2c‐fcdafd04b8cd                   Address Redacted                      First Class Mail
c01de03a‐ef0a‐456c‐80fc‐3adf7e9aa953                   Address Redacted                      First Class Mail
c02673dc‐d3fa‐4c09‐add4‐03edcae660c2                   Address Redacted                      First Class Mail
c028010d‐4441‐4c98‐8f3a‐0b739e2b1475                   Address Redacted                      First Class Mail
c0287c6c‐db4a‐4de5‐b418‐07a43ee204f4                   Address Redacted                      First Class Mail
c02bcc30‐acfb‐48c1‐ad7a‐e43993777354                   Address Redacted                      First Class Mail
c02ddfaa‐2890‐4200‐9b63‐2dc79fee1c21                   Address Redacted                      First Class Mail
c034db85‐116a‐4200‐886f‐89d24d7ce55f                   Address Redacted                      First Class Mail
c03838b7‐12f4‐4a6d‐aaca‐6c744511a804                   Address Redacted                      First Class Mail
c039d98f‐54b9‐49fe‐9271‐7c1025f15d94                   Address Redacted                      First Class Mail
c03b351d‐4f4d‐41f2‐8d70‐335912a4753d                   Address Redacted                      First Class Mail
c044575c‐7682‐4fdf‐8957‐d07650a21f7b                   Address Redacted                      First Class Mail
c0461275‐e85c‐4b9f‐85b8‐c6630d80ee68                   Address Redacted                      First Class Mail
c046c2f9‐56ee‐4bf6‐9173‐c9b573f27548                   Address Redacted                      First Class Mail
c0488fab‐2bfa‐446a‐93eb‐3d7565f5d32d                   Address Redacted                      First Class Mail
c049ac1b‐6e78‐47c6‐b112‐31049d9ac804                   Address Redacted                      First Class Mail
c04d362c‐fe5f‐489c‐ab07‐b9d188ef9f11                   Address Redacted                      First Class Mail
c04ddcfa‐cf0d‐410a‐a3b1‐f12e63c9d480                   Address Redacted                      First Class Mail
c04f5e56‐a77c‐4a3d‐8b95‐7933a627b15f                   Address Redacted                      First Class Mail
c04fae69‐fe09‐4da3‐ab17‐87ca3910495b                   Address Redacted                      First Class Mail
c054b87e‐94a8‐4ab6‐b79d‐10e5b804a8a7                   Address Redacted                      First Class Mail
c0551cb4‐31f1‐4fdc‐a3d0‐9db3470bdd09                   Address Redacted                      First Class Mail
c0586594‐d275‐4323‐938f‐0b16955722c0                   Address Redacted                      First Class Mail
c0590a7f‐aff9‐4410‐bd4f‐a9933e254459                   Address Redacted                      First Class Mail
c0593100‐db93‐4308‐ace1‐9a0e628d1c13                   Address Redacted                      First Class Mail
c05c8c5a‐84b4‐4461‐a371‐15896580a179                   Address Redacted                      First Class Mail
c05e6418‐b055‐4381‐87f0‐208f5c43fddd                   Address Redacted                      First Class Mail
c05fbb27‐1001‐4c1e‐8c46‐f38eb6254d9e                   Address Redacted                      First Class Mail
c064294e‐7322‐40ea‐9972‐3b5006c2e620                   Address Redacted                      First Class Mail
c0699193‐23ec‐4d72‐a518‐1b376c3b512f                   Address Redacted                      First Class Mail
c06a9983‐5148‐43d1‐98fb‐965f4fcca82c                   Address Redacted                      First Class Mail
c0746ac5‐20df‐4d7b‐b0eb‐993d8fd1a5ef                   Address Redacted                      First Class Mail
c0779dd8‐ecd7‐475a‐9468‐423ebc60ca06                   Address Redacted                      First Class Mail
c07a0484‐e9f8‐44d4‐8ab3‐22fbe8646a6c                   Address Redacted                      First Class Mail
c07dcade‐ef23‐493c‐818d‐bc9a048cf82c                   Address Redacted                      First Class Mail
c0855eab‐e677‐4bf7‐8926‐8a9424a37f31                   Address Redacted                      First Class Mail
c088e71f‐af46‐4e34‐876b‐1aaa234af236                   Address Redacted                      First Class Mail
c0895170‐8f17‐404e‐90b8‐035c9cd128a1                   Address Redacted                      First Class Mail
c08a3cb1‐30fa‐4547‐b47d‐77b358a840b5                   Address Redacted                      First Class Mail
c08c699a‐5cdf‐4fba‐8908‐c4209e99a7c1                   Address Redacted                      First Class Mail
c08ce2f1‐d5ab‐417e‐b9c5‐9dd2eeb4843a                   Address Redacted                      First Class Mail
c08eb043‐1afb‐4c76‐a946‐47611aff8836                   Address Redacted                      First Class Mail
c0928545‐7660‐4dec‐a86b‐3ad76bd4fc60                   Address Redacted                      First Class Mail
c09594c9‐045a‐4ba7‐adca‐4aabbe8ca46a                   Address Redacted                      First Class Mail
c095fda8‐8b6b‐4b9b‐8a1f‐2a091126e4c4                   Address Redacted                      First Class Mail
c09716b6‐8b05‐45ec‐9d2b‐6df47ebac0ca                   Address Redacted                      First Class Mail
c097b06b‐6e04‐4620‐9f5f‐ce943bff479a                   Address Redacted                      First Class Mail
c09add16‐29ea‐46a8‐898c‐3ac0ea9aa5db                   Address Redacted                      First Class Mail
c09d6e0c‐cfc8‐4e17‐85b4‐e14bcf901c83                   Address Redacted                      First Class Mail
c09e4c78‐ce80‐4736‐bff6‐8b30a509b41c                   Address Redacted                      First Class Mail




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                                                                 Service List


                              Name                                              Address                         Method of Service
c09ff6df‐5900‐474e‐aab5‐535331775dc2                   Address Redacted                      First Class Mail
c0a1578c‐6124‐497f‐92e5‐74abebbb59f9                   Address Redacted                      First Class Mail
c0a16cef‐f3cb‐4b04‐a9cd‐cf3ea1530827                   Address Redacted                      First Class Mail
c0a85721‐ed78‐417b‐80bd‐19a3d23d1c06                   Address Redacted                      First Class Mail
c0a86c58‐2d96‐40e9‐9914‐da308b711991                   Address Redacted                      First Class Mail
c0b829ef‐4d79‐4635‐8297‐119d7194e2b6                   Address Redacted                      First Class Mail
c0b88670‐01fd‐4e59‐a2ec‐ef12874dab2d                   Address Redacted                      First Class Mail
c0be910f‐76a9‐4746‐b5b7‐b4c0a7727640                   Address Redacted                      First Class Mail
c0beb8c9‐5c86‐4a0a‐82b6‐c754fdcb7fc9                   Address Redacted                      First Class Mail
c0beee05‐ea32‐4b57‐a57d‐03bf1c57303a                   Address Redacted                      First Class Mail
c0bfcd8f‐3856‐49b8‐aca4‐390fe7e507fa                   Address Redacted                      First Class Mail
c0c40b2c‐b143‐418e‐bf34‐bae5cc6ffcad                   Address Redacted                      First Class Mail
c0c598fb‐abdd‐4dbd‐b295‐b881779c702f                   Address Redacted                      First Class Mail
c0c7c7a8‐498c‐40a0‐85f4‐0093bddb6205                   Address Redacted                      First Class Mail
c0c82a23‐f4e5‐4a27‐bd23‐26cf9d82f0b5                   Address Redacted                      First Class Mail
c0c91c6a‐1f05‐4c07‐add3‐4a50c3ff2ca8                   Address Redacted                      First Class Mail
c0d4b51c‐bcd6‐4ecb‐9763‐2d2d342dc77d                   Address Redacted                      First Class Mail
c0d6c438‐59b2‐4c04‐8b60‐cb25a957d754                   Address Redacted                      First Class Mail
c0da7564‐d548‐4730‐a9fb‐8120f6416b5f                   Address Redacted                      First Class Mail
c0e04e2a‐ee92‐47f3‐adb2‐f1cb23b07080                   Address Redacted                      First Class Mail
c0e38d5c‐5c89‐42ac‐8566‐61f0aa52409f                   Address Redacted                      First Class Mail
c0e478d0‐597e‐4afe‐9027‐a6f630bd66a4                   Address Redacted                      First Class Mail
c0e970a6‐f042‐45e8‐a56f‐f7eb55dfbf04                   Address Redacted                      First Class Mail
c0ed46e6‐5a6a‐4bf1‐b53d‐f1221ababd4d                   Address Redacted                      First Class Mail
c0ef7492‐1d3f‐4ba8‐a97d‐0eb695d109f6                   Address Redacted                      First Class Mail
c0f08a4b‐52af‐46e5‐bd03‐1d8b7132cad5                   Address Redacted                      First Class Mail
c0f0ef90‐ac13‐4a98‐96ae‐e20b225f0eb1                   Address Redacted                      First Class Mail
c0f5685b‐db22‐4662‐abf7‐d62639b97a8c                   Address Redacted                      First Class Mail
c0f61dea‐d226‐4872‐a47a‐dfc882a302d5                   Address Redacted                      First Class Mail
c0f6c029‐25ed‐43c5‐9ec3‐745ad4ce0123                   Address Redacted                      First Class Mail
c0fa9c8e‐7ed1‐41c6‐a25c‐eacd91e20d02                   Address Redacted                      First Class Mail
c0fc3139‐c107‐48b1‐ab89‐36f3a118dda1                   Address Redacted                      First Class Mail
c0fd0521‐51b2‐4224‐9251‐19898208d670                   Address Redacted                      First Class Mail
c0ff1a5f‐e36c‐457f‐a930‐b3d72f244a20                   Address Redacted                      First Class Mail
c1002f30‐4a5a‐4d93‐be88‐7f488e6ee3fa                   Address Redacted                      First Class Mail
c1055cfe‐ee3c‐40c2‐995c‐03501a8f8241                   Address Redacted                      First Class Mail
c108dbd0‐cff2‐4299‐be08‐ce9a22cefe7b                   Address Redacted                      First Class Mail
c10ae0c3‐0038‐4df9‐b234‐7a9d4979c37e                   Address Redacted                      First Class Mail
c10b989d‐3faf‐4f50‐a844‐5674606e72ee                   Address Redacted                      First Class Mail
c10cf064‐a786‐474f‐9862‐6542f631f49d                   Address Redacted                      First Class Mail
c113a31f‐344a‐4867‐a123‐95bf0fa16ab0                   Address Redacted                      First Class Mail
c1155663‐422d‐4bcf‐b143‐93685ea605af                   Address Redacted                      First Class Mail
c117c386‐e080‐452d‐9d62‐fc4d3f4ea918                   Address Redacted                      First Class Mail
c117fabf‐2f27‐4da7‐8f04‐b63bd924cb0b                   Address Redacted                      First Class Mail
c118f208‐285c‐4a2c‐8c8a‐1ccc3d42d1c6                   Address Redacted                      First Class Mail
c11942f0‐c287‐47fb‐bc23‐b21e84469e44                   Address Redacted                      First Class Mail
c11a2140‐fb93‐443e‐8943‐c4383636b08b                   Address Redacted                      First Class Mail
c11b653e‐c908‐47c7‐ad45‐288c7a76b53e                   Address Redacted                      First Class Mail
c11c5999‐cc73‐4477‐9a41‐b069405d3c34                   Address Redacted                      First Class Mail
c1236bd3‐4bd8‐418e‐9760‐c9b0c1a1a0c4                   Address Redacted                      First Class Mail
c124475c‐d854‐4236‐b711‐e79372cba8e0                   Address Redacted                      First Class Mail
c124c75d‐8e04‐4df2‐adb0‐9fd2da68fac3                   Address Redacted                      First Class Mail
c127b30a‐2712‐4344‐bc81‐c26b2ede15ab                   Address Redacted                      First Class Mail
c129e55b‐79d3‐4a71‐8195‐ed3dda9da3f5                   Address Redacted                      First Class Mail
c129e8ea‐fd19‐4407‐a961‐229f771bb58b                   Address Redacted                      First Class Mail
c12a8d4e‐f058‐4f3c‐a1cc‐05a81301c564                   Address Redacted                      First Class Mail
c12e1d11‐ecba‐4482‐9289‐7510ae7333ba                   Address Redacted                      First Class Mail
c12e236d‐c634‐42c0‐a74f‐1926f6740c6d                   Address Redacted                      First Class Mail
c1304c57‐b4f6‐441c‐8ed1‐d0a316f284e4                   Address Redacted                      First Class Mail
c132c8c0‐f661‐411f‐8f59‐60eacfd475c7                   Address Redacted                      First Class Mail
c136b7d7‐c4d3‐4736‐9187‐e94b7b057941                   Address Redacted                      First Class Mail
c13a45fc‐6af9‐4c9d‐9c66‐096c4738ac45                   Address Redacted                      First Class Mail
c13c2c15‐4a91‐4c2c‐a202‐bb4cb26a9b21                   Address Redacted                      First Class Mail
c13d9b89‐545f‐4122‐9e70‐30f9baf50ed4                   Address Redacted                      First Class Mail
c13e62a8‐a90b‐4a96‐a64d‐d244772b5663                   Address Redacted                      First Class Mail
c13f6107‐95c0‐4b27‐a0e1‐ef9940f0ed2a                   Address Redacted                      First Class Mail
c1414b36‐7783‐47b0‐8e3c‐cb0026611bec                   Address Redacted                      First Class Mail
c14257b3‐1438‐418e‐a27b‐882b8731da1f                   Address Redacted                      First Class Mail
c147681a‐fd6e‐497d‐987c‐49a856035671                   Address Redacted                      First Class Mail
c14b796c‐4f9b‐469b‐8ca6‐941d7d88f970                   Address Redacted                      First Class Mail
c14e144e‐1472‐48b2‐a13b‐944aaa044b7a                   Address Redacted                      First Class Mail
c151f9db‐aaae‐4961‐9c68‐475a31aa3f0c                   Address Redacted                      First Class Mail




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                                                                 Service List


                              Name                                              Address                         Method of Service
c1556b8a‐1aa9‐4c4c‐b612‐122f2a0ccfd0                   Address Redacted                      First Class Mail
c1590054‐a676‐4b6e‐8a42‐96836b76a365                   Address Redacted                      First Class Mail
c1595934‐953c‐4c2e‐9c70‐0ec8f71fed71                   Address Redacted                      First Class Mail
c15c2300‐ecf5‐44ee‐b58b‐18bbe3347e1a                   Address Redacted                      First Class Mail
c15ede5a‐3359‐44dd‐be2b‐e33ab3ec8a40                   Address Redacted                      First Class Mail
c1665ad0‐f625‐4fd9‐b59d‐fe480cd9e473                   Address Redacted                      First Class Mail
c167d665‐82b5‐4e67‐85b7‐6d6ad5f96318                   Address Redacted                      First Class Mail
c168701a‐38c8‐4727‐99a7‐101702699616                   Address Redacted                      First Class Mail
c169ed31‐65bd‐404a‐bc53‐ec3294f6a686                   Address Redacted                      First Class Mail
c16da205‐c5ca‐4d5e‐95c8‐2d055a5cf132                   Address Redacted                      First Class Mail
c1700f9f‐ec1e‐44d5‐9b25‐dcb1fac59ad2                   Address Redacted                      First Class Mail
c172759d‐975b‐43ea‐818f‐9d678178890c                   Address Redacted                      First Class Mail
c17b19b9‐b68a‐4451‐95fb‐c50f73e955ff                   Address Redacted                      First Class Mail
c17d744d‐90a9‐4516‐8596‐b977666fd7e2                   Address Redacted                      First Class Mail
c17e6205‐ddff‐40bd‐8a48‐e0071bfbddb8                   Address Redacted                      First Class Mail
c1833670‐73b6‐4abd‐b371‐a3834e1a3c1e                   Address Redacted                      First Class Mail
c183762d‐c784‐4aa2‐8107‐ed851b953063                   Address Redacted                      First Class Mail
c1859643‐3a0b‐4d8c‐b8c7‐c4c40a5bf2a5                   Address Redacted                      First Class Mail
c185a475‐e8aa‐466d‐8850‐0e0eabafa922                   Address Redacted                      First Class Mail
c187bcf5‐ab34‐4917‐b499‐9de91b699058                   Address Redacted                      First Class Mail
c189b698‐6daa‐479f‐a836‐5273b11957c7                   Address Redacted                      First Class Mail
c19097b0‐8c12‐432b‐bab7‐e9468f31296a                   Address Redacted                      First Class Mail
c19117d8‐da8a‐4492‐8724‐11f22e56de63                   Address Redacted                      First Class Mail
c1966928‐9cf3‐49d9‐82f1‐1a357b7547e4                   Address Redacted                      First Class Mail
c1973f59‐a4ce‐48ec‐82e9‐ccc70ba913c3                   Address Redacted                      First Class Mail
c1a21dba‐47cf‐4c7e‐a63a‐b3fba0449597                   Address Redacted                      First Class Mail
c1a222f3‐0615‐4d43‐b5fa‐24ecd3cb4eef                   Address Redacted                      First Class Mail
c1a29216‐9d31‐4538‐a525‐21e55f96a917                   Address Redacted                      First Class Mail
c1a3ca85‐b8b4‐47b2‐a8f3‐853a045659c3                   Address Redacted                      First Class Mail
c1a4ced8‐69db‐470e‐899c‐0d64399dd7a2                   Address Redacted                      First Class Mail
c1a92fba‐3f27‐4611‐adc5‐b64c1b0ead06                   Address Redacted                      First Class Mail
c1aaffa0‐4121‐4b4f‐ba33‐9be97f318b5d                   Address Redacted                      First Class Mail
c1b110a1‐6f5c‐4ac5‐abb3‐1dee100f89e1                   Address Redacted                      First Class Mail
c1b146d6‐b3f5‐4200‐9e11‐86bf432d383a                   Address Redacted                      First Class Mail
c1b494a3‐f1ac‐4e08‐a395‐3da3cf81c81c                   Address Redacted                      First Class Mail
c1bd8f20‐6e9b‐4cd6‐9ce7‐65ef52579c72                   Address Redacted                      First Class Mail
c1c31f9f‐9c72‐42c5‐ab78‐09828e1833c0                   Address Redacted                      First Class Mail
c1c4fa08‐8979‐4433‐a798‐7d0e20bc2082                   Address Redacted                      First Class Mail
c1c54d8c‐5733‐416e‐81a4‐2b20abdfe239                   Address Redacted                      First Class Mail
c1c71d3a‐c761‐4857‐b6f4‐2bfa43e8be27                   Address Redacted                      First Class Mail
c1c7247c‐646d‐4096‐8157‐aee926bd547d                   Address Redacted                      First Class Mail
c1c9097f‐8f9f‐4827‐954b‐73b119d39953                   Address Redacted                      First Class Mail
c1cc5818‐d1bf‐4ad0‐a30f‐a48f7e6dbac3                   Address Redacted                      First Class Mail
c1cedbf1‐8423‐4e30‐ad58‐51e0f30c387b                   Address Redacted                      First Class Mail
c1d46a89‐7881‐437b‐b30a‐457c61fbe632                   Address Redacted                      First Class Mail
c1d4c310‐f02c‐408b‐a160‐70866dc7a511                   Address Redacted                      First Class Mail
c1da278b‐21b6‐44f9‐a1fb‐d13f37317420                   Address Redacted                      First Class Mail
c1e95c29‐6984‐4845‐a56c‐ad87fec6a2ba                   Address Redacted                      First Class Mail
c1eceac1‐e698‐461b‐a52c‐29adb5018303                   Address Redacted                      First Class Mail
c1f0d3ae‐6a70‐4341‐b6f6‐f9abfaff3c5f                   Address Redacted                      First Class Mail
c1f4c1cf‐9778‐4b6c‐8e58‐fcb909d6dd25                   Address Redacted                      First Class Mail
c1f80ae9‐5352‐4ca0‐8ea9‐d5a9b8894662                   Address Redacted                      First Class Mail
c1f80d52‐c48a‐4713‐85db‐d948f038be3b                   Address Redacted                      First Class Mail
c1f92806‐2da0‐40e0‐8e01‐c87e54f3d349                   Address Redacted                      First Class Mail
c1faf546‐a572‐4094‐ab6a‐dc00f3d9017f                   Address Redacted                      First Class Mail
c1fbce1a‐829b‐4d77‐bd8b‐9543f267ba88                   Address Redacted                      First Class Mail
c1fcd8d1‐db7a‐42d0‐b5bd‐b4e67cd11eeb                   Address Redacted                      First Class Mail
c1ffb327‐1449‐452c‐be8c‐2b28a4c5dd08                   Address Redacted                      First Class Mail
c200d0f1‐f195‐4b44‐a0e3‐6375dadfe2d3                   Address Redacted                      First Class Mail
c2045d96‐4f2c‐4988‐a97b‐ef9a80d70457                   Address Redacted                      First Class Mail
c205f709‐acde‐407e‐934e‐2fb65e4bf805                   Address Redacted                      First Class Mail
c2084f02‐01f3‐4559‐9114‐3f06210509af                   Address Redacted                      First Class Mail
c20a6eb1‐439e‐4445‐ab56‐35c68c3933d8                   Address Redacted                      First Class Mail
c20df3ac‐6e6c‐4b6f‐a598‐d793ec3b9b3f                   Address Redacted                      First Class Mail
c20f677b‐fa96‐4dfb‐a217‐e47e9c1df07d                   Address Redacted                      First Class Mail
c2106b8a‐9f7c‐43a3‐bb91‐59dea5b9089f                   Address Redacted                      First Class Mail
c2107d75‐1fa2‐48b1‐ba69‐20f921ae4c57                   Address Redacted                      First Class Mail
c21131bd‐8154‐4ab2‐a39d‐3c513a41bffe                   Address Redacted                      First Class Mail
c212bd5e‐aab6‐454d‐9fc2‐c867a5384f19                   Address Redacted                      First Class Mail
c2153566‐f74b‐4aec‐8c51‐dc553eca686b                   Address Redacted                      First Class Mail
c215b97c‐a23e‐4f36‐9fc6‐fe0c5262f70b                   Address Redacted                      First Class Mail
c216fbf5‐7968‐44e9‐90d9‐3c5957d59c7b                   Address Redacted                      First Class Mail




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                                                                 Service List


                               Name                                             Address                         Method of Service
c21a89e6‐5408‐4a82‐ac19‐a9ddd69e3976                   Address Redacted                      First Class Mail
c2234928‐8d96‐4332‐a40b‐6962e5f35cef                   Address Redacted                      First Class Mail
c2255095‐0536‐44fb‐b51a‐a90ad1d21a8c                   Address Redacted                      First Class Mail
c2275614‐3721‐45b4‐8197‐86cc839148bf                   Address Redacted                      First Class Mail
c22b21a5‐ab66‐45e7‐8d6e‐642d93080444                   Address Redacted                      First Class Mail
c22d2669‐3f13‐4b26‐9f9a‐a8e21466a598                   Address Redacted                      First Class Mail
c22f8b4d‐3534‐4203‐a96b‐6d2916e44093                   Address Redacted                      First Class Mail
c230a728‐9b8b‐427b‐970e‐cbe7d65d6e96                   Address Redacted                      First Class Mail
c233e31e‐2245‐41a8‐bcc0‐36d9e9c92fc9                   Address Redacted                      First Class Mail
c23433e1‐7d8e‐4fd9‐ae84‐d49cccb74168                   Address Redacted                      First Class Mail
c2390a24‐fd63‐4c3d‐9e62‐fda4e5afc9aa                   Address Redacted                      First Class Mail
c2398d02‐cc0a‐418c‐b939‐74154d05726c                   Address Redacted                      First Class Mail
c23af1ba‐f9b1‐4063‐9522‐c3e29d50a9fc                   Address Redacted                      First Class Mail
c23b2a55‐4f2c‐4586‐a6e7‐7d35d455ec91                   Address Redacted                      First Class Mail
c23be5f7‐c0c1‐49b5‐bac6‐912b06172874                   Address Redacted                      First Class Mail
c23c6b34‐a700‐4257‐9f55‐81d001ef4c87                   Address Redacted                      First Class Mail
c23d7144‐71e1‐4566‐8683‐e8183edc176c                   Address Redacted                      First Class Mail
c24015b1‐00d5‐4297‐8c1f‐19346c11d2be                   Address Redacted                      First Class Mail
c2407af8‐a6dc‐4719‐b293‐f3b92b521daa                   Address Redacted                      First Class Mail
c2408b9d‐ce73‐47cc‐bae2‐04008493388e                   Address Redacted                      First Class Mail
c2444d4f‐1053‐4099‐a98c‐ca27bdecca5f                   Address Redacted                      First Class Mail
c24f042f‐ccad‐4176‐ab48‐ee1e71644541                   Address Redacted                      First Class Mail
c24fd001‐0796‐4800‐806c‐053f6dcaf407                   Address Redacted                      First Class Mail
c2511be3‐c57e‐4b9c‐9b27‐d0746e455b49                   Address Redacted                      First Class Mail
c251460b‐5910‐4cb5‐bbe5‐c24b9b364650                   Address Redacted                      First Class Mail
c255bd1a‐36d9‐4496‐b16c‐037dd852d85b                   Address Redacted                      First Class Mail
c25654b9‐7b56‐41de‐9b4f‐ce225e7be911                   Address Redacted                      First Class Mail
c257f9e7‐6a6d‐4bab‐a2b5‐33a5869cc602                   Address Redacted                      First Class Mail
c258e470‐b434‐4fd7‐a4d6‐826f274be646                   Address Redacted                      First Class Mail
c258ffe4‐f504‐4b0a‐ab21‐f38edb784734                   Address Redacted                      First Class Mail
c2636a88‐bc8a‐47fb‐b9b8‐3f0e9ecdfa91                   Address Redacted                      First Class Mail
c2674a3f‐1c37‐40d4‐b51f‐b63042b78752                   Address Redacted                      First Class Mail
c2674e6e‐c3fa‐4f6e‐949b‐e8e40f582da1                   Address Redacted                      First Class Mail
c268b2e1‐e599‐4db3‐83b8‐15cddabf11e0                   Address Redacted                      First Class Mail
c2712059‐02ae‐474e‐9c1b‐906b0ec41488                   Address Redacted                      First Class Mail
c273cb72‐4e26‐4ecf‐afd1‐e954c458dc71                   Address Redacted                      First Class Mail
c273d170‐6d8f‐4850‐8cc3‐13594c414926                   Address Redacted                      First Class Mail
c2768fd0‐516f‐4077‐91d1‐b30116dddaa0                   Address Redacted                      First Class Mail
c27fdded‐747a‐4787‐ae60‐6ed38ec5f64a                   Address Redacted                      First Class Mail
c281541b‐49cf‐4454‐ae1a‐58d2f5a7d3c9                   Address Redacted                      First Class Mail
c2839425‐dd54‐4625‐931c‐21054f689ed7                   Address Redacted                      First Class Mail
c2866830‐72ac‐43a4‐9734‐ef6358dfe847                   Address Redacted                      First Class Mail
c286d5fa‐d625‐4c84‐82f0‐b0ff92d41be4                   Address Redacted                      First Class Mail
c2876914‐7f1c‐4b66‐a4b5‐37f781d9d153                   Address Redacted                      First Class Mail
c2883bb9‐7a17‐453b‐9184‐bacec56ec355                   Address Redacted                      First Class Mail
c28c9317‐d488‐47ed‐9d95‐a6a1d47a3d28                   Address Redacted                      First Class Mail
c294719f‐3b7f‐48ae‐bfee‐a3fd82da9e5d                   Address Redacted                      First Class Mail
c2947e7c‐c414‐4aa8‐846e‐fbde8e26d333                   Address Redacted                      First Class Mail
c297c1df‐7f36‐4d14‐93e9‐4efabaa712aa                   Address Redacted                      First Class Mail
c2a74679‐9303‐41d7‐a0ee‐069240dd9d50                   Address Redacted                      First Class Mail
c2a841ba‐4626‐46ab‐bfc6‐f521bbcc5d57                   Address Redacted                      First Class Mail
c2aa5c79‐a9a5‐4d19‐90e1‐b3d00593165c                   Address Redacted                      First Class Mail
c2aaabd3‐7858‐4316‐9aa4‐f29a5896a738                   Address Redacted                      First Class Mail
c2ab691d‐4b44‐45f3‐867a‐98324ebfc623                   Address Redacted                      First Class Mail
c2ac6332‐1e63‐432e‐8393‐4b7653a8cb4b                   Address Redacted                      First Class Mail
c2b24950‐608b‐43e5‐8678‐f88d7d621207                   Address Redacted                      First Class Mail
c2b3fe10‐7d54‐4281‐83c9‐ab458a7a9f0b                   Address Redacted                      First Class Mail
c2bccea0‐8fb1‐49fc‐b348‐ef233ef86963                   Address Redacted                      First Class Mail
c2c0cd04‐4a37‐4d44‐b123‐a586b48f81de                   Address Redacted                      First Class Mail
c2c94828‐f382‐4a62‐a133‐7bc6c1eec47f                   Address Redacted                      First Class Mail
c2ca8340‐74f8‐47ba‐9752‐a4d48541a2b1                   Address Redacted                      First Class Mail
c2cce160‐13da‐403e‐ba4d‐8b9403f643c5                   Address Redacted                      First Class Mail
c2cf1e6d‐4103‐4e66‐a66b‐177b772ddb0d                   Address Redacted                      First Class Mail
c2cf56a0‐417b‐4909‐926e‐968d4b5ca09a                   Address Redacted                      First Class Mail
c2d01d1b‐372e‐455b‐bc8c‐025d9bbee227                   Address Redacted                      First Class Mail
c2d0823f‐9105‐423b‐9ca2‐fd9dd95e9ac2                   Address Redacted                      First Class Mail
c2d0f9fd‐51b6‐40a4‐b19b‐5b50d038ee49                   Address Redacted                      First Class Mail
c2d6ec5f‐cc79‐442f‐b996‐7e6f9abec68d                   Address Redacted                      First Class Mail
c2d830b7‐c9c2‐47e6‐b4e8‐f8d00693dc75                   Address Redacted                      First Class Mail
c2d9bf84‐fef4‐4c92‐84c0‐dbf8af87aa44                   Address Redacted                      First Class Mail
c2ddcaf9‐7fa8‐4de3‐a348‐afa4c7a6b98b                   Address Redacted                      First Class Mail
c2def945‐f03b‐4dbe‐9f7b‐2b4ece182613                   Address Redacted                      First Class Mail




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                                                                Exhibit A
                                                                 Service List


                              Name                                              Address                         Method of Service
c2e4ae23‐2288‐4b41‐bb91‐106199549f5f                   Address Redacted                      First Class Mail
c2e73ccb‐52e4‐40a7‐a790‐712dd5fd6197                   Address Redacted                      First Class Mail
c2e979f0‐55ea‐4a69‐b778‐58d269fea6dc                   Address Redacted                      First Class Mail
c2ea3169‐76aa‐4b08‐be8f‐cedcac7fe88e                   Address Redacted                      First Class Mail
c2f073ea‐36bf‐4c92‐8bbe‐9b6a4e5363f1                   Address Redacted                      First Class Mail
c2f3abfb‐392f‐49a4‐9c9f‐a9e908059d73                   Address Redacted                      First Class Mail
c2f7da7f‐d2b1‐4286‐b51a‐0d1cc79c1dd3                   Address Redacted                      First Class Mail
c2f97aa7‐23f0‐4fe4‐97a8‐07a346f150cc                   Address Redacted                      First Class Mail
c2fa2178‐bcaf‐4681‐9915‐96a4c3a0ab0e                   Address Redacted                      First Class Mail
c2fab923‐695d‐4af7‐ab97‐1a8ef4efb60f                   Address Redacted                      First Class Mail
c2fc30e1‐22d6‐4f52‐8049‐a1983b3d8c57                   Address Redacted                      First Class Mail
c2fda22c‐a7bd‐478f‐bfe3‐db337822260a                   Address Redacted                      First Class Mail
c2ff73a6‐8f4d‐4191‐a4e8‐94ec26e9b479                   Address Redacted                      First Class Mail
c3015e75‐8d4e‐4ae3‐b6bc‐8d9c2fa4d18e                   Address Redacted                      First Class Mail
c3095d57‐12f4‐43dd‐978b‐d1742740f322                   Address Redacted                      First Class Mail
c30bcaa8‐5b24‐48cb‐9d3a‐0dcc73d8de67                   Address Redacted                      First Class Mail
c30c7be5‐2866‐49de‐82b7‐e34ffc3393a1                   Address Redacted                      First Class Mail
c30d0bb6‐b598‐41bf‐a999‐aeaa2a1dd1cf                   Address Redacted                      First Class Mail
c30f3cd1‐f9c5‐4433‐9934‐ec9e5e0604d5                   Address Redacted                      First Class Mail
c31159fe‐f036‐48c8‐a8ed‐e7eb962f8f87                   Address Redacted                      First Class Mail
c311a1bb‐1b6d‐4a2e‐8e6c‐47f983c2781b                   Address Redacted                      First Class Mail
c31571b7‐4de1‐4265‐a03c‐f5d540362e1a                   Address Redacted                      First Class Mail
c31644e6‐814e‐4ccb‐9d0d‐0822a4cb15a0                   Address Redacted                      First Class Mail
c3176339‐5918‐4543‐a6b1‐3426c32ea5f1                   Address Redacted                      First Class Mail
c31db301‐c5c4‐493a‐a636‐9cf31e8b41d9                   Address Redacted                      First Class Mail
c31fbcf7‐0eb3‐430a‐aa17‐6314eaf7ba4d                   Address Redacted                      First Class Mail
c3221e69‐4ab0‐4f06‐aa8a‐702051c4f8ad                   Address Redacted                      First Class Mail
c322d738‐fe31‐4cf5‐ba61‐8af7a222590f                   Address Redacted                      First Class Mail
c3231754‐7c6e‐465f‐bb0c‐8ea7303c272f                   Address Redacted                      First Class Mail
c326792e‐1f08‐419c‐a982‐db4472a5d7ce                   Address Redacted                      First Class Mail
c326fcd5‐587f‐4b3d‐ad89‐a27215d022fc                   Address Redacted                      First Class Mail
c32ecad0‐9de2‐4074‐9e4a‐1731d716aece                   Address Redacted                      First Class Mail
c3329c39‐9590‐4063‐b2e9‐42b7235e4e05                   Address Redacted                      First Class Mail
c332c586‐be59‐4599‐83ed‐5a6efb1112c6                   Address Redacted                      First Class Mail
c3334a12‐4442‐4e3e‐be06‐38feab0050d9                   Address Redacted                      First Class Mail
c336bad4‐4dd4‐4f7e‐90a2‐55ef3017f2c1                   Address Redacted                      First Class Mail
c337068c‐485e‐4b6e‐889e‐f49abfbac14b                   Address Redacted                      First Class Mail
c3386c79‐8fc5‐4e89‐be3c‐6ae9a7dc8c54                   Address Redacted                      First Class Mail
c33a6abd‐e5ed‐4339‐96e9‐b738fd84e216                   Address Redacted                      First Class Mail
c33bb632‐f289‐43ac‐ae52‐9c641e8b0afd                   Address Redacted                      First Class Mail
c33f4c59‐74eb‐4256‐8557‐02ecbe09011c                   Address Redacted                      First Class Mail
c34005de‐896e‐4042‐bf29‐e89bbd8a43e4                   Address Redacted                      First Class Mail
c34151a8‐2098‐4f3b‐b26b‐e31d4ebd274c                   Address Redacted                      First Class Mail
c34513eb‐0610‐4ae3‐b03f‐acaa22a0bd65                   Address Redacted                      First Class Mail
c345b354‐eb15‐44ed‐8281‐327fcef287c6                   Address Redacted                      First Class Mail
c34b5c61‐a6a1‐4e42‐9716‐2269a5eebd8c                   Address Redacted                      First Class Mail
c34b9164‐1c08‐4371‐9191‐a2767c8c0878                   Address Redacted                      First Class Mail
c3509ca3‐3bae‐44f1‐87aa‐9436d0b90772                   Address Redacted                      First Class Mail
c3556578‐96c3‐4f9c‐a648‐8caf2c0b84ab                   Address Redacted                      First Class Mail
c355c841‐9487‐45ed‐8a65‐c4cbec22e347                   Address Redacted                      First Class Mail
c35b0808‐60bd‐4433‐a034‐4257f84e2ee6                   Address Redacted                      First Class Mail
c35b08a4‐1fbb‐40c9‐a2dd‐a18c1013d667                   Address Redacted                      First Class Mail
c35bc27e‐f4bf‐49e4‐899b‐b8b46aed684c                   Address Redacted                      First Class Mail
c35e0292‐e4ec‐46f9‐940c‐46b4e7b4de45                   Address Redacted                      First Class Mail
c35f2751‐51c0‐4839‐bad4‐7b811dcf1993                   Address Redacted                      First Class Mail
c35f711c‐e185‐4e08‐a0b4‐2c50000f9a2e                   Address Redacted                      First Class Mail
c364f9aa‐fa51‐4f85‐94ab‐f187ea7a5907                   Address Redacted                      First Class Mail
c365ab09‐ef83‐48a8‐930b‐14ec20fd6077                   Address Redacted                      First Class Mail
c3680634‐c471‐46a1‐9ff4‐d68f156cea91                   Address Redacted                      First Class Mail
c36a7982‐263c‐44fa‐938c‐a8eb0184c979                   Address Redacted                      First Class Mail
c36adf41‐e016‐448b‐b67e‐aea184131623                   Address Redacted                      First Class Mail
c36b395e‐e0b4‐4f3a‐b7f8‐9e6cacd3f9b7                   Address Redacted                      First Class Mail
c36bd1b1‐f32c‐4232‐830c‐2d78e21a089d                   Address Redacted                      First Class Mail
c36d82f0‐e1bb‐4523‐adf3‐e089d256e8b0                   Address Redacted                      First Class Mail
c36e831b‐dd6f‐48dc‐b98e‐65745e8e05fe                   Address Redacted                      First Class Mail
c370341e‐a0ad‐4245‐8c52‐9fcd7941f2ca                   Address Redacted                      First Class Mail
c371160b‐130c‐4c8d‐86a6‐bbf0bb4d8bb1                   Address Redacted                      First Class Mail
c37188ee‐75f9‐4c69‐95d4‐a9816ce5a5f8                   Address Redacted                      First Class Mail
c371d1ec‐9595‐4227‐8a91‐8b45ab432b26                   Address Redacted                      First Class Mail
c37221df‐3c87‐4cf1‐8662‐c357131e37f6                   Address Redacted                      First Class Mail
c374ef9c‐60fe‐4e79‐af1a‐358cce709e74                   Address Redacted                      First Class Mail
c3754138‐4078‐4935‐898a‐287bc3f0527a                   Address Redacted                      First Class Mail




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                                                                 Service List


                              Name                                              Address                         Method of Service
c3781fa6‐7408‐47cc‐948c‐1f9b5c2ed05f                   Address Redacted                      First Class Mail
c379a442‐666e‐41ba‐8f09‐1b83dc9bcb32                   Address Redacted                      First Class Mail
c37b0bc0‐287e‐474b‐9aa7‐aecfe453f919                   Address Redacted                      First Class Mail
c37b77f4‐0eef‐4dfa‐af3e‐75657f787f00                   Address Redacted                      First Class Mail
c37d9bde‐2bcd‐4c08‐a4c7‐6ef34798a589                   Address Redacted                      First Class Mail
c3859b24‐5dd4‐41d4‐9265‐8e69689b037d                   Address Redacted                      First Class Mail
c38666f0‐f0d7‐4e31‐8464‐7bce017b7f73                   Address Redacted                      First Class Mail
c38f87c0‐6ba2‐4fa8‐938f‐388d60be219f                   Address Redacted                      First Class Mail
c391cada‐a57f‐4042‐a7d3‐2e4ea6351527                   Address Redacted                      First Class Mail
c3923783‐27d0‐4689‐b602‐1a8ffb02de84                   Address Redacted                      First Class Mail
c39339a9‐f1af‐4435‐98a4‐3c0c7787c9d3                   Address Redacted                      First Class Mail
c3940c24‐722e‐4b7e‐bf47‐ff5e26feabef                   Address Redacted                      First Class Mail
c395577a‐c9af‐4269‐b8a3‐0953b484bedd                   Address Redacted                      First Class Mail
c397bea7‐b14b‐4f51‐b12d‐192ada23f911                   Address Redacted                      First Class Mail
c39990a7‐358d‐4ab3‐a74a‐5c999ec1fd76                   Address Redacted                      First Class Mail
c3a0a5d1‐194e‐446d‐9584‐bbcb3def9415                   Address Redacted                      First Class Mail
c3a10327‐c967‐4d7a‐b36d‐a16e7b96c915                   Address Redacted                      First Class Mail
c3a249f8‐5609‐4593‐8b9a‐15058b711fd2                   Address Redacted                      First Class Mail
c3a3b9c2‐aeac‐4d13‐8642‐55368ab824e5                   Address Redacted                      First Class Mail
c3a83233‐7297‐4343‐be46‐f700cd6a6b30                   Address Redacted                      First Class Mail
c3ad7a96‐c3f4‐45a8‐b764‐730e646f2cfb                   Address Redacted                      First Class Mail
c3b1b288‐ab50‐4d8a‐a1e7‐12725f69d00e                   Address Redacted                      First Class Mail
c3b4a8d9‐d1d4‐4d7c‐9e1e‐ca5d1500fc60                   Address Redacted                      First Class Mail
c3b5c85b‐29d5‐4650‐a865‐9d19dfb0f912                   Address Redacted                      First Class Mail
c3b66476‐d8ca‐45d6‐a517‐aa1a2c0ba9da                   Address Redacted                      First Class Mail
c3b6c375‐e443‐44ea‐afdc‐580f0cb7cf73                   Address Redacted                      First Class Mail
c3b8b669‐4193‐4dfd‐8932‐dacbb32ac098                   Address Redacted                      First Class Mail
c3b8c1f0‐47fe‐40f8‐9908‐89aac7bb00ff                   Address Redacted                      First Class Mail
c3b91df8‐6489‐4800‐b412‐ed8355befe38                   Address Redacted                      First Class Mail
c3ba768e‐fda9‐4d9d‐b172‐3e9282cbd952                   Address Redacted                      First Class Mail
c3bd6a4f‐ea18‐4939‐bbf1‐aac74447d67c                   Address Redacted                      First Class Mail
c3bde55a‐1364‐417d‐b5ec‐ef1e4ddcacf9                   Address Redacted                      First Class Mail
c3bf7e13‐eefa‐47ff‐8aec‐e36d7ef6a365                   Address Redacted                      First Class Mail
c3c058fd‐6aca‐4814‐b792‐3a1e1c0f7c5d                   Address Redacted                      First Class Mail
c3c3dd5c‐30fb‐4061‐8d7f‐a561c6560f30                   Address Redacted                      First Class Mail
c3c68a57‐4b40‐4885‐9253‐69c4ebd272b2                   Address Redacted                      First Class Mail
c3c82164‐d921‐498d‐8352‐f691211401eb                   Address Redacted                      First Class Mail
c3c99a17‐f2ce‐4919‐9c6d‐62445d6b3b0f                   Address Redacted                      First Class Mail
c3cf6b82‐528c‐4c03‐8759‐b1074a9765dc                   Address Redacted                      First Class Mail
c3d3636c‐c238‐4bf0‐9f9d‐dcd422946618                   Address Redacted                      First Class Mail
c3d7b354‐9b69‐4b6a‐9933‐5e3b6510d8d8                   Address Redacted                      First Class Mail
c3dba924‐e832‐4296‐bca0‐328cb1ad3785                   Address Redacted                      First Class Mail
c3dce07a‐a36d‐4eca‐9e1c‐4c6221339697                   Address Redacted                      First Class Mail
c3dd1519‐a191‐4ae5‐8a99‐7d7ac6c66661                   Address Redacted                      First Class Mail
c3dd3f6f‐819c‐4955‐b713‐fd941ffe9117                   Address Redacted                      First Class Mail
c3dfd3e0‐c444‐47c3‐8c25‐46b39ef25716                   Address Redacted                      First Class Mail
c3e0f0b0‐312d‐439c‐9f49‐bdc2618fc97b                   Address Redacted                      First Class Mail
c3e56203‐c8ca‐4ca8‐9136‐a91105816bc5                   Address Redacted                      First Class Mail
c3ec0efc‐7fab‐45d5‐b0ef‐0d852e61225e                   Address Redacted                      First Class Mail
c3ee7cd6‐a3bb‐48e8‐9504‐f7d061e808f5                   Address Redacted                      First Class Mail
c3f1762b‐0210‐456a‐ae72‐e4075bee2304                   Address Redacted                      First Class Mail
c3f387b7‐61de‐430a‐a43f‐c752c9bff40d                   Address Redacted                      First Class Mail
c3f40223‐3af4‐4b31‐b46d‐e55b784cd876                   Address Redacted                      First Class Mail
c3f40ee2‐6453‐4fa5‐824a‐3d85ef298a6f                   Address Redacted                      First Class Mail
c3f60484‐746d‐4c58‐93bd‐34fc36703c39                   Address Redacted                      First Class Mail
c3f60c54‐a5e1‐4657‐bc7e‐c0dbd06a4a9d                   Address Redacted                      First Class Mail
c3fb77fb‐f580‐4469‐8853‐be5c1d51b112                   Address Redacted                      First Class Mail
c3fdaea8‐facb‐43a6‐8a60‐3d6a9934429d                   Address Redacted                      First Class Mail
c3fe150f‐9892‐4b8e‐a31b‐2a0e559fa5b3                   Address Redacted                      First Class Mail
c3ff2e00‐95da‐4a16‐ba2c‐3806f246e4c4                   Address Redacted                      First Class Mail
c402bebc‐d004‐4d56‐a8c7‐e607db60c7b1                   Address Redacted                      First Class Mail
c4041671‐44ca‐44a7‐9dad‐26feff3b587b                   Address Redacted                      First Class Mail
c40520be‐790d‐4479‐8b14‐e7b69d6f7045                   Address Redacted                      First Class Mail
c405afe8‐f59f‐4493‐8b19‐fca95a4eb2c9                   Address Redacted                      First Class Mail
c4096ca9‐5096‐45c2‐8a48‐c38312b4351f                   Address Redacted                      First Class Mail
c40e8651‐2296‐4ec3‐95e4‐98b2eead34fc                   Address Redacted                      First Class Mail
c40ff7d5‐23ac‐42ae‐9178‐a1f70bd5ac8c                   Address Redacted                      First Class Mail
c4115e3e‐bf08‐400d‐a497‐7dc859fdd7f6                   Address Redacted                      First Class Mail
c4135206‐6972‐4ba0‐a6a7‐62dc2fd7544d                   Address Redacted                      First Class Mail
c41989df‐648a‐4291‐bd94‐3256def58fdd                   Address Redacted                      First Class Mail
c41d8d90‐75a7‐4996‐8d40‐becfd803b2e3                   Address Redacted                      First Class Mail
c41dca56‐49a1‐420b‐b9a1‐f5326d800072                   Address Redacted                      First Class Mail




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                                                                 Service List


                               Name                                             Address                         Method of Service
c41f8ab6‐e1a2‐40c7‐a676‐e32c441d151a                   Address Redacted                      First Class Mail
c42038b4‐d2aa‐4dd4‐9df2‐8f302d2c9eeb                   Address Redacted                      First Class Mail
c4255487‐70ef‐4411‐bfa2‐b022d82d4abd                   Address Redacted                      First Class Mail
c4277acd‐0a70‐42ec‐ac19‐e781e167685e                   Address Redacted                      First Class Mail
c4285e25‐c512‐4ce6‐bf44‐841bb6b3ab5c                   Address Redacted                      First Class Mail
c4296f82‐571e‐4605‐b6b8‐9d41e7a07d15                   Address Redacted                      First Class Mail
c42a0503‐f5a5‐4e79‐8607‐bef31275e61a                   Address Redacted                      First Class Mail
c42e0aa8‐b195‐4d32‐bce1‐3d8ffda61fa7                   Address Redacted                      First Class Mail
c42f7a45‐d77f‐4bc0‐9c4a‐65e49adc2263                   Address Redacted                      First Class Mail
c431aa25‐3b25‐4399‐a290‐8ef3cf92aba3                   Address Redacted                      First Class Mail
c4331fa0‐82a1‐458b‐ac91‐b6b0d28ae85f                   Address Redacted                      First Class Mail
c4345042‐6152‐4e3d‐8eeb‐94ace41f8ed0                   Address Redacted                      First Class Mail
c43a3075‐d3bc‐4040‐92fe‐17c67af5dec4                   Address Redacted                      First Class Mail
c43b6339‐f281‐4d13‐93c2‐d9709cccccc9                   Address Redacted                      First Class Mail
c43b9e6e‐c20f‐4115‐a47c‐77cd690febf0                   Address Redacted                      First Class Mail
c43effd9‐7a6e‐4605‐8949‐f0aa8c8b2676                   Address Redacted                      First Class Mail
c43f226f‐e478‐41e0‐afbb‐ace09c7fceb8                   Address Redacted                      First Class Mail
c44aa369‐947f‐4c1d‐a4a4‐7f377e638661                   Address Redacted                      First Class Mail
c44d7040‐e2e5‐4448‐964a‐531287522d4c                   Address Redacted                      First Class Mail
c4511ddf‐c73b‐4662‐9ed3‐5e1aa706fab0                   Address Redacted                      First Class Mail
c4553aae‐5365‐4414‐8ecd‐53a76e8d61d2                   Address Redacted                      First Class Mail
c4575b36‐1c61‐4266‐b5b1‐08287263dc35                   Address Redacted                      First Class Mail
c4584aac‐24e8‐460c‐8533‐9a4c3d5a46f8                   Address Redacted                      First Class Mail
c4587b20‐7519‐47cc‐8f9a‐b941efe0a74c                   Address Redacted                      First Class Mail
c45905b3‐d9ed‐4cbd‐97dc‐cb3d79c79760                   Address Redacted                      First Class Mail
c4593553‐96a2‐4c88‐98ee‐c79152f1a90a                   Address Redacted                      First Class Mail
c45a18e0‐e4d0‐4324‐b0f7‐c6fa35819379                   Address Redacted                      First Class Mail
c45c67db‐b3d8‐4aaa‐9773‐a61d48d13374                   Address Redacted                      First Class Mail
c45cc532‐d346‐4c40‐8842‐42d1fb5904d5                   Address Redacted                      First Class Mail
c45f4658‐29f5‐4c43‐88ba‐67e60a6652d5                   Address Redacted                      First Class Mail
c4602ed7‐ccd3‐4784‐aab2‐1c2e6f1bfa18                   Address Redacted                      First Class Mail
c466048c‐f13a‐411a‐b54a‐8b23249e99de                   Address Redacted                      First Class Mail
c4699e2f‐eb36‐4f55‐88e6‐aa4aac331e3f                   Address Redacted                      First Class Mail
c471ffb1‐423a‐497f‐85ec‐b368498ce910                   Address Redacted                      First Class Mail
c4726dbf‐8229‐48bc‐953c‐6ebaf4865324                   Address Redacted                      First Class Mail
c474c9e8‐ecd4‐42e9‐bce3‐dad3b273290c                   Address Redacted                      First Class Mail
c47713b5‐410a‐4e09‐a185‐1b66f2bdff30                   Address Redacted                      First Class Mail
c4771de5‐3527‐4f03‐816e‐c8b4b923617b                   Address Redacted                      First Class Mail
c4779c8b‐a37f‐49b8‐a291‐e4c1d14f605e                   Address Redacted                      First Class Mail
c4793f13‐da16‐4674‐b6a5‐c35de115e5cd                   Address Redacted                      First Class Mail
c47f4eb8‐9d03‐45b5‐8e2c‐cdfbfce13094                   Address Redacted                      First Class Mail
c4854b6b‐6ee0‐45b1‐8bf2‐43ab5852bb10                   Address Redacted                      First Class Mail
c488906e‐05e1‐409b‐ba30‐5af063a1073d                   Address Redacted                      First Class Mail
c48ae9c0‐34eb‐4211‐b984‐c634df507bbd                   Address Redacted                      First Class Mail
c48fc435‐27af‐4613‐b059‐a63e48a89011                   Address Redacted                      First Class Mail
c497cf25‐cd93‐48f6‐93a2‐a283bb509b67                   Address Redacted                      First Class Mail
c4995b7a‐abeb‐4a40‐86f9‐926e58f2a7fc                   Address Redacted                      First Class Mail
c49b2575‐7a2a‐4bd4‐ac18‐aff836bf2a83                   Address Redacted                      First Class Mail
c49bf53d‐3031‐4209‐8e2c‐6e223ebe0793                   Address Redacted                      First Class Mail
c49c2985‐3438‐4b08‐b731‐d33cc244d6f3                   Address Redacted                      First Class Mail
c4a6209c‐404c‐4827‐9d24‐59f529a93703                   Address Redacted                      First Class Mail
c4a8b455‐0d08‐4c96‐8b5a‐70d93f18b23d                   Address Redacted                      First Class Mail
c4a9687c‐b4f8‐4771‐b894‐7737b3f42a7b                   Address Redacted                      First Class Mail
c4aeb521‐97c5‐4dd4‐aba6‐fd15357a8b8d                   Address Redacted                      First Class Mail
c4aedcfb‐a785‐41a3‐ab1c‐88740baba233                   Address Redacted                      First Class Mail
c4b5cb84‐3cf6‐4a95‐98cf‐2813f7ed3611                   Address Redacted                      First Class Mail
c4b5d8a3‐e4bb‐4c5e‐9cbb‐cf38fc5e7813                   Address Redacted                      First Class Mail
c4b5e1a7‐cf3d‐4658‐ac2e‐af507076637c                   Address Redacted                      First Class Mail
c4ba7e91‐8e6d‐4d73‐b498‐f08eb49eddc3                   Address Redacted                      First Class Mail
c4bd6f9f‐9a6f‐497a‐bdab‐a9fecfaa2fe4                   Address Redacted                      First Class Mail
c4bd8a29‐9943‐488b‐aeba‐d570321a6add                   Address Redacted                      First Class Mail
c4bd9160‐6681‐488d‐a6b5‐73b439e87bf4                   Address Redacted                      First Class Mail
c4c25080‐af83‐4569‐b130‐d327e2fd72f4                   Address Redacted                      First Class Mail
c4c332b4‐aa3f‐408a‐ba64‐cda2b2b57a26                   Address Redacted                      First Class Mail
c4c4b619‐5fdb‐4c6d‐a1dd‐df87009bbfcd                   Address Redacted                      First Class Mail
c4c4b97b‐cb6d‐4ae1‐9557‐29a6e873b60e                   Address Redacted                      First Class Mail
c4c541de‐0a74‐42da‐9262‐2e92f5324ee8                   Address Redacted                      First Class Mail
c4c7bb0d‐95c1‐481d‐a652‐8d8e5637c8dc                   Address Redacted                      First Class Mail
c4c94982‐dd51‐4f82‐8b9b‐523c7296b4f8                   Address Redacted                      First Class Mail
c4ceb951‐93a4‐435d‐9c6a‐2e3ce4656bb5                   Address Redacted                      First Class Mail
c4d82b88‐4403‐42aa‐aabb‐5be8bd686dea                   Address Redacted                      First Class Mail
c4d88d49‐a34b‐416d‐b02a‐a0676c7fd6de                   Address Redacted                      First Class Mail




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                                                                Exhibit A
                                                                 Service List


                              Name                                              Address                         Method of Service
c4dd922e‐d203‐4f7f‐8afe‐d7e1f995abde                   Address Redacted                      First Class Mail
c4de19c3‐d3be‐4cad‐89d8‐83a5b2f46441                   Address Redacted                      First Class Mail
c4df4fab‐a293‐4c5d‐af22‐62e6ea7df8a6                   Address Redacted                      First Class Mail
c4e4df2e‐6e66‐4b9a‐a7fb‐dc64fe895f1f                   Address Redacted                      First Class Mail
c4e6336a‐2d72‐4c84‐84f0‐3be0b73a4d9e                   Address Redacted                      First Class Mail
c4ec62ad‐c1bf‐465e‐b5d9‐43afe83f7009                   Address Redacted                      First Class Mail
c4f0e85f‐691b‐4c63‐8fed‐2040667ea0f8                   Address Redacted                      First Class Mail
c4f294e5‐fde6‐47d6‐8f63‐8f678f903049                   Address Redacted                      First Class Mail
c4f517a5‐0dfc‐4838‐b999‐2d1dd14adb7b                   Address Redacted                      First Class Mail
c4f959be‐579c‐43fa‐97eb‐ff8c1c2e8076                   Address Redacted                      First Class Mail
c4fd7523‐0124‐41ad‐8da2‐bb444128b8e5                   Address Redacted                      First Class Mail
c504e255‐18f5‐4079‐81a5‐eb88fd7e619b                   Address Redacted                      First Class Mail
c508b680‐ae1e‐43c1‐a4cc‐cf8deda16adf                   Address Redacted                      First Class Mail
c50fc234‐7cd3‐49fa‐ba6d‐68ac056f0307                   Address Redacted                      First Class Mail
c5100747‐7ce4‐46a8‐8641‐435b6b7d96cd                   Address Redacted                      First Class Mail
c51091f4‐fec3‐4567‐ba9e‐7aad09aff826                   Address Redacted                      First Class Mail
c513cf21‐8037‐474f‐aa12‐7d4c14f0fdc9                   Address Redacted                      First Class Mail
c514a0da‐dee5‐4c4d‐a9cb‐81b692ed1b94                   Address Redacted                      First Class Mail
c516e08e‐3543‐4e68‐b65b‐32440339ec2f                   Address Redacted                      First Class Mail
c518bd3f‐1e53‐450e‐b728‐664886c54c9d                   Address Redacted                      First Class Mail
c519c2f5‐3ce0‐4f67‐b01b‐9797af94da84                   Address Redacted                      First Class Mail
c51f321d‐f8b7‐4653‐aac6‐6400f3c75075                   Address Redacted                      First Class Mail
c520b1c4‐da58‐4d54‐bd07‐e03de64c826a                   Address Redacted                      First Class Mail
c5225479‐3cd8‐41b3‐ac64‐e69a45caa1f8                   Address Redacted                      First Class Mail
c52a9499‐fdda‐41f3‐b323‐029839efbdf3                   Address Redacted                      First Class Mail
c52aa988‐3fe4‐4d40‐a85b‐f37917c8b0bd                   Address Redacted                      First Class Mail
c52b0e50‐8ff6‐474f‐bc9f‐b6b770c35439                   Address Redacted                      First Class Mail
c52c7246‐1eaf‐47e1‐b6cc‐ae052adb620f                   Address Redacted                      First Class Mail
c52d5bc9‐a75a‐4266‐afa5‐94eea9c2d336                   Address Redacted                      First Class Mail
c530756c‐eb81‐4642‐9cfc‐472a783291ab                   Address Redacted                      First Class Mail
c530a06e‐c2c9‐429b‐ae4f‐dbaead6cedda                   Address Redacted                      First Class Mail
c5323ba2‐055f‐4c0b‐9983‐38516de5f4c8                   Address Redacted                      First Class Mail
c5353ecd‐d706‐4269‐85d0‐78e8ac211620                   Address Redacted                      First Class Mail
c536f702‐15d2‐46a5‐b055‐3d20b4c8dec1                   Address Redacted                      First Class Mail
c538f40c‐243b‐4073‐ad21‐750184518d90                   Address Redacted                      First Class Mail
c53d8302‐1a79‐4fba‐ab3e‐42d75c416915                   Address Redacted                      First Class Mail
c53fe659‐9bd0‐46a0‐97b2‐b1ba67abaf22                   Address Redacted                      First Class Mail
c540a870‐f9cd‐4f9f‐82e6‐7b490dfc437d                   Address Redacted                      First Class Mail
c542b75b‐7f40‐4707‐9e21‐65bbabb45534                   Address Redacted                      First Class Mail
c543c7e6‐5f6b‐421d‐b671‐8f498bde6c69                   Address Redacted                      First Class Mail
c545b807‐30a5‐4765‐a303‐58d7dea4fccf                   Address Redacted                      First Class Mail
c547296f‐845f‐4abc‐9762‐e9736df2dfde                   Address Redacted                      First Class Mail
c547e399‐590f‐4145‐ab15‐404acd9d0070                   Address Redacted                      First Class Mail
c54a2fae‐5179‐40a9‐aa2d‐86bf7ca2be8c                   Address Redacted                      First Class Mail
c54e2898‐bc51‐42c9‐851f‐19d134195706                   Address Redacted                      First Class Mail
c54e9f4f‐4700‐4dc3‐bda9‐15b18f8543ba                   Address Redacted                      First Class Mail
c54f347f‐0e5b‐44a8‐bf0a‐cccdcb43ce33                   Address Redacted                      First Class Mail
c54fe3f8‐a92e‐4215‐a5c3‐89b8124f4ca6                   Address Redacted                      First Class Mail
c550a2ee‐9064‐4dd0‐bcd0‐44c6eca90545                   Address Redacted                      First Class Mail
c555f228‐9d0c‐422a‐90b2‐09ae976f8c21                   Address Redacted                      First Class Mail
c55738ae‐3fb1‐4dfb‐8d0e‐d7c33833d4ef                   Address Redacted                      First Class Mail
c559339f‐2449‐44ef‐8e3f‐d6b7bbccb67a                   Address Redacted                      First Class Mail
c55c94cc‐755c‐4879‐a612‐16e4086550dc                   Address Redacted                      First Class Mail
c55d2b26‐f0cb‐439c‐a20b‐43d44b273798                   Address Redacted                      First Class Mail
c56b4941‐e9ae‐445a‐913f‐3d823e603efb                   Address Redacted                      First Class Mail
c571e73f‐d4cf‐460f‐adab‐352b1eeff7e5                   Address Redacted                      First Class Mail
c5736625‐cba2‐40f9‐8bfa‐8c549696c628                   Address Redacted                      First Class Mail
c57397a3‐a972‐4d19‐bcc7‐b83fdf42135e                   Address Redacted                      First Class Mail
c5772c22‐1e84‐41ab‐b912‐aee46bbfda64                   Address Redacted                      First Class Mail
c5821175‐8e9f‐43fc‐87a9‐e3cc8d1aeecb                   Address Redacted                      First Class Mail
c5828d17‐d005‐4a20‐ae2d‐b16ebf137949                   Address Redacted                      First Class Mail
c5881bd7‐8122‐46ef‐930f‐10f232d77609                   Address Redacted                      First Class Mail
c589b5d7‐0bf5‐4643‐a4d9‐80910e492c2b                   Address Redacted                      First Class Mail
c58b4570‐63ed‐412c‐b5a7‐f3a67c2539dc                   Address Redacted                      First Class Mail
c58d669c‐5f8f‐4bd9‐9f53‐20e005bdfce6                   Address Redacted                      First Class Mail
c590440c‐f930‐414f‐a65b‐1e507e99cab9                   Address Redacted                      First Class Mail
c590f823‐cd73‐4532‐96ca‐5f588dafd9b3                   Address Redacted                      First Class Mail
c59340dc‐aa42‐4294‐863a‐1851814d13b7                   Address Redacted                      First Class Mail
c5943c89‐0f79‐4b93‐9ee4‐27526103925e                   Address Redacted                      First Class Mail
c5967bfe‐8fa0‐4050‐b68f‐13eedcb3fb64                   Address Redacted                      First Class Mail
c59a300c‐40b4‐4228‐8a80‐fbe3812406da                   Address Redacted                      First Class Mail
c59a44b7‐0d78‐46f0‐9e39‐6937b828b09f                   Address Redacted                      First Class Mail




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                                                                 Service List


                               Name                                             Address                         Method of Service
c59dec48‐e412‐44ca‐979e‐a8172be04681                   Address Redacted                      First Class Mail
c59ffd6d‐d978‐4141‐9ef7‐5a98d72e3a7e                   Address Redacted                      First Class Mail
c5a95ed1‐2a3f‐4917‐871d‐295b9580e20b                   Address Redacted                      First Class Mail
c5b03aac‐17c0‐4abd‐b453‐444f01e23099                   Address Redacted                      First Class Mail
c5b07a56‐3aff‐475f‐9d7c‐b8e22849b6d7                   Address Redacted                      First Class Mail
c5b0bc79‐802f‐4ee7‐a3aa‐509ee37bebc4                   Address Redacted                      First Class Mail
c5b321b9‐ff88‐4433‐83e8‐28784188b9ed                   Address Redacted                      First Class Mail
c5b3f79a‐2f77‐4b85‐a662‐9aecd473e8f7                   Address Redacted                      First Class Mail
c5bad0b4‐1e6d‐4ce5‐af8e‐1a180713b51d                   Address Redacted                      First Class Mail
c5bd22b0‐7f8e‐4fce‐94d8‐8380e9574c3c                   Address Redacted                      First Class Mail
c5c05fcf‐07c9‐4469‐8a2e‐7e705b831cff                   Address Redacted                      First Class Mail
c5c4a919‐2f01‐4c52‐a704‐6406ecbad3ae                   Address Redacted                      First Class Mail
c5c796ff‐cabd‐4a5b‐88d2‐7a641139ef4a                   Address Redacted                      First Class Mail
c5c8db7e‐1c0d‐4fde‐a640‐f6be44edfc53                   Address Redacted                      First Class Mail
c5c8f7a2‐f506‐4797‐bc00‐d9e8116c39e9                   Address Redacted                      First Class Mail
c5cda5d2‐0b5d‐4d2e‐b0fb‐427491e95aa2                   Address Redacted                      First Class Mail
c5cf2767‐c211‐4e70‐9269‐5f3cf8e15306                   Address Redacted                      First Class Mail
c5d09950‐f7c3‐4371‐8f6d‐beb9a62d7867                   Address Redacted                      First Class Mail
c5d0b6a5‐256f‐42d0‐912d‐49509834d879                   Address Redacted                      First Class Mail
c5d6b588‐b6ab‐41f2‐982d‐20ff2e0a66ef                   Address Redacted                      First Class Mail
c5d8f7e2‐1ae3‐4701‐b6a6‐e460f5247f4c                   Address Redacted                      First Class Mail
c5dafd87‐ba56‐4f50‐bc19‐435046dd2a20                   Address Redacted                      First Class Mail
c5dba638‐4268‐4537‐9c0c‐e6556d3e2161                   Address Redacted                      First Class Mail
c5dfabe3‐89be‐4532‐9b9e‐85fc87b48458                   Address Redacted                      First Class Mail
c5e1703d‐c92d‐40bf‐a738‐19093b228757                   Address Redacted                      First Class Mail
c5e1fba6‐bb21‐42ac‐b6b4‐a48080d420f9                   Address Redacted                      First Class Mail
c5e22c22‐53f1‐43d9‐af57‐34e86cb8371c                   Address Redacted                      First Class Mail
c5e437a9‐56cc‐472c‐9664‐6ef23ce909e5                   Address Redacted                      First Class Mail
c5e5d88b‐750f‐46b8‐869f‐f5503c153056                   Address Redacted                      First Class Mail
c5e6158a‐1ae4‐467d‐9d08‐de7d3e7dce22                   Address Redacted                      First Class Mail
c5e6693b‐cf31‐4574‐b062‐0ed5707658c2                   Address Redacted                      First Class Mail
c5e9135b‐bfd3‐4df6‐b11f‐1857a5cd0686                   Address Redacted                      First Class Mail
c5e97e4a‐13bc‐4a5d‐95b3‐f3ee29c8a917                   Address Redacted                      First Class Mail
c5eb4107‐fbf6‐4143‐b5f1‐7525663a0a42                   Address Redacted                      First Class Mail
c5ec9707‐1772‐4162‐af1c‐21366358d6c1                   Address Redacted                      First Class Mail
c5ed2e3e‐d58b‐4d62‐b3e6‐9423bbf09f93                   Address Redacted                      First Class Mail
c5f033c1‐63b6‐4e56‐b59b‐6fad93fd6e64                   Address Redacted                      First Class Mail
c5f16d52‐3df5‐41f2‐8d4d‐65c4c22377a1                   Address Redacted                      First Class Mail
c5f373fd‐7ba5‐4842‐845f‐8eb295aec5ff                   Address Redacted                      First Class Mail
c5f7dcab‐e2bf‐4934‐b933‐d15e52377674                   Address Redacted                      First Class Mail
c5fab754‐eaff‐4c25‐81d1‐d9f0d172e281                   Address Redacted                      First Class Mail
c5fcb360‐ea98‐4794‐96c3‐a305750c1f96                   Address Redacted                      First Class Mail
c601e2f4‐8601‐4307‐9563‐f8244ba8026d                   Address Redacted                      First Class Mail
c604c2ca‐799f‐4965‐af80‐1f7b67916b5a                   Address Redacted                      First Class Mail
c60509ff‐a201‐425f‐859e‐e73905ee8a25                   Address Redacted                      First Class Mail
c6055c25‐6c03‐4651‐9df2‐22631bf407c5                   Address Redacted                      First Class Mail
c605da51‐28da‐49e6‐ac26‐0902b21e5d31                   Address Redacted                      First Class Mail
c609fb8c‐abbb‐432f‐877e‐961946314fec                   Address Redacted                      First Class Mail
c60a19fb‐0f8e‐461b‐958c‐658f130f1651                   Address Redacted                      First Class Mail
c60ee3d0‐1be3‐49f6‐b4d7‐ffeb95e6e06c                   Address Redacted                      First Class Mail
c611e02b‐7e0a‐402f‐bc6a‐939c346bf387                   Address Redacted                      First Class Mail
c6152861‐a785‐4454‐adb2‐835d7f6fc72c                   Address Redacted                      First Class Mail
c61764f6‐cd78‐4292‐a563‐969e978f505d                   Address Redacted                      First Class Mail
c61d8067‐4a96‐4805‐a2b8‐1ee43bb2d8d9                   Address Redacted                      First Class Mail
c62194ff‐8bcc‐4640‐9b97‐cb1e7f29c56f                   Address Redacted                      First Class Mail
c625913d‐1bbd‐46e9‐ac44‐2d1b1e44d990                   Address Redacted                      First Class Mail
c627d696‐2cb5‐4677‐b0f0‐8bcb3f9683ba                   Address Redacted                      First Class Mail
c629c89b‐94a1‐4e7e‐b34a‐f71e6a5eb319                   Address Redacted                      First Class Mail
c62d27b1‐2666‐4cf5‐b794‐3ae2a60e8518                   Address Redacted                      First Class Mail
c631d24f‐4088‐4645‐b2fe‐7191912e1f17                   Address Redacted                      First Class Mail
c631d2db‐fac3‐4e58‐ae36‐abba32bb72eb                   Address Redacted                      First Class Mail
c63235aa‐501d‐4527‐a9d8‐b7f7c7d7ee45                   Address Redacted                      First Class Mail
c636b875‐0e66‐4850‐a7fe‐e7a728e3c555                   Address Redacted                      First Class Mail
c638b15a‐bc1f‐49fc‐b76c‐529b069a6165                   Address Redacted                      First Class Mail
c63a4912‐9a3e‐4a82‐8d89‐f5404d41196a                   Address Redacted                      First Class Mail
c63a7936‐21cf‐4f85‐a1f9‐f1c00b8f0f15                   Address Redacted                      First Class Mail
c63b9645‐58e5‐457f‐af87‐ffb9cc14767e                   Address Redacted                      First Class Mail
c63c4ffe‐1c5f‐4df3‐8215‐fc29909352b5                   Address Redacted                      First Class Mail
c63fc7c8‐2c1d‐4f6c‐8350‐1747a15f92b4                   Address Redacted                      First Class Mail
c641a95a‐c7d9‐4b91‐8693‐6baa6bd77518                   Address Redacted                      First Class Mail
c64316cb‐4c28‐4b8f‐b533‐d4407a74966c                   Address Redacted                      First Class Mail
c644a275‐da1b‐4159‐9094‐e17c2eb69bb6                   Address Redacted                      First Class Mail




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                                                                 Service List


                              Name                                              Address                         Method of Service
c6459905‐7b62‐4024‐a40c‐4e589368e42d                   Address Redacted                      First Class Mail
c646de5a‐77eb‐4f19‐b1fc‐4eff7a00bcbf                   Address Redacted                      First Class Mail
c6492202‐1c85‐4218‐9de8‐32de5e6574db                   Address Redacted                      First Class Mail
c649a8db‐f4a7‐4083‐8e05‐0fbed3bba846                   Address Redacted                      First Class Mail
c64c867f‐9b11‐4436‐a1ca‐c5207c16d11b                   Address Redacted                      First Class Mail
c64d450a‐c236‐4186‐a47a‐2664d1c1276b                   Address Redacted                      First Class Mail
c65158e6‐2e99‐4d24‐bcb5‐831f058f5de2                   Address Redacted                      First Class Mail
c6520731‐1931‐445b‐a7d5‐48cc9a00a831                   Address Redacted                      First Class Mail
c653a1d9‐1dcd‐4aa7‐af4d‐a9232f1c4b65                   Address Redacted                      First Class Mail
c6547206‐6464‐4dfb‐900e‐40196c3da228                   Address Redacted                      First Class Mail
c654e03f‐c6d9‐498d‐ba65‐ee897be0fb99                   Address Redacted                      First Class Mail
c6571366‐c582‐4f75‐803b‐84ba03667bc1                   Address Redacted                      First Class Mail
c6574335‐f3af‐4321‐9909‐d19e825aee3b                   Address Redacted                      First Class Mail
c659229a‐8687‐481d‐b336‐35d79e1218c0                   Address Redacted                      First Class Mail
c65ef526‐2982‐4d0c‐a717‐a24604558ce6                   Address Redacted                      First Class Mail
c6600efa‐ca44‐4c29‐bf88‐c6ec7fa25367                   Address Redacted                      First Class Mail
c6602424‐c043‐4278‐8fd7‐0ac885474cd8                   Address Redacted                      First Class Mail
c662c190‐a90b‐4135‐acf1‐5e6de46c5e48                   Address Redacted                      First Class Mail
c66722cb‐3de3‐429a‐897e‐d576f5df4698                   Address Redacted                      First Class Mail
c66a1bf1‐de3c‐401e‐9f7f‐15f1d473fc43                   Address Redacted                      First Class Mail
c66aadc0‐c9ea‐4010‐952f‐e62ea381cd94                   Address Redacted                      First Class Mail
c66b6d1d‐f16b‐434a‐9739‐55d375481edd                   Address Redacted                      First Class Mail
c66e223f‐5387‐46d0‐9be7‐a10417248318                   Address Redacted                      First Class Mail
c6708da0‐4207‐43bb‐a82c‐d18a8d680838                   Address Redacted                      First Class Mail
c6738d40‐7ad1‐49b1‐adb0‐a8c20d123509                   Address Redacted                      First Class Mail
c6799304‐e7e3‐43b1‐b182‐2aab312ced7f                   Address Redacted                      First Class Mail
c679bbe6‐e71b‐4f56‐8853‐50d644eb7f4e                   Address Redacted                      First Class Mail
c67a4092‐0815‐4639‐9cdd‐5c1a73ffe3b6                   Address Redacted                      First Class Mail
c67d359c‐b154‐4be5‐a9fe‐23c6660621e4                   Address Redacted                      First Class Mail
c67de214‐b68c‐42b2‐9ce1‐66ec4656ca84                   Address Redacted                      First Class Mail
c68f338a‐1004‐4cae‐9434‐4e2e5a5a9fa4                   Address Redacted                      First Class Mail
c6913dae‐a003‐4f9e‐8b05‐16f7343701a0                   Address Redacted                      First Class Mail
c696a292‐a04c‐41da‐90ae‐79a891758ee8                   Address Redacted                      First Class Mail
c699e48d‐016f‐428d‐9eef‐0e7cf92eef9a                   Address Redacted                      First Class Mail
c69acf9e‐cba4‐4bcf‐950f‐5713e5ae92ff                   Address Redacted                      First Class Mail
c69cd1d0‐82be‐4506‐9e7f‐32f37396b04b                   Address Redacted                      First Class Mail
c69f6bac‐8e7b‐487c‐984f‐7e39cc55450b                   Address Redacted                      First Class Mail
c6a56ccc‐f000‐4344‐841b‐d863bb993905                   Address Redacted                      First Class Mail
c6aa0ed8‐8417‐4cba‐a693‐fec73d479af8                   Address Redacted                      First Class Mail
c6b117d9‐cccf‐42d7‐ad34‐6f3e119bbc1a                   Address Redacted                      First Class Mail
c6b1fd3c‐2d60‐4791‐ac44‐be8f4bbe39b5                   Address Redacted                      First Class Mail
c6b3abfa‐f39c‐4b9b‐b0e0‐4c723d1834e1                   Address Redacted                      First Class Mail
c6b420da‐c0dd‐4b15‐9d14‐8add33a55636                   Address Redacted                      First Class Mail
c6b45cd1‐f712‐49cb‐a226‐a0e49597641d                   Address Redacted                      First Class Mail
c6b5aa3b‐ea01‐4310‐800d‐f44aba8522de                   Address Redacted                      First Class Mail
c6ba6f18‐adb5‐4fee‐a352‐d8e2a1ecb8e9                   Address Redacted                      First Class Mail
c6bb4808‐fce9‐46f7‐8517‐49104c6f7767                   Address Redacted                      First Class Mail
c6bcca8b‐0c6b‐49e4‐9c35‐d5ac90a77ce9                   Address Redacted                      First Class Mail
c6bdbecf‐296d‐4fc5‐8c95‐e54c2ae38f33                   Address Redacted                      First Class Mail
c6c28d8c‐0133‐4c67‐92fa‐98ba8445a4ab                   Address Redacted                      First Class Mail
c6c6aa56‐401a‐4870‐b643‐a91ac1ba55b3                   Address Redacted                      First Class Mail
c6ca8137‐daa4‐4f1f‐91b5‐a3f9b016c8c1                   Address Redacted                      First Class Mail
c6cb0392‐6d67‐4721‐aab7‐c54f9790ab7b                   Address Redacted                      First Class Mail
c6cb20a0‐3b68‐440c‐a78b‐016226e99cef                   Address Redacted                      First Class Mail
c6cc62fb‐d1f2‐46c0‐8086‐1b16fb12f63a                   Address Redacted                      First Class Mail
c6ce5f37‐2ad4‐4bcc‐87fb‐ff601ad1c34d                   Address Redacted                      First Class Mail
c6cee166‐0d5e‐4319‐90d6‐fccf198a4ac4                   Address Redacted                      First Class Mail
c6cf355a‐96a8‐44bc‐b297‐2c9fd59b6ca2                   Address Redacted                      First Class Mail
c6d00942‐6cf9‐42d9‐8581‐f2c5caf9d071                   Address Redacted                      First Class Mail
c6d0c5c1‐3230‐4ed2‐bdfd‐4259ce8bb3c6                   Address Redacted                      First Class Mail
c6d0eeba‐16f1‐4cbd‐868a‐ec89c497c4eb                   Address Redacted                      First Class Mail
c6d951f1‐c871‐46c2‐af57‐d2fafd30f875                   Address Redacted                      First Class Mail
c6dbfd62‐1b32‐4667‐a8ef‐ec6485f3e3dc                   Address Redacted                      First Class Mail
c6e212e9‐d1f6‐4524‐bdbd‐9cdaedd9975b                   Address Redacted                      First Class Mail
c6e34c0a‐1884‐4062‐a4d6‐0b5165d6389b                   Address Redacted                      First Class Mail
c6e3b94a‐d387‐45e3‐ab38‐470034340f5a                   Address Redacted                      First Class Mail
c6e42f99‐7d0f‐4bc5‐9bfb‐e62fdf9a86ac                   Address Redacted                      First Class Mail
c6e616f4‐0dee‐4301‐8d82‐b7bcdad31605                   Address Redacted                      First Class Mail
c6e6d14d‐5331‐4ed8‐990d‐0df752ec3359                   Address Redacted                      First Class Mail
c6ec3df5‐a12a‐4c54‐ad7a‐601e5c877214                   Address Redacted                      First Class Mail
c6ed45a8‐dfc8‐4348‐acf8‐0ca35b9f1d36                   Address Redacted                      First Class Mail
c6eeea82‐84fc‐455b‐ab54‐cb46b30bc37d                   Address Redacted                      First Class Mail




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                                                                Exhibit A
                                                                 Service List


                               Name                                             Address                         Method of Service
c6ef25a1‐3199‐4f89‐bfa0‐9cc3d0d25955                   Address Redacted                      First Class Mail
c6f15a65‐35ae‐4e13‐b987‐231bce6ab85b                   Address Redacted                      First Class Mail
c6f33caa‐9a06‐4f36‐9fa7‐3a9d66c9a618                   Address Redacted                      First Class Mail
c6f479ad‐d0db‐439d‐b52e‐59b75cd32abf                   Address Redacted                      First Class Mail
c6f58874‐b6d8‐481c‐915b‐af9924df10c2                   Address Redacted                      First Class Mail
c6f70943‐f3b9‐4865‐8178‐79f7d036d103                   Address Redacted                      First Class Mail
c6f7f456‐fcff‐430c‐9f6f‐8ba225e08bc2                   Address Redacted                      First Class Mail
c7043e88‐99dc‐4b84‐b0c8‐fa0108ba9d2d                   Address Redacted                      First Class Mail
c706fbff‐4378‐4b7b‐b219‐d4526757f63b                   Address Redacted                      First Class Mail
c707fb6d‐522d‐4e1e‐887b‐fa5d77dcaca8                   Address Redacted                      First Class Mail
c70924fb‐a44a‐44e9‐b8c7‐7c3476ba4d47                   Address Redacted                      First Class Mail
c7096c36‐ea4e‐4516‐90f1‐078b4ddd653e                   Address Redacted                      First Class Mail
c70a1cd5‐51dc‐425d‐8c73‐944cd750938f                   Address Redacted                      First Class Mail
c7120076‐f773‐4753‐b27c‐e6f5bca50916                   Address Redacted                      First Class Mail
c7124d17‐ef2a‐4b47‐a609‐08efc8ecf00f                   Address Redacted                      First Class Mail
c71292e9‐074e‐41ee‐9c49‐c2347da54dc0                   Address Redacted                      First Class Mail
c7138f58‐5839‐4d8f‐8aa3‐bee269ed602a                   Address Redacted                      First Class Mail
c713a7a3‐5b18‐4f3c‐a244‐1e207cadf62e                   Address Redacted                      First Class Mail
c713fd82‐4466‐4e05‐937f‐ad22aa4dd46c                   Address Redacted                      First Class Mail
c7169cec‐7669‐4c2d‐9a3d‐3ea9bea1ad4c                   Address Redacted                      First Class Mail
c7171b93‐5b8e‐4250‐9d8a‐1dcd001d7e89                   Address Redacted                      First Class Mail
c71b67bb‐4d51‐4eb8‐95cc‐d058b7cf4f1e                   Address Redacted                      First Class Mail
c71bf4f3‐1889‐4fc0‐bea1‐540a90e1f207                   Address Redacted                      First Class Mail
c71ccb1a‐1339‐430d‐b70c‐0d7ec4e0cf66                   Address Redacted                      First Class Mail
c71f5377‐b7f4‐4187‐a6ea‐1f90f8ebf93e                   Address Redacted                      First Class Mail
c721ae2e‐5e1a‐496e‐9c33‐af7ce862361b                   Address Redacted                      First Class Mail
c72667a5‐48bb‐46bf‐8c73‐59893d8449d6                   Address Redacted                      First Class Mail
c728c513‐4489‐4549‐8d67‐df017851d7f0                   Address Redacted                      First Class Mail
c72a380f‐dcee‐4591‐80e1‐e799096a3b4f                   Address Redacted                      First Class Mail
c72ad286‐a3f9‐4077‐9c72‐f314c63e7af2                   Address Redacted                      First Class Mail
c72b7fc0‐a3ec‐4009‐8713‐42f43c5c5a12                   Address Redacted                      First Class Mail
c72dde6b‐836b‐4275‐8274‐00651d3639b1                   Address Redacted                      First Class Mail
c72ea527‐82e2‐44b6‐b102‐2d29d5f54137                   Address Redacted                      First Class Mail
c735e7ad‐6d9f‐422d‐a305‐85607ea8136d                   Address Redacted                      First Class Mail
c73655a4‐2c8d‐4b17‐9f52‐bf8e32ca63a9                   Address Redacted                      First Class Mail
c73e8e14‐f994‐4bb0‐9b75‐43331c402b62                   Address Redacted                      First Class Mail
c7423bcc‐9589‐4818‐b65a‐de24b3f48c4a                   Address Redacted                      First Class Mail
c74abdcd‐19cd‐4840‐9940‐0b5f740b28c6                   Address Redacted                      First Class Mail
c74d8e03‐90e6‐4dbc‐b59f‐b250eac0fe58                   Address Redacted                      First Class Mail
c74e9260‐f88a‐4d38‐b5c1‐56ab86f4ce6e                   Address Redacted                      First Class Mail
c74eb03b‐7601‐4b4d‐a650‐2a2df4483689                   Address Redacted                      First Class Mail
c74fc368‐ea65‐42e1‐b343‐e027d8acb84d                   Address Redacted                      First Class Mail
c7508877‐0976‐40e5‐bb72‐bbec0fbe4618                   Address Redacted                      First Class Mail
c758854c‐8b90‐47d9‐86e4‐2d282c91be48                   Address Redacted                      First Class Mail
c75a5e9f‐0408‐42bf‐a75d‐1632f1033f24                   Address Redacted                      First Class Mail
c75b8877‐5262‐4400‐be39‐2a4a4fbc1224                   Address Redacted                      First Class Mail
c75db3ca‐13ee‐4ada‐ada7‐3a810ad70e95                   Address Redacted                      First Class Mail
c75e93d5‐83bf‐4c8c‐a332‐03305a8c7539                   Address Redacted                      First Class Mail
c760305d‐3338‐41ed‐a090‐484ae33dc15b                   Address Redacted                      First Class Mail
c7607830‐403f‐44ae‐81bb‐0a869b8ac4db                   Address Redacted                      First Class Mail
c7633e28‐da7f‐459f‐9b79‐2f8e49d9e54a                   Address Redacted                      First Class Mail
c763f270‐33a8‐4d15‐a33d‐1ef407cd31d2                   Address Redacted                      First Class Mail
c76688bd‐b884‐49be‐9da9‐45dd4c6ad6ac                   Address Redacted                      First Class Mail
c768989e‐8d3f‐4951‐b784‐aeb24224ace9                   Address Redacted                      First Class Mail
c76933e6‐5ba8‐4d5f‐a488‐72e35689e7e5                   Address Redacted                      First Class Mail
c76cae11‐b1a0‐4032‐8bb1‐3051c696b64b                   Address Redacted                      First Class Mail
c76cc33b‐f0f9‐443a‐8b89‐854749034bae                   Address Redacted                      First Class Mail
c76fa4ff‐851a‐4c8f‐87a1‐1a003e5f0d8d                   Address Redacted                      First Class Mail
c77384ae‐7082‐43cc‐acf9‐71ad93a42408                   Address Redacted                      First Class Mail
c7746ac1‐ac22‐404b‐b2a9‐f6b1c47aa0aa                   Address Redacted                      First Class Mail
c774e368‐bb30‐4e41‐a1cd‐b890e2607cf5                   Address Redacted                      First Class Mail
c7760487‐952f‐44ca‐a438‐16da419b1fa3                   Address Redacted                      First Class Mail
c7763ece‐cfe9‐4b91‐bae0‐216ee6d0af42                   Address Redacted                      First Class Mail
c7791a09‐a8ad‐4713‐a4a4‐4d39a69933fd                   Address Redacted                      First Class Mail
c78232f2‐4a21‐4737‐a2ee‐642d37bcf335                   Address Redacted                      First Class Mail
c78309b7‐22d0‐4b2f‐8ef2‐e855bedeb9df                   Address Redacted                      First Class Mail
c7844bad‐76c4‐45c8‐819a‐17b0dc956d96                   Address Redacted                      First Class Mail
c7846bf6‐f7bc‐49a4‐bccd‐1bd2ca478b80                   Address Redacted                      First Class Mail
c78566e3‐0c71‐4a93‐97f3‐c9a01ed83b81                   Address Redacted                      First Class Mail
c7867ade‐f2e7‐4875‐9c8b‐863851b6b41f                   Address Redacted                      First Class Mail
c788adf3‐8287‐4355‐a7a9‐1342a0ed573c                   Address Redacted                      First Class Mail
c78b682b‐306a‐4b7f‐8433‐015a01e3ee3a                   Address Redacted                      First Class Mail




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                                                                 Service List


                               Name                                             Address                         Method of Service
c78bf7b1‐d7f3‐4580‐b654‐98a016b5648e                   Address Redacted                      First Class Mail
c78c7383‐d06a‐4b5d‐9de2‐0a70a55403af                   Address Redacted                      First Class Mail
c78eabef‐fd88‐4398‐935f‐c2aff65c1e98                   Address Redacted                      First Class Mail
c796ea08‐ceb4‐4455‐b73a‐1453493ce160                   Address Redacted                      First Class Mail
c7979540‐8784‐49e6‐bcc4‐adb7248c095c                   Address Redacted                      First Class Mail
c799aec8‐c434‐45e3‐af90‐ad73e020513c                   Address Redacted                      First Class Mail
c79b5a65‐d618‐431e‐968a‐7c975332e87f                   Address Redacted                      First Class Mail
c79d3134‐6cd4‐4ba4‐a34c‐3f0f0c74853f                   Address Redacted                      First Class Mail
c79e51d1‐f415‐4ec2‐8b3e‐b9e69476c235                   Address Redacted                      First Class Mail
c7a69d72‐118f‐48a1‐aaff‐f13f223dd514                   Address Redacted                      First Class Mail
c7a70e84‐0f66‐4ed3‐a447‐7cb64cd0739f                   Address Redacted                      First Class Mail
c7ab30c9‐5372‐4a54‐abc9‐4e3c55c8a084                   Address Redacted                      First Class Mail
c7ab38ca‐26c6‐4f4e‐8f6c‐0f15d74c72a8                   Address Redacted                      First Class Mail
c7adc4a0‐cfc9‐4d72‐b46f‐624c21b86743                   Address Redacted                      First Class Mail
c7ae28f8‐cfc1‐4a06‐98ef‐46bad2882f35                   Address Redacted                      First Class Mail
c7af2351‐7c9b‐45ad‐a191‐05998cb91897                   Address Redacted                      First Class Mail
c7aff0fb‐cddf‐4c8f‐81eb‐c199efbac007                   Address Redacted                      First Class Mail
c7b0d432‐1a04‐4f24‐b97f‐a2ba7e3b8031                   Address Redacted                      First Class Mail
c7b16b81‐b646‐41be‐96c7‐8c338a1ad036                   Address Redacted                      First Class Mail
c7b599cd‐ed94‐42d4‐8596‐ca5d1a965a54                   Address Redacted                      First Class Mail
c7bb1d57‐d744‐403a‐811e‐804717b74619                   Address Redacted                      First Class Mail
c7bc9a0a‐5751‐4db5‐94f9‐56307198abd0                   Address Redacted                      First Class Mail
c7bcfc00‐ece2‐42bb‐945c‐5916724cba81                   Address Redacted                      First Class Mail
c7c10605‐6c18‐4be3‐9b16‐1d90c0a5d080                   Address Redacted                      First Class Mail
c7c4a484‐7b32‐4376‐b64e‐bb0e20d47f32                   Address Redacted                      First Class Mail
c7c6aa1b‐ba6a‐48c2‐abb9‐41724fd5d75c                   Address Redacted                      First Class Mail
c7c88e53‐2269‐4868‐97df‐1e22cb4eddb3                   Address Redacted                      First Class Mail
c7c92727‐940c‐4d60‐a34b‐0661a1b1470a                   Address Redacted                      First Class Mail
c7c9472f‐f3e7‐4593‐9dc9‐c55fa8eb26da                   Address Redacted                      First Class Mail
c7cb2fe2‐c3d9‐413c‐ac84‐93dce88542ae                   Address Redacted                      First Class Mail
c7cb5a1f‐d37b‐470a‐b9f7‐cf1c6e429be3                   Address Redacted                      First Class Mail
c7cc6644‐96a9‐421d‐bc53‐3873996d3736                   Address Redacted                      First Class Mail
c7cedfd8‐99a9‐4990‐a00e‐95bd15afccae                   Address Redacted                      First Class Mail
c7d07eb1‐697b‐4bab‐b2ae‐d87f8486fa53                   Address Redacted                      First Class Mail
c7d22fc1‐4bce‐4944‐b489‐84fa863e5cd2                   Address Redacted                      First Class Mail
c7d64ca1‐4db4‐4f5f‐af1a‐6637773036b7                   Address Redacted                      First Class Mail
c7d8107a‐f3f8‐4c35‐b900‐90db73e0f623                   Address Redacted                      First Class Mail
c7d9fbb7‐403c‐4764‐af41‐7dae55e33da2                   Address Redacted                      First Class Mail
c7da6a9b‐9390‐4957‐a5af‐e26b534b1b2c                   Address Redacted                      First Class Mail
c7dbea00‐1b86‐40ba‐bd2b‐c84211ae5ba7                   Address Redacted                      First Class Mail
c7dc1e46‐6c26‐4e2d‐95ed‐2f50f1a827fa                   Address Redacted                      First Class Mail
c7e1d2a1‐846a‐487e‐a888‐d38cab6c9b47                   Address Redacted                      First Class Mail
c7e31771‐19fb‐4c25‐829a‐bc52fea8d91d                   Address Redacted                      First Class Mail
c7e63c72‐2ee9‐4765‐9d5b‐d444d31985a8                   Address Redacted                      First Class Mail
c7e78ad8‐1d20‐416d‐a942‐ff95fc7b28b9                   Address Redacted                      First Class Mail
c7ea239d‐9e1d‐48d4‐bb8e‐612cb152e449                   Address Redacted                      First Class Mail
c7eee064‐ff1e‐45ae‐a59f‐f442b3d95bc4                   Address Redacted                      First Class Mail
c7f379b2‐2242‐42f0‐9ae6‐0fd5e601aa64                   Address Redacted                      First Class Mail
c7f48f07‐ff02‐4c5f‐baf8‐0b88b7c54dca                   Address Redacted                      First Class Mail
c7f4cf26‐88e9‐4db7‐9c51‐1e23e2a1a5fd                   Address Redacted                      First Class Mail
c7f600f7‐a940‐48dd‐ac39‐d82eac35f359                   Address Redacted                      First Class Mail
c7f6f71d‐32f1‐4bc3‐a79f‐4c494fee14a1                   Address Redacted                      First Class Mail
c7f86343‐6504‐49ce‐b7b6‐d95f85010b6f                   Address Redacted                      First Class Mail
c7f8c352‐dfdb‐45e6‐b904‐da9ae576ecfa                   Address Redacted                      First Class Mail
c7f9e55c‐e986‐404d‐99a6‐ba84c7e88c79                   Address Redacted                      First Class Mail
c7fb4bc1‐0420‐41eb‐88de‐641a02ff797b                   Address Redacted                      First Class Mail
c7fcd6e7‐52bc‐40fc‐a7a2‐d14154dd56e3                   Address Redacted                      First Class Mail
c800cdb9‐99b2‐4587‐9daa‐e06c338a1f1c                   Address Redacted                      First Class Mail
c801065b‐bb8d‐4658‐9c82‐16019baab9ac                   Address Redacted                      First Class Mail
c802b1dd‐7b57‐4fbb‐b48e‐b174ef343e98                   Address Redacted                      First Class Mail
c803c008‐79ae‐49ac‐9bde‐24b76f6dd38b                   Address Redacted                      First Class Mail
c805af73‐a95a‐4192‐868b‐08843dbb3e02                   Address Redacted                      First Class Mail
c807154e‐891c‐4168‐a258‐cb28fcc2491f                   Address Redacted                      First Class Mail
c8086854‐501f‐4f2c‐891b‐fe22a65c5c30                   Address Redacted                      First Class Mail
c808d120‐be14‐4c3e‐9ae5‐70ba4e868e4e                   Address Redacted                      First Class Mail
c8099792‐645a‐46cf‐9e7c‐77a4263c4de2                   Address Redacted                      First Class Mail
c809dffb‐6efa‐4a4a‐992a‐aacc1887ff01                   Address Redacted                      First Class Mail
c80af203‐2b5d‐4d95‐b1f8‐42141a0db9d9                   Address Redacted                      First Class Mail
c80d9f88‐5087‐4560‐9a00‐d95b162afa66                   Address Redacted                      First Class Mail
c80e74ed‐40f5‐4bf5‐86c2‐657c5d661f9c                   Address Redacted                      First Class Mail
c815bfbb‐67e7‐48d8‐86ab‐073e6d650f76                   Address Redacted                      First Class Mail
c819699d‐8e84‐4eea‐9261‐4294ffa5566e                   Address Redacted                      First Class Mail




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                               Name                                             Address                         Method of Service
c81a3cfd‐8ad4‐4829‐b385‐d27c8a0aa3a5                   Address Redacted                      First Class Mail
c81bb322‐66fb‐4d77‐873c‐d6ce0b01079d                   Address Redacted                      First Class Mail
c81cad49‐2cac‐432c‐945d‐be5d9f227935                   Address Redacted                      First Class Mail
c81f768d‐954a‐4e51‐9385‐e0024f26dd86                   Address Redacted                      First Class Mail
c81f9108‐805f‐4ca4‐aa72‐460f42b20f8f                   Address Redacted                      First Class Mail
c82286ea‐504e‐4b8b‐9557‐714ff55a2ead                   Address Redacted                      First Class Mail
c8237fc9‐26d4‐4acb‐8374‐7d549332fd5d                   Address Redacted                      First Class Mail
c824639a‐2efe‐4adb‐add1‐32a510489558                   Address Redacted                      First Class Mail
c8286418‐1eb1‐488b‐9740‐29fde5fe9d12                   Address Redacted                      First Class Mail
c828a77a‐e377‐4958‐8c0e‐f0c112b661c9                   Address Redacted                      First Class Mail
c82bd8cd‐8706‐4d68‐ae1d‐707647f20493                   Address Redacted                      First Class Mail
c82e2d80‐ff55‐4abe‐bd2d‐ecd0b8142c0f                   Address Redacted                      First Class Mail
c836d947‐0cb3‐4472‐9dbc‐10cc4b85f274                   Address Redacted                      First Class Mail
c837dbcd‐b8a5‐44a6‐9241‐3b9e087438bb                   Address Redacted                      First Class Mail
c8382227‐5770‐416a‐9a2a‐dcff51a2df3a                   Address Redacted                      First Class Mail
c83932c7‐32ce‐45b0‐b507‐661315597650                   Address Redacted                      First Class Mail
c83c70c9‐0fc1‐48ec‐8ec5‐95e7e1804c57                   Address Redacted                      First Class Mail
c83e12a6‐1739‐4ac0‐88d5‐3064080fdc19                   Address Redacted                      First Class Mail
c8408fbc‐bc5e‐45f2‐860a‐f3bf63162e47                   Address Redacted                      First Class Mail
c8456941‐7578‐43c8‐9571‐a37b04fa5a3b                   Address Redacted                      First Class Mail
c8461f83‐b886‐42e1‐8078‐8d1091f38e6f                   Address Redacted                      First Class Mail
c84e66e1‐fb91‐451b‐b0b0‐1959c5d12cc7                   Address Redacted                      First Class Mail
c84ff25d‐b2a8‐402e‐96b0‐9d82f34373e1                   Address Redacted                      First Class Mail
c850d9d1‐1f1d‐44b2‐99a0‐8cd5aa823366                   Address Redacted                      First Class Mail
c853474f‐0cc9‐4752‐bd23‐95e1f9c239c3                   Address Redacted                      First Class Mail
c853914e‐7840‐4dd0‐85c1‐58dad0380d30                   Address Redacted                      First Class Mail
c8541ff3‐36f3‐436b‐9025‐36258b15aab1                   Address Redacted                      First Class Mail
c8576745‐549d‐45c7‐bd4d‐76b34a0a7cbe                   Address Redacted                      First Class Mail
c85aa21d‐675a‐42bf‐87c9‐f61233f2f33c                   Address Redacted                      First Class Mail
c85efe0a‐3ac9‐4edd‐86d2‐25ef67781529                   Address Redacted                      First Class Mail
c860629d‐5bb5‐4f9a‐9d52‐f190c737106a                   Address Redacted                      First Class Mail
c8621834‐cdff‐4cd5‐a623‐b625ba63eead                   Address Redacted                      First Class Mail
c863f7a0‐15f4‐4617‐bfbf‐7857cf1518c3                   Address Redacted                      First Class Mail
c86b6a6d‐9f14‐4244‐a35c‐fd1f712107c6                   Address Redacted                      First Class Mail
c86f5822‐99ee‐4811‐a33e‐401f0f87f669                   Address Redacted                      First Class Mail
c87295ad‐cefc‐4e4b‐aa92‐b8c5c1538f95                   Address Redacted                      First Class Mail
c87546e9‐4bba‐442c‐ab43‐b833e6d74444                   Address Redacted                      First Class Mail
c87631bb‐857c‐471a‐98bd‐1ce6ca1cce28                   Address Redacted                      First Class Mail
c87689f0‐549c‐4bce‐a424‐3e16ae2dd03c                   Address Redacted                      First Class Mail
c8769d13‐419b‐443c‐869d‐b70dd8690010                   Address Redacted                      First Class Mail
c878b6fe‐da9c‐4c48‐8cca‐568c9e5e12ad                   Address Redacted                      First Class Mail
c87b82e3‐f131‐4851‐9ea1‐7b15acfb0d98                   Address Redacted                      First Class Mail
c87dcadc‐f208‐436a‐92c2‐fa394d64c650                   Address Redacted                      First Class Mail
c87e638d‐5a46‐4bed‐8df5‐1d99484fb305                   Address Redacted                      First Class Mail
c87f7f6a‐fd2a‐46ff‐b556‐ebb6667229b9                   Address Redacted                      First Class Mail
c87fb173‐528e‐4e79‐a90c‐23fe3964fecc                   Address Redacted                      First Class Mail
c88033bb‐0e4d‐436a‐8d11‐b6dc86db18ac                   Address Redacted                      First Class Mail
c8847210‐9d4e‐46ec‐8e2f‐0faf3e17d18e                   Address Redacted                      First Class Mail
c8852120‐7080‐433c‐a0cf‐f81503e72ffa                   Address Redacted                      First Class Mail
c88558e6‐bbd2‐48d5‐80ae‐388c998b5d3a                   Address Redacted                      First Class Mail
c889d3a7‐3b4e‐40f7‐8fd2‐6dddd71347e4                   Address Redacted                      First Class Mail
c88f80ad‐31a8‐40af‐8e0b‐6ac36c068b64                   Address Redacted                      First Class Mail
c8902c29‐a296‐4a48‐9292‐65391c7d0320                   Address Redacted                      First Class Mail
c891748c‐17ef‐4973‐a481‐ac7333c48175                   Address Redacted                      First Class Mail
c895ac67‐0ac8‐49d2‐beff‐6f42947866a4                   Address Redacted                      First Class Mail
c8974533‐c412‐4e89‐be30‐e71e70d315de                   Address Redacted                      First Class Mail
c8983b0d‐a94e‐41b9‐88e7‐8e0264508092                   Address Redacted                      First Class Mail
c89952f0‐6f32‐4a84‐87ea‐42651952bc42                   Address Redacted                      First Class Mail
c89d0a75‐82a9‐40cd‐868b‐eec4dd2fb273                   Address Redacted                      First Class Mail
c89d1fbb‐6418‐4424‐8721‐fd02549f187e                   Address Redacted                      First Class Mail
c8a1784a‐b5c4‐4cc8‐97a6‐7298de6ba207                   Address Redacted                      First Class Mail
c8a2c225‐b2e5‐4399‐a9a1‐50b428ea018e                   Address Redacted                      First Class Mail
c8a37733‐0573‐455d‐8884‐f094a4f6c115                   Address Redacted                      First Class Mail
c8a495f6‐b836‐4ed2‐b2f3‐55747a6b7049                   Address Redacted                      First Class Mail
c8a8302b‐4986‐48dc‐9866‐d8b3d51daa06                   Address Redacted                      First Class Mail
c8a87605‐16df‐48f1‐81cb‐e59cfb4cd815                   Address Redacted                      First Class Mail
c8a9a358‐37dd‐4459‐8edb‐e7cd48cfdfa7                   Address Redacted                      First Class Mail
c8aad426‐de71‐4ef1‐8576‐f2ddb6b2fada                   Address Redacted                      First Class Mail
c8afa246‐f9ac‐4e2f‐ac28‐c0c43ca552e7                   Address Redacted                      First Class Mail
c8afdef2‐f29f‐4ed1‐a304‐cc5bf478fbb1                   Address Redacted                      First Class Mail
c8b24a8a‐9512‐4a62‐ae35‐eb19e268de98                   Address Redacted                      First Class Mail
c8b5c91d‐3258‐4462‐a883‐3a9ff686b218                   Address Redacted                      First Class Mail




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                                                                 Service List


                              Name                                              Address                         Method of Service
c8b6deff‐bb7f‐4df1‐8d12‐b4038a6ff27b                   Address Redacted                      First Class Mail
c8b8fe92‐c790‐484b‐9093‐0e160c582248                   Address Redacted                      First Class Mail
c8ba28de‐147e‐441d‐b471‐72b2e382e538                   Address Redacted                      First Class Mail
c8bc90c5‐6dd9‐4e1f‐92ed‐2ab08e93ba9d                   Address Redacted                      First Class Mail
c8c0e677‐688d‐4c26‐8acf‐f1fe309d1b83                   Address Redacted                      First Class Mail
c8cd5e50‐f080‐4086‐81c5‐b5cb43786ce1                   Address Redacted                      First Class Mail
c8cf38b6‐0b97‐46db‐9438‐2c15c730aa3b                   Address Redacted                      First Class Mail
c8d03504‐02f5‐4d1f‐a5b7‐24cb05ba9de8                   Address Redacted                      First Class Mail
c8d89bc9‐fadb‐4ef1‐8072‐0d4cd7e7db32                   Address Redacted                      First Class Mail
c8dd0eac‐d40c‐477a‐b4dc‐977cbff0c29b                   Address Redacted                      First Class Mail
c8de0bff‐6ab5‐430b‐8a19‐f061712b1c22                   Address Redacted                      First Class Mail
c8de9d87‐f16d‐43c1‐9710‐32a61eed302c                   Address Redacted                      First Class Mail
c8e0f52b‐7225‐433c‐a015‐6e6c4f73ea5c                   Address Redacted                      First Class Mail
c8e50475‐c31c‐4d40‐b87f‐421712a2cdb3                   Address Redacted                      First Class Mail
c8e61b38‐15c1‐4719‐b2f7‐9ea93a8a4547                   Address Redacted                      First Class Mail
c8e7f9a6‐040f‐48ae‐9c8e‐40035bf9395d                   Address Redacted                      First Class Mail
c8ec8865‐0acd‐4451‐9709‐6591a8973707                   Address Redacted                      First Class Mail
c8ed70d3‐0263‐4a9f‐b88e‐9da8f7db797a                   Address Redacted                      First Class Mail
c8eddb19‐6a9e‐41e9‐92e8‐6ab0d7deabed                   Address Redacted                      First Class Mail
c8f0096a‐37d5‐481d‐986f‐543b786fa2e7                   Address Redacted                      First Class Mail
c8f02a02‐da71‐43fe‐80a8‐cb445d5c88f1                   Address Redacted                      First Class Mail
c8f04133‐eb21‐49ce‐bc5a‐4dadb596602b                   Address Redacted                      First Class Mail
c8f31e33‐e501‐4f90‐9891‐c7c32f5290d7                   Address Redacted                      First Class Mail
c8f5c221‐ac6a‐464d‐950b‐94a9a0082b8e                   Address Redacted                      First Class Mail
c8f7acca‐0b08‐45db‐a339‐e4f04017e1e5                   Address Redacted                      First Class Mail
c8f9597e‐a1b7‐4cb5‐b006‐b87f52faf44c                   Address Redacted                      First Class Mail
c8fad1f1‐7b69‐4dab‐8fbe‐9b9972d38a53                   Address Redacted                      First Class Mail
c8fbf644‐2703‐4706‐8b45‐716f2924ad53                   Address Redacted                      First Class Mail
c90094ca‐6aaf‐47fa‐8605‐40ff2c93eb93                   Address Redacted                      First Class Mail
c901f3f8‐52ec‐4d93‐a442‐311dbfb21f66                   Address Redacted                      First Class Mail
c9022d04‐8b85‐41be‐bca3‐3445ae05f487                   Address Redacted                      First Class Mail
c9026d37‐6c69‐4ed9‐afb5‐edc3f263b1d0                   Address Redacted                      First Class Mail
c905f313‐c826‐4774‐b907‐5dfa01351203                   Address Redacted                      First Class Mail
c9061995‐65d8‐4b93‐a285‐4f14e6ef37e2                   Address Redacted                      First Class Mail
c906f4aa‐d965‐417a‐bba4‐b825a19753c6                   Address Redacted                      First Class Mail
c9075082‐0908‐4fb3‐8ff7‐d3739d5a567b                   Address Redacted                      First Class Mail
c908a1fe‐2649‐482c‐a55d‐6bb0c461cdfd                   Address Redacted                      First Class Mail
c9092d7b‐7f1c‐4ce4‐be79‐24bebf2d74d9                   Address Redacted                      First Class Mail
c90d47af‐cc4b‐406a‐8ac3‐aa7dda435d14                   Address Redacted                      First Class Mail
c90eb00f‐f3bc‐4ed6‐85a3‐d6150ebc1243                   Address Redacted                      First Class Mail
c90ed8d2‐f199‐4130‐9796‐0389138dc548                   Address Redacted                      First Class Mail
c90fb380‐20ab‐478d‐a834‐69ec9aee0164                   Address Redacted                      First Class Mail
c9166290‐c3d1‐42c0‐8347‐d23b4e790deb                   Address Redacted                      First Class Mail
c91721a3‐d30c‐4bae‐bad0‐66d39728fb7a                   Address Redacted                      First Class Mail
c9178a24‐5cae‐4fb2‐a8de‐440e106898f4                   Address Redacted                      First Class Mail
c9192517‐6b6e‐4df6‐8e5b‐2c40bba1a6cd                   Address Redacted                      First Class Mail
c9199555‐b13b‐485a‐acdb‐c8e7a223dcb1                   Address Redacted                      First Class Mail
c91aafce‐5d4a‐47a5‐bd2a‐65fe50f25db0                   Address Redacted                      First Class Mail
c91c7b54‐d3a9‐4a07‐8d40‐ea544f199fdb                   Address Redacted                      First Class Mail
c923cf63‐0934‐482b‐a793‐e510699809b0                   Address Redacted                      First Class Mail
c9276e0e‐4b2b‐4e54‐984e‐97163609009d                   Address Redacted                      First Class Mail
c92944d2‐8d43‐4ac9‐b433‐1344ae476c09                   Address Redacted                      First Class Mail
c92ddfd0‐61e2‐4738‐b493‐f2f420f40b42                   Address Redacted                      First Class Mail
c9331cb6‐2724‐4b48‐beb0‐b9845241aa3a                   Address Redacted                      First Class Mail
c933318d‐3b02‐40af‐93fc‐f91e9072454a                   Address Redacted                      First Class Mail
c9345775‐6b57‐48ed‐a14c‐fc89575d123c                   Address Redacted                      First Class Mail
c93544fe‐196d‐40ca‐884c‐54c9ba560c9b                   Address Redacted                      First Class Mail
c93b14e0‐1b34‐4d8d‐8eef‐2687159d5205                   Address Redacted                      First Class Mail
c93c0b91‐2429‐421c‐acbc‐56e9f8b81e28                   Address Redacted                      First Class Mail
c944e774‐5af3‐4753‐ac8b‐dd8247593682                   Address Redacted                      First Class Mail
c94884bb‐ce73‐4ec5‐80ab‐ab32159b8a27                   Address Redacted                      First Class Mail
c94c1c53‐4699‐4bff‐a6b2‐4d1bbe0ffdb6                   Address Redacted                      First Class Mail
c94cb8f2‐f9bd‐4deb‐95a3‐999c61f47c67                   Address Redacted                      First Class Mail
c94cc4cc‐22ac‐44e0‐b5eb‐501e0ee4d9ff                   Address Redacted                      First Class Mail
c94fbe69‐2168‐4802‐9708‐2b5ef86c69d2                   Address Redacted                      First Class Mail
c951b025‐e129‐4194‐ba12‐a59b32002042                   Address Redacted                      First Class Mail
c951cdd8‐10ef‐4172‐8038‐9c9b4c73e8c3                   Address Redacted                      First Class Mail
c9588d6b‐cc07‐4342‐9095‐583a3b937294                   Address Redacted                      First Class Mail
c95b6742‐eb16‐44aa‐987f‐ec3412faf663                   Address Redacted                      First Class Mail
c95cb79d‐3984‐45c2‐aa5b‐589f3d8b6493                   Address Redacted                      First Class Mail
c95dc734‐3fdb‐4f7b‐94b6‐ff0cedbf052f                   Address Redacted                      First Class Mail
c95e2d60‐7ee7‐4d21‐afb1‐6e6d44332e57                   Address Redacted                      First Class Mail




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                                                                Exhibit A
                                                                 Service List


                              Name                                              Address                         Method of Service
c95e63a1‐c913‐48af‐ab72‐1c6d0e260782                   Address Redacted                      First Class Mail
c96bae88‐0ad8‐40d6‐8840‐ef6e09a02cfd                   Address Redacted                      First Class Mail
c96faeb7‐6f81‐49be‐8665‐2bd1cf1e2a77                   Address Redacted                      First Class Mail
c97024d9‐5f38‐4d94‐a483‐68d1c0da02de                   Address Redacted                      First Class Mail
c972024b‐5ddc‐4127‐93a1‐bfea912bcdac                   Address Redacted                      First Class Mail
c9720b77‐04a5‐44e7‐b005‐d55aea8dfb85                   Address Redacted                      First Class Mail
c972aaed‐446b‐45a5‐a2c6‐5cec138bb0e5                   Address Redacted                      First Class Mail
c9815ba7‐7f57‐4ccd‐a7aa‐142dc708d9ea                   Address Redacted                      First Class Mail
c98339f3‐f1d8‐42d7‐9e28‐b8ebf139cb24                   Address Redacted                      First Class Mail
c98477b9‐f9f8‐48d4‐8b39‐19294444e312                   Address Redacted                      First Class Mail
c98ab943‐9916‐4f26‐9b04‐d926718a77ab                   Address Redacted                      First Class Mail
c98c6660‐1bcb‐441a‐bf36‐ac0f90f07819                   Address Redacted                      First Class Mail
c98c6ee0‐47d2‐4cd3‐96f9‐48f4de02713b                   Address Redacted                      First Class Mail
c98d1ffe‐ded6‐4aca‐b48e‐bfb6771657a1                   Address Redacted                      First Class Mail
c98fa59f‐be65‐4ac7‐a499‐2d027ec298c0                   Address Redacted                      First Class Mail
c99153a6‐1d72‐4f0c‐b818‐03c6a08b1a7e                   Address Redacted                      First Class Mail
c993876a‐8c48‐4f61‐8071‐a91db20ee7f9                   Address Redacted                      First Class Mail
c996d505‐9af6‐4720‐8ecb‐62133bd92502                   Address Redacted                      First Class Mail
c99b26a3‐3ba9‐4585‐9d6a‐b12a7ebe78d4                   Address Redacted                      First Class Mail
c99c93ca‐9ce7‐4f73‐9775‐4071a12c47ed                   Address Redacted                      First Class Mail
c9a31f03‐42dc‐4ee6‐ab8f‐988ba4c5ade0                   Address Redacted                      First Class Mail
c9a3bd4e‐2db5‐47c5‐bc70‐5c6e13bd1e6b                   Address Redacted                      First Class Mail
c9a79d19‐d581‐4625‐9f24‐73b9cef6a76c                   Address Redacted                      First Class Mail
c9a7a391‐8065‐4f72‐9a7b‐2dd259777fb2                   Address Redacted                      First Class Mail
c9a7e1ac‐82b4‐4b78‐aac9‐fd20fce9deb0                   Address Redacted                      First Class Mail
c9acf776‐75d4‐4965‐9e0d‐10c2e9144ac3                   Address Redacted                      First Class Mail
c9ae0ace‐098e‐4293‐9297‐d04fe10095f5                   Address Redacted                      First Class Mail
c9af5acf‐cd79‐495a‐bf04‐427e68c55c35                   Address Redacted                      First Class Mail
c9afb2a0‐dbea‐4178‐bf20‐504fcf4f3988                   Address Redacted                      First Class Mail
c9b166b2‐7c1a‐4ce8‐8ab2‐6431634d5979                   Address Redacted                      First Class Mail
c9b34955‐1b9a‐4889‐a16a‐09c746ca7fe2                   Address Redacted                      First Class Mail
c9b822a4‐5b47‐48cd‐a215‐529d96686161                   Address Redacted                      First Class Mail
c9b9da29‐e8ff‐41cc‐89a7‐4955050127f8                   Address Redacted                      First Class Mail
c9ba953b‐cf8e‐4b09‐bc7e‐c9504b2a89b2                   Address Redacted                      First Class Mail
c9bef131‐58dd‐4ef8‐a05c‐140993b1c755                   Address Redacted                      First Class Mail
c9c0aa9d‐c3eb‐4552‐a306‐47df851e25df                   Address Redacted                      First Class Mail
c9c2e104‐c8dd‐4471‐a1dd‐1a240dccb733                   Address Redacted                      First Class Mail
c9c3abb3‐9cde‐4538‐91ee‐8a6381680ffc                   Address Redacted                      First Class Mail
c9c5eb7a‐25e2‐41ff‐a261‐5f653ba85bdc                   Address Redacted                      First Class Mail
c9c69bb3‐723e‐4709‐b086‐2a48568965b2                   Address Redacted                      First Class Mail
c9c9135c‐e04c‐4f97‐a3c7‐f07c626f8abe                   Address Redacted                      First Class Mail
c9cb5b18‐9b4f‐4c45‐8447‐1b8cb2bb995b                   Address Redacted                      First Class Mail
c9cc83f6‐653a‐4d58‐8b7b‐9812e466c45d                   Address Redacted                      First Class Mail
c9cefca2‐e4a8‐4e0a‐b5b9‐f85699ef5121                   Address Redacted                      First Class Mail
c9cfac41‐03d8‐4140‐bf3f‐d123ecac5dc9                   Address Redacted                      First Class Mail
c9cff5a2‐cf29‐4686‐bb18‐8054b8c98044                   Address Redacted                      First Class Mail
c9d11a16‐0231‐4967‐9627‐62be65755234                   Address Redacted                      First Class Mail
c9d1f969‐f238‐45fe‐b1eb‐b6a4bf9fae75                   Address Redacted                      First Class Mail
c9d29658‐9482‐49ff‐8a23‐c589badc06c9                   Address Redacted                      First Class Mail
c9d299bc‐e059‐4edd‐9159‐6670fdd885e4                   Address Redacted                      First Class Mail
c9d55dea‐4022‐466b‐818b‐c7d46754a698                   Address Redacted                      First Class Mail
c9d5a7a7‐b464‐46f2‐a99d‐d32c271c3595                   Address Redacted                      First Class Mail
c9d6e15e‐2343‐44a4‐962e‐f965b7374350                   Address Redacted                      First Class Mail
c9d786e4‐c5d0‐4650‐9b25‐f2babc6cdc6d                   Address Redacted                      First Class Mail
c9d85bc2‐dfb3‐4e8d‐bd3d‐8f03198629c2                   Address Redacted                      First Class Mail
c9dc3b9d‐ec44‐4b1d‐91b1‐26b74f274b4f                   Address Redacted                      First Class Mail
c9dfb16b‐ee81‐4849‐a872‐6f4fe867f07b                   Address Redacted                      First Class Mail
c9dfe849‐45a0‐451e‐8a55‐b276796aee73                   Address Redacted                      First Class Mail
c9e01729‐2848‐426a‐a52d‐9065456363ff                   Address Redacted                      First Class Mail
c9e0d4f9‐d58c‐4d37‐8450‐b5bece9504bf                   Address Redacted                      First Class Mail
c9e23ea2‐6795‐4995‐a492‐d1103e141214                   Address Redacted                      First Class Mail
c9e58600‐e043‐4544‐bd8c‐ba804b437a3b                   Address Redacted                      First Class Mail
c9e8d640‐53e1‐44fa‐884c‐0a0fdc327a3c                   Address Redacted                      First Class Mail
c9e983d5‐72b5‐452c‐8c90‐239e9ec91089                   Address Redacted                      First Class Mail
c9ecb16f‐b390‐4ddc‐8c5d‐9c57b20f5833                   Address Redacted                      First Class Mail
c9f22bdb‐25b5‐4244‐a61a‐5ca977558d17                   Address Redacted                      First Class Mail
c9f57124‐5974‐4fc5‐9b85‐859e3ca005cf                   Address Redacted                      First Class Mail
c9f6e0b8‐a5c6‐4298‐88c7‐55bfe10c0c05                   Address Redacted                      First Class Mail
c9fa790e‐b935‐4823‐b070‐7f5d8fc52b53                   Address Redacted                      First Class Mail
c9fc45ad‐0ddd‐4241‐95ef‐c3439c2949f8                   Address Redacted                      First Class Mail
c9fc9d56‐063a‐43df‐880e‐e5dc5e9c453c                   Address Redacted                      First Class Mail
c9fcfa6a‐1549‐41ea‐a817‐62447eceebe2                   Address Redacted                      First Class Mail




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                                                                Exhibit A
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                              Name                                              Address                         Method of Service
c9fd2736‐c857‐40f2‐b4c8‐50ad843ff213                   Address Redacted                      First Class Mail
ca01c58d‐4b23‐4993‐be68‐b25bb17b65fa                   Address Redacted                      First Class Mail
ca03295b‐58b1‐4fdc‐86e2‐9fdb593f7c6f                   Address Redacted                      First Class Mail
ca0bc32f‐bf08‐4e91‐aa3e‐e805214d04f1                   Address Redacted                      First Class Mail
ca103df7‐1c02‐43dd‐9516‐54a8e23a22db                   Address Redacted                      First Class Mail
ca120802‐b947‐4d2a‐8e41‐7d0a40fd92a6                   Address Redacted                      First Class Mail
ca19d062‐54fb‐4cc1‐953f‐760e4f54c14f                   Address Redacted                      First Class Mail
ca1baa27‐5f0b‐4e79‐979d‐921901acf887                   Address Redacted                      First Class Mail
ca1e0981‐2092‐44b3‐b2b0‐8dd0a425bb95                   Address Redacted                      First Class Mail
ca219c3b‐6cf4‐40b7‐9b89‐bb272822cdc2                   Address Redacted                      First Class Mail
ca28d5be‐5f80‐435a‐a26d‐5027ad0e8ec7                   Address Redacted                      First Class Mail
ca28e5a2‐48b0‐43d3‐b186‐d7eb35532ecf                   Address Redacted                      First Class Mail
ca299eaa‐7c3e‐4bd8‐b77a‐164ced78097a                   Address Redacted                      First Class Mail
ca2f7e33‐beef‐4f1a‐b4e5‐4b4fc93b8cad                   Address Redacted                      First Class Mail
ca2fe044‐3069‐430b‐8d41‐526597117892                   Address Redacted                      First Class Mail
ca308e33‐d276‐4b12‐9c2f‐17b2bfccb6e1                   Address Redacted                      First Class Mail
ca324730‐39c6‐4a88‐9ab1‐754f696e21ef                   Address Redacted                      First Class Mail
ca32ec78‐aaa8‐47c4‐ba0d‐27ca7c3e2d5c                   Address Redacted                      First Class Mail
ca3330a9‐9444‐4582‐8cda‐10e752f40a9a                   Address Redacted                      First Class Mail
ca33a77a‐609d‐4c28‐902e‐c24e450d5db0                   Address Redacted                      First Class Mail
ca352fb3‐5142‐4f0f‐8e74‐7ee36d09c86e                   Address Redacted                      First Class Mail
ca36c7b7‐54a0‐48b6‐a326‐72a4fb0b4374                   Address Redacted                      First Class Mail
ca38dabe‐599c‐4c8a‐94ea‐96df6de853c8                   Address Redacted                      First Class Mail
ca391497‐0f7a‐4523‐bd1a‐cc0db6880272                   Address Redacted                      First Class Mail
ca39ec07‐fc76‐4030‐923f‐0dfcfb15c67e                   Address Redacted                      First Class Mail
ca3cd683‐02af‐4768‐a599‐7c4be88cf9f4                   Address Redacted                      First Class Mail
ca3eba98‐5c7d‐4d7d‐9752‐50a55ffd74a6                   Address Redacted                      First Class Mail
ca3f170d‐de6d‐4ea8‐a6b9‐4cf2c2215285                   Address Redacted                      First Class Mail
ca3f49f0‐7b43‐433f‐828c‐d3c9422d6db9                   Address Redacted                      First Class Mail
ca404d92‐743d‐4327‐90e1‐1ed6e0889143                   Address Redacted                      First Class Mail
ca414d5e‐ed20‐4035‐8a7d‐cbad7b41d6c9                   Address Redacted                      First Class Mail
ca43010a‐e7b5‐4e99‐9f09‐9e28b5fc4014                   Address Redacted                      First Class Mail
ca47ec99‐acbb‐4ae6‐9674‐f23831e6018f                   Address Redacted                      First Class Mail
ca49f338‐2fb6‐43d4‐9420‐a38dd1f056f5                   Address Redacted                      First Class Mail
ca4e2f56‐0ef7‐471f‐8f77‐fb35037496aa                   Address Redacted                      First Class Mail
ca4f33c2‐f231‐4b32‐ab8a‐ff9f1b92ec80                   Address Redacted                      First Class Mail
ca584858‐67bb‐40c8‐ba04‐0fe23db589cb                   Address Redacted                      First Class Mail
ca5c3367‐d970‐4868‐be43‐02fe1c6e46dd                   Address Redacted                      First Class Mail
ca5f33af‐deac‐4b6a‐be13‐1bbf78a60f75                   Address Redacted                      First Class Mail
ca664a1c‐c86f‐4821‐80fb‐db2c28ea7017                   Address Redacted                      First Class Mail
ca679d24‐3ae6‐4147‐80c0‐09c2273555cc                   Address Redacted                      First Class Mail
ca69dd55‐1190‐4725‐ba6a‐245d9e3a7034                   Address Redacted                      First Class Mail
ca6be76a‐5abc‐447b‐9929‐fa22dc2ca036                   Address Redacted                      First Class Mail
ca6e9fe6‐67ba‐4766‐86b3‐e4de0c07519a                   Address Redacted                      First Class Mail
ca7039ed‐6872‐4811‐9427‐8eed268ad54f                   Address Redacted                      First Class Mail
ca718a39‐0738‐4512‐982a‐da6609b11a8f                   Address Redacted                      First Class Mail
ca738063‐139e‐457f‐a700‐21d197aa0bca                   Address Redacted                      First Class Mail
ca76f2f1‐10dc‐4702‐8180‐270ac1415e89                   Address Redacted                      First Class Mail
ca7a3a99‐eba4‐4989‐8fc5‐0a45f476cf12                   Address Redacted                      First Class Mail
ca7cded3‐4c4b‐4957‐bb87‐fe25f91c8f01                   Address Redacted                      First Class Mail
ca7de851‐dc06‐471e‐aabd‐5a4329795786                   Address Redacted                      First Class Mail
ca7f49e4‐5af7‐4d21‐ae83‐28075ec809bd                   Address Redacted                      First Class Mail
ca7f8e13‐d2b0‐42b4‐a2dd‐0251dd476b5d                   Address Redacted                      First Class Mail
ca7fb356‐232b‐4cb9‐acd9‐11479fc22f2c                   Address Redacted                      First Class Mail
ca85f502‐2a4f‐4ef8‐8d3a‐b067f168ce5f                   Address Redacted                      First Class Mail
ca8d3260‐9f58‐4b0b‐81f6‐a1c9ec3f8c2f                   Address Redacted                      First Class Mail
ca8d89a9‐bef6‐45bc‐b1f8‐aef92e202a5d                   Address Redacted                      First Class Mail
ca93cb63‐b10a‐425c‐9e49‐ffe8c72b7c09                   Address Redacted                      First Class Mail
ca9595cc‐c1dd‐44ae‐b6f1‐e016dda8d569                   Address Redacted                      First Class Mail
ca988bd3‐9f3d‐4660‐839b‐91dcf2a780e8                   Address Redacted                      First Class Mail
ca9c2b76‐a0ab‐4774‐9fb0‐06efb388a8ad                   Address Redacted                      First Class Mail
caa14cb9‐2d92‐4f77‐83ee‐9b15af0823e9                   Address Redacted                      First Class Mail
caa1f9e2‐9d2a‐4f09‐b016‐bb07b26e8767                   Address Redacted                      First Class Mail
caa5fcec‐3006‐4bfa‐83c0‐d6f2522efa11                   Address Redacted                      First Class Mail
caaaa274‐444f‐4bc9‐9683‐706c8168fcb0                   Address Redacted                      First Class Mail
caacbd82‐5ad7‐4ff6‐af5a‐2160f7806765                   Address Redacted                      First Class Mail
caad7f94‐7fb3‐4003‐9ec6‐3ac46188693f                   Address Redacted                      First Class Mail
cab01778‐00a0‐4be3‐9b8a‐6ae6824be2c8                   Address Redacted                      First Class Mail
cab1cca1‐77f3‐4652‐a93e‐432fc2c9314d                   Address Redacted                      First Class Mail
cab95c53‐984f‐46c2‐944d‐c2b177c5ce8e                   Address Redacted                      First Class Mail
cab9804a‐a762‐4c89‐a77f‐5851d8bf5089                   Address Redacted                      First Class Mail
cac6587b‐c690‐4efb‐9c08‐630d3cb07995                   Address Redacted                      First Class Mail




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                                                                Exhibit A
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                               Name                                             Address                         Method of Service
cad54dc9‐046e‐445c‐8672‐2ad049fe15d8                   Address Redacted                      First Class Mail
cad89ec7‐82a3‐4e85‐b0c3‐3770566361dc                   Address Redacted                      First Class Mail
cad9c3ca‐5e38‐49fc‐8c45‐6bb41c131a8e                   Address Redacted                      First Class Mail
cae5842e‐1af1‐4bf5‐89b6‐459d14ff8dd3                   Address Redacted                      First Class Mail
cae617d8‐3930‐4ac7‐95d0‐5e62f64673e8                   Address Redacted                      First Class Mail
cae621d8‐ffa1‐4899‐8fd0‐e6646b2bd813                   Address Redacted                      First Class Mail
cae819d3‐79cf‐4a22‐ac00‐9715bb527ea1                   Address Redacted                      First Class Mail
cae8b743‐507e‐4c92‐904a‐421922c8fd22                   Address Redacted                      First Class Mail
cae8c4b4‐8375‐4698‐902f‐33548f37d5d3                   Address Redacted                      First Class Mail
caeb3925‐8d7d‐4a4d‐a0c5‐41dc52e8a7bd                   Address Redacted                      First Class Mail
caf1bbfa‐c745‐4d28‐9c45‐6f4ec02aad48                   Address Redacted                      First Class Mail
caf5f07a‐d8c0‐496f‐88d8‐e6afcf99ba2d                   Address Redacted                      First Class Mail
cafb8ec1‐eae4‐4ad9‐9368‐0ce8392f02a6                   Address Redacted                      First Class Mail
cafe94ac‐53c6‐4d19‐a1cc‐3834642d3f7e                   Address Redacted                      First Class Mail
cb00a072‐39eb‐4526‐8ab7‐734ad5908ff3                   Address Redacted                      First Class Mail
cb02d1b9‐60d1‐4aa1‐928e‐aec761b85ec1                   Address Redacted                      First Class Mail
cb03401e‐8e93‐4443‐895e‐dc331d21b3c2                   Address Redacted                      First Class Mail
cb0578c8‐5e63‐44e7‐abae‐a8be75ea9873                   Address Redacted                      First Class Mail
cb10fa6a‐7764‐4b02‐8b5c‐8a1df84a1017                   Address Redacted                      First Class Mail
cb119a99‐073e‐4362‐9b35‐3db550e50272                   Address Redacted                      First Class Mail
cb135a5d‐f503‐4769‐8dab‐572eb2aa509c                   Address Redacted                      First Class Mail
cb148f8f‐e312‐400c‐92db‐60c783e70312                   Address Redacted                      First Class Mail
cb17db4b‐d5db‐4ca0‐a908‐e20e2361921f                   Address Redacted                      First Class Mail
cb18ce5d‐37cb‐4865‐95d0‐70f92eec4f25                   Address Redacted                      First Class Mail
cb1d22b6‐c432‐4412‐b63b‐10c20c19a652                   Address Redacted                      First Class Mail
cb213349‐dd91‐4bb9‐a7e0‐7457c8aa6c2a                   Address Redacted                      First Class Mail
cb245f7d‐eab6‐4c18‐8f60‐72f2b013784c                   Address Redacted                      First Class Mail
cb2adb5e‐0f14‐45dc‐bd39‐75825d8832ee                   Address Redacted                      First Class Mail
cb2c301b‐3aeb‐46a5‐9390‐416c82c96962                   Address Redacted                      First Class Mail
cb2ecda9‐78b0‐4da3‐83c3‐a9e302caead2                   Address Redacted                      First Class Mail
cb303727‐9207‐4040‐a528‐86a757fff01e                   Address Redacted                      First Class Mail
cb31a469‐6eb8‐499f‐912e‐1d887fbb6381                   Address Redacted                      First Class Mail
cb338120‐cae5‐4c61‐91ee‐fdd65c0d7df6                   Address Redacted                      First Class Mail
cb372c64‐a032‐40a8‐8a7b‐12f764c17e32                   Address Redacted                      First Class Mail
cb3bf833‐4a53‐49b7‐9c58‐a6411e7cce2b                   Address Redacted                      First Class Mail
cb3d2472‐d0c8‐4680‐ae37‐0fd3b6b2a4aa                   Address Redacted                      First Class Mail
cb3d64fe‐d0d2‐4e36‐bdaa‐581921a71618                   Address Redacted                      First Class Mail
cb3dfed0‐0441‐4d67‐a33f‐07c73cc7e013                   Address Redacted                      First Class Mail
cb434642‐662c‐4e10‐b872‐88230994c56f                   Address Redacted                      First Class Mail
cb45fde6‐24e0‐4d43‐aeb7‐ea7fb42c53b7                   Address Redacted                      First Class Mail
cb46b5bd‐800e‐434d‐bee4‐923d0efc39c6                   Address Redacted                      First Class Mail
cb473106‐b7b6‐4cc8‐9951‐6fdfc7409464                   Address Redacted                      First Class Mail
cb49ddba‐0043‐4ff4‐ab2c‐ac2bc148de1e                   Address Redacted                      First Class Mail
cb4a2789‐8cd5‐45f4‐8146‐f44b3350a883                   Address Redacted                      First Class Mail
cb4d7231‐6650‐46ba‐a622‐4931276ed360                   Address Redacted                      First Class Mail
cb4d9a17‐8d1f‐4230‐a0bf‐0c7e82b53943                   Address Redacted                      First Class Mail
cb56b38e‐0096‐476a‐b838‐1dda286d3250                   Address Redacted                      First Class Mail
cb59a3ed‐8960‐4342‐9616‐dfe090d433ca                   Address Redacted                      First Class Mail
cb602a5a‐8777‐4ade‐9ad9‐fd7396658afd                   Address Redacted                      First Class Mail
cb60a107‐843f‐4436‐b70e‐237e8fabea8c                   Address Redacted                      First Class Mail
cb60e184‐901a‐4fd2‐8378‐ae5a4d45956e                   Address Redacted                      First Class Mail
cb65c087‐5fd7‐428b‐a025‐41abd5889bf1                   Address Redacted                      First Class Mail
cb664584‐4dbc‐41f8‐8fbd‐a8b038ec4f1e                   Address Redacted                      First Class Mail
cb68c3ef‐73af‐485e‐a18e‐2199ea273658                   Address Redacted                      First Class Mail
cb697b0a‐bdfd‐4629‐8e40‐608d3e9b0c48                   Address Redacted                      First Class Mail
cb6b392a‐04ca‐4fe1‐80fd‐f1c676a425fd                   Address Redacted                      First Class Mail
cb6e82a7‐489e‐4512‐a4cd‐5a54e12ae65e                   Address Redacted                      First Class Mail
cb6ee7e6‐05ea‐4979‐a516‐34a73dbbd735                   Address Redacted                      First Class Mail
cb70461e‐7268‐4dc4‐b12a‐3433dbcd9e2e                   Address Redacted                      First Class Mail
cb73a917‐f194‐466f‐a2ba‐236af46e4ec6                   Address Redacted                      First Class Mail
cb741dc1‐a922‐4ff2‐a066‐f2a0366a23ac                   Address Redacted                      First Class Mail
cb746bd9‐f544‐4a33‐a35b‐3378c7f2781e                   Address Redacted                      First Class Mail
cb75f132‐0dab‐444a‐b962‐537d70053a62                   Address Redacted                      First Class Mail
cb763b41‐b6cc‐492f‐8696‐db587fa799f8                   Address Redacted                      First Class Mail
cb81317d‐00d4‐4416‐afd3‐7a3847ff63ae                   Address Redacted                      First Class Mail
cb8518a1‐d988‐45a2‐86db‐ad35ac637d72                   Address Redacted                      First Class Mail
cb853838‐c4e5‐42d3‐9d9e‐b327c61d93a1                   Address Redacted                      First Class Mail
cb863799‐5d73‐4dd8‐8665‐8234fb83ef45                   Address Redacted                      First Class Mail
cb8b2ee8‐7a9b‐4819‐876a‐5727d0104141                   Address Redacted                      First Class Mail
cb8b3c60‐9dd2‐4b5a‐b53a‐9a3c813017ae                   Address Redacted                      First Class Mail
cb8bb981‐2655‐44ce‐9ad4‐9eb51ec16b67                   Address Redacted                      First Class Mail
cb8c0b6b‐bbd2‐46da‐ac66‐4a35c2fbb863                   Address Redacted                      First Class Mail




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                                                                Exhibit A
                                                                 Service List


                              Name                                              Address                         Method of Service
cb8c4a46‐6cad‐4fc8‐893b‐b475292a28d0                   Address Redacted                      First Class Mail
cb917a32‐7872‐4905‐8dce‐0dbe4a877f47                   Address Redacted                      First Class Mail
cb926981‐a416‐404d‐8083‐c2d99908084d                   Address Redacted                      First Class Mail
cb929bd7‐d441‐4e42‐a327‐168ba058ef57                   Address Redacted                      First Class Mail
cb98a5bb‐4275‐4e27‐ba71‐5d9169808488                   Address Redacted                      First Class Mail
cb9a8d05‐8729‐41c7‐9e23‐89a8be71ee44                   Address Redacted                      First Class Mail
cb9fa4a2‐9b9c‐427d‐b4ed‐a4add84e5358                   Address Redacted                      First Class Mail
cb9ff5e1‐f096‐4034‐9ee0‐c7128afff79f                   Address Redacted                      First Class Mail
cba16375‐4a55‐47e4‐a60d‐4a78c3408157                   Address Redacted                      First Class Mail
cba2e195‐18ad‐4e3d‐9155‐326e7ee3d0d1                   Address Redacted                      First Class Mail
cba77d3e‐d2fa‐4c5c‐91f0‐396f637dc30a                   Address Redacted                      First Class Mail
cbae6695‐c250‐4c5f‐ab0e‐16152024fd42                   Address Redacted                      First Class Mail
cbafc7e8‐085b‐49b4‐b8d2‐768577e415c9                   Address Redacted                      First Class Mail
cbb07268‐f3b1‐4dbc‐8124‐12680a08c66e                   Address Redacted                      First Class Mail
cbb1bb6d‐ade6‐4e57‐b900‐2fef69e63683                   Address Redacted                      First Class Mail
cbb1e72e‐b0f7‐4ca8‐89af‐4d236f9392a7                   Address Redacted                      First Class Mail
cbb63fca‐9dd0‐425c‐ae2e‐f146e8677ded                   Address Redacted                      First Class Mail
cbb86441‐6c96‐4164‐aeba‐76b8669c8680                   Address Redacted                      First Class Mail
cbb9b652‐04d7‐4c0b‐a4bf‐c33e8dc75d05                   Address Redacted                      First Class Mail
cbbb1145‐a2e1‐40cd‐95b9‐2db7a07d5835                   Address Redacted                      First Class Mail
cbbb9ad4‐7261‐4474‐8def‐0de58d210e41                   Address Redacted                      First Class Mail
cbbda6f6‐bdd9‐4cfe‐99d0‐27534ce7f524                   Address Redacted                      First Class Mail
cbc0f0a3‐10bd‐48e3‐83cb‐5a46bc1f9110                   Address Redacted                      First Class Mail
cbc54c4d‐2160‐4ac7‐9640‐8d1366a73567                   Address Redacted                      First Class Mail
cbc73805‐ca5b‐4157‐8a28‐9851a237cb06                   Address Redacted                      First Class Mail
cbc7e758‐8807‐44c6‐860a‐f1a23e7c3ec4                   Address Redacted                      First Class Mail
cbcb136f‐c391‐4634‐83e7‐d9ecb38b9a3b                   Address Redacted                      First Class Mail
cbcceb1a‐a1e3‐4af2‐9027‐645d3dd47bd8                   Address Redacted                      First Class Mail
cbd0780a‐d0be‐4834‐9a76‐64d931d6439d                   Address Redacted                      First Class Mail
cbd8376d‐1a35‐4f33‐ac82‐a9ab1aca8a5d                   Address Redacted                      First Class Mail
cbe03424‐65be‐4ebb‐8226‐e82e40eacae7                   Address Redacted                      First Class Mail
cbe61e21‐e4ff‐4b8d‐a2e7‐fcc851f4e3b6                   Address Redacted                      First Class Mail
cbee18e5‐3824‐4817‐b057‐7ec063e37961                   Address Redacted                      First Class Mail
cbf08ab3‐376f‐4ee6‐8832‐13dbebed290e                   Address Redacted                      First Class Mail
cbf151ae‐7b04‐416e‐932a‐d98a0c97cbdd                   Address Redacted                      First Class Mail
cbf5aa58‐1359‐476d‐ae6a‐36e02099e1c8                   Address Redacted                      First Class Mail
cbf5df16‐a4f2‐49b8‐b05b‐9217fd4eac52                   Address Redacted                      First Class Mail
cbf7bc99‐373f‐4f0c‐90b1‐31ee3cceaffb                   Address Redacted                      First Class Mail
cbf8220a‐5b1f‐4768‐b5ba‐7de125c74e5e                   Address Redacted                      First Class Mail
cbf9e268‐b177‐479d‐8206‐117c1a1ad5fa                   Address Redacted                      First Class Mail
cbfbdc53‐0e75‐4002‐9682‐ea866d544082                   Address Redacted                      First Class Mail
cc00b256‐ec1e‐4982‐a55b‐c7d7e6293b90                   Address Redacted                      First Class Mail
cc018479‐4081‐4320‐9db7‐1794310874c7                   Address Redacted                      First Class Mail
cc034c61‐89fe‐4f8c‐8831‐50396f1a7624                   Address Redacted                      First Class Mail
cc06759f‐eb19‐49e1‐a44b‐5cad6f82741c                   Address Redacted                      First Class Mail
cc08b07f‐0b2c‐43e0‐b9c6‐5a1c2eacb8dc                   Address Redacted                      First Class Mail
cc0a7716‐5060‐4373‐a2b2‐581a52e4083b                   Address Redacted                      First Class Mail
cc0ec630‐416e‐4710‐9737‐32c35ad82b04                   Address Redacted                      First Class Mail
cc0eed54‐d08b‐41df‐bf90‐6b2914b39ec4                   Address Redacted                      First Class Mail
cc112182‐7e43‐4f1b‐bccf‐3accf660ba2a                   Address Redacted                      First Class Mail
cc1191dd‐869c‐4cc6‐ab86‐f596008def0c                   Address Redacted                      First Class Mail
cc1275aa‐9059‐4ed3‐9558‐988a1c8c863b                   Address Redacted                      First Class Mail
cc14c216‐ed43‐4731‐a6c6‐ee82a050ab1e                   Address Redacted                      First Class Mail
cc1649bd‐dc95‐4fb0‐9bb5‐b95dd243a931                   Address Redacted                      First Class Mail
cc175425‐bb07‐4dfd‐899d‐d5ac12e11fed                   Address Redacted                      First Class Mail
cc1b839b‐b8d1‐445f‐8f4c‐b2c4121e17c7                   Address Redacted                      First Class Mail
cc21051b‐4190‐4daf‐a7fb‐708c4230a3b6                   Address Redacted                      First Class Mail
cc22648d‐f212‐4a43‐9297‐e90b3e7b2b5c                   Address Redacted                      First Class Mail
cc2704f7‐aac5‐4dd1‐bcee‐7e94fbaede72                   Address Redacted                      First Class Mail
cc2bb15d‐d434‐47d3‐951a‐ef7ec95474f0                   Address Redacted                      First Class Mail
cc2e3a76‐69d6‐4e69‐8e49‐3023a679388d                   Address Redacted                      First Class Mail
cc331924‐45ba‐4388‐ae57‐1a0437b4e9a9                   Address Redacted                      First Class Mail
cc357983‐63ee‐4256‐b2ed‐d3501f3e7eb0                   Address Redacted                      First Class Mail
cc3ae757‐7e1a‐4b4f‐b53c‐9dce36aabff1                   Address Redacted                      First Class Mail
cc40f255‐2318‐4cc6‐a2b3‐9d0efff6d93c                   Address Redacted                      First Class Mail
cc434502‐30fc‐4535‐943b‐1eec363ce233                   Address Redacted                      First Class Mail
cc45e42d‐134b‐4958‐83da‐8a8c2fee79c5                   Address Redacted                      First Class Mail
cc470b1d‐a799‐426e‐8486‐04fc17c5e331                   Address Redacted                      First Class Mail
cc485b07‐ff99‐4d90‐9483‐1427f56d75ce                   Address Redacted                      First Class Mail
cc494195‐dec7‐4385‐a570‐951593d55fb9                   Address Redacted                      First Class Mail
cc495d9f‐f084‐4f0e‐a760‐3464ab3bb9ee                   Address Redacted                      First Class Mail
cc4da538‐bdaa‐497b‐9fb1‐2244269cf2f9                   Address Redacted                      First Class Mail




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                               Name                                             Address                         Method of Service
cc51a57f‐2216‐4b09‐925a‐62f1bb863935                   Address Redacted                      First Class Mail
cc526c09‐4e20‐4e2b‐a223‐2e45f6deb18a                   Address Redacted                      First Class Mail
cc540ba9‐5c92‐410e‐8fc3‐068555da14bd                   Address Redacted                      First Class Mail
cc54f409‐96f0‐45b6‐927a‐9c40d9e4c5df                   Address Redacted                      First Class Mail
cc583da3‐de78‐4c59‐bc56‐cf1b23bcbab5                   Address Redacted                      First Class Mail
cc5b9932‐736a‐432a‐8d1b‐e6f46ab190ef                   Address Redacted                      First Class Mail
cc6055a8‐de4b‐445c‐b999‐7f5a3199efb9                   Address Redacted                      First Class Mail
cc6c6de1‐8ed1‐4da0‐b5f3‐9c9cf789c5b8                   Address Redacted                      First Class Mail
cc6c7f1d‐a97d‐41ae‐9adf‐a7ecc1734255                   Address Redacted                      First Class Mail
cc6faf8f‐e023‐4ea5‐a508‐a7f0abf78659                   Address Redacted                      First Class Mail
cc728fac‐4373‐4460‐a911‐abff46f345ec                   Address Redacted                      First Class Mail
cc729d85‐663e‐48d9‐8aeb‐cb1c45934009                   Address Redacted                      First Class Mail
cc72d9f4‐3fd5‐4e19‐b5c5‐2df621e5c1c7                   Address Redacted                      First Class Mail
cc76da7f‐599f‐4dd0‐bd3f‐e7eab86f0cbf                   Address Redacted                      First Class Mail
cc7e587c‐d5de‐4176‐b72a‐9f7fa544b387                   Address Redacted                      First Class Mail
cc7ecedf‐fb07‐4568‐a3a8‐75838eb70f71                   Address Redacted                      First Class Mail
cc84eebf‐bed6‐4a0e‐851e‐5cc847f05b13                   Address Redacted                      First Class Mail
cc8961ba‐c6b6‐4f9b‐9260‐ffc3bad95e41                   Address Redacted                      First Class Mail
cc8a3786‐f0b0‐4df2‐a991‐c85e0464fb84                   Address Redacted                      First Class Mail
cc8c8c31‐9686‐4d58‐b45f‐8f9fabd3c440                   Address Redacted                      First Class Mail
cc8d2220‐a932‐4762‐827a‐5432986f097d                   Address Redacted                      First Class Mail
cc8ef08c‐65cc‐4883‐9665‐9cef82afcbde                   Address Redacted                      First Class Mail
cc8fc492‐14bd‐411f‐b266‐b5bd27d3a2b1                   Address Redacted                      First Class Mail
cc8fd15d‐7693‐4aed‐bc82‐d1a58b91f049                   Address Redacted                      First Class Mail
cc908105‐75a1‐439a‐8ce4‐dce8a9e78661                   Address Redacted                      First Class Mail
cc9247b4‐83e3‐409a‐8106‐f63467376191                   Address Redacted                      First Class Mail
cc92a9c2‐5619‐4b2f‐b013‐b008bd34888b                   Address Redacted                      First Class Mail
cc98f9b2‐3b3d‐4a39‐9761‐bd095dea4dfa                   Address Redacted                      First Class Mail
cc99693d‐0307‐4808‐87bd‐1feb160073fd                   Address Redacted                      First Class Mail
cc9aa4ae‐2362‐4a07‐9477‐17e597c340bf                   Address Redacted                      First Class Mail
cca5e649‐76d1‐4578‐b34c‐8790fe97b9ae                   Address Redacted                      First Class Mail
cca637fc‐c725‐41a8‐a76a‐62153c3c9d0a                   Address Redacted                      First Class Mail
cca92d50‐f857‐473f‐9ebc‐8bd95309fdbb                   Address Redacted                      First Class Mail
ccabd844‐c83d‐4871‐86af‐f04d48d5dcc9                   Address Redacted                      First Class Mail
ccae83c7‐e38c‐4a46‐b21d‐6ea3463cc546                   Address Redacted                      First Class Mail
ccb041ae‐230e‐43a4‐8215‐30cb8d2cc16e                   Address Redacted                      First Class Mail
ccb27012‐ab2c‐4b31‐9982‐7e94b1bd3350                   Address Redacted                      First Class Mail
ccb2ebe7‐ef8d‐4a72‐ae25‐4a69913dea5f                   Address Redacted                      First Class Mail
ccb7b213‐8435‐40b7‐943e‐c16786f5a253                   Address Redacted                      First Class Mail
ccbadf6d‐0b1a‐46ee‐aeda‐1185a2e43d7c                   Address Redacted                      First Class Mail
ccbf7026‐564c‐46fc‐98cc‐46dc9e765e1c                   Address Redacted                      First Class Mail
ccc20f0d‐2012‐41bf‐a1b9‐399b91d055c2                   Address Redacted                      First Class Mail
ccc296e2‐1994‐4eee‐9040‐bff4ab5b9d76                   Address Redacted                      First Class Mail
ccc5852e‐e22f‐4ad3‐aa0c‐049cbcf61248                   Address Redacted                      First Class Mail
ccc655a0‐1edf‐461e‐a46d‐8e1d2a0c30a8                   Address Redacted                      First Class Mail
ccce31e7‐a5f5‐4741‐b75b‐44db4034eaa1                   Address Redacted                      First Class Mail
ccd32062‐aa77‐4dd0‐a500‐488a5e4c84ac                   Address Redacted                      First Class Mail
ccd33d43‐da82‐4e64‐9707‐a22524d2411d                   Address Redacted                      First Class Mail
ccd74ffa‐6daa‐4f0e‐a5fc‐db4ad31eed5d                   Address Redacted                      First Class Mail
ccdcfefc‐3123‐42ac‐ac70‐64be216c7308                   Address Redacted                      First Class Mail
cce0327f‐edc2‐4e3f‐ab89‐a29af0063aeb                   Address Redacted                      First Class Mail
cce0972f‐887e‐45e5‐b59b‐724ec4157efb                   Address Redacted                      First Class Mail
cce12451‐6d71‐48db‐836a‐dd45dda41afe                   Address Redacted                      First Class Mail
cce13a95‐9d69‐427f‐b276‐61ad9d808c81                   Address Redacted                      First Class Mail
cce5c614‐40b6‐4c41‐a917‐242ec3e5d05c                   Address Redacted                      First Class Mail
cce5df79‐ea6f‐49aa‐b858‐3b438e5ce7c9                   Address Redacted                      First Class Mail
cce8171b‐1cce‐4920‐a9bd‐59f06e179413                   Address Redacted                      First Class Mail
cce9779d‐eb85‐4695‐bd7a‐426ea7e42992                   Address Redacted                      First Class Mail
ccebacf8‐538a‐4fb5‐aa08‐9c4e588da3d8                   Address Redacted                      First Class Mail
ccf5995b‐f478‐4d0c‐8502‐56ba7b211000                   Address Redacted                      First Class Mail
ccf676e3‐e277‐4da9‐92e8‐c811c3765fa0                   Address Redacted                      First Class Mail
ccf795f4‐9e52‐4e45‐a4ba‐5db7bdb8d38e                   Address Redacted                      First Class Mail
ccfa946e‐56ea‐4c91‐9638‐fa6bba229f27                   Address Redacted                      First Class Mail
ccfdc1c0‐804c‐4d05‐a2c2‐e4a343ee2196                   Address Redacted                      First Class Mail
ccfe0832‐2f33‐4dfe‐a51b‐b892065eb3ee                   Address Redacted                      First Class Mail
ccfeab71‐6829‐46c7‐ac58‐58ce00ee5c4b                   Address Redacted                      First Class Mail
cd0078ec‐11be‐47ae‐a06d‐f367dd32d2f6                   Address Redacted                      First Class Mail
cd07e4e9‐79e4‐45db‐926e‐cc481ef0308e                   Address Redacted                      First Class Mail
cd089b4d‐907c‐4718‐a872‐c94b8fd25bc9                   Address Redacted                      First Class Mail
cd09fa4a‐e566‐42d1‐9e85‐3392c7070502                   Address Redacted                      First Class Mail
cd0a4f82‐add7‐485b‐a7ab‐699be1882722                   Address Redacted                      First Class Mail
cd0d8449‐e3ba‐447f‐8a70‐cdacd52549bb                   Address Redacted                      First Class Mail




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                              Name                                              Address                         Method of Service
cd0ee305‐a264‐4ed1‐89d7‐f30efb23016c                   Address Redacted                      First Class Mail
cd0fa2f8‐d846‐45b0‐8288‐c3df3ea64d7e                   Address Redacted                      First Class Mail
cd13f452‐73b7‐4122‐ac6d‐efe084be661a                   Address Redacted                      First Class Mail
cd169730‐dd63‐4b7e‐b17b‐56af8a774b63                   Address Redacted                      First Class Mail
cd182559‐4607‐44fa‐a98e‐f369fd78db61                   Address Redacted                      First Class Mail
cd191a42‐41b0‐44e7‐a3c2‐daebbea1f9bd                   Address Redacted                      First Class Mail
cd198d75‐8fc2‐4669‐9d2b‐19466cc12828                   Address Redacted                      First Class Mail
cd1b073d‐303c‐4e9e‐9331‐c4a7a274ae3f                   Address Redacted                      First Class Mail
cd1ce835‐6e72‐46d4‐9999‐08660e308e5f                   Address Redacted                      First Class Mail
cd1f2dc3‐b835‐42dc‐97a2‐96280220f788                   Address Redacted                      First Class Mail
cd2091c2‐7919‐4d0f‐821d‐174da116e853                   Address Redacted                      First Class Mail
cd246e0f‐a135‐4a20‐94a2‐d7864ad8b745                   Address Redacted                      First Class Mail
cd287615‐cbf3‐4ebf‐9956‐a25abcd92fce                   Address Redacted                      First Class Mail
cd299b4c‐196a‐4687‐99bf‐88efa6ebfb6d                   Address Redacted                      First Class Mail
cd2ac656‐ae77‐4b5c‐b614‐1bf9c91d9277                   Address Redacted                      First Class Mail
cd2b25f4‐4dff‐4127‐ac95‐f31008c166a2                   Address Redacted                      First Class Mail
cd2b66fa‐b338‐4b96‐ad70‐9f89a80be9b8                   Address Redacted                      First Class Mail
cd2bd2f9‐1261‐4d2b‐8baf‐7e1d1830c181                   Address Redacted                      First Class Mail
cd2beb2c‐849b‐4eb8‐a25d‐2dc6df7cb42b                   Address Redacted                      First Class Mail
cd2c36f2‐27a2‐4782‐b2dd‐7f368d8e8338                   Address Redacted                      First Class Mail
cd302240‐9dbe‐4459‐aad8‐548d63aad0fe                   Address Redacted                      First Class Mail
cd353677‐8b23‐4798‐acbc‐da722d77f228                   Address Redacted                      First Class Mail
cd3654c8‐cc09‐46c9‐a00a‐ab34d2510c2d                   Address Redacted                      First Class Mail
cd3b65cf‐8d24‐4c32‐be3d‐07a11cad0126                   Address Redacted                      First Class Mail
cd435719‐b852‐45a8‐84da‐ae7b2da1fd83                   Address Redacted                      First Class Mail
cd4688a9‐4f19‐435d‐a415‐34cd84e1fec3                   Address Redacted                      First Class Mail
cd47db60‐c6dc‐4b70‐9db3‐0e1b2a8c90c1                   Address Redacted                      First Class Mail
cd48d716‐b2e2‐4aff‐b771‐4993d984acbf                   Address Redacted                      First Class Mail
cd4b0f35‐ec85‐4216‐865e‐ae576cfa9b76                   Address Redacted                      First Class Mail
cd4e4355‐c624‐4ec6‐9467‐12eea5b6c744                   Address Redacted                      First Class Mail
cd4e72bb‐b55f‐4248‐9241‐412ded9bb03b                   Address Redacted                      First Class Mail
cd501026‐6db6‐43cd‐b092‐2782d93bdd42                   Address Redacted                      First Class Mail
cd5264ac‐832b‐4e0e‐bfcc‐89ec91b42ca2                   Address Redacted                      First Class Mail
cd56fae4‐1c68‐43d4‐9f03‐7da00c32051f                   Address Redacted                      First Class Mail
cd5ba80b‐261a‐4946‐b5a9‐507661c344e4                   Address Redacted                      First Class Mail
cd602cdd‐0dd7‐4f3d‐8d6e‐1ff5e063ce13                   Address Redacted                      First Class Mail
cd625474‐0dc5‐492f‐8660‐b349fb322184                   Address Redacted                      First Class Mail
cd66ddb0‐1982‐4a99‐87b0‐69363619c1e2                   Address Redacted                      First Class Mail
cd69607d‐7803‐4940‐b6f3‐677381130988                   Address Redacted                      First Class Mail
cd69edf2‐b952‐424a‐a87a‐9a03037dcdc7                   Address Redacted                      First Class Mail
cd6b4d58‐0b7f‐4727‐b8e4‐b67c27209a94                   Address Redacted                      First Class Mail
cd6c0e11‐a4d1‐4cd7‐9e21‐b2585d1622ec                   Address Redacted                      First Class Mail
cd6c5ff4‐8dbe‐465f‐9081‐e23d5012f634                   Address Redacted                      First Class Mail
cd6da306‐e13f‐4b32‐8184‐faca1b86a5ea                   Address Redacted                      First Class Mail
cd6e80cc‐fd45‐4f89‐a0be‐b609e186e206                   Address Redacted                      First Class Mail
cd70584f‐4335‐4d3e‐8425‐892dfb5d96a2                   Address Redacted                      First Class Mail
cd706d5d‐9d53‐4b52‐82e1‐ba3f9178bbca                   Address Redacted                      First Class Mail
cd7305ed‐3182‐4854‐a7be‐e89cab751e72                   Address Redacted                      First Class Mail
cd73dd58‐8e6d‐4d14‐98ed‐db9bcd989fa6                   Address Redacted                      First Class Mail
cd769900‐4ac6‐4070‐9c66‐585121662dc9                   Address Redacted                      First Class Mail
cd773796‐5398‐47bc‐b5a6‐316378118fb8                   Address Redacted                      First Class Mail
cd77ca59‐cd92‐492c‐9602‐e55a15ab079c                   Address Redacted                      First Class Mail
cd797719‐4b2f‐4096‐ac95‐b39c5f96bd48                   Address Redacted                      First Class Mail
cd797eac‐99a0‐4571‐a809‐6f5338ae98c8                   Address Redacted                      First Class Mail
cd7e0ab3‐197d‐46ae‐9d85‐cac94501ef15                   Address Redacted                      First Class Mail
cd7e6da3‐4072‐4e96‐afbf‐1b4e1fd79cba                   Address Redacted                      First Class Mail
cd7f18ba‐0dd3‐4d87‐99c4‐bbf41a2f38ab                   Address Redacted                      First Class Mail
cd823934‐4848‐4e8d‐9de4‐ec1ec02a9cbc                   Address Redacted                      First Class Mail
cd836fa2‐7432‐4d97‐bd21‐363f7d237b51                   Address Redacted                      First Class Mail
cd894333‐f84d‐4395‐bd33‐b9490d1378b0                   Address Redacted                      First Class Mail
cd8ae2be‐50f1‐4e0d‐98d9‐027336b73285                   Address Redacted                      First Class Mail
cd8ba196‐e16a‐4b4d‐aad0‐d4ed6c83682f                   Address Redacted                      First Class Mail
cd8d57bf‐32f5‐4556‐9cf2‐702f592fbef6                   Address Redacted                      First Class Mail
cd8ee4cd‐8ef9‐4b0a‐acfa‐3a48cc4d8576                   Address Redacted                      First Class Mail
cd9016c8‐14f6‐4d40‐ba20‐80fc566c7564                   Address Redacted                      First Class Mail
cd9159de‐23cc‐4579‐a957‐9b3dc3b194ba                   Address Redacted                      First Class Mail
cd9203e3‐4178‐4892‐9c7f‐4ad7a9a8abc9                   Address Redacted                      First Class Mail
cd9907ab‐1269‐4058‐8f57‐75ed970a836c                   Address Redacted                      First Class Mail
cda206e4‐4e4e‐44af‐ae5e‐8c5bc21855c6                   Address Redacted                      First Class Mail
cda5d7bc‐1379‐49eb‐b259‐3add13187e73                   Address Redacted                      First Class Mail
cda71d4c‐1a24‐46a4‐a298‐993ea4af085f                   Address Redacted                      First Class Mail
cdab452b‐11ef‐42dd‐a0cb‐f1957d3f253d                   Address Redacted                      First Class Mail




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                                                                Exhibit A
                                                                 Service List


                              Name                                              Address                         Method of Service
cdab6e09‐9ece‐4751‐9c05‐8d3996ef9386                   Address Redacted                      First Class Mail
cdac0e64‐de95‐493a‐bfad‐c3d57fee6e7a                   Address Redacted                      First Class Mail
cdac74f2‐0d0c‐4b48‐ba33‐374acb1b3602                   Address Redacted                      First Class Mail
cdb81d96‐c5b9‐416b‐8d30‐1d36c58ef6a7                   Address Redacted                      First Class Mail
cdb9dd4a‐0aff‐4211‐9206‐e28661a1d9c7                   Address Redacted                      First Class Mail
cdbcd891‐4a23‐4450‐a33b‐cb02da8199d9                   Address Redacted                      First Class Mail
cdbfbee0‐71a7‐4d56‐94c5‐933bd1b8bba3                   Address Redacted                      First Class Mail
cdc58aef‐6063‐4ab6‐835b‐8a03e2aa384b                   Address Redacted                      First Class Mail
cdcf1dea‐52f5‐4a41‐a5a7‐fcc16e22a0d7                   Address Redacted                      First Class Mail
cdd135ca‐1905‐4c78‐8de8‐31af99521d23                   Address Redacted                      First Class Mail
cdd23cf1‐8168‐4992‐8329‐d156c50bedcb                   Address Redacted                      First Class Mail
cdd34670‐5720‐452d‐bdcc‐6ec081334299                   Address Redacted                      First Class Mail
cdd97e2e‐52bf‐4a5f‐90d5‐6c766394fdcc                   Address Redacted                      First Class Mail
cdd9b8c5‐414f‐41b0‐92d7‐d43ae680ecc7                   Address Redacted                      First Class Mail
cde26842‐50fc‐47b3‐96df‐f93ccc37b655                   Address Redacted                      First Class Mail
cde5ba3c‐134a‐41d0‐bec0‐0b3e575ad68c                   Address Redacted                      First Class Mail
cdedf13c‐c5f7‐4489‐9703‐069d3efe4604                   Address Redacted                      First Class Mail
cdee2e56‐cf06‐48a7‐8102‐4e53b72e4b02                   Address Redacted                      First Class Mail
cdeeb7d1‐3787‐45d5‐8cc8‐7a99a8a1ec0e                   Address Redacted                      First Class Mail
cdeec0f3‐0868‐4282‐83bd‐e47e3c595ec8                   Address Redacted                      First Class Mail
cdef1a5f‐bb03‐4da1‐a0d3‐4baf8eeb5494                   Address Redacted                      First Class Mail
cdef7cdd‐7be5‐4c21‐b0c1‐43ca555e33af                   Address Redacted                      First Class Mail
cdf1290a‐2006‐45a4‐ba9d‐715e99d8521d                   Address Redacted                      First Class Mail
cdf1405e‐0ba4‐490a‐887a‐1d42c34053c6                   Address Redacted                      First Class Mail
cdf162d8‐c62d‐4e12‐b9a3‐80104c328605                   Address Redacted                      First Class Mail
cdf1bb29‐bab3‐46d3‐9bb0‐a14f8eb53199                   Address Redacted                      First Class Mail
cdf258dc‐20f7‐4214‐86c1‐b43ed1d49cb9                   Address Redacted                      First Class Mail
cdf5274b‐1d0f‐4804‐a348‐063781a777f1                   Address Redacted                      First Class Mail
cdf6386d‐deef‐4bd7‐b622‐a2dbeedfda38                   Address Redacted                      First Class Mail
cdf7427d‐d1a6‐4bdc‐bbf6‐b1d065ff73cc                   Address Redacted                      First Class Mail
cdf854b6‐b1b9‐45a9‐a9ea‐6b8276592a5f                   Address Redacted                      First Class Mail
cdf976db‐0b28‐4010‐8f33‐2ae5671b527a                   Address Redacted                      First Class Mail
cdfc0964‐f929‐4819‐b54b‐4195c6258296                   Address Redacted                      First Class Mail
cdfc3720‐3fd1‐4cd4‐8752‐ef197b7e282f                   Address Redacted                      First Class Mail
cdfe388c‐e3a6‐4238‐9cc9‐b28c2e56a2c0                   Address Redacted                      First Class Mail
cdffa672‐7e48‐45fc‐91a4‐8c82f893455e                   Address Redacted                      First Class Mail
ce0026c4‐299f‐4b8f‐9dcc‐3039c470ab14                   Address Redacted                      First Class Mail
ce032464‐c851‐4b25‐815c‐bb766c371e65                   Address Redacted                      First Class Mail
ce0536be‐902d‐4795‐bdbd‐29f852138a69                   Address Redacted                      First Class Mail
ce094e29‐ec8c‐4fd6‐8d0d‐e823645cfbc8                   Address Redacted                      First Class Mail
ce09594f‐bc7b‐417d‐8897‐37deee11973b                   Address Redacted                      First Class Mail
ce097c03‐dc53‐4ff7‐a732‐dd88363dfb4b                   Address Redacted                      First Class Mail
ce09fe19‐fe3a‐49c4‐961f‐fcc6507d936e                   Address Redacted                      First Class Mail
ce0a803e‐3220‐4b36‐9cfd‐2563ee884bc2                   Address Redacted                      First Class Mail
ce10a059‐c5c1‐448d‐9577‐7a50c4f9048a                   Address Redacted                      First Class Mail
ce13af75‐56da‐43a6‐865a‐63e0ed7d0472                   Address Redacted                      First Class Mail
ce152bac‐6c55‐45e5‐9362‐e440737a22e4                   Address Redacted                      First Class Mail
ce194456‐30cf‐4e5c‐816a‐6111e7ec408b                   Address Redacted                      First Class Mail
ce19677d‐877b‐4fcc‐aef0‐85161b125c81                   Address Redacted                      First Class Mail
ce1afa06‐bc12‐43ab‐9b1b‐eadb03e3c087                   Address Redacted                      First Class Mail
ce1b5e99‐728d‐4a8a‐ab9e‐4dfd4d218574                   Address Redacted                      First Class Mail
ce1c02d3‐9e49‐44eb‐bee4‐eb9ea5e3badd                   Address Redacted                      First Class Mail
ce1f5642‐04d6‐4d1c‐983e‐5305a17d74c4                   Address Redacted                      First Class Mail
ce2061f0‐acc6‐4617‐ab93‐6643e14d0065                   Address Redacted                      First Class Mail
ce237b91‐4a68‐472b‐b25f‐dbdef884fad9                   Address Redacted                      First Class Mail
ce26ddfa‐c706‐4adc‐be07‐ca6a9bae6eb0                   Address Redacted                      First Class Mail
ce270f2a‐726b‐4c20‐b83a‐6e66afbd941c                   Address Redacted                      First Class Mail
ce2be326‐5364‐4314‐9333‐903653cc1216                   Address Redacted                      First Class Mail
ce2d5550‐7a13‐43c1‐a5ec‐bef7049e902c                   Address Redacted                      First Class Mail
ce2e30bc‐1be8‐4790‐9dff‐191b1a4ea8aa                   Address Redacted                      First Class Mail
ce319a36‐bbcc‐4ac0‐a5f7‐0401fbbe6eb2                   Address Redacted                      First Class Mail
ce341d4c‐f428‐46d1‐9031‐252f55bcaa59                   Address Redacted                      First Class Mail
ce37e561‐62ec‐470f‐8575‐b5553a295717                   Address Redacted                      First Class Mail
ce39f90f‐e135‐4b7d‐9397‐cf67f36c86ed                   Address Redacted                      First Class Mail
ce3c3c05‐d0ab‐4bcb‐89c9‐94e00ecbce7c                   Address Redacted                      First Class Mail
ce3eb541‐7066‐49a7‐b60d‐dc0d16f11473                   Address Redacted                      First Class Mail
ce4164f3‐229e‐49d2‐9542‐4831e466aa7b                   Address Redacted                      First Class Mail
ce4473ef‐0c60‐4ecd‐ba7e‐9f22333962eb                   Address Redacted                      First Class Mail
ce454756‐10ea‐43a1‐9983‐450f6f3af810                   Address Redacted                      First Class Mail
ce47c22e‐3030‐47af‐b2a2‐2b52d5acc979                   Address Redacted                      First Class Mail
ce4b29bd‐6147‐4fb1‐8d19‐6691a1a3c12c                   Address Redacted                      First Class Mail
ce50cfaf‐379e‐4ced‐9478‐4e62b804a9b6                   Address Redacted                      First Class Mail




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                                                                Exhibit A
                                                                 Service List


                              Name                                              Address                         Method of Service
ce5630ec‐5b1c‐4869‐9850‐5e4e6f756f36                   Address Redacted                      First Class Mail
ce58c8ec‐026d‐423c‐af5d‐8464c3d2a582                   Address Redacted                      First Class Mail
ce5c1386‐4105‐45ee‐bfcc‐d8c5ee329a2f                   Address Redacted                      First Class Mail
ce615712‐7295‐4b67‐a3b0‐6db6793e6bab                   Address Redacted                      First Class Mail
ce62cabd‐6956‐4805‐ad69‐cd9a9faef28b                   Address Redacted                      First Class Mail
ce6629e2‐0347‐4736‐98fc‐2d9446f7e9da                   Address Redacted                      First Class Mail
ce67b204‐df87‐40a6‐9307‐67a49d08a5d8                   Address Redacted                      First Class Mail
ce6a10c4‐f58b‐4c29‐aa16‐ebe2564d14ae                   Address Redacted                      First Class Mail
ce6aac58‐c044‐4c87‐a2cf‐d34468191d5f                   Address Redacted                      First Class Mail
ce6c80a1‐6b1f‐4eb5‐9a43‐3c8673086df9                   Address Redacted                      First Class Mail
ce6dffe9‐3d2e‐4066‐a83d‐f97da20f6813                   Address Redacted                      First Class Mail
ce715d57‐df99‐4de3‐a964‐185f89f88a9b                   Address Redacted                      First Class Mail
ce7360b7‐45df‐464b‐a42c‐15d0c93dc320                   Address Redacted                      First Class Mail
ce73cf0f‐65d4‐4f7d‐bbc6‐143030f5e7c3                   Address Redacted                      First Class Mail
ce74b8d0‐190a‐41ae‐ac8d‐c4919dd9d626                   Address Redacted                      First Class Mail
ce75ed1a‐5551‐484e‐9c8c‐27ee8d6c93b9                   Address Redacted                      First Class Mail
ce76d8ec‐5063‐4aa2‐b714‐83f20f1395bd                   Address Redacted                      First Class Mail
ce7e119c‐8427‐4369‐8f39‐48c88206152e                   Address Redacted                      First Class Mail
ce86060c‐85e2‐4632‐8ffd‐629b15432a91                   Address Redacted                      First Class Mail
ce861e50‐9308‐495c‐b8bf‐2c2e8ff30b29                   Address Redacted                      First Class Mail
ce88309a‐6a95‐4666‐aabf‐df3ac0a9239d                   Address Redacted                      First Class Mail
ce8a00ac‐e8ce‐46cb‐b7b5‐20376d8bfc40                   Address Redacted                      First Class Mail
ce8b1dc7‐7e54‐435a‐9786‐cfa7058e0ca7                   Address Redacted                      First Class Mail
ce8bc32a‐765b‐4f1d‐9054‐0b9a8930b96a                   Address Redacted                      First Class Mail
ce8bf940‐9cab‐45d4‐bb75‐85814d4c0a4e                   Address Redacted                      First Class Mail
ce8d40be‐050b‐4e9c‐b982‐4798c426ee1d                   Address Redacted                      First Class Mail
ce8ed4d6‐85b6‐4d45‐ae61‐b894bebb55f7                   Address Redacted                      First Class Mail
ce8f3856‐4887‐412b‐a989‐38d3e877a37f                   Address Redacted                      First Class Mail
ce9255af‐a4a0‐41c5‐967a‐41b6f91d49d2                   Address Redacted                      First Class Mail
ce985c6b‐b661‐4ea3‐b76b‐8b64ef294562                   Address Redacted                      First Class Mail
ce9ef52e‐dfba‐4086‐92b6‐e7c36a21b273                   Address Redacted                      First Class Mail
cea07bec‐fe0d‐48d2‐9c95‐918dc9ee64e7                   Address Redacted                      First Class Mail
cea08558‐9895‐46dc‐84dd‐251f4adf66ac                   Address Redacted                      First Class Mail
cea40888‐6615‐48ba‐93ba‐b412a5e1cfb8                   Address Redacted                      First Class Mail
cea4f2e5‐66c3‐426c‐9963‐806cb93b2b99                   Address Redacted                      First Class Mail
cea63ae3‐6daa‐4747‐964c‐7d09bd0134af                   Address Redacted                      First Class Mail
cea65587‐92d3‐48aa‐ba91‐148c07f81992                   Address Redacted                      First Class Mail
cea6be16‐447d‐494d‐9f6e‐0d0cc02ede1e                   Address Redacted                      First Class Mail
ceab53c8‐5beb‐4b58‐8246‐3b63bc9c0b2f                   Address Redacted                      First Class Mail
ceb984bf‐c149‐4c7c‐bc06‐aaf07084bc52                   Address Redacted                      First Class Mail
ceba57b2‐fedb‐4bba‐a7ff‐5d45efb57387                   Address Redacted                      First Class Mail
cebd9b78‐cdb5‐472d‐9853‐d6248dfdea0f                   Address Redacted                      First Class Mail
cec135a8‐c094‐4ab8‐8825‐c37e28b0e0e1                   Address Redacted                      First Class Mail
cec41768‐e572‐4851‐9af1‐e31e34f7b727                   Address Redacted                      First Class Mail
cec7209f‐98dc‐4931‐bdd9‐f5f994943327                   Address Redacted                      First Class Mail
cecc51fe‐d8ee‐4487‐b788‐0a3dc52ab019                   Address Redacted                      First Class Mail
cecff2db‐377d‐4439‐adbb‐cb2f5772b720                   Address Redacted                      First Class Mail
ced02876‐476c‐4cc0‐9571‐ed2321fc34a2                   Address Redacted                      First Class Mail
ced0fd66‐c750‐4c32‐ac65‐f752aaed2a4b                   Address Redacted                      First Class Mail
ced34672‐b0fa‐4ada‐ae85‐909f5d0aed92                   Address Redacted                      First Class Mail
ced46db4‐e0de‐4a06‐ac63‐5966725c6605                   Address Redacted                      First Class Mail
ced4afdb‐faae‐4862‐936a‐7e5b377d7cb8                   Address Redacted                      First Class Mail
cedbf4df‐e9ff‐4887‐aa4d‐78efe4d11733                   Address Redacted                      First Class Mail
cede374f‐b3b7‐42fe‐b37d‐f24286358d8f                   Address Redacted                      First Class Mail
cede77a4‐f26a‐4894‐836b‐929da1ca1450                   Address Redacted                      First Class Mail
cee05355‐82a7‐4016‐865f‐8374816cf813                   Address Redacted                      First Class Mail
cee09d0d‐3780‐4a15‐a9f3‐a56e8db6abdc                   Address Redacted                      First Class Mail
cee59368‐b448‐48e7‐aaf8‐48ce4ad6898e                   Address Redacted                      First Class Mail
cee6f1fa‐0145‐4a06‐85ad‐35b2b53e8a26                   Address Redacted                      First Class Mail
cee9ea52‐4c4a‐42c4‐ba3e‐4e8fb2761791                   Address Redacted                      First Class Mail
ceeb651d‐e395‐4b01‐a6c8‐3b690ba5a5da                   Address Redacted                      First Class Mail
ceebd508‐662e‐4a9d‐ae2d‐f5fa8b4cb84f                   Address Redacted                      First Class Mail
ceedf72d‐48f6‐4d5b‐b3ca‐0e2e4fde37b5                   Address Redacted                      First Class Mail
ceee5b34‐a27f‐4133‐998d‐e66be0077ff8                   Address Redacted                      First Class Mail
ceee6f22‐ffbb‐496e‐87b1‐fe1e8e372ea3                   Address Redacted                      First Class Mail
cef4922a‐6fb9‐4320‐ae9a‐91edc60ecde0                   Address Redacted                      First Class Mail
cef4c17b‐593c‐435e‐bcd7‐2487cf45ef35                   Address Redacted                      First Class Mail
cef4cd5e‐8fc7‐4459‐be46‐7cfc5b8f2ae1                   Address Redacted                      First Class Mail
cef606a8‐e5e9‐4c72‐a007‐96d3c41085b2                   Address Redacted                      First Class Mail
cef6be22‐ccab‐41c6‐9644‐7b1e61f29488                   Address Redacted                      First Class Mail
cefc5a12‐7dd1‐43bb‐a1d4‐03b1b19c333f                   Address Redacted                      First Class Mail
ceff8406‐84e0‐4351‐8a3c‐bb4cbaf49458                   Address Redacted                      First Class Mail




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                                                                Exhibit A
                                                                 Service List


                               Name                                             Address                         Method of Service
cf068e96‐1879‐421d‐a01f‐d9a93e994049                   Address Redacted                      First Class Mail
cf06af45‐32bd‐4994‐81c0‐e98f56cde4c1                   Address Redacted                      First Class Mail
cf0994e0‐c49e‐40e8‐a161‐65519ad053f9                   Address Redacted                      First Class Mail
cf12ffc4‐d286‐4c2a‐8170‐5f9e1f9db347                   Address Redacted                      First Class Mail
cf15f7bd‐7d99‐463f‐8406‐c8d3e80eef83                   Address Redacted                      First Class Mail
cf179e7a‐b33e‐41a2‐806f‐e32e9d14d23b                   Address Redacted                      First Class Mail
cf198919‐da6d‐4896‐a004‐baa7754065e9                   Address Redacted                      First Class Mail
cf1a3e33‐3340‐472b‐ab48‐e81ce45353ac                   Address Redacted                      First Class Mail
cf1b0970‐13f1‐4fd6‐a766‐d9e1b3a9c967                   Address Redacted                      First Class Mail
cf1b9214‐6cb0‐4342‐bfe3‐aa843df0c726                   Address Redacted                      First Class Mail
cf1c2957‐b04c‐4216‐b6bc‐acbe0d8ed8cf                   Address Redacted                      First Class Mail
cf1ca3b6‐a0e3‐466e‐b8a8‐f39036444ab1                   Address Redacted                      First Class Mail
cf1f8c28‐bc85‐410f‐83bc‐9e3dd5d4894f                   Address Redacted                      First Class Mail
cf21a39a‐04b4‐4a2e‐9b29‐6dc9380a17e3                   Address Redacted                      First Class Mail
cf23e032‐ce22‐4254‐99e4‐5225359122e1                   Address Redacted                      First Class Mail
cf24458c‐df2c‐4517‐bb4e‐7d970d9d1142                   Address Redacted                      First Class Mail
cf26a4a2‐37b7‐42a3‐aa25‐38d6d2a02e80                   Address Redacted                      First Class Mail
cf27454c‐df27‐4e5f‐962d‐b0511c3d3747                   Address Redacted                      First Class Mail
cf281e5c‐0bd2‐49dc‐bb71‐31081748086e                   Address Redacted                      First Class Mail
cf28fb1f‐e1d4‐4c4b‐b256‐b0f495cf3f82                   Address Redacted                      First Class Mail
cf2a390f‐1384‐41a3‐bf86‐0d4eb42bda48                   Address Redacted                      First Class Mail
cf2b6c06‐3b3a‐44ce‐96f5‐d7b81db26573                   Address Redacted                      First Class Mail
cf2cd3fd‐e876‐43ff‐97d8‐5216f3965d0f                   Address Redacted                      First Class Mail
cf3125c3‐9e0c‐4374‐9ee7‐9de35935cf86                   Address Redacted                      First Class Mail
cf355418‐5a92‐425b‐9c80‐11c3ecd8b07e                   Address Redacted                      First Class Mail
cf365977‐7c0e‐44f3‐b79f‐00045146a8bd                   Address Redacted                      First Class Mail
cf389949‐d1d3‐463e‐925c‐7b4e91053e51                   Address Redacted                      First Class Mail
cf3a0ea0‐7d5e‐4014‐a5ff‐850365c1a426                   Address Redacted                      First Class Mail
cf3a1575‐2f7d‐40a0‐8c6a‐095fb8af12ee                   Address Redacted                      First Class Mail
cf3efc50‐026b‐4016‐b2ce‐b548a73e42ba                   Address Redacted                      First Class Mail
cf427010‐3c88‐41d5‐8446‐2c7387c9330c                   Address Redacted                      First Class Mail
cf453830‐210c‐4369‐83c9‐c4ab5f9715b6                   Address Redacted                      First Class Mail
cf45f804‐6010‐4734‐b1d0‐4dca2eae2bbd                   Address Redacted                      First Class Mail
cf4755a6‐084a‐4a9c‐84cc‐10020a8c8e50                   Address Redacted                      First Class Mail
cf4be244‐3275‐4d33‐becb‐238898039d10                   Address Redacted                      First Class Mail
cf4c43bd‐0dbf‐4edb‐9880‐e7573f411085                   Address Redacted                      First Class Mail
cf4db441‐3745‐42bd‐b8e3‐cfa2eb9989b9                   Address Redacted                      First Class Mail
cf51e68d‐306b‐40fb‐9b24‐13a27f16cace                   Address Redacted                      First Class Mail
cf53e744‐d29b‐4ec3‐8454‐a2d1da973a87                   Address Redacted                      First Class Mail
cf5536d4‐1672‐4e53‐8774‐501826c9af3e                   Address Redacted                      First Class Mail
cf5603d8‐cb3c‐4305‐b616‐09ead34449d5                   Address Redacted                      First Class Mail
cf572513‐baff‐48c7‐8106‐7a9d7453a89a                   Address Redacted                      First Class Mail
cf57b91f‐1f0e‐4500‐9bea‐a7b50e6ca1f7                   Address Redacted                      First Class Mail
cf5dadeb‐f546‐4f12‐9d2e‐1127d497a158                   Address Redacted                      First Class Mail
cf60d202‐68e5‐418d‐857f‐efb74c2fc030                   Address Redacted                      First Class Mail
cf63a19a‐7b95‐46b0‐a0db‐4c79d92913fe                   Address Redacted                      First Class Mail
cf65a18b‐ac87‐49d8‐bc4f‐42c0ba07c7ee                   Address Redacted                      First Class Mail
cf6606dc‐2ac8‐4d88‐97fe‐23a9a52708fa                   Address Redacted                      First Class Mail
cf67ca54‐d648‐4648‐af0b‐e90515e783c5                   Address Redacted                      First Class Mail
cf681fcb‐4b87‐44f0‐88cd‐fd51feaf5ff9                   Address Redacted                      First Class Mail
cf6c1fa3‐61be‐42e3‐81e3‐621d5541252c                   Address Redacted                      First Class Mail
cf751d89‐4626‐4f7e‐b8d1‐972a0d7ae223                   Address Redacted                      First Class Mail
cf75384a‐a783‐4f35‐b53e‐364680238d3b                   Address Redacted                      First Class Mail
cf75748d‐e03d‐4265‐a9bf‐27f2d322f364                   Address Redacted                      First Class Mail
cf759a9d‐9f78‐4b5c‐ba64‐df533e98e46b                   Address Redacted                      First Class Mail
cf7674bc‐c460‐4eb1‐ae6c‐ce3bf816cba1                   Address Redacted                      First Class Mail
cf79c48b‐221d‐4977‐b8c0‐199fbcb48515                   Address Redacted                      First Class Mail
cf7be721‐0d7c‐4059‐9564‐17ad81d99d84                   Address Redacted                      First Class Mail
cf834c65‐0eda‐40aa‐a943‐16919b7ae3ef                   Address Redacted                      First Class Mail
cf865e03‐b546‐4f81‐861b‐906b269966c6                   Address Redacted                      First Class Mail
cf886ae6‐7b84‐4c44‐be7a‐42f1db6d6546                   Address Redacted                      First Class Mail
cf8fb570‐d93d‐4a08‐be7d‐46416b4dc7c1                   Address Redacted                      First Class Mail
cf8fdf56‐d970‐410f‐936a‐27c9302841e2                   Address Redacted                      First Class Mail
cf90799c‐7658‐472f‐9486‐dd676da6b65c                   Address Redacted                      First Class Mail
cf9b74d5‐0ba0‐45b0‐9cd2‐7f6e8c659b3a                   Address Redacted                      First Class Mail
cf9beee9‐6218‐45fb‐a6de‐71ce35547989                   Address Redacted                      First Class Mail
cf9d1ff1‐84cc‐4ba2‐8071‐ea8506804751                   Address Redacted                      First Class Mail
cf9d34b9‐d3ef‐40c5‐9f03‐11dbdd1ff581                   Address Redacted                      First Class Mail
cfa773ec‐f4ee‐405b‐8b7c‐d61271453db3                   Address Redacted                      First Class Mail
cfa803d8‐41b0‐4683‐981f‐72b5498dfc94                   Address Redacted                      First Class Mail
cfa9fee1‐24f6‐4d33‐b587‐60e50137fc46                   Address Redacted                      First Class Mail
cfad042a‐3f30‐40e7‐988c‐2e0f2e28c9fd                   Address Redacted                      First Class Mail




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                                                                Exhibit A
                                                                 Service List


                              Name                                              Address                         Method of Service
cfadefb2‐2893‐4140‐a0bd‐662795f8b543                   Address Redacted                      First Class Mail
cfb31f2a‐2ee1‐4a8c‐b68b‐f2b43b30b25a                   Address Redacted                      First Class Mail
cfb37672‐1e94‐46f2‐8f80‐17a4b4c80693                   Address Redacted                      First Class Mail
cfb3b7a7‐0a1e‐489b‐a7ff‐2abac833d14b                   Address Redacted                      First Class Mail
cfba420a‐0a11‐40b3‐80ef‐6bda09cf5671                   Address Redacted                      First Class Mail
cfc05129‐cab6‐446e‐9e43‐864968df4b2c                   Address Redacted                      First Class Mail
cfc91a28‐9cff‐47a5‐a64d‐f394494b7bb8                   Address Redacted                      First Class Mail
cfcefa38‐3a08‐4118‐9f92‐eb732369570d                   Address Redacted                      First Class Mail
cfcfa9e9‐86b6‐4ad4‐96e5‐ce8aa5d24978                   Address Redacted                      First Class Mail
cfd0b477‐1766‐44ff‐825b‐89cea6ce3b9d                   Address Redacted                      First Class Mail
cfd144e8‐6764‐438b‐a1b7‐ee5a97265718                   Address Redacted                      First Class Mail
cfd3f867‐4ef2‐417a‐b20f‐aa3def6263a1                   Address Redacted                      First Class Mail
cfd9638d‐ccd2‐4078‐8151‐bba978c75479                   Address Redacted                      First Class Mail
cfdebc36‐5775‐4099‐beb1‐df3b9277f99f                   Address Redacted                      First Class Mail
cfe70237‐7db6‐458d‐9c83‐957a246393bf                   Address Redacted                      First Class Mail
cfeb72cb‐5550‐4914‐92d0‐c56849ec09ab                   Address Redacted                      First Class Mail
cfec0637‐3f26‐49df‐967e‐441aff976162                   Address Redacted                      First Class Mail
cfecc42a‐f252‐42a8‐b3ef‐a0e6b8d853b2                   Address Redacted                      First Class Mail
cfed7755‐1bce‐4860‐92b8‐fbf714200e5f                   Address Redacted                      First Class Mail
cff36235‐80dd‐409c‐a9e9‐f1c385c8a3d9                   Address Redacted                      First Class Mail
cffe6759‐86ab‐4699‐b2b3‐663198cc0f93                   Address Redacted                      First Class Mail
cffe8692‐3b9b‐4516‐9495‐1dd16d1f0a38                   Address Redacted                      First Class Mail
cffeb079‐9417‐4f0d‐87e3‐f6023395acc8                   Address Redacted                      First Class Mail
cfff5851‐7442‐4e07‐8eff‐69617e405847                   Address Redacted                      First Class Mail
d00043a3‐12fb‐49ba‐b52d‐c267b7edd6a4                   Address Redacted                      First Class Mail
d00086a6‐a966‐42ab‐86ce‐ae47b89cf0b3                   Address Redacted                      First Class Mail
d002ac6f‐b025‐4711‐ae94‐5f081881dee4                   Address Redacted                      First Class Mail
d003d1da‐45e3‐4c45‐9c96‐9a88e285a0d6                   Address Redacted                      First Class Mail
d0052935‐6765‐4620‐a30d‐7ca9c6f4fe97                   Address Redacted                      First Class Mail
d00fadef‐f6c9‐42f4‐842b‐ec0829858374                   Address Redacted                      First Class Mail
d011133b‐1e53‐40c3‐acf2‐80ff552abb11                   Address Redacted                      First Class Mail
d0123faa‐3746‐4024‐a3d9‐e384afeba2b1                   Address Redacted                      First Class Mail
d014b425‐2ac5‐43ab‐bdbf‐e7d906763b67                   Address Redacted                      First Class Mail
d0152a7d‐930c‐4d6e‐88d3‐966284fb7a90                   Address Redacted                      First Class Mail
d017e70c‐79d4‐455c‐bf52‐8d869b47c1ff                   Address Redacted                      First Class Mail
d0199821‐e706‐4b4b‐b55c‐397824ed9467                   Address Redacted                      First Class Mail
d01c6549‐2628‐4c67‐ad9b‐915ab32b1cd6                   Address Redacted                      First Class Mail
d02675ad‐da1b‐4600‐bc25‐eb2e4da81c29                   Address Redacted                      First Class Mail
d02d8fa2‐89c7‐4e47‐a0f9‐fc18ee8082c1                   Address Redacted                      First Class Mail
d02f5463‐a671‐4a7f‐a2a6‐a245851ff438                   Address Redacted                      First Class Mail
d0303f17‐6d9e‐4c6d‐8523‐974025117b6a                   Address Redacted                      First Class Mail
d037ad35‐b63e‐4698‐8e34‐ff15fc301bef                   Address Redacted                      First Class Mail
d03bd4af‐a574‐4c46‐a6ef‐fdd72c66a484                   Address Redacted                      First Class Mail
d03be43d‐2a99‐4524‐9773‐105d5eb40208                   Address Redacted                      First Class Mail
d03d80ff‐6724‐4a18‐8db2‐729812a0cd8b                   Address Redacted                      First Class Mail
d03ed651‐1268‐4ef5‐a504‐306dff810967                   Address Redacted                      First Class Mail
d03f71d4‐aa83‐4cac‐a096‐a77d6dcbea5b                   Address Redacted                      First Class Mail
d0452720‐d960‐497f‐acf4‐7c8673ec8498                   Address Redacted                      First Class Mail
d046cb6c‐fcec‐4eda‐a32b‐6d6922bb1a47                   Address Redacted                      First Class Mail
d048a394‐7bd3‐40ec‐b9d7‐9e4a6de31605                   Address Redacted                      First Class Mail
d04a755c‐a018‐40fb‐abed‐57059c94c94c                   Address Redacted                      First Class Mail
d04a8838‐cf16‐4e99‐a515‐85b978dac9b9                   Address Redacted                      First Class Mail
d04be4e7‐eb91‐4b85‐82d9‐a65b249f369c                   Address Redacted                      First Class Mail
d05556b3‐7107‐410d‐80ab‐8fc8b4945791                   Address Redacted                      First Class Mail
d058319b‐0afb‐4ac3‐845c‐17d3496473fb                   Address Redacted                      First Class Mail
d059741b‐cca4‐4755‐b39d‐a851a4161f19                   Address Redacted                      First Class Mail
d05a2caa‐48e5‐44e8‐bf58‐c6b9b658a7ab                   Address Redacted                      First Class Mail
d05abb68‐ff19‐4029‐a561‐b69b1f33a697                   Address Redacted                      First Class Mail
d05b2772‐d537‐4e2c‐9a06‐ba5d732f11cb                   Address Redacted                      First Class Mail
d05b51bc‐608a‐478f‐a3f6‐65a932b593e4                   Address Redacted                      First Class Mail
d05b7e72‐42f8‐4ae4‐96ff‐d0b21f1a5ad2                   Address Redacted                      First Class Mail
d05c0d1d‐3269‐4510‐8556‐fbca67a0181a                   Address Redacted                      First Class Mail
d05c3718‐71e7‐40c0‐887a‐759e872c8181                   Address Redacted                      First Class Mail
d05cb0ce‐a189‐43d5‐b062‐8aacc8234125                   Address Redacted                      First Class Mail
d05d6c71‐0fb4‐4502‐a9cb‐d1ef5f758e44                   Address Redacted                      First Class Mail
d0622848‐8803‐4ca3‐967e‐6bc1ac3ba0ce                   Address Redacted                      First Class Mail
d06650c0‐567c‐4405‐a50f‐780a12e05e24                   Address Redacted                      First Class Mail
d067b41f‐f680‐47ea‐bf6b‐bf9081371b07                   Address Redacted                      First Class Mail
d06e0d7f‐29db‐4320‐ae9b‐4c16b3692323                   Address Redacted                      First Class Mail
d0781efe‐27e2‐4abf‐882c‐6a38297cbf1d                   Address Redacted                      First Class Mail
d078ed01‐9ebe‐4a4f‐b60b‐520519a577bf                   Address Redacted                      First Class Mail
d080e19f‐8302‐463b‐9eba‐31fd6097bc0b                   Address Redacted                      First Class Mail




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                                                                 Service List


                               Name                                             Address                         Method of Service
d08e2982‐04d1‐49b7‐b7d5‐c961b3241053                   Address Redacted                      First Class Mail
d09420cf‐7f16‐454d‐85bc‐6d5a8acae4ea                   Address Redacted                      First Class Mail
d0946ac2‐c319‐4677‐8fe2‐2a5bb72ba6f6                   Address Redacted                      First Class Mail
d0975336‐1936‐498e‐8e19‐2a21e1eff93c                   Address Redacted                      First Class Mail
d0996fb4‐c3e1‐4c57‐9455‐3b3c0b0a4c68                   Address Redacted                      First Class Mail
d09c2cae‐4637‐4e78‐90da‐91ba77d5ce50                   Address Redacted                      First Class Mail
d0a01cbd‐34ac‐4f0c‐b399‐042bcd7ee3a4                   Address Redacted                      First Class Mail
d0a0346a‐3eec‐4181‐b629‐4d92ebd4a692                   Address Redacted                      First Class Mail
d0a3ea9b‐2353‐4f02‐890b‐6fcb827889b9                   Address Redacted                      First Class Mail
d0a704b2‐fa60‐47ec‐9cd2‐8f501c5d76d3                   Address Redacted                      First Class Mail
d0ad2216‐526b‐416d‐9733‐233512fdd604                   Address Redacted                      First Class Mail
d0ada942‐4af1‐453d‐ae65‐dfd186786fb5                   Address Redacted                      First Class Mail
d0aee74c‐263f‐43ab‐8700‐d07c17b42f6a                   Address Redacted                      First Class Mail
d0afa29d‐e1cc‐47ff‐9cb6‐a5de8eb762bd                   Address Redacted                      First Class Mail
d0afbe9b‐fa13‐40b5‐a24b‐2c81d0af54b8                   Address Redacted                      First Class Mail
d0b1b0f3‐2bc1‐4ff6‐9301‐ad10d1e75edb                   Address Redacted                      First Class Mail
d0b3ebd2‐c2c7‐48be‐82dc‐092ea9ef9d94                   Address Redacted                      First Class Mail
d0b48bce‐f4d6‐436a‐b816‐a5cc077e9c55                   Address Redacted                      First Class Mail
d0bb5a87‐dc8d‐4d93‐a237‐fab4739d2b80                   Address Redacted                      First Class Mail
d0bd5cf2‐ac61‐47de‐84a4‐7611070eb53f                   Address Redacted                      First Class Mail
d0bddaec‐98bd‐4c07‐9c47‐383532d0afaf                   Address Redacted                      First Class Mail
d0c069cf‐1bbe‐4603‐bcd6‐58120dc6f146                   Address Redacted                      First Class Mail
d0c631fa‐a074‐47db‐ba8b‐ae098490b6ff                   Address Redacted                      First Class Mail
d0c8f98a‐97d8‐437e‐83a8‐ae21525156ba                   Address Redacted                      First Class Mail
d0cd536c‐ad47‐45d1‐babb‐3ac178ec0195                   Address Redacted                      First Class Mail
d0cda7eb‐4813‐423c‐8155‐230e26c65f19                   Address Redacted                      First Class Mail
d0d188bc‐dce8‐4666‐9ee6‐ddb03e61fbd9                   Address Redacted                      First Class Mail
d0d1d29c‐02d4‐4ec8‐a5cb‐7d810ea1f28b                   Address Redacted                      First Class Mail
d0d20a6e‐d3b4‐4314‐95fc‐3751fb94b6cc                   Address Redacted                      First Class Mail
d0d26885‐97aa‐4ce5‐b446‐69ff92cfcc1d                   Address Redacted                      First Class Mail
d0d645f4‐158b‐4860‐bcdf‐5023235f5ba3                   Address Redacted                      First Class Mail
d0d664db‐c82b‐475e‐b413‐a38f7cef238e                   Address Redacted                      First Class Mail
d0da2811‐21af‐4697‐80bb‐5a6ae5fa3f4b                   Address Redacted                      First Class Mail
d0dc7121‐bb15‐4d3b‐b356‐50c580f1b6a0                   Address Redacted                      First Class Mail
d0dd29e2‐4148‐472e‐9210‐ec2cc902c3f8                   Address Redacted                      First Class Mail
d0ddae68‐3b42‐44e7‐b22c‐77f4a8d4461f                   Address Redacted                      First Class Mail
d0ddb443‐458f‐480f‐a534‐75a5ec55c5bf                   Address Redacted                      First Class Mail
d0e0546c‐225f‐43d0‐90b8‐920155505e47                   Address Redacted                      First Class Mail
d0e1e25b‐6316‐4f13‐917a‐0ff2fd5cebfe                   Address Redacted                      First Class Mail
d0e219c9‐087e‐4bb6‐89b5‐b38235d03b34                   Address Redacted                      First Class Mail
d0e457bb‐b011‐4012‐ae1d‐5ecce7960366                   Address Redacted                      First Class Mail
d0e57bc6‐6eaa‐4641‐9fe5‐16f9087a9df4                   Address Redacted                      First Class Mail
d0e6cbce‐985a‐4f8c‐9eea‐b80bbae014c9                   Address Redacted                      First Class Mail
d0e7053b‐a761‐4b9b‐a1fa‐b577b8665051                   Address Redacted                      First Class Mail
d0ea503c‐d082‐4c57‐9631‐da4fc1d247ed                   Address Redacted                      First Class Mail
d0eb4588‐b69e‐49e2‐833f‐e4fda48488b9                   Address Redacted                      First Class Mail
d0eb55f3‐74d7‐497e‐80ad‐20d3805525dc                   Address Redacted                      First Class Mail
d0ecec33‐9907‐4ddb‐9578‐2a68ce143b7e                   Address Redacted                      First Class Mail
d0f032ac‐cac1‐4fd9‐bc07‐6fcafc7ce80c                   Address Redacted                      First Class Mail
d0f045e9‐a5de‐46b6‐a518‐b080436f1395                   Address Redacted                      First Class Mail
d0f0bb84‐e8a0‐4593‐b807‐4f443d154ed7                   Address Redacted                      First Class Mail
d0f2460c‐b46e‐4498‐b3c9‐a7a0d6b58eaf                   Address Redacted                      First Class Mail
d0f421be‐8825‐436d‐a978‐e7144192eb94                   Address Redacted                      First Class Mail
d0f4bef2‐2083‐4faf‐a443‐523b1a6daba7                   Address Redacted                      First Class Mail
d0f54839‐26dd‐41a6‐8d00‐4510ba211b28                   Address Redacted                      First Class Mail
d1005e8f‐a314‐43e9‐9f49‐531df2403556                   Address Redacted                      First Class Mail
d101efff‐e90d‐461d‐8139‐d78543644db9                   Address Redacted                      First Class Mail
d1023a55‐dcd5‐4c28‐8f45‐ba58d399ad31                   Address Redacted                      First Class Mail
d103660d‐07c7‐4d7b‐9a4c‐bd3f8551b8e2                   Address Redacted                      First Class Mail
d10672b2‐2b31‐4d4e‐9141‐e6591e216c6a                   Address Redacted                      First Class Mail
d109af7d‐7115‐495d‐8969‐7b95d4eb7115                   Address Redacted                      First Class Mail
d10a052d‐1b28‐44cf‐8302‐f5b14afb96a8                   Address Redacted                      First Class Mail
d10b283a‐82fa‐495b‐aed8‐3fae0037d926                   Address Redacted                      First Class Mail
d10c3e90‐1b81‐4bbc‐bfc2‐04045d86dd23                   Address Redacted                      First Class Mail
d11262d1‐8253‐4608‐b71f‐7521f9b96138                   Address Redacted                      First Class Mail
d1134f3c‐b417‐47e1‐898c‐9998b242514f                   Address Redacted                      First Class Mail
d11b85b3‐5e7d‐4827‐84fa‐208667323015                   Address Redacted                      First Class Mail
d11d20b1‐4fea‐4d51‐a024‐cecd950d8d3b                   Address Redacted                      First Class Mail
d11dcb91‐af9f‐4849‐9b20‐6d41f9aba28c                   Address Redacted                      First Class Mail
d120884c‐dcf4‐4dd6‐8a8e‐c535738a13ea                   Address Redacted                      First Class Mail
d1221b76‐03c4‐4e3d‐a6f4‐35b267d80fbc                   Address Redacted                      First Class Mail
d124724a‐ce2a‐4d4a‐af1e‐b0303b596a73                   Address Redacted                      First Class Mail




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                              Name                                              Address                         Method of Service
d1269efa‐ecb8‐4a04‐8f1b‐7d455ceba714                   Address Redacted                      First Class Mail
d1293276‐1c29‐486c‐b38b‐9c58efd1bc6f                   Address Redacted                      First Class Mail
d1310903‐8ff3‐4760‐b8a2‐64e846dab02c                   Address Redacted                      First Class Mail
d131c4de‐c911‐4300‐8a04‐6ede975f9e49                   Address Redacted                      First Class Mail
d13b54f8‐2fec‐490e‐afee‐16aa282a25cd                   Address Redacted                      First Class Mail
d13bcd7f‐0687‐4293‐9870‐64282f864aba                   Address Redacted                      First Class Mail
d13d3e4b‐93e0‐47c3‐8d34‐68fba21150bc                   Address Redacted                      First Class Mail
d13d5083‐b65b‐419f‐8418‐d09fc8a2d170                   Address Redacted                      First Class Mail
d13df162‐2e7e‐45fd‐b3b6‐daa55d23fa2f                   Address Redacted                      First Class Mail
d13eec3b‐eac1‐4769‐b0cc‐00b6ad1f57c0                   Address Redacted                      First Class Mail
d140891a‐4430‐4630‐b6bc‐16abb6d435d2                   Address Redacted                      First Class Mail
d1417686‐2fe3‐40ce‐85c4‐a7ad2843fb44                   Address Redacted                      First Class Mail
d1429828‐e346‐4cb3‐9bfb‐bb6867ffbac1                   Address Redacted                      First Class Mail
d1449c70‐e978‐4d0f‐ba1f‐398a14dd44dc                   Address Redacted                      First Class Mail
d14cdc0d‐338a‐474f‐94f1‐4d6ce112fd2e                   Address Redacted                      First Class Mail
d14d7975‐e7ec‐49b4‐b737‐71353bb40670                   Address Redacted                      First Class Mail
d14fdfc3‐328e‐443c‐a532‐df80746ec0df                   Address Redacted                      First Class Mail
d15010fa‐02ae‐4671‐93ed‐d8978d912b6f                   Address Redacted                      First Class Mail
d15024e5‐cce3‐489c‐8b5e‐01c025c7fe7b                   Address Redacted                      First Class Mail
d1509b6b‐39b3‐4f19‐8148‐489f811fc0da                   Address Redacted                      First Class Mail
d152ca20‐9896‐4cd6‐98af‐1d48942baaa7                   Address Redacted                      First Class Mail
d1534fe1‐fafa‐4bc7‐a2bc‐2f49853b491a                   Address Redacted                      First Class Mail
d1541292‐27ea‐4463‐8681‐a335f1e9bc38                   Address Redacted                      First Class Mail
d154ebe9‐9863‐4b26‐87d1‐7c829cad5b34                   Address Redacted                      First Class Mail
d156540d‐7914‐4b2f‐8c8d‐3e0df67a1d47                   Address Redacted                      First Class Mail
d15a0b1e‐a911‐4522‐a000‐3a89dfaaf5ff                   Address Redacted                      First Class Mail
d15e48b4‐6554‐4c77‐9f95‐b5b3feed22b0                   Address Redacted                      First Class Mail
d15ee566‐86a9‐4e7f‐a14f‐3eeae036b9a6                   Address Redacted                      First Class Mail
d15eef9a‐d927‐4774‐b574‐d31316bafc65                   Address Redacted                      First Class Mail
d1614be2‐bb80‐4b47‐8fcd‐abfe93f65a1f                   Address Redacted                      First Class Mail
d163fdf2‐9ede‐45aa‐a953‐0296fe59deaf                   Address Redacted                      First Class Mail
d1685a3d‐aa86‐46be‐b628‐d39bb88d30c0                   Address Redacted                      First Class Mail
d168ae66‐d857‐419e‐ab36‐d7cbbb0ff03f                   Address Redacted                      First Class Mail
d169a73f‐4f78‐4001‐acf1‐159a630e8ea0                   Address Redacted                      First Class Mail
d16a42a7‐67e3‐4a80‐9d20‐5e03ad83b4a5                   Address Redacted                      First Class Mail
d16ba152‐0902‐46b1‐81e5‐1bac053c7eae                   Address Redacted                      First Class Mail
d16bee14‐9d52‐4d12‐89ce‐fa033df59125                   Address Redacted                      First Class Mail
d172925a‐bdb9‐4511‐a0fa‐384b06070cf2                   Address Redacted                      First Class Mail
d174bdff‐8212‐4f6d‐a85f‐c080bdc29368                   Address Redacted                      First Class Mail
d175764f‐eee0‐46a2‐8616‐5ff5e65e9f1d                   Address Redacted                      First Class Mail
d177e5c0‐8557‐4f3d‐bc32‐b6e07ee9c2fe                   Address Redacted                      First Class Mail
d179cd78‐5596‐4f22‐a089‐e557f13ab705                   Address Redacted                      First Class Mail
d17bfb05‐d89e‐4d0c‐b958‐cddd8993928a                   Address Redacted                      First Class Mail
d17c2230‐9691‐40cb‐bee5‐bb1c2bc1e0a8                   Address Redacted                      First Class Mail
d17c3e1a‐0529‐464e‐8d84‐bf00da9e3559                   Address Redacted                      First Class Mail
d17cb835‐2db1‐4454‐b1a5‐10fceb0210d9                   Address Redacted                      First Class Mail
d17e4a16‐b7f9‐4041‐9ca8‐72cbbde11ad4                   Address Redacted                      First Class Mail
d1812014‐63f3‐42b4‐80c1‐3d5d50d35141                   Address Redacted                      First Class Mail
d183305a‐d2c8‐415f‐ab51‐fa7d7dbf83dc                   Address Redacted                      First Class Mail
d1867d26‐fd02‐4c14‐af77‐f73e124653f4                   Address Redacted                      First Class Mail
d187e8ba‐1201‐4eff‐9991‐eec7a3b08ed8                   Address Redacted                      First Class Mail
d1897e06‐f525‐439c‐b9eb‐5d8fa81bcae8                   Address Redacted                      First Class Mail
d189879e‐8a94‐417d‐b469‐df5cfe87bab4                   Address Redacted                      First Class Mail
d189d0a9‐d3cd‐4b0d‐b624‐c4764c25b263                   Address Redacted                      First Class Mail
d18c643b‐87a8‐40a3‐b8a9‐4ed20ef9ddf2                   Address Redacted                      First Class Mail
d19395bd‐d0c8‐4d55‐b5e5‐0ad332f4134b                   Address Redacted                      First Class Mail
d194bb17‐b223‐48a4‐990e‐6c579c27b1f5                   Address Redacted                      First Class Mail
d19e0758‐661b‐482c‐83f1‐f2f97c8ab871                   Address Redacted                      First Class Mail
d19e5afa‐245a‐4fca‐99fe‐051801818f26                   Address Redacted                      First Class Mail
d1a045c4‐d964‐42e5‐8816‐ef2e1b0066f0                   Address Redacted                      First Class Mail
d1aa737b‐ff67‐49f0‐b60e‐950708f46c06                   Address Redacted                      First Class Mail
d1aad3b9‐b792‐464b‐b459‐52f16b488b10                   Address Redacted                      First Class Mail
d1b00356‐6137‐4de2‐9ab9‐a7421f5bf453                   Address Redacted                      First Class Mail
d1b218b1‐d817‐4a9c‐a1fb‐dd47a3fbe665                   Address Redacted                      First Class Mail
d1b2a3a9‐447f‐40c4‐b46d‐b81fbe82d8f5                   Address Redacted                      First Class Mail
d1b46a9f‐f028‐4ff1‐9464‐f7a73dd6c33e                   Address Redacted                      First Class Mail
d1b51f05‐229a‐41d6‐99f2‐3dd975e1ec92                   Address Redacted                      First Class Mail
d1b58817‐65d5‐4c80‐91c0‐1719e69458a2                   Address Redacted                      First Class Mail
d1b64f17‐04a0‐4639‐b683‐27435ea24624                   Address Redacted                      First Class Mail
d1b72b80‐9464‐489f‐9377‐3731719f634a                   Address Redacted                      First Class Mail
d1b8d7f5‐fec8‐47a1‐b5b2‐88aee85601d7                   Address Redacted                      First Class Mail
d1bbaeb3‐02cf‐4a80‐8244‐3ad9c8349990                   Address Redacted                      First Class Mail




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                                                                Exhibit A
                                                                 Service List


                              Name                                              Address                         Method of Service
d1bf06fc‐874d‐4bec‐8659‐352c0119410a                   Address Redacted                      First Class Mail
d1c2c82e‐e507‐44f0‐a268‐5b47d22e1c6c                   Address Redacted                      First Class Mail
d1cc67d1‐9348‐4aa3‐8fec‐41b840748b4e                   Address Redacted                      First Class Mail
d1cd71d3‐d376‐43ce‐958c‐4e81a246c4d3                   Address Redacted                      First Class Mail
d1d2b464‐4b8f‐4e8a‐af82‐e3b6cbf61156                   Address Redacted                      First Class Mail
d1d7f28d‐50cd‐4d54‐b6ed‐a81530d94ad7                   Address Redacted                      First Class Mail
d1dc50b3‐4fde‐4f74‐b469‐0eca3a2d13a9                   Address Redacted                      First Class Mail
d1dd0385‐d833‐4707‐a601‐b7a4a58e79a6                   Address Redacted                      First Class Mail
d1dfd71d‐bd94‐490f‐a680‐9a54ec217c0e                   Address Redacted                      First Class Mail
d1e62c96‐55b2‐4a97‐b98d‐676ff67b6b6b                   Address Redacted                      First Class Mail
d1ea681b‐cf98‐491a‐ab59‐ba431a8e66b7                   Address Redacted                      First Class Mail
d1eece15‐7c02‐4875‐ba04‐35a388e1d90d                   Address Redacted                      First Class Mail
d1fd53b5‐cb6b‐4ed7‐a487‐52a9b72a46ed                   Address Redacted                      First Class Mail
d1ffc549‐f0f0‐483f‐8ddb‐c48405ddd705                   Address Redacted                      First Class Mail
d202644a‐73e1‐485a‐8af7‐80e0a38001f7                   Address Redacted                      First Class Mail
d204baf9‐256c‐4b33‐98a8‐3e7e1f619b4b                   Address Redacted                      First Class Mail
d20e8d31‐312f‐4434‐b1de‐de996418fbbf                   Address Redacted                      First Class Mail
d21488b5‐8ccf‐4249‐909c‐4c621b4a65fe                   Address Redacted                      First Class Mail
d2149a2d‐5f06‐4f7c‐b73c‐9e6f743af797                   Address Redacted                      First Class Mail
d214a4e6‐0517‐48e8‐b1d0‐981e8b5c13a9                   Address Redacted                      First Class Mail
d2174126‐6c28‐4155‐948b‐0a9c4384c2c0                   Address Redacted                      First Class Mail
d2198f74‐79d5‐4013‐87e9‐da132d6b65f0                   Address Redacted                      First Class Mail
d21b3e3a‐44e6‐4caf‐8188‐fdaaf67e6ff4                   Address Redacted                      First Class Mail
d21be684‐f34c‐4eaf‐ba8e‐b6d30a257107                   Address Redacted                      First Class Mail
d21c51fb‐796f‐46dc‐bc0b‐4726af3858f6                   Address Redacted                      First Class Mail
d21d84e5‐875f‐4223‐9c52‐a62a16299192                   Address Redacted                      First Class Mail
d21e0a2a‐6fa9‐43f8‐ba6d‐4de7569c29e7                   Address Redacted                      First Class Mail
d21f0e08‐5d64‐411a‐b2da‐94f7ed65c744                   Address Redacted                      First Class Mail
d22626b1‐2a56‐4b83‐9214‐f7363ae504f9                   Address Redacted                      First Class Mail
d226ffae‐f332‐406f‐b4f0‐cb13d4ce40f1                   Address Redacted                      First Class Mail
d228877a‐b947‐4d6f‐b28b‐d2f6aa4dc54a                   Address Redacted                      First Class Mail
d228f052‐65fe‐45d6‐8f2a‐5a15d0198c48                   Address Redacted                      First Class Mail
d22c48ce‐2fd0‐4516‐b926‐06af0db016c1                   Address Redacted                      First Class Mail
d22cc1d2‐6788‐4c21‐a4c6‐6b3fbef480d0                   Address Redacted                      First Class Mail
d22fbd6c‐d1ea‐4441‐9656‐518fda45b9ef                   Address Redacted                      First Class Mail
d2307458‐6336‐4b66‐9469‐17c15b494387                   Address Redacted                      First Class Mail
d236a27d‐d45c‐4396‐8b7c‐95bb547b5363                   Address Redacted                      First Class Mail
d23984b3‐374d‐44bf‐b6a5‐96c4f1e0679b                   Address Redacted                      First Class Mail
d240d92b‐e267‐485f‐8325‐a693155df4af                   Address Redacted                      First Class Mail
d24124b5‐b1bc‐4b74‐8814‐2a390f0fec83                   Address Redacted                      First Class Mail
d242906c‐a2ff‐46b0‐932e‐851d23b159a4                   Address Redacted                      First Class Mail
d2457595‐3dd6‐4c53‐af30‐fe5c1979f8c8                   Address Redacted                      First Class Mail
d2460aa0‐d467‐45fd‐83a4‐cd570a05219d                   Address Redacted                      First Class Mail
d24a2b52‐fefb‐48f2‐a92d‐5f8dc555ab28                   Address Redacted                      First Class Mail
d24a53b3‐cd9b‐4c15‐a380‐94ef9431e1f4                   Address Redacted                      First Class Mail
d24b71fa‐1359‐41d4‐9231‐1148277c9fa9                   Address Redacted                      First Class Mail
d24ba3f4‐4f8d‐408d‐96ec‐48bfacfce437                   Address Redacted                      First Class Mail
d24cabd3‐7f37‐4de2‐973c‐b43d9e6c5a9c                   Address Redacted                      First Class Mail
d24d767f‐7815‐4096‐a7c8‐8640881cecd2                   Address Redacted                      First Class Mail
d24dbde7‐2f8b‐48a0‐bd05‐3ada8050cf4d                   Address Redacted                      First Class Mail
d25346a2‐4322‐433f‐ab17‐59f71d210c51                   Address Redacted                      First Class Mail
d2567acd‐75c7‐4de0‐a75a‐e7e5e4819b86                   Address Redacted                      First Class Mail
d25ccb79‐d443‐44d3‐a0cb‐0a84b092d804                   Address Redacted                      First Class Mail
d25ce0ee‐86fa‐49a0‐88b6‐2dec83e33230                   Address Redacted                      First Class Mail
d25d0fb2‐de6a‐4452‐8ed4‐cabf26a344e9                   Address Redacted                      First Class Mail
d25ef48f‐f0a3‐4a38‐b016‐27f9dbbb4567                   Address Redacted                      First Class Mail
d25fb972‐43ad‐470d‐82f4‐389964cdf962                   Address Redacted                      First Class Mail
d264212f‐14df‐4fc8‐acd1‐715f609efa9d                   Address Redacted                      First Class Mail
d269c230‐ef94‐4a4c‐8d44‐9966de12b71e                   Address Redacted                      First Class Mail
d2711165‐d223‐43c3‐ad0d‐132674ff506a                   Address Redacted                      First Class Mail
d2717633‐11b1‐4f0f‐a15e‐a601d6ac3645                   Address Redacted                      First Class Mail
d271cfd9‐55d7‐4db5‐b2f8‐7214a2d24d62                   Address Redacted                      First Class Mail
d27466cc‐e356‐4c96‐8e9d‐9962d490e8d2                   Address Redacted                      First Class Mail
d276bdd2‐b619‐4dfc‐9385‐91b69d9acbf3                   Address Redacted                      First Class Mail
d276e086‐5919‐4c09‐bde9‐b665b6351411                   Address Redacted                      First Class Mail
d277c7b2‐86aa‐45f5‐8b07‐c7f6d0ae3da1                   Address Redacted                      First Class Mail
d27b2c62‐5258‐40e6‐8904‐e2391e29f223                   Address Redacted                      First Class Mail
d27bb34c‐511d‐46c1‐92f9‐0bf03e112494                   Address Redacted                      First Class Mail
d27c09b5‐05c7‐4b02‐acf0‐1dc372761c9f                   Address Redacted                      First Class Mail
d283262a‐43c5‐445f‐895b‐e4cfeb44f5a4                   Address Redacted                      First Class Mail
d28471cb‐e2d5‐4e4b‐b202‐2d47d512f5bb                   Address Redacted                      First Class Mail
d2850149‐f0ca‐4e60‐aca8‐a8d48a842dc7                   Address Redacted                      First Class Mail




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                                                                Exhibit A
                                                                 Service List


                               Name                                             Address                         Method of Service
d2854818‐2c4e‐4071‐9e3d‐fe1000ebd7aa                   Address Redacted                      First Class Mail
d28b46ac‐e701‐4af8‐ba43‐6e2de8c8d15d                   Address Redacted                      First Class Mail
d28c3cc0‐27da‐4548‐bdc0‐27c2fbfa86b0                   Address Redacted                      First Class Mail
d28eb845‐71f1‐4ad1‐9488‐a75162bca626                   Address Redacted                      First Class Mail
d292d085‐5cdb‐472e‐8019‐4768fedf5b2e                   Address Redacted                      First Class Mail
d293ac95‐27c6‐4efe‐ae26‐c4acd85a01d4                   Address Redacted                      First Class Mail
d294789d‐5b8b‐4ca1‐8ec7‐1ca60e731238                   Address Redacted                      First Class Mail
d298a059‐f321‐439e‐a18b‐2552f2f6872d                   Address Redacted                      First Class Mail
d299c57e‐95a3‐4d8b‐a740‐c1b73efa8c31                   Address Redacted                      First Class Mail
d29f88dc‐1886‐46a6‐a70b‐14369a704e46                   Address Redacted                      First Class Mail
d2a173bf‐10fe‐49d0‐88e5‐45a15a058db0                   Address Redacted                      First Class Mail
d2a3385c‐2e35‐4892‐8c39‐88ef0d22b6ea                   Address Redacted                      First Class Mail
d2a38ee9‐a3c6‐456a‐b7e3‐fa21ac787dcd                   Address Redacted                      First Class Mail
d2a42643‐b349‐4511‐b724‐5f6570a91a6f                   Address Redacted                      First Class Mail
d2a535bd‐417c‐47fb‐b10f‐c98b04c89c98                   Address Redacted                      First Class Mail
d2a54612‐ce53‐41cf‐9573‐b6f6c5be9bd1                   Address Redacted                      First Class Mail
d2a749d0‐ef33‐405d‐8288‐6372e18cc4e6                   Address Redacted                      First Class Mail
d2a7689a‐a7fa‐449c‐9c40‐a203ed24664c                   Address Redacted                      First Class Mail
d2a86e7b‐a289‐4329‐8d0f‐fd2dfdacc03f                   Address Redacted                      First Class Mail
d2aaac3e‐25bb‐4eab‐bc16‐da4d393e9b66                   Address Redacted                      First Class Mail
d2aafae6‐62ca‐4c5d‐88f1‐3363ceafc31a                   Address Redacted                      First Class Mail
d2ad2d48‐39c6‐4f95‐a852‐d40350b9d514                   Address Redacted                      First Class Mail
d2ada915‐99d0‐45aa‐abd2‐79fbc73caab0                   Address Redacted                      First Class Mail
d2adfd0b‐2ede‐47b1‐90de‐7b26b21682a7                   Address Redacted                      First Class Mail
d2ae87a1‐5b39‐4eef‐aea9‐c2d811278058                   Address Redacted                      First Class Mail
d2af096a‐917b‐4404‐b873‐edcd21c74cf1                   Address Redacted                      First Class Mail
d2af2389‐d66f‐4a49‐b11b‐a8004490003c                   Address Redacted                      First Class Mail
d2b1d8cc‐7200‐47c4‐a6be‐aacb2a9ded49                   Address Redacted                      First Class Mail
d2b88782‐2bb8‐4427‐8460‐634c4b8e501e                   Address Redacted                      First Class Mail
d2b8b345‐feba‐4153‐a239‐fe9b5a7b3ce6                   Address Redacted                      First Class Mail
d2b93507‐9861‐4191‐826e‐2ae17a4edda4                   Address Redacted                      First Class Mail
d2bb6653‐6ea8‐4e71‐9358‐813c721f711a                   Address Redacted                      First Class Mail
d2c262a0‐4ad0‐41c8‐a329‐21f1c84bb0f3                   Address Redacted                      First Class Mail
d2c5d36d‐1051‐402c‐b0c7‐f92d14228f95                   Address Redacted                      First Class Mail
d2c5f0ef‐7dbe‐450f‐aee7‐9b83e0054461                   Address Redacted                      First Class Mail
d2c91e47‐48e4‐4164‐a488‐31f7be1f136b                   Address Redacted                      First Class Mail
d2c9a51d‐c291‐4177‐b496‐78c97025e8d1                   Address Redacted                      First Class Mail
d2cc04cb‐aa3b‐4a39‐880c‐75e4e571c1cf                   Address Redacted                      First Class Mail
d2cdad48‐ebb7‐40ab‐a451‐58401d6d8ec9                   Address Redacted                      First Class Mail
d2d4ae9a‐ef3f‐464a‐a4ab‐8068b1b32106                   Address Redacted                      First Class Mail
d2d77371‐4378‐40f7‐8df9‐135c877edbf3                   Address Redacted                      First Class Mail
d2d7a1e1‐ca30‐4595‐af7d‐096fdeef0bff                   Address Redacted                      First Class Mail
d2d96fe9‐c8cb‐48ef‐8e8b‐68a0aac356dc                   Address Redacted                      First Class Mail
d2d9da3f‐acff‐42db‐a5ff‐a7cc522b9c33                   Address Redacted                      First Class Mail
d2d9e590‐f06e‐4e77‐8b57‐1e094a21abc4                   Address Redacted                      First Class Mail
d2e35380‐8348‐4cce‐9016‐74c1bbe18e78                   Address Redacted                      First Class Mail
d2e52023‐ac8c‐431a‐9b0c‐16b12d3b7893                   Address Redacted                      First Class Mail
d2e961ff‐2761‐4091‐9481‐aa43ead9e050                   Address Redacted                      First Class Mail
d2e9e61c‐1d23‐4b56‐9d5a‐d36e041495b2                   Address Redacted                      First Class Mail
d2ea07e4‐77f0‐492e‐a42b‐63ff7555c09f                   Address Redacted                      First Class Mail
d2ea817e‐bc63‐4663‐b1a7‐789aa31e2e54                   Address Redacted                      First Class Mail
d2ebd1dd‐321d‐4c7f‐8176‐5c2082525cc6                   Address Redacted                      First Class Mail
d2f0d52b‐c793‐47e7‐bc53‐6ecfb729fe06                   Address Redacted                      First Class Mail
d2f53d42‐7963‐42b0‐a3eb‐55fc0ced6550                   Address Redacted                      First Class Mail
d2f8f6e0‐a845‐4176‐9f6d‐b153ecf3d464                   Address Redacted                      First Class Mail
d2fbde99‐f758‐4f6b‐9648‐d7f18cb0980b                   Address Redacted                      First Class Mail
d2fcae43‐9bdf‐489e‐aeba‐be23acd0cdcd                   Address Redacted                      First Class Mail
d2fe73cd‐b3e5‐4280‐a90a‐b32b4af3b974                   Address Redacted                      First Class Mail
d3045c0c‐1c86‐45d0‐a545‐a003b579125e                   Address Redacted                      First Class Mail
d30486b9‐06f2‐43b8‐a0bd‐9028c83b42ce                   Address Redacted                      First Class Mail
d307368d‐7ca4‐4e7c‐83f3‐f5cf0a5231c3                   Address Redacted                      First Class Mail
d3083cc8‐dfa3‐4892‐aa6c‐e35f5a4bcc7c                   Address Redacted                      First Class Mail
d3090d85‐e4ab‐4fd9‐81b4‐471e0146d87e                   Address Redacted                      First Class Mail
d30e0219‐3a9c‐4565‐a230‐a8ab0ba2f991                   Address Redacted                      First Class Mail
d30ffbad‐22c2‐4b2d‐9205‐7227f5273511                   Address Redacted                      First Class Mail
d313c194‐43a7‐4566‐b695‐8385ec1e4227                   Address Redacted                      First Class Mail
d3176a11‐797f‐4169‐bea2‐0e8ebb3fe360                   Address Redacted                      First Class Mail
d32659ef‐2163‐4ea0‐af3a‐f3c629728fe6                   Address Redacted                      First Class Mail
d327b7af‐a4d3‐4473‐a3f9‐e903405d6506                   Address Redacted                      First Class Mail
d327e36c‐ad7e‐4e3b‐a610‐34fef4e4dd11                   Address Redacted                      First Class Mail
d3285452‐d8f3‐4bda‐bebf‐eddf186538ee                   Address Redacted                      First Class Mail
d32dcf98‐8543‐4395‐9edb‐17dc4e5e1b78                   Address Redacted                      First Class Mail




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                                                                 Service List


                              Name                                              Address                         Method of Service
d330cb69‐9c6c‐44b7‐8a0e‐fe5b8e551fb8                   Address Redacted                      First Class Mail
d3314c7a‐d546‐43b4‐9d46‐a4fdb34929ec                   Address Redacted                      First Class Mail
d332ee24‐dbe8‐4976‐9d96‐294c45b178a0                   Address Redacted                      First Class Mail
d3374efb‐820c‐4019‐85d5‐3a6a46e50224                   Address Redacted                      First Class Mail
d337da21‐a6b7‐48af‐93dd‐326b15217708                   Address Redacted                      First Class Mail
d33b4660‐be47‐4638‐aea4‐7b2c396541ae                   Address Redacted                      First Class Mail
d33dae2b‐f31b‐429a‐938a‐84ed6863bfb7                   Address Redacted                      First Class Mail
d33dcc65‐8928‐467d‐aec8‐0d676b543a78                   Address Redacted                      First Class Mail
d340809c‐cd49‐48b0‐a1e1‐c632e68bc091                   Address Redacted                      First Class Mail
d348ff36‐3c1f‐4fcf‐ab4b‐e473367dc8f9                   Address Redacted                      First Class Mail
d34c3e9a‐a171‐4474‐9017‐8368afaab368                   Address Redacted                      First Class Mail
d34cff5b‐9267‐40d9‐b4f6‐e2b51a2c7508                   Address Redacted                      First Class Mail
d34eb90d‐2e01‐46ef‐b7d1‐78d5f89bc4c9                   Address Redacted                      First Class Mail
d34eeb6a‐4b95‐4f38‐9227‐d22c97d90845                   Address Redacted                      First Class Mail
d353436a‐7613‐4461‐b251‐4ecefedbf346                   Address Redacted                      First Class Mail
d3537b73‐7f9a‐4907‐a9aa‐f081bba1fd53                   Address Redacted                      First Class Mail
d353b2ad‐e446‐48aa‐bd6d‐ebe8063027c4                   Address Redacted                      First Class Mail
d35841c0‐3820‐413d‐876f‐9c9142cd4563                   Address Redacted                      First Class Mail
d3595254‐410b‐478d‐9825‐ca5091980c41                   Address Redacted                      First Class Mail
d35aa44a‐2476‐4629‐b4f2‐3cdf98149239                   Address Redacted                      First Class Mail
d35e8bf0‐5044‐4eaa‐abd3‐09079c4730e3                   Address Redacted                      First Class Mail
d360a4e9‐d53a‐4c6a‐bd89‐57c95a47398c                   Address Redacted                      First Class Mail
d3664c73‐c7a9‐4c01‐a3cf‐0324f85be57b                   Address Redacted                      First Class Mail
d36851fc‐f9aa‐4d71‐b257‐e8cc5fcf3955                   Address Redacted                      First Class Mail
d36962c6‐af06‐4dde‐8c94‐d3793fcb4adc                   Address Redacted                      First Class Mail
d3698277‐297e‐4597‐aee8‐cd76c757e50c                   Address Redacted                      First Class Mail
d36e77fd‐f388‐4376‐bc61‐bb11ae4a0491                   Address Redacted                      First Class Mail
d374e7aa‐4d1d‐4e93‐962a‐557bc9fcb9fc                   Address Redacted                      First Class Mail
d3784db2‐3988‐4ab3‐a394‐0a701db992fb                   Address Redacted                      First Class Mail
d37c27a3‐206f‐477c‐b635‐53d9d0c070cb                   Address Redacted                      First Class Mail
d37f1181‐c53e‐467b‐a11a‐3131cb46a778                   Address Redacted                      First Class Mail
d381fe50‐7327‐48f0‐ba1c‐f3311d88e64a                   Address Redacted                      First Class Mail
d382353e‐766c‐411d‐b2bd‐a5a460d6b7c4                   Address Redacted                      First Class Mail
d3827877‐22af‐458d‐8197‐c4cde4ef3ade                   Address Redacted                      First Class Mail
d3839229‐9bd4‐46cc‐b028‐0ca9984d30dc                   Address Redacted                      First Class Mail
d3840ddc‐2e3f‐497f‐9f7d‐46e053c566f9                   Address Redacted                      First Class Mail
d3852817‐9ef6‐4b7f‐b271‐f5200779a60d                   Address Redacted                      First Class Mail
d38ae9c8‐5439‐41b7‐bd3b‐4cdc787bfc75                   Address Redacted                      First Class Mail
d38ea924‐410f‐41ea‐8a69‐8106ecc21fcf                   Address Redacted                      First Class Mail
d38fc8a2‐c6d9‐436c‐8645‐1e6f3000a59a                   Address Redacted                      First Class Mail
d3918fe7‐eb01‐4438‐8c87‐7afd1648bed1                   Address Redacted                      First Class Mail
d392c536‐2dbb‐4588‐8691‐7eaae5b0c119                   Address Redacted                      First Class Mail
d392e21c‐c8fa‐404b‐905a‐95e3779ba294                   Address Redacted                      First Class Mail
d393f126‐f68b‐43e5‐b1cb‐e19e19eeb7e9                   Address Redacted                      First Class Mail
d3978e4a‐a4f1‐4055‐9d48‐45d94315dc86                   Address Redacted                      First Class Mail
d399d27d‐f41d‐4c82‐ab6e‐7863c5bfed3d                   Address Redacted                      First Class Mail
d39bea91‐cf78‐42f2‐8aee‐8e9a19079310                   Address Redacted                      First Class Mail
d3a3a76f‐0c95‐4119‐88ad‐daeb5087b518                   Address Redacted                      First Class Mail
d3a3c30b‐3814‐4f6e‐a9e9‐523c52a06584                   Address Redacted                      First Class Mail
d3a7c380‐9a82‐4af7‐8114‐89717d5d5e6b                   Address Redacted                      First Class Mail
d3aa989e‐7ef2‐45ed‐adef‐eb0784a06c86                   Address Redacted                      First Class Mail
d3ab5afd‐d502‐4a30‐9ca8‐c7f86f064e5e                   Address Redacted                      First Class Mail
d3abce04‐8075‐4ed3‐a8d2‐b3214c3abd4a                   Address Redacted                      First Class Mail
d3b0f396‐f98e‐46f1‐a572‐3b68c57b2421                   Address Redacted                      First Class Mail
d3b28d99‐25b2‐44de‐a593‐c7b44fe59f71                   Address Redacted                      First Class Mail
d3b297a4‐5c02‐4a15‐93e6‐83a631f1a81f                   Address Redacted                      First Class Mail
d3b48fad‐6927‐4f11‐8846‐52717b6cfbb0                   Address Redacted                      First Class Mail
d3b4f05e‐f909‐473a‐93d6‐05e4ae61b07e                   Address Redacted                      First Class Mail
d3b69a00‐081b‐47cb‐94f7‐62120639c0fc                   Address Redacted                      First Class Mail
d3b6f48c‐6a06‐443f‐ae58‐de1e3bd6374a                   Address Redacted                      First Class Mail
d3ba801e‐6e6c‐44dd‐a5d1‐0d49d2b3e472                   Address Redacted                      First Class Mail
d3bb873c‐d34e‐4d6f‐90a3‐f30a8411dbb8                   Address Redacted                      First Class Mail
d3bbfaae‐c31b‐40b4‐8b89‐c9b1ab4b1078                   Address Redacted                      First Class Mail
d3bd5a71‐1760‐4f06‐bbbb‐613ac0e4f4df                   Address Redacted                      First Class Mail
d3bfb0d8‐a721‐48ee‐a774‐49902b5ff90a                   Address Redacted                      First Class Mail
d3c35282‐2da5‐4838‐a68b‐99af9946b1cb                   Address Redacted                      First Class Mail
d3c579c0‐8de0‐47d7‐bd8f‐62689f5da52a                   Address Redacted                      First Class Mail
d3c8418d‐3c1c‐4727‐b998‐cb6987f94bce                   Address Redacted                      First Class Mail
d3ca2c98‐6347‐43ae‐9a95‐a468fe6c4581                   Address Redacted                      First Class Mail
d3cc63a0‐437f‐4dbb‐939c‐46691c7d1379                   Address Redacted                      First Class Mail
d3cfc973‐89dc‐4140‐b78a‐d217ee087fa4                   Address Redacted                      First Class Mail
d3d392c6‐0e1c‐42fe‐8ed5‐ded2e13cfd57                   Address Redacted                      First Class Mail




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                                                                Exhibit A
                                                                 Service List


                              Name                                              Address                         Method of Service
d3d8798d‐9665‐4fbf‐a032‐2c2930c35e16                   Address Redacted                      First Class Mail
d3d95d71‐72d3‐42eb‐8031‐c99b36051df6                   Address Redacted                      First Class Mail
d3dca856‐5bcd‐48ee‐90de‐8908d95131dc                   Address Redacted                      First Class Mail
d3dea474‐ec07‐4663‐8e8f‐3f0b1a5c6105                   Address Redacted                      First Class Mail
d3dfb2db‐6c11‐488e‐99e1‐c7eda15cb3fd                   Address Redacted                      First Class Mail
d3e0ed7b‐8a20‐4ad4‐b41f‐00674468eb57                   Address Redacted                      First Class Mail
d3e31f2c‐7dad‐454b‐a1b3‐3afb9e4154b4                   Address Redacted                      First Class Mail
d3e35e4d‐4f44‐4ac6‐a564‐f0dbbaef15ed                   Address Redacted                      First Class Mail
d3e48fb6‐feb6‐48d4‐9435‐b3e222be8676                   Address Redacted                      First Class Mail
d3e62448‐a2c4‐4320‐b478‐6c02aac05b96                   Address Redacted                      First Class Mail
d3e8439a‐f05e‐4043‐8eb1‐3118abb43d76                   Address Redacted                      First Class Mail
d3eb1ca4‐f1ba‐4515‐ac2a‐decad2b49e1b                   Address Redacted                      First Class Mail
d3ed5f6a‐7212‐41ed‐b893‐497f0d24317c                   Address Redacted                      First Class Mail
d3edff01‐0a0f‐48de‐8084‐a427f83e73a4                   Address Redacted                      First Class Mail
d3f553c0‐00a1‐4119‐8299‐839a87271af2                   Address Redacted                      First Class Mail
d3f6491d‐cdd7‐4d64‐9088‐9a4e13b0ef2e                   Address Redacted                      First Class Mail
d3f9d031‐37f4‐468e‐b786‐77011d4e8e32                   Address Redacted                      First Class Mail
d403834e‐e870‐42e4‐b63c‐658b26f933b4                   Address Redacted                      First Class Mail
d406086d‐0516‐470a‐b427‐226b88bb5d6f                   Address Redacted                      First Class Mail
d41283ae‐d8a6‐402f‐b368‐0ce6eae34362                   Address Redacted                      First Class Mail
d417b3cc‐e09b‐4381‐ac19‐900add03b044                   Address Redacted                      First Class Mail
d4184a18‐c893‐4be9‐b42e‐8b91b85fe13c                   Address Redacted                      First Class Mail
d41bfddd‐fa68‐4b75‐b74c‐842bea938385                   Address Redacted                      First Class Mail
d41dd56b‐2e61‐4948‐978b‐c620a3f6c885                   Address Redacted                      First Class Mail
d41eabde‐3999‐4dad‐a812‐87eaef774206                   Address Redacted                      First Class Mail
d423a9e4‐3fb5‐48ac‐8777‐42bd53d9cc7e                   Address Redacted                      First Class Mail
d4281796‐102f‐4427‐9d99‐afa6abbf4308                   Address Redacted                      First Class Mail
d42b5290‐504d‐4271‐88f2‐591083e22362                   Address Redacted                      First Class Mail
d433ae67‐55e9‐455b‐9e3c‐7524482270b8                   Address Redacted                      First Class Mail
d433b35a‐1887‐4fc9‐9ae0‐c2c427d8c80d                   Address Redacted                      First Class Mail
d433e22e‐8514‐4764‐94e3‐a26ebfb4bdd5                   Address Redacted                      First Class Mail
d43555ca‐a7aa‐47b7‐aa66‐8c280bb1f166                   Address Redacted                      First Class Mail
d435c859‐b725‐4b69‐be7c‐a6c9ada00a8e                   Address Redacted                      First Class Mail
d43642d1‐2a49‐484f‐9b41‐1f72fddb1bfb                   Address Redacted                      First Class Mail
d437761e‐e2c8‐43e3‐a08c‐b263d6e86a9e                   Address Redacted                      First Class Mail
d437f4d6‐ab69‐4d52‐b0dc‐dd4c962abbd8                   Address Redacted                      First Class Mail
d4385670‐1828‐4d1f‐bb63‐a2ca0d37a0d5                   Address Redacted                      First Class Mail
d4389787‐d739‐4acd‐9b1b‐1feaf439710f                   Address Redacted                      First Class Mail
d43ee622‐2021‐4cd6‐b460‐7c51f1ce2e17                   Address Redacted                      First Class Mail
d4406876‐0645‐4458‐91ad‐a310cb6906fa                   Address Redacted                      First Class Mail
d443b442‐2c2e‐44c9‐be3a‐9a9ef6529116                   Address Redacted                      First Class Mail
d44c33fa‐24ad‐48a6‐836a‐9a809b38f542                   Address Redacted                      First Class Mail
d44dc51a‐15f8‐4678‐b310‐7dc5084a6cf4                   Address Redacted                      First Class Mail
d44e8a1a‐fd24‐41e6‐ba54‐8032965d94f7                   Address Redacted                      First Class Mail
d44ecc04‐37f3‐4566‐92d4‐a7254cebf959                   Address Redacted                      First Class Mail
d4526246‐28b0‐4ff6‐b7f9‐0173481dcf60                   Address Redacted                      First Class Mail
d4599c88‐2bfd‐4bdd‐aed5‐0a1cb6232174                   Address Redacted                      First Class Mail
d45b640d‐7180‐459b‐bd81‐d7c6707dd760                   Address Redacted                      First Class Mail
d45b806f‐f5cb‐45c1‐a3ad‐cc9e2ffc7447                   Address Redacted                      First Class Mail
d45dd1ac‐754a‐44fc‐819b‐d5334628df67                   Address Redacted                      First Class Mail
d461f7cf‐72b1‐4e6a‐8eb0‐0f9bc680233b                   Address Redacted                      First Class Mail
d4655b1e‐0bd6‐4982‐afa7‐77c7b071157d                   Address Redacted                      First Class Mail
d469ef1c‐68c9‐4c19‐8cde‐db0d1606ba13                   Address Redacted                      First Class Mail
d46b144c‐826e‐4726‐a95f‐67e6c14ea881                   Address Redacted                      First Class Mail
d46c3f56‐2b08‐4a8e‐8d0b‐03e7b32bbafd                   Address Redacted                      First Class Mail
d46c8a58‐0872‐4578‐b319‐43a5ac86c77a                   Address Redacted                      First Class Mail
d46d8d5c‐fe65‐4ea6‐baf3‐904947a05c01                   Address Redacted                      First Class Mail
d46fe7c1‐f310‐4902‐afd2‐23c95514d415                   Address Redacted                      First Class Mail
d475577c‐4b1d‐4f2a‐bcd1‐962fead4b0ea                   Address Redacted                      First Class Mail
d4760a88‐72ed‐46b9‐8555‐0c418a91c860                   Address Redacted                      First Class Mail
d4788cbe‐7aa7‐4b18‐90ed‐e03826e6731e                   Address Redacted                      First Class Mail
d47915a1‐e618‐4901‐a390‐a85bd38f5ad5                   Address Redacted                      First Class Mail
d47f9aa8‐155b‐4bb6‐b103‐69d9226b9dd4                   Address Redacted                      First Class Mail
d486872b‐2572‐47c2‐ac20‐0efb399ca8c4                   Address Redacted                      First Class Mail
d486fd92‐4d1b‐4e14‐a04a‐d7a44c329382                   Address Redacted                      First Class Mail
d4881065‐6208‐4ccb‐bf59‐52947f5f63d3                   Address Redacted                      First Class Mail
d488151c‐80ad‐410b‐8e2c‐8a250991a132                   Address Redacted                      First Class Mail
d48ac2b0‐904c‐4cd8‐984f‐a70614087369                   Address Redacted                      First Class Mail
d48d8220‐2931‐4c7b‐9bad‐6ce91a3a5d06                   Address Redacted                      First Class Mail
d48fbc55‐7f5e‐4727‐9b8b‐e6275d89ea25                   Address Redacted                      First Class Mail
d496b6f8‐b3dd‐4f13‐9a37‐76bd19b241f9                   Address Redacted                      First Class Mail
d4984fe9‐66c9‐439f‐ae52‐81bdfe1f06ab                   Address Redacted                      First Class Mail




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                                                                 Service List


                              Name                                              Address                         Method of Service
d49897a9‐b1eb‐42c5‐8c98‐eb6265993860                   Address Redacted                      First Class Mail
d49b3af4‐5c9c‐4b7b‐94d8‐dad13e490435                   Address Redacted                      First Class Mail
d49cae3d‐f970‐4e93‐9680‐5345f06a6201                   Address Redacted                      First Class Mail
d49d6150‐c8a3‐4f58‐adff‐0e3c11806939                   Address Redacted                      First Class Mail
d4a0518d‐e4cc‐41e2‐a2b6‐5e582df5f9b2                   Address Redacted                      First Class Mail
d4a24f48‐f948‐4b50‐8ff3‐58ab1c9dfe8a                   Address Redacted                      First Class Mail
d4a37ab9‐bf3e‐4710‐8e68‐703815a4442f                   Address Redacted                      First Class Mail
d4ab79a6‐293f‐46e6‐9ee3‐e083adbd6003                   Address Redacted                      First Class Mail
d4abe25e‐ee41‐4ed5‐abcd‐9b6286b542c3                   Address Redacted                      First Class Mail
d4b0e09a‐e8b9‐4739‐8696‐ebe493881bc4                   Address Redacted                      First Class Mail
d4b1833a‐c6bc‐4507‐b5a5‐04cbfd3b2a59                   Address Redacted                      First Class Mail
d4b2034c‐75ff‐42fc‐b531‐3b5cb3c5abe8                   Address Redacted                      First Class Mail
d4b396d5‐b6db‐431d‐a2db‐7f052d9679e5                   Address Redacted                      First Class Mail
d4b6d14b‐bd5b‐433d‐b823‐67169a15d286                   Address Redacted                      First Class Mail
d4b6f42b‐0cff‐4234‐83e9‐b19dbfadaeee                   Address Redacted                      First Class Mail
d4b7215a‐c221‐4209‐a8c6‐c48530e9941c                   Address Redacted                      First Class Mail
d4b7c760‐83c7‐4659‐ae1f‐f60424c4e155                   Address Redacted                      First Class Mail
d4b8ecc7‐f208‐4f21‐bd84‐85514fbe8525                   Address Redacted                      First Class Mail
d4b97eb4‐9e60‐4f03‐8eb6‐014915996af2                   Address Redacted                      First Class Mail
d4bb4435‐fe05‐48df‐a49f‐6d4d599ba84c                   Address Redacted                      First Class Mail
d4bdcc3a‐85f4‐438c‐9b8d‐d5f746de99bb                   Address Redacted                      First Class Mail
d4bdd9d5‐277f‐4788‐9465‐4f13ab639d37                   Address Redacted                      First Class Mail
d4bf16d4‐2ef1‐4350‐a564‐97a7f8a20f4a                   Address Redacted                      First Class Mail
d4c545f5‐475a‐4605‐8c70‐b4d0740ff6d3                   Address Redacted                      First Class Mail
d4c73499‐7e8f‐4060‐ab16‐20466977768b                   Address Redacted                      First Class Mail
d4c7dae0‐5125‐489b‐a583‐b6be740a11b9                   Address Redacted                      First Class Mail
d4c9b3fa‐b233‐4050‐a56f‐bf3bd4732c0b                   Address Redacted                      First Class Mail
d4d04227‐5a3d‐4a42‐a28e‐4345d5361333                   Address Redacted                      First Class Mail
d4d0f116‐380f‐48cb‐83ad‐15c301f16311                   Address Redacted                      First Class Mail
d4d50d33‐4351‐47c0‐87dd‐4912195c8735                   Address Redacted                      First Class Mail
d4d82b37‐b079‐4d18‐ba34‐a8381ab3fe68                   Address Redacted                      First Class Mail
d4d93780‐cda8‐4df6‐a72f‐8c07bf489605                   Address Redacted                      First Class Mail
d4d93d22‐2122‐4803‐8ce1‐d717e0474c4c                   Address Redacted                      First Class Mail
d4d9c1bc‐945d‐4b24‐b5b8‐8ee4c39f6e7b                   Address Redacted                      First Class Mail
d4dc79ae‐739e‐44c1‐8d2b‐dbabcb559fc1                   Address Redacted                      First Class Mail
d4e0f5ea‐4453‐4351‐9d1f‐e550fe7ece4a                   Address Redacted                      First Class Mail
d4e14d4c‐fefa‐4544‐b10b‐4a4fc3b18215                   Address Redacted                      First Class Mail
d4e2b9cd‐962a‐4a28‐b289‐1820ddc88e49                   Address Redacted                      First Class Mail
d4e97910‐11a3‐4445‐946c‐c0747db3327a                   Address Redacted                      First Class Mail
d4ea05fc‐2e3d‐47da‐b6c4‐8b655d58855d                   Address Redacted                      First Class Mail
d4ea972b‐0c73‐4806‐b0a1‐c6088c7ba501                   Address Redacted                      First Class Mail
d4ed4291‐2e0e‐40fe‐b3cf‐744a57f74f64                   Address Redacted                      First Class Mail
d4eda45e‐33ac‐40b4‐a1e4‐4d3577c3ddff                   Address Redacted                      First Class Mail
d4f4527c‐ce9a‐484c‐8af7‐b9169fe4b017                   Address Redacted                      First Class Mail
d4f46ee1‐2980‐4a9b‐ad13‐e885a66642fc                   Address Redacted                      First Class Mail
d4f6e8df‐790e‐4f55‐a298‐84c5fbf4937c                   Address Redacted                      First Class Mail
d4f89cfc‐7c53‐41ca‐bd59‐ebf7bf04b40e                   Address Redacted                      First Class Mail
d4fd6b51‐7a6f‐4892‐a9c7‐856bd7beba51                   Address Redacted                      First Class Mail
d4fd923b‐e3cb‐43d5‐bfc0‐4837a4986812                   Address Redacted                      First Class Mail
d4fe69d4‐5ff5‐449f‐9eb4‐92106c66c083                   Address Redacted                      First Class Mail
d50254ae‐3154‐4d70‐b6fd‐b273322fb746                   Address Redacted                      First Class Mail
d5058d6a‐82e6‐4042‐93b9‐7fec9069cf06                   Address Redacted                      First Class Mail
d508c93f‐1b7a‐4511‐99e8‐0acdd569af1d                   Address Redacted                      First Class Mail
d50aab22‐f26c‐470b‐90c7‐defdecd746e2                   Address Redacted                      First Class Mail
d50b4ff2‐c481‐476d‐85c1‐5c74b8abf9ac                   Address Redacted                      First Class Mail
d50bf68e‐e3d5‐4959‐a636‐b49d8f6ff76c                   Address Redacted                      First Class Mail
d50ebba7‐9116‐4849‐a72d‐76c69df8292a                   Address Redacted                      First Class Mail
d50f5a9a‐045e‐4f4f‐91ea‐ef6da0bea8f0                   Address Redacted                      First Class Mail
d5104c2b‐ba1a‐401a‐8ee7‐4b905a268fd4                   Address Redacted                      First Class Mail
d51107b7‐a34f‐4daf‐adb2‐53e9e31a74de                   Address Redacted                      First Class Mail
d5127068‐d3ce‐423e‐b4d4‐166220c83ce9                   Address Redacted                      First Class Mail
d522ff36‐2e08‐47c2‐a393‐67ecb7011320                   Address Redacted                      First Class Mail
d523fa63‐b595‐45ca‐8e9c‐1e765d3d9ecd                   Address Redacted                      First Class Mail
d5252ee5‐f2ad‐457a‐b35a‐8067ec7f1cb4                   Address Redacted                      First Class Mail
d5296463‐5a15‐42ec‐b1ca‐61c68f69d06c                   Address Redacted                      First Class Mail
d5304acb‐6f41‐4ec8‐a5a4‐7b35f650071c                   Address Redacted                      First Class Mail
d533a152‐959c‐455a‐847b‐478019674486                   Address Redacted                      First Class Mail
d5378880‐7e8c‐4345‐bb95‐c495edd2d6a5                   Address Redacted                      First Class Mail
d537e64f‐69dd‐47e2‐9083‐8b7ae8b60637                   Address Redacted                      First Class Mail
d53a8986‐795b‐4c5b‐ad36‐89b9f2b2c0cb                   Address Redacted                      First Class Mail
d53d1a93‐9b32‐474c‐90c8‐77c916ccf112                   Address Redacted                      First Class Mail
d5491d57‐8e68‐4866‐9225‐a2f90cadc63e                   Address Redacted                      First Class Mail




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                               Name                                             Address                         Method of Service
d54b8008‐2014‐432e‐82ed‐64f3fb02a5ad                   Address Redacted                      First Class Mail
d54bca36‐241c‐4f4d‐a8ea‐1358e48bd431                   Address Redacted                      First Class Mail
d551421b‐6110‐4688‐b53f‐08690bab6d7e                   Address Redacted                      First Class Mail
d5547fff‐5ff1‐4639‐8c54‐f362336fa185                   Address Redacted                      First Class Mail
d557383a‐fe18‐4a4a‐b80a‐033900259703                   Address Redacted                      First Class Mail
d5597db8‐8f43‐4e3e‐a094‐815c8ff5e546                   Address Redacted                      First Class Mail
d55d8b2f‐d40c‐411e‐b050‐b03f8610f38b                   Address Redacted                      First Class Mail
d55e37c8‐344c‐4fb5‐9523‐dc7504708975                   Address Redacted                      First Class Mail
d562d6d7‐3306‐4702‐b864‐a26936d23c77                   Address Redacted                      First Class Mail
d5651918‐b181‐40cf‐8450‐142e3275242a                   Address Redacted                      First Class Mail
d567b419‐df7e‐4fbe‐80a3‐268bac4df2ef                   Address Redacted                      First Class Mail
d569d610‐24a2‐48b9‐930c‐d6df591ab6a1                   Address Redacted                      First Class Mail
d56b253d‐34a4‐4ec3‐a037‐b6455f53202d                   Address Redacted                      First Class Mail
d56babcf‐20e3‐4b56‐9026‐174b037d0f3f                   Address Redacted                      First Class Mail
d5739e06‐d9a4‐49b9‐9ad2‐3094c089a513                   Address Redacted                      First Class Mail
d5770511‐e7d8‐4f86‐952c‐41e1976885c4                   Address Redacted                      First Class Mail
d5772e8b‐f2c4‐4909‐a3d2‐8bb1cea210ca                   Address Redacted                      First Class Mail
d579f146‐d643‐4514‐b7df‐443a9c4fa28a                   Address Redacted                      First Class Mail
d57bc950‐9bd1‐4c7a‐8930‐87f5163174ae                   Address Redacted                      First Class Mail
d580a2d9‐bbe4‐47e8‐9d6b‐0c799c765393                   Address Redacted                      First Class Mail
d581f82c‐dc05‐45c8‐9d5d‐d7540a4414c3                   Address Redacted                      First Class Mail
d5828cc2‐ffa3‐40a1‐9552‐60cbe825acce                   Address Redacted                      First Class Mail
d582ab20‐b8a5‐4f58‐b83d‐069aff5161ca                   Address Redacted                      First Class Mail
d587b876‐0872‐46e7‐8211‐e15b2d96af28                   Address Redacted                      First Class Mail
d58a9434‐09f4‐4aef‐ab98‐c82455d61935                   Address Redacted                      First Class Mail
d58f0173‐c002‐4dab‐b426‐a6caa3d6385c                   Address Redacted                      First Class Mail
d58f740e‐2f47‐4865‐a14d‐9c9c9f46e012                   Address Redacted                      First Class Mail
d591e83d‐5d86‐4a6e‐97aa‐434196df51a0                   Address Redacted                      First Class Mail
d5928f87‐243e‐406b‐ae3e‐eec0ffe02235                   Address Redacted                      First Class Mail
d5941541‐b7a9‐43a4‐a8e9‐01508c8f3354                   Address Redacted                      First Class Mail
d5949ff7‐af0a‐4ffc‐ad3a‐f85752e4ac70                   Address Redacted                      First Class Mail
d597adb1‐9d66‐440f‐a0e2‐2ef404b542dc                   Address Redacted                      First Class Mail
d59a6c2c‐77eb‐441b‐9e05‐d4223b6cea1e                   Address Redacted                      First Class Mail
d59a9cff‐7af5‐4719‐8f26‐10e0d2e674c9                   Address Redacted                      First Class Mail
d59acdb1‐e3a1‐40e2‐ae07‐db0c96e59259                   Address Redacted                      First Class Mail
d59d256f‐2642‐45e9‐973d‐884eded2fc1a                   Address Redacted                      First Class Mail
d59edb17‐d387‐41b1‐b9b3‐a38ae4a79386                   Address Redacted                      First Class Mail
d59f0a01‐d1b2‐40b2‐8dc9‐c60caff3fc00                   Address Redacted                      First Class Mail
d5a2b8b6‐077d‐4b3b‐9138‐7aa8961902e5                   Address Redacted                      First Class Mail
d5a45af9‐d22a‐4dba‐8d59‐1ad07845ec5b                   Address Redacted                      First Class Mail
d5a60bfb‐1dc9‐4872‐826a‐9fb0c75af6cc                   Address Redacted                      First Class Mail
d5a6d74d‐0659‐4695‐8575‐5adf8c456698                   Address Redacted                      First Class Mail
d5a7ce41‐f2be‐4b5d‐b6b5‐5087bc9048a3                   Address Redacted                      First Class Mail
d5a8967c‐2f88‐43ce‐b2f0‐fe5b92669e22                   Address Redacted                      First Class Mail
d5a9a069‐ff16‐46cb‐ae2e‐41a666b5dac9                   Address Redacted                      First Class Mail
d5b1014a‐0bfe‐4a42‐8264‐c3e53615d5ae                   Address Redacted                      First Class Mail
d5b11978‐b7fb‐4e0c‐9908‐069b85d1e9d0                   Address Redacted                      First Class Mail
d5b2a4f5‐b09d‐4b0a‐9444‐5591be7d8449                   Address Redacted                      First Class Mail
d5b35083‐fc32‐4ee4‐9fa9‐9a619db7e452                   Address Redacted                      First Class Mail
d5b3ad67‐f46b‐4832‐8243‐4e98026efb8d                   Address Redacted                      First Class Mail
d5b592d3‐008c‐4d5c‐b34f‐9f445afaafe4                   Address Redacted                      First Class Mail
d5b5e13c‐9a53‐417e‐a4b5‐099b856ffc6d                   Address Redacted                      First Class Mail
d5b7329c‐38d4‐4d24‐9ea5‐e4b0d40fea1d                   Address Redacted                      First Class Mail
d5b894a4‐6d1c‐4518‐9c11‐102e436a5a8e                   Address Redacted                      First Class Mail
d5bbea45‐b1ac‐4ca3‐8bad‐42c2085d2175                   Address Redacted                      First Class Mail
d5bee66c‐1d69‐4884‐b7d0‐05ab69457eec                   Address Redacted                      First Class Mail
d5beeaeb‐6014‐4acc‐9a43‐46a2da924f04                   Address Redacted                      First Class Mail
d5c2ca4d‐d429‐448f‐a907‐a94b61f833bb                   Address Redacted                      First Class Mail
d5c46a9d‐676c‐4d07‐b922‐0b5bab212ffd                   Address Redacted                      First Class Mail
d5c95bc4‐a07e‐466a‐84da‐0ff73c550d87                   Address Redacted                      First Class Mail
d5cf73e1‐0fd7‐427e‐a5b6‐d0c0494c5641                   Address Redacted                      First Class Mail
d5d08dc6‐a530‐4f94‐9d87‐3026d9a75ed9                   Address Redacted                      First Class Mail
d5d763d3‐57fd‐4cde‐a361‐1c59d2221d82                   Address Redacted                      First Class Mail
d5db097f‐87c2‐44a1‐8bd8‐5f09f57702f5                   Address Redacted                      First Class Mail
d5dbd200‐d4e7‐4305‐b40a‐b990aa958095                   Address Redacted                      First Class Mail
d5ddcef5‐dd93‐4ad7‐95fc‐3c0bd7453298                   Address Redacted                      First Class Mail
d5defcad‐702c‐4cb5‐be78‐f2635bf18cb5                   Address Redacted                      First Class Mail
d5dfd786‐abbf‐4db4‐a04e‐608039a75d88                   Address Redacted                      First Class Mail
d5e3daa8‐5d13‐4f38‐920e‐5379cf6cde77                   Address Redacted                      First Class Mail
d5e41c15‐36db‐46ae‐a5b9‐1a872e3c5cfb                   Address Redacted                      First Class Mail
d5f31e77‐40f8‐4787‐8c29‐1fd46bdec684                   Address Redacted                      First Class Mail
d5f4a437‐3674‐4515‐8425‐2cfc9c3ad76c                   Address Redacted                      First Class Mail




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                              Name                                              Address                         Method of Service
d5f601de‐c4f5‐4031‐81b7‐66e7db9599d0                   Address Redacted                      First Class Mail
d5ff47e4‐d746‐42ed‐a1c5‐8d0e7fc9de20                   Address Redacted                      First Class Mail
d6007979‐b61c‐41f0‐8c44‐cfae7c78e316                   Address Redacted                      First Class Mail
d606119e‐8402‐4b77‐b4d9‐3ebe104462e9                   Address Redacted                      First Class Mail
d606980d‐ae85‐4d99‐b053‐8a7c39d3ed59                   Address Redacted                      First Class Mail
d60765c9‐170b‐4810‐8c65‐3038580ed258                   Address Redacted                      First Class Mail
d6084121‐f6c1‐4d09‐8fed‐53afc6402861                   Address Redacted                      First Class Mail
d6097c02‐8509‐41a1‐a654‐b5b1f96455f2                   Address Redacted                      First Class Mail
d6113934‐04cf‐4a47‐8f7a‐e7c261d601fa                   Address Redacted                      First Class Mail
d61a535c‐bc81‐4e09‐bf36‐889616ecf701                   Address Redacted                      First Class Mail
d61a913d‐9b81‐4d36‐bfd7‐4ae058ccf149                   Address Redacted                      First Class Mail
d61ca9c4‐f95e‐41bc‐9684‐41868ad65aff                   Address Redacted                      First Class Mail
d61e5b62‐b2df‐4a42‐8001‐40400ea218e6                   Address Redacted                      First Class Mail
d621c6e6‐f947‐430d‐bc7b‐b36141c8aaa5                   Address Redacted                      First Class Mail
d62233a9‐3fae‐4e37‐9bff‐5622f8644f57                   Address Redacted                      First Class Mail
d625d598‐534b‐43bd‐8b51‐48c340d99210                   Address Redacted                      First Class Mail
d628120f‐e26b‐449c‐a6c5‐e438ca7e9ebf                   Address Redacted                      First Class Mail
d62b9f03‐7f95‐4a39‐ae01‐9735c8355ed8                   Address Redacted                      First Class Mail
d62c9027‐845e‐48c2‐923b‐c722237b1eb4                   Address Redacted                      First Class Mail
d62cb9ca‐8dac‐407c‐ac91‐ad159c000c65                   Address Redacted                      First Class Mail
d62ddb08‐eb69‐4f10‐8251‐2428d15ebcd0                   Address Redacted                      First Class Mail
d6309e22‐dd36‐405f‐a432‐e23d9f4acb3b                   Address Redacted                      First Class Mail
d631fb95‐89a5‐4d0d‐9733‐f87829a60f3e                   Address Redacted                      First Class Mail
d6347045‐899b‐4fb2‐ace4‐7854731bf375                   Address Redacted                      First Class Mail
d63bf9f0‐3354‐4c54‐a9d5‐16d0c323a4a9                   Address Redacted                      First Class Mail
d63fac49‐643c‐4323‐8ee6‐eb31d872fe5b                   Address Redacted                      First Class Mail
d6412551‐bbde‐4b57‐8c6b‐a77bfb3859af                   Address Redacted                      First Class Mail
d641e112‐eeda‐4901‐b16c‐91d7395f57cd                   Address Redacted                      First Class Mail
d642c0d3‐7f07‐40df‐8ef1‐2d6dc96b76db                   Address Redacted                      First Class Mail
d64399e5‐5e13‐4d17‐989e‐a1af1bd52d03                   Address Redacted                      First Class Mail
d6458e6c‐fd2b‐4560‐9d32‐086b7c9c0214                   Address Redacted                      First Class Mail
d648ebe3‐7418‐4665‐8fd2‐198c632b5e3b                   Address Redacted                      First Class Mail
d64a3f7f‐bdc7‐4e43‐8157‐0c34018d88d6                   Address Redacted                      First Class Mail
d64a6a18‐6e13‐4680‐8412‐e8e90f48af15                   Address Redacted                      First Class Mail
d64d473d‐66bf‐40cb‐a150‐45563df2be71                   Address Redacted                      First Class Mail
d64f10e5‐25d8‐4a0a‐bd09‐f81d7aa080c1                   Address Redacted                      First Class Mail
d64f3900‐f00d‐4062‐a869‐04ebd583cbd6                   Address Redacted                      First Class Mail
d651d4b2‐443f‐413a‐ae66‐4be7a078c434                   Address Redacted                      First Class Mail
d656b6ad‐bb9e‐4400‐91fd‐dc87f7bed7f0                   Address Redacted                      First Class Mail
d65bd5ea‐31dd‐40ef‐a6ed‐e886537b7ba8                   Address Redacted                      First Class Mail
d65c0a22‐e9d9‐4643‐b9eb‐d1ce3e91f82e                   Address Redacted                      First Class Mail
d65c17da‐5cab‐48bf‐aff5‐4aa080750b09                   Address Redacted                      First Class Mail
d65d81ea‐171e‐46f2‐8b69‐63b76d3d4e05                   Address Redacted                      First Class Mail
d6788769‐7e84‐46ad‐b8f6‐980a38415ce9                   Address Redacted                      First Class Mail
d67b0010‐fe59‐41e1‐a781‐67e90f17ca60                   Address Redacted                      First Class Mail
d67b0299‐fafa‐497b‐9047‐a751e21fb3a6                   Address Redacted                      First Class Mail
d6804caa‐3a4c‐4162‐897a‐37aec2df3a56                   Address Redacted                      First Class Mail
d68238d0‐decf‐4959‐8d69‐b165d66c4cfa                   Address Redacted                      First Class Mail
d68650df‐5442‐4cc1‐83f1‐4d1b7c7db0b5                   Address Redacted                      First Class Mail
d68a20ac‐ca9a‐4e61‐8be1‐b1212da5991e                   Address Redacted                      First Class Mail
d68ba6d2‐ba6f‐437b‐ac22‐82d0d3996d65                   Address Redacted                      First Class Mail
d697aa9c‐8a94‐4ba3‐9922‐a25a117c7831                   Address Redacted                      First Class Mail
d69b4838‐aa04‐4cd8‐ac92‐d55a01fe9952                   Address Redacted                      First Class Mail
d69f7877‐0f74‐464a‐97da‐a29fc7055eff                   Address Redacted                      First Class Mail
d69feef0‐f162‐4617‐9676‐f7ad59e7a035                   Address Redacted                      First Class Mail
d6a17f7b‐d436‐4392‐a430‐92a6a901634a                   Address Redacted                      First Class Mail
d6a3db0e‐bb4d‐46d9‐ae60‐2cb624ba152b                   Address Redacted                      First Class Mail
d6ab30c9‐12db‐4e07‐a7b0‐cc49c045ca7a                   Address Redacted                      First Class Mail
d6ae3c1a‐cd85‐41fe‐8d3b‐2ccb6dd4a725                   Address Redacted                      First Class Mail
d6b2a519‐644c‐4254‐896f‐c714c3bba2a8                   Address Redacted                      First Class Mail
d6b487b9‐39a5‐4535‐9e1b‐04711ed14b95                   Address Redacted                      First Class Mail
d6b983ad‐bc60‐4300‐afcd‐4367d5d711d9                   Address Redacted                      First Class Mail
d6bba6d4‐b7a2‐4650‐a146‐3dba891067c5                   Address Redacted                      First Class Mail
d6bcb76f‐08cd‐4528‐b0ca‐990091fc528f                   Address Redacted                      First Class Mail
d6c70635‐4ca4‐47cc‐9110‐b470811d1829                   Address Redacted                      First Class Mail
d6d0aedb‐c209‐41c8‐8893‐2c2826ef3662                   Address Redacted                      First Class Mail
d6d1ea21‐69fd‐4136‐ab6c‐603c919ec5f6                   Address Redacted                      First Class Mail
d6d286db‐20db‐4dd9‐9f2a‐1915facdbfaa                   Address Redacted                      First Class Mail
d6d46e96‐1eff‐468f‐8f05‐5013adf876d9                   Address Redacted                      First Class Mail
d6da8cdc‐3e86‐4494‐9e37‐865ff7a0897b                   Address Redacted                      First Class Mail
d6dcb965‐5bbe‐4aa2‐bfdc‐66c5df61058a                   Address Redacted                      First Class Mail
d6dea79a‐f831‐45c6‐a1cb‐6ec8ba33dc12                   Address Redacted                      First Class Mail




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                                                                 Service List


                              Name                                              Address                         Method of Service
d6e15ece‐50d7‐42a7‐89ae‐3e2324cc45af                   Address Redacted                      First Class Mail
d6e312aa‐b639‐4468‐9a69‐0c10b20c0643                   Address Redacted                      First Class Mail
d6e5503e‐b78a‐45eb‐bfff‐3f26284718b6                   Address Redacted                      First Class Mail
d6e56c21‐e955‐4eb0‐8447‐baddb4692721                   Address Redacted                      First Class Mail
d6e61867‐85e1‐4e45‐9c14‐c5adbacae372                   Address Redacted                      First Class Mail
d6e72976‐321e‐4a7f‐8d2d‐d4868c0ce483                   Address Redacted                      First Class Mail
d6e8d6ab‐ed7e‐4f7a‐9b43‐10edd329bc6f                   Address Redacted                      First Class Mail
d6ea408b‐d9df‐44c0‐929e‐29e203cefa45                   Address Redacted                      First Class Mail
d6eaefec‐8c7d‐40d8‐bec7‐5e9c51f1a266                   Address Redacted                      First Class Mail
d6ec4860‐0e8c‐44c1‐8471‐a2ba1414a50b                   Address Redacted                      First Class Mail
d6ec7f12‐280f‐448c‐9dcb‐67e845ea2ec0                   Address Redacted                      First Class Mail
d6f7c6b7‐8e2c‐48b6‐adf2‐b119a0d58364                   Address Redacted                      First Class Mail
d6f9d091‐c791‐429f‐a9b1‐2e961852b2e5                   Address Redacted                      First Class Mail
d6fa34c0‐e352‐4ad0‐8333‐abdecc959bc0                   Address Redacted                      First Class Mail
d6fa8ec2‐d225‐401c‐8b99‐3c8f8d9423da                   Address Redacted                      First Class Mail
d6fbb390‐bc1d‐46cd‐91b3‐37c79d78fad2                   Address Redacted                      First Class Mail
d7003029‐5ee9‐4641‐83ad‐3b8b3d53c63d                   Address Redacted                      First Class Mail
d70069b0‐a913‐4419‐98b4‐f997239a69de                   Address Redacted                      First Class Mail
d7029710‐62af‐4559‐97af‐1b0346f88e42                   Address Redacted                      First Class Mail
d709929a‐2469‐4219‐95ed‐c80a798de79c                   Address Redacted                      First Class Mail
d70e1b9e‐9593‐4ac4‐b552‐2205dc5f9602                   Address Redacted                      First Class Mail
d71014e8‐690e‐4eda‐85f9‐0d0be586b852                   Address Redacted                      First Class Mail
d7109649‐123f‐4083‐96df‐b379cb93d242                   Address Redacted                      First Class Mail
d710e303‐ede0‐4332‐9bfe‐bf41dff1d002                   Address Redacted                      First Class Mail
d710e50d‐3771‐4306‐a8c5‐39a9d88e3bcb                   Address Redacted                      First Class Mail
d711ef71‐4c22‐41f6‐ab4a‐ed11c0ea6523                   Address Redacted                      First Class Mail
d711f9c8‐c886‐465d‐908f‐04cf8908c873                   Address Redacted                      First Class Mail
d7185edd‐d8de‐48e3‐a8c2‐5a64273d84e8                   Address Redacted                      First Class Mail
d719bcf7‐04bd‐4322‐931e‐1f5441d8c108                   Address Redacted                      First Class Mail
d71d35df‐d92b‐469b‐8283‐e1049fb290d0                   Address Redacted                      First Class Mail
d71db198‐8710‐4c9d‐8597‐8b3786ee1657                   Address Redacted                      First Class Mail
d71f6c95‐500e‐455f‐af62‐658cd001a58c                   Address Redacted                      First Class Mail
d7206216‐3aea‐4dd1‐ba24‐9ea0c76fcb5a                   Address Redacted                      First Class Mail
d720a8cf‐c34e‐49c0‐8557‐ce2acbd9c774                   Address Redacted                      First Class Mail
d7233de3‐6817‐4397‐add2‐025528a5e92e                   Address Redacted                      First Class Mail
d724b9bb‐8dca‐4655‐8876‐614d5474e247                   Address Redacted                      First Class Mail
d7281e8b‐0505‐4e65‐8842‐79569809305c                   Address Redacted                      First Class Mail
d729dc64‐8e7f‐46fe‐8af0‐854faa663453                   Address Redacted                      First Class Mail
d72b5632‐f53b‐4f25‐aeea‐69bfdc48ce23                   Address Redacted                      First Class Mail
d7342cf3‐3a4f‐4d93‐82de‐21f37724690c                   Address Redacted                      First Class Mail
d736839d‐2bf2‐4548‐8a02‐95c91fe1c1f8                   Address Redacted                      First Class Mail
d736ddc2‐56a8‐48a8‐a290‐ea3df5178cbd                   Address Redacted                      First Class Mail
d73a6794‐f145‐415d‐b898‐3f8855aedea5                   Address Redacted                      First Class Mail
d741e935‐e9d0‐4229‐ac22‐ff57f8213421                   Address Redacted                      First Class Mail
d74615ef‐5e7e‐4196‐9745‐171ec29699b0                   Address Redacted                      First Class Mail
d7495e82‐e07b‐4fd0‐8a76‐6436e3dfee8e                   Address Redacted                      First Class Mail
d74dbd1e‐5587‐449f‐aa67‐92c567aa0b2c                   Address Redacted                      First Class Mail
d7544162‐e95c‐488c‐b2b7‐a7bf20fe7ade                   Address Redacted                      First Class Mail
d754fe72‐1b53‐4261‐8fbd‐9004f50b9f9a                   Address Redacted                      First Class Mail
d756e18d‐aa36‐4c9e‐a86a‐47a1b61fe41a                   Address Redacted                      First Class Mail
d757e833‐538a‐445f‐a954‐0ce02c8a210e                   Address Redacted                      First Class Mail
d7582961‐7794‐49d9‐83c3‐0b6f8285c264                   Address Redacted                      First Class Mail
d759f476‐ed94‐4704‐986c‐d3c0bc91cd84                   Address Redacted                      First Class Mail
d75a97bb‐ea39‐4452‐a2b0‐4f27088e9803                   Address Redacted                      First Class Mail
d75aa1dd‐9a77‐4e6b‐a62e‐0e63ca2930c4                   Address Redacted                      First Class Mail
d75b6bfc‐156b‐4ee6‐8ef3‐18daf872da80                   Address Redacted                      First Class Mail
d760278e‐546d‐406a‐8dbb‐17d1fb2c5f8e                   Address Redacted                      First Class Mail
d7622243‐92bd‐4116‐8012‐2cf0c293ca0b                   Address Redacted                      First Class Mail
d7622cc0‐cd39‐49b7‐8d3f‐fed199bc5893                   Address Redacted                      First Class Mail
d769face‐be0d‐413e‐9db2‐a365c1c9a3cd                   Address Redacted                      First Class Mail
d76c115e‐1b8f‐4a59‐8fb1‐cbc5781a60cf                   Address Redacted                      First Class Mail
d76d4362‐9683‐4f5d‐a431‐61bb6f2cd42b                   Address Redacted                      First Class Mail
d770e70b‐2bdd‐4866‐8ce6‐e3a976dfef31                   Address Redacted                      First Class Mail
d7730f5d‐129b‐40d5‐8b2a‐df968c233479                   Address Redacted                      First Class Mail
d7756a7b‐948f‐4330‐9d0c‐64393758822d                   Address Redacted                      First Class Mail
d775a457‐80ea‐4fe3‐9724‐c262222bdf16                   Address Redacted                      First Class Mail
d7764e2b‐04ff‐4d0f‐bf27‐2b0de1a4bb91                   Address Redacted                      First Class Mail
d77709df‐9291‐413f‐b6df‐b5012b138bf1                   Address Redacted                      First Class Mail
d77a3825‐5699‐459b‐8dff‐93db8085bce9                   Address Redacted                      First Class Mail
d77e9e7d‐97db‐468e‐a811‐02cc563eb12d                   Address Redacted                      First Class Mail
d77ec4ab‐6803‐4230‐be35‐92fe1e7e737b                   Address Redacted                      First Class Mail
d7816696‐7dac‐4b8d‐b3ff‐8d8e6839a2f6                   Address Redacted                      First Class Mail




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                              Name                                              Address                         Method of Service
d7868737‐880f‐482b‐98dc‐59b630bb5e08                   Address Redacted                      First Class Mail
d7872972‐e37b‐424f‐b9ec‐ab5d6658b74e                   Address Redacted                      First Class Mail
d788502c‐ec2c‐44fb‐a3dc‐b19f80e0292c                   Address Redacted                      First Class Mail
d789306a‐cc6d‐46a9‐8ddb‐6b41cad6c7ae                   Address Redacted                      First Class Mail
d789accf‐e641‐44f9‐b36e‐ae2e8aa59fae                   Address Redacted                      First Class Mail
d78f8be8‐565d‐4255‐aa16‐9a25110a31b4                   Address Redacted                      First Class Mail
d79561de‐d758‐418e‐8aba‐da4aa32cdcee                   Address Redacted                      First Class Mail
d7986ad0‐364a‐4bb5‐9e14‐7e8fb78c0195                   Address Redacted                      First Class Mail
d799ea0d‐2c6a‐4ce6‐a984‐882f23a179c2                   Address Redacted                      First Class Mail
d7a1cb96‐3b04‐4e30‐a4b9‐28e527853185                   Address Redacted                      First Class Mail
d7a3e459‐3dbc‐4f43‐8d0e‐35f307a5359c                   Address Redacted                      First Class Mail
d7a6438d‐edf2‐40b8‐b12b‐fa2d41fc4a0f                   Address Redacted                      First Class Mail
d7a8ab45‐8595‐4cf9‐9936‐822307e990c2                   Address Redacted                      First Class Mail
d7a8c6c7‐ba5c‐4618‐988e‐0084209496dc                   Address Redacted                      First Class Mail
d7ab4836‐b6ab‐410c‐9373‐0b3aed181811                   Address Redacted                      First Class Mail
d7ab7e63‐70cd‐4a9f‐b4cc‐409bbcfad77f                   Address Redacted                      First Class Mail
d7ab8900‐72b7‐4ff9‐8e42‐23a7a3021203                   Address Redacted                      First Class Mail
d7abb24d‐c6ab‐4b04‐be1b‐5197337a07be                   Address Redacted                      First Class Mail
d7abec99‐f9ce‐4ba3‐9d90‐ffdbbf5946c1                   Address Redacted                      First Class Mail
d7ace66e‐3703‐4410‐846f‐fceea42917cf                   Address Redacted                      First Class Mail
d7bbb8b0‐f9e5‐4032‐b626‐18bf0efd2413                   Address Redacted                      First Class Mail
d7c065d2‐0d62‐4966‐b46f‐3fa41b58cc82                   Address Redacted                      First Class Mail
d7c5a034‐1b11‐42ad‐b596‐627b589a732f                   Address Redacted                      First Class Mail
d7c740d2‐a0da‐491f‐a77c‐2a1d1d67178d                   Address Redacted                      First Class Mail
d7c83e00‐c4b8‐43f4‐b1e5‐9b4edfd14f09                   Address Redacted                      First Class Mail
d7c88478‐00de‐4476‐ad89‐2f0bb1f22750                   Address Redacted                      First Class Mail
d7c91a8d‐5d07‐43c6‐a172‐ae785c0d4c62                   Address Redacted                      First Class Mail
d7cc777c‐212c‐49f0‐8490‐2f362202f78e                   Address Redacted                      First Class Mail
d7d1105b‐80e2‐4f3a‐86c7‐e0f051925456                   Address Redacted                      First Class Mail
d7d1557f‐6491‐4b38‐9392‐be741cfa31fb                   Address Redacted                      First Class Mail
d7d2ede4‐f2a9‐4843‐9296‐fdc8efbee247                   Address Redacted                      First Class Mail
d7d6920d‐2566‐45f2‐aedf‐25a72077ecd6                   Address Redacted                      First Class Mail
d7d90304‐bdfc‐4312‐bcde‐e14abae366ab                   Address Redacted                      First Class Mail
d7db3773‐38e2‐4ef6‐8022‐3ef5ac7fec93                   Address Redacted                      First Class Mail
d7e1ccd7‐416b‐4896‐9270‐2692ad035384                   Address Redacted                      First Class Mail
d7e8d608‐d527‐4c80‐8654‐918cf3e4755c                   Address Redacted                      First Class Mail
d7ec2b7c‐536f‐43fe‐aefd‐08b7789ba2ef                   Address Redacted                      First Class Mail
d7ed7860‐59ae‐45da‐bc4d‐8d6fffe031bd                   Address Redacted                      First Class Mail
d7f075fd‐4e06‐49cc‐b562‐bdf322d5a847                   Address Redacted                      First Class Mail
d7f13880‐093e‐4614‐b292‐0120203ae7cf                   Address Redacted                      First Class Mail
d7f8a386‐4b04‐4473‐8ec8‐534db16deec4                   Address Redacted                      First Class Mail
d7f8ada6‐2437‐4187‐a529‐129cae58be9a                   Address Redacted                      First Class Mail
d7fb350b‐a2cf‐4ca8‐89be‐55ac70c8f75b                   Address Redacted                      First Class Mail
d7fe6ac6‐6a5e‐466e‐b87a‐207fa69157dd                   Address Redacted                      First Class Mail
d801f2a4‐0007‐4a34‐ae80‐4dd1a4f3c236                   Address Redacted                      First Class Mail
d806982d‐ac16‐4942‐8e42‐502dd21e53c1                   Address Redacted                      First Class Mail
d808934d‐2734‐496a‐8167‐7c6e616267a2                   Address Redacted                      First Class Mail
d80a9b20‐6f3d‐4566‐aacc‐213c85f652a5                   Address Redacted                      First Class Mail
d80b6e33‐2034‐4676‐b3b0‐cc65344d6016                   Address Redacted                      First Class Mail
d80dd041‐ebcf‐42e2‐b7b6‐64b002b5387d                   Address Redacted                      First Class Mail
d80dddb8‐162c‐4f3d‐b2cf‐9884986ec81b                   Address Redacted                      First Class Mail
d8104051‐fd85‐44e4‐8bf1‐84ae80283329                   Address Redacted                      First Class Mail
d815f3f4‐0443‐4652‐9e57‐d29efa603766                   Address Redacted                      First Class Mail
d819dab2‐adbb‐42d0‐8a3e‐67c6bd317389                   Address Redacted                      First Class Mail
d820b197‐396b‐491e‐aa95‐9c456d4ff34e                   Address Redacted                      First Class Mail
d822ec91‐5351‐4848‐b442‐199fea481ec7                   Address Redacted                      First Class Mail
d82745e1‐968a‐4770‐ac6b‐c2004b7ac8d7                   Address Redacted                      First Class Mail
d829a84d‐d5ec‐4898‐b9db‐0bc1ac280765                   Address Redacted                      First Class Mail
d82a54ef‐ee92‐4479‐a717‐a1a8faf76508                   Address Redacted                      First Class Mail
d82d7978‐eb32‐4760‐acfc‐5972727099b4                   Address Redacted                      First Class Mail
d82de382‐e1f8‐4091‐be8a‐1e2be61d55d1                   Address Redacted                      First Class Mail
d82e041c‐bf0d‐447f‐8490‐5950c2790fa3                   Address Redacted                      First Class Mail
d82ed106‐bc2d‐45ef‐b409‐9767e275f4d3                   Address Redacted                      First Class Mail
d82f9148‐0796‐46fe‐85d3‐e486e3b08733                   Address Redacted                      First Class Mail
d8322fc2‐0116‐45f6‐9923‐3f5dbf553a36                   Address Redacted                      First Class Mail
d835f650‐76a9‐4b04‐b6cb‐f2e34cadbeaf                   Address Redacted                      First Class Mail
d837052b‐8c7a‐48af‐bef3‐3668c160a485                   Address Redacted                      First Class Mail
d83722e1‐b865‐4d14‐90cd‐05150f06ec68                   Address Redacted                      First Class Mail
d839f53b‐f588‐454d‐a036‐92c017ff0d92                   Address Redacted                      First Class Mail
d83b80c0‐f456‐4656‐abdd‐5f2ad8982bd5                   Address Redacted                      First Class Mail
d83b8ad0‐07dc‐4419‐8275‐24c27e0ae120                   Address Redacted                      First Class Mail
d83c015f‐1469‐46e7‐8663‐d09a666fcfeb                   Address Redacted                      First Class Mail




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                              Name                                              Address                         Method of Service
d83c574b‐99b1‐4dcd‐98f2‐e2cf080568de                   Address Redacted                      First Class Mail
d83f0127‐4cb3‐4e15‐bad0‐91ced14b44f5                   Address Redacted                      First Class Mail
d83f54ff‐82a2‐4457‐a63b‐e4a14d13681b                   Address Redacted                      First Class Mail
d842afa4‐b843‐4ad6‐91f1‐2061fbced70a                   Address Redacted                      First Class Mail
d84449ef‐819e‐4afe‐9039‐ccd12ad73066                   Address Redacted                      First Class Mail
d844e3a6‐97d2‐4413‐b8b3‐c9b966612752                   Address Redacted                      First Class Mail
d847fca5‐5d8f‐46e6‐9e4f‐55d10c379233                   Address Redacted                      First Class Mail
d8489326‐4211‐45e5‐bcc3‐820876c02c06                   Address Redacted                      First Class Mail
d8494e9e‐e4b9‐44e6‐b69b‐12eede8a9431                   Address Redacted                      First Class Mail
d84be577‐9d8c‐4fd0‐bb06‐56bb2bf3d7f7                   Address Redacted                      First Class Mail
d84c6826‐fb75‐471e‐a703‐25ab7cb72f85                   Address Redacted                      First Class Mail
d84d7495‐a82d‐49b7‐aa15‐67f60b13850f                   Address Redacted                      First Class Mail
d84fbadb‐b3a5‐4a58‐a427‐02dbf7218548                   Address Redacted                      First Class Mail
d851bd71‐9f07‐497e‐bf4c‐f838907bbcb7                   Address Redacted                      First Class Mail
d851e04f‐625c‐407f‐bdab‐4ae17f09f599                   Address Redacted                      First Class Mail
d8524713‐0cd0‐4e45‐b34a‐bf689227f9ae                   Address Redacted                      First Class Mail
d856327f‐4eed‐4b5a‐9f0c‐9e2850e182b5                   Address Redacted                      First Class Mail
d8563c0d‐c1c2‐44c7‐b5b2‐b8e92860ced5                   Address Redacted                      First Class Mail
d8625827‐a89b‐40ad‐b8c8‐777f1699425b                   Address Redacted                      First Class Mail
d8648039‐0c54‐42e3‐91d4‐25bab1b8dcc3                   Address Redacted                      First Class Mail
d865f42f‐1ba2‐4cda‐b3ec‐d3b67f888c57                   Address Redacted                      First Class Mail
d8669339‐86ae‐4ba8‐8565‐830bfbd00805                   Address Redacted                      First Class Mail
d86ea7fe‐090d‐47f6‐8d6d‐fe71d5ae2a11                   Address Redacted                      First Class Mail
d87121d3‐61e0‐4303‐ba77‐b0b4edfdbea8                   Address Redacted                      First Class Mail
d875feb6‐5960‐451d‐8b38‐71f38ba4ad7c                   Address Redacted                      First Class Mail
d876e87d‐24f3‐4df2‐b64a‐28d457a2df8f                   Address Redacted                      First Class Mail
d87bd40d‐7d6f‐4e44‐bee8‐2a122fb87421                   Address Redacted                      First Class Mail
d87e7390‐ccd7‐46f9‐b0b3‐e2bbeafb5237                   Address Redacted                      First Class Mail
d880074a‐cd7e‐4c8c‐924d‐9e3c59cb8c13                   Address Redacted                      First Class Mail
d880abe6‐636a‐40bb‐8356‐2c8427e52a1f                   Address Redacted                      First Class Mail
d88528d8‐42b3‐4149‐9555‐214ab0e2d1cf                   Address Redacted                      First Class Mail
d887ebf2‐e4f0‐4552‐8073‐26e2cebb2b30                   Address Redacted                      First Class Mail
d88a11a7‐0ab3‐41ca‐98d2‐60f9ab63a09d                   Address Redacted                      First Class Mail
d88bbe0b‐8c47‐4009‐9488‐ea83328f30e1                   Address Redacted                      First Class Mail
d88e6f69‐67d7‐44f2‐bb63‐c8e458505be5                   Address Redacted                      First Class Mail
d8913ab0‐4899‐4c2c‐988e‐4fcd77ae56aa                   Address Redacted                      First Class Mail
d8915469‐695f‐44c1‐9854‐a5bea54b13a3                   Address Redacted                      First Class Mail
d891bada‐4707‐49ec‐99d6‐8772f465afa7                   Address Redacted                      First Class Mail
d894f3eb‐84db‐41fc‐a1b6‐b36b0c1eeb64                   Address Redacted                      First Class Mail
d8971586‐9951‐49e9‐ab2f‐d0ef35065d15                   Address Redacted                      First Class Mail
d898a174‐09f7‐41f9‐bf65‐8ccee6e4c06d                   Address Redacted                      First Class Mail
d89b4317‐169a‐4338‐846e‐c2e860b2ad50                   Address Redacted                      First Class Mail
d89c2cb6‐fffb‐4876‐88b9‐6435aec00ba4                   Address Redacted                      First Class Mail
d89c531b‐2265‐4e04‐a727‐0c1f3d356d7d                   Address Redacted                      First Class Mail
d89d8dd1‐6c5f‐43cd‐b2a7‐15ee3b58aef2                   Address Redacted                      First Class Mail
d8a291b7‐2dfb‐4a81‐8172‐a7ef420f0025                   Address Redacted                      First Class Mail
d8a4e1f6‐c8dd‐4928‐b813‐8156e67ab0ff                   Address Redacted                      First Class Mail
d8a52da8‐e3ec‐499d‐815a‐e8b548ddb71a                   Address Redacted                      First Class Mail
d8a5eee0‐145a‐4939‐aa08‐f1e1c464c342                   Address Redacted                      First Class Mail
d8a64cfa‐198d‐4117‐9ef5‐06fcd957693c                   Address Redacted                      First Class Mail
d8a7ed6d‐4b73‐4650‐95ff‐f3a28681e6e0                   Address Redacted                      First Class Mail
d8a842c8‐7272‐4801‐8079‐9218a3e0c231                   Address Redacted                      First Class Mail
d8a8afa2‐72f2‐42a0‐9d55‐7b99afb02886                   Address Redacted                      First Class Mail
d8ad3967‐c458‐47c1‐ae26‐7012ef7d1ed9                   Address Redacted                      First Class Mail
d8addec9‐10d4‐41b3‐8814‐ef80996acfd2                   Address Redacted                      First Class Mail
d8af8297‐62a9‐4ed5‐a89b‐4916ff841b08                   Address Redacted                      First Class Mail
d8b0000e‐70f6‐442a‐b241‐5046621f645f                   Address Redacted                      First Class Mail
d8b32556‐31b7‐4433‐ba1c‐428ec7cf838c                   Address Redacted                      First Class Mail
d8b6d5d4‐ad7e‐4c4c‐8cd3‐b5ed9127e16d                   Address Redacted                      First Class Mail
d8b6e297‐4c73‐4f50‐a166‐2a31e6ce1b2e                   Address Redacted                      First Class Mail
d8b73c59‐b7fb‐4d0c‐aacb‐334a50a637d4                   Address Redacted                      First Class Mail
d8bdf653‐9d38‐4347‐9079‐92b44df70a54                   Address Redacted                      First Class Mail
d8c2540b‐79db‐4976‐ba9b‐c583e29d4ae6                   Address Redacted                      First Class Mail
d8c7ca32‐91be‐4865‐8856‐326f3f8e5897                   Address Redacted                      First Class Mail
d8c82369‐73b6‐4612‐ac2b‐e41ffb2e19c5                   Address Redacted                      First Class Mail
d8cbb7c3‐ec68‐4b82‐b580‐93a30d06ffc7                   Address Redacted                      First Class Mail
d8d16f25‐219b‐430f‐8334‐1993f6042054                   Address Redacted                      First Class Mail
d8d3116a‐cc37‐41ae‐bec4‐002723bbb8a6                   Address Redacted                      First Class Mail
d8d3f671‐bb8a‐4888‐b8de‐259152ed66d2                   Address Redacted                      First Class Mail
d8d8a215‐ecce‐4405‐8781‐6f412e79f11a                   Address Redacted                      First Class Mail
d8da7616‐856e‐46fa‐9232‐49277ee4f2cd                   Address Redacted                      First Class Mail
d8dbe0d8‐94b7‐4378‐a710‐c2de2f8dfb27                   Address Redacted                      First Class Mail




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                                                                 Service List


                              Name                                              Address                         Method of Service
d8e2aa7e‐df0c‐4e9d‐b1aa‐ed4535eb2866                   Address Redacted                      First Class Mail
d8e31c39‐71af‐4c5e‐a97c‐d36e0d5b98aa                   Address Redacted                      First Class Mail
d8e531c5‐e9f5‐49e4‐b805‐8aef1a39c5dd                   Address Redacted                      First Class Mail
d8e6d47b‐c8cf‐4a81‐93cc‐16f12b072678                   Address Redacted                      First Class Mail
d8e731ba‐02e2‐4312‐83f2‐1333f063f8da                   Address Redacted                      First Class Mail
d8e738d8‐38fc‐462a‐ae21‐2f11eab3687f                   Address Redacted                      First Class Mail
d8e84026‐b6d3‐4ea9‐ab8f‐b50625fcb595                   Address Redacted                      First Class Mail
d8e8c19b‐13b0‐47d8‐b833‐b7c173e3d35c                   Address Redacted                      First Class Mail
d8ebec96‐f520‐4358‐b20d‐342614777b81                   Address Redacted                      First Class Mail
d8f2ec7b‐1eb3‐41ac‐b014‐ba4245d8a722                   Address Redacted                      First Class Mail
d8f3e920‐f95c‐4437‐b729‐7ba4e69a4dd3                   Address Redacted                      First Class Mail
d8f8e9e9‐268a‐4520‐93ee‐49f910e7e77f                   Address Redacted                      First Class Mail
d8f9644c‐c717‐4859‐8d42‐1676fea1d68c                   Address Redacted                      First Class Mail
d8fe79fe‐e470‐42af‐9e89‐69c8dc3deb11                   Address Redacted                      First Class Mail
d8ff5dbb‐726c‐4a52‐89e6‐0a1f2c242d29                   Address Redacted                      First Class Mail
d900232f‐e525‐46be‐b089‐596f073738d9                   Address Redacted                      First Class Mail
d903e30f‐a97a‐4a02‐a8a8‐961a890875be                   Address Redacted                      First Class Mail
d905064f‐ce78‐4f12‐b5a6‐a5832766847c                   Address Redacted                      First Class Mail
d909b157‐d57e‐4a18‐aaf5‐e470b95ac5a2                   Address Redacted                      First Class Mail
d90cd117‐8331‐40a7‐8246‐4b88b97b6bf3                   Address Redacted                      First Class Mail
d9104677‐972e‐48d2‐bf63‐329bde95ff46                   Address Redacted                      First Class Mail
d917c16c‐72e4‐4d1a‐a2d3‐9c5c0552338f                   Address Redacted                      First Class Mail
d91a8a14‐4001‐4ca6‐b46d‐106cbcbcbda2                   Address Redacted                      First Class Mail
d91d5efa‐83fa‐4c08‐b795‐123ce90fd3e3                   Address Redacted                      First Class Mail
d91d6bc9‐c18f‐4680‐a6d6‐e5e82a54e5cc                   Address Redacted                      First Class Mail
d9201ffa‐29c8‐4b72‐83da‐7c872e038bb1                   Address Redacted                      First Class Mail
d926316d‐4b06‐4ddc‐b453‐4af9f3cb1a7d                   Address Redacted                      First Class Mail
d9294366‐0563‐4fd6‐b936‐f55cfc70bd5f                   Address Redacted                      First Class Mail
d92a29dc‐34d1‐406d‐8d22‐121ca15763b2                   Address Redacted                      First Class Mail
d92a375e‐1121‐4116‐be31‐747897914a97                   Address Redacted                      First Class Mail
d92d1321‐c863‐4b09‐8ca4‐ba8866cda229                   Address Redacted                      First Class Mail
d92f6237‐0961‐4ffa‐a7ff‐40c0bc769180                   Address Redacted                      First Class Mail
d930b4e6‐cbbc‐4a56‐bfba‐770b1fae621b                   Address Redacted                      First Class Mail
d932da75‐1189‐4d29‐88cf‐1d4f0955578f                   Address Redacted                      First Class Mail
d9338a36‐19ce‐451b‐be8a‐14510151398a                   Address Redacted                      First Class Mail
d933a544‐5931‐4f82‐9342‐e176e33b2897                   Address Redacted                      First Class Mail
d934d8b3‐0bce‐4d74‐9e2f‐03c382ed2890                   Address Redacted                      First Class Mail
d9365845‐65f9‐4601‐b8f5‐18ec57189de3                   Address Redacted                      First Class Mail
d9369cb5‐e4d3‐4e66‐bc1c‐f86e7c991c46                   Address Redacted                      First Class Mail
d9372cf5‐b214‐4bb0‐9d45‐78847d54a50f                   Address Redacted                      First Class Mail
d9378dc6‐5937‐4442‐a3c1‐a5379d65b633                   Address Redacted                      First Class Mail
d937d3b2‐0327‐4baf‐b7c8‐43af8b48c790                   Address Redacted                      First Class Mail
d93876a9‐82e4‐4641‐9b12‐efbcf9fb0dff                   Address Redacted                      First Class Mail
d939af73‐59e7‐4959‐9042‐ea242cdd15ca                   Address Redacted                      First Class Mail
d93a4759‐698b‐4bec‐93b4‐496930c41710                   Address Redacted                      First Class Mail
d9432371‐c7b4‐4fd1‐a57c‐ae9d35a60ad3                   Address Redacted                      First Class Mail
d943f43d‐c4cb‐4a95‐9656‐4f8b10386d8e                   Address Redacted                      First Class Mail
d945c5cb‐122d‐4693‐bf7a‐347223332549                   Address Redacted                      First Class Mail
d9486cd1‐687c‐4bd4‐8c7a‐a9304a1a0bdc                   Address Redacted                      First Class Mail
d949d53a‐128c‐4709‐8e7d‐42b0182d3dee                   Address Redacted                      First Class Mail
d95013cb‐07cf‐49c2‐9ebd‐c8b0b0dab4c2                   Address Redacted                      First Class Mail
d95225af‐83d7‐4e86‐9f1b‐558e79f0b84c                   Address Redacted                      First Class Mail
d953f72a‐e6af‐456b‐8e51‐64d92e9260e4                   Address Redacted                      First Class Mail
d95a64fb‐c5c8‐4747‐85ea‐1dbb77c6092c                   Address Redacted                      First Class Mail
d95ee267‐caab‐46d2‐acb5‐88ad8567b341                   Address Redacted                      First Class Mail
d95f4134‐b72c‐4809‐974c‐014a775565a9                   Address Redacted                      First Class Mail
d9626b3a‐db3d‐4330‐9228‐fff19cd01edb                   Address Redacted                      First Class Mail
d963f875‐f86b‐4578‐ba51‐ba0d6fa0d9db                   Address Redacted                      First Class Mail
d9667825‐7fbe‐4667‐aa93‐b9c0af81aa33                   Address Redacted                      First Class Mail
d966ff95‐7ce1‐49d4‐8826‐3a07522c0f07                   Address Redacted                      First Class Mail
d968000a‐9e8e‐4a8c‐8841‐cb2fb68477dd                   Address Redacted                      First Class Mail
d968a5e0‐1c15‐4517‐bdac‐d31d1049c19e                   Address Redacted                      First Class Mail
d96ac5cb‐92db‐4dfa‐ba00‐29d242918418                   Address Redacted                      First Class Mail
d96cfa32‐a82d‐48de‐bbb9‐b1d02efa8a82                   Address Redacted                      First Class Mail
d96fc86a‐da72‐4c9b‐8cb8‐e6110b756979                   Address Redacted                      First Class Mail
d970354b‐f381‐4b7f‐b291‐63242a7ebba6                   Address Redacted                      First Class Mail
d97256c5‐f3b0‐4c76‐9721‐ba0b47e8a377                   Address Redacted                      First Class Mail
d9745b9e‐642d‐4180‐a8fb‐bdd731afe832                   Address Redacted                      First Class Mail
d9776cf1‐dd79‐4379‐983d‐a9b32dc3932d                   Address Redacted                      First Class Mail
d97ace2e‐192a‐4390‐9176‐5c2d7f273de4                   Address Redacted                      First Class Mail
d97b6d42‐4656‐43e4‐9407‐686fc127eb73                   Address Redacted                      First Class Mail
d97db61d‐ec08‐420b‐9ac1‐f2adde630dfb                   Address Redacted                      First Class Mail




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                               Name                                             Address                         Method of Service
d983b052‐f530‐49eb‐ab38‐a3cabc11db30                   Address Redacted                      First Class Mail
d98616f3‐3136‐4561‐b9eb‐70dbcb26234d                   Address Redacted                      First Class Mail
d987ffc7‐92af‐4fcc‐9e44‐cf8632ccfbac                   Address Redacted                      First Class Mail
d98b277d‐51e2‐4ae9‐82bc‐6daaa741fbab                   Address Redacted                      First Class Mail
d98d953a‐5b22‐4208‐82b6‐598f1b0e161b                   Address Redacted                      First Class Mail
d98f41c4‐9d3a‐4898‐9115‐d98c64137e25                   Address Redacted                      First Class Mail
d98fcde0‐2f19‐4a42‐990e‐94362b72a5ab                   Address Redacted                      First Class Mail
d98fd312‐88ad‐4582‐882d‐a75c7aff24e9                   Address Redacted                      First Class Mail
d99147ec‐57a4‐4104‐b26f‐3dfd482bd479                   Address Redacted                      First Class Mail
d992fa9c‐5393‐4d53‐bfa0‐dd9971515048                   Address Redacted                      First Class Mail
d993c81e‐6e92‐4158‐a02a‐387f3927a9cb                   Address Redacted                      First Class Mail
d993dd64‐48fb‐4bf9‐ab46‐750d95fac1ec                   Address Redacted                      First Class Mail
d994ddc0‐c01d‐4c75‐a504‐aec67c5d5e41                   Address Redacted                      First Class Mail
d9953af2‐9869‐42d7‐a7cf‐bd3fa24b6aab                   Address Redacted                      First Class Mail
d99570f8‐85b0‐4e42‐a704‐64e8e41f440f                   Address Redacted                      First Class Mail
d995ad18‐02d0‐4d7a‐b79c‐c9194e91000f                   Address Redacted                      First Class Mail
d99a2b3b‐b11c‐47b9‐9208‐183eb2e1e685                   Address Redacted                      First Class Mail
d9a1ec6a‐fbc4‐482f‐8ce4‐2df4275dc1a1                   Address Redacted                      First Class Mail
d9a45a41‐a52e‐46c5‐8590‐60536c12f175                   Address Redacted                      First Class Mail
d9a5fab3‐5271‐4874‐b5f1‐999274cb2f11                   Address Redacted                      First Class Mail
d9a75a7d‐0d7e‐4c4f‐b919‐07a0af6b427f                   Address Redacted                      First Class Mail
d9a9566d‐f41a‐46a5‐8b83‐e16ae5958123                   Address Redacted                      First Class Mail
d9aa3a94‐33a3‐4a39‐b69e‐602a4ee6f8eb                   Address Redacted                      First Class Mail
d9b7a766‐f356‐4b98‐93d2‐a247950b5024                   Address Redacted                      First Class Mail
d9bd2931‐4d5c‐4b0b‐92bd‐9fcf16c6dc8a                   Address Redacted                      First Class Mail
d9c0537f‐15f4‐48af‐a328‐d2fab80a6f15                   Address Redacted                      First Class Mail
d9c1ee67‐743b‐40b4‐8180‐f4e56256b11f                   Address Redacted                      First Class Mail
d9c361a6‐8da2‐497f‐a91e‐8e8f5f2621d3                   Address Redacted                      First Class Mail
d9c4b83c‐8868‐452e‐9596‐a9f2ca1aa1f2                   Address Redacted                      First Class Mail
d9c9724a‐6df3‐4f9f‐b9bd‐ed3caf325d2a                   Address Redacted                      First Class Mail
d9c9d55f‐009b‐4041‐a2ec‐11c23d7b09dc                   Address Redacted                      First Class Mail
d9d1ae45‐a244‐4ac2‐907f‐09a16ca9ff31                   Address Redacted                      First Class Mail
d9d4b55c‐2098‐4651‐8830‐6dfee4c1ab2e                   Address Redacted                      First Class Mail
d9d7a336‐246f‐4a73‐946d‐a6631b46f659                   Address Redacted                      First Class Mail
d9d88428‐0fb1‐42ff‐a2b7‐37c2821deaae                   Address Redacted                      First Class Mail
d9dd0d1e‐aa7e‐49f9‐9caf‐aed4df36d847                   Address Redacted                      First Class Mail
d9e2e9c8‐fef5‐4edb‐9dd9‐54163fc42729                   Address Redacted                      First Class Mail
d9e4f67a‐3fb3‐401b‐b6f5‐5d07bbf2ad99                   Address Redacted                      First Class Mail
d9e86773‐b721‐4e2a‐94cd‐3eab6f0b4dea                   Address Redacted                      First Class Mail
d9e973fb‐60bd‐49db‐b793‐f39810defd08                   Address Redacted                      First Class Mail
d9e9b694‐867e‐43fe‐bbd0‐38f44e30e1ab                   Address Redacted                      First Class Mail
d9ed56c4‐4add‐430b‐b481‐3ccd3cb4f4bc                   Address Redacted                      First Class Mail
d9f2398f‐4284‐4725‐8790‐3b1e8987b409                   Address Redacted                      First Class Mail
d9f2be59‐87d3‐43b2‐9d5a‐282a9ece443c                   Address Redacted                      First Class Mail
d9f2e7b7‐3d17‐4fa6‐a65d‐3ac2f07e09ac                   Address Redacted                      First Class Mail
d9f32eaf‐45b0‐4ea2‐8d78‐6dc7bb475c34                   Address Redacted                      First Class Mail
d9f38bbf‐583c‐4ba4‐91bf‐16fc5fe9123c                   Address Redacted                      First Class Mail
d9f394cf‐e6c0‐4b6a‐9937‐7372f59b532d                   Address Redacted                      First Class Mail
d9fc48df‐8ffc‐4320‐962d‐fbd541e4e3ea                   Address Redacted                      First Class Mail
d9fef006‐22d4‐43c3‐b4c6‐92108a963d03                   Address Redacted                      First Class Mail
d9ff66f5‐6ee3‐4198‐96d1‐d6481d6b0392                   Address Redacted                      First Class Mail
da003372‐7ae9‐4525‐98bd‐54812d0d11fb                   Address Redacted                      First Class Mail
da024f3a‐da26‐498e‐bf91‐9cf6d126c6ba                   Address Redacted                      First Class Mail
da03b70f‐1e82‐4ec0‐b9eb‐08cb631e9282                   Address Redacted                      First Class Mail
da04e159‐a8a0‐47f8‐b954‐52f4ce6a7e11                   Address Redacted                      First Class Mail
da05758f‐65a3‐4dd0‐9495‐8d233e523b53                   Address Redacted                      First Class Mail
da0971b7‐a693‐433a‐ade9‐2c5105298bec                   Address Redacted                      First Class Mail
da0b2dc6‐ef5d‐4a26‐b763‐16a98ae624f9                   Address Redacted                      First Class Mail
da0e5ba6‐824d‐4ee0‐90d2‐4ebd9a82c428                   Address Redacted                      First Class Mail
da11f7e6‐b24a‐4886‐a1f7‐8742bdf69435                   Address Redacted                      First Class Mail
da137052‐4b1d‐4048‐8dd0‐c6a0e25fc094                   Address Redacted                      First Class Mail
da13ddce‐5c5b‐4887‐9d62‐2110e0b2ad50                   Address Redacted                      First Class Mail
da185fab‐f463‐42fb‐9703‐7999b870e56e                   Address Redacted                      First Class Mail
da19be06‐772a‐470c‐b202‐547c43a47190                   Address Redacted                      First Class Mail
da1c29e9‐65fa‐488e‐b565‐c07a8810cbb9                   Address Redacted                      First Class Mail
da1c2b6c‐48e3‐440b‐9e7f‐75e39fb804c2                   Address Redacted                      First Class Mail
da1d38f3‐904d‐49a6‐a9e5‐e0305d06ba46                   Address Redacted                      First Class Mail
da1d6bc2‐6cc3‐4b13‐835a‐461afa58a000                   Address Redacted                      First Class Mail
da1fede8‐4599‐44b9‐9b1b‐38e1f547ba48                   Address Redacted                      First Class Mail
da207ed7‐f2fe‐4cd5‐958a‐593363a338c3                   Address Redacted                      First Class Mail
da23c887‐93b4‐43fe‐b692‐a17be01f765f                   Address Redacted                      First Class Mail
da2470f8‐023e‐4b2a‐a9b0‐58fb2e23edb6                   Address Redacted                      First Class Mail




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                              Name                                              Address                         Method of Service
da278d58‐c00d‐4dbe‐b691‐034a91c123e6                   Address Redacted                      First Class Mail
da296849‐ee3f‐425d‐9d7a‐ea2b42ee019c                   Address Redacted                      First Class Mail
da2b2bc9‐20d6‐4db8‐9ab0‐eb5df127e6cd                   Address Redacted                      First Class Mail
da2b99fc‐3daa‐4511‐a03f‐595f0f536574                   Address Redacted                      First Class Mail
da2badae‐b674‐4152‐8ec2‐0f6b2b2b3dac                   Address Redacted                      First Class Mail
da2c40c3‐3b2e‐4a8b‐a16c‐7997536715a8                   Address Redacted                      First Class Mail
da2d5edf‐a0b1‐481b‐b682‐f15ca2b8a662                   Address Redacted                      First Class Mail
da2de78c‐3202‐40b5‐929d‐680ee6787864                   Address Redacted                      First Class Mail
da2efb72‐fdcc‐44d3‐899f‐dd6593e790ef                   Address Redacted                      First Class Mail
da2f9eea‐9b2a‐434a‐92ff‐435c01ea6f8f                   Address Redacted                      First Class Mail
da325cf5‐5fcb‐4ea2‐894e‐2ee24f8bc35b                   Address Redacted                      First Class Mail
da33ddf2‐af2c‐4aa9‐9267‐661a4d9fb167                   Address Redacted                      First Class Mail
da3713b9‐463e‐43e5‐9f01‐6ee71ee9c815                   Address Redacted                      First Class Mail
da3823a8‐1402‐4f83‐8085‐20b126ffb732                   Address Redacted                      First Class Mail
da39ebd9‐9b19‐4826‐a8e5‐b8507929b216                   Address Redacted                      First Class Mail
da3f1865‐33ed‐461b‐a70a‐45691276c666                   Address Redacted                      First Class Mail
da4ab969‐3549‐4cde‐92c1‐9eb93ff1c72f                   Address Redacted                      First Class Mail
da4cb227‐c19f‐4148‐8909‐d17e51b478e3                   Address Redacted                      First Class Mail
da4dbe55‐5dd9‐43f6‐b561‐ad0b0b7e3902                   Address Redacted                      First Class Mail
da4dee2e‐c3cc‐443d‐9d18‐1dcc7d7b53a2                   Address Redacted                      First Class Mail
da4e7952‐fca5‐46f4‐b2d3‐8d4919b4d76b                   Address Redacted                      First Class Mail
da4fbe6c‐5d38‐486e‐ad79‐79c9d7f05661                   Address Redacted                      First Class Mail
da55f2ed‐29a5‐41c7‐85af‐16f3676f34f6                   Address Redacted                      First Class Mail
da59113d‐0fea‐47d8‐8987‐278841311080                   Address Redacted                      First Class Mail
da5c80ef‐441b‐4a42‐8aca‐4ec24b78d411                   Address Redacted                      First Class Mail
da5d11a4‐498c‐4119‐9cea‐07bbc9237b31                   Address Redacted                      First Class Mail
da65354b‐b701‐4bab‐b07e‐e2473be84898                   Address Redacted                      First Class Mail
da6839e3‐9085‐4190‐956f‐e41cd62aeef4                   Address Redacted                      First Class Mail
da6c8de6‐c587‐483b‐b103‐25af1bf4c93c                   Address Redacted                      First Class Mail
da6f2fa0‐e373‐4219‐8059‐88d4eda68ba5                   Address Redacted                      First Class Mail
da77f1dd‐2f10‐4359‐a6e1‐07e3d9ac85ac                   Address Redacted                      First Class Mail
da784fe5‐64e4‐4c3d‐b35b‐0e3bfa5f4149                   Address Redacted                      First Class Mail
da7aac5a‐4cd3‐4d28‐b7b5‐b07f7f60c483                   Address Redacted                      First Class Mail
da7bb336‐02f4‐4dce‐835c‐f7edace4ed88                   Address Redacted                      First Class Mail
da875d3c‐eb3f‐4abf‐a87f‐d0c27163d1af                   Address Redacted                      First Class Mail
da8803f8‐c6e2‐4aac‐8901‐a9a5191ff248                   Address Redacted                      First Class Mail
da8aa757‐298d‐4ff7‐9b63‐0dc43bcb3598                   Address Redacted                      First Class Mail
da8df736‐6938‐47d4‐8c7f‐d5197abe6e99                   Address Redacted                      First Class Mail
da910bd2‐522f‐4fef‐b847‐b2933e3c2f0a                   Address Redacted                      First Class Mail
da96423a‐b7dc‐4a51‐ad64‐356e7e810f52                   Address Redacted                      First Class Mail
da9aa236‐5cab‐41a1‐877d‐e3483efe6e7b                   Address Redacted                      First Class Mail
da9bc592‐2959‐453f‐acdf‐edbb0ab17bca                   Address Redacted                      First Class Mail
da9be9e7‐93f5‐454b‐9e5d‐794bb5644527                   Address Redacted                      First Class Mail
daa2bd48‐c5be‐4448‐9c06‐dfb779b2f3a5                   Address Redacted                      First Class Mail
daacb25b‐b131‐4ef1‐b895‐efa70929e154                   Address Redacted                      First Class Mail
daace71a‐7bf9‐4378‐9ad0‐6d6974b486e5                   Address Redacted                      First Class Mail
daae2182‐07a3‐4bc4‐a159‐87779ba59549                   Address Redacted                      First Class Mail
daae9ad6‐5efc‐4157‐bb67‐684c077731a2                   Address Redacted                      First Class Mail
dab154fb‐b0a5‐482d‐ae19‐980ceaf650b2                   Address Redacted                      First Class Mail
dab3196d‐4081‐46a8‐8860‐b68ec11e1f8a                   Address Redacted                      First Class Mail
dab45107‐872a‐48c0‐b06b‐662ddc8e5375                   Address Redacted                      First Class Mail
dabd9a09‐4791‐4446‐b63b‐c06661fae7ed                   Address Redacted                      First Class Mail
dac46aca‐726d‐42ab‐84f1‐2e6c6d6b9959                   Address Redacted                      First Class Mail
dac609a9‐714f‐482e‐96a5‐dd389169ba45                   Address Redacted                      First Class Mail
dac7334b‐7a79‐4fbc‐b38f‐c6ca68526f4f                   Address Redacted                      First Class Mail
dacb1d56‐a887‐4b08‐af50‐30b475faa8dd                   Address Redacted                      First Class Mail
dacbeb26‐c8f5‐4cb2‐b0bb‐c38e623dc295                   Address Redacted                      First Class Mail
dacc18fe‐2569‐431c‐a5d8‐9a1ec8957066                   Address Redacted                      First Class Mail
dacddd43‐07a3‐4eef‐a368‐aeeaa093aa97                   Address Redacted                      First Class Mail
dacf3eae‐cd7e‐40b2‐aab7‐2ccc131e9e39                   Address Redacted                      First Class Mail
dad1770e‐54d5‐47b1‐a7a3‐f1cfe7993590                   Address Redacted                      First Class Mail
dad24411‐1d35‐4316‐be9f‐f3d507769de7                   Address Redacted                      First Class Mail
dad2be8b‐9b59‐42bb‐a660‐bf271f451836                   Address Redacted                      First Class Mail
dad374fd‐6e69‐47fe‐9f70‐76e6b9bb24df                   Address Redacted                      First Class Mail
dad714ab‐6847‐4e62‐8d56‐8d0fee73fdda                   Address Redacted                      First Class Mail
dad819da‐e756‐431b‐84c6‐efd9b718cf76                   Address Redacted                      First Class Mail
dad84970‐c680‐48eb‐a9e6‐02d3f85b823a                   Address Redacted                      First Class Mail
dadae772‐9b96‐4385‐ae83‐8eb658f13f20                   Address Redacted                      First Class Mail
dadb9d5b‐f653‐419d‐ac53‐b57f3cec4fc0                   Address Redacted                      First Class Mail
dadd332a‐af70‐4b08‐949d‐7fecad7fe9bb                   Address Redacted                      First Class Mail
dae175ac‐9434‐4440‐b78b‐ecfcdcda7427                   Address Redacted                      First Class Mail
dae3c722‐6529‐46d7‐9104‐f002b8291152                   Address Redacted                      First Class Mail




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                                                                 Service List


                               Name                                             Address                         Method of Service
dae5cef4‐085a‐4e80‐8887‐81b166296be4                   Address Redacted                      First Class Mail
dae61878‐6f46‐49cb‐861e‐22f8f55a7494                   Address Redacted                      First Class Mail
daea8f10‐cd3c‐43ac‐a329‐2f250c9c8a99                   Address Redacted                      First Class Mail
daeadcd1‐108f‐4223‐abb5‐e27eecd2660e                   Address Redacted                      First Class Mail
daf09ddc‐790a‐4f84‐a78d‐35a8da64ff48                   Address Redacted                      First Class Mail
daf5137a‐1a32‐45f1‐8d87‐8808cac75efe                   Address Redacted                      First Class Mail
daf7ba39‐480a‐470c‐9da0‐3b462e07fb4f                   Address Redacted                      First Class Mail
daf9fc48‐7a7a‐4829‐98cd‐743c5bc9d958                   Address Redacted                      First Class Mail
dafbcec5‐41c3‐46f4‐86ff‐f02574a4b023                   Address Redacted                      First Class Mail
dafe29d3‐0737‐4781‐806e‐4a836f6ca599                   Address Redacted                      First Class Mail
db005922‐4a1f‐4c7d‐a8d2‐c2c5ab709fbd                   Address Redacted                      First Class Mail
db03c310‐9665‐442d‐8fd6‐e64ca9639908                   Address Redacted                      First Class Mail
db06c7f5‐4ef2‐406f‐aaaa‐ea5655396205                   Address Redacted                      First Class Mail
db0a63ba‐e800‐4d96‐afde‐a0bc0e4b1013                   Address Redacted                      First Class Mail
db0abd01‐69a4‐4425‐9d39‐a00f7d256d1c                   Address Redacted                      First Class Mail
db0bd843‐9304‐4972‐a0d5‐e6bf6f07b858                   Address Redacted                      First Class Mail
db0cc6a3‐ebb9‐46ca‐8888‐fc7792834714                   Address Redacted                      First Class Mail
db0e30ac‐6a8f‐449f‐9a2f‐105d878a8950                   Address Redacted                      First Class Mail
db104120‐7c3d‐4b4c‐b210‐815067084ba7                   Address Redacted                      First Class Mail
db1477cc‐4ffd‐4b8d‐a450‐42f18085a407                   Address Redacted                      First Class Mail
db1ed10d‐1bf4‐4fe1‐afca‐5bc20dc3f513                   Address Redacted                      First Class Mail
db209ed3‐1c0c‐431e‐98a6‐75d4b4c8ddb2                   Address Redacted                      First Class Mail
db211003‐c355‐4684‐8e97‐9a4c2f76d2bd                   Address Redacted                      First Class Mail
db222ad8‐b5e9‐4c56‐86ac‐064934b0c836                   Address Redacted                      First Class Mail
db22af22‐dded‐48aa‐a489‐feb5597ed21d                   Address Redacted                      First Class Mail
db23ef93‐e6ac‐4db4‐9fa9‐3b371b70eca5                   Address Redacted                      First Class Mail
db253426‐6c03‐480d‐8f6b‐148ff75b7f92                   Address Redacted                      First Class Mail
db2a6d88‐18bf‐4e14‐b22b‐594a9efe104c                   Address Redacted                      First Class Mail
db2ca924‐d511‐4233‐a1e1‐ecd6eee6294a                   Address Redacted                      First Class Mail
db2d20d8‐36be‐4b4d‐bf3f‐8a7e7c0c130c                   Address Redacted                      First Class Mail
db2e04bd‐ccd9‐4458‐a4b9‐d7432b56fc87                   Address Redacted                      First Class Mail
db36d20f‐559c‐4e59‐8271‐f65956c35dbc                   Address Redacted                      First Class Mail
db3b9896‐fc03‐4047‐8a26‐0dca9d8288e4                   Address Redacted                      First Class Mail
db402968‐7b38‐41e0‐99a2‐7e3111f82dd5                   Address Redacted                      First Class Mail
db434b06‐f160‐4980‐9e58‐fb0eb2adec6a                   Address Redacted                      First Class Mail
db47c38a‐31d7‐464b‐9cd9‐8a51ec62b46c                   Address Redacted                      First Class Mail
db4f1e5c‐205c‐416f‐aa9c‐06290ff010fb                   Address Redacted                      First Class Mail
db5660ce‐77c8‐44d4‐9f9f‐172978f7e0f9                   Address Redacted                      First Class Mail
db56b3bc‐1650‐4cb7‐9e91‐f0ae0c296339                   Address Redacted                      First Class Mail
db5774f5‐65be‐4898‐8ab4‐e01205509892                   Address Redacted                      First Class Mail
db57951c‐a69d‐4515‐9799‐4bcfddb32405                   Address Redacted                      First Class Mail
db58e094‐ac2f‐4714‐9fa3‐7c1333805e93                   Address Redacted                      First Class Mail
db5f780a‐11e8‐4fc8‐b1ea‐349e810e65b6                   Address Redacted                      First Class Mail
db6ce135‐345d‐417e‐a360‐a0da45fd44ad                   Address Redacted                      First Class Mail
db749dd2‐0331‐461e‐9d5d‐70b976bc69f1                   Address Redacted                      First Class Mail
db74fba3‐d1c5‐4501‐8222‐1a26343ee52b                   Address Redacted                      First Class Mail
db767b51‐8d25‐4830‐9b3d‐759e6c28044a                   Address Redacted                      First Class Mail
db7699cb‐4654‐4eb2‐bb7b‐974c93b4770a                   Address Redacted                      First Class Mail
db82ee94‐40e4‐49bd‐b797‐6badcb00df9b                   Address Redacted                      First Class Mail
db844a5f‐1f4e‐4189‐8f4b‐019781fc1ff4                   Address Redacted                      First Class Mail
db84691e‐fdfc‐48bd‐b77f‐72912bcd12a0                   Address Redacted                      First Class Mail
db891d85‐1f12‐4199‐b184‐09517b828cf1                   Address Redacted                      First Class Mail
db8bee70‐1535‐4fe9‐a479‐212463e8e5f5                   Address Redacted                      First Class Mail
db8c4158‐886c‐4919‐8781‐b257593c01bf                   Address Redacted                      First Class Mail
db8ddcf5‐5200‐4ab6‐a095‐708d02e0fb27                   Address Redacted                      First Class Mail
db92c61f‐059e‐4a58‐a8e0‐8808675abec4                   Address Redacted                      First Class Mail
db92e2d5‐0537‐4b33‐906f‐9a8313d9fc7e                   Address Redacted                      First Class Mail
db93c2f1‐957f‐4b42‐b468‐14cda157ea04                   Address Redacted                      First Class Mail
db961704‐3a83‐4295‐b217‐11266857b03b                   Address Redacted                      First Class Mail
db9ad67d‐2dc2‐4cbf‐b3d3‐45109d08d305                   Address Redacted                      First Class Mail
db9e2e42‐7dc5‐47a7‐8f0d‐ef851a6cc5c2                   Address Redacted                      First Class Mail
dba03c91‐91b4‐47da‐85a6‐97bbad2189cf                   Address Redacted                      First Class Mail
dba075d0‐5e73‐4839‐a158‐c8f4073087b3                   Address Redacted                      First Class Mail
dba2d00d‐70c0‐4195‐ab1b‐62bb0bcb5b15                   Address Redacted                      First Class Mail
dba5ab24‐84bd‐4324‐8723‐21e9e2d3c2a3                   Address Redacted                      First Class Mail
dba61e17‐e44f‐4212‐a513‐adfc81e116da                   Address Redacted                      First Class Mail
dba626ad‐f834‐4f9f‐b50e‐68549b7c8761                   Address Redacted                      First Class Mail
dba9061a‐8ada‐4551‐8211‐37d7026c1cf7                   Address Redacted                      First Class Mail
dbab5098‐1b4b‐4be4‐823e‐7c067d7d4f05                   Address Redacted                      First Class Mail
dbac0032‐9a56‐450c‐b1f1‐93ebdffd079c                   Address Redacted                      First Class Mail
dbacce88‐600b‐4fa9‐b1bf‐e93cde5363a5                   Address Redacted                      First Class Mail
dbadd0e2‐3b87‐4637‐b6f2‐e038ef3f4069                   Address Redacted                      First Class Mail




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                                                                Exhibit A
                                                                 Service List


                              Name                                              Address                         Method of Service
dbb05085‐e85d‐4a74‐9d46‐6ece80c8348d                   Address Redacted                      First Class Mail
dbb1bbc9‐b8a3‐4cd1‐b0b4‐8f62d3aa3799                   Address Redacted                      First Class Mail
dbb23ca7‐55fe‐49aa‐b2df‐e01480867760                   Address Redacted                      First Class Mail
dbb4ac5c‐bf92‐405c‐9184‐6f8211e4330c                   Address Redacted                      First Class Mail
dbb4f943‐c881‐425a‐8ea3‐b63762110fa0                   Address Redacted                      First Class Mail
dbc2a2ef‐9406‐4d9b‐b98f‐501fecf4441a                   Address Redacted                      First Class Mail
dbc6803f‐326f‐4c29‐bce5‐9a5ecc31b663                   Address Redacted                      First Class Mail
dbc7709f‐4549‐4eae‐be5f‐6e2d395ec988                   Address Redacted                      First Class Mail
dbc8f64a‐5fb7‐40d5‐8ad6‐a9e9cf9dbdfb                   Address Redacted                      First Class Mail
dbd30a90‐71a1‐4bac‐8da5‐1e730dcfcaca                   Address Redacted                      First Class Mail
dbd4037e‐70bd‐400c‐8ee5‐bc7e77666253                   Address Redacted                      First Class Mail
dbd542c9‐31ff‐4a53‐8d64‐966f7ab8d7ef                   Address Redacted                      First Class Mail
dbd65519‐8131‐4503‐8c59‐4eac93d4277d                   Address Redacted                      First Class Mail
dbd72251‐7ed6‐4efb‐a705‐ca2b86474eb8                   Address Redacted                      First Class Mail
dbd7d2d6‐be4e‐4d14‐be18‐59b0d3f749f9                   Address Redacted                      First Class Mail
dbd85626‐f464‐495d‐a432‐b72f964dfdb4                   Address Redacted                      First Class Mail
dbdde200‐f3b0‐4fe3‐a7d3‐20180143aaf5                   Address Redacted                      First Class Mail
dbdfc8b8‐80c9‐426b‐8c5a‐dcc5b92892ed                   Address Redacted                      First Class Mail
dbdfee58‐4c58‐461a‐9335‐ede21c1f51f1                   Address Redacted                      First Class Mail
dbe624be‐1ebc‐4292‐9911‐700bcab8880e                   Address Redacted                      First Class Mail
dbec9376‐0072‐46aa‐a722‐c2363ac51acd                   Address Redacted                      First Class Mail
dbeca6ab‐e650‐4f95‐86ab‐f9f61e9507e2                   Address Redacted                      First Class Mail
dbf2194b‐cf95‐4b2a‐bbc6‐9b141097582f                   Address Redacted                      First Class Mail
dbf23e76‐ee42‐45c4‐ab85‐f14a9906b012                   Address Redacted                      First Class Mail
dbf5efc7‐1839‐41ce‐a933‐99736851e716                   Address Redacted                      First Class Mail
dbfe6820‐2b90‐4a8a‐a86a‐c3e3a1929b20                   Address Redacted                      First Class Mail
dbfeb38f‐8919‐4515‐9ff9‐2525fbc03013                   Address Redacted                      First Class Mail
dc02b56f‐2012‐45e9‐b858‐65e6e7d38173                   Address Redacted                      First Class Mail
dc030bfa‐2ba7‐4858‐ad37‐6df09acd25f3                   Address Redacted                      First Class Mail
dc08c3a5‐8d26‐4024‐b7f5‐afa0eeb32a68                   Address Redacted                      First Class Mail
dc0b519b‐ad5b‐4f8d‐91df‐e6bf2030dbf6                   Address Redacted                      First Class Mail
dc0d911b‐2d9d‐45d3‐aeb4‐4c0490a88f60                   Address Redacted                      First Class Mail
dc1856d1‐962e‐422e‐8755‐9cc4f1dc3e84                   Address Redacted                      First Class Mail
dc1964a8‐41e6‐495d‐bb57‐aaad71221568                   Address Redacted                      First Class Mail
dc1b2163‐ecbc‐4194‐b0f0‐bd93d52bfa0c                   Address Redacted                      First Class Mail
dc1bf984‐54ff‐45da‐b683‐a0c525ee7d36                   Address Redacted                      First Class Mail
dc1d8cd6‐d6dd‐4c3f‐8cf8‐37e202dde805                   Address Redacted                      First Class Mail
dc22bed1‐bfe0‐4a82‐9281‐25af8dbbd3b5                   Address Redacted                      First Class Mail
dc23ce67‐3f11‐4f40‐b94a‐f2c8fc697599                   Address Redacted                      First Class Mail
dc245643‐c2f9‐4ed0‐af7c‐bdacb662e2ef                   Address Redacted                      First Class Mail
dc25040b‐0889‐44c3‐a3bb‐192a740bf5b5                   Address Redacted                      First Class Mail
dc26fe2d‐16c2‐4fde‐abaf‐3a002e112c08                   Address Redacted                      First Class Mail
dc282f68‐281d‐45c5‐888c‐374ad85a44cd                   Address Redacted                      First Class Mail
dc2a384e‐cb66‐4e8b‐b2ea‐a1e095ee822e                   Address Redacted                      First Class Mail
dc2a5b4b‐1770‐4eee‐9172‐cdb6302530cc                   Address Redacted                      First Class Mail
dc2c711c‐089e‐494a‐ad9c‐19e3ceb53058                   Address Redacted                      First Class Mail
dc2c8059‐d584‐4fc4‐820a‐c5ff3b5a7a40                   Address Redacted                      First Class Mail
dc2cac9b‐4e77‐4c45‐be2b‐d5d01d6aae43                   Address Redacted                      First Class Mail
dc2faf0b‐fb8a‐4272‐9a2d‐affd9723c489                   Address Redacted                      First Class Mail
dc30dfe1‐fdac‐4067‐85cd‐77e8146c57d8                   Address Redacted                      First Class Mail
dc31ac56‐f8e4‐458e‐a740‐39950f4b1dff                   Address Redacted                      First Class Mail
dc31c92f‐545a‐40da‐b280‐f8d8ba0f2d6d                   Address Redacted                      First Class Mail
dc35444d‐4c18‐4945‐9577‐1751990bdafd                   Address Redacted                      First Class Mail
dc3ad34f‐2d1c‐4850‐aacf‐5d154dcd217d                   Address Redacted                      First Class Mail
dc3ebe66‐30de‐452d‐8994‐9e39fcfe6097                   Address Redacted                      First Class Mail
dc3ef594‐7cbf‐486b‐a71c‐202ff04248fb                   Address Redacted                      First Class Mail
dc41b68d‐1f74‐4015‐ab4d‐dd80e305390c                   Address Redacted                      First Class Mail
dc41d97d‐59b5‐4b1b‐81e3‐1a259798fd68                   Address Redacted                      First Class Mail
dc4224ee‐cf09‐41d4‐8147‐db5fe9716d56                   Address Redacted                      First Class Mail
dc437fc5‐d6f2‐4f7d‐b7c2‐ef9dbb780a5d                   Address Redacted                      First Class Mail
dc465316‐e0b8‐42ae‐b928‐af1c5da68d7f                   Address Redacted                      First Class Mail
dc486a1b‐9329‐45b2‐9c86‐6648056372ec                   Address Redacted                      First Class Mail
dc4b0931‐23e8‐4193‐ba62‐128b651e196a                   Address Redacted                      First Class Mail
dc4d779f‐2524‐4fb3‐a791‐409def19843e                   Address Redacted                      First Class Mail
dc51073e‐fc7e‐4a9f‐85ae‐be8cc270606f                   Address Redacted                      First Class Mail
dc530880‐2c9a‐4083‐8da9‐a348e05e2a6a                   Address Redacted                      First Class Mail
dc56f03d‐b2d3‐4389‐aeb3‐3bb7f41f80d7                   Address Redacted                      First Class Mail
dc5a0fac‐9e28‐4ae9‐8b99‐f077341c6507                   Address Redacted                      First Class Mail
dc5fda9c‐b270‐457b‐86a9‐7ab70d8524d5                   Address Redacted                      First Class Mail
dc6131df‐0ba6‐4e35‐8cd0‐ee78b6c340fb                   Address Redacted                      First Class Mail
dc61415a‐93fb‐489e‐ab1a‐b8b70f0af67f                   Address Redacted                      First Class Mail
dc65cbf7‐5d6b‐4ffd‐9939‐3a9a3d028bc1                   Address Redacted                      First Class Mail




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                                                                 Service List


                              Name                                              Address                         Method of Service
dc6a1a33‐947c‐4267‐a9b3‐d838f1df93f3                   Address Redacted                      First Class Mail
dc6a4e82‐9e1c‐49ec‐bf6a‐2a31bb8daf77                   Address Redacted                      First Class Mail
dc6bc038‐3203‐4a47‐919e‐d6ee94c9198e                   Address Redacted                      First Class Mail
dc6ce17e‐7504‐4091‐8e98‐865f11b3bdc3                   Address Redacted                      First Class Mail
dc6f9dc4‐5b22‐4c14‐a0ed‐5f0be7292b1e                   Address Redacted                      First Class Mail
dc6fb36b‐7965‐4b03‐87fd‐1119bd46993a                   Address Redacted                      First Class Mail
dc708806‐5eab‐4b3f‐ab6f‐25ab4219f602                   Address Redacted                      First Class Mail
dc731c6f‐f347‐4b1d‐8180‐8066b7d3f099                   Address Redacted                      First Class Mail
dc7a00e5‐ccce‐428d‐ad92‐2648ed2aacc2                   Address Redacted                      First Class Mail
dc7c02ff‐f839‐47b4‐846b‐0b972665691b                   Address Redacted                      First Class Mail
dc821175‐592e‐474c‐bbf3‐ac31d5f8a843                   Address Redacted                      First Class Mail
dc82c8c8‐9d52‐43aa‐b45c‐8718f3fdc570                   Address Redacted                      First Class Mail
dc863c46‐0826‐4443‐a3f3‐0a5755fedf79                   Address Redacted                      First Class Mail
dc89627a‐3074‐4831‐86da‐5eb4f1514bdc                   Address Redacted                      First Class Mail
dc8cb307‐2e60‐43e5‐9e1f‐b8fa9edce3d1                   Address Redacted                      First Class Mail
dc908797‐90d2‐4817‐9e29‐e183b375ae4d                   Address Redacted                      First Class Mail
dc93d18e‐a132‐4ecd‐9b50‐e29cd7417170                   Address Redacted                      First Class Mail
dc96cc1f‐b1e1‐4eaf‐ba3d‐e190450f0ee1                   Address Redacted                      First Class Mail
dc971716‐5313‐4288‐9a2e‐b0c41c1f1b99                   Address Redacted                      First Class Mail
dc9b62bb‐f88e‐4270‐8a80‐ac223ef44219                   Address Redacted                      First Class Mail
dca1e721‐b2eb‐4c82‐853f‐6b76cf7a281e                   Address Redacted                      First Class Mail
dca6e7ec‐46db‐4d90‐90b9‐10d7ee055736                   Address Redacted                      First Class Mail
dca6f620‐4327‐4f81‐b00e‐381cbd29803d                   Address Redacted                      First Class Mail
dcae6793‐a0a1‐4b1c‐b5e7‐9aeee3bcc4ef                   Address Redacted                      First Class Mail
dcb01119‐c055‐451d‐9ddf‐fc853cccf066                   Address Redacted                      First Class Mail
dcb4f695‐2f6d‐4fa8‐9956‐713ed0145753                   Address Redacted                      First Class Mail
dcb7d058‐a3ae‐45e4‐b895‐63936f9da01f                   Address Redacted                      First Class Mail
dcb828a2‐106b‐4b51‐bac1‐febe10f6473a                   Address Redacted                      First Class Mail
dcc721f4‐59b5‐4f13‐821b‐3ad603bcee6f                   Address Redacted                      First Class Mail
dccea92a‐2f0c‐4f6f‐9049‐00eaaa50ec4a                   Address Redacted                      First Class Mail
dcd3cccb‐40ab‐4e4f‐8401‐4f353b37c934                   Address Redacted                      First Class Mail
dcd56b5b‐91a8‐45d3‐a886‐541d26330b83                   Address Redacted                      First Class Mail
dcd711dd‐3586‐477e‐a289‐8953a13a2cc6                   Address Redacted                      First Class Mail
dcd72de7‐8f04‐4c88‐a3a8‐ca92cf5c8715                   Address Redacted                      First Class Mail
dcd80a02‐7830‐4c9a‐892a‐88bd80bc9862                   Address Redacted                      First Class Mail
dcdf1566‐c94e‐4d6a‐816f‐c2b037f82481                   Address Redacted                      First Class Mail
dcdfc73f‐32d1‐4cac‐bf84‐2a753e01dba8                   Address Redacted                      First Class Mail
dce1511e‐df4a‐41b9‐8d68‐56280afa0b2e                   Address Redacted                      First Class Mail
dce281da‐7dcc‐4d49‐a03f‐d50af6ecee96                   Address Redacted                      First Class Mail
dce53982‐c55a‐4134‐83dc‐6d9c96e3c5b4                   Address Redacted                      First Class Mail
dce9ef92‐a17a‐4e4f‐94e7‐8370055ddc63                   Address Redacted                      First Class Mail
dcee0312‐7a13‐4300‐bb72‐0c21cc6b67de                   Address Redacted                      First Class Mail
dcf17f26‐b583‐4369‐95a4‐ead8c39587db                   Address Redacted                      First Class Mail
dcf20ae4‐9335‐4048‐b4a8‐70fc9d77ca9b                   Address Redacted                      First Class Mail
dcf3771d‐759f‐430e‐9157‐fc34da31ec70                   Address Redacted                      First Class Mail
dcf57d8a‐a169‐49d3‐a960‐9b842d856fa6                   Address Redacted                      First Class Mail
dcf5b026‐2493‐4dc8‐9112‐9fa2b410dd6f                   Address Redacted                      First Class Mail
dcf68efe‐7522‐457e‐96fd‐e178f9c864b3                   Address Redacted                      First Class Mail
dcf6acbe‐e726‐4953‐b91e‐9a23d0d7d9b4                   Address Redacted                      First Class Mail
dcf76c8e‐5994‐4a99‐892a‐6737d088753f                   Address Redacted                      First Class Mail
dcf8483e‐3d30‐44a9‐8adb‐c2031da5422e                   Address Redacted                      First Class Mail
dcfbad8b‐d295‐420a‐a6a1‐e1a049edf90c                   Address Redacted                      First Class Mail
dcfe03af‐e105‐4576‐b108‐aa5e1dc99288                   Address Redacted                      First Class Mail
dcff4f89‐ce2d‐4b1e‐8f15‐0da48539ec6d                   Address Redacted                      First Class Mail
dd032016‐bd81‐4c25‐ac22‐7ee16b83d4b4                   Address Redacted                      First Class Mail
dd03d27a‐47a6‐45bf‐b599‐4a50035190d1                   Address Redacted                      First Class Mail
dd044713‐d317‐4593‐8276‐7608ec63edf9                   Address Redacted                      First Class Mail
dd05b55e‐b9b7‐40ee‐bd29‐1676ae5f0799                   Address Redacted                      First Class Mail
dd064306‐fe2e‐4260‐b936‐38f17733f5b6                   Address Redacted                      First Class Mail
dd066729‐866d‐4d1b‐aa11‐109dada96292                   Address Redacted                      First Class Mail
dd069118‐744f‐4ea9‐8eac‐eead2ee915b4                   Address Redacted                      First Class Mail
dd06ec48‐8bb0‐48a0‐9204‐e244f5a8ffe1                   Address Redacted                      First Class Mail
dd07a33c‐580f‐49d9‐b8c2‐09786a0123e7                   Address Redacted                      First Class Mail
dd085893‐fa24‐4142‐bfcf‐dae16e55c124                   Address Redacted                      First Class Mail
dd09ffd4‐9b34‐4a97‐ab81‐09469e25072f                   Address Redacted                      First Class Mail
dd0e5418‐229f‐47c0‐b0ac‐bd94e9792621                   Address Redacted                      First Class Mail
dd13abdd‐2cf6‐4e35‐9827‐99b98e16d06a                   Address Redacted                      First Class Mail
dd14b6c5‐3d05‐451c‐935a‐2e9815074491                   Address Redacted                      First Class Mail
dd172704‐2005‐4815‐a8b8‐e421945bc2cb                   Address Redacted                      First Class Mail
dd19df02‐2a50‐41c0‐8c36‐b3759caa7074                   Address Redacted                      First Class Mail
dd1ae8f9‐30d2‐46c0‐a418‐eea89afb40ed                   Address Redacted                      First Class Mail
dd1b5b59‐a142‐4a6e‐8b1e‐754e25495804                   Address Redacted                      First Class Mail




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                                                                Exhibit A
                                                                 Service List


                              Name                                              Address                         Method of Service
dd1ba918‐9824‐4cfa‐a2d2‐23c80ba01e7a                   Address Redacted                      First Class Mail
dd1c74c3‐b9fc‐4ebe‐b758‐e705758411dd                   Address Redacted                      First Class Mail
dd271d6c‐c22c‐4c6a‐b55a‐b37314c38d2a                   Address Redacted                      First Class Mail
dd298de4‐9904‐47a9‐a903‐41865c033a2b                   Address Redacted                      First Class Mail
dd2b37f3‐d552‐4294‐b6ce‐632b55560d0e                   Address Redacted                      First Class Mail
dd2ebbd9‐53c6‐44c6‐8cad‐c1795e9cf058                   Address Redacted                      First Class Mail
dd3404d2‐efc3‐4ad9‐a57e‐a23b44103866                   Address Redacted                      First Class Mail
dd342c72‐58ec‐42cc‐af51‐39bf29f1eb9e                   Address Redacted                      First Class Mail
dd366eca‐71c8‐4585‐90b2‐00d12e241567                   Address Redacted                      First Class Mail
dd37bfbd‐589f‐4e31‐a9ab‐9d2fe29bb2d1                   Address Redacted                      First Class Mail
dd3b52c0‐886f‐4edc‐9f96‐11d12bb61ffc                   Address Redacted                      First Class Mail
dd3c578a‐1c17‐429c‐a240‐cfed87b6c779                   Address Redacted                      First Class Mail
dd437609‐f884‐4442‐b462‐349362f39a35                   Address Redacted                      First Class Mail
dd4462f1‐f66a‐49d9‐9089‐3d33cc7e058a                   Address Redacted                      First Class Mail
dd48f140‐9c10‐4baf‐987a‐76d4b52d0c82                   Address Redacted                      First Class Mail
dd490ab2‐07df‐4bd1‐abc3‐60b5b9eebafe                   Address Redacted                      First Class Mail
dd4f22f3‐8f87‐4311‐a451‐f6277a9b049e                   Address Redacted                      First Class Mail
dd523043‐8763‐40d9‐b42a‐a4e1c7ed7403                   Address Redacted                      First Class Mail
dd54ccda‐07c2‐4b3e‐8663‐bad8cf396bd4                   Address Redacted                      First Class Mail
dd5aa3d4‐5e29‐461f‐9759‐9d4d6acb7edc                   Address Redacted                      First Class Mail
dd5c118e‐f54e‐4bb8‐a150‐adbb662da480                   Address Redacted                      First Class Mail
dd5c5ea8‐d906‐4d7f‐aea2‐5f4a798b80c6                   Address Redacted                      First Class Mail
dd5c79f5‐1bf1‐4cfa‐80aa‐3295fe5be23e                   Address Redacted                      First Class Mail
dd5e6962‐0f43‐4eb7‐b474‐f84c04126b10                   Address Redacted                      First Class Mail
dd5ee047‐1374‐45e8‐84e2‐8303399459c1                   Address Redacted                      First Class Mail
dd6e7751‐14b8‐416a‐aba3‐5c7837e61f0d                   Address Redacted                      First Class Mail
dd6eb6b2‐4ce6‐4d94‐a3b4‐3405bd6e44a1                   Address Redacted                      First Class Mail
dd6f488f‐2d8b‐404f‐943b‐05207d6a45ea                   Address Redacted                      First Class Mail
dd6f7495‐d40e‐42fa‐a35a‐52747ee5f888                   Address Redacted                      First Class Mail
dd705a7e‐7ad9‐4574‐850d‐53b35808b694                   Address Redacted                      First Class Mail
dd737e3d‐70db‐4934‐9cfb‐9865eebfbe00                   Address Redacted                      First Class Mail
dd763128‐0fce‐4699‐9e06‐b883373acf30                   Address Redacted                      First Class Mail
dd77c110‐47d4‐413d‐a040‐2c387e3577d0                   Address Redacted                      First Class Mail
dd7a730f‐2ddd‐4201‐835e‐aa91d6222e62                   Address Redacted                      First Class Mail
dd7f0592‐9fea‐47b3‐ad7a‐db9b0f0f4c9c                   Address Redacted                      First Class Mail
dd80d8a0‐17f5‐4b42‐977b‐c55fd1437de0                   Address Redacted                      First Class Mail
dd84c335‐8314‐4412‐b853‐85afbfa1e4e7                   Address Redacted                      First Class Mail
dd863a04‐1768‐45ad‐877b‐f194bc534e3f                   Address Redacted                      First Class Mail
dd8ccd85‐aea1‐4e98‐ac35‐a78b50bec21f                   Address Redacted                      First Class Mail
dd8d8a24‐0e27‐4027‐8717‐b7f5c4b3f1ef                   Address Redacted                      First Class Mail
dd93c92c‐9993‐49c3‐8ad8‐28722da4c56b                   Address Redacted                      First Class Mail
dd948597‐8d2b‐4146‐9eb6‐154169afc29b                   Address Redacted                      First Class Mail
dd9587cd‐b40e‐4dc8‐aae8‐7950ed8c0da1                   Address Redacted                      First Class Mail
dd9835bd‐cf00‐4116‐b398‐01c3bf37f2d8                   Address Redacted                      First Class Mail
dd9bcaf6‐d7a2‐44bf‐aa27‐b9ab6e903b2e                   Address Redacted                      First Class Mail
dda416dd‐088c‐4b7b‐9599‐9de63d887787                   Address Redacted                      First Class Mail
ddb1794d‐4296‐43b7‐bbcd‐8e405e0c7265                   Address Redacted                      First Class Mail
ddb1de18‐475a‐4ee6‐9bf9‐5c77b2be4841                   Address Redacted                      First Class Mail
ddbca5f9‐81cb‐476f‐92a9‐d96f54a7f82b                   Address Redacted                      First Class Mail
ddbd9dde‐1f3a‐4662‐a99b‐3ecec26b877e                   Address Redacted                      First Class Mail
ddbe5bc9‐7285‐42ae‐8d6a‐bfb7a49c4685                   Address Redacted                      First Class Mail
ddc1df70‐7b3c‐402d‐9167‐6411ee45ee4c                   Address Redacted                      First Class Mail
ddc44655‐c0f1‐45ef‐85a1‐29cc5c7ec999                   Address Redacted                      First Class Mail
ddc5d1a3‐570e‐4e6b‐a029‐446be72d483c                   Address Redacted                      First Class Mail
ddc653f3‐aef8‐44ab‐a4f7‐4cb2945cfa4c                   Address Redacted                      First Class Mail
ddc9e2c7‐d14c‐4253‐8aba‐8925fca59989                   Address Redacted                      First Class Mail
ddcbf2d8‐6ad6‐41dc‐b5a4‐5a1d276fceff                   Address Redacted                      First Class Mail
ddd10528‐2f23‐46dc‐a895‐65f85c9913d7                   Address Redacted                      First Class Mail
ddd14219‐1465‐42c0‐a4aa‐a7910320dabd                   Address Redacted                      First Class Mail
ddd1d334‐3da4‐41af‐8022‐f1fb5ef1d851                   Address Redacted                      First Class Mail
ddd5648b‐1cee‐47af‐ab9d‐f47d4158b9e2                   Address Redacted                      First Class Mail
ddd6daf9‐1000‐4c0c‐906d‐785f5097f654                   Address Redacted                      First Class Mail
ddde2a79‐53d5‐4702‐8cc6‐265289541f8e                   Address Redacted                      First Class Mail
ddde9842‐2b61‐4148‐be87‐137179552a86                   Address Redacted                      First Class Mail
dde28c81‐ae3d‐4084‐8fb9‐aa5d3e1ce318                   Address Redacted                      First Class Mail
dde41eca‐8ad3‐4ebd‐8caf‐812fcbd06474                   Address Redacted                      First Class Mail
dde5cd4c‐8e54‐4fbb‐83a6‐3df5415baae5                   Address Redacted                      First Class Mail
ddec2cd4‐2e86‐4114‐a4aa‐8a3dbe23a095                   Address Redacted                      First Class Mail
ddec5cac‐39f7‐4176‐b573‐412308438ac5                   Address Redacted                      First Class Mail
ddeca083‐711f‐4201‐9220‐b9c061386fde                   Address Redacted                      First Class Mail
ddeda5e0‐c1f0‐40ef‐a2ba‐7caf90b656bb                   Address Redacted                      First Class Mail
ddeebb9b‐6370‐4dac‐a90c‐b037c9b23489                   Address Redacted                      First Class Mail




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                              Name                                              Address                         Method of Service
ddf2ca00‐a66a‐4bdb‐bc49‐0ea8dadb2048                   Address Redacted                      First Class Mail
ddf84857‐bb2e‐4b9f‐a5bc‐33b0219b4904                   Address Redacted                      First Class Mail
ddf879c0‐ae8f‐4258‐8853‐c81c5885ea39                   Address Redacted                      First Class Mail
ddff889c‐c04a‐41ee‐b2cb‐fce4d73ebad4                   Address Redacted                      First Class Mail
ddffe992‐7eab‐4765‐90a3‐b2610aed5495                   Address Redacted                      First Class Mail
de001eff‐f02a‐4ca7‐8b5e‐8a20514df199                   Address Redacted                      First Class Mail
de04bb45‐ad8d‐464c‐b6bd‐8d4699757ac0                   Address Redacted                      First Class Mail
de050856‐ab74‐4d16‐b0b3‐82e03e44017e                   Address Redacted                      First Class Mail
de057461‐65c1‐495a‐8cda‐26ffd066a746                   Address Redacted                      First Class Mail
de0648ca‐c763‐4578‐8ae8‐a8d5bc012ae9                   Address Redacted                      First Class Mail
de0769f8‐d2ed‐4dc9‐8b85‐bf50a79104b1                   Address Redacted                      First Class Mail
de0ae099‐617c‐4c1e‐ab0b‐68f1085c114c                   Address Redacted                      First Class Mail
de0b6902‐dfb0‐4d54‐825a‐0c8c5596f260                   Address Redacted                      First Class Mail
de0d4eb2‐dc0c‐4ee2‐ab0d‐8b282cb5fe5f                   Address Redacted                      First Class Mail
de0f60cf‐8070‐4a78‐8e03‐c4754b1af259                   Address Redacted                      First Class Mail
de0f9285‐1552‐42f5‐88fd‐a2d003459ef3                   Address Redacted                      First Class Mail
de0ff7e5‐e068‐441a‐9664‐10cefeb46a93                   Address Redacted                      First Class Mail
de10da98‐315d‐42b5‐9d32‐08b22e6bae88                   Address Redacted                      First Class Mail
de1143b1‐5b05‐4542‐a9ad‐20e8286ad671                   Address Redacted                      First Class Mail
de1284f0‐cc8d‐4335‐a4ae‐7b83197843ed                   Address Redacted                      First Class Mail
de133568‐2ea7‐41ac‐a893‐2c5b0dad5bb1                   Address Redacted                      First Class Mail
de14b86b‐e836‐4fb9‐8e1a‐300a2867a27b                   Address Redacted                      First Class Mail
de159a1f‐0003‐436a‐9ea2‐7701a07dd16f                   Address Redacted                      First Class Mail
de16158b‐adad‐48fc‐8033‐b7ec398b5eaa                   Address Redacted                      First Class Mail
de1bcd6e‐b41e‐4fd5‐bef8‐b1fb0198c1ca                   Address Redacted                      First Class Mail
de1d9563‐6c31‐463e‐afef‐d457a4d9d090                   Address Redacted                      First Class Mail
de1e3421‐e596‐469e‐a04a‐f1b055dbe7f9                   Address Redacted                      First Class Mail
de22810d‐eba5‐4a6b‐9655‐58217765b071                   Address Redacted                      First Class Mail
de24e2d4‐4afd‐47e5‐b539‐efc037130898                   Address Redacted                      First Class Mail
de263b9c‐c9dc‐47bd‐97fc‐2639e454dab4                   Address Redacted                      First Class Mail
de2c2652‐9e17‐44d1‐9fdc‐787346436dee                   Address Redacted                      First Class Mail
de2ce5ce‐5aeb‐46ba‐8358‐da546d6f4f28                   Address Redacted                      First Class Mail
de2f97e3‐afec‐4bd3‐a3a4‐2cbb97da97b7                   Address Redacted                      First Class Mail
de305e3b‐1689‐4110‐90cc‐64bc8170df07                   Address Redacted                      First Class Mail
de31b556‐04a2‐4085‐b31e‐407ec01b4ab1                   Address Redacted                      First Class Mail
de31c243‐4907‐48bf‐9d0b‐248e96f1066e                   Address Redacted                      First Class Mail
de356c1e‐9f3b‐48a5‐98bc‐449249a14cd9                   Address Redacted                      First Class Mail
de3a480e‐ea61‐4646‐8991‐19f4f37a1f1f                   Address Redacted                      First Class Mail
de4117ec‐d1fa‐4880‐896d‐8248d00c1adb                   Address Redacted                      First Class Mail
de42a5fd‐dfc1‐487a‐8ad5‐e6930269745a                   Address Redacted                      First Class Mail
de4851b7‐7d7c‐4e7f‐9fcb‐4641d3231751                   Address Redacted                      First Class Mail
de507a3b‐d796‐4359‐8d94‐079bc0c4266a                   Address Redacted                      First Class Mail
de55cf57‐65ac‐4116‐9da4‐a0fca36347d7                   Address Redacted                      First Class Mail
de593b22‐85ce‐483a‐83e8‐f181e68d38c5                   Address Redacted                      First Class Mail
de5bd326‐f990‐456a‐ba39‐187c77bb18a3                   Address Redacted                      First Class Mail
de602492‐6221‐48bf‐82ec‐542e89f29af9                   Address Redacted                      First Class Mail
de60ac9b‐3a19‐4b6d‐914d‐4219934f7687                   Address Redacted                      First Class Mail
de61462b‐abee‐4886‐8efa‐a78b6a8ec189                   Address Redacted                      First Class Mail
de63450a‐4a1b‐4ad7‐b533‐7003a81fc735                   Address Redacted                      First Class Mail
de63b86d‐4934‐4def‐a2c6‐4cc417d1dfe6                   Address Redacted                      First Class Mail
de6672d1‐1551‐4a65‐a7c8‐b54389791bca                   Address Redacted                      First Class Mail
de66eea6‐1b55‐4ee4‐a3a8‐ecea08b57593                   Address Redacted                      First Class Mail
de6a628d‐a1a5‐4712‐919f‐8d2a3afd2c79                   Address Redacted                      First Class Mail
de6b0999‐0842‐4e9a‐a562‐613db1ca7391                   Address Redacted                      First Class Mail
de70e47e‐72a5‐4f7b‐8a60‐d3cba88f878c                   Address Redacted                      First Class Mail
de713cbc‐93d6‐4eeb‐a572‐10a2cb9dd3f7                   Address Redacted                      First Class Mail
de7446d9‐cd93‐4230‐b2bc‐d489e1035314                   Address Redacted                      First Class Mail
de752c62‐0487‐4b96‐9920‐2554b09d1ac5                   Address Redacted                      First Class Mail
de771174‐92e3‐495c‐afc4‐69f46f6fdeb3                   Address Redacted                      First Class Mail
de772930‐3db2‐45c6‐beeb‐bb96300757f1                   Address Redacted                      First Class Mail
de77d574‐05df‐47aa‐857a‐f0ebc12b3bfe                   Address Redacted                      First Class Mail
de787b93‐3d8a‐421e‐9356‐2103dbbed27d                   Address Redacted                      First Class Mail
de7a4682‐cca9‐44e6‐855a‐472cbb875df7                   Address Redacted                      First Class Mail
de7d788e‐bb7b‐49a8‐ac35‐cbd3c3e9f47a                   Address Redacted                      First Class Mail
de7e89f2‐e487‐4de9‐8ac6‐cf64ebd23bb1                   Address Redacted                      First Class Mail
de7ec9a3‐b48a‐4951‐8657‐7c287eaab38b                   Address Redacted                      First Class Mail
de7efd87‐c380‐4a6f‐a29b‐fb5675841ec2                   Address Redacted                      First Class Mail
de7fbd93‐03e6‐4263‐92b1‐1977b5916ccd                   Address Redacted                      First Class Mail
de82e33c‐859d‐4a93‐ab5f‐23c75870bc39                   Address Redacted                      First Class Mail
de8356f9‐ed47‐45d2‐97d0‐6b661b357a01                   Address Redacted                      First Class Mail
de83b887‐0c90‐4d9a‐836f‐a037ec14b32b                   Address Redacted                      First Class Mail
de84bf1c‐2db2‐4cc1‐ab74‐d5ec048e197c                   Address Redacted                      First Class Mail




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                              Name                                              Address                         Method of Service
de863a28‐e009‐47d9‐ad05‐fe824204baa5                   Address Redacted                      First Class Mail
de8aba0e‐63f3‐4643‐96cd‐a4f05dd3f62a                   Address Redacted                      First Class Mail
de8c80b1‐657e‐4044‐bff4‐cee62dad5dac                   Address Redacted                      First Class Mail
de946fc4‐0071‐4651‐bdd3‐4f314cc29513                   Address Redacted                      First Class Mail
de956ec5‐72cd‐40f6‐b30e‐cbd212bfb067                   Address Redacted                      First Class Mail
de958392‐4ad0‐49d7‐8f7f‐ba7ccc33ebec                   Address Redacted                      First Class Mail
de9a9ed7‐3b28‐499a‐a572‐eba9ee08a9d6                   Address Redacted                      First Class Mail
de9d88a6‐1460‐4b8c‐aff5‐f691d8876326                   Address Redacted                      First Class Mail
de9dc022‐e84b‐448d‐9400‐1af7b92773f8                   Address Redacted                      First Class Mail
de9de374‐f874‐4551‐8b85‐a81a86ae74c6                   Address Redacted                      First Class Mail
dea04ade‐006c‐4d30‐b64b‐e23a03508699                   Address Redacted                      First Class Mail
dea1ba0d‐4a07‐457f‐825a‐8942ae0bc35c                   Address Redacted                      First Class Mail
dea2396e‐54e6‐4a76‐8fa7‐a80789b49acd                   Address Redacted                      First Class Mail
dea81229‐bd3e‐4bb5‐840e‐85e4c57ce475                   Address Redacted                      First Class Mail
dea97e4b‐2210‐4e5a‐9182‐364718e05ac3                   Address Redacted                      First Class Mail
deaa0433‐d1ee‐4f44‐9c8e‐7caa32999261                   Address Redacted                      First Class Mail
deade29f‐9c0c‐46c4‐97d6‐c3555e1bfbc6                   Address Redacted                      First Class Mail
deb12b8d‐df23‐44d1‐ba20‐25d99352e82e                   Address Redacted                      First Class Mail
deb24a4e‐4d6d‐4744‐a9f0‐ab733023325f                   Address Redacted                      First Class Mail
deb3d214‐8e20‐48e9‐9dc3‐2cdab8888827                   Address Redacted                      First Class Mail
deb8d010‐362a‐4a38‐ad7c‐d1030cb0c055                   Address Redacted                      First Class Mail
deb8d394‐9325‐4a3c‐bd45‐ba6c828014be                   Address Redacted                      First Class Mail
deb90d9f‐60ef‐498f‐8158‐d20f96569ba3                   Address Redacted                      First Class Mail
deb9395d‐39ad‐4759‐97b0‐016f8adca9b9                   Address Redacted                      First Class Mail
deb9d12b‐a3fb‐4f2f‐8c20‐c4ee6edcf975                   Address Redacted                      First Class Mail
debdc6ce‐8d45‐4f63‐8669‐fe5b02d45af9                   Address Redacted                      First Class Mail
debe4335‐480e‐48ef‐8b74‐bc9355bf1f0a                   Address Redacted                      First Class Mail
dec24692‐93dc‐4abf‐b399‐69230e7b1b72                   Address Redacted                      First Class Mail
dec41425‐12da‐4cbb‐8c51‐664ab251921c                   Address Redacted                      First Class Mail
dec60a5b‐8a42‐4dc6‐9b28‐c0d598901ff6                   Address Redacted                      First Class Mail
dec6da95‐6eb4‐4fd3‐90ee‐320a8faadaf3                   Address Redacted                      First Class Mail
dec6e1a2‐16f4‐4f22‐a755‐eb4bffea1850                   Address Redacted                      First Class Mail
deca0c43‐99f9‐436a‐8855‐83e19d37cf09                   Address Redacted                      First Class Mail
decaeca0‐ee6c‐4789‐bb09‐616b844759a5                   Address Redacted                      First Class Mail
decd8b65‐cd31‐4fe0‐a088‐aa563685e938                   Address Redacted                      First Class Mail
decdd3fe‐7d64‐418a‐afdc‐3d7d586ac6c9                   Address Redacted                      First Class Mail
decde56d‐1b4e‐43ba‐acd4‐e7a01cd3546d                   Address Redacted                      First Class Mail
dece4152‐4a17‐4c5a‐8aea‐930e203ccac0                   Address Redacted                      First Class Mail
ded2595c‐d88b‐4800‐9ec0‐f44fe04b06b2                   Address Redacted                      First Class Mail
ded30ca6‐66bc‐434f‐b285‐4d3a557e8dff                   Address Redacted                      First Class Mail
ded461c2‐0a2a‐4cdd‐b78c‐e672a9a19ba8                   Address Redacted                      First Class Mail
ded4fb63‐4788‐4888‐9118‐1477a9d69377                   Address Redacted                      First Class Mail
dedc0f85‐5eab‐4a2b‐b893‐0b8c8640c178                   Address Redacted                      First Class Mail
dedc4d3f‐2905‐4a2d‐9e05‐fcc5b3503eba                   Address Redacted                      First Class Mail
dedcc274‐15af‐402c‐b960‐fabc6ebf3fb4                   Address Redacted                      First Class Mail
dede1e52‐12a7‐4966‐9072‐0442af316476                   Address Redacted                      First Class Mail
dee14371‐3f09‐4da9‐8ed4‐93d5aa7241ca                   Address Redacted                      First Class Mail
dee50aa9‐8b86‐4436‐baa1‐e2e69c58d40e                   Address Redacted                      First Class Mail
dee8527f‐46e8‐48bd‐a560‐3d76e5732b1d                   Address Redacted                      First Class Mail
deea149d‐5995‐40bb‐8fde‐25afe0959fff                   Address Redacted                      First Class Mail
deea3620‐3229‐4142‐a37e‐9fad1eb424ee                   Address Redacted                      First Class Mail
deead59c‐2492‐4ea2‐9a01‐65cfc9953620                   Address Redacted                      First Class Mail
deeb1f4b‐f2e8‐48b0‐a41f‐536025d135d4                   Address Redacted                      First Class Mail
deee8b8b‐c9a8‐4ccd‐a560‐6748a8178b14                   Address Redacted                      First Class Mail
deef30b8‐da3b‐4ef0‐8fd3‐02991931435d                   Address Redacted                      First Class Mail
def70c06‐6ce4‐4089‐a719‐fa96e79fe106                   Address Redacted                      First Class Mail
defa01b9‐43c0‐4425‐9159‐d3033df09755                   Address Redacted                      First Class Mail
defa3500‐49f7‐44c8‐9742‐09c8655a3490                   Address Redacted                      First Class Mail
defc27e2‐84d7‐42bd‐b611‐bcd576b537de                   Address Redacted                      First Class Mail
deff0689‐2bf1‐4b90‐bfb2‐63f3dc6c52ce                   Address Redacted                      First Class Mail
df0396a6‐55ef‐42ed‐9b10‐0d8184fc53d4                   Address Redacted                      First Class Mail
df039de5‐6043‐4ae0‐9148‐b6fd6d58645b                   Address Redacted                      First Class Mail
df0746c3‐8695‐4bfd‐b4d6‐9b84d70a9f5c                   Address Redacted                      First Class Mail
df0e41c4‐ed0d‐49de‐8728‐27d8b93d6618                   Address Redacted                      First Class Mail
df0e7b6c‐107d‐4390‐829a‐bdc230a20431                   Address Redacted                      First Class Mail
df114222‐819a‐45d5‐bf7f‐6f57a31c3153                   Address Redacted                      First Class Mail
df12ec8f‐ecf3‐4a2e‐9f49‐2ab83d2c7869                   Address Redacted                      First Class Mail
df13c35d‐171a‐43aa‐b01c‐22d1e860d5fe                   Address Redacted                      First Class Mail
df148b83‐89f0‐4c00‐bd33‐d24f0fb15e19                   Address Redacted                      First Class Mail
df1bc419‐63f5‐4332‐8484‐58e4ff1ddcc9                   Address Redacted                      First Class Mail
df1cdf14‐32d1‐43e3‐8b80‐bf0a8bb95996                   Address Redacted                      First Class Mail
df2007f5‐be9f‐443d‐982d‐4b9270242c86                   Address Redacted                      First Class Mail




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                                                                Exhibit A
                                                                 Service List


                              Name                                              Address                         Method of Service
df200897‐7cb6‐4981‐b5f5‐74ce3c2c28e7                   Address Redacted                      First Class Mail
df22af09‐428c‐4699‐8a80‐e746ed2e757f                   Address Redacted                      First Class Mail
df246f2a‐76df‐43bd‐bad3‐1957fe53cf63                   Address Redacted                      First Class Mail
df2b85d9‐4eaa‐4a48‐8d0d‐42af50ba35ae                   Address Redacted                      First Class Mail
df2c5d0c‐fe8a‐4320‐ace8‐ddf75023e81c                   Address Redacted                      First Class Mail
df2cb79f‐5baf‐4323‐8884‐2d2ab60210aa                   Address Redacted                      First Class Mail
df2e0496‐0c8b‐4cc1‐b459‐fd07f2a11ee6                   Address Redacted                      First Class Mail
df3063e3‐44b1‐4add‐8602‐da1ac9932dd9                   Address Redacted                      First Class Mail
df3091d5‐b7bb‐4d4b‐8c40‐2c85cba53701                   Address Redacted                      First Class Mail
df319f8f‐6476‐41a0‐9f9b‐453723821227                   Address Redacted                      First Class Mail
df31b396‐e3b0‐4157‐9cd0‐fc7699ec859e                   Address Redacted                      First Class Mail
df32b730‐2b2a‐4ee1‐9cf0‐45d70cb76097                   Address Redacted                      First Class Mail
df342dc0‐2098‐4eba‐9876‐6326fec86694                   Address Redacted                      First Class Mail
df39cc71‐7e0d‐46f2‐9113‐558a579efd8c                   Address Redacted                      First Class Mail
df3a0e74‐06f0‐4e4f‐a8d3‐b4695f062d7e                   Address Redacted                      First Class Mail
df3dd469‐6236‐41bd‐9a72‐90b9e09ad399                   Address Redacted                      First Class Mail
df3e0187‐cf31‐48e4‐b4ac‐1d1be0e5852f                   Address Redacted                      First Class Mail
df3f1e8e‐bbea‐4439‐92bf‐1ee7bfb3d805                   Address Redacted                      First Class Mail
df4016d3‐5aa3‐4013‐8426‐ad09d3c3e7d3                   Address Redacted                      First Class Mail
df4296b2‐66ca‐4808‐a721‐2f238c3212ac                   Address Redacted                      First Class Mail
df4f78be‐a2b1‐4b90‐aae0‐0f134bdc2730                   Address Redacted                      First Class Mail
df50fdc5‐c5d6‐4267‐ad8d‐f245443f70b6                   Address Redacted                      First Class Mail
df51b219‐9fed‐4593‐83d8‐7e5b359ac726                   Address Redacted                      First Class Mail
df545b32‐0191‐46a6‐9836‐e6f9cb425304                   Address Redacted                      First Class Mail
df556a42‐6d2d‐4f4c‐b86a‐ea4c87b98452                   Address Redacted                      First Class Mail
df64caf0‐6547‐4cde‐9d78‐16de26a195a3                   Address Redacted                      First Class Mail
df655a76‐fe8b‐4380‐a1c5‐640b80e5d26a                   Address Redacted                      First Class Mail
df66dcd4‐1a0d‐4e6b‐a90d‐da4975d6e138                   Address Redacted                      First Class Mail
df6b2bc7‐3485‐4818‐9ba8‐c03a0009ff16                   Address Redacted                      First Class Mail
df6cdbbb‐625c‐4dfb‐a257‐30f13784176d                   Address Redacted                      First Class Mail
df710524‐3b33‐4064‐93b4‐36334d458a67                   Address Redacted                      First Class Mail
df7134b7‐cad1‐46ec‐9197‐540b22a06fdf                   Address Redacted                      First Class Mail
df72dc68‐656a‐4db8‐976c‐5678631f1397                   Address Redacted                      First Class Mail
df7430bc‐9757‐4ee9‐9d02‐e5c60fe09cd7                   Address Redacted                      First Class Mail
df746b79‐eab5‐4c75‐b3b4‐d89dc6e069e6                   Address Redacted                      First Class Mail
df75f9d7‐8162‐452f‐9cfd‐85835ec42753                   Address Redacted                      First Class Mail
df76ae0a‐ff50‐4745‐9bf4‐964799bed4d5                   Address Redacted                      First Class Mail
df7e921f‐1a37‐457f‐a5b6‐119784f1dceb                   Address Redacted                      First Class Mail
df7e9d9d‐0bc3‐44c0‐b5c1‐ca1fd952d0f9                   Address Redacted                      First Class Mail
df7ff57a‐f172‐4bb6‐940f‐3a93be3263f3                   Address Redacted                      First Class Mail
df819339‐6a88‐4833‐8289‐f984f70bdc48                   Address Redacted                      First Class Mail
df883ffe‐f4d3‐472c‐810c‐133b4f5208fb                   Address Redacted                      First Class Mail
df888268‐5cc9‐429d‐85a5‐ff284fb412df                   Address Redacted                      First Class Mail
df88c045‐b137‐4fa3‐be5d‐534f8cc99e46                   Address Redacted                      First Class Mail
df8cce12‐a67a‐4797‐ba96‐eb1f0f18745e                   Address Redacted                      First Class Mail
df90f7eb‐1203‐4074‐ac68‐d2af395b4254                   Address Redacted                      First Class Mail
df996686‐37e4‐4ab3‐a01d‐9ea499337b50                   Address Redacted                      First Class Mail
df9c4933‐c497‐441c‐8775‐633b4ade5bf5                   Address Redacted                      First Class Mail
df9c5cec‐869b‐4bc4‐b218‐e7c1be1d4c32                   Address Redacted                      First Class Mail
df9d4b53‐129f‐4ecc‐91b6‐6222c1e45be6                   Address Redacted                      First Class Mail
df9e5b15‐9371‐4a1f‐bcbf‐38fbec2d1854                   Address Redacted                      First Class Mail
dfa0ba52‐8e32‐4fd9‐8b06‐ebddb3df9ae2                   Address Redacted                      First Class Mail
dfa26ca8‐343c‐44ef‐93ac‐76eab1b0c2b3                   Address Redacted                      First Class Mail
dfa48e42‐7866‐4022‐9c76‐d43bfb86404d                   Address Redacted                      First Class Mail
dfa6d1d5‐bc14‐4451‐98e9‐d4c5588f54d9                   Address Redacted                      First Class Mail
dfa7eb38‐7714‐487a‐b7ed‐0b3321c13c16                   Address Redacted                      First Class Mail
dfada5d5‐3665‐4a8f‐9fe8‐41ea6d1ccc99                   Address Redacted                      First Class Mail
dfadc9ed‐0f48‐43df‐b85a‐60177d0f2456                   Address Redacted                      First Class Mail
dfaf01c9‐223b‐479d‐91d8‐76ad590a6dd5                   Address Redacted                      First Class Mail
dfaf6339‐b0f1‐45c9‐9bed‐c426c10a146f                   Address Redacted                      First Class Mail
dfb2f24e‐a70a‐4b94‐9bbc‐c138fa1b7696                   Address Redacted                      First Class Mail
dfb53630‐9c76‐4d29‐aa44‐53c618de491b                   Address Redacted                      First Class Mail
dfb59d67‐829a‐4951‐8618‐000c7fbee820                   Address Redacted                      First Class Mail
dfb6774a‐7a57‐42f0‐9b2f‐d85b820db334                   Address Redacted                      First Class Mail
dfb8236d‐1034‐428d‐8dba‐197e1e5858de                   Address Redacted                      First Class Mail
dfb86ca5‐4edf‐4fb0‐bcbb‐11abc09ff8ad                   Address Redacted                      First Class Mail
dfbcd03d‐4978‐4d29‐9053‐4100e64c0f9d                   Address Redacted                      First Class Mail
dfbd9af7‐6932‐47a4‐98e7‐bf23383ebcbb                   Address Redacted                      First Class Mail
dfc0cd35‐03cc‐4f72‐9e50‐8b3559daf468                   Address Redacted                      First Class Mail
dfc27242‐0783‐4317‐927a‐0c8a431ed642                   Address Redacted                      First Class Mail
dfc2d9fe‐bcc4‐4051‐aef8‐890724d35e43                   Address Redacted                      First Class Mail
dfc4d4d1‐ebde‐40a0‐9c1c‐bfaaf2ac1277                   Address Redacted                      First Class Mail




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                                                                Exhibit A
                                                                 Service List


                               Name                                             Address                         Method of Service
dfc6f668‐d136‐48cc‐bae5‐aa5a27e121e3                   Address Redacted                      First Class Mail
dfc71087‐c365‐4f6f‐afd4‐df8462a600ab                   Address Redacted                      First Class Mail
dfc84416‐b5ae‐404c‐a1bc‐54cb5d991f72                   Address Redacted                      First Class Mail
dfc97bd6‐e57f‐4ee1‐b290‐b9a8666f2fe4                   Address Redacted                      First Class Mail
dfc9ff0d‐0e33‐4262‐a83c‐436e5afcfb07                   Address Redacted                      First Class Mail
dfcb9251‐0715‐4a21‐b0f1‐acd965a38155                   Address Redacted                      First Class Mail
dfcbe08b‐ed9a‐4d79‐b752‐672ff7223589                   Address Redacted                      First Class Mail
dfd0c36a‐4c4e‐4072‐aae7‐ff7093edefb8                   Address Redacted                      First Class Mail
dfd6b419‐408f‐4245‐a11c‐c7a60131ecc6                   Address Redacted                      First Class Mail
dfd905dd‐1b32‐4d38‐986a‐8ad8fba71fa7                   Address Redacted                      First Class Mail
dfdd4008‐71a9‐404e‐894b‐9b0349f8bdff                   Address Redacted                      First Class Mail
dfde67c8‐b4e9‐4bf4‐bc44‐6f7ccc10df1c                   Address Redacted                      First Class Mail
dfe22f01‐0861‐463f‐937a‐a339ff60a518                   Address Redacted                      First Class Mail
dfe278be‐9a21‐4dd2‐9223‐f75fa6cf228c                   Address Redacted                      First Class Mail
dfe5529d‐4df5‐4386‐b7a0‐9a6a556b5219                   Address Redacted                      First Class Mail
dfe6c929‐a13f‐4f23‐b466‐1828bd8295c0                   Address Redacted                      First Class Mail
dfe88585‐0696‐4654‐91f1‐f79ea29da618                   Address Redacted                      First Class Mail
dfe9ccfd‐d052‐4300‐953c‐195169ebdbfc                   Address Redacted                      First Class Mail
dfec46a6‐55b0‐4893‐bd4c‐4af8ffe55b59                   Address Redacted                      First Class Mail
dfed252c‐be96‐4cab‐a443‐4da35659fc08                   Address Redacted                      First Class Mail
dfef255f‐f772‐483d‐883c‐0481665494ab                   Address Redacted                      First Class Mail
dff330e0‐7016‐4e10‐9622‐40718178f3b4                   Address Redacted                      First Class Mail
dff9e0e0‐cfd2‐4ef9‐ab6b‐7d6dbc255bc3                   Address Redacted                      First Class Mail
dffaa78d‐2de8‐44fe‐992a‐95354f4532e9                   Address Redacted                      First Class Mail
dffc9f30‐de6e‐477f‐bc08‐27444ee941d5                   Address Redacted                      First Class Mail
dffe9cec‐8958‐4bfb‐b6d0‐164758b743e1                   Address Redacted                      First Class Mail
e0038cf5‐af5a‐49bb‐ad57‐c5214122f768                   Address Redacted                      First Class Mail
e004c2ee‐76d2‐489a‐b1dc‐50d2a18b4309                   Address Redacted                      First Class Mail
e01121c4‐6cff‐4ec5‐9ac9‐23046eab9259                   Address Redacted                      First Class Mail
e0123c7d‐1bda‐486c‐9426‐f86c8ffa9e99                   Address Redacted                      First Class Mail
e0152417‐736c‐428b‐95f4‐4c0891ab3015                   Address Redacted                      First Class Mail
e01c0dd0‐59ce‐4b0c‐9e50‐5dae3d29e11d                   Address Redacted                      First Class Mail
e01eac91‐8b69‐4925‐a684‐4b911b6172c2                   Address Redacted                      First Class Mail
e01fe46d‐e883‐4a2f‐b2c5‐784d63336283                   Address Redacted                      First Class Mail
e02143c8‐01ec‐464a‐a442‐dd24f495a0b2                   Address Redacted                      First Class Mail
e021db36‐66d1‐46e9‐b928‐87ec4eed98dc                   Address Redacted                      First Class Mail
e023247c‐8de5‐44eb‐af51‐40262263fb9c                   Address Redacted                      First Class Mail
e024110b‐0b83‐4161‐a79c‐670b9876e53e                   Address Redacted                      First Class Mail
e0241bc4‐66f0‐415c‐8a45‐b54be50e0557                   Address Redacted                      First Class Mail
e02592c4‐5ad7‐48dd‐8f2e‐92081f8ef258                   Address Redacted                      First Class Mail
e02bd74e‐f33c‐4c20‐b9e5‐e303c12e15d9                   Address Redacted                      First Class Mail
e02c0cd9‐c19b‐4e32‐a63d‐9238f112d62f                   Address Redacted                      First Class Mail
e02dd576‐d5f7‐4611‐8584‐c2ab9f01b3e2                   Address Redacted                      First Class Mail
e02ff794‐e32a‐44a6‐b13c‐886d717fb9b1                   Address Redacted                      First Class Mail
e030f3ae‐fe2e‐4762‐b12a‐0818a228109a                   Address Redacted                      First Class Mail
e03156f0‐f22b‐40f8‐bf9d‐e683335b0a1f                   Address Redacted                      First Class Mail
e031a25c‐9f60‐4427‐91de‐809686b1fd54                   Address Redacted                      First Class Mail
e031af65‐7ba9‐49c1‐8d0c‐1c2833b9394c                   Address Redacted                      First Class Mail
e033e77f‐8082‐4fb9‐a3d4‐c6adf6538ba1                   Address Redacted                      First Class Mail
e035f4fd‐9349‐415e‐bab5‐7767ec00b9e5                   Address Redacted                      First Class Mail
e0367959‐66c9‐4998‐b2e4‐88fb40523393                   Address Redacted                      First Class Mail
e03a8f43‐8ff0‐4287‐a6d0‐16a73b56fe4d                   Address Redacted                      First Class Mail
e03bbda9‐9703‐44bf‐a8b4‐8dbf94bda3dc                   Address Redacted                      First Class Mail
e0441842‐dbca‐4e10‐b730‐1f238240bcfc                   Address Redacted                      First Class Mail
e047a9ad‐c7ac‐4178‐beea‐2724e98d6746                   Address Redacted                      First Class Mail
e04999f7‐ea85‐41b2‐bcd7‐19d54ec81186                   Address Redacted                      First Class Mail
e04e33e0‐7541‐473a‐aa66‐b25bbecc27c6                   Address Redacted                      First Class Mail
e0579c73‐0375‐4cbf‐b983‐c311ca29bf02                   Address Redacted                      First Class Mail
e057d09e‐c8a0‐4958‐a999‐c1f14ff8a2f5                   Address Redacted                      First Class Mail
e05a3401‐5d48‐4d51‐849b‐8293effea73c                   Address Redacted                      First Class Mail
e05dc8f7‐df0d‐41ff‐aecf‐fc76e0d0013b                   Address Redacted                      First Class Mail
e064158b‐707a‐46d7‐959f‐17e73cabd1eb                   Address Redacted                      First Class Mail
e0667241‐07b3‐4e1c‐97cc‐ce7ab1fc6376                   Address Redacted                      First Class Mail
e06984a4‐0391‐414b‐9f99‐e88cdc60a41d                   Address Redacted                      First Class Mail
e069c0ce‐5cd5‐48fe‐9813‐072d4a371ee9                   Address Redacted                      First Class Mail
e06b6a22‐5f45‐4c59‐bd82‐cb5b6cbce03c                   Address Redacted                      First Class Mail
e07958c6‐b39b‐4730‐8506‐a57257b5494c                   Address Redacted                      First Class Mail
e0796bb8‐5edd‐43e6‐b2cf‐9b4b9161eb3c                   Address Redacted                      First Class Mail
e07bd570‐79f2‐4b4d‐88fa‐e74f75ad470b                   Address Redacted                      First Class Mail
e07c461c‐a643‐4f20‐b8fc‐52ef112da346                   Address Redacted                      First Class Mail
e08375db‐7861‐46fa‐bdc3‐b20ea63ba517                   Address Redacted                      First Class Mail
e0856117‐6b93‐4e2b‐bda9‐3635a6c34009                   Address Redacted                      First Class Mail




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                                                                Exhibit A
                                                                 Service List


                              Name                                              Address                         Method of Service
e086095f‐b336‐488d‐8737‐175d36563bc1                   Address Redacted                      First Class Mail
e08cb370‐39b7‐4f26‐bdb4‐d333f1933b4f                   Address Redacted                      First Class Mail
e08e0f3b‐2cfc‐4785‐8641‐8044776f2b43                   Address Redacted                      First Class Mail
e091d1e8‐ba53‐4b34‐b1ac‐51257d776607                   Address Redacted                      First Class Mail
e0921e44‐05b0‐4f4e‐8476‐8958e902deb4                   Address Redacted                      First Class Mail
e092e7a7‐0c5d‐45c3‐a98e‐4fd65ec779c5                   Address Redacted                      First Class Mail
e095e096‐f62b‐4294‐8bfc‐c7fd6ecc65a4                   Address Redacted                      First Class Mail
e09961d7‐fa79‐4561‐b07c‐a0c08a9ea98a                   Address Redacted                      First Class Mail
e099901d‐e9ed‐4066‐8542‐bf2a9cf6269a                   Address Redacted                      First Class Mail
e0a63a2e‐0079‐4110‐a2c3‐da84ccb4bd14                   Address Redacted                      First Class Mail
e0a66287‐deb1‐410f‐baea‐738271e12b8f                   Address Redacted                      First Class Mail
e0a6c62a‐9324‐4713‐93c4‐2c0a62d062e9                   Address Redacted                      First Class Mail
e0abf1ad‐1bdf‐4193‐9796‐082385ff2ccf                   Address Redacted                      First Class Mail
e0ac5283‐4d3e‐4916‐ad7f‐7577108058fb                   Address Redacted                      First Class Mail
e0b35c31‐8907‐4ba0‐adc6‐a38136826827                   Address Redacted                      First Class Mail
e0bafd49‐72c4‐43a8‐9dd8‐98dffe8a1400                   Address Redacted                      First Class Mail
e0bf0cd1‐a40d‐4cd6‐948c‐29d8498f1af5                   Address Redacted                      First Class Mail
e0bf10e0‐ff3f‐4d7d‐b798‐3a0943786d89                   Address Redacted                      First Class Mail
e0c1918a‐b213‐4b1d‐841a‐3d02fa99ccde                   Address Redacted                      First Class Mail
e0c4376c‐ea7d‐4b0e‐acd0‐46139856e1ae                   Address Redacted                      First Class Mail
e0c4d2d8‐4ab2‐4a8a‐b913‐aa44c3b0603b                   Address Redacted                      First Class Mail
e0c52029‐71ac‐4c40‐8f3d‐e9ccbfadc2fc                   Address Redacted                      First Class Mail
e0c63484‐afa5‐4979‐b698‐6797532949a3                   Address Redacted                      First Class Mail
e0c724ec‐b7d6‐41b2‐bbdd‐983a742a8680                   Address Redacted                      First Class Mail
e0c7e38d‐3ef4‐4336‐a6f4‐f8a69eccd201                   Address Redacted                      First Class Mail
e0ca6b13‐764d‐4b4b‐86be‐273ab503912c                   Address Redacted                      First Class Mail
e0cf6d61‐4347‐4d93‐8fc1‐98dd1321a450                   Address Redacted                      First Class Mail
e0cf8406‐0c34‐47e7‐b580‐d82d42052236                   Address Redacted                      First Class Mail
e0d00a0d‐d84e‐40f1‐9899‐8c2bbf548573                   Address Redacted                      First Class Mail
e0d1551e‐3db4‐4e56‐b469‐e4fc83c6f0f2                   Address Redacted                      First Class Mail
e0d6267c‐c9a1‐4da4‐a254‐8f4d0205c849                   Address Redacted                      First Class Mail
e0d8c0b4‐7141‐4f92‐9c41‐8e1e444da8f7                   Address Redacted                      First Class Mail
e0dacfd1‐29a8‐4681‐9c9b‐6d458d45416f                   Address Redacted                      First Class Mail
e0db9f8e‐7977‐4d8f‐8947‐013f44faed69                   Address Redacted                      First Class Mail
e0e08c91‐274a‐4d7b‐9569‐1ac6b7a93af5                   Address Redacted                      First Class Mail
e0e2d6e6‐447d‐4a70‐b7b7‐10796c1c8fed                   Address Redacted                      First Class Mail
e0e39f8a‐c195‐4ca5‐b2b5‐c6b490ea6bae                   Address Redacted                      First Class Mail
e0e75f6e‐2c58‐468b‐86e7‐893dbd2d7c98                   Address Redacted                      First Class Mail
e0ebe0eb‐ad6c‐4346‐9066‐cb720a8566dd                   Address Redacted                      First Class Mail
e0ebf2e1‐6774‐41aa‐93e4‐c987c3b1c427                   Address Redacted                      First Class Mail
e0eef2c8‐8e22‐45b4‐8d70‐26c30b71722c                   Address Redacted                      First Class Mail
e0eff2ad‐3531‐406d‐9fa7‐96b5a7cd801e                   Address Redacted                      First Class Mail
e0f049ce‐3e6d‐44c3‐b838‐044cab7d4bfa                   Address Redacted                      First Class Mail
e0f0901f‐0d04‐475f‐a54c‐2a2820bd0fa0                   Address Redacted                      First Class Mail
e0f1cee6‐95ea‐49f2‐811d‐58c8adba208e                   Address Redacted                      First Class Mail
e0f25fa0‐ef2a‐4d2c‐8329‐e14b2b3e5fc8                   Address Redacted                      First Class Mail
e0f54f03‐be51‐4899‐a2d7‐bb744a79b88c                   Address Redacted                      First Class Mail
e0fa163b‐86a6‐41e9‐b6b2‐e37c2afa6eea                   Address Redacted                      First Class Mail
e0fe3360‐8576‐4afc‐b650‐800bf2a99c86                   Address Redacted                      First Class Mail
e0fec695‐8a4c‐448d‐9941‐8aa856fdaceb                   Address Redacted                      First Class Mail
e0ff0551‐f4de‐4128‐9ca2‐2a90edf41b31                   Address Redacted                      First Class Mail
e0ff56d0‐2b6f‐464e‐ac85‐4ea864c32bcd                   Address Redacted                      First Class Mail
e1002a66‐0743‐4f98‐b43f‐af6474421a3b                   Address Redacted                      First Class Mail
e10193a0‐90a7‐44a3‐ba25‐e4c3835c40f5                   Address Redacted                      First Class Mail
e1039c97‐4150‐4009‐96a6‐06dffa16d3ae                   Address Redacted                      First Class Mail
e105a6dc‐0329‐48a6‐a990‐578d78eaa01c                   Address Redacted                      First Class Mail
e106a9c8‐10cb‐41ea‐9cbf‐d2ec3cf192b2                   Address Redacted                      First Class Mail
e108f40d‐5682‐4436‐9064‐e4dfe091cd8a                   Address Redacted                      First Class Mail
e10a0c9b‐29cf‐4f3d‐957d‐134a98eca1f1                   Address Redacted                      First Class Mail
e110b261‐c1d4‐4715‐9d98‐f49c2e80a772                   Address Redacted                      First Class Mail
e1124c88‐cfdb‐42d9‐bec2‐2d8d4ca56f70                   Address Redacted                      First Class Mail
e116601e‐0c14‐44a0‐bbfe‐95751e874586                   Address Redacted                      First Class Mail
e118af55‐3a2b‐4513‐866e‐210eb53ea68e                   Address Redacted                      First Class Mail
e118e444‐cadf‐4bce‐b18a‐ecf4953cb33d                   Address Redacted                      First Class Mail
e11a88d5‐4cb4‐4b33‐9f53‐144c7b7beda1                   Address Redacted                      First Class Mail
e11ae5e1‐9628‐448c‐95b6‐5ca78c094335                   Address Redacted                      First Class Mail
e11de3bb‐0315‐4c6b‐8e9f‐f3b9ef0924e9                   Address Redacted                      First Class Mail
e11ec8a3‐2e85‐4539‐9bab‐41e5859a6e63                   Address Redacted                      First Class Mail
e11eee4c‐e57a‐4ec6‐ae2c‐f96153c0bd2b                   Address Redacted                      First Class Mail
e11f1b14‐a7fb‐4c55‐8ac6‐10bac75ede89                   Address Redacted                      First Class Mail
e123abcc‐71ef‐4994‐913a‐6e57e189b57f                   Address Redacted                      First Class Mail
e128256a‐d5b6‐4217‐b294‐f53775ee8064                   Address Redacted                      First Class Mail




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                                                                Exhibit A
                                                                 Service List


                              Name                                              Address                         Method of Service
e1286049‐a4da‐4602‐836d‐b45c6c9e23e5                   Address Redacted                      First Class Mail
e12ab631‐b672‐42e0‐a859‐45ad075b908c                   Address Redacted                      First Class Mail
e12b0b57‐e32e‐457f‐8c60‐267a1e28cfcf                   Address Redacted                      First Class Mail
e12d47cb‐3f9a‐4f4f‐80b5‐6696f316e15e                   Address Redacted                      First Class Mail
e12db274‐0ebf‐48d2‐aff9‐deb3226782ef                   Address Redacted                      First Class Mail
e12db5ce‐8b9f‐4845‐a05d‐b2e531b0366d                   Address Redacted                      First Class Mail
e12db845‐c1b2‐491e‐abd0‐0f2905b991a6                   Address Redacted                      First Class Mail
e12f433b‐f3ac‐4761‐b30b‐3fa78b3df2f0                   Address Redacted                      First Class Mail
e130d4be‐a6ba‐4fa6‐957d‐ada86b30b62c                   Address Redacted                      First Class Mail
e131032f‐a025‐4237‐a279‐d8fbb8f7568b                   Address Redacted                      First Class Mail
e13109d8‐4242‐43e5‐ad91‐76e48dd02de7                   Address Redacted                      First Class Mail
e131759f‐f8a2‐4843‐832a‐30973eb3c893                   Address Redacted                      First Class Mail
e131bbb5‐453f‐4f01‐8d0f‐c6272a8ab285                   Address Redacted                      First Class Mail
e133e725‐0c47‐4c4a‐a4db‐ed8dbe8144e6                   Address Redacted                      First Class Mail
e1396927‐2b54‐403f‐8450‐b73cf3c3a927                   Address Redacted                      First Class Mail
e13998a7‐11fa‐4d6c‐9b06‐95000f83ee5d                   Address Redacted                      First Class Mail
e139a454‐c2f4‐45ce‐88de‐1b79d037b24c                   Address Redacted                      First Class Mail
e13d8ead‐75e6‐4bd8‐a20a‐0429aa4dfd55                   Address Redacted                      First Class Mail
e13f65c3‐c7f5‐413d‐a558‐f5e0012d8e0e                   Address Redacted                      First Class Mail
e140665b‐7609‐4157‐9591‐b5a1ba669f19                   Address Redacted                      First Class Mail
e141f234‐9c1b‐4faa‐92b4‐5060e28feba2                   Address Redacted                      First Class Mail
e141fce0‐2ade‐4392‐8449‐59880fdf4ea6                   Address Redacted                      First Class Mail
e148c1ca‐aa7b‐4383‐924f‐de2546d4ca7a                   Address Redacted                      First Class Mail
e14ae190‐6281‐4aba‐b60a‐d0e7bc618e52                   Address Redacted                      First Class Mail
e14e5337‐5aa7‐48d9‐8683‐562cbfcd8617                   Address Redacted                      First Class Mail
e152baf0‐a9bd‐47a9‐a410‐340eb3d6a39c                   Address Redacted                      First Class Mail
e1541d21‐8d0f‐40c3‐a504‐b7d8bf31bbe3                   Address Redacted                      First Class Mail
e154a88d‐24e1‐4788‐9678‐8f17079b53b8                   Address Redacted                      First Class Mail
e1555f82‐f42a‐4caf‐9d2e‐63d2665e68de                   Address Redacted                      First Class Mail
e156d89d‐de2d‐4714‐b6cc‐f53f24da0c55                   Address Redacted                      First Class Mail
e158dc17‐2f78‐401b‐8f34‐846a6e4d2d5b                   Address Redacted                      First Class Mail
e15a1770‐0db2‐4821‐b10a‐504f571f74b3                   Address Redacted                      First Class Mail
e15dbabb‐431b‐4af5‐ac5c‐e14dff7530ee                   Address Redacted                      First Class Mail
e1607439‐bda1‐4ccf‐b017‐c8625ec9ddd8                   Address Redacted                      First Class Mail
e161c8a3‐43e1‐4cb0‐af27‐6c7264e5257a                   Address Redacted                      First Class Mail
e1669853‐98ef‐415e‐bfca‐b021e9f68943                   Address Redacted                      First Class Mail
e16738fb‐e676‐4e2d‐938d‐8ed0db866017                   Address Redacted                      First Class Mail
e16916a5‐7331‐42b3‐a9a3‐69e5b98897c5                   Address Redacted                      First Class Mail
e16d8fbe‐b579‐4d5a‐8bb4‐c67284307f73                   Address Redacted                      First Class Mail
e16e446b‐91e5‐4047‐8ae7‐74dc4c9dae3b                   Address Redacted                      First Class Mail
e171414d‐c300‐4917‐833a‐044089659e88                   Address Redacted                      First Class Mail
e1715704‐8c30‐4223‐b26a‐0b5c378653f3                   Address Redacted                      First Class Mail
e1721420‐0051‐4d45‐896d‐3412208a5740                   Address Redacted                      First Class Mail
e175db2a‐fdd8‐4fbe‐8564‐7d52e6f6a500                   Address Redacted                      First Class Mail
e176aff2‐06b9‐41fc‐90cf‐7d0455a77c6f                   Address Redacted                      First Class Mail
e1783e68‐29e5‐4317‐a464‐7eccef752f15                   Address Redacted                      First Class Mail
e1826396‐8a66‐4b0f‐a96b‐23ba57dc4973                   Address Redacted                      First Class Mail
e182b037‐885b‐44ef‐b4fc‐6506166dc46b                   Address Redacted                      First Class Mail
e1851aba‐c9d4‐4c27‐9543‐f7e9e631f767                   Address Redacted                      First Class Mail
e186174a‐762b‐433d‐9f37‐9cdec8530edf                   Address Redacted                      First Class Mail
e18785db‐9ff0‐487c‐981d‐d0e50f876a3d                   Address Redacted                      First Class Mail
e18a206b‐e37f‐47ea‐95e8‐b467e00c2192                   Address Redacted                      First Class Mail
e18f0b4b‐f4e6‐401d‐9bfd‐8cea700c6604                   Address Redacted                      First Class Mail
e192cf7f‐8992‐42bb‐bfc0‐0ee19c913e88                   Address Redacted                      First Class Mail
e194c118‐91df‐4780‐96c3‐97fe2360f532                   Address Redacted                      First Class Mail
e195f9de‐97b0‐4aa3‐858d‐292b246e55ff                   Address Redacted                      First Class Mail
e1961e6d‐e278‐4aab‐9a64‐1095c3b00e7d                   Address Redacted                      First Class Mail
e196df6f‐d765‐4f5a‐875c‐d76d8d9e0a00                   Address Redacted                      First Class Mail
e19846ea‐b083‐4cd9‐b3bb‐69b62740f6dc                   Address Redacted                      First Class Mail
e19bbb61‐d28c‐4d22‐915b‐fb4643e7770c                   Address Redacted                      First Class Mail
e1a6e275‐b314‐4e6d‐817f‐a7b481a8ef20                   Address Redacted                      First Class Mail
e1a7eab6‐e842‐4cd8‐b0c8‐c7688cd67930                   Address Redacted                      First Class Mail
e1a89098‐c3ef‐4437‐9020‐c8e53ef2cda0                   Address Redacted                      First Class Mail
e1a9f7d8‐25f2‐467f‐a893‐b2953877103c                   Address Redacted                      First Class Mail
e1aa7c60‐8330‐414b‐9c48‐ad33f427ac12                   Address Redacted                      First Class Mail
e1b0ea45‐e317‐4f57‐b350‐83b496bde768                   Address Redacted                      First Class Mail
e1b0ec96‐f440‐41fa‐bac8‐24c30d46b22c                   Address Redacted                      First Class Mail
e1b53e44‐6ba9‐481b‐bcad‐7ac688c3e3a3                   Address Redacted                      First Class Mail
e1b85556‐9641‐4b02‐8add‐c21170aee07c                   Address Redacted                      First Class Mail
e1bcd499‐a7eb‐412a‐bceb‐b3fad238e906                   Address Redacted                      First Class Mail
e1bff9a2‐d784‐4b89‐be89‐b50d2c752843                   Address Redacted                      First Class Mail
e1c5dadf‐463e‐43cb‐a7aa‐e5eb095a319a                   Address Redacted                      First Class Mail




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                                                                Exhibit A
                                                                 Service List


                              Name                                              Address                         Method of Service
e1c7072f‐dd72‐4a90‐80fa‐6c3adf3b294e                   Address Redacted                      First Class Mail
e1c71013‐f1ba‐45b3‐b848‐c4784ec009e0                   Address Redacted                      First Class Mail
e1c7e52c‐1653‐459c‐bad9‐54d31a911263                   Address Redacted                      First Class Mail
e1c931a0‐b6cb‐414c‐b0a3‐2572156d41c3                   Address Redacted                      First Class Mail
e1cd1e00‐b8d7‐41f7‐920c‐1b7d77374864                   Address Redacted                      First Class Mail
e1d0701d‐ea11‐4eee‐b721‐160e8177c486                   Address Redacted                      First Class Mail
e1d3bdd7‐5b78‐4887‐964d‐7aafbda9eef1                   Address Redacted                      First Class Mail
e1d826eb‐023c‐4e8a‐a260‐4d4c8e34629f                   Address Redacted                      First Class Mail
e1da004d‐d0b0‐4d08‐872e‐84420e9072fe                   Address Redacted                      First Class Mail
e1e7be6b‐cc08‐44b7‐ae76‐be2ee235329b                   Address Redacted                      First Class Mail
e1e8019c‐1d70‐4618‐a2ad‐af648ae61d64                   Address Redacted                      First Class Mail
e1ebcec4‐1a36‐40eb‐8e08‐cf76394e2683                   Address Redacted                      First Class Mail
e1ef37ca‐d629‐4012‐9e0b‐d5ab30cc101a                   Address Redacted                      First Class Mail
e1f2d0a0‐0f45‐457b‐8607‐fddf0841b5ce                   Address Redacted                      First Class Mail
e1f2dfd5‐4ed5‐4ba8‐aee7‐30c792b31bca                   Address Redacted                      First Class Mail
e1f5313a‐d2aa‐44fb‐a04a‐ebe16edf4a44                   Address Redacted                      First Class Mail
e1f6b954‐4fa6‐487a‐b5ef‐f131d7027570                   Address Redacted                      First Class Mail
e1f6c830‐f977‐4947‐9b0b‐ae627cd3e4e9                   Address Redacted                      First Class Mail
e1fc8f49‐7b1d‐4616‐aa8c‐67e6a79cbd00                   Address Redacted                      First Class Mail
e1fd1659‐04b6‐4e4f‐b495‐19692539d351                   Address Redacted                      First Class Mail
e1fe1f01‐d07c‐46c3‐bb5a‐cd7acee3ca70                   Address Redacted                      First Class Mail
e1fe3787‐decf‐4269‐a2eb‐02c51d7a9b59                   Address Redacted                      First Class Mail
e1fff601‐8045‐4c9f‐9cd3‐978b8dab3bdb                   Address Redacted                      First Class Mail
e202041a‐cb86‐4a22‐a0bd‐5a674979a788                   Address Redacted                      First Class Mail
e204758f‐9fce‐418f‐b2fc‐5469bf416106                   Address Redacted                      First Class Mail
e2094975‐8746‐4170‐921e‐dceac4f80b50                   Address Redacted                      First Class Mail
e20fb9b2‐10e0‐404b‐b75b‐20e3a213ef99                   Address Redacted                      First Class Mail
e212f698‐ba23‐4354‐bb90‐aecef4bac3bb                   Address Redacted                      First Class Mail
e215a754‐0320‐47dd‐bb9c‐e8684c19cd69                   Address Redacted                      First Class Mail
e21a52bb‐3f10‐462d‐8bd0‐93582dd3932f                   Address Redacted                      First Class Mail
e2228c4a‐5df7‐4a30‐a085‐3f588a3a158f                   Address Redacted                      First Class Mail
e2232bec‐a1ba‐4104‐b075‐3090906ae741                   Address Redacted                      First Class Mail
e223712f‐5894‐4f66‐96c7‐f32e09d71bb8                   Address Redacted                      First Class Mail
e22ba218‐2972‐43fd‐890f‐177d46662b81                   Address Redacted                      First Class Mail
e22e1402‐1546‐40e2‐8323‐ed10bd8e8f96                   Address Redacted                      First Class Mail
e2309503‐de69‐4a4c‐b86a‐118862622166                   Address Redacted                      First Class Mail
e23179da‐22c9‐49c8‐8b6e‐e1b155b06bbd                   Address Redacted                      First Class Mail
e232d764‐4d9c‐4088‐a494‐358300090c15                   Address Redacted                      First Class Mail
e237df0a‐7d44‐488b‐a64b‐3f1e9c8387aa                   Address Redacted                      First Class Mail
e2385fc1‐b802‐4ebb‐9358‐0d7460abdbe7                   Address Redacted                      First Class Mail
e23e73fa‐7218‐40c4‐ab98‐803257a2d479                   Address Redacted                      First Class Mail
e2471233‐c266‐49b0‐9933‐ac764d7abeb3                   Address Redacted                      First Class Mail
e2477f55‐b4c2‐4455‐9f1b‐a92e6f1c020b                   Address Redacted                      First Class Mail
e247db0d‐6f4d‐45eb‐9c0c‐a7f13d2ca956                   Address Redacted                      First Class Mail
e24c4c46‐5226‐4156‐858c‐55c1417819b7                   Address Redacted                      First Class Mail
e24f7e92‐25dd‐4ff9‐ad4e‐462aa9bf3806                   Address Redacted                      First Class Mail
e2511cf3‐5bbd‐45ff‐a5c3‐1e6caa1c144f                   Address Redacted                      First Class Mail
e253cefe‐e8f2‐43b3‐bc51‐a3138358d5b6                   Address Redacted                      First Class Mail
e2548b73‐3023‐40ce‐82e9‐155ec3f0212d                   Address Redacted                      First Class Mail
e2549a92‐cb1f‐467c‐957a‐e4ca79cd831e                   Address Redacted                      First Class Mail
e25a7e2b‐6c7b‐46f9‐8b5c‐f12a2ed5f8c0                   Address Redacted                      First Class Mail
e25c1608‐337c‐4a53‐9e3e‐34df3c803d8b                   Address Redacted                      First Class Mail
e2616381‐66d3‐4f24‐8932‐16082d67664e                   Address Redacted                      First Class Mail
e2646843‐38d2‐4411‐a9f7‐6aad5acded90                   Address Redacted                      First Class Mail
e265b118‐ede5‐4c9c‐bd09‐964f8b9cf376                   Address Redacted                      First Class Mail
e266c10d‐99fd‐4bf6‐9c33‐edf0dd4db92c                   Address Redacted                      First Class Mail
e26a49b6‐b474‐482c‐8fc9‐20d882cce644                   Address Redacted                      First Class Mail
e26dd93c‐737d‐4dbb‐829e‐21733ea3f4c8                   Address Redacted                      First Class Mail
e272b0ea‐6d9d‐4bef‐8179‐eafc44808eba                   Address Redacted                      First Class Mail
e275dc38‐0c51‐423a‐a966‐28469759a7b0                   Address Redacted                      First Class Mail
e275e3f2‐a1b1‐401a‐9c62‐cc9a53dcbe0c                   Address Redacted                      First Class Mail
e2787b59‐66c2‐4da4‐b120‐39b0d194e6a2                   Address Redacted                      First Class Mail
e2789870‐f73a‐4c72‐b19d‐44567ac6ca1f                   Address Redacted                      First Class Mail
e27b86cd‐3794‐4708‐b3a4‐aa740b2afa7f                   Address Redacted                      First Class Mail
e27ce8c8‐3d6b‐40e8‐badd‐59364e306374                   Address Redacted                      First Class Mail
e27e23db‐5d65‐4df7‐9edc‐d2cd67a59c08                   Address Redacted                      First Class Mail
e280546b‐ecc7‐4133‐ac3d‐fb74e8dafed8                   Address Redacted                      First Class Mail
e28d2137‐cf59‐494b‐9be8‐59337385e528                   Address Redacted                      First Class Mail
e28ead86‐9f38‐468d‐8a47‐46c75ed39e56                   Address Redacted                      First Class Mail
e290f43b‐78f1‐4d5e‐aa94‐efb226aa9be8                   Address Redacted                      First Class Mail
e2914ae3‐c947‐4584‐b7bc‐a8f1b3a2299f                   Address Redacted                      First Class Mail
e2919fbb‐a8b8‐4185‐b2f2‐2b9623153b5b                   Address Redacted                      First Class Mail




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                               Name                                             Address                         Method of Service
e292d35d‐97ca‐4cf3‐9ee1‐78b30ee2e308                   Address Redacted                      First Class Mail
e295e6a9‐7c65‐4ea6‐8b77‐8af17935408b                   Address Redacted                      First Class Mail
e296cbfe‐f55f‐4b0b‐85a4‐acad299f298c                   Address Redacted                      First Class Mail
e29a9dc2‐91eb‐48c6‐9a46‐11a9d1b60846                   Address Redacted                      First Class Mail
e29bdb43‐9b74‐426a‐a77f‐f8fa1d927e1d                   Address Redacted                      First Class Mail
e29c6cc0‐63d8‐424f‐be60‐4f3f99bacec0                   Address Redacted                      First Class Mail
e29dbd68‐795a‐4fc3‐b533‐89ad33f1a34a                   Address Redacted                      First Class Mail
e2a252a0‐1ab3‐4a30‐b7a2‐dadb530c6350                   Address Redacted                      First Class Mail
e2a4f6ae‐b23d‐4e85‐92e9‐fcb329971444                   Address Redacted                      First Class Mail
e2a59953‐9d16‐487e‐be8f‐abb2b351f260                   Address Redacted                      First Class Mail
e2a65d28‐3c6f‐450a‐963d‐64cfd01faaf9                   Address Redacted                      First Class Mail
e2a88eef‐ea63‐4fe0‐97ab‐654b3df76bba                   Address Redacted                      First Class Mail
e2a8c6e8‐c714‐4e41‐be44‐f1447f2245ba                   Address Redacted                      First Class Mail
e2b47ad2‐7205‐4418‐9488‐14661f4da358                   Address Redacted                      First Class Mail
e2bc69fa‐5f06‐4c9b‐a073‐959c65a94967                   Address Redacted                      First Class Mail
e2bd73d3‐c4ef‐493f‐92b2‐7055bc0d7843                   Address Redacted                      First Class Mail
e2be52cd‐1d4f‐4d5e‐86e1‐0e376f1bfa6f                   Address Redacted                      First Class Mail
e2c03434‐4bb2‐4e73‐ae09‐ccf8ecf0fc13                   Address Redacted                      First Class Mail
e2c09ec3‐01da‐4812‐af3e‐e94e218de1ae                   Address Redacted                      First Class Mail
e2c15874‐c78f‐4530‐a722‐ac82a7d0e3c7                   Address Redacted                      First Class Mail
e2c8c00e‐2b69‐49c3‐8d1c‐4993a32560e3                   Address Redacted                      First Class Mail
e2ccced5‐3ab1‐4338‐82eb‐e08d46f30459                   Address Redacted                      First Class Mail
e2cea7ed‐170e‐43ba‐9189‐7c59deac7055                   Address Redacted                      First Class Mail
e2da87c4‐b825‐4929‐ae0f‐83a2418b3c88                   Address Redacted                      First Class Mail
e2dcd12b‐85c2‐4378‐a24c‐b35ad2bbe28e                   Address Redacted                      First Class Mail
e2ddec67‐abba‐4b9e‐8329‐29f20e4e8ca6                   Address Redacted                      First Class Mail
e2de61b2‐3622‐45a3‐840a‐d2ceb8c0205a                   Address Redacted                      First Class Mail
e2dfb2d9‐2658‐4507‐9547‐a7e9d6198101                   Address Redacted                      First Class Mail
e2e0a6f7‐a164‐402b‐9118‐0205ce72c25d                   Address Redacted                      First Class Mail
e2e26c9b‐be81‐4b59‐9e52‐f4b42ba10460                   Address Redacted                      First Class Mail
e2e52366‐241c‐41ae‐9091‐e164c1737d95                   Address Redacted                      First Class Mail
e2e57b58‐f0a5‐4bce‐8a4b‐82266bd285ca                   Address Redacted                      First Class Mail
e2e72729‐8c34‐41a5‐bdcf‐942565a1ddac                   Address Redacted                      First Class Mail
e2e7649e‐7579‐47e6‐bdba‐e7a375690839                   Address Redacted                      First Class Mail
e2e810e6‐83a7‐43bb‐824e‐ddbad025fff1                   Address Redacted                      First Class Mail
e2e82162‐53c3‐4121‐a105‐5abc1b69d43a                   Address Redacted                      First Class Mail
e2ec66e5‐9fe9‐41b6‐9f6c‐a2dab7b71202                   Address Redacted                      First Class Mail
e2ecc3bf‐ea05‐41fe‐aae3‐ee2b256b7347                   Address Redacted                      First Class Mail
e2efd48b‐f2f7‐4acc‐a346‐c472baada607                   Address Redacted                      First Class Mail
e2eff5fe‐accc‐4abd‐81ef‐48aac2bb45fd                   Address Redacted                      First Class Mail
e2f3a6c0‐4017‐40ab‐882b‐d2eb531027d8                   Address Redacted                      First Class Mail
e2f879c5‐c788‐4c52‐bb04‐1f6676729354                   Address Redacted                      First Class Mail
e2fe85e2‐de91‐46ca‐a011‐80537bb81f53                   Address Redacted                      First Class Mail
e2ffa565‐6c9c‐494a‐91ae‐a876998a1c83                   Address Redacted                      First Class Mail
e30049f9‐cf4e‐474c‐83b9‐150d21c56910                   Address Redacted                      First Class Mail
e3018e39‐ad6e‐424c‐b3b4‐7c18a29e5483                   Address Redacted                      First Class Mail
e302ff53‐2204‐4564‐b401‐3781e46b0eb6                   Address Redacted                      First Class Mail
e30c1ba8‐0953‐4693‐9656‐2c331cde5f32                   Address Redacted                      First Class Mail
e3121062‐7ed4‐469b‐a7dd‐c509ca7eace0                   Address Redacted                      First Class Mail
e3131114‐076e‐4969‐945f‐8abd780680c3                   Address Redacted                      First Class Mail
e313f4d0‐13f6‐4793‐aa74‐22d268a90234                   Address Redacted                      First Class Mail
e31608cf‐7cf4‐4698‐8888‐16b9085c8a9b                   Address Redacted                      First Class Mail
e316770e‐ab51‐473a‐97f3‐6dea68505bbf                   Address Redacted                      First Class Mail
e318e1da‐015c‐4bac‐9ce8‐387c456e9f1c                   Address Redacted                      First Class Mail
e318f754‐0156‐4c72‐b1a0‐0031ec27a1a1                   Address Redacted                      First Class Mail
e31beda2‐8f02‐4662‐ab58‐a60adac315b6                   Address Redacted                      First Class Mail
e31def72‐d304‐4d3a‐bf78‐93b787f9556d                   Address Redacted                      First Class Mail
e320a735‐03dc‐478d‐bd8f‐2198ca911b33                   Address Redacted                      First Class Mail
e3210620‐8be1‐4413‐83bc‐fcc6300ce413                   Address Redacted                      First Class Mail
e3257201‐d647‐42e5‐8fe2‐b7a046d32e19                   Address Redacted                      First Class Mail
e329daf5‐c3e1‐40e5‐ad22‐dbb773ab7690                   Address Redacted                      First Class Mail
e32a9273‐3663‐4702‐98d4‐5c8f83ee17c0                   Address Redacted                      First Class Mail
e32ac743‐755a‐45f9‐8ade‐227e0d4e14cb                   Address Redacted                      First Class Mail
e32b4482‐12db‐4201‐bf58‐171c51686b84                   Address Redacted                      First Class Mail
e32c71cc‐c400‐4063‐befe‐3c76cf5b914c                   Address Redacted                      First Class Mail
e32db7dc‐9c8f‐426d‐b549‐8053afbc5cd9                   Address Redacted                      First Class Mail
e33497f9‐78e3‐447e‐b7bc‐113e655838c1                   Address Redacted                      First Class Mail
e3362a86‐2a8e‐432b‐8350‐7e87620f4b25                   Address Redacted                      First Class Mail
e3388a5b‐d463‐4444‐a922‐374ca007fc4c                   Address Redacted                      First Class Mail
e33ae654‐157c‐49eb‐a75a‐d9f16147092b                   Address Redacted                      First Class Mail
e33aef61‐e400‐475a‐81c7‐615ee85897c3                   Address Redacted                      First Class Mail
e33c2f27‐6f8f‐4573‐bd3c‐e34b4996a15b                   Address Redacted                      First Class Mail




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                                                                 Service List


                              Name                                              Address                         Method of Service
e33c58ba‐6ff3‐4c38‐b2fe‐54e7dac3f2d0                   Address Redacted                      First Class Mail
e33f5cf5‐b750‐4685‐a205‐4058d1263d9f                   Address Redacted                      First Class Mail
e3444702‐6363‐4533‐a277‐c3c62b6f2f7a                   Address Redacted                      First Class Mail
e346672d‐ae6d‐4e05‐9e7b‐c696cb56ad1c                   Address Redacted                      First Class Mail
e34a0539‐e54d‐41ff‐9e19‐731fdcadb74e                   Address Redacted                      First Class Mail
e34c6882‐532b‐4714‐b31a‐3beb63101197                   Address Redacted                      First Class Mail
e34d6b98‐6c85‐4141‐b644‐74624a4cbf1a                   Address Redacted                      First Class Mail
e34f00d6‐d7fe‐4c09‐8935‐58c591f4d9c9                   Address Redacted                      First Class Mail
e350353f‐6c48‐45f5‐a0c3‐de6660fee691                   Address Redacted                      First Class Mail
e350dea4‐87dd‐4f24‐ad94‐6287893210b8                   Address Redacted                      First Class Mail
e351666e‐55cb‐4768‐be04‐fce7765eb8a9                   Address Redacted                      First Class Mail
e3525d08‐6c04‐4477‐b706‐9b2df7014d88                   Address Redacted                      First Class Mail
e35a872b‐802e‐4f14‐b191‐c643a1842026                   Address Redacted                      First Class Mail
e3638dbf‐bf51‐4ae1‐b221‐5f7ff338cb13                   Address Redacted                      First Class Mail
e36c38c0‐0a5b‐4323‐8fbb‐b4ffc6beb2fe                   Address Redacted                      First Class Mail
e36e40d8‐a68a‐4b02‐b936‐8b1f50344e20                   Address Redacted                      First Class Mail
e36f2645‐d266‐4889‐ac1f‐f4ee968c115d                   Address Redacted                      First Class Mail
e36f3ebc‐c23a‐42d2‐9f7a‐00be4f0ed1f6                   Address Redacted                      First Class Mail
e37295e3‐5b89‐4bd8‐a9bb‐c20e11dbc006                   Address Redacted                      First Class Mail
e3741903‐d044‐4343‐a15b‐7da99c486ddf                   Address Redacted                      First Class Mail
e3792cb4‐1602‐443a‐bb6e‐0ec1a6849333                   Address Redacted                      First Class Mail
e37a1062‐bc33‐4cce‐af59‐8643a3413b5c                   Address Redacted                      First Class Mail
e37bd491‐7f61‐4efe‐b3df‐fb1c414da2e3                   Address Redacted                      First Class Mail
e37c2fea‐ee6a‐42e2‐9c19‐91ae09f71750                   Address Redacted                      First Class Mail
e37c6a8a‐e63b‐467d‐aad4‐8436e1e56356                   Address Redacted                      First Class Mail
e37cf790‐8725‐47ab‐836f‐347057c203d9                   Address Redacted                      First Class Mail
e384d62a‐234a‐4a96‐9c5d‐aabfec070682                   Address Redacted                      First Class Mail
e386604c‐6cdd‐4562‐a872‐e0952c1d6a6b                   Address Redacted                      First Class Mail
e3877bf0‐67df‐4974‐9df5‐3bd369550129                   Address Redacted                      First Class Mail
e3889c14‐d9cb‐456c‐b7f3‐070da0ff5b23                   Address Redacted                      First Class Mail
e3899ffa‐dac8‐4d92‐8327‐d1c1ef15bc1f                   Address Redacted                      First Class Mail
e38b4a92‐cc35‐4c5a‐bfa8‐567ccc87eb36                   Address Redacted                      First Class Mail
e38d62a7‐b305‐4ae2‐ad30‐f7c25881772f                   Address Redacted                      First Class Mail
e392d247‐6ab4‐4ef5‐b74a‐9b42614b29f7                   Address Redacted                      First Class Mail
e395a873‐773d‐4bf6‐94a0‐e5f3d88809a3                   Address Redacted                      First Class Mail
e396b4b3‐3bd6‐47a7‐afee‐2b8c08d285da                   Address Redacted                      First Class Mail
e397c4d9‐451e‐4f02‐9105‐aa26a93af7da                   Address Redacted                      First Class Mail
e39dac6b‐0780‐4381‐86be‐98990ea450ae                   Address Redacted                      First Class Mail
e3a08348‐db59‐4ce9‐a5e4‐ff806df96b96                   Address Redacted                      First Class Mail
e3a1fb33‐fb48‐4724‐816e‐ba4a81e109da                   Address Redacted                      First Class Mail
e3a297a9‐aec1‐468c‐a784‐7fcdcced0cc9                   Address Redacted                      First Class Mail
e3a2e4b7‐127a‐4a04‐8a13‐63c5a852af14                   Address Redacted                      First Class Mail
e3a4e6be‐4e79‐4812‐a5f8‐91b710fb94e2                   Address Redacted                      First Class Mail
e3a84371‐71a5‐4d6e‐bc88‐9dd5fe884f75                   Address Redacted                      First Class Mail
e3aa2b78‐2d00‐4f9b‐936c‐185b3c1dc755                   Address Redacted                      First Class Mail
e3aa564e‐23e7‐42b4‐85a4‐ff4c77dd4274                   Address Redacted                      First Class Mail
e3b44dd3‐f796‐49de‐9d85‐b0b1fa634004                   Address Redacted                      First Class Mail
e3b4918a‐edf8‐47bb‐9e41‐59a7a1a8654e                   Address Redacted                      First Class Mail
e3b72597‐d0a6‐43f5‐a03d‐2cb761b670fe                   Address Redacted                      First Class Mail
e3c2c06a‐9a06‐4ce5‐a642‐f90ea54124a0                   Address Redacted                      First Class Mail
e3c446d5‐5a65‐4ad7‐b6ee‐73c2211800a8                   Address Redacted                      First Class Mail
e3c684fd‐cf46‐4c37‐ad03‐1e45a20c3a96                   Address Redacted                      First Class Mail
e3c7f09e‐cee2‐4e4c‐9238‐926c00b1b929                   Address Redacted                      First Class Mail
e3cbd6fc‐8d03‐4d96‐8be1‐70ef855f9c1d                   Address Redacted                      First Class Mail
e3ce1cab‐2b32‐428e‐bf94‐2f482e049987                   Address Redacted                      First Class Mail
e3cfd66e‐4d97‐437d‐bf7c‐579fe2d33f11                   Address Redacted                      First Class Mail
e3cfe5a3‐5eee‐4597‐89e5‐be74b804dd9e                   Address Redacted                      First Class Mail
e3d06913‐cc46‐44fc‐974b‐7f72b113ff44                   Address Redacted                      First Class Mail
e3d50dfa‐639f‐4131‐ae0c‐13de1bb8758e                   Address Redacted                      First Class Mail
e3d542ac‐5e24‐4481‐8513‐ea033863a082                   Address Redacted                      First Class Mail
e3d7c092‐ba85‐4079‐b3ed‐b536124bb0aa                   Address Redacted                      First Class Mail
e3d7ea08‐ca68‐4fa7‐869a‐90aba408324a                   Address Redacted                      First Class Mail
e3d9d546‐c6ad‐47b2‐ba76‐0c0c14bb090c                   Address Redacted                      First Class Mail
e3ddac30‐c09d‐4dfb‐ba62‐089f8e9bb09f                   Address Redacted                      First Class Mail
e3e2b0b8‐3b4b‐46e3‐b099‐8c063858c881                   Address Redacted                      First Class Mail
e3e42811‐3b30‐4555‐8206‐1869d783c4c1                   Address Redacted                      First Class Mail
e3e6c98a‐f21a‐4620‐a395‐8550ee642547                   Address Redacted                      First Class Mail
e3e9d474‐996f‐4a43‐a92b‐5183b0cbd853                   Address Redacted                      First Class Mail
e3eac226‐2e3b‐4794‐a09c‐7b2b94871f88                   Address Redacted                      First Class Mail
e3f101c5‐ef8a‐4665‐8eb5‐2fc234373482                   Address Redacted                      First Class Mail
e3f1fa25‐12ae‐456b‐bf03‐3a6dfd4f405b                   Address Redacted                      First Class Mail
e3f26c9b‐6d85‐470e‐a689‐79b73811387e                   Address Redacted                      First Class Mail




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                                                                Exhibit A
                                                                 Service List


                               Name                                             Address                         Method of Service
e3f433a5‐c0e0‐4d43‐8139‐8d51063990e8                   Address Redacted                      First Class Mail
e3f5c894‐19c2‐4cea‐b1cd‐a9d8e43031a2                   Address Redacted                      First Class Mail
e3f99b9d‐c4f2‐4cae‐8e59‐6cbb835ea605                   Address Redacted                      First Class Mail
e3ffa14a‐75f0‐4321‐9ffd‐74f9954d8ff0                   Address Redacted                      First Class Mail
e40274d5‐38d4‐4ac9‐8985‐2d4291b1c201                   Address Redacted                      First Class Mail
e40532bc‐057b‐4077‐bbe3‐072741b56cfc                   Address Redacted                      First Class Mail
e406bff4‐093c‐46e6‐83d5‐7bf705e12c96                   Address Redacted                      First Class Mail
e4099127‐f2bb‐46d0‐bdf0‐c1e2ffcd372c                   Address Redacted                      First Class Mail
e40d093b‐df22‐4649‐81ba‐3ee9479ee2d9                   Address Redacted                      First Class Mail
e40d7a7c‐f284‐43ee‐bd54‐aa57e37345fd                   Address Redacted                      First Class Mail
e40f5ca0‐621d‐4e96‐8bd8‐047dae9b8a74                   Address Redacted                      First Class Mail
e4139e72‐3b52‐495e‐922a‐150e944bb6b8                   Address Redacted                      First Class Mail
e417f52a‐b4f7‐4956‐bd67‐a091c772a329                   Address Redacted                      First Class Mail
e41a0ce5‐e466‐484a‐81c7‐94a6a3efdf32                   Address Redacted                      First Class Mail
e41a9fde‐cc51‐4bc5‐86f9‐41f5c476b32f                   Address Redacted                      First Class Mail
e41b4aec‐8187‐4e22‐9069‐d8f53e1a4b7f                   Address Redacted                      First Class Mail
e41c711e‐332c‐4113‐8d18‐e3156ff28ff1                   Address Redacted                      First Class Mail
e41f29b2‐d5b8‐4efc‐8f0a‐02eec263e408                   Address Redacted                      First Class Mail
e41f2b30‐2eb5‐454b‐8b42‐50fef998e9fd                   Address Redacted                      First Class Mail
e420d559‐4bd8‐47bf‐8cbd‐188358f03864                   Address Redacted                      First Class Mail
e42245f4‐7d78‐48b0‐b9af‐0a63bd298090                   Address Redacted                      First Class Mail
e4237cce‐bb55‐41d6‐9be6‐15f8393d4cfb                   Address Redacted                      First Class Mail
e425ddf0‐ebe8‐4727‐867c‐d40877f8ef33                   Address Redacted                      First Class Mail
e426aad5‐53e8‐4237‐b1f5‐5497ecf46e34                   Address Redacted                      First Class Mail
e4297fbf‐cffd‐4406‐ae01‐ae52a765fca3                   Address Redacted                      First Class Mail
e42a3ae1‐f9fa‐452e‐bf98‐7c6ae9bd13a7                   Address Redacted                      First Class Mail
e42af0e9‐21cb‐42b8‐9334‐a582a39d6b9f                   Address Redacted                      First Class Mail
e42c329d‐c30d‐42de‐9a98‐b2f981dbcaeb                   Address Redacted                      First Class Mail
e42c650a‐c445‐4187‐8d9c‐354d06a32f6b                   Address Redacted                      First Class Mail
e42dd874‐6cf8‐4b93‐bef3‐b2a1611f39b8                   Address Redacted                      First Class Mail
e42f7458‐875f‐4667‐a4bb‐8f26f01a1268                   Address Redacted                      First Class Mail
e434d0dc‐548f‐4e7c‐a6bc‐43aa5c5a30c0                   Address Redacted                      First Class Mail
e43a77e3‐2677‐47d1‐96e1‐27195b43d5a2                   Address Redacted                      First Class Mail
e43ae4e2‐740f‐4ae2‐9b06‐cd68900ceb87                   Address Redacted                      First Class Mail
e43f24bd‐ed60‐46ca‐b575‐0ddb328fb54f                   Address Redacted                      First Class Mail
e44352a3‐4913‐4d3c‐b41b‐94c547aa8176                   Address Redacted                      First Class Mail
e4476b7e‐8d08‐47dd‐a511‐3452efd6738a                   Address Redacted                      First Class Mail
e44b8290‐09b0‐46c9‐ac69‐18371ce5e7eb                   Address Redacted                      First Class Mail
e44c2be7‐21ff‐4628‐b31a‐805d2f95b07c                   Address Redacted                      First Class Mail
e44f02bf‐906f‐4576‐a42d‐723803ab5483                   Address Redacted                      First Class Mail
e44f25f1‐d680‐414a‐9ec4‐d59ae5d65cd6                   Address Redacted                      First Class Mail
e451a332‐fde0‐4cab‐9073‐4e4d9b1fb3f7                   Address Redacted                      First Class Mail
e45432e1‐d33d‐41ae‐9719‐210ce691f815                   Address Redacted                      First Class Mail
e45633ad‐95eb‐4dd6‐a1e5‐ea7a5960f4f0                   Address Redacted                      First Class Mail
e45698fd‐6427‐4cd0‐b81d‐34ded6c23d53                   Address Redacted                      First Class Mail
e4588026‐2c36‐4cb2‐b917‐b2cb6011f45b                   Address Redacted                      First Class Mail
e4595331‐1200‐43ae‐82ac‐1afdadabf4dd                   Address Redacted                      First Class Mail
e45bb2fb‐bab6‐4a2d‐99df‐d62240d39713                   Address Redacted                      First Class Mail
e45d9fd2‐b9a6‐4eed‐84cf‐ca163d776b07                   Address Redacted                      First Class Mail
e4660c85‐6bd4‐4e66‐9481‐22c035b9ed6f                   Address Redacted                      First Class Mail
e46718e2‐a991‐4448‐8bf7‐930d74b67b1e                   Address Redacted                      First Class Mail
e46726ef‐752d‐40dd‐ba77‐689e50f11fb7                   Address Redacted                      First Class Mail
e46c119a‐cbfc‐4010‐a306‐18ea46903e17                   Address Redacted                      First Class Mail
e46ccdca‐9da7‐4f0a‐83f8‐6231098cf60c                   Address Redacted                      First Class Mail
e47401ec‐8481‐4660‐a79d‐736556cd5755                   Address Redacted                      First Class Mail
e474f756‐850d‐46a8‐bdbb‐224202997294                   Address Redacted                      First Class Mail
e475c99c‐cbce‐44e0‐b111‐21cdd23b0ead                   Address Redacted                      First Class Mail
e476245a‐a430‐407e‐9fda‐c45b39223742                   Address Redacted                      First Class Mail
e479d96a‐3cd6‐4baf‐801e‐f26d02f8f98e                   Address Redacted                      First Class Mail
e47b7255‐d67e‐4705‐8318‐006f5cb70f9e                   Address Redacted                      First Class Mail
e47bdac6‐04ac‐44b8‐9929‐4cfeff2475a3                   Address Redacted                      First Class Mail
e47e3138‐0bad‐4ae2‐a368‐2b4df8628f34                   Address Redacted                      First Class Mail
e47e3703‐9f6f‐40a0‐a445‐f8459746532b                   Address Redacted                      First Class Mail
e47eb09a‐a7e8‐4021‐8d11‐9266f1c44d15                   Address Redacted                      First Class Mail
e47f51d4‐fd81‐409f‐a845‐954e6227bb22                   Address Redacted                      First Class Mail
e4826fb8‐fc2c‐4fbe‐aee2‐f7ce247012db                   Address Redacted                      First Class Mail
e4834da2‐89e6‐4f8e‐891b‐382f8a6a627c                   Address Redacted                      First Class Mail
e483732e‐df1b‐495d‐ad40‐282719da3cb9                   Address Redacted                      First Class Mail
e4866c44‐e9f4‐4b3b‐9231‐218f86ea1cf7                   Address Redacted                      First Class Mail
e48cf4d8‐5da6‐4e3b‐b353‐66006a8a8221                   Address Redacted                      First Class Mail
e48d865d‐e664‐4f55‐b3b6‐fe85269cfeab                   Address Redacted                      First Class Mail
e48f1ab4‐5dc7‐49e7‐8bd9‐a039610e7c4b                   Address Redacted                      First Class Mail




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                              Name                                              Address                         Method of Service
e490611f‐9880‐4bf3‐bdb5‐9a5149d29696                   Address Redacted                      First Class Mail
e492dc9a‐f600‐4e70‐aa09‐eaccc14c0d7e                   Address Redacted                      First Class Mail
e49491b1‐b63d‐4d74‐a865‐a0edda924c48                   Address Redacted                      First Class Mail
e4969563‐4832‐4fe1‐b39c‐20f3a51ba73e                   Address Redacted                      First Class Mail
e49c7be3‐ec2d‐4941‐a299‐35a7228a7c65                   Address Redacted                      First Class Mail
e49fadd7‐c676‐4d7b‐91ad‐43b1e146626f                   Address Redacted                      First Class Mail
e4a2de78‐f3ac‐458e‐8b47‐a7337b5c4387                   Address Redacted                      First Class Mail
e4a32f6a‐e8a4‐4290‐8968‐945d44b72129                   Address Redacted                      First Class Mail
e4ac0252‐c17b‐4c8f‐bf0e‐d4f91de9f08c                   Address Redacted                      First Class Mail
e4b4b900‐4388‐4a51‐9fb6‐6804ac30f0b3                   Address Redacted                      First Class Mail
e4b59cd0‐73cd‐4291‐b0f4‐ec2f934200ff                   Address Redacted                      First Class Mail
e4bd4c8b‐7be0‐407c‐a491‐682d995f7f3f                   Address Redacted                      First Class Mail
e4c240e0‐2e7f‐41e2‐84ed‐033b646ea4a2                   Address Redacted                      First Class Mail
e4c4180d‐593c‐40e0‐b758‐17d52cca5d08                   Address Redacted                      First Class Mail
e4c51900‐9745‐4d12‐be33‐494001aa5f72                   Address Redacted                      First Class Mail
e4c7efd9‐8df9‐426c‐bd7c‐4858d7a1d85f                   Address Redacted                      First Class Mail
e4c9b2ee‐5e8d‐469f‐8ea3‐ba3509484576                   Address Redacted                      First Class Mail
e4cbe811‐ecc9‐4432‐9e12‐0a251ea2c5a0                   Address Redacted                      First Class Mail
e4d0e241‐4310‐4e17‐8835‐f8d97c3b957c                   Address Redacted                      First Class Mail
e4d19a2b‐2c84‐4c2f‐a631‐176060cb2401                   Address Redacted                      First Class Mail
e4d1f914‐2f30‐4c2b‐8ca7‐78c29216d2f9                   Address Redacted                      First Class Mail
e4d20075‐aa8f‐4472‐8c99‐bace71597cdd                   Address Redacted                      First Class Mail
e4d4fff8‐d7bf‐47cb‐bae5‐64578f522e21                   Address Redacted                      First Class Mail
e4d59878‐3294‐4f44‐9927‐11938e26b993                   Address Redacted                      First Class Mail
e4d8df43‐93cf‐4103‐a113‐b75f761cf3f4                   Address Redacted                      First Class Mail
e4d9f56d‐ed37‐4639‐9bf2‐7c8130eab85c                   Address Redacted                      First Class Mail
e4da99d6‐d873‐4bc5‐850b‐2bf3b6a5ccb3                   Address Redacted                      First Class Mail
e4de8363‐4779‐402e‐bd3c‐fcb8cd47739f                   Address Redacted                      First Class Mail
e4de8711‐9ec4‐4a24‐af0d‐8df89378a6da                   Address Redacted                      First Class Mail
e4e42906‐daab‐423c‐aee4‐6ccfa063472e                   Address Redacted                      First Class Mail
e4e67a38‐1b69‐4424‐b419‐dfea1bfb73eb                   Address Redacted                      First Class Mail
e4ed2248‐cf20‐41bf‐97fb‐a631808afeb0                   Address Redacted                      First Class Mail
e4ed45aa‐6366‐4c34‐a918‐010c83add412                   Address Redacted                      First Class Mail
e4ee1e64‐6db1‐4314‐8a8b‐6fde04c0fe37                   Address Redacted                      First Class Mail
e4eec0e9‐f516‐41dd‐b40e‐02cf1670f7b1                   Address Redacted                      First Class Mail
e4ef6501‐1829‐424b‐b14c‐2c2b8be55325                   Address Redacted                      First Class Mail
e4f9ad61‐e562‐4797‐8d00‐57880403620a                   Address Redacted                      First Class Mail
e4f9aefa‐7e75‐4be0‐8521‐2a2b589f96e1                   Address Redacted                      First Class Mail
e4f9f602‐8acb‐4825‐8426‐032f4413716c                   Address Redacted                      First Class Mail
e4fabe8d‐369c‐4067‐80c7‐a055b7f3c7d5                   Address Redacted                      First Class Mail
e4fc611e‐b828‐4e28‐9d81‐26090be9cfa5                   Address Redacted                      First Class Mail
e4feb24a‐0b86‐4369‐900f‐420d3d0f004d                   Address Redacted                      First Class Mail
e5001c43‐4389‐4a04‐a173‐f1bbd31346d3                   Address Redacted                      First Class Mail
e503be8b‐d04b‐4503‐8a1d‐b05508101d1a                   Address Redacted                      First Class Mail
e506f7dc‐5321‐4a2f‐bf25‐1a09d43f9e91                   Address Redacted                      First Class Mail
e5084e8c‐2cd0‐4e2b‐afe9‐01be32738a2c                   Address Redacted                      First Class Mail
e509fce3‐9096‐44fb‐b608‐82be5e286a0f                   Address Redacted                      First Class Mail
e50ab8d1‐34a4‐454a‐a011‐6e0c57438ca9                   Address Redacted                      First Class Mail
e50ebc90‐7e3f‐49c8‐863c‐fdf82a6bcbb7                   Address Redacted                      First Class Mail
e50fe431‐713b‐4346‐b654‐be67e82df423                   Address Redacted                      First Class Mail
e511c60e‐65c4‐4264‐81bb‐4416b742b540                   Address Redacted                      First Class Mail
e511d20e‐193d‐4de5‐815c‐235eeeacb497                   Address Redacted                      First Class Mail
e5154af4‐a232‐4eb2‐9ee1‐1ac732232a7c                   Address Redacted                      First Class Mail
e5175345‐6a25‐475b‐b127‐2823a4c9c84a                   Address Redacted                      First Class Mail
e51ab4e6‐9c8e‐4530‐b976‐4be90250b42a                   Address Redacted                      First Class Mail
e51ce445‐a62d‐41ca‐ad7d‐d320ed5b0e2b                   Address Redacted                      First Class Mail
e520bf7c‐8634‐413d‐9ae0‐ef5f4c452c5e                   Address Redacted                      First Class Mail
e522763b‐0192‐4e6d‐a138‐3fb52355e09e                   Address Redacted                      First Class Mail
e522cbf3‐771f‐4acc‐89c0‐9bee7198bae0                   Address Redacted                      First Class Mail
e523bd09‐cb3b‐4821‐ace4‐59fd764a2aaf                   Address Redacted                      First Class Mail
e528ac98‐282d‐4f0a‐a638‐7a77e9133864                   Address Redacted                      First Class Mail
e52de90b‐2e27‐43b7‐aced‐4eb4550e55fb                   Address Redacted                      First Class Mail
e5305940‐ec31‐4a0a‐8dfa‐e011fb9106cd                   Address Redacted                      First Class Mail
e5386c86‐e0fb‐44c2‐84f8‐29416b8a71ca                   Address Redacted                      First Class Mail
e5392ea4‐9c16‐4536‐9102‐92531f151467                   Address Redacted                      First Class Mail
e5396438‐c265‐44ee‐b146‐e13e186d20d0                   Address Redacted                      First Class Mail
e53a72cd‐9106‐41c1‐8304‐0641029d2409                   Address Redacted                      First Class Mail
e53fa87a‐1b29‐4c2c‐a8b7‐7606d6a82984                   Address Redacted                      First Class Mail
e543c472‐f40c‐4659‐92f9‐c2c2b01d7933                   Address Redacted                      First Class Mail
e543c9f6‐4482‐45b4‐b58e‐0bbbb4fc5924                   Address Redacted                      First Class Mail
e543f88f‐f5e8‐46cd‐a3a4‐bfac5d351ca8                   Address Redacted                      First Class Mail
e546172a‐67f1‐4016‐ab7e‐21e8f1f78eec                   Address Redacted                      First Class Mail




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                              Name                                              Address                         Method of Service
e546e97c‐6c9e‐4a72‐b75e‐31a0c9cd6bd4                   Address Redacted                      First Class Mail
e54b0076‐0418‐4857‐b38c‐e90db01cf4e0                   Address Redacted                      First Class Mail
e54be202‐0728‐48e6‐b38a‐a6063712bcb7                   Address Redacted                      First Class Mail
e5514cdc‐dd74‐43bd‐83d3‐563853dfeba1                   Address Redacted                      First Class Mail
e5516651‐79b7‐46ba‐94b5‐85476698c45d                   Address Redacted                      First Class Mail
e5525744‐74b4‐4654‐8d39‐e2e3fc69f121                   Address Redacted                      First Class Mail
e5561a90‐473b‐45f4‐a626‐12944ffa06bf                   Address Redacted                      First Class Mail
e55b0406‐61fc‐4122‐a815‐cd99af6730c4                   Address Redacted                      First Class Mail
e55f0e3d‐1174‐428a‐a568‐b807936777f8                   Address Redacted                      First Class Mail
e560dd27‐60b3‐4b2d‐9741‐67e637dd18c7                   Address Redacted                      First Class Mail
e56210c2‐1a2f‐4072‐88fb‐1570ac10e435                   Address Redacted                      First Class Mail
e56696c4‐9650‐446d‐b5ac‐6a4100fdc7c5                   Address Redacted                      First Class Mail
e568e7f0‐944d‐431a‐9ab6‐efeb2db702b1                   Address Redacted                      First Class Mail
e56af030‐45c7‐48af‐806c‐479d7da8888c                   Address Redacted                      First Class Mail
e56c6a40‐c775‐4c9d‐83b8‐a944fbd9b0b1                   Address Redacted                      First Class Mail
e573731f‐c41a‐4935‐bc04‐2f145c1e07d6                   Address Redacted                      First Class Mail
e5738e46‐03ed‐4399‐b58d‐f4837bbb9901                   Address Redacted                      First Class Mail
e5746c91‐70d7‐4693‐b56d‐fdb6b295a9c5                   Address Redacted                      First Class Mail
e577c7aa‐2e5e‐4565‐b4a6‐7e0b1df5fdc9                   Address Redacted                      First Class Mail
e57cbc87‐615a‐4e92‐8392‐43ce77718100                   Address Redacted                      First Class Mail
e57e3c19‐1614‐467e‐8555‐0a01fba82467                   Address Redacted                      First Class Mail
e57ece2d‐b2d2‐4dc9‐8c98‐608db272dd3c                   Address Redacted                      First Class Mail
e585cd05‐be63‐4655‐a264‐ad6af7a28c50                   Address Redacted                      First Class Mail
e5861d16‐c997‐4ca7‐b4d7‐b4e6a27ff70c                   Address Redacted                      First Class Mail
e588790b‐93c0‐4bdf‐965e‐efa122d12af8                   Address Redacted                      First Class Mail
e58aa6dd‐202b‐43db‐ab47‐228922032c1e                   Address Redacted                      First Class Mail
e58c9f3b‐7410‐45d9‐bbb3‐72a535c097b9                   Address Redacted                      First Class Mail
e59242c5‐6a9b‐4b8d‐83f3‐664d328607a4                   Address Redacted                      First Class Mail
e5951ae5‐7c7f‐4afa‐b90b‐a9d0d517dbe5                   Address Redacted                      First Class Mail
e5954431‐720c‐47a0‐a168‐025d1f87a126                   Address Redacted                      First Class Mail
e5979d54‐14e1‐4757‐a088‐947d3267f8a9                   Address Redacted                      First Class Mail
e598ea02‐7903‐4505‐b161‐728695874cc2                   Address Redacted                      First Class Mail
e5999542‐fb75‐4c3c‐8efd‐aacfa52d320e                   Address Redacted                      First Class Mail
e599c261‐b861‐4eb8‐82f7‐34d81916c355                   Address Redacted                      First Class Mail
e5a07e6b‐12f8‐49f8‐8978‐284f343e8d38                   Address Redacted                      First Class Mail
e5a19a88‐b334‐4a6b‐855e‐e7122f9370c4                   Address Redacted                      First Class Mail
e5a36ed6‐aecd‐48db‐a72f‐d485da186cd0                   Address Redacted                      First Class Mail
e5a818cc‐398f‐483d‐877b‐5333fb79af5b                   Address Redacted                      First Class Mail
e5aa6496‐02c9‐4ac9‐b2a0‐4f2d1b0fc2bb                   Address Redacted                      First Class Mail
e5ad7a2f‐0e0a‐4673‐9011‐a1dc74ac4fda                   Address Redacted                      First Class Mail
e5af3384‐c003‐4af7‐832e‐17d5a04530d4                   Address Redacted                      First Class Mail
e5b20a8d‐97f5‐4209‐adb8‐4425d7ee884c                   Address Redacted                      First Class Mail
e5b3be3d‐f404‐4d4c‐a9b1‐22ae8cac06ba                   Address Redacted                      First Class Mail
e5b3de18‐27aa‐4831‐9a97‐cc33095914f6                   Address Redacted                      First Class Mail
e5bac1b0‐c831‐4335‐9d89‐3c7bbc0fe607                   Address Redacted                      First Class Mail
e5bb0e76‐c637‐4afe‐9fa9‐0ac137bdfe05                   Address Redacted                      First Class Mail
e5c637a5‐1b72‐4807‐a26c‐83cb82dd5f0f                   Address Redacted                      First Class Mail
e5c8948d‐163f‐4c7e‐b985‐ddc4999294df                   Address Redacted                      First Class Mail
e5c8eb98‐e0a1‐4a80‐a1a5‐a36a39b44be7                   Address Redacted                      First Class Mail
e5ccff45‐19cc‐42a2‐9879‐1d3b27cde637                   Address Redacted                      First Class Mail
e5cd3e4c‐e458‐4c3b‐af31‐d7b13d8eee97                   Address Redacted                      First Class Mail
e5d37243‐aaf9‐4f15‐b3bb‐c67b8621fff2                   Address Redacted                      First Class Mail
e5d4535e‐7cde‐471f‐a69c‐58562f19ed0a                   Address Redacted                      First Class Mail
e5d54e1e‐2751‐4508‐a408‐75602815af1c                   Address Redacted                      First Class Mail
e5d592bd‐e15b‐4b9e‐966f‐760d8d970418                   Address Redacted                      First Class Mail
e5d6a784‐18c4‐414c‐8152‐8c09fdb16d1f                   Address Redacted                      First Class Mail
e5dc25f8‐8b99‐4f35‐9a30‐3b7694f2be2b                   Address Redacted                      First Class Mail
e5dd5384‐d144‐4994‐8387‐1f2ec449d6a5                   Address Redacted                      First Class Mail
e5de84ae‐2e05‐4b6f‐8167‐fd646dba4394                   Address Redacted                      First Class Mail
e5e0f9dd‐534d‐4707‐a820‐a12c8941d57a                   Address Redacted                      First Class Mail
e5e186c3‐0458‐4c53‐9f4a‐a1755155a38e                   Address Redacted                      First Class Mail
e5e27dce‐c3bc‐4432‐991f‐fc1f845089e0                   Address Redacted                      First Class Mail
e5e40ca9‐2b5e‐4e56‐838f‐22fcd9441275                   Address Redacted                      First Class Mail
e5e41e49‐1bbf‐48d8‐a617‐a48153b77bb6                   Address Redacted                      First Class Mail
e5ee8d87‐d632‐4676‐867e‐878a4a667824                   Address Redacted                      First Class Mail
e5f2a53b‐8c68‐4325‐a916‐a27e6ae26732                   Address Redacted                      First Class Mail
e5f31e70‐cdc5‐42dc‐a18f‐b97abcd28be0                   Address Redacted                      First Class Mail
e5f5f195‐1ce0‐419a‐8f04‐7f0b7ac63467                   Address Redacted                      First Class Mail
e5f5f2ce‐29c2‐4424‐898e‐11a1727e9c28                   Address Redacted                      First Class Mail
e5f8809a‐22cb‐4bdc‐ac75‐e0563bdb6219                   Address Redacted                      First Class Mail
e5fb6b46‐1c73‐465c‐878e‐24a9669531f0                   Address Redacted                      First Class Mail
e5fccbc8‐1ec8‐4d38‐8d30‐f098c96b0bdb                   Address Redacted                      First Class Mail




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                                                                Exhibit A
                                                                 Service List


                              Name                                              Address                         Method of Service
e5fd5e4f‐4bf5‐4df2‐ae54‐253bc5943cd8                   Address Redacted                      First Class Mail
e6053a52‐e2fc‐4a8e‐b4fc‐6ee2a415b6ac                   Address Redacted                      First Class Mail
e6060b8f‐a834‐4dc0‐873e‐f3db99157bf1                   Address Redacted                      First Class Mail
e60d56e3‐ae55‐4765‐b2f4‐781cadfa09f9                   Address Redacted                      First Class Mail
e60ff689‐f416‐4243‐b952‐ac1a3ccfed98                   Address Redacted                      First Class Mail
e61a1b41‐768a‐44da‐b535‐e6e4c644db4c                   Address Redacted                      First Class Mail
e61ab4c1‐c394‐4b91‐920d‐589735f514bd                   Address Redacted                      First Class Mail
e61b319c‐5220‐4b61‐96cc‐7ef64bca2c39                   Address Redacted                      First Class Mail
e61c4a18‐36e6‐4c7b‐a90c‐4e159310b8fd                   Address Redacted                      First Class Mail
e62899e6‐176a‐433b‐95ae‐57eec6d8d5b4                   Address Redacted                      First Class Mail
e629dddd‐091d‐48bc‐a6af‐bd14535067c0                   Address Redacted                      First Class Mail
e62e2047‐d87c‐4295‐ac5a‐8ba81fce3ca7                   Address Redacted                      First Class Mail
e631529c‐50aa‐4448‐b386‐43a4c8ce81ca                   Address Redacted                      First Class Mail
e6329e96‐fe2a‐43e9‐82b9‐714f327c70b0                   Address Redacted                      First Class Mail
e6354e21‐a6be‐4447‐8bb7‐b8e98ddfd895                   Address Redacted                      First Class Mail
e636d0d7‐17de‐4ac1‐bae1‐5cce5699aca4                   Address Redacted                      First Class Mail
e64440fa‐e364‐45ed‐bc38‐aecd3495282e                   Address Redacted                      First Class Mail
e6452619‐8491‐46b3‐9ded‐4f5cbf7744b2                   Address Redacted                      First Class Mail
e6465439‐55ef‐4922‐9c30‐956686c977a8                   Address Redacted                      First Class Mail
e64c76ed‐ed9d‐4e5b‐8223‐d2134b359165                   Address Redacted                      First Class Mail
e64db489‐ee08‐448e‐84b4‐98fbb6f1e65a                   Address Redacted                      First Class Mail
e65129cf‐0533‐4ef1‐a34a‐bd56ffbe53a6                   Address Redacted                      First Class Mail
e65394df‐c1df‐4fc6‐a636‐7eb70b8efc4f                   Address Redacted                      First Class Mail
e6563998‐b175‐47fc‐a536‐6cd1851bdc90                   Address Redacted                      First Class Mail
e657a90e‐056d‐4871‐858d‐e17275774015                   Address Redacted                      First Class Mail
e65e0fb0‐4ffb‐4a26‐be6b‐5151911e101b                   Address Redacted                      First Class Mail
e660d891‐bce5‐48d9‐9291‐f0931b8acff5                   Address Redacted                      First Class Mail
e6672fa5‐b430‐4912‐b169‐984d5702ca47                   Address Redacted                      First Class Mail
e66748bf‐8834‐497d‐bc75‐91917bff2277                   Address Redacted                      First Class Mail
e668ef80‐825a‐48c3‐ba19‐98291844da60                   Address Redacted                      First Class Mail
e66f4ead‐60ed‐42ed‐8646‐9cce223d1563                   Address Redacted                      First Class Mail
e6726620‐794d‐4699‐9dc7‐e90be51f8fe2                   Address Redacted                      First Class Mail
e6733589‐e7d7‐4907‐9629‐8d90389707c1                   Address Redacted                      First Class Mail
e674ccfe‐5fe8‐4748‐9c22‐71a093873826                   Address Redacted                      First Class Mail
e6752603‐b256‐44f2‐9db1‐df7ca955bf98                   Address Redacted                      First Class Mail
e6776589‐af36‐41a6‐bb63‐9012a673ed3e                   Address Redacted                      First Class Mail
e67792c8‐7be6‐4bc4‐a696‐77170a40c3b4                   Address Redacted                      First Class Mail
e6787edc‐6024‐4b03‐ab7e‐c7a459536acf                   Address Redacted                      First Class Mail
e6798a81‐9163‐4fad‐a4c8‐d5ad0906b43a                   Address Redacted                      First Class Mail
e687847a‐1c2a‐41a9‐bb9f‐6db1777cbfd8                   Address Redacted                      First Class Mail
e688bc0a‐ad26‐465a‐af9c‐fa3024dd5902                   Address Redacted                      First Class Mail
e68aa2b0‐0548‐4e39‐96df‐1959cd08c63e                   Address Redacted                      First Class Mail
e68d2932‐ab69‐446b‐81ca‐9e6d0118d446                   Address Redacted                      First Class Mail
e69140bc‐ffab‐4a33‐8fbd‐a47b05106ed9                   Address Redacted                      First Class Mail
e6945e56‐9ad3‐4efc‐8c82‐b099713b17eb                   Address Redacted                      First Class Mail
e695ba46‐6f6e‐4c37‐9fae‐26810240fa22                   Address Redacted                      First Class Mail
e697cd09‐1e19‐4753‐9b35‐0596e16439ba                   Address Redacted                      First Class Mail
e69c95a5‐cafc‐4026‐a2a4‐a613729c0d1b                   Address Redacted                      First Class Mail
e69d14cb‐82ec‐4a57‐b98e‐9ac735158bf9                   Address Redacted                      First Class Mail
e69d9c66‐6dd5‐47e4‐bc04‐363f6b122a23                   Address Redacted                      First Class Mail
e69e7aa9‐00d0‐4ac7‐85f2‐58029352cffe                   Address Redacted                      First Class Mail
e6a12f80‐0edd‐49ff‐a9a0‐7294be416463                   Address Redacted                      First Class Mail
e6a24833‐528b‐49a4‐8e52‐175004b934a0                   Address Redacted                      First Class Mail
e6a287c8‐9928‐4483‐a420‐2a05d02783de                   Address Redacted                      First Class Mail
e6a368d9‐0705‐490a‐9662‐75fd9c468ff6                   Address Redacted                      First Class Mail
e6a3aac5‐ef5a‐49cd‐bf8d‐5762e04b091a                   Address Redacted                      First Class Mail
e6a3e0c5‐a622‐4056‐b34a‐cdd7aa31508e                   Address Redacted                      First Class Mail
e6ab5331‐9dc5‐48c8‐bde2‐aae4c484ea66                   Address Redacted                      First Class Mail
e6ae78d7‐e9f7‐4477‐a6a2‐d9eb728bd525                   Address Redacted                      First Class Mail
e6af68d1‐eb40‐4366‐a28b‐6ada172041ee                   Address Redacted                      First Class Mail
e6b14ebb‐37a0‐4910‐ae89‐606fc8f890c8                   Address Redacted                      First Class Mail
e6b54fef‐bc51‐4870‐832a‐dbdcdb8a94c0                   Address Redacted                      First Class Mail
e6b62a93‐c0d0‐4623‐8942‐ba92c4a7cff7                   Address Redacted                      First Class Mail
e6b8df64‐98fd‐48ce‐93f1‐aab859cfbda5                   Address Redacted                      First Class Mail
e6b9fb8f‐09a0‐4b28‐bcd9‐de7d64b68b29                   Address Redacted                      First Class Mail
e6bb72b6‐9797‐4293‐a671‐41cce4a97573                   Address Redacted                      First Class Mail
e6c2a6b1‐48c2‐41af‐8d91‐ea9290c9814d                   Address Redacted                      First Class Mail
e6c31ea7‐7f41‐4655‐8778‐e8aa74fdfacd                   Address Redacted                      First Class Mail
e6c451e3‐4a6d‐4183‐8549‐928e00f76407                   Address Redacted                      First Class Mail
e6c5f736‐47b0‐4d32‐a079‐4386cfe19bc3                   Address Redacted                      First Class Mail
e6c6b997‐0331‐4896‐b78f‐98dacfd26366                   Address Redacted                      First Class Mail
e6c81d43‐efdd‐40d5‐b49f‐6a6846f5aa66                   Address Redacted                      First Class Mail




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                              Name                                              Address                         Method of Service
e6ca778c‐00d7‐4061‐9f14‐59085ae3cb29                   Address Redacted                      First Class Mail
e6cbf5d8‐ee32‐463a‐a9c0‐7a48b6243bd8                   Address Redacted                      First Class Mail
e6ccc899‐4021‐4216‐a160‐87095ebd0aa8                   Address Redacted                      First Class Mail
e6ce313e‐9ffe‐4b69‐89cb‐5a491f374295                   Address Redacted                      First Class Mail
e6d529bd‐4d79‐4995‐b338‐fdad885b67ba                   Address Redacted                      First Class Mail
e6d6cd78‐fc25‐4202‐8d18‐0700adffe568                   Address Redacted                      First Class Mail
e6d8b613‐baee‐45e0‐a3aa‐7d2eb57fbf2d                   Address Redacted                      First Class Mail
e6dcad49‐7e89‐4da2‐be84‐2879c1610b69                   Address Redacted                      First Class Mail
e6de363f‐057d‐4e6d‐8405‐852a8a8022ea                   Address Redacted                      First Class Mail
e6df0203‐af91‐4d74‐b8db‐6c4807e719c2                   Address Redacted                      First Class Mail
e6df82ee‐2606‐4e5e‐a2ed‐a62627793a56                   Address Redacted                      First Class Mail
e6e0b7c8‐6445‐40b3‐b0d4‐c6b7ffd46bc8                   Address Redacted                      First Class Mail
e6e36ff8‐6281‐4021‐8344‐f4cbc92faa8c                   Address Redacted                      First Class Mail
e6e3b1e8‐be1e‐4b3f‐b8e8‐98dd6ff5a970                   Address Redacted                      First Class Mail
e6e3be74‐8ab0‐4e19‐ac54‐0aa99cb274b9                   Address Redacted                      First Class Mail
e6e7c802‐a683‐4bc1‐bb5b‐a3ff99dcfec9                   Address Redacted                      First Class Mail
e6e8af20‐2698‐4072‐8c91‐6342da789db3                   Address Redacted                      First Class Mail
e6ed47d0‐a589‐40ec‐9406‐14a9915277a7                   Address Redacted                      First Class Mail
e6eda80b‐ebe5‐4b8e‐958a‐1262ecde0acc                   Address Redacted                      First Class Mail
e6edf930‐c45d‐4269‐9ecb‐3f5ead274692                   Address Redacted                      First Class Mail
e6ef6179‐392e‐4988‐92c7‐8d88861144eb                   Address Redacted                      First Class Mail
e6f12200‐d3a7‐4d98‐bc21‐8b986d031249                   Address Redacted                      First Class Mail
e6f18e8c‐9369‐4ed9‐953e‐1d88cf0175ed                   Address Redacted                      First Class Mail
e7037398‐5393‐47aa‐a024‐331004a6312e                   Address Redacted                      First Class Mail
e7081115‐68b2‐4562‐9fa1‐da5fa7ca642a                   Address Redacted                      First Class Mail
e7085ef8‐361e‐4aa0‐8b2a‐db16cc239027                   Address Redacted                      First Class Mail
e70a6011‐4231‐4969‐af73‐aaf7fbd3e64d                   Address Redacted                      First Class Mail
e70c53d3‐c019‐4478‐9428‐95846abe751a                   Address Redacted                      First Class Mail
e70e91f0‐5156‐4a86‐9f84‐6c57e3cd157c                   Address Redacted                      First Class Mail
e7100dde‐439d‐49bf‐be68‐8fcc72f41501                   Address Redacted                      First Class Mail
e710fd7f‐4010‐429c‐8d29‐610a7c857ad4                   Address Redacted                      First Class Mail
e712c333‐c703‐473d‐9605‐be860f4209f2                   Address Redacted                      First Class Mail
e713256d‐0a30‐4de0‐af7e‐418fdd7fad38                   Address Redacted                      First Class Mail
e713c86e‐9fe9‐4aec‐9283‐17862e60dab1                   Address Redacted                      First Class Mail
e7148126‐2c15‐48b0‐b397‐0d9695db63d2                   Address Redacted                      First Class Mail
e7150106‐0cb6‐4d49‐a300‐ff9adab51515                   Address Redacted                      First Class Mail
e7158e97‐df69‐4e24‐8bca‐0fd034f920f0                   Address Redacted                      First Class Mail
e7173086‐d534‐4733‐9ac8‐57bb4154038f                   Address Redacted                      First Class Mail
e7191308‐316f‐4a02‐8c5b‐3fb06bd8dd5d                   Address Redacted                      First Class Mail
e719911c‐7400‐4400‐b684‐dfb3037eb614                   Address Redacted                      First Class Mail
e71a4082‐f51c‐469c‐b986‐deaf085142ef                   Address Redacted                      First Class Mail
e71eac38‐9c28‐430c‐9702‐13f89fe7e0e6                   Address Redacted                      First Class Mail
e72a3cdc‐1cbb‐4cf4‐a2eb‐4c058846d85f                   Address Redacted                      First Class Mail
e72b88ed‐7df3‐4147‐bbbb‐6fb9d29a450d                   Address Redacted                      First Class Mail
e72ecc15‐0062‐4c6d‐92b0‐a12a72a79951                   Address Redacted                      First Class Mail
e732dc4e‐a6de‐4583‐9245‐70386b9d6e20                   Address Redacted                      First Class Mail
e733003a‐6e4b‐4ac2‐85a3‐8527519a9839                   Address Redacted                      First Class Mail
e737f170‐ec66‐4fd7‐a503‐f60250f583fd                   Address Redacted                      First Class Mail
e738b8d4‐dbcd‐422e‐a99b‐0d639b55edd6                   Address Redacted                      First Class Mail
e73bfd57‐e7e1‐4945‐acab‐e85e295f1661                   Address Redacted                      First Class Mail
e73cf5ec‐8312‐4a58‐a398‐737d44fdd9d7                   Address Redacted                      First Class Mail
e73db2d2‐683b‐448f‐81c5‐7bf13194e2e7                   Address Redacted                      First Class Mail
e73ec11a‐d307‐4a7e‐bd83‐24e7d92559e2                   Address Redacted                      First Class Mail
e73fb258‐5c34‐42c9‐8b5c‐55903e64de6a                   Address Redacted                      First Class Mail
e7402285‐5e77‐4693‐8db2‐cde8f6a80d29                   Address Redacted                      First Class Mail
e7405268‐5eff‐4cb3‐b50a‐79196e48d0fe                   Address Redacted                      First Class Mail
e7481c1c‐a2cf‐497a‐af2d‐3f178add532b                   Address Redacted                      First Class Mail
e74c4a3f‐1203‐4a5a‐bb52‐1456bcaf849a                   Address Redacted                      First Class Mail
e74e0c09‐1e32‐4a27‐ade7‐dfd01fccb860                   Address Redacted                      First Class Mail
e74f430b‐5722‐436a‐b33e‐c8aa96e0a6ea                   Address Redacted                      First Class Mail
e7533e8e‐fd3d‐4e40‐8764‐de26ed697a0b                   Address Redacted                      First Class Mail
e75815cb‐0bf7‐4eba‐9aea‐8166c2870f1f                   Address Redacted                      First Class Mail
e759a445‐4925‐43db‐85fb‐b3c5ef6ec164                   Address Redacted                      First Class Mail
e759f596‐50bd‐42dd‐91e3‐211e4b3f01e0                   Address Redacted                      First Class Mail
e75ab26c‐209e‐4fb4‐8da1‐f1631f867f54                   Address Redacted                      First Class Mail
e75ea991‐62e0‐4203‐8b4c‐e9685430dc25                   Address Redacted                      First Class Mail
e75eaf85‐f907‐4020‐8fe2‐3a8f08493a34                   Address Redacted                      First Class Mail
e760466e‐edd6‐4339‐bbc8‐3fdca629f9c6                   Address Redacted                      First Class Mail
e76331f1‐474e‐47c5‐b5b4‐f4635686da53                   Address Redacted                      First Class Mail
e764b26c‐823c‐4eec‐9af2‐619a8e21c8cd                   Address Redacted                      First Class Mail
e76687a0‐9e4c‐45b0‐93ec‐2d154f1ab794                   Address Redacted                      First Class Mail
e76b3ae5‐b109‐479b‐b432‐ab62c287e6c5                   Address Redacted                      First Class Mail




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                              Name                                              Address                         Method of Service
e770433c‐b2be‐4e93‐aa95‐a45890821006                   Address Redacted                      First Class Mail
e773058d‐547c‐4e88‐990b‐064a3287e76b                   Address Redacted                      First Class Mail
e773740a‐94d9‐43d6‐9722‐9f23c773467d                   Address Redacted                      First Class Mail
e773dbcf‐26b2‐40f8‐bf34‐4282e2bef37f                   Address Redacted                      First Class Mail
e777ef36‐41f9‐4bb9‐abe1‐0bfa2e78d842                   Address Redacted                      First Class Mail
e778d943‐4b39‐4608‐be46‐83c1a2af876b                   Address Redacted                      First Class Mail
e77a67b9‐6c9e‐4b22‐92ec‐26636aa4eb75                   Address Redacted                      First Class Mail
e77df2c2‐3004‐43f2‐a32c‐7a553e314059                   Address Redacted                      First Class Mail
e77e1910‐8713‐4f59‐aaf9‐c1de1160cc80                   Address Redacted                      First Class Mail
e78028f6‐dcd6‐48e8‐bf61‐f5d9caea2236                   Address Redacted                      First Class Mail
e7825079‐b4fe‐4d28‐ac12‐b5c8f0e174f1                   Address Redacted                      First Class Mail
e783e157‐f611‐4e3d‐9d92‐ee70d3c70785                   Address Redacted                      First Class Mail
e786b710‐77a0‐45fe‐92ff‐a40b5fb053ac                   Address Redacted                      First Class Mail
e7896767‐45c5‐4500‐8d08‐ad7c69f5d6e4                   Address Redacted                      First Class Mail
e78b5a90‐7839‐4b47‐8fc9‐b308659ae397                   Address Redacted                      First Class Mail
e790d25b‐cdba‐4f0a‐bf8c‐5343b7e2aa79                   Address Redacted                      First Class Mail
e792ecf9‐bb69‐4389‐85f1‐8e35d858d72b                   Address Redacted                      First Class Mail
e7979f00‐4dcd‐4bbb‐a7dc‐c84cc25f8cd1                   Address Redacted                      First Class Mail
e797b6e9‐8d0d‐4d91‐9577‐f2d86a4de5da                   Address Redacted                      First Class Mail
e7998a2d‐7e50‐408b‐a7d7‐2c5e9442bdf7                   Address Redacted                      First Class Mail
e7b4656f‐2ef0‐4119‐a948‐0c2c949e1fec                   Address Redacted                      First Class Mail
e7b4eeae‐de37‐4057‐92e3‐661e3493595f                   Address Redacted                      First Class Mail
e7b8b899‐d6f3‐4c51‐834d‐0e8968ccb493                   Address Redacted                      First Class Mail
e7bbbe51‐6982‐4dfb‐8b7a‐f0f1014b8c73                   Address Redacted                      First Class Mail
e7c23de4‐8cbf‐4323‐a0e9‐0207f05ddaab                   Address Redacted                      First Class Mail
e7c57808‐10bb‐411f‐a8bd‐af71f4c209ae                   Address Redacted                      First Class Mail
e7c6be0f‐2c7b‐4223‐b87e‐cedf61893cbe                   Address Redacted                      First Class Mail
e7cc7a78‐8ab5‐4f54‐9ee4‐802138f15f8c                   Address Redacted                      First Class Mail
e7ce07aa‐639e‐45b1‐a0fc‐029489f13d1a                   Address Redacted                      First Class Mail
e7cf8b67‐e2b9‐4be0‐bfd8‐9204ea62c48a                   Address Redacted                      First Class Mail
e7cfedb3‐842c‐4993‐804b‐4cac662d397b                   Address Redacted                      First Class Mail
e7d286a8‐3da1‐4452‐9f50‐61efcb93f154                   Address Redacted                      First Class Mail
e7d3927f‐7b77‐4bf5‐bee3‐ce065f1a86f8                   Address Redacted                      First Class Mail
e7d4731e‐faf8‐420c‐b4a9‐58a873ea5a10                   Address Redacted                      First Class Mail
e7d4fb84‐a8ad‐4c6a‐acf5‐4182f30b62ec                   Address Redacted                      First Class Mail
e7d5bd02‐4d77‐4df7‐8017‐a721d39bc5d5                   Address Redacted                      First Class Mail
e7d9fe97‐f259‐4fb4‐b041‐41ac8d94472d                   Address Redacted                      First Class Mail
e7dab85a‐1c49‐43ef‐a457‐ed949af78da5                   Address Redacted                      First Class Mail
e7dcd5f6‐aa36‐4500‐82ef‐7a199f8f898b                   Address Redacted                      First Class Mail
e7e4b948‐eb02‐47f5‐b570‐21e836d240b2                   Address Redacted                      First Class Mail
e7e4ef8f‐d945‐44b8‐9743‐b82e1f6f27b6                   Address Redacted                      First Class Mail
e7e51579‐38d7‐4ab0‐92e2‐c4a6c5bfa53e                   Address Redacted                      First Class Mail
e7e6996b‐f627‐4f80‐be8a‐3d2ee43c34db                   Address Redacted                      First Class Mail
e7e91335‐7004‐48a2‐af22‐25abe71dc47c                   Address Redacted                      First Class Mail
e7eb3b0b‐c8da‐4c65‐9653‐1dfd9c02a888                   Address Redacted                      First Class Mail
e7eb99ec‐1910‐4538‐8267‐765bdf0c501c                   Address Redacted                      First Class Mail
e7ecb2af‐f324‐4bce‐b68c‐8ed7e6bd34a0                   Address Redacted                      First Class Mail
e7edff50‐f1b3‐4547‐93d5‐bda9bd4d45c8                   Address Redacted                      First Class Mail
e7f52f7d‐160e‐45b6‐a9ff‐c98c247dde8a                   Address Redacted                      First Class Mail
e7f5ef6d‐78d0‐458b‐b728‐6c4a161d2878                   Address Redacted                      First Class Mail
e7f61bd8‐80c9‐427b‐8105‐1c14a63927ac                   Address Redacted                      First Class Mail
e7fb9ee1‐7353‐4813‐85d8‐b21fb30ca8b6                   Address Redacted                      First Class Mail
e7fdf322‐21f5‐46e7‐8bbb‐049df1a6cdd3                   Address Redacted                      First Class Mail
e8008325‐5047‐46a1‐98f8‐60a3dda024c5                   Address Redacted                      First Class Mail
e801d5e4‐b89a‐421e‐a36d‐b2987701160f                   Address Redacted                      First Class Mail
e803069b‐220c‐433a‐9534‐3b056210e26e                   Address Redacted                      First Class Mail
e8087e12‐e9d2‐4a6e‐8d09‐410de1cee938                   Address Redacted                      First Class Mail
e808ff07‐4f33‐42e3‐aaa7‐f06bfe3898c9                   Address Redacted                      First Class Mail
e80dcb00‐e108‐4fcd‐bcf7‐a1533c883473                   Address Redacted                      First Class Mail
e80dd11f‐2ecd‐4c08‐b118‐705086e70816                   Address Redacted                      First Class Mail
e80f4e90‐2810‐49dc‐bb2a‐79e31e3563f9                   Address Redacted                      First Class Mail
e80f8d99‐30cf‐4cdc‐bf1c‐45c75842a976                   Address Redacted                      First Class Mail
e810a45b‐96e3‐442a‐be86‐d2a29952edd1                   Address Redacted                      First Class Mail
e814b6e2‐6186‐48d3‐93c6‐3590dd4abfed                   Address Redacted                      First Class Mail
e817977a‐ec2b‐40c9‐af6a‐f3641fbd4300                   Address Redacted                      First Class Mail
e818f834‐9bbf‐4823‐89d4‐8eb16e3b18e0                   Address Redacted                      First Class Mail
e819d221‐499a‐4983‐84ce‐658aad49f088                   Address Redacted                      First Class Mail
e821246b‐e0cb‐44be‐922b‐d4d0f95b1c56                   Address Redacted                      First Class Mail
e821ac75‐f3db‐4a33‐be0e‐8017905dde29                   Address Redacted                      First Class Mail
e8259bd0‐8dc6‐4006‐850f‐1fc501ecff13                   Address Redacted                      First Class Mail
e825e696‐9bdc‐4199‐b490‐f800ae273ea5                   Address Redacted                      First Class Mail
e826bbeb‐8823‐4b4e‐9fb7‐64f721e0f3c1                   Address Redacted                      First Class Mail




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                                                                Exhibit A
                                                                 Service List


                              Name                                              Address                         Method of Service
e827f959‐c83b‐486b‐acec‐9afcf2dabaac                   Address Redacted                      First Class Mail
e834aa3e‐0a82‐4f52‐8a44‐7ea21c721338                   Address Redacted                      First Class Mail
e8376664‐90a6‐42ef‐8289‐71815b41791c                   Address Redacted                      First Class Mail
e838a983‐ddda‐420f‐8839‐92090a450003                   Address Redacted                      First Class Mail
e83e290b‐9364‐44a5‐96c9‐571e22e6fd7e                   Address Redacted                      First Class Mail
e83e6e83‐c4ef‐4786‐9a03‐f4de0115b9ab                   Address Redacted                      First Class Mail
e83ea1bf‐a41f‐4aa6‐ab05‐c31cd754dcd1                   Address Redacted                      First Class Mail
e83ec3f2‐3221‐4359‐b514‐fb044f2307b2                   Address Redacted                      First Class Mail
e840b929‐a2c4‐4431‐b021‐7d50ef0a9d54                   Address Redacted                      First Class Mail
e8411966‐dc65‐4df4‐944f‐01946b6a99ea                   Address Redacted                      First Class Mail
e842ea8c‐f537‐49a1‐b3ed‐0ed8e75ed743                   Address Redacted                      First Class Mail
e843c2f4‐ae0a‐4950‐aa2f‐fc39cc5e6909                   Address Redacted                      First Class Mail
e844bf82‐8873‐4ba9‐a435‐251555665c64                   Address Redacted                      First Class Mail
e84a13a3‐e6d9‐4730‐8404‐1373eca0bb2c                   Address Redacted                      First Class Mail
e84ca8fb‐246e‐4c40‐b3f2‐fbc463a32dbf                   Address Redacted                      First Class Mail
e850118a‐30cb‐44b4‐83e0‐f1eea981a3aa                   Address Redacted                      First Class Mail
e851cf83‐54e7‐41b0‐bafb‐0ba960dcdeca                   Address Redacted                      First Class Mail
e8537640‐2067‐40af‐9d99‐df4bf0770185                   Address Redacted                      First Class Mail
e8579ba3‐d193‐408f‐8459‐eec9edbd1c70                   Address Redacted                      First Class Mail
e858cc23‐57a8‐429e‐8dd1‐026a737ae5f5                   Address Redacted                      First Class Mail
e8639823‐d4ec‐4a8e‐996c‐2e68bb3bf245                   Address Redacted                      First Class Mail
e864b7c3‐5133‐4311‐8ae0‐39623190da94                   Address Redacted                      First Class Mail
e866d1f3‐e8da‐48c0‐b5fd‐a43963a6715e                   Address Redacted                      First Class Mail
e86baa71‐176b‐4eba‐ae44‐bc649825e551                   Address Redacted                      First Class Mail
e86d09ec‐19a0‐445a‐8cf8‐e52786d47f14                   Address Redacted                      First Class Mail
e86d2e8b‐4859‐41fe‐8080‐59aa9f983705                   Address Redacted                      First Class Mail
e8718c87‐ea2e‐43ec‐9293‐2e69782df079                   Address Redacted                      First Class Mail
e873538c‐fe54‐4f23‐a1aa‐eaea4ca2abb6                   Address Redacted                      First Class Mail
e873abb8‐e3b1‐476a‐a517‐8333da7b1118                   Address Redacted                      First Class Mail
e87535aa‐3ad4‐4467‐9c39‐7252dd95624e                   Address Redacted                      First Class Mail
e875fc2c‐02fc‐48b1‐8dcd‐8f7e7d386409                   Address Redacted                      First Class Mail
e87af434‐640a‐41a6‐9e9a‐a4acf2cb1be2                   Address Redacted                      First Class Mail
e87b30f8‐fdbc‐4d66‐a47b‐9d30069a19cb                   Address Redacted                      First Class Mail
e87da8ca‐f820‐4fdb‐9118‐3d6181603f36                   Address Redacted                      First Class Mail
e8836a63‐b528‐475b‐8506‐6afe0f594dca                   Address Redacted                      First Class Mail
e886ca3f‐1f80‐40b3‐b892‐f60ca8688aca                   Address Redacted                      First Class Mail
e8886cd9‐6ce0‐4cc4‐b587‐12a8aad9109a                   Address Redacted                      First Class Mail
e88a2133‐5222‐4ef3‐84c3‐113af6a6c2fe                   Address Redacted                      First Class Mail
e88fff5c‐162c‐46db‐b7af‐0d75c5e17623                   Address Redacted                      First Class Mail
e8938da3‐cc2e‐49ef‐ae9e‐9165017c9fd2                   Address Redacted                      First Class Mail
e893b904‐58ea‐4aa5‐84bd‐803a612fbf87                   Address Redacted                      First Class Mail
e895ba1a‐8544‐443c‐9bf6‐73970de459e4                   Address Redacted                      First Class Mail
e896395a‐91a8‐4ae4‐8dc2‐4451d9113dcf                   Address Redacted                      First Class Mail
e896d0ed‐01b5‐4125‐830b‐a7fb93581a82                   Address Redacted                      First Class Mail
e8982b04‐5abc‐46c1‐9d94‐1b126d525f6e                   Address Redacted                      First Class Mail
e89a941f‐6dcd‐4818‐aac4‐ed2731e1217d                   Address Redacted                      First Class Mail
e89d6a2e‐a5cc‐4f68‐aace‐5db2c8b5c388                   Address Redacted                      First Class Mail
e89e6def‐5d74‐44f1‐99f0‐0ec1ab5d839d                   Address Redacted                      First Class Mail
e8a1c7f5‐792c‐4dff‐9f33‐0e61d29285a0                   Address Redacted                      First Class Mail
e8a2a3d4‐26db‐4ff7‐9ed2‐ab3d2916c8d3                   Address Redacted                      First Class Mail
e8a4cef9‐26f5‐46a4‐aefb‐9c63f6b7fb4f                   Address Redacted                      First Class Mail
e8a8da78‐fc87‐4255‐993b‐dd0ac44cf786                   Address Redacted                      First Class Mail
e8a9b072‐48a3‐46eb‐ad79‐25d0028206cb                   Address Redacted                      First Class Mail
e8aa3619‐9251‐44f3‐8dae‐5aa4adc8acf2                   Address Redacted                      First Class Mail
e8abe6f6‐edbf‐401a‐a30d‐be84bff14c1c                   Address Redacted                      First Class Mail
e8b0a305‐13c1‐437d‐bd3e‐9d0f564e8191                   Address Redacted                      First Class Mail
e8b36eae‐fdb8‐41b6‐88ff‐80347aa24550                   Address Redacted                      First Class Mail
e8b71367‐0407‐48cb‐bc9e‐60349e136d59                   Address Redacted                      First Class Mail
e8b7199d‐a354‐45b6‐95d6‐dfbcb0e2802d                   Address Redacted                      First Class Mail
e8b7978f‐6f49‐4f8d‐a8f3‐cea1e74a580d                   Address Redacted                      First Class Mail
e8ba46f2‐3193‐4df8‐9b27‐2a504b872457                   Address Redacted                      First Class Mail
e8bc4872‐92bd‐4134‐ae6c‐c451aa670873                   Address Redacted                      First Class Mail
e8bf44ad‐4ba9‐43dc‐b04d‐5e64547b82a2                   Address Redacted                      First Class Mail
e8c5253e‐1e74‐44ea‐83a3‐608fc17c3599                   Address Redacted                      First Class Mail
e8c639fd‐8eb8‐4948‐9f28‐64a99dd2269c                   Address Redacted                      First Class Mail
e8cc2af4‐ae2e‐412f‐8bf1‐284f0e34360f                   Address Redacted                      First Class Mail
e8d152af‐2a2d‐4337‐a9f2‐2b6bea670fd9                   Address Redacted                      First Class Mail
e8d28c32‐7e69‐40c9‐8b80‐82c309617eb8                   Address Redacted                      First Class Mail
e8d5fe81‐1e96‐468f‐bacb‐97dfb6d46c3b                   Address Redacted                      First Class Mail
e8d73881‐15b2‐4e49‐8536‐1afdfd8a7e6e                   Address Redacted                      First Class Mail
e8da5a7b‐0d5c‐43fa‐9c5a‐a992d8c1ad8a                   Address Redacted                      First Class Mail
e8dd3fbd‐693c‐4c64‐b49e‐738815a13e0d                   Address Redacted                      First Class Mail




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                              Name                                              Address                         Method of Service
e8dfc58d‐da77‐4b8e‐af85‐4c04cfcad72a                   Address Redacted                      First Class Mail
e8e13306‐c923‐4ea4‐8a2a‐56b5775c1731                   Address Redacted                      First Class Mail
e8e28b87‐fbd0‐4f05‐abd1‐751a017e4605                   Address Redacted                      First Class Mail
e8e57929‐3af0‐48fd‐8a31‐86cf7211ecce                   Address Redacted                      First Class Mail
e8e9b308‐78d4‐4794‐916f‐438cdb71699c                   Address Redacted                      First Class Mail
e8f17266‐2dcb‐4696‐9c90‐bdb0339bc692                   Address Redacted                      First Class Mail
e8f4eca1‐0319‐453a‐9e58‐677e54c705e5                   Address Redacted                      First Class Mail
e8f971c5‐0ab2‐4015‐abd6‐3ede6ee7e7aa                   Address Redacted                      First Class Mail
e8fa68cc‐5704‐430a‐b7af‐b513c2c8bf63                   Address Redacted                      First Class Mail
e8fd3a4c‐3b9c‐4ffd‐bbcd‐83481bfa21ec                   Address Redacted                      First Class Mail
e904d308‐919c‐4f37‐ac06‐ec27b87a790d                   Address Redacted                      First Class Mail
e9063d97‐b989‐42c8‐86e2‐e133c3034466                   Address Redacted                      First Class Mail
e9078e1f‐1060‐4926‐a0f4‐a4f76f6df623                   Address Redacted                      First Class Mail
e909b31e‐85d6‐41e6‐8a5d‐5b3975f5a3a6                   Address Redacted                      First Class Mail
e90ab478‐be43‐462f‐a706‐dd345bab909d                   Address Redacted                      First Class Mail
e90aec3c‐667d‐419a‐8e45‐d5f23b074f8d                   Address Redacted                      First Class Mail
e90c5a6c‐672b‐4bc8‐a62d‐c12eb3f337ff                   Address Redacted                      First Class Mail
e911b809‐e3e8‐46d5‐b048‐6d41e6d11f6f                   Address Redacted                      First Class Mail
e912ecc9‐e440‐443d‐9cb6‐b52fc2fb5a41                   Address Redacted                      First Class Mail
e9135972‐735a‐40b7‐b764‐a31cd9cb1838                   Address Redacted                      First Class Mail
e913a635‐d37f‐41f0‐8d51‐0393489fdb10                   Address Redacted                      First Class Mail
e913f768‐c6ee‐4d1d‐82af‐43d1d1779439                   Address Redacted                      First Class Mail
e917b610‐a507‐41b2‐a809‐cc3dc8036792                   Address Redacted                      First Class Mail
e91a6747‐b37f‐48e5‐8c91‐6b0b7be7b5ec                   Address Redacted                      First Class Mail
e91e9416‐17d2‐4646‐87e3‐1a3a77fdfa1b                   Address Redacted                      First Class Mail
e9213e98‐031c‐48a9‐a901‐f89766d1c23f                   Address Redacted                      First Class Mail
e922fbd9‐6e40‐4434‐af99‐ff571ef455fa                   Address Redacted                      First Class Mail
e92bc524‐96e4‐414b‐beda‐53b419d4e51c                   Address Redacted                      First Class Mail
e92c1714‐51b0‐4679‐aa82‐e213c4bcf618                   Address Redacted                      First Class Mail
e92cb378‐6526‐4026‐9b7a‐57e4eddbd279                   Address Redacted                      First Class Mail
e92d8039‐bd26‐46be‐a9d1‐2a5873076b36                   Address Redacted                      First Class Mail
e92f6714‐beb9‐4dfc‐a971‐eef50bdac581                   Address Redacted                      First Class Mail
e933affb‐c71f‐4d1f‐82a6‐4d61c373f542                   Address Redacted                      First Class Mail
e93634f8‐c74b‐4d36‐b649‐9aca99828e95                   Address Redacted                      First Class Mail
e936b92e‐fe2b‐4079‐bb12‐0cc46c239172                   Address Redacted                      First Class Mail
e9397f14‐acf3‐40e6‐8aae‐4da54c3351d3                   Address Redacted                      First Class Mail
e93d2702‐5ca9‐48a8‐98f0‐9d4898d9a53a                   Address Redacted                      First Class Mail
e93f799f‐fc92‐4479‐b401‐41a953766c89                   Address Redacted                      First Class Mail
e9418493‐16e2‐47ea‐bd7b‐20ac41b689bb                   Address Redacted                      First Class Mail
e9418dd5‐d9b0‐4a2d‐a2c9‐1fcfbe31622a                   Address Redacted                      First Class Mail
e9450148‐5df2‐42b7‐99b3‐40c28d7cd263                   Address Redacted                      First Class Mail
e94c83db‐1a3e‐4c07‐a939‐51199bc713f5                   Address Redacted                      First Class Mail
e94ff8b9‐1e20‐40a7‐8c78‐4d5e69506ef8                   Address Redacted                      First Class Mail
e952db92‐1123‐40d7‐8883‐76f054b375ce                   Address Redacted                      First Class Mail
e954ce29‐abde‐42b9‐8765‐356f5b233a46                   Address Redacted                      First Class Mail
e955f88c‐9fec‐4140‐aefa‐38e0d8ec0ccc                   Address Redacted                      First Class Mail
e95c04a5‐bc17‐4285‐b805‐36c24ec9d156                   Address Redacted                      First Class Mail
e95e26c5‐9280‐4200‐922c‐83e415b3c152                   Address Redacted                      First Class Mail
e95e56d0‐7242‐46df‐92e6‐2cf8e487fef5                   Address Redacted                      First Class Mail
e95e8448‐bd4a‐487e‐a5b7‐938e9312774c                   Address Redacted                      First Class Mail
e960141a‐efb3‐402c‐9758‐fd1365523edc                   Address Redacted                      First Class Mail
e9602471‐4b89‐452a‐95d4‐cc5ef2fa6530                   Address Redacted                      First Class Mail
e960d4eb‐2bb5‐4877‐8fae‐8d073e157dc8                   Address Redacted                      First Class Mail
e960f2da‐09cc‐4af5‐9fca‐a4bbee9713f9                   Address Redacted                      First Class Mail
e9622811‐348b‐4b0e‐9740‐277d850e6292                   Address Redacted                      First Class Mail
e9656221‐2854‐4697‐9c48‐5260ed9b0b7f                   Address Redacted                      First Class Mail
e96608fc‐3e5e‐4cd4‐84a0‐b33aa2f06ad0                   Address Redacted                      First Class Mail
e9682036‐0d58‐4081‐803b‐782ba2dfe55b                   Address Redacted                      First Class Mail
e968ad26‐8486‐4e69‐90e4‐90ee42e545d1                   Address Redacted                      First Class Mail
e96a893e‐4481‐4f0c‐86ea‐e9bedb4ab401                   Address Redacted                      First Class Mail
e96ae2ea‐f383‐40e0‐940d‐9a61df976f07                   Address Redacted                      First Class Mail
e96b4d62‐6bb7‐4293‐bad3‐d1795f2890ad                   Address Redacted                      First Class Mail
e96da354‐d028‐4f2c‐9047‐eb90d3ab21bd                   Address Redacted                      First Class Mail
e96f284d‐10cc‐4280‐b653‐5239be02cfd5                   Address Redacted                      First Class Mail
e970dbce‐0d80‐46db‐aee9‐863df6d29053                   Address Redacted                      First Class Mail
e975454b‐8e09‐4ae6‐bb74‐914727f2724c                   Address Redacted                      First Class Mail
e978dfb3‐6e1e‐42b5‐9770‐b4e5be9502e9                   Address Redacted                      First Class Mail
e97dadd2‐235f‐4742‐9292‐48c792b8067f                   Address Redacted                      First Class Mail
e98a142d‐d2af‐4970‐a20b‐8d0d52de0db5                   Address Redacted                      First Class Mail
e9937ae1‐ba88‐4236‐9155‐aeea4996499d                   Address Redacted                      First Class Mail
e99550e5‐673b‐4bab‐ab5d‐e730e010a3b7                   Address Redacted                      First Class Mail
e998f6a7‐08bf‐4a90‐bb2f‐30a54cac81de                   Address Redacted                      First Class Mail




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                                                                 Service List


                              Name                                              Address                         Method of Service
e99bff2b‐312c‐470f‐899b‐6622cc900961                   Address Redacted                      First Class Mail
e9a645eb‐62ff‐4141‐9b25‐6c7699e3cb86                   Address Redacted                      First Class Mail
e9ac4b63‐a03a‐405d‐b76c‐f6feb177b9b5                   Address Redacted                      First Class Mail
e9acb85c‐d20c‐4898‐8e83‐ff3db8b8f724                   Address Redacted                      First Class Mail
e9adc639‐67d2‐4b04‐99b8‐c66707f04330                   Address Redacted                      First Class Mail
e9b3a6a8‐fa22‐46e8‐a1e2‐67a474676226                   Address Redacted                      First Class Mail
e9b5eaa7‐3999‐45ed‐b404‐faa0f3a84421                   Address Redacted                      First Class Mail
e9bc8d47‐273b‐470f‐afd5‐debe16e723b4                   Address Redacted                      First Class Mail
e9be6aff‐5b94‐4c44‐8662‐5a56bdfce933                   Address Redacted                      First Class Mail
e9c25a87‐c203‐4f3d‐8df9‐ac072a4e1907                   Address Redacted                      First Class Mail
e9c9520d‐af18‐4f51‐807d‐f6b49e984949                   Address Redacted                      First Class Mail
e9ce0d6d‐2db6‐476e‐9fdf‐df666f063fe5                   Address Redacted                      First Class Mail
e9ce4aa9‐e179‐4d73‐9dad‐44a0f3fb3227                   Address Redacted                      First Class Mail
e9d82cf4‐79fc‐4a3d‐a7bf‐bebcc9a01b6d                   Address Redacted                      First Class Mail
e9d9349a‐7bf9‐4038‐95dd‐5d0765655379                   Address Redacted                      First Class Mail
e9d964d1‐b527‐4474‐90ff‐cc2ce52235db                   Address Redacted                      First Class Mail
e9daa8c8‐d862‐43ae‐b747‐e5c8397187e9                   Address Redacted                      First Class Mail
e9dcf1f0‐9729‐4782‐bbbf‐1fdde7006d09                   Address Redacted                      First Class Mail
e9e2ce14‐19d1‐4d3f‐aa24‐db85f5e53fed                   Address Redacted                      First Class Mail
e9e57fce‐a34e‐4ea5‐907b‐a5eba465dbd2                   Address Redacted                      First Class Mail
e9e7302d‐e9b3‐4b67‐89b6‐e027bb492ca8                   Address Redacted                      First Class Mail
e9e936d7‐0374‐4605‐9a51‐44682306392c                   Address Redacted                      First Class Mail
e9e9cd04‐625d‐4ea8‐be32‐10f75f4654a5                   Address Redacted                      First Class Mail
e9ef7996‐d3dd‐4581‐a46d‐2f619f5bdb70                   Address Redacted                      First Class Mail
e9efa5e9‐48a0‐49fd‐a456‐a0ce070dc605                   Address Redacted                      First Class Mail
e9f55436‐6304‐478c‐b50f‐9ac2adc73ab4                   Address Redacted                      First Class Mail
e9f691e2‐14b8‐40b4‐be77‐152a1f56324d                   Address Redacted                      First Class Mail
e9fad5a6‐5f6a‐4f57‐8f60‐476fab4e74b4                   Address Redacted                      First Class Mail
e9fbf298‐3f68‐4a86‐bca8‐aa3765ee8b87                   Address Redacted                      First Class Mail
e9fd56fb‐eceb‐4417‐bad7‐f6b916684660                   Address Redacted                      First Class Mail
ea008114‐d1ed‐4fca‐8b8b‐ffd36e8b770f                   Address Redacted                      First Class Mail
ea0160fc‐985e‐4d77‐8e7d‐46ee2d5ba249                   Address Redacted                      First Class Mail
ea03d11b‐2d47‐4d95‐bc03‐ef24d8ce94c1                   Address Redacted                      First Class Mail
ea044d49‐08bc‐4f48‐b1b2‐dab4a72e3259                   Address Redacted                      First Class Mail
ea061e9f‐0c94‐4aeb‐931c‐193d00a13107                   Address Redacted                      First Class Mail
ea0bfeef‐8bd2‐4320‐8af6‐9825a5471336                   Address Redacted                      First Class Mail
ea0e5c0f‐4474‐444b‐9d2c‐8ca30803372e                   Address Redacted                      First Class Mail
ea0fe306‐5b5d‐48de‐ba16‐de83fe521d65                   Address Redacted                      First Class Mail
ea0ffdf4‐26c7‐4d2c‐8c49‐e66177202ff6                   Address Redacted                      First Class Mail
ea10e47b‐e0bd‐40a9‐b216‐0792565bd950                   Address Redacted                      First Class Mail
ea12899a‐760d‐4a59‐bd5f‐ae038ad4d0f6                   Address Redacted                      First Class Mail
ea1423e8‐d310‐491e‐9817‐14be8db42339                   Address Redacted                      First Class Mail
ea18f8e5‐6047‐41fc‐8001‐d5fa9a0b834e                   Address Redacted                      First Class Mail
ea19d5d6‐89d7‐47e5‐af01‐b1a077472cdc                   Address Redacted                      First Class Mail
ea1ae540‐0077‐4b51‐9dcd‐3dae4c3c8c12                   Address Redacted                      First Class Mail
ea1fb4a6‐21d9‐4c0b‐bbad‐67cd76702e6e                   Address Redacted                      First Class Mail
ea21bc19‐c7c4‐4c47‐b70e‐720a5c1d10fb                   Address Redacted                      First Class Mail
ea22b623‐2387‐4449‐976e‐8d29763693eb                   Address Redacted                      First Class Mail
ea230d70‐819f‐4c50‐9e5f‐083d15ff91db                   Address Redacted                      First Class Mail
ea23847c‐2b61‐4ff0‐ab6d‐32342451797f                   Address Redacted                      First Class Mail
ea25ebf5‐1505‐4b48‐957c‐59e323a589f2                   Address Redacted                      First Class Mail
ea270eb4‐b767‐44bf‐b216‐5f81aa7e6fe9                   Address Redacted                      First Class Mail
ea2e2832‐3ec6‐445e‐813e‐f3efdb58f5b4                   Address Redacted                      First Class Mail
ea2ec8a0‐68fa‐495f‐b409‐b2d1be163313                   Address Redacted                      First Class Mail
ea33b99c‐ef1e‐4fd5‐8b6e‐ada2677641d6                   Address Redacted                      First Class Mail
ea34862c‐7e12‐4071‐9d4c‐ea05c51e23cd                   Address Redacted                      First Class Mail
ea38a5bc‐7b96‐4c29‐8fc4‐d8053e282399                   Address Redacted                      First Class Mail
ea3fe957‐afab‐4445‐bbf8‐221c025c2959                   Address Redacted                      First Class Mail
ea449bfe‐7338‐499f‐a45b‐93a5a7bc770c                   Address Redacted                      First Class Mail
ea463213‐3108‐40da‐9e64‐98c1d289e931                   Address Redacted                      First Class Mail
ea465e0c‐71c4‐4095‐a25a‐7e9e0573d515                   Address Redacted                      First Class Mail
ea492e38‐49cb‐4e4f‐8ebb‐020e6f9ed69e                   Address Redacted                      First Class Mail
ea49b865‐b532‐4836‐b51e‐112f0f6655aa                   Address Redacted                      First Class Mail
ea4ff0cd‐6781‐446a‐9ce5‐032ff9a56691                   Address Redacted                      First Class Mail
ea512480‐fb4c‐4472‐adc3‐0cd213cb099e                   Address Redacted                      First Class Mail
ea5139e1‐be02‐4a35‐b6a5‐284e7ec0c15f                   Address Redacted                      First Class Mail
ea515b3e‐524b‐4bdc‐8d00‐92381d81c925                   Address Redacted                      First Class Mail
ea51c52d‐d165‐4a72‐b7b2‐f57d24a6d7d0                   Address Redacted                      First Class Mail
ea51c92c‐d542‐463b‐a438‐cce18e10f8f3                   Address Redacted                      First Class Mail
ea546895‐d9bc‐47cb‐b403‐c44a5636339a                   Address Redacted                      First Class Mail
ea55ab4a‐a34e‐4dbc‐a306‐baec46c84813                   Address Redacted                      First Class Mail
ea55af9a‐1b0d‐47e6‐88af‐9240f89d6936                   Address Redacted                      First Class Mail




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                                                                Exhibit A
                                                                 Service List


                              Name                                              Address                         Method of Service
ea571588‐36b8‐463a‐8e7b‐852ae60452c0                   Address Redacted                      First Class Mail
ea57d2d2‐008f‐4eca‐a6ee‐c3fb1c507969                   Address Redacted                      First Class Mail
ea5a0900‐1ac5‐440e‐bda1‐bf1a08debe56                   Address Redacted                      First Class Mail
ea5af54a‐226a‐4a40‐9e62‐44deeb62d89a                   Address Redacted                      First Class Mail
ea5d612d‐008d‐40c6‐a306‐c2bedcdbd9f6                   Address Redacted                      First Class Mail
ea5da285‐de4c‐4d59‐b02a‐a36fa3e4949d                   Address Redacted                      First Class Mail
ea600dc1‐765f‐4db1‐b6b8‐60925787d34b                   Address Redacted                      First Class Mail
ea6257fa‐78b7‐4a33‐82b4‐7456c1a9db80                   Address Redacted                      First Class Mail
ea6283c7‐8616‐4794‐a31d‐ca5a8cda7a7a                   Address Redacted                      First Class Mail
ea631496‐f7de‐4892‐8848‐a6c54ba1e194                   Address Redacted                      First Class Mail
ea66aea2‐dcc9‐4685‐8ca3‐02a6d49892ba                   Address Redacted                      First Class Mail
ea6ca33d‐7d8f‐4f7a‐8689‐999ec00e8d41                   Address Redacted                      First Class Mail
ea6e3ee1‐d687‐483f‐8d47‐27b93b748667                   Address Redacted                      First Class Mail
ea6f1bec‐7823‐4a09‐95a0‐db29e3045fc5                   Address Redacted                      First Class Mail
ea73e863‐b407‐4a05‐9c98‐80463f1ac3c5                   Address Redacted                      First Class Mail
ea7431ff‐921c‐45ce‐94ae‐31e490f102fa                   Address Redacted                      First Class Mail
ea74dbdd‐365d‐4939‐8a53‐629abaa905e8                   Address Redacted                      First Class Mail
ea7635e3‐b707‐4c50‐8bdb‐de3cfd4d7aad                   Address Redacted                      First Class Mail
ea7bb196‐27ed‐4f84‐94ba‐792019f48cbd                   Address Redacted                      First Class Mail
ea82189f‐7d06‐4d72‐b093‐09e3b14c3755                   Address Redacted                      First Class Mail
ea83f215‐88d7‐42d6‐a4ca‐41f82c2bd858                   Address Redacted                      First Class Mail
ea854699‐9362‐4f23‐9a19‐b38a242da985                   Address Redacted                      First Class Mail
ea85ccd1‐4048‐4789‐98e1‐43ef1b3d0554                   Address Redacted                      First Class Mail
ea86e406‐f2ce‐4ce9‐b2d6‐eaa0724af864                   Address Redacted                      First Class Mail
ea8d6c23‐5ef3‐4513‐badd‐4e9cabca98cc                   Address Redacted                      First Class Mail
ea929c72‐d91b‐4c54‐ac1d‐cbe7ae412079                   Address Redacted                      First Class Mail
ea93a9dc‐4fe2‐4ca5‐b188‐f19de5d4a9a4                   Address Redacted                      First Class Mail
ea9e85c3‐0797‐41c1‐aa8e‐7e28a142d3c3                   Address Redacted                      First Class Mail
eaa052b3‐da36‐48a7‐94a5‐8acb92a254ba                   Address Redacted                      First Class Mail
eaa207f8‐4ba2‐41c3‐83b0‐040f35dca149                   Address Redacted                      First Class Mail
eaa468da‐01f6‐481b‐9b2b‐14ca47d29d74                   Address Redacted                      First Class Mail
eaa5231b‐1a61‐41b3‐8c1f‐a2f76396326b                   Address Redacted                      First Class Mail
eaace67a‐3700‐434d‐a461‐c35dc0debf83                   Address Redacted                      First Class Mail
eab0fa0d‐32f7‐4ebd‐85ca‐1ddc63246d9c                   Address Redacted                      First Class Mail
eab1f9dc‐cfec‐4485‐aacb‐90a08b7a37ca                   Address Redacted                      First Class Mail
eab2c56a‐aa62‐4adf‐86ad‐81935dc60cdb                   Address Redacted                      First Class Mail
eab41f36‐12b9‐4ce1‐9e1d‐7ed8c9d10c45                   Address Redacted                      First Class Mail
eab6229b‐0e0c‐437b‐9e72‐8855d6f9e021                   Address Redacted                      First Class Mail
eab89e68‐dcf5‐4c45‐a46c‐f22ee774e652                   Address Redacted                      First Class Mail
eaba9e56‐bcb6‐4ba5‐b14e‐2a9f0fc6c115                   Address Redacted                      First Class Mail
eabc9d6c‐dd7f‐431d‐982c‐e718441bee3a                   Address Redacted                      First Class Mail
eac3ef25‐4031‐455d‐addc‐fd86d35e70c2                   Address Redacted                      First Class Mail
eac67184‐1cc6‐4f39‐b2e0‐1b5d0e50ae55                   Address Redacted                      First Class Mail
eaca63b1‐0fbc‐4e49‐9abd‐c398bb4cf22d                   Address Redacted                      First Class Mail
eacc4334‐9031‐40d0‐94f3‐efbbce4bbb1a                   Address Redacted                      First Class Mail
eaccbc22‐28aa‐4c84‐b5c8‐72271493233a                   Address Redacted                      First Class Mail
ead29cd0‐d84d‐4c4a‐91ca‐f64ebf22b85a                   Address Redacted                      First Class Mail
ead428e6‐ca33‐482f‐b7c0‐de39149a66e8                   Address Redacted                      First Class Mail
ead651ea‐6624‐46d9‐b008‐0cbc89b4f57f                   Address Redacted                      First Class Mail
eadcca6c‐36ed‐47e9‐b121‐2fe5a75e4aa2                   Address Redacted                      First Class Mail
eadf6b6e‐1702‐4980‐a3ce‐cd2f4b1b8958                   Address Redacted                      First Class Mail
eadf7374‐eb16‐4365‐a8ad‐02ce41b1104e                   Address Redacted                      First Class Mail
eae18f6b‐3cfc‐434d‐a4bc‐167b8b2dd5b9                   Address Redacted                      First Class Mail
eae20edf‐c4eb‐4a9c‐bf52‐0de47cd26e1b                   Address Redacted                      First Class Mail
eae2a66b‐2f63‐4465‐9777‐f6834af44daf                   Address Redacted                      First Class Mail
eae62c42‐df5e‐4d66‐a070‐3badf25bf39e                   Address Redacted                      First Class Mail
eae6cc63‐6e9c‐4ce5‐b767‐51c2306d63df                   Address Redacted                      First Class Mail
eae6d9c9‐e9ff‐4bad‐a047‐f88843f64ff9                   Address Redacted                      First Class Mail
eaeac9ba‐61d0‐4bad‐8de5‐15c73992157a                   Address Redacted                      First Class Mail
eaebee41‐c6ff‐4029‐8920‐e22428ad1838                   Address Redacted                      First Class Mail
eaeea91d‐103a‐4ba8‐a623‐533efac4e55a                   Address Redacted                      First Class Mail
eaf4b6e1‐ebc5‐4a15‐aae2‐6913cb75c135                   Address Redacted                      First Class Mail
eaf8bb46‐a19d‐49e3‐b2d0‐121d0fe231c4                   Address Redacted                      First Class Mail
eaf8d153‐9a1d‐4fe8‐8f37‐8b504c44013b                   Address Redacted                      First Class Mail
eafee6ec‐18a9‐4136‐af6a‐efd8b0c9b60b                   Address Redacted                      First Class Mail
eb013a2d‐8eb1‐43cf‐9897‐5bd10fa3fe05                   Address Redacted                      First Class Mail
eb0300a3‐5598‐4a09‐8187‐83c61a49df21                   Address Redacted                      First Class Mail
eb0cfbca‐ccc2‐4868‐8cb1‐79fbb3b1c765                   Address Redacted                      First Class Mail
eb148d02‐9926‐4645‐84ce‐f38e3af56a9f                   Address Redacted                      First Class Mail
eb1aa7d0‐aa66‐4a9b‐a53e‐4bfa51f0fb1e                   Address Redacted                      First Class Mail
eb1bc6d8‐654d‐473e‐b678‐2419321bacdc                   Address Redacted                      First Class Mail
eb1ebffe‐7f3f‐4751‐936a‐54146f7b03bb                   Address Redacted                      First Class Mail




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                                                                Exhibit A
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                               Name                                             Address                         Method of Service
eb20caa4‐21a3‐4df6‐9f8e‐264835526360                   Address Redacted                      First Class Mail
eb219287‐729d‐4e72‐96ae‐e1ce24dd674e                   Address Redacted                      First Class Mail
eb264283‐50a8‐4b01‐88f6‐441c8232709a                   Address Redacted                      First Class Mail
eb29fddd‐16c5‐495a‐a739‐821375cd2725                   Address Redacted                      First Class Mail
eb2c1d72‐0cbb‐495f‐ab32‐9796980820f8                   Address Redacted                      First Class Mail
eb2c283b‐73b8‐464d‐988b‐5090b50fac2f                   Address Redacted                      First Class Mail
eb2d109c‐6db6‐424f‐86d4‐9b19847442db                   Address Redacted                      First Class Mail
eb2fa0e0‐dafb‐48fe‐93d3‐1cf6e2977c38                   Address Redacted                      First Class Mail
eb2fe897‐58d7‐4954‐a8c1‐79b2fc6e03a6                   Address Redacted                      First Class Mail
eb304c34‐78c1‐4c75‐a742‐4b63ebf7e939                   Address Redacted                      First Class Mail
eb315691‐1755‐4b0d‐a3ba‐889ee67c27a8                   Address Redacted                      First Class Mail
eb32cdd1‐0c26‐4754‐a95c‐86e8281090c0                   Address Redacted                      First Class Mail
eb345746‐f51e‐412a‐b6d9‐d03439e371af                   Address Redacted                      First Class Mail
eb34f672‐6681‐467c‐8746‐cce4c666195e                   Address Redacted                      First Class Mail
eb3531e1‐bdff‐44ce‐825f‐6bee40577428                   Address Redacted                      First Class Mail
eb3833f1‐5861‐4fd5‐8554‐d82b82953e0e                   Address Redacted                      First Class Mail
eb3d054a‐e055‐4527‐98f2‐e98e63e85564                   Address Redacted                      First Class Mail
eb4282c9‐10f5‐4595‐b558‐cee0bb91288c                   Address Redacted                      First Class Mail
eb47395b‐c326‐4f4e‐aab3‐89dc6ed4c01b                   Address Redacted                      First Class Mail
eb474ab6‐1ad3‐43dd‐ba29‐d750f06e9759                   Address Redacted                      First Class Mail
eb4de30d‐331d‐45d4‐b7ba‐ab58f53ab404                   Address Redacted                      First Class Mail
eb4e5257‐15a0‐4c78‐a152‐5906aa0b8ad0                   Address Redacted                      First Class Mail
eb4efca3‐f12b‐409b‐9ff4‐5f7ffae761fa                   Address Redacted                      First Class Mail
eb5261ac‐54a5‐49b2‐8be2‐bad6fd47eb86                   Address Redacted                      First Class Mail
eb5702db‐6448‐494b‐8c13‐da7ae0846f83                   Address Redacted                      First Class Mail
eb58ae8d‐21de‐427b‐80b1‐dc08c9c98040                   Address Redacted                      First Class Mail
eb5a04a0‐5862‐47d7‐87d7‐c60439448082                   Address Redacted                      First Class Mail
eb5b3383‐3b6d‐4a4e‐b13d‐a7bb2df887df                   Address Redacted                      First Class Mail
eb5daf9d‐eaef‐4e7e‐9961‐9172fb7cb910                   Address Redacted                      First Class Mail
eb5e0453‐74c7‐49a3‐9792‐3f5434cee29d                   Address Redacted                      First Class Mail
eb5ea3fe‐7279‐4a4b‐8bce‐6fc26c1dd4d7                   Address Redacted                      First Class Mail
eb61d276‐6326‐4a58‐830c‐fbea2b8f6692                   Address Redacted                      First Class Mail
eb62d0b5‐d55b‐4e6c‐a671‐bdd1ec779494                   Address Redacted                      First Class Mail
eb64c342‐514b‐40cd‐a262‐ae87c761c1e7                   Address Redacted                      First Class Mail
eb675b52‐4fbe‐49fc‐8377‐2074ad729975                   Address Redacted                      First Class Mail
eb68db18‐99a2‐435c‐903a‐94b9d3828ab8                   Address Redacted                      First Class Mail
eb6986fa‐3982‐4c8e‐9669‐6acacacb034e                   Address Redacted                      First Class Mail
eb6d0c5c‐8f96‐42ac‐babb‐7d6630b20dc1                   Address Redacted                      First Class Mail
eb70016a‐8df7‐4295‐9129‐c3001dbda274                   Address Redacted                      First Class Mail
eb70a84c‐8c2d‐48d6‐add4‐0cc856dee9e2                   Address Redacted                      First Class Mail
eb77a80f‐bc9a‐466f‐b9fb‐922b7e6d643a                   Address Redacted                      First Class Mail
eb77bc4a‐80a4‐4df3‐9855‐929ec00f1074                   Address Redacted                      First Class Mail
eb780864‐93a8‐4d78‐a96a‐e7c43d6b5b48                   Address Redacted                      First Class Mail
eb782646‐0570‐4175‐8cef‐6e5bf4fb8cbd                   Address Redacted                      First Class Mail
eb7af188‐7bfb‐4a6d‐9f67‐1a37c208d936                   Address Redacted                      First Class Mail
eb7f22d4‐fc21‐4c17‐86f9‐0cbab92aa9e9                   Address Redacted                      First Class Mail
eb851e58‐9e2b‐4c9b‐a50c‐9465c75cd466                   Address Redacted                      First Class Mail
eb8b37eb‐9b38‐4931‐b24b‐d889658693a6                   Address Redacted                      First Class Mail
eb8b5ca4‐65ff‐4aa2‐8931‐ac10052a18cc                   Address Redacted                      First Class Mail
eb8e41cc‐4c25‐4abb‐85b0‐072f75b0fbab                   Address Redacted                      First Class Mail
eb8f2fa4‐05a1‐46df‐adf6‐b4445a308218                   Address Redacted                      First Class Mail
eb912a23‐5a64‐49c8‐9562‐2606df7d034f                   Address Redacted                      First Class Mail
eb94179e‐1eda‐4921‐a379‐8d82e8f57669                   Address Redacted                      First Class Mail
eb951cff‐f882‐42f5‐8f23‐956b53a99e22                   Address Redacted                      First Class Mail
eb95dfee‐234f‐4ef4‐af75‐9a2b97b4acb8                   Address Redacted                      First Class Mail
eb9a1e73‐fe6d‐4dd4‐8b38‐605476fddc2d                   Address Redacted                      First Class Mail
eb9c8796‐2e2b‐4cc6‐8174‐68c2bc4b3b67                   Address Redacted                      First Class Mail
eb9dcd25‐b721‐4c64‐b48d‐6008da06b995                   Address Redacted                      First Class Mail
eba700ab‐d6a3‐4f43‐a9c2‐784e3bf2329e                   Address Redacted                      First Class Mail
eba7ff10‐f936‐4c14‐bba0‐34604e0e38fb                   Address Redacted                      First Class Mail
eba992f3‐6b25‐466e‐9aba‐1159eec2652c                   Address Redacted                      First Class Mail
ebaa461f‐d714‐408f‐90af‐76230c43c8f9                   Address Redacted                      First Class Mail
ebaad1a5‐0c27‐419b‐b8a5‐7252efeeb253                   Address Redacted                      First Class Mail
ebab00fa‐004d‐4785‐8412‐2173cb6ee8ef                   Address Redacted                      First Class Mail
ebad231d‐1266‐488c‐a878‐c14328e309b3                   Address Redacted                      First Class Mail
ebb413a1‐ba98‐4c4a‐8df6‐cc796608a7bd                   Address Redacted                      First Class Mail
ebb96d69‐5d07‐4e78‐8373‐327add0fa88c                   Address Redacted                      First Class Mail
ebbc9f66‐cf79‐4583‐8461‐e071bd2df8b4                   Address Redacted                      First Class Mail
ebbd2d58‐2127‐4e4b‐9019‐7d12b60e2e7f                   Address Redacted                      First Class Mail
ebbd85e5‐021a‐46b0‐801b‐111fc9cc66fc                   Address Redacted                      First Class Mail
ebbe3af6‐de56‐41eb‐972f‐4bb8a7609c18                   Address Redacted                      First Class Mail
ebbf8961‐402d‐44b2‐9a27‐4c5f1865970a                   Address Redacted                      First Class Mail




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                              Name                                              Address                         Method of Service
ebc18a79‐e2a9‐466c‐a7ba‐3646f5310a4e                   Address Redacted                      First Class Mail
ebc195eb‐09ad‐441b‐84b6‐1297e3d78784                   Address Redacted                      First Class Mail
ebc6e4fb‐7409‐4916‐aed2‐e38e52b18cee                   Address Redacted                      First Class Mail
ebca33ec‐2ef3‐46b4‐bbbf‐14f963dd14ff                   Address Redacted                      First Class Mail
ebca36ec‐b32a‐48f2‐9843‐34b52370264f                   Address Redacted                      First Class Mail
ebccfb04‐8817‐4efd‐b0cb‐d756bb1a4148                   Address Redacted                      First Class Mail
ebcdfcb4‐2923‐4c66‐8b8b‐780c834eba71                   Address Redacted                      First Class Mail
ebce81be‐5404‐44a2‐9c87‐7296486e8102                   Address Redacted                      First Class Mail
ebcf90f7‐18fd‐4ef2‐b519‐e93337820b90                   Address Redacted                      First Class Mail
ebcf9682‐c021‐4c90‐9053‐bfd7d3a68988                   Address Redacted                      First Class Mail
ebd41f74‐b7fd‐4e86‐8929‐d93443ddd041                   Address Redacted                      First Class Mail
ebd479a2‐9cd3‐44f9‐80d6‐e31c9aeb5127                   Address Redacted                      First Class Mail
ebd4d2d3‐2282‐4847‐9ce0‐1a5c1561b7bd                   Address Redacted                      First Class Mail
ebd6dc69‐a9f9‐4846‐b2d8‐a5301abecb0d                   Address Redacted                      First Class Mail
ebd9d9e2‐9d9c‐404b‐b5c4‐4d14574ba4da                   Address Redacted                      First Class Mail
ebda3972‐f168‐417c‐8429‐d348e3bbfac5                   Address Redacted                      First Class Mail
ebdb9ce6‐75e9‐4532‐9cca‐48d52c4a55b3                   Address Redacted                      First Class Mail
ebe4f08d‐0a33‐41d2‐b428‐dd9217510df9                   Address Redacted                      First Class Mail
ebee6d5b‐2677‐4ecf‐a18d‐fbbec2b9e9c6                   Address Redacted                      First Class Mail
ebef29ea‐29bb‐4693‐9e72‐27017d56a920                   Address Redacted                      First Class Mail
ebf2ec70‐4a5a‐4d72‐82f2‐f092009e2898                   Address Redacted                      First Class Mail
ebf7347b‐8072‐40bf‐8a55‐e9a245d6524d                   Address Redacted                      First Class Mail
ebf8c1a4‐c749‐41cb‐8d66‐22182e5c25a8                   Address Redacted                      First Class Mail
ebf9189b‐d9e2‐4dda‐8e0a‐93c71b33e471                   Address Redacted                      First Class Mail
ebff9f83‐1bdb‐446d‐acde‐bf499e7785bb                   Address Redacted                      First Class Mail
ec012187‐f8f4‐4a91‐aa31‐519a3288e799                   Address Redacted                      First Class Mail
ec016da5‐33cc‐4e98‐b04e‐0b6515790dcb                   Address Redacted                      First Class Mail
ec045151‐c56c‐4726‐9d5f‐8b0da464d9a0                   Address Redacted                      First Class Mail
ec0804f2‐7b1f‐4fe7‐b9ab‐a2dc5fb32bb5                   Address Redacted                      First Class Mail
ec082745‐76a8‐44f3‐80be‐989caa9751be                   Address Redacted                      First Class Mail
ec0b09b9‐b4dc‐41f9‐84fb‐8101cb290ef2                   Address Redacted                      First Class Mail
ec0b1314‐07c9‐4063‐8f31‐59ea8d1b9f2c                   Address Redacted                      First Class Mail
ec0dc2b2‐f1fd‐4494‐9fc0‐89aaf46dc3f1                   Address Redacted                      First Class Mail
ec0f2ea6‐8912‐491f‐91ee‐2d8d32aeff4e                   Address Redacted                      First Class Mail
ec10dbff‐1e47‐452f‐8205‐f2225494e617                   Address Redacted                      First Class Mail
ec117f65‐1d89‐489e‐9b06‐be7be1cb993b                   Address Redacted                      First Class Mail
ec1264dd‐d413‐4d1e‐b295‐3d3a8f4e3f31                   Address Redacted                      First Class Mail
ec1da59d‐579d‐4c6a‐8bd0‐b92bee372e11                   Address Redacted                      First Class Mail
ec204f7c‐56a4‐41c4‐87df‐9a304e4baaf7                   Address Redacted                      First Class Mail
ec2073e5‐576b‐46f4‐94a2‐a0918f43d8db                   Address Redacted                      First Class Mail
ec23871a‐e098‐475c‐bf82‐4ead35ec0d1b                   Address Redacted                      First Class Mail
ec24c869‐08ad‐4c57‐a045‐64f0e9eb6869                   Address Redacted                      First Class Mail
ec24f7cd‐5b91‐4906‐bdc5‐a0af611bf37a                   Address Redacted                      First Class Mail
ec26339b‐7326‐4fd1‐b32f‐8096a2cc4f0d                   Address Redacted                      First Class Mail
ec298d1f‐69ac‐428c‐a665‐68aa408cebcc                   Address Redacted                      First Class Mail
ec33837d‐2c8d‐4a10‐a85d‐1e736b7e1cd4                   Address Redacted                      First Class Mail
ec35fde8‐f5b7‐4bb4‐b115‐7338d4974147                   Address Redacted                      First Class Mail
ec3d47a7‐fdf7‐47ce‐a520‐1b09f78c6112                   Address Redacted                      First Class Mail
ec400653‐d0af‐465e‐ad14‐a805d63c5be0                   Address Redacted                      First Class Mail
ec41dd44‐931d‐404f‐8317‐7aa104259006                   Address Redacted                      First Class Mail
ec48161b‐ea1a‐41fe‐9e89‐a0e6faf79e63                   Address Redacted                      First Class Mail
ec4872eb‐5e42‐420b‐b66d‐70d7b8932c91                   Address Redacted                      First Class Mail
ec4a8241‐f0d7‐4fd5‐9a69‐bca7a00d187f                   Address Redacted                      First Class Mail
ec4cc89f‐1229‐4e1c‐8a6b‐215a9fd8ad3c                   Address Redacted                      First Class Mail
ec560522‐3eb6‐4d1a‐8856‐1051aa2ac4c0                   Address Redacted                      First Class Mail
ec58924a‐74e3‐48ba‐986e‐3ddcc0e1e2d5                   Address Redacted                      First Class Mail
ec5a14fc‐9f20‐4723‐b453‐6a063c961511                   Address Redacted                      First Class Mail
ec5a2440‐76c7‐44c1‐a6c7‐69bf9309b534                   Address Redacted                      First Class Mail
ec5a3254‐ba9e‐4888‐9b21‐681924fc1a44                   Address Redacted                      First Class Mail
ec5bc7cc‐102d‐4965‐b2b3‐77ebe96a10ae                   Address Redacted                      First Class Mail
ec5c7ad4‐9ee1‐4b94‐8cfe‐2f46d1950ed9                   Address Redacted                      First Class Mail
ec5e0524‐cfdf‐4e2f‐b0a0‐cefdb863193e                   Address Redacted                      First Class Mail
ec666b57‐7be7‐4eb6‐a51b‐af4ccd5af239                   Address Redacted                      First Class Mail
ec69e476‐dfcc‐4367‐b9e4‐22dd1cd7b9a2                   Address Redacted                      First Class Mail
ec6aefd0‐5282‐4d8a‐9b9f‐beeafb746e8b                   Address Redacted                      First Class Mail
ec6c142c‐9b62‐4f61‐98f4‐86ad46525e18                   Address Redacted                      First Class Mail
ec6ef622‐ddeb‐4a75‐b47b‐50e21d7f8213                   Address Redacted                      First Class Mail
ec702e44‐48f5‐4c4a‐a94c‐1b7325a0d4f6                   Address Redacted                      First Class Mail
ec7375c4‐a4ca‐46bd‐a989‐90ef13b58a36                   Address Redacted                      First Class Mail
ec73f094‐4d1a‐4f20‐9d0d‐3889d768314d                   Address Redacted                      First Class Mail
ec7413e6‐d1b3‐43d7‐bf23‐8677a8d70d53                   Address Redacted                      First Class Mail
ec79144e‐e163‐4b31‐92d7‐65822af66694                   Address Redacted                      First Class Mail




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                                                                 Service List


                               Name                                             Address                         Method of Service
ec7a9960‐b735‐47a5‐94b8‐1dc9fa0ae241                   Address Redacted                      First Class Mail
ec7ad0d9‐edb2‐456d‐8616‐f1b20a2c0180                   Address Redacted                      First Class Mail
ec82f31f‐6ac5‐473a‐8dcc‐04fd1709f2df                   Address Redacted                      First Class Mail
ec87d236‐20be‐4222‐b0bf‐5b33793c9737                   Address Redacted                      First Class Mail
ec8a8e7d‐3f6f‐4798‐bb6d‐14f24136aa64                   Address Redacted                      First Class Mail
ec8b056a‐30b1‐4f6b‐8125‐66690c237829                   Address Redacted                      First Class Mail
ec94118c‐29de‐4bac‐864d‐461743eab954                   Address Redacted                      First Class Mail
ec95fc84‐f6a8‐4768‐9f9a‐6b2c95aee7a3                   Address Redacted                      First Class Mail
ec9c81f6‐8ed7‐451c‐b0aa‐e62e47aeb383                   Address Redacted                      First Class Mail
eca7350e‐39da‐4a62‐816c‐01abe3ba620f                   Address Redacted                      First Class Mail
ecac1f00‐09c0‐4e3d‐ba83‐63c27225f13a                   Address Redacted                      First Class Mail
ecae9a07‐850b‐4d06‐8ceb‐e7c8a0d0219c                   Address Redacted                      First Class Mail
ecaf0127‐3051‐4a53‐929c‐f3086d9915e2                   Address Redacted                      First Class Mail
ecb011c6‐f408‐4031‐915f‐0c80e45bbfb1                   Address Redacted                      First Class Mail
ecb0e623‐5904‐4629‐bc7a‐56bd972c5c53                   Address Redacted                      First Class Mail
ecb1c78c‐43fa‐4279‐94be‐92c42a4c5871                   Address Redacted                      First Class Mail
ecb65a7a‐09d0‐42a1‐95de‐90a17cca6b84                   Address Redacted                      First Class Mail
ecb76a2c‐63d5‐46ba‐9d2b‐1e7c95a87b98                   Address Redacted                      First Class Mail
ecb9c261‐f90f‐4084‐a454‐947732d80c67                   Address Redacted                      First Class Mail
ecb9c8d6‐a4c5‐446e‐9b67‐fbc095a15999                   Address Redacted                      First Class Mail
ecbc5250‐2679‐4aa7‐a291‐6135371df353                   Address Redacted                      First Class Mail
ecbc62b2‐c8fc‐4823‐b554‐7cf833628af2                   Address Redacted                      First Class Mail
ecbc993f‐7a0f‐4921‐8770‐330a1c450f34                   Address Redacted                      First Class Mail
ecbf92f0‐ee75‐4d0a‐91a7‐e9184f1a5a6f                   Address Redacted                      First Class Mail
ecc58d91‐b943‐4218‐aa88‐10b612ecfbf5                   Address Redacted                      First Class Mail
ecc5ebe5‐f4c3‐4b2d‐918e‐9057bd4ab03b                   Address Redacted                      First Class Mail
ecc83fbe‐e9a4‐4cda‐8b43‐f834ae286205                   Address Redacted                      First Class Mail
ecc86e4b‐13dd‐4aed‐a5d6‐61d6cdd4bd0c                   Address Redacted                      First Class Mail
ecc8c88f‐d37c‐4b58‐a331‐e79cbffbf420                   Address Redacted                      First Class Mail
ecc943e3‐7c58‐4eb5‐a20d‐da8de0070b41                   Address Redacted                      First Class Mail
ecc9a0b1‐bf8a‐468d‐b032‐f40c1a67483c                   Address Redacted                      First Class Mail
ecca89da‐21df‐4d58‐9bb8‐240c962b57e9                   Address Redacted                      First Class Mail
eccf95c1‐cd90‐46fe‐978d‐6ad8bd37740b                   Address Redacted                      First Class Mail
ecd4d697‐5e8f‐443c‐8172‐d4df75cb3a5c                   Address Redacted                      First Class Mail
ecd54245‐a9f9‐4ffb‐84c3‐c304719582bf                   Address Redacted                      First Class Mail
ecd7379c‐48b9‐4a91‐8d9b‐bc11e819a4e5                   Address Redacted                      First Class Mail
ecd84da8‐4a2e‐498f‐8db8‐6690d037ccb3                   Address Redacted                      First Class Mail
ecdc124a‐19b9‐4629‐843d‐288ddf8f77d4                   Address Redacted                      First Class Mail
ecdc7428‐1c07‐438b‐846e‐9637dfb89848                   Address Redacted                      First Class Mail
ecdfa188‐d3cc‐4832‐820e‐6dcae501f464                   Address Redacted                      First Class Mail
ece0cbea‐99b1‐4e19‐afff‐f2f1e2a18179                   Address Redacted                      First Class Mail
ece2e631‐5b63‐4287‐8962‐85ab48bb1155                   Address Redacted                      First Class Mail
ece2f1de‐3214‐4770‐9fe2‐95763a7d43bd                   Address Redacted                      First Class Mail
ece322e1‐3db3‐4acc‐a435‐0838cc0c5d85                   Address Redacted                      First Class Mail
ece641e0‐e655‐48c7‐824e‐59209b8366f6                   Address Redacted                      First Class Mail
ece865a1‐4895‐46cf‐a68d‐d5aa938b21aa                   Address Redacted                      First Class Mail
ece88cee‐88e0‐4e8d‐87f6‐72cb6faa5f1b                   Address Redacted                      First Class Mail
ecebea23‐1cc3‐46d6‐aa31‐68f3a1e91dc2                   Address Redacted                      First Class Mail
ecedeafc‐ae27‐4990‐be73‐4b9699f2b321                   Address Redacted                      First Class Mail
eceefbf3‐b337‐4cf5‐8384‐5c719cfc0eb5                   Address Redacted                      First Class Mail
ecf55992‐01b8‐48eb‐a4f4‐9cf48375dbcc                   Address Redacted                      First Class Mail
ecf84074‐ef53‐45d7‐a37e‐c285029ad29c                   Address Redacted                      First Class Mail
ecfb2be3‐8a9a‐4ec4‐890f‐6cd29a80078b                   Address Redacted                      First Class Mail
ecfc9b1c‐fbc3‐4bb2‐ab71‐4df295e7442d                   Address Redacted                      First Class Mail
ecfe3b54‐6bdc‐4e61‐9862‐77d269898329                   Address Redacted                      First Class Mail
ed00be76‐4f4e‐417e‐802b‐acd9c743d979                   Address Redacted                      First Class Mail
ed01378c‐fa16‐40d7‐a192‐28c36a1667ab                   Address Redacted                      First Class Mail
ed02564b‐dd95‐4d52‐972a‐a905bc8796c2                   Address Redacted                      First Class Mail
ed036634‐3842‐466a‐83f1‐8c0f62626dff                   Address Redacted                      First Class Mail
ed0abde4‐2858‐4255‐9d9f‐1b8a5a79fd1d                   Address Redacted                      First Class Mail
ed0ad052‐ce70‐4cc9‐ab87‐569cf040839a                   Address Redacted                      First Class Mail
ed0da89a‐39ee‐409c‐a0ca‐534d3aa64b69                   Address Redacted                      First Class Mail
ed0ff687‐0f06‐4cd8‐a824‐5ee380d35846                   Address Redacted                      First Class Mail
ed1030f6‐19c6‐413a‐a0b1‐8222d0d6aa14                   Address Redacted                      First Class Mail
ed1093cf‐05b6‐4f21‐a00d‐5631be622096                   Address Redacted                      First Class Mail
ed11fa50‐1288‐44b8‐b7b5‐c1e2e45ffb12                   Address Redacted                      First Class Mail
ed154bd7‐a6f6‐4d5b‐952e‐c44182b20d51                   Address Redacted                      First Class Mail
ed1a10ad‐96c6‐41d0‐adbb‐283e6de84341                   Address Redacted                      First Class Mail
ed1eb654‐951e‐43b4‐8855‐fdc22c2e3b7a                   Address Redacted                      First Class Mail
ed200c14‐33c0‐40a7‐a526‐b9db9c7bc114                   Address Redacted                      First Class Mail
ed208d83‐4a43‐4c9a‐bdb6‐4e82ebbccf76                   Address Redacted                      First Class Mail
ed232208‐9de7‐4a02‐89a2‐353515ec1af0                   Address Redacted                      First Class Mail




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                                                                 Service List


                              Name                                              Address                         Method of Service
ed2349eb‐3148‐434f‐8919‐dbfe6dfd29d6                   Address Redacted                      First Class Mail
ed2643f7‐acbf‐419f‐aabe‐86fc9ad6c799                   Address Redacted                      First Class Mail
ed265ab3‐7fb8‐45c2‐b68b‐4ea60de20641                   Address Redacted                      First Class Mail
ed270c2a‐a581‐40b9‐8f0f‐0320dbc1b19c                   Address Redacted                      First Class Mail
ed2a1ddc‐9c1c‐45d5‐bd8a‐76b5813c8b57                   Address Redacted                      First Class Mail
ed32ef93‐ed14‐4747‐a950‐f87e1fed8231                   Address Redacted                      First Class Mail
ed340bd2‐eafc‐4d6b‐8803‐8c14af596ae1                   Address Redacted                      First Class Mail
ed34ce5e‐7370‐483c‐ae5c‐0d98dd9a1b78                   Address Redacted                      First Class Mail
ed39716c‐a582‐43f3‐b475‐c4ad95e8cd16                   Address Redacted                      First Class Mail
ed39affc‐09da‐46bd‐8b26‐7dc542f0e379                   Address Redacted                      First Class Mail
ed3a6d9d‐5308‐49b9‐af47‐4d67f71300b7                   Address Redacted                      First Class Mail
ed3abd8f‐84c2‐49ca‐a8c4‐c9b8deabd11b                   Address Redacted                      First Class Mail
ed3b6b94‐9f62‐4fa6‐a002‐98f2ada96849                   Address Redacted                      First Class Mail
ed3cd8a0‐096d‐400e‐bb67‐f61cd3f7853b                   Address Redacted                      First Class Mail
ed41bbdf‐421c‐4d09‐8dc1‐1fb7735b3f58                   Address Redacted                      First Class Mail
ed444493‐c284‐4af7‐917b‐53436040cd17                   Address Redacted                      First Class Mail
ed466fc4‐8228‐40c2‐97f6‐9dc13670a054                   Address Redacted                      First Class Mail
ed467ecf‐a0fb‐47b9‐969e‐deb3bd0c6c9f                   Address Redacted                      First Class Mail
ed46b5a5‐b691‐47fc‐85d1‐41ac94132c85                   Address Redacted                      First Class Mail
ed477b86‐2b21‐4096‐ad80‐ffefd02b6c1e                   Address Redacted                      First Class Mail
ed4d4aef‐36b0‐4f07‐a12e‐f28ef024ef02                   Address Redacted                      First Class Mail
ed51d85e‐4daf‐4731‐ada3‐d2e65b975dd6                   Address Redacted                      First Class Mail
ed52c79e‐1ce8‐4519‐89a6‐4267098958d0                   Address Redacted                      First Class Mail
ed536c32‐d619‐4341‐8de3‐3a9a236ed189                   Address Redacted                      First Class Mail
ed5c254c‐371a‐4800‐adbb‐bc6677134304                   Address Redacted                      First Class Mail
ed5c71f1‐f528‐4577‐b863‐18c0511d4d91                   Address Redacted                      First Class Mail
ed5da9b0‐2bd1‐48d7‐8c88‐5f6bba9458ad                   Address Redacted                      First Class Mail
ed5eba6a‐9f8d‐42c7‐afd3‐c3024bb58e12                   Address Redacted                      First Class Mail
ed62a8d0‐94df‐4873‐9a56‐6f92540858ca                   Address Redacted                      First Class Mail
ed635d2b‐5c75‐408c‐ad75‐d34522ba23d4                   Address Redacted                      First Class Mail
ed66259d‐27a9‐41b3‐ba26‐c7045da51e40                   Address Redacted                      First Class Mail
ed68c4b0‐60c2‐4e56‐b5b9‐4b6363edd36d                   Address Redacted                      First Class Mail
ed697734‐b86f‐43c1‐a68c‐9f74a69fc989                   Address Redacted                      First Class Mail
ed6b6a78‐6e88‐41d0‐860a‐e342e4410c8e                   Address Redacted                      First Class Mail
ed6c163a‐5ebd‐4a6e‐9e52‐1f5f8eef3002                   Address Redacted                      First Class Mail
ed6c8a0a‐88c6‐4db7‐b6cc‐fc298c50f038                   Address Redacted                      First Class Mail
ed6dafde‐5f13‐4736‐8b66‐0ff57eaabb13                   Address Redacted                      First Class Mail
ed6ee477‐ff0d‐4c66‐80ae‐2a08dcdcab94                   Address Redacted                      First Class Mail
ed74b011‐380a‐43e5‐a4d3‐f31bf864dd1f                   Address Redacted                      First Class Mail
ed77b11e‐ff4e‐4386‐a383‐1a0b29cb6648                   Address Redacted                      First Class Mail
ed79539b‐f143‐45f9‐ae5b‐23cff4522285                   Address Redacted                      First Class Mail
ed7a96e9‐cd00‐4a4a‐893e‐6a3fc3a6b96c                   Address Redacted                      First Class Mail
ed7aeaf5‐7cd3‐4aec‐b541‐43d82bcfe180                   Address Redacted                      First Class Mail
ed7cb768‐c20a‐4fe4‐a708‐197ffe0acdfe                   Address Redacted                      First Class Mail
ed7fe09b‐5f1b‐4d4e‐85f8‐2169d05b1158                   Address Redacted                      First Class Mail
ed806969‐1cb3‐46e6‐8ab3‐833e35c9d110                   Address Redacted                      First Class Mail
ed82f1ac‐24c5‐4a8c‐bc4e‐511a4722ffa4                   Address Redacted                      First Class Mail
ed89af82‐101b‐430a‐97b6‐f484879b8b8a                   Address Redacted                      First Class Mail
ed8ac791‐20b1‐4d7e‐bfcc‐5bb9e3910af9                   Address Redacted                      First Class Mail
ed8c9c46‐e982‐4689‐87a6‐1b5c6433fbfd                   Address Redacted                      First Class Mail
ed8ca13e‐6e5e‐43a2‐b91c‐01a5f0df1bfe                   Address Redacted                      First Class Mail
ed900120‐4850‐4a22‐82ce‐38fb608cd2be                   Address Redacted                      First Class Mail
ed922a8b‐fea6‐4bfe‐90e8‐ef0c821bd81b                   Address Redacted                      First Class Mail
ed95dd93‐da6e‐4a18‐989a‐1e9bce4e2743                   Address Redacted                      First Class Mail
ed9b42ea‐d41c‐4968‐aca9‐13d6c81a2489                   Address Redacted                      First Class Mail
ed9f7593‐b4c8‐4b69‐8fea‐85ca644714af                   Address Redacted                      First Class Mail
eda43484‐8e47‐439e‐b7bd‐661c4c0c2eb9                   Address Redacted                      First Class Mail
edae4ee5‐f0fc‐41d7‐a56b‐97433d47d340                   Address Redacted                      First Class Mail
edaee9b8‐a0d8‐44a5‐8f70‐5260a297896a                   Address Redacted                      First Class Mail
edb020e7‐2e45‐458e‐b00e‐cce443f8f5c1                   Address Redacted                      First Class Mail
edb4eeea‐efe9‐4cd5‐8b88‐4b3ac5b8fd2e                   Address Redacted                      First Class Mail
edb5a140‐4398‐4509‐9878‐fcbc5fbcbc30                   Address Redacted                      First Class Mail
edb7ed60‐eca4‐4e7f‐bf9b‐7bbb76d88f57                   Address Redacted                      First Class Mail
edb83a72‐66e2‐4d80‐87a3‐25f79b22dcfb                   Address Redacted                      First Class Mail
edbb2921‐7828‐4a97‐bebc‐6f4d1f4bd8f5                   Address Redacted                      First Class Mail
edbb8a64‐719a‐4870‐a8a2‐ff7762833e4b                   Address Redacted                      First Class Mail
edc09dd7‐9aee‐4e14‐b2ec‐ec8351230162                   Address Redacted                      First Class Mail
edc0ca12‐722f‐4351‐9222‐0d81d441a075                   Address Redacted                      First Class Mail
edc307ed‐8e54‐425e‐a829‐b2da0bf1ff36                   Address Redacted                      First Class Mail
edc7655c‐48bb‐4d96‐a6bc‐1c82d6bef4a3                   Address Redacted                      First Class Mail
edc78cc2‐803b‐4bab‐8330‐4180e27a8b9f                   Address Redacted                      First Class Mail
edcb052b‐c951‐4170‐ac34‐bbde8d2806f6                   Address Redacted                      First Class Mail




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                              Name                                              Address                         Method of Service
edcc11c6‐ed98‐4df8‐8ea8‐a8765834f97c                   Address Redacted                      First Class Mail
edce24ab‐fe88‐47a4‐913f‐de3b9a27e48a                   Address Redacted                      First Class Mail
edcf7e26‐6fb0‐4a7e‐a27b‐5e7e9f39866b                   Address Redacted                      First Class Mail
edd23ae0‐3884‐4bad‐bb1d‐9d58206d56a4                   Address Redacted                      First Class Mail
edd43ae9‐19c4‐48a8‐9476‐e4e9218875e2                   Address Redacted                      First Class Mail
edd7209f‐47b5‐45c8‐8a54‐d73cbf445ea3                   Address Redacted                      First Class Mail
edda5312‐1ff4‐4f26‐9831‐b40b48fc8bc3                   Address Redacted                      First Class Mail
eddc3d0b‐25b2‐42a0‐a778‐d09ebc1343fd                   Address Redacted                      First Class Mail
edded6f4‐ff75‐4250‐8ec1‐993e44376a0c                   Address Redacted                      First Class Mail
ede20bea‐cd5b‐4e1b‐9289‐d3680ef75724                   Address Redacted                      First Class Mail
ede285c1‐34e9‐4137‐b08c‐d585b3496a09                   Address Redacted                      First Class Mail
ede3653c‐b346‐47be‐ac42‐17d34b0b5fae                   Address Redacted                      First Class Mail
ede5d385‐492b‐4be5‐b837‐4540d64540e7                   Address Redacted                      First Class Mail
ede60ff5‐7970‐49d9‐85bb‐f96d1ff2b34a                   Address Redacted                      First Class Mail
edea7372‐4f33‐4a0e‐b440‐404a192e7615                   Address Redacted                      First Class Mail
edf1bfdc‐03dc‐4ba4‐81c2‐f6503dff31f9                   Address Redacted                      First Class Mail
edf27dd7‐9648‐4f61‐b473‐1e4e0edc589e                   Address Redacted                      First Class Mail
edf581ab‐890d‐4e9a‐9c19‐6b3b474f34ed                   Address Redacted                      First Class Mail
edfce5f5‐b623‐4eaf‐962a‐73bbdf5d41f0                   Address Redacted                      First Class Mail
edff1149‐2152‐412b‐918a‐be154f3e8233                   Address Redacted                      First Class Mail
ee04e354‐f0e8‐4244‐8946‐5ff58494ebd3                   Address Redacted                      First Class Mail
ee0596f8‐802b‐4426‐87eb‐b64f9f282e61                   Address Redacted                      First Class Mail
ee0847da‐625c‐44c5‐8607‐fd56a7f8dcf4                   Address Redacted                      First Class Mail
ee0a923c‐69db‐4f1e‐80fc‐b50d06c18a79                   Address Redacted                      First Class Mail
ee0c97fa‐8f3f‐4c76‐b91b‐ddc9bd9c336f                   Address Redacted                      First Class Mail
ee11b3fc‐d5a2‐4d1f‐aa71‐7705c2c07c27                   Address Redacted                      First Class Mail
ee1cbef9‐7c8a‐4580‐bf08‐0df62f8247ca                   Address Redacted                      First Class Mail
ee1ed285‐2450‐4370‐ab81‐39a74ff1cdb7                   Address Redacted                      First Class Mail
ee1fc3bc‐ef80‐4da0‐b7e8‐e289fb11d892                   Address Redacted                      First Class Mail
ee2394f6‐8f39‐4f44‐9fe8‐9062a790aa3e                   Address Redacted                      First Class Mail
ee23d115‐f44e‐457a‐8c59‐e2b14d79d929                   Address Redacted                      First Class Mail
ee251d3f‐6523‐4774‐aad9‐ec7ce9ca6d4f                   Address Redacted                      First Class Mail
ee2a3dfc‐993b‐441e‐9077‐c9e6cc29d8fe                   Address Redacted                      First Class Mail
ee2a5361‐3c50‐450c‐8334‐31742c9848ee                   Address Redacted                      First Class Mail
ee30a74d‐abbe‐447b‐a3c8‐7f73b2c36020                   Address Redacted                      First Class Mail
ee312407‐1d67‐4b40‐9dbd‐9af69e6d0c7e                   Address Redacted                      First Class Mail
ee364a17‐5e9f‐4406‐9e1d‐17ceb504ca91                   Address Redacted                      First Class Mail
ee3cd1a4‐b03f‐4d04‐8106‐f5dd88ae3ec2                   Address Redacted                      First Class Mail
ee3e1f2f‐07d9‐4795‐9ffe‐964b5830475c                   Address Redacted                      First Class Mail
ee3f2cac‐8127‐4c21‐9bbd‐1fd06d534fbf                   Address Redacted                      First Class Mail
ee3fbc85‐b47c‐4893‐8fb1‐171fa5fe00ca                   Address Redacted                      First Class Mail
ee438261‐bf86‐4134‐9bfc‐ef2bbab98958                   Address Redacted                      First Class Mail
ee495ced‐c6a5‐4863‐a13f‐a671500c459d                   Address Redacted                      First Class Mail
ee5046d6‐ec11‐400c‐8992‐df312f7146da                   Address Redacted                      First Class Mail
ee515435‐b234‐47bd‐8090‐d550761a398f                   Address Redacted                      First Class Mail
ee539bee‐ecb0‐4b6a‐ad90‐d77c98496f1c                   Address Redacted                      First Class Mail
ee564cb0‐b283‐451e‐ab51‐25b215037bbb                   Address Redacted                      First Class Mail
ee570cd8‐b879‐47f3‐96f9‐cfe4eeab0aee                   Address Redacted                      First Class Mail
ee5b1d4b‐a68d‐4418‐94ca‐88c884f3dc89                   Address Redacted                      First Class Mail
ee68735d‐ed50‐4e3e‐bd62‐0920b48f74a9                   Address Redacted                      First Class Mail
ee6a7983‐8659‐48df‐89d1‐7a446224ee9a                   Address Redacted                      First Class Mail
ee6c0d66‐fd22‐4d51‐bb50‐7e83b9a79f8e                   Address Redacted                      First Class Mail
ee6c74ae‐69c8‐4b2d‐95fc‐1af7d34bb778                   Address Redacted                      First Class Mail
ee721bc0‐1714‐4f72‐9cfb‐e44151cd2869                   Address Redacted                      First Class Mail
ee741a6f‐f063‐474e‐90f9‐378e0f7bcac7                   Address Redacted                      First Class Mail
ee7695a8‐72f4‐4771‐9389‐061b2f74c547                   Address Redacted                      First Class Mail
ee784d7a‐0ab6‐4abf‐a1f7‐862c73a0f52e                   Address Redacted                      First Class Mail
ee78854b‐c8c5‐424e‐9a46‐42408dad3f4a                   Address Redacted                      First Class Mail
ee7a1031‐1b7c‐4838‐bf84‐fc0b7b2fac82                   Address Redacted                      First Class Mail
ee7a17d1‐9ab7‐4653‐9f42‐12ce53558b07                   Address Redacted                      First Class Mail
ee7a99eb‐6373‐455e‐af17‐00b569772a55                   Address Redacted                      First Class Mail
ee7cb8c0‐353a‐46f7‐bbb0‐5240e88b928e                   Address Redacted                      First Class Mail
ee7d2295‐c727‐4e76‐b37e‐3a7ae5baad49                   Address Redacted                      First Class Mail
ee7d9c41‐ed3e‐4d1c‐8ba5‐6a84203e7da4                   Address Redacted                      First Class Mail
ee83f6a5‐8a67‐4664‐a4ca‐a33a185b953e                   Address Redacted                      First Class Mail
ee86847b‐dd12‐4bf2‐832f‐d141ab71222b                   Address Redacted                      First Class Mail
ee8b9d9d‐2918‐43fd‐9628‐7623f92fefb7                   Address Redacted                      First Class Mail
ee8d6e50‐9786‐4dd2‐8d32‐8da4291327d8                   Address Redacted                      First Class Mail
ee8ec2dd‐141d‐44f1‐a55c‐457145355b44                   Address Redacted                      First Class Mail
ee8ecabd‐eed9‐4374‐bd37‐a1f1d79a9a72                   Address Redacted                      First Class Mail
ee8f6fcb‐d5b7‐46a4‐8522‐a7d3ac66286a                   Address Redacted                      First Class Mail
ee910ed4‐682b‐47f8‐8fde‐5e75bf517d92                   Address Redacted                      First Class Mail




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                               Name                                             Address                         Method of Service
ee911217‐d9ef‐454c‐ac13‐3e38f439d0f2                   Address Redacted                      First Class Mail
ee9344a5‐ebdf‐4108‐9acd‐6fdbbf7d4b82                   Address Redacted                      First Class Mail
ee954663‐c763‐4535‐9dfc‐f8a7e290c0df                   Address Redacted                      First Class Mail
ee9adc0e‐4070‐40f7‐8c98‐53ff27e7c943                   Address Redacted                      First Class Mail
ee9c6514‐3717‐4434‐84df‐50e98827c925                   Address Redacted                      First Class Mail
ee9e4381‐2f74‐4c80‐80e2‐f77b14ff2f58                   Address Redacted                      First Class Mail
eea323d6‐3dea‐439d‐b2aa‐b4a66aedd2a1                   Address Redacted                      First Class Mail
eea564f4‐50df‐4646‐806f‐96d038f88ae9                   Address Redacted                      First Class Mail
eea799a6‐c659‐4d8f‐b8a1‐857a2182d249                   Address Redacted                      First Class Mail
eeaee334‐1ae9‐4e9f‐a7c9‐e6db458802c1                   Address Redacted                      First Class Mail
eeaf11a4‐d55e‐4c7a‐a879‐0e6b4b08d632                   Address Redacted                      First Class Mail
eeb08933‐5826‐4af2‐95d8‐6a2dbdd9f6df                   Address Redacted                      First Class Mail
eeb0b381‐e48a‐4378‐af62‐18381c73f053                   Address Redacted                      First Class Mail
eeb2d48f‐057b‐4db5‐bf81‐59bcd9c820b8                   Address Redacted                      First Class Mail
eeb2e834‐f242‐49b5‐8e26‐5c768faa4211                   Address Redacted                      First Class Mail
eeb37cc0‐d322‐48dd‐b849‐77bae14b4f84                   Address Redacted                      First Class Mail
eeb9d61a‐e130‐4847‐a35f‐a30be2d8ebaa                   Address Redacted                      First Class Mail
eebaee56‐de04‐4ece‐b4ec‐60f9cac71445                   Address Redacted                      First Class Mail
eec44154‐3880‐4513‐84d1‐c5c996d17680                   Address Redacted                      First Class Mail
eeca1232‐75af‐4669‐8681‐990514cb3942                   Address Redacted                      First Class Mail
eed08e4e‐92c7‐4750‐bb3b‐1ab4af412bc8                   Address Redacted                      First Class Mail
eed0f219‐2f24‐4540‐8fbd‐3dcb76ce5ce2                   Address Redacted                      First Class Mail
eed69a7a‐73c1‐4f96‐aaec‐df14831dbd42                   Address Redacted                      First Class Mail
eedd9b04‐497f‐4507‐8ae0‐85c02e4d2d95                   Address Redacted                      First Class Mail
eedf5962‐9c1e‐4805‐93df‐2119f62f3efb                   Address Redacted                      First Class Mail
eedf9821‐823c‐466c‐bbce‐8dbeb54f7940                   Address Redacted                      First Class Mail
eee1a34c‐7f0b‐4666‐ab66‐9c0c99e0ab2a                   Address Redacted                      First Class Mail
eee9181a‐b01c‐4418‐9f54‐3fb8ef42a5c8                   Address Redacted                      First Class Mail
eeeaeffc‐bab6‐4806‐93f6‐073ae077856f                   Address Redacted                      First Class Mail
eeed02ef‐6031‐411a‐9d0c‐616f8f3e3046                   Address Redacted                      First Class Mail
eeeedad6‐450b‐4d67‐b4b3‐e9c40139f209                   Address Redacted                      First Class Mail
eeefc4cc‐0a9d‐4e8d‐a593‐6b8de94b4b86                   Address Redacted                      First Class Mail
eefdcb11‐c3d2‐410e‐a0d6‐c65e862af94c                   Address Redacted                      First Class Mail
eefe294c‐c960‐4f9c‐9909‐8710bc9064df                   Address Redacted                      First Class Mail
ef04ecbb‐a434‐49fc‐9056‐2ec2b8672862                   Address Redacted                      First Class Mail
ef090af4‐22bd‐4cf1‐9f23‐dfb2d4a424f8                   Address Redacted                      First Class Mail
ef0a803f‐4bf8‐4379‐967a‐7b68721dfe62                   Address Redacted                      First Class Mail
ef0b1203‐f375‐4289‐81a5‐b99180dfaab8                   Address Redacted                      First Class Mail
ef0b6473‐efff‐46fe‐ba75‐a9436845b23f                   Address Redacted                      First Class Mail
ef0c7bea‐e272‐4d8f‐8717‐3f10ecf25568                   Address Redacted                      First Class Mail
ef0e8050‐08e0‐4ccd‐9949‐6ed16d915f36                   Address Redacted                      First Class Mail
ef0fb054‐598c‐47c8‐ad8d‐57692dfab08f                   Address Redacted                      First Class Mail
ef0fb094‐1ccd‐48f1‐b16f‐fa15811d7f63                   Address Redacted                      First Class Mail
ef140dcc‐5c66‐4eda‐922c‐75b7a7bca71d                   Address Redacted                      First Class Mail
ef19343c‐2b67‐49fa‐82c0‐fb1e471c34dd                   Address Redacted                      First Class Mail
ef1cfb9a‐850c‐4f50‐a996‐62b60bc54ef8                   Address Redacted                      First Class Mail
ef1d1cbc‐c8c0‐46e4‐9ce7‐aeae7ffaeb91                   Address Redacted                      First Class Mail
ef1edb98‐7716‐4dbf‐8029‐0de240a22acb                   Address Redacted                      First Class Mail
ef210f38‐143d‐4472‐ab18‐697ab12a143e                   Address Redacted                      First Class Mail
ef21c12b‐b345‐4798‐85d0‐d7974d3ac5a9                   Address Redacted                      First Class Mail
ef221b67‐1a0e‐4328‐8e0b‐6253d3db92ad                   Address Redacted                      First Class Mail
ef235e0f‐ce9b‐44f3‐9877‐9ede76fb651a                   Address Redacted                      First Class Mail
ef253e52‐07fa‐48f1‐8775‐74a126235f1d                   Address Redacted                      First Class Mail
ef25ab73‐71b8‐49f3‐b301‐801b622ab943                   Address Redacted                      First Class Mail
ef27d5b6‐5bec‐4ee6‐87b8‐a1d34653fd81                   Address Redacted                      First Class Mail
ef29be0b‐760b‐4370‐896f‐5216d2b9572f                   Address Redacted                      First Class Mail
ef2a34d3‐6315‐4e97‐86be‐f307464f97e6                   Address Redacted                      First Class Mail
ef2f1c31‐f800‐4758‐9d5f‐08fc709528fb                   Address Redacted                      First Class Mail
ef3263f8‐c4a7‐41cc‐80e2‐3ca832c1bad2                   Address Redacted                      First Class Mail
ef368825‐d88d‐4c57‐ad4b‐502e15a35a2a                   Address Redacted                      First Class Mail
ef36da05‐664b‐476c‐8bf0‐ebcc01081aa8                   Address Redacted                      First Class Mail
ef37c079‐863e‐41bf‐8cbf‐b364ad04d950                   Address Redacted                      First Class Mail
ef38784a‐99a4‐4ea3‐935a‐e12649b187ff                   Address Redacted                      First Class Mail
ef3c6f7b‐b0f0‐4ec8‐b896‐9787fc785c04                   Address Redacted                      First Class Mail
ef3ef534‐ff9a‐439f‐9dea‐9fae0eb54ff1                   Address Redacted                      First Class Mail
ef3fa201‐d049‐4f48‐bc06‐2c68c5d472f1                   Address Redacted                      First Class Mail
ef42ef7c‐139d‐45a1‐bf96‐ea30d128e773                   Address Redacted                      First Class Mail
ef480c29‐3cc5‐4233‐b0aa‐495c83e55cf2                   Address Redacted                      First Class Mail
ef4c9a89‐494e‐407b‐a89d‐caec3a5bca22                   Address Redacted                      First Class Mail
ef507b9b‐fa04‐47bf‐8298‐3c1cdf97701a                   Address Redacted                      First Class Mail
ef523976‐defa‐4336‐84ff‐17abab798f33                   Address Redacted                      First Class Mail
ef547cd5‐d18c‐48fc‐8386‐2361acf5622f                   Address Redacted                      First Class Mail




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                                                                Exhibit A
                                                                 Service List


                               Name                                             Address                         Method of Service
ef54c1c5‐6ab7‐4ead‐83b5‐8a2cd4f0c6f3                   Address Redacted                      First Class Mail
ef56145d‐a9aa‐4eec‐a039‐14c0a4bafa9f                   Address Redacted                      First Class Mail
ef573087‐2cf9‐4faa‐8569‐fb6c4fc28bf0                   Address Redacted                      First Class Mail
ef58472e‐e851‐4e2c‐b9d7‐d7c859bb7c53                   Address Redacted                      First Class Mail
ef5a1b05‐e694‐47ed‐8588‐da665fc8a602                   Address Redacted                      First Class Mail
ef5acdbd‐a763‐4626‐a747‐f86f9a291e9b                   Address Redacted                      First Class Mail
ef5dc3d8‐bcf4‐489e‐b43e‐2ea9ea653dbe                   Address Redacted                      First Class Mail
ef609d7f‐05c3‐4965‐a17c‐2f869328edbd                   Address Redacted                      First Class Mail
ef66e6a3‐d347‐4525‐8229‐26aa2d8dd3ab                   Address Redacted                      First Class Mail
ef69ddf6‐5012‐4d22‐b7c8‐b8942026795d                   Address Redacted                      First Class Mail
ef6ad6be‐1612‐49ed‐934e‐910107b4dd2f                   Address Redacted                      First Class Mail
ef6b43e5‐01c8‐4730‐a3db‐540452a98bfd                   Address Redacted                      First Class Mail
ef6da112‐5888‐4687‐9ce4‐d7076261acf1                   Address Redacted                      First Class Mail
ef6e3437‐c57f‐4106‐a284‐c77aed9fc827                   Address Redacted                      First Class Mail
ef6e6371‐304a‐4543‐98bd‐2c5511236d02                   Address Redacted                      First Class Mail
ef71b2a8‐60bf‐423a‐ac6c‐184260c637dd                   Address Redacted                      First Class Mail
ef72af0a‐341b‐4a9e‐a0fc‐dbe694638940                   Address Redacted                      First Class Mail
ef736dde‐e0b2‐432c‐a18f‐93976ff9ea1f                   Address Redacted                      First Class Mail
ef7508f7‐24aa‐477f‐95cb‐a8179faa09f6                   Address Redacted                      First Class Mail
ef753316‐e9c7‐473a‐bcd7‐5cb9784acc64                   Address Redacted                      First Class Mail
ef754370‐8e9a‐403f‐80a1‐2cb3521fdbfa                   Address Redacted                      First Class Mail
ef78d104‐4a13‐42f9‐b33a‐a6a28e95bf4c                   Address Redacted                      First Class Mail
ef78e322‐f625‐4e01‐beb3‐9747bfaaf63e                   Address Redacted                      First Class Mail
ef7b1293‐aa64‐404b‐8096‐41d9e4687775                   Address Redacted                      First Class Mail
ef7f81b6‐5500‐4da8‐84c3‐4896e5e4c314                   Address Redacted                      First Class Mail
ef80e808‐13ce‐45aa‐aeb9‐bf0b23da24ee                   Address Redacted                      First Class Mail
ef82c654‐4b5c‐438a‐b3a0‐238141583cee                   Address Redacted                      First Class Mail
ef836c68‐4302‐4a0a‐8ada‐74e6ceab2317                   Address Redacted                      First Class Mail
ef854b31‐d097‐4e4b‐a334‐91e8e29d967b                   Address Redacted                      First Class Mail
ef89f184‐bf59‐48cf‐a80a‐9bbd21dc9c61                   Address Redacted                      First Class Mail
ef8d4023‐64fe‐4a83‐a500‐20551496517a                   Address Redacted                      First Class Mail
ef8dd1a8‐5acd‐46b7‐89fb‐6c46c47ab530                   Address Redacted                      First Class Mail
ef8e139c‐235b‐47f4‐adc8‐136d996c3d25                   Address Redacted                      First Class Mail
ef946221‐041d‐47a6‐9fd4‐e7fa480466e3                   Address Redacted                      First Class Mail
ef94cdcf‐7968‐4e41‐b80d‐5a572e74c59a                   Address Redacted                      First Class Mail
ef9a79f3‐043d‐4fee‐95b7‐10d1d4fa01c2                   Address Redacted                      First Class Mail
ef9fa97e‐b349‐4c96‐8edc‐05c62c1f97d6                   Address Redacted                      First Class Mail
efa07670‐b234‐4989‐bbdd‐df8fd50a1db4                   Address Redacted                      First Class Mail
efa10caa‐dec0‐4b01‐aa51‐838d8239379a                   Address Redacted                      First Class Mail
efaa4f85‐0e01‐4ff4‐90c3‐6f77f895e5ab                   Address Redacted                      First Class Mail
efafd910‐c05e‐43d7‐b42b‐959e319eb5f4                   Address Redacted                      First Class Mail
efb107a5‐0c68‐4285‐b45a‐23ecd6f2c9c9                   Address Redacted                      First Class Mail
efb2d52f‐3a38‐4ada‐81a0‐b3ccb7af06e0                   Address Redacted                      First Class Mail
efb2ff08‐e8ac‐4b4e‐994d‐b5b6d5f5ef09                   Address Redacted                      First Class Mail
efb4150e‐6c77‐44ad‐9981‐2a28ea878089                   Address Redacted                      First Class Mail
efb588b3‐f0f5‐4f58‐9049‐04804112d845                   Address Redacted                      First Class Mail
efbdbfdd‐5fdc‐4579‐bffa‐fa872003f990                   Address Redacted                      First Class Mail
efc146e9‐494f‐4f6b‐a78e‐9da98b66d909                   Address Redacted                      First Class Mail
efc21b8b‐bbae‐407e‐9ba1‐f5ff0de0c207                   Address Redacted                      First Class Mail
efc99040‐95b3‐4b1b‐b5f1‐0d8679eed66b                   Address Redacted                      First Class Mail
efcf44e7‐14e8‐4b9c‐a550‐dda81f1bcb19                   Address Redacted                      First Class Mail
efd0cefd‐d4d6‐4ee2‐b14f‐d1e5a940e137                   Address Redacted                      First Class Mail
efd26273‐4c3a‐407d‐a341‐54704803db7b                   Address Redacted                      First Class Mail
efd62008‐7b4f‐4894‐861f‐bc260527b1ad                   Address Redacted                      First Class Mail
efd6241d‐6a03‐497c‐b225‐f90b2450cd82                   Address Redacted                      First Class Mail
efd84856‐28d6‐44fa‐a413‐9580e0d818c0                   Address Redacted                      First Class Mail
efd8bd1d‐30a0‐4054‐a754‐9b230d739588                   Address Redacted                      First Class Mail
efd9b22f‐445e‐476b‐b8a3‐f123ec7637d1                   Address Redacted                      First Class Mail
efdb7739‐a8ed‐46b6‐9827‐4259f13315a1                   Address Redacted                      First Class Mail
efdc232d‐6721‐437f‐8f7e‐0f32f11c1ada                   Address Redacted                      First Class Mail
efdd3852‐aa33‐438a‐98eb‐de7ee5ec7e0e                   Address Redacted                      First Class Mail
efe2bcd7‐bdc3‐46b5‐bc18‐821d095f922c                   Address Redacted                      First Class Mail
efe3c54b‐0c3e‐4138‐81ea‐da56f1470ff8                   Address Redacted                      First Class Mail
efe5c264‐b5af‐44a7‐bc44‐277fe88dc005                   Address Redacted                      First Class Mail
efe7f845‐826a‐4b8f‐a2a9‐b43f12d67835                   Address Redacted                      First Class Mail
efe8f0a6‐64f6‐4645‐90fe‐ac3349efd425                   Address Redacted                      First Class Mail
efec6adb‐a5b8‐4c2d‐93a8‐ff64ec339fa0                   Address Redacted                      First Class Mail
efecb9f9‐8d14‐439a‐ba65‐33f5c17df174                   Address Redacted                      First Class Mail
eff3ecc6‐658c‐4b83‐822a‐6a2e4c960b68                   Address Redacted                      First Class Mail
eff6a6b6‐4916‐47d8‐a38b‐62c5005caf6f                   Address Redacted                      First Class Mail
eff6f4fe‐23fc‐44cc‐af9d‐aed0c726fa7c                   Address Redacted                      First Class Mail
eff95e14‐ec40‐416d‐9b30‐8b388fc06cc2                   Address Redacted                      First Class Mail




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                              Name                                              Address                         Method of Service
effa45f9‐edf4‐4339‐b52e‐d68e8b5da7eb                   Address Redacted                      First Class Mail
f00278d6‐e523‐4fc1‐974f‐eeccc4bd503a                   Address Redacted                      First Class Mail
f00313d9‐0e47‐409e‐a5cb‐fc67232e9328                   Address Redacted                      First Class Mail
f003d914‐9ff6‐4c29‐8eae‐771b427f6aef                   Address Redacted                      First Class Mail
f0058c64‐f744‐489f‐a38e‐a9bcd422b40c                   Address Redacted                      First Class Mail
f008e586‐dfb0‐4cf3‐8770‐5cd5f60fdf17                   Address Redacted                      First Class Mail
f0090f51‐a603‐4559‐a2c8‐6374f6d7b00f                   Address Redacted                      First Class Mail
f0097b3c‐0700‐4d19‐8432‐3ae29965c16e                   Address Redacted                      First Class Mail
f00bedc8‐1b81‐47e3‐9b4a‐028c534a00c6                   Address Redacted                      First Class Mail
f00c0a45‐4b22‐42db‐8259‐dfb733040512                   Address Redacted                      First Class Mail
f00d1f0f‐3510‐4402‐b12e‐bea73cc2883f                   Address Redacted                      First Class Mail
f00df500‐989c‐4611‐87a8‐04a803f95323                   Address Redacted                      First Class Mail
f00f453d‐4363‐4666‐a5a0‐75099979f49c                   Address Redacted                      First Class Mail
f010b7cf‐2350‐437a‐a3f1‐dc6460c39ade                   Address Redacted                      First Class Mail
f0137eaf‐b0f8‐4311‐afd9‐d6db8a730c13                   Address Redacted                      First Class Mail
f016260b‐d9bc‐4547‐9446‐a563f758599e                   Address Redacted                      First Class Mail
f016897d‐3f3f‐4bf9‐afa3‐0c9b96973997                   Address Redacted                      First Class Mail
f016f8c5‐f46d‐4bc8‐9bd4‐5d76af88fece                   Address Redacted                      First Class Mail
f018c990‐2772‐4876‐8823‐5a60d317d3fe                   Address Redacted                      First Class Mail
f0251775‐b473‐4a3b‐987a‐5cd61049d05f                   Address Redacted                      First Class Mail
f02a56a5‐5b4f‐4a20‐8839‐7a7cfb51e434                   Address Redacted                      First Class Mail
f02c2936‐916d‐4196‐a113‐bf8f1a5d77ae                   Address Redacted                      First Class Mail
f02d0f4a‐5e1a‐4f63‐99b7‐fb89c1cebaac                   Address Redacted                      First Class Mail
f0307ec0‐7b82‐4e9d‐a27d‐6d9728c788bd                   Address Redacted                      First Class Mail
f0315b24‐d9fd‐4361‐88f4‐eb044cab2559                   Address Redacted                      First Class Mail
f0316d76‐ee0d‐4b1f‐a3a7‐e10afebe8338                   Address Redacted                      First Class Mail
f0437369‐ee3b‐4778‐bca1‐1bc2bd0b93d2                   Address Redacted                      First Class Mail
f045377a‐7979‐4177‐9581‐426653d482c4                   Address Redacted                      First Class Mail
f0459b8b‐3192‐4b0e‐818e‐f8b3e97e07f5                   Address Redacted                      First Class Mail
f045a06d‐5c21‐4b0c‐b003‐88853c9b64f2                   Address Redacted                      First Class Mail
f04a55cf‐7fcc‐472c‐b252‐0c454295faa9                   Address Redacted                      First Class Mail
f04b61ca‐90bc‐490b‐a274‐932543f3d380                   Address Redacted                      First Class Mail
f04c978d‐b5d0‐4fe6‐bf82‐875ada959592                   Address Redacted                      First Class Mail
f04c9c34‐c47b‐4571‐9926‐ccd5fbb01944                   Address Redacted                      First Class Mail
f04dc5b3‐9427‐4764‐b385‐56de3cef1022                   Address Redacted                      First Class Mail
f04e3d0b‐93df‐4d2f‐92e4‐a38ab108b7b1                   Address Redacted                      First Class Mail
f04fb81d‐f61c‐4e09‐9dea‐4632327391db                   Address Redacted                      First Class Mail
f05265ce‐767e‐4da0‐aa15‐3fdb0280bb35                   Address Redacted                      First Class Mail
f052debf‐997a‐4558‐be62‐c8a59515b158                   Address Redacted                      First Class Mail
f0567604‐6005‐4937‐b970‐221c077c697f                   Address Redacted                      First Class Mail
f056e240‐d397‐4ea0‐82e6‐626d77fa3c29                   Address Redacted                      First Class Mail
f05a9599‐4809‐452d‐a3d5‐8b94ad93e649                   Address Redacted                      First Class Mail
f05e95f0‐80ad‐4911‐84c4‐659c29788ab0                   Address Redacted                      First Class Mail
f060519b‐b985‐4d4b‐b896‐4eff65bac108                   Address Redacted                      First Class Mail
f0631546‐e45e‐47c5‐972b‐af1d724ab3d4                   Address Redacted                      First Class Mail
f065b6a3‐6072‐448c‐8c92‐f6f25a2ece88                   Address Redacted                      First Class Mail
f065e65a‐3aba‐4a2b‐8218‐f8951b6f0734                   Address Redacted                      First Class Mail
f06abba3‐86e7‐40ad‐a138‐a766adb483ee                   Address Redacted                      First Class Mail
f06c426b‐7bf5‐42d5‐ad06‐86f314d3e015                   Address Redacted                      First Class Mail
f06d9380‐1bc6‐4940‐8f55‐50b835b338e3                   Address Redacted                      First Class Mail
f079b002‐5d19‐40d1‐94d6‐afe3e9258c62                   Address Redacted                      First Class Mail
f08455f4‐bc1e‐4440‐a674‐d89d91de6708                   Address Redacted                      First Class Mail
f0847e45‐e072‐404d‐bb49‐1e2bcd2bd575                   Address Redacted                      First Class Mail
f08d5715‐9bf9‐482b‐a9c4‐c19dd809a203                   Address Redacted                      First Class Mail
f08e4360‐9951‐40ce‐9ffa‐1d60ae0c53e8                   Address Redacted                      First Class Mail
f09a9ea5‐dd68‐4259‐9ade‐1e6f68196153                   Address Redacted                      First Class Mail
f09b08a1‐a957‐40ac‐a50e‐9751b93867f6                   Address Redacted                      First Class Mail
f0a110a8‐c7ca‐47bb‐8d3d‐82c6a06fcf56                   Address Redacted                      First Class Mail
f0a12ada‐9244‐4b15‐8a46‐5471bfecf82c                   Address Redacted                      First Class Mail
f0aa9b11‐4681‐4d9d‐bffe‐bd9c527175b7                   Address Redacted                      First Class Mail
f0accb75‐ba83‐45b5‐bcd6‐e98eadad8caf                   Address Redacted                      First Class Mail
f0ad630a‐4fbc‐41c7‐9c65‐ec03da60c844                   Address Redacted                      First Class Mail
f0ad890d‐3950‐4e2f‐90c7‐6196ed6576ac                   Address Redacted                      First Class Mail
f0b1d508‐c740‐41bc‐a296‐52ea1298c75c                   Address Redacted                      First Class Mail
f0b4ec02‐d8c0‐46e5‐9081‐c2ff562dbeb5                   Address Redacted                      First Class Mail
f0b82089‐312a‐4710‐a73f‐2e2ccd8763ad                   Address Redacted                      First Class Mail
f0bb58d4‐a07d‐4103‐9959‐d30b1bb374ce                   Address Redacted                      First Class Mail
f0bb66f0‐0fa9‐440e‐9df6‐7b2dcf66c2e6                   Address Redacted                      First Class Mail
f0bbafda‐0f66‐4f92‐be61‐1e4fdb732bb7                   Address Redacted                      First Class Mail
f0bbbd28‐7390‐4b75‐a97c‐af77320cf7fa                   Address Redacted                      First Class Mail
f0c05fb0‐f26a‐4a53‐bd06‐2c2669e07e0d                   Address Redacted                      First Class Mail
f0c13dcb‐52c4‐4c90‐813e‐ad763d60e3ca                   Address Redacted                      First Class Mail




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                               Name                                             Address                         Method of Service
f0c55f66‐e9a2‐43ee‐8982‐543a7f9aef3d                   Address Redacted                      First Class Mail
f0c838c8‐3828‐4f30‐b5c2‐e62273a7eaf4                   Address Redacted                      First Class Mail
f0c84a57‐8b35‐418a‐8556‐3d84f7295281                   Address Redacted                      First Class Mail
f0cc0f08‐6ec2‐4274‐b310‐1513bbb4dc09                   Address Redacted                      First Class Mail
f0cc74bf‐7a1e‐4921‐b812‐44111c48315a                   Address Redacted                      First Class Mail
f0cf45f7‐1524‐4c27‐9200‐c0ec4dbae8cd                   Address Redacted                      First Class Mail
f0d39f42‐f713‐4dc2‐8f4f‐e9b1f763dc5f                   Address Redacted                      First Class Mail
f0d3f883‐4314‐42d5‐8d2a‐f85f8b741847                   Address Redacted                      First Class Mail
f0d54203‐31b7‐4f17‐bd01‐59c5ce6fa999                   Address Redacted                      First Class Mail
f0d67789‐aa78‐4039‐b5e1‐d60d5040326b                   Address Redacted                      First Class Mail
f0d69e5a‐b827‐49b9‐824c‐fff3114a12c5                   Address Redacted                      First Class Mail
f0d91b13‐0d43‐4bcf‐98f3‐5db4cf211d92                   Address Redacted                      First Class Mail
f0d982e7‐43de‐46bb‐9d29‐eea174ebde19                   Address Redacted                      First Class Mail
f0e0a3e3‐cc00‐46fe‐807f‐2b269ca56598                   Address Redacted                      First Class Mail
f0e60514‐7198‐466f‐9986‐7e91017a7c3a                   Address Redacted                      First Class Mail
f0e8caab‐d1a2‐4d49‐a1cc‐c3584e7486b3                   Address Redacted                      First Class Mail
f0ea1300‐26a2‐49ea‐b082‐18e9dfc4368d                   Address Redacted                      First Class Mail
f0eac7e3‐14f6‐4fd3‐9170‐933db6e4e95f                   Address Redacted                      First Class Mail
f0f367c8‐a8b2‐4e59‐94fb‐72032e7340e6                   Address Redacted                      First Class Mail
f0f5de68‐c175‐4cfe‐babf‐5aaa79bdc213                   Address Redacted                      First Class Mail
f0f6969e‐20ac‐427e‐9fb9‐6999f9887c75                   Address Redacted                      First Class Mail
f0fa87c1‐72de‐454a‐997d‐8a1b05b6cec0                   Address Redacted                      First Class Mail
f0fd696e‐8d02‐471e‐91a5‐1ba6ea924abc                   Address Redacted                      First Class Mail
f0fe16d4‐b7b2‐4547‐906a‐e68eb8f462a7                   Address Redacted                      First Class Mail
f0ffc30b‐a757‐40c5‐b709‐b168f2a6b891                   Address Redacted                      First Class Mail
f100f4e8‐cbab‐4467‐8262‐87683d1f3baf                   Address Redacted                      First Class Mail
f101c1b2‐e107‐40dd‐8a66‐39a9c62e6937                   Address Redacted                      First Class Mail
f1025439‐4a16‐452c‐a609‐8183557cfe54                   Address Redacted                      First Class Mail
f102646e‐faa2‐4063‐852c‐51638c332168                   Address Redacted                      First Class Mail
f1058150‐7046‐4fc2‐ba96‐14840697683d                   Address Redacted                      First Class Mail
f105adf5‐dae2‐43bd‐98c1‐8f0467c40c8d                   Address Redacted                      First Class Mail
f1068d0a‐7761‐4665‐b71e‐39bf1f3c9981                   Address Redacted                      First Class Mail
f107feeb‐d4bf‐4c2d‐af77‐dd1ecda7e1c3                   Address Redacted                      First Class Mail
f10a3592‐35ad‐4445‐9e67‐ad298ea2d786                   Address Redacted                      First Class Mail
f10aad10‐9605‐43e1‐9861‐9f7f1d77c619                   Address Redacted                      First Class Mail
f10b86e3‐466b‐4562‐afec‐612728aefc61                   Address Redacted                      First Class Mail
f10e4b63‐29c0‐4a00‐80c3‐ee3306919939                   Address Redacted                      First Class Mail
f11421ec‐83e8‐479f‐b639‐4c36665155cb                   Address Redacted                      First Class Mail
f1146dcd‐1479‐4e64‐9d44‐50904b06f0f4                   Address Redacted                      First Class Mail
f115df29‐d394‐4c91‐a027‐045761f772a5                   Address Redacted                      First Class Mail
f116c91b‐176b‐463f‐9670‐e6622ad97e78                   Address Redacted                      First Class Mail
f11b2af8‐6191‐4500‐acd0‐8c4192e937e5                   Address Redacted                      First Class Mail
f1219d80‐91d7‐49fa‐9ab8‐dfbebe3d9993                   Address Redacted                      First Class Mail
f1274f6f‐42ba‐42b1‐acff‐3294247a6504                   Address Redacted                      First Class Mail
f12b0a42‐a83d‐4b55‐be03‐4953bd759d77                   Address Redacted                      First Class Mail
f1303d2a‐49cf‐4776‐a5b6‐0c560bdae3fb                   Address Redacted                      First Class Mail
f1332c22‐a92d‐42dc‐8b86‐855b03554090                   Address Redacted                      First Class Mail
f1338d94‐8918‐4db3‐8dc8‐619e9e26ff70                   Address Redacted                      First Class Mail
f1367b4c‐d7b0‐4c78‐be90‐d8420da44c66                   Address Redacted                      First Class Mail
f13988a9‐b697‐4fa5‐b900‐534ef4548883                   Address Redacted                      First Class Mail
f13990a6‐1531‐45b6‐b909‐7295868ae546                   Address Redacted                      First Class Mail
f13a5ec8‐a13e‐4bcb‐9d30‐53970e96a0cd                   Address Redacted                      First Class Mail
f13dcd93‐31c8‐4399‐96d3‐a9fc6a63eda0                   Address Redacted                      First Class Mail
f14157a0‐4b2c‐4945‐8954‐e1cb8be0636c                   Address Redacted                      First Class Mail
f1424349‐dda8‐4d07‐9247‐80b4bb0a8a21                   Address Redacted                      First Class Mail
f142a683‐5be7‐4fb1‐a0ef‐915c69a94671                   Address Redacted                      First Class Mail
f146af1a‐55d3‐4975‐bb8f‐bb07e38d5960                   Address Redacted                      First Class Mail
f1472027‐5575‐4541‐847f‐21b75dd3c796                   Address Redacted                      First Class Mail
f147bd57‐bb27‐48ca‐a5ae‐af995a2cd991                   Address Redacted                      First Class Mail
f14834b1‐f31e‐4a25‐8e3f‐a3684fa24923                   Address Redacted                      First Class Mail
f14b9377‐910f‐4918‐9845‐8b93053df855                   Address Redacted                      First Class Mail
f14cb42d‐3657‐4b95‐bd96‐326218e421e9                   Address Redacted                      First Class Mail
f14d8108‐7675‐4a90‐bd62‐be422bdfa75a                   Address Redacted                      First Class Mail
f151541f‐8195‐4bf4‐ab10‐7d8044f297b8                   Address Redacted                      First Class Mail
f1554dd5‐91d4‐4837‐89ec‐e84579db3ced                   Address Redacted                      First Class Mail
f15568e8‐ae27‐4a6c‐8c1d‐bdac8c1f80c9                   Address Redacted                      First Class Mail
f158b83e‐d9dd‐484a‐bcb5‐68b06a0c4658                   Address Redacted                      First Class Mail
f15da1a4‐3198‐4b4d‐a138‐7aeb1e057a21                   Address Redacted                      First Class Mail
f15de37f‐0918‐4b64‐bc1a‐d37b3db9d9d8                   Address Redacted                      First Class Mail
f16169fe‐383a‐4bb9‐8f1e‐5198d5a9b38e                   Address Redacted                      First Class Mail
f168cbab‐6353‐42a5‐82ab‐3009ef28ebdb                   Address Redacted                      First Class Mail
f169ea63‐0e45‐4f72‐8877‐fa7ad75bec4e                   Address Redacted                      First Class Mail




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                                                                 Service List


                              Name                                              Address                         Method of Service
f16a51a1‐75e7‐441b‐821e‐e5b63fff5f9f                   Address Redacted                      First Class Mail
f16c42dc‐5497‐4a86‐bed4‐ea05a1e08305                   Address Redacted                      First Class Mail
f16de23a‐647c‐4685‐a62d‐5bbdff435e5f                   Address Redacted                      First Class Mail
f16ebcbf‐3522‐4a02‐a418‐74787fa9ed3e                   Address Redacted                      First Class Mail
f16f49c0‐205e‐4611‐b520‐f757cc7d05c9                   Address Redacted                      First Class Mail
f1702e49‐513c‐4a65‐b96b‐25f03da03dd8                   Address Redacted                      First Class Mail
f170d415‐4d80‐4bda‐8a2d‐7db716721f7b                   Address Redacted                      First Class Mail
f17624fa‐0282‐45a7‐8f81‐9e039bbbfd72                   Address Redacted                      First Class Mail
f178d091‐b449‐41b4‐847c‐23486077c69f                   Address Redacted                      First Class Mail
f17a15a9‐2af8‐46e3‐bc41‐019f0b0bc5e0                   Address Redacted                      First Class Mail
f17a2141‐69b6‐4677‐9b80‐1f7a38d8e456                   Address Redacted                      First Class Mail
f17b8ada‐68a8‐4dc3‐bbf7‐68ef9d9a9df6                   Address Redacted                      First Class Mail
f17e7d5b‐ec5d‐44a1‐a8d5‐161ad979510f                   Address Redacted                      First Class Mail
f1818933‐e6aa‐445a‐b03e‐2953c29a5b7e                   Address Redacted                      First Class Mail
f18ab934‐6688‐4056‐bbeb‐ac2f649b5eca                   Address Redacted                      First Class Mail
f18b392e‐2090‐4b96‐ab48‐f76d0301e151                   Address Redacted                      First Class Mail
f18d6a4e‐2ae4‐4186‐aa91‐9b5af5ae07ba                   Address Redacted                      First Class Mail
f18e2284‐1404‐4f12‐9df1‐809c4cd02bfe                   Address Redacted                      First Class Mail
f18fdaf3‐3b6a‐447e‐b849‐bec5e9f789b1                   Address Redacted                      First Class Mail
f190189a‐6ae3‐4eb4‐9060‐9fd4f4e0b8e0                   Address Redacted                      First Class Mail
f195bec0‐52f0‐4af7‐b055‐fce193f9f729                   Address Redacted                      First Class Mail
f19881ce‐8cdd‐4a5c‐b1bc‐c7043b4e09de                   Address Redacted                      First Class Mail
f19b2b8e‐c241‐4b48‐97c1‐f787e2c8f10e                   Address Redacted                      First Class Mail
f19c4ad8‐d727‐4b6e‐9d1f‐e60629688bbc                   Address Redacted                      First Class Mail
f19dd2b0‐9dab‐40fc‐a283‐e90a80d1d224                   Address Redacted                      First Class Mail
f1a5bf02‐f626‐4b02‐8076‐2ca4a0d7df6c                   Address Redacted                      First Class Mail
f1a7006a‐02ba‐4180‐a6e2‐33530ea4209f                   Address Redacted                      First Class Mail
f1a8495c‐af9e‐4637‐8b51‐13340ba75c7c                   Address Redacted                      First Class Mail
f1aea77d‐f36a‐4a69‐bc2c‐5bd2f20291f5                   Address Redacted                      First Class Mail
f1bb3971‐af6c‐4282‐bc1d‐ab6266e69563                   Address Redacted                      First Class Mail
f1bd4340‐c5ae‐439a‐956f‐34090889d8f6                   Address Redacted                      First Class Mail
f1c55374‐5c1a‐4b06‐b1a3‐aa463fbea70a                   Address Redacted                      First Class Mail
f1c7953b‐9819‐4213‐b57f‐4319ac765f37                   Address Redacted                      First Class Mail
f1c7def5‐f444‐4dd9‐8e3a‐1bd058f448a6                   Address Redacted                      First Class Mail
f1c80fd8‐dd38‐4a20‐a43d‐7e357a7f7e54                   Address Redacted                      First Class Mail
f1c8bd00‐6c97‐40b5‐a921‐6e692dc8afec                   Address Redacted                      First Class Mail
f1caa10b‐a0d6‐44ff‐a95c‐f4ea9b435a08                   Address Redacted                      First Class Mail
f1cd00dc‐d1b7‐46de‐b4a9‐7e7843e1cf0c                   Address Redacted                      First Class Mail
f1cf2297‐dc09‐405e‐b1f4‐a4917cc02a9d                   Address Redacted                      First Class Mail
f1d3a026‐0e58‐4161‐9dc9‐26c04d550477                   Address Redacted                      First Class Mail
f1d479fe‐50a6‐4da9‐82f4‐69cb95da5ca7                   Address Redacted                      First Class Mail
f1dae960‐20be‐4e5e‐b10f‐5cfe980e933e                   Address Redacted                      First Class Mail
f1db5e3e‐cc1c‐4377‐a6e5‐a1b6ebfaea8c                   Address Redacted                      First Class Mail
f1dc65ad‐4eb3‐4e4a‐9644‐532049047014                   Address Redacted                      First Class Mail
f1dda33e‐7081‐4157‐a30b‐a904f74fab07                   Address Redacted                      First Class Mail
f1de2741‐4e26‐459a‐9349‐7087dfadd5ad                   Address Redacted                      First Class Mail
f1e279b4‐43ce‐4095‐a880‐8a293b30e2da                   Address Redacted                      First Class Mail
f1e2e5aa‐5cd1‐44fc‐8e97‐1496be5c0d3b                   Address Redacted                      First Class Mail
f1e51ba8‐d6c6‐49d5‐a276‐491fe229b778                   Address Redacted                      First Class Mail
f1ece84e‐fef1‐4e2d‐979b‐b4a9f57294e8                   Address Redacted                      First Class Mail
f1edae33‐9c0b‐44f8‐ac33‐4bf51cdc1401                   Address Redacted                      First Class Mail
f1eecb43‐10b8‐4dc2‐97c9‐91753f1909a7                   Address Redacted                      First Class Mail
f1f4b335‐0cc7‐4046‐82a7‐f48f42b0805b                   Address Redacted                      First Class Mail
f1f68172‐12e8‐4452‐a9f2‐be728659cc23                   Address Redacted                      First Class Mail
f1f74f2a‐7258‐4913‐a510‐391a55183817                   Address Redacted                      First Class Mail
f1f7e4e5‐8918‐4627‐af7c‐a0399e211b65                   Address Redacted                      First Class Mail
f1f8370d‐d601‐40b7‐bc5c‐ccbc71756360                   Address Redacted                      First Class Mail
f1fb0865‐4a26‐4a60‐affb‐0b750000ed9a                   Address Redacted                      First Class Mail
f1fba721‐4db5‐4965‐ba24‐846057cf573d                   Address Redacted                      First Class Mail
f1fe1d62‐292f‐49f0‐a3cc‐db5aa366930d                   Address Redacted                      First Class Mail
f200f443‐87cd‐4da0‐9db9‐61c2d9ec4a33                   Address Redacted                      First Class Mail
f208304e‐1868‐4798‐b6cc‐7970ac9ac942                   Address Redacted                      First Class Mail
f20992fd‐0db1‐4f1a‐af2f‐8b80f7a3136a                   Address Redacted                      First Class Mail
f209fca3‐7eb8‐4cfe‐8150‐3f565b230c44                   Address Redacted                      First Class Mail
f20b8ddc‐996e‐4804‐bd61‐7abe324914d2                   Address Redacted                      First Class Mail
f20bb4b0‐18dd‐40a5‐8ace‐e8301c530879                   Address Redacted                      First Class Mail
f2117ca2‐5da9‐4f2e‐b256‐e653dbf340bd                   Address Redacted                      First Class Mail
f212d91c‐5daa‐4056‐ad7c‐8d96209fac22                   Address Redacted                      First Class Mail
f213da9c‐2fbf‐4fb6‐933e‐d0439ef97f6e                   Address Redacted                      First Class Mail
f216743b‐c610‐4be4‐8e5e‐ea6d79c65e43                   Address Redacted                      First Class Mail
f217b23d‐c9cb‐42b7‐8e8a‐1d8fbdf256f6                   Address Redacted                      First Class Mail
f2192c2c‐ccac‐4930‐8a57‐9f7f0d8d133a                   Address Redacted                      First Class Mail




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                                                                 Service List


                               Name                                             Address                         Method of Service
f2193b3d‐54ed‐40c1‐943d‐2da2d8244b7a                   Address Redacted                      First Class Mail
f21a7035‐a5ec‐4e9a‐a9eb‐d1778ffccd50                   Address Redacted                      First Class Mail
f21cd9b5‐54af‐41f6‐9a95‐41ce58ad87c3                   Address Redacted                      First Class Mail
f2200cfc‐93be‐4611‐b0bf‐603e14d1eba6                   Address Redacted                      First Class Mail
f2218776‐1a8e‐4945‐bc21‐56b8457dd748                   Address Redacted                      First Class Mail
f221fe13‐acb4‐44a1‐894e‐5eb3c1386ff1                   Address Redacted                      First Class Mail
f2256dae‐081e‐4487‐8a56‐85f386c30871                   Address Redacted                      First Class Mail
f22b8dc4‐3ede‐4ada‐a5e9‐c2b9f969b27e                   Address Redacted                      First Class Mail
f22bf8a8‐d2f3‐4eee‐b08c‐2ae77dc44fce                   Address Redacted                      First Class Mail
f22f6c1e‐75d3‐496f‐bac0‐de57c87341da                   Address Redacted                      First Class Mail
f233154d‐7a0d‐4f94‐a3e7‐2a5abde20dd2                   Address Redacted                      First Class Mail
f2386fd5‐75f6‐4ef2‐9ca7‐2920e352bf66                   Address Redacted                      First Class Mail
f23981a9‐327a‐4815‐8f4d‐f1018ea9c902                   Address Redacted                      First Class Mail
f240bf72‐424f‐401e‐8b97‐26f0e8811ef1                   Address Redacted                      First Class Mail
f240e3aa‐68f0‐4f15‐b0fe‐2ae8a2bed63d                   Address Redacted                      First Class Mail
f240ea96‐cbfd‐46fb‐8f64‐dc5b2158ceb8                   Address Redacted                      First Class Mail
f241eeef‐c876‐4ef0‐b451‐dd85bbd8c42b                   Address Redacted                      First Class Mail
f2433a34‐3fec‐4943‐bac7‐f8cea7749bbf                   Address Redacted                      First Class Mail
f24434f0‐ef8d‐4060‐9d7f‐096b1ce9491f                   Address Redacted                      First Class Mail
f245ef23‐315e‐4bad‐8094‐9d8d6c7869cc                   Address Redacted                      First Class Mail
f24616a2‐3a93‐48fc‐9157‐82e2a49e5b35                   Address Redacted                      First Class Mail
f246f9e4‐a876‐4fa6‐9557‐b0e21814242c                   Address Redacted                      First Class Mail
f2483f2e‐69a3‐45a5‐84ad‐23c00fcf5fff                   Address Redacted                      First Class Mail
f24b4134‐38ce‐47cf‐84e7‐78b4081120c2                   Address Redacted                      First Class Mail
f24da4ae‐18ae‐4738‐a4b1‐a943ecfc2e12                   Address Redacted                      First Class Mail
f25179e0‐dfa8‐4d28‐a425‐d520dc1ed0d0                   Address Redacted                      First Class Mail
f25424a9‐8765‐4da7‐ae3d‐2185fb56c68c                   Address Redacted                      First Class Mail
f2545c8d‐8148‐4e5f‐b880‐99f76b685b1f                   Address Redacted                      First Class Mail
f2589239‐d769‐4cd6‐9fb5‐096846ce058a                   Address Redacted                      First Class Mail
f25bc2f2‐e2b6‐4c25‐9461‐45d8147574aa                   Address Redacted                      First Class Mail
f25c59f0‐8e69‐4c6a‐a215‐e6be4ab9d9d6                   Address Redacted                      First Class Mail
f25cb22b‐3b87‐4b8b‐8e4c‐23172637e6c9                   Address Redacted                      First Class Mail
f25e1ed3‐3966‐4254‐b0a1‐23d7b6fa13ba                   Address Redacted                      First Class Mail
f25f9437‐1cf1‐4ea0‐a9ac‐b67bcde1e6f7                   Address Redacted                      First Class Mail
f25fbe2a‐810b‐4938‐849e‐451b5cc3f4ad                   Address Redacted                      First Class Mail
f268cbdd‐a70e‐4b58‐8777‐23033facbb13                   Address Redacted                      First Class Mail
f26b3717‐ee70‐43eb‐bc83‐c751c78882da                   Address Redacted                      First Class Mail
f276a932‐3182‐4bbe‐9d08‐78cb54bd769c                   Address Redacted                      First Class Mail
f27e502a‐ac25‐40c9‐af2e‐c95a10709810                   Address Redacted                      First Class Mail
f27e96b1‐60a6‐46ec‐b951‐c217779db6e1                   Address Redacted                      First Class Mail
f27f3e43‐d948‐47e7‐b413‐878310f625fd                   Address Redacted                      First Class Mail
f2833eeb‐c67d‐4678‐a70b‐7452c942cdb9                   Address Redacted                      First Class Mail
f28a04b4‐ffa5‐45d5‐b100‐73ecce52ca6c                   Address Redacted                      First Class Mail
f28aa04d‐e37a‐43fc‐9d27‐5610a0f25ee0                   Address Redacted                      First Class Mail
f2920e2c‐6ce3‐450a‐bb02‐92e8c1b6914a                   Address Redacted                      First Class Mail
f292671a‐de56‐4818‐98f8‐109aa14889be                   Address Redacted                      First Class Mail
f295e985‐4f2f‐4b42‐bcff‐da8fcc9d70a3                   Address Redacted                      First Class Mail
f296a7ee‐4846‐46b2‐81ab‐e25550487671                   Address Redacted                      First Class Mail
f2984b6e‐403d‐42ce‐a0a3‐20c7f0fd3cc2                   Address Redacted                      First Class Mail
f2988882‐383b‐4d56‐8698‐6a55db863ac1                   Address Redacted                      First Class Mail
f29a1823‐e81e‐4f48‐94d4‐cbfb3824b7cb                   Address Redacted                      First Class Mail
f29a4092‐629f‐4837‐9a90‐899c645eac47                   Address Redacted                      First Class Mail
f29a9fd3‐98a5‐46c1‐9672‐f6df3e06f2fe                   Address Redacted                      First Class Mail
f29df762‐c2f7‐424b‐aaac‐2ae1a8d54862                   Address Redacted                      First Class Mail
f29f10b8‐d12c‐4c82‐9952‐f0fde4ef669b                   Address Redacted                      First Class Mail
f29f7595‐c871‐4db2‐a30d‐e1d44dbcd9be                   Address Redacted                      First Class Mail
f2a236a8‐fd87‐4c7a‐9249‐4e18406c07b1                   Address Redacted                      First Class Mail
f2a5b311‐e9cf‐45f2‐87ad‐468c5c870439                   Address Redacted                      First Class Mail
f2a65ee5‐b671‐43ad‐a639‐9eef5d881dbc                   Address Redacted                      First Class Mail
f2a8aa32‐2127‐4361‐80ad‐7db632eb48d9                   Address Redacted                      First Class Mail
f2ac1d15‐2ed1‐4bd4‐b923‐c3f6a51fd5f7                   Address Redacted                      First Class Mail
f2addd1e‐0110‐4238‐a2ab‐4a0b892e896e                   Address Redacted                      First Class Mail
f2af1f4d‐49bb‐4aa3‐a336‐7f130d93da61                   Address Redacted                      First Class Mail
f2b22cb0‐a550‐48c5‐9c6c‐18cdb1430eac                   Address Redacted                      First Class Mail
f2b32128‐c89f‐48c0‐8ab8‐e7bd72ba7b00                   Address Redacted                      First Class Mail
f2b60a0e‐1f19‐452f‐9d28‐be60c01c703f                   Address Redacted                      First Class Mail
f2b85ad2‐51aa‐47f9‐9619‐229cb55e534a                   Address Redacted                      First Class Mail
f2bc0e89‐1ac2‐4dcc‐9c38‐3b7787273c94                   Address Redacted                      First Class Mail
f2be6ede‐d637‐4cdf‐8848‐65662a632ef0                   Address Redacted                      First Class Mail
f2bf3855‐3406‐431c‐815d‐8ae2e58c3ae4                   Address Redacted                      First Class Mail
f2c28150‐abbf‐4cf7‐bc09‐63332199bb75                   Address Redacted                      First Class Mail
f2c40475‐7623‐4cea‐9935‐1b8e5a2d7256                   Address Redacted                      First Class Mail




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                                                                 Service List


                               Name                                             Address                         Method of Service
f2c536d3‐67f8‐483f‐ac99‐93b774ce1b43                   Address Redacted                      First Class Mail
f2c5f5fd‐73d0‐42ae‐9986‐900db9c5ed09                   Address Redacted                      First Class Mail
f2cab319‐2ec1‐47bf‐8294‐aff6eafb1529                   Address Redacted                      First Class Mail
f2cc2189‐76c8‐4759‐b869‐c00028f19bd1                   Address Redacted                      First Class Mail
f2cea007‐02c5‐4175‐bb29‐58bcd3cceea7                   Address Redacted                      First Class Mail
f2ceee24‐e88f‐4a07‐8bb0‐210f14c279c7                   Address Redacted                      First Class Mail
f2d0e3ce‐e5d2‐4efc‐ab95‐cd52dd0147e8                   Address Redacted                      First Class Mail
f2d20258‐4c30‐495a‐8620‐53d79d1dc875                   Address Redacted                      First Class Mail
f2d26114‐7f8a‐4601‐88b0‐5f6fb965dab7                   Address Redacted                      First Class Mail
f2d6e200‐8d66‐4366‐b778‐6f10ace806dd                   Address Redacted                      First Class Mail
f2d8b00b‐c390‐4203‐8a31‐1ba428fd8cae                   Address Redacted                      First Class Mail
f2e28cba‐79b4‐4c1c‐b616‐b524b5147e9f                   Address Redacted                      First Class Mail
f2e530aa‐eab6‐42cd‐816e‐3d2dc8417b3e                   Address Redacted                      First Class Mail
f2e7bf92‐bee2‐4479‐8d49‐3762b04b7ab8                   Address Redacted                      First Class Mail
f2f3941d‐e2c1‐4b41‐8560‐19df33a31d30                   Address Redacted                      First Class Mail
f2f3c79e‐0b32‐472a‐bca2‐f128ca310844                   Address Redacted                      First Class Mail
f2f45450‐7e53‐4e83‐831e‐652dd96d5d00                   Address Redacted                      First Class Mail
f2f4546a‐639d‐4835‐a286‐9f62906a9b51                   Address Redacted                      First Class Mail
f2f84617‐b1c2‐4f34‐be63‐17f908206de6                   Address Redacted                      First Class Mail
f2fe5e59‐062a‐4ff5‐a70b‐a13e5c7b1d17                   Address Redacted                      First Class Mail
f2feaafe‐53ea‐4004‐bb27‐abd2c4b2f3f8                   Address Redacted                      First Class Mail
f300eee1‐d04c‐4953‐81b7‐0c0768f87f2b                   Address Redacted                      First Class Mail
f302fac8‐6238‐4c0b‐865a‐27f7b38b154f                   Address Redacted                      First Class Mail
f3050a48‐c768‐45de‐94fc‐38b8cd989b56                   Address Redacted                      First Class Mail
f30b1884‐7c11‐4024‐a780‐3230adfff1cc                   Address Redacted                      First Class Mail
f30b4f8b‐06c5‐4af4‐8c71‐9f7881d4b43b                   Address Redacted                      First Class Mail
f30bda35‐dc52‐4be0‐9791‐311b57748129                   Address Redacted                      First Class Mail
f30c7d87‐c89e‐4f6c‐bac3‐cece7940daa3                   Address Redacted                      First Class Mail
f30d1828‐7dbe‐46e5‐83b8‐657db5fc4618                   Address Redacted                      First Class Mail
f30daaed‐df42‐4e88‐9d1f‐7ac8b30c2cc3                   Address Redacted                      First Class Mail
f30fe010‐4b29‐4429‐ba37‐642b4acd0396                   Address Redacted                      First Class Mail
f3103d7e‐9714‐4c9c‐bade‐f5c2ab2b4e32                   Address Redacted                      First Class Mail
f3167d41‐1ffe‐4076‐b44a‐4e80a76b58c7                   Address Redacted                      First Class Mail
f317461a‐e379‐48f0‐88f8‐7938f4403cd8                   Address Redacted                      First Class Mail
f3191fd0‐4f16‐4c39‐8a38‐97e3a39df289                   Address Redacted                      First Class Mail
f31c94c0‐394f‐45a7‐9d57‐73963d4fcb7f                   Address Redacted                      First Class Mail
f3200ab2‐e35d‐472b‐a048‐dfd6ab462144                   Address Redacted                      First Class Mail
f32522b0‐84d3‐4ff8‐9ecc‐f9d1390efe8a                   Address Redacted                      First Class Mail
f32724f3‐92ff‐43fc‐b87c‐f6f43cacc07a                   Address Redacted                      First Class Mail
f32765f6‐6ef6‐4afc‐9861‐e7e9ce7ee4b4                   Address Redacted                      First Class Mail
f32955b5‐9f8a‐41b1‐9bd8‐87d08e1b4715                   Address Redacted                      First Class Mail
f32b3ed6‐6a6c‐46e7‐ac3b‐b15e23dfe22d                   Address Redacted                      First Class Mail
f32c1cb6‐2297‐43bc‐9646‐2fd8e2b8ad09                   Address Redacted                      First Class Mail
f32d2cde‐0dcb‐47bd‐95be‐4535e8890664                   Address Redacted                      First Class Mail
f32f6f95‐88e7‐4337‐a42a‐d05dd59386c0                   Address Redacted                      First Class Mail
f330761a‐81e9‐4f69‐a65c‐0bcc73d11733                   Address Redacted                      First Class Mail
f3337e24‐0d90‐480f‐b0ae‐d5b6b9edf5d4                   Address Redacted                      First Class Mail
f335d800‐50ba‐4be6‐b8e6‐9e1d4150f28b                   Address Redacted                      First Class Mail
f335e7bf‐0550‐4ce6‐a435‐9c89a2cc83cc                   Address Redacted                      First Class Mail
f339a7a8‐9b3d‐424d‐9c00‐5b5164fe9469                   Address Redacted                      First Class Mail
f33ce6ca‐c14d‐4b6c‐82fc‐03663c0910c0                   Address Redacted                      First Class Mail
f33e0a44‐da74‐454b‐962f‐d743856560a3                   Address Redacted                      First Class Mail
f3414b3f‐c38c‐485d‐8ee7‐54734c56b473                   Address Redacted                      First Class Mail
f3463ae9‐da8a‐4500‐8140‐62e27be1993e                   Address Redacted                      First Class Mail
f348d728‐bd9b‐4871‐831d‐15213cc68efa                   Address Redacted                      First Class Mail
f34aedd9‐0181‐4400‐a508‐946a566aa9dc                   Address Redacted                      First Class Mail
f34b1a4d‐769f‐4bfd‐941e‐811bf264db7d                   Address Redacted                      First Class Mail
f34b9479‐0bc8‐490d‐970a‐a60836df2a0e                   Address Redacted                      First Class Mail
f34dd27b‐8d65‐426b‐a2ce‐c8760d0c017f                   Address Redacted                      First Class Mail
f34e7614‐28b4‐4f6c‐a8ab‐0603ab3847d8                   Address Redacted                      First Class Mail
f34f4225‐1e6e‐458e‐9193‐2057a8f1a57b                   Address Redacted                      First Class Mail
f3518621‐d264‐4a70‐b4ee‐2762b0f2b3b7                   Address Redacted                      First Class Mail
f354b343‐8ee9‐49de‐8416‐77bdf3d0bbb4                   Address Redacted                      First Class Mail
f3561ba2‐55d0‐4d52‐8227‐ba560ac6621a                   Address Redacted                      First Class Mail
f3583d0b‐acb4‐48ab‐bed7‐40ca9363e964                   Address Redacted                      First Class Mail
f358965c‐f8c6‐478c‐89ea‐22cdd048f559                   Address Redacted                      First Class Mail
f358b37d‐eaf9‐46f0‐bc5a‐b9d631716f76                   Address Redacted                      First Class Mail
f35bc9b4‐db31‐480c‐a176‐9b164d867591                   Address Redacted                      First Class Mail
f35f7831‐d316‐416b‐acf3‐18ddb6a464c6                   Address Redacted                      First Class Mail
f361847c‐fa36‐4013‐9a33‐029e7ca8702f                   Address Redacted                      First Class Mail
f366e6a4‐4ca0‐4d13‐9fe9‐71637d8b5b96                   Address Redacted                      First Class Mail
f36785d5‐c5e6‐4e94‐8ae4‐0d19c2a73805                   Address Redacted                      First Class Mail




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                                                                Exhibit A
                                                                 Service List


                               Name                                             Address                         Method of Service
f367ec74‐df83‐4045‐ae30‐9223dbc26592                   Address Redacted                      First Class Mail
f37601be‐9251‐488e‐93e5‐54948dea0135                   Address Redacted                      First Class Mail
f37a2828‐9310‐488c‐8fcb‐a1930757b47d                   Address Redacted                      First Class Mail
f37bb1d4‐fa54‐49a4‐9ed6‐5896591fa938                   Address Redacted                      First Class Mail
f37bd79b‐5333‐49eb‐ba72‐c8f6526f0a6a                   Address Redacted                      First Class Mail
f386fdaf‐365d‐45e8‐9515‐822db2c21708                   Address Redacted                      First Class Mail
f38910ee‐5019‐4612‐bd5d‐e7d86be8bbb1                   Address Redacted                      First Class Mail
f3893662‐e9d5‐4e6d‐8016‐b89d5bec9268                   Address Redacted                      First Class Mail
f38ae182‐aded‐463d‐bce9‐709d69df73ee                   Address Redacted                      First Class Mail
f38ca1a3‐73f7‐4e1c‐9685‐36c531581655                   Address Redacted                      First Class Mail
f3920267‐85ba‐4e8e‐9c62‐61bfd788f04b                   Address Redacted                      First Class Mail
f3955513‐c64e‐45dc‐b46e‐1bd37e30b7ff                   Address Redacted                      First Class Mail
f3956611‐4f1a‐4ff9‐8c51‐c73ae952d9c4                   Address Redacted                      First Class Mail
f397ea03‐0a95‐4191‐ae60‐cdfb62610a98                   Address Redacted                      First Class Mail
f39ae30d‐ec90‐494a‐9546‐5a812c14c8a9                   Address Redacted                      First Class Mail
f3a0474a‐b8a1‐4760‐9e1c‐a8f773978f43                   Address Redacted                      First Class Mail
f3a5d5c5‐2e1a‐4c82‐81ec‐fc7c062f392e                   Address Redacted                      First Class Mail
f3a6287a‐b9e8‐443f‐953a‐036f4db7817a                   Address Redacted                      First Class Mail
f3a9b29f‐fe67‐4321‐a727‐24ecc3910a16                   Address Redacted                      First Class Mail
f3b58e4f‐7e38‐4cfb‐8547‐b6e3c37a848f                   Address Redacted                      First Class Mail
f3b5cea7‐294c‐433b‐8d8b‐11934e1ecc61                   Address Redacted                      First Class Mail
f3b761fc‐350d‐41c8‐92f7‐ccf5fc35529b                   Address Redacted                      First Class Mail
f3b9ea1c‐5c3f‐462b‐bbcb‐7f1c6728d55f                   Address Redacted                      First Class Mail
f3bab756‐942b‐4586‐bf6d‐04c8a543b1c9                   Address Redacted                      First Class Mail
f3bbe125‐bde8‐46d8‐b29f‐93dd660a5c13                   Address Redacted                      First Class Mail
f3bd7a94‐fa9a‐4889‐90a7‐6c8517883be2                   Address Redacted                      First Class Mail
f3bdf668‐42f6‐45b3‐a09f‐079cef29c898                   Address Redacted                      First Class Mail
f3c09444‐2c11‐4222‐b82d‐a3368500c0bb                   Address Redacted                      First Class Mail
f3c2802b‐696a‐4279‐8b17‐5ec9fbc296c0                   Address Redacted                      First Class Mail
f3c29989‐6f32‐4c7c‐800a‐d56ef639cc2f                   Address Redacted                      First Class Mail
f3c32969‐c7b1‐4cf4‐b772‐22cbd4bc6aff                   Address Redacted                      First Class Mail
f3c4365a‐b748‐4b91‐bf61‐bc10394ca188                   Address Redacted                      First Class Mail
f3d15aab‐2efa‐46c6‐a687‐2333eb6432b1                   Address Redacted                      First Class Mail
f3d3c253‐8ca1‐4c07‐8032‐4c17a604eab9                   Address Redacted                      First Class Mail
f3d70d90‐c10c‐4f69‐a477‐24348ff2d984                   Address Redacted                      First Class Mail
f3da2852‐f98c‐40f0‐8796‐26b0779e9b94                   Address Redacted                      First Class Mail
f3df7ac3‐415e‐4d9c‐939d‐3c913aa29edd                   Address Redacted                      First Class Mail
f3e16fef‐05d2‐40fe‐b52e‐3df4f8d885ab                   Address Redacted                      First Class Mail
f3e27630‐5e66‐4105‐9282‐ff30379d0607                   Address Redacted                      First Class Mail
f3e76631‐1695‐4248‐bf84‐b6a4b1d21e8d                   Address Redacted                      First Class Mail
f3ea42d3‐8767‐4e2f‐8b1d‐7cb8fbe59519                   Address Redacted                      First Class Mail
f3f39e5f‐ffbc‐4c82‐9d91‐9b32c39741b6                   Address Redacted                      First Class Mail
f3f3b488‐3972‐44f4‐b3d0‐effef69219b5                   Address Redacted                      First Class Mail
f3f3dd35‐0690‐4591‐9894‐002d45c0dc18                   Address Redacted                      First Class Mail
f3fef342‐d4c8‐4632‐829f‐ca59af14d06f                   Address Redacted                      First Class Mail
f3ff6b1b‐d838‐48e8‐b644‐e0e97edd9bec                   Address Redacted                      First Class Mail
f4000c8d‐5e8a‐44d5‐ae4d‐c63649a5cbdf                   Address Redacted                      First Class Mail
f402429e‐de35‐4308‐9467‐1ebaccf0e74b                   Address Redacted                      First Class Mail
f406cf41‐bc76‐4751‐88b3‐529a520dd638                   Address Redacted                      First Class Mail
f4088622‐fee9‐4b9f‐bee8‐da92c742e2bf                   Address Redacted                      First Class Mail
f410c6e8‐8528‐4d83‐9558‐163413c4a42e                   Address Redacted                      First Class Mail
f4121469‐5607‐447f‐a6e1‐41fbb6e9823b                   Address Redacted                      First Class Mail
f41606fd‐31dc‐4ac0‐8891‐9561eddccb19                   Address Redacted                      First Class Mail
f4189564‐b5d0‐48db‐bd2b‐0227908cb209                   Address Redacted                      First Class Mail
f41b7e2d‐3891‐455a‐a7be‐01b287a3946f                   Address Redacted                      First Class Mail
f41c6f27‐5452‐4340‐89cb‐c4581da41437                   Address Redacted                      First Class Mail
f41dcab9‐915f‐4abf‐9f3f‐8499f9b13d34                   Address Redacted                      First Class Mail
f4256298‐3bde‐46bb‐9481‐c115e61c19c7                   Address Redacted                      First Class Mail
f42b5569‐bf52‐4b03‐ba5c‐3838f1e45d9e                   Address Redacted                      First Class Mail
f42c4008‐571c‐49b9‐bb34‐d1c35afd29bb                   Address Redacted                      First Class Mail
f431a6f0‐de18‐4fc7‐b34f‐f3b04e94897d                   Address Redacted                      First Class Mail
f431abf5‐6b5b‐48a2‐b62c‐72234276a2f7                   Address Redacted                      First Class Mail
f4383f40‐1c84‐4ccd‐b30d‐cead988c9bc9                   Address Redacted                      First Class Mail
f43f6a0d‐a694‐4be6‐b059‐dc882ed56541                   Address Redacted                      First Class Mail
f4423e8b‐2b66‐4627‐a589‐b6d9795f83e8                   Address Redacted                      First Class Mail
f4424338‐c02f‐4395‐9118‐94edc2167a78                   Address Redacted                      First Class Mail
f443179e‐1d6c‐4d57‐a743‐1ce78cf3d4ec                   Address Redacted                      First Class Mail
f44520dc‐f4a0‐4eeb‐afa4‐a665b0313b04                   Address Redacted                      First Class Mail
f44e827f‐b5e3‐4fd1‐9167‐25b8689c32ac                   Address Redacted                      First Class Mail
f46aa3c3‐e9a4‐4b60‐874b‐25312a289d2b                   Address Redacted                      First Class Mail
f46bd8b8‐504a‐4530‐9f9f‐781c87b42bd9                   Address Redacted                      First Class Mail
f46d3771‐6114‐4dc9‐b721‐3aff3f4e2c3f                   Address Redacted                      First Class Mail




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                               Name                                             Address                         Method of Service
f46e53f3‐acba‐4561‐ab56‐b01fd619b727                   Address Redacted                      First Class Mail
f46ecc4c‐fef7‐4e5d‐9488‐87b59a1b67ae                   Address Redacted                      First Class Mail
f471f237‐a079‐4f49‐b5fd‐560a240a9567                   Address Redacted                      First Class Mail
f47206ef‐5a19‐43e2‐a331‐6275416468e7                   Address Redacted                      First Class Mail
f4729630‐f29a‐45ea‐a2af‐da23a0b54f94                   Address Redacted                      First Class Mail
f4733a69‐3705‐48be‐a694‐f9e6a4da3f4b                   Address Redacted                      First Class Mail
f473b933‐4683‐49c5‐bccb‐e3642fa9cb48                   Address Redacted                      First Class Mail
f47576e3‐9c0a‐4e32‐a681‐566546d29b5f                   Address Redacted                      First Class Mail
f478a805‐876d‐4344‐b271‐97bafded2f68                   Address Redacted                      First Class Mail
f47ad465‐d1d9‐44dc‐8437‐55cdb1c548c6                   Address Redacted                      First Class Mail
f47c3105‐37ba‐4301‐baa9‐e52a536fdaee                   Address Redacted                      First Class Mail
f47d6027‐9f44‐4ab1‐b5fd‐67eef94b1a20                   Address Redacted                      First Class Mail
f47f03e4‐34df‐4f01‐b51b‐e56f369c1b9a                   Address Redacted                      First Class Mail
f4801120‐7326‐4dd0‐8e65‐43113375183c                   Address Redacted                      First Class Mail
f4834b6b‐5c6d‐4139‐a03d‐46e476b728f0                   Address Redacted                      First Class Mail
f4842931‐e751‐402c‐96cd‐76bb9d9f7f7f                   Address Redacted                      First Class Mail
f4844706‐e921‐4d74‐8fe8‐f8128d7d1bfa                   Address Redacted                      First Class Mail
f487eef8‐16ca‐4f00‐8585‐e281b1af9a34                   Address Redacted                      First Class Mail
f48a345f‐ca5b‐4a11‐9d4b‐a9e33fb7b30e                   Address Redacted                      First Class Mail
f48fa2ab‐9a09‐4ab2‐a1b1‐63c5d7d0c363                   Address Redacted                      First Class Mail
f4925dd4‐4c35‐4ae1‐82fa‐c417acd8cdd1                   Address Redacted                      First Class Mail
f4944294‐8c07‐4708‐aa05‐4501d8ea5a82                   Address Redacted                      First Class Mail
f497f333‐5e56‐457c‐9f7e‐1bf9d87a372a                   Address Redacted                      First Class Mail
f498da38‐21cf‐497a‐9e4b‐f496c8d12322                   Address Redacted                      First Class Mail
f49bd0d5‐c70b‐4aa6‐bb09‐18df082dd1cf                   Address Redacted                      First Class Mail
f49e519d‐297c‐4d2e‐a963‐7c9ce8dae3cc                   Address Redacted                      First Class Mail
f49ff1d3‐2d0c‐427d‐8ec5‐803e9a72c3b1                   Address Redacted                      First Class Mail
f4a13f03‐f4ed‐42c2‐9234‐b051b5488423                   Address Redacted                      First Class Mail
f4a9a654‐abb6‐4864‐9f14‐2efdcddb64ae                   Address Redacted                      First Class Mail
f4b055d5‐7d79‐4ff3‐87b3‐6ec783b0e50c                   Address Redacted                      First Class Mail
f4b0f8e9‐4c45‐44be‐9fc2‐78f91129d989                   Address Redacted                      First Class Mail
f4b30e2b‐8829‐4dbc‐864e‐8b24ad68a671                   Address Redacted                      First Class Mail
f4b51efc‐ed24‐4ce5‐94d9‐494fba8d6085                   Address Redacted                      First Class Mail
f4b7aa3a‐8207‐4c3c‐a28d‐03a27f0252cb                   Address Redacted                      First Class Mail
f4bc1240‐803a‐466b‐9a24‐112e753f95c4                   Address Redacted                      First Class Mail
f4bd8454‐af81‐4b6b‐9d20‐4b6d910b1026                   Address Redacted                      First Class Mail
f4c8469c‐f350‐41a7‐88e6‐fe2e75c203eb                   Address Redacted                      First Class Mail
f4c8533b‐bd01‐4120‐a1f5‐a766b75d5f84                   Address Redacted                      First Class Mail
f4ca53d5‐064f‐4c45‐8eae‐9dca86a1f4d8                   Address Redacted                      First Class Mail
f4d00b99‐d03f‐498f‐8121‐bc5473451f95                   Address Redacted                      First Class Mail
f4d0fbf3‐c01f‐4950‐8338‐b63110c82e76                   Address Redacted                      First Class Mail
f4d2035e‐a7f1‐4ee3‐825a‐a4913d12063c                   Address Redacted                      First Class Mail
f4d2f054‐d646‐4aea‐95bd‐040deaf3c809                   Address Redacted                      First Class Mail
f4d2f86f‐603a‐4b22‐8314‐a3a4735c56b2                   Address Redacted                      First Class Mail
f4d352e4‐c536‐4dd0‐ab45‐840643f49d3f                   Address Redacted                      First Class Mail
f4d9919d‐cadb‐4bf0‐8908‐01a6d27cf195                   Address Redacted                      First Class Mail
f4db17a6‐9aaf‐4328‐90df‐5e120f1c5ad1                   Address Redacted                      First Class Mail
f4dcc68f‐5fcf‐4cb6‐b439‐86e85f3c6b64                   Address Redacted                      First Class Mail
f4dcc7af‐63a5‐4d69‐9568‐e3581dbcd238                   Address Redacted                      First Class Mail
f4de1814‐6760‐4330‐8109‐f8a65172eef1                   Address Redacted                      First Class Mail
f4de6976‐071e‐4b18‐b83f‐3fd818604800                   Address Redacted                      First Class Mail
f4e0b6ae‐e121‐4e2d‐a4f7‐d8881867cebe                   Address Redacted                      First Class Mail
f4e1e795‐4d66‐412d‐bac2‐3d946112377c                   Address Redacted                      First Class Mail
f4e411f5‐e4be‐4b5a‐9308‐1d91a2d9574c                   Address Redacted                      First Class Mail
f4e46d6f‐6074‐4b21‐aeae‐43a5b2eee44b                   Address Redacted                      First Class Mail
f4e57bc6‐2978‐44a0‐a049‐8dbeb79c8847                   Address Redacted                      First Class Mail
f4e6b7b1‐8cad‐4e3f‐87e1‐d857e7df1910                   Address Redacted                      First Class Mail
f4e6bada‐bdc0‐4b54‐9758‐d95a7248f24f                   Address Redacted                      First Class Mail
f4e81a9e‐2640‐4dd0‐954a‐e0c1b540c0c9                   Address Redacted                      First Class Mail
f4e9d3de‐0f48‐4d55‐a0e0‐40a24a4679f2                   Address Redacted                      First Class Mail
f4f13f6f‐5c2e‐4cc7‐b7db‐039097473afa                   Address Redacted                      First Class Mail
f4f603f0‐6dc9‐4747‐8387‐750ee6dc23dc                   Address Redacted                      First Class Mail
f4f83f90‐a5a8‐4bb1‐bb62‐431c604ed1db                   Address Redacted                      First Class Mail
f4f9a7f6‐2b11‐4798‐862d‐b2c9e8ecaf5c                   Address Redacted                      First Class Mail
f4fabbe6‐77de‐4fcb‐a734‐2c69d3afd595                   Address Redacted                      First Class Mail
f4fb9175‐bc05‐4f42‐847a‐187e35c57b71                   Address Redacted                      First Class Mail
f4fe12b2‐9fdb‐43ee‐af93‐e2a136146e33                   Address Redacted                      First Class Mail
f4ff5517‐af36‐4165‐b41b‐6f9dda36c308                   Address Redacted                      First Class Mail
f4ffe442‐0b08‐48a1‐a604‐7f48fdf41922                   Address Redacted                      First Class Mail
f504f5ff‐3ee2‐45a9‐9a35‐a180b4ced9a0                   Address Redacted                      First Class Mail
f508f0f3‐ec31‐4abb‐8070‐95752f2a102e                   Address Redacted                      First Class Mail
f509a292‐60d8‐45c3‐9412‐17c14a840317                   Address Redacted                      First Class Mail




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                               Name                                             Address                         Method of Service
f509e85b‐d5be‐459e‐a5bf‐5bff86d047b7                   Address Redacted                      First Class Mail
f50b5f72‐7c1a‐451a‐af1b‐1931e84672c0                   Address Redacted                      First Class Mail
f50e0ec9‐52fe‐41b6‐ab0b‐d25bbef18c17                   Address Redacted                      First Class Mail
f50e2448‐966d‐4bde‐a9c7‐fc92098e0868                   Address Redacted                      First Class Mail
f50f1e7e‐13a8‐428c‐9eb6‐f576d795ed4d                   Address Redacted                      First Class Mail
f518d6f6‐9384‐4340‐9d64‐cbd1f85c51c9                   Address Redacted                      First Class Mail
f51af2d9‐5109‐438e‐9a1a‐42732cd1dae9                   Address Redacted                      First Class Mail
f51b6589‐3927‐42d7‐be32‐644dd4118816                   Address Redacted                      First Class Mail
f51b95a3‐75a6‐4ae7‐b12d‐b49e7ea22c81                   Address Redacted                      First Class Mail
f51c984f‐3d3a‐46ca‐9fa8‐3833078e6683                   Address Redacted                      First Class Mail
f520a13a‐743e‐4b6b‐be6c‐4a706000ea61                   Address Redacted                      First Class Mail
f520f14d‐efa6‐4d90‐b4e5‐d8cd4dc30ab8                   Address Redacted                      First Class Mail
f521f020‐e68e‐4748‐a397‐3327368723b5                   Address Redacted                      First Class Mail
f5264a71‐11b4‐4947‐a904‐0ea67b0dfe20                   Address Redacted                      First Class Mail
f5274d53‐ffd2‐4368‐b542‐ed5cdff38756                   Address Redacted                      First Class Mail
f5275652‐8c31‐4066‐9faf‐4d4ac50cb334                   Address Redacted                      First Class Mail
f5294b8d‐1248‐4514‐b2cd‐8b82bbe72f17                   Address Redacted                      First Class Mail
f52b6e4b‐b442‐4c2a‐805c‐abbec953fa9e                   Address Redacted                      First Class Mail
f52bbfb1‐38e5‐49be‐ac01‐dfd958131f14                   Address Redacted                      First Class Mail
f52e9f02‐91b9‐4dad‐9f09‐290d9a391156                   Address Redacted                      First Class Mail
f5341661‐d24a‐48e6‐9ccf‐47493e9bee46                   Address Redacted                      First Class Mail
f53544aa‐7dec‐4aca‐9ff7‐68cd7635e1cf                   Address Redacted                      First Class Mail
f535e15c‐d193‐4386‐a756‐ad8a008b812c                   Address Redacted                      First Class Mail
f539ab42‐62d8‐409f‐ac8c‐f9b9ba386233                   Address Redacted                      First Class Mail
f53b3d53‐3a38‐41ed‐8c68‐2ebb97b30f3e                   Address Redacted                      First Class Mail
f543d320‐e6c8‐4d6d‐b712‐8edb93c08ec3                   Address Redacted                      First Class Mail
f54be082‐ea9b‐420b‐ac56‐f2ef157e3b5d                   Address Redacted                      First Class Mail
f54cca91‐9dbe‐4408‐967b‐744ba4c3f6b0                   Address Redacted                      First Class Mail
f550795e‐b906‐4c5e‐ae31‐01ed96e7e1be                   Address Redacted                      First Class Mail
f5531a52‐c70f‐4f79‐919c‐14d426a81be0                   Address Redacted                      First Class Mail
f555d36f‐c761‐45f3‐a5a0‐9156fd1173ba                   Address Redacted                      First Class Mail
f5565cfe‐85bc‐480a‐b095‐42c541a1c814                   Address Redacted                      First Class Mail
f557f63d‐0eb7‐4cfc‐852f‐bd4521a41562                   Address Redacted                      First Class Mail
f5583933‐3d3a‐4d9f‐b705‐8e3c8d8989c1                   Address Redacted                      First Class Mail
f5587380‐4901‐40d6‐b7e2‐ebe8f5eb3095                   Address Redacted                      First Class Mail
f558a607‐cfb2‐44ca‐b5d2‐a1a972484fe9                   Address Redacted                      First Class Mail
f5592d13‐ea66‐4faf‐b1d6‐afe7748a544b                   Address Redacted                      First Class Mail
f55d148c‐493e‐402f‐8037‐74b814e1ba70                   Address Redacted                      First Class Mail
f55e966e‐d822‐4f55‐8ca4‐bb4e8812fe55                   Address Redacted                      First Class Mail
f55ffca2‐689a‐4fff‐b559‐681ad09e3123                   Address Redacted                      First Class Mail
f560bf2b‐df5c‐4efd‐bf07‐f34cbf850bea                   Address Redacted                      First Class Mail
f5620411‐6491‐4863‐9a73‐51d94ebc47d0                   Address Redacted                      First Class Mail
f563284d‐a9ca‐4433‐80c5‐fe5b3a8bd4c4                   Address Redacted                      First Class Mail
f563c499‐e1dd‐4edc‐aaf6‐cfa6a9fbc655                   Address Redacted                      First Class Mail
f5652098‐16fb‐4054‐804a‐e6c53f546d9e                   Address Redacted                      First Class Mail
f565b6aa‐9422‐4999‐8396‐015b1048c118                   Address Redacted                      First Class Mail
f566c39a‐b52a‐43cf‐a028‐308eb8ab274e                   Address Redacted                      First Class Mail
f56a8f08‐80d8‐4f23‐9d61‐b4541a5e1071                   Address Redacted                      First Class Mail
f56b9e23‐d7c8‐4734‐b7d7‐b482c99936d7                   Address Redacted                      First Class Mail
f56dd156‐ee30‐44ee‐bc84‐0bce4d4deea1                   Address Redacted                      First Class Mail
f57223e1‐7f8d‐4105‐9c09‐3be20f883c65                   Address Redacted                      First Class Mail
f5741ecf‐6d29‐4865‐86b6‐0dc0af12f762                   Address Redacted                      First Class Mail
f574f8d5‐030f‐4d1b‐b264‐2c9cadfea872                   Address Redacted                      First Class Mail
f576df24‐3899‐4516‐be8e‐1ba933026524                   Address Redacted                      First Class Mail
f578c534‐4076‐4475‐9dd2‐329e4562dfec                   Address Redacted                      First Class Mail
f57bee9a‐1ff7‐45be‐9b95‐c06dddc2ba99                   Address Redacted                      First Class Mail
f57edc83‐d482‐4bb8‐aa77‐15597af98f73                   Address Redacted                      First Class Mail
f57fe92f‐6914‐4f97‐b6b9‐745d5dfc526c                   Address Redacted                      First Class Mail
f5899171‐e539‐4636‐984e‐d1445e90238f                   Address Redacted                      First Class Mail
f58d773c‐d121‐4b23‐820c‐f0d71bba9349                   Address Redacted                      First Class Mail
f597c23a‐22a5‐4e89‐a43d‐d8df532c5e6a                   Address Redacted                      First Class Mail
f598fde5‐70a3‐4262‐a24b‐b960096fcf0a                   Address Redacted                      First Class Mail
f5990b00‐4020‐4cf4‐9f5a‐0075d1ce96ab                   Address Redacted                      First Class Mail
f5993f4f‐bb3e‐43bc‐a1ee‐f2e55be6990d                   Address Redacted                      First Class Mail
f59edc93‐64e3‐4240‐a980‐f5c96266d411                   Address Redacted                      First Class Mail
f59fb036‐372a‐4ceb‐9310‐63c11471f844                   Address Redacted                      First Class Mail
f5a09765‐2ea5‐470e‐ad89‐3c3faa240858                   Address Redacted                      First Class Mail
f5a0e090‐0811‐4ae8‐8154‐da29befce7b2                   Address Redacted                      First Class Mail
f5a7b91e‐63a2‐4bc6‐b8f0‐0a88642746d2                   Address Redacted                      First Class Mail
f5a8eb29‐f46c‐4ae7‐b52b‐7a07fec51bf4                   Address Redacted                      First Class Mail
f5ac291a‐472b‐4fef‐adb9‐eea96e0b5d51                   Address Redacted                      First Class Mail
f5ad2379‐1e3a‐4d5d‐b2a6‐ca5dca370beb                   Address Redacted                      First Class Mail




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                                                                 Service List


                               Name                                             Address                         Method of Service
f5ae2d0e‐f19f‐4f74‐8bf1‐fefd3977de74                   Address Redacted                      First Class Mail
f5b23595‐f58d‐495f‐bb76‐0e934b12a089                   Address Redacted                      First Class Mail
f5ba9f4a‐010a‐41fb‐b684‐0e7d548a3d35                   Address Redacted                      First Class Mail
f5bd8d3e‐eb85‐430c‐9454‐21359f5a182a                   Address Redacted                      First Class Mail
f5be467a‐7d95‐46ca‐8e95‐cbf9098bc825                   Address Redacted                      First Class Mail
f5bf3fa7‐cadf‐4564‐ad7e‐e3950fbda0ee                   Address Redacted                      First Class Mail
f5c51248‐e17b‐41e4‐bda5‐3a2b9cef1937                   Address Redacted                      First Class Mail
f5c59d51‐6f9a‐42e0‐9e02‐a01946a27a94                   Address Redacted                      First Class Mail
f5c692a9‐3552‐4db2‐80ef‐79271498743e                   Address Redacted                      First Class Mail
f5c74b31‐cf22‐4d77‐9e2e‐a23db3c917bc                   Address Redacted                      First Class Mail
f5c84a87‐8cfe‐4b41‐814c‐1f3af2f0849f                   Address Redacted                      First Class Mail
f5c9ea11‐5ddc‐411e‐8364‐0e1af918dbf2                   Address Redacted                      First Class Mail
f5cc086b‐3c93‐4344‐84e7‐a9780b830e05                   Address Redacted                      First Class Mail
f5cd6832‐93f9‐4c15‐b13f‐f124aa4c79e6                   Address Redacted                      First Class Mail
f5cda70d‐299c‐4828‐8a41‐86e397330f29                   Address Redacted                      First Class Mail
f5cdc000‐6127‐4645‐8064‐f267a89ac1b6                   Address Redacted                      First Class Mail
f5ce0988‐1918‐4b9e‐9b7f‐40e88f13718e                   Address Redacted                      First Class Mail
f5d06e67‐f48f‐4cff‐8d89‐57d1ec09ace4                   Address Redacted                      First Class Mail
f5d1c715‐4a8f‐49c3‐8f77‐4ebba536afe1                   Address Redacted                      First Class Mail
f5d357b2‐e77c‐4a7e‐ba32‐3c60b33d300b                   Address Redacted                      First Class Mail
f5d4807b‐8388‐480f‐ad51‐83a75b222db3                   Address Redacted                      First Class Mail
f5d4cb92‐1b45‐4617‐8c97‐5adf09842bb6                   Address Redacted                      First Class Mail
f5dcfacc‐36d8‐4582‐b331‐01f86ed20e66                   Address Redacted                      First Class Mail
f5e09288‐458d‐4118‐8a72‐693f30c9206b                   Address Redacted                      First Class Mail
f5e11979‐b018‐4cd1‐a8bf‐562d84bcc182                   Address Redacted                      First Class Mail
f5e13e2a‐4d4e‐4148‐84c8‐96e1c482c9a5                   Address Redacted                      First Class Mail
f5e24c53‐673a‐4b3e‐b56e‐e550b6c9d8a3                   Address Redacted                      First Class Mail
f5e367f4‐2353‐49fe‐9bbb‐662ef733cbcb                   Address Redacted                      First Class Mail
f5e4bd65‐ccc7‐46aa‐ab9c‐63f1086116d4                   Address Redacted                      First Class Mail
f5e5418b‐8566‐427a‐8d3e‐bae076d2de30                   Address Redacted                      First Class Mail
f5e646e1‐b7fe‐4d3b‐b4e9‐ec10bc36cbe1                   Address Redacted                      First Class Mail
f5e93cde‐5ba2‐493e‐909d‐fb2a7d49bf34                   Address Redacted                      First Class Mail
f5ec0555‐7119‐48ec‐a3e3‐aa1d840d5716                   Address Redacted                      First Class Mail
f5ec1cb4‐da52‐41c7‐aa56‐707ac140028c                   Address Redacted                      First Class Mail
f5ec5802‐b43a‐4d99‐bec8‐d6e46131b8f8                   Address Redacted                      First Class Mail
f5ee392d‐0596‐417a‐8d60‐58944cb63699                   Address Redacted                      First Class Mail
f5ef196b‐2ce3‐4ecd‐9e43‐53e0aae0e69f                   Address Redacted                      First Class Mail
f5f0b7c3‐5f78‐4e1d‐a971‐46a1ec97d5ab                   Address Redacted                      First Class Mail
f5f32fe0‐9c41‐4bad‐b6df‐79fe9c4b0d30                   Address Redacted                      First Class Mail
f5f696a4‐6e1e‐4145‐a6ca‐930aa9cd1938                   Address Redacted                      First Class Mail
f5fed190‐4dc3‐41a9‐b851‐cbc49acc07ce                   Address Redacted                      First Class Mail
f601b43a‐1ffd‐439a‐923c‐05cd0006da40                   Address Redacted                      First Class Mail
f6031f65‐a1ac‐44a0‐80bd‐0425fa231469                   Address Redacted                      First Class Mail
f605380c‐be6a‐48d2‐a3bb‐92d10d8c7fb4                   Address Redacted                      First Class Mail
f607b1fd‐3da7‐40bf‐9583‐6361e5cf8c9c                   Address Redacted                      First Class Mail
f608435f‐9d24‐4b18‐94a4‐9f77e682518a                   Address Redacted                      First Class Mail
f60cb050‐7ed2‐484d‐89ed‐7a30cacb1b5f                   Address Redacted                      First Class Mail
f60d0eb1‐70f5‐481b‐9a00‐52fbe01cd7cc                   Address Redacted                      First Class Mail
f60dc4f8‐d31c‐497a‐81d4‐e6613d89a617                   Address Redacted                      First Class Mail
f60fbe8a‐6a54‐49ba‐b27b‐c84f26e6463a                   Address Redacted                      First Class Mail
f610e09d‐97a7‐40e0‐9bc1‐dfe9b10e3cf7                   Address Redacted                      First Class Mail
f613126a‐b548‐4a6b‐b6e8‐2218d91fb33b                   Address Redacted                      First Class Mail
f6142e29‐e2eb‐4d0a‐8ba1‐15420046eb75                   Address Redacted                      First Class Mail
f617755f‐37f5‐4c3a‐bf2d‐80e94cea8e0e                   Address Redacted                      First Class Mail
f6179953‐c48b‐4ed2‐9aab‐20b87a987b2e                   Address Redacted                      First Class Mail
f6193e6a‐b469‐4e98‐bcb3‐7b2a8e0f1a24                   Address Redacted                      First Class Mail
f61d3481‐b23e‐4bd9‐8db9‐d48d6721fa81                   Address Redacted                      First Class Mail
f6278e4f‐38f5‐449e‐90fd‐9b698c6fe73a                   Address Redacted                      First Class Mail
f627d1f7‐8a23‐43ac‐a8bf‐7f9cba528ef2                   Address Redacted                      First Class Mail
f6295bd6‐352b‐47be‐8f72‐80f2effb195e                   Address Redacted                      First Class Mail
f62acd53‐e254‐4ce3‐abe3‐c25c9daeb505                   Address Redacted                      First Class Mail
f636048d‐60ef‐4792‐9c3d‐8ec9525e83ca                   Address Redacted                      First Class Mail
f638b14a‐8fd6‐420b‐8df6‐2113e18b5a60                   Address Redacted                      First Class Mail
f63ef8e0‐2f8a‐483b‐944c‐f0053ef49ff2                   Address Redacted                      First Class Mail
f64136a1‐8114‐47e3‐8eb6‐38f169c8dadc                   Address Redacted                      First Class Mail
f6413865‐691a‐429e‐98c5‐72d46a46cdac                   Address Redacted                      First Class Mail
f64199a8‐25f7‐4e12‐ba4e‐807ca47ce495                   Address Redacted                      First Class Mail
f6448c6a‐e8bc‐43c5‐b22f‐de82d1c60fec                   Address Redacted                      First Class Mail
f646fca1‐4e45‐4fd2‐baa0‐11fefb4eee6c                   Address Redacted                      First Class Mail
f647cec8‐147a‐492d‐b37d‐abaa590fb69b                   Address Redacted                      First Class Mail
f64b6c80‐11a0‐4f44‐be23‐68d2f66b07f7                   Address Redacted                      First Class Mail
f64f3a47‐6dbd‐4654‐9fb5‐5ed520a8adf0                   Address Redacted                      First Class Mail




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                                                                 Service List


                               Name                                             Address                         Method of Service
f6538aec‐bb66‐4c49‐87a1‐7660c80df2bc                   Address Redacted                      First Class Mail
f659f819‐352d‐4f07‐bfd6‐657653e80acc                   Address Redacted                      First Class Mail
f65a1473‐6bd6‐4258‐81b0‐9eb65cd8097e                   Address Redacted                      First Class Mail
f65c7862‐1672‐4120‐9f12‐f07275935795                   Address Redacted                      First Class Mail
f65c9dc6‐2023‐4658‐93da‐277994972362                   Address Redacted                      First Class Mail
f65f28cb‐1b6b‐418b‐9836‐c088c78639eb                   Address Redacted                      First Class Mail
f663f9ff‐ecf7‐4c4c‐a147‐be2cdcbd5e0d                   Address Redacted                      First Class Mail
f669d96a‐9a7e‐40a8‐a9f1‐6a795e91bf4b                   Address Redacted                      First Class Mail
f66fa947‐b0b6‐41f0‐b21c‐7e628be15b5d                   Address Redacted                      First Class Mail
f67237a9‐5c90‐42ec‐9b14‐8c169952ee8a                   Address Redacted                      First Class Mail
f672bc0e‐a4dc‐4f59‐88a3‐075c94bc7e74                   Address Redacted                      First Class Mail
f672c0c7‐a1e9‐45f5‐815c‐e1abb422f8f5                   Address Redacted                      First Class Mail
f677f0aa‐06d6‐4fd4‐ab9d‐34dde8118ce7                   Address Redacted                      First Class Mail
f67d7941‐cfa7‐4c5a‐b902‐2d47a1211dd0                   Address Redacted                      First Class Mail
f68243fc‐5071‐4bd4‐935b‐39d66fa43b7f                   Address Redacted                      First Class Mail
f685cbc4‐e405‐431e‐a017‐cee64ecb751a                   Address Redacted                      First Class Mail
f68b365b‐95b1‐4329‐bf53‐f1e624a8a09b                   Address Redacted                      First Class Mail
f6908325‐65e0‐4147‐a6d1‐57e4bd4e385b                   Address Redacted                      First Class Mail
f69241a0‐774d‐4592‐afc5‐7fe64f6d77aa                   Address Redacted                      First Class Mail
f6933082‐9f68‐4040‐82f5‐e1c15b4e4ada                   Address Redacted                      First Class Mail
f6933fd7‐75fb‐4d5a‐a2c9‐91ffc171a874                   Address Redacted                      First Class Mail
f6954eb0‐aca4‐44ae‐b528‐026a36dc9f5f                   Address Redacted                      First Class Mail
f695a4b3‐4c6e‐4dbc‐8db1‐a90a40aa898d                   Address Redacted                      First Class Mail
f69f680e‐4d4d‐4bd6‐9af3‐edc6480cbe92                   Address Redacted                      First Class Mail
f69fb814‐56fc‐4c77‐9681‐87f5ffa0ce8f                   Address Redacted                      First Class Mail
f69fc1c5‐c6bc‐4081‐be08‐ff85d774c564                   Address Redacted                      First Class Mail
f6a29bd3‐8784‐4365‐a6f2‐fb36ec6d4091                   Address Redacted                      First Class Mail
f6a74604‐a7d8‐422f‐8613‐78e11df13c57                   Address Redacted                      First Class Mail
f6a8ccbb‐a6b7‐4c7a‐a301‐c25bcee7085b                   Address Redacted                      First Class Mail
f6ab22a6‐d4e3‐411e‐a20d‐539132cd4434                   Address Redacted                      First Class Mail
f6ac352b‐a943‐44e7‐848d‐2dc143c61dd8                   Address Redacted                      First Class Mail
f6b40f3d‐8629‐4d30‐bb29‐c9237d8c7b43                   Address Redacted                      First Class Mail
f6b60624‐b24a‐4666‐915d‐4f36d92623b0                   Address Redacted                      First Class Mail
f6b82af7‐8b2f‐4f4b‐b91b‐a1332281f3e0                   Address Redacted                      First Class Mail
f6b85842‐8a51‐4c7b‐a39d‐a162d130476d                   Address Redacted                      First Class Mail
f6bb92d0‐8dd5‐46f4‐8ad5‐94da61805863                   Address Redacted                      First Class Mail
f6bbaf98‐4ab3‐4424‐9c8d‐72cf72942a2e                   Address Redacted                      First Class Mail
f6bc6e08‐4921‐4c29‐aaeb‐2b953c45bcdc                   Address Redacted                      First Class Mail
f6bdf105‐9fc7‐4d48‐802d‐36c755d7f17b                   Address Redacted                      First Class Mail
f6bffe76‐c74c‐4417‐9273‐99835be2ab14                   Address Redacted                      First Class Mail
f6c0a620‐f7bd‐4ef7‐a848‐4953afc1aa2c                   Address Redacted                      First Class Mail
f6c7bf86‐2930‐4112‐95ed‐278f30699f0a                   Address Redacted                      First Class Mail
f6c80ae0‐7d9e‐44fc‐ac8a‐c5f9c7f827f9                   Address Redacted                      First Class Mail
f6ce1071‐e9a2‐43ab‐87dd‐c11a10b91ac7                   Address Redacted                      First Class Mail
f6cfa31d‐2209‐415f‐817c‐32feae3df5d0                   Address Redacted                      First Class Mail
f6d29fcc‐c46a‐45b8‐98b2‐0503f5057db4                   Address Redacted                      First Class Mail
f6d37a9e‐3d6a‐4908‐9813‐34090d58c477                   Address Redacted                      First Class Mail
f6d4c4ae‐2070‐43b3‐8b25‐45e7838b64d1                   Address Redacted                      First Class Mail
f6d4cb81‐8700‐42f3‐8644‐5a58a854121c                   Address Redacted                      First Class Mail
f6d52490‐f2aa‐475b‐9ecc‐28743f295ad4                   Address Redacted                      First Class Mail
f6d54a8b‐23b8‐4551‐9bdd‐4182ece5b159                   Address Redacted                      First Class Mail
f6d9f11e‐76ce‐4464‐903d‐8e97e86b36c3                   Address Redacted                      First Class Mail
f6da0b15‐2dc9‐4d9d‐a5e2‐38ac47583f55                   Address Redacted                      First Class Mail
f6dc7744‐9010‐4233‐8514‐949205cbe3c5                   Address Redacted                      First Class Mail
f6dcb191‐1be3‐487a‐99c7‐087254d54d8a                   Address Redacted                      First Class Mail
f6e5124e‐344b‐436a‐a68f‐bf0231bd8513                   Address Redacted                      First Class Mail
f6ec0d27‐bd93‐46db‐b21e‐8e69f26eaeca                   Address Redacted                      First Class Mail
f6ed67ba‐9b49‐419a‐8cfb‐c5cd39d2de9e                   Address Redacted                      First Class Mail
f6eda574‐7dcb‐4445‐8ed8‐f14d7e8cf175                   Address Redacted                      First Class Mail
f6eeb100‐d1ec‐4437‐bfb3‐afef9d6c1b86                   Address Redacted                      First Class Mail
f6f3bd09‐409f‐4acd‐9f39‐267e976a1794                   Address Redacted                      First Class Mail
f6f47e0d‐00be‐45e2‐bd94‐dfde48195e6d                   Address Redacted                      First Class Mail
f6f5b3fa‐78cd‐4fa4‐9379‐27a3d369f466                   Address Redacted                      First Class Mail
f6f5c4ca‐4ee4‐49b6‐9584‐20e366ee4bd9                   Address Redacted                      First Class Mail
f6f61108‐7958‐40b0‐9a7c‐a740c05dc020                   Address Redacted                      First Class Mail
f6fcfdd3‐b161‐4682‐a994‐eda75aae6ed1                   Address Redacted                      First Class Mail
f6fd9401‐d99b‐44bc‐a5b5‐329a5ede1c23                   Address Redacted                      First Class Mail
f6fed45a‐2eb3‐4c35‐aa52‐ddbbbdd1cc74                   Address Redacted                      First Class Mail
f7095d06‐a284‐4d57‐8a29‐4057015180e2                   Address Redacted                      First Class Mail
f70acd2a‐b4e4‐4549‐a1e6‐2f190010ac80                   Address Redacted                      First Class Mail
f7139639‐e1d5‐4449‐825a‐b29306ac504f                   Address Redacted                      First Class Mail
f713a869‐560c‐478c‐85da‐8afe4d7a9620                   Address Redacted                      First Class Mail




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                                                                 Service List


                               Name                                             Address                         Method of Service
f714f69c‐1988‐487d‐9bec‐b25f061b136c                   Address Redacted                      First Class Mail
f71500e5‐cfb7‐432b‐b687‐1b4a1638b445                   Address Redacted                      First Class Mail
f71682d7‐9ae7‐4465‐a20e‐957b49df155b                   Address Redacted                      First Class Mail
f7173b48‐1756‐426a‐9d39‐8aeb54f5d0c4                   Address Redacted                      First Class Mail
f717ab3b‐9f7d‐43dc‐86de‐22f611c9db11                   Address Redacted                      First Class Mail
f71c04b8‐c0aa‐4108‐8c29‐3347eb8b439e                   Address Redacted                      First Class Mail
f721f02e‐b220‐4f6d‐be83‐795c75e29400                   Address Redacted                      First Class Mail
f7267c4b‐6538‐4cf0‐86a3‐d8a4bb3b7aa8                   Address Redacted                      First Class Mail
f726d575‐084a‐406a‐8acd‐183bda177ed3                   Address Redacted                      First Class Mail
f72a7a0a‐6a74‐4114‐8a74‐05faa32ae658                   Address Redacted                      First Class Mail
f72aee2b‐4f60‐42f7‐b6d4‐d76803270003                   Address Redacted                      First Class Mail
f72dc52e‐87a2‐4775‐9dd1‐bb26f5b2baa3                   Address Redacted                      First Class Mail
f72dc644‐f53b‐4781‐8ea3‐12bec0d61bc4                   Address Redacted                      First Class Mail
f72ece4d‐10b0‐46dc‐8cfc‐dee1388312f0                   Address Redacted                      First Class Mail
f7329040‐1e0c‐4aa5‐87cc‐d0d39692c6ab                   Address Redacted                      First Class Mail
f7341518‐2ebf‐4702‐9d3c‐108dd96e31ff                   Address Redacted                      First Class Mail
f73567c0‐4ba9‐47b1‐8817‐15979afc28c8                   Address Redacted                      First Class Mail
f737018c‐2192‐4de4‐99ec‐c382e385f38d                   Address Redacted                      First Class Mail
f73961d1‐08f0‐435e‐b1a7‐65adc5ddfc26                   Address Redacted                      First Class Mail
f739be0f‐5b2b‐4ae1‐87cd‐971828b43427                   Address Redacted                      First Class Mail
f73a75e1‐ce11‐4fed‐9d26‐40b1f4200043                   Address Redacted                      First Class Mail
f73af071‐ae67‐4b20‐9e1f‐937b521830c6                   Address Redacted                      First Class Mail
f73c351b‐c9a1‐4c2a‐965e‐5e045445c873                   Address Redacted                      First Class Mail
f73fc2f7‐73b0‐4a10‐87eb‐631d91c777ef                   Address Redacted                      First Class Mail
f741486b‐4d8a‐45dc‐9876‐9292253d7aeb                   Address Redacted                      First Class Mail
f7433742‐b3f7‐4eab‐be25‐ee69492664fe                   Address Redacted                      First Class Mail
f746289d‐85f4‐4e04‐a146‐7136e6ddb40e                   Address Redacted                      First Class Mail
f746d859‐272e‐40d5‐9ad2‐006ef3f1e1a5                   Address Redacted                      First Class Mail
f74a31a1‐b4ee‐4a04‐b5fd‐38adf809f22c                   Address Redacted                      First Class Mail
f74cc646‐823b‐4076‐8b47‐2fb37d57cda4                   Address Redacted                      First Class Mail
f74ddd76‐f449‐4fab‐8eb3‐bbe010b45587                   Address Redacted                      First Class Mail
f74f6e4a‐c5b7‐49fe‐ba31‐65a9fd1a5c2d                   Address Redacted                      First Class Mail
f759b3aa‐40fe‐4f7a‐be0e‐7f1efef0b9b5                   Address Redacted                      First Class Mail
f75b737f‐c103‐4ce4‐8bbe‐3545a6b24e3b                   Address Redacted                      First Class Mail
f7615438‐061a‐4b14‐b9df‐01ddb9327260                   Address Redacted                      First Class Mail
f764d3f1‐0f60‐430b‐bd0c‐c9af6510f973                   Address Redacted                      First Class Mail
f766dab8‐3d85‐45c0‐ab38‐c946293aa576                   Address Redacted                      First Class Mail
f76803d8‐3f99‐44e8‐b1d1‐3c2936e2b963                   Address Redacted                      First Class Mail
f7686beb‐13bf‐44d3‐9f08‐c86fb5f16326                   Address Redacted                      First Class Mail
f768cfc0‐5979‐4a8a‐adb4‐1fad26c7a00a                   Address Redacted                      First Class Mail
f76c9c64‐2c59‐42e7‐85d5‐f3a794de1bca                   Address Redacted                      First Class Mail
f770aa8e‐4e2a‐4dca‐96de‐02c841e62344                   Address Redacted                      First Class Mail
f7711ca3‐8636‐42a8‐8169‐af80b2adecb9                   Address Redacted                      First Class Mail
f771946c‐ffda‐4757‐9b28‐6a016df5026d                   Address Redacted                      First Class Mail
f77c537d‐2f8f‐4b4a‐90c9‐6370e4d6293b                   Address Redacted                      First Class Mail
f77f95a1‐fdeb‐41dc‐a5ac‐80cd27c734c8                   Address Redacted                      First Class Mail
f7827014‐fb27‐4f8f‐a07a‐b8c2eae3e416                   Address Redacted                      First Class Mail
f782bb0d‐47a6‐436e‐abd6‐64bea8cdd3ee                   Address Redacted                      First Class Mail
f7840c7b‐855e‐42e1‐b0da‐f238d6852454                   Address Redacted                      First Class Mail
f785104e‐ae27‐4035‐a058‐b5dfc916c9c2                   Address Redacted                      First Class Mail
f787bd27‐6418‐48ee‐a920‐a167b51b90c3                   Address Redacted                      First Class Mail
f7894dd6‐13d2‐449e‐9d27‐b3235c8d0100                   Address Redacted                      First Class Mail
f78a3474‐2366‐496d‐a0fd‐7c51c5c6efd6                   Address Redacted                      First Class Mail
f78bf50a‐48ad‐40d1‐85fe‐f12d5dee4910                   Address Redacted                      First Class Mail
f78ccd07‐88e2‐4f53‐8dae‐4c4a76a345ac                   Address Redacted                      First Class Mail
f78d19f3‐9d41‐435e‐9e9e‐d1957e693c6b                   Address Redacted                      First Class Mail
f78f6d48‐80b0‐4d0f‐a695‐e29a181f44ee                   Address Redacted                      First Class Mail
f78ffc0f‐9319‐43dd‐a826‐585fde4b7780                   Address Redacted                      First Class Mail
f79123be‐659f‐4fe4‐8bbc‐ba74cab4a637                   Address Redacted                      First Class Mail
f791dce5‐f2ba‐4097‐87b4‐fa9b294515e4                   Address Redacted                      First Class Mail
f7963dfe‐81d4‐4d17‐911e‐28f043ae9b69                   Address Redacted                      First Class Mail
f798b265‐887b‐421a‐9b7f‐d0af3ae0aabb                   Address Redacted                      First Class Mail
f79ad48f‐2270‐4de5‐9309‐b50a0bddaa1c                   Address Redacted                      First Class Mail
f7a0c114‐e916‐47af‐8be5‐99fd561fe09f                   Address Redacted                      First Class Mail
f7a17b91‐bad8‐4e56‐be77‐f82a7d15026d                   Address Redacted                      First Class Mail
f7a48605‐f776‐4109‐ac64‐61f53fb185b3                   Address Redacted                      First Class Mail
f7a83143‐a33b‐4352‐9ca0‐c29485f1195b                   Address Redacted                      First Class Mail
f7ab9f3f‐5e70‐45e5‐abc6‐015af66af3e1                   Address Redacted                      First Class Mail
f7b0033e‐50e8‐49f4‐9ae3‐0780c41362e9                   Address Redacted                      First Class Mail
f7b3f6d3‐51b2‐4a5e‐94b5‐384ee8e43bcf                   Address Redacted                      First Class Mail
f7bb2dce‐868e‐4308‐8127‐160112e104e5                   Address Redacted                      First Class Mail
f7c0f8f3‐ef43‐40fb‐b666‐7cfea98417b7                   Address Redacted                      First Class Mail




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                                                                Exhibit A
                                                                 Service List


                              Name                                              Address                         Method of Service
f7c226d8‐93b0‐4839‐9ebd‐d814b7ea7842                   Address Redacted                      First Class Mail
f7c3de8c‐3a96‐4476‐a460‐d9622855588c                   Address Redacted                      First Class Mail
f7c4b92c‐7ffd‐48c1‐84e2‐20f7c53b1a9f                   Address Redacted                      First Class Mail
f7c4bcd2‐2c07‐44ed‐bfbd‐2db754b1b174                   Address Redacted                      First Class Mail
f7cc9aa8‐6fb1‐4ae2‐9bfa‐593e744cb89c                   Address Redacted                      First Class Mail
f7d21865‐1dbd‐4ba4‐8a31‐fb7169f1bc2e                   Address Redacted                      First Class Mail
f7d34de1‐4e56‐4563‐9e10‐4095089ab45a                   Address Redacted                      First Class Mail
f7d74b04‐eb96‐4613‐97da‐017f7ab2c49c                   Address Redacted                      First Class Mail
f7d7cef1‐9193‐41c4‐8833‐05734a09ad44                   Address Redacted                      First Class Mail
f7d86a3a‐b5cf‐42c4‐a645‐8d7ae86b3644                   Address Redacted                      First Class Mail
f7daee61‐bc00‐4807‐9adc‐af085f53f38a                   Address Redacted                      First Class Mail
f7dfa436‐823b‐4e69‐946f‐e5c4005271b5                   Address Redacted                      First Class Mail
f7e049ac‐14f9‐40fe‐8eed‐b7a149fed027                   Address Redacted                      First Class Mail
f7e075e4‐4ad6‐4d3d‐8a25‐0855d26e63de                   Address Redacted                      First Class Mail
f7e27b8a‐9473‐4399‐b7de‐6acb16a125df                   Address Redacted                      First Class Mail
f7e2c8fa‐99b0‐47af‐af5e‐cad4a024a57f                   Address Redacted                      First Class Mail
f7e3782f‐1197‐48a7‐b67e‐948e9ca180e7                   Address Redacted                      First Class Mail
f7e3ba9c‐e9f5‐4183‐845c‐6982afc50c53                   Address Redacted                      First Class Mail
f7e877f7‐9a0d‐40e5‐b67a‐ceba044402d9                   Address Redacted                      First Class Mail
f7ea2d7f‐798b‐4917‐a44f‐12c12d31a44f                   Address Redacted                      First Class Mail
f7f10632‐5547‐4d64‐8264‐3bd5d386deb8                   Address Redacted                      First Class Mail
f7f40717‐6306‐4539‐ac43‐89f912974ac3                   Address Redacted                      First Class Mail
f7f7cbe8‐4892‐44b4‐befe‐c806c617b637                   Address Redacted                      First Class Mail
f800f7ca‐9601‐45c9‐b054‐598620588761                   Address Redacted                      First Class Mail
f80647ef‐b1ef‐47e0‐8b65‐034de92d3752                   Address Redacted                      First Class Mail
f807e975‐6192‐435a‐9400‐c8f9a273c834                   Address Redacted                      First Class Mail
f80c8272‐7244‐48e1‐98a5‐64c8a9b7ccf2                   Address Redacted                      First Class Mail
f80f4a7a‐fbac‐416a‐8078‐6357bfe54408                   Address Redacted                      First Class Mail
f8107b8e‐3248‐467f‐a006‐83ab0098424a                   Address Redacted                      First Class Mail
f811a910‐ed44‐451c‐b6f8‐98a644c06b21                   Address Redacted                      First Class Mail
f813ce3b‐9f60‐44de‐bdbd‐8baeab9c9253                   Address Redacted                      First Class Mail
f813dae2‐f742‐4797‐a749‐68b1ec17382c                   Address Redacted                      First Class Mail
f815c220‐1ca1‐4a94‐937f‐6dda3bd43efb                   Address Redacted                      First Class Mail
f818f070‐1bf8‐4d8d‐907a‐b07013b37984                   Address Redacted                      First Class Mail
f8195f8d‐6f9b‐4cc5‐a35a‐9eaf8066961f                   Address Redacted                      First Class Mail
f81b0e1c‐097d‐4077‐a88e‐485d3703e04e                   Address Redacted                      First Class Mail
f81cf227‐5d90‐4bda‐b915‐b79ce34f8ecc                   Address Redacted                      First Class Mail
f8231218‐f19e‐4940‐b47a‐5c5f452b34d0                   Address Redacted                      First Class Mail
f8243b4b‐de6b‐47cb‐8918‐425f8015bbff                   Address Redacted                      First Class Mail
f826242e‐2b34‐4c74‐8032‐9303afcbbff4                   Address Redacted                      First Class Mail
f82af8c8‐d19b‐4477‐b262‐ca22f5de3589                   Address Redacted                      First Class Mail
f835de82‐fa94‐4ffb‐8f7b‐6a755aaafc6f                   Address Redacted                      First Class Mail
f836ba9c‐49fc‐4005‐aefb‐e792c78eb145                   Address Redacted                      First Class Mail
f83abbbb‐51a6‐47ac‐a7a0‐8ff62e2ba34f                   Address Redacted                      First Class Mail
f83ac712‐6de7‐41d0‐aca0‐36533313fe1b                   Address Redacted                      First Class Mail
f84094fe‐9119‐49a4‐9b72‐37c377525680                   Address Redacted                      First Class Mail
f841a074‐868c‐40e6‐961f‐29a1ff9402cf                   Address Redacted                      First Class Mail
f841ce1a‐b829‐43c4‐854b‐11f58c3aca12                   Address Redacted                      First Class Mail
f841e79b‐a9a4‐4aab‐8f24‐12c203f935c0                   Address Redacted                      First Class Mail
f8492050‐aa6b‐4a98‐9584‐9e1532beac03                   Address Redacted                      First Class Mail
f849c82d‐645d‐4628‐b865‐fe5649970652                   Address Redacted                      First Class Mail
f8533cb6‐c624‐4cb1‐b7cb‐621beeaa2a7b                   Address Redacted                      First Class Mail
f854e273‐1225‐4cd3‐bb41‐2e3a93967df0                   Address Redacted                      First Class Mail
f85ac495‐af2d‐4134‐b8fc‐509d98286476                   Address Redacted                      First Class Mail
f85b5e2e‐2196‐42ac‐82ab‐546baedcbd5a                   Address Redacted                      First Class Mail
f85e4047‐3f75‐4cd7‐8276‐4b89674f1485                   Address Redacted                      First Class Mail
f85fa147‐5452‐4f2f‐bc8d‐1f38962c62f8                   Address Redacted                      First Class Mail
f86449dd‐0d09‐4ca7‐b83c‐9cb3261c8bfb                   Address Redacted                      First Class Mail
f86765e8‐6260‐4064‐8684‐a34e9f62af4f                   Address Redacted                      First Class Mail
f86771dc‐98ea‐4442‐9786‐c92979511924                   Address Redacted                      First Class Mail
f86fceff‐30c6‐481b‐90aa‐48e1b5aa3c81                   Address Redacted                      First Class Mail
f8700199‐a762‐45c5‐b145‐310902beec6f                   Address Redacted                      First Class Mail
f872aff6‐8108‐4602‐98f9‐1cfeadbc2378                   Address Redacted                      First Class Mail
f876e0be‐2e5a‐4a51‐a9a0‐21799e1d0504                   Address Redacted                      First Class Mail
f87b5f77‐1447‐47ec‐8ce8‐7b4480cf0eec                   Address Redacted                      First Class Mail
f8825359‐2329‐4cef‐93c6‐1cb48d5bd8ec                   Address Redacted                      First Class Mail
f88266f3‐1c50‐495f‐bdef‐5833c1ec5938                   Address Redacted                      First Class Mail
f88c331b‐62e4‐429e‐9fe3‐4666c03cd973                   Address Redacted                      First Class Mail
f88f794e‐9735‐4152‐902e‐c8eb3159d91d                   Address Redacted                      First Class Mail
f88f86b0‐e25c‐482b‐9a1f‐33091d747f4c                   Address Redacted                      First Class Mail
f8914bdc‐d024‐43ee‐9d04‐031288f6864e                   Address Redacted                      First Class Mail
f89472ce‐aa3b‐4cea‐9cab‐68228d741aed                   Address Redacted                      First Class Mail




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                                                                 Service List


                              Name                                              Address                         Method of Service
f8995bdf‐70a6‐4185‐bcdb‐e4d97d421df8                   Address Redacted                      First Class Mail
f89f029b‐4f89‐46d6‐ae2a‐324a61dc0d59                   Address Redacted                      First Class Mail
f89f5c9f‐239c‐4819‐a2b7‐e72d1f4cb1f9                   Address Redacted                      First Class Mail
f8a47ca3‐9b4c‐4dea‐a2f5‐2826205f9fce                   Address Redacted                      First Class Mail
f8a6b445‐127c‐4999‐8ae9‐5729eaa7481b                   Address Redacted                      First Class Mail
f8a7c65a‐c35b‐4503‐b5da‐f97d9c8bc8ca                   Address Redacted                      First Class Mail
f8aacbc3‐6833‐482d‐ac42‐b21c7b7c442a                   Address Redacted                      First Class Mail
f8abb2a3‐bf95‐42ae‐818d‐bc713033f336                   Address Redacted                      First Class Mail
f8abb69f‐f7ac‐4abc‐8155‐c9c8e144b2f8                   Address Redacted                      First Class Mail
f8abe4c4‐5db1‐42cc‐810a‐e5d91d63d665                   Address Redacted                      First Class Mail
f8ad3990‐38b0‐48c5‐8d84‐44f6dee7c33d                   Address Redacted                      First Class Mail
f8ae2709‐8194‐4673‐be39‐ec00414e400d                   Address Redacted                      First Class Mail
f8aea00b‐7901‐4083‐87b1‐20c783341220                   Address Redacted                      First Class Mail
f8af6615‐a171‐4370‐982d‐55108cffffc7                   Address Redacted                      First Class Mail
f8b1d26d‐758b‐4e49‐b4e5‐de64e5b1fefc                   Address Redacted                      First Class Mail
f8b1e7b9‐3e81‐41fc‐b9dd‐0390900edaff                   Address Redacted                      First Class Mail
f8ba581e‐6c03‐4948‐9909‐e341bbf34971                   Address Redacted                      First Class Mail
f8bce1e0‐e7be‐43b6‐b29b‐93d67522ef89                   Address Redacted                      First Class Mail
f8bdf2f3‐e73a‐418c‐8452‐eb1f9015a7d7                   Address Redacted                      First Class Mail
f8c4c90e‐f873‐448b‐8cc6‐3fd248c3ebdb                   Address Redacted                      First Class Mail
f8c662ba‐44fd‐435d‐8c1d‐1a4e4475e4f4                   Address Redacted                      First Class Mail
f8ca457b‐34df‐4b82‐b2e3‐0e491f475240                   Address Redacted                      First Class Mail
f8d21cb7‐62bf‐4777‐bdac‐d80b677d33bd                   Address Redacted                      First Class Mail
f8d2b92d‐daaf‐4b59‐9b22‐5b9e242ef798                   Address Redacted                      First Class Mail
f8d7efde‐716c‐434a‐954e‐05b8f87907e5                   Address Redacted                      First Class Mail
f8d81333‐58b4‐44a7‐a712‐fef391096959                   Address Redacted                      First Class Mail
f8dae8b0‐c3e1‐47ec‐89f5‐3e814aaa84e5                   Address Redacted                      First Class Mail
f8dbb95c‐eb39‐4ac5‐af12‐668ada466d4b                   Address Redacted                      First Class Mail
f8dd2585‐fe6a‐4b2f‐8c55‐74d1bd875ed6                   Address Redacted                      First Class Mail
f8de2584‐6b8c‐4b4a‐b60b‐2040e62a3f35                   Address Redacted                      First Class Mail
f8de7488‐874a‐49d5‐bd17‐7c16e7bc8510                   Address Redacted                      First Class Mail
f8deb3cb‐f89d‐4ec4‐aaad‐00be280ca08a                   Address Redacted                      First Class Mail
f8df7bd6‐e907‐4a36‐b4f8‐c0a222db5a5e                   Address Redacted                      First Class Mail
f8e14fa2‐ea40‐4e49‐88db‐699b51f70af3                   Address Redacted                      First Class Mail
f8e47823‐8b22‐44cc‐ae98‐7735e70b1848                   Address Redacted                      First Class Mail
f8e4a1a0‐d409‐4f64‐bb17‐e48e69a5b9bf                   Address Redacted                      First Class Mail
f8e73ff3‐9c06‐4466‐85a0‐ae2c08b1753d                   Address Redacted                      First Class Mail
f8f0a523‐3db1‐4674‐b818‐5f5f68d0b417                   Address Redacted                      First Class Mail
f8f10ca3‐a265‐478b‐bfbd‐6398af5f0388                   Address Redacted                      First Class Mail
f8f1b552‐8dd5‐4700‐b7b5‐b2f785ae8e6c                   Address Redacted                      First Class Mail
f8f35960‐3863‐4e7c‐948f‐385f0aef10e3                   Address Redacted                      First Class Mail
f8f3c9a6‐b2d2‐4755‐91c9‐94ed8d07810b                   Address Redacted                      First Class Mail
f8f4f69b‐a3ba‐4486‐8e79‐734e73821f0c                   Address Redacted                      First Class Mail
f8fc6ec9‐7bc2‐4ed9‐b5d7‐35fff63795ad                   Address Redacted                      First Class Mail
f8ff4779‐411e‐413d‐a5b4‐77dbcade1049                   Address Redacted                      First Class Mail
f90090e7‐e2ac‐4735‐b211‐550a8e84f8a1                   Address Redacted                      First Class Mail
f90ab957‐cf65‐482b‐87fa‐cb3ef1300b1a                   Address Redacted                      First Class Mail
f912a6fb‐0dcb‐4fb1‐88d5‐db395b678ca6                   Address Redacted                      First Class Mail
f916e25b‐52d5‐40e7‐a7bc‐ce6f59d22891                   Address Redacted                      First Class Mail
f916f644‐8e72‐4451‐9c3a‐8f860bf38bce                   Address Redacted                      First Class Mail
f916f67d‐d99d‐4a99‐9cd4‐2e896ce9a638                   Address Redacted                      First Class Mail
f91adde1‐e5b6‐4a33‐974b‐46ed81e8bfed                   Address Redacted                      First Class Mail
f91af2b1‐8585‐4c41‐a0d9‐ce7e7f80096e                   Address Redacted                      First Class Mail
f91d694f‐f7be‐4b45‐96c3‐5923f4c07e50                   Address Redacted                      First Class Mail
f9257675‐c9de‐47a2‐a400‐c2febed0f2ca                   Address Redacted                      First Class Mail
f925fee0‐4e21‐448d‐9baa‐00da084049d1                   Address Redacted                      First Class Mail
f927daed‐6f20‐4eb7‐bd19‐a0a0fae71278                   Address Redacted                      First Class Mail
f92eee2a‐e6ea‐4a6c‐81b4‐b77c07e86dd7                   Address Redacted                      First Class Mail
f9327ee9‐f897‐463f‐a9a9‐5b03f98193a6                   Address Redacted                      First Class Mail
f9398a5d‐0a26‐4c88‐93d6‐fb38a66dbc98                   Address Redacted                      First Class Mail
f9425b8c‐db88‐4fb3‐8f39‐58bc88d7288b                   Address Redacted                      First Class Mail
f94a7664‐7732‐42b1‐a6f1‐a3dc15c5aee5                   Address Redacted                      First Class Mail
f94ac513‐65f6‐4ad7‐bc05‐cac2d48967ad                   Address Redacted                      First Class Mail
f94dd18a‐6691‐48cf‐a1b6‐82863824667f                   Address Redacted                      First Class Mail
f94e25c6‐a616‐4f6e‐9e26‐d3e8593a2de9                   Address Redacted                      First Class Mail
f9511ed2‐520a‐49bf‐a3d1‐5922aa3c059a                   Address Redacted                      First Class Mail
f952af65‐88cc‐40c0‐bfd5‐d3a782933a6b                   Address Redacted                      First Class Mail
f952b336‐41a7‐42a6‐a9bd‐f0c989d77432                   Address Redacted                      First Class Mail
f9538df5‐7ab6‐4414‐ae50‐7897e7f62968                   Address Redacted                      First Class Mail
f9579ec8‐c2c3‐418e‐97a7‐4513da96e0c5                   Address Redacted                      First Class Mail
f959b14f‐c4ea‐41f9‐8757‐9f4ec13b39ac                   Address Redacted                      First Class Mail
f959d229‐0c09‐41de‐8ad8‐3e7ffb00c7ff                   Address Redacted                      First Class Mail




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                                                                 Service List


                               Name                                             Address                         Method of Service
f95a49fb‐cfc4‐4a9e‐a125‐42e4971e70c6                   Address Redacted                      First Class Mail
f95ba7f0‐b1f0‐4242‐a10b‐87d4c4f31614                   Address Redacted                      First Class Mail
f95fcfec‐72f8‐41da‐98ee‐7bb3e180b38c                   Address Redacted                      First Class Mail
f964bfac‐6236‐4838‐82c2‐809237eb66da                   Address Redacted                      First Class Mail
f967e423‐29ca‐4c03‐a3da‐a9e207fa9efa                   Address Redacted                      First Class Mail
f9691e57‐7184‐43b2‐8b0a‐6c285ee3226f                   Address Redacted                      First Class Mail
f96b2a15‐0772‐40f1‐9dc9‐893eaed0a60e                   Address Redacted                      First Class Mail
f96c3675‐39d0‐4bc5‐a87e‐f819d139b9d8                   Address Redacted                      First Class Mail
f97205af‐cf80‐4632‐b7a2‐852199544ac5                   Address Redacted                      First Class Mail
f97845d8‐a1fe‐473f‐827e‐d046b0600d5f                   Address Redacted                      First Class Mail
f97934f0‐de90‐4b1e‐92d1‐92795b7f4346                   Address Redacted                      First Class Mail
f97afc6c‐ed3e‐4c81‐add3‐04b6c248654d                   Address Redacted                      First Class Mail
f97affb1‐c772‐4191‐b0d1‐f4e3968a5e43                   Address Redacted                      First Class Mail
f97f5f5e‐dbbf‐45e3‐ba9c‐60a2c26ec3c1                   Address Redacted                      First Class Mail
f97f6af8‐ef6a‐453a‐84b6‐969376392259                   Address Redacted                      First Class Mail
f97fb2d2‐28bd‐45d3‐b7f4‐de1abe8105e5                   Address Redacted                      First Class Mail
f9808c9e‐a7ff‐483b‐b794‐25de975536a7                   Address Redacted                      First Class Mail
f9837535‐56de‐43c5‐a0f5‐0ea5406aee4a                   Address Redacted                      First Class Mail
f98423d5‐0fb5‐451a‐87fe‐89dc607c03b2                   Address Redacted                      First Class Mail
f987f7b9‐2404‐49ce‐8159‐b414fff34714                   Address Redacted                      First Class Mail
f988a351‐adb4‐47f0‐a560‐4dd413fc5ee9                   Address Redacted                      First Class Mail
f988e32d‐1735‐4668‐ad43‐49134c5f773e                   Address Redacted                      First Class Mail
f98b0c3b‐888d‐4ef7‐ab87‐08fb76c1c183                   Address Redacted                      First Class Mail
f98c8919‐09c4‐4622‐b7fc‐fdb251d7d104                   Address Redacted                      First Class Mail
f98cf71f‐2043‐418d‐ad00‐f9e0f946b39e                   Address Redacted                      First Class Mail
f98de5e2‐f5fb‐41a7‐9123‐f83c33e71bf5                   Address Redacted                      First Class Mail
f98df4c5‐a62c‐4f97‐875b‐54b5a8c88806                   Address Redacted                      First Class Mail
f98dfb73‐a9f9‐4fe8‐a323‐9e07bb3fd3df                   Address Redacted                      First Class Mail
f991303d‐a13f‐4cfa‐8116‐9306dd274190                   Address Redacted                      First Class Mail
f99140bb‐4019‐4957‐87a2‐036359908bb0                   Address Redacted                      First Class Mail
f991b9e1‐ed91‐4d5c‐bb2c‐44a88dec167f                   Address Redacted                      First Class Mail
f999df1b‐6ec1‐49eb‐9224‐27b7ad1cf1a4                   Address Redacted                      First Class Mail
f99fb1ee‐ae9d‐4330‐8163‐e4500de6e2b9                   Address Redacted                      First Class Mail
f9a04e5c‐c45d‐4c4a‐a7a0‐5f0bff26504d                   Address Redacted                      First Class Mail
f9a339d2‐2787‐4bdd‐8769‐8f67b8f4ed64                   Address Redacted                      First Class Mail
f9a6b22c‐5ad2‐4b94‐be31‐12b476743a39                   Address Redacted                      First Class Mail
f9a7fe46‐fb26‐4ff3‐aa35‐2304b3a3e802                   Address Redacted                      First Class Mail
f9a916d9‐41a7‐4b8f‐a10d‐54915eb9e7d5                   Address Redacted                      First Class Mail
f9aa1bf9‐eac6‐4c7f‐aac6‐83a3fa0d2c0d                   Address Redacted                      First Class Mail
f9abb6a8‐5b0c‐4fa3‐a38e‐9affdf9ee483                   Address Redacted                      First Class Mail
f9ac47d9‐2b52‐4d73‐81a1‐711b77c8ae3f                   Address Redacted                      First Class Mail
f9b0b993‐2add‐45c6‐991f‐73f1c4c121e4                   Address Redacted                      First Class Mail
f9b1e9ac‐0435‐4653‐af1f‐60f0f54bce73                   Address Redacted                      First Class Mail
f9ba1c8b‐f5b8‐415b‐a2af‐6ffc003419bc                   Address Redacted                      First Class Mail
f9c4665c‐50da‐4719‐87d9‐382825d5c769                   Address Redacted                      First Class Mail
f9c9d43f‐1455‐4cdd‐b5f7‐75cad3d2da07                   Address Redacted                      First Class Mail
f9cb8c9b‐2212‐495c‐8539‐b2f03c1e931f                   Address Redacted                      First Class Mail
f9ce6d8a‐d400‐454f‐b643‐9e33069dd838                   Address Redacted                      First Class Mail
f9d1b2fa‐f5f8‐46db‐89ce‐d82d45145edb                   Address Redacted                      First Class Mail
f9d23e49‐4ed2‐4c0a‐ab06‐7bc19cd1a5c2                   Address Redacted                      First Class Mail
f9d494d3‐8388‐48cb‐a95e‐e3121f6d5a80                   Address Redacted                      First Class Mail
f9d4ffce‐a37d‐4278‐a542‐157f802f673e                   Address Redacted                      First Class Mail
f9e064d9‐a8bf‐422a‐b3dd‐a1bf21fb88ff                   Address Redacted                      First Class Mail
f9e24275‐d657‐4f2d‐97d1‐3a3bf8f0d9f5                   Address Redacted                      First Class Mail
f9eafdd2‐e926‐43d1‐b7f8‐f10eb79b3e7b                   Address Redacted                      First Class Mail
f9ec1270‐7ddc‐4283‐8edb‐0baa6311ad43                   Address Redacted                      First Class Mail
f9ed14b8‐9082‐4dfd‐af8b‐09825e01120b                   Address Redacted                      First Class Mail
f9f0b415‐2754‐45bb‐8d5d‐82ab5a7b5388                   Address Redacted                      First Class Mail
f9f8aa31‐15ca‐4547‐89c2‐ebc4f9db4db7                   Address Redacted                      First Class Mail
f9fa7397‐92a6‐4105‐8183‐3912b2bdd1e1                   Address Redacted                      First Class Mail
f9fd8a05‐11f8‐4d8f‐8609‐56df34ed396b                   Address Redacted                      First Class Mail
fa03cffa‐9e00‐44c4‐aacc‐2a8ad7f313d5                   Address Redacted                      First Class Mail
fa04778a‐9108‐4f6f‐b654‐b0a141cc88f7                   Address Redacted                      First Class Mail
fa052639‐b3e0‐4bc0‐a2ab‐375d0079276f                   Address Redacted                      First Class Mail
fa055d64‐80cd‐483a‐9d21‐7f7c4161e8bc                   Address Redacted                      First Class Mail
fa065e31‐4a5d‐4515‐a9e3‐b2972b31c15b                   Address Redacted                      First Class Mail
fa070aaf‐902d‐419d‐b88a‐7a79312d1bd2                   Address Redacted                      First Class Mail
fa0d1c10‐5094‐4c0a‐a844‐c524f55617f0                   Address Redacted                      First Class Mail
fa0e22eb‐052b‐49d0‐abfc‐c04cf20e94d4                   Address Redacted                      First Class Mail
fa0e3c7a‐4981‐47f4‐9fb1‐958fbbb910a8                   Address Redacted                      First Class Mail
fa0fed7a‐f8de‐4e20‐913b‐d27ee8e3decc                   Address Redacted                      First Class Mail
fa1393e6‐e2fc‐489d‐b2a3‐ecd785d02279                   Address Redacted                      First Class Mail




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                                                                Exhibit A
                                                                 Service List


                              Name                                              Address                         Method of Service
fa15c8bb‐ca02‐40b9‐85f1‐4e0d447679bb                   Address Redacted                      First Class Mail
fa16b643‐129d‐417f‐87c9‐b8b0f492e12b                   Address Redacted                      First Class Mail
fa178b2b‐afc6‐477e‐9f93‐2579f782b2b4                   Address Redacted                      First Class Mail
fa1ad503‐0833‐49e2‐9cd5‐4f356f38a2b1                   Address Redacted                      First Class Mail
fa1c3508‐2a13‐41ca‐b779‐49fe736a238f                   Address Redacted                      First Class Mail
fa1c65c5‐ecc5‐471f‐b9e0‐1b0263a144b1                   Address Redacted                      First Class Mail
fa1d300a‐e156‐43e1‐86e4‐278f64e52b82                   Address Redacted                      First Class Mail
fa1e12e1‐fa5c‐412d‐9437‐bd7cd5ab428e                   Address Redacted                      First Class Mail
fa1e778c‐e650‐4419‐bbdc‐6bc5038804bf                   Address Redacted                      First Class Mail
fa21767e‐8fe9‐4d4d‐8608‐82eba605c053                   Address Redacted                      First Class Mail
fa298400‐153e‐4819‐8915‐3cbd0c521307                   Address Redacted                      First Class Mail
fa298e5e‐a449‐4c70‐870b‐4c2d86878496                   Address Redacted                      First Class Mail
fa2c2082‐65bf‐4fc9‐af70‐c89bd5c97cf2                   Address Redacted                      First Class Mail
fa31c264‐11ca‐4377‐8978‐16e691ce5c08                   Address Redacted                      First Class Mail
fa352c76‐b647‐418b‐86e2‐3543c5c52a0a                   Address Redacted                      First Class Mail
fa36a590‐062d‐472c‐8ee7‐0570f6188a95                   Address Redacted                      First Class Mail
fa3bcd94‐4741‐4e65‐aef1‐dd39eb25c378                   Address Redacted                      First Class Mail
fa40ae99‐990c‐4b5f‐809d‐385e4ba22d13                   Address Redacted                      First Class Mail
fa43c68d‐b422‐4ec1‐a98f‐79169a835f09                   Address Redacted                      First Class Mail
fa43e39f‐e40c‐45b1‐bfc5‐7a079b55e320                   Address Redacted                      First Class Mail
fa4590a0‐8a44‐4b47‐a248‐5b07da49f17f                   Address Redacted                      First Class Mail
fa465258‐7da4‐4fed‐89bb‐7ecbe7a45193                   Address Redacted                      First Class Mail
fa47772f‐1100‐4a4e‐addc‐6f11cbff465a                   Address Redacted                      First Class Mail
fa4d5b31‐f99e‐41b9‐ae78‐bac18d3c26c7                   Address Redacted                      First Class Mail
fa4e81a7‐792d‐4624‐9238‐c38a5ee31e2e                   Address Redacted                      First Class Mail
fa509502‐ec41‐432e‐9f2a‐80fcd574dfca                   Address Redacted                      First Class Mail
fa526757‐41fb‐4983‐8fad‐71c7b96e41f4                   Address Redacted                      First Class Mail
fa558c0b‐169b‐4270‐a556‐6ffc076851be                   Address Redacted                      First Class Mail
fa5973b8‐9c00‐43b4‐a703‐3771cdf49144                   Address Redacted                      First Class Mail
fa655a52‐3ad2‐4fc9‐bf6c‐82523c7e72aa                   Address Redacted                      First Class Mail
fa68be60‐7fae‐449d‐91f9‐c754756bffff                   Address Redacted                      First Class Mail
fa6bcd79‐aacd‐45e4‐aac9‐d0c225df6246                   Address Redacted                      First Class Mail
fa6de47e‐926c‐423d‐b436‐6016b27a7542                   Address Redacted                      First Class Mail
fa6e6076‐a2d2‐4005‐8499‐1b8dabf9196d                   Address Redacted                      First Class Mail
fa72053a‐09fe‐432f‐b4b8‐d8ff9110c515                   Address Redacted                      First Class Mail
fa720785‐c96f‐449c‐be4a‐c04931630a14                   Address Redacted                      First Class Mail
fa743c70‐cfbd‐4093‐a580‐65bd5500d4e5                   Address Redacted                      First Class Mail
fa75aba1‐4782‐41c6‐a46a‐f26542b0be2d                   Address Redacted                      First Class Mail
fa76f02e‐9f6d‐4b52‐92c6‐e630d9b1c43b                   Address Redacted                      First Class Mail
fa7c8032‐c376‐4fd3‐a211‐5452fee2de1b                   Address Redacted                      First Class Mail
fa7d8d49‐3749‐4f29‐953b‐366c06ffb92f                   Address Redacted                      First Class Mail
fa7f5a3a‐1a3a‐4560‐a3f8‐1bd59aa414a9                   Address Redacted                      First Class Mail
fa89f842‐695a‐4945‐9ee8‐b51caaeb93b3                   Address Redacted                      First Class Mail
fa8a60c3‐835e‐43d1‐a137‐60d31ed2b240                   Address Redacted                      First Class Mail
fa8cbcec‐2e23‐4f81‐98ae‐c3f91a42ae36                   Address Redacted                      First Class Mail
fa9079f4‐784f‐484d‐b33f‐1588bc286ff2                   Address Redacted                      First Class Mail
fa9121a3‐972f‐48fa‐9736‐c577acf92998                   Address Redacted                      First Class Mail
fa923cec‐ec18‐4291‐b58b‐b1f3056b385b                   Address Redacted                      First Class Mail
fa94d076‐4e88‐4c34‐a991‐c09308aa093a                   Address Redacted                      First Class Mail
fa957205‐0ddc‐42d4‐adb7‐e4a916fd44fc                   Address Redacted                      First Class Mail
fa9608cf‐9dfd‐433a‐a1e9‐71399178d031                   Address Redacted                      First Class Mail
fa976c57‐da0f‐4ced‐b5d9‐371c0f45a7bc                   Address Redacted                      First Class Mail
fa9aafed‐40a2‐4c50‐9473‐fe8cf8d84229                   Address Redacted                      First Class Mail
fa9b04f1‐234b‐49c9‐81c5‐f85071f02ac1                   Address Redacted                      First Class Mail
fa9b560f‐feb5‐4012‐bb6a‐12923711f7bd                   Address Redacted                      First Class Mail
fa9c4b46‐a1dd‐46bd‐beca‐46574ca0877e                   Address Redacted                      First Class Mail
faa21136‐70a7‐454e‐a8e7‐473398cc91dc                   Address Redacted                      First Class Mail
faa358d0‐946a‐4b4b‐8121‐9a163be2f083                   Address Redacted                      First Class Mail
faa41793‐e7a8‐471c‐b9d7‐0f84442b6553                   Address Redacted                      First Class Mail
faaa1343‐16b2‐40ce‐bd38‐5b467aa32577                   Address Redacted                      First Class Mail
faaa7d38‐e147‐400c‐abdd‐e37599b14953                   Address Redacted                      First Class Mail
faaa8eae‐59ca‐4466‐922c‐e2b7d9e7a7dd                   Address Redacted                      First Class Mail
faaaf46b‐5389‐47fa‐bf76‐403640c0e169                   Address Redacted                      First Class Mail
faab2a79‐5b18‐4d1f‐bf89‐dd31679db816                   Address Redacted                      First Class Mail
faafe67e‐1538‐4a60‐84c6‐d7bfd7dcb42f                   Address Redacted                      First Class Mail
fab0ad1f‐ab92‐4231‐b710‐0c9b93d43ea8                   Address Redacted                      First Class Mail
fab38859‐e7d6‐4cfc‐8309‐a17883264816                   Address Redacted                      First Class Mail
fab3ad3b‐b2df‐44c9‐be36‐81d37a338ff9                   Address Redacted                      First Class Mail
fab57124‐efe9‐4e98‐a6b4‐4ebaaa5c48bf                   Address Redacted                      First Class Mail
fab72b7f‐c839‐46d5‐9e19‐e12ba454fb95                   Address Redacted                      First Class Mail
fab77156‐67f5‐41cb‐aa71‐ceeef76aa8c0                   Address Redacted                      First Class Mail
fab845ac‐8781‐4a07‐8ada‐1d9c8b4a0b04                   Address Redacted                      First Class Mail




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                                                                Exhibit A
                                                                 Service List


                               Name                                             Address                         Method of Service
fabe5ea4‐60a6‐47ec‐a386‐4ae3535e7ed9                   Address Redacted                      First Class Mail
fac1cd50‐aff6‐4c5a‐9559‐7b79582a52d0                   Address Redacted                      First Class Mail
fac25a45‐ae94‐4497‐b960‐6573b19cd20e                   Address Redacted                      First Class Mail
fac2ed8b‐5bb7‐49f5‐acf3‐184b29e7b4cd                   Address Redacted                      First Class Mail
fac584d9‐3c6b‐46ec‐998d‐afa68539bccc                   Address Redacted                      First Class Mail
facb0e6c‐4ecf‐491a‐9ab9‐18155b19e101                   Address Redacted                      First Class Mail
facc3db6‐c167‐4431‐aaba‐b04c08fad5e0                   Address Redacted                      First Class Mail
facdf1ff‐2016‐4f1f‐9e2d‐a5ce3dda4847                   Address Redacted                      First Class Mail
face7ad0‐92c3‐447a‐97d3‐59b9a4e761e2                   Address Redacted                      First Class Mail
fad21b67‐7e51‐4ef3‐839c‐fab5ccda7d27                   Address Redacted                      First Class Mail
fad4d96b‐332f‐4ddc‐9f98‐402e6352ce04                   Address Redacted                      First Class Mail
fad50680‐e4f0‐444f‐81c6‐bae241c87615                   Address Redacted                      First Class Mail
fad825d4‐edde‐447c‐bcc2‐359918941c48                   Address Redacted                      First Class Mail
fadd6874‐1619‐4d2e‐a36d‐0686d2bf9c5f                   Address Redacted                      First Class Mail
fae1ecff‐89fc‐47fb‐932b‐fbdd79a2db8a                   Address Redacted                      First Class Mail
fae503cd‐136b‐4ec2‐9c34‐a98e6fe6691e                   Address Redacted                      First Class Mail
fae59e32‐9ed2‐4fab‐ac86‐4243f8808c1a                   Address Redacted                      First Class Mail
fae76b8b‐40d5‐46a0‐95f4‐e5ead52f3350                   Address Redacted                      First Class Mail
fae907f3‐0da3‐4e8d‐a9ab‐f2f8e0dc4443                   Address Redacted                      First Class Mail
fae974a2‐6551‐4dbe‐b0bb‐99c10d19fbaa                   Address Redacted                      First Class Mail
faec98fa‐8e2e‐45eb‐b011‐1b27cca69953                   Address Redacted                      First Class Mail
faede358‐6533‐4649‐a018‐3308e03b3744                   Address Redacted                      First Class Mail
faefd0bc‐8346‐4279‐9ade‐e66b1c639518                   Address Redacted                      First Class Mail
faf12352‐618a‐4251‐aa84‐8651a983000c                   Address Redacted                      First Class Mail
faf6990d‐15fb‐4f08‐8715‐3cbb12eacaf3                   Address Redacted                      First Class Mail
fafb99de‐def9‐46bf‐8fe6‐0c96a74de6a1                   Address Redacted                      First Class Mail
fafbca1a‐f0d1‐421b‐9206‐0546ac329ba3                   Address Redacted                      First Class Mail
fafe8867‐e09c‐4ae7‐9bf6‐55a813fdb17c                   Address Redacted                      First Class Mail
fb02cb03‐4f73‐4372‐8f92‐3be57cd0f867                   Address Redacted                      First Class Mail
fb030281‐4ac7‐420d‐9f80‐dfa1a10e33b9                   Address Redacted                      First Class Mail
fb03b214‐c3b6‐49f8‐bf89‐45debcba4a49                   Address Redacted                      First Class Mail
fb05fd14‐03f5‐46d4‐bcf4‐463af3493b4f                   Address Redacted                      First Class Mail
fb062f60‐fb03‐488f‐9a6f‐4c2a426d3596                   Address Redacted                      First Class Mail
fb093cc5‐497c‐4617‐a197‐7da2b3dada8e                   Address Redacted                      First Class Mail
fb0aa0d1‐5407‐4382‐b077‐d86d91506d0c                   Address Redacted                      First Class Mail
fb0b5189‐cf3d‐4cb6‐835b‐7ced3962317f                   Address Redacted                      First Class Mail
fb0e82d0‐9962‐46c4‐9f49‐5be8448f9d74                   Address Redacted                      First Class Mail
fb0ea955‐14ba‐4ae8‐9d45‐1bd16862ac74                   Address Redacted                      First Class Mail
fb163e2f‐d93b‐4852‐962f‐65ecd24748ff                   Address Redacted                      First Class Mail
fb18fb78‐cd2a‐4902‐a8b1‐7cfcbf8aeaf2                   Address Redacted                      First Class Mail
fb1b2d54‐3f82‐4925‐8d3b‐b38b5f484f93                   Address Redacted                      First Class Mail
fb23ae2c‐c098‐4107‐9b9d‐2dab4d3acb90                   Address Redacted                      First Class Mail
fb252ced‐2a4b‐4a7f‐8a18‐678deccacc3b                   Address Redacted                      First Class Mail
fb25c56e‐253b‐4a76‐b779‐69bf36b13492                   Address Redacted                      First Class Mail
fb2a9816‐e1f3‐4a02‐96ef‐f1206f99dc63                   Address Redacted                      First Class Mail
fb2b62a8‐3705‐4888‐afb4‐f7bebaaf5cff                   Address Redacted                      First Class Mail
fb2c4bea‐2a3d‐4f60‐a085‐171ce5c9d935                   Address Redacted                      First Class Mail
fb2c9723‐7e74‐4dbe‐8644‐7fc056eda9b4                   Address Redacted                      First Class Mail
fb2ccbd2‐d586‐4d72‐ab93‐6faf23f87a9e                   Address Redacted                      First Class Mail
fb2d025a‐06f6‐41dc‐822e‐de106f2df19f                   Address Redacted                      First Class Mail
fb2dc0fc‐8b80‐44d0‐803f‐b643419506f7                   Address Redacted                      First Class Mail
fb2f5880‐d686‐4f3d‐bf98‐f69dbf1340a5                   Address Redacted                      First Class Mail
fb2feabc‐8f04‐4f31‐8907‐5c284dd29d1e                   Address Redacted                      First Class Mail
fb2ffbf8‐9772‐4f1f‐a5b7‐37a2780b19b2                   Address Redacted                      First Class Mail
fb31fdde‐58b4‐42dd‐927f‐9c5501fd71c8                   Address Redacted                      First Class Mail
fb36d0f7‐e351‐4867‐af52‐55ee1d662522                   Address Redacted                      First Class Mail
fb39f669‐bded‐4243‐bc14‐dbeff2c9cfa8                   Address Redacted                      First Class Mail
fb424078‐8348‐4071‐873f‐ad47131499cb                   Address Redacted                      First Class Mail
fb450c99‐206c‐4f0e‐aad9‐1bd936a80bce                   Address Redacted                      First Class Mail
fb46f5d8‐080c‐41e2‐be71‐316e49259264                   Address Redacted                      First Class Mail
fb4c51e2‐501a‐41a8‐b12a‐1934c5c36f8f                   Address Redacted                      First Class Mail
fb4f92a2‐31cf‐4dbe‐bb42‐779fa3277b90                   Address Redacted                      First Class Mail
fb510df9‐4415‐444c‐8529‐42c3fa642dfe                   Address Redacted                      First Class Mail
fb51991b‐9d40‐4c9f‐9dd8‐5e342e1b2327                   Address Redacted                      First Class Mail
fb522d1a‐6fc4‐42c8‐9275‐84c9b8d74fbd                   Address Redacted                      First Class Mail
fb537f6f‐ed85‐41a1‐9515‐4e3ee5db675b                   Address Redacted                      First Class Mail
fb56ed37‐3a0d‐470e‐8ee5‐dbcd51aff7bd                   Address Redacted                      First Class Mail
fb5b2774‐94d7‐4a4d‐979e‐306a928a3cf8                   Address Redacted                      First Class Mail
fb5b501d‐1c3e‐4df8‐bfbf‐0007bde39427                   Address Redacted                      First Class Mail
fb62e0ed‐421f‐48cc‐9f7a‐da153e49746c                   Address Redacted                      First Class Mail
fb63aa95‐6e79‐4a0e‐a9d3‐6a45237ae105                   Address Redacted                      First Class Mail
fb63d4fa‐7d51‐4c88‐b48b‐398a6d6cab62                   Address Redacted                      First Class Mail




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                              Name                                              Address                         Method of Service
fb6685b5‐1016‐4ed1‐908a‐94204a149dc9                   Address Redacted                      First Class Mail
fb6b8241‐73d4‐4d57‐b17c‐c827e781358c                   Address Redacted                      First Class Mail
fb72143a‐0915‐4e93‐836e‐58fc6539640f                   Address Redacted                      First Class Mail
fb74049c‐46de‐43ad‐91f4‐2716777ce4a4                   Address Redacted                      First Class Mail
fb750c61‐b5b2‐49ec‐8481‐c91a060a8282                   Address Redacted                      First Class Mail
fb7761ee‐5e7a‐4cd8‐b85f‐458c5966bdb9                   Address Redacted                      First Class Mail
fb7dd3c2‐0bae‐457c‐8d06‐631f10be277b                   Address Redacted                      First Class Mail
fb7f56bb‐bbec‐4045‐8d84‐73e107a29244                   Address Redacted                      First Class Mail
fb7faeac‐f56e‐4293‐a40a‐9da49b82c997                   Address Redacted                      First Class Mail
fb82b2e3‐f62a‐4033‐972c‐2fca72c71a0a                   Address Redacted                      First Class Mail
fb87d746‐2f68‐4247‐ae90‐2d663761e739                   Address Redacted                      First Class Mail
fb8938cf‐8cc3‐4b3f‐9a9e‐677e795e74eb                   Address Redacted                      First Class Mail
fb8d6405‐b38b‐4fe0‐a93e‐4bb922068932                   Address Redacted                      First Class Mail
fb90c517‐9674‐4bfd‐bfd0‐5743a43d9488                   Address Redacted                      First Class Mail
fb9124af‐3c19‐4aaf‐9f31‐c8119c4eda92                   Address Redacted                      First Class Mail
fb926f4d‐d9f2‐461e‐9bde‐dafe7aab825e                   Address Redacted                      First Class Mail
fb92ed7a‐599c‐4ff5‐b8d6‐0794a2b8ada5                   Address Redacted                      First Class Mail
fb935cb4‐8fea‐4148‐8088‐352b625b4e2d                   Address Redacted                      First Class Mail
fb9b1699‐fe50‐49c5‐93e1‐13bd65cda118                   Address Redacted                      First Class Mail
fb9c020e‐ff69‐4412‐9566‐ea1bfc22788f                   Address Redacted                      First Class Mail
fb9e5a85‐ffe9‐4713‐b9e4‐b96f2a46be80                   Address Redacted                      First Class Mail
fb9e951b‐34ba‐4a83‐bec3‐05666aa04df0                   Address Redacted                      First Class Mail
fba28dc3‐f061‐4882‐b225‐dac435d107f6                   Address Redacted                      First Class Mail
fba2ee76‐84ac‐43df‐85c7‐630b40a046e2                   Address Redacted                      First Class Mail
fba7706f‐5722‐41e3‐b281‐3185aa023281                   Address Redacted                      First Class Mail
fbb1164b‐60ca‐4a25‐a1e2‐af2ee493df14                   Address Redacted                      First Class Mail
fbb2bf44‐6605‐4533‐b410‐e7f7c0312cb4                   Address Redacted                      First Class Mail
fbb2c3f0‐ae3c‐46b6‐aa74‐94399830797a                   Address Redacted                      First Class Mail
fbb4ae8b‐87dd‐4827‐90a6‐c98aec0a4426                   Address Redacted                      First Class Mail
fbb5a879‐3888‐4ce0‐9b9b‐6e76df1f0df2                   Address Redacted                      First Class Mail
fbb5d503‐b81f‐450c‐b806‐b289908de0cb                   Address Redacted                      First Class Mail
fbb76507‐e163‐4fff‐a956‐f4eda3bdcd1f                   Address Redacted                      First Class Mail
fbb91cd2‐7a68‐483b‐ae41‐8e448a6b9165                   Address Redacted                      First Class Mail
fbbbcc35‐5d27‐4dbb‐8d46‐5fd096cfc636                   Address Redacted                      First Class Mail
fbbf79fd‐3b05‐4fd4‐8ffc‐2e89eb703114                   Address Redacted                      First Class Mail
fbc29434‐f61e‐45ff‐b55c‐df8a2d39617a                   Address Redacted                      First Class Mail
fbc3c243‐7fb9‐4ca6‐915f‐95aedd9fd2c8                   Address Redacted                      First Class Mail
fbc5641e‐9191‐46d1‐ae07‐7347f5a0e925                   Address Redacted                      First Class Mail
fbcc72bc‐71a2‐46d1‐8dca‐8799fbb0e4db                   Address Redacted                      First Class Mail
fbd02beb‐3169‐439a‐9abe‐e141e8ac87f2                   Address Redacted                      First Class Mail
fbd0bf09‐511a‐4a45‐aba4‐332e070bed4d                   Address Redacted                      First Class Mail
fbd24e9e‐46e5‐4865‐8eed‐5b3d9a9ba569                   Address Redacted                      First Class Mail
fbd40aaf‐c0fc‐49bd‐bd1a‐17d8932769ba                   Address Redacted                      First Class Mail
fbd45f47‐e761‐48ad‐b02d‐560a18fc92bc                   Address Redacted                      First Class Mail
fbd4e1eb‐b7b6‐4d33‐b527‐a0ea3db7078b                   Address Redacted                      First Class Mail
fbd5214c‐bdfe‐4fb3‐b106‐7ee7ec5da6ec                   Address Redacted                      First Class Mail
fbd542c6‐d7db‐438c‐952a‐bf20f6632f32                   Address Redacted                      First Class Mail
fbd68aca‐ddfe‐4965‐b5ac‐7f4c93b2ff89                   Address Redacted                      First Class Mail
fbd7bb7b‐1b2c‐4c1b‐b394‐c86af470297f                   Address Redacted                      First Class Mail
fbd8d337‐7216‐49ba‐bd22‐08fbdeec50ba                   Address Redacted                      First Class Mail
fbdc9d3f‐1655‐4bbf‐b865‐b776c70baf8e                   Address Redacted                      First Class Mail
fbe19697‐40ac‐491e‐9057‐2f73fbbbb2eb                   Address Redacted                      First Class Mail
fbe5457a‐06e5‐4794‐b208‐c8bc42b6de97                   Address Redacted                      First Class Mail
fbefa3fc‐a2b8‐403b‐b9e9‐6c516061183f                   Address Redacted                      First Class Mail
fbf54bc4‐5191‐4f61‐b0cb‐eaa5f28cb990                   Address Redacted                      First Class Mail
fbf55d9d‐94fc‐45b2‐9504‐7ea9d4babf95                   Address Redacted                      First Class Mail
fbf6746e‐7b2c‐4112‐91c0‐284082420950                   Address Redacted                      First Class Mail
fbf7e832‐567e‐40e9‐bf7b‐58848054d996                   Address Redacted                      First Class Mail
fbfbf16c‐afed‐4a4e‐8492‐a4a79d3bef64                   Address Redacted                      First Class Mail
fc01cc12‐cdff‐4208‐9d17‐f0311a5f3835                   Address Redacted                      First Class Mail
fc01eb44‐3249‐412f‐b71e‐fa607bb9cbec                   Address Redacted                      First Class Mail
fc01ed2f‐4d40‐4ddb‐8567‐3f3e88bbcf77                   Address Redacted                      First Class Mail
fc08205c‐4fca‐40e0‐911a‐4e66f720cb94                   Address Redacted                      First Class Mail
fc0914ec‐a69e‐4cc6‐a230‐04417bd393c5                   Address Redacted                      First Class Mail
fc09deee‐bbc3‐46db‐8173‐e1e687e728f0                   Address Redacted                      First Class Mail
fc0fa646‐8d72‐4253‐9476‐d6e419209d38                   Address Redacted                      First Class Mail
fc12ffe4‐27fa‐4a44‐bb32‐b8e751032fe4                   Address Redacted                      First Class Mail
fc14f583‐b6c6‐4b46‐a5a6‐66096a8d400e                   Address Redacted                      First Class Mail
fc176c59‐665d‐46a3‐b229‐a075b7065d17                   Address Redacted                      First Class Mail
fc195139‐2fb9‐4786‐a58c‐89fb7fe646ee                   Address Redacted                      First Class Mail
fc1b0571‐ea25‐4b8a‐a5f6‐920b2d70a6d6                   Address Redacted                      First Class Mail
fc1cb2f7‐a24a‐4c5b‐ba3f‐1d377367ca70                   Address Redacted                      First Class Mail




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                                                                 Service List


                               Name                                             Address                         Method of Service
fc1d6e2a‐077c‐4f79‐ac35‐44ed31e5cf24                   Address Redacted                      First Class Mail
fc20f9f2‐6f82‐43b7‐9544‐7d5e11ccb49b                   Address Redacted                      First Class Mail
fc230ceb‐f4de‐463c‐ba47‐2aed98036247                   Address Redacted                      First Class Mail
fc250fc1‐75fa‐4595‐a29d‐d5797a85f3f3                   Address Redacted                      First Class Mail
fc2be075‐e968‐4fa9‐ba65‐c2b51f83917b                   Address Redacted                      First Class Mail
fc306938‐4739‐4782‐bc2f‐5b3a9d02754e                   Address Redacted                      First Class Mail
fc32836c‐5577‐4979‐821d‐d78f77027509                   Address Redacted                      First Class Mail
fc32c0d2‐8ebe‐41b2‐8288‐900c13a142a5                   Address Redacted                      First Class Mail
fc33493b‐d889‐4745‐9cb5‐93835821e6ea                   Address Redacted                      First Class Mail
fc335676‐798d‐4907‐8368‐52bab12de572                   Address Redacted                      First Class Mail
fc36ff4d‐7b00‐4969‐8ce6‐1aa7174e387b                   Address Redacted                      First Class Mail
fc39f1bc‐da6e‐4f1d‐8330‐60246ba9434e                   Address Redacted                      First Class Mail
fc3a60fa‐adee‐4819‐a6e2‐84d2bc7a7228                   Address Redacted                      First Class Mail
fc3c7dba‐8dee‐4fef‐91bd‐02a2c812ff07                   Address Redacted                      First Class Mail
fc3fcf24‐3b9e‐43a6‐b20f‐67089e4b1029                   Address Redacted                      First Class Mail
fc44ced8‐be4b‐42c3‐b0a2‐6d3170e79ce9                   Address Redacted                      First Class Mail
fc497bf4‐4f32‐47b2‐8af7‐6f5742cc515e                   Address Redacted                      First Class Mail
fc4a8f60‐1a31‐488c‐95f8‐961e61ca0e91                   Address Redacted                      First Class Mail
fc4aff37‐bb5a‐4604‐8878‐e7dd9c41e1ab                   Address Redacted                      First Class Mail
fc4b2807‐acf2‐4570‐a672‐444da56c3087                   Address Redacted                      First Class Mail
fc4c3749‐5582‐4022‐a66e‐b40057c386af                   Address Redacted                      First Class Mail
fc4c975b‐e7b2‐4447‐8183‐f52cc240be81                   Address Redacted                      First Class Mail
fc4e7fb0‐619d‐4f61‐a91c‐e54ac1848c99                   Address Redacted                      First Class Mail
fc506666‐d055‐4744‐a516‐fbeb879a46e3                   Address Redacted                      First Class Mail
fc51f204‐6e24‐4033‐90ba‐5222ee145281                   Address Redacted                      First Class Mail
fc52ca96‐f9b8‐4dc7‐8eb3‐1243168ddf18                   Address Redacted                      First Class Mail
fc5540bc‐1dcd‐4219‐824c‐416bc33905e5                   Address Redacted                      First Class Mail
fc56a2cf‐346b‐42ac‐a1c1‐b0c803eaa0ce                   Address Redacted                      First Class Mail
fc56a5a1‐ef5c‐4e38‐a94e‐96362baa0691                   Address Redacted                      First Class Mail
fc5da188‐8a6d‐4c05‐a521‐1ae448284dbb                   Address Redacted                      First Class Mail
fc5f09c4‐6ee9‐4b5b‐84d6‐24bac48d2860                   Address Redacted                      First Class Mail
fc5f7922‐aa2c‐4e68‐ae1e‐8ff39c4bed61                   Address Redacted                      First Class Mail
fc60625d‐130f‐4de4‐9842‐30d4f6fa14a9                   Address Redacted                      First Class Mail
fc61b89f‐f1ed‐4c1f‐aacd‐4cdf9c3a29be                   Address Redacted                      First Class Mail
fc626c25‐a22f‐448c‐815c‐3e56b16a54ec                   Address Redacted                      First Class Mail
fc634ff8‐e8d5‐495c‐902f‐25be19a35627                   Address Redacted                      First Class Mail
fc6ed09c‐21bb‐48b6‐8a20‐0661fcdd5782                   Address Redacted                      First Class Mail
fc717fb9‐8989‐4b11‐b9cc‐5525311f3cad                   Address Redacted                      First Class Mail
fc729e5f‐5efd‐465a‐b32e‐59615f0dad1a                   Address Redacted                      First Class Mail
fc76d4db‐c401‐49df‐b685‐bdf397f6bcf3                   Address Redacted                      First Class Mail
fc7a7bfb‐8f89‐4691‐9e6c‐dc7644b49616                   Address Redacted                      First Class Mail
fc7c7929‐1bd1‐4d98‐a443‐8375f2ed9040                   Address Redacted                      First Class Mail
fc7db9e0‐ffc1‐4fb3‐8942‐0ee793590836                   Address Redacted                      First Class Mail
fc7f023e‐c0f1‐4fba‐99c8‐83b6a40a5b2a                   Address Redacted                      First Class Mail
fc80b41f‐a568‐40cf‐94d0‐0d1d19a63047                   Address Redacted                      First Class Mail
fc87ba29‐00e3‐4365‐99da‐9d7488ca87ff                   Address Redacted                      First Class Mail
fc885afb‐45fd‐41ca‐8f39‐036916a8d7f1                   Address Redacted                      First Class Mail
fc88ea03‐43e1‐4516‐8e58‐65c0af5760b9                   Address Redacted                      First Class Mail
fc8ad781‐7366‐4605‐b302‐4a795bda83d4                   Address Redacted                      First Class Mail
fc8dd641‐0c28‐4b3b‐8bf1‐9b5bb333b184                   Address Redacted                      First Class Mail
fc8e3dbd‐2d1e‐419c‐80d4‐71f5a4811849                   Address Redacted                      First Class Mail
fc8fde77‐e4cc‐4720‐8b3a‐1546692ce366                   Address Redacted                      First Class Mail
fc9520ca‐6609‐468c‐844f‐f6257da3dedf                   Address Redacted                      First Class Mail
fc95488f‐c569‐4c3a‐a4fc‐b14e2eda2962                   Address Redacted                      First Class Mail
fc969e8f‐7e10‐4c95‐9353‐2e4ea426509c                   Address Redacted                      First Class Mail
fc9b4cec‐b88b‐41fa‐91c0‐2b648c26ad25                   Address Redacted                      First Class Mail
fc9b9d27‐2d46‐42b0‐a2df‐17a74aa5d0b7                   Address Redacted                      First Class Mail
fc9c88ca‐99b9‐4d0f‐9a6e‐2a6ca1c4efe2                   Address Redacted                      First Class Mail
fc9d859f‐f800‐4481‐96b4‐6cc260e8faec                   Address Redacted                      First Class Mail
fc9e2c88‐8df9‐4d8f‐976e‐7098a41f35e8                   Address Redacted                      First Class Mail
fc9f0786‐0564‐4e4c‐a54f‐003c226fb971                   Address Redacted                      First Class Mail
fca62607‐e8c1‐4dc6‐b31e‐bb6a7e6b5f01                   Address Redacted                      First Class Mail
fca65ae7‐abf4‐4cf5‐87d8‐9a1537102603                   Address Redacted                      First Class Mail
fcae43ba‐160f‐4954‐9b32‐860024d42980                   Address Redacted                      First Class Mail
fcaf1c2f‐ee04‐44ce‐94aa‐c6b01f8a0948                   Address Redacted                      First Class Mail
fcb17d1a‐942e‐4d6a‐9381‐5f2b740e0218                   Address Redacted                      First Class Mail
fcb431c9‐83b2‐451c‐8283‐289e8772eb4e                   Address Redacted                      First Class Mail
fcb93f7a‐a005‐4260‐9c68‐d8add710d0aa                   Address Redacted                      First Class Mail
fcbd2a2d‐ea77‐4ac9‐9f28‐ee73b29143d9                   Address Redacted                      First Class Mail
fcc0d03a‐e28e‐49a9‐9d22‐0a37dd80b7af                   Address Redacted                      First Class Mail
fcc47afb‐b8dd‐4959‐9fcc‐1b0c5ec4281d                   Address Redacted                      First Class Mail
fcc48881‐1701‐4d20‐9d5b‐c951f20082fd                   Address Redacted                      First Class Mail




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                                                                Exhibit A
                                                                 Service List


                               Name                                             Address                         Method of Service
fcc49fbe‐52ed‐4742‐977f‐cebb8ddf46d9                   Address Redacted                      First Class Mail
fcc71890‐0508‐4f81‐aa7c‐53dd41422e16                   Address Redacted                      First Class Mail
fcc7adc4‐585e‐48b9‐9559‐f8d9e5bcbf09                   Address Redacted                      First Class Mail
fcc7d9f3‐d57d‐4c4e‐aaaa‐9ab9d50f45c8                   Address Redacted                      First Class Mail
fcc91f80‐cf4c‐436d‐b185‐235317f1dc2c                   Address Redacted                      First Class Mail
fcc932d0‐7cdb‐453d‐b100‐14ebf91524f1                   Address Redacted                      First Class Mail
fcc9f4cc‐833a‐4281‐a628‐bb104554c642                   Address Redacted                      First Class Mail
fccbe89f‐1280‐4b9f‐ac67‐648fff1ce836                   Address Redacted                      First Class Mail
fccbfdc9‐8fa2‐4d21‐8639‐72f2c9236fbe                   Address Redacted                      First Class Mail
fccdc7bb‐f837‐4112‐a3b6‐de3bc1fd5f7a                   Address Redacted                      First Class Mail
fccfd6c3‐aacf‐44b6‐8d3a‐6565551d7655                   Address Redacted                      First Class Mail
fcd47ea9‐7b2c‐44d6‐80fa‐fae46444bc26                   Address Redacted                      First Class Mail
fcd7ef96‐4892‐49fb‐9333‐3b5cbd42338b                   Address Redacted                      First Class Mail
fcd872a3‐b1c1‐490e‐bc18‐3bfed89cfcb0                   Address Redacted                      First Class Mail
fcdc8faa‐f76e‐4205‐bcec‐76a681602a7a                   Address Redacted                      First Class Mail
fce12363‐f192‐4936‐b24a‐6e2ab536f2e7                   Address Redacted                      First Class Mail
fce53995‐4d02‐4d2d‐bb44‐72b960b5a1f3                   Address Redacted                      First Class Mail
fce692c6‐b23f‐401e‐b493‐24824f092716                   Address Redacted                      First Class Mail
fce88e6b‐a9d8‐4615‐8cbe‐f248e75176e7                   Address Redacted                      First Class Mail
fceed52c‐b370‐4555‐8516‐1c28a2b67fed                   Address Redacted                      First Class Mail
fcf15ab2‐0a94‐40e2‐8014‐2e7bd973f7bb                   Address Redacted                      First Class Mail
fcf5ae0b‐7ea6‐4490‐8b0c‐3301be7c7190                   Address Redacted                      First Class Mail
fcffc934‐963f‐4946‐aca7‐a8aca8c24a76                   Address Redacted                      First Class Mail
fd047e02‐f8b2‐4c2b‐bfd2‐1ad3f6e8d92b                   Address Redacted                      First Class Mail
fd052ff7‐a233‐4f9b‐b3f1‐c193750d8f24                   Address Redacted                      First Class Mail
fd05a01a‐1e8c‐4024‐b2ce‐02dce066ef1e                   Address Redacted                      First Class Mail
fd0f66d7‐ee81‐40c1‐bdbf‐7950d5a3cde7                   Address Redacted                      First Class Mail
fd139bc6‐c5ab‐441c‐a477‐e008318153e7                   Address Redacted                      First Class Mail
fd18b65d‐096a‐47dc‐ab3e‐f7c2fb26af6c                   Address Redacted                      First Class Mail
fd2320ef‐fc26‐428b‐9d58‐623ada6440aa                   Address Redacted                      First Class Mail
fd259769‐0141‐4580‐aead‐ffdcc556720e                   Address Redacted                      First Class Mail
fd290d68‐a313‐4b1b‐b93d‐ffb0294ece86                   Address Redacted                      First Class Mail
fd2a5c29‐7bff‐4677‐a1f2‐7e6a8946e20b                   Address Redacted                      First Class Mail
fd2d8c35‐bd78‐41fb‐83e4‐3b5125d203a1                   Address Redacted                      First Class Mail
fd2f4abb‐1b4a‐47af‐a8d5‐151c20abc559                   Address Redacted                      First Class Mail
fd300a0e‐64f7‐4ed0‐b562‐6aec4f4c583b                   Address Redacted                      First Class Mail
fd3076d4‐2502‐405e‐b004‐36e14a53a457                   Address Redacted                      First Class Mail
fd340c1b‐35b6‐46bd‐9de2‐ca96d78a54a0                   Address Redacted                      First Class Mail
fd34c767‐7ac4‐466f‐8c28‐b154cc2c1991                   Address Redacted                      First Class Mail
fd359c99‐7760‐41d3‐bba0‐0ddbbf28ccfb                   Address Redacted                      First Class Mail
fd36740b‐0b5b‐4f0e‐8aaf‐c050df918aba                   Address Redacted                      First Class Mail
fd38f97e‐8082‐4625‐8953‐41386e128b4d                   Address Redacted                      First Class Mail
fd3af015‐745c‐46c8‐820d‐68948fbb6f88                   Address Redacted                      First Class Mail
fd43beac‐df1e‐4471‐9fe0‐794f58e99b3f                   Address Redacted                      First Class Mail
fd467a84‐4136‐4b1b‐a8ca‐41113d05996c                   Address Redacted                      First Class Mail
fd4adeaa‐9eb3‐43ff‐8657‐4cfb4b6370fc                   Address Redacted                      First Class Mail
fd4b2b2a‐cc0d‐4b37‐8cdd‐17a760e7d416                   Address Redacted                      First Class Mail
fd51bcd0‐16d4‐478a‐b9e3‐6371da5ba76e                   Address Redacted                      First Class Mail
fd55cb58‐57c1‐426d‐bda1‐03c91854e2fc                   Address Redacted                      First Class Mail
fd55ecce‐fd39‐4c7a‐aea0‐75e948e2d5e7                   Address Redacted                      First Class Mail
fd55f4e0‐5ba8‐42be‐97e8‐99ace6c8c183                   Address Redacted                      First Class Mail
fd58531a‐4df8‐42c0‐b338‐de5a4fddf676                   Address Redacted                      First Class Mail
fd58e64c‐ed70‐431e‐a0a0‐7c1ee04b9f96                   Address Redacted                      First Class Mail
fd5cb17b‐cc7f‐47a7‐b4e6‐93dc537c37cb                   Address Redacted                      First Class Mail
fd60f7e9‐726b‐4571‐ab0c‐9e9bca419efd                   Address Redacted                      First Class Mail
fd61df70‐100c‐4c70‐9d2c‐4d716fc28057                   Address Redacted                      First Class Mail
fd6242c5‐0402‐4aa7‐ad42‐4d504a465dd9                   Address Redacted                      First Class Mail
fd6357f4‐7106‐4e6c‐8330‐89e574144598                   Address Redacted                      First Class Mail
fd659d54‐4351‐4e9c‐9875‐c81fc22916fd                   Address Redacted                      First Class Mail
fd6d6e62‐82b7‐4617‐bf26‐8871c9107227                   Address Redacted                      First Class Mail
fd6f7652‐c500‐45cd‐8941‐fecb7535fd0b                   Address Redacted                      First Class Mail
fd710bd0‐2a30‐4fd9‐a8f3‐010a7ccf574f                   Address Redacted                      First Class Mail
fd7339e0‐bee0‐4045‐a73f‐ad90fb60f455                   Address Redacted                      First Class Mail
fd7565b2‐35f4‐4b9c‐b219‐99ce157b6f20                   Address Redacted                      First Class Mail
fd766c91‐d1f0‐4e53‐bff3‐a61c8a9214c7                   Address Redacted                      First Class Mail
fd76b06b‐d810‐4ac7‐84dc‐54b52e185625                   Address Redacted                      First Class Mail
fd77482e‐de02‐4469‐a0c4‐153c536280d3                   Address Redacted                      First Class Mail
fd7763c5‐39ed‐4ff1‐8bcb‐67a48b57f2b0                   Address Redacted                      First Class Mail
fd78a016‐9dd7‐4c3a‐95d5‐55d0576097ac                   Address Redacted                      First Class Mail
fd78b874‐0e35‐4453‐a71b‐eff4789e6672                   Address Redacted                      First Class Mail
fd7c5a1d‐9061‐4806‐83f2‐3dfe79d54866                   Address Redacted                      First Class Mail
fd7cb725‐040d‐43f4‐9cd3‐2b745117626c                   Address Redacted                      First Class Mail




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                              Name                                              Address                         Method of Service
fd7e21b5‐79c3‐45de‐b112‐7f16acb6b068                   Address Redacted                      First Class Mail
fd7fefa8‐ed73‐4455‐91e8‐dd664a861085                   Address Redacted                      First Class Mail
fd853a73‐6100‐4b2f‐ab9f‐2c7b40679782                   Address Redacted                      First Class Mail
fd879d2c‐3200‐43bf‐9510‐e8b408a0747a                   Address Redacted                      First Class Mail
fd899c38‐8848‐4864‐b80a‐6d856a0d2d39                   Address Redacted                      First Class Mail
fd8cc181‐736c‐4571‐a18c‐765fafa2765b                   Address Redacted                      First Class Mail
fd8ee108‐c328‐47b2‐86b7‐d8e77c9af36d                   Address Redacted                      First Class Mail
fd91ae86‐ec6b‐4244‐ba65‐e63f8e79b9fc                   Address Redacted                      First Class Mail
fd9617ed‐a2ba‐4fff‐ac04‐56e8e7dd37d0                   Address Redacted                      First Class Mail
fd97ed85‐dddb‐4848‐ab95‐13ed7edc29e6                   Address Redacted                      First Class Mail
fd991b41‐d0a2‐448c‐9fe3‐85efb8e6de8b                   Address Redacted                      First Class Mail
fd9edb24‐c684‐4c9e‐b77a‐9e5a25088283                   Address Redacted                      First Class Mail
fdacac3b‐9d14‐4c44‐9d1e‐04aaa3305c63                   Address Redacted                      First Class Mail
fdae3da6‐791a‐4c78‐bb3e‐fceebbc83343                   Address Redacted                      First Class Mail
fdb71fe6‐3ade‐4649‐b518‐6d2a6cf3515c                   Address Redacted                      First Class Mail
fdb88664‐5c76‐42c7‐8530‐ecebb1b95259                   Address Redacted                      First Class Mail
fdb9963e‐c896‐479a‐9cbf‐ae7bf381c35a                   Address Redacted                      First Class Mail
fdbb91d2‐9c60‐45fd‐9086‐e87639eb2e5a                   Address Redacted                      First Class Mail
fdbc7bda‐270e‐407c‐9cec‐48732bf8298b                   Address Redacted                      First Class Mail
fdbd862f‐1690‐490b‐a809‐c51a9f2d4ccb                   Address Redacted                      First Class Mail
fdbe7cb5‐6166‐47e1‐b30f‐99826c987c8b                   Address Redacted                      First Class Mail
fdc3262b‐1042‐440a‐824a‐ee9cd4630985                   Address Redacted                      First Class Mail
fdc370ff‐a237‐4842‐a1e6‐cfc2c7dd15d5                   Address Redacted                      First Class Mail
fdc3dcf1‐60c0‐48dd‐b453‐d30b5ac91a14                   Address Redacted                      First Class Mail
fdc4190e‐d3b4‐4900‐928e‐1f851a07ba8f                   Address Redacted                      First Class Mail
fdc7c09f‐1bac‐4750‐b099‐f27a00402df4                   Address Redacted                      First Class Mail
fdc90cd1‐10f9‐4bd0‐85a3‐bdae00e70447                   Address Redacted                      First Class Mail
fdca67aa‐0b10‐4567‐80d3‐4692dde346fa                   Address Redacted                      First Class Mail
fdcd6585‐d264‐41f2‐96cb‐6050ec6d60e4                   Address Redacted                      First Class Mail
fdd00c0f‐ded2‐4be2‐b149‐cd5f893f223c                   Address Redacted                      First Class Mail
fdd5ecf6‐331a‐45b4‐93b1‐d1104f7b87d5                   Address Redacted                      First Class Mail
fdd68691‐4f9f‐4a0b‐941c‐7fe4395fe5b5                   Address Redacted                      First Class Mail
fddfb49f‐806a‐426f‐b4ef‐2c654762a2ea                   Address Redacted                      First Class Mail
fde22195‐0b37‐4861‐9f64‐8f20ad6ef0ac                   Address Redacted                      First Class Mail
fde2b1cd‐b050‐459a‐9d9a‐a4fdadadb049                   Address Redacted                      First Class Mail
fde55631‐b75e‐41b2‐88c6‐e7b051f309bf                   Address Redacted                      First Class Mail
fde5c36c‐255d‐4816‐9993‐0d79cf8df0a1                   Address Redacted                      First Class Mail
fde5df27‐2be0‐49a0‐b518‐01cf75258798                   Address Redacted                      First Class Mail
fde845a3‐5bcc‐4b25‐8c16‐c69a577fc701                   Address Redacted                      First Class Mail
fde8cb21‐d3ea‐4b52‐96cb‐09509d9cab81                   Address Redacted                      First Class Mail
fde9097d‐4adf‐4ad8‐9df2‐43f18f66d766                   Address Redacted                      First Class Mail
fdeb4200‐c0a2‐423f‐a8b4‐daced8153cef                   Address Redacted                      First Class Mail
fdec8e81‐d227‐48c7‐8d6e‐68fb31b59fb3                   Address Redacted                      First Class Mail
fded886c‐3fa1‐44b5‐9257‐a66c31e15583                   Address Redacted                      First Class Mail
fdf3a6a7‐03a8‐453f‐9b6c‐f06b23ac9117                   Address Redacted                      First Class Mail
fdf66de2‐8394‐4b7e‐a622‐ce67281896b1                   Address Redacted                      First Class Mail
fdf6f37b‐cc07‐4c25‐808a‐84cc6c128009                   Address Redacted                      First Class Mail
fdfc031b‐f8f7‐4d9c‐9303‐dd615c895234                   Address Redacted                      First Class Mail
fdfe0853‐ffa4‐4b6b‐a719‐0060f8820a59                   Address Redacted                      First Class Mail
fdff2914‐bff4‐418d‐a5f7‐9a326b16b113                   Address Redacted                      First Class Mail
fe02ed32‐67eb‐43a6‐991d‐342d1d45fbe6                   Address Redacted                      First Class Mail
fe06db9c‐8a72‐4ad0‐bfe3‐d83cba3dafc0                   Address Redacted                      First Class Mail
fe079c9a‐3d6c‐4d80‐99e1‐a88ffbfc5d99                   Address Redacted                      First Class Mail
fe095389‐9cd3‐4de1‐a5c9‐9262bb73c636                   Address Redacted                      First Class Mail
fe0a8448‐de79‐4c80‐b757‐99a53220a3fb                   Address Redacted                      First Class Mail
fe0b8ab7‐6b97‐442e‐8bb3‐09913a5ea5e3                   Address Redacted                      First Class Mail
fe0edc88‐6de8‐46f1‐b37d‐efcc52d573dc                   Address Redacted                      First Class Mail
fe119e96‐89d7‐479b‐9ea2‐56f7d41eaabb                   Address Redacted                      First Class Mail
fe12f6a9‐9ea8‐4915‐893e‐d091c6254383                   Address Redacted                      First Class Mail
fe15cab8‐2621‐464f‐aca9‐a8e89bb845a6                   Address Redacted                      First Class Mail
fe169619‐2824‐423c‐9eb3‐16f43fc0ece8                   Address Redacted                      First Class Mail
fe17d467‐120b‐49d1‐94f6‐5f03ae6a1678                   Address Redacted                      First Class Mail
fe19bdba‐a42c‐4244‐9ff5‐736982d34320                   Address Redacted                      First Class Mail
fe2430cd‐bfe3‐43dd‐882c‐954e2f65ac66                   Address Redacted                      First Class Mail
fe26fef2‐1d1e‐47a3‐984d‐be1aa87b88c5                   Address Redacted                      First Class Mail
fe293a9f‐40d4‐49b7‐83ef‐d3f54fc85e71                   Address Redacted                      First Class Mail
fe2c80d7‐18ba‐40ea‐ab02‐9366407f8c80                   Address Redacted                      First Class Mail
fe2ca711‐797b‐4d9c‐a179‐703872e08818                   Address Redacted                      First Class Mail
fe3054d7‐07fb‐4448‐816c‐79f6fc4bc8da                   Address Redacted                      First Class Mail
fe350379‐8d89‐46d3‐9441‐7df71f6ecbc6                   Address Redacted                      First Class Mail
fe3e33b3‐b369‐4a47‐89ea‐d1d6c58a4f10                   Address Redacted                      First Class Mail
fe428dbc‐52cc‐40d9‐8256‐bb17620c12c7                   Address Redacted                      First Class Mail




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                               Name                                             Address                         Method of Service
fe4326b4‐d5fe‐4e24‐a17d‐b41d9f721652                   Address Redacted                      First Class Mail
fe44e5d3‐f204‐4516‐b2b8‐b4771066da1b                   Address Redacted                      First Class Mail
fe45b327‐d777‐4676‐af0f‐95aeea130927                   Address Redacted                      First Class Mail
fe47f7ab‐7677‐413b‐9edb‐dde961ea476d                   Address Redacted                      First Class Mail
fe4b9ebb‐3611‐489f‐8959‐2aaae3bc16bd                   Address Redacted                      First Class Mail
fe529c93‐70b2‐4e24‐b585‐8f8d1d708f46                   Address Redacted                      First Class Mail
fe5e1667‐72f6‐4313‐9e0a‐16beaf12b195                   Address Redacted                      First Class Mail
fe5f2d39‐bed9‐4b96‐b4ad‐c7aa35b8c21e                   Address Redacted                      First Class Mail
fe68b2dc‐de47‐47d3‐a18f‐b1679602806a                   Address Redacted                      First Class Mail
fe6d9ab6‐89f0‐4f16‐ae26‐d2c655b3869e                   Address Redacted                      First Class Mail
fe75a65c‐b9ab‐477f‐b359‐8d3c4237afa5                   Address Redacted                      First Class Mail
fe7dc8fe‐1974‐4a02‐89eb‐be4840cb9c7f                   Address Redacted                      First Class Mail
fe7ea12b‐c9e5‐4d0b‐b846‐d32fbbb3fcab                   Address Redacted                      First Class Mail
fe7ea386‐debb‐43f2‐9c82‐8e97a634effe                   Address Redacted                      First Class Mail
fe82712d‐0fa2‐4dcc‐bfb9‐c778a5075cfa                   Address Redacted                      First Class Mail
fe830aed‐8c6f‐483d‐bc93‐344af4720d2b                   Address Redacted                      First Class Mail
fe847f90‐c68d‐4c61‐97f4‐b1d2f1a7677b                   Address Redacted                      First Class Mail
fe848c82‐695d‐43ad‐b864‐a8d78b50d380                   Address Redacted                      First Class Mail
fe86bef9‐4d0b‐4d95‐b567‐a65ccfc7ef33                   Address Redacted                      First Class Mail
fe88b22e‐46ea‐416c‐8351‐4ebe29bfc79c                   Address Redacted                      First Class Mail
fe8b3290‐6cd7‐4b91‐b393‐82bb3bdf80a8                   Address Redacted                      First Class Mail
fe8e4c7a‐1622‐4deb‐8051‐4dc626bab918                   Address Redacted                      First Class Mail
fe9028c1‐70e3‐4789‐99bc‐165c51af8fe4                   Address Redacted                      First Class Mail
fe95f6d9‐6c9d‐4d5f‐b013‐523c18b085e5                   Address Redacted                      First Class Mail
fe9a1c41‐9613‐4917‐85d5‐8dcf5de23686                   Address Redacted                      First Class Mail
fe9aede1‐6e04‐4c51‐b168‐a0f7d7558d2a                   Address Redacted                      First Class Mail
fe9b495d‐e7df‐46a4‐b26a‐b3efd17e4373                   Address Redacted                      First Class Mail
fe9bc5b4‐4e44‐4f2c‐b804‐95b956ee522b                   Address Redacted                      First Class Mail
fe9bf297‐5bc0‐4d26‐8610‐e71f6c5981a4                   Address Redacted                      First Class Mail
fe9e02d4‐d8cd‐443e‐9398‐678e74bf28cf                   Address Redacted                      First Class Mail
fe9f2851‐c471‐4597‐96ed‐53fc2c0a188a                   Address Redacted                      First Class Mail
fea1d6d3‐0ee8‐45e9‐9eba‐345b5a4f0051                   Address Redacted                      First Class Mail
fea26547‐6d7f‐4e2d‐b860‐116bfb59fd69                   Address Redacted                      First Class Mail
fea2b75b‐3408‐4d35‐9663‐15f59b483c69                   Address Redacted                      First Class Mail
fea3d5b4‐ac0d‐4fba‐9a82‐7eb14ef67189                   Address Redacted                      First Class Mail
fea61325‐f8ba‐42f0‐b09e‐88c12dc1acc9                   Address Redacted                      First Class Mail
feadc9b9‐d68a‐474d‐b8f7‐0cd3aee29577                   Address Redacted                      First Class Mail
feb15a65‐1d4b‐4169‐8fb4‐626d4c92e003                   Address Redacted                      First Class Mail
feb2cfaf‐66eb‐4565‐84e3‐b4c9dd57ea28                   Address Redacted                      First Class Mail
feb7b874‐fb71‐4611‐9b55‐70d1ffe4764d                   Address Redacted                      First Class Mail
febb5ba4‐d15b‐4ca0‐8edd‐ea04f3ff571e                   Address Redacted                      First Class Mail
febbd92c‐d012‐4196‐8f76‐21dad5a5cfcc                   Address Redacted                      First Class Mail
febd395f‐8d42‐4472‐90b8‐bd328c4705f4                   Address Redacted                      First Class Mail
febfccb8‐8f9a‐41b0‐b1f8‐7e790bcdeb35                   Address Redacted                      First Class Mail
fec3d122‐9bcc‐4d6d‐b985‐692282c84b74                   Address Redacted                      First Class Mail
fec55348‐35bb‐4899‐add4‐59f2303b08f4                   Address Redacted                      First Class Mail
fec77b78‐b51d‐413d‐8d28‐fabbf006f7de                   Address Redacted                      First Class Mail
fec7d8f6‐57d3‐4907‐94b6‐feeeb12a4803                   Address Redacted                      First Class Mail
fec9564a‐6624‐4ec3‐8ba5‐3126bc7e00b0                   Address Redacted                      First Class Mail
fedcfd41‐8864‐46ba‐8a1a‐6e064062742b                   Address Redacted                      First Class Mail
fedd6810‐1d7f‐4a19‐b73a‐dd653f80795c                   Address Redacted                      First Class Mail
fee4f0b5‐58f5‐4cc4‐ad0c‐ee58eab2ea30                   Address Redacted                      First Class Mail
fee50e50‐448e‐4d76‐b925‐303be49d1538                   Address Redacted                      First Class Mail
fee753ec‐7e67‐449a‐8ae9‐aac95877e62a                   Address Redacted                      First Class Mail
fee75ebc‐143d‐479f‐ba62‐6c1ab8b80930                   Address Redacted                      First Class Mail
fee8b0c1‐a574‐4fa5‐afc2‐1c08c4d6de99                   Address Redacted                      First Class Mail
fee94d38‐16fd‐418b‐bf83‐7848c05604f5                   Address Redacted                      First Class Mail
feebab50‐4407‐44c5‐b4ea‐f317e4a214bf                   Address Redacted                      First Class Mail
feeea2b7‐6b8c‐40f4‐a51d‐79038fd6a6d6                   Address Redacted                      First Class Mail
feeeee6c‐261b‐47cc‐b5bb‐6e0813c102c6                   Address Redacted                      First Class Mail
fef180d5‐15e6‐4217‐8049‐9cf811c90b36                   Address Redacted                      First Class Mail
fef664d9‐6274‐47df‐89e6‐03804af3fc72                   Address Redacted                      First Class Mail
fefac5f5‐2fd2‐4a63‐b0ef‐4f62d6e2acff                   Address Redacted                      First Class Mail
fefc2625‐c1bc‐4a32‐9d1f‐04e20bcc053c                   Address Redacted                      First Class Mail
fefce49f‐c7c5‐4ec7‐b2f7‐e9376b555b4d                   Address Redacted                      First Class Mail
feff7477‐2807‐4af6‐81c8‐0c0ad2fa2841                   Address Redacted                      First Class Mail
ff01b82d‐45fe‐41d3‐9140‐6dd58ba6c5ec                   Address Redacted                      First Class Mail
ff0b0266‐1fe0‐420d‐8e44‐db6794aff0dd                   Address Redacted                      First Class Mail
ff14bb90‐babf‐47f0‐96c6‐9f0610f31a00                   Address Redacted                      First Class Mail
ff16dca1‐1c89‐45fb‐a6ee‐37e07ff8bd95                   Address Redacted                      First Class Mail
ff1771c5‐28e2‐4ec7‐a7c8‐117aafa020bc                   Address Redacted                      First Class Mail
ff1bcdca‐a571‐4f9a‐a3fd‐5cb80722e2be                   Address Redacted                      First Class Mail




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                                                                 Service List


                               Name                                             Address                         Method of Service
ff1c8f19‐0b35‐434c‐90d7‐ecdea7d2bce0                   Address Redacted                      First Class Mail
ff1c9e2a‐b8f5‐41c7‐8a7b‐d06a23371be2                   Address Redacted                      First Class Mail
ff25bc6b‐6cd1‐4974‐a6a9‐4a7fb41a429d                   Address Redacted                      First Class Mail
ff26dc8b‐e3ad‐4da2‐89cf‐678ee2de117e                   Address Redacted                      First Class Mail
ff26fbeb‐7fd5‐404c‐974b‐f0d24af37fbb                   Address Redacted                      First Class Mail
ff290c84‐c0a3‐4aab‐b36d‐3bae70e74e78                   Address Redacted                      First Class Mail
ff29e88c‐cd54‐491b‐8765‐c634f093e7e7                   Address Redacted                      First Class Mail
ff2c4efb‐3da1‐4a3e‐a829‐1887e906288b                   Address Redacted                      First Class Mail
ff2df45c‐072b‐4b02‐aedc‐441857a1410e                   Address Redacted                      First Class Mail
ff2df924‐5f54‐4f46‐b2bb‐3784ec3a6d28                   Address Redacted                      First Class Mail
ff2e50b1‐f76e‐4981‐ab2a‐35d68276f578                   Address Redacted                      First Class Mail
ff3194f8‐174e‐4451‐9f00‐55240c080944                   Address Redacted                      First Class Mail
ff3258ea‐96bb‐49fd‐a5a1‐82e4c94b4231                   Address Redacted                      First Class Mail
ff32fea8‐b4e0‐47d8‐ba28‐9808ecff0f25                   Address Redacted                      First Class Mail
ff374ca3‐0378‐4bfd‐8a2f‐9cc0dce02919                   Address Redacted                      First Class Mail
ff3761bf‐3c4f‐4d4f‐a19b‐28aafad3ff9b                   Address Redacted                      First Class Mail
ff3df4dd‐1dea‐4dfd‐9388‐8c3ae972a5a8                   Address Redacted                      First Class Mail
ff40adf0‐2ecc‐4d2c‐85ca‐7be82baed257                   Address Redacted                      First Class Mail
ff473b55‐7d5a‐49a9‐a189‐0d69f190a54d                   Address Redacted                      First Class Mail
ff4cd735‐b665‐466e‐a172‐031aaf430a9b                   Address Redacted                      First Class Mail
ff507732‐dc5a‐4138‐9fbb‐091ee3fa8708                   Address Redacted                      First Class Mail
ff54411c‐d0db‐4009‐9b3c‐79e294e13742                   Address Redacted                      First Class Mail
ff54a795‐4ff3‐43d9‐b72d‐5a9efec441f8                   Address Redacted                      First Class Mail
ff5508d3‐1d9e‐48b8‐bd78‐3cd0fe84ea2c                   Address Redacted                      First Class Mail
ff55bfc4‐8bda‐4992‐81d5‐dd2599345847                   Address Redacted                      First Class Mail
ff56883b‐1fd1‐44e5‐a7c3‐532892eee840                   Address Redacted                      First Class Mail
ff592760‐7ba2‐4b73‐8850‐3e2ea9b9cd34                   Address Redacted                      First Class Mail
ff5c31d9‐0c7b‐431a‐a9ad‐78dfee61381d                   Address Redacted                      First Class Mail
ff5ce59f‐c1b7‐4099‐83cd‐2da331a76e87                   Address Redacted                      First Class Mail
ff62cb34‐9fd3‐415e‐b72b‐8935e2789c6d                   Address Redacted                      First Class Mail
ff6b28de‐27cb‐472a‐b17d‐8a7573a74bfa                   Address Redacted                      First Class Mail
ff6c0a23‐149f‐42e7‐92fc‐2a07eb391549                   Address Redacted                      First Class Mail
ff6e9a12‐03d0‐4698‐b87f‐77bde1b775a5                   Address Redacted                      First Class Mail
ff6f1b01‐3f6f‐4b7f‐a791‐4d0cb137a5f5                   Address Redacted                      First Class Mail
ff7003eb‐0b31‐4a28‐b937‐5075e8f41225                   Address Redacted                      First Class Mail
ff71b10d‐0bf7‐4dc7‐89ea‐3d0cfc0b22e1                   Address Redacted                      First Class Mail
ff71be79‐4667‐40d3‐a2a3‐a14e9dc98616                   Address Redacted                      First Class Mail
ff73377b‐85f7‐4634‐b42c‐1167041abd0a                   Address Redacted                      First Class Mail
ff75a175‐5b46‐4621‐a596‐b79f476cd5a1                   Address Redacted                      First Class Mail
ff7b540e‐c569‐4a49‐8dd5‐3d1a29615824                   Address Redacted                      First Class Mail
ff7ba7ef‐8b5d‐4c74‐96aa‐4f680bccbdf7                   Address Redacted                      First Class Mail
ff7caa70‐4c59‐46ce‐ae0b‐643cb39c66f1                   Address Redacted                      First Class Mail
ff7e6817‐9d4f‐49ac‐8926‐06010a42a278                   Address Redacted                      First Class Mail
ff8224fb‐a3d2‐4390‐8e1c‐e9343a2196cc                   Address Redacted                      First Class Mail
ff867235‐d60e‐46de‐a830‐9b703ce5bddf                   Address Redacted                      First Class Mail
ff8672c4‐5afc‐47bb‐8b3e‐2b0fc61a738d                   Address Redacted                      First Class Mail
ff87c322‐73c8‐4045‐9c36‐33719248ea97                   Address Redacted                      First Class Mail
ff893a6e‐eb39‐4a9b‐9cd6‐90df5aa2b52c                   Address Redacted                      First Class Mail
ff89e629‐4cef‐4779‐997b‐1f6081ab1340                   Address Redacted                      First Class Mail
ff8d66ac‐5049‐467d‐9797‐160ee2cf9c02                   Address Redacted                      First Class Mail
ff9128b9‐82ef‐48f0‐8b18‐e0eeb5261972                   Address Redacted                      First Class Mail
ff92a80d‐0cd0‐4529‐a795‐f912d1f464ad                   Address Redacted                      First Class Mail
ff962c0f‐aa99‐44c6‐8c4d‐389e2e7bfb99                   Address Redacted                      First Class Mail
ff96f264‐0a3f‐4f5d‐a849‐f391d1c24b89                   Address Redacted                      First Class Mail
ff9f7df3‐7f41‐40bc‐a466‐b25eac27fbce                   Address Redacted                      First Class Mail
ff9f841b‐683a‐455f‐88f0‐188f8de03177                   Address Redacted                      First Class Mail
ffa5858a‐a129‐4827‐8729‐14adfc443440                   Address Redacted                      First Class Mail
ffa77907‐9051‐4fef‐8571‐4597f559a84f                   Address Redacted                      First Class Mail
ffa82d88‐b1a2‐4223‐8fa5‐83944a28728c                   Address Redacted                      First Class Mail
ffabf0f2‐72ce‐4819‐bea4‐584b6abaaef6                   Address Redacted                      First Class Mail
ffada7c6‐e89f‐498b‐8418‐16ff9a86aa99                   Address Redacted                      First Class Mail
ffaed7be‐c9df‐4244‐babc‐0f52ee330f5f                   Address Redacted                      First Class Mail
ffaf09d9‐a02b‐4438‐a20c‐556aedb3c138                   Address Redacted                      First Class Mail
ffb19569‐5030‐4fd3‐a1b3‐5feeeef1d9db                   Address Redacted                      First Class Mail
ffb1f238‐a142‐41e7‐9d00‐fd086b931c49                   Address Redacted                      First Class Mail
ffb23900‐0d6c‐4ba1‐b7cb‐f8aab0607cc3                   Address Redacted                      First Class Mail
ffb3a3ed‐d329‐46e2‐9627‐d61905a66e72                   Address Redacted                      First Class Mail
ffb51287‐af3d‐4ae8‐90c3‐fe2020f4a98b                   Address Redacted                      First Class Mail
ffb6c43d‐3036‐4ffc‐a457‐ff128d481766                   Address Redacted                      First Class Mail
ffb84448‐9791‐4b74‐8512‐c05fd4db86e3                   Address Redacted                      First Class Mail
ffbb7889‐67f2‐41c4‐9ca4‐a487d8018bf7                   Address Redacted                      First Class Mail
ffbef898‐4786‐47f1‐a958‐ac4b4676728c                   Address Redacted                      First Class Mail




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                                                                Exhibit A
                                                                 Service List


                               Name                                             Address                         Method of Service
ffbfb573‐593c‐4c90‐bea8‐2188e4ccce11                   Address Redacted                      First Class Mail
ffc17937‐f8b1‐403d‐a919‐31188deb3830                   Address Redacted                      First Class Mail
ffc1ef9d‐db1a‐4af0‐880c‐599a52056bb4                   Address Redacted                      First Class Mail
ffc9e1ff‐9919‐454a‐984d‐fde0638a5bae                   Address Redacted                      First Class Mail
ffccd4f2‐9c9f‐4236‐b9c1‐6c0754b2fe80                   Address Redacted                      First Class Mail
ffd5c10b‐b7a7‐4d06‐a7ab‐f3168f244a1e                   Address Redacted                      First Class Mail
ffddb0ce‐205b‐4ed3‐b898‐2e8ab11edcda                   Address Redacted                      First Class Mail
ffdf91ae‐bd62‐4976‐94ea‐005d4c2c7dc7                   Address Redacted                      First Class Mail
ffe187a3‐ea8c‐4c05‐91f3‐f2642f5d252e                   Address Redacted                      First Class Mail
ffe19101‐043b‐49b7‐b5ef‐8aab261b6953                   Address Redacted                      First Class Mail
ffe1fd3a‐316e‐4e21‐a57a‐3e60ae729581                   Address Redacted                      First Class Mail
ffe8100b‐41dd‐4fb9‐ab26‐3b335e5f9f57                   Address Redacted                      First Class Mail
ffe88b6a‐0b1e‐4538‐ac23‐88d31fe119d7                   Address Redacted                      First Class Mail
ffea2727‐3533‐4e5c‐8a36‐638e7f76a152                   Address Redacted                      First Class Mail
fff267fc‐6ce5‐4fc5‐82e6‐5078f5f90d21                   Address Redacted                      First Class Mail
fff2e222‐23dc‐4b2c‐af62‐d637aeb21ada                   Address Redacted                      First Class Mail
fff47f79‐aea5‐423d‐bb91‐b1e13070f9a3                   Address Redacted                      First Class Mail
fff4f7e6‐3eb2‐4cf9‐98e4‐edd0cf64bbc1                   Address Redacted                      First Class Mail
fff501c5‐7014‐42a6‐bbad‐5f3d91cdd83f                   Address Redacted                      First Class Mail
fff530fa‐93f5‐426c‐8202‐66e30beb8e32                   Address Redacted                      First Class Mail
fff7e95b‐5504‐46d1‐ae2b‐f24d7f2aaa48                   Address Redacted                      First Class Mail
fff9cc36‐bc40‐480d‐91f3‐c6e6d130758f                   Address Redacted                      First Class Mail




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